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Meghan Dawson McElvy
Texas State Bar No. 24065127
BRADLEY ARANT BOULT CUMMINGS LLP
600 Travis Street, Suite 5600
Houston, Texas 77002
Tel. 713.576.0314
mmcelvy@bradley.com


George H. Barber
Texas State Bar No. 01705650
BRADLEY ARANT BOULT CUMMINGS LLP
1445 Ross Avenue, Suite 3600
Dallas, TX 75202
Phone: (214) 939-8700
Fax: (214) 939-8787
Email: gbarber@bradley.com
ATTORNEYS FOR STEVEN WEBSTER


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

In re:                                        )
                                                Case Number 22-30500-swe7
                                              )
                                                (Involuntary Proceeding)
DENNIS JAMES ROGERS, II,                      )
                                              )
                                              )
         Debtor.


           ADMINISTRATIVE EXPENSE APPLICATION COVER SHEET

 Administrative Expense Application of: Steven Webster

 Capacity: Petitioning Creditor              Time Period: January 1, 2022 to April 26, 2022

 Bankruptcy Petition Filed on: March 22, 2022

 Date of Entry of Retention Order:     N/A         Status of Case: Pending

 Amount Requested:                   Reductions:

 Fees:             $   421,316.38    Voluntary fee reductions:   $ (97,418.14)
 Expenses:     $       6,688.61      Expense reductions:          $   -
 Other:            $ 0.00            Total Reductions:            $ (97,418.14)

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 Total:          $   330,586.85


 Draw Down Request:                        Expense Detail:
 Retainer Received:           $ 0.00       Copies - per page cost and total:        $1,879.35
 Previous Draw Down(s):       $ 0.00       Fax - per page cost and total:     $ 0.00
 Remaining Retainer (now): $ 0.00          Computer Research:                 $ 2,350.95
 Requested Draw Down:         $ 0.00       Other: Filing fees; courier; service $ 923.57
 Retainer Remaining (after): $ 0.00        Other: Meals/Travel                $ 1,534.74


 Hourly Rates             Attorney/Accountant           Paralegal/Clerical
 Highest Billed Rate:     $    1,350.00                 $    410.00
 Total Hours Billed:              375.5                       86.80
 Blended Rate:            $       805.60                $    320.08




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BRADLEY ARANT BOULT CUMMINGS LLP
600 Travis Street, Suite 5600
Houston, Texas 77002
Tel. 713.576.0314
mmcelvy@bradley.com


George H. Barber
Texas State Bar No. 01705650
BRADLEY ARANT BOULT CUMMINGS LLP
1445 Ross Avenue, Suite 3600
Dallas, TX 75202
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Fax: (214) 939-8787
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ATTORNEYS FOR STEVEN WEBSTER


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:                                  )
                                          Case Number 22-30500-swe7
                                        )
                                          (Involuntary Proceeding)
DENNIS JAMES ROGERS, II,                )
                                        )
                                        )
         Debtor.

   STEVEN WEBSTER’S APPLICATION FOR ALLOWANCE OF ADMINISTRATIVE
         EXPENSE CLAIM PURSUANT TO 11 U.S.C. § 503(b)(3)(a) and (4)

                                     NOTICE

NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS
FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
EARLE CABELL FEDERAL BUILDING, 1100 COMMERCE ST., DALLAS, TX 75242
BEFORE THE CLOSE OF BUSINESS ON SEPTEMBER 5, 2024, WHICH IS AT LEAST 21
DAYS FROM THE DATE OF SERVICE HEREOF.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
COPY MUST BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED, A HEARING
WILL BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT

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MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
ACTION MAY BE TAKEN.

TO THE HONORABLE SCOTT W. EVERETT, UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW Steven Webster (“Webster”), petitioning creditor and party in interest in the

above-styled bankruptcy case, and files this Application for Allowance of Administrative Expense

Claim Pursuant to 11 U.S.C. §§ 503(b)(3)(a) and 503(b)(4) (the “Application”). In support thereof,

Webster respectfully shows the Court as follows:

                             I.     JURISDICTION AND VENUE

       1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 151, 157 and

1334. This Application constitutes a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

       2.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                           II.     PROCEDURAL BACKGROUND

       3.     On March 22, 2022, Webster, along with three other individual creditors, Angela

Garbiso and Debra and Russell Van Cleve (collectively, the “Petitioning Creditors”), filed an

Involuntary Chapter 7 Petition (the “Involuntary Petition”) against Dennis James Rogers, II (the

“Debtor”) pursuant to 11 U.S.C. § 303 in the United States Bankruptcy Court for the Northern

District of Texas, Dallas Division (the “Court”), thereby commencing the above-styled bankruptcy

case (the “Bankruptcy Case”). See Dkt. No. 1.

       4.     On the same day, the Petitioning Creditors filed (1) an Emergency Motion for Entry

of an Order (I) Appointing an Interim Trustee Under 11 U.S.C. Section 303(G) and (II) Granting

Emergency Relief (the “Emergency Interim Trustee Motion”), and (2) a Motion for expedited

hearing on the same. See Dkt. Nos. 2 and 3.

       5.     The Court—the Honorable Harlin Hale then presiding—held a hearing on the

Emergency Interim Trustee Motion on March 28, 2024, and finding that “the relief requested in the


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Emergency Motion is in the best interests of the Alleged Debtor, the estate, its creditors, and all

other parties in interest,” and further “having reviewed the Emergency Motion and having heard the

statements in support of the relief requested therein at any hearing before the Court; and good and

sufficient cause appearing therefor,” granted the Emergency Interim Trustee Motion on the same day

and entered an order that was “agreed as to form and substance” by the Petitioning Creditors and the

Debtor. See Dkt. Nos. 15 and 16.

          6.   On April 20, 2022, after the Debtor failed to answer the Involuntary Petition, Webster

filed (1) an Emergency Motion of the Petitioning Creditors for Entry of an Order for Relief in an

Involuntary Case (the “Emergency Motion to Compel Order for Relief”), and (2) a motion for

expedited hearing on the same. See Dkt. Nos. 28 and 29.

          7.   The Court held a hearing on the Emergency Motion to Compel Order for Relief on

April 25, 2022, and entered an Order for Relief in the Bankruptcy Case on April 26, 2022. See Dkt.

Nos. 32 and 33.

          8.   On May 2, 2022, the Debtor filed a Motion to Convert Case from Chapter 7 to 11 (the

“Motion to Convert”). See Dkt. No. 43. On May 18, 2022, the Trustee filed a response in

opposition to the Motion to Convert on the basis that Debtor did not fall in the category of an

“honest but unfortunate debtor” and because conversion would be futile. See Dkt. No. 53. Similarly,

on May 20, 2022, Creditors Webster, Angela Garbiso, and Debra and Russell Van Cleve filed an

objection to the Debtor’s Motion to Convert on the basis that the Debtor was ineligible for Chapter

11 and that, in any event, converting this case to Chapter 11 would unduly burden the estate and its

creditors with additional costs and unnecessary delay without any corresponding benefits. See Dkt.

No. 54.




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       9.      On June 9, 2022, approximately one hour before the deposition of Debtor was

scheduled to begin, the Debtor withdrew the Motion to Convert. See Dkt. No. 60.

                                III.   FACTUAL BACKGROUND

       10.     A significant portion of the facts and evidence supporting this Application have

previously been filed with this Court in support of the Involuntary Petition and Emergency Interim

Trustee Motion. See Dkt. Nos. 1, 2 and 13. Rather than refiling those materials again, Webster—

where applicable—references and incorporates them herein. New exhibits not previously filed with

the Court are referred to herein in the format Exhibit ‘X.’

       11.     The Debtor, Dennis James Rogers, II, is no ordinary Chapter 7 debtor. As set out

more fully in the Emergency Interim Trustee Motion and the numerous exhibits filed in support

thereof by Webster on behalf of the Petitioning Creditors and the bankruptcy estate, for a number of

years the Debtor carried out a wide-ranging fraudulent scheme by inducing numerous individuals

and entities to invest millions of dollars in fake business opportunities that often involved the

supposed purchase or sale of wholesale fuel or water rights. See Emergency Interim Trustee Motion,

Dkt. Nos. 2 & 13. Rather than using the funds in a legitimate manner for the stated purposes, the

Debtor spent or absconded with them. See Emergency Interim Trustee Motion, Dkt. No. 2 at

¶¶ 13‒45. In turn, this led to a string of lawsuits by his unpaid creditors, which—by the time this

Bankruptcy Case was initiated—had resulted in nine final judgments or default judgments against

him and/or his companies totaling over $13.9 million (excluding interest and attorneys’ fees). See

id. at ¶¶ 1, 21‒45; see also Dkt. No. 13 at Exs. 17, 22, 24, 27, 29, & 31‒32.

       12.     Webster was among those caught up in the Debtor’s web of deceit. In June 2020, the

Debtor approached Webster and his associate, Dennis Woods, with a purported opportunity to bid on

allocations of fuel positions from a stock in the Port of Brownsville through an auction supposedly



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being held by the energy and commodity trading company Vitol. See Emergency Interim Trustee

Motion, Dkt. No. 2 at ¶ 15. The Debtor, through a solely owned business entity called OMTC, Inc.

(“OMTC”), offered to act as an intermediary and agent and informed them that an upfront cash

deposit was required to participate in the Vitol auction. See id. at ¶ 16. The Debtor falsely promised

immediate return of the funds within one banking day if either Webster or Mr. Woods decided to

terminate their purchase of the fuel during a purported option period. See id. at ¶ 17; see also Dkt.

No. 13 at Exs. 72‒73 (Webster and Woods Fuel Purchase Agreements).

       13.     Relying on the Debtor’s assurances, Webster and Woods deposited a total of

$6,552,000 into OMTC’s bank account ($4.41 million by Webster and $2.142 by Woods). See

Emergency Interim Trustee Motion, Dkt. No. 2 at ¶ 17; see also Dkt. No. 13 at Exs. 74‒75 (Webster

and Woods Wire Transfers). Soon after, the Debtor recommended the “transactions” with Vitol be

terminated (supposedly owing to less favorable commercial terms than originally anticipated). As

Webster and Woods later learned, the Debtor had completely fabricated the Vitol fuel auction to

defraud them. See Emergency Interim Trustee Motion, Dkt. No. 2 at ¶ 18; see also Dkt. No. 13 at

Ex. 4 (Vitol Cease & Desist Letter).

       14.     Despite multiple excuses and promises to pay, the Debtor failed to return the funds.

The Debtor even went as far as sending fake Fedwire reference numbers and altering Goldman

Sachs wire transfer confirmations and emails to make it seem as if he was returning the money (or at

least attempting to). See Emergency Interim Trustee Motion, Dkt. No. 2 at ¶ 20; see also Dkt. No.

13 at Exs. 7‒8 (Goldman Sachs Wire Transfer Confirmations and Emails).

       15.     Only after filing suit against the Debtor and OMTC in the 191st District Court of

Dallas County, Texas in Cause No. DC-20-10214 (the “State Court Action”) did Webster and




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Woods learn through discovery what had happened to their funds.1 See Emergency Interim Trustee

Motion, Dkt. No. 2 ¶ 21; see also Dkt. No. 13 at Ex. 10 (Webster Second Amended Petition).

Almost immediately, the Debtor had transferred virtually the entire balance of $6,550,000 (all but

$2,000 of the funds) to his personal JPMorgan Chase checking account before launching on an

extravagant spending spree that included:              buying valuable residential property in Dallas for

approximately $1.7 million; paying an architect; paying the legal fees of his defense attorneys in

pending lawsuits; paying personal credit card debt; withdrawing $560,000 in cash; and transferring

funds to his personal Robinhood investment account and various other personal accounts. See

Emergency Interim Trustee Motion, Dkt. No. 2 at ¶ 23; Dkt. No. 13 at Ex. 11 (Chase Bank Records).

In addition, between June and July 2020, the Debtor transferred a total of $2,497,000 to Mandarin

Capital LLC, another of the Debtor’s creditors that purportedly loaned him over $6 million. See

Emergency Interim Trustee Motion, Dkt. No. 2 at ¶ 24, 35‒36.

       16.      Eventually, on January 14, 2021, Webster and the Debtor reached a settlement

agreement under which the Debtor agreed to pay Webster $5.25 million by March 1, 2021, in

exchange for a full and final release of Webster’s claims. See id. at ¶ 26; see also Dkt. No. 13 at

Exs. 16‒17 (Webster Settlement Agreement and Agreed Final Judgment). The Debtor agreed that if

he failed to do so then Webster could file an Agreed Final Judgment entitling Webster to $6.25

million in compensatory damages and other relief. Id. Critically, the Agreed Final Judgment, signed

by the Debtor, stipulates that “[w]ith regard to Seven Webster’s fraud claims against Rogers, the

Court has determined that Rogers made representations to Steven Webster, which representations


1
       On the eve of a temporary restraining order hearing in that litigation (at which the state district court agreed to
       freeze several of the Debtor’s and OMTC’s bank accounts), the Debtor voluntarily and unilaterally returned Mr.
       Woods’s funds of $2.142 million. In contrast, Webster has never received any return of his $4.41 million or the
       $6.25 million plus attorneys’ fees and interest owed under the Agreed Final Judgment entered in the State Court
       litigation.


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Rogers knew to be false, with the intent to deceive Steven Webster.” Id. The Debtor ultimately

failed to pay and the State Court entered the Agreed Final Judgment in Webster’s favor. Id.

       17.     Before and after entry of the Agreed Final Judgement, the Debtor persisted in a

pattern of evasiveness and misconduct. See Emergency Interim Trustee Motion, Dkt. No. 2 at

¶ 29‒30. Even after being held in both civil and criminal contempt for flouting the State Court’s

temporary restraining orders, the Debtor refused to respond to post-judgment discovery by

frivolously asserting Fifth Amendment objections, forcing Webster to file a motion to compel that

the State Court granted. See id.; see also Dkt. No. 13 at Exs. 18‒19 (State Court Contempt Orders).

The State Court found that the Debtor had “repeatedly and knowingly disregarded and disobeyed

[its] orders,” doing so even after he had “already been held in contempt of court for knowingly

violating orders of this Court and even after that finding, has failed to obey the valid orders of this

Court.” Id. The State Court further found that “Rogers’ behavior affronts the dignity and authority

of this Court and obstructs this Court’s administration of justice.” Id. The State Court then ordered

Rogers confined in Dallas County jail until he had provided his post-judgment discovery responses.

Id.

       18.     Only then, after two weeks in jail, did the Debtor finally provide discovery responses

disclosing that he had over $21 million in “past due” debts to 28 creditors. See Emergency Interim

Trustee Motion, Dkt. No. 2 at ¶ 31; see also Dkt. No. 13 at Ex. 20 (Excerpts of Rogers’ Verified

Interrogatory Answers & Exhibits). At the same time, the Debtor stated that he had little non-

exempt personal property and negative annual net income of approximately -$96,000 to $126,000.

Id. Faced with this information and having serious concerns that the Debtor may have absconded

with his assets to intentionally put them out of the reach of his creditors, Webster was left with no

alternative but to commence this involuntary bankruptcy proceeding to recover his lost funds.



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         19.    Webster was joined by three of Rogers’ other creditors—Angela Garbiso and Russell

and Debra Van Cleve who are represented by David Miller of Schneider Miller Reynolds, P.C.

(“SMR”).2 Webster, however, incurred virtually all of the legal fees and expenses of undertaking

that effort through his counsel—then with Baker Botts LLP’s Houston office, which was efficient

and logical since that was the same firm and trial counsel that had handled the underlying State

Court Action. See Exhibit J, Declaration of Meghan McElvy at ¶ 5‒7 (hereafter “McElvy Decl.”).

The other petitioning creditors, through SMR, relied almost completely on the legal work performed

by Webster’s counsel and merely indicated their assent to the Involuntary Petition and to the

Emergency Interim Trustee Motion. See Dkt. Nos. 1, 2 and 13; see also Exhibit J, McElvy Decl.

¶ 6‒7.

         20.    Through the efforts of counsel engaged and paid exclusively by Webster, the

Petitioning Creditors filed the Involuntary Petition on March 22, 2022. See Involuntary Petition,

Dkt. No. 1. Despite being served with the involuntary summons on March 24, 2023, see Dkt. No.

11, the Debtor did not answer the Involuntary Petition or even engage counsel until May 2, 2022,

several days after the Order for Relief was entered on April 26, 2022. See Dkt. Nos. 33 (Order for

Relief) and 42 (Creditor Matrix filed by Debtor).

         21.    Because of the Debtor’s long pattern of misleading and deceptive conduct and the

serious threat of dissipation of assets, the Petitioning Creditors were also forced to file the

Emergency Interim Trustee Motion and to request an emergency hearing on same, which was set for

Monday, March 28, 2022. See Dkt. Nos. 2 and 3. Again, the legal fees and expenses of this effort

were incurred and paid for entirely by Webster, with the other petitioning creditors merely indicating

their assent to the Emergency Interim Trustee Motion. See Exhibit J, McElvy Decl. ¶ 5‒7. The

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         Mr. Miller also serves as Special Counsel to the Trustee in this Bankruptcy Case. See Dkt. No. 72 (Order
granting application to employ SMR as Special Counsel on contingent fee basis).


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tangled nature of the Debtor’s affairs and illegitimate business dealings increased the complexity of

preparing and filing both the Involuntary Petition and the Emergency Interim Trustee Motion. See

Dkt. Nos. 2, 13. Webster’s counsel attempted to negotiate a resolution with the Debtor regarding

appointment of an Interim Trustee, but was unable to reach an agreement until Saturday, March 26,

2022. See Exhibit A, March 26, 2022, Email and attached agreed order signed by the Debtor. As a

result, Webster’s counsel had to fully prepare for an anticipated two-day evidentiary hearing

featuring testimony from multiple witnesses and over one hundred potential exhibits. See Exhibit B,

March 24, 2022, Email from J. Bergreen confirming hearing setting of four and a half hours on

Monday, March 28, 2022 and three hours on Tuesday, March 29, 2022; see also Dkt. No. 13

(Witness and Exhibit List for Hearing on Emergency Interim Trustee Motion); Exhibit J, McElvy

Decl. ¶ 15.

       22.     The Debtor did not file any motion, answer or other responsive pleading to the

Involuntary Petition by the deadline of April 14, 2022. Accordingly, the Petitioning Creditors were

forced to file the Emergency Motion to Compel Order for Relief and move for an expedited hearing,

which the Court held on April 25, 2022. See Dkt. Nos. 28; 29 and 32.

       23.     As a result of the Petitioning Creditors’ efforts, funds have been brought back into the

estate and the Trustee, through Special Counsel, is actively pursuing other claims to bring additional

funds back into the estate. See Trustee’s 7/26/2024 Interim Report, Dkt. No. 247. Likewise, the

Trustee and Special Counsel have recently moved to substantively consolidate five of the Debtor’s

corporations into this Bankruptcy Proceeding. See Motion to Consolidate, Dkt. No. 248.

       24.     Furthermore, Debtor recently entered into a Plea Agreement with the United States in

which he agreed to plead guilty to two counts of federal securities fraud, including one on the basis

of the fraud he committed against Webster. See Exhibit C, Rogers’ 4/26/2024 Plea Agreement &



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Factual Resume of Dennis Rogers in Case No. 3-24CR0170-K; In the United States District Court

for the Northern District of Texas, Dallas Division. Debtor’s arraignment on those criminal charges

is set for August 27, 2024. See Case No. 3:24-cr-00170-K-1 in the United States District Court for

the Northern District of Texas at Dkt. No. 6.

                          IV.     ATTORNEYS’ FEES AND EXPENSES

       25.     From January 1, 2022 to April 26, 2022 (the “Compensation Period”), Webster’s

counsel at Baker Botts were required to invest significant time, skill, and labor to prepare and pursue

to a successful conclusion the Involuntary Petition and the directly related and necessary Emergency

Interim Trustee Motion and Emergency Motion to Compel Entry of Order for Relief. In doing so,

Webster incurred attorneys’ fees in the amount of $323,898.24 and expenses in the amount of

$6,688.61. See Exhibit J, McElvy Decl. ¶ 22‒23. Specifically, Webster incurred attorneys’ fees

and costs during the Compensation Period for (i) investigating the legal and factual basis for filing

the Involuntary Petition; (ii) preparing and filing the Involuntary Petition; (iii) investigating the legal

and factual basis for appointment of an interim trustee and preparing and filing the Emergency

Interim Trustee Motion; (iv) coordinating with other petitioning creditors on the Involuntary Petition

and the Emergency Interim Trustee Motion; (v) conferring with the Debtor pre- and post-petition on

the Emergency Interim Trustee Motion; (vi) preparing for the emergency hearing on the Involuntary

Petition and Emergency Interim Trustee Motion; (vii) researching, preparing and filing the

Emergency Motion to Compel Entry of Order for Relief; and (viii) preparing for and conducting the

hearing on the Emergency Motion for Entry of Order for Relief and submitting the necessary form of

order to the Court following the hearing. Id. at ¶ 19.

       26.     The invoices attached hereto as Exhibit D reflect the following information for the

services of Webster’s counsel during the Compensation Period: (a) the number of hours worked by



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each attorney and staff member on a particular day; (b) the manner and type of work performed by

each attorney and staff member; (c) the customary billing rate for each person rendering service in

this matter; and (d) the monetary value assigned to each task performed by a given attorney and/or

staff member. See Exhibit D, January – April 2020 Invoices. Consistent with past practice for

invoices in the State Court Action, Webster did not require the time spent for each task to be

specified in his invoices for the Bankruptcy Case. See Exhibit J, McElvy Decl. ¶ 31. However, the

time and cost entries that form the basis of the recovery sought in this Application clearly relate to

the Involuntary Petition, the Emergency Interim Trustee Motion, and the Emergency Motion to

Compel Order for Relief and, where applicable, have been reduced to account for unrelated time. Id.

Additionally, Webster’s counsel at Baker Botts applied a 25% discount to the rates charged Webster

for their work on same. Id.

       27.     Webster’s counsel has segregated its time spent on this engagement into the following

categories: (i) Fact gathering, investigations and research: 95.1 hours for total fees of $62,401.20;

(ii) Drafting and attention to court filings for pleadings, briefs and exhibits/witness lists: 191.8 hours

for total fees of $138,955.66; (iii) Preparation for and appearance at the hearing on Emergency

Motion for Entry of Order for Relief and follow-up on same: 27.9 hours for total fees of $23,618.25;

and (iv) Preparation for and appearance at hearing on Involuntary Petition and Emergency Motion

for Appointment of Interim Chapter 7 trustee and follow-up regarding same: 147.58 hours for total

fees of $98,923.13. Id. at ¶ 21‒22; see also Invoices, Exhibit D.

       28.     The primary expenses were for copies and online research, mailing, hearing expenses

and filing fees. Computer research is charged at the provider’s cost, and other charges such as

postage, overnight mailings and hearing expenses are charged at actual cost. See Exhibit J, McElvy

Decl. ¶ 23.



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        29.    Webster requests approval and allowance of an administrative expense claim in the

amount of $330,856.85, representing the reasonable fees and expenses incurred by his counsel for

services rendered during the Compensation Period, as reflected in the invoices in Exhibit D and

after application of fee discounts. This amount is comprised of professional fees in the amount of

$323,898.24 and expenses in the amount of $6,688.61.

        30.    As detailed in the invoices at Exhibit D, Webster’s counsel and other professionals

spent a total of 529.0 hours working on this engagement during the Compensation Period. The

administrative claim sought herein is for a total of 462.3 hours of work. The difference in hours

relates to tasks that were not directly related to the Involuntary Petition or the Emergency Interim

Trustee Motion.

        31.    Although Debtor later sought to convert this case into a Chapter 11 bankruptcy,

which forced Webster to incur over $78,000 in additional fees and expenses to defeat it for the

benefit of the estate, this administrative claim does not include any fees or expenses incurred after

the date of the order for relief on the Involuntary Petition—April 26, 2022.

                                    V.      BASIS FOR RELIEF

        32.    Sections 503(b)(3) and 503(b)(4) of the Bankruptcy Code grant petitioning creditors

an administrative expense claim for expenses incurred by them in connection with the filing of an

involuntary petition under Section 303 of the Bankruptcy Code. Those sections provide in relevant

part:

               (b) After notice and a hearing, there shall be allowed administrative
               expenses, other than claims allowed under 502(f) of this title,
               including‒…

               (3) the actual, necessary expenses, other than compensation and
               reimbursement specified in paragraph (4) of this subsection, incurred
               by‒

                  (A) a creditor that files a petition under section 303 of this title; …

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               (4) reasonable compensation for professional services rendered by an
               attorney or an accountant of an entity whose expense is allowable
               under subparagraph (A), (B), (C), (D), or (E) of paragraph (3) of this
               subsection, based on the time, the nature, the extent, and the value of
               such services, and the cost of comparable services other than in a case
               under this title, and reimbursement for actual, necessary expenses
               incurred by such attorney or accountant;….

11 U.S.C. §§ 503(b)(3)‒(4).

       33.     Accordingly, when a creditor files an involuntary petition that successfully results in

the entry of an order for relief, the creditor may seek recovery of its fees and costs, including

attorneys’ fees, related to the preparation and adjudication of the involuntary petition through such

time as an order for relief is entered. See In re HovdeBray Enterprises, 499 B.R. 333, 337 (Bankr.

D. Minn. 2013); In re Crazy Eddie, Inc., 120 B.R. 273, 277-78 (Bankr. S.D.N.Y. 1990); In re Key

Auto Liquidation Ctr., Inc., 384 B.R. 599, 605-06 (Bankr. N.D. Fla.2008).

       34.     Attorneys’ fees are recoverable under sections 503(b)(3)(A) and (b)(4) for activities

such as the “preparation and filing of the involuntary petition, contacting other creditors to join in

the petition, discovery, legal and factual research regarding the grounds for filing the case and, if

entry of an order for relief is contested by the debtor, litigation of the issue of whether an order for

relief should be entered.” In re Westek Georgia, LLC, 317 B.R. 567, 570 (Bankr. M.D. Ga. 2004)

(citing 4 Collier on Bankruptcy, ¶ 503. 10.[2] (15th ed. rev. 2004)). The date of entry of the order

for relief is considered the cut-off for administrative expenses based on the commencement of an

involuntary bankruptcy. In re Indian Motorcycle Apparel and Accessories Co., 174 B.R. 659, 663

(Bankr. D. Mass.1994) (“The services associated with the filing of an involuntary petition

necessarily include consultation with petitioning creditors and coordination of their joint venture.

Those services also include the actual preparation of the involuntary petition and effectuation of

service of process . . . . However, once the Order for Relief enters and becomes final, legal services

associated with the filing of the involuntary petition are completed.”) (internal citations omitted).

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Furthermore, it is irrelevant whether the creditor is seeking reimbursement for attorneys’ fees that

have been previously paid, as opposed to fees that remain due and owing. In re Westek, 317 B.R. at

571 (“Debtor filed an objection to the application. Debtor notes that Applicants have already paid

their professionals and are merely seeking reimbursement. The Court is not persuaded that this

should affect Applicants entitlement.”).

       A.      Standard of Review

       35.     Section 503(b)(3)(A) “conclusively presumes” that creating a case and bringing assets

within the court’s jurisdiction is beneficial to creditors and does not require that a petitioning

creditor prove “the outcome of the case was more beneficial to creditors than the result that might

have obtained had no case been filed.” Id. at 569‒70 (citing 4 Collier On Bankruptcy ¶ 503.10[2][a]

(15th ed. rev.2004)); see also In re Key Auto Liquidation, 384 B.R. at 604 (“The purpose of

§§ 503(b)(3)(A) and 503(b)(4) is to reimburse petitioning creditors for the costs associated with

successfully filing and prosecuting an involuntary petition—a valuable service that brings the debtor

into court so that its assets can be equitably marshaled before they are squandered”).

       36.     When an administrative expense claim for attorneys’ fees is sought under Bankruptcy

Code § 503(b)(4), “[t]he requirements pursuant to 11 U.S.C. § 330 for documenting how time was

expended are applicable to fee applications under section 503(b).” In re Stoecker, 128 B.R. 205,

209 (Bankr. N.D. Ill. 1991) (citing 3 Collier on Bankruptcy ¶ 503.04[4] at 503-51 (15th ed. 1991)).

Specifically, § 330 provides, inter alia, that the allowance of professional compensation should be

based upon:

               (A) the time spent on such services;

               (B) the rates charged for such services;




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               (C) whether the services were necessary to the administration of, or
               beneficial at the time at which the service was rendered toward the
               completion of, a case under this title;

               (D) whether the services were performed within a reasonable amount of
               time commensurate with the complexity, importance, and nature of the
               problem, issue, or task addressed;

               (E) with respect to a professional person, whether the person is board
               certified or otherwise has demonstrated skill and experience in the
               bankruptcy field; and

               (F) whether the compensation is reasonable based on the customary
               compensation charged by comparably skilled practitioners in cases other
               than cases under this title.

11 U.S.C. 330(a)(3).

       37.     As shown herein, Webster’s efforts on behalf of himself and the other petitioning

creditors successfully resulted in the entry of an Order for Relief on the Involuntary Petition and the

appointment of an interim trustee on an emergency basis. This was extraordinary relief on both

counts. See In re Diamondhead Casino Corp., 540 B.R. 499, 504 (Bankr. D. Del. 2015) (“An

involuntary petition is an extreme remedy with serious consequences to the alleged debtor…. An

even more extreme remedy—the appointment of an interim trustee—is permitted by section 303(g)

of the United States Bankruptcy Code, ‘if necessary to preserve the property of the estate or to

prevent loss to the estate.’”) (quoting 11 U.S.C. § 303(g)). Consequently, the Debtor—an admitted

serial fraudster—is now forced to account to all of his creditors who, combined, have come forward

with over $22.4 million in claims (including Webster’s unsecured judgment claim). See Bankruptcy

Case, Claims Register. Quite simply, but for Webster’s extraordinary and highly successful efforts,

there would be no bankruptcy case, no interim trustee during the gap period, no trustee, no special

counsel to the trustee working on a contingent fee basis, and likely no recovery by any except a

handful of lucky creditors. Under the standards promulgated by the Fifth Circuit, Webster is



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therefore entitled to an administrative expense claim for the reasonable attorneys’ fees and expenses

incurred in filing and adjudicating the Involuntary Petition and the related and necessary Emergency

Interim Trustee Motion.

          B.       First Colonial Factors

          38.      In support of this Application, Webster respectfully directs the Court’s attention to

those factors generally considered by Bankruptcy Courts in awarding compensation to professionals,

as enumerated in § 330 of the Bankruptcy Code and developed by caselaw.                 The controlling

authority in the Fifth Circuit is Matter of First Colonial Corporation of America, 544 F.2d 1291 (5th

Cir. 1977) (quoting Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717‒19 (5th Cir.

1974)).        First Colonial identified twelve (12) factors that should govern this Court’s decision

regarding this Application. Applied to the services of Webster’s counsel in this Bankruptcy Case,

and as explained in further details in the Declaration of Meghan McElvy in support of this

Application, those factors are addressed as follows:

                a. Time and Labor Required. The invoices attached at Exhibit D detail the involvement

                   of the Webster’s counsel attorneys in the Bankruptcy Case during the Compensation

                   Period. The Compensation Period spans approximately four (4) months wherein a

                   total of 462.3 hours of attorney and staff time was expended in this Bankruptcy Case

                   in relation to the Involuntary Petition and the directly related and necessary

                   Emergency Interim Trustee Motion and Emergency Motion to Compel Entry of Order

                   for Relief. All of the services performed are compensable in that they represent

                   actual and necessary services performed in preparing, filing, and adjudicating those

                   filings. See generally Exhibit J, McElvy Decl. In particular, Webster’s counsel was

                   forced to prepare for a two-day hearing involving multiple witnesses and extensive



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            documentary evidence for the Emergency Interim Trustee Motion because of the

            inability to reach an agreement with the Debtor until the eve of the hearing. Id. at

            ¶ 18. Moreover, Judge Hale agreed with Webster’s counsel as to the Emergency

            Motion to Compel Entry of Order for Relief and entered the Order for Relief on April

            26, 2022. Id. at ¶ 10.

         b. Novelty and Difficulty of Questions Presented. As set out above, Dennis James

            Rogers, II, is no ordinary Chapter 7 debtor and the Bankruptcy Case was not an

            ordinary involuntary bankruptcy proceeding. Many of the tasks reflected in the

            invoices attached as Exhibit D involved factual and legal questions which were of

            moderate to high difficulty because of the circumstances of the Debtor’s pre-petition

            conduct. Id. at ¶ 15‒20. Other bankruptcy courts have noted that appointment of an

            interim trustee is an “even more extreme remedy” than the grant of an involuntary

            petition and that such requests are rare. In re Diamondhead Casino Corp., 540 B.R.

            at 505 (“There is limited case law applying section 303(g), no doubt because the

            request for such relief is rare.”).

         c. Skill Requisite to Perform Service.        A practitioner unfamiliar with complex

            commercial litigation and bankruptcy law, including involuntary bankruptcies, would

            have been required to spend considerably more hours than Webster’s counsel and

            professional staff to perform the same tasks. This is especially true considering that

            Webster’s counsel had also handled the underlying State Court Action against the

            Debtor and were able to leverage the post-judgment discovery they obtained in that

            case to support the Involuntary Petition and the Emergency Interim Trustee Motion.




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         d. Preclusion of Other Employment Due to Acceptance of Case. Webster’s counsel did

            not decline any representation solely because of their services in the Bankruptcy

            Case.

         e. Customary Fee. The hourly rates sought herein are commensurate with the rates

            charged and approved in other bankruptcy proceedings pending during the relevant

            period in the Northern District of Texas and the Southern District of Texas in 2022.

            Additionally, Webster’s counsel at Baker Botts applied a significant 25% discount to

            those rates, which substantially reduced the fees Webster incurred. See Exhibit J,

            McElvy Decl. ¶ 13. As additional support of the reasonableness of the rates charged,

            Webster refers the Court to the following: Exhibit E, Declaration of David R.

            Eastlake in Support of Creditor Steven A. Webster’s Motion for Sanctions, at Exhibit

            1 (Dkt. No. 90 (#9)) (Valeo Partners Attorney Hourly Rate and AFA Database for

            2021 Texas Partners and Associates) (reflecting hourly rates for attorneys ranging

            from $1,825 to $206 per hour); Exhibit F, Final Fee Application of Vinson & Elkins

            LLP, Attorneys for the Debtors and Debtors in Possession, for the Period from March

            9, 2022 through June 10, 2022 filed in Case No. 22-90000 (MXM) in the Northern

            District of Texas, styled In re Rockall Energy Holdings, LLC et al. (reflecting average

            hourly rate of $867.35 for professionals and $310 for paraprofessionals, and a range

            of billing rates for attorneys of $590.00 to $1,465.00); Exhibit G, First Interim and

            Final Fee Application of Weil, Gotshal & Manges LLP as Special Counsel to the

            Special Litigation Committee of the Board of Directors of Rockall Energy Holdings,

            LLC for Allowance of Compensation and Reimbursement of Expenses for the Period

            of March 9, 2022 Through and Including June 10, 2022 filed in Case No. 22-90000



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              (MXM) in the Northern District of Texas, styled In re Rockall Energy Holdings, LLC

              et al. (reflecting blended rate for all attorneys of $1,157.93 and blended rate for all

              timekeepers of $1,083.97, and a range of billing rates for attorneys of $695 to $1,475

              per hour); Exhibit H, Fifth Interim and Final Fee Application of Katten Muchin

              Rosenman LLP for Allowance and Payment of Fees and Expenses as Attorneys to

              Debtor GWG Holdings, Inc., on Behalf of and At the Sole Direction of the

              Independent Directors, for the (I) Fifth Interim Fee Period from May 1, 2023 Through

              and Including June 20, 2023, and (II) Total Fee Period from June 20, 2022 Through

              and Including June 20, 2023 filed in Case No. 22-90032 (MI) in the Southern District

              of Texas, styled In re GWG Holdings, Inc. et al. (reflecting average hourly rate for

              attorneys of $1,249.44 and average hourly rate for paraprofessionals of $460);

              Exhibit I, Third Interim and Final Fee Application of Paul Hastings LLP, Counsel to

              Sean Clements and the Conflicts Committee of the Board of Directors of GWG DLP

              Funding IV, LLC, for Allowance and Payment of Fees and Expenses for the Period

              from May 1, 2023 through June 19, 2023 filed in Case No. 22-90032 (MI) in the

              Southern District of Texas, styled In re GWG Holdings, Inc. et al. (reflecting average

              hourly rate for professionals of $1,389 and average hourly rate for paraprofessionals

              of $540).

          f. As set out in Exhibit J, Declaration of Meghan McElvy, the hourly rates charged,

              hours billed and total amounts billed by the attorneys and staff of Webster’s counsel

              who worked on the Bankruptcy Case are as follows:3



3
      All of the professionals and staff presented in this Motion were employed by Baker Botts L.L.P. during the
      Compensation Period.


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       Name and Position      Department and         Hourly Billing         Total Billed        Total Amount
       of Professional        Date/State of First    Rate                   Hours               Billed4
       Person                 Admission (if
                              applicable)
       David R. Eastlake,     Financial                    $1,305                112.48             $113,399.61
       Partner                Restructuring, 2007
                              New York
       Travis Sales,          Litigation, 1987              1,350                 9.50               $ 9,618.75
       Partner                Texas
       Meghan McElvy,         Litigation, 2008             $1,130                 74.05             $ 64,729.23
       Partner                Texas
       Kristen M.             Financial                     $860                  82.80             $ 53,406.00
       Jacobsen, Associate    Restructuring, 2017
                              Texas
       Christopher            Litigation, 2018              $860                  62.70             $ 41,512.20
       Tutunjian, Associate   Texas
       Emily Rohles           Litigation, 2021              $580                  31.40             $ 14,021.50
                              Texas
       Rory Fontenla          Senior Paralegal              $410                  67.4               $ 21,740.25
       Jessica Aquino         Paralegal                     $370                  1.20               $ 351.50
       Kendall Sherman        Paralegal                     $370                  2.20                $ 610.50
       Christine Davis        Research Librarian            $270                  0.20                $    40.50
       Cynthia Montalvo       Research Librarian            $270                  8.10               $ 1,798.20
       Richard Pravata        Research Librarian            $270                  2.10               $    425.25
       Christi Acciarri       Litigation Graphics           $365                  8.20               $ 2,244.75
                                                                    Total        462.3              $323,898.24


              Furthermore, as noted above, Webster’s counsel applied a significant 25% discount to

              the fees charged to Webster for the work related to the Involuntary Petition, the

              Emergency Interim Trustee Motion, and the Emergency Motion to Compel Order for

              Relief, further demonstrating their reasonableness. See Exhibit J, McElvy Decl.

              ¶ 21‒29.

          g. Whether the Fee is Fixed or Contingent. Webster’s counsel’s fees are fixed insofar as

              their compensation in the Bankruptcy Case is based upon the hours billed at the




4
      Total Billed amount includes a 15% discount for January 2022 fees of $1,489.80, a 25% discount for March
      2022 fees of $83,114.03 and a 25% discount for April fees of $12,814.31.


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            above-specified rates. There has not at any point been a contingent fee agreement

            with Webster.

         h. Time Limitations Imposed by Client or Other Circumstances. The circumstances of

            the Bankruptcy Case imposed time pressures due to the nature of the Debtor’s assets,

            liabilities and pre-petition conduct and the significant concern of dissipation of assets.

         i. Amount Involved and Results Obtained. Webster, with the assistance of his counsel,

            successfully prepared, filed, and adjudicated the Involuntary Petition and Emergency

            Interim Trustee Motion which resulted in the appointment of an Interim Trustee and

            the entry of an Order for Relief with the hope that these actions will result in a

            meaningful distribution to the Debtor’s creditors.

         j. Experience, Reputation and Ability of Attorneys. Mr. Eastlake and Ms. Jacobsen

            specialized almost exclusively in the practice of bankruptcy law, including the

            representation of debtors in possession, official and ad hoc committees, significant

            creditors and secured lenders in complex Chapter 11 reorganization cases, Chapter 7

            liquidations, out-of-court restructurings and commercial and bankruptcy-related

            litigation matters.   The other attorneys involved in the Bankruptcy Case have

            extensive experience in complex commercial litigation matters.           Moreover, Ms.

            McElvy served as lead counsel in the State Court Action against the Debtor, which

            provided valuable institutional knowledge to the Bankruptcy Case team and increased

            the overall efficiency of their work. The reputation of Baker Botts L.L.P. attorneys is

            recognized and respected in the community.

         k. Undesirability of Case. There was nothing undesirable about this case.




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            l. Nature and Length of Professional Relationship with Client. Webster’s counsel,

                acting through Ms. McElvy, represented Webster in the State Court Action since June

                2020, or for a little less than two years prior to commencement of the Bankruptcy

                Case.

            m. Award in Similar Cases. Involuntary Chapter 7 bankruptcy cases are unusual, and

                even moreso Chapter 7 bankruptcies involving appointment of an interim Chapter 7

                trustee—both of which occurred in this case. Webster’s counsel are not aware of any

                other similar, recent cases in this District involving these unique circumstances.

                Nonetheless, Webster’s counsel believes that the fees requested herein are

                commensurate with those that have been awarded in other bankruptcy cases pending

                in this District during the Compensation Period. See Exhibit J, McElvy Decl. ¶ 23.

        WHEREFORE, PREMISES CONSIDERED, Webster respectfully requests that the Court

enter an order granting this Application in the form attached hereto, awarding Webster an

administrative expense claim as set forth herein for reasonable attorneys’ fees of $323,898.24 and

expenses of $6,688.61, and granting Webster such other and further relief to which he may be justly

entitled, at law or in equity.

        Respectfully submitted this the 14th day of August, 2024.




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                                                             /s/ Meghan Dawson McElvy
                                                             Meghan Dawson McElvy
                                                             Texas State Bar No. 24065127
                                                             Bradley Arant Boult Cummings LLP
                                                             600 Travis Street, Suite 5600
                                                             Houston, Texas 77002
                                                             Tel. 713.576.0314
                                                             mmcelvy@bradley.com

                                                             George H. Barber
                                                             Texas State Bar No. 01705650
                                                             Bradley Arant Boult Cummings LLP
                                                             Fountain Place
                                                             1445 Ross Ave., Suite 3600
                                                             Dallas, TX 75202
                                                             Telephone: 214.257.9800
                                                             gbarber@bradley.com

                                                             ATTORNEYS FOR STEVEN WEBSTER



                               CERTIFICATE OF CONFERENCE

       I hereby certify that on August 13, 2024, I emailed Ken Hill, as counsel for Areya Holder,
Chapter 7 Trustee, to confer regarding the relief sought in this Application. Mr. Hill advised that the
Trustee is opposed to the relief sought in this Application.


                                                       /s/ Meghan Dawson McElvy
                                                       Meghan Dawson McElvy


                              PROFESSIONAL CERTIFICATION

       I hereby certify (a) that I am the professional with responsibility to verify compliance with
the Guidelines for Compensation and Expense Reimbursement of Professionals as promulgated in
the United States Bankruptcy Court for the Northern District of Texas (“Guidelines”); (b) I have
read the Application; (c) to the best of my knowledge, information and belief, formed after
reasonable inquiry, the compensation and expense reimbursement sought is in conformity with the
Guidelines except as otherwise specifically noted in the Application; and (d) the compensation and
expense reimbursement requested were billed at rates, in accordance with practices, no less
favorable than those customarily employed by Baker Botts L.L.P. during 2022 and generally
accepted by Baker Botts’ clients during 2022.

                                                       /s/ Meghan Dawson McElvy
                                                       Meghan Dawson McElvy


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                                      CERTIFICATE OF SERVICE

         I hereby certify that on August 14, 2024, I caused a true and correct copy of the foregoing to
be served on all parties eligible to receive service through the Electronic Case Filing System for the
United States Bankruptcy Court for the Northern District of Texas by electronic mail. Concurrently
with the ECF filing, I also caused a notice of the foregoing filing, including its summary details and
instructions on how any party in interest may obtain a hard copy of it free of charge, to be served on
all parties eligible to receive service through the Electronic Case Filing System for the United States
Bankruptcy Court for the Northern District of Texas by electronic mail and by first class mail,
postage prepaid, on the persons and entities set forth on the attached service list. Furthermore, I
certify that I caused a true and correct copy of the foregoing to be served by U.S. mail, postage
prepaid, upon the Debtor and the Office of the United States Trustee.

                                                       /s/ Meghan Dawson McElvy
                                                       Meghan Dawson McElvy




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0539-3                                         Linebarger Goggan Blair & Sampson, LLP   c/o Karl Dial
Case 22-30500-swe7                             c/o Sherrel K. Knighton                  Greenberg Traurig, LLP
Northern District of Texas                     2777 N Stemmons Frwy, Suite 1000         2200 Ross Avenue, Suite 5200
Dallas                                         Dallas, TX 75207-2328                    Dallas, TX 75201-2794
Tue Aug 13 16:07:36 CDT 2024
(p)JEFFERSON CAPITAL SYSTEMS LLC               JPMorgan Chase Bank, N.A.                Mandarin Capital, LLC
PO BOX 7999                                    c/o Suyash Agrawal                       2600 Cecil Drive
SAINT CLOUD MN 56302-7999                      Massey & Gail LLP                        Holladay, UT 84124-2906
                                               50 E. Washington Street, Suite 400
                                               Chicago, IL 60602-2100

U.S. Attorney                                  U.S. Attorney General                    (p)WILDCAT LENDING FUND ONE LP
1100 Commerce, 3rd Floor                       Department of Justice                    4800 DEXTER DRIVE
Dallas, TX 75242-1074                          Washington, DC 20001                     PLANO TX 75093-5505



1100 Commerce Street                           ACMC Finance and Trade Joshua Kluewer    ACMC Finance and Trade LLC
Room 1254                                      1055 W. 7th Street Suite 336             2820 Lucerne Avenue
Dallas, TX 75242-1305                          4 Los Angles, CA 90017-2577              Miami Beach Florida 33140-4267



American Express                               Andre Leblanc                            Angela Garbiso
P.O Box 650448                                 P. O. Box 82009                          Schneider Miller Reynolds, P.C. David Mi
Dallas, TX 75265-0448                          Lafayette, LA 70598-2009                 300 N. Coit Rd., Suite 1125
                                                                                        Richardson, TX 75080-5535


Apple Card                                     BAMCG Bridge Partners LP                 Bank of America
P.O Box 7247                                   13800 Seniac Dr. Ste 200                 P.O Box 15019
Philadelphia, PA 19170-6112                    Dallas, TX 75234-8823                    Wilmington, DE 19850-5019



Brent Bohn                                     Carolyn Guilbeau Perry                   Carolyn Perry
1775 N Martin L King Blvd                      530 Catholique Road                      3914 75th Place
Las Vegas, NV 89106-2101                       Carencro LA 70520-5603                   Lubbock, TX 79423-1128



Chase Bank                                     Dallas County John R. Ames,              David Meche
P.O Box Carol Strem                            CTA 500 Elm Street                       5121 Johnston St.
IL 60197-6294                                  Dallas, TX 75202-3304                    Lafayette, LA 70503-5157



Debra & Russell Van Cleve Schneider Miller R   Dennis J. Woods                          Dennis Rogers Sr.
300 N Coit Rd., Suite 1125                     c/o Meghan McElvy                        County Rd 250
Richardson, TX 75080-5535                      Chase Tower                              Durango, CO 81301
                                               600 Travis Street, Suite 5600
                                               Houston, TX 77002-2909

Discover Bank                                  Discover Card                            Eamonn J. Wiles
P.O. Box 3025                                  P.O Box 30666                            801 Cherry Street
New Albany, Oh 43054-3025                      Salt Lake City, UT 84130-0666            Suite 2000
                                                                                        Fort Worth, TX 76102-6882


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Decker Jones, P.C.                         2014 Beau Bassin Rd                  P.O Box 1600
801 Cherry Street, Unit #46                Lafayette, LA 70520-5936             San Antonio, TX 78296-1600
Fort Worth, TX 76102-6803


Funderz.net 1022 Ave M                     Gerard Ballanco Jr                   Gerard Ballanco Jr.
Floor 2                                    611 East Prudhomme St.               460 Judice Rd
Brooklyn, NY 11230                         Opelousas, LA 70570-6458             Sunset, Louisiana 70584-5156



Goldman Sachs                              Holland & Hart                       Infinity Global Fuel, Inc
100 Crescent Court                         222 S. Main St. #2200                5100 Westheimer Suite 200
Dallas TX 75201-7893                       Salt Lake City UT 84101-2194         Houston, TX 77056-5597



John & Ronda Harris                        John Foreman                         John Hughes
231 Ramblewood Dr.                         1819 Pinhook Road Suite 215          2000 Kaliste Saloom Road Suite 400
Lafayette, LA 70508-7403                   Lafayette, LA 70508-3700             Lafayette, LA 70508-6180



John S. Foreman III and Andre C. Leblanc   Justin Leemay TFRE Investments LLC   Kathy Rogers
Attn: J. Mark Chevallier, Esq.             1831 W Crest Ridge Rd.               County Rd 250
McGuire, Craddock & Strother, P.C.         Lehi, UT 84043-7757                  Durango, CO 81301
500 N. Akard St., Suite 2200
Dallas, TX 75201-3317

Kenneth Guilbeau                           Kenneth and Shawna Guilbeau          Lincoln Automotive Financial Services
P.O Box 700                                3185 Highway 178                     P.0 Box 650574 Dallas
Carencro, LA 70520-0700                    Sunset LA 70584-5116                 TX 75265-0574



Lincoln Automotive Financial Services      Linda Brown                          Linda Brown
c/o Wilcox Law, PLLC                       5340 Gooseberry Way                  6545 Sequence Drive
P.O. Box 201849                            Oceanside, CA 92057-4629             San Diego, CA 92121-4363
Arlington, TX 76006-1849


MCPP Park District Residential             Mandarin Capital LLC                 Mandarin Capital, LLC
2711 N. Haskell Ave Suite 2400             2100 Ross Ave., Suite 2700           2290 E. 4500 S #260
Dallas, TX 75204-2926                      Dallas, TX 75201-7919                Salt Lake City, UT 84117-4494



Mandarin Capital, LLC                      Mccathern Law Firm                   Noor Concepts
Lynn Pinker Hurst & Schwegmann LLP         3710 Rawlins Street Suite 1600       555 E 5th Street Apt 3022
2100 Ross Avenue, Ste. 2700                Dallas, TX 75219-4258                Austin, TX 78701-4153
Dallas, TX 75201-7919


Noor Concepts LLC                          PRA Receivables Management, LLC      Perry Judice Russell Devenport
c/o Nicoud Law                             PO Box 41021                         McDonald Sanders, P.C.
10440 N. Central Expressway                Norfolk, VA 23541-1021               777 Main Street, Suite 1300
Suite 800                                                                       Fort Worth, TX 76102-5385
Dallas, TX 75231-2264
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Raymond McKaskel                      Raymond McKaskle
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                                                                    of 32         Scott Faulkner
1216 Ridgewood Place                           1216 Ridgewood Place                           683 O Lakehurst Avenue
Houston, TX 77055-5048                         Houston, TX 77055-5048                         Dallas, TX 75230



Steven A Webster David R. Eastlake Baker Bot   Steven A. Webster, Aaron Webster, and Dennis   Steven Wang
910 Louisiana St.                              c/o George H. Barber                           20 Camelot Rd.
Houston, TX 77002-4916                         BRADLEY ARANT BOULT CUMMINGS LLP/ Founta       Windham NH 03087-1632
                                               1445 Ross Avenue, Suite 3600
                                               Dallas, TX 75202-2761

Steven Webster                                 Synchrony Bank                                 Synchrony Bank
c/o Meghan McElvy                              P.O Box 965003                                 c/o PRA Receivables Management, LLC
Chase Tower, 600 Travis Street, Suite 56       Orlando, Fl 32896-5003                         PO Box 41021
Houston, TX 77002-3009                                                                        Norfolk VA 23541-1021


Tony May                                       Troya L Montgomery                             Troya Montgomery
1850 E. Sahara Ave. Suite 206                  350 Ambroise                                   350 Ambroise
Las Vegas, NV 89104-3746                       Newport Coast, CA 92657-0127                   Newport Coast, CA 92657-0127



United States Trustee                          WeWork                                         Wildcat Lending
1100 Commerce Street                           115 W 18th St                                  4800 Dexter Drive
Room 976                                       New York, NY 10011-4113                        Plano Plano, TX 75093-5505
Dallas, TX 75242-0996


Angela Garbiso                                 Areya Holder                                   Brandon J Gibbons
c/o David Miller                               Areya Holder, Trustee                          FUNDERZ.NET, LLC
Schneider Miller Reynolds, P.C.                Law Office of Areya Holder, PC                 C/O Padfield & Stout, L.L.P.
300 N. Coit Road, Suite 1125                   PO Box 2105                                    420 Throckmorton Street, Suite 1210
Richardson, TX 75080-5535                      Addison, TX 75001-2105                         Fort Worth, TX 76102-3792

Debra A. Van Cleve                             Dennis James Rogers II                         Ellis Guilbeau
c/o David Miller                               6520 Del Norte Lane                            c/o Russell Devenport
Schneider Miller Reynolds, P.C.                Dallas, TX 75225-2619                          777 Main St
300 N. Coit Road, Suite 1125                                                                  Suite 2700
Richardson, TX 75080-5535                                                                     Fort Worth, TX 76102-5366

Eric Liepins, PC                               Eric A. Liepins                                John O. Harris
12770 Coit Raod                                Legal Aid of Northwest Texas                   c/o Russell Devenport
Suite 850                                      1515 Main Street                               777 Main Street
Dallas, TX 75251-1364                          Dallas, TX 75201-4841                          Suite 2700
                                                                                              Fort Worth, TX 76102-5366

Kenneth Guilbeau                               Michael H. Moghimi                             Raymond McKaskle
c/o Russell Devenport                          c/o Nicoud Law                                 c/o Russell Devenport
777 Main St                                    10440 N. Central Expwy.                        777 Main Street
Suite 2700                                     Suite 800                                      Suite 2700
Fort Worth, TX 76102-5366                      Dallas, TX 75231-2264                          Fort Worth, TX 76102-5366

Ronda A. Harris                                Russell Van Cleve                              Shawna Guilbeau
c/o Russell Devenport                          c/o David Miller                               c/o Russell Devenport
777 Main Street                                Schneider Miller Reynolds, P.C.                777 Main St, Suite 2700
Suite 2700                                     300 N. Coit Road, Suite 1125                   Fort Worth, TX 76102-5366
Fort Worth, TX 76102-5366                      Richardson, TX 75080-5535
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Shawna Guilbeau Perry                 Steven A. Webster
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c/o Russell Devenport                                c/o David R. Eastlake
777 Main St, Suite 2700                              Baker Botts L.L.P.
Fort Worth, TX 76102-5366                            910 Louisiana Street
                                                     Houston, TX 77002-4995



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


JEFFERSON CAPITAL SYSTEMS LLC                        Wildcat Lending Fund One, LP                         (d)Jefferson Capital Systems, LLC
PO BOX 7999                                          4800 Dexter Drive                                    PO Box 7999
ST CLOUD, MN 56302-9617                              Plano, TX 75093                                      St. Cloud, MN 56302-9617




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)ACMC Finance and Trade LLC                        (u)BAMCG Bridge Partners LP                          (u)Dortch Lindstrom Livingston Law Group




(u)FUNDERZ.NET, LLC                                  (u)Goldman Sachs & Company LLC                       (u)John S. Foreman, III




(u)Lincoln Automotive Financial Services             (u)Quilling, Selander, Lownds, Winslett & Mos        (u)Schneider Miller Reynolds, P.C.




(d)John and Ronda Harris                             (d)Mandarin Capital                                  (u)Allison Rogers
231 Ramblewood Dr.                                   2600 Cecil Drive
Lafayette, LA 70508-7403                             Holladay UT 84124-2906



(u)Andre C. Leblanc                                  End of Label Matrix
                                                     Mailable recipients    91
                                                     Bypassed recipients    13
                                                     Total                 104




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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                                          )
                                                  Case Number 22-30500-swe7
                                                )
                                                  (Involuntary Proceeding)
DENNIS JAMES ROGERS, II,                        )
                                                )
                                                )
         Debtor.


    [PROPOSED] GRANTING STEVEN WEBSTER’S MOTION FOR ALLOWANCE OF
   ADMINISTRATIVE EXPENSE CLAIM PURSUANT TO 11 U.S.C. § 503(b)(3)(a) and (4)

         On this date, the Court considered the Application for Allowance of Administrative Expense

Claim Pursuant to 11 U.S.C. § 503(b)(3) and (4) (Dkt. No. _____, the “Application”) filed by Steven

Webster (“Webster”) seeking allowance of an administrative expense claim for the attorneys’ fees

and expenses incurred in connection with the Involuntary Petition filed against Dennis James

Rogers, II. The Court, after considering the Application and supporting evidence, the applicable

law, the arguments of counsel, if any, and all other supporting or opposing papers, has determined

that: (i) notice of the Motion was appropriate and sufficient under the circumstances; (ii) the

amounts sought in the Motion as an administrative expense were actual, necessary expenses incurred

by Webster as a petitioning creditor under 11 U.S.C. § 303, including reasonable compensation for

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attorneys’ fees based on the time, the nature, the extent, and the value of such services, and the cost

of comparable services other than in a case under the Bankruptcy Code. Accordingly, the Court

finds that the Application should be granted.

         It is therefore ORDERED that:

         1.     The Application is hereby GRANTED.

         2.     Webster is hereby awarded an administrative expense claim pursuant to 11 U.S.C.

                § 503 for the reasonable attorneys’ fees and expenses incurred in connection with the

                Involuntary Petition in the total amount of $330,586.85, of which $323,898.24 is

                awarded for compensation of attorneys’ fees and $6,688.61 is awarded for

                reimbursement of expenses to Webster’s counsel.

         3.     The Trustee shall be and hereby is authorized to immediately pay Webster the full

                amount of fees and expenses approved herein.

                                       # # # End of Order # # #

Submitted by:

Meghan Dawson McElvy
Texas State Bar No. 24065127
Bradley Arant Boult Cummings LLP
600 Travis Street, Suite 5600
Houston, Texas 77002
Tel. 713.576.0314
mmcelvy@bradley.com

George H. Barber
Texas State Bar No. 01705650
Bradley Arant Boult Cummings LLP
Fountain Place
1445 Ross Ave., Suite 3600
Dallas, TX 75202
Telephone: 214-257-9800
gbarber@bradley.com

ATTORNEYS FOR STEVEN WEBSTER

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                          Exhibit A




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From:                      Dennis Rogers <dennis.rogers@omtcinc.com>
Sent:                      Saturday, March 26, 2022 3:30 PM
To:                        'Eastlake, David R.'
Cc:                        'McElvy, Meghan'; 'Sales, Travis'
Subject:                   Re: Rogers Involuntary Bankruptcy - Revised Agreed Order
Attachments:               Revised Agreed Order for Trustee.pdf


Please see attached…

Thank you,

Dennis




         On Mar 26, 2022, at 2:48 PM, Eastlake, David R. <david.eastlake@bakerbotts.com> wrote:

         Dennis,
         I just spoke to Meghan and understand you had some difficulty opening the attachment, so I’m
         attaching another copy of the revised agreed order in Word. Please let us know if you are unable to
         open this file.
         Also, because you previously stated you were opposed to our motion and we stated your opposition in
         our motion filed with the court, this will need to be an agreed order, with all parties signing off on it. An
         unopposed order typically accompanies an unopposed motion, which we did not have here at the time
         of filing.
         If the revised order is acceptable to you, please sign where indicated on the last page and scan back to
         us so that we may add your e‐signature to the order. Once we’ve added all parties’ e‐signatures, we will
         upload the agreed order with the court and contact the judge’s case manager to let her know that we
         have reached an agreement on the motion and request that the agreed order be entered by the court.
         We will copy on our correspondence with the court’s case manager.
         Thank you,
         David
         David R. Eastlake
         Partner

         Baker Botts L.L.P.
         david.eastlake@bakerbotts.com
         T +1.713.229.1397
         F +1.713.229.7897
         M +1.713.385.7113
         910 Louisiana Street
         Houston, Texas 77002
         USA
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                          Exhibit B




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From:                 Dennis Rogers <dennis.rogers@omtcinc.com>
Sent:                 Thursday, March 24, 2022 2:03 PM
To:                   'McElvy, Meghan'
Cc:                   'Eastlake, David R.'; 'Tutunjian, Christopher'; 'Sales, Travis'
Subject:              Re: Involuntary Bankruptcy - Hearing on Motion to Appoint Interim Trustee


Hey Meghan

I do plan to attend and I’m looking to secure counsel now. Will notify you as soon as they are retained.

Thanks

Dennis Rogers




         On Mar 24, 2022, at 1:58 PM, McElvy, Meghan <meghan.mcelvy@bakerbotts.com> wrote:


         Thank you. I also appreciate you letting us know if you plan to attend and also if you will have counsel to
         represent you.
         Meghan
         From: Dennis Rogers <dennis.rogers@omtcinc.com>
         Sent: Thursday, March 24, 2022 1:57 PM
         To: McElvy, Meghan <meghan.mcelvy@bakerbotts.com>
         Cc: Eastlake, David R. <david.eastlake@bakerbotts.com>; Tutunjian, Christopher
         <christopher.tutunjian@bakerbotts.com>; Sales, Travis <Travis.Sales@BakerBotts.com>
         Subject: Re: Involuntary Bankruptcy ‐ Hearing on Motion to Appoint Interim Trustee

         [EXTERNAL EMAIL]


         Received…

         Dennis Rogers




                 On Mar 24, 2022, at 1:36 PM, McElvy, Meghan <meghan.mcelvy@bakerbotts.com>
                 wrote:


                 Also here are the court’s Webex instructions (referenced below).
                 Meghan
                 From: McElvy, Meghan
                 Sent: Thursday, March 24, 2022 1:35 PM
                 To: Dennis Rogers <dennis.rogers@omtcinc.com>
                 Cc: Eastlake, David R. <david.eastlake@bakerbotts.com>; Tutunjian, Christopher
                                                              1


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     <christopher.tutunjian@bakerbotts.com>; Sales, Travis <Travis.Sales@BakerBotts.com>
     Subject: Involuntary Bankruptcy ‐ Hearing on Motion to Appoint Interim Trustee
     Dennis,
     We just received word that the hearing on the Motion to Appoint Interim Trustee has
     been scheduled for Monday, March 28 at 11:00 AM. Below is the communication we
     received from the Court. I appreciate you confirming receipt of this email. ‐Meghan
     Judge Hale orally granted the motion to expedite and set the motion to
     appoint trustee for hearing on Monday 3/28 at 11:00 AM. You will have
     four and a half hours on Monday and another three hours on Tuesday
     morning (3/29) for our hearing. Would you please file a notice of hearing
     without delay. Parties may appear either in person or via Webex. The
     notice of hearing should provide both Judge Hale's physical courtroom
     location (1100 Commerce Street, 14th Floor, Courtroom No. 3, Dallas,
     Texas, 75242) and his Webex link, dial-in number, access code (see
     below), and a copy of his Webex instructions which have been attached
     for your convenience.
     Webex link: https://us-courts.webex.com/meet/hale
     Dial-in (US/Canada): 1-650-479-3207
     Access code: 476 420 189
     Thank you.
     Jenni


     Meghan Dawson McElvy
     Partner

     Baker Botts L.L.P.
     meghan.mcelvy@bakerbotts.com
     T +1.713.229.1196
     F +1.713.229.2896

     910 Louisiana St
     Houston, Texas 77002
     U.S.A.

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     listed above and may be privileged and confidential. Any dissemination, copying, or use of or
     reliance upon such information by or to anyone other than the recipient[s] listed above is
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     the email address above and destroy any and all copies of this message.




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                          Exhibit C


     Plea Agreement & Factual Resume
                of Debtor




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    Webster, Steven A.                                                        Invoice Number:        50008532
    AEC Partners                                                              Invoice Date:          March 16, 2022
    2701 Kirby Drive                                                          Attorney:              M D McElvy
    Houston, TX 77098




Total fees for services and expenses for the matter shown below through February 28, 2022      NOTE: All time entries and
                                                                                               disbursements on this invoice relate
                                                                                               to administrative expense claim
088698.0102
Dennis J. Rogers, II Bankruptcy Proceeding




Date               Name                               Hours    Description
02/09/22           D R Eastlake                         1.6    Teleconference and correspondence with M. McElvy regarding
                                                               involuntary filing and related issues/next steps; reviewed and
                                                               analyzed issues with and requirements for appointment of interim
                                                               chapter 7 trustee; sent follow up correspondence with M. McElvy
                                                               and C. Tutunijian regarding findings regarding same; reviewed
                                                               final agreed judgment in connection with trustee analysis.

02/09/22           K M McElvy                            0.7   Corresponded with client to confirm meeting on Friday to discuss
                                                               involuntary bankruptcy options and strategy; brief call with D.
                                                               Eastlake to discuss assistance in preparing and litigating
                                                               involuntary bankruptcy if needed and potential for interim
                                                               appointment of trustee.

02/10/22           K M McElvy                            0.9   Worked with associate to get more updated information on case
                                                               status of certain of Rogers' creditors in preparation for meeting to
                                                               discuss involuntary bankruptcy; call with A. Webster regarding
                                                               scheduling of meeting.

02/10/22           C D Montalvo                          1.3   Researched and obtained judgments and dockets in requested
                                                               cases for Meghan McElvy.

02/10/22           E A Rohles                            2.0   Identified case status and disposition of Rogers' creditors.

02/11/22           D R Eastlake                          2.4   Teleconference with M. McElvy, A. Webster and S. Webster
                                                               regarding involuntary filing and related issues and strategic
                                                               considerations for next steps; prepared for same; teleconference
                                                               with M. McElvy regarding path forward; reviewed updated
                                                               creditors list received from M. McElvy and E. Rohles; analyzed
                                                               various filing issues and implications of divorce proceeding on
                                                               same.


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                                                                              Invoice Date:        March 16, 2022
Webster, Steven A.                                                            Matter:              088698.0102
Dennis J. Rogers, II Bankruptcy Proceeding



Date              Name                         Hours   Description
02/11/22          K M McElvy                     1.3   Prepared for and held conference call with client to discuss
                                                       involuntary bankruptcy options and strategy; called T. Sales
                                                       regarding potential assistance on evidentiary hearings for matter.

02/11/22          E A Rohles                     0.5   Reviewed judgments filed against D. Rogers to determine which
                                                       are final and undisputed for purposes of involuntary bankruptcy.

02/16/22          D R Eastlake                   0.3   Discussed involuntary filing issues and path forward with M.
                                                       McElvy.

02/16/22          K M McElvy                     1.7   Drafted update to client regarding involuntary bankruptcy fee
                                                       estimate; reviewed and discussed fee estimate with D. Eastlake;
                                                       strategized with T. Sales regarding handling of involuntary
                                                       bankruptcy and collections firm alternatives for client.

02/22/22          D R Eastlake                   0.4   Corresponded with M. McElvy regarding involuntary filing and
                                                       draft petition; review petition form.

02/23/22          J Aquino                       0.2   Request certified copies of cases final judgments.

02/23/22          K M McElvy                     0.2   Corresponded with paralegal to obtain certified copies of
                                                       judgments against Rogers in preparation for filing involuntary
                                                       bankruptcy.

02/25/22          D R Eastlake                   2.4   Teleconference and correspondence with M. McElvy and C.
                                                       Tutunjian regarding involuntary petition/filing and appointment
                                                       of interim trustee issues; analyzed same; corresponded with R.
                                                       Fontenla regarding petition and precedent; reviewed precedent;
                                                       follow up correspondence with C. Tutunjian and R. Fontenla
                                                       regarding petition and creditors list; reviewed same.

02/25/22          R M Fontenla                   3.7   Numerous emails with D. Eastlake, T. Sales, M. McElvy and C.
                                                       Tutunjian regarding new filing; reviewed dockets in Houston
                                                       Regional and Black Elk, pulled pleadings and forwarded
                                                       information to working group; researched Northern District of
                                                       Texas requirements and begin draft of creditors list.

02/25/22          K M McElvy                     1.3   Met with C. Tutunjian to begin drafting petition for involuntary
                                                       bankruptcy; call with D. Eastlake to discuss questions regarding
                                                       same; conducted follow up review of sample prior petitions for
                                                       involuntary bankruptcy with application for appointment of
                                                       interim Chapter 7 trustee.

02/25/22          C E Tutunjian                  0.8   Discussed case strategy with M. McElvy; discussed next steps
                                                       with M. McElvy and D. Eastlake.




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Date              Name                           Hours    Description
02/28/22          D R Eastlake                     2.1    Multiple correspondence with C. Tutunjian and R. Fontenla
                                                          regarding involuntary petition preparation, creditor/service list
                                                          and document production; preliminary review of document
                                                          production from post-judgment discovery; worked on noticing
                                                          and service issues and open items; analyzed trustee appointment
                                                          issues and evidentiary burden.

02/28/22          R M Fontenla                      6.2   Downloaded Dropbox document production to iManage Share;
                                                          emailed with C. Tutunjian regarding original petition; reviewed
                                                          documents from document production for service list.

02/28/22          C E Tutunjian                     2.5   Prepared involuntary bankruptcy petition; researched issues
                                                          related to appointment of interim trustee.



Matter Hours                                       32.5

Matter Fees                                  $27,671.00




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                                                2022 Lawyer Summary

Timekeeper                                               HOURS                     RATE                     AMOUNT
D R Eastlake                                                9.2                  1,305.00                    12,006.00
K M McElvy                                                  6.1                  1,130.00                     6,893.00
E A Rohles                                                  2.5                    580.00                     1,450.00
C E Tutunjian                                               3.3                    860.00                     2,838.00
                                                           21.1                                             $23,187.00



                                             2022 Non-Lawyer Summary

Timekeeper                                               HOURS                     RATE                     AMOUNT
J Aquino                                                    0.2                    370.00                        74.00
R M Fontenla                                                9.9                    410.00                     4,059.00
C D Montalvo                                                1.3                    270.00                       351.00
                                                           11.4                                              $4,484.00

For Expenses Incurred :
Vendor: American Express Co. Invoice#: 5018957603091656 Date: 3/9/2022 - Certified Copies - Dallas                     8.00
County District - AMERICAN EXPRESS Court Fees JESSICA AQUINO Certified Copies of Final
Judgments

Vendor: American Express Co. Invoice#: 5018957603091656 Date: 3/9/2022 - Certified Copies - Dallas                     0.17
County District - AMERICAN EXPRESS Court Fees JESSICA AQUINO Certified Copies of Final
Judgments - Convenience Fee


Total Expenses                                                                                                        $8.17




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TAX ID XX-XXXXXXX




Webster, Steven A.                                                                                                      Due Upon Receipt
AEC Partners
2701 Kirby Drive                                                                                 Invoice Number:        50008532
Houston, TX, 77098                                                                               Invoice Date:          March 16, 2022
                                                                                                 Matter Number:         088698.0102


                                                     REMITTANCE STATEMENT


Matter Number:        088698.0102
Client:               Webster, Steven A.
Matter:               Dennis J. Rogers, II Bankruptcy Proceeding
Invoice Number:       50008532
Billing Attorney:     M D McElvy
Office:               Houston


                     Total Fees                                                                   $27,671.00

                     Total Expenses                                                                     $8.17



                     Total Invoice Amount                                                         $27,679.17




      TO ENSURE PROPER APPLICATION OF YOUR PAYMENT PLEASE RETURN THIS REMITTANCE ADVICE
                            OR EMAIL TO ARHOUSTON@BAKERBOTTS.COM
 Please Remit to:    Wiring Instructions                           ACH Information:                              To Pay by Check, send to:
                     Baker Botts L.L.P.                            Baker Botts L.L.P.                            Baker Botts L.L.P.
                     Bank: JP Morgan Chase Bank                    Bank: JP Morgan Chase Bank                    P.O. Box 301251
                     Address: 712 Main Street, Houston, TX 77002   Address: 712 Main Street, Houston, TX 77002   Dallas, TX 75303-1251
                     ABA Number: 021 000 021                       Routing Number: 111 000 614                   (Reference Invoice Number)
                     Swift Code: CHASUS33                          Primary Account: 001 0000 2006
                     Primary Account: 001 0000 2006                (Reference Invoice Number)
                     (Reference Invoice Number)



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TAX ID XX-XXXXXXX

    Webster, Steven A.                                                        Invoice Number:      50009722
    AEC Partners                                                              Invoice Date:        April 15, 2022
    2701 Kirby Drive                                                          Attorney:            M D McElvy
    Houston, TX 77098




Total fees for services and expenses for the matter shown below through March 31, 2022      NOTE: Highlighted time entries and
                                                                                            disbursements relate to administrative
088698.0102                                                                                 expense claim
Dennis J. Rogers, II Bankruptcy Proceeding




Date               Name                              Hours     Description
03/01/22           J Aquino                            0.4     Followed up on request for certified copies of court papers.

03/01/22           D R Eastlake                          3.2   Corresponded with C. Tutunjian and R. Fontenla regarding
                                                               creditor service list and related issues; reviewed current service
                                                               list and comment on same; analyzed notice issues; reviewed
                                                               certain source documents used in compiling service list; reviewed
                                                               initial involuntary petition and open items/question related to
                                                               same; reviewed PACER search regarding Webster-related
                                                               entities; reviewed and responded to detailed correspondence from
                                                               C. Tutunjian regarding status of legal research and related
                                                               evidentiary issues and burden pertaining to fraud and
                                                               appointment of trustee; analyzed same and framework for next
                                                               steps; corresponded with C. Tutunjian regarding post-judgment
                                                               document production.

03/01/22           R M Fontenla                          4.5   Emailed with C. Tutunjian regarding service list; reviewed
                                                               documents on iManage Share regarding same; updated service
                                                               list spreadsheet; emailed with team regarding Pacer search on
                                                               Dennis J. Rogers II, Bootstrap Ventures, LLC, OMTC, Inc.,
                                                               Nomad Development, LLC, Organ Mountain Energy, LLC, Push
                                                               Start Industries, LLC, and Montana Amorosa Revocable Trust;
                                                               performed Pacer searches.

03/01/22           C E Tutunjian                         0.8   Prepared involuntary bankruptcy petition; researched issues
                                                               related to appointment of interim trustee.

03/02/22           E A Rohles                            2.5   Researched interim trustees in involuntary chapter 7 cases.




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Date              Name                         Hours   Description
03/03/22          D R Eastlake                   2.4   Corresponded with Baker Botts team regarding trustee
                                                       appointment, fraud legal research and related issues; reviewed
                                                       preliminary research findings prepared by E. Rohles; analyzed
                                                       same and further research needed; corresponded with Baker Botts
                                                       team regarding involuntary petition and motion to appoint trustee
                                                       and open items; conducted preliminary review of draft petition.

03/03/22          R M Fontenla                   2.3   Emailed with C. Tutunjian and M. McElvy regarding motion to
                                                       appoint interim trustee; drafted same.

03/03/22          E A Rohles                     4.3   Researched fraud as a basis for appointing a trustee.

03/03/22          C E Tutunjian                  5.1   Began drafting application for appointment of interim trustee.

03/04/22          D R Eastlake                   3.3   Further reviewed involuntary petition; reviewed and commented
                                                       on draft motion to appoint an interim trustee; reviewed research
                                                       regarding same and analyzed; corresponded with Baker Botts
                                                       team regarding same; corresponded with Baker Botts team
                                                       regarding creditor list and changes thereto; reviewed revised
                                                       creditor list.

03/04/22          K M McElvy                     1.5   Reviewed draft petition and application for appointment of
                                                       interim trustee and discussed changes needed to same with C.
                                                       Tutunjian.

03/04/22          C E Tutunjian                  0.2   Discussed status of involuntary bankruptcy issues with M.
                                                       McElvy.

03/06/22          D R Eastlake                   0.2   Reviewed updated creditor list circulated by E. Rohles.

03/06/22          E A Rohles                     1.0   Researched judgments against Rogers and updated creditor list
                                                       with information about final judgments.

03/07/22          D R Eastlake                   1.6   Correspondence with M. McElvy regarding involuntary filing
                                                       and related timing issues; review updated case docket in divorce
                                                       proceeding; review and comment on draft demand letter;
                                                       correspondence with Baker Botts team regarding same; review
                                                       updated demand letter; analyze involuntary filing issues
                                                       regarding intent.

03/07/22          K M McElvy                     4.2   Outlined revised factual background section for application for
                                                       interim Chapter 7 trustee and discussed same with associates to
                                                       get them started on drafting; reviewed D. Rogers post-judgment
                                                       discovery responses to determine net cash and asset position;
                                                       drafted pre-filing letter to D. Rogers and sent same to D. Eastlake
                                                       for review; incorporated edits from D. Eastlake to letter.

03/07/22          R E Pravata                    0.5   Researched case information for C. Tutunjian.
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Date              Name                         Hours   Description

03/07/22          E A Rohles                     3.0   Researched and drafted summaries of other cases involving
                                                       Rogers's scams.

03/07/22          C E Tutunjian                  2.6   Reviewed D. Eastlake’s comments to draft application for interim
                                                       trustee; continued drafting application for interim trustee.

03/08/22          D R Eastlake                   1.8   Teleconferenced and corresponded with M. McElvy regarding
                                                       demand letter and revisions thereto and motion to appoint interim
                                                       trustee; reviewed outline of factual background for motion
                                                       prepared by M. McElvy; reviewed updated creditor list and cash
                                                       accounts; reviewed revised demand letter; reviewed
                                                       correspondence from M. McElvy regarding Mandarin lawsuit,
                                                       motion for summary judgment and timing for filing the
                                                       involuntary case; corresponded with Baker Botts team, S.
                                                       Webster and A. Webster regarding involuntary petition, demand
                                                       letter and status of Mandarin lawsuit and related issues and next
                                                       steps.

03/08/22          K M McElvy                     1.2   Conducted conference call with D. Eastlake regarding draft letter
                                                       to D. Rogers regarding upcoming filing of involuntary
                                                       bankruptcy petition; revised same based on discussion and sent
                                                       same to client along with draft involuntary bankruptcy petition;
                                                       corresponded with E. Rohles to add information regarding dates
                                                       of latest lawsuits against D. Rogers to demonstrate ongoing
                                                       nature of fraud.

03/08/22          C D Montalvo                   0.2   Researched and obtained court documents requested by Emily
                                                       Rohles.

03/08/22          E A Rohles                     3.0   Researched and drafted summaries of other cases involving
                                                       Rogers's scams.

03/08/22          C E Tutunjian                  0.3   Continued drafting application for interim trustee.




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Date              Name                         Hours   Description
03/09/22          D R Eastlake                   3.9   Corresponded with M. McElvy regarding Mandarin suit MSJ
                                                       hearing and scheduling; followed up with M. McElvy regarding
                                                       additional trustee/fraud research for motion to appoint an interim
                                                       trustee and preparation of suggestion of bankruptcy; discussed
                                                       same with K. Jacobsen, including background, status and next
                                                       steps; reviewed and commented on draft suggestion of
                                                       bankruptcy; followed up with K. Jacobsen regarding same;
                                                       teleconferenced and corresponded with C. Tutunjian regarding
                                                       Mandarin lawsuit and automatic stay issues upon filing of
                                                       bankruptcy petition; corresponded with C. Tutunjian regarding
                                                       suggestion of bankruptcy filing requirements in Dallas County
                                                       district court; reviewed and commented on revised suggestion of
                                                       bankruptcy; conducted high level review of petition filed in
                                                       Mandarin lawsuit; corresponded with Baker Botts team regarding
                                                       status of motion to appoint trustee and timing issues; reviewed
                                                       and analyzed research findings regarding appointment of trustee
                                                       and Northern District of Texas involuntary filing requirements
                                                       and rules; corresponded with M. McElvy and C. Tutunjian
                                                       regarding same, Beaucrest case and insert for motion; followed
                                                       up with K. Jacobsen regarding precedent in Madoff involuntary
                                                       case.

03/09/22          K M Jacobsen                   5.8   Researched filing requirements for involuntary petitions in
                                                       Northern District of Texas and requirements for appointing an
                                                       interim Chapter 7 trustee.

03/09/22          R E Pravata                    1.6   Researched case filings for Emily Rohles.

03/09/22          E A Rohles                     6.5   Researched and drafted summaries other cases involving
                                                       Rogers's scams.

03/09/22          C E Tutunjian                  9.1   Continued drafting application for interim Chapter 7 trustee.

03/10/22          C A Davis                      0.2   Researched Legislative History on Section 303 of the Bankruptcy
                                                       Code at the request of K. Jacobsen.

03/10/22          D R Eastlake                   2.9   Corresponded with C. Tutunjian and K. Jacobsen regarding
                                                       legislative history research; analyzed findings regarding same;
                                                       reviewed Madoff precedent regarding interim trustee
                                                       appointment in involuntary chapter 7 filing, including various
                                                       court filings and hearing transcript; followed up with K. Jacobsen
                                                       regarding fraud/trustee issues and research; detailed
                                                       correspondence with C. Tutunjian regarding arguments for
                                                       motion to appoint, including sanction orders and violation of
                                                       same; reviewed sanction orders entered by state court and
                                                       Amorosa trust document production; analyzed trustee
                                                       appointment issues.



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Date              Name                         Hours   Description
03/10/22          K M Jacobsen                   2.1   Continued research regarding appointing interim Chapter 7
                                                       trustee.

03/10/22          E A Rohles                     2.0   Drafted summaries of litigation involving Rogers's other scams
                                                       and compiled relevant petitions and judgments.

03/10/22          C E Tutunjian                  5.4   Continued drafting application for appointment of interim
                                                       Chapter 7 trustee.

03/12/22          K M McElvy                     4.3   Reviewed and revised draft emergency motion for appointment
                                                       of chapter 7 trustee and sent same to client.

03/12/22          E A Rohles                     0.2   Researched deadlines for appealing final judgments in Texas
                                                       state courts.

03/12/22          C E Tutunjian                  1.1   Continued drafting application for interim trustee.

03/14/22          D R Eastlake                   1.3   Corresponded with Baker Botts team regarding demand letter and
                                                       exhibits and next steps; teleconferenced with M. McElvy
                                                       regarding motion to appoint interim chapter 7 trustee and related
                                                       issues, including evidentiary-wise; reviewed mark-up of motion
                                                       to appoint trustee received from K. Jacobsen; corresponded with
                                                       K. Jacobsen regarding Northern District of Texas local rules and
                                                       filing requirements.

03/14/22          K M Jacobsen                   4.2   Revised the motion to appoint interim Chapter 7 trustee.

03/14/22          K M McElvy                     1.4   Corresponded with S. Webster to confirm okay to send final
                                                       demand letter to D. Rogers and sent same with enclosures; call
                                                       with D. Eastlake to discuss timing of emergency hearing and
                                                       Dallas bankruptcy judges and asked associate to revise motion to
                                                       incorporate bankruptcy specific procedures and to prepare motion
                                                       for emergency hearing.

03/15/22          J Aquino                       0.3   Requested certified copies of orders filed in Dallas County
                                                       District Court.

03/15/22          K M Jacobsen                   1.9   Drafted motion for emergency consideration of interim trustee
                                                       motion.

03/15/22          K M Jacobsen                   0.9   Revised motion to appoint interim Chapter 7 trustee.

03/15/22          K M McElvy                     0.2   Sent client letter that was sent to D. Rogers regarding imminent
                                                       filing of involuntary bankruptcy petition against him; began
                                                       reviewing draft motion to appoint interim trustee.

03/15/22          C D Montalvo                   1.6   Researched and obtained Texas and Delaware corporate
                                                       information of list of companies provided by C. Tutunjian.
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Date              Name                         Hours   Description

03/15/22          C E Tutunjian                  1.5   Prepared exhibits for application for interim trustee.

03/16/22          J Aquino                       0.3   Contacted records department and coordinated courier pick up of
                                                       certified copies.

03/16/22          K M McElvy                     1.9   Reviewed details of other lawsuits against Rogers and related
                                                       research for involuntary bankruptcy petition; discussed same with
                                                       E. Rohles.

03/16/22          C E Tutunjian                  0.8   Prepared exhibits for application for interim trustee.

03/17/22          D R Eastlake                   0.5   Corresponded with Baker Botts team regarding trustee motion
                                                       and related issues and next steps; analyzed filing of Rogers'
                                                       companies along with individual petition.

03/17/22          K M McElvy                     7.5   Reviewed and revised draft petition for involuntary bankruptcy
                                                       against Rogers and circulated edits and comments on same to
                                                       internal team.

03/17/22          C D Montalvo                   0.2   Researched and obtained Texas corporate filings of OMTC Inc.
                                                       for C. Tutunjian.

03/18/22          D R Eastlake                   2.3   Teleconferenced and corresponded with Baker Bots team
                                                       regarding involuntary filing and related issues, open items and
                                                       next steps; analyzed individual debtor filing issues;
                                                       teleconferenced with K. Jacobsen regarding same and follow up
                                                       legal research; reviewed correspondence from D. Rogers
                                                       regarding demand letter; conducted follow up teleconference
                                                       with M. McElvy regarding creditor support for filing; reviewed
                                                       update email from M. McElvy regarding Mandarin lawsuit and
                                                       next steps; conducted follow up correspondence with Baker Botts
                                                       team regarding evidentiary issues and next steps; analyzed same
                                                       and approach.

03/18/22          K M Jacobsen                   4.7   Researched various Chapter 7 issues, including Rogers having
                                                       primarily business debts, the impact of Rogers' marriage, and
                                                       whether the trustee can put Rogers' businesses into bankruptcy.

03/18/22          K M Jacobsen                   1.6   Revised motion to appoint Chapter 7 interim trustee.

03/18/22          K M McElvy                     2.8   Call with Rogers former counsel regarding whether he intended
                                                       to respond to letter; call with D. Eastlake regarding question of
                                                       whether Rogers' companies should also be added to petition and
                                                       whether trustee could access and control his company accounts
                                                       by virtue of its control over Rogers' individual estate; called
                                                       potential additional petitioning creditors and lined up same;
                                                       updated team.
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Date              Name                         Hours   Description

03/18/22          C D Montalvo                   1.5   Researched to obtain financials on Dennis Rogers entities for M.
                                                       McElvy.

03/18/22          E A Rohles                     1.1   Researched the existence of other suits against Rogers for fraud;
                                                       edit draft of emergency motion to appoint interim chapter 7
                                                       trustee; reviewed final judgments and edited creditor list to
                                                       include language about who the judgments are against.

03/18/22          C E Tutunjian                  1.0   Discussed whether Rogers' other business entities should be
                                                       placed into bankruptcy with M. McElvy; discussed next steps and
                                                       strategy with M. McElvy and D. Eastlake.

03/19/22          D R Eastlake                   4.8   Reviewed and commented on draft motion to appoint interim
                                                       trustee; corresponded with Baker Botts team regarding same and
                                                       related issues and open items; reviewed and commented on draft
                                                       motion to expedite hearing on trustee motion; attended to service
                                                       issues; corresponded with Baker Botts team regarding same and
                                                       next steps; reviewed legal research findings regarding various
                                                       individual involuntary chapter 7 filing issues and analyzed same;
                                                       conducted follow up correspondence with K. Jacobsen regarding
                                                       same; reviewed involuntary petition circulated by C. Tutunjian
                                                       and commented on same; corresponded with Baker Botts team
                                                       regarding same.

03/19/22          K M Jacobsen                   3.1   Continued revising motion to appoint Chapter 7 interim trustee.

03/19/22          K M Jacobsen                   2.7   Researched various Chapter 7 issues, including Rogers having
                                                       primarily business debts, the impact of Rogers' marriage, and
                                                       whether the trustee can put Rogers' businesses into bankruptcy.

03/19/22          K M Jacobsen                   2.3   Revised motion for emergency consideration and reviewed local
                                                       procedures regarding same.

03/20/22          D R Eastlake                   0.6   Reviewed revised motion to appoint trustee; corresponded with
                                                       K. Jacobsen regarding same.

03/20/22          K M Jacobsen                   0.8   Revised motion to appoint interim Chapter 7 trustee.

03/20/22          K M McElvy                     0.7   Reviewed research from D. Eastlake on trustee's ability to control
                                                       Rogers' company accounts through control of Rogers' estate and
                                                       other issues implicated by Chapter 7 involuntary bankruptcy
                                                       against individual.

03/20/22          E A Rohles                     0.8   Edited draft of emergency motion to appoint interim chapter 7
                                                       trustee.



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Date              Name                         Hours   Description
03/21/22          D R Eastlake                   6.6   Teleconferenced and corresponded with Baker Botts team
                                                       regarding comments to motion to appoint interim trustee and
                                                       related issues/open items/next steps; reviewed updated
                                                       involuntary petition; correspondede with Baker Botts team
                                                       regarding same; reviewed and commented on revised motion to
                                                       appoint interim trustee; corresponded with Baker Botts team
                                                       regarding same; reviewed updated creditor list; attended to
                                                       exhibits to motion to appoint interim trustee and related issues;
                                                       corresponded with Baker Botts team regarding same;
                                                       teleconferenced and corresponded with M. McElvy and D. Miller
                                                       regarding involuntary filing and related issues and next steps;
                                                       attended to filing issues; corresponded with R. Fontenla regarding
                                                       same; reviewed legal research findings/analysis regarding
                                                       involuntary conversion issues and standards; corresponded with
                                                       Baker Botts team, S. Webster and A. Webster regarding
                                                       involuntary filing and status update; reviewed M. McElvy's
                                                       comments to motion to appoint interim trustee; corresponded
                                                       with M. McElvy and K. Jacobsen regarding same and open
                                                       issues/items; reviewed further revised motion to appoint interim
                                                       trustee.

03/21/22          R M Fontenla                   1.0   Emailed with M. McElvy regarding involuntary bankruptcy
                                                       petition; revised same; emailed with D. Eastlake and M. McElvy
                                                       regarding electronic signatures; conferenced with Northern
                                                       District of Texas Clerk regarding same.

03/21/22          K M Jacobsen                   0.8   Continued revising motion for emergency consideration of
                                                       interim trustee motion.

03/21/22          K M Jacobsen                   2.1   Continued revising motion to appoint interim Chapter 7 trustee.

03/21/22          K M Jacobsen                   4.6   Researched conversion of involuntary Chapter 7 case to Chapter
                                                       11.

03/21/22          K M McElvy                     4.7   Call with internal team to address various questions on motion to
                                                       appoint interim trustee from D. Eastlake; call with counsel for
                                                       other petitioning creditors regarding joining petition and motion
                                                       to appoint interim trustee; sent updated drafts of petition and
                                                       motion to appoint interim trustee to client and counsel for other
                                                       petitioning creditors for review; reviewed and revised updated
                                                       draft motion to appoint interim trustee and circulated same to
                                                       team.

03/21/22          E A Rohles                     0.8   Reviewed judgments and edited creditor list; collected exhibits
                                                       for emergency motion to appoint chapter 7 interim trustee.

03/21/22          T J Sales                      0.5   Reviewed near final motion to appoint interim trustee and status
                                                       of filings.


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Date              Name                         Hours   Description
03/21/22          C E Tutunjian                  5.0   Reviewed and provided comments to draft of application for
                                                       interim trustee; discussed status of petition and application with
                                                       M. McElvy, D. Eastlake, and K. Jacobsen; prepared exhibits to
                                                       application for interim trustee.

03/22/22          D R Eastlake                   7.2   Worked on finalizing involuntary petition, motion to appoint
                                                       interim trustee, motion for emergency consideration and
                                                       suggestion of bankruptcy filings; correspondede and
                                                       teleconferenced with Baker Botts team regarding same; attended
                                                       to exhibit issues/open items and redaction issues; corresponded
                                                       and teleconferenced with Baker Botts team regarding same;
                                                       corresponded with M. McElvy and D. Rogers regarding
                                                       involuntary filing and service issues; teleconferenced and
                                                       corresponded with M. McElvy and D. Miller regarding filing
                                                       issues; analyzed automatic stay and removal issues pertaining to
                                                       Mandarin lawsuit; discussed same with M. McElvy; reviewed
                                                       removal research findings; conducted high level review of draft
                                                       common interest privilege agreement; attended to filing petition
                                                       and motions; corresponded and teleconferenced with Baker Botts
                                                       team regarding same.

03/22/22          R M Fontenla                   6.3   Emailed regarding involuntary bankruptcy filing and motion to
                                                       appoint interim trustee; searched Pacer database for Allison
                                                       Rogers and forward results to internal team; researched Northern
                                                       District of Texas filing requirements and emailed regarding same;
                                                       emailed regarding Index of Exhibits; drafted Index of Exhibits;
                                                       emailed regarding service list; filed via Electronic Case Filing
                                                       System involuntary petition; filed via Electronic Case Filing
                                                       System motion to appoint interim trustee with numerous exhibits;
                                                       sent numerous emails regarding service documents.

03/22/22          K M Jacobsen                   6.7   Finalized motions to appoint interim trustee and motion for
                                                       emergency consideration thereof; coordinated filing and service
                                                       of the motions and involuntary petition.

03/22/22          K M Jacobsen                   1.8   Researched whether state action could be removed to the
                                                       bankruptcy court during the gap period.

03/22/22          K M McElvy                     5.4   Conferred with Rogers regarding filing of motion to appoint
                                                       interim trustee; finalized review of petition and motion to appoint
                                                       interim trustee and related exhibits, index of exhibits and motion
                                                       for emergency consideration; updated client and co-counsel and
                                                       obtained authorization to apply e-signatures to same; reviewed
                                                       and revised service list and coordinated paralegal regarding filing
                                                       of same.

03/22/22          C D Montalvo                   0.7   Researched and obtained state court documents requested by
                                                       Emily Rohles.



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03/22/22          E A Rohles                            3.7      Edited draft of emergency motion to appoint interim trustee;
                                                                 edited and prepared exhibits for emergency motion to appoint
                                                                 interim trustee.

03/22/22          C E Tutunjian                            8.1   Revised draft of application for interim trustee; prepared exhibits
                                                                 for application for interim trustee; prepared petition and
                                                                 application for interim trustee for filing; prepared service list.

03/23/22          D R Eastlake      Time entry             6.7   Corresponded with Baker Botts team regarding issuance of
                                    reduced by 1/4 for           summons and service issues; worked to finalize suggestion of
                                    administrative               bankruptcy and notice of removal filings; corresponded and
                                    expense claim                teleconferenced with Baker Botts team regarding same and
                                                                 related issues/open items and next steps; attended to service
                                                                 issues, including master service list; corresponded with R.
                                                                 Fontenla regarding same and revisions thereto; analyzed waiver
                                                                 and mandatory abstention issues; finalized certificate of service
                                                                 of yesterday's filings; corresponded with Baker Botts team
                                                                 regarding same; analyzed removal issues - legal and procedural;
                                                                 teleconferenced and corresponded with M. McElvy and T. Sales
                                                                 regarding hearing preparation, evidentiary issues and various
                                                                 other open items/issues; reviewed and commented on draft
                                                                 adversary cover sheet; corresponded with Baker Botts team
                                                                 regarding same; corresponded with court's case manager
                                                                 regarding scheduling issues; discussed same with Baker Botts
                                                                 team; analyzed evidentiary issues and legal strategy for hearing
                                                                 on appointment of a trustee; further reviewed and revised updated
                                                                 adversary cover sheet.

03/23/22          R M Fontenla Time entry reduced by 7.1         Sent numerous emails regarding service of filed documents);
                                  1/4 for administrative         conferenced with Northern District of Texas Bankruptcy Clerk
                                                                 regarding issuance of summons; emailed with working group
                                  expense claim
                                                                 regarding same; conferenced with Northern District of Texas
                                                                 Bankruptcy Clerk regarding D. Miller ECF credentials; emailed
                                                                 with working group regarding same; emailed to D. Miller
                                                                 regarding same; conferenced and emailed with CCR regarding
                                                                 service of summons; forwarded documents to CCR for service;
                                                                 worked on service list and emailed regarding same; sent
                                                                 numerous emails and conferences regarding service; emailed
                                                                 with ECF help desk regarding credentials for M. McElvy;;
                                                                 emailed regarding certificate of service; filed same via Electronic
                                                                 Case Filing System with the Northern District of Texas
                                                                 Bankruptcy Court; emailed regarding summons issuance;
                                                                 emailed regarding state court filings; revised exhibits for notice
                                                                 of removal; filed adversary cover sheet and notice of removal via
                                                                 Electronic Case Filing System with the Northern District of Texas
                                                                 Bankruptcy Court; sent numerous emails with N. Zamora
                                                                 regarding state court filings.

03/23/22          K M Jacobsen                             1.8   Drafted adversary proceeding cover sheet.


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03/23/22          K M Jacobsen                           0.5   Drafted certificate of service of interim trustee motions.

03/23/22          K M Jacobsen                           4.1   Drafted notice of removal of Mandarin Capital lawsuit.

03/23/22          K M Jacobsen                           3.7   Finalized and coordinated filing of various documents related to
                                                               adversary proceeding and suggestion of bankruptcy.

03/23/22          K M McElvy                             3.5   Finalized and filed petition for involuntary bankruptcy and
                                  Time entry reduced
                                                               motion to appoint interim trustee after coordinating with other
                                  by 1/2 for
                                                               petitioning creditors' counsel on same; worked with K. Jacobsen
                                  administrative               and D. Eastlake regarding strategy for filing suggestion of
                                  expense claim                bankruptcy and notice of removal of adversary proceeding as to
                                                               Mandarin Capital suit; worked with secretary to file same after
                                                               reviewing and revising.

03/23/22          T J Sales                              1.2   Conferenced with D. Eastlake and M. McElvy regarding hearing
                                                               preparation and strategy and reviewed updated filings.

03/23/22          C E Tutunjian                          1.5   Revised and prepared suggestion of bankruptcy and notice of
                                                               removal for Mandarin action for filing; discussed notice of
                                                               removal with Meghan McElvy.




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03/24/22          D R Eastlake                         5.9      Attended to summons, scheduling and refiling of documents in
                                                                bankruptcy and state courts; attended to service issues and direct
                                                                same; teleconference and correspondence with court case
                                                                manager regarding scheduling and summons issuance issues;
                                                                corresponded with Baker Botts team regarding same; reviewed
                                                                and commented on notice of hearing and certificates of service;
                                                                teleconferenced with T. Sales and M. McElvy regarding
                                                                Monday's hearing on emergency motion to appoint trustee and
                                                                preparations and legal strategy for same; teleconferenced with T.
                                                                Sales, M. McElvy and D. Miller regarding same and call with
                                                                UST; began preparing for Monday's contested hearing and
                                                                formulated legal strategy and approach; office conference with K.
                                                                Jacobsen regarding same and outlines needed for hearing;
                                                                reviewed and commented on bankruptcy standards outline
                                                                prepared by K. Jacobsen; analyzed same; reviewed summons
                                                                issued by court; reviewed scheduling order; corresponded with R.
                                                                Fontenla regarding calendaring case dates and deadlines;
                                                                discussed filing and service issues with K. Jacobsen; reviewed
                                                                correspondence from process server; corresponded with Baker
                                                                Botts team regarding various noticing and service issues;
                                                                reviewed correspondence from D. Miller regarding call with N.
                                                                Resnick (UST); corresponded with D. Miller and N. Resnick
                                                                regarding follow up call to discuss case and trustee issues;
                                                                corresponded with M. McElvy regarding same; corresponded
                                                                with K. Jacobsen and K. Black regarding hearing and case
                                                                binders for Monday's hearing; reviewed correspondence from D.
                                                                Rogers regarding receipt of service and Monday's hearing; sent
                                                                follow up correspondence to court regarding Rogers' request to
                                                                continue hearing; corresponded with Baker Botts team regarding
                                                                Witness and Exhibit list and exhibits and preparation of exhibit
                                                                binders; analyzed interim trustee appointment standards and
                                                                issues for oral arguments at Monday's hearing.

03/24/22          R M Fontenla                            8.1   Conferenced with Northern District of Texas Clerk regarding
                                 Time entry reduced by
                                                                issuance of summons; conferenced with Judge Hale's clerk
                                 1/4 for administrative
                                                                regarding issuance of summons; emailed with working group
                                 expense claim
                                                                regarding summons issuance and scheduling order; emailed and
                                                                conferenced with A. Thompson regarding service of summons
                                                                and scheduling order on D. Rogers; opened new adversary
                                                                proceeding; prepared service of adversary proceeding documents
                                                                on service list; calendared case deadlines, emailed with Judge
                                                                Hale's clerk regarding same; forwarded numerous exhibits to N.
                                                                Zamora; filed notice of hearing via Electronic Case Filing System
                                                                for the Northern District of Texas Bankruptcy Court; worked on
                                                                service of same; emailed with Judge Hale's court regarding
                                                                preferences for exhibits for hearing; filed return of summons via
                                                                Electronic Case Filing System for the Northern District of Texas
                                                                Bankruptcy Court, conferenced with ECF Help Desk regarding
                                                                issues regarding same; filed adversary certificate of service via
                                                                Electronic Case Filing System for the Northern District of Texas
                                                                Bankruptcy Court; drafted and revised Witness and Exhibit List.

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03/24/22          K M Jacobsen                   1.0   Coordinated filing of separate adversary proceeding and service
                                                       regarding same.

03/24/22          K M Jacobsen                   2.6   Drafted hearing arguments and outline for hearing on motion to
                                                       appoint interim trustee.

03/24/22          K M Jacobsen                   2.2   Drafted notice of hearing on interim trustee motion and
                                                       coordinated service of same and other documents.

03/24/22          K M McElvy                     3.2   Worked with secretary to get copies of filings in preparation for
                                                       hearing; began outlining plan for emergency hearing on motion
                                                       to appoint trustee and conferenced with D. Eastlake and T. Sales
                                                       regarding same; call with co-counsel and client regarding
                                                       planning for hearing.

03/24/22          T J Sales                      2.0   Conferenced with D. Eastlake and M. McElvy regarding
                                                       preparation for evidentiary hearing on motion to appoint interim
                                                       trustee; telephone conference with co-defendants counsel;
                                                       reviewed materials for hearing.

03/24/22          C E Tutunjian                  2.7   Analyzed admissibility of exhibits to trustee application for use
                                                       in hearing; prepared chart analyzing exhibits' admissibility at
                                                       hearing.

03/25/22          M C Acciarri                   6.0   Downloaded and began placing exhibit stickers on exhibits;
                                                       loaded exhibits into system for use at hearing.




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03/25/22          D R Eastlake                   5.8   Reviewed and commented on revised outline of legal points for
                                                       Monday's hearing; worked on Witness and Exhibit list, exhibits
                                                       and related issues/open items; corresponded and teleconferenced
                                                       with Baker Botts team regarding same; prepared for Monday's
                                                       hearing on motion to appoint interim trustee; teleconferenced and
                                                       corresponded with M. McElvy, D. Miller and N. Resnick (UST)
                                                       regarding involuntary case and trustee motion issues;
                                                       corresponded with Baker Botts team and D. Miller regarding
                                                       exhibits; corresponded with court regarding status conference in
                                                       adversary proceeding and notice issues; reviewed and revised
                                                       draft notice of hearing; reviewed and commented on revised legal
                                                       points outline; discussed same with K. Jacobsen; teleconferenced
                                                       and corresponded with M. McElvy regarding Monday's hearing
                                                       and recent discussion with D. Rogers regarding same;
                                                       corresponded with D. Rogers regarding same; teleconferenced
                                                       and corresponded with M. McElvy and T. Sales regarding
                                                       Monday's hearing, preparations therefor and legal strategy;
                                                       teleconferenced and corresponded with M. McElvy and D.
                                                       Rogers regarding trustee appointment questions/issues; reviewed
                                                       legal research regarding dismissal issues; reviewed and
                                                       commented on agreed order on motion to appoint trustee;
                                                       reviewed correspondence from J. Kluewer regarding ACMC
                                                       creditor/judgment and interest in case; reviewed outline of D.
                                                       Rogers cross-examination.

03/25/22          R M Fontenla                  14.5   Revised Witness and Exhibit List; reviewed rules regarding
                                                       exhibits at hearings and forwarded information to working group;
                                                       emailed with Judge Hale's clerk regarding same; numerous
                                                       conferences and emails with C. Acciarri regarding assistance with
                                                       hearing and exhibit stamping exhibits; emailed with D. Eastlake
                                                       regarding adversary notice of hearing; drafted and revised same;
                                                       worked on preparing hearing notebooks; filed same via
                                                       Electronic Case Filing System for the Northern District of Texas
                                                       Bankruptcy Court; worked on service of same; broke up D. Miller
                                                       hearing exhibits and arranged for electronic stickers for same;
                                                       emailed with C. Tutunjian regarding deposition designations;
                                                       drafted same.

03/25/22          K M Jacobsen                   6.8   Drafted legal outlines for hearing on motion to appoint interim
                                                       trustee.

03/25/22          K M Jacobsen                   0.5   Drafted notice of non-opposition to motion to appoint interim
                                                       trustee.

03/25/22          K M Jacobsen                   1.0   Prepared legal research binder for hearing on motion to appoint
                                                       interim trustee.

03/25/22          K M Jacobsen                   1.2   Researched settlement agreement in involuntary chapter 7 case
                                                       and drafted agreed order on motion to appoint interim trustee.


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03/25/22          K M McElvy                     8.4   Continued researching, drafting and reviewing materials in
                                                       preparation for emergency hearing on motion to appoint interim
                                                       trustee; conducted various calls with D. Rogers and internal team
                                                       conferring on same.

03/25/22          T J Sales                      3.3   Reviewed exhibits, prior depositions and materials in preparation
                                                       for evidentiary hearing on motion to appoint interim trustee and
                                                       conference with M. McElvy and D. Eastlake regarding same.

03/25/22          K M Sherman                    0.8   Exchanged various correspondence with D. Eastlake and K.
                                                       Jacobsen regarding status of motion to appoint interim chapter 7
                                                       trustee; analyzed cases and statutes cited in motion to appoint
                                                       trustee and prepared for attorney review.

03/25/22          C E Tutunjian                  7.3   Prepared for hearing on application for interim trustee; prepared
                                                       exhibits and exhibit list for hearing; prepared deposition
                                                       designations for hearing.

03/26/22          M C Acciarri                   2.0   Added exhibit stickers to all exhibits for hearing on motion to
                                                       appoint interim Chapter 7 trustee.

03/26/22          D R Eastlake                   4.9   Continued preparing for Monday's hearing; teleconferenced and
                                                       corresponded with M. McElvy and D. Rogers regarding same and
                                                       terms of agreed order to appoint trustee; worked on exhibits;
                                                       corresponded and teleconferenced with R. Fontenla regarding
                                                       same and service issues; reviewed and approved Witness and
                                                       Exhibit list for filing; negotiated agreed order with D. Rogers;
                                                       teleconferenced and corresponded with D. Rogers regarding
                                                       same; teleconferenced and corresponded with Baker Botts team
                                                       regarding same and related issues/next steps; revised agreed
                                                       order; corresponded with R. Fontenla regarding same and
                                                       uploaded to court; corresponded with court regarding uploading
                                                       of agreed order; reviewed and revised opening statement outline;
                                                       corresponded with K. Jacobsen regarding legal research
                                                       regarding Chapter 7 living expenses and attorney compensation
                                                       in connection with negotiating agreed order; reviewed and
                                                       analyzed legal research findings regarding same; corresponded
                                                       with J. Prince, K. Chiu and M. McElvy regarding Chapter 7
                                                       panel; corresponded with K. Jacobsen regarding edits to legal
                                                       argument outline; corresponded with D. Miller regarding agreed
                                                       order on motion to appoint trustee.

03/26/22          R M Fontenla                   7.6   Prepared hearing notebooks; emailed regarding Witness and
                                                       Exhibit List; filed same with numerous exhibits via Electronic
                                                       Case Filing System for the Northern District of Texas Bankruptcy
                                                       Court; arranged service by hand on D. Rogers; emailed with D.
                                                       Eastlake regarding agreed order; uploaded same via Electronic
                                                       Case Filing System for the Northern District of Texas Bankruptcy
                                                       Court.

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03/26/22          K M Jacobsen                   2.1   Drafted opening statement for hearing on motion to appoint
                                                       interim trustee.

03/26/22          K M Jacobsen                   0.5   Researched payment of debtor's attorneys fees in chapter 7
                                                       involuntary cases.

03/26/22          K M McElvy                     3.4   Continued preparing for hearing by reviewing D. Rogers and R.
                                                       McDonnell deposition designations; call and correspondence
                                                       with D. Rogers and internal team to reach agreement on order to
                                                       appoint interim Chapter 7 trustee.

03/26/22          T J Sales                      1.0   Conferenced with M. McElvy and D. Eastlake and review of
                                                       proposed agreed order appointing interim trustee.

03/26/22          C E Tutunjian                  3.8   Continued preparing chart analyzing exhibits' admissibility at
                                                       hearing.

03/27/22          D R Eastlake                   2.3   Prepared for tomorrow's hearing; revised hearing outlines;
                                                       corresponded with K. Jacobsen and R. Fontenla regarding needed
                                                       hearing documents.

03/27/22          R M Fontenla                   1.4   Emailed with D. Eastlake regarding documents needed for
                                                       Monday hearing; emailed with C. Acciarri regarding hearing;
                                                       monitoring email for hearing instructions.

03/27/22          K M Jacobsen                   0.2   Redlined proper order to agreed order on motion to appoint
                                                       interim trustee.

03/27/22          K M Jacobsen                   0.8   Updated legal outline for hearing on motion to appoint interim
                                                       trustee.

03/27/22          K M McElvy                     1.2   Drafted outline for S. Webster examination if needed and sent
                                                       same to client with referenced exhibits.

03/28/22          M C Acciarri                   0.2   Briefly attended hearing on motion to appoint interim trustee.

03/28/22          D R Eastlake                   4.6   Attended court hearing on motion to appoint trustee; prepared for
                                                       same; revised agreed order per court's instructions; corresponded
                                                       with R. Fontenla regarding upload of same; corresponded with
                                                       court regarding same; teleconferenced and corresponded with K.
                                                       Sadler regarding chapter 7 trustee candidates; teleconferenced
                                                       and corresponded with O. Alaniz regarding same; discussed same
                                                       with M. McElvy; teleconferenced and corresponded with M.
                                                       McElvy and A. Bublick (UST's office) regarding same and
                                                       appointment process; reviewed entered order on motion to
                                                       appoint; traveled from Dallas to Houston after hearing.



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03/28/22          R M Fontenla                   4.4   Exchanged numerous emails and conferences with D. Eastlake,
                                                       M. McElvy, Judge Hale's clerk and C. Acciarri regarding hearing;
                                                       prepared for hearing; uploaded revised order.

03/28/22          K M McElvy                     3.3   Traveled to Dallas and attended involuntary bankruptcy hearing;
                                                       conducted follow up calls and sent correspondence after hearing
                                                       with U.S. trustee's office to gauge who would be appointed as
                                                       trustee and to suggest that it be someone with strong forensic
                                                       accounting skills.

03/28/22          T J Sales                      0.2   Conferenced with D. Eastlake and M. McElvy regarding order on
                                                       motion to appoint interim trustee.

03/28/22          C E Tutunjian                  0.4   Discussed hearing preparation with M. McElvy..

03/29/22          D R Eastlake                   4.4   Discussed responses to creditor inquiries with M. McElvy;
                                                       reviewed notice of meeting of creditors; corresponded with M.
                                                       McElvy regarding same; attended to interim trustee appointment
                                                       issues; teleconferenced and corresponded with A. Bublick (UST)
                                                       regarding same and case issues and settings; discussed same with
                                                       Baker Botts team; reviewed docket, including appointment of
                                                       trustee and appearances filed by other parties; teleconferenced
                                                       and corresponded with T. Carroll (counsel for litigation creditor)
                                                       regarding case status and related issues; corresponded with M.
                                                       McElvy and T. Sales regarding same; analyzed
                                                       settlement/dismissal issues and procedures; corresponded with
                                                       M. McElvy, S. Webster and A. Webster regarding update, interim
                                                       trustee, open items/issues and next steps; corresponded with R.
                                                       Fontenla regarding service list update; corresponded with M.
                                                       McElvy regarding service and noticing issues.

03/29/22          R M Fontenla                   1.7   Emailed regarding hearing; calendared hearing and forwarded
                                                       calendar notices to working group; emailed with D. Eastlake
                                                       regarding bankruptcy docket, obtained and forwarded same to D.
                                                       Eastlake;; emailed with D. Eastlake and K. Jacobsen regarding
                                                       revisions to service lists; revised service lists.

03/29/22          K M McElvy                     1.7   Updated client on results of bankruptcy hearing, latest
                                                       communications with D. Rogers and on appointment of interim
                                                       trustee; conferenced internally with D. Eastlake regarding same;
                                                       conferenced with U.S. Trustee's office regarding appointment of
                                                       interim trustee and next steps.

03/29/22          T J Sales                      0.5   Conferenced with M. McElvy regarding order and appointment
                                                       of interim trustee and strategy on next steps.

03/29/22          C E Tutunjian                  3.1   Researched rules for amending pleadings after removing case to
                                                       federal court; began drafting second amended answer and
                                                       counterclaim for Mandarin Capital adversary proceeding.

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Dennis J. Rogers, II Bankruptcy Proceeding



Date              Name                            Hours    Description

03/30/22          D R Eastlake                       2.4   Corresponded with A. Holder regarding involuntary case and
                                                           related issues; teleconferenced with A. Holder, M. McElvy and
                                                           D. Miller regarding same and factual allegations, fraud and
                                                           known assets; teleconferenced and corresponded with A. Bublick
                                                           regarding fraud allegations and pending litigation against Rogers;
                                                           corresponded with Baker Botts team regarding appointment of
                                                           interim trustee and decision of UST; corresponded with M.
                                                           McElvy and D. Miller regarding trustee selection;
                                                           teleconferenced with M. McElvy regarding open items issues and
                                                           next steps in case; corresponded with M. McElvy and D. Miller
                                                           regarding new creditor inquiry and service/notice issues.

03/30/22          R M Fontenla                       0.9   Emailed with M. McElvy and D. Eastlake regarding docket
                                                           documentation that Areya was appointed interim trustee;
                                                           reviewed docket and pulled documents regarding same; emailed
                                                           with Houston mail room regarding package from Continental
                                                           Court Reporters; emailed with B. Garza and D. Eastlake
                                                           regarding invoice from Continental Court Reporters regarding
                                                           summons service.

03/30/22          K M McElvy                         2.1   Call with interim trustee and trial attorney in trustee's office to
                                                           discuss factual background of case; calls with a couple creditors
                                                           that received notice of the lawsuit; followed up with D. Eastlake
                                                           regarding same.

03/30/22          C E Tutunjian                      2.5   Continued drafting second amended answer and counterclaim for
                                                           Mandarin Capital adversary proceeding; researched claims
                                                           available under Texas Uniform Fraudulent Transfers Act.

03/31/22          D R Eastlake                       0.9   Attended to service and noticing issues; corresponded with A.
                                                           Holder, M. McElvy and D. Miller regarding follow up
                                                           information regarding case/background; teleconferenced with M.
                                                           McElvy and J. Kluewer regarding case issues and next steps.

03/31/22          R M Fontenla                       0.8   Emailed with M. McElvy, D. Miller and D. Eastlake regarding
                                                           revisions to service lists; revised service lists; emailed with B.
                                                           Garza regarding Continental Court Reporting invoice.

03/31/22          K M McElvy                         0.6   Call with counsel for ACMC creditor regarding involuntary
                                                           bankruptcy action and strategy considerations for same.



Matter Hours                                       395.8
                                                                    Value of highlighted line-items = $249,342.09
Matter Fees                                  $353,399.50




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Dennis J. Rogers, II Bankruptcy Proceeding




                                               2022 Lawyer Summary

Timekeeper                                            HOURS                   RATE                     AMOUNT
D R Eastlake                                             80.5               1,305.00                   105,052.50
K M Jacobsen                                             75.1                 860.00                    64,586.00
K M McElvy                                               63.2               1,130.00                    71,416.00
E A Rohles                                               28.9                 580.00                    16,762.00
T J Sales                                                 8.7               1,350.00                    11,745.00
C E Tutunjian                                            62.3                 860.00                    53,578.00
                                                        318.7                                         $323,139.50



                                             2022 Non-Lawyer Summary

Timekeeper                                            HOURS                   RATE                     AMOUNT
M C Acciarri                                             8.2                  365.00                     2,993.00
J Aquino                                                 1.0                  370.00                       370.00
C A Davis                                                0.2                  270.00                        54.00
R M Fontenla                                            60.6                  410.00                    24,846.00
C D Montalvo                                             4.2                  270.00                     1,134.00
R E Pravata                                              2.1                  270.00                       567.00
K M Sherman                                              0.8                  370.00                       296.00
                                                        77.1                                           $30,260.00

For Expenses Incurred :
Vendor: American Express Co. Invoice#: 0100506941431 Date: 4/7/2010050694143122 - AMEX                           1.35
charges through March 25, 2010050694143122 - AMERICAN EXPRESS Miscellaneous - Legal
RICHARD PRAVATA Court filings requested by Emily Rohles

Vendor: American Express Co. Invoice#: 0100506941431 Date: 4/7/2010050694143122 - AMEX                           1.35
charges through March 25, 2010050694143122 - AMERICAN EXPRESS Miscellaneous - Legal
RICHARD PRAVATA Court filings requested by Emily Rohles

Vendor: American Express Co. Invoice#: 0100506941431 Date: 4/7/2010050694143122 - AMEX                           3.45
charges through March 25, 2010050694143122 - AMERICAN EXPRESS Miscellaneous - Legal
RICHARD PRAVATA Court filings requested by Emily Rohles

Vendor: American Express Co. Invoice#: 5043714003281437 Date: 3/28/2022 - 2022.03.15 FedEx                      46.13
Package to Dennis Rogers - AMERICAN EXPRESS Miscellaneous - Other KATHRYN MCELVY
Overnight FedEx fee to Dennis Rogers, II on 3/14/22

Vendor: American Express Co. Invoice#: 5062945803311550 Date: 3/31/2022 - Certified Copies -                     0.15
Dallas County Records - AMERICAN EXPRESS Court Fees JESSICA AQUINO Certified Records of
Court Documents - Dallas County District Court Records Department

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Vendor: American Express Co. Invoice#: 5062945803311550 Date: 3/31/2022 - Certified Copies -                                 7.00
Dallas County Records - AMERICAN EXPRESS Court Fees JESSICA AQUINO Certified Records of
Court Documents - Dallas County District Court Records Department

Vendor: American Express Co. Invoice#: 5072420704061520 Date: 4/6/2022 - Court Filing Fee -                                338.00
Webster/Rogers Case - AMERICAN EXPRESS Filing RORY FONTENLA Filing fee for Involuntary
Bankruptcy Filing in the Webster/Rogers case (088698.0102)

Vendor: American Express Co. Invoice#: 5074992504131345 Date: 4/13/2022 - Hearing expenses for                             350.00
088698.0102 - AMERICAN EXPRESS Court Fees RORY FONTENLA Filing fee for Adversary filing

Vendor: American Express Co. Invoice#: 5074992504131345 Date: 4/13/2022 - Hearing expenses for                               6.98
088698.0102 - AMERICAN EXPRESS Miscellaneous - Legal RORY FONTENLA Water for bankruptcy
hearing on 3/28/2022

Vendor: American Express Co. Invoice#: 5072144604041700 Date: 4/4/2022 - 2022.03.28 Expenses re                            495.97
Bankruptcy Hearing - AMERICAN EXPRESS Airfare KATHRYN MCELVY 2022.03.28 Roundtrip
airfare from Houston to Dallas

Vendor: American Express Co. Invoice#: 5072144604041700 Date: 4/4/2022 - 2022.03.28 Expenses re                             40.00
Bankruptcy Hearing - AMERICAN EXPRESS Airfare KATHRYN MCELVY 2022.03.28 Upgrade fees

Vendor: American Express Co. Invoice#: 5072144604041700 Date: 4/4/2022 - 2022.03.28 Expenses re                             28.00
Bankruptcy Hearing - AMERICAN EXPRESS Parking KATHRYN MCELVY 2022.03.28 Airport
parking fee.

Vendor: Mcelvy, Kathryn Meghan D. Invoice#: 5072144604041704 Date: 4/4/2022 - 2022.03.28                                    36.46
Expenses re Bankruptcy Hearing - 2022.03.28 Expenses re Bankruptcy Hearing Taxi / Car Service
KATHRYN MCELVY 2022.03.28 Uber ride from Dallas airport to Baker Botts Dallas office.

Vendor: Mcelvy, Kathryn Meghan D. Invoice#: 5072144604041704 Date: 4/4/2022 - 2022.03.28                                    37.95
Expenses re Bankruptcy Hearing - 2022.03.28 Expenses re Bankruptcy Hearing Taxi / Car Service
KATHRYN MCELVY 2022.03.28 Uber ride from Baker Botts Dallas office to Dallas airport.

Vendor: American Express Co. Invoice#: 5074992504131345 Date: 4/13/2022 - Hearing expenses for                              53.27
088698.0102 - AMERICAN EXPRESS Lunch RORY FONTENLA Working lunch with D. Eastlake, M.
McElvy and R. Fontenla

Vendor: Continental Ct. Reporters, Inc Invoice#: 319586 Date: 03/29/2022 - - Continental Ct. Reporters,                    426.50
Inc; Service of Summons to David James Rogers II

Vendor: Courthouse News Service, Inc. Invoice#: 716554 Date: 04/01/2022         - - Courthouse News                          5.00
Service, Inc.; CNS usage for court filings for E.Rohles.

Delivery services/messengers                                                                                                25.57

Copies/Blowbacks/Printing-B&W (Internal)                                                                                     0.00

Copies/Blowbacks/Printing-Color (Internal)                                                                            1,879.35


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Delivery services/messengers                                                                          79.20


Total Expenses                                                                                  $3,861.68




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TAX ID XX-XXXXXXX




Webster, Steven A.                                                                                                      Due Upon Receipt
AEC Partners
2701 Kirby Drive                                                                                 Invoice Number:        50009722
Houston, TX 77098                                                                                Invoice Date:          April 15, 2022
                                                                                                 Matter Number:         088698.0102


                                                     REMITTANCE STATEMENT


Matter Number:        088698.0102
Client:               Webster, Steven A.
Matter:               Dennis J. Rogers, II Bankruptcy Proceeding
Invoice Number:       50009722
Billing Attorney:     M D McElvy
Office:               Houston


                     Total Fees                                                                  $353,399.50

                     Total Expenses                                                                $3,861.68



                     Total Invoice Amount                                                        $357,261.18




      TO ENSURE PROPER APPLICATION OF YOUR PAYMENT PLEASE RETURN THIS REMITTANCE ADVICE
                            OR EMAIL TO ARHOUSTON@BAKERBOTTS.COM
 Please Remit to:    Wiring Instructions                           ACH Information:                              To Pay by Check, send to:
                     Baker Botts L.L.P.                            Baker Botts L.L.P.                            Baker Botts L.L.P.
                     Bank: JP Morgan Chase Bank                    Bank: JP Morgan Chase Bank                    P.O. Box 301251
                     Address: 712 Main Street, Houston, TX 77002   Address: 712 Main Street, Houston, TX 77002   Dallas, TX 75303-1251
                     ABA Number: 021 000 021                       Routing Number: 111 000 614                   (Reference Invoice Number)
                     Swift Code: CHASUS33                          Primary Account: 001 0000 2006
                     Primary Account: 001 0000 2006                (Reference Invoice Number)
                     (Reference Invoice Number)



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                                                                                                             London       Washington
TAX ID XX-XXXXXXX

    Webster, Steven A.                                                        Invoice Number:      50011088
    2701 Kirby Dr                                                             Invoice Date:        May 13, 2022
    Houston, TX 77098                                                         Attorney:            M D McElvy




                                                                                           NOTE: Highlighted time entries and
Total fees for services and expenses for the matter shown below through April 30, 2022
                                                                                           disbursements relate to administrative
                                                                                           expense claim
088698.0102
Dennis J. Rogers, II Bankruptcy Proceeding




Date               Name                               Hours    Description
04/01/22           R M Fontenla                         0.2    Emails with C. Acciarri regarding preparation for hearing on
                                                               motion to appoint interim trustee.

04/05/22           T J Sales                             0.3   Conferenced with team regarding bankruptcy judge and call with
                                                               Rogers.

04/06/22           D R Eastlake                          1.1   Teleconference and correspondence with D. Miller regarding
                                                               meetings with chapter 7 trustee; teleconference and
                                                               correspondence with O. Alaniz regarding trustee representation
                                                               and case funding issues; corresponded with M. McElvy regarding
                                                               same and next steps; reviewed precedent for case funding, first
                                                               out claim received from O. Alaniz.

04/07/22           D R Eastlake                          0.4   Teleconferenced with M. McElvy regarding case funding and
                                                               setoff/preference issues and potential recoveries for creditors;
                                                               follow up correspondence with O. Alaniz regarding case funding
                                                               issues.

04/07/22           K M McElvy                            0.8   Corresponded with D. Eastlake regarding upcoming call with
                                                               Rogers and interim trustee and issues around Goldman Sachs'
                                                               foreclosure on its line of credit to Rogers and whether it may be
                                                               deemed a preferential transfer.

04/07/22           C E Tutunjian                         1.7   Prepared outline of options for adversary proceeding with
                                                               Mandarin Capital; discussed same with M. McElvy.

04/08/22           D R Eastlake                          0.9   Teleconferenced with M. McElvy, T. Sales and D. Rogers
                                                               regarding settlement and involuntary filing issues;
                                                               teleconferenced with M. McElvy and T. Sales regarding next
                                                               steps; corresponded with M. McElvy, D. Miller and A. Holder
                                                               regarding status and update call next week.

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Date              Name                         Hours   Description

04/08/22          K M McElvy                     0.5   Call with D. Rogers regarding whether he opposes the
                                                       involuntary bankruptcy.

04/11/22          R M Fontenla                   0.5   Emailed with D. Eastlake regarding hearing deadline; calendared
                                                       deadlines and forwarded calendar notices to working group.

04/12/22          D R Eastlake                   1.9   Teleconferenced with M. McElvy, A. Holder (trustee), and D.
                                                       Miller regarding involuntary case, settlement and claw back
                                                       issues; follow up teleconference with M. McElvy regarding same
                                                       and next steps; reviewed correspondence from D. Rogers
                                                       regarding settlement discussions; corresponded with T. Sales and
                                                       M. McElvy regarding same; reviewed follow up correspondence
                                                       from M. McElvy regarding settlement issues and next steps.

04/12/22          K M McElvy                     1.7   Prepared for and participated in call with interim trustee
                                                       regarding potential settlement with Rogers and path to order for
                                                       relief on involuntary bankruptcy; discussed Goldman Sachs line
                                                       of credit and shared underlying documents with trustee.

04/12/22          T J Sales                      0.3   Reviewed email correspondence from Rogers and conferenced
                                                       with M. McElvy and D. Eastlake regarding proposal.

04/13/22          K M McElvy                     0.4   Call with D. Rogers regarding potential for settlement of
                                                       bankruptcy and whether he opposes bankruptcy.

04/14/22          D R Eastlake                   0.4   Corresponded with K. Jacobsen regarding preparation of joint
                                                       pre-conference statement and service/compliance issues;
                                                       reviewed scheduling order in connection with same.

04/14/22          K M McElvy                     0.4   Corresponded with client regarding D. Rogers request for
                                                       response on settlement.

04/15/22          D R Eastlake                   0.4   Review and respond to correspondence from M. Dortch regarding
                                                       involuntary filing; correspondence with M. McElvy regarding
                                                       same.

04/15/22          K M McElvy                     0.1   Called Steel Corporation regarding prior Rogers lawsuit and
                                                       proceeding; emailed D. Eastlake regarding questions on Wildcat
                                                       Lending and Rogers mortgage.

04/17/22          K M Jacobsen                   5.6   Researched and drafted joint pre-conference statement.




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Date              Name                         Hours   Description
04/18/22          D R Eastlake                   2.1   Corresponded with M. McElvy and D. Rogers regarding
                                                       settlement discussions and related issues and next steps;
                                                       preliminary review of draft joint pre-conference statement;
                                                       corresponded with Baker Botts team regarding same; analyzed
                                                       applicable provisions of the Bankruptcy Code and Rules
                                                       requiring entry of an order for relief when a debtor fails to timely
                                                       contest or otherwise respond to an involuntary petition; multiple
                                                       emails with Baker Botts team regarding same, related issues and
                                                       next steps; reviewed and responded to correspondence from M.
                                                       Dortch regarding involuntary case.

04/18/22          K M McElvy                     0.2   Corresponded with D. Rogers regarding potential settlement;
                                                       reviewed update from D. Rogers regarding lack of Rogers'
                                                       objection to involuntary bankruptcy.

04/18/22          T J Sales                      0.2   Reviewed update on next steps on order for involuntary
                                                       bankruptcy.

04/19/22          D R Eastlake                   2.8   Teleconferenced and corresponded with M. McElvy regarding
                                                       status and next steps, including motion for entry of an order for
                                                       relief; teleconferenced and corresponded with K. Jacobsen
                                                       regarding same and motions/issues regarding entry of order for
                                                       relief; reviewed and commented on motion for entry of order for
                                                       relief on involuntary petition, proposed order on same and motion
                                                       to expedite hearing; corresponded and teleconferenced with K.
                                                       Jacobsen regarding same and next steps; corresponded with D.
                                                       Miller regarding draft motions and next steps; further reviewed
                                                       and revised draft filings.

04/19/22          K M Jacobsen                   2.2   Drafted motion for emergency consideration of motion for entry
                                                       of involuntary order for relief.

04/19/22          K M Jacobsen                   5.7   Drafted motion for entry of involuntary order for relief.

04/19/22          K M Jacobsen                   2.5   Drafted proposed order for involuntary relief.

04/20/22          D R Eastlake                   1.9   Reviewed comments to draft pre-conference statement received
                                                       from M. McElvy; corresponded with K. Jacobsen regarding same
                                                       and other updates/edits to statement; finalized motions regarding
                                                       entry of order for relief; corresponded with Baker Botts team
                                                       regarding same; corresponded with D. Miller regarding same;
                                                       corresponded with A. Holder (trustee) and K. Hill regarding
                                                       same; corresponded with court case manager regarding filing of
                                                       motions and requested relief; corresponded with D. Rogers
                                                       regarding filed motions.

04/20/22          K M Jacobsen                   0.8   Finalized and filed motion for entry of involuntary order for relief
                                                       and motion for emergency consideration thereof.

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Date              Name                         Hours   Description
04/20/22          K M McElvy                     0.3   Reviewed and provided edits to the draft joint pre-conference
                                                       statement.

04/21/22          D R Eastlake                   2.4   Reviewed revised joint pre-conference statement and
                                                       corresponded with K. Jacobsen regarding same; multiple emails
                                                       with court regarding hearing on emergency motion and notice of
                                                       hearing; corresponded with Baker Botts team regarding same;
                                                       reviewed and commented on notice of hearing; corresponded and
                                                       teleconferenced with K. Jacobsen regarding same and joint pre-
                                                       conference statement; reviewed and responded to correspondence
                                                       from D. Miller regarding next week's hearing; reviewed and
                                                       responded to correspondence from H. Hanson regarding motion
                                                       to remand by Mandarin Capital and corresponded with Baker
                                                       Botts team regarding same; conducted preliminary review of
                                                       motion to remand and appendix; corresponded with D. Rogers
                                                       regarding hearing on emergency motion for entry of order for
                                                       relief.

04/21/22          K M Jacobsen                   0.8   Drafted notice of hearing on entry of involuntary order for relief.

04/21/22          K M Sherman                    0.5   Exchanged various correspondence with K. Jacobsen regarding
                                                       status of motion for relief; finalized notice of hearing and
                                                       prepared for issuance with Northern District of Texas Bankruptcy
                                                       Court; prepared for service on D. Rogers.

04/22/22          K M Sherman                    0.4   Prepared correspondence to K. Jacobsen regarding status of
                                                       service of notice of hearing for D. Rogers; reviewed and analyzed
                                                       Mandarin Capital's motion for remand and prepared
                                                       correspondence to team regarding same; updated associated
                                                       deadlines for motion to remand.

04/24/22          D R Eastlake                   2.1   Prepared for tomorrow's hearing on emergency motion for entry
                                                       of an order for relief in an involuntary case, including drafting
                                                       hearing outline and gathering and reviewing exhibits;
                                                       corresponded with Baker Botts team regarding same.

04/25/22          D R Eastlake                   4.1   Attended court hearing on motion for entry of order for relief;
                                                       finished preparing for same; teleconferenced with D. Miller
                                                       regarding same; sent post-hearing correspondence with M.
                                                       McElvy and D. Miller regarding hearing and next steps;
                                                       corresponded with K. Jacobsen regarding revised order for
                                                       submission to court; reviewed and commented on same;
                                                       corresponded with court case manager regarding same;
                                                       teleconferenced with K. Hill (trustee counsel) regarding Goldman
                                                       garnishment and related issues; corresponded with K. Jacobsen
                                                       regarding motion to remand or abstain and research/analysis for
                                                       response thereto.

04/25/22          K M Jacobsen                   0.7   Revised proposed order for involuntary relief.

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Dennis J. Rogers, II Bankruptcy Proceeding



Date              Name                               Hours      Description

04/25/22          K M Sherman                             0.4   Revised and finalized proposed order for relief; prepared for
                                                                issuance and service with Northern District of Texas Bankruptcy
                                                                Court; exchanged correspondence with D. Eastlake and K.
                                                                Jacobsen regarding same.

04/26/22          D R Eastlake                            3.1   Reviewed correspondence from court case manager regarding
                                 Time entry reduced by
                                                                order for relief; reviewed order for relief, as entered by the court
                                 1/2 for administrative
                                                                today, and other filings on the docket today; detailed
                                 expense claim
                                                                correspondence with S. Webster, A. Webster and M. McElvy
                                                                regarding case update and upcoming dates and deadlines;
                                                                corresponded with Baker Botts team regarding updates to case
                                                                calendar; reviewed correspondence from K. Hill (trustee counsel)
                                                                and M. Stromberg regarding Rogers' intent to file motion to
                                                                convert case to chapter 11; analyzed issues/research needed
                                                                regarding same; corresponded with Baker Botts team regarding
                                                                same and next steps; teleconferenced and corresponded with K.
                                                                Jacobsen regarding legal research concerning case conversion
                                                                issues and appointment of chapter 11 trustee; teleconference with
                                                                K. Hill regarding conversion and other case issues.

04/26/22          K M Sherman                             0.5   Reviewed and analyzed notice of hearing regarding motion for
                                                                remand and updated associated deadlines; exchanged
                                                                correspondence with D. Eastlake and K. Jacobsen regarding
                                                                same; reviewed and analyzed order granting involuntary petition
                                                                and corresponded with working group regarding same.

04/27/22          D R Eastlake                            2.4   Corresponded with M. McElvy regarding next steps in case and
                                                                trustee appointment issues; corresponded with K. Black
                                                                regarding case calendaring updates; reviewed and analyzed
                                                                memo prepared by K. Jacobsen regarding Mandarin's motion to
                                                                remand, analysis of arguments raised therein, counter arguments
                                                                and related issues and formal response to motion; reviewed and
                                                                responded to correspondence from K. Hill (trustee counsel)
                                                                regarding conversion issues and precedent against same;
                                                                reviewed and analyzed objection precedent received from K. Hill;
                                                                reviewed and analyzed conversion research findings sent by K.
                                                                Jacobsen.

04/27/22          K M Jacobsen                            3.1   Researched conversion to chapter 11.

04/27/22          K M Jacobsen                            1.2   Researched regarding dischargeability.

04/27/22          K M Jacobsen                            5.5   Reviewed and analyzed arguments in motion to remand,
                                                                including research regarding same.




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                                                                                                                          Ex. Pg. 653
       Case 22-30500-swe7            Doc 261-8
                                         250-4 Filed 09/20/24
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                                                           401651
                                                              of 43
                                                                                 Invoice No:          50011088
                                                                                 Invoice Date:        May 13, 2022
Webster, Steven A.                                                               Matter:              088698.0102
Dennis J. Rogers, II Bankruptcy Proceeding



Date              Name                           Hours    Description
04/27/22          K M Sherman                      0.8    Prepared correspondence to team regarding the motion for
                                                          remand; reviewed and analyzed notice of chapter 7 bankruptcy
                                                          for D. Rogers, executed order for relief and notice for motion for
                                                          remand and updated all associated case deadlines for same;
                                                          prepared further correspondence to team regarding same.

04/28/22          D R Eastlake                      0.5   Reviewed and analyzed dischargeability legal research findings
                                                          and analysis prepared by K. Jacobsen.

04/28/22          K M Jacobsen                      2.3   Researched regarding dischargeability.

04/29/22          D R Eastlake                      0.3   Teleconferenced with T. Dortch regarding Wildcat motion to lift
                                                          stay and related issues and case status.



Matter Hours                                       67.4      Value of highlighted line-items = $ 38,442.94

Matter Fees                                  $69,881.00




                                                                                                                     Page 6



                                                                                                                  Ex. Pg. 654
       Case 22-30500-swe7            Doc 261-8
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                                                                                 Invoice No:         50011088
                                                                                 Invoice Date:       May 13, 2022
Webster, Steven A.                                                               Matter:             088698.0102
Dennis J. Rogers, II Bankruptcy Proceeding




                                                2022 Lawyer Summary

Timekeeper                                               HOURS                     RATE                     AMOUNT
D R Eastlake                                               26.8                  1,305.00                    34,974.00
K M Jacobsen                                               30.4                    860.00                    26,144.00
K M McElvy                                                  4.4                  1,130.00                     4,972.00
T J Sales                                                   0.8                  1,350.00                     1,080.00
C E Tutunjian                                               1.7                    860.00                     1,462.00
                                                           64.1                                             $68,632.00



                                             2022 Non-Lawyer Summary

Timekeeper                                               HOURS                     RATE                     AMOUNT
R M Fontenla                                                0.7                    410.00                       287.00
K M Sherman                                                 2.6                    370.00                       962.00
                                                            3.3                                              $1,249.00

For Expenses Incurred :
Vendor: Business Card Invoice#: 050031242235 Date: 03/24/2022 - - Business Card; Texas Court Fees                     3.33
and Research Fees for March 2022

Vendor: Business Card Invoice#: 050031245102 Date: 03/24/2022 - - Business Card; Texas Court Fees                     5.35
and Research Fees for March 2022

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022         - Trip to Dallas for                    3.99
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Meals - Other DAVID
EASTLAKE Water at IAH for David Eastlake on 3/27/2022 prior to flight to attend Emergency Hearing
on Motion to Appoint an Interim Chapter 7 Trustee.

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022       - Trip to Dallas for                    230.52
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Hotel - Lodging DAVID
EASTLAKE Hotel stay for David Eastlake at Hall Arts Hotel in Dallas, Texas to attend Emergency
Hearing on Motion to Appoint an Interim Chapter 7 Trustee.

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022        - Trip to Dallas for                   410.20
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Airfare DAVID
EASTLAKE Roundtrip United Airlines flight for David Eastlake to Dallas, Texas to attend Emergency
Hearing on Motion to Appoint an Interim Chapter 7 Trustee.

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022         - Trip to Dallas for                   46.24
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Taxi / Car Service DAVID
EASTLAKE Lyft ride for David Eastlake to from Dallas airport to hotel in Dallas, Texas to attend
Emergency Hearing on Motion to Appoint an Interim Chapter 7 Trustee.



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                                                                                   Invoice No:         50011088
                                                                                   Invoice Date:       May 13, 2022
Webster, Steven A.                                                                 Matter:             088698.0102
Dennis J. Rogers, II Bankruptcy Proceeding

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022         - Trip to Dallas for                      9.75
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Taxi / Car Service DAVID
EASTLAKE Lyft ride for David Eastlake to from hotel to dinner in Dallas, Texas to attend Emergency
Hearing on Motion to Appoint an Interim Chapter 7 Trustee.

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022           - Trip to Dallas for                   11.03
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Taxi / Car Service DAVID
EASTLAKE Lyft ride for David Eastlake from dinner back to hotel in Dallas, Texas to attend Emergency
Hearing on Motion to Appoint an Interim Chapter 7 Trustee.

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022         - Trip to Dallas for                     68.80
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Taxi / Car Service DAVID
EASTLAKE Lyft ride for David Eastlake from Dallas office to airport in Dallas, Texas to attend
Emergency Hearing on Motion to Appoint an Interim Chapter 7 Trustee.

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022        - Trip to Dallas for                       7.58
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Breakfast DAVID
EASTLAKE Breakfast at Berkley's M.K.T. for David Eastlake on 3/28/2022 while attending Emergency
Hearing on Motion to Appoint an Interim Chapter 7 Trustee.

Vendor: Eastlake, David R. Invoice#: 5100634704181524 Date: 4/18/2022    - Trip to Dallas for                          48.00
Emergency Hearing-3/27/22 - Trip to Dallas for Emergency Hearing-3/27/22 Parking DAVID
EASTLAKE Parking at SP+ Global IMS for David Eastlake on 3/28/2022 while attending Emergency
Hearing on Motion to Appoint an Interim Chapter 7 Trustee.

Online Legal Research: Courtlink                                                                                      672.00

Online Legal Research: Courtlink                                                                                        8.79

Online Legal Research: Lexis                                                                                          680.50

Online Legal Research: Westlaw                                                                                        882.18

Pacer Electronic Court Records                                                                                         80.50


Total Expenses                                                                                                   $3,168.76




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          Case 22-30500-swe7              Doc 261-8
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                                                                                                                         Austin         Moscow
                                                                                                                       Brussels       New York
                                                                                                                         Dallas        Palo Alto
                                                                                                                         Dubai           Riyadh
                                                                                                                       Houston     San Francisco
                                                                                                                        London       Washington
TAX ID XX-XXXXXXX




Webster, Steven A.                                                                                                      Due Upon Receipt
2701 Kirby Dr
Houston, TX 77098                                                                                Invoice Number:        50011088
                                                                                                 Invoice Date:          May 13, 2022
                                                                                                 Matter Number:         088698.0102


                                                     REMITTANCE STATEMENT


Matter Number:        088698.0102
Client:               Webster, Steven A.
Matter:               Dennis J. Rogers, II Bankruptcy Proceeding
Invoice Number:       50011088
Billing Attorney:     M D McElvy
Office:               Houston


                     Total Fees                                                                   $69,881.00

                     Total Expenses                                                                $3,168.76



                     Total Invoice Amount                                                         $73,049.76




      TO ENSURE PROPER APPLICATION OF YOUR PAYMENT PLEASE RETURN THIS REMITTANCE ADVICE
                            OR EMAIL TO ARHOUSTON@BAKERBOTTS.COM
 Please Remit to:    Wiring Instructions                           ACH Information:                              To Pay by Check, send to:
                     Baker Botts L.L.P.                            Baker Botts L.L.P.                            Baker Botts L.L.P.
                     Bank: JP Morgan Chase Bank                    Bank: JP Morgan Chase Bank                    P.O. Box 301251
                     Address: 712 Main Street, Houston, TX 77002   Address: 712 Main Street, Houston, TX 77002   Dallas, TX 75303-1251
                     ABA Number: 021 000 021                       Routing Number: 111 000 614                   (Reference Invoice Number)
                     Swift Code: CHASUS33                          Primary Account: 001 0000 2006
                     Primary Account: 001 0000 2006                (Reference Invoice Number)
                     (Reference Invoice Number)



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Exhibit EX 9-Declaration of David R.Ex.
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                              Exhibit 9




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                                                           21Creditor Steven A. W Page 2 of 20


   David R. Eastlake
   Texas Bar No. 24074165
   david.eastlake@bakerbotts.com
   Meghan Dawson McElvy
   Texas Bar No. 24065127
   meghan.mcelvy@bakerbotts.com
   BAKER BOTTS L.L.P.
   910 Louisiana St., Suite 3200
   Houston, Texas 77002
   Telephone: (713) 229-1234
   Facsimile:    (713) 229-1522

   Counsel for Creditor Steven A. Webster

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

        In re:                                                §
                                                              §                 Chapter 7
       DENNIS JAMES ROGERS II,                                §
                                                              §                 Case No. 22-30500-7
                                Debtor.                       §

                   DECLARATION OF DAVID R. EASTLAKE IN SUPPORT OF
                 CREDITOR STEVEN A. WEBSTER’S MOTION FOR SANCTIONS

            I, David R. Eastlake, declare under penalty of perjury:

                                                     Introduction

            1.       My name is David R. Eastlake. I am over the age of 21, of sound mind, and fully

   competent to make this declaration (the “Declaration”). The facts and matters set forth in this

   Declaration are based upon my personal knowledge and are true and correct. The opinions

   contained herein are based on my education, training, and experience.

            2.       I submit this Declaration in support of Creditor Steven A. Webster’s Motion for

   Sanctions (the “Motion”)1 filed concurrently herewith. Except as otherwise indicated herein, I




   1
        Capitalized terms used but not otherwise defined herein shall have the same meanings as ascribed to them in the
        Motion.




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                                                           21Creditor Steven A. W Page 3 of 20



   have personal knowledge of the matters set forth herein and, if called as a witness, would testify

   competently thereto.

          3.      I am an attorney duly licensed by the State of Texas. I have been licensed to

   practice law in Texas since 2010, and I am also admitted to practice in the State of New York, the

   Southern, Northern, Eastern, and Western Districts of Texas, the Southern District of New York,

   and the United States Court of Appeals for the Fifth Circuit. I am a partner in the financial

   restructuring group of the law firm of Baker Botts L.L.P. (“Baker Botts”). I am currently practicing

   law in Houston, Harris County, Texas and have practiced law in Houston, Harris County, Texas

   since 2010.

          4.      Based on my more than a decade of experience practicing law in Texas, I am

   familiar with the usual and customary rates charged by other attorneys in and around Harris County

   and Dallas County, Texas (among other areas) for services of a similar nature to those described

   in this Declaration.

          5.      Creditor Steven A. Webster (“Webster”) retained Baker Botts as his counsel in the

   above-captioned chapter 7 case. I have personal knowledge of this case, having participated in

   and overseen the work performed in connection with this matter, and discussed the matter with

   Webster.

          6.      The case has been primarily handled by a three-person team including associate

   Kristen M. Jacobsen, partner Meghan McElvy, and myself. We also had limited assistance from

   support staff, including paralegal Kendall Black.

          7.      Attached as Exhibit 1 to this Declaration is a report detailing rates from other large

   law firms in the Dallas, Houston, and Austin areas.




                                                    2


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                                                           21Creditor Steven A. W Page 4 of 20



                                             Billing Process

          8.      Meghan McElvy was (and remains) the billing attorney for this matter and reviewed

   each invoice for work performed on this matter before Baker Botts sent the invoice to Webster.

   She ensured that each time entry was reasonable for each particular task. Where time appeared

   excessive given the nature of the work, she reduced it or wrote it off completely before the invoice

   went out.

          9.      Webster reviewed each invoice prior to paying Baker Botts, and to date have paid

   or incurred all of the fees and expenses presented in this Declaration.

                                           Work Performed

          10.     Webster’s counsel at Baker Botts were required to invest significant time, skill, and

   labor to effectively and quickly research and investigate the Debtor’s Motion to Convert. The

   work performed by Webster’s counsel was dictated by the significant consequences that the

   Motion to Convert would have on their prospects for recovery in the chapter 7 bankruptcy (to

   which much time and expense has already been dedicated) and by the time-sensitive nature of the

   Motion to Convert (a hearing for which was set for June 15, 2022, prior to it being withdrawn). It

   was also important to Webster to proactively research, investigate, and, if appropriate, challenge

   the Motion to Convert, given that he had already incurred significant time and expenses to secure

   a trustee in the chapter 7 case. The litigation team handling this case worked efficiently by

   delegating a substantial amount of the legwork, including researching and drafting the pleadings

   and briefs, to associate Kristen M. Jacobsen, with partners David R. Eastlake and Meghan McElvy

   directing and overseeing their work. Baker Botts’ efforts on this matter have paid off so far, as it

   has been able to succeed on its petition for involuntary bankruptcy and Motion to Appoint Interim

   Trustee, who became the Trustee once the petition was granted.



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          16.     Baker Botts thoroughly researched and prepared an objection to the Debtor’s

   frivolous Motion to Convert. Baker Botts drafted written discovery to serve on the Debtor in

   connection with the Motion to Convert, including requests for production. These discovery

   requests were intended to aid in Webster’s opposition to the Motion to Convert. The Debtor

   responded to Webster’s discovery requests on June 3, 2022. Webster’s counsel reviewed these

   responses (totaling approximately 148 pages) to determine whether they contained additional

   support for their objection to the Motion to Convert. The Baker Botts team also performed work

   necessary to prepare for the deposition of the Debtor related to the Motion to Convert, including

   reviewing the Debtor’s discovery production in this case as well as the Webster Litigation.

          17.     In sum, Baker Botts conducted the following work, all of which was necessary for

   pursuing Webster’s objection to the Motion to Convert:

                        fact gathering, legal research, and strategy;

                        preparing discovery requests to serve on the Debtor, including requests for
                         production and a notice of deposition;

                        reviewing and analyzing pertinent filings in this case, including the
                         Debtor’s schedules and statement of financial affairs;

                        reviewing and analyzing discovery responses provided by the Debtor;

                        reviewing and analyzing depositions taken in the Webster Litigation,
                         including of the Debtor, his father and a Goldman Sachs banker as well as
                         exhibits used in those depositions;

                        preparing and filing the objection to the Motion to Convert; and

                        preparing for the deposition of the Debtor, including reviewing and
                         analyzing myriad exhibits to be used, and traveling to Dallas, Texas.




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                                                Fees and Expenses

           11.      Baker Botts incurred a total of $76,686.75 in attorneys’ fees and $1,479.10 in

   aggregate travel expenses (e.g., airfare, mileage, hotel, meals) and cancelled court reporter fees on

   behalf of Webster related to the Motion to Convert.

           12.      The hours worked by the Baker Botts attorneys and the total fees incurred by the

   Debtor are listed below. These charts also include costs and expenses incurred in connection with

   this lawsuit:

                                          Department and
         Name and Position of                                    Hourly              Total Billed   Total Amount
                                         Date/State of First
          Professional Person                                  Billing Rate            Hours            Billed
                                     Admission (if applicable)
                                     Financial Restructuring,
    David R. Eastlake, Partner                                    $1,305                39.0         $50,895.00
                                     2007 New York
    Meghan McElvy, Partner           Litigation, 2008 Texas       $1,130                26.4         $29,832.00
                                     Financial Restructuring,
    Kristen M. Jacobsen, Associate                                 $860                 21.1         $18,146.00
                                     2017 Texas
                                     Financial Restructuring,
    Rory Fontenla                                                  $410                  3.0          $1,230.00
                                     N/A
    Kendall Sherman                  Litigation, N/A               $370                  5.8           $2,146.00
                                 GRAND TOTAL                                            95.3         $102,249.00
                                TOTAL WITH 25% DISCOUNT                                               $76,686.75

                                                                                                      Amount
                                                                     Total Billed   Total Amount
                              Category                                                               Billed with
                                                                       Hours            Billed
                                                                                                    25% Discount
    Strategy and reviewing and analyzing pertinent filings in this
                                                                        14.6         $14,847.50       $11,135.00
    case
    Preparing and Filing the Objection to the Motion to Convert         24.0         $22,409.50       $16,807.00
    Preparing Discovery Requests to Serve on the Debtor,
                                                                         6.5          $6,151.00       $4,613.00
    Including Requests for Production and a Notice of Deposition
    Preparing for the Deposition of the Debtor, Including
    Reviewing and Analyzing Myriad Exhibits to be Used, and             50.2         $58,841.00       $44,131.75
    Traveling to Dallas, Texas
                          GRAND TOTAL                                   95.3         $102,249.00      $76,686.75

           13.      These effective hourly rates are customary and reasonable rates for services of the

   type performed in this matter and are consistent with or lower than those charged by Baker Botts

   and comparable firms in other similar matters. See generally Exhibit 1.




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          14.     It is my opinion that this Court should award Webster $78,165.85, which is the total

   sum of the reasonable attorneys’ fees, costs, and expenses Webster has actually incurred in

   connection with the Debtor’s frivolous Motion to Convert.

          A.      Overview of Johnson Factors

          16.     Based on my 12 years of experience as a Texas restructuring attorney, it is my

   opinion and testimony that the legal services rendered by Baker Botts in this matter have been

   reasonable and necessary. It is also my opinion and testimony that the fees charged by Baker Botts

   for those services have all been reasonable and necessary.

          17.     In reaching these opinions, I considered the factors set forth in Johnson v. Georgia

   Highway Exp., Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), which include:

                        time and labor required

                        novelty and difficulty of the issues;

                        skill required to perform the legal services properly;

                        preclusion of other employment;

                        customary fee;

                        whether the fee is fixed or contingent;

                        time limitations imposed by client or circumstances;

                        amount involved and results obtained;

                        experience, reputation and ability of the attorneys;

                        undesirability of the case;

                        nature and length of the professional relationship with the client; and

                        award in similar cases.




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          18.     Baker Botts attorneys were required to invest significant time, skill, and labor to

   oppose the Debtor’s baseless Motion to Convert. The facts and circumstances required Webster’s

   counsel to work extremely quickly to oppose the Motion to Convert so that Webster (along with

   other creditors who stood to benefit from Webster’s opposition to the Motion to Convert) has the

   best chance to maximize his recovery, including promptly drafting and filing an objection to the

   Motion to Convert, serving discovery regarding same, and preparing for and traveling to Dallas

   for a deposition of the Debtor.

          19.     Furthermore, the rates charged by Baker Botts are customary and reasonable rates

   for services of the type performed in this matter and are consistent with those charged by Baker

   Botts and comparable firms in Texas in other similar bankruptcy litigation matters. Baker Botts

   attorneys are experienced lawyers with a respected reputation, who worked as efficiently as

   possible to secure the best result for their clients. In the course of our representation to date, we

   not only succeeded on the petition for involuntary bankruptcy, but also successfully obtained an

   interim chapter 7 trustee, who became the Trustee once the petition was granted.

          B.      Segregation of Fees.

          15.     The fees that Webster incurred in this matter were incurred in opposing the

   frivolous Motion to Convert. However, the work done to pursue this objection overlaps with work

   done to advance certain of the other matters in the chapter 7 case and related adversary proceeding.

   To the extent the work on the different claims was closely intertwined, the fees in this matter did

   not need to be segregated.

          16.     Nonetheless, to avoid burdening the Court further, I have made a good faith effort

   to segregate out any fees and expenses that were not related to the Motion to Convert. The only




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   fees we have requested that involve other pleadings or issues are those fees which are clearly and

   inextricably intertwined with the Motion to Convert.

                                              Conclusion

          17.     Baker Botts incurred a total of $76,686.75 in attorneys’ fees and $1,479.10 in

   expenses on behalf of Webster related to the Motion to Convert. Baker Botts submits that its

   request for sanctions equal to its attorneys’ fees and expenses related to the Motion to Convert is

   reasonable and proper, and that such request should be allowed in the amounts requested. This

   amount is sufficient to discourage Liepins and the Debtor from future bad faith, unsupported filings

   and make Webster whole for the attorneys’ fees and costs he unfairly and unnecessarily incurred.

          Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

   true and correct, to the best of my knowledge.

   Executed: June 29, 2022                              By:   /s/ David R. Eastlake
   Houston, Texas                                       David R. Eastlake




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                                               Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                         Firm                                  Last Name        Middle Name        First Name        Position              City        Grad Year      Bar Year    Bar State   2021 Standard Rate
Kirkland & Ellis LLP                                    Wheat, P.C.                           David            Partner              Dallas                    1988         1988 TX                      $1,825.00
Shearman & Sterling LLP                                 McDowell             Luckey           Charles          Partner              Dallas                    2001         2002 TX                      $1,745.00
Shearman & Sterling LLP                                 McLean               E.               Sarah            Partner              Austin                    1999         1999 TX                      $1,745.00
Kirkland & Ellis LLP                                    Calder, P.C.         T.               Andrew           Partner              Houston                   2000         2003 NY                      $1,695.00
Latham & Watkins LLP                                    Fenn                 T.               Charles          Partner              Houston                   1996         1996 TX                      $1,680.00
Kirkland & Ellis LLP                                    Wheat, P.C.                           David            Partner              Dallas                    1988         1988 TX                      $1,675.00
Akin Gump Strauss Hauer & Feld LLP                      Brimmage             L.               Marty            Partner              Dallas                    1995         1995 TX                      $1,655.00
Akin Gump Strauss Hauer & Feld LLP                      Schultz              L.               Sarah            Partner              Dallas                    2001         2001 TX                      $1,655.00
Shearman & Sterling LLP                                 McDowell             Luckey           Charles          Partner              Dallas                    2001         2002 TX                      $1,645.00
Shearman & Sterling LLP                                 Nelson               B.               William          Partner              Houston                   1997         1997 TX                      $1,625.00
Shearman & Sterling LLP                                 Nelson               B.               Bill             Partner              Houston                   1997         1997 TX                      $1,625.00
Shearman & Sterling LLP                                 Roberts              E.               Ian              Partner              Dallas                    2006         2006 TX                      $1,625.00
Kirkland & Ellis LLP                                    Bos, P.C.                             William          Partner              Houston                   2002         2003 NY                      $1,615.00
Weil, Gotshal & Manges LLP                              Perez                R.               Alfredo          Partner              Houston                   1980         1980 TX                      $1,595.00
Paul, Weiss, Rifkind, Wharton & Garrison LLP            Stasny                                Sarah e.         Partner              Dallas                    2004         2004 TX                      $1,595.00
Latham & Watkins LLP                                    Chambers             Michael          J.               Partner              Houston                   1997         1997 TX                      $1,580.00
Latham & Watkins LLP                                    Ozdogan              C.               Mary             Partner              Houston                   1994         1994 TX                      $1,580.00
Kirkland & Ellis LLP                                    Seiguer, P.C.        J.               Julian           Partner              Houston                   2007         2008 MD                      $1,575.00
Kirkland & Ellis LLP                                    Bacon, P.C.          E.               Douglas          Partner              Houston                   2000         2002 NY                      $1,565.00
Latham & Watkins LLP                                    Ozdogan              C.               Mary             Partner              Houston                   1994         1994 TX                      $1,565.00
Kirkland & Ellis LLP                                    Speier, P.C.                          Anthony          Partner              Houston                   2005         2005 TX                      $1,565.00
Kirkland & Ellis LLP                                    Seiguer, P.C.        J.               Julian           Partner              Houston                   2007         2008 MD                      $1,554.00
Simpson Thacher & Bartlett LLP                          Tieh                                  Linda            Partner              Houston                   2011         2012 NY                      $1,550.00
Shearman & Sterling LLP                                 Kennedy              R.               Jeremy           Partner              Houston                   2003         2003 TX                      $1,545.00
Shearman & Sterling LLP                                 Omar                                  Samji            Partner              Houston                                2005 NY                      $1,545.00
Shearman & Sterling LLP                                 Roberts              E.               Ian              Partner              Dallas                    2006         2006 TX                      $1,545.00
Shearman & Sterling LLP                                 Samji                                 Omar             Partner              Houston                   2004         2005 NY                      $1,545.00
Kirkland & Ellis LLP                                    Seiguer, P.C.        J.               Julian           Partner              Houston                   2007         2008 MD                      $1,545.00
Kirkland & Ellis LLP                                    Van Syoc             A.               Rhett            Partner              Houston                   2005         2007 NY                      $1,545.00
Shearman & Sterling LLP                                 Lowther                               Todd             Partner              Houston                   2006         2006 TX                      $1,525.00
Shearman & Sterling LLP                                 Meredith             D.               Nathan           Partner              Dallas                    2009         2010 NY                      $1,525.00
Paul Hastings LLP                                       Nelson               V.               Gregory          Partner              Houston                   1981         1981 TX                      $1,525.00
Kirkland & Ellis LLP                                    Spivey, P.C.         E.               Lucas            Partner              Houston                   2007         2007 TX                      $1,525.00
Shearman & Sterling LLP                                 Whittlesey           P.               David            Partner              Austin                    1994         1994 TX                      $1,525.00
Kirkland & Ellis LLP                                    Fowler, P.C.         Robert           J.               Partner              Houston                   1996         1996 TX                      $1,495.00
Weil, Gotshal & Manges LLP                              Moore                L.               Rodney           Partner              Dallas                    1987         1987 TX                      $1,495.00
Kirkland & Ellis LLP                                    Rotman, P.C.         G.               Anna             Partner              Houston                   2004         2004 TX                      $1,495.00
Kirkland & Ellis LLP                                    Schartz, P.C.        E.               Brian            Partner              Houston                   2007         2008 NY                      $1,495.00
Kirkland & Ellis LLP                                    Dundon, P.C.         E.               Mark             Partner              Houston                   2007         2008 NY                      $1,475.00
Weil, Gotshal & Manges LLP                              Malonson             K.               Jeffrey          Partner              Houston                   1998         1998 TX                      $1,475.00
Akin Gump Strauss Hauer & Feld LLP                      Davis                D.               Stephen          Partner              Houston                   1981         1982 TX                      $1,470.00
Latham & Watkins LLP                                    Mack                 H.               Joel             Partner              Austin                    1984         1986 CA                      $1,465.00
Jones Day                                               Gordon               M.               Gregory          Partner              Dallas                    1980         1980 OH                      $1,450.00
Weil, Gotshal & Manges LLP                              Marcus               S.               Courtney         Partner              Dallas                    1998         1998 TX                      $1,450.00
Paul Hastings LLP                                       Nelson               V.               Gregory          Partner              Houston                   1981         1981 TX                      $1,450.00
Akin Gump Strauss Hauer & Feld LLP                      Wood                                  Iain             Partner              Dallas                    2006         2006 TX                      $1,450.00
Kirkland & Ellis LLP                                    Cannon               Q.               Brigham          Partner              Houston                   2005         2006 VA                      $1,445.00
Kirkland & Ellis LLP                                    Jacobson             M.               Stephen          Partner              Houston                   2007         2007 TX                      $1,445.00
Shearman & Sterling LLP                                 Lowther                               Todd             Partner              Houston                   2006         2006 TX                      $1,445.00
Shearman & Sterling LLP                                 Meredith             D.               Nathan           Partner              Dallas                    2009         2010 NY                      $1,445.00
Kirkland & Ellis LLP                                    Van Noord, P.C.      R.               Andrew           Partner              Dallas                    2008         2008 TX                      $1,445.00
Shearman & Sterling LLP                                 Whittlesey           P.               David            Partner              Austin                    1994         1994 TX                      $1,445.00
Akin Gump Strauss Hauer & Feld LLP                      Elder                P.               David            Partner              Houston                   1995         1995 TX                      $1,425.00
McDermott Will & Emery LLP                              Gibbs                R.               Charles          Partner              Dallas                    1978         1978 TX                      $1,425.00
Greenberg Traurig LLP                                   Heyen                L.               Shari            Equity Partner       Houston                   1990         1990 TX                      $1,425.00
Akin Gump Strauss Hauer & Feld LLP                      Lawrence             M.               Lacy             Partner              Dallas                    2006         2006 TX                      $1,425.00
Kirkland & Ellis LLP                                    Lichman              L.               Rachael          Partner              Houston                   2008         2009 NY                      $1,425.00
Kirkland & Ellis LLP                                    Rotman, P.C.         G.               Anna             Partner              Houston                   2004         2004 TX                      $1,425.00
Kirkland & Ellis LLP                                    Veit                                  Andy             Partner              Houston                   2009         2010 NY                      $1,405.00
Kirkland & Ellis LLP                                    Brawley, P.C.        Kogut            Mary             Partner              Houston                   2009         2010 CA                      $1,395.00
Kirkland & Ellis LLP                                    Lichman              L.               Rachael          Partner              Houston                   2008         2009 NY                      $1,395.00
Baker Botts LLP                                         Marcus               D.               Stephen          Partner              Dallas                    1986         1986 TX                      $1,395.00
Latham & Watkins LLP                                    Miller               John             David            Partner              Houston                   2006         2007 NY                      $1,395.00
Kirkland & Ellis LLP                                    Pitts, P.C.          D.               John             Partner              Houston                   2009         2010 NY                      $1,395.00
Kirkland & Ellis LLP                                    Veit                 C.R.             Andrew           Partner              Houston                   2009         2010 NY                      $1,375.00
Kirkland & Ellis LLP                                    Veit                                  Andy             Partner              Houston                   2009         2010 NY                      $1,375.00
Baker Botts LLP                                         Marcus               D.               Stephen          Partner              Dallas                    1986         1986 TX                      $1,370.00
Baker Botts LLP                                         Bennett              K.               Jason            Partner              Houston                   1999         2000 NY                      $1,365.00
Kirkland & Ellis LLP                                    Morgan               E                Lane             Partner              Dallas                    2009         2009 TX                      $1,355.00
Weil, Gotshal & Manges LLP                              Genender             R.               Paul             Partner              Dallas                    1994         1994 TX                      $1,350.00
Sidley Austin LLP                                       McFaul               K.               Duston           Partner              Houston                   1997         1997 TX                      $1,350.00
Kirkland & Ellis LLP                                    Huynh                D.               Lanchi           Partner              Dallas                    2006         2006 TX                      $1,345.00
Kirkland & Ellis LLP                                    Vashi                D.               Rahul            Partner              Houston                   2010         2010 TX                      $1,325.00
Quinn Emanuel Urquhart & Sullivan, LLP                  Tomasco              B.               Patricia         Partner              Houston                   1988         1988 TX                      $1,305.00
McDermott Will & Emery LLP                              Gibbs                R.               Charles          Partner              Dallas                    1978         1978 TX                      $1,300.00
Weil, Gotshal & Manges LLP                              Macke                J.               Jonathan         Partner              Dallas                    2004         2004 TN                      $1,295.00
Baker Botts LLP                                         Morton               A.               Gerald           Partner              Houston                   1988         1988 TX                      $1,295.00
Kirkland & Ellis LLP                                    Smith                M.               Chad             Partner              Houston                   2010         2011 TX                      $1,295.00
White & Case LLP                                        Ericksen             James            Andrew           Partner              Houston                   2005         2005 TX                      $1,285.00
White & Case LLP                                        Parish               R.               William          Partner              Houston                   1995         1995 TX                      $1,285.00
Haynes and Boone, LLP                                   Beckham              A.               Charles          Partner              Houston                   1979         1979 TX                      $1,275.00
Kirkland & Ellis LLP                                    Dong                 T.               William          Partner              Dallas                    2013         2014 NY                      $1,275.00
McDermott Will & Emery LLP                              Krieser              D.               Jason            Partner              Dallas                    1996         1996 NE                      $1,275.00
Latham & Watkins LLP                                    Castelan             G.               Jonathan         Partner              Houston                   2006         2007 TX                      $1,270.00
Latham & Watkins LLP                                    Greer                M.               John             Partner              Houston                   2005         2005 TX                      $1,270.00
Latham & Watkins LLP                                    Stolte               T.               Justin           Partner              Houston                   2007         2007 TX                      $1,270.00
Latham & Watkins LLP                                    Szalkowski           C.               Stephen          Partner              Houston                   2007         2007 TX                      $1,270.00
McDermott Will & Emery LLP                              Krieser              D.               Jason            Partner              Dallas                    1996         1996 NE                      $1,270.00
Kirkland & Ellis LLP                                    Sekhar               A.               Cephas           Partner              Houston                   2009         2009 CA                      $1,265.00
Sidley Austin LLP                                       Pullin               T.               Zackary          Partner              Houston                   2007         2009 TX                      $1,250.00
Latham & Watkins LLP                                    Kellet               C.               Pamela           Partner              Houston                   2007         2007 TX                      $1,240.00
Baker Botts LLP                                         Pankratz             Max              Kurt             Partner              Dallas                    1999         1999 TX                      $1,240.00




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                                           Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                        Firm                              Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year     Bar State   2021 Standard Rate
Kirkland & Ellis LLP                                Varner               O.               Enoch            Partner              Houston                   2009         2009 IL                       $1,240.00
Baker Botts LLP                                     Prince               R.               James            Partner              Dallas                    1992         1992 TX                       $1,235.00
Baker Botts LLP                                     Eastlake             R.               David            Partner              Houston                   2007         2008 NY                       $1,230.00
Kirkland & Ellis LLP                                Furlow               D.               John             Partner              Houston                   2012         2013 TX                       $1,225.00
Weil, Gotshal & Manges LLP                          Nemunaitis                            Vynessa          Partner              Dallas                    2009         2009 TX                       $1,225.00
Weil, Gotshal & Manges LLP                          Peca                 C.               Samuel           Partner              Houston                   2011         2011 TX                       $1,225.00
Kirkland & Ellis LLP                                Tobias                                Joe              Associate            Houston                   2015         2015 TX                       $1,225.00
Pachulski Stang Ziehl & Jones LLP                   Warner               D.               Michael          Partner              Houston                   1984         1984 CA                       $1,225.00
Pachulski Stang Ziehl & Jones LLP                   Warner               D.               Michael          Equity Partner       Houston                   1984         1984 CA                       $1,225.00
Kirkland & Ellis LLP                                Rigdon               W.               Michael          Partner              Houston                   2011         2011 TX                       $1,220.00
McDermott Will & Emery LLP                          Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                       $1,220.00
Kirkland & Ellis LLP                                Davis                                 Chad             Partner              Houston                   2013         2013 TX                       $1,215.00
Kirkland & Ellis LLP                                Flannery             D.               Bryan            Partner              Houston                   2009         2014 NY                       $1,215.00
Kirkland & Ellis LLP                                Kirk                 T.               Allan            Partner              Houston                   2013         2013 TX                       $1,215.00
Mayer Brown LLP                                     Kelley               S.               Charles          Partner              Houston                   1991         1991 TX                       $1,210.00
McDermott Will & Emery LLP                          Kao                                   Elaine           Associate            Dallas                    2017         2017 CA                       $1,210.00
Kirkland & Ellis LLP                                Aycock               A.               Jamie            Partner              Houston                   2005         2005 TX                       $1,205.00
Latham & Watkins LLP                                Cole                 H.               James            Partner              Houston                   2011         2011 TX                       $1,205.00
Latham & Watkins LLP                                Lavelle              J.               Trevor           Partner              Houston                   2009         2009 TX                       $1,205.00
Latham & Watkins LLP                                Lee                  P.               Bryant           Partner              Houston                   2010         2010 TX                       $1,205.00
Jones Day                                           O'Bannon             E.               James            Partner              Dallas                    1983         1983 TX                       $1,200.00
Quinn Emanuel Urquhart & Sullivan, LLP              Porter               D.               Christopher      Partner              Houston                   2008         2009 TX                       $1,200.00
Quinn Emanuel Urquhart & Sullivan, LLP              Shih                 K.               Kate             Partner              Houston                   2006         2007 NY                       $1,200.00
McDermott Will & Emery LLP                          Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                       $1,200.00
Kirkland & Ellis LLP                                Furlow               D.               John             Partner              Houston                   2012         2013 TX                       $1,195.00
Kirkland & Ellis LLP                                Heasley                               Christopher      Partner              Houston                   2013         2013 TX                       $1,195.00
Kirkland & Ellis LLP                                Tobias                                Joe              Associate            Houston                   2015         2015 TX                       $1,195.00
Quinn Emanuel Urquhart & Sullivan, LLP              Tomasco              B.               Patricia         Partner              Houston                   1988         1988 TX                       $1,195.00
Latham & Watkins LLP                                Cole                 H.               James            Partner              Houston                   2011         2011 TX                       $1,192.00
Kirkland & Ellis LLP                                Davis                                 Chad             Partner              Houston                   2013         2013 TX                       $1,185.00
Kirkland & Ellis LLP                                Flannery             D.               Bryan            Partner              Houston                   2009         2014 NY                       $1,185.00
Kirkland & Ellis LLP                                Johnston                              Tony             Partner              Dallas                    2013         2013 TX                       $1,185.00
Kirkland & Ellis LLP                                Kabad                J.               Atma             Associate            Houston                   2013         2013 TX                       $1,185.00
Kirkland & Ellis LLP                                Kirk                 T.               Allan            Partner              Houston                   2013         2013 TX                       $1,185.00
Kirkland & Ellis LLP                                Lotz                 L.               Arthur           Partner              Dallas                    2013         2014 NY                       $1,185.00
Kirkland & Ellis LLP                                Roberts              D.               Jordan           Partner              Houston                   2013         2013 TX                       $1,185.00
Kirkland & Ellis LLP                                Sidik                                 Ahmed            Partner              Houston                   2013         2013 TX                       $1,185.00
Arnold & Porter Kaye Scholer LLP                    Treistman            G.               Katherine        Partner              Houston                   1996         1996 TX                       $1,180.00
Akin Gump Strauss Hauer & Feld LLP                  Cox                  R.               Ryan             Partner              Dallas                    2005         2005 TX                       $1,175.00
Latham & Watkins LLP                                Richardson           M.               Kevin            Partner              Houston                   2009         2009 TX                       $1,172.00
Baker Botts LLP                                     Barkley              H.               James            Partner              Houston                   1993         1993 TX                       $1,170.00
Norton Rose Fulbright                               Gerber               L.               Toby             Partner              Dallas                    1975         1975 TX                       $1,165.00
Baker Botts LLP                                     Larsen                                Matthew          Partner              Dallas                    1996         1996 TX                       $1,165.00
Norton Rose Fulbright                               Strubeck             R.               Louis            Partner              Dallas                    1983         1983 TX                       $1,165.00
O'Melveny & Myers LLP                               Strubeck             R.               Louis            Partner              Dallas                    1983         1983 TX                       $1,165.00
Shearman & Sterling LLP                             Andrews              R.               Michael          Associate            Dallas                    2014         2014 TX                       $1,155.00
Kirkland & Ellis LLP                                Bielinski                             Laura            Associate            Houston                   2016         2016 TX                       $1,155.00
Kirkland & Ellis LLP                                Doughty              B.               Mahalia          Associate            Houston                   2015         2016 NY                       $1,155.00
Kirkland & Ellis LLP                                Garmezy                               Adam             Partner              Houston                   2014         2014 TX                       $1,155.00
Kirkland & Ellis LLP                                Hancock              K.               Lance            Partner              Houston                   2015         2015 TX                       $1,155.00
Kirkland & Ellis LLP                                Malenfant            I.               Richard          Partner              Houston                   2014         2014 TX                       $1,155.00
Kirkland & Ellis LLP                                McClellan                             Mitchell         Partner              Houston                   2014         2014 TX                       $1,155.00
Shearman & Sterling LLP                             Pashin                                Julia            Associate            Dallas                    2012         2012 TX                       $1,155.00
Shearman & Sterling LLP                             Randle               N.               Lauren           Associate            Houston                   2010         2010 TX                       $1,155.00
Shearman & Sterling LLP                             Sims                 C.               Kelli            Associate            Houston                   2013         2013 TX                       $1,155.00
Kirkland & Ellis LLP                                Totari                                Rami             Associate            Dallas                    2015         2016 NY                       $1,155.00
Kirkland & Ellis LLP                                Totari                                Rami             Partner              Dallas                    2015         2016 NY                       $1,155.00
Jones Day                                           Cowan                W.               Scott            Partner              Houston                   1993         1993 TX                       $1,150.00
Jones Day                                           Lewis                B.               Troy             Partner              Dallas                    1987         1987 TX                       $1,150.00
Akin Gump Strauss Hauer & Feld LLP                  Warrick              P.               Laura            Partner              Dallas                    2011         2011 TX                       $1,145.00
Akin Gump Strauss Hauer & Feld LLP                  Ahmed                R.               Shar             Partner              Houston                   2001         2001 TX                       $1,135.00
Kirkland & Ellis LLP                                Roberts              D.               Jordan           Partner              Houston                   2013         2013 TX                       $1,135.00
Akin Gump Strauss Hauer & Feld LLP                  Scott                Marie Dulong     Elizabeth        Partner              Dallas                    2007         2007 TX                       $1,135.00
Quinn Emanuel Urquhart & Sullivan, LLP              Van Der Hahn                          Devin            Associate            Houston                   2013         2014 CA                       $1,130.00
Kirkland & Ellis LLP                                Acuff                C.               Victoria         Associate            Dallas                    2016         2016 TX                       $1,125.00
Kirkland & Ellis LLP                                Bell                 G.               Layton           Associate            Dallas                    2016         2017 NY                       $1,125.00
Holland & Knight LLP                                Bennett              M.               David            Partner              Dallas                    1986         1986 TX                       $1,125.00
Kirkland & Ellis LLP                                Doughty              B.               Mahalia          Associate            Houston                   2015         2016 NY                       $1,125.00
Sidley Austin LLP                                   Duran                G.               Sara             Partner              Dallas                    2004         2004 TX                       $1,125.00
Kirkland & Ellis LLP                                Elliott                               Brandon          Associate            Dallas                    2015         2015 TX                       $1,125.00
Kirkland & Ellis LLP                                Fox                  J.               Christopher      Associate            Houston                   2015         2015 TX                       $1,125.00
Kirkland & Ellis LLP                                Kabad                J.               Atma             Associate            Houston                   2013         2013 TX                       $1,125.00
Sidley Austin LLP                                   Montgomery           H                Paige            Partner              Dallas                    2002         2002 TX                       $1,125.00
Sidley Austin LLP                                   Palmer                                Heather          Partner              Houston                   1994         1994 TX                       $1,125.00
Sidley Austin LLP                                   Persons              M.               Charles          Partner              Dallas                    2007         2007 TX                       $1,125.00
Hunton Andrews Kurth LLP                            Russell                               Robin            Partner              Houston                   1986         1986 TX                       $1,125.00
Kirkland & Ellis LLP                                Santa Ana            S.               Randy            Associate            Houston                   2015         2015 TX                       $1,125.00
Kirkland & Ellis LLP                                Totari                                Rami             Associate            Dallas                    2015         2016 NY                       $1,125.00
Sidley Austin LLP                                   Velevis              S.               Robert           Partner              Dallas                    2004         2004 TX                       $1,125.00
Kirkland & Ellis LLP                                Vranish                               Billy            Associate            Houston                   2016         2017 NY                       $1,125.00
Kirkland & Ellis LLP                                Walton               A.               Roxanne          Associate            Houston                   2015         2016 TX                       $1,125.00
Kirkland & Ellis LLP                                Elliott                               Brandon          Associate            Dallas                    2015         2015 TX                       $1,123.50
Paul Hastings LLP                                   Doherty              W.               Casey            Associate            Houston                   2011         2011 TX                       $1,120.00
Baker Botts LLP                                     Newman               A.               Jason            Partner              Houston                   2004         2005 TX                       $1,120.00
Skadden, Arps, Slate, Meagher & Flom LLP            O'Hare               S.                William         Associate            Houston                   2012         2013 NY                       $1,120.00
Reed Smith LLP                                      Pillpott             W.               Robert           Partner              Houston                   1997         1997 TX                       $1,120.00
Sheppard, Mullin, Richter & Hampton LLP             Bannister            A.               Joel             Partner              Dallas                    2005         2005 TX                       $1,120.00
Baker Botts LLP                                     Lobb                 D.               Jon              Partner              Houston                   2008         2008 TX                       $1,110.00
Baker Botts LLP                                     Lobb                 D.               Jon              Associate            Houston                   2008         2008 TX                       $1,110.00
Greenberg Traurig LLP                               Woodman              L.               Thomas           Equity Partner       Dallas                    1982         1982 OH                       $1,110.00
Quinn Emanuel Urquhart & Sullivan, LLP              Tomasco              B.               Patricia         Partner              Houston                   1988         1988 TX                       $1,105.75
Baker Botts LLP                                     Eastlake             R.               David            Partner              Houston                   2007         2008 NY                       $1,105.00




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                                          Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                          Firm                           Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year     Bar State   2021 Standard Rate
Pillsbury Winthrop Shaw Pittman LLP                Ray                  M.               Hugh             Partner              Houston                   1996         1998 TX                       $1,105.00
Kirkland & Ellis LLP                               Athey                T.               Mitchell         Associate            Houston                   2017         2017 TX                       $1,100.00
Weil, Gotshal & Manges LLP                         Carlson              W.               Clifford         Associate            Houston                   2013         2014 TX                       $1,100.00
Weil, Gotshal & Manges LLP                         Choi                 M.               Erin             Associate            Dallas                    2011         2011 TX                       $1,100.00
Locke Lord LLP                                     Eisenberg            G.               Philip           Partner              Houston                   1984         1984 LA                       $1,100.00
Weil, Gotshal & Manges LLP                         Funk                 L.               Brenda           Associate            Houston                   1999         1999 TX                       $1,100.00
Jones Day                                          Green                M.               Paul             Partner              Dallas                    2007         2007 TX                       $1,100.00
Jones Day                                          Olson                E.               James            Partner              Houston                   2002         2002 TX                       $1,100.00
Sidley Austin LLP                                  Rigby                                 Aaron            Partner              Dallas                    2007         2007 TX                       $1,100.00
Weil, Gotshal & Manges LLP                         Smith                S.               Leslie           Associate            Dallas                    1995         1995 TX                       $1,100.00
Weil, Gotshal & Manges LLP                         Torres               P.               Angel            Associate            Houston                   2015         2015 TX                       $1,100.00
Kirkland & Ellis LLP                               Williamson           A.               Michelle         Associate            Houston                   2017         2017 TX                       $1,100.00
Baker Botts LLP                                    Hall                 A.               Larry            Partner              Dallas                    1990         1990 OK                       $1,100.00
Sheppard, Mullin, Richter & Hampton LLP            Cottrell             L.               Amanda           Partner              Dallas                    2008         2008 TX                       $1,100.00
McDermott Will & Emery LLP                         Farr                 S.               Alexander        Partner              Dallas                    2011         2011 TX                       $1,100.00
McDermott Will & Emery LLP                         Green                Elena            Debbie           Partner              Dallas                    2004         2005 NY                       $1,100.00
Shearman & Sterling LLP                            Andrews              R.               Michael          Associate            Dallas                    2014         2014 TX                       $1,095.00
Shearman & Sterling LLP                            Charles                               Alix             Associate            Houston                   2016         2016 TX                       $1,095.00
Shearman & Sterling LLP                            Fields               D.               Jacob            Associate            Austin                    2014         2015 NY                       $1,095.00
Kirkland & Ellis LLP                               Fombonne             G.               Jonathan         Partner              Houston                   2012         2014 NY                       $1,095.00
Shearman & Sterling LLP                            Goldstein            J.               Douglas          Associate            Houston                   2016         2017 NY                       $1,095.00
McDermott Will & Emery LLP                         Green                Elena            Debbie           Partner              Dallas                    2004         2005 NY                       $1,095.00
Shearman & Sterling LLP                            Harding              C.               Molly            Associate            Houston                   2015         2015 VA                       $1,095.00
Akin Gump Strauss Hauer & Feld LLP                 Hearn                L.               Lisa             Partner              Houston                   2004         2005 NY                       $1,095.00
Latham & Watkins LLP                               Hillebrand           M.               Thomas           Associate            Houston                   2014         2014 TX                       $1,095.00
Shearman & Sterling LLP                            Pashin                                Julia            Associate            Dallas                    2012         2012 TX                       $1,095.00
Shearman & Sterling LLP                            Sims                 C.               Kelli            Associate            Houston                   2013         2013 TX                       $1,095.00
Latham & Watkins LLP                               White                E.               Monica           Associate            Houston                   2012         2012 TX                       $1,095.00
Kirkland & Ellis LLP                               Young                A.               Kenneth          Partner              Houston                   2013         2013 TX                       $1,095.00
Baker Botts LLP                                    Prince               R.               James            Partner              Dallas                    1992         1992 TX                       $1,095.00
Baker Botts LLP                                    Hooks                                 Alieen           Partner              Austin                    1982         1982 CO                       $1,090.00
Baker Botts LLP                                    Lawrence             B.               John             Partner              Dallas                    2006         2006 TX                       $1,090.00
Kirkland & Ellis LLP                               Walton               A.               Roxanne          Associate            Houston                   2015         2016 TX                       $1,085.00
Hunton Andrews Kurth LLP                           Hesse                                 Gregory Getty    Partner              Dallas                    1988         1989 TX                       $1,085.00
Hunton Andrews Kurth LLP                           Marek                R.               Brian            Partner              Dallas                    1987         1987 TX                       $1,085.00
Hunton Andrews Kurth LLP                           McGeoch              G.               Alexander        Partner              Dallas                    1985         1985 TX                       $1,085.00
Hunton Andrews Kurth LLP                           Schmitt              J.               Gregory          Partner              Dallas                    1992         1992 IL                       $1,085.00
Sheppard, Mullin, Richter & Hampton LLP            Hoggan               C.               Jason            Associate            Dallas                    2012         2012 TX                       $1,085.00
Kirkland & Ellis LLP                               Barnes               A.               Ben              Associate            Dallas                    2012         2012 TX                       $1,080.00
Kirkland & Ellis LLP                               Barnes               A.               Ben              Partner              Dallas                    2012         2012 TX                       $1,080.00
McDermott Will & Emery LLP                         Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                       $1,080.00
Norton Rose Fulbright                              Kuntz                A.               Stephen          Partner              Houston                   1984         1984 TX                       $1,080.00
Foley & Lardner LLP                                O'Neil                                Holland          Partner              Dallas                    1987         1987 AZ                       $1,080.00
Weil, Gotshal & Manges LLP                         Bailey               Scott            E.               Associate            Dallas                    2014         2014 TX                       $1,075.00
Weil, Gotshal & Manges LLP                         Bonhamgregory        Gayle            Veronica         Associate            Dallas                    2015         2016 TX                       $1,075.00
Sidley Austin LLP                                  Bruce                Banks            Robert           Partner              Dallas                    2008         2008 NY                       $1,075.00
Weil, Gotshal & Manges LLP                         Martin               C.               Robert           Associate            Dallas                    2015         2015 TX                       $1,075.00
Weil, Gotshal & Manges LLP                         Rutherford                            Jake Ryan        Associate            Dallas                    2016         2016 TX                       $1,075.00
Kirkland & Ellis LLP                               Acuff                C.               Victoria         Associate            Dallas                    2016         2016 TX                       $1,070.00
Kirkland & Ellis LLP                               Allen                                 Noah             Associate            Dallas                    2015         2015 NC                       $1,070.00
Kirkland & Ellis LLP                               Athey                T.               Mitchell         Associate            Houston                   2017         2017 TX                       $1,070.00
Kirkland & Ellis LLP                               Bielinski                             Laura            Associate            Houston                   2016         2016 TX                       $1,070.00
Kirkland & Ellis LLP                               Cooper                                Dustin           Associate            Austin                    2017         2017 LA                       $1,070.00
Kirkland & Ellis LLP                               Doughty              B.               Mahalia          Associate            Houston                   2015         2016 NY                       $1,070.00
Kirkland & Ellis LLP                               Edwards              D.               Juliesa          Associate            Dallas                    2016         2016 TX                       $1,070.00
Kirkland & Ellis LLP                               Long                 R.               James            Associate            Houston                   2017         2017 TX                       $1,070.00
Kirkland & Ellis LLP                               Lowery                                Caleb            Associate            Houston                   2016         2016 TX                       $1,070.00
Norton Rose Fulbright                              Miller               S.               Mark             Partner              Houston                   1986         1986 WA                       $1,070.00
Kirkland & Ellis LLP                               Noor                 M.               Aisha            Associate            Dallas                    2017         2017 TX                       $1,070.00
Kirkland & Ellis LLP                               Poorman              J.               Callie           Associate            Dallas                    2017         2017 TX                       $1,070.00
Kirkland & Ellis LLP                               Savrick              J.               Zachary          Associate            Houston                   2017         2017 NY                       $1,070.00
Baker Botts LLP                                    Stover               M.               Andrea           Partner              Austin                    2004         2004 TX                       $1,070.00
Kirkland & Ellis LLP                               Walton               A.               Roxanne          Associate            Houston                   2015         2016 TX                       $1,070.00
Kirkland & Ellis LLP                               Williamson           A.               Michelle         Associate            Houston                   2017         2017 TX                       $1,070.00
Baker Botts LLP                                    Rubenstein           B.               Jonathan         Partner              Dallas                    2002         2002 TX                       $1,070.00
Kirkland & Ellis LLP                               Barnes               A.               Ben              Associate            Dallas                    2012         2012 TX                       $1,065.00
Jackson Walker LLP                                 Dethrow                               Brian            Partner              Houston                   1983         1983 TX                       $1,065.00
Faegre Drinker Biddle & Reath LLP                  Slusher              P.               Vincent          Partner              Dallas                    1985         1985 LA                       $1,065.00
Gibson, Dunn & Crutcher LLP                        Mehta                A.               Aanand           Associate            San Antonio               2012         2012 OH                       $1,060.00
Baker Botts LLP                                    Barkley              H.               James            Partner              Houston                   1993         1993 TX                       $1,055.00
Reed Smith LLP                                     Kyle                 G.               Alfred           Partner              Dallas                    1995         1995 TX                       $1,055.00
Jones Day                                          Prieto               B.               Dan              Partner              Dallas                    2000         2000 IL                       $1,050.00
Jones Day                                          Rasmussen            W.               Mark             Partner              Dallas                    2005         2006 NY                       $1,050.00
Milbank LLP                                        Shah                 P.               Shivani          Associate            Dallas                    2015         2015 TX                       $1,050.00
Shearman & Sterling LLP                            Charles                               Alix             Associate            Houston                   2016         2016 TX                       $1,045.00
Shearman & Sterling LLP                            Fields               D.               Jacob            Associate            Austin                    2014         2015 NY                       $1,045.00
Kirkland & Ellis LLP                               Fombonne             G.               Jonathan         Partner              Houston                   2012         2014 NY                       $1,045.00
Shearman & Sterling LLP                            Hansard                               Catharine        Associate            Dallas                    2016         2016 TX                       $1,045.00
Shearman & Sterling LLP                            Staine               R.               Richard          Associate            Houston                   2015         2015 TX                       $1,045.00
Hogan Lovells LLP                                  Adams                P.               Jennifer         Partner              Houston                   2002         2002 TX                       $1,040.00
Weil, Gotshal & Manges LLP                         Bailey               Scott            E.               Associate            Dallas                    2014         2014 TX                       $1,040.00
Weil, Gotshal & Manges LLP                         Bonhamgregory        Gayle            Veronica         Associate            Dallas                    2015         2016 TX                       $1,040.00
Weil, Gotshal & Manges LLP                         Fubara               E.               Samuel           Associate            Dallas                    2015         2015 TX                       $1,040.00
Weil, Gotshal & Manges LLP                         Miller               L.               Ronald           Associate            Dallas                    2016         2016 TX                       $1,040.00
Weil, Gotshal & Manges LLP                         Rutherford                            Jake Ryan        Associate            Dallas                    2016         2016 TX                       $1,040.00
Weil, Gotshal & Manges LLP                         Xu                                    Wei              Associate            Dallas                    2016         2016 IL                       $1,040.00
Sheppard, Mullin, Richter & Hampton LLP            Gersten              G.               Steven           Associate            Dallas                    2013         2013 TX                       $1,040.00
Latham & Watkins LLP                               Pandya               K.               Om               Associate            Houston                   2015         2015 TX                       $1,035.00
Latham & Watkins LLP                               Sellner              R.               Michael          Associate            Houston                   2015         2015 TX                       $1,035.00
Latham & Watkins LLP                               Sorensen             S.               Gregory          Associate            Houston                   2014         2014 TX                       $1,035.00
Latham & Watkins LLP                               Gelfand              T.               Benjamin         Associate            Houston                   2015         2015 TX                       $1,028.00
Kirkland & Ellis LLP                               Chadderdon           E.               Jack             Associate            Houston                   2018         2018 TX                       $1,025.00




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                                          Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                        Firm                             Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year     Bar State   2021 Standard Rate
Kirkland & Ellis LLP                               Croft                                 Lauren           Associate            Houston                   2018         2018 TX                       $1,025.00
Sidley Austin LLP                                  Foley                G.               Patrick          Associate            Dallas                    2011         2013 IL                       $1,025.00
Kirkland & Ellis LLP                               Kowert               B.               Weston           Associate            Houston                   2018         2018 TX                       $1,025.00
Latham & Watkins LLP                               Rowe                 J.               Michael          Associate            Houston                   2016         2016 TX                       $1,025.00
Sidley Austin LLP                                  Walker               B.               Matthew          Associate            Houston                   2010         2011 NY                       $1,025.00
Sidley Austin LLP                                  Fishel                                Michael          Associate            Houston                   2012         2012 TX                       $1,025.00
Hunton Andrews Kurth LLP                           Austin               Scott            L.               Partner              Dallas                    1986         1986 TX                       $1,020.00
McGuireWoods LLP                                   Walker-Suchyta       M.               Janice           Partner              Houston                   1990         1991 MI                       $1,015.00
Sheppard, Mullin, Richter & Hampton LLP            Clark                E.               Jonathan         Associate            Dallas                    2009         2009 TX                       $1,015.00
McDermott Will & Emery LLP                         Gerber               A.               Jane             Associate            Dallas                    2014         2014 TX                       $1,015.00
McDermott Will & Emery LLP                         Gerber               A.               Jane             Associate            Dallas                    2014         2014 TX                       $1,010.00
Baker Botts LLP                                    Burns                L.               Luke             Associate            Houston                   2011         2011 TX                       $1,005.00
Reed Smith LLP                                     Scharnberg           Jason            Ronald           Partner              Houston                   2006         2006 TX                       $1,005.00
Baker Botts LLP                                    O'Brien              E.               Thomas           Partner              Dallas                    2004         2004 TX                       $1,005.00
Latham & Watkins LLP                               Rowe                 J.               Michael          Associate            Houston                   2016         2016 TX                       $1,003.00
Squire Patton Boggs                                McRoberts            A.               Travis           Associate            Dallas                    2008         2009 DE                       $1,000.00
Jones Day                                          Rubin                A.               Kelly            Associate            Dallas                    2012         2013 NY                       $1,000.00
Jones Day                                          Wall                 L.               Katie            Partner              Dallas                    2009         2009 TX                       $1,000.00
Kirkland & Ellis LLP                               Athey                T.               Mitchell         Associate            Houston                   2017         2017 TX                         $995.00
Kirkland & Ellis LLP                               Cavanaugh            D.               Kate             Associate            Houston                   2017         2017 TX                         $995.00
Kirkland & Ellis LLP                               Chadderdon           E.               Jack             Associate            Houston                   2018         2018 TX                         $995.00
Kirkland & Ellis LLP                               D'Cruz               A.               James            Associate            Dallas                    2017         2017 FL                         $995.00
Latham & Watkins LLP                               Flynn                T.               Brian            Associate            Houston                   2016         2016 TX                         $995.00
Kirkland & Ellis LLP                               Hagerman             A.               Angela           Associate            Houston                   2015         2015 NC                         $995.00
Shearman & Sterling LLP                            Harding              C.               Molly            Associate            Houston                   2015         2015 VA                         $995.00
Shearman & Sterling LLP                            Kaufman              B.               Erin             Associate            Houston                   2018         2018 TX                         $995.00
Kirkland & Ellis LLP                               Lackey               R.               Steven           Associate            Houston                   2017         2017 TX                         $995.00
Kirkland & Ellis LLP                               Long                 R.               James            Associate            Houston                   2017         2017 TX                         $995.00
Haynes and Boone, LLP                              Martin                                Ernest           Partner              Dallas                    1987         1988 TX                         $995.00
Kirkland & Ellis LLP                               McCord               E.               Jenna            Associate            Houston                   2017         2017 TX                         $995.00
Kirkland & Ellis LLP                               Meraia               A.               Emily            Associate            Houston                   2018         2018 IL                         $995.00
Simpson Thacher & Bartlett LLP                     Mvula                                 Minzala          Associate            Houston                   2018         2018 TX                         $995.00
Latham & Watkins LLP                               Neet                 F.               Madeleine        Associate            Houston                   2016         2016 TX                         $995.00
Kirkland & Ellis LLP                               Noor                 M.               Aisha            Associate            Dallas                    2017         2017 TX                         $995.00
Kirkland & Ellis LLP                               Poorman              J.               Callie           Associate            Dallas                    2017         2017 TX                         $995.00
Kirkland & Ellis LLP                               Shah                 S.               Shainee          Associate            Houston                   2015         2016 NY                         $995.00
Latham & Watkins LLP                               Traylor              R.               Jack             Associate            Houston                   2016         2016 TX                         $995.00
Kirkland & Ellis LLP                               Vaunder              M.               Edward           Associate            Houston                   2017         2017 TX                         $995.00
Kirkland & Ellis LLP                               Weissler                              Logan            Associate            Houston                   2018         2018 TX                         $995.00
Kirkland & Ellis LLP                               Williamson           A.               Michelle         Associate            Houston                   2017         2017 TX                         $995.00
Latham & Watkins LLP                               Zottnick                              Kelsey           Associate            Houston                   2016         2016 TX                         $995.00
Hunton Andrews Kurth LLP                           Davidson             A.               Timothy          Partner              Houston                   1999         1999 TX                         $990.00
White & Case LLP                                   Muskus               E.               Luisa            Associate            Houston                   2014         2014 TX                         $990.00
Latham & Watkins LLP                               Lee                  Hyun             Dong             Associate            Houston                   2016         2016 TX                         $986.00
Baker Botts LLP                                    Brooker              A.               Katherine        Associate            Houston                   2012         2012 TX                         $985.00
Weil, Gotshal & Manges LLP                         Bunch                Nicole           Brittany         Associate            Dallas                    2017         2017 TX                         $985.00
Weil, Gotshal & Manges LLP                         Luster                                Courtney         Associate            Dallas                    2018         2018 TX                         $985.00
Weil, Gotshal & Manges LLP                         Simmons              M.               Kevin            Associate            Dallas                    2018         2018 TX                         $985.00
Weil, Gotshal & Manges LLP                         Vinson               Blaine           Elizabeth        Associate            Dallas                    2018         2018 TX                         $985.00
Latham & Watkins LLP                               Wood                 E.               Christopher      Associate            Houston                   2016         2016 TX                         $984.00
Baker Botts LLP                                    Lawrence             B.               John             Partner              Dallas                    2006         2006 TX                         $980.00
Foley & Lardner LLP                                Murray                                Todd             Partner              Dallas                    1995         1995 TX                         $980.00
Paul Hastings LLP                                  Wilson                                Mack             Associate            Houston                   2016         2016 TX                         $980.00
Norton Rose Fulbright                              Agrons                                Joshua           Partner              Houston                   1983         1984 TX                         $975.00
Jackson Walker LLP                                 Moore                                 Steven           Partner              San Antonio               1988         1988 TX                         $975.00
Parkins & Rubio LLP                                Parkins              M.               Lenard           Partner              Houston                   1976         1976 TX                         $975.00
Jones Day                                          Rush                 S.               Amanda           Associate            Dallas                    2011         2011 TX                         $975.00
DLA Piper LLP (US)                                 Zollinger            B.               Andrew           Associate            Dallas                    2009         2009 TX                         $975.00
DLA Piper LLP (US)                                 Zollinger                             Andy             Associate            Dallas                    2009         2009 TX                         $975.00
Vinson & Elkins LLP                                Klein                J.               Eric             Partner              Dallas                    2003         2003 TX                         $975.00
Sidley Austin LLP                                  Priest               A.               Chelsea          Associate            Dallas                    2015         2016 TX                         $970.00
Kirkland & Ellis LLP                               Shah                 S.               Shainee          Associate            Houston                   2015         2016 NY                         $970.00
Kirkland & Ellis LLP                               Athey                T.               Mitchell         Associate            Houston                   2017         2017 TX                         $965.00
Baker Botts LLP                                    Henderson            Bryan            J.               Partner              Dallas                    2010         2011 TX                         $965.00
Baker Botts LLP                                    Stover               M.               Andrea           Partner              Austin                    2004         2004 TX                         $965.00
Baker Botts LLP                                    Rubenstein           B.               Jonathan         Partner              Dallas                    2002         2002 TX                         $960.00
Norton Rose Fulbright                              Schroeder            A.               Todd             Partner              Dallas                    2000         2000 AL                         $960.00
Norton Rose Fulbright                              Schroeder            S.               Todd             Partner              Dallas                    2000         2000 TX                         $960.00
King & Spalding LLP                                Bailey               D.               Melvin           Partner              Austin                    1987         1987 TX                         $955.00
Paul Hastings LLP                                  Barnes               J.               Chanse           Associate            Houston                   2017         2017 TX                         $955.00
Paul Hastings LLP                                  Wilson                                Mack             Associate            Houston                   2016         2016 TX                         $955.00
Jackson Walker LLP                                 Cavenaugh            D.               Matthew          Partner              Houston                   2007         2008 TX                         $950.00
Holland & Knight LLP                               Davis                                 Barry            Partner              Houston                   1984         1984 TX                         $950.00
Norton Rose Fulbright                              Badcock              P.                William         Associate            Dallas                    2015         2015 TX                         $950.00
Kirkland & Ellis LLP                               Avery                J.               Xavier           Associate            Houston                   2017         2018 OK                         $945.00
Kirkland & Ellis LLP                               D'Cruz               A.               James            Associate            Dallas                    2017         2017 FL                         $945.00
Shearman & Sterling LLP                            Harding              C.               Molly            Associate            Houston                   2015         2015 VA                         $945.00
Kirkland & Ellis LLP                               Meraia               A.               Emily            Associate            Houston                   2018         2018 IL                         $945.00
Hunton Andrews Kurth LLP                           Robertson            B.               Daryl            Partner              Dallas                    1979         1979 TX                         $945.00
McDermott Will & Emery LLP                         Burner               A.               Jase             Associate            Austin                    2016         2016 TX                         $945.00
Baker Botts LLP                                    Burcat               E.               Leah             Associate            Austin                    2014         2014 TX                         $940.00
White & Case LLP                                   Clausen                               Neil             Associate            Houston                   2016         2016 TX                         $940.00
White & Case LLP                                   Craft                K.               Hannah           Associate            Houston                   2016         2017 TX                         $940.00
Winston & Strawn LLP                               Smolij               D.               Benjamin         Associate            Houston                   2013         2013 TX                         $935.00
Sidley Austin LLP                                  Abdul-Jabbar                          Mustafa          Associate            Dallas                    2016         2016 TX                         $930.00
Sidley Austin LLP                                  Brannan              C.               John             Associate            Dallas                    2016         2016 TX                         $930.00
Latham & Watkins LLP                               Fin                                   Max              Associate            Houston                   2017         2017 TX                         $930.00
Latham & Watkins LLP                               Lee                  Kyoung           Hye              Associate            Houston                   2017         2017 TX                         $930.00
Sidley Austin LLP                                  Marshall             L.               Hannah           Associate            Dallas                    2016         2016 TX                         $930.00
Sidley Austin LLP                                  Miller               Leigh            Jeri             Associate            Dallas                    2016         2016 TX                         $930.00
Norton Rose Fulbright                              Boland               L.               Jason            Partner              Houston                   2003         2003 TX                         $920.00
Norton Rose Fulbright                              Boland               L.               Jason            Equity Partner       Houston                   2003         2003 TX                         $920.00




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                                          Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                        Firm                             Last Name          Middle Name      First Name         Position              City        Grad Year      Bar Year     Bar State   2021 Standard Rate
White & Case LLP                                   Moran                A.               Carlos           Associate            Houston                   2004         2004 Mexico                     $920.00
Baker Botts LLP                                    Colagiovanni                          Joseph           Partner              Houston                   1982         1982 MO                         $915.00
Sheppard, Mullin, Richter & Hampton LLP            Cottrell             L.               Amanda           Partner              Dallas                    2008         2008 TX                         $915.00
Foley & Lardner LLP                                Helt                                  Marcus           Partner              Dallas                    2000         2000 MO                         $915.00
Foley & Lardner LLP                                Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                         $915.00
McGuireWoods LLP                                   Liggins              L.               Demetra          Partner              Houston                   2000         2000 TX                         $915.00
Greenberg Traurig LLP                              Stratton             Mark             C.               Equity Partner       Austin                    1989         1990 TX                         $915.00
McGuireWoods LLP                                   Young                Y.               Phyllis          Partner              Houston                   2001         2001 TX                         $915.00
McDermott Will & Emery LLP                         Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                         $915.00
McDermott Will & Emery LLP                         Gerber               A.               Jane             Associate            Dallas                    2014         2014 TX                         $910.00
Baker Botts LLP                                    Hahn                 H.               Jordan           Associate            Dallas                    2015         2015 TX                         $910.00
Baker McKenzie                                     Hahn                 H.               Jordan           Associate            Dallas                    2015         2015 TX                         $910.00
Reed Smith LLP                                     Johansen             L.               Mark             Partner              Dallas                    1986         1987 TX                         $905.00
Foley & Lardner LLP                                Melko                                 John             Partner              Houston                   1984         1984 TX                         $905.00
Kirkland & Ellis LLP                               Shelton                               Scott            Associate            Houston                   2011         2011 TX                         $905.00
McDermott Will & Emery LLP                         Oskoui                                Nickou           Associate            Dallas                    2009         2009 IL                         $905.00
Norton Rose Fulbright                              Gamache              K.               Caileen          Partner              Houston                   2008         2008 ME                         $900.00
McDermott Will & Emery LLP                         Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                         $900.00
Foley & Lardner LLP                                O'Neil                                Holland          Partner              Dallas                    1987         1987 AZ                         $900.00
Norton Rose Fulbright                              Perloff              H.               Saul             Partner              San Antonio               1991         1991 CA                         $900.00
Norton Rose Fulbright                              Ratliff              J.               Benjamin         Partner              Dallas                    2009         2009 TX                         $900.00
Quinn Emanuel Urquhart & Sullivan, LLP             Tomasco              B.               Patricia         Partner              Houston                   1988         1988 TX                         $900.00
Cole Schotz P.C.                                   Warner               D.               Michael          Equity Partner       Houston                   1984         1984 CA                         $900.00
Pachulski Stang Ziehl & Jones LLP                  Warner               D.               Michael          Equity Partner       Houston                   1984         1984 CA                         $900.00
Norton Rose Fulbright                              Gluck                W.               Kristian         Partner              Dallas                    2001         2001 NC                         $895.00
Akin Gump Strauss Hauer & Feld LLP                 Hiner                                 Chance           Associate            Dallas                    2017         2017 TX                         $895.00
Weil, Gotshal & Manges LLP                         James                                 Hillarie         Associate            Houston                   2018         2018 TX                         $895.00
Weil, Gotshal & Manges LLP                         Luster                                Courtney         Associate            Dallas                    2018         2018 TX                         $895.00
Norton Rose Fulbright                              Parker               M.               Michael          Partner              San Antonio               1993         1993 TX                         $895.00
Weil, Gotshal & Manges LLP                         Simmons              M.               Kevin            Associate            Dallas                    2018         2018 TX                         $895.00
PricewaterhouseCoopers LLP                         Simmons              M.               Kevin            Associate            Dallas                    2018         2018 TX                         $895.00
Weil, Gotshal & Manges LLP                         Sommers                               Mary             Associate            Dallas                    2018         2018 TX                         $895.00
Weil, Gotshal & Manges LLP                         Vinson               Blaine           Elizabeth        Associate            Dallas                    2018         2018 TX                         $895.00
Norton Rose Fulbright                              Mackillop            D.               Katherine        Partner              Houston                   1982         1983 TX                         $890.00
Greenberg Traurig LLP                              Duewall              A.               Craig            Equity Partner       Austin                    1999         2000 TX                         $885.00
McDermott Will & Emery LLP                         Green                Elena            Debbie           Partner              Dallas                    2004         2005 NY                         $885.00
Perkins Coie LLP                                   Hardin               R.               John             Partner              Dallas                    1999         1996 TX                         $885.00
Sidley Austin LLP                                  Quejada                               Maegan           Associate            Houston                   2017         2017 TX                         $885.00
Hunton Andrews Kurth LLP                           Rovira                                Joseph           Partner              Houston                   2008         2008 TX                         $885.00
Sidley Austin LLP                                  Archanjo             M.               Fabricio         Associate            Dallas                    2015         2016 NY                         $885.00
Sheppard, Mullin, Richter & Hampton LLP            Ray                  M.               Shilpa           Associate            Dallas                    2010         2010 TX                         $885.00
Latham & Watkins LLP                               Constantino          J.               Dominick         Associate            Houston                   2018         2018 TN                         $880.00
Baker Botts LLP                                    Doherty              T.               Kyle             Associate            Houston                   2016         2016 TX                         $880.00
Latham & Watkins LLP                               Fawcett                               Emily            Associate            Houston                   2018         2020 TX                         $880.00
Foley & Lardner LLP                                Fergason             D.               Jane             Partner              Dallas                    1981         1982 TX                         $880.00
Baker Botts LLP                                    Lill                 J.               Landon           Associate            Austin                    2014         2014 TX                         $880.00
Holland & Knight LLP                               Rosenberg            M.               David            Partner              Dallas                    1984         1984 TX                         $880.00
Baker Botts LLP                                    Caballero                             Josue            Associate            Dallas                    2012         2012 TX                         $880.00
Kirkland & Ellis LLP                               Allen                J.               Andrew           Associate            Houston                   2018         2018 TX                         $875.00
Winston & Strawn LLP                               Arbaugh              L.               Natalie          Partner              Dallas                    2001         2001 TX                         $875.00
Kirkland & Ellis LLP                               Atmar                                 Christopher      Associate            Houston                   2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Bate                                  Isaac            Associate            Houston                   2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Chadderdon           E.               Jack             Associate            Houston                   2018         2018 TX                         $875.00
Reed Smith LLP                                     Cooper               James            J.               Partner              Houston                   1984         1984 TX                         $875.00
Kirkland & Ellis LLP                               Croft                                 Lauren           Associate            Houston                   2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Elliott              S.               Austin           Associate            Austin                    2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Hoffman                               Maggie           Associate            Houston                   2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Kirksey              J.               Daniel           Associate            Houston                   2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Schlinkert           J.A.             Michael          Associate            Dallas                    2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Shelton                               Scott            Associate            Houston                   2011         2011 TX                         $875.00
Kirkland & Ellis LLP                               Weissler                              Logan            Associate            Houston                   2018         2018 TX                         $875.00
Kirkland & Ellis LLP                               Winsauer             J.               Hunter           Associate            Dallas                    2018         2018 TX                         $875.00
Holland & Knight LLP                               Binns                Daniel           Gregory          Partner              Dallas                    2000         2000 TX                         $870.00
Kirkland & Ellis LLP                               Christian                             John             Associate            Dallas                    2018         2018 TX                         $865.00
Kirkland & Ellis LLP                               Degelia              D.               Gabrielle        Associate            Houston                   2019         2019 TX                         $865.00
Baker & Hostetler LLP                              English              John             W.               Partner              Houston                   1972         1972 LA                         $860.00
Sheppard, Mullin, Richter & Hampton LLP            Hall                 L.               Evan             Associate            Dallas                    2017         2017 TX                         $860.00
Baker & Hostetler LLP                              Dimitroff            D.               Sashe            Partner              Houston                   1992         1992 TX                         $855.00
Norton Rose Fulbright                              Lewis                C.               Edward           Partner              Houston                   1992         1993 TX                         $855.00
Eversheds Sutherland                               Sherrill             D.               Mark             Partner              Houston                   1999         1999 VA                         $855.00
Paul Hastings LLP                                  Wilson                                Mack             Associate            Houston                   2016         2016 TX                         $855.00
Reed Smith LLP                                     Alaniz               J.               Omar             Partner              Dallas                    2003         2003 TX                         $850.00
Reed Smith LLP                                     Alaniz               J.               Omar             Equity Partner       Dallas                    2003         2003 TX                         $850.00
Bailey & Glasser LLP                               Bell                 R.               Robert           Partner              Houston                   1993         1993 TX                         $850.00
Latham & Watkins LLP                               Bentley              Samuel           W.               Associate            Houston                   2018         2018 TX                         $850.00
Foley & Lardner LLP                                Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                         $850.00
Baker & Hostetler LLP                              Hunsaker             C.               Matthew          Partner              Dallas                    2004         2005 TX                         $850.00
Latham & Watkins LLP                               Snodgrass                             Matthew          Associate            Houston                   2018         2018 TX                         $850.00
Bailey & Glasser LLP                               Turner               G.               John             Partner              Houston                   1989         1989 TX                         $850.00
Norton Rose Fulbright                              Pinkerton            G.               Trevor           Partner              Houston                   2010         2010 TX                         $845.00
Norton Rose Fulbright                              Van Dyk              J.               Katie            Partner              Austin                    2012         2012 TX                         $845.00
Latham & Watkins LLP                               Wang                 Ruixue           Kate             Associate            Houston                   2018         2018 TX                         $843.00
Norton Rose Fulbright                              Bruner               B.               Robert           Partner              Houston                   2007         2008 TX                         $840.00
Norton Rose Fulbright                              Price                P.               Andrew           Partner              Houston                   1997         1997 TX                         $840.00
Kirkland & Ellis LLP                               Christian                             John             Associate            Dallas                    2018         2018 TX                         $835.00
White & Case LLP                                   Diaz Sordo                            Carlos Ramon     Associate            Houston                   2013         2014 Mexico                     $835.00
Jackson Walker LLP                                 Freeman              C.               Elizabeth        Partner              Houston                   1998         1998 TX                         $835.00
Foley & Lardner LLP                                Hoffman              B.               Carrie           Partner              Dallas                    1993         1993 TX                         $835.00
Kirkland & Ellis LLP                               Jones                                 Grant            Associate            Houston                   2009         2009 TX                         $835.00
White & Case LLP                                   Morgan                J.              Shelby           Associate            Houston                   2016         2016 TX                         $835.00
Norton Rose Fulbright                              Braden               A.               Paul             Partner              Dallas                    1989         1989 TX                         $830.00
Norton Rose Fulbright                              Drake                Paul             Scott            Partner              Dallas                    2000         2000 TX                         $830.00




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                          Firm                           Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year    Bar State   2021 Standard Rate
Sheppard, Mullin, Richter & Hampton LLP            Gersten              G.               Steven           Associate            Dallas                    2013         2013 TX                        $830.00
Hunton Andrews Kurth LLP                           McHugh               C.               Darren           Partner              Austin                    2008         2008 CO                        $830.00
McDermott Will & Emery LLP                         Perry                T.               Shelby           Associate            Dallas                    2018         2018 TX                        $830.00
Foley & Lardner LLP                                Abbott                                Michael          Partner              Houston                   1980         1980 TX                        $825.00
Reed Smith LLP                                     Aurzada              M.               Keith            Partner              Dallas                    1996         1996 CO                        $825.00
Jackson Walker LLP                                 Cavenaugh            D.               Matthew          Partner              Houston                   2007         2008 TX                        $825.00
Shearman & Sterling LLP                            Doyle                J.               Timothy          Associate            Dallas                    2019         2019 TX                        $825.00
Shearman & Sterling LLP                            Frapolli                              Domenic          Associate            Dallas                    2019         2019 TX                        $825.00
Shearman & Sterling LLP                            Frappolli                             Domenic          Associate            Dallas                    2019         2019 TX                        $825.00
Jones Day                                          Gabhawala                             Sweta            Associate            Dallas                    2005         2005 India                     $825.00
Shearman & Sterling LLP                            Jaksa                                 Kyle             Associate            Dallas                    2020         2020 TX                        $825.00
McDermott Will & Emery LLP                         Perry                T.               Shelby           Associate            Dallas                    2018         2018 TX                        $825.00
Husch Blackwell LLP                                Davis                Louis            Scott            Partner              Dallas                    1987         1987 TX                        $825.00
Haynes and Boone, LLP                              Thorne               Conant           Leslie           Partner              Austin                    2004         2004 TX                        $825.00
Hunton Andrews Kurth LLP                           Buoni                W.               Joseph           Partner              Houston                   2009         2010 TX                        $820.00
Reed Smith LLP                                     Mitchell             C.               Brian            Partner              Dallas                    2004         2004 TX                        $820.00
Baker Botts LLP                                    Turner               D.               Matthew          Associate            Houston                   2015         2015 TX                        $820.00
Reed Smith LLP                                     Cooley               P.               Michael          Partner              Dallas                    1999         2000 NY                        $815.00
Sidley Austin LLP                                  Daggubati            R.               Deepika          Associate            Dallas                    2017         2017 CA                        $815.00
Sidley Austin LLP                                  Hoffman              L.               Juliana          Associate            Dallas                    2017         2017 TX                        $815.00
Norton Rose Fulbright                              Turner               F.               Eliot            Partner              Houston                   2008         2008 TX                        $815.00
McDermott Will & Emery LLP                         Gerber               A.               Jane             Associate            Dallas                    2014         2014 TX                        $810.00
Kirkland & Ellis LLP                               Loyack               M.               Courtney         Associate            Houston                   2019         2019 TX                        $810.00
Foley & Lardner LLP                                Miller               R.               Terrell          Partner              Houston                   2004         2004 TX                        $810.00
Foley & Lardner LLP                                Murray                                Todd             Partner              Dallas                    1995         1995 TX                        $810.00
Hunton Andrews Kurth LLP                           Pidcock              C.               Brian            Partner              Houston                   2010         2010 TX                        $810.00
Foley & Lardner LLP                                Slovak               T.               Robert           Partner              Dallas                    1999         1999 TX                        $810.00
Sheppard, Mullin, Richter & Hampton LLP            Salters              W.               Stacey           Associate            Dallas                    2016         2016 TX                        $810.00
Foley & Lardner LLP                                Lockhart             C.               Steven           Partner              Dallas                    2002         2002 TX                        $805.00
Norton Rose Fulbright                              Moore                J.               Gregory          Partner              Houston                   2006         2006 TX                        $805.00
Holland & Knight LLP                               Rangel               L.               Jennifer         Partner              Austin                    1995         1995 TX                        $801.00
Jones Day                                          Colwell              J.               Ronald           Associate            Houston                   2015         2015 CO                        $800.00
Hunton Andrews Kurth LLP                           Dunn                 Kaylan           M.               Partner              Houston                   2010         2011 TX                        $800.00
Haynes and Boone, LLP                              Norfleet             S.               Kelli            Partner              Houston                   2009         2009 TX                        $800.00
Norton Rose Fulbright                              Tapley               A.               Katherine        Partner              San Antonio               2007         2007 TX                        $800.00
Fish & Richardson P.C.                             Ellis                Ryan             Michael          Associate            Dallas                    2010         2010 MD                        $800.00
Shearman & Sterling LLP                            Doyle                J.               Timothy          Associate            Dallas                    2019         2019 TX                        $795.00
Shearman & Sterling LLP                            Frappolli                             Domenic          Associate            Dallas                    2019         2019 TX                        $795.00
Kirkland & Ellis LLP                               Khan                                  Yasin            Associate            Houston                   2020         2021 TX                        $795.00
Kirkland & Ellis LLP                               Owen                 M.               Graham           Associate            Houston                   2015         2015 NC                        $795.00
Kirkland & Ellis LLP                               Tavlin               Sorensen         Zack             Associate            Houston                   2020         2020 TX                        $795.00
Norton Rose Fulbright                              Trahan                                Paul             Partner              Austin                    1997         1997 TX                        $795.00
Baker Botts LLP                                    Kazlow               A.               Jordan           Associate            Dallas                    2016         2016 TX                        $790.00
Baker Botts LLP                                    O'Brien              K.               Nicholas         Associate            Dallas                    2016         2016 TX                        $790.00
Polsinelli PC                                      Talavera                              Henry            Equity Partner       Dallas                    1989         1989 MD                        $790.00
Waller Lansden Dortch & Davis LLP                  Taube                J.               Eric             Partner              Austin                    1983         1983 TX                        $790.00
Akin Gump Strauss Hauer & Feld LLP                 Garrett              N.               Lisa             Associate            Houston                   2017         2017 TX                        $785.00
Akin Gump Strauss Hauer & Feld LLP                 Hightower            H.               Christina        Associate            Houston                   2017         2017 TX                        $785.00
Akin Gump Strauss Hauer & Feld LLP                 Praestholm                            Amanda           Associate            Dallas                    2017         2017 TX                        $785.00
Norton Rose Fulbright                              Persson                               Emma             Associate            Dallas                    2018         2018 TX                        $785.00
Norton Rose Fulbright                              Manns                E.               Ryan             Partner              Dallas                    2003         2003 TX                        $780.00
Locke Lord LLP                                     Niven                S.               Tammi            Partner              Houston                   2002         2002 NE                        $780.00
Greenberg Traurig LLP                              Burrer               D.               Karl             Equity Partner       Houston                   2003         2004 TX                        $775.00
Foley & Lardner LLP                                Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                        $775.00
Baker & Hostetler LLP                              Kristiansen          W.               Eric             Partner              Houston                   2000         2000 TX                        $775.00
Parkins & Rubio LLP                                Lee                  S.               Kyung            Partner              Houston                   1984         1984 TX                        $775.00
Jones Day                                          Da                                    Guoping          Partner              Dallas                    2009         2009 TX                        $775.00
Polsinelli PC                                      Boydston             N.               Elizabeth        Equity Partner       Dallas                    2007         2007 TX                        $774.00
Weil, Gotshal & Manges LLP                         Cloud                E.               Megan            Associate            Dallas                    2019         2019 TX                        $770.00
Weil, Gotshal & Manges LLP                         Gohary                                Sarah            Associate            Austin                    2019         2019 TX                        $770.00
Norton Rose Fulbright                              Hendrix              J.               Nicholas         Associate            Dallas                    2013         2013 TX                        $770.00
Weil, Gotshal & Manges LLP                         Keller               Todd             William          Associate            Dallas                    2020         2020 TX                        $770.00
Weil, Gotshal & Manges LLP                         Riles                R.               Richard          Associate            Dallas                    2019         2019 TX                        $770.00
Weil, Gotshal & Manges LLP                         Sierra               M.               Tristan          Associate            Houston                   2018         2019 TX                        $770.00
Weil, Gotshal & Manges LLP                         Ward                 D.               Jenae            Associate            Dallas                    2019         2019 TX                        $770.00
Kirkland & Ellis LLP                               Alozie               I.               Ibe              Associate            Houston                   2019         2019 TX                        $765.00
Greenberg Traurig LLP                              Bakare               S.               Nicole           Associate            Houston                   2006         2006 TX                        $765.00
Norton Rose Fulbright                              Barrera              A.               Mario            Partner              San Antonio               1984         1984 TX                        $765.00
Kirkland & Ellis LLP                               Bassi                K.               Michael          Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               Chavez                                Evan             Associate            Austin                    2020         2020 TX                        $765.00
Kirkland & Ellis LLP                               Davis                R.               Dustin           Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               Flor                                  Tony             Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               Ghubril                               Sami             Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               Hossain                               Ed               Associate            Houston                   2019         2019 TX                        $765.00
Holland & Knight LLP                               Liggins              L.               Demetra          Partner              Houston                   2000         2000 TX                        $765.00
Kirkland & Ellis LLP                               McMurray             E.               Madison          Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               McNamara             D.               Ryan             Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               McNulty              E.               Ryan             Associate            Houston                   2019         2019 TX                        $765.00
Paul Hastings LLP                                  Milburn              A.               William          Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               Moawad               S.               Kristy           Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               Owen                 M.               Graham           Associate            Houston                   2015         2015 NC                        $765.00
Paul Hastings LLP                                  Roberts              M.               Max              Associate            Houston                   2019         2019 TX                        $765.00
Kirkland & Ellis LLP                               Shelton                               Scott            Associate            Houston                   2011         2011 TX                        $765.00
Kirkland & Ellis LLP                               Wetzeler             C.               Nicholas         Associate            Houston                   2020         2020 TX                        $765.00
Norton Rose Fulbright                              Schaefer             A.               Rafe             Associate            Houston                   2012         2012 TX                        $760.00
McDermott Will & Emery LLP                         Gerber               A.               Jane             Associate            Dallas                    2014         2014 TX                        $757.50
Greenberg Traurig LLP                              Burrer               D.               Karl             Equity Partner       Houston                   2003         2004 TX                        $755.00
Latham & Watkins LLP                               Standley             X.               Yakun            Associate            Houston                   2019         2019 TX                        $755.00
Pillsbury Winthrop Shaw Pittman LLP                Weaver               J.               Adam             Associate            Houston                   2014         2014 TX                        $752.25
Morgan, Lewis & Bockius LLP                        Gonzalez             Padilla          Humberto         Partner              Houston                   2001         2003 Mexico                    $750.00
Parkins & Rubio LLP                                Lee                  S.               Kyung            Partner              Houston                   1984         1984 TX                        $750.00
Akerman LLP                                        Parham               W                David            Partner              Dallas                    1981         1981 TX                        $750.00




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                          Firm                            Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year     Bar State   2021 Standard Rate
Jackson Walker LLP                                  Peguero              M.               Kristhy          Partner              Houston                   2006         2006 DE                         $750.00
Foley & Lardner LLP                                 Slovak               T.               Robert           Partner              Dallas                    1999         1999 TX                         $750.00
Womble Bond Dickinson (US) LLP                      Vittor               L.               Jose             Partner              Houston                   1989         1989 Argentina                  $750.00
Pachulski Stang Ziehl & Jones LLP                   Wallen               L.               Benjamin         Associate            Fort Worth                2016         2016 TX                         $750.00
Jackson Walker LLP                                  Bankler              R.               Chris            Partner              Dallas                    2009         2009 TX                         $745.00
Kirkland & Ellis LLP                                Benham                                Nicholas         Associate            Houston                   2020         2021 TX                         $745.00
Seyfarth Shaw LLP                                   Coleman              M.               Jesse            Partner              Houston                   2007         2010 TX                         $745.00
Kirkland & Ellis LLP                                Degelia              D.               Gabrielle        Associate            Houston                   2019         2019 TX                         $745.00
Kirkland & Ellis LLP                                deLorimier                            Andrea           Associate            Dallas                    2020         2020 TX                         $745.00
Kirkland & Ellis LLP                                Lonvick              K.               Sarah            Associate            Houston                   2020         2021 TX                         $745.00
Squire Patton Boggs                                 Mureen               R.               Jonathan         Partner              Dallas                    2007         2007 TX                         $745.00
McDermott Will & Emery LLP                          Perry                T.               Shelby           Associate            Dallas                    2018         2018 TX                         $745.00
Kirkland & Ellis LLP                                Womack               L.               Dustin           Associate            Houston                   2019         2019 TX                         $745.00
Kilpatrick Townsend & Stockton LLP                  Carew                J.               Patrick          Partner              Dallas                    2001         2001 TX                         $740.00
Baker & Hostetler LLP                               Kristiansen          W.               Eric             Partner              Houston                   2000         2000 TX                         $740.00
Baker Botts LLP                                     Polivka              W.               Casey            Associate            Houston                   2018         2018 TX                         $740.00
Davis Polk & Wardwell LLP                           Zhang                                 Helen            Associate            Dallas                                                                 $740.00
Akin Gump Strauss Hauer & Feld LLP                  Carrillo                              Alan             Associate            Dallas                    2018         2018 TX                         $735.00
Foley & Lardner LLP                                 Lockhart             C.               Steven           Partner              Dallas                    2002         2002 TX                         $735.00
Eversheds Sutherland                                Mendiola                              Lino             Partner              Austin                    1994         1994 TX                         $735.00
Baker Botts LLP                                     Alexander            B.               Matthew          Associate            Dallas                    2016         2016 TX                         $730.00
White & Case LLP                                    Mondragon                             Daniela          Associate            Houston                   2018         2018 TX                         $730.00
Norton Rose Fulbright                               Verma                M.               Hersh            Associate            Houston                   2015         2015 TX                         $730.00
Latham & Watkins LLP                                Alvarado             Raul             Ricardo          Associate            Houston                   2019         2019 TX                         $725.00
Pachulski Stang Ziehl & Jones LLP                   Golden               W.               Steven           Associate            Houston                   2014         2015 MD                         $725.00
Hunton Andrews Kurth LLP                            Harper               L.               Ashley           Associate            Houston                   2008         2008 TX                         $725.00
Latham & Watkins LLP                                Johnson                               Whitley          Associate            Houston                   2019         2019 TX                         $725.00
Foley & Lardner LLP                                 Scannell             Charles          Thomas           Partner              Dallas                    2009         2009 TX                         $725.00
Cole Schotz P.C.                                    Walker               W.               James            Equity Partner       Dallas                    1985         1985 TX                         $725.00
Hunton Andrews Kurth LLP                            Scipioni             A.               Caitlin          Associate            Dallas                    2014         2014 MA                         $725.00
Latham & Watkins LLP                                Johnson                               Whitley          Associate            Houston                   2019         2019 TX                         $721.00
Polsinelli PC                                       Boydston             N.               Elizabeth        Equity Partner       Dallas                    2007         2007 TX                         $720.00
Foley & Lardner LLP                                 Jones                                 Randall          Partner              Houston                   1983         1983 TX                         $720.00
Foley & Lardner LLP                                 Newman               H.               Michael          Partner              Dallas                    1995         1995 TX                         $720.00
Akin Gump Strauss Hauer & Feld LLP                  Tandy                J.               Lewis            Associate            Dallas                    2019         2019 TX                         $717.00
Sidley Austin LLP                                   Heighten             N.               Ellen            Associate            Dallas                    2019         2019 TX                         $715.00
Sidley Austin LLP                                   Rognes               M.               Chandler         Associate            Dallas                    2019         2019 TX                         $715.00
Sidley Austin LLP                                   Rozow Owolabi        L.               Hannah           Associate            Houston                   2019         2019 TX                         $715.00
Reed Smith LLP                                      Chassman             John             Peter            Partner              Houston                   1993         1993 TX                         $713.43
Foley & Lardner LLP                                 Helt                 A.               Marcus           Partner              Dallas                    2000         2000 TX                         $710.00
Fox Rothschild LLP                                  Monsour              A.               Trey             Partner              Dallas                    1989         1990 TX                         $710.00
Duane Morris LLP                                    Thompson                              Brad             Partner              Austin                    2004         2004 TX                         $710.00
Husch Blackwell LLP                                 Butler               Hamilton         Lynn             Partner              Austin                    1991         1991 TX                         $710.00
Baker Botts LLP                                     Johnson              Holland          Mark             Associate            Dallas                    2017         2017 TX                         $705.00
Akin Gump Strauss Hauer & Feld LLP                  Miller               N.               Katlyne          Associate            Dallas                    2018         2018 TX                         $704.00
Polsinelli PC                                       Billingsley          H.               James            Equity Partner       Dallas                    1993         1993 TX                         $702.00
Polsinelli PC                                       Alexander            Turner           Sherri           Equity Partner       Dallas                    1983         1983 TX                         $700.00
Barnes & Thornburg LLP                              Haloftis             D.               Douglas          Partner              Dallas                    1987         1987 TX                         $700.00
Jackson Walker LLP                                  Howell               A.               Richard          Partner              Houston                   2008         2008 TX                         $700.00
Akin Gump Strauss Hauer & Feld LLP                  Mendoza              R.               Eduardo          Associate            Dallas                    2018         2018 TX                         $700.00
Akin Gump Strauss Hauer & Feld LLP                  Miller               N.               Katlyne          Associate            Dallas                    2018         2018 TX                         $700.00
Hunton Andrews Kurth LLP                            Priddy               N.               Austin           Associate            Houston                   2015         2015 TX                         $700.00
Spencer Fane LLP                                    Pronske              M.               Gerrit           Partner              Dallas                    1983         1984 TX                         $700.00
Jones Day                                           Russell              J.               Molly            Associate            Dallas                    2015         2015 CA                         $700.00
Latham & Watkins LLP                                Sherman              L.               Jessica          Associate            Houston                   2019         2019 TX                         $700.00
Akin Gump Strauss Hauer & Feld LLP                  Tandy                J.               Lewis            Associate            Dallas                    2019         2019 TX                         $700.00
Jones Day                                           Waring               L.               Collin           Associate            Dallas                    2013         2014 NY                         $700.00
Locke Lord LLP                                      Knapp                C.               Brad             Partner              Dallas                    2007         2007 TX                         $695.00
Greenberg Traurig LLP                               Tipper-McWhorter                      Katie            Associate            Houston                   2012         2012 TX                         $695.00
DLA Piper LLP (US)                                  Woods                                 Crystal Jamison Partner               Dallas                    2009         2010 TX                         $695.00
Kilpatrick Townsend & Stockton LLP                  Gruber               L.               Jenny            Partner              Dallas                    2004         2004 TX                         $695.00
Paul Hastings LLP                                   Chang                K.               Phillip          Associate            Houston                   2019         2019 TX                         $690.00
Waller Lansden Dortch & Davis LLP                   Weiss                D.               Morris           Partner              Austin                    1985         1985 TX                         $690.00
Norton Rose Fulbright                               Esperti              N.               Shannon          Associate            Dallas                    2010         2010 TX                         $685.00
Hunton Andrews Kurth LLP                            Guffy                Michael          Philip           Associate            Houston                   2015         2016 NY                         $685.00
Jackson Walker LLP                                  Lotay                S.               Jesse            Partner              San Antonio               2006         2006 MO                         $685.00
Baker & Hostetler LLP                               Schroeder            A.               Robert           Partner              Dallas                    2004         2004 MA                         $685.00
Jackson Walker LLP                                  Silver               M.               Kathrine         Partner              Houston                   1999         1999 TX                         $685.00
Foley & Lardner LLP                                 Adlerstein           Dovi             Chaim            Partner              Dallas                    1999         2000 CA                         $680.00
Latham & Watkins LLP                                Standley             X.               Yakun            Associate            Houston                   2019         2019 TX                         $680.00
Baker Botts LLP                                     Fuentes              C.               Maria            Associate            Houston                   2019         2019 TX                         $675.00
Baker Botts LLP                                     Gabriel              E.               Derek            Associate            Dallas                    2019         2019 TX                         $675.00
Fox Rothschild LLP                                  Monsour              A.               Trey             Partner              Dallas                    1989         1990 TX                         $675.00
Foley & Lardner LLP                                 Oran                 L.               Ronald           Partner              Houston                   2003         2005 NY                         $675.00
Foley & Lardner LLP                                 Scannell             Charles          Thomas           Partner              Dallas                    2009         2009 TX                         $675.00
Holland & Knight LLP                                Schmid               H.               Megan            Partner              Houston                   2010         2010 TX                         $675.00
Haynes and Boone, LLP                               Staab                L.               David            Associate            Fort Worth                2014         2014 TX                         $675.00
Haynes and Boone, LLP                               Stoner               J.               Michael          Associate            Dallas                    2009         2010 TX                         $675.00
Baker Botts LLP                                     Young                N.               Megan            Associate            Houston                   2019         2019 TX                         $675.00
Curtis, Mallet-Prevost, Colt & Mosle LLP            Cassidy              John             Eric             Partner              Houston                   2001         2001 NY                         $675.00
Husch Blackwell LLP                                 Rudman               Lynn             Jody             Partner              Austin                    1993         1993 IL                         $675.00
Greenberg Traurig LLP                               Hersh                W.               Alan             Associate            Austin                    2011         2012 TX                         $670.00
Baker Botts LLP                                     Chiu                                  Kevin            Associate            Dallas                    2018         2018 TX                         $665.00
Norton Rose Fulbright                               Harrison             G.               Julie            Associate            Houston                   2014         2014 TX                         $665.00
Hunton Andrews Kurth LLP                            Malouf               P.               Aliza            Associate            Dallas                    2009         2009 NY                         $665.00
Baker Botts LLP                                     Rui                  X.               Snow             Associate            Dallas                    2018         2018 TX                         $665.00
Baker & Hostetler LLP                               Saikin               S.               Gregory          Partner              Houston                   2005         2005 TX                         $665.00
Norton Rose Fulbright                               Smith                L.               Laura            Associate            Dallas                    2008         2008 TX                         $665.00
Norton Rose Fulbright                               Harrison             G.               Julie            Associate            Houston                   2014         2014 TX                         $655.00
Holland & Knight LLP                                Levitt               J.               Steven           Associate            Dallas                    2014         2014 TX                         $655.00
Kirkland & Ellis LLP                                Nelson               L.               Brennon          Associate            Houston                   2021         2021 TX                         $655.00
Clark Hill Strasburger                              Roberts                               Stephen A.       Equity Partner       Austin                    1982         1982 TX                         $655.00




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                                                 Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                          Firm                                  Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year     Bar State   2021 Standard Rate
Simpson Thacher & Bartlett LLP                            Salamone             H.               Enzo             Associate            Houston                   2021         2021 TX                         $655.00
Norton Rose Fulbright                                     Smith                L.               Laura            Associate            Dallas                    2008         2008 TX                         $655.00
Kelley Drye & Warren LLP                                  Wilson               T.               Sean             Associate            Houston                   2014         2014 TX                         $655.00
Kirkland & Ellis LLP                                      Zakhary              D.               William          Associate            Houston                   2021         2021 TX                         $655.00
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.            Chapman              W.               Ronald           Partner              Dallas                    1995         1995 TX                         $650.00
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.            Chapman              W.               Ronald           Equity Partner       Dallas                    1995         1995 TX                         $650.00
Jackson Walker LLP                                        Gilman               J.               Luke             Partner              Houston                   2010         2010 TX                         $650.00
Haynes and Boone, LLP                                     Green                                 Carla            Associate            Dallas                    2015         2015 TX                         $650.00
Holland & Knight LLP                                      Pirraglia            F.               Anthony          Partner              Houston                   2010         2011 NY                         $650.00
Spencer Fane LLP                                          Pronske              M.               Gerrit           Partner              Dallas                    1983         1984 TX                         $650.00
Eversheds Sutherland                                      Sherrill             D.               Mark             Partner              Houston                   1999         1999 VA                         $650.00
Greenberg Traurig LLP                                     Weir                 R.               Jared            Associate            Houston                   2010         2012 TX                         $650.00
Sullivan & Cromwell LLP                                   Yu                                    Meng             Associate            Austin                    2020              PENDING                    $650.00
Holland & Knight LLP                                      Bailey                                Christopher      Associate            Dallas                    2018         2018 TX                         $645.00
McDermott Will & Emery LLP                                Caradonna            M.               Haley            Associate            Dallas                    2021         2021 TX                         $645.00
Eversheds Sutherland                                      Sherrill             D.               Mark             Partner              Houston                   1999         1999 VA                         $645.00
White & Case LLP                                          Wang                                  Yuxi             Associate            Houston                   2020         2020 TX                         $645.00
Eversheds Sutherland                                      Wang                                  Shenghao         Associate            Austin                    2020         2020 TX                         $645.00
Jackson Walker LLP                                        Wertz                H.               Jennifer         Partner              Austin                    2011         2011 TX                         $645.00
Vinson & Elkins LLP                                       Shallman             C.               Erik             Associate            Austin                    2014         2014 CA                         $645.00
Foley & Lardner LLP                                       Babcock              J.               Christopher      Partner              Dallas                    2011         2011 TX                         $640.00
Baker & Hostetler LLP                                     Donaho               A.               Thomas           Partner              Houston                   2011         2011 TX                         $640.00
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.            Griggs               A.               Bruce            Equity Partner       Austin                    1989         1989 TX                         $640.00
Foley & Lardner LLP                                       Miller               R.               Terrell          Partner              Houston                   2004         2004 TX                         $640.00
DLA Piper LLP (US)                                        Waite                Allen            Mark             Partner              Houston                   1994         1994 TX                         $640.00
Foley & Lardner LLP                                       Chibli                                Aaron            Associate            Dallas                    2015         2015 TX                         $635.00
Foley & Lardner LLP                                       Marx                 C.               Brandon          Associate            Beaumont                  2015         2015 TX                         $635.00
Jackson Walker LLP                                        Peguero              M.               Kristhy          Partner              Houston                   2006         2006 DE                         $635.00
Locke Lord LLP                                            Humeniuk             J.               Stephen          Associate            Austin                    2013         2013 TX                         $635.00
Weil, Gotshal & Manges LLP                                Estrada              D.               Angela           Associate            Dallas                    2020         2020 TX                         $630.00
Weil, Gotshal & Manges LLP                                Hosch                B.               Patrick          Associate            Dallas                    2020         2021 TX                         $630.00
Weil, Gotshal & Manges LLP                                Keller               Todd             William          Associate            Dallas                    2020         2020 TX                         $630.00
Weil, Gotshal & Manges LLP                                Smith                                 Samantha         Associate            Dallas                    2020         2020 IL                         $630.00
Faegre Drinker Biddle & Reath LLP                         Sylva                S.               Sondra           Partner              Dallas                    2001         2001 TX                         $630.00
Kirkland & Ellis LLP                                      Benham                                Nicholas         Associate            Houston                   2020         2021 TX                         $625.00
Kirkland & Ellis LLP                                      Chavez                                Evan             Associate            Austin                    2020         2020 TX                         $625.00
Akin Gump Strauss Hauer & Feld LLP                        Cochrane             A.               Richard          Associate            Dallas                    2019         2019 TX                         $625.00
Kirkland & Ellis LLP                                      Del Priore           J.               Austin           Associate            Dallas                    2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      deLorimier                            Andrea           Associate            Dallas                    2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Dougherty            P.               Jack             Associate            Dallas                    2020         2020 TX                         $625.00
Akin Gump Strauss Hauer & Feld LLP                        Eva                  E.               Alyx             Associate            Houston                   2019         2019 TX                         $625.00
Kirkland & Ellis LLP                                      Fife                 D.               Paul             Associate            Houston                   2020         2020 UT                         $625.00
DLA Piper LLP (US)                                        Garrett              A.               Maria            Associate            Dallas                    2016         2016 TX                         $625.00
Pachulski Stang Ziehl & Jones LLP                         Golden               W.               Steven           Associate            Houston                   2014         2015 MD                         $625.00
Baker & Hostetler LLP                                     Grant                C.               Ashlee           Partner              Houston                   2010         2010 LA                         $625.00
Kirkland & Ellis LLP                                      Hall                 M.               Cassidy          Associate            Dallas                    2020         2020 TX                         $625.00
Akin Gump Strauss Hauer & Feld LLP                        High                 M.               Haley            Associate            Dallas                    2019         2019 TX                         $625.00
Kirkland & Ellis LLP                                      Inclan               Charles          R.               Associate            Houston                   2020         2020 TX                         $625.00
Shearman & Sterling LLP                                   Jaksa                                 Kyle             Associate            Dallas                    2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Johnson                               Austin           Associate            Houston                   2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Khan                                  Yasin            Associate            Houston                   2020         2021 TX                         $625.00
Kirkland & Ellis LLP                                      Lyons                                 Colton           Associate            Houston                   2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Manser               C.               Dominic          Associate            Houston                   2020         2021 TX                         $625.00
Kirkland & Ellis LLP                                      Medina               D.               Josue            Associate            Houston                   2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Mele                                  Brett            Associate            Houston                   2020         2020 TX                         $625.00
Baker & Hostetler LLP                                     Muranovic                             Lana             Partner              Houston                   2010         2010 TX                         $625.00
Kirkland & Ellis LLP                                      Olutoye                               Tomi             Associate            Houston                   2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Owen                 M.               Graham           Associate            Houston                   2015         2015 NC                         $625.00
Akin Gump Strauss Hauer & Feld LLP                        Peek                                  Erin             Associate            Dallas                    2019         2019 TX                         $625.00
Kirkland & Ellis LLP                                      Pincock                               Ashley           Associate            Houston                   2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Richey               A.               Hunter           Associate            Houston                   2020         2020 TX                         $625.00
Husch Blackwell LLP                                       Rios                 A.               Randall          Partner              Houston                   1988         1988 TX                         $625.00
Jackson Walker LLP                                        Romero               A.               Joshua           Partner              Austin                    2004         2004 TX                         $625.00
Kirkland & Ellis LLP                                      Sloan                M.               Trevor           Associate            Houston                   2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Stenglein            M.               Jessica          Associate            Houston                   2020         2020 TX                         $625.00
Baker & Hostetler LLP                                     Thomas               C.               Joshua           Partner              Houston                   2008         2008 TX                         $625.00
Kirkland & Ellis LLP                                      Turchetti                             Cecilia          Associate            Houston                   2020         2020 TX                         $625.00
Kirkland & Ellis LLP                                      Wang                                  Markus           Associate            Houston                   2020         2020 TX                         $625.00
Vinson & Elkins LLP                                       Hebert               R.               Trey             Associate            Austin                    2015         2015 TX                         $625.00
Husch Blackwell LLP                                       Watts                J.               Jameson          Partner              Houston                   2011         2011 TX                         $625.00
Haynes and Boone, LLP                                     Wyrick                                Martha           Associate            Houston                   2016         2016 TX                         $620.00
McDermott Will & Emery LLP                                Perry                T.               Shelby           Associate            Dallas                    2018         2018 TX                         $620.00
Latham & Watkins LLP                                      Cannon               Michael          Matthew          Associate            Houston                   2020         2020 TX                         $615.00
Latham & Watkins LLP                                      Kmetz                S.               Joseph           Associate            Houston                   2019         2020 TX                         $615.00
Waller Lansden Dortch & Davis LLP                         Taylor               C.               Mark             Partner              Austin                    1987         1987 TX                         $615.00
Baker Botts LLP                                           Chiu                                  Kevin            Associate            Dallas                    2018         2018 TX                         $615.00
Latham & Watkins LLP                                      Swartz                                Kirby            Associate            Houston                   2020         2020 TX                         $614.00
Latham & Watkins LLP                                      Kmetz                S.               Joseph           Associate            Houston                   2019         2020 TX                         $612.00
Kirkland & Ellis LLP                                      Benham                                Nicholas         Associate            Houston                   2020         2021 TX                         $610.00
Sidley Austin LLP                                         Braddock             S.               Allen            Associate            Houston                   2020         2020 TX                         $610.00
Greenberg Traurig LLP                                     Collins              W.               Emily            Associate            Austin                    2016         2016 TX                         $610.00
Sidley Austin LLP                                         Franks               V.               Sophie           Associate            Dallas                    2020         2020 TX                         $610.00
Sidley Austin LLP                                         George                                Nidhi            Associate            Dallas                    2020         2020 TX                         $610.00
Sidley Austin LLP                                         Nifong               B.               Taylor           Associate            Dallas                    2020         2020 TX                         $610.00
Kirkland & Ellis LLP                                      Owen                 M.               Graham           Associate            Houston                   2015         2015 NC                         $610.00
Sidley Austin LLP                                         Patterson            M.               Amanda           Associate            Dallas                    2020         2020 TX                         $610.00
Sidley Austin LLP                                         Portnoy              T.               Adrienn          Associate            Dallas                    2021         2021 TX                         $610.00
Baker Botts LLP                                           Wallace              L.               Kirstie          Associate            Dallas                    2019         2019 TX                         $610.00
Winston & Strawn LLP                                      Niedzwiecki          P.               John             Associate            Houston                   2019         2019 TX                         $610.00
K&L Gates LLP                                             Smith                J.               Brian            Associate            Dallas                    2008         2008 TX                         $605.00
Foley & Lardner LLP                                       Song                                  Eunice           Partner              Houston                   2006         2006 TX                         $605.00
Vinson & Elkins LLP                                       Bittar               R.               Jack             Associate            Austin                    2016         2016 TX                         $605.00




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                                      Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                        Firm                         Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year     Bar State   2021 Standard Rate
Vinson & Elkins LLP                            Mason                G.               Leslie           Associate            Houston                   2016         2016 TX                         $605.00
Husch Blackwell LLP                            Butler               Hamilton         Lynn             Partner              Austin                    1991         1991 TX                         $600.00
Holland & Knight LLP                           Keator               D.               Todd             Partner              Dallas                    2002         2002 TX                         $600.00
Holland & Knight LLP                           Zabarauskas          J.               Bruce            Partner              Dallas                    1988         1988 NY                         $600.00
Eversheds Sutherland                           Baay                 A.               David            Partner              Houston                   2000         2000 TX                         $595.00
Reed Smith LLP                                 Blount               L.               Cheryl           Associate            Houston                   2011         2011 TX                         $595.00
Shearman & Sterling LLP                        Jaksa                                 Kyle             Associate            Dallas                    2020         2020 TX                         $595.00
Reed Smith LLP                                 Wissinger            J.               Andrew           Associate            Houston                   2011         2011 PA                         $595.00
Norton Rose Fulbright                          Wolf                 D.               Emily            Associate            Austin                    2017         2017 TX                         $595.00
Sidley Austin LLP                              Jenka                                 Peter            Associate            Dallas                    2020         2020 TX                         $590.00
Reed Smith LLP                                 Forbes               J.               Michael          Associate            Houston                   2010         2010 TX                         $587.80
Jackson Walker LLP                             Anaya                F.               Vienna           Associate            Dallas                    2016         2016 TX                         $585.00
Jackson Walker LLP                             Argeroplos           N.               Victoria         Associate            Houston                   2017         2017 TX                         $585.00
Reed Smith LLP                                 Aurzada              M.               Keith            Partner              Dallas                    1996         1996 CO                         $585.00
Baker & Hostetler LLP                          Bernard              E.               Zachary          Associate            Houston                   2010         2010 TX                         $585.00
Morgan, Lewis & Bockius LLP                    Duncan               A. Monica        Nakisha          Associate            Houston                   2017         2018 NY                         $585.00
Baker & Hostetler LLP                          Jiwani               N.               Sabrina          Associate            Houston                   2012         2013 NY                         $585.00
Baker & Hostetler LLP                          Jones                K.               Bradley          Associate            Houston                   2007         2007 TX                         $585.00
Jackson Walker LLP                             Polnick              A.               Veronica         Associate            Houston                                2011 TX                         $585.00
Baker & Hostetler LLP                          Smith                Y.               Shanisha         Associate            Houston                   2013         2013 CO                         $585.00
Jackson Walker LLP                             Vesely                                Alicia           Associate            Austin                    2018         2019 TX                         $585.00
Baker & Hostetler LLP                          Weaver               E.               Casey            Associate            Houston                   2013         2013 TX                         $585.00
Jackson Walker LLP                             Yancy                K.               Austin           Associate            Houston                   2018         2018 TX                         $585.00
Norton Rose Fulbright                          Kimball-Stanley                       Arthur           Associate            Austin                    2010         2010 MA                         $580.00
Clark Hill Strasburger                         Ajmera               P.               Sujata           Equity Partner       Austin                    2005         2005 TX                         $575.00
Husch Blackwell LLP                            Butler               Hamilton         Lynn             Equity Partner       Austin                    1991         1991 TX                         $575.00
Husch Blackwell LLP                            Butler               Hamilton         Lynn             Partner              Austin                    1991         1991 TX                         $575.00
Holland & Knight LLP                           Chauvin              L.               Christopher      Partner              Dallas                    2004         2004 TX                         $575.00
Hunton Andrews Kurth LLP                       Diktaban             A.               Catherine        Associate            Houston                   2018         2018 TX                         $575.00
Reed Smith LLP                                 Robin                L.               Lindsey          Associate            Dallas                    2015         2015 TX                         $575.00
Parkins & Rubio LLP                            Shannon              J.               R.               Associate            Austin                    2013         2014 MD                         $575.00
DLA Piper LLP (US)                             Solberg              D.               Brett            Associate            Houston                   2009         2009 TX                         $575.00
Jones Day                                      Velez                                 Hector           Associate            Dallas                    2018         2018 TX                         $575.00
Holland & Knight LLP                           Weibel                                Mark             Partner              Dallas                    1991         1991 OK                         $575.00
Eversheds Sutherland                           Boldt                A.               Michael          Partner              Austin                    2008         2008 TX                         $570.00
Locke Lord LLP                                 Humeniuk             J.               Stephen          Associate            Austin                    2013         2013 TX                         $570.00
Faegre Drinker Biddle & Reath LLP              Perry                Levon            Kristen          Associate            Dallas                    2014         2014 TX                         $570.00
Norton Rose Fulbright                          Recchini             G.               Constanza        Associate            Houston                   2018         2018 TX                         $570.00
Eversheds Sutherland                           Stuart               B.               Jeffrey          Partner              Austin                    2008         2008 FL                         $570.00
Greenberg Traurig LLP                          Jacobsen             M.               Kristen          Associate            Houston                   2017         2017 TX                         $560.00
Akin Gump Strauss Hauer & Feld LLP             Gafford              M.               Madison          Associate            Dallas                    2020         2020 TX                         $555.00
Akin Gump Strauss Hauer & Feld LLP             Hamilton                              Charles          Associate            Dallas                    2021         2021 TX                         $555.00
Akin Gump Strauss Hauer & Feld LLP             Jeffcoat             M.               Christina        Associate            Dallas                    2020         2020 TX                         $555.00
Akin Gump Strauss Hauer & Feld LLP             Tomalty              Conor            R.               Associate            Houston                   2020         2020 TX                         $555.00
Jones Day                                      Baker                Duggan           D.               Associate            Houston                   2019         2019 TX                         $550.00
Jones Day                                      Bedell                                Hailey           Associate            Dallas                    2021         2021 TX                         $550.00
Baker Botts LLP                                Bhan                 K.               Nischay          Associate            Houston                   2017         2017 TX                         $550.00
Husch Blackwell LLP                            Klein                E.               Buffey           Partner              Dallas                    2001         2001 TX                         $550.00
Baker Botts LLP                                Saadi                Y.               Munir            Associate            Houston                   2017         2017 TX                         $550.00
Jones Day                                      Villari                               Timothy          Associate            Dallas                    2021         2021 TX                         $550.00
Foley & Lardner LLP                            Mason                                 Jessica          Partner              Houston                   2005         2005 TX                         $547.60
Haynes and Boone, LLP                          Chavez                                Jordan           Associate            Dallas                    2018         2018 TX                         $545.00
Norton Rose Fulbright                          Craig                L.               Peyton           Associate            Houston                   2018         2018 TX                         $545.00
Haynes and Boone, LLP                          Dutton               O.               Wesley           Associate            Dallas                    2018         2018 TX                         $545.00
Baker Botts LLP                                Eftekhar                              Arsalan          Associate            Houston                   2020         2020 TX                         $545.00
Norton Rose Fulbright                          Graham               W.               Ryan             Associate            Houston                   2019         2019 TX                         $545.00
Dykema Gossett P.L.L.C.                        Huffstickler         L.               Patrick          Equity Partner       San Antonio               1986         1986 TX                         $545.00
Husch Blackwell LLP                            Klein                E.               Buffey           Partner              Dallas                    2001         2001 TX                         $540.00
Pillsbury Winthrop Shaw Pittman LLP            Dickinson            James            L.               Associate            Houston                   2017         2017 TX                         $535.00
Foley & Lardner LLP                            Drake                K.               Abigail          Associate            Dallas                    2017         2017 TX                         $535.00
Foley & Lardner LLP                            Gonzalez             A.               Jessica          Associate            Houston                   2012         2012 TX                         $535.00
Foley & Lardner LLP                            Poynter              L.               Austin           Associate            Dallas                    2016         2016 TX                         $535.00
Foley & Lardner LLP                            Watkins              C.               Ryan             Associate            Houston                   2013         2014 MI                         $535.00
Husch Blackwell LLP                            Watts                J.               Jameson          Partner              Houston                   2011         2011 TX                         $530.00
Kelly Hart & Hallman LLP                       Bishop               E.               Mark             Partner              Fort Worth                1987         1987 TX                         $525.00
Jones Day                                      Johnson              W.               Paul             Associate            Dallas                    2016         2016 TX                         $525.00
Jackson Walker LLP                             Secord               A.               Cameron          Associate            Houston                   2017         2017 TX                         $525.00
Greenberg Traurig LLP                          Stearns                               Sarah-Michelle Associate              Dallas                    2016         2016 TX                         $525.00
Holland & Knight LLP                           Young                                 Samuel           Partner              Dallas                    2012         2012 OH                         $520.00
Locke Lord LLP                                 Boylan                                Eric             Associate            Houston                   2017         2017 TX                         $515.00
Husch Blackwell LLP                            Klein                E.               Buffey           Partner              Dallas                    2001         2001 TX                         $510.00
Spencer Fane LLP                               Van Horn             M.               Eric             Partner              Dallas                    2005         2005 TX                         $510.00
Reed Smith LLP                                 Zachry               K.               Paul             Associate            Houston                   2018         2018 TX                         $510.00
Waller Lansden Dortch & Davis LLP              Cunha                R.               Andrea           Partner              Austin                    2007         2007 FL                         $505.00
Norton Rose Fulbright                          Graham               W.               Ryan             Associate            Houston                   2019         2019 TX                         $505.00
Norton Rose Fulbright                          Sepulveda            W.               Daniel           Associate            Dallas                    2019         2019 TX                         $505.00
Norton Rose Fulbright                          Velasquez            Felipe           Juan             Associate            Houston                   2019         2019 TX                         $505.00
Locke Lord LLP                                 Bryant               Steven           W.               Partner              Houston                   2000         2000 TX                         $500.00
Holland & Knight LLP                           Garber               B.               Abbey            Partner              Dallas                    1985         1985 TX                         $500.00
Husch Blackwell LLP                            Klein                E.               Buffey           Partner              Dallas                    2001         2001 TX                         $500.00
Frost Brown Todd LLC                           Platt                A.               Mark             Equity Partner       Dallas                    1994         1994 TX                         $500.00
Michael Best & Friedrich LLP                   Ressler              J.               Richard          Partner              Austin                    1977         1979 NY                         $500.00
Beck Redden LLP                                Roberts              Benjamin         Alex             Partner              Houston                   2006         2006 TX                         $500.00
Jones Day                                      Solis                A.               Juan             Associate            Dallas                    2020         2020 TX                         $500.00
Haynes and Boone, LLP                          Trausch              A.               David            Associate            Houston                   2018         2019 TX                         $500.00
Haynes and Boone, LLP                          Zavala                                Tom              Associate            Dallas                    2019         2019 TX                         $500.00
Jones Day                                      Cleary               C.               Seth             Associate            Dallas                    2020         2020 TX                         $500.00
Neal, Gerber & Eisenberg LLP                   Graber               S.               Nicholas         Associate            Dallas                    2015         2016 IL                         $500.00
Jackson Walker LLP                             Argeroplos           N.               Victoria         Associate            Houston                   2017         2017 TX                         $495.00
Kelly Hart & Hallman LLP                       Cawyer               D.               Russell          Partner              Fort Worth                1995         1995 TX                         $495.00
Kelly Hart & Hallman LLP                       Howe                 E.               Christopher      Partner              Fort Worth                1986         1986 TX                         $495.00
Foley & Lardner LLP                            Lawsage              M.               Drake            Associate            Houston                   2016         2016 TX                         $495.00




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                         Firm                                  Last Name         Middle Name       First Name        Position              City        Grad Year      Bar Year    Bar State   2021 Standard Rate
Holland & Knight LLP                                    Oliver               L.               Jackson          Associate            Dallas                    2017         2017 TX                        $495.00
Foley & Lardner LLP                                     Osburn               E.               Danielle         Associate            Houston                   2016         2016 TX                        $495.00
Eversheds Sutherland                                    Zerwas               M.               John             Associate            Austin                    2008         2008 TX                        $495.00
Reed Smith LLP                                          Morad                A.               Ramy             Associate            Dallas                    2015         2016 TX                        $490.00
Reed Smith LLP                                          Dal Col               J.              Devan            Associate            Dallas                    2019         2019 TX                        $485.00
Reed Smith LLP                                          Dekema               M.G.             Brandon          Associate            Dallas                    2021         2021 TX                        $485.00
Jackson Walker LLP                                      Hutchins             C.               Kathleen         Associate            Austin                    2018         2018 TX                        $485.00
Norton Rose Fulbright                                   McGinley             P.               Sean             Associate            Austin                    2019         2019 TX                        $485.00
Norton Rose Fulbright                                   Smith                J.               Clinton          Associate            Austin                    2019         2019 TX                        $485.00
Hunton Andrews Kurth LLP                                Regan                                 Kelli            Associate            Houston                   2020         2020 TX                        $485.00
Locke Lord LLP                                          Williams             F.               Kimberly         Partner              Dallas                    2005         2005 TX                        $483.00
Reed Smith LLP                                          Dulaney                               Keely            Associate            Houston                   2019         2019 TX                        $480.00
Reed Smith LLP                                          Gipson               J.               Neimann          Associate            Houston                   2020         2021 TX                        $480.00
Shook, Hardy & Bacon L.L.P.                             Frazier                               Kathleen         Partner              Houston                   2003         2004 TX                        $479.90
Shook, Hardy & Bacon L.L.P.                             James                A.               Scott            Partner              Houston                   2001         2001 TX                        $475.60
Norton Rose Fulbright                                   Aguilar Dominguez A.                  Paloma           Associate            Houston                   2020         2020 TX                        $475.00
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC      Chambers             E.               Bradley          Equity Partner       Houston                   1997         1997 TX                        $475.00
Husch Blackwell LLP                                     Curtis               A.               Catherine        Associate            Dallas                    2015         2016 TX                        $475.00
Holland & Knight LLP                                    Gardberg             A.               Manuel           Associate            Houston                   2014         2014 TX                        $475.00
Holland & Knight LLP                                    Hussain                               Murtuza          Associate            Houston                   2016         2016 TX                        $475.00
Norton Rose Fulbright                                   MacDonald            J.               Lillian          Associate            Houston                   2021         2021 TX                        $475.00
Norton Rose Fulbright                                   Persson                               Emma             Associate            Dallas                    2018         2018 TX                        $475.00
Michael Best & Friedrich LLP                            Ressler              J.               Richard          Partner              Austin                    1977         1979 NY                        $475.00
Foley & Lardner LLP                                     Shanks               F.               Emily            Associate            Dallas                    2018         2018 TX                        $475.00
Norton Rose Fulbright                                   Soliz                J.               Megan            Associate            Dallas                    2019         2019 TX                        $475.00
Husch Blackwell LLP                                     Hayes                Elizabeth        Lauren           Associate            Austin                    2013         2013 TX                        $475.00
Norton Rose Fulbright                                   Sivils               A.               John             Associate            Dallas                    2020         2020 TX                        $470.00
Foley & Lardner LLP                                     Smith                A.               Brantley         Associate            Dallas                    2018         2018 TX                        $470.00
Norton Rose Fulbright                                   St. George                            Kevin            Associate            Houston                   2020         2020 TX                        $470.00
Norton Rose Fulbright                                   Weatherspoon                          Vanisha          Associate            Austin                    2020         2020 TX                        $470.00
Polsinelli PC                                           Barlow               L.               Savanna          Associate            Dallas                    2018         2018 TX                        $468.00
Holland & Knight LLP                                    Bailey                                Christopher      Associate            Dallas                    2018         2018 TX                        $465.00
Duane Morris LLP                                        Harle                T.               Paul             Associate            Austin                    2013         2013 TX                        $465.00
Kelly Hart & Hallman LLP                                Hill                 M.               Brandon          Partner              Fort Worth                2006         2006 TX                        $465.00
Vinson & Elkins LLP                                     Melancon             J.               Matthew          Associate            Austin                    2018         2018 TX                        $460.00
Haynes and Boone, LLP                                   Van Osselaer         P.               Andrew           Associate            Austin                    2018         2018 TX                        $460.00
King & Spalding LLP                                     Bailey               D.               Melvin           Partner              Austin                    1987         1987 TX                        $458.00
Foley & Lardner LLP                                     Bales                N.               Melina           Associate            Dallas                    2017         2017 TX                        $455.00
Foley & Lardner LLP                                     Drake                K.               Abigail          Associate            Dallas                    2017         2017 TX                        $455.00
Norton Rose Fulbright                                   Schamel              A.               Luke             Associate            Houston                   2017         2017 TX                        $455.00
Norton Rose Fulbright                                   Sippel               W.               Chase            Associate            Austin                    2021         2021 TX                        $455.00
Norton Rose Fulbright                                   Berthiaume                            Michael          Associate            Fort Worth                2019         2019 TX                        $450.00
Thompson Coburn LLP                                     Clark                B.               Katharine        Partner              Dallas                    2004         2004 TX                        $450.00
Hayward PLLC                                            Hayward              S.               Melissa          Equity Partner       Dallas                    2005         2005 TX                        $450.00
Hayward PLLC                                            Hayward              S.               Melissa          Partner              Dallas                    2005         2005 TX                        $450.00
Cole Schotz P.C.                                        Hsu                  N.               Sean             Equity Partner       Dallas                    2007         2007 TX                        $450.00
Spencer Fane LLP                                        Kathman              P.               Jason            Partner              Dallas                    2009         2009 TX                        $450.00
Norton Rose Fulbright                                   Mokrzycka                             Maria            Associate            Houston                   2019         2019 TX                        $450.00
Cole Schotz P.C.                                        Patel                H.               Vishal           Equity Partner       Dallas                    2008         2008 TX                        $450.00
Haynes and Boone, LLP                                   Schindler            Benjamin         S.               Associate            Dallas                    2020         2020 TX                        $450.00
Parkins & Rubio LLP                                     Shannon              J.               R.               Associate            Austin                    2013         2014 MD                        $450.00
Cole Schotz P.C.                                        Sorden               R.               Gary             Equity Partner       Dallas                    2008         2008 TX                        $450.00
Cole Schotz P.C.                                        Vinnakota                             Rajkumar         Equity Partner       Dallas                    2003         2003 TX                        $450.00
Cole Schotz P.C.                                        Walker               W.               James            Equity Partner       Dallas                    1985         1985 TX                        $450.00
Squire Patton Boggs                                     Weiland              Cass             S.               Partner              Dallas                    1973         1973 TX                        $450.00
Pillsbury Winthrop Shaw Pittman LLP                     Dickinson            James            L.               Associate            Houston                   2017         2017 TX                        $444.05
Foley & Lardner LLP                                     Bahlinger            C.               Brooke           Associate            Dallas                    2019         2019 TX                        $440.00
Jackson Walker LLP                                      Dickson              C.               David            Associate            Houston                   2018         2019 TX                        $440.00
Foley & Lardner LLP                                     Jones                A.               Stephen          Associate            Dallas                    2019         2019 TX                        $440.00
Eversheds Sutherland                                    Machado              M.               Kelsey           Associate            Houston                   2011         2011 TX                        $440.00
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.          Martinson            S.               Gavin            Equity Partner       Dallas                    2005         2006 CA                        $440.00
Waller Lansden Dortch & Davis LLP                       Nix                  R.               William          Associate            Austin                    2014         2014 TX                        $440.00
Polsinelli PC                                           Esposito             F.               Joseph           Associate            Dallas                    2012         2012 TX                        $436.50
Jackson Walker LLP                                      Cameron              L.               Courtney         Associate            Austin                    2021         2021 TX                        $435.00
Jackson Walker LLP                                      Gonzalez                              Javier           Associate            Houston                   2021         2021 TX                        $435.00
Jackson Walker LLP                                      Mondragon                             Daniela          Associate            Houston                   2018         2018 TX                        $435.00
Holland & Knight LLP                                    Murphy               H.               Sam              Associate            Dallas                    2017         2017 TX                        $435.00
KPMG International Limited                              Kimbrough                             Kevin            Associate            Houston                                                               $430.50
Husch Blackwell LLP                                     Curtis               A.               Catherine        Associate            Dallas                    2015         2016 TX                        $430.00
Eversheds Sutherland                                    Garza                E.               Catherine        Associate            Austin                    2014         2014 TX                        $430.00
Norton Rose Fulbright                                   Goss                                  Greer            Associate            Dallas                    2020         2020 TX                        $430.00
Holland & Knight LLP                                    Rivers               K.               Cameron          Associate            Houston                   2019         2019 TX                        $430.00
Waller Lansden Dortch & Davis LLP                       Atkinson             J.               Evan             Associate            Austin                    2017         2017 TX                        $425.00
Baker & Hostetler LLP                                   Cohen                A.               Andrea           Associate            Houston                   2018         2018 TX                        $425.00
Reed Smith LLP                                          Dal Col               J.              Devan            Associate            Dallas                    2019         2019 TX                        $425.00
Holland & Knight LLP                                    Dimock               T.               Alexander        Associate            Dallas                    2014         2015 TX                        $425.00
Greenberg Traurig LLP                                   Franklin                              Gregory          Associate            Dallas                    2017         2017 TX                        $425.00
Reed Smith LLP                                          Hardin               A.               Julie            Partner              Houston                   1999         1999 TX                        $425.00
Kelly Hart & Hallman LLP                                Neill                A.               James            Partner              Fort Worth                2014         2014 TX                        $425.00
Fishman Jackson Ronquillo PLLC                          Pulliam              B.               Clay             Partner              Dallas                    2002         2002 TX                        $425.00
Baker & Hostetler LLP                                   Trujillo             L.               Alexandra        Associate            Houston                   2018         2018 TX                        $425.00
Greenberg Traurig LLP                                   Wortley              N.               Mackenzie        Associate            Dallas                    2018         2018 TX                        $425.00
Polsinelli PC                                           Barlow               L.               Savanna          Associate            Dallas                    2018         2018 TX                        $423.00
Cozen O'Connor                                          Gutmann              C.               Adam             Associate            Houston                   2010         2010 TX                        $420.00
Foley & Lardner LLP                                     Shanks               F.               Emily            Associate            Dallas                    2018         2018 TX                        $420.00
Foley & Lardner LLP                                     Khalaf               I.               George           Associate            Houston                   2018         2018 TX                        $419.19
Baker & Hostetler LLP                                   Walton               A.               Ryan             Associate            Houston                   2007         2009 DC                        $415.00
Baker & Hostetler LLP                                   Alexander            J.               Madison          Associate            Dallas                    2019         2019 TX                        $410.00
Baker & Hostetler LLP                                   Dean                 T.               Patrick          Associate            Dallas                    2019         2019 TX                        $410.00
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.          Harding              M.               Jasmine          Associate            Houston                   2016         2016 TX                        $410.00
Polsinelli PC                                           Chilton              Douglas          Adam             Associate            Dallas                    2014         2014 TX                        $405.00
Husch Blackwell LLP                                     O'Donnell            G.               Leanne           Associate            Austin                    2021         2021 TX                        $405.00




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                                             Valeo Partners Attorney Hourly Rate and AFA Database - 2021 Texas Partners and Associates Rates (data as of June 24, 2022)
                        Firm                                Last Name         Middle Name       First Name         Position              City        Grad Year      Bar Year    Bar State   2021 Standard Rate
Husch Blackwell LLP                                   Curtis               A.               Catherine        Associate            Dallas                    2015         2016 TX                        $403.76
Husch Blackwell LLP                                   Hayes                Elizabeth        Lauren           Associate            Austin                    2013         2013 TX                        $403.75
Hayward PLLC                                          Annable              A.               Zachery          Equity Partner       Dallas                                      AL                        $400.00
Hayward PLLC                                          Annable              A.               Zachery          Partner              Dallas                                      AL                        $400.00
Holland & Knight LLP                                  Atkins               P.               John             Associate            Dallas                    2015         2015 TX                        $400.00
Duane Morris LLP                                      Earl                                  James            Associate            Austin                    2017         2017 TX                        $400.00
Hayward PLLC                                          Hayward              S.               Melissa          Equity Partner       Dallas                    2005         2005 TX                        $400.00
Locke Lord LLP                                        Janis                L.               Daron            Partner              Dallas                    2007         2007 TX                        $400.00
Spencer Fane LLP                                      Kathman              P.               Jason            Partner              Dallas                    2009         2009 TX                        $400.00
Locke Lord LLP                                        Mowrey               T.               Robert           Partner              Dallas                    1977         1977 TX                        $400.00
Waller Lansden Dortch & Davis LLP                     Nix                  R.               William          Associate            Austin                    2014         2014 TX                        $400.00
Fishman Jackson Ronquillo PLLC                        Ralston              H.               Mark             Partner              Dallas                    1989         1990 TX                        $400.00
Jackson Walker LLP                                    Seals                                 Tiara            Associate            Houston                   2020         2020 TX                        $400.00
Waller Lansden Dortch & Davis LLP                     Stone                K.               Courtney         Associate            Houston                   2014         2014 TX                        $400.00
Spencer Fane LLP                                      Zimmerman            W.               Brian            Partner              Houston                   1993         1993 TX                        $400.00
Duane Morris LLP                                      Dinnin               Patrick          W.               Associate            Austin                    2015         2015 TX                        $395.00
Gordon Rees Scully Mansukhani, LLP                    Matthews             C.               Annie            Associate            Dallas                    2020         2020 TX                        $395.00
Foley & Lardner LLP                                   Jones                A.               Stephen          Associate            Dallas                    2019         2019 TX                        $390.00
Akerman LLP                                           Taveras              M.               Laura            Associate            Dallas                    2019         2020 NY                        $390.00
Husch Blackwell LLP                                   Rajaratman           P.               Samuel           Associate            Austin                    2019         2019 TX                        $390.00
Kelly Hart & Hallman LLP                              Hopkins              T.               Katherine        Partner              Dallas                    2009         2009 TX                        $385.00
Baker & Hostetler LLP                                 Leigh                F.               Reed             Associate            Houston                   2020         2020 TX                        $385.00
Baker & Hostetler LLP                                 Lorenzo                               Sarah-Jane       Associate            Houston                   2021         2021 OH                        $385.00
Baker & Hostetler LLP                                 Munz                 T.               Macy             Associate            Houston                   2021         2021 TX                        $385.00
Holland & Knight LLP                                  Pacher               M.               Ryan             Associate            Houston                   2020         2020 TX                        $385.00
Dykema Gossett P.L.L.C.                               Owens                A.               Kyle             Equity Partner       Dallas                    2004         2004 TX                        $380.00
Cole Schotz P.C.                                      Wallen               L.               Benjamin         Associate            Fort Worth                2016         2016 TX                        $375.00
Waller Lansden Dortch & Davis LLP                     Atkinson             J.               Evan             Associate            Austin                    2017         2017 TX                        $370.00
Reed Smith LLP                                        Wimberly             H.               Hallie           Associate            Houston                   2017         2017 TX                        $369.47
Foley & Lardner LLP                                   Gardner                               Jennifer         Associate            Houston                   2020              PENDING                   $365.00
Foley & Lardner LLP                                   Huckleberry          N.               Jennifer         Associate            Houston                   2019         2020 TX                        $365.00
Foley & Lardner LLP                                   Mitcham              R.               Mikaela          Associate            Dallas                    2021         2021 TX                        $365.00
Foley & Lardner LLP                                   Romero               Bryce            Timothy          Associate            Houston                   2019         2020 TX                        $365.00
Cole Schotz P.C.                                      Phillips             Ross             Ian              Associate            Dallas                    2015         2015 TX                        $360.00
Waller Lansden Dortch & Davis LLP                     Atkinson             J.               Evan             Associate            Austin                    2017         2017 TX                        $355.00
Kelly Hart & Hallman LLP                              Cuneo Thomas         Anne             Elizabeth        Associate            Fort Worth                2013         2014 NY                        $350.00
Littler Mendelson P.C.                                Griffitts            E.               Ryan             Partner              Dallas                    1996         1996 TX                        $350.00
Thompson Coburn LLP                                   Salters              W.               Stacey           Associate            Dallas                    2016         2016 TX                        $350.00
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC    Santillan            Maria            Tanya            Associate            Houston                   2013         2015 CA                        $350.00
Husch Blackwell LLP                                   O'Donnell            G.               Leanne           Associate            Austin                    2021         2021 TX                        $344.25
Locke Lord LLP                                        McCoy                Marie            Jennifer         Associate            Dallas                    2016         2016 TX                        $330.00
Dykema Gossett P.L.L.C.                               Rushing              N.               Danielle         Associate            San Antonio               2016         2016 TX                        $330.00
Spencer Fane LLP                                      Wilson               Blynn            Shelby           Associate            Dallas                    2017         2017 TX                        $325.00
Paxson & Associates, P.C.                             Paxson               B.               Stephen          Equity Partner       Houston                   1974         1974 TX                        $320.00
Shook, Hardy & Bacon L.L.P.                           Nwanguma                              Ashleigh         Associate            Houston                   2019         2019 TX                        $319.00
Eversheds Sutherland                                  Wang                                  Shenghao         Associate            Austin                    2020         2020 TX                        $310.00
Cole Schotz P.C.                                      King                 L.               Brian            Associate            Dallas                    2006         2006 TX                        $300.00
Cole Schotz P.C.                                      Phillips             Ross             Ian              Associate            Dallas                    2015         2015 TX                        $300.00
Kelly Hart & Hallman LLP                              McConnell            A.               Michael          Partner              Fort Worth                1975         1975 TX                        $297.00
Kelly Hart & Hallman LLP                              Austin               D.               Joseph           Associate            Fort Worth                2016         2016 TX                        $295.00
Locke Lord LLP                                        Levesque             Taylor           Marc             Associate            Dallas                    2018         2018 TX                        $294.00
Thompson Coburn LLP                                   Weisner              D.               Kristi           Associate            Dallas                    2020         2020 TX                        $285.00
Kelly Hart & Hallman LLP                              Neal                 H.               Andrew           Partner              Fort Worth                2010         2010 TX                        $268.00
Lathrop GPM LLP                                       Thackston            E.               Robert           Partner              Dallas                    1987         1987 VA                        $266.00
Littler Mendelson P.C.                                Flores               A.               Mark             Associate            Dallas                    2010         2010 KY                        $250.00
Waller Lansden Dortch & Davis LLP                     Jezisek                               Ann Marie        Associate            Austin                                                                $220.00
Kelly Hart & Hallman LLP                              Smith                W.               Mason            Associate            Fort Worth                2018         2018 TX                        $220.00
Hayward PLLC                                          Newton               A.               Mark             Associate            Austin                    2019         2019 TX                        $215.00
Kelly Hart & Hallman LLP                              Hopkins              T.               Katherine        Partner              Dallas                    2009         2009 TX                        $210.00
Kelly Hart & Hallman LLP                              Austin               D.               Joseph           Associate            Fort Worth                2016         2016 TX                        $206.00




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    Michael A. Garza (Texas Bar No. 24126797)                    David S. Meyer (admitted pro hac vice)
    Matthew J. Pyeatt (Texas Bar No. 24086609)                   George R. Howard (admitted pro hac vice)
    Trevor G. Spears (Texas Bar No. 24106681)                    Lauren R. Kanzer (admitted pro hac vice)
    VINSON & ELKINS LLP                                          VINSON & ELKINS LLP
    2001 Ross Avenue, Suite 3900                                 1114 Avenue of the Americas, 32nd Floor
    Dallas, TX 75201                                             New York, NY 10036
    Tel: 214.220.7700                                            Tel: 212.237.0000
    Fax: 214.999.7787                                            Fax: 212.237.0100
    mgarza@velaw.com; mpyeatt@velaw.com;                         dmeyer@velaw.com; ghoward@velaw.com;
    tspears@velaw.com                                            lkanzer@velaw.com
    ATTORNEYS FOR THE DEBTORS
    AND DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

     In re:                        §                                      Case No. 22-90000 (MXM)
                                   §
     ROCKALL ENERGY HOLDINGS, LLC, §                                      (Chapter 11)
     et al.,                       §
                                   §                                      (Jointly Administered)
             Debtors.1             §

     SUMMARY COVER SHEET TO THE FINAL FEE APPLICATION OF
 VINSON & ELKINS LLP, ATTORNEYS FOR THE DEBTORS AND DEBTORS IN
POSSESSION, FOR THE PERIOD FROM MARCH 9, 2022 THROUGH JUNE 10, 2022




1
           The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
           numbers are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall
           Agent Corp. (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR,
           LLC (4136), Rockall Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA,
           LLC (4270), Rockall Laurel, LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740),
           Rockall ND, LLC (9311), Rockall Pine Prairie, LLC (5799), White Marlin Investment Company, LLC
           (9987), and White Marlin Midstream, LLC (1466). The location of the Debtors’ U.S. corporate headquarters
           and the Debtors’ service address is: 5005 LBJ Freeway, Suite 700, Dallas, TX 75244.



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    Name of Applicant                                  Vinson & Elkins LLP
    Applicant’s role in case                           Attorneys for the Debtors and Debtors in Possession
    Date cases filed                                   March 9, 2022
    Date order of employment signed                    April 29, 2022 [Dkt. No. 350]
                                                        Beginning of Period           End of Period
    Time period covered by this application
                                                            March 9, 2022              June 10, 2022
    Time period covered by prior
                                                          N/A                                     N/A
    applications
    Total amounts awarded in all prior applications                                                        N/A
    Total fees requested in this application                                                      $4,479,293.00
    Total fees requested for preparation of this application                                          $3,541.00
    Total estimated hours spent in preparation of this application                                          4.9
    Total fees requested for preparation of this application % of total                                  0.08%
    fees requested in this application
    Total professional fees requested in this application                                         $4,405,110.00
    Total actual professional hours covered by this application                                          5078.8
    Average hourly rate for professionals                                                               $867.35
    Total paraprofessional fees requested in this application                                        $74,183.00
    Total actual paraprofessional hours covered by this application                                       239.3
    Average hourly rate for paraprofessionals                                                           $310.00
    Reimbursable expenses sought in this application                                                 $36,806.36
    Date of confirmation hearing                                                                  May 31, 2022
    Indicate whether plan has been confirmed                                                               Yes2




2
          On June 2, 2022, the Court signed the Confirmation Order [Dkt. No. 629] (i) approving the adequacy of the
          Debtors’ Disclosure Statement for the Debtors’ Joint Prepackaged Chapter 11 Plan [Dkt. No. 15] and the
          Supplement to the Disclosure Statement for the Debtors’ Amended Joint Chapter 11 Plan [Dkt. No. 412],
          (ii) confirming the Plan, and (iii) approving the sale of substantially all of the Debtors’ assets.


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Dated: August 9, 2022
Dallas, Texas                        /s/ Matthew J. Pyeatt

                                     VINSON & ELKINS LLP

                                     Michael A. Garza (Texas Bar No. 24126797)
                                     Matthew J. Pyeatt (Texas Bar No. 24086609)
                                     Trevor G. Spears (Texas Bar No. 24106681)
                                     2001 Ross Avenue, Suite 3900
                                     Dallas, TX 75201
                                     Tel: 214.220.7700
                                     Fax: 214.999.7787
                                     mgarza@velaw.com; mpyeatt@velaw.com;
                                     tspears@velaw.com

                                     - and -

                                     David S. Meyer (admitted pro hac vice)
                                     George R. Howard (admitted pro hac vice)
                                     Lauren R. Kanzer (admitted pro hac vice)
                                     1114 Avenue of the Americas, 32nd Floor
                                     New York, NY 10036
                                     Tel: 212.237.0000
                                     Fax: 212.237.0100
                                     dmeyer@velaw.com; ghoward@velaw.com
                                     lkanzer@velaw.com

                                     ATTORNEYS FOR THE DEBTORS AND
                                     DEBTORS IN POSSESSION




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    mgarza@velaw.com; mpyeatt@velaw.com;                         dmeyer@velaw.com; ghoward@velaw.com;
    tspears@velaw.com                                            lkanzer@velaw.com
    ATTORNEYS FOR THE DEBTORS
    AND DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

     In re:                        §                                      Case No. 22-90000 (MXM)
                                   §
     ROCKALL ENERGY HOLDINGS, LLC, §                                      (Chapter 11)
     et al.,                       §
                                   §                                      (Jointly Administered)
             Debtors.1             §

                     FINAL FEE APPLICATION OF
 VINSON & ELKINS LLP, ATTORNEYS FOR THE DEBTORS AND DEBTORS IN
POSSESSION, FOR THE PERIOD FROM MARCH 9, 2022 THROUGH JUNE 10, 2022

           NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
           RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
           BANKRUPTCY COURT AT 501 W. 10TH STREET, ROOM 147, FORT WORTH,
           TX 706102-3643, BEFORE CLOSE OF BUSINESS ON AUGUST 30, 2022, WHICH
           IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF.

           ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK,
           AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING
           PARTY PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A
           RESPONSE IS FILED A HEARING MAY BE HELD WITH NOTICE ONLY TO
           THE OBJECTING PARTY.

           IF NO HEARING ON SUCH NOTICE OR APPLICATION IS TIMELY
           REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE

1
           The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
           numbers are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall
           Agent Corp. (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR,
           LLC (4136), Rockall Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA,
           LLC (4270), Rockall Laurel, LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740),
           Rockall ND, LLC (9311), Rockall Pine Prairie, LLC (5799), White Marlin Investment Company, LLC
           (9987), and White Marlin Midstream, LLC (1466). The location of the Debtors’ U.S. corporate headquarters
           and the Debtors’ service address is: 5005 LBJ Freeway, Suite 700, Dallas, TX 75244.



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       UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING THE
       RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.

       Vinson & Elkins LLP (“V&E”), attorneys for the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), hereby submits its final fee application (the “Final Fee

Application”) for the period from March 9, 2022 through June 10, 2022 (the “Fee Period”), for

allowance on a final basis of compensation for actual, necessary professional services provided by

V&E to the Debtors during the Fee Period in the aggregate amount of $4,479,293.00, and

allowance on a final basis of reimbursement for actual and necessary expenses in the amount of

$36,806.36 that V&E incurred during the Fee Period.2 In support of the Final Fee Application,

V&E submits the declaration of David S. Meyer, a partner at V&E (the “Meyer Declaration”),

which is attached hereto as Exhibit A and incorporated herein by reference. In further support of

the Final Fee Application, V&E respectfully states as follows.

                                    JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The bases for the relief requested herein are sections 330 and 331 of title 11 of the

United States Code (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), rule 2016-1(b) and (c) and Appendix F of the Bankruptcy

Local Rules for the Northern District of Texas (the “N.D. Tex. L.B.R.”), Exhibit H of the

Procedures for Complex Chapter 11 Bankruptcy Cases for the United States Bankruptcy Court for

the Northern District of Texas (the “Complex Chapter 11 Procedures”), and the Order


2
       Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Debtors’
       Amended Joint Chapter 11 Plan [Dkt. No. 548] (as may be further amended, modified, or supplemented from
       time to time, the “Plan”). The rules of interpretation set forth in Article I.B of the Plan apply.


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Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals [Docket No. 322] (the “Interim Compensation Order”).

                                            BACKGROUND

       4.      On March 9, 2022 (the “Petition Date”), the Debtors each filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. On March 11, 2022, the Court entered an

order authorizing the joint administration and procedural consolidation of the Debtors’ chapter 11

cases pursuant to Bankruptcy Rule 1015(b). 3 On March 18, 2022, the United States Trustee (the

“U.S. Trustee”) appointed the Official Committee of Unsecured Creditors (the “Committee”) in

accordance with section 1102(a)(1) of the Bankruptcy Code.4 Throughout these chapter 11 cases,

the Debtors operated their businesses and managed their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner was

appointed in these chapter 11 cases.

       5.      On June 2, 2022, the Court signed the Findings of Fact, Conclusions of Law, and

Order (I) Approving (A) the Disclosure Statement and (B) the Disclosure Statement Supplement;

(II) Confirming the Debtors’ Amended Joint Chapter 11 Plan; and (III) Authorizing the Sale of

the Debtors’ Assets [Docket No. 629] (the “Confirmation Order”) confirming the Plan.5 After

entry of the Confirmation Order, the Debtors worked diligently to finalize and consummate the

transactions contemplated by the Plan, including the sale (the “Sale”) of substantially all of the

Debtors’ assets to Formentera Partners Fund I, LP (“Formentera”), and otherwise satisfy or obtain


3
       See Order Directing Joint Administration of the Debtors’ Chapter 11 Cases [Dkt. No. 64].
4
       See Appointment of the Official Unsecured Creditors’ Committee [Dkt. No. 130].
5
       The Confirmation Order was entered thrice on the docket. See Findings of Fact, Conclusions of Law, and
       Order (I) Approving (A) the Disclosure Statement and (B) the Disclosure Statement Supplement;
       (II) Confirming the Debtors’ Amended Joint Chapter 11 Plan; and (III) Authorizing the Sale of the Debtors’
       Assets [Dkt. Nos. 599, 600, and 629]. For purposes of this Final Fee Application, V&E will refer to the
       Confirmation Order at docket number 629.


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a waiver of the conditions precedent to effectiveness of the Plan, as applicable. On June 10, 2022

(the “Effective Date”), the Plan became effective and the Debtors consummated the Sale to

Formentera.

                                  PRELIMINARY STATEMENT

        6.      During the Fee Period, V&E represented the Debtors professionally and diligently,

advising them on a variety of complex matters and issues, including: (i) advising the Debtors on

their powers and duties as debtors in possession; (ii) facilitating the Debtors’ transition of their

management and operation of their businesses into chapter 11; (iii) assisting the Debtors and their

other advisors to run a competitive marketing and sale process in chapter 11; (iv) assisting the

Debtors in negotiating with key contract counterparties; (v) leading extensive negotiations

regarding a global settlement (the “Global Settlement”) reached among the Debtors, the DIP

Lenders, the Secured Parties, and the Committee; (vi) negotiating with numerous creditors and

parties in interest to consensually resolve Plan and Sale objections on the eve of confirmation; and

(vii) working to confirm the Plan and transition ownership to Formentera on an accelerated

schedule to preserve value for the Debtors’ stakeholders. As a result of V&E’s efforts, along with

the efforts of management and the Debtors’ other professionals, the Debtors were able to maximize

the value of their estates for the benefit of all parties in interest.

        7.      On June 2, 2022, a mere 85 days after the Petition Date, the Court confirmed the

Plan and entered the Confirmation Order. Through the Plan, the Debtors sold substantially all of

their assets to Formentera. Proceeds from the Sale, together with cash on hand, provided funding

for distributions to creditors, the GUC Trust, and the Liquidation Trust, each as contemplated by

the Plan. On the Effective Date, contract cure costs and certain administrative claims were paid,

and the GUC Trust was funded with approximately $5.5 million in cash to (i) fund a pro rata



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distribution to holders of Allowed General Unsecured Claims and (ii) pay the reasonable and

documented fees and expenses of a plan administrator in accordance with the Global Settlement.

Additionally, the Liquidation Trust was funded with approximately $1 million to provide for the

winding down of the Debtors and administration of the Liquidation Trust.

       8.      The success of these chapter 11 cases and the value-maximizing Sale, including the

consensus achieved and presented at the confirmation hearing, is directly attributable to the

extensive efforts of the Debtors’ management and advisor team, including V&E.               V&E

respectfully submits that the compensation and expense reimbursement sought herein for the

actual, necessary professional services V&E provided to the Debtors during the Fee Period is

reasonable and appropriate, and commensurate with the scale, nature, and complexity of these

chapter 11 cases. Moreover, V&E has voluntarily written down a substantial amount of fees

incurred during the Fee Period that are not requested as part of this Application, following

consultation with the Agent. V&E respectfully requests that the fees and expenses requested in

this Fee Application be allowed on a final basis.

                          THE DEBTORS’ RETENTION OF V&E

       9.      On April 29, 2022, the Court entered the Order Authorizing the Retention and

Employment of Vinson & Elkins LLP as Counsel for the Debtors and Debtors in Possession

Effective as of the Petition Date [Docket No. 350] (the “Retention Order”). The Retention Order

authorized the Debtors to retain and employ V&E as their attorneys effective as of the Petition

Date in accordance with the Retention Order and with the letter between the Debtors and V&E

effective as of November 18, 2021 (the “Engagement Letter”), attached hereto as Exhibit B.

       10.     The Engagement Letter specifies that the Debtors are to compensate V&E for

professional services at rates consistent with the billing rates applicable to other transactional



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matters on which V&E has assisted the Debtors, and for its actual expenses incurred. The

Retention Order instructs V&E to apply to the Court for compensation from the Debtors for

professional services rendered and reimbursement of expenses incurred in connection with these

chapter 11 cases in compliance with sections 330 and 331 of the Bankruptcy Code and applicable

provisions of the Bankruptcy Rules, N.D. Tex. L.B.R., Complex Chapter 11 Procedures, and any

other applicable procedures and orders of the Court.

       11.     In advance of the Petition Date, V&E prepared a budget and staffing plan for the

First Interim Fee Period (the “Budget and Staffing Plan”), which is attached hereto as Exhibit C.6

                                DISINTERESTEDNESS OF V&E

       12.     To the best of the Debtors’ knowledge, and as disclosed in the Declaration of David

S. Meyer in Support of Application for Entry of an Order Authorizing the Retention and

Employment of Vinson & Elkins LLP as Counsel for the Debtors and Debtors in Possession

Effective as of the Petition Date [Docket No. 144, Exhibit B-1] (the “First V&E Declaration”)

and the First Supplemental Declaration of David S. Meyer in Support of Application for Entry of

an Order Authorizing the Retention and Employment of Vinson & Elkins LLP as Counsel for the

Debtors and Debtors in Possession Effective as of the Petition Date [Docket No. 311] (together

with the First V&E Declaration, the “V&E Declaration”), (a) V&E is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates,

and (b) V&E has no connection to the Debtors, their creditors, or other parties in interest, except

as may be disclosed in the V&E Declaration.




6
       V&E revised the budget during the chapter 11 cases to account for, among other things, unanticipated
       litigation. The revised budget is also attached hereto as Exhibit C.


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       13.     V&E may have in the past represented, may currently represent, and in the future

likely will represent parties in interest in connection with matters unrelated to these chapter 11

cases. In the V&E Declaration, V&E disclosed its connections to parties in interest that it has been

able to ascertain using its reasonable efforts.

       14.     V&E performed the services for which it is seeking compensation on behalf of the

Debtors and their estates, and not on behalf of any creditor or other entity.

       15.     V&E has received no payment and no promises for payment from any source other

than the Debtors for services provided or to be provided in any capacity whatsoever in connection

with these chapter 11 cases, and has received no payment and no promises for payment from the

Debtors except for advance payments previously disclosed in the V&E Declaration.

       16.     Pursuant to Bankruptcy Rule 2016(b), V&E has not shared, nor has V&E agreed to

share (a) any compensation it has received or may receive with another party or person other than

with the partners, counsel, and associates of V&E or (b) any compensation another person or party

has received or may receive.

    SUMMARY OF COMPLIANCE WITH THE INTERIM COMPENSATION ORDER

       17.     V&E seeks compensation of fees in the amount of $4,479,293.00 for the reasonable

and necessary legal services V&E rendered to the Debtors during the Fee Period and

reimbursement of actual and necessary expenses in the amount of $36,806.36 that V&E incurred

during the Fee Period. During the Fee Period, V&E attorneys expended a total of 5,078.8 hours

and paraprofessionals expended a total of 239.3 hours providing services to the Debtors.7




7
       Due to the relatively brief period of time between the Petition Date and the Effective Date, V&E did not
       submit any monthly fee statements.


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A.     Customary Billing Disclosures.

       18.       V&E’s hourly rates are set at a level designed to fairly compensate V&E for the

work of its attorneys and paraprofessionals and to cover fixed and routine expenses. The hourly

rates and corresponding rate structure utilized by V&E in these chapter 11 cases are the same as,

similar to, or less than the hourly rates and corresponding rate structure that V&E uses in other

debtor restructuring matters and in many complex corporate, securities, and litigation matters

whether in court or otherwise, regardless of whether a fee application is required.

       19.       The rates and rate structure reflect that such restructuring and other complex

matters typically are national in scope and typically involve great complexity, high stakes, and

significant time pressures. For the convenience of the Court and all parties in interest, attached

hereto as Exhibit D is a summary of the blended hourly rates for timekeepers who billed to non-

bankruptcy matters and blended hourly rates for timekeepers who billed to the Debtors during the

Fee Period.

B.     Fees Incurred During the Fee Period.

       20.       In the ordinary course of V&E’s practice, V&E maintains computerized records of

the time expended to render professional services, as required by the Debtors. For the convenience

of the Court and all parties in interest, attached hereto as Exhibit E is a summary of fees incurred

and hours expended during the Fee Period, setting forth the following information:

                the name of each attorney and paraprofessional for whose work on these chapter 11
                 cases compensation is sought;

                each attorney’s year of bar admission and area of practice concentration;

                the aggregate time expended and fees billed by each attorney and each
                 paraprofessional during the Fee Period;

                the hourly billing rate for each attorney and each paraprofessional at V&E’s current
                 billing rates;


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                the hourly billing rate for each attorney and each paraprofessional during the Fee
                 Period;

                the number of rate increases, if any, during the Fee Period; and

                a calculation of total compensation requested using the rates disclosed in the
                 Retention Application.

C.     Expenses Incurred During the Fee Period.

       21.       In the ordinary course of V&E’s practice, V&E maintains a record of expenses

incurred in the rendition of professional services, as required by the Debtors and their estates and

by the Liquidation Trust, for which reimbursement is sought.

       22.       For the convenience of the Court and all parties in interest, attached hereto as

Exhibit F is a summary setting forth the total amount of reimbursed expenses with respect to each

category of expenses.

     SUMMARY OF LEGAL SERVICES RENDERED DURING THE FEE PERIOD

       23.       As discussed above, during the Fee Period, V&E provided actual, necessary

professional services to the Debtors in connection with these chapter 11 cases. These services

were often performed under severe time constraints and were necessary to address a multitude of

critical issues both unique to these chapter 11 cases and typically faced by large corporate debtors

in similar cases of this magnitude and complexity. The services rendered by V&E during the Fee

Period, in conjunction with those of the Debtors’ other advisors, were integral to achieve the

necessary consensus to implement the Global Settlement, the successful sale of substantially all of

the Debtors’ assets to Formentera, and confirmation of the Plan simultaneously with approval of

the sale to Formentera.

       24.       V&E took care to avoid the performance of purely ministerial tasks by attorneys

through the use of paralegals and practice support staff where possible. At all times, V&E’s

professionals have striven to render their services economically and without unnecessary

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duplication of efforts. Certain complex legal issues, development of strategic alternatives, and

negotiations with third parties (e.g., discussions with the Committee to reach the Global

Settlement) naturally require a larger portion of partner time and the involvement of more than one

partner. It is also sometimes necessary, in the interest of overall efficiency, for more than one

attorney to participate on a particular task to adequately and completely represent the Debtors.

Dual participation does not equate to duplication of effort, but rather promotes efficiency, prevents

unnecessary duplication of effort in the future, and allows delegation of future tasks to lower cost

attorneys. Conferences, email, and the preparation of memoranda were utilized as necessary to

promote efficiencies. Meetings and telephone conferences sometimes involved multiple separate

subject matters and issues which were being handled by different attorneys.

       25.     V&E has worked to limit the number of attorneys involved in these chapter 11 cases

to: (a) maximize familiarity with the subject matter and avoid waste or duplicative efforts;

(b) employ special expertise in a given field of law (e.g., tax and finance) when necessary to do

the best job as efficiently as possible with the least amount of effort; and (c) whenever appropriate,

assign the performance of all tasks to the least-senior attorney capable of performing it consistent

with sound legal representation and supervision, the desires of the Debtors, and the goal stated

repeatedly throughout these chapter 11 cases of maximizing the value of the Debtors’ estates for

the benefit of all stakeholders through the in-court sale process.

       26.     To provide a meaningful summary of V&E’s services provided on behalf of the

Debtors and their estates, V&E has established, in accordance with its internal billing procedures,

certain subject matter categories (each, a “Submatter”) in connection with these chapter 11 cases.

The following is a summary, by Submatter, of the most significant professional services provided




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by V&E during the Fee Period.8 This summary is organized in accordance with V&E’s internal

system of matter numbers. A schedule setting forth a description of the Submatters utilized in this

case, the number of hours expended by V&E attorneys and paraprofessionals by matter, and the

aggregate fees associated with each matter is attached hereto as Exhibit G.

       27.       In addition, V&E’s computerized records of time expended providing professional

services to the Debtors and their estates during the Fee Period are attached hereto as Exhibit H,

and V&E’s records of expenses incurred during the Fee Period are attached hereto as Exhibit I.

A.     Asset Sales – Submatter 2.

       Total Fees: $892,561.50
       Total Hours: 997.8

       28.       This Submatter includes time V&E attorneys and paraprofessionals across various

practice groups devoted to the sales process, including, among other things, the overbid and

marketing process and documentation and approval of the sale of substantially all of the Debtors’

assets to Formentera. Specifically, V&E attorneys and paraprofessionals spent time:

                obtaining Court approval of the Emergency Motion of Debtors for Entry of Orders
                 (I) Approving Bidding Procedures, (II) Scheduling the Bid Deadline and the
                 Auction, (III) Scheduling Hearings and Objection Deadlines with Respect to the
                 Sale, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving
                 Contract Assumption and Assignment Procedures, and (VI) Granting Related
                 Relief [Docket No. 16];

                negotiating non-disclosure agreements with potential bidders;

                responding to due diligence inquires;

                negotiating the purchase and sale agreement with Formentera;

                obtaining Court approval of the sale of substantially all of the Debtors’ assets to
                 Formentera, including resolving objections to the same;

                assisting the Debtors with the review of amendments to the purchase and sale

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       The summary omits any submatters where de minimis or no hours were worked by V&E attorneys and
       paraprofessionals.


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                  agreement; and

                 preparing documents required to close the sale to Formentera.

B.     Assumption and Rejection of Leases and Contracts – Submatter 3.

       Total Fees: $94,483.50
       Total Hours: 125.8

       29.        This Submatter includes time spent by V&E attorneys analyzing leases and

executory contracts and the assumption of certain executory contracts. During the course of these

chapter 11 cases, V&E assisted the Debtors with the review of several executory contracts and

unexpired leases, including communicating and negotiating with contract and lease counterparties.

In particular, V&E obtained entry of an order authorizing the assumption of a certain propane

contract that provided the Debtors with propane at below-market rates, and spent a substantial

amount of time negotiating with Steel Reef, one of the Debtors’ key midstream contract

counterparties.

C.     Budgeting (Case) – Submatter 5.

       Total Fees: $11,748.50
       Total Hours: 9.4

       30.        This Submatter includes time spent by V&E attorneys and paraprofessionals

preparing the Debtors’ budgets and staffing plans and discussing the budget and staffing plan with

the Debtors and the Secured Parties.

D.     Business Operations – Submatter 6.

       Total Fees: $167,253.50
       Total Hours: 201.5

       31.        This Submatter includes time spent by V&E attorneys and paraprofessionals

regarding issues related to all aspects of conducting the Debtors’ business operations in chapter

11, such as employee, vendor, insurance, utility, and other similar issues, including filing related


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pleadings and discussing operational issues with the Debtors’ management and other adviors. This

Submatter also includes services V&E attorneys rendered to ensure the approval of the relief

sought on both interim and final bases with respect to the Debtors’ operations.

E.      Case Administration – Submatter 7.

        Total Fees: $243,829.50
        Total Hours: 434.9

        32.       This Submatter includes time spent by V&E attorneys and paraprofessionals on a

variety of tasks that were necessary to ensure the efficient and smooth administration of a

cross-disciplinary team to effectively provide legal services related to these chapter 11 cases.

Specifically, V&E attorneys and paraprofessionals spent time:

                 monitoring and managing deadlines and critical dates;

                 conducting internal conferences among the V&E team and conferences with the
                  Debtors’ management and other advisors to allocate workstreams, monitor works
                  in progress, and discuss overall case strategy;

                 filing numerous pleadings; and

                 coordinating other case management tasks.

F.      Corporate Governance and Board Matters – Submatter 9.

        Total Fees: $106,781.50
        Total Hours: 124.0

        33.       This Submatter includes legal services rendered in advising the Debtors on matters

related to the Debtors’ corporate structure and governance. Specifically, V&E attorneys spent

time:

                 providing advice to the Debtors’ boards of directors, including attending formal
                  and informal meetings with the Debtors’ board of directors;

                 preparing materials for meetings of the Debtors’ board of directors;

                 preparing minutes following formal and informal meetings of the Debtors’ board
                  of directors; and

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                preparing board resolutions.

G.     Employee Benefits and Compensation – Submatter 10.

       Total Fees: $161,316.50
       Total Hours: 201.1

       34.       This Submatter includes legal services rendered in advising the Debtors on matters

related to the Debtors’ employee benefits and other compensation issues. Specifically, V&E

attorneys spent time:

                negotiating and drafting the key employee retention program;

                negotiating and drafting the key employee incentive program;

                drafting motions seeking court approval of the key employee retention program and
                 the key employee incentive program, and drafting declarations in support of the
                 same; and

                obtaining Court approval of the key employee retention program and the key
                 employee incentive program (over the objection of the U.S. Trustee).

H.     Employment and Fee Applications – Submatter 11.

       Total Fees: $189,480.00
       Total Hours: 242.3

       35.       This Submatter includes time spent by V&E attorneys and paraprofessionals

providing services related to the retention of the Debtors’ professionals, including V&E as the

Debtors’ attorneys. Specifically, V&E attorneys spent time:

                preparing pleadings and a comprehensive conflict analysis necessary to obtain the
                 order of the Court approving the employment of V&E to represent the Debtors;

                assisting the Debtors’ other professionals with preparation of retention
                 applications;

                obtaining Court approval of the Debtors’ retention of Stretto, Inc. as the Debtors’
                 Claims, Noticing, and Solicitation Agent. See Order (A) Authorizing the Retention
                 and Appointment of Stretto as Claims and Noticing Agent and (B) Granting Related
                 Relief [Docket No. 84];

                obtaining Court approval of the Debtors’ retention of Lazard Frères & Co. LLC as

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                 investment banker for the Debtors. See Order Authorizing the Retention and
                 Employment of Lazard Frères & Co. LLC as Investment Banker to the Debtors and
                 Debtors in Possession Effective as of the Petition Date [Docket No. 323];

                obtaining Court approval of the Debtors’ retention of numerous ordinary course
                 professionals consistent with the Order (I) Authorizing the Debtors to Retain and
                 Compensate Professionals Utilized in the Ordinary Course of Business and
                 (II) Granting Related Relief [Docket No. 324];

                obtaining Court approval of the Debtors’ retention of Ankura Consulting Group,
                 LLC to provide a chief restructuring officer and certain additional personnel. See
                 Order Authorizing (I)(A) the Retention and Employment of Ankura Consulting
                 Group, LLC and (B) Scott M. Pinsonnault to Serve as Chief Restructuring Officer
                 Effective as of the Petition Date and (II) Granting Related Relief [Docket No. 325];

                obtaining Court approval of the Debtors’ retention of Brown Fox, PLLC to provide
                 conflicts counsel should the need have arisen. See Order Authorizing the Retention
                 and Employment of Brown Fox PLLC as Conflicts Counsel for the Debtors and
                 Debtors in Possession [Docket No. 635]; and

                obtaining Court approval of the Debtors’ retention of Deloitte Tax LLP to provide
                 tax services. See Order Authorizing the Retention and Employment of Deloitte Tax
                 LLP as Tax Services Provider Effective as of the Petition Date [Docket No. 663].

I.     Employment and Fee Application Objections – Submatter 12.

       Total Fees: $123,771.50
       Total Hours: 136.9

       36.       This Submatter includes time spent by V&E attorneys and paraprofessionals

providing services related to objections to the retention of the Debtors’ professionals, including

V&E as the Debtors’ attorneys. In particular, V&E attorneys spent time responding to the

Committee and the U.S. Trustee’s objections regarding V&E’s retention as attorneys for the

Debtors.

J.     Financing and Cash Collateral – Submatter 13.

       Total Fees: $468,900.00
       Total Hours: 537.2

       37.       This Submatter includes time spent by V&E attorneys meeting and corresponding

with the Debtors and their advisors to obtain the DIP financing and consensual use of cash

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collateral necessary to fund the Debtors’ operations and administrative expenses during these

chapter 11 cases, time spent working with the Committee, the U.S. Trustee, and various other

creditors to successfully resolve their objections, and time spent analyzing certain lien priority and

lien release matters. Approval of the DIP financing and the use of cash collateral was critical to

minimizing disruption to the Debtors’ operations during these chapter 11 cases and maximizing

value for all of the Debtors’ stakeholders. To that end, V&E successfully negotiated the terms of

interim and final orders authorizing the Debtors to obtain DIP financing and use cash collateral

and providing adequate protection to their secured creditors as required under applicable law.9

K.     Hearings – Submatter 14.

       Total Fees: $86,921.50
       Total Hours: 86.3

       38.     This Submatter includes time spent by V&E attorneys and paraprofessionals

providing services related to preparing for and attending hearings during these chapter 11 cases,

including corresponding with various parties, preparing agendas, orders, and materials relating to

such hearings. During the Fee Period, V&E attorneys and paraprofessionals spent considerable

time preparing for and attending hearings with respect to the “first day motions” on March 11,

2022, various other requests for relief before the Court on April 27, 2022 and May 3, 2022, and to

approve the sale to Formentera and confirm the Debtors’ Plan on May 31, 2022.




9
       See Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Utilize Cash Collateral,
       (B) Obtain Postpetition Financing Secured by Senior Liens, (C) Grant Adequate Protection to the Prepetition
       Secured Parties, and (D) Scheduling a Final Hearing and (II) Granting Related Relief [Dkt. No. 15]; Notice
       of Filing of (I) Form of Final Order Authorizing Debtors to Utilize Cash Collateral, Obtain Postpetition
       Credit Secured by Senior Liens, Granting Adequate Protection to Prepetition Secured Parties, and Granting
       Related Relief and (II) Redline Comparison To Interim Order [Dkt. No. 117]; and Second Notice of Filing
       (I) Form of Final Order Authorizing Debtors to Utilize Cash Collateral, Obtain Postpetition Credit Secured
       by Senior Liens, Granting Adequate Protection to Prepetition Secured Parties, and Granting Related Relief
       and (II) Redline Comparison To Interim Order and Prior Proposed Form of Final Order [Dkt. No. 138].


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L.      Litigation (Contested Matters and Adversary Proceedings) – Submatter 15.

        Total Fees: $1,145,560.50
        Total Hours: 1,328.3
        39.    This Submatter includes time spent by V&E attorneys and paraprofessionals

relating to preparation for and defense and prosecution of various litigation issues and related

discovery, including spending significant time in connection with various objections filed by the

Committee, including objections to the Debtors’ proposed DIP financing and V&E’s retention,

both of which required significant discovery and document production, as well as potential

litigation with Steel Reef and certain government agencies. Specifically, V&E attorneys spent

time:

                preparing pleadings necessary to obtain an order of the Court authorizing the
                 Debtors to (i) obtain postpetition financing and use cash collateral and (ii) retain
                 and employ V&E as legal counsel. Debtors’ Omnibus Reply to Objections to the
                 Motion to (A) Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361,
                 362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e) and (B) Use Cash
                 Collateral Pursuant to 11 U.S.C. § 363, (II) Granting Adequate Protection
                 Pursuant to 11 U.S.C. §§ 361, 362, 363 and 364, and (III) Scheduling a Final
                 Hearing [Docket No. 308]; Debtors’ Omnibus Reply to Objections to Debtors’
                 Application for Entry of an Order Authorizing the Retention and Employment of
                 Vinson & Elkins LLP as Counsel for the Debtors and Debtors in Possession
                 Effective as of the Petition Date [Docket No. 310];

                coordinating discovery related to the Committee’s objections to the Debtors’
                 obtaining postpetition financing, retaining V&E, and implementing the key
                 employee incentive program;

                negotiating a settlement with the Committee.        See Notice of Filing Global
                 Settlement Term Sheet [Docket No. 367];

                responding to discovery requests and interrogatories submitted by Steel Reef;

                analyzing documents produced by the North Dakota Industrial Commission and the
                 North Dakota Department of Environmental Quality; and

                preparing witnesses for multiple potential contested hearings.




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M.     Meetings and Communications with Creditors – Submatter 16.

       Total Fees: $85,321.00
       Total Hours: 89.8

       40.       This Submatter includes time spent by V&E attorneys and paraprofessionals on

matters related to communications with vendors and meetings with the Committee, including with

respect to second day relief, postpetition business activities and operations, and facilitating the

Committee’s due diligence on the Debtors’ capital structure, business operations, and proposed

sale process.

N.     Plan, Disclosure Statement, and Confirmation – Submatter 18.

       Total Fees: $418,460.00
       Total Hours: 513.2

       41.       This Submatter includes time spent by V&E attorneys and paraprofessionals

providing services related to confirmation of the Plan and approval of the related disclosure

statement, including leading extensive negotiations to resolve key outstanding issues necessary to

effectuate the restructuring transactions and achieve the Global Settlement. Specifically, V&E

attorneys and paraprofessionals spent time:

                finalizing and filing the Plan to incorporate the Global Settlement;10

                drafting and filing the supplement to the Disclosure Statement, and seeking Court
                 approval of the same;

                negotiating, drafting, and filing, five supplements to the Plan;11

                researching and analyzing various issues in connection with final approval of the


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       Debtors’ Joint Prepackaged Chapter 11 Plan [Docket No. 14]; Debtors Amended Joint Chapter 11 Plan
       [Docket No. 399]; Debtors’ Amended Joint Chapter 11 Plan [Dkt. No. 548].
11
       Notice of Filing Supplement to the Debtors’ Joint Prepackaged Chapter 11 Plan [Dkt. No. 368]; Notice of
       Filing Second Supplement to the Debtors’ Amended Joint Chapter 11 Plan [Dkt. No. 529]; Notice of Filing
       Third Supplement to the Debtors’ Amended Joint Chapter 11 Plan [Dkt. No. 545]; Notice of Filing Fourth
       Supplement to the Debtors’ Amended Joint Chapter 11 Plan [Dkt. No. 559]; Notice of Filing Fifth
       Supplement to the Debtors’ Amended Joint Chapter 11 Plan [Dkt. No. 581].


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                 Disclosure Statement and confirmation of the Plan;

                preparing for a contested hearing regarding final approval of the Disclosure
                 Statement and confirmation of the Plan;

                planning, drafting, and filing the brief in support of confirmation12 and proposed
                 confirmation order;13

                negotiating with the U.S. Trustee, Committee, and other objecting creditors to
                 resolve informal and formal objections to final approval of the Disclosure
                 Statement and confirmation of the Plan; and

                preparing for and finalizing implementation of the Plan on the Effective Date.

O.     Relief from Stay and Adequate Protection – Submatter 20.

       Total Fees: $29,673.50
       Total Hours: 34.3

       42.       This Submatter includes time spent by V&E attorneys and paraprofessionals

responding to formal and informal requests for relief from the automatic stay and drafting

stipulations agreeing to lift the automatic stay.

P.     Reporting – Submatter 21.

       Total Fees: $98,352.50
       Total Hours: 117.8

       43.       This Submatter includes time spent by V&E attorneys and paraprofessionals

preparing, reviewing, and filing schedules of assets and liabilities and statements of financial

affairs, monthly operating reports, and certain orders entered in these chapter 11 cases.

Additionally, this Submatter includes time spent preparing for and attending the initial debtor

interview on March 31, 2022 and the section 341 meeting of creditors on April 22, 2022.


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       Debtors’ Memorandum of Law in Support of (I) Approval of Disclosure Statement and the Disclosure
       Statement Supplement; (II) Confirmation of the Debtors’ Amended Joint Chapter 11 Plan; (III) Authorization
       for the Sale of the Debtors’ Assets; and (IV) Reply to Confirmation Objections [Dkt. No. 531].
13
       [Proposed] Findings of Fact, Conclusions of Law, and Order (I) Approving (A) the Disclosure Statement
       and (B) the Disclosure Statement Supplement; (II) Confirming the Debtors’ Amended Joint Chapter 11 Plan;
       and (III) Authorizing the Sale of the Debtors’ Assets [Dkt. Nos. 530, 587, 597].


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Q.     Tax – Submatter 22.

       Total Fees: $144,898.00
       Total Hours: 125.6

       44.      This Submatter includes time spent by V&E attorneys on analyzing and advising

regarding tax-related issues. This Submatter also includes time spent by V&E attorneys analyzing

and providing advice regarding tax issues related to the Debtors’ sale process, including reviewing

the asset purchase agreement and key restructuring documents (e.g., the Plan and the Disclosure

Statement).

                       ACTUAL AND NECESSARY EXPENSES
                 INCURRED BY V&E DURING THE FINAL FEE PERIOD

       45.      As set forth in Exhibit I and summarized in Exhibit F, V&E has incurred a total

of $36,806.36 in expenses on behalf of the Debtors during the Fee Period. These charges are

intended to reimburse V&E’s direct operating costs, which are not incorporated into the V&E

hourly billing rates. V&E charges external copying and computer research at the provider’s cost

without markup. Only clients who actually use services of the types set forth in Exhibit I are

charged for such services. The effect of including such expenses as part of the hourly billing rates

would impose that cost upon clients who do not require extensive photocopying and other facilities

and services.

             REASONABLE AND NECESSARY SERVICES PROVIDED BY V&E

A.     Reasonable and Necessary Fees Incurred in Providing Services to the Debtors.

       46.      The foregoing professional services provided by V&E on behalf of the Debtors

during the Fee Period were reasonable, necessary, and beneficial to the administration of these

chapter 11 cases and related matters.

       47.      Many of the services performed by V&E attorneys were provided by V&E’s

Restructuring & Reorganization Group. V&E has a prominent practice in this area and enjoys a

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national reputation for its expertise in reorganizations and restructurings of financially distressed

companies. The attorneys at V&E have represented debtors in many large complex chapter 11

cases and paraprofessionals in V&E’s Restructuring & Reorganization Group have extensive

experience regarding motion preparation, docket systems, court rules and forms, and electronic

court filing procedures for several United States Bankruptcy Courts.

       48.     In addition, due to the facts and circumstances of these chapter 11 cases, attorneys

from V&E’s litigation, corporate, and tax groups were heavily involved with V&E’s representation

of the Debtors. These practice groups also enjoy a national and international reputation for their

expertise. Overall, V&E brought to these chapter 11 cases a particularly high level of skill and

knowledge, which inured to the benefit of the Debtors and all stakeholders.

B.     Reasonable and Necessary Expenses Incurred in Providing Services to the Debtors.

       49.     The time constraints imposed by the circumstances of these chapter 11 cases

required V&E attorneys and other employees to devote substantial time to perform services on

behalf of the Debtors. These services were essential to meet deadlines, respond to daily inquiries

from various creditors and other parties in interest on a timely basis and satisfy the demands of the

Debtors’ businesses, and ensure the orderly administration of their estates.

       50.     In addition, due to the location of the Debtors’ businesses, creditors, and other

parties in interest in relation to V&E’s offices, frequent telephone conferences involving numerous

parties were required. On certain occasions, the exigencies and circumstances of these chapter 11

cases required overnight delivery of documents and other materials. The disbursements for such

services are not included in V&E’s overhead for the purpose of setting billing rates and V&E has

made every effort to minimize its disbursements in these chapter 11 cases. The actual expenses

incurred in providing professional services were necessary, reasonable, and justified under the



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circumstances to serve the needs of the Debtors during these chapter 11 cases.

       51.     Among other things, V&E makes sure that all travel meals, hotel rates, and airfares

are reasonable and appropriate expenses for which to seek reimbursement. Specifically, V&E

regularly reviews its bills to ensure that the Debtors are only billed for services that were actual

and necessary and, where appropriate, prorates expenses.

                        V&E’S REQUESTED COMPENSATION
                    AND REIMBURSEMENT SHOULD BE ALLOWED

       52.     Section 331 of the Bankruptcy Code provides for compensation of professionals

and incorporates the substantive standards of section 330 of the Bankruptcy Code to govern the

Court’s award of such compensation. Section 330 of the Bankruptcy Code provides that a court

may award a professional employed under section 327 of the Bankruptcy Code “reasonable

compensation for actual necessary services rendered . . . and reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of such

compensation and reimbursement:

               In determining the amount of reasonable compensation to be awarded, the
               court should consider the nature, extent, and the value of such services,
               taking into account all relevant factors, including—

                       (a)    the time spent on such services;
                       (b)    the rates charged for such services;
                       (c)    whether the services were necessary to the
                              administration of, or beneficial at the time at which
                              the service was rendered toward the completion of, a
                              case under this title;
                       (d)    whether the services were performed within a
                              reasonable amount of time commensurate with the
                              complexity, importance, and nature of the problem,
                              issue, or task addressed; and
                       (e)    whether the compensation is reasonable based on the
                              customary compensation charged by comparably
                              skilled practitioners in cases other than cases under
                              this title.

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11 U.S.C. § 330(a)(3).

        53.     V&E respectfully submits that the services for which it seeks compensation in the

Final Fee Application were, at the time rendered, necessary for and beneficial to the Debtors and

were rendered to protect and preserve the Debtors’ estates. V&E further believes that it performed

the services for the Debtors economically, effectively, and efficiently, and the results obtained

benefited not only the Debtors, but also their estates and constituents. V&E further submits that

the compensation requested herein is reasonable in light of the nature, extent, and value of such

services to the Debtors, their estates, and all parties in interest.

        54.     During the course of these chapter 11 cases, V&E’s hourly billing rates for

attorneys ranged from $590.00 to $1,465.00.14 The hourly rates and corresponding rate structure

utilized by V&E in these chapter 11 cases are equivalent to and in some cases less than the hourly

rates and corresponding rate structure used by V&E for restructuring, workout, bankruptcy,

insolvency, and comparable matters, and similar complex corporate, securities, and litigation

matters, whether in court or otherwise, regardless of whether a fee application is required. V&E

strives to be efficient in the staffing of matters. These rates and the rate structure reflect that such

matters are typically national in scope and involve great complexity, high stakes, and severe time

pressures—all of which were present in these chapter 11 cases.

        55.     Moreover, V&E’s hourly rates are set at a level designed to compensate V&E fairly

for the work of its attorneys and paraprofessionals. Hourly rates vary with the experience and

seniority of the individuals assigned. These hourly rates are subject to periodic adjustments to

reflect economic and other conditions and are consistent with the rates charged elsewhere;



14
        As disclosed in the First V&E Declaration, V&E agreed to continue a discount of its standard or customary
        billing arrangements for this engagement, consistent with its historical fee arrangement with the Debtors.


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however, hourly rates were not adjusted during the Fee Period.

       56.     In sum, V&E respectfully submits that the professional services rendered and fees

requested by V&E on behalf of the Debtors and their estates during these chapter 11 cases were

necessary, appropriate, and reasonable given the complexity of these chapter 11 cases, the time

expended by V&E, the nature and extent of V&E’s services provided, the value of V&E’s services,

and the cost of comparable services outside of bankruptcy, all of which are relevant factors set

forth in section 330 of the Bankruptcy Code. Accordingly, V&E respectfully submits that approval

of the compensation sought herein is warranted and should be approved.

                        RESERVATION OF RIGHTS AND NOTICE

       57.     It is possible that some professional time expended or expenses incurred during the

Fee Period is not reflected in the Final Fee Application. V&E reserves the right to include such

amounts in future fee applications. V&E will provide notice of this application to (a) the U.S.

Trustee, (b) the Notice Parties (as defined in the Interim Compensation Order), and (c) those

entities which have requested service in these cases pursuant to Bankruptcy Rule 2002.

                                    NO PRIOR REQUEST

       58.     No prior application for the relief requested herein has been made to this or any

other court.




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       WHEREFORE, V&E respectfully requests that the Court enter an order, substantially in

the form attached hereto as Exhibit J: (a) awarding V&E compensation on a final basis for

professional and paraprofessional services provided during the Fee Period in the amount of

$4,479,293.00, and reimbursement of actual, reasonable and necessary expenses incurred in the

Fee Period in the amount of $36,806.36; (b) authorizing and directing the Liquidation Trust to

remit payment to V&E for such fees and expenses; and (c) granting such other relief as is

appropriate under the circumstances.

Dated: August 9, 2022
Dallas, Texas                              /s/ Matthew J. Pyeatt

                                           VINSON & ELKINS LLP

                                           Michael A. Garza (Texas Bar No. 24126797)
                                           Matthew J. Pyeatt (Texas Bar No. 24086609)
                                           Trevor G. Spears (Texas Bar No. 24106681)
                                           2001 Ross Avenue, Suite 3900
                                           Dallas, TX 75201
                                           Tel: 214.220.7700
                                           Fax: 214.999.7787
                                           mgarza@velaw.com; mpyeatt@velaw.com;
                                           tspears@velaw.com

                                           - and -

                                           David S. Meyer (admitted pro hac vice)
                                           George R. Howard (admitted pro hac vice)
                                           Lauren R. Kanzer (admitted pro hac vice)
                                           1114 Avenue of the Americas, 32nd Floor
                                           New York, NY 10036
                                           Tel: 212.237.0000
                                           Fax: 212.237.0100
                                           dmeyer@velaw.com; ghoward@velaw.com
                                           lkanzer@velaw.com
                                           ATTORNEYS FOR THE DEBTORS AND
                                           DEBTORS IN POSSESSION




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                               CERTIFICATE OF SERVICE

        I certify that on August 9, 2022, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
District of Texas.

                                             /s/ Matthew J. Pyeatt
                                            One of Counsel




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                                  Exhibit A

                              Meyer Declaration




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    Michael A. Garza (Texas Bar No. 24126797)                    David S. Meyer (admitted pro hac vice)
    Matthew J. Pyeatt (Texas Bar No. 24086609)                   George R. Howard (admitted pro hac vice)
    Trevor G. Spears (Texas Bar No. 24106681)                    Lauren R. Kanzer (admitted pro hac vice)
    VINSON & ELKINS LLP                                          VINSON & ELKINS LLP
    2001 Ross Avenue, Suite 3900                                 1114 Avenue of the Americas, 32nd Floor
    Dallas, TX 75201                                             New York, NY 10036
    Tel: 214.220.7700                                            Tel: 212.237.0000
    Fax: 214.999.7787                                            Fax: 212.237.0100
    mgarza@velaw.com; mpyeatt@velaw.com;                         dmeyer@velaw.com; ghoward@velaw.com;
    tspears@velaw.com                                            lkanzer@velaw.com
    ATTORNEYS FOR THE DEBTORS
    AND DEBTORS IN POSSESSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

     In re:                        §                                      Case No. 22-90000 (MXM)
                                   §
     ROCKALL ENERGY HOLDINGS, LLC, §                                      (Chapter 11)
     et al.,                       §
                                   §                                      (Jointly Administered)
             Debtors.1             §

                      DECLARATION OF DAVID S. MEYER
                  IN SUPPORT OF FINAL FEE APPLICATION OF
     VINSON & ELKINS LLP, ATTORNEYS FOR THE DEBTORS AND DEBTORS IN
    POSSESSION, FOR THE PERIOD FROM MARCH 9, 2022 THROUGH JUNE 10, 2022

           I, David S. Meyer, being duly sworn, state the following:

           1.       I am a partner in the law firm of Vinson & Elkins LLP (“V&E”), located at 1114

Avenue of the Americas, 32nd Floor, New York, NY 10036. I am one of the lead attorneys from

V&E working on these chapter 11 cases. I am a member in good standing of the Bar of the State

of New York. To my knowledge, there are no disciplinary proceedings pending against me.

           2.       I have read the foregoing fee application of V&E, attorneys for the Debtors, for the


1
           The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
           numbers are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall
           Agent Corp. (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR,
           LLC (4136), Rockall Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA,
           LLC (4270), Rockall Laurel, LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740),
           Rockall ND, LLC (9311), Rockall Pine Prairie, LLC (5799), White Marlin Investment Company, LLC
           (9987), and White Marlin Midstream, LLC (1466). The location of the Debtors’ U.S. corporate headquarters
           and the Debtors’ service address is: 5005 LBJ Freeway, Suite 700, Dallas, TX 75244.



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Fee Period (the “ Final Fee Application”). To the best of my knowledge, the statements contained

in the Final Fee Application are true and correct. In addition, to the best of my knowledge,

information and belief, I believe that the Final Fee Application complies with rule 2016-(c) and

Appendix F of the N.D. Tex. L.B.R. and Exhibit H of the Complex Chapter 11 Procedures.2

       3.      In connection therewith, I hereby certify that:

               a.      after reasonable inquiry, I believe that the fees and disbursements sought in
                       the Final Fee Application are permissible under the relevant rules, court
                       orders, and Bankruptcy Code provisions;
               b.      the fees and disbursements sought in the Final Fee Application are billed at
                       rates customarily employed by V&E and generally accepted by V&E’s
                       clients, and V&E did not vary its hourly rates based on the geographic
                       location of the Debtors’ cases;
               c.      V&E did not increase its hourly rates from those disclosed in the Retention
                       Application during these chapter 11 cases;
               d.      in providing a reimbursable expense, V&E does not make a profit on that
                       expense, whether the service is performed by V&E in-house or through a
                       third party;
               e.      in accordance with Rule 2016(a) of the Federal Rules of Bankruptcy
                       Procedure and 11 U.S.C. § 504, no agreement or understanding exists
                       between V&E and any other person for the sharing of compensation to be
                       received in connection with the above cases except as authorized pursuant
                       to the Bankruptcy Code, Bankruptcy Rules, and the N.D. Tex. L.B.R.; and
               f.      all services for which compensation is sought were professional services on
                       behalf of the Debtors and not on behalf of any other person.




2
       Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Fee
       Application or Plan (as applicable).


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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge, information, and belief.

Dated: August 9, 2022
New York, New York                                   VINSON & ELKINS LLP

                                             By:     /s/ David S. Meyer
                                                     David S. Meyer (admitted pro hac vice)
                                                     Partner, Vinson & Elkins LLP
                                                     1114 Avenue of the Americas, 32nd Floor
                                                     New York, NY 10036
                                                     Tel: 212.237.0000
                                                     Fax: 212.237.0100
                                                     dmeyer@velaw.com




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                                  Exhibit B

                              Engagement Letter




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W. Creighton Smith crsmith@velaw.com
Tel +1.713.758.3278 Fax +1.713.615.5045




December 14, 2021

Confidential

Mr. Lewis Gillies
President and CEO
Rockall Energy Holdings, LLC
5005 Lyndon B Johnson Fwy, Suite 700
Dallas, TX 75244

Re:       Rockall Energy Holdings, LLC Engagement Letter

Dear Mr. Gillies:

        We appreciate the opportunity to represent you in this matter. This letter and the attached
Additional Terms of Engagement (“Additional Terms”) set forth the terms of our engagement, and shall
be effective as of November 18, 2021.

Client

         Our only clients for this engagement are Rockall Energy Holdings, LLC and each of its direct and
indirect subsidiaries (“Rockall” or “you”). We are not representing anyone else. Our duties and
responsibilities run to you and not to any other persons, constituents, or entities, including parents,
affiliates, portfolio companies, joint ventures, successors, employees, directors, owners, or other
stakeholders, even if you depend on them financially, have operations in common with them, control them,
or are controlled by them.

       No client may be added to this engagement without our express written agreement, and this
engagement will not create an attorney-client or a de facto or implied attorney-client relationship with any
other person or entity.

Scope of Engagement

       You have asked us to represent you in a potential restructuring of Rockall’s capital structure, which
may include the potential implementation and consummation of a restructuring pursuant to a case filed
under chapter 11 of the United States Bankruptcy Code. If you engage us for other matters, we will
confirm the scope of that work separately and otherwise apply the terms of this agreement.



Vinson & Elkins LLP Attorneys at Law                          1001 Fannin Street, Suite 2500
Austin Dallas Dubai Houston London Los Angeles New York       Houston, TX 77002-6760
Richmond Riyadh San Francisco Tokyo Washington                Tel +1.713.758.2222 Fax +1.713.758.2346 velaw.com


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                                                                   Mr. Lewis Gillies December 14, 2021 Page 2




Fees and Other Charges

        Our fees will be based on the time our attorneys and other professionals devote to the matter. Our
billing rates vary according to the experience of the individuals and the nature and location of the work.
The billing rates for this matter will be consistent with the billing rates applicable to other transactional
matters on which we are currently assisting you. These rates are subject to adjustment solely to account
for associate step increases and promotions to a new status within the Firm (such as from associate to
counsel or partners) effective on or after December 31, 2021. We will bill you, and you will pay us, in
United States dollars, absent an agreement otherwise.

       In addition, we may bill for expenses and other charges incurred in this matter, such as travel,
couriers, photocopying, certain overtime costs, and computerized research. We may charge for those
items whether that work is performed by outside vendors or in-house.

Retainers and Billing

         As we have discussed, to engage the Firm for this matter, you agree to pay us an advance payment
retainer for legal services and expenses of $350,000.00. This initial advance payment is made as an
inducement for the Firm to make itself available and to provide legal services to you. The advance
payment shall also secure payment of all billed and unbilled fees and expenses for the work we perform
in this engagement. Upon request, you agree to pay us additional advance payments in amounts based on
the Firm’s estimate of the anticipated work levels on a bi-weekly basis or a shorter interval. For purposes
of this engagement, we will refer to the initial advance payment and any additional advance retainer
amounts as the “Retainer.” The amount of the Retainer does not set a minimum or maximum fee.

        We will send you statements showing our fees and expenses. The frequency of those statements
is at our discretion, but will be issued at least weekly and may be at a shorter interval. You agree that we
may reduce the Retainer by the amount of fees and expenses shown on those statements on a bi-weekly
basis, and, with prior notice, on a shorter interval. You agree to promptly pay as an additional Retainer
an amount equal to the fees and expenses shown on the statement. You further agree upon our sending of
a statement to you of our fees and expenses that we may reduce the Retainer by all fees and expenses
before the filing of a voluntary bankruptcy petition by you or upon the filing of any involuntary petition
by a third party. Further, prior to the filing of any voluntary bankruptcy petition, you will pay
contemporaneously as an additional advance payment retainer the amount of such fees and expenses,
unless we may agree otherwise.

        The Retainer may be used for the fees and expenses covered by this engagement letter, and any
fees and expenses in other matters for which we are providing legal services to you, and you agree to pay
all fees and expenses before the filing of a voluntary bankruptcy petition by you. Upon termination of
this engagement, we will provide you with a refund of any amount of Retainer that has not been used.




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                           261-8
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        In the event it becomes necessary for us to commence litigation or proceedings, or we are required
to participate in any litigation or proceedings, to collect or defend our fees and expenses under this
engagement letter, including fee applications negotiated, presented, litigated, defended, or appealed in
connection with any bankruptcy case you may file or have filed against you, and we substantially prevail
in such litigation or proceedings, any and all costs and expenses, including reasonable attorneys' fees,
incurred by us in connection with such litigation or proceedings, whether via time of our attorneys
internally recorded, or the engagement of outside counsel, shall be recoverable by us from you, and we
shall have the benefit of any applicable state or federal law that permits the recovery of such fees and
expenses.

Conflicts of Interests: Other Clients and Consent to Adverse Representation

        There are three conflict issues to consider at the beginning of a new engagement: whether there
are existing conflicts that require your consent; how we will respond if a conflict later emerges concerning
this matter; and how we will treat conflicts regarding other matters in the future.

        First, as to existing conflicts concerning this matter, we have run a conflicts check on the names
of the people and entities you have identified for us. That check indicates we currently represent Goldman
Sachs Group, Inc. and its affiliates (“Goldman Sachs”) in a variety of other matters. We have not
represented (and will not represent) Goldman Sachs in connection with the credit facility extended to you.
We do not believe that our work for Goldman Sachs will impair or materially limit our ability to represent
you here. To the contrary, we are confident we will be able to competently and diligently represent you.
So far as we can determine, the factual and legal issues likely to arise in this matter appear to be unrelated
to the work we are doing or are likely to do for Goldman Sachs. Further, in representing you, we will take
appropriate steps to protect your confidential information. To proceed with this matter, we need your
agreement that we may continue to represent Goldman Sachs in current and future matters, and that you
waive any conflicts of interest that exist or might arise from such matters. If you learn of any other person
or entity that might become involved in this matter, please let us know right away so that we can check
those additional names for conflicts.

         Second, it is possible that a conflict could emerge during the course of this matter. For instance,
depending on the circumstances, a conflict might arise if another one of our clients (for example, a lender),
represented by another law firm, becomes adverse to you here. Should that happen, we will take
appropriate steps to protect your confidential information, and you consent to our representation of that
client in other unrelated matters.

         Third, during the time that we are representing you, situations or issues may arise between you
and other clients of the Firm in other matters. As you know, we are a large firm and represent many
clients, especially in the energy, financial services, private equity, and technology fields. Given the scope
of our business and client relationships, it is possible that some of our present or future clients may be



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your competitors or otherwise have interests that differ from yours. This is not an exclusive agreement,
and you are free to retain any other counsel of your choosing. But by retaining us you agree that we are
free to represent other clients whose interests are, or may be, materially and directly adverse to yours,
including in litigation against you, in any matter unless (i) the matter is substantially related to our
representation of you, or (ii) there is a significant risk that the representation of the other client would
materially limit our ability to represent you. You waive any conflict of interest that might arise from those
matters. For purposes of this agreement, two matters are substantially related if their facts are so closely
related that a genuine threat exists that factual confidential information revealed by the client in one matter
will be divulged to that client’s adversary in the other. We would be materially limited if our
representation of another client, or our relationship with someone else, would materially affect our ability
to represent you competently and diligently.

       Also, you agree that, in representing other clients in matters not substantially related to our
representation of you, we may seek your testimony as a non-party witness or obtain other evidence from
you by subpoena or otherwise.

Conclusion of the Matter

        The attorney-client relationship created here will end when we have completed the legal services
covered by this engagement letter. If we perform no work on this matter for a period of ninety days, we
will consider the matter concluded unless we agree otherwise in writing. If we have no other open matters
for you at that time, our attorney-client relationship will be over.

        Prior to that, of course, you may end this engagement at any time for any reason by informing us
in writing. Similarly, we may stop representing you at any time for any reason (including non-payment
of fees or due to a conflict of interest), provided we comply with the applicable rules of professional
conduct. If we no longer represent you in this matter, you agree to take all steps necessary to release us
from any further obligation to represent you, including signing any documents necessary to complete our
withdrawal. If you end this engagement, or if we withdraw, you will pay us any undisputed outstanding
fees and other charges, and we will take reasonable steps to assist you in transferring the matter to another
law firm.

Consultation and Other Considerations

      We encourage Rockall to consult with other counsel of its choosing regarding the terms of our
engagement, particularly those regarding the scope of this engagement and conflict of interest issues.

       If you or anyone else provides us with outside counsel guidelines, electronic billing requirements,
or other similar documents, we will abide by them to the extent practicable. However, nothing in those
guidelines may be read to impose a higher standard of care with respect to our legal services than that




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existing under applicable law, change the conflicts of interest arrangement agreed to in this letter, require
us to provide any contractual indemnity to you or anyone else, or expand our obligations as attorneys
under the applicable rules of professional conduct. This agreement may not be modified in any material
respect by such guidelines without a separate writing signed by both of us that refers to this agreement.

        This letter and the Additional Terms set forth the entire agreement between us. If they correctly
reflect your understanding of the terms of our representation, please sign below and return a copy to me.
If you ask us to begin work before you return the signed letter, or if we do not hear from you within seven
days, we will consider that you have agreed to the terms of this letter and the Additional Terms.

        We look forward to working with you. Please contact me if you have any questions.



                                              Sincerely,



                                              W. Creighton Smith




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     22-30500-swe7 Doc
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AGREED TO AND ACCEPTED:

Rockall Energy Holdings, LLC., on behalf of itself
and its direct and indirect subsidiaries

By: _________________________________
David Mirkin
Name

SVP & CFO
Title




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                                  VINSON & ELKINS L.L.P.

                                Additional Terms of Engagement

        These additional terms are an integral part of our agreement with you.

                                    The Scope of Our Work

        We provide only legal services. We do not provide business, investment, insurance,
underwriting, translation, accounting, financial, or technical services or advice, and you may not
rely on us for such advice. Similarly, we do not make business decisions for you, and we do not
investigate the character or credit of persons with whom you may be dealing.

         Unless specifically included under “Scope of Engagement” in the attached engagement
letter, this engagement does not include advice about (i) your disclosure obligations concerning
the matter under any applicable law or regulation, including the federal securities laws or (ii) the
tax consequences concerning the matter. We also are not responsible for review of your insurance
policies to determine the possibility of coverage for any claim asserted in this matter or for
notification of your insurance carriers about the matter. We encourage you to address those matters
with other advisers or professionals.

        After this matter has concluded, changes in your circumstances or the applicable laws could
affect your future rights and obligations. Unless you engage us to do so, we have no obligation to
inform you about future legal developments or your future rights and obligations.

                       Legal Notices to Clients in Certain Jurisdictions
        For New York engagements, New York law requires us to provide you with notice of
certain rights in connection with this engagement letter. If a dispute arises between us relating to
our fees under this engagement letter, you may have the right to arbitration of the dispute pursuant
to Part 137 of the Rules of the Chief Administrative Judge of the Courts of the State of New York.
We will send you a copy of those rules upon request. Similarly, certain other jurisdictions may
permit arbitration of fees disputes under some circumstances. Also, Texas law requires that we
inform clients of the existence of a grievance process. The State Bar of Texas investigates and
prosecutes professional misconduct committed by Texas attorneys. Although not every complaint
against or dispute with a lawyer involves professional misconduct, the State Bar’s Office of Chief
Disciplinary Counsel will provide you with information about how to file a complaint. Please call
1-800-932-1900 for more information. Also, the Supreme Court of Texas has promulgated The
Texas Lawyer’s Creed - A Mandate for Professionalism, which states that an attorney should
inform a client of the creed’s contents when undertaking a representation. We will send you a
copy of the creed upon request. It is also available online at the Texas Bar website,
https://www.texasbar.com.




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                                Cooperation and No Guarantees

        It is important that you cooperate fully with us and tell us all information and developments
relating to this matter, and we may rely on that information without independently verifying it.
We will try to achieve a result in this matter that is satisfactory to you, but we make no promises
or guarantees concerning the outcome. For example, we cannot assure you that negotiations will
be successful, a proposed transaction will be completed, or the outcome of this matter will be
favorable to you. Outcomes in litigation and arbitration are especially hard to predict because of
many factors that are beyond the control of clients or counsel. Any statements we make concerning
possible outcomes of this matter, the legal significance of possible outcomes, or any other legal
matters reflect our professional judgment at that time, but they are not guarantees. Those
statements necessarily are limited by our knowledge of the facts and are based on the state of the
law at the time they are made.

                                Billing Arrangements and Terms

         You agree to pay our invoices in full, and we may request an advance, retainer, or other
payment if you fall behind in your payment obligations or if the scope of the engagement changes.
You also will be responsible for paying any taxes required by law (e.g., VAT) directly resulting
from this matter. If you are required to deduct or withhold any taxes from payments due the Firm,
or if the Firm or its lawyers are required to pay any taxes directly to any taxing authority, you will
pay us the additional amounts necessary to compensate the Firm for the withholding or additional
cost so that, after the withholding or payment of the taxes, the Firm receives the full amount due
under its invoices.
        In appropriate matters, as an accommodation to you, we may send our invoices to third-
party payors (e.g., an insurer, indemnitor, litigation funder, or borrower). But, if for any reason a
third-party payor does not timely pay our invoices, you will remain fully responsible for paying
them. Likewise, even when a third party pays our fees, we owe our professional obligations to
you, not to that third party.
       Some clients ask us to invoice them using e-billing software or third-party e-billing
services. We will do so if it can be done in a way that is technologically practical and consistent
with our internal security and IT procedures. If you ask us to use such a vendor, we will assume
that you have negotiated appropriate confidentiality protections and limits on the vendor’s use of
the information, and that those terms satisfy our confidentiality obligations to you and any
cybersecurity guidelines you might send us.

                           Effect of Merger or Other Reorganization

       If you acquire, are acquired by, merge, or affiliate with another company, let us know right
away so we can decide whether we may continue as your attorneys in this matter, or if we need to
withdraw due to conflicts or other considerations.




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                                   Representing Other Attorneys

        We represent attorneys and law firms in professional liability, business, tax, and other
matters. This means that we may represent in another matter an attorney or law firm who opposes
your interests in this matter. This will not affect our ability to represent your interests in this matter
competently and diligently, nor would we pull our punches for one client to benefit another.

                             Personal Investments by Firm Attorneys
        The Firm does not separately track, for conflict of interest purposes, the personal
investments made by our attorneys. Many own shares or other interests in companies, mutual
funds, various investment vehicles, or real property. Also, some of the Firm’s partners may invest
together in private equity funds or other similar investment vehicles. In particular, the Firm has
organized an investment partnership (the “Fund”) — separate from the Firm — in which some
partners participate. The Fund sometimes participates in investment opportunities presented by
our clients or others. Given the nature of this Firm’s practice, at any given time, the Fund (directly
or indirectly) might have investments in energy, financial services, private equity, and technology
companies or other opportunities. In general, we do not believe that these investments are material
either to (i) the entities in which the attorneys or the Fund invest or (ii) the attorneys who have
invested. However, if you are concerned about investments in a particular entity, please ask us to
canvass our attorneys about any investments in that entity.

                      Law Firm Privilege and Possible Conflict of Interest

       While representing you, circumstances may arise where we believe it is appropriate to
consult with the Firm’s General Counsel’s Office (or with other Firm attorneys working with our
General Counsel’s Office) on this matter. We will do this at our own expense. To the extent that
we are addressing our duties and obligations to you or others, a conflict of interest might arise
between you and the Firm. You agree that such consultations are privileged and confidential
communications between the Firm and its counsel and therefore are protected from disclosure to
you. You also agree to waive any claim of conflict of interest that exists or might arise out of those
consultations.

                Confidentiality and Disclosure of Attorney-Client Relationship
       We will use your confidential information only in connection with representing you. We
will not disclose your confidential information, use it to your disadvantage, or use it to the
advantage of other clients. Likewise, we will not share with you or use for your benefit
confidential information that we receive from other clients. You agree, however, that we may
disclose the existence of this attorney-client relationship and a general description of the nature of
the engagement for the limited purpose of obtaining informed consent or a conflicts waiver from
another client.
        In Firm brochures and other materials or information about our practice, we may identify
you as a Firm client, indicate the general nature of our representation of you, and provide examples



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of engagements handled on your behalf (including this matter). If you do not wish to have your
name mentioned in those materials, please inform us in writing.

                Cybersecurity, Secure Electronic Communications, and Privacy
        We have ISO 27001 certification for our U.S. and U.K. information security management
systems that handle Client Materials (defined below). As part of our information security program,
we take steps to safeguard data that are entrusted to us, including personal data, as defined by the
EU General Data Protection Regulation 679/2016 (“GDPR”) concerning individuals located in the
European Union. Our information security program implements technical and organizational
measures designed to protect personal data against unlawful, unauthorized, or accidental loss,
disclosure, destruction, access, or use. Please do not send us any personal data regarding
individuals that is protected by the GDPR, the Health Insurance Portability and Accountability Act
(“HIPAA”), or other similar statutes unless you (i) have consent from the data subjects or some
other lawful basis to provide their personal data to us, (ii) agree that we may maintain and use that
data to represent you, and (iii) agree that we need to use that personal data to carry out our
representation of you. If you share with us any personal data that is subject to the GDPR, you and
the Firm will act as independent data controllers with our own responsibilities to comply with any
applicable obligations of the GDPR or national implementing legislation. While representing you
in this matter, if you or others provide us with “special categories of data” or other sensitive
personal data, as defined by the GDPR, please inform us in writing so that we may consider
whether to take any additional steps to safeguard the information.

                  Local Counsel, Outside Contractors, and Service Providers
       If you need local or special counsel in this matter, you will be responsible for retaining and
compensating them. We are not responsible for the quality of other counsel’s work even if we
provide you with recommendations, instruct them directly, or coordinate with them.
        We sometimes use outside contractors and service providers in some areas of our practice
or operations. They include vendors, eDiscovery and data-hosting providers, temporary or
contract attorneys and paralegals, consultants, advisors, experts, investigators, court reporters,
translators, registered agents, local counsel, and other service providers. In performing their
services, those people may have access to confidential information, and we will take appropriate
steps to preserve the confidentiality of any such information. You consent to our allowing outside
contractors and service providers access to such information as described.
        Absent special arrangements, you are responsible for paying the outside contractors and
service providers used on this matter. We will instruct them to bill you directly for their services.
Those contractors and service providers are deemed to be engaged by you even if their bills are
addressed to or reviewed by us. If they send bills or invoices to us, we may re-direct them to you
for payment. In our discretion, we may pay invoices for small amounts and include those sums in
our invoices to you, although we will seldom do so for sums greater than $1,000.




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                       Compulsory Process and Post-Engagement Tasks
        After this matter ends, you might ask us, or we might be compelled, to undertake certain
post-engagement tasks relating to this matter, such as responding and objecting to subpoenas,
searching for and producing documents, preparing for testimony, performing transition work, and
other similar activities. In those situations, we will promptly notify and consult with you unless
we are legally prohibited from doing so, and you agree to compensate us for the fees and expenses
we incur, including payment for the time spent by our attorneys and other timekeepers calculated
at our then applicable hourly rates. If we receive a subpoena, we will inform you, if legally
permitted to do so. Pending instruction from you, we will attempt to limit the subpoena on any
reasonable ground and will object to the subpoena and assert all reasonable arguments against
disclosure. If we are ordered by a court to produce documents or other information or are otherwise
required to so do by law, you agree that we may produce the documents or other information and
that we are not required to file an appeal from that judicial order. Nothing in this engagement
letter obligates our attorneys or personnel to submit to interviews or to provide testimony.
Performing post-engagement tasks will not constitute providing legal services to you, and it will
not create or revive an attorney-client relationship between us.

                             Document Retention and Destruction

         While representing you, we likely will receive or create documents and materials such as
correspondence, memoranda, pleadings, exhibits, transcripts, physical evidence, various
agreements, transaction documents, and other documents and materials directly and substantively
related to the representation (collectively, “Client Materials”). We will keep the Client Materials
in files we will create for this matter. You agree that we may maintain some or all of those Client
Materials solely in electronic form and that the metadata associated with those electronic
documents are not Client Materials.
        We also may create and maintain our own materials related to this matter which will belong
to us (“Firm Materials”). Firm Materials are prepared for our internal use and include, for example,
Firm administrative records, conflicts and new business intake materials and reports, time and
billing reports, personnel and staffing materials, credit, expense, and accounting records,
administrative and routine internal documents, notes, emails, and drafts not distributed outside the
Firm, form files or templates (even if referred to in the course of this matter), and other materials
and internal communications not directly and substantially part of the representation.
        After the end of this matter, upon your request and assuming our fees and charges have
been paid, we will send you the Client Materials at your expense. We reserve the right to retain a
copy of the Client Materials. If you ask us to send you paper copies of documents that we maintain
solely in electronic form, scan paper documents into an electronic format, or convert electronic
documents from one electronic format into another, you agree to pay the associated costs.
        If you do not request the Client Materials when this matter ends, we will keep them for a
reasonable period of time (currently seven years for most documents) after the end of the matter.
In so doing, we will follow our own records retention policy, not yours. Retaining those or other
materials does not constitute the performance of legal services for you and does not create or revive


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an attorney-client relationship between us. After the applicable retention period, we may destroy
the Client Materials without any additional notice to you.




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                                   Exhibit C

                            Budget and Staffing Plan




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                      ROCKALL ENERGY HOLDINGS, LLC, ET AL.1
            VINSON & ELKINS LLP PROJECTED BUDGET AND STAFFING PLAN2
                                                      BUDGET
                                                                           TOTAL HOURS            TOTAL FEES
    CODE                          DESCRIPTION
                                                                            ESTIMATE               ESTIMATE
      1       Asset Analysis and Recovery                                        10                   $10,134
      2       Asset Sales                                                       400                  $405,340
      3       Assumption and Rejection of Leases and Contracts                   50                   $50,668
      4       Avoidance Action Analysis                                          10                   $10,134
      5       Budgeting (Case)                                                    5                    $5,067
      6       Business Operations                                               100                  $101,335
      7       Case Administration                                               200                  $202,670
      8       Claims Administration and Objections                               30                   $30,401
      9       Corporate Governance and Board Matters                             50                   $50,668
      10      Employee Benefits and Compensation                                 50                   $50,668
      11      Employment and Fee Applications                                    80                   $81,068
      12      Employment and Fee Application Objections                          10                   $10,134
      13      Financing and Cash Collateral                                     130                  $131,736
      14      Hearings                                                           80                   $81,068
      15      Litigation (Contested Matters and Adversary Proceedings)          215                  $217,870
      16      Meetings and Communications with Creditors                         75                   $76,001
      17      Non-Working Travel                                                 10                   $10,134
      18      Plan, Disclosure Statement, and Confirmation                      300                  $304,005
      19      Real Estate                                                         0                      $0
      20      Relief from Stay and Adequate Protection                           10                   $10,134
      21      Reporting                                                          70                   $70,935
      22      Tax                                                                75                   $76,001
      23      Valuation                                                          10                   $10,134
    Total                                                                      1,970                $1,996,300

                                                STAFFING PLAN

      CATEGORY OF                 NUMBER OF TIMEKEEPERS EXPECTED TO WORK                             AVERAGE
      TIMEKEEPER                           ON THE MATTER DURING                                      HOURLY
                                            THE FIRST FEE PERIOD                                       RATE
             Partners                                11                                               $1,467.41
             Counsel                                  2                                               $1,037.25
            Associates                               15                                                $854.40
            Paralegals                                2                                                $346.50




1
            “Rockall Energy Holdings, LLC” includes Arrow Rock Energy, LLC, Petro Harvester Operating Company,
            LLC, Rockall Agent Corp., Rockall Energy Holdings, LLC, Rockall Energy, LLC, Rockall EOR, LLC,
            Rockall Exploration Company, LLC, Rockall Intermediate, Inc., Rockall LA, LLC, Rockall Laurel, LLC,
            Rockall Midstream, LLC, Rockall MS, LLC, Rockall ND, LLC, Rockall Pine Prairie, LLC, White Marlin
            Investment Company, LLC, and White Marlin Midstream, LLC.
2
            The projections contained herein assume services rendered and fees earned from March 9, 2022 through June
            7, 2022. The information provided herein is a summary of projected hours to be expended and fees earned
            by Vinson & Elkins LLP in these chapter 11 cases based on certain assumptions, projections, and estimates,
            and is for informational purposes only.


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                                                            REVISED BUDGET & STAFFING PLAN1
    Rockall Energy Holdings, LLC et al.
    V&E Budget & Staffing Plan2
    Confidential
                                                                                       Original Budget/Staffing Plan                  Updated Budget/Staffing Plan
                                                                                      (March 9, 2022 to June 7, 2022)                (March 9, 2022 to June 7, 2022)
      CODE                              DESCRIPTION
                                                                                    ESTIMATED             ESTIMATED                ESTIMATED             ESTIMATED
                                                                                      HOURS                  FEES                    HOURS                  FEES
          1        Asset Analysis and Recovery                                             10                       10,134                10                        8,227
          2        Asset Sales                                                            400                      405,340               575                      473,064
          3        Assumption and Rejection of Leases and Contracts                        50                       50,668               120                       98,726
          4        Avoidance Action Analysis                                               10                       10,134                 8                        6,582
          5        Budgeting (Case)                                                        5                         5,067                 5                        4,114
          6        Business Operations                                                    100                      101,335               250                      205,680
          7        Case Administration                                                    200                      202,670               250                      205,680
          8        Claims Administration and Objections                                    30                       30,401                 5                        4,114
          9        Corporate Governance and Board Matters                                  50                       50,668               125                      102,840
        10         Employee Benefits and Compensation                                      50                       50,668               360                      296,179
        11         Employment and Fee Applications                                         80                       81,068               140                      115,181
        12         Employment and Fee Application Objections                               10                       10,134               350                      287,952
        13         Financing and Cash Collateral                                          130                      131,736               625                      514,200
        14         Hearings                                                                80                       81,068               135                      111,067
        15         Litigation (Contested Matters and Adversary Proceedings)               215                      217,870              1175                      966,696
        16         Meetings and Communications with Creditors                              75                       76,001               235                      193,339
        17         Non-Working Travel                                                      10                       10,134                15                       12,341
        18         Plan, Disclosure Statement, and Confirmation                           300                      304,005               475                      390,792
        19         Real Estate                                                             0                             0                 0                            0
        20         Relief from Stay and Adequate Protection                                10                       10,134                20                       16,454
        21         Reporting                                                               70                       70,935               165                      135,749
        22         Tax                                                                     75                       76,001                80                       65,818
        23         Valuation                                                               10                       10,134                 0                            0
    Total                                                                                1,970                  $1,996,300              5,123                  $4,214,795



1
           V&E shared this revised budget and staffing plan with the CRO and Secured Parties and their advisors on May 17, 2022, which reflected a modified
           budget that accounted for, among other things, the significant litigation efforts undertaken with respect to the DIP financing, V&E retention application,
           and key employee incentive program, as a result of objections from the Committee.
2
           The estimates of hours and fees in this budget and staffing plan reflect estimates for each billing sequence and remain subject to V&E's review of its time
           detail. Nothing herein shall be deemed a cap or a limitation on the amounts for which V&E may seek allowance or payment.
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                                   Exhibit D

                           Voluntary Rate Disclosures




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                                       Voluntary Rate Disclosures

   The blended hourly rate for all V&E domestic timekeepers (including both professionals and
    paraprofessionals) who billed to non-bankruptcy matters1 during the period beginning on
    March 9, 2022, and ending on June 10, 2022 (the “Comparable Period”), was, in the aggregate,
    approximately $835.24 per hour (the “Non-Bankruptcy Blended Hourly Rate”).2
   The blended hourly rate for all V&E timekeepers (including both professionals and
    paraprofessionals) who billed to the Debtors during the Fee Period was approximately $842.27
    per hour.3
   A detailed comparison of these rates is as follows:
    CATEGORY OF             BLENDED HOURLY RATE FOR THE                     NON-BANKRUPTCY BLENDED
    TIMEKEEPER                       FEE PERIOD                                   HOURLY RATE
       Partners                        $1,164.40                                    $1,195.13
       Counsel                          $942.28                                      $906.24
      Associates                        $730.39                                      $687.18
      Paralegals                        $310.00                                      $295.61
        Total                           $842.27                                      $835.24




1
       It is the nature of V&E’s practice that certain non-bankruptcy engagements (the “Non-Bankruptcy Matters”)
       require the advice and counsel of professionals and paraprofessionals who work primarily within V&E’s
       Restructuring Group. Accordingly, Non-Bankruptcy Matters consist of matters for which V&E domestic
       timekeepers represented a client in a matter other than an in-court bankruptcy proceeding. Moreover, the
       Non-Bankruptcy Matters include time billed by V&E domestic timekeepers who work primarily within
       V&E’s Restructuring Group.
2
       V&E calculated the blended rate for Non-Bankruptcy Matters by dividing the total dollar amount billed by
       V&E domestic timekeepers to the Non-Bankruptcy Matters during the Comparable Period by the total
       number of hours billed by V&E domestic timekeepers to the Non-Bankruptcy Matters during the Comparable
       Period.
3
       V&E calculated the blended rate for timekeepers who billed to the Debtors by dividing the total dollar amount
       billed by such timekeepers during the Fee Period (inclusive of the discount provided to the Debtors) by the
       total number of hours billed by such timekeepers during the Fee Period.


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                                    Exhibit E

                 Summary of Total Fees Incurred and Hours Billed




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                               Summary of Total Fees Incurred and Hours Billed

                                       Year                                                      Total
                                                                                    Hourly                     Total
      Attorney           Position    Admitted             Department                             Billed
                                                                                  Billing Rate              Compensation
                                      to Bar                                                     Hours
                                                           Partner
Guy Gribov                Partner      2009     Finance                              $1,095.00       42.1       $46,099.50
Matthew T. Dobbins        Partner      2011     Complex Commercial Litigation        $1,055.00       18.7       $19,728.50
George R. Howard          Partner      2008     Restructuring & Reorganization       $1,285.00      147.3      $189,280.50
Lauren R. Kanzer          Partner      2014     Restructuring & Reorganization        $975.00       465.2      $453,570.00
Bryan E. Loocke           Partner      2002     Energy Transactions / Projects       $1,285.00      115.8      $148,803.00
John E. Lynch             Partner      1986     Tax                                  $1,465.00       33.5       $49,077.50
Rebecca L. Matthews       Partner      2005     Complex Commercial Litigation        $1,155.00      308.6      $356,433.00
David S. Meyer            Partner      2008     Restructuring & Reorganization       $1,325.00      174.7      $231,477.50
Matthew W. Moran          Partner      1997     Complex Commercial Litigation        $1,285.00      162.7      $209,069.50
Wendy T. Salinas          Partner      2001     Tax                                  $1,325.00       32.1       $42,532.50
Shane M. Tucker           Partner      1999     ECB                                  $1,325.00        8.4       $11,130.00
                                                           Counsel
Jeremy M. Reichman       Counsel       2012     Complex Commercial Litigation          $925.00       26.1       $24,142.50
Joclynn E. Townsend      Counsel       2012     Energy Transactions / Projects         $945.00      165.6      $156,492.00
                                                          Associate
Brian G. Broussard       Associate     2020     Energy Transactions / Projects         $685.00       10.4        $7,124.00
Brandon M. Brunet        Associate     2019     M&A / Capital Markets                  $685.00       24.3       $16,645.50
Taylor Daily             Associate     2020     Finance                                $590.00       85.3       $50,327.00
Yong J. Eoh              Associate     2015     M&A / Capital Markets                  $860.00        5.1        $4,386.00
Michael A. Garza         Associate     2016     Restructuring & Reorganization         $860.00      372.7      $320,522.00
Jeremy R. Gonzalez       Associate     2018     Complex Commercial Litigation          $705.00      107.1       $75,505.50
Michael C. Lee           Associate     2018     Complex Commercial Litigation          $705.00        9.1        $6,415.50
Cesar Leyva              Associate     2015     Energy Transactions / Projects         $860.00       51.6       $44,376.00
Katherine D. Grissel     Associate     2007     Restructuring & Reorganization         $925.00       94.1       $87,042.50
                                       2017
John Larbalestier        Associate               Energy Transactions / Projects        $830.00       70.8        $58,764.00
                                     (Australia)
Elias M. Medina          Associate     2021      Restructuring & Reorganization       $590.00       395.9      $233,581.00
Arthur Munoz             Associate     2018      Finance                              $705.00        80.6       $56,823.00
Zachary J. Parker        Associate     2019      Energy Transactions / Projects       $685.00        34.9       $23,906.50
Matthew J. Pyeatt        Associate     2014      Restructuring & Reorganization       $910.00       510.6      $464,646.00
Emily Rhine              Associate     2020      Complex Commercial Litigation        $590.00       163.8       $96,642.00
Trevor G. Spears         Associate     2017      Restructuring & Reorganization       $790.00       293.5      $231,865.00
Melissa J. Spohn         Associate     2006      ECB                                 $1,015.00       21.7       $22,025.50
Eli S. Sterbcow          Associate     2020      Complex Commercial Litigation        $590.00       252.9      $149,211.00
Kiran Vakamudi           Associate     2017      Restructuring & Reorganization       $790.00       129.9      $102,621.00
John C. Wimberly         Associate     2016      Tax                                  $890.00        59.5       $52,955.00
Benjamin Zeter           Associate     2019      Energy Transactions / Projects       $685.00       114.6       $78,501.00
Sara Zoglman             Associate     2020      Restructuring & Reorganization       $590.00       380.1      $224,259.00
                                               Law School Graduate / Law Clerk
Ida Ayalew              Law Clerk      N/A       Restructuring & Reorganization        $540.00      109.5        $59,130.00
Totals for Attorneys                                                                              5,078.8     $4,405,110.00
                                                          Paralegal
Elizabeth E. Neuman      Paralegal     N/A      Restructuring & Reorganization         $310.00      239.3        $74,183.00
Totals for Paraprofessionals                                                                        239.3        $74,183.00
Grand Total                                                                                       5,318.1     $4,479,293.00




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                                  Exhibit F

                   Summary of Actual and Necessary Expenses




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                            Summary of Actual and Necessary Expenses

                                 Expense Categories                    Amount
 Business Meals                                                            $1,156.73
 Courier Services                                                            $112.91
 Filing Fees                                                              $29,605.62
 Outside Professional Services                                             $1,320.72
 Travel                                                                    $4,610.38
 Expenses Total                                                           $36,806.36




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                                  Exhibit G

                         Summary of Fees by Submatter




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                                        Summary of Fees by Submatter

Submatter                                                                      Total Billed      Total Fees
                                 Submatter Description
 Number                                                                          Hours           Requested
1           Asset Analysis and Recovery                                                      0            $0.00
2           Asset Sales                                                                 997.8      $892,561.50
3           Assumption and Rejection of Leases and Contracts                            125.8        $94,483.50
4           Avoidance Action Analysis                                                      3.2        $2,755.00
5           Budgeting (Case)                                                               9.4       $11,748.50
6           Business Operations                                                         201.5      $167,253.50
7           Case Administration                                                         434.9      $243,829.50
8           Claims Administration and Objections                                           7.4        $5,502.50
9           Corporate Governance and Board Matters                                        124      $106,781.50
10          Employee Benefits and Compensation                                          201.1      $161,316.50
11          Employment and Fee Applications                                             242.3      $189,480.00
12          Employment and Fee Application Objections                                   136.9      $123,771.50
13          Financing and Cash Collateral                                               537.2      $468,900.00
14          Hearings                                                                     86.3        $86,921.50
15          Litigation (Contested Matters and Adversary Proceedings)                   1328.3     $1,145,560.50
16          Meetings of and Communications with Creditors                                89.8        $85,321.00
17          Non-Working Travel                                                             1.3        $1,722.50
18          Plan, Disclosure Statement, and Confirmation                                513.2      $418,460.00
19          Real Estate                                                                      0            $0.00
20          Relief from Stay and Adequate Protection                                     34.3        $29,673.50
21          Reporting                                                                   117.8        $98,352.50
22          Tax                                                                         125.6      $144,898.00
23          Valuation                                                                        0            $0.00
                                                                       Total          5,318.1     $4,479,293.00




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                                    Exhibit H

                     Detailed Description of Services Provided




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      August 9, 2022

      Rockall Energy Holdings, LLC                                             Client/Matter Number         ROC447 64001
      5851 Legacy Circle, Suite 500                                            Invoice Number               25695303
      Plano, TX 75024                                                          Billing Attorney             William C. Smith

      This invoice has been forwarded via e-mail to:
      accountspayable@rockallenergy.com



      Re:       Restructuring Advice
      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Asset Sales
     Date           Initials     Description                                                                   Hours

     03/09/22       MJPY         Work on comments to bid procedures motions (.8); work on                       2.60
                                 comments to bid procedures order, sale notice, and cure
                                 notice (1.2); correspond with V&E restructuring team
                                 regarding same (.4); conference with George Howard
                                 regarding same (.2).

     03/09/22       BMIB         Prepare NDAs.                                                                  1.70

     03/09/22       GRHO         Review/analyze and comment on bidding procedures motion                        1.20
                                 and related exhibits (1.0); call with Matt Pyeatt regarding
                                 same (.2).

     03/10/22       BMIB         Review and revise NDAs (1.3); correspond with V&E team,                        1.90
                                 Lazard regarding same (.6).

     03/11/22       BMIB         Review and revise NDAs.                                                        1.50

     03/12/22       SAZO         Revise proposed orders for scheduling motion and bidding                       0.80
                                 procedures motion (.6); correspond with V&E team regarding
                                 same (.2).

     03/13/22       MJPY         Evaluate bid procedures order and exhibits to be filed (.5);                   1.20
                                 work on comments to same (.5); correspond with V&E
                                 restructuring team regarding same (.2).

     03/14/22       JETO         Prepare for and participate in conference with Rockall and                     0.70
                                 Lazard regarding status update of sales process.

     03/14/22       MJPY         Evaluate form PSA (.5); call with client regarding sale process                2.50
                                 and suspense issues (.6); work on comments to bid
                                 procedures order and related filing issues (.6); evaluate sale
                                 process dates and timeline (.4); evaluate issues in connection
                                 with PSA (.4).

     03/14/22       CELE         Discuss issue related to suspense with Joclynn Townsend                        1.10
                                 (.1); prepare for call with Ankura, Lazard and Rockall teams
                                 (.4); attend call with Ankura, Lazard and Rockall teams (.6).

     03/14/22       SAZO         Revise proposed orders for scheduling motion and bidding                       1.40
                                 procedures motion and work related to the same (.8); attend
                                 call with V&E team and Debtors' advisors re sale process (.6).

     03/15/22       JETO         Attend portion of conference with Lazard and Company                           0.50


     I.R.S. NO. XX-XXXXXXX

     Please reference client/matter and invoice numbers when making payment.
     PLEASE REMIT TO:
     VINSON & ELKINS LLP, PO BOX 301019, DALLAS, TX 75303-1019                 Tel +1.713.758.2222 Fax +1.713.758.2346 www.velaw.com



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                                                                               Client/Matter Number         ROC447 64001
                                                                               Invoice Number               25695303
                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

                                 regarding PSA.

     03/15/22       MJPY         Call with V&E ETP team and client regarding form PSA (.8);                     2.60
                                 evaluate form PSA and related comments (1.1); evaluate
                                 VDR materials (.2); correspond with V&E restructuring team
                                 regarding same (.3); correspond with Lazard regarding same
                                 (.2).

     03/15/22       BMIB         Review and revise NDAs.                                                        0.80

     03/15/22       CELE         Discuss exhibits and schedules (.4); prepare for and attend                    1.60
                                 call with V&E, Rockall and Lazard teams regarding Purchase
                                 and Sale Agreement (1.0); attention to correspondence to
                                 proposed exhibits and schedules (.2).

     03/15/22       SAZO         Draft sale process timeline with key dates and deadlines.                      0.80

     03/15/22       BEZE         Correspond with V&E team regarding important dates (.5);                       3.90
                                 prepare forms of exhibits for PSA (2.6); conference with client
                                 regarding PSA (.8).

     03/16/22       LRKA         Conference call with Lazard, V&E team regarding Steel Reef                     0.90
                                 (.4); follow-up correspondence and conferences with V&E
                                 team regarding same (.5).

     03/16/22       JETO         Review and comment on disclosure schedule template (1.0);                      1.90
                                 conference with Company, V&E team regarding same (.9).

     03/16/22       MJPY         Correspond with V&E ETP team regarding form PSA (.2);                          0.50
                                 evaluate bid procedures to support same (.3).

     03/16/22       BMIB         Review and revise NDAs.                                                        1.80

     03/16/22       CELE         Prepare for call regarding disclosure schedules (.4); attend                   1.40
                                 call with Rockall team regarding disclosure schedules (1.0).

     03/16/22       BEZE         Prepare for and conference with client to discuss PSA (1.0);                   2.90
                                 create updated exhibits (1.9).

     03/17/22       MJPY         Call with Lazard and client regarding sale process update (.7);                1.20
                                 call with client regarding tag right issue to support same (.3);
                                 evaluate research to support same (.2).

     03/17/22       BMIB         Prepare NDAs.                                                                  1.40

     03/18/22       MJPY         Correspond with V&E team regarding form PSA (.3); evaluate                     1.70
                                 draft PSA (.8); finalize sale notice (.4); correspond with Stretto
                                 regarding same (.2).

     03/18/22       CELE         Draft Purchase and Sale Agreement (1.5); analyze timing and                    2.40
                                 defect process (.5); correspond with V&E team regarding non-
                                 disclosure agreements (.2); discuss timing of dates in
                                 Purchase and Sale Agreement with V&E team (.2).


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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

     03/19/22       CELE         Prepare and attention to correspondence with Joclynn                           0.20
                                 Townsend regarding PSA closing mechanics.

     03/20/22       CELE         Review and revise Purchase and Sale Agreement.                                 1.20

     03/21/22       YJEO         Review and comment on NDAs (.6); review and respond to                         1.00
                                 correspondence in connection with same (.4).

     03/21/22       JETO         Review and provide comments to the Rockall PSA (.9); attend                    1.00
                                 conference with V&E team discussing the same (.1).

     03/21/22       MJPY         Evaluate bid procedures regarding NDA inquiry (.3);                            0.70
                                 correspond with V&E team regarding same (.2); correspond
                                 with V&E M&A team regarding NDA status (.2).

     03/21/22       CELE         Discuss comments to Rockall Purchase and Sale Agreement                        0.30
                                 with V&E team (.1); review correspondence regarding same
                                 (.2).

     03/22/22       YJEO         Review and comment on NDAs (.7); review and respond to                         1.20
                                 correspondence in connection with same (.5).

     03/22/22       MJPY         Correspond with V&E ETP team regarding form PSA inquiry                        0.40
                                 (.2); correspond with Lazard regarding same (.2).

     03/22/22       CELE         Review and respond to correspondence from Graeme Miller                        0.30
                                 and V&E teamregarding adjustments to Purchase and Sale
                                 Agreement (.1); analyze issue related to same (.2).

     03/23/22       CELE         Evaluate mortgages (.1); review and revise schedules (.6);                     1.40
                                 review and evaluate BACA matters (.3); review and analyze
                                 credit agreement (.4).

     03/23/22       MAGA         Prepare for and participate on call with V&E and Ankura                        0.90
                                 teams regarding schedule of contracts and cure notices and
                                 related issues (.7); confer with V&E team regarding notices of
                                 same (.2).

     03/24/22       RLPE         Review and analyze correspondence from V&E restructuring                       0.40
                                 team regarding update on indication of interest (.2); confer
                                 with V&E ETP team regarding request for litigation schedule
                                 for PSA (.2).

     03/24/22       JETO         Prepare for and participate in conference with V&E team,                       0.50
                                 Lazard discussing status of sales process.

     03/24/22       MJPY         Attend call with Lazard regarding sale process update (.5);                    1.50
                                 confer with V&E ETP team regarding form PSA (.3); evaluate
                                 PSA draft (.5); review and evaluate email correspondence
                                 regarding NDAs (.2).

     03/24/22       BMIB         Review and revise NDAs.                                                        2.30


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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

     03/24/22       CELE         Prepare for call with David Mirkin regarding schedules to                      3.10
                                 Purchase and Sale Agreement (.1); attend call with David
                                 Mirkin regarding same (.3); evaluate matters regarding
                                 litigation schedule to Purchase and Sale Agreement (.2);
                                 revise Purchase and Sale Agreement (1.9); confer with V&E
                                 team regarding Purchase and Sale Agreement and related
                                 schedules (.6).

     03/25/22       MJPY         Evaluate buyer list update (.2); evaluate bid procedures                       1.20
                                 disclosure requirements (.4); correspond with V&E
                                 restructuring team regarding same (.3); call with Lazard
                                 regarding same (.3).

     03/28/22       MWMO         Review confidentiality procedures in bid procedures (.2);                      0.30
                                 review correspondence regarding motion to reconsider bid
                                 procedures (.1).

     03/28/22       DSME         Attend to sale process and committee requests (.6);                            1.30
                                 correspond with V&E team regarding same (.3); telephone
                                 conference with Cleary team regarding same (.4).

     03/28/22       MJPY         Call with Lazard regarding Committee diligence requests                        0.60
                                 relating to sale process and proposed responses (.4);
                                 correspond with V&E team regarding bidder escrow account
                                 (.2).

     03/28/22       BMIB         Prepare NDAs.                                                                  1.40

     03/28/22       ESST         Draft schedule for PSA.                                                        0.80

     03/28/22       TGSP         Correspond with V&E team regarding deposit accounts                            0.10
                                 regarding sale.

     03/29/22       MWMO         Review correspondence with Lazard regarding access to sale                     0.30
                                 dataroom.

     03/29/22       MJPY         Correspond with V&E team regarding indication of interest                      1.20
                                 (.2); evaluate bid procedures to support same (.3); correspond
                                 with Lazard regarding same (.2); correspond with V&E team
                                 regarding publication notice (.2); evaluate Committee
                                 diligence issues pertaining to sale process and bidder
                                 information (.3).

     03/29/22       CELE         Attention to correspondence from Brandon Van Sickle                            0.90
                                 regarding exhibits and schedules (.1); correspond with Ben
                                 Zeter regarding same (.1); call with Stephen Golmont
                                 regarding issues related to Purchase and Sale Agreement
                                 (.6); discuss issues related to transaction timing with Joclynn
                                 Townsend (.1).

     03/29/22       SAZO         Draft publication notice for combined hearing and auction and                  1.70
                                 sale (1.2); follow up correspondence regarding same (.5).


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      Re:       Restructuring Advice

     03/29/22       EMME         Correspond with Lazard regarding fall sale documents (.2);                     0.90
                                 correspond with V&E team regarding same (.7).

     03/30/22       MWMO         Review PSA litigation schedule (.2); review and revise                         0.40
                                 correspondence to UCC regarding sale process information
                                 (.2).

     03/30/22       MJPY         Call with Lazard and V&E team regarding sale diligence and                     1.10
                                 Committee issues (.5); correspond with V&E team regarding
                                 same (.3); evaluate publication notice questions (.3).

     03/30/22       CELE         Revise Purchase and Sale Agreement.                                            0.40

     03/31/22       MWMO         Review correspondence regarding bidding process.                               0.10

     03/31/22       LRKA         Correspond with V&E team regarding sales process matters                       1.30
                                 (.3); conference call with V&E team, Stephen Golmont re
                                 procedures for sale (.8); follow-up correspondence with V&E
                                 team regarding same (.2).

     03/31/22       MJPY         Call with client and Lazard regarding sale process update (.7);                2.10
                                 call with Lazard regarding bidder access procedure (.2);
                                 evaluate draft procedures (.2); call with Lazard and V&E team
                                 regarding same (.8); correspond with V&E team regarding
                                 same (.2).

     03/31/22       BMIB         Prepare amendment for NDA.                                                     1.70

     03/31/22       CELE         Discuss issues related to Purchase and Sale Agreement with                     0.20
                                 V&E team (.1); analyze issue related to same (.1).

     03/31/22       MAGA         Correspond with V&E team regarding deposit account for bids                    1.30
                                 (.2); correspond with Ankura team regarding same (.2); review
                                 and revise draft publication notices for auction and sale and
                                 combined hearing (.5); correspond with Stretto regarding
                                 same (.4).

     03/31/22       GRHO         Call with Stephen Golmont (Lazard), Matt Pyeatt and Lauren                     1.10
                                 Kanzer regarding sales process (.8); correspond with Matt
                                 Pyeatt and Bryan Loocke regarding same (.3).

     03/31/22       BEZE         Compile schedules for PSA.                                                     1.20




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      Re:       Restructuring Advice

            Summary of services - Asset Sales
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    BMIB         Brandon M. Brunet                                                14.50      685.00             9,932.50
                    YJEO         Yong J. Eoh                                                       2.20      860.00             1,892.00
                    MAGA         Michael A. Garza                                                  2.20      860.00             1,892.00
                    GRHO         George R. Howard                                                  2.30     1285.00             2,955.50
                    LRKA         Lauren R. Kanzer                                                  2.20      975.00             2,145.00
                    CELE         Cesar Leyva                                                      14.50      860.00            12,470.00
                    RLPE         Rebecca L. Matthews                                               0.40     1155.00               462.00
                    EMME         Elias M. Medina                                                   0.90      590.00               531.00
                    DSME         David S. Meyer                                                    1.30     1325.00             1,722.50
                    MWMO         Matthew W. Moran                                                  1.10     1285.00             1,413.50
                    MJPY         Matthew J. Pyeatt                                                21.10      910.00            19,201.00
                    TGSP         Trevor G. Spears                                                  0.10      790.00                79.00
                    ESST         Eli S. Sterbcow                                                   0.80      590.00               472.00
                    JETO         Joclynn E. Townsend                                               4.60      945.00             4,347.00
                    BEZE         Benjamin Zeter                                                    8.00      685.00             5,480.00
                    SAZO         Sara Zoglman                                                      4.70      590.00             2,773.00

            Total                                                                                 80.90                        67,768.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Assumption and Rejection of Leases and Contracts
     Date           Initials     Description                                                                   Hours

     03/09/22       RLPE         Review and revise motion to reject (.4); correspondence with                   0.60
                                 Matt Pyeatt, George Howard, and Jeremy Reichman
                                 regarding same (.2).

     03/09/22       MILE         Review and analyze midstream agreements (2.6); review and                      3.30
                                 analyze 2018 and 2019 purchase and sale agreements (.7).

     03/10/22       MWMO         Prepare for and participate in telephone call with client team                 1.40
                                 and V&E team regarding Steel Reef contracts (.6); prepare for
                                 call with Steel Reef counsel (.3); participate in call with Steel
                                 Reef counsel (.4); follow up email correspondence regarding
                                 same (.1).

     03/10/22       JMR          Conference with Steel Reef regarding potential adversary                       0.50
                                 proceeding (.4); prepare for same (.1).

     03/10/22       LRKA         Conference call with V&E team, counsel to Steel Reef (.4);                     1.50
                                 prepare for same (.2); conference call with Company advisors
                                 regarding strategy for same (.6); correspond with Cleary, V&E
                                 team regarding same (.3).


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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

     03/10/22       MILE         Review and analyze Steel Reef Contracts (.9); review and                       2.60
                                 analyze case law regarding same (1.0); draft summary
                                 argument regarding same (.7).

     03/11/22       RLPE         Correspond with V&E litigation team regarding further edits to                 0.60
                                 Steel Reef complaint and summary judgment motion (.5);
                                 correspond with Michael Lee regarding Steel Reef contracts
                                 (.1).

     03/13/22       MILE         Review and analyze Steel Reef Contracts.                                       1.40

     03/14/22       MWMO         Correspond with V&E team regarding Steel Reef contracts                        1.20
                                 (.4); call with Steel Reef counsel regarding same (.3); call with
                                 V&E team regarding agreement with Steel Reef (.3); follow-up
                                 conference with V&E team regarding same (.2).

     03/14/22       LRKA         Conference with V&E team regarding Steel Reef (.3);                            1.10
                                 conference with same and Steel Reef counsel regarding
                                 stipulation (.3); follow-up conference with V&E team regarding
                                 same (.2); correspond with V&E team, Cleary, client regarding
                                 same (.3).

     03/14/22       MJPY         Analyze bonding issues (.2); evaluate cure schedule filing                     0.60
                                 requirements (.2); correspond with V&E team regarding same
                                 (.2).

     03/15/22       DSME         Correspond with V&E team regarding strategy and Steel                          0.30
                                 Reef.

     03/15/22       LRKA         Correspond with Company, Cleary regarding Steel Reef                           0.30
                                 stipulation (.3).

     03/15/22       MJPY         Evaluate bonds and indemnity agreement (1.0); correspond                       1.40
                                 with V&E restructuring team regarding strategy on same (.4).

     03/15/22       GRHO         Review/analyze and respond to email correspondence                             0.50
                                 regarding Steel Reef issues and related comments on draft
                                 stipulation in connection with same.

     03/16/22       MJPY         Call with V&E restructuring team regarding surety bond issues                  0.60
                                 and related strategy (.6).

     03/16/22       EMME         Conference with V&E team regarding surety issues (.6);                         0.80
                                 correspond with same regarding same (.2).

     03/16/22       GRHO         Review and analyze materials related to White Marlin                           1.30
                                 transaction and associated surety bonds (.7); call with V&E
                                 team regarding same (.6).

     03/18/22       MJPY         Correspond with Ankura regarding cure notice (.2); call with                   1.70
                                 Ankura regarding same (.2); evaluate draft contract schedule
                                 (1.1); correspond with V&E restructuring team regarding


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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

                                 research issues related to same (.2).

     03/19/22       EMME         Review executory contract issues (1.3); correspond with V&E                    1.60
                                 team regarding same (.3).

     03/19/22       TGSP         Research regarding executory contracts and assumption                          2.80
                                 notices (1.7); call with Matt Pyeatt regarding same (.4); calls
                                 with Eli Medina regarding same (.5); correspond with same
                                 regarding same (.2).

     03/20/22       EMME         Review executory contract issues (.7); correspond with V&E                     0.90
                                 team regarding same (.2).

     03/20/22       TGSP         Review and revise research regarding executory contracts                       1.20
                                 and assumption notices (.9); correspond with V&E team
                                 regarding same (.3).

     03/21/22       MJPY         Correspond with Ankura regarding cure schedule (.2);                           1.30
                                 evaluate cure schedule (.8); draft cure notice (.3).

     03/22/22       MJPY         Review and revise cure notice (.6); review and evaluate cure                   3.20
                                 schedule (.8); participate in conference call with Ankura
                                 regarding same (.5); revise cure schedule (.7); correspond
                                 with V&E team regarding same (.2); participate in call with
                                 Ankura to address revisions to cure schedule (.4).

     03/24/22       MJPY         Correspond with Ankura regarding leasing matters (.2);                         0.30
                                 correspond with V&E team regarding same (.1).

     03/24/22       MAGA         Confer with V&E team regarding potential rejection and                         0.20
                                 related strategy.

     03/28/22       EMME         Draft motion to assume contract (3.1); correspond with V&E                     3.40
                                 team regarding same (.3).

     03/30/22       MJPY         Correspond with V&E team regarding rejection questions (.4);                   0.90
                                 evaluate supplemental cure schedule (.3); call with client
                                 regarding Mississippi lease rejection issues (.2).

     03/31/22       MJPY         Evaluate supplemental cure schedule (.2); correspond with                      0.40
                                 Ankura regarding same (.2).




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      Re:       Restructuring Advice

            Summary of services - Assumption and Rejection of Leases and Contracts
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    MAGA         Michael A. Garza                                                  0.20      860.00               172.00
                    GRHO         George R. Howard                                                  1.80     1285.00             2,313.00
                    LRKA         Lauren R. Kanzer                                                  2.90      975.00             2,827.50
                    MILE         Michael C. Lee                                                    7.30      705.00             5,146.50
                    RLPE         Rebecca L. Matthews                                               1.20     1155.00             1,386.00
                    EMME         Elias M. Medina                                                   6.70      590.00             3,953.00
                    DSME         David S. Meyer                                                    0.30     1325.00               397.50
                    MWMO         Matthew W. Moran                                                  2.60     1285.00             3,341.00
                    MJPY         Matthew J. Pyeatt                                                10.40      910.00             9,464.00
                    JMR          Jeremy M. Reichman                                                0.50      925.00               462.50
                    TGSP         Trevor G. Spears                                                  4.00      790.00             3,160.00

            Total                                                                                 37.90                        32,623.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Avoidance Action Analysis
     Date           Initials     Description                                                                   Hours

     03/28/22       MJPY         Call with Ankura regarding preference analysis issues.                         0.30

     03/28/22       TGSP         Correspond with V&E team regarding avoidance action                            0.50
                                 analysis (.2); conference call with V&E and Ankura teams
                                 regarding same (.3).




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      Re:       Restructuring Advice

            Summary of services - Avoidance Action Analysis
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    MJPY         Matthew J. Pyeatt                                                 0.30      910.00               273.00
                    TGSP         Trevor G. Spears                                                  0.50      790.00               395.00

            Total                                                                                  0.80                           668.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Budgeting (Case)
     Date           Initials     Description                                                                   Hours

     03/22/22       DSME         Correspond with V&E team regarding budget matters.                             0.60

     03/28/22       DSME         Review budget (.1); correspond with Ankura regarding same                      0.20
                                 (.1).




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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

            Summary of services - Budgeting (Case)
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    DSME         David S. Meyer                                                    0.80     1325.00             1,060.00

            Total                                                                                  0.80                         1,060.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Business Operations
     Date           Initials     Description                                                                   Hours

     03/09/22       LRKA         Review first day motions and filings (1.5); correspond and                     2.40
                                 conferences with V&E team regarding same (.9).

     03/09/22       MAGA         Review and comment on first day motions and filings (3.8);                     6.20
                                 correspond and conferences with V&E team regarding same
                                 (2.4).

     03/09/22       SAZO         Revise first day motions and orders pursuant to comments                       5.10
                                 regarding same (3.4); correspond and conferences with V&E
                                 team regarding same (1.7).

     03/09/22       ESST         Calls with litigation team and witness for first day hearing                   4.80
                                 (1.4); revise Exhibit A to the First Day Declarations regarding
                                 updated motions (3.4).

     03/09/22       TGSP         Prepare, review and revise first day operational motions (4.2);                5.80
                                 correspond with V&E team regarding same (.8); calls with
                                 V&E team and Ankura regarding same (.8).

     03/09/22       IDAY         Review and revise first day motions related to comments                        4.80
                                 received (2.4); correspond with V&E team regarding same
                                 (1.1); assist with exhibits to witness and exhibit list (1.3).

     03/10/22       DSME         Office conference with Lauren Kanzer regarding hearing prep                    2.20
                                 (.5); prepare for first day hearing (1.7).

     03/10/22       LRKA         Correspond and conferences with V&E team regarding first                       2.80
                                 day motions and hearing (1.0); conference call with U.S.
                                 Trustee regarding same (1.5); correspond and conference
                                 with V&E team regarding same (.3).

     03/10/22       LRKA         Conference call with Company, Ankura, V&E team regarding                       0.50
                                 open issues.

     03/10/22       MJPY         Call with Ankura and client regarding first-day matters.                       0.50


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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

     03/10/22       MJPY         Call with Ankura regarding U.S. Trustee comments to first-day                  4.40
                                 motions (.5); call with U.S. Trustee regarding first-day motions
                                 and comments to same (1.5); call with V&E restructuring and
                                 litigation teams regarding first day hearing strategy and
                                 preparation (.9); calls with Ankura team and V&E litigation
                                 team regarding first day hearing preparation and witness
                                 preparation (.9); evaluate first-day presentation for hearing
                                 (.6).

     03/10/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      9.60
                                 management teams regarding bankruptcy case, operational
                                 issues, and related strategy (.5); prepare for and participate
                                 on call with V&E team regarding matter updates, bankruptcy
                                 filings, strategy, and next steps (.9); review and revise first
                                 day motions to address U.S. Trustee issues (.8); confer with
                                 V&E and Ankura teams via calls and emails regarding same
                                 (.8); review and revise second day motions and coordinate
                                 filing of same (2.0); draft hearing talking points and prepare
                                 for same (3.0); prepare for and participate on call with U.S.
                                 Trustee regarding first day motions and related issues (1.6).

     03/10/22       SAZO         Draft talking points for first day motions (4.2); work related to              5.00
                                 UST comments on wages motion (.8).

     03/10/22       EMME         Prepare exhibits for certain motions for first day hearing (1.6);              7.70
                                 correspond with V&E LIT team regarding same (.3); review
                                 and revise request for emergency consideration of first day
                                 materials (.4); correspond with Stretto team regarding case
                                 administration (.3); correspond with V&E RR, LIT teams
                                 regarding first day exhibits (.3); review and revise first day
                                 presentation (1.6); review and revise creditor matrix motion
                                 based on UST comments (.3); review and revise Stretto
                                 retention application based on UST comments (.4); review
                                 and revise taxes motion based on UST comments (.5);
                                 correspond with V&E team regarding UST comments (.4);
                                 review and revise agenda (.3); review and revise talking
                                 points for first day hearing (.8); correspond with Stretto
                                 regarding updated top 30 list (.3); correspond with V&E team
                                 regarding hearing logistics (.2).

     03/10/22       TGSP         Research regarding first day motions (1.4); draft responses to                 4.60
                                 US Trustee comments to same (.6); review and revise first
                                 day proposed orders based on US Trustee comments to
                                 same (.9); correspond with Ankura and V&E team regarding
                                 same (.9); prepare utilities motion for filing (.4); review same
                                 (.4).

     03/11/22       MJPY         Correspond with counsel to Archrock regarding lease                            0.50
                                 operating expense order and related inquiry (.2); correspond
                                 with V.A. Sauls counsel regarding lease operating expense
                                 order (.2); evaluate lien documents (.1).



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      Re:       Restructuring Advice

     03/11/22       MAGA         Review and revise proposed first day orders (.8); coordinate                   3.40
                                 filing of same (.5); confer with V&E team regarding ordinary
                                 course professionals (.3); confer with V&E, Ankura, and
                                 Stretto teams regarding creditor matrix and related issues (.5);
                                 review and analyze issues related to utility provider (1.0);
                                 confer with company regarding same (.3).

     03/11/22       TGSP         Draft revisions to first day orders in-line with hearing (.8);                 1.50
                                 correspond with V&E team regarding uploading and entry of
                                 proposed orders (.3); call with the Court regarding same (.2);
                                 correspond with the Court regarding same (.2).

     03/12/22       MJPY         Analyze docket and first-day orders (.1); correspond with                      0.20
                                 Ankura regarding same (.1).

     03/12/22       MAGA         Confer with V&E team regarding first day orders.                               0.30

     03/14/22       DSME         Conference with V&E team, client regarding works in                            0.60
                                 progress.

     03/14/22       LRKA         Prepare for and attend conference call with Company,                           0.60
                                 Ankura, V&E team regarding open issues.

     03/14/22       MJPY         Call with Ankura and client regarding chapter 11 workstreams.                  0.60

     03/14/22       MJPY         Correspond with Ankura regarding vendor inquiries on LOE                       0.60
                                 motion and order (.2); evaluate same (.2); correspond with
                                 client regarding same (.2).

     03/14/22       MAGA         Confer with V&E and management team regarding cash                             3.90
                                 management issues (.5); prepare for and participate on call
                                 with V&E, Ankura, and management teams regarding matter
                                 updates, operational issues, and related strategy (.5); review
                                 and analyze issues related to contract with Blossman (1.5);
                                 review and analyze lease agreement (.4); review and analyze
                                 issues regarding stub rent payment (1.0).

     03/14/22       SAZO         Research and analysis regarding stub rent issue (2.3);                         2.50
                                 correspond with V&E team regarding same (.2).

     03/14/22       TGSP         Confer with the Court via telephone calls and email regarding                  3.30
                                 first day orders (.4); correspond with V&E team regarding
                                 same (.2); revise proposed orders regarding same (.3);
                                 coordinate filing of revised orders related to same (.2); review
                                 and analyze Comite project document (1.2); research
                                 regarding same (1.0).

     03/15/22       MJPY         Correspond with V&E team regarding cash management                             0.90
                                 issues (.4); correspond with client regarding vendor inquiries
                                 and related lien filings (.2); evaluate same (.3).

     03/15/22       MJPY         Call with Ankura and client regarding chapter 11 workstreams.                  0.60



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      Re:       Restructuring Advice

     03/15/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      4.50
                                 management teams regarding matter updates, operational
                                 issues, and related strategy (.7); review and revise memo
                                 analyzing issues related to Blossman contract (.5); review and
                                 revise memo analyzing issues related to rent stub payment
                                 (.5); review and analyze surety bond documents and
                                 indemnification agreement (.8); conduct research in
                                 furtherance of same (.4); participate on call with Ankura
                                 regarding operational issues (.5); review and analyze issues
                                 regarding insurance and related financing (1.1).

     03/15/22       EMME         Review surety issues (1.8); correspond with V&E team                           2.10
                                 regarding sureties (.3).

     03/16/22       RLPE         Correspond with V&E team on litigation workstreams in                          0.30
                                 connection with second day motions and declarations.

     03/16/22       GGRI         Discuss lien priority insurance financing with V&E team.                       0.50

     03/16/22       LRKA         Correspond with client regarding vendor communications (.2);                   1.20
                                 review materials regarding same (.2); review cost
                                 reimbursement agreement (.6); correspond with V&E team
                                 regarding same (.2).

     03/16/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.60
                                 management teams regarding matter updates, operational
                                 issues, and related strategy.

     03/16/22       TGSP         Correspond with V&E team regarding Comite project (.2);                        0.30
                                 correspond with V&E team regarding lien notices (.1).

     03/17/22       LRKA         Conference with Jones Walker regarding Comite River project                    0.50
                                 (.3); correspond with V&E team regarding operations issues
                                 (.2).

     03/17/22       MAGA         Prepare for and participate on call with Ankura and                            1.90
                                 management teams regarding operational issues, strategy,
                                 and next steps (.6); confer with V&E and Ankura teams
                                 regarding issues related to vendors (.5); review and revise
                                 analysis regarding same (.8).

     03/17/22       TGSP         Correspond with V&E team regarding utilities (.1); conference                  0.40
                                 call with Jones Walker and V&E team regarding Comite River
                                 project (.3).

     03/18/22       LRKA         Correspond with Steel Reef counsel regarding stipulation (.1);                 1.30
                                 conference call with Ankura regarding vendor matters (.5);
                                 conference call with Ankura and management regarding same
                                 (.5); correspond with V&E team regarding same (.2).

     03/18/22       MJPY         Call with V&E restructuring team regarding surety bond issues                  0.90
                                 and related strategy (.5); evaluate research regarding same
                                 (.2); evaluate indemnity agreement to support same (.2).


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      Re:       Restructuring Advice

     03/18/22       MAGA         Prepare for and participate on call with Ankura and                            1.50
                                 management teams regarding matter updates, operational
                                 issues, and related strategy (.5); prepare for and participate
                                 on call with V&E team regarding surety bonds and related
                                 issues (.5); confer with V&E and Ankura team regarding
                                 issues related to vendors (.5).

     03/18/22       ESST         Draft declaration in support of operational motions (1.2);                     1.50
                                 discuss strategy with V&E team regarding same (.3).

     03/20/22       RLPE         Correspond with V&E team regarding declaration for                             0.40
                                 remaining operational motions.

     03/21/22       LRKA         Correspond and conference with Jane Van Lare regarding                         0.70
                                 cost reimbursement agreement (.4); review Steel Reef
                                 stipulation comments (.1); correspond with V&E team, Cleary
                                 regarding same (.2).

     03/21/22       MAGA         Prepare for and participate on call with Ankura and                            1.30
                                 management team regarding business operations, matter
                                 updates, and related strategy (.5); confer with V&E and
                                 Ankura teams regarding vendor and operations issues (.8).

     03/22/22       MAGA         Prepare for and participate on call with Ankura and                            1.70
                                 management teams regarding operations updates, strategy,
                                 and related issues (.5); confer with V&E team regarding cash
                                 management motion (.3); confer with V&E and Ankura teams
                                 regarding vendor issues and related strategy (.9).

     03/23/22       MWMO         Confer with V&E team regarding evidentiary issues for second                   0.10
                                 day motions.

     03/23/22       YJEO         Review and revise cost reimbursement agreement.                                0.60

     03/23/22       MJPY         Attend call with client and counsel to well service creditor                   1.20
                                 regarding LOE matters (.4); draft email to counsel regarding
                                 follow-up issues to support same (.4); evaluate documentation
                                 regarding claims of same (.2); correspond with Ankura
                                 regarding rig contractor matters (.2).

     03/23/22       SAZO         Review and respond to email correspondence with Ankura                         0.70
                                 regarding wages motion matters (.5); analysis regarding same
                                 (.2).

     03/23/22       EMME         Prepare notice of second day hearing (.4); correspond with                     0.70
                                 V&E team regarding same (.3).

     03/23/22       ESST         Review utilities and insurance motions (1.0); draft declaration                2.10
                                 associated thereto (1.1).

     03/24/22       RLPE         Confer with V&E litigation team regarding declarations for                     0.20
                                 operational motions.


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      Re:       Restructuring Advice

     03/24/22       DSME         Attend conference with Company, V&E team, Ankura                               0.50
                                 regarding open issues.

     03/24/22       MJPY         Correspond with Ankura regarding lienholder matters (.2);                      1.00
                                 evaluate JIB balances and related documentation (.4); attend
                                 call with Ankura and client regarding chapter 11 workstreams
                                 (.4).

     03/24/22       MAGA         Prepare for and participate on call with Ankura and                            1.50
                                 management teams regarding operational issues and related
                                 strategy (.5); review and analyze Fairway assignment and
                                 conveyance documentation and release agreement (.4);
                                 confer with V&E and Ankura teams regarding issues
                                 regarding utilities providers (.4); confer with V&E, Ankura, and
                                 management teams regarding lease obligations and related
                                 issues (.2).

     03/24/22       SAZO         Draft final orders for first day motions.                                      0.90

     03/24/22       TGSP         Review Grayling and Fairway documents (.5); research issues                    2.10
                                 regarding same (.7); draft analysis regarding same (.6);
                                 correspond with V&E team regarding same (.2); correspond
                                 with the Company regarding cash management and JPM
                                 issues (.1).

     03/25/22       MAGA         Review and analyze Fairway assignment and conveyance                           1.00
                                 documentation and release agreement.

     03/27/22       TGSP         Correspond with V&E team regarding Comite project.                             0.20

     03/28/22       MJPY         Work on insurance premium financing issues (.3); correspond                    0.50
                                 with client regarding same (.2).

     03/28/22       MAGA         Review and analyze committee issues and questions                              1.40
                                 regarding first day operational motions (1.0); confer with V&E
                                 team and management regarding cash management motion
                                 (.4).

     03/28/22       TGSP         Correspond with Company, Ankura, and V&E team regarding                        1.00
                                 JPM bank accounts (.6); review trustee guidelines and
                                 comments regarding same (.4).

     03/29/22       MWMO         Review correspondence regarding second day declaration for                     0.20
                                 operational motions.

     03/29/22       RLPE         Further review and revise Pinsonnault declaration in support                   0.50
                                 of operational motions (.3); correspond with Trevor Spears
                                 and Scott Pinsonnault regarding same (.2).

     03/29/22       LRKA         Correspond with local counsel, V&E team regarding Comite                       0.90
                                 River project (.4); correspond with V&E team regarding
                                 operational first day motions (.3); review Committee


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      Re:       Restructuring Advice

                                 comments to same (.2).

     03/29/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.00
                                 management teams regarding schedules and statements (.5);
                                 confer with V&E team regarding operational issues (.5).

     03/29/22       TGSP         Review and revise declaration to utilities and insurance                       1.30
                                 motion (1.0); correspond with V&E team and Scott
                                 Pinsonnault regarding same (.3).

     03/30/22       MJPY         Correspond with Ankura regarding insurance premium                             0.30
                                 financing questions (.3).

     03/30/22       MAGA         Review and analyze issues regarding vendors and lien                           1.90
                                 claimants (.5); review and analyze agreements with Fairway
                                 (.3); review and revise markups to proposed final orders
                                 regarding first day motions (.4); confer with V&E team
                                 regarding same (.3); confer with V&E team regarding
                                 proposed final first day orders (.4).

     03/30/22       SAZO         Review and evaluate comments received from UCC regarding                       2.50
                                 final orders for first day motions (.9); review first day motions
                                 regarding same (.4); revise final orders for first day motions
                                 (1.0); correspond with V&E team regarding same (.2).

     03/30/22       TGSP         Confer with Scott Pinsonnault and V&E team regarding                           1.10
                                 declaration to utilities and insurance motion (.2); correspond
                                 with Ankura team and V&E team regarding UCC comments to
                                 first day orders (.4); draft response regarding Grayling and
                                 Fairway (.5).

     03/31/22       MWMO         Confer with V&E team regarding second day hearings.                            0.30

     03/31/22       MAGA         Evaluate comments to first day final orders (.5); confer with                  1.10
                                 V&E team regarding same (.2); revise orders to reflect same
                                 (.4).




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                                                                               Invoice Number               25695303
                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

            Summary of services - Business Operations
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    IDAY         Ida Ayalew                                                        4.80      540.00             2,592.00
                    YJEO         Yong J. Eoh                                                       0.60      860.00               516.00
                    MAGA         Michael A. Garza                                                 42.80      860.00            36,808.00
                    GGRI         Guy Gribov                                                        0.50     1095.00               547.50
                    LRKA         Lauren R. Kanzer                                                 10.90      975.00            10,627.50
                    RLPE         Rebecca L. Matthews                                               1.40     1155.00             1,617.00
                    EMME         Elias M. Medina                                                  10.50      590.00             6,195.00
                    DSME         David S. Meyer                                                    3.30     1325.00             4,372.50
                    MWMO         Matthew W. Moran                                                  0.60     1285.00               771.00
                    MJPY         Matthew J. Pyeatt                                                12.20      910.00            11,102.00
                    TGSP         Trevor G. Spears                                                 21.60      790.00            17,064.00
                    ESST         Eli S. Sterbcow                                                   8.40      590.00             4,956.00
                    SAZO         Sara Zoglman                                                     16.70      590.00             9,853.00

            Total                                                                               134.30                        107,021.50



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Case Administration
     Date           Initials     Description                                                                   Hours

     03/09/22       LRKA         Conference with V&E team regarding filing plan (.5);                           2.40
                                 conferences and correspond with V&E team regarding same
                                 (1.9).

     03/09/22       EENE         Complete electronic court filing of Petitions, and provide judge               9.20
                                 assignment and list of case numbers to attorneys (1.5); confer
                                 with attorneys regarding Joint Administration Motion and
                                 complete electronic court filing of same (1.5); complete
                                 electronic court filing of first day motions and related court
                                 documents (4.0); communicate with attorneys regarding final
                                 preparation of court admin documents and other first day
                                 hearing preparation tasks (1.7); obtain court-stamped copies
                                 of Petitions, and communicate with V&E team regarding
                                 select filed Petition detail (.5).

     03/09/22       EMME         Review and revise first day declarations (1.3); correspond                     6.70
                                 with V&E team regarding same (.4); correspond with lenders'
                                 counsel regarding same (.3); draft presentation for first day
                                 hearing (1.9); conference with Company and V&E team
                                 regarding first day declarant preparation (.5); draft and revise
                                 notice of first day hearing (1.0); correspond with V&E team
                                 regarding same (.3); review and revise talking points for first
                                 day motions (1.0).


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      Re:       Restructuring Advice

     03/10/22       LRKA         Conference call with V&E team regarding works in process.                      0.60

     03/10/22       MJPY         Call with V&E team regarding works in progress.                                0.60

     03/10/22       EENE         Complete electronic filing of first day court documents (4.0);                11.10
                                 communicate with attorneys regarding final preparation of first
                                 day court admin documents and communicate with court
                                 clerks to confirm related requirements (1.7); obtain court-
                                 stamped copies of first day pleadings and organize binder
                                 copy sets for attorneys (3.0); communicate with copy services
                                 regarding binder copy and delivery instructions (1.4);
                                 communicate with attorneys regarding filing details for
                                 Witness & Exhibit List for first day hearing, review precedent
                                 case filing method for large number of exhibits, and complete
                                 electronic filing of Witness & Exhibit List (1.0).

     03/11/22       DSME         Conference with Sean O'Neal regarding open issues (.5);                        0.60
                                 correspond with Lauren Kanzer regarding same (.1).

     03/11/22       LRKA         Correspond with V&E team regarding hearing logistics (.5);                     0.90
                                 follow-up correspondence and conferences with V&E team
                                 regarding filing orders, hearing follow ups (.4).

     03/11/22       MJPY         Call with Ankura regarding first-day hearing witness                           1.10
                                 preparation (.5); work on first-day order upload issues and
                                 comments to first-day orders following hearing (.6).

     03/11/22       EENE         Review docket report to confirm correctness of filings, and                    3.20
                                 provide lead case updated docket report to attorney group
                                 (.2); review NDTX court hearing transcript request method,
                                 complete court request form, and submit form to court clerk
                                 for processing (.5); communicate with Michael Garza, court
                                 clerk, and transcriber regarding request details (.5);
                                 communicate with court clerk regarding docket report Houston
                                 office address issue (.1); communicate with staff and Michael
                                 Garza regarding Pacer court system update for Houston office
                                 address (.4); review court rules and judge's procedures for
                                 online upload of proposed orders, and communicate with
                                 attorneys regarding findings and submission status (1.0);
                                 complete various case tasks (.5).

     03/12/22       EENE         Review docket for and organize court-stamped copies of first                   0.50
                                 day orders for attorney group.

     03/13/22       MAGA         Review and revise work streams checklist.                                      0.90

     03/14/22       DSME         Correspond with Lauren Kanzer regarding works in progress                      1.00
                                 (.4); conference with Lauren Kanzer regarding workstreams
                                 and next steps (.6).

     03/14/22       LRKA         Consider case calendar, key dates (.3); conference with David                  0.90
                                 Meyer regarding works in progress (.6).


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      Re:       Restructuring Advice

     03/14/22       MJPY         Evaluate works in progress checklist.                                          0.30

     03/14/22       EENE         Review court electronic upload method for proposed orders                      2.00
                                 and complete upload (.5); review communication from judge's
                                 clerk regarding upload status and provide upload confirmation
                                 documents to attorneys (.2); organize court hearing transcript
                                 into files (.2); review court filing rules and review precedent
                                 cases for filing of creditor matrix and master service list (.5);
                                 communicate with attorneys regarding filing of creditor matrix
                                 and master service list, and provide precedent case document
                                 and filing information to attorneys (.6).

     03/15/22       DSME         Review workstreams tracker (.4); correspond with V&E team                      0.70
                                 regarding works in progress (.3).

     03/15/22       LRKA         Conference call with V&E team regarding works in process                       0.50
                                 (.5).

     03/15/22       MJPY         Call with V&E restructuring team regarding works in progress                   0.80
                                 (.5); evaluate checklist for same (.3).

     03/15/22       EENE         Correspond with V&E team regarding calendaring and docket                      3.00
                                 monitoring details (.3); review attorney calendar group list (.4);
                                 obtain updated docket report for attorney group (.1); complete
                                 electronic filing of Notice of Hearing on 3/30, Creditor Matrix,
                                 and Notice of Filing of Initial Master Service List (.8);
                                 communicate with V&E team regarding service status related
                                 to same (.2); correspond with V&E team regarding Pro Hac
                                 Vice Applications (.1); review docket report entries (.2);
                                 correspond with court clerk for correction (.2); correspond with
                                 V&E team regarding same (.1); correspond with Stretto
                                 regarding same (.1); review correspondence related to case
                                 (.5).

     03/15/22       MAGA         Review and revise work streams checklist.                                      0.50

     03/15/22       SAZO         Draft case timeline and reporting requirements and                             2.70
                                 correspondence re the same.

     03/15/22       EMME         Conference with V&E team regarding case updates and                            0.90
                                 works in progress (.5); prepare for same (.1); correspond with
                                 V&E team regarding MSL, creditor matrix, and notice of
                                 second day hearings (.3).

     03/15/22       TGSP         Conference call with V&E team regarding workstreams (.5);                      0.70
                                 prepare for same (.2).

     03/16/22       DSME         Correspond with V&E team regarding strategy (.5); review                       2.10
                                 works in progress (.5); office conference with Lauren Kanzer
                                 regarding workstreams (.6); correspond with V&E team
                                 regarding works in progress (.5).



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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

     03/16/22       LRKA         Conference with David Meyer regarding open issues (.6);                        1.40
                                 conference call with V&E team regarding works in progress
                                 (.6); follow-up correspondence regarding same (.2).

     03/16/22       MJPY         Prepare for and attend call with V&E team regarding works-in-                  0.80
                                 progress.

     03/16/22       MJPY         Call with client and Ankura regarding chapter 11 process and                   0.50
                                 workstreams.

     03/16/22       EENE         Obtain updated docket report and court documents for V&E                       0.60
                                 team (.1); correspond with V&E team regarding same (.1);
                                 correspond with Stretto and V&E team regarding notice
                                 preparation (.1); review correspondence related to case (.3).

     03/16/22       MAGA         Prepare for and participate on call with V&E teams regarding                   0.70
                                 matter updates, strategy, and next steps.

     03/16/22       SAZO         Revise case timeline and reporting requirement tracker (.9);                   1.40
                                 correspond with V&E team regarding same (.2); conference
                                 with V&E team regarding case updates and works in process
                                 (.3).

     03/16/22       EMME         Coordinate with V&E and Stretto teams regarding noticing                       2.20
                                 considerations (.4); research regarding same (.3); review and
                                 revise case time line and reporting requirements summary
                                 (1.3); correspond with V&E team regarding same (.2).

     03/16/22       TGSP         Attend portion of conference call with V&E team regarding                      0.30
                                 updates and workstreams.

     03/17/22       LRKA         Conference call with V&E team regarding works in process                       1.30
                                 (.5); review and revise case timeline/reporting requirements
                                 summary (.6); correspond with V&E team regarding same
                                 (.2).

     03/17/22       MJPY         Call with V&E restructuring team regarding works-in-progress                   0.50
                                 (.5).

     03/17/22       EENE         Obtain updated docket report for attorney group (.1);                          5.00
                                 communicate with V&E team regarding docket report
                                 distribution list (.1); review precedent case dockets (2.0);
                                 correspond with Michael Garza regarding docket report (.3);
                                 confirm docket report information (.4); provide instructions to
                                 staff for Pacer system update (.3); review notice form and DIP
                                 Interim Order details (.6); correspond with V&E team
                                 regarding same (.4); review matter regarding updates (.8).

     03/17/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.60
                                 matter updates, strategy, and next steps (.6).

     03/17/22       SAZO         Attend work stream update call with V&E team.                                  0.60



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      Re:       Restructuring Advice

     03/17/22       EMME         Correspond with V&E team regarding notice of                                   1.50
                                 commencement (.3); research regarding same (.7);
                                 correspond with Stretto team regarding updated MSL (.1);
                                 correspond with Stretto team regarding noticing issues (.4).

     03/17/22       TGSP         Conference call with V&E team regarding workstreams.                           0.50

     03/17/22       KIVA         Attend meeting regarding works in progress with V&E team.                      0.50

     03/18/22       DSME         Attend to works in progress (.1); correspond with Lauren                       0.80
                                 Kanzer regarding same (.2); correspond with V&E team
                                 regarding workstreams and next steps (.3); review works in
                                 process checklist (.2).

     03/18/22       EENE         Communicate with court clerk regarding firm address                            6.50
                                 corrections (.2); communicate with V&E team regarding same
                                 (.2); communicate with court clerk regarding electronic filing
                                 details (.4); electronically file Notice of Auction and Sale
                                 Hearing (2.5); confirm Stretto service (1.5); review and
                                 organize documents (.5); obtain updated docket report and
                                 review calendar details (.3); review and revise case timeline
                                 (.5); review matter correspondence (.4).

     03/18/22       EMME         Review and revise notice of combined hearing and notice of                     1.50
                                 non-voting status (.3); correspond with V&E, Stretto teams
                                 regarding same (.3); research regarding same (.3);
                                 correspond with Ankura team regarding interested parties list
                                 (.1); correspond with V&E, Lazard teams regarding interested
                                 parties list (.3); correspond with V&E, Stretto teams regarding
                                 notice of commencement (.2).

     03/21/22       EENE         Obtain updated docket report for attorney group (.1); review                   6.00
                                 report and court documents for calendar details (.2); complete
                                 calendaring regarding same (.1); review case timeline and
                                 complete additional calendaring (3.0); correspond with
                                 attorney group regarding filing of revised master service list
                                 (.2); prepare to file final documents with the court (.8); review
                                 general correspondence for case and project status (.6);
                                 organize working and precedent case documents into files
                                 (1.0).

     03/22/22       DSME         Conference call with V&E working group regarding                               0.70
                                 workstream update (.3); correspond with V&E team regarding
                                 same (.4).

     03/22/22       LRKA         Conference call with V&E team regarding works in process                       1.00
                                 (.5); correspond with V&E team regarding same (.5).

     03/22/22       EENE         Obtain updated docket report for attorney group (.1); review                   3.00
                                 precedent case dockets for and organize court hearing
                                 transcripts regarding KEIP motions for members of the
                                 attorney group (1.7); correspond with members of attorney
                                 group regarding same (.3); review general correspondence


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      Re:       Restructuring Advice

                                 for case and project status (.9).

     03/22/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.30
                                 matter updates, strategy, and next steps (.8); review and
                                 analyze bankruptcy court deficiency notices (.5).

     03/22/22       SAZO         Attend and participate in V&E work stream update call (.8);                    1.50
                                 review and revise case events timeline (.7).

     03/22/22       KIVA         Confer with V&E team regarding works in progress.                              0.50

     03/23/22       MAGA         Prepare for and coordinate filings of various motions (1.0);                   1.20
                                 participate on call with Erin Schmidt regarding same (.2).

     03/23/22       TGSP         Correspond with V&E team regarding letters from clerk's                        0.20
                                 office.

     03/24/22       LRKA         Correspond with V&E team regarding open issues.                                0.60

     03/24/22       MJPY         Attend call with V&E restructuring team regarding works in                     0.60
                                 progress (.4); evaluate checklist for same (.2).

     03/24/22       EENE         Prepare and complete filing of Retention Applications,                         5.20
                                 Ordinary Course Professionals Motion, and Interim
                                 Compensation Motion (2.0); review case timeline and revise
                                 related calendar entries (1.0); correspond with attorney
                                 regarding same (.2); correspond with attorneys regarding
                                 order for precedent hearing transcript (.2); correspond with
                                 transcriber regarding same (.3); obtain and review updated
                                 docket report for attorney group (.3); complete calendaring
                                 regarding same (.3); correspond with attorneys regarding
                                 same (.1); review and organize court documents into files (.3);
                                 correspond with attorney regarding same (.1); review general
                                 correspondence for case and project status (.4).

     03/24/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.00
                                 matter updates, strategy, and next steps (.5); review and
                                 revise work streams checklist (.5).

     03/24/22       TGSP         Conference call with V&E team regarding updates and                            0.40
                                 workstreams.

     03/24/22       KIVA         Attend conference regarding works in progress with V&E                         0.50
                                 team (.4); review checklist (.1).

     03/25/22       LRKA         Correspond with V&E team regarding hearing adjournment                         0.50
                                 (.2); review correspondence regarding first day motions, US
                                 Trustee objection (.3).

     03/25/22       EENE         Organize hearing transcript into files (.2); obtain updated                    5.60
                                 docket report for attorney group (.1); communicate with
                                 attorneys regarding document filing plan (.5); file Witness and
                                 Exhibit List for 3/30 Hearing (4.5); obtain copies of select


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      Re:       Restructuring Advice

                                 court documents for attorney group (.2); communicate with
                                 transcriber regarding hearing transcript and related invoice
                                 (.1).

     03/25/22       MAGA         Confer with Cleary team regarding committee objection                          0.70
                                 deadline and upcoming hearing and related issues (.5);
                                 correspond with V&E team regarding same (.2).

     03/27/22       LRKA         Correspond with V&E team, Ankura re hearing dates (.2);                        0.50
                                 correspond with Cleary regarding same (.1); correspond with
                                 Mike Garza re works in process checklist (.2).

     03/28/22       LRKA         Review correspondence regarding hearing settings, deadlines                    0.30
                                 (.3).

     03/28/22       MJPY         Work on hearing adjournment issues (.2); coordinate with                       0.50
                                 parties in interest regarding same (.3).

     03/28/22       EENE         Obtain updated docket report for attorneys and review report                   3.10
                                 for calendar details (.2); communicate with attorneys
                                 regarding court document filing plans and calendar details
                                 (.5); communicate with Eli Medina regarding final preparation
                                 of Notice of Filing of Debtors' Revised Master Service List,
                                 await final document readiness, and complete filing of same
                                 Notice and Notice of Adjournment of 3/30 Hearing (1.3);
                                 review documents for calendar details and complete
                                 calendaring (.2); communicate with attorneys regarding status
                                 of service instructions (.1); obtain select court document
                                 copies for attorney group (.1); review general correspondence
                                 for case and project status (.7).

     03/28/22       MAGA         Review and revise work streams checklist.                                      0.50

     03/28/22       EMME         Correspond with Stretto team regarding service of notices                      0.70
                                 (.2); conference with V&E team regarding case updates and
                                 works in process (.5).

     03/29/22       DSME         Conference with Scott Pinsonnault regarding workstreams                        1.00
                                 (.5); attend working group call with V&E team (.5).

     03/29/22       LRKA         Conference call with V&E team regarding works in process                       1.30
                                 (.5); review and comment on works in process checklist (.7);
                                 correspond with Mike Garza regarding same (.1).

     03/29/22       MJPY         Call with Ankura and client regarding chapter 11 workstreams.                  0.50

     03/29/22       MJPY         Call with V&E restructuring team regarding works in progress                   1.10
                                 (.5); evaluate checklist to support same (.3); correspond with
                                 V&E team regarding second-day hearing mechanics (.3).

     03/29/22       EENE         Obtain updated docket report for attorneys and complete                        2.40
                                 calendaring (.2); communicate with Lauren Kanzer and court
                                 clerk regarding document filing (.3); communicate with Lauren


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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

                                 Kanzer regarding filing plans (.4); file KEIP and KERP
                                 Motions (.2); await additional filing instructions regarding
                                 related documents (.5); review general correspondence for
                                 case and project status (.8).

     03/29/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.70
                                 ongoing work streams, matter updates, and related strategy.

     03/29/22       SAZO         Attend V&E works in progress call.                                             0.50

     03/29/22       TGSP         Conference call with V&E RR team regarding workstreams                         0.60
                                 and updates.

     03/30/22       LRKA         Conference call with V&E team regarding works in process                       0.60
                                 (.3); correspond with V&E team regarding same (.3).

     03/30/22       JCWI         Prepare for and attend conference call with V&E team to                        0.50
                                 discuss restructuring steps.

     03/30/22       MJPY         Call with V&E team regarding works in progress (.3).                           0.30

     03/30/22       EENE         Obtain and review updated docket report and complete                           3.00
                                 calendaring (.4); communicate with attorneys regarding filing
                                 plans (.2); prepare for filing (2.2); review general
                                 correspondence for case and project status (.2).

     03/30/22       ERHI         Attend weekly update call.                                                     0.30

     03/30/22       TDAI         Attend status call with V&E team.                                              0.30

     03/30/22       MAGA         Prepare for and participate on call with V&E teams regarding                   0.80
                                 matter updates and related strategy (.3); review and revise
                                 work streams checklist and reporting obligations (.5).

     03/30/22       SAZO         Review procedures for submitting revised proposed orders                       1.60
                                 (.1); correspond with V&E team regarding same (.1); revise
                                 draft publication notices for combined hearing and sale and
                                 auction (.7); correspond with V&E team regarding same (.2);
                                 correspond with Stretto team regarding same (.2); attend
                                 weekly call with V&E team regarding case updates (.3).

     03/30/22       KIVA         Attend conference with V&E team regarding works in                             0.30
                                 progress.

     03/30/22       GRHO         Call with V&E team regarding open work streams and next                        0.30
                                 steps.

     03/31/22       DSME         Conference with V&E team regarding workstreams (.7);                           1.10
                                 review works in process (.4).

     03/31/22       LRKA         Conference call with V&E team regarding works in process                       0.90
                                 (.7); follow-up correspondence regarding same (.2).



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                                                                               Billing Attorney             William C. Smith



      Re:       Restructuring Advice

     03/31/22       MJPY         Call with V&E restructuring team regarding works in progress                   0.70
                                 (.7).

     03/31/22       EENE         Review calendar instructions from attorney and complete                        2.90
                                 calendaring (.2); communicate with attorney regarding
                                 precedent case research (.2); file Declaration of Scott
                                 Pinsonnault in Support of Insurance and Utilities Motions (.2);
                                 gather and review precedent case docket for select court
                                 hearing transcript (.4); obtain updated docket report for
                                 attorneys (.1); organize copies of select precedent case
                                 materials (1.2); review general correspondence for case and
                                 project status (.6).

     03/31/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.10
                                 work streams, matter updates, and related strategy.

     03/31/22       EMME         Attend portion of conference regarding works in process and                    1.10
                                 case updates (.5); conference with V&E team regarding
                                 strategy and next steps (.6).

     03/31/22       KIVA         Attend portion of conference with V&E team regarding works                     0.30
                                 in progress.




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      Re:       Restructuring Advice

            Summary of services - Case Administration
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    TDAI         Taylor Daily                                                      0.30      590.00               177.00
                    MAGA         Michael A. Garza                                                 10.00      860.00             8,600.00
                    GRHO         George R. Howard                                                  0.30     1285.00               385.50
                    LRKA         Lauren R. Kanzer                                                 13.70      975.00            13,357.50
                    EMME         Elias M. Medina                                                  14.60      590.00             8,614.00
                    DSME         David S. Meyer                                                    8.00     1325.00            10,600.00
                    EENE         Elizabeth E. Neuman                                              72.30      310.00            22,413.00
                    MJPY         Matthew J. Pyeatt                                                 8.30      910.00             7,553.00
                    ERHI         Emily Rhine                                                       0.30      590.00               177.00
                    TGSP         Trevor G. Spears                                                  2.70      702.22             1,896.00
                    KIVA         Kiran Vakamudi                                                    2.10      790.00             1,659.00
                    JCWI         John C. Wimberly                                                  0.50      890.00               445.00
                    SAZO         Sara Zoglman                                                      8.30      590.00             4,897.00

            Total                                                                               141.40                         80,774.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Corporate Governance and Board Matters
     Date           Initials     Description                                                                   Hours

     03/09/22       BMIB         Review and analyze organizational documents.                                   1.30

     03/10/22       BMIB         Review and revise updated stock certificates.                                  1.70

     03/11/22       DSME         Review board update (.2).                                                      0.20

     03/11/22       LRKA         Draft board update following hearing (.2); correspond with                     0.40
                                 David Meyer, board regarding same (.2).

     03/11/22       BMIB         Prepare stock ledgers for Rockall Agent Corp. and Rockall                      0.90
                                 Intermediate Inc.

     03/14/22       TGSP         Draft board minutes (2.0); correspond with V&E team                            2.20
                                 regarding same (.2).

     03/15/22       TGSP         Finalize minutes (.6); correspond with V&E team regarding                      0.70
                                 same (.1).

     03/16/22       TGSP         Correspond with V&E team regarding diligence requests (.4);                    2.90
                                 draft board minutes (2.5).

     03/17/22       DSME         Prepare for board meeting.                                                     0.20




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      Re:       Restructuring Advice

     03/17/22       MAGA         Prepare agenda and materials for board meeting (.5); review                    1.90
                                 and revise board minutes (1.4).

     03/17/22       TGSP         Correspond with V&E team regarding diligence requests                          1.60
                                 related to board investigation (.2); draft board minutes (1.0);
                                 correspond with V&E team regarding same (.4).

     03/18/22       GGRI         Attend board call to discuss status of proceedings and                         0.50
                                 liquidity forecast.

     03/18/22       YJEO         Review internal records to confirm certain governance                          0.30
                                 matters.

     03/18/22       DSME         Attend board meeting.                                                          0.50

     03/18/22       LRKA         Correspond with V&E team regarding board materials (.3);                       1.10
                                 prepare for and attend board meeting (.8).

     03/18/22       EMME         Review Company VDR for corporate organization information                      0.30
                                 (.2); correspond with V&E team regarding same (.1).

     03/18/22       TGSP         Correspond with Board and V&E team regarding board                             0.80
                                 meeting materials (.3); attend board meeting (.5).

     03/21/22       DSME         Review board updates (.2); correspond with Lauren Kanzer                       0.30
                                 regarding same (.1).

     03/21/22       EMME         Correspond with V&E team regarding Weil diligence (.2);                        0.50
                                 coordinate Weil diligence production (.3).

     03/22/22       MWMO         Review correspondence regarding investigation diligence.                       0.10

     03/22/22       RLPE         Confer with V&E team and David Mirkin regarding ongoing                        0.40
                                 and outstanding diligence requests from Weil.

     03/22/22       DSME         Attend and participate in conference call with the Board.                      0.50

     03/22/22       LRKA         Prepare for and attend meeting with the Board regarding                        1.10
                                 employee programs.

     03/22/22       MAGA         Review and revise board minutes.                                               0.80

     03/22/22       TGSP         Attend board meeting (.6); draft revisions to minutes (.8).                    1.40

     03/23/22       YJEO         Review and respond to correspondence relating to certain                       0.50
                                 governance matters.

     03/23/22       EMME         Correspond with V&E MACM team regarding corporate org                          1.00
                                 documents (.2); correspond with V&E and Weil teams and
                                 Company regarding Weil diligence (.8).

     03/24/22       LRKA         Conference with V&E team and Weil regarding case issues.                       0.30



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      Re:       Restructuring Advice

     03/24/22       MAGA         Review and revise board materials (.6); confer with V&E,                       1.00
                                 Ankura, and Lazard teams regarding same (.4).

     03/24/22       TGSP         Correspond with V&E team regarding board materials related                     2.20
                                 to Comite (.3); review same (.4); draft agenda for board
                                 meeting (.3); correspond with V&E team regarding same (.1);
                                 review and revise Ankura board materials (.6); confer and
                                 correspond with Ankura regarding same (.2); correspond with
                                 Company advisors and Board regarding agenda and
                                 materials for board meeting (.3).

     03/25/22       LRKA         Attend board meeting (.6); prepare for same (.4).                              1.00

     03/25/22       MAGA         Prepare for and participate on board call (.8); confer with V&E                0.90
                                 team in preparation for same (.1).

     03/25/22       TGSP         Attend board meeting.                                                          0.60

     03/26/22       DSME         Conference with Weil regarding investigation (.4); correspond                  0.50
                                 with Lauren Kanzer regarding same (.1).

     03/26/22       LRKA         Conference with Weil regarding document requests,                              0.40
                                 investigation update.

     03/27/22       LRKA         Conference with Bill Transier regarding board meeting follow-                  0.20
                                 ups.

     03/28/22       TGSP         Draft minutes (1.3); correspond with V&E team regarding                        1.60
                                 minutes (.3).

     03/29/22       YJEO         Review and respond to correspondence relating to                               0.50
                                 governance matters (.5).

     03/29/22       LRKA         Review draft February board minutes (1.0); correspond with                     1.80
                                 Trevor Spears regarding same (.2); conference call with Weil
                                 and V&E teams regarding investigation status (.6).

     03/29/22       BMIB         Review LLC Agreement of Rockall Energy Holdings, LLC                           2.40
                                 regarding governance questions (2.0); correspond with V&E
                                 team re same (.4).

     03/30/22       LRKA         Correspond with V&E team regarding board matters.                              0.30

     03/30/22       BMIB         Prepare board consent of Rockall Energy Holdings, LLC.                         1.60

     03/30/22       MAGA         Confer with V&E, Ankura, Lazard and management teams                           0.20
                                 regarding board meeting, agenda, and materials.

     03/30/22       TGSP         Draft revisions to board minutes (1.1); correspond with V&E                    2.10
                                 team regarding same (.6); correspond with Board regarding
                                 same (.2); correspond with V&E team regarding board
                                 materials (.2).



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      Re:       Restructuring Advice

     03/31/22       YJEO         Review and comment on board resolutions (.6); review and                       1.00
                                 respond to correspondence re same (.4).

     03/31/22       DSME         Prepare for board meeting (.5); conference with S.                             0.80
                                 Pinnsonault regarding same (.3).

     03/31/22       BMIB         Conduct research in furtherance of chapter 11 cases (1.3);                     1.90
                                 review and revise resolutions of Rockall Energy Holdings,
                                 LLC (.6).

     03/31/22       TGSP         Correspond with V&E team, Ankura, and Lazard regarding                         1.10
                                 board materials (.3); review board materials (.3); correspond
                                 with V&E team regarding same (.2); correspond with Board
                                 regarding same (.3).




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      Re:       Restructuring Advice

            Summary of services - Corporate Governance and Board Matters
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    BMIB         Brandon M. Brunet                                                 9.80      685.00             6,713.00
                    YJEO         Yong J. Eoh                                                       2.30      860.00             1,978.00
                    MAGA         Michael A. Garza                                                  4.80      860.00             4,128.00
                    GGRI         Guy Gribov                                                        0.50     1095.00               547.50
                    LRKA         Lauren R. Kanzer                                                  6.60      975.00             6,435.00
                    RLPE         Rebecca L. Matthews                                               0.40     1155.00               462.00
                    EMME         Elias M. Medina                                                   1.80      590.00             1,062.00
                    DSME         David S. Meyer                                                    3.00     1325.00             3,975.00
                    MWMO         Matthew W. Moran                                                  0.10     1285.00               128.50
                    TGSP         Trevor G. Spears                                                 17.20      790.00            13,588.00

            Total                                                                                 46.50                        39,017.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Employee Benefits and Compensation
     Date           Initials     Description                                                                   Hours

     03/09/22       SMT          Review and revise KEIP and KERP drafts.                                        0.80

     03/09/22       MJSP         Draft KERP and KEIP documents (5.1); correspond with V&E                       5.60
                                 team regarding same (.5).

     03/11/22       SMT          Correspond with V&E team regarding KEIP draft.                                 0.30

     03/11/22       MJSP         Draft individual KEIP participation agreement letters (.7);                    0.90
                                 correspond with V&E team regarding same (.2).

     03/13/22       MAGA         Confer with Ankura and management team regarding                               0.30
                                 compensation and benefit programs.

     03/14/22       LRKA         Review and comment on KEIP/KERP plan materials (1.2);                          1.90
                                 correspond with Missy Spohn, Shane Tucker regarding same
                                 (.2); conference call with V&E team regarding KEIP/KERP
                                 motions (.5).

     03/14/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.10
                                 KEIP and KERP motions (.5); conduct research regarding
                                 same (.6).

     03/14/22       SAZO         Attend call with V&E team regarding KERP and KEIP motions                      1.00
                                 (.5); work related to KERP and KEIP motions (.5).

     03/15/22       MJSP         Review comments on KERP and KEIP documents from V&E                            1.20


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      Re:       Restructuring Advice

                                 team (.5); correspond with V&E team regarding same (.7).

     03/15/22       DSME         Review KEIP/KERP (.3); correspond with V&E team regarding                      0.80
                                 same (.5).

     03/15/22       LRKA         Conference calls with V&E team regarding KEIP/KERP (1.3);                      1.90
                                 review materials regarding same (.6).

     03/15/22       MAGA         Prepare for and participate on calls with V&E team regarding                   1.60
                                 KERP and KEIP programs.

     03/15/22       SAZO         Attend calls with V&E team regarding KEIP and KERP and                         6.40
                                 related matters (1.3); review KEIP and KERP information and
                                 work related to the same (1.2); draft KERP motion (3.9).

     03/16/22       SMT          Conference with V&E team regarding outstanding KERP and                        0.70
                                 KEIP drafting issues (.5); review same (.2).

     03/16/22       MJSP         Attend call with V&E team regarding KEIP and KERP                              2.70
                                 documents (.5); draft revisions to KEIP and KERP documents
                                 (1.8); correspond with Lauren Kanzer regarding same (.4).

     03/16/22       LRKA         Correspond with V&E team regarding KEIP/KERP matters.                          0.60

     03/16/22       MAGA         Review and revise motion to approve KERP (.8); confer with                     1.10
                                 V&E team regarding same (.3).

     03/16/22       SAZO         Draft KEIP and KERP motions (6.4); analyze issues related to                   8.20
                                 same (1.3); correspond with V&E team regarding same (.5).

     03/17/22       SMT          Correspond with V&E team regarding KEIP plan document                          0.50
                                 and participation agreement.

     03/17/22       MJSP         Draft revisions to the KEIP and KERP documents (1.2);                          1.80
                                 correspondence with Lauren Kanzer, Sara Zoglman and
                                 David Meyer regarding KEIP and KERP documents (.6).

     03/17/22       DSME         Correspond with Lauren Kanzer regarding KEIP/KERP (.2);                        1.50
                                 conference with V&E team regarding KEIP (.3); review same
                                 (.8); correspond with V&E team regarding same (.2).

     03/17/22       LRKA         Review and revise KEIP/KERP documents (.5); correspond                         0.70
                                 with V&E team regarding same (.2).

     03/17/22       SAZO         Draft KEIP and KERP motions (5.6); correspond with V&E                         6.60
                                 team regarding same (.5); attend call with V&E team
                                 regarding KEIP and KERP matters (.5).

     03/18/22       SMT          Correspond with V&E team regarding KEIP revisions (.4);                        1.20
                                 review revised KEIP and KERP documentation (.8).

     03/18/22       MJSP         Review latest revisions to KERP documents.                                     0.80



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      Re:       Restructuring Advice

     03/18/22       DSME         Correspond with V&E team regarding KEIP/KERP (.2);                             1.10
                                 correspond with Lauren Kanzer regarding KEIP (.3); review
                                 KEIP/KERP (.6).

     03/18/22       LRKA         Correspond with client regarding KEIP/KERP (.4); review and                    1.30
                                 comment on draft motions (.8); correspond with Sara Zoglman
                                 regarding same (.1).

     03/18/22       MAGA         Review and revise KERP and KEIP motions (3.3); confer with                     4.40
                                 V&E team regarding same (1.1).

     03/18/22       SAZO         Draft and revise KEIP and KERP motions and work related to                     3.90
                                 same (3.4); correspond with V&E team regarding same (.5).

     03/19/22       SMT          Correspond with V&E team regarding KERP and KEIP plan                          0.80
                                 document revisions (.3); review KEIP and KERP motions (.5).

     03/19/22       MJSP         Correspondence with Lauren Kanzer and Shane Tucker                             0.40
                                 regarding KEIP and KERP documents.

     03/19/22       RLPE         Correspond with V&E teams regarding declaration for                            0.30
                                 KEIP/KERP motions.

     03/19/22       LRKA         Conference with Lewis Gillies regarding KERP/KEIP (.3);                        0.60
                                 correspond with V&E team regarding same (.3).

     03/20/22       MJSP         Draft revisions to KERP and KEIP documents (1.1);                              1.40
                                 correspond with Lauren Kanzer regarding same (.3).

     03/20/22       DSME         Review KERP motion.                                                            0.70

     03/20/22       LRKA         Review and comment on revised program documents (.4);                          0.80
                                 review comments to KEIP/KERP motions (.2); correspond
                                 with Sara Zoglman regarding open issues (.2).

     03/20/22       SAZO         Draft declaration in support of the KERP and KEIP motions.                     4.90

     03/21/22       SMT          Review revised KEIP (.4); review revised KERP (.3);                            0.90
                                 correspond regarding KERP (.2).

     03/21/22       MJSP         Review of correspondence from Lewis Gillies and Scott                          0.60
                                 Pinsonnault regarding KERP documents.

     03/21/22       DSME         Correspond with V&E team regarding KEIP/KERP (.3); attend                      0.80
                                 conference with V&E team regarding KEIP/KERP (.5).

     03/21/22       LRKA         Review and comment on KEIP/KERP declaration (1.3); review                      4.40
                                 and comment on KEIP and KERP motions (1.0); correspond
                                 with Company and Scott Pinsonnault regarding KEIP and
                                 KERP (.4); conference with V&E team regarding same (1.5);
                                 correspond with Board regarding same (.2).

     03/21/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.80


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      Re:       Restructuring Advice

                                 KERP/KIEP motion (.5); correspond with V&E team regarding
                                 same (.3).

     03/21/22       SAZO         Prepare for and participate on call with V&E team                              6.30
                                 regardingKEIP/KERP (.5); review and revise KEIP motion
                                 (2.2); review and revise KERP motion (1.8); review and revise
                                 declaration in support of KEIP and KERP motions based on
                                 comments received (1.8).

     03/22/22       SMT          Attend conference with V&E team, Board regarding KEIP and                      0.80
                                 KERP documents (.5); review revised KERP (.3).

     03/22/22       MWMO         Review and revise KEIP motion and begin review of                              1.20
                                 supporting evidence.

     03/22/22       MJSP         Review and revise KERP (.5); correspondence with V&E team                      1.20
                                 regarding same (.2); attend conference call with board
                                 members to discuss KERP and KEIP documents (.5).

     03/22/22       DSME         Review and revise Pinsonnault declaration regarding                            1.20
                                 KEIP/KERP motions (.5); review KEIP/KERP motion (.7).

     03/22/22       LRKA         Review and comment on KEIP/KERP motions and declaration                        1.20
                                 (.9); correspond with V&E team regarding same (.3).

     03/22/22       SAZO         Attend call with board to discuss KERP and KEIP (.5); review                   4.50
                                 and revise KERP motion (1.1); review and revise KEIP motion
                                 (1.3); review and revise KEIP/KERP declarations (1.1); review
                                 and respond to correspondence with V&E team and
                                 management team regarding same (.5).

     03/23/22       SMT          Review revised KEIP and KERP (.5); correspond with V&E                         0.80
                                 team regarding KERP and KEIP (.3).

     03/23/22       MWMO         Review and revise KERP motion (.8); review and revise                          1.30
                                 Pinsonnault Declaration in support of KEIP/KERP motions
                                 (.5).

     03/23/22       LRKA         Correspond with V&E team, Cleary, and client regarding                         0.70
                                 KEIP/KERP (.4); review materials regarding same (.3).

     03/23/22       MAGA         Confer with V&E team regarding KERP and KEIP motions                           1.10
                                 (.5); conduct research in furtherance of same (.6).

     03/23/22       SAZO         Revise KEIP motion (.9); revise KERP motion (1.5);                             4.90
                                 correspond with lenders’ counsel and V&E team regarding
                                 same (.5); confer with V&E team regarding same (.5); review
                                 and respond to email correspondence with V&E team, client
                                 regarding same (.4); revise KEIP motion and plan documents
                                 (1.1).

     03/24/22       SMT          Review revised KERP and KEIP (.5); correspond with V&E                         0.70
                                 team regarding KERP and KEIP revisions (.2).


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      Re:       Restructuring Advice

     03/24/22       MJSP         Review Cleary's comments to KERP and KEIP documents                            1.20
                                 (.8); confer and correspond with V&E team regarding same
                                 (.4).

     03/24/22       LRKA         Correspond with V&E team regarding KEIP/KERP (.3);                             0.90
                                 prepare for and participate in conference call with
                                 management team, Scott Pinsonnault and V&E team
                                 regarding same (.6).

     03/24/22       MAGA         Prepare for and participate on call with V&E team, Ankura                      0.80
                                 team, and management team regarding KERP and KEIP
                                 motions (.8).

     03/24/22       SAZO         Attend call with client re KEIP and KERP (.6); work related to                 3.30
                                 the KEIP and KERP materials and motions (2.3);
                                 correspondence with V&E team re the same (.4).

     03/25/22       SMT          Conference regarding KEIP and KERP (.5); correspond with                       0.80
                                 V&E team regarding KERP revisions (.3).

     03/25/22       MJSP         Conference call with Cleary attorneys and V&E attorneys to                     1.20
                                 discuss KEIP and KERP documents (.5); correspondence
                                 with Shane Tucker regarding deferred compensation plan
                                 rules (.2); review of changes made to KEIP and KERP
                                 documents (.5).

     03/25/22       LRKA         Review KEIP/KERP comments (.3); correspond with Sara                           2.10
                                 Zoglman regarding same (.2); prepare for and attend
                                 conference call with Cleary team and Sara Zoglman regarding
                                 same (.7); review and comment on KEIP and KERP (.6);
                                 correspond with V&E team, client regarding same (.3).

     03/25/22       SAZO         Attend call with lenders' counsel regarding KERP/KEIP (.4);                    4.80
                                 revise same (3.4); correspondence with the company
                                 regarding KEIP/KERP matters (.7); review due diligence for
                                 employment agreements (.3).

     03/25/22       EMME         Correspond with V&E team regarding KERP/KEIP research.                         0.20

     03/26/22       LRKA         Review KEIP and KERP motions, Pinsonnault declaration                          0.50
                                 (.4); correspond with Sara Zoglman regarding same (.1).

     03/27/22       SAZO         Draft Bonebrake declaration in support of KEIP.                                1.70

     03/28/22       SMT          Correspond regarding KEIP and KERP documentation.                              0.10

     03/28/22       MJSP         Review of correspondence from the company regarding KEIP                       0.80
                                 and KERP motions and potential hearing dates (.3); review of
                                 Cleary's comments to KEIP and KERP documents (.5).

     03/28/22       LRKA         Review comments to KEIP/KERP motions (.3); correspond                          0.70
                                 with V&E team regarding same (.4).


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      Re:       Restructuring Advice

     03/28/22       SAZO         Revise KEIP and KERP and related work (1.3); correspond                        4.10
                                 with V&E team, client, and other advisors regarding KEIP and
                                 KERP matters (.7); draft declarations regarding KEIP and
                                 KERP (2.1).

     03/29/22       MWMO         Review comments from Committee regarding KEIP and                              0.20
                                 KERP.

     03/29/22       MJSP         Review KERP and KEIP matters (1.0); correspond with Sara                       1.60
                                 Zoglman regarding retention and incentive awards (.6).

     03/29/22       LRKA         Correspond with V&E team regarding KEIP/KERP motions                           1.60
                                 (.6); correspond with Pachulski regarding same (.2); review
                                 filing versions regarding same (.4); conferences with Scott
                                 Pinsonnault regarding same (.4).

     03/29/22       MAGA         Confer with V&E and Ankura teams regarding wages and                           0.80
                                 benefits programs and first day motion.

     03/29/22       SAZO         Prepare KERP letters and KEIP participation agreements                         3.70
                                 (1.0); work related to UCC requests for KEIP and KERP
                                 matters (1.5); revise KEIP and KERP motions and related
                                 declarations (.8); correspond with V&E team regarding same
                                 (.4).

     03/30/22       MJSP         Review final KERP and KEIP documents.                                          0.30

     03/30/22       RLPE         Correspond with V&E team regarding evidence and                                0.50
                                 declarations in support of KERP/KEIP motions (.1); review
                                 same (.4).

     03/30/22       DSME         Correspond with V&E team regarding KEIP/KERP (.3);                             1.00
                                 conference with Scott Pinsonnault regarding same (.3); review
                                 KEIP/KERP declarations (.4).

     03/30/22       SAZO         Review and revise declaration in support of KEIP and KERP                      4.60
                                 motions (1.4); correspond with V&E team regarding same (.8);
                                 draft declaration in support of KERP motion (2.1); review and
                                 revise responses to UCC diligence requests regarding KEIP
                                 and KERP matters (.3).

     03/31/22       MWMO         Review KEIP motion (.4); review and revise Pinsonnault                         1.30
                                 declaration in support of the KEIP and KERP (.4); review and
                                 revise Gillies declaration in support of the KERP (.3); review
                                 KERP motion in connection with same (.2).

     03/31/22       RLPE         Correspond with V&E restructuring team regarding evidence                      0.70
                                 and declarations in support of KEIP/KERP motions (.3);
                                 confer with restructuring and litigation team on comments to
                                 declarations (.4).

     03/31/22       DSME         Review KEIP/KERP declarations.                                                 0.40


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      Re:       Restructuring Advice

     03/31/22       MAGA         Confer with V&E and Ankura teams regarding wages motion                        3.20
                                 (.5); review and revise order regarding same (.4); revise and
                                 incorporate comments related to KEIP and KERP declarations
                                 (1.5); correspond with V&E team regarding same (.8).




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      Re:       Restructuring Advice

            Summary of services - Employee Benefits and Compensation
                    Initials     Name                                                             Hours      Eff. Rate            Amount

                    MAGA         Michael A. Garza                                                 15.20      860.00            13,072.00
                    LRKA         Lauren R. Kanzer                                                 19.90      975.00            19,402.50
                    RLPE         Rebecca L. Matthews                                               1.50     1155.00             1,732.50
                    EMME         Elias M. Medina                                                   0.20      590.00               118.00
                    DSME         David S. Meyer                                                    7.50     1325.00             9,937.50
                    MWMO         Matthew W. Moran                                                  4.00     1285.00             5,140.00
                    MJSP         Melissa J. Spohn                                                 21.70     1015.00            22,025.50
                    SMT          Shane M. Tucker                                                   8.40     1325.00            11,130.00
                    SAZO         Sara Zoglman                                                     68.90      590.00            40,651.00

            Total                                                                               147.30                        123,209.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
     Re: Employment and Fee Applications
     Date           Initials     Description                                                                   Hours

     03/14/22       EMME         Draft V&E retention application (3.9); correspond with V&E                     4.20
                                 team regarding same (.3).

     03/15/22       MAGA         Confer with V&E and Lazard teams regarding retention                           1.50
                                 applications (.5); review and revise V&E retention application
                                 (1.0).

     03/15/22       EMME         Correspond with V&E team regarding V&E retention                               1.80
                                 application (.2); revise V&E retention application (1.6).

     03/15/22       TGSP         Correspond with V&E team regarding Lazard fee application                      0.90
                                 (.3); conduct research regarding same (.6).

     03/16/22       MAGA         Review and revise V&E retention application.                                   0.30

     03/16/22       KIVA         Draft Stretto retention application as Debtors' administrative                 3.20
                                 advisor (2.6); conduct research regarding same (.3);
                                 correspond with V&E team regarding same (.3).

     03/17/22       LRKA         Review and revise Lazard retention application (1.1); review                   2.10
                                 and revise Stretto administrative agent application (.7);
                                 correspond with V&E team regarding same (.3).

     03/17/22       MAGA         Review and revise V&E retention application (.9); review and                   3.90
                                 revise Stretto retention application (.8); review and revise
                                 Lazard retention application (1.2); review and revise Ankura
                                 retention application (1.0).


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      Re:       Restructuring Advice

     03/17/22       EMME         Correspond with V&E, Ankura teams regarding OCP issues                         5.20
                                 (.6); draft OCP motion (2.4); research regarding same (.3);
                                 conference with Ankura team regarding OCP issues (.2);
                                 review and revise V&E retention application (.9); correspond
                                 with V&E team regarding same (.7); correspond with Lazard
                                 team regarding interested parties list (.1).

     03/17/22       TGSP         Draft Lazard employment application (5.4); research                            6.90
                                 regarding same (.8); correspond with V&E team regarding
                                 same (.7).

     03/17/22       KIVA         Draft Ankura retention application (2.3); revise same with                     3.10
                                 comments from Mike Garza (.2); correspond with Lauren
                                 Kanzer and Mike Garza regarding same (.2); revise Stretto
                                 retention application with comments from Mike Garza and
                                 Lauren Kanzer (.4).

     03/18/22       LRKA         Review and comment on Ankura retention application (.9);                       1.30
                                 correspond with V&E team regarding same (.2); correspond
                                 with V&E team regarding OCPs (.2).

     03/18/22       MAGA         Review and revise V&E retention application (1.0); review and                  2.80
                                 revise Lazard retention application (1.0); review and revise
                                 Stretto retention application (.8).

     03/18/22       EMME         Research regarding V&E retention application and local rules                   1.60
                                 (.7); correspond with V&E team regarding same (.2); research
                                 regarding OCP motion (.3); review and revise OCP motion
                                 (.4).

     03/18/22       TGSP         Draft interim compensation motion (4.1); correspond with V&E                   5.30
                                 team regarding same (.2); draft revisions to Lazard retention
                                 application (.6); correspond with V&E team and Lazard
                                 regarding same (.4).

     03/18/22       KIVA         Revise Ankura retention application with comments from                         0.70
                                 Lauren Kanzer (.4); correspond with Lauren Kanzer regarding
                                 same (.1); correspond with Swapna Deshpande regarding
                                 same (.2).

     03/19/22       LRKA         Review and comment on V&E retention application (.9);                          1.30
                                 review materials regarding same (.4).

     03/20/22       DSME         Review and revise V&E retention application (.7); correspond                   1.10
                                 with V&E team regarding same (.4).

     03/20/22       TGSP         Research and review indemnification provisions (.6);                           0.90
                                 correspond with V&E team regarding same (.2); correspond
                                 with V&E team regarding retention applications (.1).

     03/21/22       RLPE         Review and revise application to employ V&E and provide                        1.60
                                 comments on same (.8); review and revise application to


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      Re:       Restructuring Advice

                                 employ Ankura and confer with Eli Sterbcow on comments
                                 (.8).

     03/21/22       LRKA         Review and comment on interim compensation motion (.6);                        1.50
                                 correspond with V&E team regarding same (.1); review and
                                 comment on OCP motion (.6); correspond with V&E team
                                 regarding same (.2).

     03/21/22       EMME         Review and revise retention application (1.9); confer with V&E                 5.80
                                 team regarding same (.6); review correspondence regarding
                                 same (.5); review and revise OCP Motion (2.5); confer with
                                 V&E team regarding same (.3).

     03/21/22       TGSP         Draft revisions to Lazard application regarding indemnification                1.90
                                 provisions (.4); correspond with V&E team regarding
                                 indemnification provisions and other retention applications
                                 (.8); research regarding same (.7).

     03/21/22       KIVA         Review Stretto retention application order (.2); revise Ankura                 1.30
                                 retention application with comments from Lauren Kanzer and
                                 Ankura Team (.8); correspond with V&E and Ankura teams
                                 regarding same (.1); draft correspondence to Cleary team
                                 regarding retention applications (.2).

     03/22/22       RLPE         Review and revise Stretto and Lazard retention applications                    1.50
                                 (.8); confer with V&E team regarding revisions to applications,
                                 proposed orders and related declarations (.7).

     03/22/22       DSME         Review retention applications (.4); review and revise Meyer                    0.90
                                 Declaration regarding same (.5).

     03/22/22       LRKA         Review revised OCP motion, interim compensation motion,                        0.90
                                 and Lazard retention application (.7); correspond with V&E
                                 team regarding same (.2).

     03/22/22       MAGA         Review and revise V&E retention application (.5); review and                   1.30
                                 revise OCP motion (.3); confer with V&E and Cleary teams
                                 regarding various employment applications and related
                                 motions (.5).

     03/22/22       EMME         Attend and participate in conference with Company advisors                     4.70
                                 regarding OCP motion (.3); confer with V&E team regarding
                                 same (.3); review and revise OCP motion (1.3); review and
                                 revise V&E retention application (2.5); correspond with V&E
                                 team regarding same (.3).

     03/22/22       TGSP         Correspond with Sidley, Lazard and V&E team regarding                          2.20
                                 Lazard retention application (.6); review comments from same
                                 to same (.4); draft revisions to interim compensation motion
                                 (.9); correspond with V&E team regarding same (.3).

     03/22/22       KIVA         Review and revise Stretto and Ankura applications with                         0.40
                                 comment from V&E team (.2); confer with Ankura team


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      Re:       Restructuring Advice

                                 regarding same (.1); correspond with Cleary team regarding
                                 retention applications (.1).

     03/23/22       RLPE         Confer with V&E team on retention applications and                             0.30
                                 declaration issues.

     03/23/22       MAGA         Review and revise retention applications (.8); confer with V&E                 1.80
                                 and Ankura teams regarding same (.4); review and revise
                                 interim compensation motion (.3); confer with V&E team
                                 regarding retention issues (.3).

     03/23/22       EMME         Correspond with V&E and Ankura teams regarding interested                      2.30
                                 parties list (.2); correspond with Cleary regarding OCP motion
                                 (.4); correspond with Ankura team regarding Ankura retention
                                 (.1); review andrevise, retention applications, interim
                                 compensation motion, and OCP motion (1.6).

     03/23/22       TGSP         Correspond with Sidley regarding Lazard fee application (.6);                  1.90
                                 correspond with Cleary regarding same (.2); correspond with
                                 V&E team regarding same (.5); prepare to file OCP and
                                 interim compensation motions and retention applications (.6).

     03/23/22       KIVA         Revise Ankura retention application with comments from                         1.60
                                 Ankura team (.4); confer with Ankura team regarding same
                                 (.2); revise Stretto retention application (.4); review and revise
                                 Lazard fee application (.5); correspond with V&E team
                                 regarding same (.1).

     03/24/22       TGSP         Correspond with V&E team regarding retention applications at                   0.20
                                 request of the Committee (.1); correspond with Sidley
                                 regarding Lazard application (.1).

     03/24/22       KIVA         Correspond with Ankura and Stretto teams regarding filed                       0.20
                                 versions of retention applications.

     03/28/22       EMME         Correspond with V&E team regarding V&E retention                               0.20
                                 application (.2).

     03/29/22       MAGA         Confer with Deloitte regarding ordinary course employment                      0.30
                                 motion and related issues.

     03/29/22       EMME         Correspond with V&E team regarding V&E retention                               0.10
                                 application work streams (.1).

     03/30/22       DSME         Correspond with V&E team regarding V&E retention                               0.30
                                 application.

     03/30/22       EMME         Correspond with V&E team regarding V&E retention                               5.30
                                 application (.2); research regarding same (1.6); draft memo
                                 summarizing research (3.5).

     03/31/22       EMME         Correspond with V&E team regarding retention application                       3.40
                                 (.3); review and revise research regarding same (2.1);


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      Re:        Restructuring Advice

                                  coordinate with Liz Neuman regarding same (.2); conference
                                  with Pachulski and V&E team regarding same (.7);
                                  correspond with V&E team regarding same (.1).




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      Re:        Restructuring Advice

             Summary of services - Employment and Fee Applications
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                 11.90      860.00            10,234.00
                     LRKA         Lauren R. Kanzer                                                  7.10      975.00             6,922.50
                     RLPE         Rebecca L. Matthews                                               3.40     1155.00             3,927.00
                     EMME         Elias M. Medina                                                  34.60      590.00            20,414.00
                     DSME         David S. Meyer                                                    2.30     1325.00             3,047.50
                     TGSP         Trevor G. Spears                                                 20.20      790.00            15,958.00
                     KIVA         Kiran Vakamudi                                                   10.50      790.00             8,295.00

             Total                                                                                 90.00                        68,798.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Employment and Fee Application Objections
      Date           Initials     Description                                                                   Hours

      03/31/22       MWMO         Confer with V&E team regarding potential objection to                          0.30
                                  retention.

      03/31/22       RLPE         Attend conference with Committee counsel regarding                             0.70
                                  potential objection to V&E retention and related litigation
                                  issues.

      03/31/22       DSME         Conference with Pachulski team regarding V&E retention (.7);                   1.00
                                  conference with V&E team regarding same (.3).




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      Re:        Restructuring Advice

             Summary of services - Employment and Fee Application Objections
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     RLPE         Rebecca L. Matthews                                               0.70     1155.00               808.50
                     DSME         David S. Meyer                                                    1.00     1325.00             1,325.00
                     MWMO         Matthew W. Moran                                                  0.30     1285.00               385.50

             Total                                                                                  2.00                         2,519.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Financing and Cash Collateral
      Date           Initials     Description                                                                   Hours

      03/09/22       GGRI         Review revised DIP credit agreement and order (2.2); calls                     4.60
                                  with local counsel, Cleary, Ankura and V&E team regarding
                                  same (2.4).

      03/09/22       MJPY         Work on interim DIP order comments (1.6); work on DIP credit                   5.10
                                  agreement comments (1.2); evaluate DIP declaration (.7);
                                  evaluate DIP checklist (.3); call with lender counsel regarding
                                  DIP order (.4); call with Ankura regarding DIP reporting (.4);
                                  evaluate DIP budget (.5).

      03/09/22       ARMU         Review and revise closing checklist (.3); review schedules                     6.90
                                  and collateral documents (4.2); confer and correspond with
                                  V&E team and Cleary team regarding same (2.4).

      03/09/22       TDAI         Update closing checklist (.1); review and revise credit                        6.70
                                  agreement schedules (.7); review and revise draft credit
                                  agreement, collateral documents and deliverables regarding
                                  updated diligence (4.9); attend to DACA matters (.3); attend to
                                  mortgage exhibit matters (.5); review stock certificates and
                                  draft stock powers (.2).

      03/09/22       KIVA         Revise DIP financing motion and order (2.9); revise attorney                   5.10
                                  checklist with comments from V&E team (.8); review and
                                  revise Tempke declaration with comments from V&E and
                                  Lazard teams (.6); review budget regarding DIP financing (.3);
                                  review changes to DIP financing credit agreement and
                                  schedules (.4); correspond with Taylor Daily regarding same
                                  (.1).

      03/09/22       GRHO         Review/analyze and comment on further revisions to Interim                     4.70
                                  DIP Order (.8); review/analyze and comment on further
                                  revisions to DIP Motion and related pleadings (1.2);
                                  review/analyze and comment on further revisions to DIP


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      Re:        Restructuring Advice

                                  Credit Agreement (1.0); correspond with Matt Pyeatt, Kiran
                                  Vakamudi, Guy Gribov, Taylor Daily and Arthur Munoz
                                  regarding same (.9); calls with Sean O'Neal (Cleary)
                                  regarding same (.8).

      03/10/22       GGRI         Discuss status of DIP funding and deliverables with V&E team                   4.00
                                  (1.9); review materials regarding same (.7); discuss newly
                                  filed vendor liens with V&E team (1.0); discuss calculation of
                                  interest with V&E team (.4).

      03/10/22       DSME         Review DIP budget (.3); calls with V&E team regarding same                     0.50
                                  (.2).

      03/10/22       MJPY         Evaluate U.S. Trustee comments to DIP order (.4); call with                    6.90
                                  lender counsel regarding same (.4); calls with Ankura
                                  regarding DIP budget (.6); evaluate revised budget (.3); calls
                                  with U.S. Trustee regarding DIP budget and comments to DIP
                                  order (1.0); call with V&E team regarding DIP presentation
                                  (.5); evaluate precedent to support same (.5); prepare for DIP
                                  presentation (2.6); call with Lazard regarding first-day hearing
                                  preparation on DIP motion (.6).

      03/10/22       ARMU         Review and revise DIP Credit Agreement (3.7); correspond                       4.60
                                  with V&E and Cleary teams regarding same (.9).

      03/10/22       TDAI         Review stock certificates, draft related stock powers and                      5.70
                                  discuss with V&E team (.2); review mortgage exhibits and
                                  discuss with V&E, company, local counsel and Cleary teams
                                  (.4); compile documents, revise deliverables and closing
                                  matters (2.6); review draft fixture filings (.6); review and revise
                                  schedules and exhibits to credit agreement and discuss
                                  related matters with V&E and Cleary teams (1.9).

      03/10/22       KIVA         Review and revise DIP financing motion and order (2.3);                        6.30
                                  revise attorney checklist regarding same with comments from
                                  George Howard and V&E team (.6); correspond with V&E
                                  team regarding same (.2); prepare same for filing (.3);
                                  correspond with Mike Garza regarding same (.1); attend
                                  witness preparation call with V&E and Lazard teams (.7); draft
                                  chart summarizing US Trustee issues and responses (1.1);
                                  attend conference with US Trustee regarding same (1.0).

      03/10/22       GRHO         Review and analyze comments on DIP financing from US                           5.70
                                  Trustee (.8); correspond with Matt Pyeatt and Kiran Vakamudi
                                  regarding same (.5); call with US Trustee regarding same
                                  (1.0); draft/revise hearing notes for approval of DIP financing
                                  and review of related case law and documentation (2.6);
                                  correspond with Matt Pyeatt and Kiran Vakamudi regarding
                                  same (.5); calls and emails with Philip Eisenberg (Locke Lord)
                                  regarding DIP Order language (.3).

      03/11/22       GGRI         Review and comment on DIP order (1.2); discuss latest                          2.30
                                  updates to timing of DIP and deliverables with V&E team


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      Re:        Restructuring Advice

                                  (1.1).

      03/11/22       MJPY         Prepare for first-day hearing DIP presentation (1.0); work on                  3.70
                                  hearing outline to support same (.8); call with V&E
                                  restructuring team to support same (.5); call with lender
                                  counsel regarding DIP order (.3); evaluate DIP budget (.3);
                                  calls with creditors regarding DIP order (.6); correspond with
                                  V&E team regarding same (.2).

      03/11/22       ARMU         Correspond with V&E, Cleary, Company and local counsel                         3.60
                                  regarding DIP Credit Agreement and corresponding loan
                                  documents (2.8); review closing matters (.8).

      03/11/22       TDAI         Review and respond to closing matters (1.4); review and                        1.80
                                  analyze North Dakota mortgage exhibit matters (.3); distribute
                                  draft DACAs to Cleary team and discuss with V&E team (.1).

      03/11/22       KIVA         Attend conferences with V&E team regarding DIP financing                       1.30
                                  (.5); correspond with Matt Pyeatt and George Howard
                                  regarding same (.2); review and revise interim DIP financing
                                  order (.3); correspond with opposing counsel regarding same
                                  (.2); correspond with court staff regarding entry of interim
                                  order (.1).

      03/11/22       GRHO         Plan and prepare for hearing on interim approval of DIP                        1.60
                                  Financing (.8); call with Matt Pyeatt and Kiran Vakamudi
                                  regarding same (.5); correspond with Philip Eisenberg (Locke
                                  Lord) and Kevin Maraist (Anderson, Lehrman, Barre &
                                  Maraist, LLP) regarding resolution of potential DIP objections
                                  (.3).

      03/12/22       MJPY         Evaluate entered interim DIP order and budget inquiry (.4);                    0.60
                                  correspond with Ankura regarding same (.2).

      03/12/22       ARMU         Review credit agreement and schedules related to closing of                    1.50
                                  DIP Credit Agreement.

      03/12/22       TDAI         Review as-extracted collateral financing statements (.4);                      1.60
                                  compile and review documents (.8); review and revise post-
                                  closing agreement and discuss with V&E team (.4).

      03/13/22       MJPY         Correspond with V&E finance team regarding DIP closing                         1.10
                                  issues (.4); evaluate final DIP credit agreement and related
                                  exhibits (.2); work on comments to same (.5).

      03/13/22       ARMU         Attend to closing call of DIP Credit Agreement (.4);                           3.90
                                  correspond with V&E team regarding open issues related to
                                  same (1.2); review compiled documents related to same (2.3).

      03/13/22       TDAI         Review and revise post-closing agreement (.1); review and                      4.70
                                  respond to closing matters (3.4); attend closing checklist call
                                  with Cleary and V&E teams (.4); review as-extracted collateral
                                  financing statements (.2); review compiled mortgages (.6).


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      03/14/22       GGRI         Attend to final DIP document changes and deliverables.                         1.90

      03/14/22       MJPY         Work on DIP credit agreement closing issues (1.1); attend                      2.80
                                  closing call (.3); correspond with V&E team regarding closing
                                  (.3); call with V&E restructuring team regarding DIP matters
                                  and next steps (.1); call with Ankura regarding budget (.3);
                                  correspond with V&E team regarding same (.3); evaluate DIP
                                  order reporting requirements and milestones (.4).

      03/14/22       ARMU         Attention to closing of DIP Credit Agreement (2.6);                            3.30
                                  conferences and correspond with V&E team regarding same
                                  (.7).

      03/14/22       TDAI         Attend to closing matters (1.8); correspond with V&E team,                     2.60
                                  Cleary regarding same (.8).

      03/14/22       KIVA         Review interim financing order regarding upcoming deadlines                    2.30
                                  (1.3); draft summary regarding same (.8); correspond with
                                  V&E team regarding same (.2).

      03/14/22       GRHO         Review and analyze final versions of DIP-related                               1.90
                                  documentation (1.3); correspond with V&E team in connection
                                  with closing of DIP financing facility (.6).

      03/15/22       MJPY         Evaluate DIP checklist and timeline (.3); correspond with V&E                  0.40
                                  team regarding same (.1).

      03/15/22       ARMU         Correspond with V&E team regarding local counsel and                           2.10
                                  mortgage filings (1.4); attention to debt/lien baskets (.7).

      03/15/22       TDAI         Respond to post-closing matters related to DIP credit                          1.90
                                  agreement (.8); review deadlines and attend to diligence
                                  matters (1.1).

      03/15/22       KIVA         Review credit agreement with respect to upcoming deadlines                     3.40
                                  (2.2); draft summary regarding same (1.1); correspond with
                                  Sara Zoglman regarding same (.1).

      03/16/22       MJPY         Evaluate issues regarding insurance premium financing and                      2.40
                                  related lien matters (.5); call with V&E finance team regarding
                                  same (.2); correspond with client regarding same (.2);
                                  evaluate DIP checklist and timeline (.3); work on comments to
                                  same (.8); correspond with V&E finance team regarding same
                                  (.4).

      03/16/22       ARMU         Review and revise DIP Financing Case Calendar (1.1);                           3.80
                                  analyze issues related to mortgages (2.2); analyze issues
                                  related to control agreements (.5).

      03/16/22       TDAI         Review and respond to post-closing matters related to DIP                      1.60
                                  credit agreement (.8); review and revise DIP credit agreement
                                  and Interim Order calendar (.6); conference with V&E team


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                                  regarding status updates (.2).

      03/16/22       KIVA         Revise case calendar with comments from V&E finance team                       0.80
                                  (.6); correspond with V&E team regarding same (.2).

      03/17/22       MJPY         Call with Lazard regarding DIP financing (.3); correspond with                 1.60
                                  V&E restructuring team regarding same (.6); evaluate
                                  language in financing materials (.2); work on comments to
                                  same (.3); correspond with Lazard regarding same (.2).

      03/17/22       ARMU         Correspond with V&E team regarding Insurance Financing                         1.30
                                  (.7); correspond with V&E team regarding mortgage (.6).

      03/17/22       TDAI         Correspond with V&E team regarding professionals list (.1);                    0.20
                                  correspond with V&E, Cleary and company teams regarding
                                  control agreements (.1).

      03/17/22       GRHO         Call with Christian Tempke and Stephen Golmont (Lazard)                        0.60
                                  regarding potential DIP financing options (.3); follow-up email
                                  correspondence with Matt Pyeatt regarding same (.3).

      03/18/22       ARMU         Correspond with V&E team regarding DIP Credit Agreement.                       0.50

      03/18/22       TDAI         Discuss real estate deliverables with Ankura team (.1); review                 0.30
                                  credit agreement and discuss with V&E team (.2).

      03/18/22       KIVA         Conduct research regarding objections to DIP financing                         2.00
                                  provisions (1.5); draft outline regarding same (.5).

      03/21/22       MJPY         Correspond with V&E finance team regarding inquiry on DIP                      0.40
                                  Credit Agreement (.2); evaluate same (.2).

      03/21/22       TDAI         Respond to mortgage related correspondence.                                    0.10

      03/21/22       KIVA         Draft response to DIP financing objections (3.2); conduct                      3.90
                                  research regarding same (.7).

      03/21/22       GRHO         Review/analyze and respond to questions regarding                              0.70
                                  obligations under DIP Credit Agreement and Interim DIP
                                  Order.

      03/22/22       DSME         Correspond with V&E team regarding budget variance testing                     0.30
                                  (.2); review materials regarding same (.1).

      03/22/22       ARMU         Review Control Agreements.                                                     0.30

      03/22/22       TDAI         Review and distribute draft BACAs.                                             0.10

      03/22/22       KIVA         Draft response to potential objections to DIP financing (4.3);                 5.30
                                  conduct research regarding same (1.0).

      03/23/22       ARMU         Attend call with V&E team regarding work in process (.3);                      0.60
                                  correspond with V&E team regarding financing matters (.3).


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      03/23/22       KIVA         Draft and revise response to objections to DIP financing (2.4);                2.90
                                  review precedent regarding same (.4); correspond with V&E
                                  team regarding same (.1).

      03/24/22       MJPY         Attend call with V&E restructuring team regarding DIP                          3.20
                                  objection reply (.4); review and evaluate precedent to support
                                  same (.6); review draft reply and provide comments to same
                                  (1.1); correspond with V&E team regarding same (.2);
                                  correspond with Ankura regarding DIP funding and budget
                                  (.2); revise DIP order language (.5); correspond with lender
                                  counsel regarding same (.2).

      03/24/22       ARMU         Review, evaluate, and respond to correspondence regarding                      0.60
                                  Mortgages and Borrower Deliverables.

      03/24/22       TDAI         Review and analyze draft BACAs (.5); attend call with V&E,                     0.70
                                  company, JPM and Cleary teams regarding same (.2).

      03/24/22       KIVA         Attend conference with V&E team regarding DIP financing                        1.10
                                  and related matters (.3); review and revise draft objection with
                                  comments from Matt Pyeatt (.8).

      03/25/22       MJPY         Revise DIP order regarding informal comments (.4);                             1.80
                                  correspond with lender counsel and regarding same (.3);
                                  evaluate U.S. Trustee objection to DIP motion (.5);
                                  correspond with V&E team regarding same (.2); evaluate
                                  issues list regarding same (.2); correspond with lender
                                  counsel regarding final DIP order (.2).

      03/25/22       ARMU         Correspond with V&E team regarding mortgage filings.                           0.50

      03/25/22       KIVA         Revise draft response to DIP objections with comments from                     4.40
                                  Matt Pyeatt (2.1); conduct research regarding same (1.1);
                                  review objection from United States Trustee (.4); draft issues
                                  list regarding same (.5); revise same with comments from
                                  V&E team (.2); correspond with V&E team regarding same
                                  (.1).

      03/25/22       GRHO         Review and analyze objection filed by the US Trustee to final                  1.00
                                  approval of DIP financing (.8); correspond with Matt Pyeatt
                                  and Kiran Vakamudi regarding same (.2).

      03/26/22       MJPY         Evaluate Final DIP Order draft (.5); revise same (.9);                         1.70
                                  correspond with V&E team regarding same (.3).

      03/26/22       KIVA         Review final DIP order draft (1.1); revise same with comments                  1.60
                                  from Matt Pyeatt (.3); correspond with V&E and Cleary teams
                                  regarding same (.2).

      03/27/22       MJPY         Evaluate comments to Final DIP Order (.3); correspond with                     1.50
                                  V&E team regarding same (.2); correspond with Ankura
                                  regarding same (.2); evaluate DIP budget to support same


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      Re:        Restructuring Advice

                                  (.4); draft email response to lender counsel regarding same
                                  (.4).

      03/28/22       MWMO         Review issues raised by UCC related to DIP.                                    0.10

      03/28/22       RLPE         Review and analyze Committee's DIP issues list and confer                      0.70
                                  internally on potential solutions.

      03/28/22       MJPY         Revise Final DIP Order (.5); correspond with lender counsel                    2.60
                                  regarding same (.2); correspond with Ankura regarding lender
                                  response to DIP objection (.2); correspond with lender
                                  counsel regarding credit documentation diligence (.4);
                                  correspond with client regarding schedules to DIP Credit
                                  Agreement and potential amendments (.3); evaluate
                                  Committee DIP issues list (.6); correspond with V&E team
                                  regarding same (.2); correspond with client and advisors
                                  regarding same (.2).

      03/28/22       ARMU         Correspond with V&E team regarding control agreement (.4);                     1.20
                                  review DIP credit agreement (.8).

      03/28/22       TDAI         Review control agreement matters (.5); review mortgage filing                  1.10
                                  matters (.2); analyze credit agreement (.2); discuss same with
                                  V&E and company teams (.2).

      03/28/22       EMME         Correspond with V&E FIN, RR teams regarding liens.                             0.20

      03/28/22       KIVA         Review Interim Order and Credit Agreement regarding                            2.60
                                  milestones and events of default (.7); draft correspondence to
                                  V&E team regarding same (.2); review correspondence with
                                  V&E team regarding insurance financing and account control
                                  agreements (.2); review issues list regarding DIP financing
                                  from Committee (.3); draft summary and proposed responses
                                  regarding same (1.2).

      03/28/22       GRHO         Review and analyze proposed revisions to final DIP order and                   1.10
                                  related correspondence between V&E and Cleary (.8);
                                  correspond with Matt Pyeatt regarding open issues and next
                                  steps (.3).

      03/29/22       MJPY         Evaluate DIP issues list received from Committee and work                      2.70
                                  on proposed responses to same (.8); correspond with V&E
                                  team regarding same (.2); call with V&E restructuring team
                                  regarding same (.3); call with lender counsel regarding DIP
                                  issues list (.8); evaluate precedent (.6).

      03/29/22       ARMU         Correspond with V&E team regarding DIP Credit Agreement.                       0.30

      03/29/22       TDAI         Review email correspondence with V&E team regarding DIP                        0.20
                                  credit agreement (.1); discuss same with V&E team (.1).

      03/29/22       KIVA         Conduct research regarding precedent provisions in financing                   2.20
                                  orders (1.3); correspond with V&E team regarding same (.1);


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      Re:        Restructuring Advice

                                  attend conference with V&E and Cleary teams regarding
                                  Committee issues list (.8).

      03/29/22       GRHO         Review, analyze, and revise issues list from creditors'                        1.80
                                  committee (.7); call with V&E team regarding same (.3); call
                                  with Sean O'Neal and Jane VanLare (Cleary) regarding same
                                  (.8).

      03/30/22       MJPY         Call with Ankura regarding DIP model and Committee                             2.10
                                  diligence (.2); correspond with V&E team regarding same (.2);
                                  call with V&E finance team regarding DIP Credit Agreement
                                  deliverables and reporting (.4); correspond with lender
                                  counsel and Committee counsel regarding DIP issues list (.2);
                                  evaluate responses to same (.4); work on legal analysis to
                                  support DIP reply and DIP issues list responses (.7).

      03/30/22       ARMU         Review Mortgage and associated filings (.6); review diligence                  1.30
                                  and collateral scope (.7).

      03/30/22       TDAI         Attend to control agreement matters (.1); review pre-petition                  1.00
                                  credit agreement and amendments thereto (.6); confer with
                                  V&E team regarding same (.1); discuss filing matters with
                                  V&E and Cleary teams (.2).

      03/30/22       KIVA         Draft correspondence to V&E finance team regarding same                        0.40
                                  (.1); review correspondence regarding insurance premium
                                  financing (.1); review correspondence from V&E team
                                  regarding Committee issues list summary (.2).

      03/30/22       GRHO         Review/analyze key issues related to final approval of DIP                     0.70
                                  financing (.5); correspond with Matt Pyeatt and Kiran
                                  Vakamudi regarding same (.2).

      03/31/22       DSME         Conference with Cleary regarding financing (.3); conference                    0.60
                                  with V&E team regarding same (.3).

      03/31/22       MJPY         Evaluate DIP issues list and work on strategy relating to DIP                  4.50
                                  reply and related legal arguments (.7); prepare for call with
                                  lender counsel and Committee counsel regarding DIP issues
                                  (.6); attend call regarding same (.5); correspond with V&E
                                  team regarding same (.3); correspond with V&E finance team
                                  regarding mortgage filing (.2); call with Ankura regarding DIP
                                  budget (.3); correspond with U.S. Specialty counsel regarding
                                  DIP order (.2); follow-up call with lender counsel regarding
                                  DIP issues list (.3); correspond with V&E team regarding
                                  same (.2); correspond with lender counsel regarding same
                                  (.3); evaluate DIP credit agreement (.5); evaluate DIP order
                                  (.2); correspond with advisors and client regarding DIP issues
                                  list and DIP hearing adjournment proposal (.2).

      03/31/22       ARMU         Correspond with V&E team regarding DIP Credit Agreement                        1.10
                                  (.4); review and revise DIP order (.7).



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      Re:        Restructuring Advice

      03/31/22       TDAI         Review and analyze prepetition credit agreement and                            1.40
                                  amendments thereto and correspond with V&E team
                                  regarding same (.7); review DIP credit agreement and discuss
                                  with V&E team (.7).

      03/31/22       KIVA         Attend conference with V&E team regarding DIP financing                        2.20
                                  issues (.5); correspond with V&E team regarding research
                                  (.1); conduct same (1.5); correspond with Liz Neuman
                                  regarding same (.1).

      03/31/22       GRHO         Call with Maxim Litvak and Robert Feinstein (PSZJ), Sean                       0.80
                                  O'Neal and Jane VanLare (Cleary) and Matt Pyeatt (V&E)
                                  regarding DIP financing issues (.5); correspond with Matt
                                  Pyeatt, Lauren Kanzer and Kiran Vakamudi regarding DIP
                                  financing issues and next steps (.3).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Financing and Cash Collateral
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     TDAI         Taylor Daily                                                     31.70      590.00            18,703.00
                     GGRI         Guy Gribov                                                       12.80     1095.00            14,016.00
                     GRHO         George R. Howard                                                 20.60     1285.00            26,471.00
                     RLPE         Rebecca L. Matthews                                               0.70     1155.00               808.50
                     EMME         Elias M. Medina                                                   0.20      590.00               118.00
                     DSME         David S. Meyer                                                    1.40     1325.00             1,855.00
                     MWMO         Matthew W. Moran                                                  0.10     1285.00               128.50
                     ARMU         Arthur Munoz                                                     37.40      705.00            26,367.00
                     MJPY         Matthew J. Pyeatt                                                45.10      910.00            41,041.00
                     KIVA         Kiran Vakamudi                                                   47.80      790.00            37,762.00

             Total                                                                               197.80                        167,270.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Hearings
      Date           Initials     Description                                                                   Hours

      03/09/22       DSME         Conference with V&E team regarding first day hearing and                       2.90
                                  filings (.5); prepare for first day hearing (1.0); correspond with
                                  V&E team regarding same (1.0); conferences regarding same
                                  (.4).

      03/10/22       LRKA         Prepare for hearing (1.8); attend preparation sessions with                    3.40
                                  V&E team, Scott Pinsonnault, Kevin Bonebrake, and Christian
                                  Tempke (1.6).

      03/10/22       JRGO         Confer with litigation team regarding suggestions of                           3.80
                                  bankruptcy (.2); analyze and edit suggestion of bankruptcy
                                  (.2); analyze first day pleadings in preparation for first day
                                  hearing (.2); prepare binders for first day hearing (.5); confer
                                  with V&E and Scott Pinsonnault regarding first day hearing
                                  (1.2); confer with litigation team regarding witness and exhibit
                                  list, suggestions of bankruptcy, adversary complaint, and
                                  motion for summary judgment (.3); confer with litigation team
                                  regarding witness and exhibit list and preparation for first day
                                  hearing (.2); continue preparing documents for first day
                                  hearing (1.0).

      03/11/22       MWMO         Participate in first day hearings (3.1).                                       3.10

      03/11/22       RLPE         Review and provide comments on First Day presentation                          1.80
                                  slides for hearing (.5); prepare Scott Pinsonnault and both
                                  Lazard witnesses for hearing (.8); confer with Mike Garza on


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      Re:        Restructuring Advice

                                  presentation of Stretto first day motion and potential issues
                                  (.2); follow-up correspondence with V&E team and client
                                  regarding first day hearing preparation (.3).

      03/11/22       JMR          Continue to prepare for and participate in virtual first day                   2.10
                                  hearing.

      03/11/22       DSME         Prepare for hearing (1.1); participate in hearing (3.2).                       4.30

      03/11/22       LRKA         Present at first day hearing (3.2); prepare for same (1.0);                    4.90
                                  review and comment on hearing presentation slides (.5);
                                  correspond with V&E team regarding same (.2).

      03/11/22       MJPY         Attend and participate in first-day hearing.                                   3.20

      03/11/22       JRGO         Confer with V&E litigation team and Scott Pinsonnault in                       1.70
                                  preparation for first day hearing (.5); analyze and edit
                                  adversary complaint and motion for summary judgment (.6);
                                  prepare for first day hearing (.4); confer with V&E litigation
                                  team regarding case developments and next steps (.1);
                                  correspond with local counsel regarding automatic stay (.1).

      03/11/22       MAGA         Prepare for first day hearing (2.5); attend first day bankruptcy               5.70
                                  hearing (3.2).

      03/11/22       EMME         Prepare for first day hearing (1.2); attend same (3.2).                        4.40

      03/11/22       KIVA         Prepare for and attend first day hearing.                                      3.80

      03/11/22       GRHO         Attend first day hearing and advise on oral argument on DIP                    3.00
                                  financing approval.

      03/30/22       MAGA         Confer with V&E team regarding hearing preparation and                         0.50
                                  procedures for final orders.




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      Re:        Restructuring Advice

             Summary of services - Hearings
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  6.20      860.00             5,332.00
                     JRGO         Jeremy R. Gonzalez                                                5.50      705.00             3,877.50
                     GRHO         George R. Howard                                                  3.00     1285.00             3,855.00
                     LRKA         Lauren R. Kanzer                                                  8.30      975.00             8,092.50
                     RLPE         Rebecca L. Matthews                                               1.80     1155.00             2,079.00
                     EMME         Elias M. Medina                                                   4.40      590.00             2,596.00
                     DSME         David S. Meyer                                                    7.20     1325.00             9,540.00
                     MWMO         Matthew W. Moran                                                  3.10     1285.00             3,983.50
                     MJPY         Matthew J. Pyeatt                                                 3.20      910.00             2,912.00
                     JMR          Jeremy M. Reichman                                                2.10      925.00             1,942.50
                     KIVA         Kiran Vakamudi                                                    3.80      790.00             3,002.00

             Total                                                                                 48.60                        47,212.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Litigation (Contested Matters and Adversary Proceedings)
      Date           Initials     Description                                                                   Hours

      03/09/22       MWMO         Review revisions to first day declarations and first day                       3.90
                                  documents (.5); correspond throughout day with V&E team
                                  regarding same (1.2); prepare for potential witness testimony
                                  at first day hearings (.8); participate in litigation team call (.6);
                                  participate in meeting with David Mirkin in preparation for first
                                  day hearings (.8).

      03/09/22       RLPE         Review first day filings, including: related changes to witness                5.10
                                  and exhibit list and further edits and revisions to all first day
                                  declarations (2.6); conference with litigation team to discuss
                                  witness preparations and first day hearing (.6); prepare
                                  witness outlines and additional edits and revisions to
                                  declarations (.8); conference with David Mirkin and litigation
                                  team to prepare for first day hearing (.8); confer with litigation
                                  team on first day hearing and hearing binders (.3).

      03/09/22       JMR          Review and revise Exhibit A to First Day Declaration (2.3);                    5.10
                                  conference with V&E litigation team regarding first day
                                  matters (.5); conference with V&E team and David Mirkin
                                  regarding hearing prep (.8); continue to prepare for first day
                                  hearings (1.5).

      03/10/22       MWMO         Prepare for and participate in prep session with first day                     5.20
                                  witness Christian Tempke (.8); prepare for and participate in
                                  prep session for first day witness Scott Pinsonnault (1.3);


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      Re:        Restructuring Advice

                                  review correspondence regarding witness and exhibit list (.2);
                                  review email correspondence regarding suggestions of
                                  bankruptcy and review suggestions of bankruptcy (.6);
                                  prepare for first day hearings and confer with V&E team
                                  regarding first day hearing preparation (1.5); conference call
                                  with V&E team regarding first day hearing prep and logistics
                                  (.5); review and revise direct outline for Scott Pinsonnault (.3).

      03/10/22       RLPE         Review and revise witness and exhibit list (.8); correspond                    5.80
                                  with V&E team regarding same (.4); prepare Lazard
                                  witnesses Bonebrake and Tempke and attention to same (.8);
                                  various email correspondence regarding suggestion of
                                  bankruptcy issues and anlayze issues in connection with
                                  potential extension of the stay (.9); correspond with V&E
                                  team, David Mirkin and Ankura team concerning additional
                                  diligence requests from Weil team (.5); continued preparation
                                  of first day hearing including attention to exhibits, witness
                                  outlines and review and follow-up on relevant pleading
                                  questions in connection with preparing (1.5); conference with
                                  restructuring and litigation teams to discuss presentation,
                                  evidence, division of labor and outstanding issues (.5);
                                  correspond with V&E team regarding additional witness
                                  preparation sessions, hearing agenda and logistics for
                                  tomorrow's hearing (.4).

      03/10/22       JMR          Continue to plan and prepare for first day hearing testimony                   5.10
                                  and evidentiary issues (2.0); conference with V&E and Lazard
                                  teams regarding hearing prep (.5); conference with V&E team
                                  and Scott Pinsonnault regarding hearing prep (1.0);
                                  conference with V&E team regarding first day hearing (.5);
                                  prepare direct examination outline for Scott Pinsonnault (1.1).

      03/10/22       EMME         Correspond with V&E team regarding Weil company                                0.30
                                  investigation and diligence requests.

      03/10/22       ESST         Attend multiple conference call meetings regarding strategy,                   2.70
                                  witness prep, and other pre-hearing tasks (1.5); revise and
                                  distribute suggestions of bankruptcy (1.2).

      03/11/22       MWMO         Review correspondence regarding suggestion of bankruptcy                       1.80
                                  (.1); review first day presentation and revisions to same (.5);
                                  prepare for and participate in preparation calls with witnesses
                                  in advance of first day hearings (1.0); review and comment on
                                  direct examination outline for Scott Pinsonnault (.2).

      03/11/22       RLPE         Correspond with V&E team regarding ensuring suggestions of                     0.60
                                  bankruptcy provided to all outside counsel and attention to
                                  same (.3); correspond with David Mirkin and V&E team
                                  regarding additional diligence requests from Weil team (.3).

      03/12/22       RLPE         Follow-up internally regarding Steel Reef extension related to                 0.60
                                  filing of adversary proceeding (.2); review latest diligence
                                  requests from Weil (.2); correspond with V&E team regarding


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                                  additional items to locate (.2).

      03/14/22       RLPE         Continued work on Weil diligence requests (.6); follow-up                      2.30
                                  email correspondence with Eli Medina concerning diligence
                                  response (.1); correspond with David Mirkin regarding same
                                  (.2); confer internally regarding next steps with respect to
                                  Steel Reef adversary proceeding and potential stipulation
                                  (0.5); review and analyze comments from Cleary regarding
                                  draft adversary proceeding and summary judgment, and
                                  follow-up with Eli Sterbcow and Jeremy Reichman concerning
                                  status (.3); review response from Steel Reef's counsel and
                                  discuss internally (.3); correspond with Michael Lee
                                  concerning Steel Reef arguments and review outline of same
                                  (.3).

      03/14/22       MILE         Draft summary argument regarding contract rejection (1.0);                     1.80
                                  research regarding same (.8).

      03/14/22       ESST         Review and revise adversary documents including Complaint,                     3.10
                                  MSJ, Appendix, and Order (2.6); confer with V&E team
                                  regarding same stipulations (.5).

      03/15/22       MWMO         Review and revise stipulation with Steel Reef (.5); confer with                1.40
                                  V&E team regarding same (.2); review correspondence
                                  regarding investigation (.2); review Cleary comments
                                  regarding Steel Reef stipulation (.2); review correspondence
                                  regarding Sligar lift stay motion and proposed resolution (.2);
                                  review declaration of Sligar’s counsel regarding same (.1).

      03/15/22       RLPE         Review and revise Steel Reef proposed stipulation (.4);                        4.50
                                  correspond with V&E team regarding same (.3); correspond
                                  with V&E teams regarding comments and feedback from
                                  Cleary related to same (.4); conferences with V&E team
                                  concerning Steel Reef issues (.6); review further revised Steel
                                  Reef stipulation (.3); correspond with V&E RR team regarding
                                  Sligar litigation (.3); review proposed lift stay pleadings (.7);
                                  correspond with Lazard and V&E RR team regarding same
                                  (.4); confer with V&E team regarding Second Day hearing
                                  preparation (.2); review additional diligence requests from
                                  Weil (.2); coordinate with V&E team and Company regarding
                                  responses to same (.6); review follow-up correspondence
                                  from Company regarding same (.1).

      03/15/22       JMR          Draft Steel Reef stipulation (.9); confer with V&E team                        1.50
                                  regarding same (.4); review materials related to Steel Reef
                                  (.2).

      03/15/22       JRGO         Analyze draft motion to lift automatic stay (.3); analyze                      0.50
                                  stipulation regarding midstream contracts and related
                                  correspondence (.2).

      03/15/22       MAGA         Participate on call with Ken Hill regarding state court litigation             1.00
                                  and motion to lift automatic stay (.3); review and analyze


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                                  motion to lift automatic stay (.5); confer with V&E team
                                  regarding same (.2).

      03/15/22       EMME         Review and produce diligence requests from Weil (1.1).                         1.10

      03/15/22       ESST         Review lift stay motion and related strategy (1.1); correspond                 1.40
                                  with V&E team regarding same (.3).

      03/16/22       MWMO         Review correspondence regarding stipulation with Steel Reef                    0.90
                                  (.1); review draft of Sligar lift stay motion (.3); review
                                  correspondence regarding Sligar lift stay motion and confer
                                  with V&E team regarding same (.3); review correspondence
                                  regarding weekly update call and preparation for second day
                                  hearings (.1); review correspondence regarding investigation
                                  and interviews (.1).

      03/16/22       RLPE         Correspond with Mike Garza and Matt Moran regarding Sligar                     2.10
                                  litigation and follow-up questions in connection with proposed
                                  motion (.4); review correspondence related to update call and
                                  respond to same (.3); correspond with Matt Moran, Jeremy
                                  Reichman and Michael Lee regarding Steel Reef issues (.3);
                                  correspond with V&E team regarding diligence follow-ups and
                                  interview requests (.4); coordinate with Eli Medina regarding
                                  related responses (.2); correspond with Eli Medina and David
                                  Mirkin regarding status of outstanding requests (.5).

      03/16/22       TGSP         Review local rules regarding witness and exhibit lists (.3);                   0.40
                                  correspond with V&E team regarding same (.1).

      03/17/22       MWMO         Review correspondence regarding investigation (.1); review                     0.60
                                  correspondence regarding Steel Reef discussions (.1);
                                  prepare for second day hearings and review related email
                                  correspondence (.1); confer with Eli Sterbcow regarding
                                  potential bidder and sale process and review related email
                                  correspondence (.3).

      03/17/22       RLPE         Correspond with David Mirkin, Eli Medina and Weil regarding                    0.80
                                  diligence requests and follow-ups (.4); correspond with
                                  Lauren Kanzer and Weil team regarding additional diligence
                                  interviews (.2); confer with V&E litigation team regarding
                                  workstreams and witness declarations (.2).

      03/17/22       JRGO         Confer with V&E litigation team regarding preparation for                      0.20
                                  second day hearing and other next steps.

      03/18/22       RLPE         Correspond with V&E restructuring and litigation teams                         0.80
                                  regarding proposed motion to lift stay and various follow-up
                                  on status of discovery and proceedings in connection with
                                  same (.4); correspond with Weil team regarding diligence
                                  interviews (.1); confer with V&E team and with David Mirkin
                                  regarding documents to be provided to Weil in connection
                                  with diligence requests (.2); correspond with Jeremy
                                  Gonzalez regarding draft motion to lift stay and issues with


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                                  respect to same (.1).

      03/18/22       JRGO         Confer with local counsel regarding lawsuit against debtor and                 0.50
                                  plaintiff’s motion to lift automatic stay (.2); correspond with
                                  litigation team regarding same (.1); analyze plaintiff's motion
                                  to lift stay (.2).

      03/19/22       MWMO         Correspond with V&E team regarding Steel Reef stipulation                      0.40
                                  (.2); review correspondence regarding UCC formation (.1);
                                  review correspondence regarding Sligar motion to lift stay (.1).

      03/19/22       RLPE         Review and analyze communications from Weil regarding                          0.30
                                  diligence folders (.1); follow-up regarding related diligence
                                  requests (.2).

      03/21/22       MWMO         Review correspondence regarding recent filings (.1); review                    0.80
                                  correspondence regarding investigation and production of
                                  documents in connection with same (.2); review
                                  correspondence regarding Sligar lift stay motion (.1); review
                                  revisions to Steel Reef stipulation and confer with VE team
                                  regarding same (.2); review insurance provisions in plan and
                                  confer with VE team regarding lift stay agreement as
                                  requested by Sligar (.2).

      03/21/22       RLPE         Confer with Eli Medina and David Mirkin on diligence requests                  1.60
                                  and continued work on same (.5); review and analyze e-mail
                                  correspondence from Weil regarding additional diligence
                                  requests and follow-up with Eli Medina on next steps (.3);
                                  correspond with Eli Sterbcow and Emily Rhine concerning
                                  status of litigation workstreams, including witness and exhibit
                                  list and declarations (.2); further review and revise Sligar
                                  motion to lift stay and confer with restructuring and litigation
                                  teams on same (.3); correspond with Trevor Spears and Eli
                                  Sterbcow regarding declaration in support of remaining
                                  operational motions (.2); correspond with Jeremy Reichman
                                  and Matt Moran concerning second day hearing (.1).

      03/21/22       JMR          Confer with V&E team regarding declarations in support of                      0.50
                                  second day hearing.

      03/21/22       MAGA         Review and revise motion to lift stay (.3); confer with V&E                    0.40
                                  team regarding same (.1).

      03/22/22       MAGA         Confer with V&E team regarding data rooms and discovery                        0.70
                                  issues (.4); participate on inbound calls from various creditors
                                  (.3).

      03/23/22       MWMO         Review correspondence regarding selection of UCC counsel                       0.30
                                  and UCC requests (.1); respond to email correspondence
                                  regarding documents to be produced to UCC and VDR
                                  access (.2).

      03/23/22       RLPE         Correspond with V&E team and David Mirkin regarding                            1.40


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                                  diligence requests (.3); review and revise proposed agreed
                                  order regarding Sligar litigation (.3); review further revised
                                  agreed order (.1); correspond with V&E team regarding same
                                  (.1); review correspondence regarding selection of Committee
                                  counsel (.1); evaluate extension of certain objection
                                  deadlines and need for a confidentiality agreement with
                                  regards to the Committee counsel (.5).

      03/23/22       JMR          Review and address correspondence from UCC regarding                           0.70
                                  document requests (.5); attend conference with V&E team
                                  regarding same (.2).

      03/23/22       SAZO         Evaluate and revise case events time line (.1); prepare case                   1.50
                                  events time line for UCC (.7); gather materials to send to the
                                  UCC regarding same (.7).

      03/23/22       EMME         Prepare chart regarding all filed motions and revised orders in                0.90
                                  furtherance of UCC diligence requests.

      03/24/22       MWMO         Confer with V&E team regarding call with UCC (.1); evaluate                    0.40
                                  matters related to production of information to UCC (.3).

      03/24/22       RLPE         Confer with V&E litigation team regarding UCC document                         1.80
                                  production and diligence matters (.6); correspond with V&E
                                  restructuring team regarding same (.2); review
                                  correspondence regarding discussions with Committee
                                  counsel (.2); review and revise correspondence to Committee
                                  regarding requested extension of objection deadline (.2);
                                  correspond with Committee regarding same (.1); confer with
                                  V&E litigation team on discovery issues (.3); review draft
                                  email correspondence to lenders’ counsel regarding
                                  Committee concerns and agreed extension (.2).

      03/24/22       JMR          Prepare for and participate in introductory call with UCC.                     1.40

      03/24/22       ERHI         Draft proposed confidentiality order.                                          0.60

      03/24/22       MAGA         Confer with V&E team regarding committee diligence                             1.30
                                  requests and related strategy (.3); prepare and gather
                                  diligence items for committee (1.0).

      03/24/22       EMME         Correspond with Weil team regarding diligence requests (.1);                   3.70
                                  coordinate and prepare document production for UCC
                                  requests (1.4); correspond with V&E team regarding same
                                  (.4); review document production in preparation for UCC
                                  sharing (1.4); confer with V&E LIT team regarding same (.4).

      03/24/22       ESST         Draft declaration in support of utilities motion (2.7); update                 3.10
                                  and circulate witness and exhibit list for upcoming hearing
                                  (.4).

      03/25/22       MWMO         Review summary of UCC call and initial issues raised (.1);                     1.90
                                  review PSA and email correspondence regarding preparation


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                                  of litigation schedule (.2); review correspondence regarding
                                  UCC access to documents and confidentiality/privilege
                                  concerns and confer throughout day with V&E team regarding
                                  documents to produce (.8); review proposed UCC bylaws and
                                  email correspondence regarding same and provisions to
                                  address professional eyes only information (.4); review
                                  witness and exhibit list and email correspondence with VE
                                  team regarding same (.2); review confidentiality provisions in
                                  credit documents and related email correspondence with VE
                                  team regarding dealing with same (.2).

      03/25/22       RLPE         Correspond with V&E team and lenders regarding Committee                       4.90
                                  requests and next steps (.4); correspond with Committee
                                  regarding extension and DIP issues list (.3); confer with V&E
                                  restructuring and litigation teams regarding confidentiality
                                  issues to address in connection with document production
                                  (.8); discuss mechanics and process for same with V&E
                                  litigation team (.3); review and revise Pinsonnault declaration
                                  (.5); correspond with Matt Moran and Eli Sterbcow regarding
                                  PSA schedules (.2); review and revise witness and exhibit list
                                  for March 30 hearing (.5); correspond with V&E team
                                  regarding same (.1); review document production for
                                  Committee (1.1); correspond with advisors and Committee
                                  regarding same (.3); review Committee's emergency motion
                                  to adjourn hearing (.2); correspond with V&E team regarding
                                  response to same (.2).

      03/25/22       JMR          Analyze and address confidentiality issues (.8); review and                    2.20
                                  analyze list of documents to be produced to Committee (1.4).

      03/25/22       LRKA         Review motion for emergency hearing (.3); correspond with                      1.10
                                  V&E team regarding same (.4); correspond with V&E team
                                  regarding diligence requests, materials to share (.4).

      03/25/22       MJPY         Correspond with V&E litigation team regarding diligence                        1.40
                                  matters (.4); evaluate confidentiality bylaws (.3); correspond
                                  with V&E team regarding same (.2); evaluate professionals'
                                  eyes only issues in connection with same (.3); correspond
                                  with V&E team regarding same (.2).

      03/25/22       ERHI         Review and revise proposed confidentiality order (.8);                         4.60
                                  correspond with litigation team regarding document review
                                  (.6); correspond with restructuring team regarding same (.2);
                                  review documents for production (2.1); draft summary
                                  regarding privilege and potential confidentiality issues for
                                  same (.7); correspond with V&E team regarding next steps for
                                  document production and related confidentiality issues (.2).

      03/25/22       MAGA         Confer with V&E team regarding committee diligence                             3.10
                                  requests and related strategy (.7); prepare, gather, and
                                  analyze diligence items for committee (1.4); confer with
                                  management team and Ankura regarding same (.5); review
                                  and analyze committee bylaws (.5).


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      03/25/22       EMME         Confer and correspond with V&E team and Company                                5.80
                                  regarding document production (2.3); review and revise
                                  witness and exhibit list (.8); review data room for privilege and
                                  confidentiality issues in certain documents (2.4); correspond
                                  with V&E team regarding same (.3).

      03/25/22       ESST         Review documents for production to Committee for privilege                     4.90
                                  (3.4); revise witness and exhibit list and compile all necessary
                                  documents (.8); correspond with V&E team regarding logistics
                                  for production of documents to Committee (.7).

      03/25/22       TGSP         Review and revise witness and exhibit list for second day                      2.70
                                  hearing (.6); coordinate filing of same (.2); review Committee
                                  diligence requests and data room for same (1.2); correspond
                                  with V&E team regarding same (.7).

      03/26/22       MWMO         Review correspondence regarding scheduling and second                          0.20
                                  day motions (.1); review correspondence regarding production
                                  of documents to UCC (.1).

      03/26/22       RLPE         Review and revise Pinsonnault declaration (.4); correspond                     1.30
                                  with lenders' counsel regarding document production (.3);
                                  confer with V&E litigation team regarding potential response
                                  to Committee (.6).

      03/26/22       JMR          Review and revise Committee bylaws (.5); review and revise                     1.20
                                  declaration in support of insurance and utilities motions (.7).

      03/26/22       MAGA         Confer with V&E team regarding diligence requests and                          0.80
                                  related issues (.5); confer with V&E team regarding motion to
                                  adjourn hearing and related strategy (.3).

      03/26/22       ESST         Review documents for privileged and confidential information                   3.20
                                  (2.0); review updates to UCC bylaws (.5); update draft
                                  declaration in support of operational motions (.7).

      03/27/22       MWMO         Prepare for and participate in litigation team call regarding                  0.80
                                  confidentiality issues and PEO designation and related email
                                  correspondence (.6); review draft correspondence to UCC
                                  regarding same (.2).

      03/27/22       RLPE         Confer with Matt Moran, Lauren Kanzer and Jeremy                               1.60
                                  Reichman regarding confidentiality issues in connection with
                                  Committee document production (.6); correspond with Lauren
                                  Kanzer and Trevor Spears regarding Committee emergency
                                  motion (.2); draft document production (.5); confer with V&E
                                  team regarding adjournment of hearing (.1); correspond with
                                  Committee regarding same (.2).

      03/27/22       JMR          Confer with V&E team regarding confidentiality issues with                     1.30
                                  Committee document production (.6); draft correspondence to
                                  Committee regarding same (.7).


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      03/27/22       LRKA         Correspond with V&E team regarding document production                         1.00
                                  issues, response to Committee motion (.3); conference call
                                  with litigation team regarding confidentiality terms, document
                                  production (.6); correspond with V&E team regarding same
                                  (.1).

      03/27/22       TGSP         Draft response to UCC regarding motion to adjourn and                          1.60
                                  motion for hearing (1.4); correspond with V&E team regarding
                                  same (.2).

      03/28/22       MWMO         Review correspondence regarding confidentiality issues (.6);                   1.50
                                  confer with litigation team regarding same (.4); review
                                  correspondence regarding production of documents to
                                  Committee (.1); analyze privilege issues related to various
                                  documents and analyze PEO designations related to same
                                  (.4).

      03/28/22       RLPE         Confer with V&E litigation and restructuring team regarding                    6.40
                                  Committee diligence requests and confidentiality concerns
                                  (.8); confer with Weil, Ankura and Lazard on diligence
                                  requests and confidentiality issues (.9); review and revise
                                  confidentiality language (.6); correspond with Committee
                                  regarding same (.3); review and revise response to
                                  Committee emergency motion to adjourn hearing (.5); review
                                  document production to Committee (1.1); conference with
                                  Committee counsel regarding diligence requests (.7); follow-
                                  up conference with V&E team regarding next steps for
                                  production of documents to Committee (.6); confer with Emily
                                  Rhine regarding privilege review of additional documents (.3);
                                  review and revise status update on Committee document
                                  production (.6).

      03/28/22       JMR          Analyze and address issues related to confidentiality with                     3.30
                                  Committee (.8); prepare for call with Committee regarding
                                  same (.2); participate in conference with Committee regarding
                                  same (.7); confer with V&E team regarding same (.6); confer
                                  with Matt Moran regarding same (.5); conference with Lazard
                                  regarding same (.5).

      03/28/22       LRKA         Conference call with V&E team, Pachulski regarding                             3.80
                                  confidentiality issues (.7); follow-up conference call with V&E
                                  team regarding same (.8); follow-up correspondence
                                  regarding same (.1); correspond and conferences with V&E
                                  team regarding Committee document requests and responses
                                  (1.0); conferences with Scott Pinsonnault regarding same (.3);
                                  correspond with Company, Ankura regarding same (.4);
                                  conference call with Jane Van Lare and David Meyer
                                  regarding Committee issues (.5).

      03/28/22       MJPY         Call with Committee counsel regarding confidentiality issues                   1.10
                                  and related diligence requests (.7); correspond with V&E team
                                  regarding same (.2); evaluate diligence requests to support


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      Re:        Restructuring Advice

                                  same (.2).

      03/28/22       JRGO         Correspond with litigation team regarding negotiations with                    1.00
                                  plaintiff in state court litigation (.3); confer with local counsel
                                  regarding same and status conference in state litigation (.2);
                                  confer with litigation team regarding production of documents
                                  (.3); analyze correspondence regarding same (.2).

      03/28/22       ERHI         Phone conference regarding production to Committee (.7);                       2.60
                                  correspond with V&E litigation team regarding same (.5); draft
                                  production log (.6); review and compile background
                                  documents to produce to Committeeand circulate to V&E
                                  team (.8).

      03/28/22       MAGA         Confer with V&E team regarding motion to lift automatic stay                   1.70
                                  (.2); review and revise declaration in support of operational
                                  motions (.4); review and gather diligence items and VDRs
                                  (.8); review and analyze motion to reconsider bidding
                                  procedures order (.3).

      03/28/22       EMME         Correspond with V&E team regarding committee diligence                         0.90
                                  requests (.9).

      03/28/22       ESST         Review and revise declaration in support of operational                        4.70
                                  motions (1.2); establish data room for document production
                                  (.8); communicate with V&E team regarding same (.6);
                                  conference call with V&E team regarding confidentiality and
                                  privilege designations (.6); review documents for production
                                  (1.5).

      03/28/22       TGSP         Correspond with V&E team regarding UCC diligence                               0.30
                                  requests.

      03/29/22       MWMO         Review email correspondence regarding document production                      1.10
                                  to Committee and confidentiality protections related to same
                                  (.2); review protocols for producing confidential documents
                                  (.3); conference with David Meyer regarding same (.4);
                                  review correspondence regarding production of DIP budget
                                  and related model (.2).

      03/29/22       RLPE         Confer with V&E restructuring and litigation teams regarding                   4.70
                                  Committee diligence requests (.9); review Committee motion
                                  to reconsider bidding procedures (.3); correspond with Ankura
                                  and Lazard regarding Committee diligence requests and
                                  confidentiality issues (.6); confer with Ankura and Lazard to
                                  discuss same (.6); revise summary of document production to
                                  Committee (.7); correspond with V&E team regarding data
                                  room issues and Committee access (.7); confer with Lazard
                                  regarding same (.4); review sales materials for production to
                                  Committee (.5).

      03/29/22       JMR          Continue to review, analyze, and strategize regarding                          0.90
                                  confidentiality issues with UCC (.6); correspond with V&E


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      Re:        Restructuring Advice

                                  team regarding same (.3).

      03/29/22       DSME         Correspond with Lauren Kanzer regarding litigation matters                     1.20
                                  (.2); conference with Matt Moran regarding same (.4);
                                  conference with V&E and Ankura teams regarding same (.6).

      03/29/22       LRKA         Correspond with V&E team regarding Committee diligence                         1.10
                                  requests (.5); conference and correspond with Ankura
                                  regarding same (.6).

      03/29/22       ERHI         Upload documents to data room for production to Committee                      4.40
                                  (.3); correspond with V&E team regarding Committee
                                  production issues and logistics (.6); review documents to be
                                  produced for confidentiality issues and redact same (1.1);
                                  revise Committee production log (.5); draft Committee request
                                  tracker and update (1.1); conference throughout day with Eli
                                  Medina and Eli Sterbcow regarding Committee production
                                  status and issues (.8).

      03/29/22       EMME         Correspond with V&E team regarding committee diligence                         4.90
                                  requests (.8); correspond with V&E RR, MACM, FIN, LIT
                                  teams regarding Weil diligence requests (.3); correspond with
                                  Company regarding same (.2); correspond with V&E litigation
                                  team regarding document production (.2); correspond with
                                  V&E litigation team regarding document uploads (.2);
                                  correspond with V&E team regarding production next steps
                                  (.3); correspond with Matt Pyeatt regarding document
                                  production (.4); prepare various documents for production
                                  (.7); draft and circulate production diligence tracker (.3);
                                  correspond with V&E team regarding Weil diligence (.4);
                                  conference with LIT team regarding UCC production (.8);
                                  conference with Matt Pyeatt regarding same (.3).

      03/29/22       ESST         Coordinate with Lazard regarding document production for                       5.20
                                  Committee (.4); coordinate with V&E team regarding same
                                  (.7); upload various documents to data room for production to
                                  Committee (1.6); redact documents for confidentiality (.8);
                                  draft index to track produced documents and update
                                  throughout the day (1.0); attend conference call with V&E
                                  team regarding status of production to Committee (.7).

      03/30/22       MWMO         Confer with V&E team regarding production of sale                              1.90
                                  information and indications of interest (.3); review email
                                  correspondence to be produced (.2); review production log
                                  (.1); review correspondence regarding potential privileged
                                  documents (.3); telephone call with V&E team regarding
                                  document requests, document production, and redactions
                                  (.8); review correspondence regarding redactions (.2).

      03/30/22       RLPE         Review and respond to Committee diligence requests (1.0);                      5.20
                                  review and respond to correspondence with V&E and Lazard
                                  teams regarding Committee's diligence request (.4); attend
                                  conference with V&E and Lazard teams regarding same (.7);


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      Re:        Restructuring Advice

                                  review PSA litigation schedule (.2); analyze privilege and
                                  confidentiality of certain materials for Committee (.6);
                                  correspond with V&E team regarding same (1.0); attend
                                  conference with V&E team to discuss production of same (.8);
                                  review and comment on draft response to Committee
                                  concerning diligence requests (.3); correspond with
                                  Committee regarding potential objection to various pleadings
                                  (.2).

      03/30/22       JMR          Correspond with V&E team regarding confidentiality issues for                  0.30
                                  UCC production.

      03/30/22       LRKA         Draft correspondence to Pachulski regarding diligence issues,                  2.10
                                  sale process (.6); correspond and conferences with V&E team
                                  regarding same (.7); conference call with V&E team regarding
                                  diligence issues (.8).

      03/30/22       JRGO         Analyze and redact documents in preparation for production                     3.10
                                  of same.

      03/30/22       ERHI         Revise and update UCC production log (1.4); correspond with                    2.60
                                  V&E team regarding same (.3); attend call with V&E litigation
                                  team to discuss outstanding discovery issues (.7); correspond
                                  with Ankura team regarding document production (.2).

      03/30/22       EMME         Correspond with Weil team Weil diligence (.1); correspond                      2.40
                                  with V&E FIN, RR teams regarding same (.3); correspond
                                  with V&E team regarding mortgages (.2); coordinate and
                                  analyze documents responsive to UCC request (.7);
                                  correspond with V&E restructuring and litigation teams
                                  regarding same (.2); correspond with V&E LIT, RR teams
                                  regarding recorded filings (.2); conference with V&E litigation
                                  team regarding document production (.7).

      03/30/22       ESST         Review and upload contents to UCC VDR and update index                         4.80
                                  (1.5); review documents for privilege information before
                                  production (2.6); meeting with V&E team on document
                                  production and next steps (.7).

      03/31/22       MWMO         Review research regarding privilege issues (.4); review                        1.80
                                  redactions to IOIs (.1); review production log (.1); review and
                                  revise Bonebrake declaration in support of KEIP (.7); review
                                  correspondence regarding witness and exhibit list (.1); review
                                  requests for information from UCC and proposed responses
                                  (.2); review and evaluate analysis of potential claims issues
                                  (.2).

      03/31/22       RLPE         Review legal research related to privilege issues (.2);                        2.10
                                  correspond with V&E team regarding same (.2); evaluate
                                  redaction issues in connection with UCC diligence requests
                                  (.3); confer with V&E team regarding outstanding issues and
                                  hearing preparations (.7); review and analyze potential
                                  litigation issues in connection with operational motions (.4);


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      Re:        Restructuring Advice

                                  correspond with V&E team regarding potential responses to
                                  Committee diligence requests (.3).

      03/31/22       DSME         Correspond with V&E team regarding strategy and tactics.                       0.50

      03/31/22       JRGO         Analyze and redact documents in preparation for production                     3.20
                                  to UCC (1.9); correspond with V&E team regarding same (.6);
                                  participate in conference call with V&E team regarding same
                                  (.7).

      03/31/22       ERHI         Finalize IOI redactions and upload to VDR for UCC (.6);                        2.10
                                  revise and update diligence tracker (.8); review April 5
                                  hearing materials (.4); correspond with V&E team regarding
                                  same (.3).

      03/31/22       MAGA         Correspond with V&E team regarding Committee diligence                         1.60
                                  requests (.6); gather and compile documents regarding same
                                  (1.0).

      03/31/22       EMME         Correspond with V&E finance and restructuring teams                            1.80
                                  regarding diligence requests (.3); draft witness and exhibit list
                                  (.5); compile exhibits related to same (.3); correspond with
                                  V&E team regarding same (.1); correspond with Weil team
                                  regarding diligence request (.1); correspond with V&E MACM,
                                  RR teams regarding Weil diligence (.4); correspond with Weil
                                  team regarding same (.1).

      03/31/22       ESST         Review and edit declarations in support of KEIP/KERP                           2.40
                                  motions (1.5); correspond with V&E team regarding the same
                                  (.5); review witness and exhibit list for upcoming hearing (.4).




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      Re:        Restructuring Advice

             Summary of services - Litigation (Contested Matters and Adversary Proceedings)
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                 10.60      860.00             9,116.00
                     JRGO         Jeremy R. Gonzalez                                                8.50      705.00             5,992.50
                     LRKA         Lauren R. Kanzer                                                  9.10      975.00             8,872.50
                     MILE         Michael C. Lee                                                    1.80      705.00             1,269.00
                     RLPE         Rebecca L. Matthews                                              53.90     1155.00            62,254.50
                     EMME         Elias M. Medina                                                  21.80      590.00            12,862.00
                     DSME         David S. Meyer                                                    1.70     1325.00             2,252.50
                     MWMO         Matthew W. Moran                                                 24.90     1285.00            31,996.50
                     MJPY         Matthew J. Pyeatt                                                 2.50      910.00             2,275.00
                     JMR          Jeremy M. Reichman                                               23.50      925.00            21,737.50
                     ERHI         Emily Rhine                                                      16.90      590.00             9,971.00
                     TGSP         Trevor G. Spears                                                  5.00      790.00             3,950.00
                     ESST         Eli S. Sterbcow                                                  35.50      590.00            20,945.00
                     SAZO         Sara Zoglman                                                      1.50      590.00               885.00

             Total                                                                               217.20                        194,379.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Meetings and Communications with Creditors
      Date           Initials     Description                                                                   Hours

      03/17/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.00
                                  vendor's counsel regarding vendor claim and related issues
                                  (.5); prepare for and participate on call with creditor's counsel
                                  regarding bankruptcy updates and related issues (.5).

      03/22/22       MWMO         Review correspondence regarding Steel Reef stipulation.                        0.10

      03/23/22       DSME         Correspond with V&E team regarding open issues with                            0.30
                                  Committee.

      03/23/22       MAGA         Participate on inbound calls from creditors regarding                          1.20
                                  bankruptcy cases and related issues (.4); calls with committee
                                  counsel regarding case status and scheduling motion (.3);
                                  confer with V&E team regarding strategy regarding same (.5).

      03/24/22       DSME         Conference with Pachulski regarding case (.8); prepare for                     1.40
                                  same (.3); follow-up with V&E team regarding next steps (.3).

      03/24/22       LRKA         Review stipulation with Steel Reef (.2); correspond with V&E                   0.60
                                  team and Cleary regarding same (.4).

      03/24/22       MJPY         Confer with taxing authority counsel regarding DIP order                       0.50


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      Re:        Restructuring Advice

                                  language (.4); correspond with lienholder counsel regarding
                                  lienholder matters (.1).

      03/24/22       MAGA         Prepare for and participate on call with V&E team and                          2.20
                                  Pachulski team regarding case updates and related issues
                                  (.8); confer with V&E team regarding committee and related
                                  issues and strategy (.5); participate on calls from inbound
                                  creditors regarding case updates and related issues (.5);
                                  confer with Ankura and Stretto team regarding related issues
                                  (.4).

      03/26/22       DSME         Correspond with Cleary regarding objection deadlines (.2);                     0.70
                                  correspond with Lauren Kanzer regarding same (.2); address
                                  next steps (.1); review confidentiality protocol (.2).

      03/26/22       LRKA         Conference with Sean O’Neal regarding objection deadline,                      0.80
                                  hearing (.2); correspond with V&E team, Cleary regarding
                                  same (.3); review and comment on draft response to
                                  Committee (.3).

      03/27/22       DSME         Review confidentiality protocol (.4); correspond with V&E                      0.60
                                  team regarding hearing schedule and Committee requests
                                  (.2).

      03/29/22       MJPY         Correspond with lender counsel regarding Committee                             2.60
                                  diligence requests and confidentiality (.2); call with Ankura
                                  regarding Committee diligence requests (.5); correspond with
                                  V&E team regarding same (.2); call with working interest
                                  owner regarding chapter 11 inquiry (.4); correspond with client
                                  regarding same (.2); call with V&E team regarding additional
                                  diligence to Committee (.4); evaluate diligence items and
                                  confidentiality provisions (.4); correspond with V&E team
                                  regarding same (.3).

      03/30/22       DSME         Correspond with V&E team regarding confidentiality matters.                    0.40

      03/30/22       MJPY         Correspond with V&E litigation and restructuring team                          0.80
                                  regarding Committee bylaws and confidentiality issues (.4);
                                  draft proposed response to Committee counsel regarding
                                  same (.4).

      03/31/22       DSME         Conference with Pachulski regarding hearing (.6); follow-up                    0.80
                                  correspondence regarding same (.2).

      03/31/22       MJPY         Correspond with V&E team regarding call with Committee                         0.80
                                  counsel and proposal (.2); call with Committee counsel
                                  regarding second-day hearing and related matters (.6).




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      Re:        Restructuring Advice

             Summary of services - Meetings and Communications with Creditors
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  4.40      860.00             3,784.00
                     LRKA         Lauren R. Kanzer                                                  1.40      975.00             1,365.00
                     DSME         David S. Meyer                                                    4.20     1325.00             5,565.00
                     MWMO         Matthew W. Moran                                                  0.10     1285.00               128.50
                     MJPY         Matthew J. Pyeatt                                                 4.70      910.00             4,277.00

             Total                                                                                 14.80                        15,119.50



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Plan, Disclosure Statement, and Confirmation
      Date           Initials     Description                                                                   Hours

      03/09/22       JRGO         Analyze and revise Disclosure Statement and Scheduling                         1.00
                                  Motion.

      03/13/22       MAGA         Review and revise disclosure statement order.                                  0.70

      03/13/22       SAZO         Revise proposed scheduling order.                                              1.10

      03/17/22       MJPY         Call with taxing authority regarding plan treatment of ad                      0.60
                                  valorem tax claims (.4); correspond with client regarding same
                                  (.2).

      03/28/22       TGSP         Correspond with V&E team and Ankura regarding RSA, Plan,                       0.20
                                  and disclosure statement.




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      Re:        Restructuring Advice

             Summary of services - Plan, Disclosure Statement, and Confirmation
                     Initials     Name                                                               Hours    Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                   0.70     860.00               602.00
                     JRGO         Jeremy R. Gonzalez                                                 1.00     705.00               705.00
                     MJPY         Matthew J. Pyeatt                                                  0.60     910.00               546.00
                     TGSP         Trevor G. Spears                                                   0.20     790.00               158.00
                     SAZO         Sara Zoglman                                                       1.10     590.00               649.00

             Total                                                                                   3.60                        2,660.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Relief from Stay and Adequate Protection
      Date           Initials     Description                                                                   Hours

      03/18/22       TGSP         Correspond with V&E team regarding Sligar lift stay motion                     0.40
                                  (.4).

      03/19/22       RLPE         Review and revise draft order to lift stay in Sligar litigation.               0.40

      03/21/22       TGSP         Correspond with V&E team regarding Sligar lift stay (.4);                      1.20
                                  research regarding same (.8).

      03/22/22       MWMO         Review correspondence regarding Sligar motion to lift stay.                    0.10

      03/22/22       RLPE         Follow-up with V&E team on Sligar litigation.                                  0.20

      03/22/22       TGSP         Draft revisions to Sligar lift stay order (.6); correspond with                0.90
                                  V&E restructuring and litigation teams regarding same (.3).

      03/23/22       TGSP         Draft revisions to Sligar order (.3); correspond with V&E team                 0.70
                                  regarding same (.4).

      03/24/22       RLPE         Revise Sligar proposed agreed order lifting stay (.2);                         0.50
                                  correspond with V&E team regarding revisions to same (.3).

      03/24/22       TGSP         Draft revisions to Sligar order (.1); correspond with V&E team                 0.80
                                  regarding same (.3); research regarding procedures for same
                                  (.4).

      03/28/22       MWMO         Review correspondence regarding Sligar lift stay motion.                       0.10

      03/28/22       RLPE         Review and respond to correspondence regarding Sligar                          0.30
                                  motion to lift stay and status of agreed order.

      03/28/22       TGSP         Correspond with V&E team regarding Sligar lift stay (.4);                      0.60


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  correspond with opposing counsel regarding same (.2).

      03/30/22       RLPE         Review further revisions to Sligar proposed agreed order.                      0.20

      03/30/22       TGSP         Draft revisions to Sligar order (.2); correspond with V&E team                 0.60
                                  and counsel to Sligar regarding same (.4).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Relief from Stay and Adequate Protection
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     RLPE         Rebecca L. Matthews                                               1.60     1155.00             1,848.00
                     MWMO         Matthew W. Moran                                                  0.20     1285.00               257.00
                     TGSP         Trevor G. Spears                                                  5.20      790.00             4,108.00

             Total                                                                                  7.00                         6,213.00



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Reporting
      Date           Initials     Description                                                                   Hours

      03/14/22       EMME         Review master service list (.2); review creditor matrix (.2);                  1.40
                                  correspond with Stretto and Ankura teams regarding MSL and
                                  creditor matrix (.3); correspond with V&E team regarding
                                  same (.2); draft notice of filing MSL (.4); correspond with V&E
                                  team regarding same (.1).

      03/21/22       MAGA         Prepare for and participate on call with V&E and Ankura                        1.00
                                  teams regarding SOFAs and SOALs (.5); confer with V&E
                                  team regarding reporting requirements (.5).

      03/21/22       TGSP         Correspond with Ankura regarding SOFAs and SOALs (.3);                         0.70
                                  conference call with same and V&E team regarding same (.4).

      03/22/22       MJPY         Evaluate Interim DIP Order bi-weekly fee reporting issues (.3);                1.80
                                  correspond with V&E team regarding same (.2); prepare
                                  deliverable for same (.6); attend calls with Ankura regarding
                                  same (.3); evaluate Interim DIP Order to support same (.2);
                                  correspond with lender counsel regarding same (.2).

      03/22/22       TGSP         Correspond with V&E team and Ankura team regarding                             0.30
                                  SOFAs and SOALs.

      03/23/22       DSME         Correspond with V&E team regarding pleadings to file and                       0.30
                                  initial debtor interview (.3).

      03/25/22       MAGA         Confer with V&E and Ankura teams regarding initial debtor                      1.30
                                  interview (.5); review and analyze forms regarding same (.5);
                                  participate on call with V&E and Ankura team regarding same
                                  (.3).

      03/25/22       TGSP         Call with Ankura and V&E team regarding initial debtor                         1.60
                                  interview reporting (.4); research precedent regarding same
                                  (.8); correspond with V&E team regarding same (.1);


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  correspond with Ankura and V&E team regarding SOFAs (.3).

      03/28/22       TGSP         Correspond with Ankura and V&E team regarding schedules                        0.20
                                  and statements.

      03/29/22       LRKA         Correspond with V&E team regarding IDI materials (.4);                         0.80
                                  review same (.4).

      03/29/22       MAGA         Confer with V&E team regarding noticing requirements (.3);                     1.80
                                  review and revise materials for initial debtor interview (1.0);
                                  confer with V&E and Ankura team regarding same (.5).

      03/29/22       TGSP         Conference calls with Company, V&E team, and Ankura                            3.40
                                  regarding schedules and statements and initial debtor
                                  interview (1.5); review and revise IDI materials (1.7);
                                  correspond with V&E team and Ankura regarding same (.2).

      03/30/22       LRKA         Prepare for and attend conference call with client, Ankura,                    0.60
                                  V&E team regarding initial debtor interview (.4); confer with
                                  V&E team regarding same (.2).

      03/30/22       MAGA         Confer with V&E team regarding SOALs and SOFAs (.5);                           2.20
                                  review and revise same (.8); confer with V&E team regarding
                                  initial debtor interview (.2); review and revise notices
                                  regarding sales and confirmation hearings (.5); confer with
                                  V&E team regarding same (.2).

      03/30/22       TGSP         Review SOFAs and SOALs (1.3); correspond with Ankura                           3.30
                                  regarding same (.3); calls with Jane Rinner regarding same
                                  (.3); calls with Mike Garza regarding same (.2); conference
                                  call with Company, Ankura and V&E team regarding initial
                                  debtor interview (.3); review research regarding same (.4); call
                                  with Eli Medina regarding same (.2); correspond with V&E
                                  team regarding same (.3).

      03/31/22       LRKA         Prepare for and attend initial debtor interview (.6); correspond               0.80
                                  with V&E team regarding same (.2).

      03/31/22       MAGA         Participate on initial debtor interview (.5); prepare for same                 2.10
                                  (.4); review and revise SOFAs and SOALs (1.0); confer with
                                  V&E team regarding publication notice (.2).

      03/31/22       TGSP         Continue review of SOFAs and SOALs (2.6); draft revisions to                   3.80
                                  global notes of same (.8); correspond with V&E team and
                                  Ankura regarding same (.4).




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      Re:        Restructuring Advice

             Summary of services - Reporting
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  8.40      860.00             7,224.00
                     LRKA         Lauren R. Kanzer                                                  2.20      975.00             2,145.00
                     EMME         Elias M. Medina                                                   1.40      590.00               826.00
                     DSME         David S. Meyer                                                    0.30     1325.00               397.50
                     MJPY         Matthew J. Pyeatt                                                 1.80      910.00             1,638.00
                     TGSP         Trevor G. Spears                                                 13.30      790.00            10,507.00

             Total                                                                                 27.40                        22,737.50



      Disbursements and other charges posted through March 31, 2022:


      Fees for services posted from March 9, 2022 through March 31, 2022:
      Re: Tax
      Date           Initials     Description                                                                   Hours

      03/09/22       JCWI         Review and provide comments to credit agreement (1.6).                         1.60

      03/16/22       JCWI         Review tax basis information related to restructuring.                         0.20

      03/21/22       JCWI         Analyze tax consequences of chapter 11 plan (.6); correspond                   1.10
                                  with V&E team regarding tax consequences of chapter 11
                                  plan (.5).

      03/22/22       JCWI         Prepare for and attend conference call with Deloitte and V&E                   3.50
                                  teams to discuss tax information and structural considerations
                                  (2.1); review and analyze tax materials and conduct tax
                                  research related to same (1.4).

      03/23/22       JCWI         Consider tax issues and sale structure (3.9); correspond with                  4.50
                                  client, V&E team regarding same (.6).

      03/24/22       JCWI         Review and analyze tax matters (1.2); conduct tax research                     3.80
                                  related to restructuring (1.6); draft summary related to same
                                  (1.0).

      03/29/22       JCWI         Conduct tax research related to restructuring (1.0);                           1.50
                                  correspond with V&E team regarding structure (.5).

      03/30/22       JCWI         Conduct tax research related to restructuring steps and                        1.80
                                  partnership entities (.8); prepare for and attend conference
                                  call with Deloitte team and V&E team to discuss tax basis
                                  information (1.0).

      03/31/22       JCWI         Conduct tax research related to Rockall structure and                          1.70
                                  partnership entities (.7); review partnership agreements


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      Re:        Restructuring Advice

                                  related to same (1.0).




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      Re:        Restructuring Advice

            Summary of services - Tax
                     Initials      Name                                                            Hours      Eff. Rate            Amount

                     JCWI          John C. Wimberly                                                19.70      890.00            17,533.00

            Total                                                                                  19.70                        17,533.00



      Disbursements and other charges posted through March 31, 2022:


      Disbursements and other charges posted through March 31, 2022:


      Business Meals
      03/09/22       SAZO          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050681209 DATE:                                            86.43
                                   3/29/2022 03/09/2022 UBER POSTMATES SAN FRANCISCO CA - In
                                   office client meeting dinner to discuss client business matters. # of
                                   attendees 3
      03/09/22       SAZO          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051306084 DATE:                                            13.67
                                   5/12/2022 03/09/2022 UBER POSTMATES SAN FRANCISCO CA - In
                                   office client meeting dinner. The $13.67 was the tip that was charged
                                   separately, and the receipt was not provided. # of attendees 3
      03/10/22       MAGA          VENDOR: Mendocino Farms; INVOICE#: 271719; DATE: 3/10/2022 -                                         73.18
                                   Rockall lunch on 3/9/22 - 4 people
                     Business Meals                                                                                               $173.28
      Courier Services
      03/14/22       TDAI          VENDOR: FedEx INVOICE#: 769746730 DATE: 3/21/2022 Cleary                                             37.68
                                   Gottlieb Steen & Hamilton NEW YORK NY US - Tracking#: 776285715114
      03/14/22       TDAI          VENDOR: FedEx INVOICE#: 769746730 DATE: 3/21/2022 Cleary                                             30.06
                                   Gottlieb Steen & Hamilton NEW YORK NY US - Tracking#: 776287966330
                     Courier Services                                                                                              $67.74
      Filing Fees
      03/09/22       LRKA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050400547 DATE:                                    24,332.00
                                   3/14/2022 03/09/2022 Fees COURTS/USBC-TX-N-D2 DALLAS TX -
                                   Rockall filing petitions.
      03/09/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050419198 DATE:                                     3,476.00
                                   3/14/2022 03/09/2022 Fees COURTS/USBC-TX-N-D2 DALLAS TX -
                                   Rockall filing petitions.
      03/10/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050443037 DATE:                                       400.00
                                   3/15/2022 03/10/2022 Fees COURTS/USBC-TX-N-D2 DALLAS TX -
                                   Filing fee payment to USBC NDTX for four (4) pro hac vice motions (David
                                   Meyer, George Howard, Lauren Kanzer, Eli Medina) at $100 each.
      03/14/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050439882 DATE:                                       122.85
                                   3/15/2022 03/14/2022 Fees IN *LAWRENCE COURT T PORT ORANGE
                                   FL - Transcript for hearing on 3/11/2022.
                     Filing Fees                                                                                               $28,330.85


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      Re:        Restructuring Advice

      Outside Professional Services
      03/17/22       MAGA         VENDOR: Restructuring Concepts LLC; INVOICE#: 120836; DATE:                                            3.73
                                  3/17/2022. Chapter 11 Dockets document downloads for the month of
                                  February 2022. (3.50 @ 80%)
      03/17/22       SAZO         VENDOR: Restructuring Concepts LLC; INVOICE#: 120836; DATE:                                           11.19
                                  3/17/2022. Chapter 11 Dockets document downloads for the month of
                                  February 2022. (10.50 @ 80%)
      03/25/22       EENE         VENDOR: Kathy Rehling; INVOICE#: 8980; DATE: 3/25/2022 - Payment                                 565.50
                                  for precedent case transcript
      03/25/22       EENE         VENDOR: Kathy Rehling; INVOICE#: 8981; DATE: 3/25/2022 - Payment                                 717.75
                                  for precedent case transcript
                     Outside Professional Services                                                                               $1,298.17

      Total                                                                                                                     $29,870.04

      Total disbursements and other charges                                                                                     $29,870.04

      Total fees, all matters                                                                                                 $996,581.50

      Total disbursements and other charges, all matters                                                                       $29,870.04

      Total Amount Due                                                                                                   $1,026,451.54




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      Re:        Restructuring Advice

      Summary of Services

      Initials       Name                                       Rank                               Hours      Eff. Rate            Amount

      GGRI           Guy Gribov                                 Partner                           13.80      1095.00            15,111.00
      GRHO           George R. Howard                           Partner                           28.00      1285.00            35,980.00
      LRKA           Lauren R. Kanzer                           Partner                           84.30       975.00            82,192.50
      RLPE           Rebecca L. Matthews                        Partner                           67.00      1155.00            77,385.00
      DSME           David S. Meyer                             Partner                           42.30      1325.00            56,047.50
      MWMO           Matthew W. Moran                           Partner                           37.10      1285.00            47,673.50
      SMT            Shane M. Tucker                            Partner                            8.40      1325.00            11,130.00
      JMR            Jeremy M. Reichman                         Counsel                           26.10       925.00            24,142.50
      JETO           Joclynn E. Townsend                        Counsel                            4.60       945.00             4,347.00
      BMIB           Brandon M. Brunet                          Associate                         24.30       685.00            16,645.50
      TDAI           Taylor Daily                               Associate                         32.00       590.00            18,880.00
      YJEO           Yong J. Eoh                                Associate                          5.10       860.00             4,386.00
      MAGA           Michael A. Garza                           Associate                        117.40       860.00           100,964.00
      JRGO           Jeremy R. Gonzalez                         Associate                         15.00       705.00            10,575.00
      MILE           Michael C. Lee                             Associate                          9.10       705.00             6,415.50
      CELE           Cesar Leyva                                Associate                         14.50       860.00            12,470.00
      EMME           Elias M. Medina                            Associate                         97.10       590.00            57,289.00
      ARMU           Arthur Munoz                               Associate                         37.40       705.00            26,367.00
      MJPY           Matthew J. Pyeatt                          Associate                        110.20       910.00           100,282.00
      ERHI           Emily Rhine                                Associate                         17.20       590.00            10,148.00
      TGSP           Trevor G. Spears                           Associate                         90.00       787.00            70,863.00
      MJSP           Melissa J. Spohn                           Associate                         21.70      1015.00            22,025.50
      ESST           Eli S. Sterbcow                            Associate                         44.70       590.00            26,373.00
      KIVA           Kiran Vakamudi                             Associate                         64.20       790.00            50,718.00
      JCWI           John C. Wimberly                           Associate                         20.20       890.00            17,978.00
      BEZE           Benjamin Zeter                             Associate                          8.00       685.00             5,480.00
      SAZO           Sara Zoglman                               Associate                        101.20       590.00            59,708.00
      EENE           Elizabeth E. Neuman                        Paralegal                         72.30       310.00            22,413.00
      IDAY           Ida Ayalew                                 Law School                         4.80       540.00             2,592.00
                                                                Graduate/Law Clerk

      Total                                                                                    1,218.00                       $996,581.50




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      August 9, 2022

      Rockall Energy Holdings, LLC                                              Client/Matter Number         ROC447 64001
      5851 Legacy Circle, Suite 500                                             Invoice Number               25701990
      Plano, TX 75024                                                           Billing Attorney             William C. Smith

      This invoice has been forwarded via e-mail to:
      accountspayable@rockallenergy.com



      Re:        Restructuring Advice
      Fees for services posted through April 30, 2022:
      Re: Asset Sales
      Date           Initials     Description                                                                   Hours

      04/01/22       JETO         Prepare for and participate in telephone conference with V&E                   2.00
                                  team regarding NPRI marketing issues (.4); review and revise
                                  exhibits to PSA (1.2); review working draft of disclosure
                                  schedules (.4).

      04/01/22       MJPY         Correspond with Lazard regarding sale documentation and                        1.70
                                  related updates (.3); correspond with V&E team regarding
                                  same (.2); further correspondence with Lazard regarding
                                  bidder access issues (.4); evaluate buyer inquiry regarding
                                  Louisiana assets (.2); draft response to Lazard regarding
                                  same (.6).

      04/01/22       CELE         Correspond with David Mirkin regarding sale schedules and                      0.20
                                  exhibits.

      04/01/22       ZPAR         Revise exhibits related to sale process.                                       0.20

      04/01/22       SAZO         Draft supplemental cure notice (.8); conduct follow-up                         1.60
                                  correspondence regarding same (.2); revise same (.6).

      04/02/22       LRKA         Correspond with V&E team regarding sale process matters.                       0.30

      04/02/22       MJPY         Evaluate correspondence from potential bidder regarding                        0.50
                                  Louisiana assets (.1); work on proposed response to same
                                  (.2); evaluate research to support same (.2).

      04/03/22       MJPY         Correspond with V&E restructuring team regarding purchaser                     0.20
                                  inquiry.

      04/04/22       DSME         Correspond with Matt Pyeatt regarding sale process                             0.40
                                  procedures.

      04/04/22       JETO         Review and revise updated draft of PSA disclosure                              0.70
                                  schedules.

      04/04/22       MJPY         Evaluate midstream counterparty issues in connection with                      2.90
                                  sale process (.3); review precedent to support same (.4); work
                                  on language in connection with same (.3); evaluate
                                  confidentiality issues in connection with same (.2); correspond
                                  with V&E team regarding same (.2); correspond with Lazard
                                  regarding same (.2); call with Lazard regarding same (.2);
                                  work on further comments to same (.3); correspond with
                                  lender counsel and committee counsel regarding same (.2);


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                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  attend call with V&E restructuring team regarding bidder
                                  inquiry and related research (.6).

      04/04/22       CELE         Review correspondence from Rockall regarding disclosure                        0.20
                                  schedules (.1); correspond with Stephen Golmont regarding
                                  status of Purchase and Sale Agreement (.1).

      04/04/22       ZPAR         Prepare sale schedules.                                                        0.10

      04/04/22       GRHO         Call with Stephen Golmont regarding sales process (.4);                        1.70
                                  review and analyze related materials (.8); correspond with
                                  Matt Pyeatt and Lauren Kanzer regarding same (.3); review,
                                  analyze, and revise Lazard draft email regarding sales
                                  process (.2).

      04/04/22       BEZE         Draft disclosure schedules for PSA.                                            1.10

      04/05/22       MJPY         Call with Lazard regarding sale diligence for Committee                        1.50
                                  requests (.3); correspond with V&E team regarding same (.2);
                                  evaluate IOI instructions letter (.4); work on comments to
                                  same (.3); evaluate bid procedures to support same (.2);
                                  correspond with V&E ETP team regarding PSA schedules
                                  (.1).

      04/05/22       CELE         Review disclosure schedules.                                                   0.40

      04/05/22       SAZO         Draft IOI instruction letter in relation to sale process (2.2);                2.40
                                  correspond with V&E and Lazard teams regarding same (.2).

      04/06/22       JETO         Prepare for and participate in telephone conference with V&E                   0.50
                                  team discussing status of sales transaction.

      04/06/22       MJPY         Participate in call with Lazard regarding procedures for                       3.10
                                  midstream contact (.3); correspond with V&E team regarding
                                  same (.3); further calls with Lazard regarding same (.2);
                                  correspond with counsel to North Dakota DEQ regarding sale
                                  issues (.2); correspond with V&E team regarding same (.2);
                                  correspond with lender counsel regarding form APA (.2);
                                  evaluate inquiry regarding bid procedures and disclosure
                                  issues and consultation requirements (.4); correspond with
                                  Lazard regarding same (.2); evaluate sale process update
                                  from Lazard (.3); call with Lazard regarding Sentinel inquiry
                                  (.4); evaluate follow-up issues in connection with same (.4).

      04/06/22       CELE         Attend conference with V&E team regarding works in                             2.20
                                  progress (.2); review and revise disclosure schedules to
                                  Purchase and Sale Agreement (1.8); correspond with Eli
                                  Medina and Ben Zeter regarding 365 Contract schedule (.1);
                                  correspond with Stephen Golmont regarding Purchase and
                                  Sale Agreement posting (.1).

      04/06/22       SAZO         Evaluate inquiry regarding bid procedures and consultation                     1.90
                                  requirements (.2); review and revise IOI instruction letter (.8);


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  correspond with V&E and Lazard teams regarding same (.9).

      04/06/22       BEZE         Work on disclosure schedules to purchase and sale                              0.80
                                  agreement.

      04/07/22       LRKA         Conference call with Lazard, V&E team, Company regarding                       1.10
                                  sales process (.7); correspond with V&E team regarding same
                                  (.4).

      04/07/22       JETO         Prepare for and participate in telephone conference with V&E                   1.70
                                  team discussing status of sales transaction (.5); update
                                  exhibits based on email correspondence with Rockall (.5);
                                  review and provide comments to additional disclosure
                                  schedules (.7).

      04/07/22       MJPY         Correspond with Lazard regarding IOIs and confidentiality                      0.90
                                  issues (.4); call with Lazard and advisors regarding sale
                                  update (.3); correspond with V&E team regarding form PSA
                                  (.2).

      04/07/22       CELE         Correspond with Jane VanLare and Cleary team regarding                         0.10
                                  comments to Purchase and Sale Agreement.

      04/07/22       ZPAR         Review consent language in regards to purchase and sale                        1.40
                                  agreement (.8); update consent schedule (.6).

      04/07/22       GRHO         Review and analyze sales process updates (.6); review and                      0.80
                                  analyze correspondence from Carver Darden regarding sale
                                  of certain leases and correspond with V&E team regarding
                                  same (.2).

      04/08/22       LRKA         Review indications of interest (1.1); correspond with V&E                      1.70
                                  team regarding same (.3); review correspondence regarding
                                  sale process (.3).

      04/08/22       JETO         Review and revise PSA and send updated draft to V&E                            0.50
                                  restructuring team.

      04/08/22       MJPY         Correspond with V&E team regarding bidder access to                            2.00
                                  midstream counterparty (.2); correspond with Lazard
                                  regarding same (.2); evaluate lender counsel comments to
                                  form PSA (.3); correspond with V&E team regarding same
                                  (.2); evaluate indications of interest received (.6); call with
                                  V&E restructuring team regarding summary of same (.3);
                                  correspond with V&E litigation team regarding same (.2).

      04/08/22       CELE         Correspond with Cleary and restructuring teams regarding                       1.20
                                  revisions to Purchase and Sale Agreement (.1); correspond
                                  with Ben Zeter regarding same (.1); review revisions to
                                  Purchase and Sale Agreement (.1); correspond with Joclynn
                                  Townsend regarding issues related to material contracts (.1);
                                  review disclosure schedules (.5); correspond with Ben Zeter
                                  and Zach Parker regarding same (.1); analyze issue related to


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  consents to be scheduled (.2).

      04/08/22       ZPAR         Review all consent language (.7); update consent schedule to                   1.10
                                  include revised language (.4).

      04/08/22       SAZO         Review and respond to V&E correspondence regarding IOIs                        0.30
                                  and the sale process generally.

      04/08/22       BEZE         Finalize disclosure schedule draft (1.7); send same to client                  2.60
                                  for input (.9).

      04/09/22       MJPY         Evaluate indications of interest summary (.3); correspond with                 1.00
                                  Lazard regarding same (.1); correspond with V&E team
                                  regarding same (.2); call with Lazard regarding same (.2);
                                  correspond with consultation parties regarding IOIs (.2).

      04/09/22       CELE         Review and analyze indications of interest received from                       0.50
                                  potential bidders.

      04/09/22       SAZO         Summarize IOIs and draft research regarding same (1.4);                        1.50
                                  correspond with V&E team regarding same (.1).

      04/10/22       MJPY         Evaluate indications of interest and related summary.                          0.20

      04/11/22       BELO         Review indications of interests and other bid materials (1.6);                 2.00
                                  discuss with V&E team regarding same (.4).

      04/11/22       LRKA         Participate in conference call with Lazard regarding sale                      1.20
                                  process (.4); conference with V&E team regarding same (.8).

      04/11/22       MJPY         Participate in call with Lazard regarding updated indications of               1.60
                                  interest and stalking-horse mechanics (.3); participate in call
                                  with V&E team regarding same (.3); correspond with V&E
                                  team regarding same (.2); evaluate indication of interest
                                  summary (.1); correspond with V&E team regarding same
                                  (.2); evaluate and prepare language to address bidder contact
                                  with midstream provider (.3); correspond with Lazard
                                  regarding same (.2).

      04/11/22       CELE         Correspond with V&E team regarding disclosure schedules to                     0.10
                                  Purchase and Sale Agreement.

      04/12/22       JETO         Prepare for and participate in telephone conference with V&E                   2.00
                                  team regarding disclosure schedules to PSA (.9); review
                                  disclosure schedules (.7); provide email guidance to V&E
                                  restructuring team regarding same (.4).

      04/12/22       MJPY         Correspond with Lazard regarding bidder access to                              2.20
                                  midstream counterparty (.3); participate in call with Lazard
                                  regarding same (.4); participate in call with V&E team
                                  regarding same (.3); evaluate bid procedures to support same
                                  (.2); evaluate suspense mechanics in support of PSA (.3);
                                  evaluate bonding issues in support of same (.4); evaluate


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  indications of interest (.2); correspond with V&E team
                                  regarding same (.1).

      04/12/22       CELE         Prepare for and attend conference with Rockall and V&E                         1.20
                                  teams regarding disclosure schedules to Purchase and Sale
                                  Agreement (.4); discuss issues related to same with V&E ETP
                                  team (.1); attend conference with V&E ETP team regarding
                                  same and next steps (.2); discuss issues related to subject
                                  matter formations with Company (.3); analyze issues related
                                  to same and discuss with V&E ETP team (.2).

      04/12/22       ZPAR         Review consent language and update consent schedule in                         1.00
                                  connection with PSA (.8); draft email to V&E restructuring
                                  regarding same (.2).

      04/12/22       GRHO         Conduct research regarding consultation party rights in bid                    0.30
                                  procedures (.2); correspond with V&E team regarding same
                                  (.1).

      04/12/22       BEZE         Update disclosure schedules in connection with PSA (.8);                       3.10
                                  prepare for and participate in telephone conference with client
                                  and V&E team regarding same (1.2); participate in telephone
                                  conference with V&E team to discuss same (1.1).

      04/13/22       BELO         Review Stalking Horse timing and related matters (1.7);                        2.00
                                  discuss with V&E team regarding same (.3).

      04/13/22       LRKA         Conference with Stephen Golmont regarding sale matters                         1.00
                                  (.3); conduct follow-up correspondence with V&E team
                                  regarding same (.3); review correspondence regarding sale
                                  process (.4).

      04/13/22       JETO         Review Stalking Horse timing and related matters (1.9);                        2.50
                                  discuss with V&E team regarding same (.3); correspond with
                                  V&E team regarding status of sale transaction (.3).

      04/13/22       MJPY         Participate on call with client, Lazard, and V&E team to                       2.50
                                  address PSA issues and sale process inquiries (.6); evaluate
                                  and address follow-up issues with respect to same (.4);
                                  participate on call with Lazard regarding improved indication
                                  of interest (.4); correspond with V&E team regarding same
                                  (.2); evaluate bid procedures to support stalking-horse bid
                                  inquiry (.3); correspond with V&E team regarding same (.3);
                                  confer with V&E team regarding sale order (.2); evaluate
                                  precedent to support same (.1).

      04/13/22       CELE         Prepare for and attend call with Rockall and Lazard teams                      1.50
                                  regarding issues related to suspense funds (.8); correspond
                                  with V&E team regarding consent schedule for PSA (.1);
                                  review and comment on consent schedule (.4); correspond
                                  with Stephen Golmont regarding exhibits and schedules to
                                  PSA (.1); correspond with V&E restructuring team regarding
                                  issues related to potential stalking horse bidder (.1).


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      Re:        Restructuring Advice

      04/13/22       ZPAR         Review consent language and update consent schedule for                        0.70
                                  PSA.

      04/13/22       SAZO         Review bidding procedures consultation rights (.3);                            0.60
                                  correspond with V&E team regarding same (.3).

      04/13/22       BEZE         Prepare disclosure schedules for PSA (1.1); confer with V&E                    1.70
                                  team regarding same (.6).

      04/14/22       BELO         Review indications of interests and other bid materials (1.6);                 2.00
                                  discuss with V&E team regarding same (.4).

      04/14/22       DSME         Review indications of interest.                                                0.40

      04/14/22       LRKA         Participate on conference call with Lazard, V&E team, and                      1.10
                                  management regarding sale process (.7); review
                                  correspondence regarding same (.4).

      04/14/22       JETO         Review indications of interests and other bid materials (1.7);                 2.00
                                  discuss with V&E team regarding same (.3).

      04/14/22       MJPY         Participate on call with client, V&E team, and Lazard                          2.80
                                  regarding sale process update and related issues (.8);
                                  correspond with Lazard regarding stalking-horse inquiry (.2);
                                  participate on call with Lazard regarding improved bids (.3);
                                  confer with V&E team regarding same (.3); correspond with
                                  V&E restructuring team regarding bid requirements (.2);
                                  evaluate improved indication of interest (.3); evaluate bid
                                  procedures to support mechanics with respect to stalking-
                                  horse bid (.3); participate on call with V&E team and counsel
                                  to creditor Crowell regarding lease and well termination issues
                                  (.4).

      04/14/22       CELE         Review and comment on exhibits and schedules to Purchase                       4.60
                                  and Sale Agreement (2.9); correspond with V&E ETP team
                                  regarding same (.2); correspond with V&E restructuring team
                                  regarding schedules to Purchase and Sale Agreement (.2);
                                  correspond with same regarding issues related to P&A
                                  obligations in connection with sale transaction (.1); prepare
                                  exhibits and schedules to Purchase Agreement for posting to
                                  bidders (.4); analyze issues related to potential stalking horse
                                  bidder (.2); discuss issues related to release of certain leases
                                  with V&E restructuring team (.1); prepare for and attend call
                                  with Crowell Land and Mineral Corporation and V&E team
                                  regarding same (.4); discuss issues surrounding same with
                                  V&E team (.1).

      04/14/22       ZPAR         Review and assess leases provided for consents.                                0.40

      04/14/22       SAZO         Review indications of interest and related correspondence                      0.50
                                  (.4); correspond with V&E team regarding same (.1).



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      Re:        Restructuring Advice

      04/14/22       BEZE         Prepare disclosure schedules for PSA.                                          2.40

      04/15/22       MWMO         Review correspondence regarding status of potential stalking                   0.10
                                  horse bidder status.

      04/15/22       BELO         Review indications of interests and other bid materials.                       1.80

      04/15/22       LRKA         Prepare for and conference call with UCC advisors, V&E                         2.10
                                  team, Lazard, Ankura regarding sales process, mortgages
                                  (1.0); conference call with V&E team regarding same (.6);
                                  review correspondence regarding same (.2); correspond with
                                  Pachulski regarding PSA and purchase price deductions (.2);
                                  correspond with V&E team regarding same (.1).

      04/15/22       MJPY         Participate on call with V&E ETP team regarding sale process                   1.80
                                  update (.5); correspond with V&E ETP team regarding
                                  inquiries on sale process (.4); correspond with Lazard
                                  regarding same (.2); assess and address escrow account
                                  issues related to bid deposits (.3); correspond with client
                                  regarding same (.4).

      04/15/22       CELE         Correspond with V&E team regarding governmental and                            3.50
                                  regulatory bonds in connection with sale transaction (.1);
                                  correspond with V&E ETP team regarding land exhibits and
                                  schedules to Purchase and Sale Agreement (.1); correspond
                                  with David Mirkin regarding same (.1); review land exhibits for
                                  Purchase and Sale Agreement (.4); prepare for and attend
                                  conference with V&E team regarding issues related to bidder
                                  diligence and bonds (.8); conduct follow-up discussion related
                                  to same with V&E ETP team (.1); review and analyze consent
                                  schedules (1.7); discuss issues related to same with Ben
                                  Zeter and Zach Parker (.2).

      04/15/22       ZPAR         Review new leases provided for consents and update consent                     1.80
                                  schedule (1.4); draft email regarding same to David Meyer
                                  (.4).

      04/15/22       SAZO         Correspond with consultation parties under the bidding                         0.20
                                  procedures regarding sale process update.

      04/15/22       BEZE         Prepare disclosure schedules for PSA.                                          0.40

      04/16/22       MJPY         Evaluate bonding issues to support sale inquiry (.3);                          0.70
                                  correspond with Lazard regarding same (.2); correspond with
                                  Lazard regarding stalking-horse inquiry (.2).

      04/16/22       ZPAR         Review and prepare comments for land exhibits for PSA (.9);                    1.00
                                  correspond with Sara Zoglman regarding same (.1).

      04/17/22       LRKA         Correspond with V&E team regarding sales process, timeline.                    0.30

      04/17/22       MJPY         Correspond with Lazard regarding stalking-horse bid                            0.80
                                  mechanics (.2); correspond with V&E team regarding same


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  (.2); evaluate bid procedures to address same (.2);
                                  correspond with Lazard regarding operatorship transfer (.2).

      04/17/22       SAZO         Review correspondence regarding IOIs.                                          0.10

      04/18/22       BELO         Review indication of interests from various bidders (2.1);                     4.00
                                  discuss Steel Reef contract and related bid matters with V&E
                                  team (1.1); discuss indication of interests, purchase and sale
                                  agreement negotiation process and Steel Reef contract
                                  issues with Lazard team (.8).

      04/18/22       JETO         Provide comments to land exhibits and other commentary to                      0.70
                                  V&E team in connection with PSA.

      04/18/22       MJPY         Correspond with consultation parties regarding stalking-horse                  2.10
                                  designation (.2); correspond with client and Lazard regarding
                                  same (.2); correspond with Lazard regarding bonding and
                                  permit issues in connection with sale (.2); participate in call
                                  with client and Lazard regarding same (.9); evaluate follow-up
                                  issues to address same (.3); analyze stalking-horse bidder
                                  issues list (.2); evaluate form PSA to support same (.1).

      04/18/22       CELE         Correspond with V&E team regarding timing of stalking horse                    0.90
                                  bid (.1); analyze issue related to question from potential
                                  bidder regarding transfer of operatorship (.1); correspond with
                                  V&E ETP team regarding same (.1); review land exhibits in
                                  connection with Purchase and Sale Agreement (.4);
                                  correspond with V&E ETP team regarding process for
                                  analysis of potential bids (.2).

      04/18/22       ZPAR         Prepare and circulate land exhibit comments in connection                      0.50
                                  with PSA.

      04/18/22       SAZO         Attend call with V&E team regarding schedules of assets and                    3.20
                                  liabilities (.8); analyze and prepare summary of assets and
                                  certain liabilities for each debtor (2.4).

      04/18/22       EMME         Review various PSAs related to bonds (1.1); correspond with                    1.40
                                  V&E and Ankura teams regarding same (.3).

      04/18/22       BEZE         Assist Cesar Leyva with research regarding NDIC Form 15.                       2.20

      04/19/22       BELO         Review and revise Hawkeye Purchase and Sale Agreement                          6.20
                                  (3.7); discuss Hawkeye Purchase and Sale Agreement with
                                  Joclynn Townsend, Matt Pyeatt, Lauren Kanzer (1.2); discuss
                                  Hawkeye Purchase and Sale Agreement with counsel
                                  (Cleary) for lenders (.7); discuss Hawkeye Purchase and Sale
                                  Agreement with Lazard team (.6).

      04/19/22       DSME         Telephone conference with Cleary regarding bidders and                         0.80
                                  process.

      04/19/22       JETO         Review markup of revised PSA (.6); prepare for and                             5.20


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      Re:        Restructuring Advice

                                  participate in telephone conferences with V&E team regarding
                                  revised PSA (2.4); correspond with V&E team regarding TSA
                                  and other exhibits (2.2).

      04/19/22       MJPY         Correspond with Lazard regarding stalking-horse bid (.2);                      4.20
                                  correspond with lender counsel regarding same (.2);
                                  correspond with Committee counsel regarding same (.2);
                                  evaluate stalking-horse PSA (1.2); correspond with V&E team
                                  regarding PSA (.3); call with client and Lazard regarding same
                                  (1.1); call with lender counsel regarding same (.7); evaluate
                                  bid procedures to support same (.3).

      04/19/22       CELE         Correspond with Mike Garza regarding issues related to                         0.60
                                  releases of certain leases (.2); begin analysis of comments to
                                  Purchase and Sale Agreement by bidder (.4).

      04/19/22       ZPAR         Prepare TSA and exhibits (2.9); review new land exhibits (.7).                 3.60

      04/19/22       SAZO         Confer with V&E team regarding motion to reconsider bidding                    2.10
                                  procedures order (.2); conference with Company, Lazard,
                                  Ankura, and V&E teams regarding stalking horse agreement
                                  (1.1); conference with Cleary and V&E team regarding same
                                  (.8).

      04/19/22       BEZE         Draft Transition Services Agreement.                                           4.60

      04/20/22       BELO         Review and revise Hawkeye Purchase and Sale Agreement                          8.60
                                  (5.3); confer with Joclynn Townsend, Matt Pyeatt, Lauren
                                  Kanzer throughout the day regarding same (2.2); confer with
                                  Lazard team throughout the day regarding same (1.1).

      04/20/22       LRKA         Conference with Lazard, management, V&E team regarding                         2.30
                                  PSA (.9); follow-up correspondence regarding same (.4);
                                  conference call with Lazard, V&E team regarding stalking
                                  horse bidder (.4); correspond with Lazard, V&E team
                                  regarding Peterson settlement (.6).

      04/20/22       JETO         Prepare for and participate in telephone conference regarding                  8.20
                                  revised PSA with Bracewell (.9); prepare for and participate in
                                  telephone conference with V&E team regarding same (.6);
                                  revise PSA (6.7).

      04/20/22       MJPY         Evaluate stalking-horse PSA (.8); comment on same (.2).                        1.00

      04/20/22       CELE         Correspond with Joclynn Townsend regarding issues related                      4.20
                                  to title mechanics in Purchase and Sale Agreement (.2);
                                  review and revise Transition Services Agreement (1.3);
                                  correspond with Joclynn Townsend regarding issues related
                                  to Transition Services Agreement (.1); prepare for and attend
                                  telephone conference with Hawkeye, Rockall, Lazard and
                                  V&E teams regarding Purchase and Sale Agreement (1.2);
                                  prepare for and attend telephone conference with Rockall,
                                  Lazard and V&E teams regarding same (.4); analyze issues


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      Re:        Restructuring Advice

                                  related to Transition Services Agreement (.2); review
                                  revisions to Transition Services Agreement (.4); analyze
                                  issues related to title mechanics in Purchase and Sale
                                  Agreement (.2); correspond with Ben Zeter regarding same
                                  (.1); correspond with Brandon Van Sickle regarding schedules
                                  to Purchase and Sale Agreement (.1).

      04/20/22       ZPAR         Revise TSA and exhibits (1.4); circulate same (.2); prepare                    2.50
                                  escrow agreement (.8); correspond with escrow agent (.1).

      04/20/22       SAZO         Conference with Company, Ankura, Lazard, and V&E teams                         1.50
                                  regarding stalking horse agreement negotiations (.8); review
                                  stalking horse agreement (.4); correspond with V&E team
                                  regarding the Committee's motion to reconsider bidding
                                  procedures (.3).

      04/20/22       BEZE         Draft escrow agreement (2.0); analysis related to Hawkeye's                    7.60
                                  bid (4.0); review and revise TSA (1.6).

      04/21/22       BELO         Review and revise Purchase and Sale Agreement (5.3);                           8.40
                                  confer with V&E team regarding same throughout the day
                                  (2.7); conference with Lazard team regarding same (.4).

      04/21/22       LRKA         Conference with Lazard, V&E regarding PSA and sale                             0.90
                                  process (.6); correspond with V&E team regarding same (.3).

      04/21/22       JETO         Conference with Company regarding land exhibits (.6);                          5.50
                                  prepare for and participate in telephone conference with V&E
                                  team regarding same (.6); review escrow agreement (.6);
                                  review and update PSA (1.9); correspond with V&E team
                                  regarding transaction status (1.8).

      04/21/22       MJPY         Conference with Lazard regarding sale process update (.6);                     3.20
                                  correspond with V&E ETP team regarding stalking-horse PSA
                                  (.2); conference with lender counsel regarding draft PSA (.3);
                                  correspond with V&E team regarding same (.2); evaluate
                                  stalking-horse PSA (1.1); comment on same (.6); evaluate
                                  draft auction procedures (.2).

      04/21/22       ZPAR         Revise TSA and exhibits.                                                       1.20

      04/21/22       SAZO         Review precedent sale orders (.9); draft sale order (.3).                      1.20

      04/21/22       GRHO         Review and analyze correspondence regarding auction                            0.30
                                  procedures (.2); respond to same (.1).

      04/21/22       BEZE         Review and revise escrow agreement (2.1); review and revise                    5.70
                                  transition services agreement (2.2); review and revise stalking
                                  horse PSA (1.4).

      04/22/22       BELO         Review and revise Purchase and Sale Agreement (5.4);                           7.20
                                  confer with V&E team regarding same (1.4); confer with
                                  Lazard team regarding same (.4).


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      Re:        Restructuring Advice

      04/22/22       LRKA         Conference call with UCC professionals, Ankura, Lazard, V&E                    0.50
                                  team regarding sale process.

      04/22/22       JETO         Review and revise Purchase and Sale Agreement (4.1);                           6.50
                                  conference with V&E team regarding same (.6); revise same
                                  (1.8).

      04/22/22       MJPY         Evaluate revised stalking-horse PSA (2.1); conference with                     3.20
                                  client regarding same (.4); correspond with V&E ETP team
                                  regarding same (.3); correspond with lender counsel
                                  regarding same (.2); correspond with Lazard regarding same
                                  (.2).

      04/22/22       CELE         Correspond with Joclynn Townsend regarding issues related                      0.90
                                  to lease schedules (.1); prepare for conference with V&E
                                  team regarding draft of Purchase and Sale Agreement (.2);
                                  attend same (.4); correspond with Zach Parker and Ben Zeter
                                  regarding issues related to schedules to Purchase Agreement
                                  (.2).

      04/22/22       ZPAR         Revise schedules (.7); conference with V&E team regarding                      1.30
                                  PSA (.6).

      04/22/22       SAZO         Correspond with V&E team and ND counsel regarding North                        0.40
                                  Dakota environmental considerations (.3); correspond with
                                  V&E team regarding sales updates (.1).

      04/22/22       BEZE         Revise PSA (2.3); conference with client regarding same                        3.50
                                  (1.2).

      04/23/22       MJPY         Correspond with Committee counsel regarding PSA.                               0.20

      04/23/22       BEZE         Correspond with client regarding PSA exhibits.                                 0.20

      04/24/22       ZPAR         Review disclosure schedules.                                                   0.30

      04/24/22       SAZO         Review sale order precedent (.9); draft sale order (2.4).                      3.30

      04/25/22       BELO         Review and revise Purchase and Sale Agreement (3.6);                           4.70
                                  correspond with V&E team regarding same (.7); correspond
                                  with Lazard team regarding same (.4).

      04/25/22       JETO         Correspond with V&E team regarding open items regarding                        1.60
                                  sales transaction (.6); prepare for and participate in
                                  conference with V&E team regarding same (.4); correspond
                                  with V&E team regarding open material issues list (.3);
                                  prepare for and participate in conference with V&E team
                                  regarding TSA (.3).

      04/25/22       EMME         Correspond with V&E team regarding sale issues.                                0.10

      04/26/22       BELO         Review and revise bid documents (1.6); discuss Hawkeye                         3.00


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      Re:        Restructuring Advice

                                  Purchase and Sale Agreement with V&E Team (1.4).

      04/26/22       DSME         Conference call with Company and advisors regarding sale                       0.50
                                  process.

      04/26/22       LRKA         Conference calls with Lazard, V&E team, management                             1.30
                                  regarding sale process (.9); review correspondence regarding
                                  same (.4).

      04/26/22       JETO         Correspond with V&E team regarding status of transaction                       1.20
                                  documents with Hawkeye (.6); prepare for and participate in
                                  telephone conference discussing material issues list with V&E
                                  team (.6).

      04/26/22       MJPY         Conference call with Company, V&E team, and Lazard                             0.50
                                  regarding Hawkeye bid and sale process update.

      04/26/22       CELE         Analyze issue related to interpretation of Purchase and Sale                   0.50
                                  Agreement (.2); correspond with Joclynn Townsend and client
                                  regarding same (.1); analyze issue related to inquiry from
                                  North Dakota Department of Environmental Quality (.1);
                                  correspond with Mike Garza regarding such analysis (.1).

      04/27/22       BELO         Review and revise Purchase and Sale Agreement and related                      2.50
                                  exhibits (1.9); discuss Hawkeye Purchase and Sale
                                  Agreement with V&E team (.6).

      04/27/22       SAZO         Draft sale order.                                                              0.80

      04/27/22       EMME         Review leases (.9); correspond with V&E team regarding                         1.10
                                  same (.2).

      04/28/22       BELO         Attend conference call with Company, V&E team, Lazard                          2.80
                                  regarding sale process (.6); conference call with UCC
                                  advisors and company advisors regarding same (.4); review
                                  and revise bid documents (1.1); discuss same with V&E team
                                  (.7).

      04/28/22       DSME         Conference call with Company, V&E team, Lazard regarding                       0.50
                                  sale process.

      04/28/22       LRKA         Conference call with Company, V&E team, Lazard regarding                       1.40
                                  sale process (.6); conference call with UCC advisors and
                                  company advisors regarding same (.4); correspond with V&E
                                  team regarding same (.4).

      04/28/22       JETO         Correspond with V&E team regarding consent decrees and                         1.20
                                  NOVs (.6); prepare for and participate in conference call with
                                  V&E team, Company, and Lazard regarding sales process
                                  (.6).

      04/28/22       MJPY         Call with client and Lazard regarding sale process update (.4);                1.50
                                  work on auction logistics and related mechanics (.7); call with


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      Re:        Restructuring Advice

                                  V&E restructuring team regarding same (.4).

      04/28/22       SAZO         Review lease and environmental issues (.2); correspond with                    0.30
                                  V&E team regarding same (.1).

      04/29/22       RLPE         Correspond with Matt Pyeatt regarding sales process update                     0.50
                                  and begin to review same.

      04/29/22       BELO         Correspond with V&E team regarding insurance proceeds                          4.00
                                  under PSA (.4); correspond with same regarding bid deadline
                                  process (.6); review revised PSA and bid letters (2.1);
                                  correspond and confer with V&E team regarding same (.9).

      04/29/22       DSME         Correspond with V&E team regarding sale and bid deadline.                      0.40

      04/29/22       LRKA         Review submitted bids (.7); review correspondence regarding                    1.10
                                  same (.2); correspond with Matt Pyeatt regarding same (.2).

      04/29/22       JETO         Correspond with V&E team regarding insurance proceeds                          2.50
                                  under PSA (.6); correspond with same regarding bid deadline
                                  process (.6); review revised PSA and bid letters (1.3).

      04/29/22       MJPY         Evaluate bid procedures and bid procedures order to prepare                    6.20
                                  for bid deadline and auction (.9); correspond with objecting
                                  party regarding sale order language (.2); correspond with
                                  surety counsel regarding same (.2); work on auction
                                  procedures (.8); work on auction mechanics and logistics with
                                  Sara Zoglman (.7); correspond with V&E ETP team regarding
                                  bid process (.2); correspond with NDDEQ counsel regarding
                                  sale objection (.2); call with V&E restructuring team regarding
                                  auction mechanics and sale hearing preparation (.8); evaluate
                                  bids received (1.3); call with Lazard regarding same (.3);
                                  correspond with Lazard regarding bidder inquiry (.2); evaluate
                                  precedent sale orders (.4).

      04/29/22       CELE         Prepare for and attend call with Rockall and UCC                               0.50
                                  professionals regarding bids.

      04/29/22       ZPAR         Prepare issues list shell for PSA.                                             0.90

      04/29/22       SAZO         Review docket for cure objections (.2); prepare tracker                        2.80
                                  regarding same (.1); correspond with V&E team regarding
                                  same (.2); attend call with V&E team regarding sale process
                                  (.9); correspond with V&E team regarding court reporter for
                                  auction (.2); draft rsvp email for consultation parties regarding
                                  the auction (.2); correspond with V&E team regarding same
                                  (.3); coordinate reservations for auction (.3); correspond with
                                  consultation parties regarding rsvp for auction (.4).

      04/29/22       GRHO         Review, analyze, and comment on proposed auction                               3.60
                                  procedures (1.8); call with Matt Pyeatt and Sara Zoglman
                                  regarding sales process and related work streams (1.1);
                                  correspond with Sara Zoglman and Matt Pyeatt regarding


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      Re:        Restructuring Advice

                                  auction logistics (.7).

      04/29/22       BEZE         Create issues list template for bidder PSAs.                                   2.10

      04/30/22       BELO         Discuss bids with V&E and Lazard teams.                                        0.60

      04/30/22       LRKA         Conference call with Company, Lazard, and V&E teams                            0.50
                                  regarding sale process, bids.

      04/30/22       JETO         Review PSA markups and offer letters (.4); prepare for and                     4.50
                                  participate in telephone conference with V&E team discussing
                                  next steps (.6); coordinate review of PSA markup with V&E
                                  specialists (.2); correspond with V&E team regarding
                                  treatment of suspense funds (.3); revise PSA (3).

      04/30/22       MJPY         Call with Lazard regarding bid update (.8); call with V&E                      1.20
                                  restructuring team regarding sale process workstreams (.2);
                                  evaluate bids (.2).

      04/30/22       ZPAR         Prepare issues list shell for PSA.                                             0.30

      04/30/22       SAZO         Draft new time line for sale process (.3); correspond with V&E                 0.60
                                  team regarding same (.3).




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      Re:        Restructuring Advice

             Summary of services - Asset Sales
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     GRHO         George R. Howard                                                  6.70     1285.00             8,609.50
                     LRKA         Lauren R. Kanzer                                                 16.80      975.00            16,380.00
                     CELE         Cesar Leyva                                                      23.30      860.00            20,038.00
                     BELO         Bryan E. Loocke                                                  59.80     1285.00            76,843.00
                     RLPE         Rebecca L. Matthews                                               0.50     1155.00               577.50
                     EMME         Elias M. Medina                                                   2.60      590.00             1,534.00
                     DSME         David S. Meyer                                                    3.00     1325.00             3,975.00
                     MWMO         Matthew W. Moran                                                  0.10     1285.00               128.50
                     ZPAR         Zachary J. Parker                                                18.30      685.00            12,535.50
                     MJPY         Matthew J. Pyeatt                                                49.70      910.00            45,227.00
                     JETO         Joclynn E. Townsend                                              49.00      945.00            46,305.00
                     BEZE         Benjamin Zeter                                                   38.00      685.00            26,030.00
                     SAZO         Sara Zoglman                                                     25.30      590.00            14,927.00

             Total                                                                               293.10                        273,110.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Assumption and Rejection of Leases and Contracts
      Date           Initials     Description                                                                   Hours

      04/01/22       MJPY         Evaluate and work on comments to supplemental cure notice                      0.60
                                  (.4); correspond with V&E team regarding same (.2).

      04/01/22       IDAY         Review and revise motion to reject incorporating comments                      2.40
                                  from V&E team (1.8); correspond with V&E team regarding
                                  same (.6).

      04/04/22       RLPE         Correspond with Lauren Kanzer regarding Steel Reef                             0.60
                                  response to motion to reject and related discovery, and review
                                  same.

      04/04/22       LRKA         Correspond with V&E team regarding lease rejection.                            0.20

      04/04/22       MAGA         Review and revise motion to assume and reject certain leases                   0.90
                                  and executory contracts (.7); confer with V&E team regarding
                                  same (.2).

      04/04/22       EMME         Review motion to assume and reject certain executory                           0.20
                                  contracts and unexpired leases (.1); correspond with Ida
                                  Ayalew regarding same (.1).

      04/04/22       IDAY         Revise and incorporate comments to motion to reject (2.8);                     3.60
                                  correspond and confer with V&E team regarding same (.8).


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      Re:        Restructuring Advice

      04/05/22       EMME         Review and revise motion to reject certain executory contracts                 1.20
                                  and unexpired leases (.9); correspond with V&E team
                                  regarding same (.3).

      04/06/22       LRKA         Conference call with Lazard, management, V&E team                              0.40
                                  regarding Steel Reef.

      04/06/22       JRGO         Analyze summary of objection to motion to reject.                              0.10

      04/06/22       EMME         Review and revise motion to assume and reject certain                          1.50
                                  executory contracts and unexpired leases (1.1); correspond
                                  with V&E ETP team regarding executory contract schedules
                                  (.3); correspond with Ankura team regarding same (.1).

      04/06/22       IDAY         Conduct research regarding abandonment and motion to                           3.70
                                  reject (1.3); correspond with Eli Medina regarding same (.6);
                                  review and revise motion to reject regarding same (1.8).

      04/07/22       MAGA         Review and revise motion to assume contracts (.7); confer                      1.70
                                  with V&E team regarding same (.4); confer with V&E and
                                  Ankura teams regarding potential lease rejection (.6).

      04/07/22       EMME         Review and revise motion to assume (.9); correspond with                       1.50
                                  V&E team regarding same (.1); correspond with V&E team
                                  regarding motion to reject office leases (.4); correspond with
                                  Ankura team regarding cure amounts (.1).

      04/07/22       IDAY         Research regarding relevant federal rules of procedure (1.1);                  6.00
                                  discuss with Mike Garza regarding same (.3); draft summary
                                  of same (.6); draft motion to reject (1.3); research regarding
                                  sub-lessee rights under Texas law (2.7).

      04/08/22       MAGA         Confer with V&E team regarding potential assumption and                        0.50
                                  rejection of leases and contracts.

      04/08/22       EMME         Correspond with V&E, Ankura teams regarding motion to                          1.50
                                  reject office leases (.3); review lease documents (.6); revise
                                  motion to reject (.4); correspond with Stretto team regarding
                                  same (.1); correspond with Ankura team regarding motion to
                                  reject (.1).

      04/08/22       IDAY         Conduct research in furtherance of motions to reject.                          1.60

      04/09/22       EMME         Correspond with V&E team regarding motion to reject.                           0.30

      04/11/22       EMME         Correspond with Ankura team regarding lease rejection (.1);                    1.10
                                  review and revise motion to assume (.7); conference with
                                  Ankura team regarding diligence regarding same (.3).

      04/12/22       MAGA         Prepare for and participate on call with V&E and Ankura                        1.50
                                  teams regarding lease rejection and assumption (.5); review
                                  and revise motion to assume executory contract (.6); confer


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      Re:        Restructuring Advice

                                  with V&E team regarding same (.4).

      04/13/22       MAGA         Review and revise motions to assume and reject executory                       1.00
                                  contracts and leases (.6); confer with V&E and Ankura teams
                                  regarding same (.4).

      04/13/22       EMME         Correspond with Ankura team regarding motion to assume                         0.40
                                  Blossman contract (.1); review and revise Blossman motion
                                  (.3).

      04/14/22       EMME         Correspond with V&E team regarding leases to be rejected                       1.10
                                  (.4); research regarding same (.3); confer with V&E team
                                  regarding further research in support of same (.2); conference
                                  with same regarding same (.1); correspond with Ankura team
                                  regarding lease rejection diligence (.1).

      04/14/22       IDAY         Correspond with V&E team regarding summary analysis of                         0.80
                                  certain contract assumption and rejection issues.

      04/15/22       MAGA         Confer with V&E team regarding assumption and rejection of                     0.50
                                  leases and contracts.

      04/15/22       EMME         Conference with Scott Pinsonnault regarding motion to reject                   0.80
                                  and lease issues (.1); correspond with V&E team regarding
                                  motion to reject follow up diligence (.1); correspond with V&E
                                  team regarding motions to reject and assume (.6).

      04/16/22       EMME         Draft Pinsonnault Declaration in support of motion to assume.                  4.20

      04/18/22       EMME         Correspond with V&E team regarding Blossman motion (.1);                       0.20
                                  correspond with Ankura team regarding leases to be rejected
                                  (.1).

      04/18/22       IDAY         Review executory contracts (2.6); draft summary regarding                      4.60
                                  each contract (2.0).

      04/19/22       RLPE         Correspond with Eli Medina and Emily Rhine regarding draft                     0.30
                                  declaration in support of motion to assume Blossman
                                  contract.

      04/19/22       LRKA         Review and comment on Blossman motion (.8); correspond                         0.90
                                  with V&E team regarding same (.1).

      04/19/22       EMME         Conferences with lease counter parties regarding rejection                     2.70
                                  (.2); correspond with V&E team regarding same (.3);
                                  correspond with V&E team regarding declaration in support of
                                  motion to assume Blossman (.6); review and revise same (.3);
                                  correspond with Ankura team regarding cure payments (.2);
                                  review and revise Blossman motion (.8); correspond with V&E
                                  and Ankura teams regarding same (.3).

      04/20/22       MWMO         Review and revise Pinsonnault declaration related to motion                    0.30
                                  to assume Blossman contract.


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      Re:        Restructuring Advice

      04/20/22       EMME         Correspond with V&E team regarding Blossman motion (.2);                       1.50
                                  draft summary of same (.3); correspond with V&E LIT team
                                  regarding declarations (.2); correspond with Scott Pinsonnault
                                  regarding Pinsonnault declaration supporting Blossman
                                  assumption (.1); review local rules related to filing deadlines
                                  (.4); correspond with V&E team regarding same (.3).

      04/20/22       ESST         Review declaration related to Blossman assumption.                             0.50

      04/20/22       IDAY         Review contracts to be rejected (.6); correspond with Eli                      1.00
                                  Medina regarding same (.4).

      04/21/22       MJPY         Conference with counsel to Chevron regarding lease                             0.40
                                  assumption issue (.3); correspond with V&E team regarding
                                  same (.1).

      04/21/22       MAGA         Review and revise motion to assume Blossman contract (.2);                     0.40
                                  confer with V&E team regarding same (.2).

      04/21/22       EMME         Correspond with V&E team regarding Blossman motion (.9);                       1.50
                                  correspond with Scott Pinsonnault regarding same (.2);
                                  review comments to Blossman motion (.1); revise same (.2);
                                  correspond with client regarding same (.1).

      04/22/22       IDAY         Correspond with Ankura regarding executory contracts.                          0.40

      04/28/22       MAGA         Confer with V&E and Ankura teams regarding issues related                      0.70
                                  to cure amounts.

      04/28/22       GRHO         Call with V&E team regarding Steel Reef rejection motion and                   1.00
                                  related discovery issues.

      04/29/22       GRHO         Revise outline of potential outcomes and considerations                        0.80
                                  related to same in connection with analyzing best path
                                  forward with Steel Reef contract rejection motion.




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      Re:        Restructuring Advice

             Summary of services - Assumption and Rejection of Leases and Contracts
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                       24.10      540.00            13,014.00
                     MAGA         Michael A. Garza                                                  7.20      860.00             6,192.00
                     JRGO         Jeremy R. Gonzalez                                                0.10      705.00                70.50
                     GRHO         George R. Howard                                                  1.80     1285.00             2,313.00
                     LRKA         Lauren R. Kanzer                                                  1.50      975.00             1,462.50
                     RLPE         Rebecca L. Matthews                                               0.90     1155.00             1,039.50
                     EMME         Elias M. Medina                                                  19.70      590.00            11,623.00
                     MWMO         Matthew W. Moran                                                  0.30     1285.00               385.50
                     MJPY         Matthew J. Pyeatt                                                 1.00      910.00               910.00
                     ESST         Eli S. Sterbcow                                                   0.50      590.00               295.00

             Total                                                                                 57.10                        37,305.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Avoidance Action Analysis
      Date           Initials     Description                                                                   Hours

      04/01/22       MJPY         Evaluate analysis regarding avoidance actions (.2); review                     0.80
                                  research to support same (.2); call with Ankura team
                                  regarding same (.3); correspond with V&E team regarding
                                  same (.1).

      04/05/22       TGSP         Correspond with V&E team regarding avoidance action                            0.60
                                  analysis draft (.2); review same (.4).

      04/07/22       MJPY         Evaluate avoidance action analysis (.2); call with Ankura                      0.50
                                  regarding same (.3).

      04/07/22       MAGA         Prepare for and participate on call with V&E and Ankura team                   0.50
                                  regarding avoidance action analysis.




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      Re:        Restructuring Advice

             Summary of services - Avoidance Action Analysis
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  0.50      860.00               430.00
                     MJPY         Matthew J. Pyeatt                                                 1.30      910.00             1,183.00
                     TGSP         Trevor G. Spears                                                  0.60      790.00               474.00

             Total                                                                                  2.40                         2,087.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Budgeting (Case)
      Date           Initials     Description                                                                   Hours

      04/08/22       MJPY         Correspond with UST regarding budget.                                          0.10

      04/09/22       DSME         Telephone conference with Cleary regarding deal and budget                     1.00
                                  (.4); correspond and conference with Ankura regarding
                                  budget (.6).

      04/10/22       DSME         Correspond and conference with Ankura regarding budget.                        0.60

      04/23/22       DSME         Review and revise budget (.2); correspond with V&E and                         0.40
                                  Ankura teams regarding same (.2).

      04/24/22       DSME         Conference with Company and advisors regarding budget and                      0.80
                                  hearing.

      04/25/22       DSME         Conference with V&E team regarding budget (.1); conference                     0.90
                                  with Ankura regarding same (.1); conference with Goldman
                                  and Blue Torch regarding budget forecast and process (.4);
                                  conference with Sean O'Neal regarding same (.3).




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      Re:        Restructuring Advice

             Summary of services - Budgeting (Case)
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     DSME         David S. Meyer                                                    3.70     1325.00             4,902.50
                     MJPY         Matthew J. Pyeatt                                                 0.10      910.00                91.00

             Total                                                                                  3.80                         4,993.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Business Operations
      Date           Initials     Description                                                                   Hours

      04/01/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.40
                                  management teams regarding operations and related issues
                                  and strategy (.9); confer with V&E team regarding same (.5).

      04/04/22       LRKA         Review utilities motion (.4); correspond with V&E team                         0.60
                                  regarding same (.2).

      04/04/22       MAGA         Prepare for and participate on call with V&E, management,                      0.70
                                  and Ankura teams regarding operations issues and related
                                  strategy and next steps.

      04/05/22       MAGA         Prepare for and participate on call with V&E, management,                      0.50
                                  and Ankura teams regarding operations issues and related
                                  strategy and next steps.

      04/06/22       DSME         Review UST issues list (.2); correspond with V&E team                          0.50
                                  regarding same (.1); office conference with Lauren Kanzer
                                  regarding same (.2).

      04/06/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.70
                                  management teams regarding operations, related issues,
                                  strategy, and next steps.

      04/06/22       SAZO         Research and analysis regarding final tax order.                               0.80

      04/07/22       LRKA         Conference call with management, V&E team, Ankura                              0.90
                                  regarding open issues (.5); follow-up correspondence re same
                                  (.4).

      04/07/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.30
                                  management teams regarding operations, related issues, and
                                  next steps (.7); confer with V&E team regarding same (.6).

      04/07/22       TGSP         Review correspondence from Wise (.1); correspond with V&E                      0.20


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      Re:        Restructuring Advice

                                  team regarding office leases (.1).

      04/08/22       MJPY         Evaluate issues regarding North Dakota DEQ (.2); call with                     0.60
                                  counsel regarding same (.3); correspond with V&E team
                                  regarding same (.1).

      04/08/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.50
                                  Management teams regarding operations and related issues
                                  and strategy.

      04/11/22       MJPY         Prepare for call with Ankura and client regarding chapter 11                   0.60
                                  workstreams.

      04/11/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.10
                                  Management teams regarding operations and related issues
                                  and strategy (.6); corresond with V&E team regarding same
                                  (.5).

      04/12/22       LRKA         Participate in conference call with management, Ankura, and                    1.30
                                  V&E teams regarding open issues (.8); conduct follow-up
                                  correspondence with V&E team regarding same (.5).

      04/12/22       MJPY         Participate in call with Ankura and client regarding operations,               0.50
                                  related issues, and strategy.

      04/12/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.80
                                  management teams regarding operations and related issues
                                  and strategy.

      04/13/22       LRKA         Participate in conference call with Ankura, management, and                    1.10
                                  V&E team regarding open issues (.6); correspond with V&E
                                  team regarding same (.5).

      04/13/22       MJPY         Participate on call with client and Ankura regarding                           0.60
                                  operations, related issues, and strategy.

      04/13/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.60
                                  management teams regarding operations and related issues
                                  and strategy (.6); confer with V&E team regarding same (.5);
                                  prepare for and participate on call with utility company
                                  counsel regarding adequate assurance (.3); confer with V&E
                                  and Ankura teams regarding same (.2).

      04/14/22       LRKA         Participate on conference call with V&E team, Ankura, and                      0.50
                                  management regarding operations and related issues and
                                  strategy.

      04/14/22       MJPY         Participate on call with client, V&E team, and Ankura                          0.70
                                  regarding operations and related issues and strategy (.6);
                                  correspond with V&E team regarding follow-up issues for
                                  same (.1).

      04/14/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.90


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      Re:        Restructuring Advice

                                  management teams regarding operations and related issues
                                  and strategy (.6); confer with V&E team regarding same (.3).

      04/15/22       MJPY         Participate on call with client and Ankura regarding operations                0.60
                                  and related issues and strategy.

      04/15/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.10
                                  management teams regarding operations and related issues
                                  and strategy (.8); confer with V&E team regarding same (.3).

      04/15/22       SAZO         Review correspondence with V&E team regarding                                  0.50
                                  tax/operations issue (.1); correspond with V&E team
                                  regarding same (.2); correspond and confer with Ankura
                                  regarding same (.2).

      04/18/22       LRKA         Participate in conference call with management, Ankura, and                    1.70
                                  V&E team regarding open issues, case status (.7); conduct
                                  follow-up correspondence with same regarding same (.8);
                                  correspond with Bill Transier regarding same (.2).

      04/18/22       MJPY         Participate in call with Ankura and client regarding chapter 11                0.70
                                  operations and related issues and strategy.

      04/18/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.50
                                  management team regarding operations and related issues
                                  and strategy.

      04/19/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.50
                                  management team regarding operations and related issues
                                  and strategy.

      04/19/22       TGSP         Correspond with V&E team and Lockton team regarding                            0.40
                                  insurance issues.

      04/20/22       LRKA         Conference with Ankura, management, V&E team regarding                         1.50
                                  open issues (.8); correspond with V&E team regarding same
                                  (.7).

      04/20/22       MJPY         Conference with Ankura and client regarding operations and                     0.80
                                  related issues and strategy.

      04/20/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.80
                                  management team regarding operations and related issues
                                  and strategy.

      04/20/22       EMME         Conferences with Ankura regarding bonding diligence.                           0.20

      04/21/22       LRKA         Conference with Ankura and management regarding open                           0.80
                                  issues (.6); follow-up correspondence with same regarding
                                  same (.2).

      04/21/22       MJPY         Conference with Ankura and client regarding operations and                     0.60
                                  related issues and strategy.


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      Re:        Restructuring Advice

      04/21/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      1.30
                                  management team regarding operations and related issues
                                  and strategy (.6); participate on calls with V&E and Ankura
                                  teams regarding same (.5); confer with Deloitte team
                                  regarding same (.2).

      04/22/22       MJPY         Correspond with Ankura regarding insurance issues (.2);                        1.60
                                  correspond with V&E team regarding same (.2); correspond
                                  with First Insurance regarding same (.2); evaluate revised
                                  insurance order (.4); conference with Ankura and client
                                  regarding operations and related issues and strategy (.6).

      04/22/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.90
                                  management team regarding operations and related issues
                                  and strategy (.5); confer with V&E and Ankura teams
                                  regarding same (.4).

      04/22/22       TGSP         Attend conference call with V&E team regarding insurance                       1.10
                                  (.2); revise insurance order (.7); correspond with V&E team
                                  regarding same (.1); correspond with V&E team regarding
                                  same (.1).

      04/23/22       MJPY         Revise insurance order (.7); correspond with lender counsel                    1.80
                                  regarding same (.2); conference with V&E team regarding
                                  same (.3); conference with Ankura regarding same (.4);
                                  correspond with lender counsel regarding same (.2).

      04/23/22       TGSP         Conference with Matt Pyeatt regarding insurance (.5); revise                   2.10
                                  insurance order (1.3); correspond with Matt Pyeatt regarding
                                  same (.3).

      04/24/22       MJPY         Conference with Ankura regarding insurance and related                         0.50
                                  operational issues.

      04/25/22       LRKA         Conference with V&E team, Ankura, management regarding                         1.60
                                  open issues (.6); correspond and conferences with V&E team
                                  regarding same (1.0).

      04/25/22       MJPY         Conference with Ankura and advisors regarding operations                       1.00
                                  and related issues and strategy (.6); correspond with First
                                  Insurance regarding premium financing (.1); correspond with
                                  Ankura regarding same (.2); correspond with V&E team
                                  regarding same (.1).

      04/25/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.50
                                  management team regarding operations and related issues
                                  and strategy.

      04/25/22       EMME         Correspond with V&E team regarding bond issues (.2); review                    0.50
                                  bonds and related documents (.3).

      04/26/22       LRKA         Conference call with Company, Ankura, V&E team regarding                       0.50


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      Re:        Restructuring Advice

                                  operations and related issues and strategy.

      04/26/22       MJPY         Conference call with Ankura and Company regarding                              0.50
                                  operations and related issues and strategy.

      04/26/22       MAGA         Prepare for and participate on calls with Debtors advisors and                 0.80
                                  management team regarding operations and related issues
                                  and strategy (.5); correspond with V&E team regarding same
                                  (.3).

      04/27/22       LRKA         Correspond with Ankura regarding staffing agency.                              0.20

      04/27/22       MAGA         Participate on call with V&E and Ankura team and                               0.50
                                  management team regarding operations and related issues
                                  and strategy.

      04/28/22       LRKA         Conference call with Company, Ankura, V&E team regarding                       0.50
                                  workstream status (.3); correspond with V&E team regarding
                                  same (.2).

      04/28/22       MJPY         Conference call with client and Ankura regarding operations                    0.50
                                  and related issues and strategy.

      04/28/22       MAGA         Prepare for and participate on call with V&E, Ankura and                       0.90
                                  management teams regarding operations and relates issues
                                  and strategy (.5); confer with V&E team regarding same (.4).

      04/29/22       LRKA         Conference call with management, V&E team, Ankura                              1.10
                                  regarding operations and related issues and strategy (.4);
                                  correspond with V&E team regarding same (.7).

      04/29/22       MJPY         Call with Ankura and client regarding regarding operations                     0.40
                                  and related issues and strategy.

      04/29/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.80
                                  management teams regarding operations and related issues
                                  and strategy (.4); confer with V&E and Ankura teams
                                  regarding UST fees and related issues (.4).

      04/30/22       MJPY         Work on comments to insurance order (.6); evaluate financing                   1.10
                                  agreement to support same (.3); correspond with lender
                                  counsel regarding same (.2).




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      Re:        Restructuring Advice

             Summary of services - Business Operations
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                 18.10      860.00            15,566.00
                     LRKA         Lauren R. Kanzer                                                 12.30      975.00            11,992.50
                     EMME         Elias M. Medina                                                   0.70      590.00               413.00
                     DSME         David S. Meyer                                                    0.50     1325.00               662.50
                     MJPY         Matthew J. Pyeatt                                                13.10      910.00            11,921.00
                     TGSP         Trevor G. Spears                                                  3.80      790.00             3,002.00
                     SAZO         Sara Zoglman                                                      1.30      590.00               767.00

             Total                                                                                 49.80                        44,324.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Case Administration
      Date           Initials     Description                                                                   Hours

      04/01/22       DSME         Attend works in progress meeting (.4); follow-up with Mike                     0.50
                                  Garza regarding same (.1).

      04/01/22       LRKA         Conference call with Company and Ankura regarding open                         1.80
                                  issues (.7); conference with David Meyer regarding same (.2);
                                  correspond with V&E team regarding scheduling and hearing
                                  (.4); conference call with V&E team regarding same (.5).

      04/01/22       MJPY         Participate in conference call with Ankura and client regarding                1.70
                                  restructuring workstreams (.5); attend call with V&E team
                                  regarding second-day hearing strategy and adjournment
                                  issues (.5); correspond with V&E team regarding follow-up
                                  workstreams to support same (.2); correspond with
                                  Committee counsel regarding same (.3); correspond with UST
                                  regarding same (.2).

      04/01/22       EENE         Obtain updated docket report for attorneys (.1); review and                    2.00
                                  organize documents into files (.5); communicate with Trevor
                                  Spears regarding document management details (.1);
                                  communicate with court clerk to confirm document filing
                                  method (.2); electronically court file Supplemental Notice of
                                  Contract Assumption and Assignment and Cure Amounts (.2);
                                  electronically court file Witness & Exhibit List for 4/5 Hearing
                                  (.6); review general correspondence for case and project
                                  status (.3).

      04/03/22       EENE         Review instructions from attorneys regarding Notices to be                     2.00
                                  drafted and review precedent case documents (.7); draft
                                  Notice regarding hearing adjournment (.5); review select court


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      Re:        Restructuring Advice

                                  documents, draft Notice of Revised Proposed Orders, and
                                  provide Notice to Sara Zoglman (.8).

      04/03/22       SAZO         Draft agenda and notices for upcoming hearing (.9);                            1.20
                                  correspond with V&E team regarding same (.3).

      04/04/22       DSME         Attend works in progress meeting (.1); correspond with Sean                    1.50
                                  O'Neal regarding same (.2); review works in progress
                                  diligence sheet (.4); telephone conference with Lauren Kanzer
                                  and Mike Garza regarding workstreams (.8).

      04/04/22       MJPY         Participate in call with Ankura and client regarding chapter 11                0.90
                                  matters (.6); attend call with V&E restructuring team regarding
                                  works in progress (.3).

      04/04/22       EENE         Correspond with attorneys regarding drafting and filing status                 2.40
                                  for Notice of Agenda for 4/5 Hearing (.1); follow-up
                                  communication with attorney regarding document
                                  management details (.1); obtain updated docket report for
                                  attorneys and review report for calendar details (.1); complete
                                  check requests for payments to transcriber for precedent case
                                  court hearing transcripts and submit to billing for processing
                                  (.6); electronically court file Certificate of No Objection to
                                  Certain First Day Motions and Notice of Filing Revised
                                  Proposed Order (.2); correspond with attorneys and court
                                  clerk regarding filing details, and electronically court file
                                  Notice of Adjournment of Hearing on DIP and Insurance
                                  Motions and Amended Notice of 4/5 Hearing (.6);
                                  electronically court file Notice of Agenda for 4/5 Hearing (.2);
                                  review documents for calendar details and complete
                                  calendaring (.2); provide court document to Trevor Spears as
                                  template (.1); obtain court document copy for attorney group
                                  (.1); electronically court file Notice of Filing Debtors' Revised
                                  Master Service List (.1).

      04/04/22       MAGA         Participate on call with V&E team regarding matter updates,                    1.50
                                  strategy, and next steps (.7); review and revise workstreams
                                  checklist (.8).

      04/05/22       DSME         Attend to works in progress checklist (.1); conference with                    1.30
                                  Lauren Kanzer regarding same (.6); attend works in progress
                                  call (.6).

      04/05/22       LRKA         Attend conference call with Company regarding open issues                      1.80
                                  (.4); conference call with V&E team works in progress (.8);
                                  follow-up correspondence regarding same (.6).

      04/05/22       MJPY         Call Ankura and company regarding chapter 11 workstreams                       1.30
                                  (.4); participate in call with V&E restructuring team regarding
                                  works in progress (.6); evaluate checklist for same (.3).

      04/05/22       EENE         Obtain updated docket report for attorneys (.1); electronically                3.20
                                  court file Certificate of No Objections to Utilities and Bar Date


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      Re:        Restructuring Advice

                                  Motions and Notice of Filing Revised Proposed Orders (.2);
                                  communicate with Ida Ayalew regarding court document filing
                                  and hearing status (.2); communicate with court clerk and
                                  attorneys regarding filing and hearing details, and
                                  electronically court file Notice of Cancellation of Hearing on
                                  Utilities and Bar Date Motions (.6); complete various calendar
                                  tasks (.3); upload proposed revised orders to court (1.3);
                                  review and organize document into files (.1); review general
                                  correspondence for case and project status (.4).

      04/05/22       MAGA         Prepare for and participate on call with V&E, Lazard, Ankura,                  2.70
                                  and management teams regarding committee settlement
                                  proposal, strategy, and next steps (.6); review, analyze, and
                                  revise same (.9); confer with V&E team regarding same (.5);
                                  prepare for and participate on call with V&E team regarding
                                  matter updates, strategy, and next steps (.7).

      04/05/22       SAZO         Attend weekly status call with V&E team regarding                              2.10
                                  workstreams (.9); correspond with V&E team regarding case
                                  administration and related matters (1.2).

      04/05/22       TGSP         Conference call with V&E team regarding workstreams and                        0.90
                                  updates (.7); correspond with V&E team regarding case
                                  calendaring of deadlines and hearings (.2).

      04/06/22       LRKA         Conference call with management, Matt Pyeatt and Ankura                        1.20
                                  regarding open issues/workstreams (.6); follow-up
                                  correspondence regarding same (.4); conference with Scott
                                  Pinsonnault regarding same (.2).

      04/06/22       MJPY         Call client and Ankura regarding chapter 11 workstreams (.6);                  0.80
                                  call with V&E team regarding works-in-progress (.2).

      04/06/22       EENE         Correspond with Trevor Spears regarding filing plans for                       5.20
                                  Schedules and Statements of Financial Affairs for all debtors
                                  (.4); review and organize NDTX court rules and filing
                                  guidelines for same, and provide findings to attorneys (1.1);
                                  review various court rules and communicate with court clerks
                                  regarding general reply deadline, and provide findings to
                                  Lauren Kanzer (.9); obtain updated docket report for
                                  attorneys, review report and court documents for calendar
                                  details, and complete calendaring (.4); obtain court document
                                  for and communicate with Trevor Spears for calendar
                                  clarification (.3); correspond with Trevor Spears regarding
                                  document management details (.2); correspond with Trevor
                                  Spears regarding filing details for Schedules and SOFAs, and
                                  complete electronic court filing of SOFAs for debtors (1.9).

      04/06/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.40
                                  matter updates, strategy, and next steps.

      04/06/22       SAZO         Attend weekly standing call with V&E team.                                     0.40



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      Re:        Restructuring Advice

      04/06/22       EMME         Conference with V&E team regarding works in process and                        0.50
                                  next steps (.4); coordinate with V&E team to set up listserv
                                  (.1).

      04/06/22       IDAY         Attend telephone conference with V&E team regarding works                      0.80
                                  in progress (.7); follow-ups regarding same (.1).

      04/07/22       DSME         Attend telephone conference with V&E team regarding works                      0.30
                                  in progress.

      04/07/22       MJPY         Call with client and Ankura regarding chapter 11 workstreams                   1.50
                                  (.4); call with V&E restructuring team regarding works in
                                  progress (.7); evaluate checklist for same (.2); correspond
                                  with V&E team regarding same (.2).

      04/07/22       EENE         Communicate with Trevor Spears regarding filing details for                    3.00
                                  and complete post-midnight filing of Schedules for all debtors
                                  (1.1); communicate with court clerk regarding docket report
                                  modification for select Schedule and SOFA entry and other
                                  filing details, and provide status to attorneys (.4);
                                  communicate with Stretto regarding same modification to
                                  case website docket report (.2); obtain updated docket report
                                  for attorneys (.1); communicate with Eli Medina regarding
                                  updated listservs and related docket report and calendar
                                  distributions (.2); review and organize documents into files
                                  (.2); review general correspondence for case and project
                                  status (.8).

      04/07/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.30
                                  matter updates, work streams, related issues and strategy,
                                  and next steps (.9); review and revise work streams checklist
                                  (.4).

      04/07/22       EMME         Conference with V&E team regarding works in process (.7).                      0.70

      04/07/22       TGSP         Conference call with V&E team regarding workstreams and                        1.30
                                  updates (.7); correspond with V&E team regarding
                                  calendaring of case deadlines (.3); correspond with Stretto
                                  regarding case website and SOFAs and SOALs (.3).

      04/07/22       IDAY         Attend works in progress meeting.                                              0.70

      04/08/22       DSME         Review correspondence and workstreams (.2); notate issues                      1.20
                                  for follow-up (.2); telephone conference with Lauren Kanzer
                                  regarding works in progress (.8).

      04/08/22       MJPY         Call with Ankura and V&E team regarding restructuring                          0.70
                                  workstreams (.6); correspond with V&E team regarding same
                                  (.1).

      04/08/22       EENE         Review and compare case listservs to confirm inclusions, and                   2.00
                                  provide findings to Eli Medina (.8); correspond with calendar
                                  program specialists to confirm calendar listserv usage details


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      Re:        Restructuring Advice

                                  (.2); correspond with Lauren Kanzer regarding additional
                                  parties to receive daily docket reports (.2); communicate with
                                  Ida Ayalew for calendar clarification (.2); correspond with Eli
                                  Medina regarding additional listserv details (.1); obtain
                                  updated docket report for attorney group (.1); review general
                                  correspondence for case and project status (.4).

      04/10/22       LRKA         Correspond with V&E team regarding objection deadlines and                     0.50
                                  hearings (.3); correspond with V&E team regarding next steps
                                  (.2).

      04/10/22       MJPY         Evaluate works in progress checklist.                                          0.20

      04/11/22       DSME         Telephone conference with V&E team regarding works in                          0.80
                                  progress.

      04/11/22       LRKA         Conference call with management, Ankura, V&E team                              1.30
                                  regarding open issues (.2); correspond with V&E team
                                  regarding case schedule (.5); conferences with V&E team
                                  regarding open issues (.6).

      04/11/22       MJPY         Evaluate works in progress checklist.                                          0.20

      04/11/22       EENE         Obtain updated docket report for attorneys and other groups                    0.50
                                  (.1); review general correspondence for case and project
                                  status (.4).

      04/12/22       DSME         Participate in portion of working group call with V&E team (.6);               1.20
                                  participate in follow-up telephone conference with V&E team
                                  regarding workstreams (.3); correspond with V&E team
                                  regarding timeline/schedule (.3).

      04/12/22       LRKA         Participate in conference call with V&E team regarding works                   2.00
                                  in process (.8); conduct follow-up conferences with V&E team
                                  regarding same (1.2).

      04/12/22       MJPY         Participate in call with V&E restructuring team regarding                      0.80
                                  works in progress.

      04/12/22       EENE         Obtain updated docket report for attorneys and other groups                    3.50
                                  (.1); correspond with V&E team regarding court document
                                  filing plans (.1); correspond with V&E team regarding project
                                  instructions for precedent case document redline comparison
                                  (.1); obtain court document, communicate with document
                                  specialist regarding details, and provide completed project
                                  regarding same to V&E team (.9); prepare document filing
                                  (1.9); review general correspondence for case and project
                                  status (.4).

      04/12/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.30
                                  work streams, related issues, and strategy (.9); review and
                                  revise work streams checklist (.4).



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                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      04/12/22       SAZO         Participate in conference call with V&E team regarding                         0.60
                                  ongoing workstreams.

      04/12/22       EMME         Conference with V&E team regarding case updates and                            0.60
                                  works in process.

      04/12/22       TGSP         Participate in conference call with V&E RR team regarding                      0.60
                                  workstreams and updates.

      04/12/22       IDAY         Attend call with V&E team regarding works in progress.                         0.60

      04/12/22       GRHO         Prepare for and participate in call with V&E team regarding                    0.60
                                  open work streams and next steps.

      04/13/22       EENE         Obtain updated docket report for attorneys and other groups                    2.00
                                  (.1); electronically file Declarations in support of KEIP and
                                  KERP motions and provide confirmation to attorneys (.6);
                                  correspond with attorneys regarding night filing plans, await
                                  final document readiness, and complete filing of (i) Notice of
                                  Adjournment of 4/15 Hearing and Notice of 4/22 Hearing, and
                                  (ii) Notice of 4/27 hearing (.9); correspond with attorney group
                                  regarding filing details (.2); review general correspondence for
                                  case and project status (.2).

      04/14/22       DSME         Review status of workstreams in progress (.1); correspond                      0.90
                                  with V&E team regarding same (.8).

      04/14/22       LRKA         Conference with V&E team regarding open issues and                             0.60
                                  workstreams.

      04/14/22       EENE         Correspond with court clerk regarding request for docket                       2.00
                                  report modification for new entry (.3); review report to confirm
                                  completion (.1); correspond with attorney group regarding
                                  same (.1); obtain, review, and calendar updated docket report
                                  for attorneys and other group (.9); review correspondence
                                  with attorney group regarding case dates for purposes of
                                  calendaring (.3); review general correspondence for case and
                                  project status (.3).

      04/14/22       EMME         Participate on call with V&E team regarding works in                           0.60
                                  progress.

      04/14/22       TGSP         Participate on conference call with V&E team regarding                         0.60
                                  workstreams and updates.

      04/14/22       IDAY         Attend call with V&E team regarding works in progress.                         0.60

      04/15/22       DSME         Correspond with V&E team regarding workstreams (.3);                           1.00
                                  participate on telephone conference with V&E team regarding
                                  workstreams (.4); review various workstreams (.2); prepare
                                  for and address next steps (.1).

      04/15/22       LRKA         Conference call with Company, Ankura, V&E team regarding                       2.20


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      Re:        Restructuring Advice

                                  work in process (.6); conference call with Matt Pyeatt and
                                  Mike Garza regarding same (.9); review materials regarding
                                  same (.3); conference call with David Meyer regarding same
                                  (.4).

      04/15/22       MJPY         Participate on call with V&E team regarding works-in-progress                  1.20
                                  and next steps (.9); evaluate works in progress checklist (.3).

      04/15/22       EENE         Obtain, review, and calendar updated docket report for                         0.50
                                  attorneys and other groups (.1); obtain court document for
                                  and communicate with attorney (.2); review general
                                  correspondence for case and project status (.2).

      04/15/22       MAGA         Participate on calls with V&E team regarding work streams                      1.00
                                  and related issues (.9); follow-up with same regarding same
                                  (.1).

      04/18/22       LRKA         Correspond with V&E team regarding deadlines and case                          0.30
                                  timeline.

      04/18/22       MJPY         Evaluate works in progress checklist (.2); evaluate chapter 11                 0.40
                                  case calendar and next steps (.2).

      04/18/22       EENE         Obtain updated docket report for attorneys and other groups                    2.00
                                  (.1); obtain court-stamped Schedules and Statements of
                                  Financial Affairs for attorney group (.9); organize court-
                                  stamped Schedules into files (.2); review precedent case
                                  docket for select hearing transcript for attorney group (.2);
                                  review general correspondence for case and project status
                                  (.6).

      04/18/22       EMME         Correspond with Scott Pinsonnault regarding case updates                       0.20
                                  and upcoming key dates.

      04/19/22       LRKA         Prepare for and conference call with V&E team, Ankura,                         2.90
                                  Company regarding work in process, open issues (.8);
                                  conference call with V&E team regarding same (.8); follow-up
                                  correspondence regarding same (.6); correspond with V&E
                                  team regarding UCC objections, deadlines (.5); conference
                                  with Weil regarding UCC (.2).

      04/19/22       MJPY         Call with Ankura and client regarding chapter 11 workstreams                   1.20
                                  (.6); call with V&E restructuring team regarding works in
                                  progress (.6).

      04/19/22       EENE         Obtain updated docket report for attorneys and other groups,                   1.50
                                  review report and court documents for calendar details, and
                                  complete calendaring (.2); obtain select court documents and
                                  review claims register details for Lauren Kanzer (.3);
                                  electronically court file Notice of Filing of Debtors' Revised
                                  Master Service List (.1); complete final organization of and
                                  electronically court file Witness and Exhibit List for 4/22
                                  Hearing (.4); review general correspondence for case and


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      Re:        Restructuring Advice

                                  project status (.5).

      04/19/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.40
                                  work streams, strategy, and related issues (.8); review and
                                  revise work streams checklist (.6).

      04/19/22       SAZO         Conference with V&E team regarding workstream status                           0.80
                                  updates.

      04/19/22       EMME         Conference with V&E team regarding works in process (.8);                      0.90
                                  correspond with Stretto regarding noticing of W&E list (.1).

      04/19/22       TGSP         Attend portion of conference with V&E team regarding                           0.60
                                  updates and workstreams.

      04/20/22       LRKA         Conference with V&E team regarding works in process (.3);                      0.40
                                  prepare for same (.1).

      04/20/22       MJPY         Evaluate works in progress checklist and case calendar (.4);                   0.70
                                  conference with V&E team regarding works in progress (.3).

      04/20/22       EENE         Correspond with V&E team regarding calendar instructions                       1.50
                                  and complete calendaring (.4); obtain updated docket report
                                  (.1); correspond with V&E team regarding document filing
                                  plans, and review updated status (.5); review general
                                  correspondence for case and project status (.5).

      04/20/22       MAGA         Conference with V&E teams regarding matter updates, work                       0.30
                                  streams, and related issues.

      04/20/22       SAZO         Conference with V&E team regarding case updates.                               0.30

      04/20/22       TGSP         Attend portion of conference with V&E team regarding case                      0.20
                                  updates.

      04/21/22       LRKA         Conference with V&E team regarding works in process.                           0.80

      04/21/22       EENE         Obtain updated docket report for attorneys and other groups                    5.50
                                  (.1); obtain court document for and correspond with attorney
                                  group related to service considerations (.4); correspond with
                                  attorney group regarding V&E retention matters (.2); research
                                  related to same (.8); obtain court hearing transcript (.1);
                                  correspond with attorneys regarding filing details and
                                  electronically file Notice of Adjournment of 4/22 hearing and
                                  Amended Notice of 4/27 hearing (1.5); review Notice for
                                  calendar details (.1); complete calendaring (.3); communicate
                                  with V&E team regarding filing plans, and electronically file
                                  Motion to Assume Blossman Contract and related Declaration
                                  (1.5); review general correspondence for case and project
                                  status (.5).

      04/21/22       MAGA         Conference with V&E team regarding work streams, matter                        1.30
                                  updates, and related strategy and issues (.8); review and


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      Re:        Restructuring Advice

                                  revise work streams checklist (.5).

      04/21/22       SAZO         Conference with V&E team regarding workstream status                           0.80
                                  update.

      04/21/22       EMME         Conference with V&E team regarding works in process (.8);                      0.90
                                  correspond with Stretto team regarding noticing filings (.1).

      04/21/22       TGSP         Attend portion of conference with V&E team regarding                           0.70
                                  updates and workstreams.

      04/22/22       LRKA         Conference call with Company, V&E team, Ankura regarding                       0.80
                                  work in process (.5); follow-up correspondence regarding
                                  same (.3).

      04/22/22       EENE         Conference with attorney group regarding court document                        3.80
                                  filing status update (.5); obtain updated docket report for
                                  attorneys (.2); correspond with attorney group regarding
                                  calendar considerations (.1); review attorney communications
                                  regarding select document filing deadline (.4); provide related
                                  document to attorney group (.1); conference with V&E team
                                  regarding 4/27 hearing preparation (1.0); correspond with
                                  V&E team regarding filing plans, review filing method details,
                                  and file same (1.0); review general correspondence for case
                                  and project status (.5).

      04/22/22       EMME         Conference with V&E team regarding works in process.                           1.10

      04/23/22       EENE         Communicate with attorneys regarding filing details for                        1.40
                                  Witness and Exhibit List for 4/27 Hearing, electronically court
                                  file same, and provide confirmation to attorneys.

      04/24/22       EENE         Review precedent documents for notices for revised proposed                    6.00
                                  orders (.3); draft same (.4); correspond with V&E team
                                  regarding workstreams for 4/27 hearing preparation (.6);
                                  prepare for same (1.9); correspond with V&E team regarding
                                  filing plans for Amended Witness and Exhibit List for 4/27
                                  hearing (.3); review filing and document details and file same
                                  (1.2); conference with V&E team regarding 4/27 hearing
                                  preparation (.7); review general correspondence for case and
                                  project status (.6).

      04/25/22       EENE         Complete electronic court filing of Amended Witness & Exhibit                  7.00
                                  List for 4/27 Hearing (.5); obtain updated docket report for
                                  attorneys and other groups, and review report for calendar
                                  details (.2); complete calendaring (.1); communicate with V&E
                                  team regarding binder preparation for hearing (.2); complete
                                  organization and coordinate with copy services to prepare and
                                  deliver hearing binders (1.5); correspond with V&E team
                                  regarding binder status (.1); communicate with V&E team
                                  regarding 4/27 hearing preparation (.5); communicate with
                                  V&E team regarding filing response to DIP objections (.6);
                                  await final document readiness, and further communicate with


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      Re:        Restructuring Advice

                                  V&E team regarding updated filing plans (2.4); review general
                                  correspondence for case and project status (.9).

      04/26/22       LRKA         Review hearing agenda (.3); correspond with V&E team                           1.60
                                  regarding same (.3); correspond and conferences with V&E
                                  team regarding hearing logistics, filings (1.0).

      04/26/22       MJPY         Conference call with V&E restructuring team regarding                          0.70
                                  preparation for 4/27 hearing.

      04/26/22       EENE         Review draft Notice and related precedent Notice for filing                    7.20
                                  readiness, and provide findings to attorneys (.7);
                                  communicate with copy services and attorneys regarding
                                  status of binder delivery to David Meyer (.1); court file Notice
                                  of Filing of Proposed Final Order Regarding DIP Financing
                                  Motion (.2); communicate with court clerk regarding request
                                  for docket report modification for Omnibus Reply and confirm
                                  completion by court clerk (.4); court file Declarations in
                                  Support of V&E Retention Application (.2); review court
                                  document for calendar details and complete case calendaring
                                  (.2); court file Certificate of No Objections and Notice of Filing
                                  Revised Proposed Orders regarding Ankura, Lazard, and
                                  Stretto Retention Applications (.4); complete court filings of
                                  multiple court documents, and communicate with attorneys
                                  regarding filing details and status (4.8); review docket for and
                                  obtain precedent case court hearing transcripts for attorney
                                  group (.2).

      04/26/22       ERHI         Conference call to discuss hearing work streams and status                     2.90
                                  (.5); facilitate filing of amended witness and exhibit list (.4);
                                  compile UCC Witness & Exhibit list binders (.5); compile
                                  hearing agenda binder (1.2); coordinate hearing logistics and
                                  otherwise prepare (.3).

      04/26/22       SAZO         Attend call regarding hearing prep with V&E team (.5); gather                  0.80
                                  KEIP/KERP documents for hearing binder (.2); correspond
                                  with V&E team regarding same (.1).

      04/26/22       EMME         Compile retention docs in preparation for hearing (.4);                        1.40
                                  coordinate with V&E team regarding exhibits in preparation for
                                  5/27 hearing (.6); review and revise same (.4).

      04/26/22       GRHO         Calls with V&E team regarding preparation for contested                        0.70
                                  hearing and coordination of related work streams.

      04/27/22       LRKA         Review and comment on agenda (.3); correspond with V&E                         0.40
                                  team regarding same (.1).

      04/27/22       EENE         Complete filing of Amended Witness and Exhibit List for 4/27                   4.10
                                  Hearing (1.0); obtain updated docket report for attorneys and
                                  other groups (.2); court file Notice of Amended Agenda for
                                  4/27 Hearing, and obtain court-stamped copy for hearing
                                  binders (.2); review multiple sources and communicate with


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      Re:        Restructuring Advice

                                  judge's assistant to confirm courtroom location of hearing, and
                                  provide findings to Eli Medina (.2); complete various other
                                  4/17 hearing preparation tasks (.5); complete request form for
                                  4/27 court hearing transcript and submit form to court clerk
                                  (.2); communicate with transcriber and attorney group
                                  regarding court hearing transcript order and payment details
                                  (.7); update internal transcript status chart (.6); review general
                                  correspondence for case and project status (.5).

      04/28/22       DSME         Conference calls with V&E team regarding workstreams (.7);                     2.20
                                  conduct follow-up call with V&E team regarding workstreams
                                  (.4); call with V&E restructuring team regarding workstreams
                                  resulting from global settlement term sheet (.6); correspond
                                  with V&E team regarding same (.5).

      04/28/22       LRKA         Conference call with V&E team regarding work in process.                       0.60

      04/28/22       MJPY         Conference call with V&E restructuring team regarding works                    1.70
                                  in progress (.7); conduct follow-up call with V&E team
                                  regarding workstreams (.4); call with V&E restructuring team
                                  regarding workstreams resulting from global settlement term
                                  sheet (.6).

      04/28/22       EENE         Communicate with transcriber regarding 4/27 court hearing                      2.90
                                  transcript order and payment status (.1); complete online
                                  payment and organize invoice into files (.1); communicate
                                  with staff regarding payment processing and update internal
                                  status chart (.2); obtain updated docket report for attorneys
                                  and other groups, and review report for calendar details (.3);
                                  communicate with attorney group regarding hearing transcript
                                  delivery status (.1); communicate with same regarding
                                  submission of proposed orders related to KEIP and KERP
                                  Motions, and complete electronic submission to court (.5);
                                  complete electronic submission to court of revised proposed
                                  order related to V&E Retention Application (.2); review filing
                                  method, and complete court filing of Notice of Filing
                                  Supplement to Debtors' Schedules (.8); communicate with
                                  attorney group regarding docket report detail regarding Krewe
                                  Energy to be corrected by court clerk (.1); obtain court-
                                  stamped copies of Statement of Financial Affairs for all
                                  debtors, and organize same into files (.5).

      04/28/22       MAGA         Review and revise works in progress checklist and work                         1.50
                                  streams (.8); participate on call with V&E team regarding
                                  same and related strategy and issues (.7).

      04/28/22       SAZO         Attend call with V&E team regarding new workstreams in                         1.20
                                  connection with settlement (.4); conference call with V&E
                                  team regarding works in progress (.8).

      04/28/22       EMME         Correspond with Stretto/Ankura teams regarding                                 0.20
                                  notice/service process.



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      Re:        Restructuring Advice

      04/28/22       TGSP         Conference call with V&E team regarding workstreams                            1.20
                                  related to global settlement (.4); conference call with V&E
                                  regarding updates and workstreams (.8).

      04/29/22       DSME         Correspond with V&E team regarding works in progress.                          0.30

      04/29/22       LRKA         Review and comment on notice of filing.                                        0.20

      04/29/22       EENE         Communicate with court clerk regarding docket report details                   4.70
                                  regarding Krewe Energy to be corrected, and confirm
                                  completion by clerk (.3); obtain updated docket report for
                                  attorneys and other groups, and review report for calendar
                                  details (.3); communicate with transcriber regarding 4/27 court
                                  hearing transcript delivery status and partial refund
                                  processing details (.2); organize court hearing transcript into
                                  files and provide copy to attorney group (.1); organize revised
                                  invoice from transcriber into files and communicate with staff
                                  regarding refund processing (.1); update internal transcript
                                  status chart (.1); communicate with attorney group regarding
                                  preparation of Notice of Filing of Global Settlement Term
                                  Sheet, review files for precedent Notice, and provide same for
                                  reference (.3); review and revise draft Notice per attorney
                                  group (.3); communicate with same regarding filing order for
                                  select court documents, and obtain and provide precedent
                                  case information regarding same (.6); review files for and
                                  provide precedent case auction transcripts to attorney group
                                  (.4); complete filing of Debtors' Application to Retain Weil,
                                  Gotshal & Manges LLP as Special Counsel (.5); complete
                                  filing of Notice of Filing of Global Settlement Term Sheet (.5);
                                  complete electronic submission of DIP Order to court (.5);
                                  complete filing of Notice of Filing Supplement to Chapter 11
                                  Plan (.5).




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      Re:        Restructuring Advice

             Summary of services - Case Administration
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                        2.70      540.00             1,458.00
                     MAGA         Michael A. Garza                                                 12.70      860.00            10,922.00
                     GRHO         George R. Howard                                                  1.30     1285.00             1,670.50
                     LRKA         Lauren R. Kanzer                                                 19.40      975.00            18,915.00
                     EMME         Elias M. Medina                                                   7.10      590.00             4,189.00
                     DSME         David S. Meyer                                                   11.20     1325.00            14,840.00
                     EENE         Elizabeth E. Neuman                                              75.90      310.00            23,529.00
                     MJPY         Matthew J. Pyeatt                                                14.00      910.00            12,740.00
                     ERHI         Emily Rhine                                                       2.90      590.00             1,711.00
                     TGSP         Trevor G. Spears                                                  6.10      790.00             4,819.00
                     SAZO         Sara Zoglman                                                      8.20      590.00             4,838.00

             Total                                                                               161.50                         99,631.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Claims Administration and Objections
      Date           Initials     Description                                                                   Hours

      04/07/22       MAGA         Confer with V&E team regarding bar date order.                                 0.50

      04/07/22       EMME         Draft bar date notice (.7); correspond with V&E team                           2.10
                                  regarding same (.5); review and revise bar date notice (.4);
                                  correspond with Ankura team regarding same (.3);
                                  correspond with Stretto team regarding filing notice of bar
                                  date (.2).

      04/08/22       EMME         Correspond with V&E team regarding bar date notice                             0.80
                                  publication (.1); draft condensed bar date notice (.6);
                                  correspond with V&E team regarding same (.1).

      04/11/22       MAGA         Confer with V&E team regarding bar date notice.                                0.50

      04/13/22       LRKA         Review and comment on bar date publication notice (.4);                        0.60
                                  correspond with V&E team regarding same (.2).

      04/14/22       LRKA         Correspond with V&E team regarding bar date publication                        0.70
                                  notice (.3); review same (.4).

      04/14/22       EMME         Correspond with Stretto team regarding publication service                     0.30
                                  and noticing for bar date notice (.1); correspond with V&E
                                  team regarding publication notice for bar date notice (.2).

      04/15/22       MAGA         Review and revise bar date publication notice.                                 0.20


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      Re:        Restructuring Advice

      04/15/22       EMME         Review publication notices for bar date (.7); correspond with                  0.80
                                  V&E team regarding same (.1).

      04/18/22       LRKA         Participate in conference call with V&E team regarding                         0.60
                                  schedules and claim analysis.

      04/21/22       MAGA         Confer with V&E, Stretto, and Ankura teams regarding claims                    0.30
                                  administration process.




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                                                                                Client/Matter Number         ROC447 64001
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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Claims Administration and Objections
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  1.50      860.00             1,290.00
                     LRKA         Lauren R. Kanzer                                                  1.90      975.00             1,852.50
                     EMME         Elias M. Medina                                                   4.00      590.00             2,360.00

             Total                                                                                  7.40                         5,502.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Corporate Governance and Board Matters
      Date           Initials     Description                                                                   Hours

      04/01/22       DSME         Prepare for board call (.3); participate in conference with V&E                1.40
                                  team regarding same (.2); participate in board call (.9).

      04/01/22       LRKA         Prepare for and participate in conference call with board (.8);                1.70
                                  correspond with V&E team regarding organizational
                                  documents and governance considerations (.9).

      04/01/22       MAGA         Prepare for and participate on board meeting (.9); confer with                 1.60
                                  V&E team regarding governance issues (.7).

      04/01/22       TGSP         Attend board meeting (.9); correspond with Board regarding                     1.30
                                  meeting materials (.4).

      04/04/22       TGSP         Draft minutes for board meeting (1.0); confer with V&E team                    1.40
                                  regarding same (.2); correspond with V&E team regarding
                                  investigation (.2).

      04/05/22       TGSP         Correspond with V&E team and Company regarding board                           0.20
                                  meeting.

      04/08/22       LRKA         Review and comment on board minutes (1.1).                                     1.10

      04/08/22       TGSP         Correspond with V&E team regarding board governance                            0.40
                                  matters (.2); draft revision to minutes regarding same (.2).

      04/10/22       LRKA         Conference with Scott Pinsonnault regarding management                         1.30
                                  presentation (.3); review and comment on management
                                  presentation (.8); correspond with V&E team regarding same
                                  (.2).

      04/10/22       TGSP         Draft board meeting minutes (.3); correspond with V&E team                     0.50
                                  regarding same (.2).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      04/11/22       LRKA         Review March board meeting minutes (.7); correspond with                       0.80
                                  V&E team regarding same (.1).

      04/11/22       TGSP         Correspond with V&E team, Lazard and Ankura regarding                          0.40
                                  board meeting materials.

      04/12/22       LRKA         Review board meeting materials (.7); correspond with V&E                       0.90
                                  team regarding same (.2).

      04/12/22       MAGA         Review and revise board meeting materials (.5); confer with                    0.80
                                  V&E team regarding same (.3).

      04/12/22       TGSP         Correspond with V&E team, Lazard and Ankura regarding                          3.20
                                  board meeting materials (.8); draft presentation for board
                                  members (1.8); correspond with V&E team regarding same
                                  (.6).

      04/13/22       DSME         Prepare for and participate in board meeting (1.0); participate                1.50
                                  in telephone conference with Scott Pinsonnault and V&E team
                                  regarding board meeting (.3); conference with V&E team
                                  regarding same (.2).

      04/13/22       LRKA         Attend board meeting (.5); prepare for same (.3).                              0.80

      04/13/22       MAGA         Prepare for and attend board meeting.                                          0.50

      04/13/22       TGSP         Correspond with V&E team, Lazard, and Ankura regarding                         1.10
                                  board meeting materials (.4); correspond with board regarding
                                  same (.2); attend board meeting (.5).

      04/15/22       TGSP         Draft minutes for 4/13 board meeting.                                          0.90

      04/19/22       DSME         Correspond with V&E team regarding investigation and                           0.20
                                  committee inquires.

      04/20/22       LRKA         Conference with Bill Transier regarding matter status.                         0.30

      04/21/22       LRKA         Review and revise board update (.3); correspond with V&E                       0.50
                                  team regarding same (.2).

      04/21/22       MAGA         Review and revise board materials (.7); confer with V&E team                   0.90
                                  regarding same (.2).

      04/21/22       TGSP         Correspond with Ankura, Lazard and V&E teams regarding                         3.60
                                  board materials (.7); draft board update (.6); draft board
                                  materials (1.2); review and draft revisions to Ankura board
                                  materials (.6); review Lazard board materials (.2); correspond
                                  with V&E team and Board regarding board meeting (.3).

      04/22/22       LRKA         Prepare for and attend Board meeting.                                          1.00

      04/22/22       MAGA         Prepare for board meeting (.3); attend same (.5).                              0.80



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      Re:        Restructuring Advice

      04/22/22       TGSP         Attend board meeting.                                                          0.50

      04/23/22       LRKA         Correspond with V&E team regarding board update, key                           0.30
                                  issues.

      04/24/22       LRKA         Review and comment on Board update (.3); correspond with                       0.50
                                  V&E team regarding same (.2).

      04/24/22       TGSP         Draft board update regarding UCC litigation (1.1); correspond                  1.60
                                  with V&E team regarding same (.3); correspond with Board
                                  regarding same (.2).

      04/27/22       MAGA         Prepare update materials for board of directors.                               0.50

      04/28/22       DSME         Conference call with B. Transier regarding board meeting (.3);                 1.80
                                  prepare for board meeting (.6); correspond with V&E team
                                  regarding same (.9).

      04/28/22       LRKA         Conference call with V&E team regarding governance matters                     2.70
                                  (1.0); review LLC agreement (.2); correspond with V&E team
                                  regarding same (.5); consider issues regarding same (.3);
                                  review draft board materials and meeting agenda (.4);
                                  correspond with V&E team regarding same (.3).

      04/28/22       TGSP         Review and revise CRO presentation to board (.3);                              2.60
                                  conference call with V&E team regarding same (.2);
                                  conference call with Ankura regarding same (.2); correspond
                                  with Ankura and Lazard team regarding board materials (.3);
                                  review Lazard board materials (.2); correspond with V&E
                                  team regarding same (.1); draft agenda for Board meeting
                                  (.1); correspond with V&E team regarding same (.4); review
                                  LLCA regarding same (.8).

      04/29/22       DSME         Attend board meeting.                                                          0.50

      04/29/22       LRKA         Conferences with Lewis Gillies and Bill Transier regarding                     1.70
                                  board meeting (.4); prepare for and attend board meeting
                                  (1.0); follow-up correspondence regarding same (.3).

      04/29/22       MAGA         Attend board meeting.                                                          0.50

      04/29/22       TGSP         Correspond with V&E team regarding Krewe issue (.1);                           0.80
                                  correspond with V&E team regarding agenda and materials
                                  (.1); correspond with Board regarding same (.1); attend Board
                                  meeting (.5).




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      Re:        Restructuring Advice

             Summary of services - Corporate Governance and Board Matters
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  5.60      860.00             4,816.00
                     LRKA         Lauren R. Kanzer                                                 13.60      975.00            13,260.00
                     DSME         David S. Meyer                                                    5.40     1325.00             7,155.00
                     TGSP         Trevor G. Spears                                                 18.50      790.00            14,615.00

             Total                                                                                 43.10                        39,846.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Employee Benefits and Compensation
      Date           Initials     Description                                                                   Hours

      04/01/22       LRKA         Attend conference with V&E team regarding 2CO services                         2.10
                                  agreement (.4); correspond with V&E team regarding
                                  KEIP/KERP matters (.6); correspond with Company, Ankura
                                  regarding same (.3); review and revise Bonebrake declaration
                                  in support of KEIP (.6); correspond with V&E team regarding
                                  same (.2).

      04/01/22       SAZO         Prepare KEIP and KERP letters (.7); correspond with V&E                        2.00
                                  team regarding same (.1); prepare for and attend call with
                                  V&E team regarding 2CO services agreement (1.2).

      04/02/22       SAZO         Review KEIP and KERP declarations (.7); draft follow-up V&E                    0.90
                                  correspondence regarding same (.2).

      04/03/22       LRKA         Correspond with V&E team regarding KEIP/KERP                                   0.30
                                  declarations.

      04/03/22       SAZO         Revise declarations related to KEIP and KERP declarations                      1.20
                                  (.8); correspond with V&E team regarding same (.4).

      04/04/22       RLPE         Correspond with V&E restructuring and litigation teams                         1.60
                                  regarding declarations in support of KEIP/KERP motions (.3);
                                  review comments/changes and further revise Bonebrake
                                  declaration in support of KEIP (.9); review revised Bonebrake
                                  declaration in support of KEIP and V&E correspondence on
                                  same (.4).

      04/04/22       LRKA         Participate on conference call with Lazard, V&E team                           1.80
                                  regarding Bonebrake declaration in support of KEIP (.5);
                                  review and comment on Bonebrake declaration in support of
                                  KEIP (.5); review and comment on Gillies declaration in
                                  support of KERP (.6); correspond with V&E team regarding


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      Re:        Restructuring Advice

                                  same (.2).

      04/04/22       SAZO         Prepare for and attend call with V&E and Lazard regarding                      1.20
                                  KEIP (.7); draft agenda and notices for related hearing (.5).

      04/04/22       ESST         Review and revise declarations for KEIP/KERP motions.                          1.10

      04/05/22       MWMO         Review revisions to evidence in support of KEIP and KERP                       0.90
                                  (.7); confer with V&E team regarding same (.2).

      04/05/22       RLPE         Review and revise all declarations in support of KEIP and                      1.10
                                  KERP motions (.9); follow-up correspondence with V&E
                                  restructuring team regarding same (.2).

      04/05/22       SAZO         Review and revise KEIP and KERP research analysis (1.2);                       2.30
                                  correspond with V&E team regarding same (1.1).

      04/06/22       SAZO         Correspond with V&E and Ankura team regarding KEIP and                         2.90
                                  KERP and related matters (.5); research regarding KEIP and
                                  KERP precedent in the NDTX (1.1); draft analysis and
                                  prepare summary chart regarding same (1.3).

      04/11/22       SAZO         Review correspondence with V&E team regarding KEIP and                         2.90
                                  KERP matters (.6); correspond with V&E team regarding
                                  same (.9); correspond with client regarding same (.1); review
                                  declarations in support of the KEIP and KERP motions (.9);
                                  correspond with KEIP/KERP declarants and V&E team
                                  regarding same (.4).

      04/12/22       SAZO         Review and finalize declarations in support of KEIP and                        1.30
                                  KERP in preparation for filing (1.2); correspond with V&E
                                  team regarding same (.1).

      04/13/22       SAZO         Correspond with V&E team regarding KEIP and KERP                               0.50
                                  declarations (.1); prepare for filing of the same (.1);
                                  correspond with KEIP and KERP declarants regarding the
                                  same (.3).

      04/14/22       SAZO         Research and analyze precedent KEIP structures (1.1);                          4.10
                                  research and review pleadings and hearing transcripts
                                  regarding same (2.1); evaluate and prepare summary
                                  regarding same (.8); correspond with V&E team regarding
                                  same (.1).

      04/15/22       SAZO         Review and revise KEIP analysis (.5); correspond with V&E                      4.80
                                  team regarding same (.1); correspond with client regarding
                                  KEIP and KERP letters for employees (.3); research and
                                  analyze additional KEIP precedent structures (.9); analyze
                                  and review pleadings, objections, and transcripts regarding
                                  same (2.1); prepare summary and analysis regarding same
                                  (.9).

      04/18/22       SAZO         Correspond with client regarding KEIP and KERP plan                            1.00


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      Re:        Restructuring Advice

                                  documents (.1); conduct research and analyze precedent
                                  KEIPs in NDTX (.9).

      04/19/22       SAZO         Review precedent KEIP structures (.8); review and analyze                      2.70
                                  motions, objections, and transcripts regarding same (1.4);
                                  prepare summary and analysis regarding same (.5).

      04/21/22       MAGA         Review and analyze objection to KERP and KEIP motion                           2.00
                                  (1.2); develop strategy regarding and draft response to same
                                  (.5); confer with V&E team regarding same (.3).

      04/21/22       SAZO         Evaluate and analyze precedent KEIP structures (.8); prepare                   1.20
                                  chart summarizing same (.4).

      04/24/22       LRKA         Conference with V&E team regarding KERP/KEIP (.4);                             1.10
                                  correspond with V&E team regarding same (.3); consider
                                  issues regarding same (.4).

      04/24/22       MAGA         Confer with V&E team regarding motions to approve KEIP                         0.50
                                  and KERP and related issues.

      04/25/22       LRKA         Correspond with V&E team, Company regarding KEIP/KERP.                         0.40

      04/28/22       SAZO         Correspond with Company regarding KERP matters (.2);                           1.20
                                  review KERP, KERP Order, and KERP Motion (.6); confer
                                  with V&E team regarding same (.4).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Employee Benefits and Compensation
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  2.50      860.00             2,150.00
                     LRKA         Lauren R. Kanzer                                                  5.70      975.00             5,557.50
                     RLPE         Rebecca L. Matthews                                               2.70     1155.00             3,118.50
                     MWMO         Matthew W. Moran                                                  0.90     1285.00             1,156.50
                     ESST         Eli S. Sterbcow                                                   1.10      590.00               649.00
                     SAZO         Sara Zoglman                                                     30.20      590.00            17,818.00

             Total                                                                                 43.10                        30,449.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Employment and Fee Applications
      Date           Initials     Description                                                                   Hours

      04/01/22       KDG          Correspond with V&E team regarding V&E retention issues                        1.00
                                  (.2); review documents, docket, case law, and relevant docket
                                  entries relating to same (.8).

      04/02/22       KDG          Review and analyze documents work orders (.8); conduct                         3.20
                                  research regarding retention issue (.8); draft outline regarding
                                  same (1.6).

      04/03/22       KDG          Review and analyze precedent regarding employee retention                      1.30
                                  fee (.8); update draft outline summary analysis regarding
                                  same (.5).

      04/04/22       KDG          Research and analyze issues regarding retention (2.1); draft                   4.50
                                  summary analysis regarding same (1.7); correspond with V&E
                                  team regarding same (.7).

      04/05/22       KDG          Research summary analysis regarding retention issues (2.1);                    5.30
                                  draft analysis regarding same (.6); correspond with V&E team
                                  regarding same (.2); incorporate feedback from same
                                  regarding same into draft (2.4).

      04/05/22       DSME         Telephone conference with V&E team regarding retention                         0.50
                                  issues (.3); evaluate retention applications (.2).

      04/06/22       KDG          Research issues regarding retention issues (.8); draft                         3.50
                                  summary analysis regarding retention issues (1.1); review
                                  analysis with V&E team and confer regarding same (.4);
                                  circulate analysis to V&E team (.3); incorporate comments
                                  regarding same (.9).




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      Re:        Restructuring Advice

      04/06/22       EMME         Review and analyze UST comments to OCP motion (.6);                            0.70
                                  conference with V&E RR team regarding same (.1).

      04/07/22       KDG          Research and analysis regarding retention issues (2.1);                        2.70
                                  correspond with V&E team regarding same (.1); attend
                                  telephone conference with V&E team regarding same (.5).

      04/07/22       DSME         Telephone conference with V&E team regarding V&E                               0.50
                                  retention.

      04/07/22       MAGA         Confer with V&E team regarding employment applications.                        0.50

      04/07/22       TGSP         Review UST guidelines regarding fee applications (.8);                         1.10
                                  correspond with V&E team regarding same (.3).

      04/08/22       KDG          Conduct research regarding retention issues (1.4);                             1.70
                                  correspond with V&E team regarding same (.3).

      04/10/22       KDG          Conduct research regarding retention issues (1.6);                             2.80
                                  correspond with V&E team regarding same (.9); compile
                                  NDTX precedent regarding same (.3).

      04/11/22       KDG          Research regarding retention issues (2.5); correspond with                     2.70
                                  V&E team regarding same (.2).

      04/11/22       LRKA         Correspond with V&E team regarding retention application                       0.60
                                  (.3); correspond with Lazard regarding same (.3).

      04/11/22       MAGA         Confer with V&E team and other professionals regarding                         0.50
                                  adjourned hearing and objection deadlines in connection with
                                  pending matters.

      04/11/22       EMME         Correspond with V&E team regarding V&E retention                               2.50
                                  application issues (.6); conference with V&E team regarding
                                  same (.3); review UST comments to OCP motion (.4);
                                  correspond with V&E team regarding same (.3); review and
                                  revise proposed order (.5); conference with V&E team
                                  regarding OCP motion (.4).

      04/11/22       KIVA         Conduct research regarding financial advisor retention orders                  1.20
                                  (.9); correspond with Ankura team regarding same (.2);
                                  correspond with V&E team regarding same (.1).

      04/12/22       EMME         Draft notice of 4/27 hearing to consider retention applications                2.60
                                  and related matters (.6); correspond with V&E team regarding
                                  same (.1); review and revise same (.2); draft notice of
                                  adjournment of 4/15 hearing to consider retention applications
                                  and related matters (.5); correspond with V&E team regarding
                                  same (.1); revise same (.2); correspond with Ankura team
                                  regarding OCP list (.2); draft supplemental declaration for
                                  V&E retention (.7).

      04/13/22       KDG          Conduct research regarding retention issues (2.1); draft                       3.20


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      Re:        Restructuring Advice

                                  memorandum regarding same (1.1).

      04/13/22       LRKA         Review notice of adjournment, hearing in connection with                       0.60
                                  retention applications and related matters (.4); correspond
                                  with V&E team regarding same (.2).

      04/13/22       MAGA         Confer with V&E team regarding fee application and related                     1.00
                                  issues (.2); confer with V&E team regarding retention
                                  applications and related issues (.3); review and revise same
                                  (.3); confer with V&E team regarding agenda for hearing to
                                  consider retention applications and adjournment of hearing
                                  related to same (.2).

      04/13/22       EMME         Conduct research in furtherance of OCP motion (1.3); review                    2.00
                                  precedent cases related to same (.4); correspond with V&E
                                  team regarding filing of notices (.2); correspond with Stretto
                                  regarding service related to same (.1).

      04/14/22       KDG          Conduct research regarding retention issues (2.7); review and                  3.80
                                  analyze issues regarding same (.7); correspond with V&E
                                  team regarding same (.4).

      04/14/22       DSME         Review memo analyzing retention matters.                                       0.40

      04/14/22       LRKA         Correspond with V&E team regarding objection deadlines and                     0.40
                                  hearings in connection with retention applications and related
                                  matters.

      04/14/22       EMME         Draft supplemental Meyer declaration for retention application                 3.10
                                  (2.6); correspond with V&E team regarding V&E retention
                                  backup data (.2); review OCP motion (.2); correspond with
                                  V&E team related to same (.1).

      04/14/22       ESST         Review declarations in support of pending motions including                    1.70
                                  retention applications.

      04/15/22       KDG          Review supplemental declaration in support of retention                        5.80
                                  application (.2); conduct research regarding retention issues
                                  (4.4); confer and correspond with V&E team throughout day
                                  regarding same (1.2).

      04/15/22       DSME         Review supplemental declaration in support of retention                        0.60
                                  application.

      04/15/22       EMME         Correspond with V&E team regarding OCP motion (.1); review                     3.40
                                  V&E team comments to V&E supplemental declaration in
                                  support of retention application (.3); correspond with same
                                  regarding same (.2); revise Meyer supplemental declaration
                                  regarding same (2.8).

      04/16/22       EMME         Research related to Meyer supplemental declaration in                          2.10
                                  support of retention application (1.8); correspond with V&E
                                  team regarding same (.3).


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      Re:        Restructuring Advice

      04/17/22       EMME         Draft Pinsonnault declaration in support of V&E retention (.6);                0.70
                                  correspond with V&E team regarding same (.1).

      04/18/22       KDG          Analyze retention issues and review relevant documents                         3.10
                                  (1.1); conduct research and prepare summary regarding
                                  same (1.7); correspond with V&E team same (.3).

      04/18/22       DSME         Review Meyer supplemental declaration (.6); correspond with                    1.60
                                  V&E team regarding V&E retention application (.6); review
                                  research outlines related to same (.4).

      04/18/22       MAGA         Confer with V&E team regarding fee application matters (.3);                   1.30
                                  confer with V&E team regarding retention and compensation
                                  pleadings (.5); confer with V&E team regarding objection
                                  deadline and hearing adjournment for pending matters
                                  including retention applications (.5).

      04/18/22       SAZO         Prepare for and attend conference call with V&E team                           0.50
                                  regarding fee application matters.

      04/18/22       EMME         Correspond with V&E team regarding Pinsonnault declaration                     2.20
                                  in support of V&E retention application (.1); review and revise
                                  Meyer declaration (1.6); correspond with V&E team regarding
                                  next steps related to same (.1); conference with V&E team
                                  regarding fee application (.4).

      04/18/22       TGSP         Conference call with V&E RR team regarding fee application                     1.30
                                  protocols (.4); follow-up conferences and correspondence
                                  with V&E team regarding same (.9).

      04/19/22       KDG          Review supplemental declaration and related filings and                        1.90
                                  analyze issues regarding same (1.3); correspond with V&E
                                  team regarding same (.6).

      04/19/22       SAZO         Review and revise fee application.                                             1.10

      04/19/22       EMME         Correspond with V&E team regarding retention application                       1.60
                                  (.2); conferences with V&E team regarding same (.7); review
                                  comments to V&E retention application (.2); revise same (.3);
                                  correspond with V&E team regarding same (.2).

      04/19/22       KIVA         Revise proposed Ankura retention order (.7); correspond with                   0.80
                                  V&E team regarding same (.1).

      04/20/22       DSME         Review and revise supplemental declaration.                                    0.40

      04/20/22       LRKA         Conference with V&E team regarding supplemental                                0.50
                                  declaration for retention application.

      04/20/22       MAGA         Confer with V&E team regarding retention applications and                      1.00
                                  related issues (.7); confer with V&E and Ankura team
                                  regarding same (.3).


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      Re:        Restructuring Advice

      04/21/22       RLPE         Review and analyze comments to Pinsonnault and Meyer                           0.60
                                  declarations (.5); correspond with V&E team regarding same
                                  (.1).

      04/21/22       EMME         Review and revise declaration in support of V&E retention                      1.80
                                  (1.7); correspond with V&E team regarding same (.1).

      04/22/22       DSME         Review supplemental declaration in support of V&E retention                    2.80
                                  (1.0); correspond with V&E team regarding same (.4); outline
                                  reply and key issues related to same (.6); review research
                                  outline and case summaries related to same (.8).

      04/22/22       MJPY         Evaluate V&E retention declaration (.5); correspond with V&E                   0.70
                                  team regarding same (.2).

      04/22/22       MAGA         Review and revise declarations in support of V&E retention                     1.20
                                  application.

      04/22/22       EMME         Review and analyze comments to declarations in support of                      0.80
                                  V&E retention (.4); revise same (.4).

      04/23/22       MAGA         Review and revise declarations in support of V&E retention                     0.80
                                  application.

      04/23/22       EMME         Review and revise retention declarations (2.3); correspond                     4.60
                                  with V&E team regarding same (.4); correspond with V&E RR
                                  and LIT teams regarding retention declarations (.7);
                                  conference with same regarding same (.7); correspond with
                                  V&E team regarding firm revenue related to retention
                                  declaration (.3); conference with same regarding same (.2).

      04/23/22       TGSP         Draft CNO for employment applications and motions (1.0);                       1.20
                                  correspond with V&E team regarding same (.2).

      04/24/22       EMME         Correspond with V&E team regarding OCP revised order.                          0.10

      04/24/22       TGSP         Draft revisions to CNO regarding employment applications                       0.60
                                  and motions (.4); correspond with V&E team regarding same
                                  (.2).

      04/25/22       KDG          Correspond with same regarding declarations in support of                      0.90
                                  retention.

      04/25/22       DSME         Review and revise declarations in support of same.                             2.00

      04/25/22       MAGA         Review and revise declaration in support of V&E retention                      0.70
                                  (.4); confer with V&E team regarding same (.3).

      04/25/22       EMME         Correspond with Ankura team regarding retention declaration                    1.40
                                  (.2); review and revise same (.3); correspond with Company
                                  regarding same (.2); correspond with Cleary regarding same
                                  (.1); review and revise OCP order (.6).


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      Re:        Restructuring Advice

      04/25/22       TGSP         Correspond with Sidley regarding Lazard retention.                             0.10

      04/26/22       MAGA         Draft materials in furtherance of V&E retention application.                   1.50

      04/26/22       EMME         Review and revise retention declarations (1.4); correspond                     2.00
                                  with Ankura team, Bill Transier regarding retention
                                  declarations (.3); review and revise same (.3).

      04/27/22       EMME         Correspond and conference with V&E team regarding                              0.70
                                  retention/DIP hearing (.3); review and revise retention order
                                  (.4).

      04/28/22       MAGA         Review and revise Weil retention application (.7); confer with                 1.10
                                  V&E team regarding same (.4).

      04/28/22       EMME         Review and revise retention order (.2); correspond with V&E                    2.50
                                  team regarding same (.2); correspond with V&E team
                                  regarding OCP issues (.2); draft email for Company regarding
                                  same (.4); conference with Weil team regarding Weil retention
                                  application (.1); review and revise Weil retention application
                                  (1.2); correspond with Weil team regarding same (.2).

      04/28/22       IDAY         Discuss Deloitte fee application with V&E team.                                0.40

      04/29/22       MAGA         Confer with V&E and Weil teams regarding Weil retention                        1.00
                                  application (.5); confer with V&E and Brown Fox teams
                                  regarding Brown Fox retention application (.5).

      04/29/22       EMME         Correspond with V&E team regarding Weil retention                              0.50
                                  application (.1); correspond with same regarding same (.1);
                                  review and revise Weil retention application in preparation for
                                  filing (.2); coordinate with V&E team to file same (.1).




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      Re:        Restructuring Advice

             Summary of services - Employment and Fee Applications
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                        0.40      540.00               216.00
                     MAGA         Michael A. Garza                                                 10.60      860.00             9,116.00
                     KDG          Katherine D. Grissel                                             47.40      925.00            43,845.00
                     LRKA         Lauren R. Kanzer                                                  2.10      975.00             2,047.50
                     RLPE         Rebecca L. Matthews                                               0.60     1155.00               693.00
                     EMME         Elias M. Medina                                                  35.30      590.00            20,827.00
                     DSME         David S. Meyer                                                    8.80     1325.00            11,660.00
                     MJPY         Matthew J. Pyeatt                                                 0.70      910.00               637.00
                     TGSP         Trevor G. Spears                                                  4.30      790.00             3,397.00
                     ESST         Eli S. Sterbcow                                                   1.70      590.00             1,003.00
                     KIVA         Kiran Vakamudi                                                    2.00      790.00             1,580.00
                     SAZO         Sara Zoglman                                                      1.60      590.00               944.00

             Total                                                                               115.50                         95,965.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Employment and Fee Application Objections
      Date           Initials     Description                                                                   Hours

      04/07/22       EMME         Conference with V&E team regarding retention application                       1.10
                                  issues (.5); draft responses to UST comments to V&E
                                  retention application (.6).

      04/07/22       TGSP         Correspond with V&E team regarding UST comments to                             0.90
                                  professional fee applications and motions (.2); review UST
                                  comments to same (.2); research regarding same (.4); draft
                                  revisions to same (.1).

      04/07/22       KIVA         Review comments to Ankura retention applications from US                       2.50
                                  Trustee (.4); correspond with Ankura team regarding same
                                  (.1); conduct research regarding precedent fee applications
                                  (1.4); draft responses to US Trustee comments regarding
                                  same (.6).

      04/08/22       DSME         Evaluate and review UST diligence request regarding Ankura                     0.70
                                  retention application (.3); conduct follow-ups with V&E team
                                  regarding UST questions (.4).

      04/08/22       EMME         Correspond with V&E team regarding retention application                       0.70
                                  issues, including responses to UST diligence.

      04/08/22       TGSP         Review UST comments to Lazard application (.2); correspond                     0.50
                                  with V&E team and Sidley regarding UST comments to


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      Re:        Restructuring Advice

                                  Lazard application (.3).

      04/11/22       DSME         Telephone conference with UST regarding retention                              1.70
                                  applications (.4); conduct follow-up analysis to V&E retention
                                  issues raised by UST (1.3).

      04/11/22       MJPY         Prepare for call with U.S. Trustee regarding V&E retention                     1.60
                                  application objection and comments (.3); participate on call
                                  with same regarding same (.6); review and compile written
                                  responses and further diligence regarding same (.7).

      04/11/22       MAGA         Confer with V&E team regarding UST comments to retention                       0.50
                                  applications.

      04/11/22       TGSP         Correspond with V&E team regarding UST comments to                             0.90
                                  Lazard and Ankura retention applications (.2); correspond
                                  with Sidley regarding same (.2); review UST comments to
                                  interim compensation order (.3); correspond with V&E team
                                  regarding same (.2).

      04/12/22       DSME         Correspond with V&E team regarding UST requests in                             0.50
                                  connection with retention applications (.3); review production
                                  of materials regarding same (.2).

      04/12/22       LRKA         Participate in call with V&E team regarding retention and UST                  0.20
                                  comments regarding same.

      04/12/22       MJPY         Prepare written responses and perform further diligence                        1.30
                                  regarding retention applications, interim compensation, and
                                  ordinary course professionals in response to U.S. Trustee
                                  comments and objections (.8); correspond with V&E team
                                  regarding same (.3); draft further revisions to same (.2).

      04/12/22       MAGA         Confer with V&E team regarding UST comments to retention                       1.10
                                  applications (.5); review and revise draft responses to same
                                  (.6).

      04/12/22       EMME         Review UST comments to OCP procedures and OCP list (.3);                       3.30
                                  draft response to UST comments (.5); research in furtherance
                                  of same (.4); draft revised OCP order (.3); review UST
                                  comments to V&E retention application (.3); draft responses
                                  to same (.5); correspond with V&E team regarding same (.2);
                                  revise responses to UST comments (.2); correspond with V&E
                                  team regarding backup data related to UST responses (.4);
                                  correspond with same regarding same (.2).

      04/12/22       TGSP         Draft responses to UST comments regarding retention                            1.50
                                  questions (.7); correspond with V&E team regarding same
                                  (.8).

      04/13/22       DSME         Correspond with UST regarding information requests (.1);                       0.20
                                  follow-up with V&E team regarding same (.1).



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      Re:        Restructuring Advice

      04/13/22       MJPY         Prepare response to U.S. Trustee comments to retention                         1.20
                                  applications, interim compensation order, and ordinary course
                                  professionals order (.8); correspond with V&E team regarding
                                  same (.2); evaluate precedent to support same (.2).

      04/13/22       EMME         Review and revise response to UST OCP comments.                                0.40

      04/13/22       TGSP         Correspond with V&E team regarding responses to UST                            0.20
                                  comments to retention applications.

      04/14/22       MJPY         Correspond with V&E team regarding U.S. Trustee comments                       0.30
                                  to V&E retention application (.2); correspond with U.S.
                                  Trustee regarding same (.1).

      04/14/22       TGSP         Correspond with V&E team regarding UCC comments to                             0.20
                                  interim compensation procedures.

      04/15/22       MJPY         Correspond with U.S. Trustee regarding objection issues (.2);                  0.30
                                  correspond with V&E team regarding same (.1).

      04/15/22       TGSP         Conduct research regarding UCC comments to interim                             0.70
                                  compensation motion (.4); correspond with V&E team
                                  regarding same (.3).

      04/18/22       TGSP         Draft revisions to interim compensation motion regarding UCC                   0.50
                                  comments (.3); correspond with V&E team regarding same
                                  (.2).

      04/19/22       DSME         Correspond with UST regarding retention objection (.3);                        0.50
                                  follow-ups correspondence with V&E team regarding same
                                  (.2).

      04/19/22       MJPY         Correspond with UST regarding objection to V&E fee                             0.20
                                  application.

      04/20/22       MWMO         Analyze issues related to potential objection to V&E retention                 1.80
                                  (.4); review evidence in support of response to objection to
                                  V&E retention (.2); correspond with V&E team regarding
                                  same (.2); review objection to retention application and
                                  analyze reply in support of motion for retention (1.0).

      04/20/22       RLPE         Correspond and conferences with V&E team regarding                             2.00
                                  litigation assistance on reply in support of retention application
                                  (.5); review and revise supplemental David Meyer declaration
                                  related to retention reply (.3); review UCC objection to
                                  retention application and provide comments to V&E team
                                  (1.2).

      04/20/22       KDG          Correspond with V&E team regarding retention objection (.5);                   9.90
                                  review declarations, pleadings, and relevant research related
                                  to same (2.5); draft response related to same (6.5);
                                  conference with V&E team regarding same (.4).



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      Re:        Restructuring Advice

      04/20/22       DSME         Review UCC objection to V&E retention application (.4);                        0.80
                                  evaluate next steps in connection with same (.4).

      04/20/22       MJPY         Correspond with V&E team regarding U.S. Trustee retention                      1.70
                                  issues (.3); correspond with U.S. Trustee regarding same (.4);
                                  work on diligence responses related to same (.5); correspond
                                  with V&E team regarding UST issues related to Ankura
                                  retention (.2); correspond with U.S. Trustee regarding open
                                  items on retention matters (.3).

      04/20/22       MAGA         Review and analyze objections to V&E retention application                     1.10
                                  (.6); confer with V&E team regarding same (.5).

      04/20/22       EMME         Conference with V&E team regarding Committee retention                         4.70
                                  objection (.6); conference with same regarding retention reply
                                  (.4); conference with V&E team regarding supplemental
                                  declaration related to same (.8); correspond with V&E team
                                  regarding retention work streams (.4); correspond with same
                                  regarding retention reply (.2); revise declarations in support of
                                  V&E retention (.3); research in furtherance of retention reply
                                  (.7); summarize diligence production and calls/meetings in
                                  furtherance of retention reply (.7); revise summary of same
                                  (.2); review and revise Meyer declaration (.4).

      04/20/22       TGSP         Correspond with V&E team and Sidley regarding UST                              1.30
                                  comments to Lazard retention (.4); correspond with V&E team
                                  regarding proposed language for interim compensation (.2);
                                  review and respond to fee application questions with V&E
                                  team (.7).

      04/20/22       KIVA         Conference with V&E and Ankura teams regarding UST                             0.60
                                  comments to retention application (.5); correspond with V&E
                                  team regarding same (.1).

      04/21/22       MWMO         Analyze argument for reply in support of retention motion                      3.60
                                  (1.0); analyze issues related to retention of V&E and confer
                                  with V&E team regarding same (2.5); correspond with UCC
                                  counsel regarding deposition of David Meyer (.1).

      04/21/22       RLPE         Research related to reply in support of retention application                  2.10
                                  (.9); correspondence and conferences with V&E team
                                  regarding reply in support of retention application and
                                  additional arguments and information in support of same
                                  (1.2).

      04/21/22       KDG          Draft reply to Committee objection to retention application                    5.30
                                  (4.7); correspond with V&E team regarding same (.6).

      04/21/22       DSME         Review UCC retention objection (1.0); correspond with V&E                      3.20
                                  team regarding same (.2); conference with V&E team
                                  regarding same (.3); conference with UST regarding
                                  issues/responses (1.0); conference with V&E team regarding
                                  hearing (.4); conduct follow-ups with V&E team regarding


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      Re:        Restructuring Advice

                                  same (.3).

      04/21/22       LRKA         Correspond with V&E team regarding objection to retention                      2.50
                                  application (.7); review and comment on Pinsonnault
                                  declaration in support of same (.9); correspond with V&E
                                  team regarding same (.2); conferences with V&E team
                                  regarding same (.7).

      04/21/22       MJPY         Prepare for calls with UST regarding V&E and Ankura                            1.90
                                  retention applications (.4); conference with UST regarding
                                  V&E retention objection (.5); correspond with V&E team
                                  regarding same (.3); correspond with UST regarding diligence
                                  requests related to same (.2); conference with UST and
                                  Ankura counsel regarding Ankura retention issues (.5).

      04/21/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      2.10
                                  UST regarding retention application and related issues (.5);
                                  participate on calls with V&E and Ankura teams regarding
                                  same (.6); confer with V&E team regarding objection to V&E
                                  retention (.5); conduct research in furtherance of same (.5).

      04/21/22       EMME         Correspond with V&E team regarding retention and related                       2.90
                                  objections (.5); research in furtherance of retention reply (1.8);
                                  correspond with V&E team regarding same (.3); correspond
                                  with V&E litigation team regarding retention research (.3).

      04/21/22       KIVA         Conference with UST, V&E and Ankura teams regarding                            0.50
                                  retention applications (.4); revise Ankura application with
                                  comments from same (.1).

      04/22/22       KDG          Review objections, research, and other relevant documents                      5.10
                                  related to retention reply (1.5); summarize same (.3); review
                                  and revise reply (2.1); correspond with V&E team regarding
                                  same (1.2).

      04/22/22       EMME         Conferences with V&E team regarding retention issues and                       5.80
                                  objections (.7); correspond with V&E LIT team regarding
                                  retention research (.5); review and revise retention reply (4.1);
                                  review and analyze UST objection to V&E retention (.3);
                                  correspond with V&E team regarding same (.2).

      04/22/22       TGSP         Review UST objection to V&E retention (.2); conference call                    0.60
                                  with V&E team regarding same (.2); correspond with same
                                  regarding same (.2).

      04/23/22       KDG          Review and revise V&E retention reply (2.9); correspond with                   4.10
                                  V&E team regarding same (1.2).

      04/23/22       DSME         Review declarations related to V&E retention (2.0); review                     2.40
                                  reply (.4).

      04/23/22       EMME         Review and revise retention reply (1.3); correspond with V&E                   2.10
                                  team regarding retention research (.2); correspond with V&E


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      Re:        Restructuring Advice

                                  team regarding retention research (.2); review and analyze
                                  retention research from V&E LIT team (.4).

      04/23/22       KIVA         Revise Stretto retention application order with comments from                  0.50
                                  Committee (.1); revise Ankura retention application order with
                                  comments from US Trustee (.1); compile same (.2);
                                  correspond with V&E team regarding same (.1).

      04/24/22       RLPE         Review and revise reply in response to Committees objection                    1.20
                                  to V&E's retention application (.9); correspond with V&E team
                                  regarding same (.3).

      04/24/22       KDG          Correspond with V&E team regarding reply to V&E retention                      5.90
                                  objections (.8); revise same (4.7); conference with V&E team
                                  regarding same (.2); correspond with same regarding same
                                  (.2).

      04/24/22       DSME         Review and revise retention reply.                                             3.20

      04/24/22       MAGA         Review and revise reply in support of V&E retention                            1.00
                                  application.

      04/24/22       EMME         Correspond with V&E team regarding retention reply (.4);                       3.90
                                  review and revise retention reply (3.3); correspond with V&E
                                  team regarding UST comments to OCP and retention orders
                                  (.2).

      04/25/22       KDG          Revise reply in support of retention (2.6); correspond with                    5.20
                                  V&E team regarding same (1.2); prepare questions related to
                                  V&E retention in advance of deposition preparation (1.4).

      04/25/22       DSME         Review and revise reply in support of V&E retention                            1.80
                                  application.

      04/25/22       LRKA         Review and comment on V&E retention reply (1.2); review                        2.10
                                  materials regarding same (.6); correspond with V&E team
                                  regarding same (.3).

      04/25/22       EMME         Review local rules in furtherance of retention reply (.3);                     4.30
                                  correspond and conference with V&E team regarding same
                                  (1.4); research in furtherance of same (2.6).

      04/25/22       TGSP         Correspond with V&E team regarding CNOs related to UST                         2.00
                                  and UCC comments to retention applications, OCP, and
                                  interim compensation motions (.7); draft revisions to same
                                  (.6); conferences with V&E team regarding same (.5);
                                  coordinate filing of same (.2).

      04/26/22       KDG          Attend meeting with V&E team regarding preparation for                         7.50
                                  deposition in connection with V&E retention (1.5); research
                                  related to same (1.2); correspond with V&E team regarding
                                  same and deposition (1.4); draft and revise notes and outline
                                  in preparation for hearing regarding V&E retention, including


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      Re:        Restructuring Advice

                                  review of pertinent research and pleadings (3.4).

      04/26/22       EMME         Correspond and conference with V&E team regarding                              2.30
                                  retention reply (1.7); review and revise same (.6).

      04/27/22       KDG          Prepare for David Meyer deposition.                                            2.00

      04/27/22       EMME         Prepare for deposition of David Meyer.                                         0.20




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      Re:        Restructuring Advice

             Summary of services - Employment and Fee Application Objections
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  5.80      860.00             4,988.00
                     KDG          Katherine D. Grissel                                             45.00      925.00            41,625.00
                     LRKA         Lauren R. Kanzer                                                  4.80      975.00             4,680.00
                     RLPE         Rebecca L. Matthews                                               5.30     1155.00             6,121.50
                     EMME         Elias M. Medina                                                  31.70      590.00            18,703.00
                     DSME         David S. Meyer                                                   15.00     1325.00            19,875.00
                     MWMO         Matthew W. Moran                                                  5.40     1285.00             6,939.00
                     MJPY         Matthew J. Pyeatt                                                 8.50      910.00             7,735.00
                     TGSP         Trevor G. Spears                                                  9.30      790.00             7,347.00
                     KIVA         Kiran Vakamudi                                                    4.10      790.00             3,239.00

             Total                                                                               134.90                        121,252.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Financing and Cash Collateral
      Date           Initials     Description                                                                   Hours

      04/01/22       LRKA         Correspond with V&E team regarding DIP matters.                                0.40

      04/01/22       MJPY         Attend calls with Ankura regarding interest payment (.3);                      0.70
                                  evaluate DIP credit agreement regarding same (.3);
                                  correspond with V&E finance team regarding same (.1).

      04/01/22       ARMU         Correspond with V&E litigation team regarding DIP Credit                       1.50
                                  Agreement (.7); correspond with V&E restructuring team
                                  regarding same (.8).

      04/01/22       TDAI         Review and analyze control agreement matters (.1); discuss                     1.00
                                  potential amendment to DIP credit agreement with V&E team
                                  and analyze credit agreement provisions related thereto (.9).

      04/01/22       KIVA         Conduct research regarding DIP financing issues (1.9); draft                   3.30
                                  memo regarding same (.8); circulate to V&E RR team for
                                  review (.2); correspond with V&E team reading same (.4).

      04/01/22       GRHO         Review, analyze, and respond to questions from the Board                       1.20
                                  regarding DIP budget (.9); correspond with V&E team
                                  regarding reporting questions and newly asserted liens (.3).

      04/04/22       GGRI         Discuss status of collateral review and DIP schedule with V&E                  0.50
                                  team (.4); draft correspondence regarding same (.1).

      04/04/22       MJPY         Correspond with client regarding DIP procedures and fee                        0.60


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      Re:        Restructuring Advice

                                  payments (.2); evaluate DIP milestones in connection with
                                  extension issue (.2); revise DIP order language regarding
                                  taxing authorities (.2).

      04/04/22       ARMU         Correspond with V&E team regarding existing liens.                             0.60

      04/04/22       TDAI         Correspond with V&E, company, and Ankura teams regarding                       0.30
                                  mortgage filing matters (.1); correspond with V&E, company
                                  and Cleary teams regarding liens (.2).

      04/04/22       KIVA         Conduct research regarding DIP claim issues (1.7);                             3.20
                                  correspond with V&E team regarding same (.8); draft
                                  summary regarding same (.7).

      04/05/22       GGRI         Discuss logistics of collateral filings with V&E team.                         0.50

      04/05/22       MJPY         Correspond with V&E finance team regarding permitted                           0.40
                                  priority liens under DIP Credit Agreement (.2); correspond
                                  with V&E team regarding collateral review (.2).

      04/05/22       ARMU         Review DIP credit agreement (1.8); correspond with V&E                         2.20
                                  team regarding same (.4).

      04/05/22       TDAI         Correspond with V&E and Cleary teams regarding liens.                          0.10

      04/05/22       KIVA         Conduct research regarding DIP claim issues (3.1); draft                       4.30
                                  summary regarding same (1.2).

      04/06/22       GGRI         Call with V&E team regarding general status and potential                      1.00
                                  questions from UCC.

      04/06/22       MJPY         Evaluate permitted priority liens (.5); evaluate research to                   2.20
                                  support same (.4); correspond with V&E team regarding same
                                  (.3); evaluate collateral documentation to support lien inquiry
                                  (.4); correspond with lender counsel regarding fee issue (.2);
                                  evaluate mortgages (.2); correspond with V&E finance team
                                  regarding same (.2).

      04/06/22       ARMU         Correspond with V&E team regarding Real Property Collateral                    1.80
                                  throughout day (.9); review research from V&E team
                                  regarding same (.9).

      04/06/22       TDAI         Review lien matters and discuss and correspond with V&E                        2.60
                                  team regarding same (1.7); attend call regarding lien review
                                  (.8); correspond with V&E team regarding guarantors (.1).

      04/06/22       KIVA         Conduct research regarding lien perfection (1.2); draft                        3.00
                                  summary regarding same (.4); correspond with V&E and
                                  Cleary teams regarding same (.3); conduct research
                                  regarding adequate protection (.6); draft summary regarding
                                  same (.5).

      04/06/22       GRHO         Conference call with V&E team regarding UCC diligence                          0.50


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      Re:        Restructuring Advice

                                  requests (.3); follow-up email correspondence V&E team
                                  regarding same (.2).

      04/07/22       GGRI         Review collateral diligence summary and discuss with V&E                       2.50
                                  team (1.2); participate in calls with V&E team and UCC
                                  counsel to discuss same and next steps (1.3).

      04/07/22       ARMU         Review and analyze Lien Review and Mortgages (1.5);                            2.20
                                  correspond with V&E team regarding same (.7).

      04/07/22       TDAI         Review lien matters.                                                           0.80

      04/07/22       KIVA         Conduct research regarding DIP financing claims in                             2.90
                                  bankruptcy (1.8); correspond with V&E team regarding same
                                  (.3); draft summary of same (.8).

      04/08/22       ARMU         Review issues related to collateral review (1.9); correspond                   2.80
                                  with V&E team regarding same (.9).

      04/08/22       TDAI         Attend to lien review matters (1.6); discuss and correspond                    3.80
                                  with V&E team regarding same (1.9); attend to mortgage filing
                                  matters and discuss and correspond with V&E team regarding
                                  same (.3).

      04/09/22       LRKA         Review North Dakota filings and correspond with V&E team,                      0.90
                                  Cleary regarding same.

      04/09/22       TDAI         Attend to lien review matters and discuss and correspond with                  0.50
                                  V&E team regarding same.

      04/10/22       DSME         Correspond with V&E team regarding collateral questions (.2);                  0.40
                                  review materials (.2).

      04/10/22       ARMU         Correspond with V&E team regarding ND Mortgages.                               0.30

      04/11/22       MJPY         Correspond with V&E finance team regarding DIP fees.                           0.20

      04/11/22       ARMU         Correspond with V&E team regarding Mortgages.                                  1.10

      04/11/22       TDAI         Attend to real property filing matters and correspond with V&E                 3.20
                                  team regarding same (.1); research, discuss and evaluate lien
                                  review matters (2.0); correspond with V&E team regarding
                                  same (1.1).

      04/11/22       KIVA         Review correspondence regarding financing statements                           0.30
                                  between V&E and Cleary teams (.2); review and evaluate
                                  creditor inquiry regarding final DIP order (.1).

      04/12/22       GGRI         Discuss status of filing post-petition DIP mortgages with V&E                  0.20
                                  team.

      04/12/22       LRKA         Correspond with V&E and Ankura teams regarding collateral                      1.70
                                  matters (.6); conference with Lewis Gillies regarding same


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      Re:        Restructuring Advice

                                  (.2); conferences with V&E team regarding same (.4);
                                  participate in conference call with Stephen Golmont and V&E
                                  team regarding same (.5).

      04/12/22       MJPY         Evaluate professional fee accrual to address bi-weekly                         1.80
                                  reporting under DIP order (1.3); correspond with V&E team
                                  regarding same (.3); correspond with Ankura regarding same
                                  (.2).

      04/12/22       ARMU         Correspond with V&E team regarding Collateral matters (1.2);                   1.80
                                  review and assess relevant documents regarding same (.6).

      04/12/22       TDAI         Evaluate and assess real property filing matters (.7); evaluate                2.70
                                  and assess lien review matters (1.4); confer with V&E team
                                  regarding same (.6).

      04/13/22       GGRI         Attend calls with V&E team regarding financing statement and                   2.00
                                  perfections matters (1.1); evaluate and asses perfection in
                                  North Dakota (.9).

      04/13/22       DSME         Participate in telephone conference with Company regarding                     1.20
                                  collateral deliverables (.7); review collateral memo (.5).

      04/13/22       LRKA         Participate in conference call with company/Ankura/V&E                         2.60
                                  regarding collateral matters (.9); conduct follow-up conference
                                  with Ankura regarding same (.5); conduct follow-up
                                  correspondence and conferences with V&E team regarding
                                  same (.9); review local counsel analysis regarding same (.3).

      04/13/22       MJPY         Participate on call with Lazard and client regarding mortgage                  1.40
                                  coverage issues and Committee diligence responses in
                                  connection with same (.5); analyze mortgage coverage issues
                                  in North Dakota in connection with same (.3); correspond with
                                  V&E team regarding same (.2); evaluate Interim DIP Order to
                                  address inquiry regarding adequate protection and DIP liens
                                  (.2); correspond with V&E team regarding same (.2).

      04/13/22       ARMU         Correspond with V&E team regarding Collateral Review (1.2);                    2.20
                                  analyze issues regarding same (1.0).

      04/13/22       TDAI         Assess lien review matters (1.2); discuss and correspond with                  2.40
                                  V&E, company and local counsel teams regarding same (1.1);
                                  evaluate real property filing matters (.1).

      04/13/22       GRHO         Correspond with V&E team regarding various DIP financing                       0.50
                                  issues.

      04/14/22       GGRI         Assess analysis related to perfection matters (1.3);                           3.00
                                  correspond with V&E team and company to discuss same
                                  (1.7).

      04/14/22       DSME         Participate on telephone conference with V&E team regarding                    0.50
                                  mortgage matters.


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      04/14/22       LRKA         Conference with Scott Pinsonnault regarding lien issues (.3);                  4.30
                                  participate on conference call with V&E team regarding ND
                                  mortgage matters (.7); conference with V&E team to follow-up
                                  regarding same (.5); review materials from Company
                                  regarding same (1.0); correspond with client and Ankura
                                  regarding same (.9); conference with V&E team regarding
                                  same (.3); review analysis from ND counsel regarding same
                                  (.6).

      04/14/22       ARMU         Correspond with V&E team regarding Mortgage and                                2.80
                                  Collateral.

      04/14/22       TDAI         Evaluate lien review matters (1.7); discuss and correspond                     2.10
                                  with V&E, company, and local counsel teams regarding same
                                  (.4).

      04/14/22       EMME         Conference with V&E team regarding mortgage matters.                           0.10

      04/15/22       GGRI         Participate on call with Cleary to discuss collateral and                      2.30
                                  perfection matters (1.0); confer and follow-up with V&E team
                                  regarding same throughout day (1.3).

      04/15/22       DSME         Correspond with V&E team regarding ND collateral review.                       0.40

      04/15/22       LRKA         Correspond with V&E team, Ankura, local counsel regarding                      1.40
                                  mortgages (.8); review materials regarding same (.5);
                                  correspond with Pachulski regarding same (.1).

      04/15/22       ARMU         Review and evaluate DIP Credit Agreement (1.8); confer and                     2.10
                                  correspond with V&E team regarding same (.3).

      04/15/22       TDAI         Attend call with company counsel/advisors and UCC                              1.50
                                  counsel/advisors regarding lien review matters (1.3); review
                                  and assess lien review matters (.2).

      04/16/22       GGRI         Prepare for and participate in call with local ND counsel to                   1.50
                                  discuss perfection issues (.6); conduct follow-up conferences
                                  with V&E team and company regarding same (.9).

      04/16/22       LRKA         Participate in conference call with ND counsel and V&E team                    1.70
                                  regarding mortgages (.5); conduct follow-up conference with
                                  V&E team regarding same (.7); review, evaluate, and
                                  consider materials and issues regarding same (.3);
                                  correspond with V&E team regarding mortgage matters (.2).

      04/16/22       MJPY         Correspond with V&E team regarding mortgage coverage                           1.90
                                  issues in connection with Committee diligence requests (.2);
                                  participate in call with North Dakota counsel regarding same
                                  (.6); conduct follow-up conference with V&E team regarding
                                  same (.8); evaluate diligence responses in connection with
                                  same (.3).



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      04/16/22       ARMU         Correspond with V&E team regarding ND Mortgages.                               1.10

      04/16/22       TDAI         Evaluate lien review matters (.1); discuss and correspond with                 0.20
                                  V&E team regarding same (.1).

      04/18/22       GGRI         Review additional mortgage coverage information and discuss                    2.00
                                  with V&E team and Rockall.

      04/18/22       LRKA         Correspond with North Dakota counsel regarding mortgage                        2.10
                                  analysis (.6); correspond and conferences with V&E team,
                                  Ankura, and Company regarding same (1.5).

      04/18/22       MJPY         Correspond with client regarding inquiry on lender                             0.30
                                  professional fee payment under DIP order (.1); correspond
                                  with V&E team regarding DIP reporting (.2).

      04/18/22       ARMU         Correspond with V&E team regarding North Dakota                                2.40
                                  Mortgages and Credit Agreement.

      04/18/22       TDAI         Discuss potential amendment to DIP credit agreement with                       1.00
                                  V&E team (.1); analyze credit agreement provisions related
                                  thereto (.1); evaluate and assess lien review matters (.8).

      04/19/22       GGRI         Conferences with V&E team and local counsel to discuss                         2.30
                                  updates and analysis regarding lien review matters (1.3); call
                                  with V&E, Rockall and Ankura to discuss mortgage and lien
                                  analysis (1.0).

      04/19/22       LRKA         Conference call with Cleary, Houlihan, Matt Pyeatt, Ankura                     4.20
                                  regarding budget, fees (.5); correspond and conferences with
                                  V&E team regarding same (.4); conference call with V&E
                                  team, Ankura regarding mortgages (.7); prepare for and
                                  conference calls with Pachulski, V&E team, local counsel
                                  regarding DIP financing (1.4); correspond and conferences
                                  with V&E team and local counsel regarding same (1.0);
                                  correspond with Cleary regarding same (.2).

      04/19/22       MJPY         Conference with Cleary regarding DIP meet and confer (.5);                     1.80
                                  correspond with V&E team regarding same (.2); work on DIP
                                  fee reporting (.6); correspond with V&E team regarding same
                                  (.3); correspond with Cleary regarding same (.2).

      04/19/22       ARMU         Review material related to DIP collateral.                                     1.40

      04/20/22       GGRI         Confer with V&E team regarding mortgage perfection issues.                     1.00

      04/20/22       MJPY         Evaluate Committee DIP objection (.3); correspond with V&E                     0.60
                                  team regarding same (.1); evaluate issues list for same (.2).

      04/20/22       ARMU         Analyze issues related to North Dakota mortgages.                              0.90

      04/20/22       KIVA         Review committee settlement proposal (.6); draft issues list                   2.80
                                  regarding same (.4); correspond with V&E team regarding


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      Re:        Restructuring Advice

                                  same (.2); review and analyze Committee DIP objection (.9);
                                  draft summary of same (.6); correspond with V&E team
                                  regarding same (.1).

      04/21/22       MWMO         Analyze issues related to DIP objection and confer with V&E                    2.10
                                  team regarding same (.9); review response to motion for
                                  reconsideration of bid procedures (.3); correspond with V&E
                                  team regarding same (.2); conference with V&E team
                                  regarding DIP motion and analysis of liens (.7).

      04/21/22       RLPE         Confer with V&E team regarding DIP reply and hearing                           1.20
                                  preparations (.5); conference with V&E restructuring, litigation
                                  and finance teams regarding same (.7).

      04/21/22       GGRI         Review DIP objection (1.1); correspond with V&E team                           1.40
                                  regarding same (.3).

      04/21/22       LRKA         Correspond with Alan Bryan regarding DIP objection (.3);                       0.80
                                  correspond with Dave Mirkin, Lazard regarding same (.5).

      04/21/22       MJPY         Correspond with V&E litigation team regarding exhibits for                     3.60
                                  DIP hearing (.2); correspond with V&E finance team regarding
                                  same (.2); work on DIP hearing preparation (.6); correspond
                                  with lender counsel regarding DIP reporting issues (.3);
                                  evaluate first-day hearing transcript to support DIP hearing
                                  (.2); evaluate DIP order precedent to support same (.3);
                                  conference with lender counsel regarding same (.2);
                                  conference with V&E litigation team regarding DIP hearing
                                  (.7); evaluate Committee objection to support reply (.4);
                                  evaluate evidentiary issues to support DIP hearing (.5).

      04/21/22       JRGO         Conference with V&E teams regarding committee objection to                     0.80
                                  DIP motion (.7); correspond with same regarding same (.1).

      04/21/22       ARMU         Correspond with V&E team regarding DIP objection and reply.                    2.70

      04/21/22       TDAI         Review lien issues (.2); review DIP objection (.4); analyze                    4.50
                                  issues related to DIP credit agreement (.7); analyze issues
                                  related to DIP objection reply (2.5); conference with V&E team
                                  regarding same (.7).

      04/21/22       MAGA         Conference with V&E teams regarding DIP financing and                          0.50
                                  related issues.

      04/21/22       KIVA         Conference with V&E team regarding response to committee                       3.60
                                  DIP objection (.5); confer with Matt Pyeatt regarding same
                                  (.4); revise response to DIP objection with comments from
                                  same (1.8); conduct research regarding precedent DIP orders
                                  (.7); correspond with V&E team regarding same (.2).

      04/21/22       GRHO         Review and analyze Committee's objection to DIP (.7); draft                    2.90
                                  and revise outline of responses to same (.8); review and
                                  analyze DIP issues list from Kiran Vakamudi (.3); correspond


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                                  with Matt Pyeatt regarding next steps on DIP and related
                                  strategy considerations (.5); review and analyze final DIP
                                  order precedent (.6).

      04/22/22       RLPE         Conference with V&E team regarding mortgage analysis and                       0.50
                                  related issues.

      04/22/22       GGRI         Conferences with V&E team regarding ND counsel positions                       1.90
                                  with respect to mortgaged property.

      04/22/22       LRKA         Conference call with V&E team, Lazard regarding DIP                            4.10
                                  financing (.7); conference call with V&E and Cleary teams
                                  regarding same (.6); conferences with David Meyer, Sean
                                  O’Neal, Jane Van Lare regarding DIP financing, UCC (.8);
                                  conference with Pachulski regarding same (.4); follow-up
                                  conferences and correspondence with Ankura, V&E team
                                  regarding same (1.2); draft settlement proposal (.3);
                                  correspond with David Meyer regarding same (.1).

      04/22/22       MJPY         Conference with lender counsel and North Dakota counsel                        6.90
                                  regarding mortgage issues (.5); evaluate North Dakota lien
                                  analysis and mortgage issues following same (.6); conference
                                  with Lazard regarding DIP hearing preparation (.9);
                                  conference with V&E restructuring team regarding same (.9);
                                  conference with lender counsel regarding DIP reply (.6);
                                  evaluate Committee DIP objection to support reply (.7);
                                  correspond with lender counsel regarding DIP order
                                  precedent (.2); correspond with V&E team regarding same
                                  (.1); evaluate exhibit list for DIP hearing (.4); compile exhibits
                                  for same (.4); correspond with V&E litigation team regarding
                                  same (.3); correspond with Ankura regarding DIP budget (.4);
                                  evaluate open issues and next steps for DIP reply and DIP
                                  hearing preparation (.9).

      04/22/22       ARMU         Correspond with V&E team regarding ND Mortgages.                               1.10

      04/22/22       TDAI         Conference with Cleary, V&E and ND counsel teams to                            2.70
                                  discuss lien review matters (.5); prepare for same (.5); review
                                  and analyze material related to DIP objection (.9); correspond
                                  with V&E team regarding same (.8).

      04/22/22       KIVA         Conference with V&E and Lazard teams regarding Committee                       9.20
                                  objection (.9); conference with Ankura team regarding same
                                  (.5); conference with Cleary team regarding same (.5);
                                  conference with V&E team regarding same and related
                                  strategy (.9); draft response to Committee objection (4.2);
                                  conduct research regarding same (2.2).

      04/22/22       GRHO         Conference with Sean O'Neal, Jane VanLare (Cleary Gottlieb)                    6.20
                                  and North Dakota local counsel regarding lien perfection
                                  issues (.5); conference with Christian Tempke (Lazard)
                                  regarding DIP objections and Debtors' responses (.5);
                                  conference with Scott Pinsonnault (Ankura) regarding same


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                                  (.5); conference with Sean O'Neal, Jane VanLare (Cleary
                                  Gottlieb) regarding final DIP order, DIP objections and reply
                                  issues (.9); review and analyze DIP pleadings (.9); review and
                                  analyze declarations related to same (.8); draft DIP reply
                                  (2.1).

      04/23/22       MJPY         Evaluate DIP budget (.2); correspond with V&E team                             7.30
                                  regarding same (.3); correspond with Ankura regarding same
                                  (.2); correspond with Committee counsel regarding exhibits
                                  for DIP hearing (.2); evaluate exhibits (.3); evaluate DIP reply
                                  (.9); comment on same (2.2); research related to same (.6);
                                  correspond with V&E team regarding same (.2); evaluate
                                  revised DIP budget (.2); correspond with V&E team regarding
                                  same (.2); prepare DIP hearing talking points (.8); evaluate
                                  Committee objection to support same (.8); correspond with
                                  V&E team regarding DIP reply (.2).

      04/23/22       KIVA         Revise response to DIP objections (1.6); conduct research                      2.80
                                  regarding same (.7); correspond with Matt Pyeatt regarding
                                  same (.2); correspond with V&E team regarding same (.1);
                                  correspond with Eli Medina regarding DIP order (.2).

      04/23/22       GRHO         Revise reply to DIP objections.                                                3.60

      04/24/22       MJPY         Evaluate comments to DIP reply from V&E team (.8);                             9.70
                                  comment on same (1.2); conference with client and advisors
                                  regarding DIP budget and DIP hearing (1.1); conference with
                                  V&E restructuring team following same (.5); evaluate revised
                                  DIP budget (.4); analyze considerations related to DIP
                                  evidence (.9); compile evidence for witness and exhibit list
                                  (.60); conference with V&E litigation and restructuring teams
                                  regarding evidence for DIP hearing (.9); correspond with
                                  Lazard regarding same (.2); correspond with V&E finance
                                  team regarding same (.2); evaluate DIP credit agreement to
                                  support same (.4); comment on board update regarding DIP
                                  status (.4); evaluate North Dakota lien analysis to support DIP
                                  reply (.6); correspond with client regarding same (.2);
                                  comment on Committee standing motion response (.2);
                                  evaluate further comments to DIP reply (.7); evaluate witness
                                  and exhibit list (.2); correspond with V&E team regarding
                                  same (.2).

      04/24/22       ARMU         Review documents related to collateral.                                        1.30

      04/24/22       TDAI         Review and revise DIP objection response and correspond                        0.60
                                  with V&E team regarding same.

      04/24/22       KIVA         Revise DIP objection (2.1); conduct research regarding same                    6.00
                                  (.8); correspond with V&E and company teams regarding
                                  same (.2); correspond with V&E team regarding evidence
                                  issues for same (.4); conference with V&E restructuring and
                                  litigation teams regarding same (.9); draft Tempke
                                  supplemental declaration (1.1); conference with North Dakota


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                                  counsel regarding DIP response arguments (.5).

      04/24/22       GRHO         Conference with Matt Pyeatt regarding DIP objections,                          8.80
                                  Debtors reply and related issues (.5); conference with Ankura,
                                  Lazard and Rockall management team regarding DIP
                                  objections and related issues (1.1); prepare for same (.4);
                                  revise reply to DIP objections (2.4); review related precedent
                                  (1.1); revise list of evidence potentially needed in support of
                                  DIP reply (1.5); conference with V&E team regarding same
                                  (.5); revise outlines for supplemental declarations in support
                                  of DIP reply (1.3).

      04/25/22       GGRI         Review and analyze response to DIP objection (1.6);                            2.40
                                  correspond with V&E team regarding DIP mortgage (.8).

      04/25/22       LRKA         Conference with V&E team regarding leases, wells (.6);                         2.80
                                  attend hearing preparation with Christian Tempke regarding
                                  DIP financing (1.0); conference with Ankura, V&E team
                                  regarding DIP budget (.3); conference with Cleary, Houlihan,
                                  lenders, and V&E team regarding same, professional fees
                                  (.4); follow-up correspondence regarding same (.5).

      04/25/22       MJPY         Correspond with V&E restructuring team regarding meet and                     12.80
                                  confer with Committee for DIP hearing (.2); conference with
                                  V&E restructuring team regarding DIP reply and
                                  demonstrative (.2); evaluate client comments to DIP reply (.3);
                                  conference with Ankura regarding DIP hearing and strategy
                                  (.4); conference with client regarding exhibits for DIP hearing
                                  (.4); draft stipulation of agreed facts for DIP hearing (1.0);
                                  comment on same (.4); work on exhibit for same (.6);
                                  conference with V&E restructuring team regarding same (.6);
                                  conference with Ankura regarding DIP budget (.3); conference
                                  with V&E finance team regarding DIP credit agreement and
                                  strategy (.4); evaluate Committee motion for standing (.4);
                                  conference with Lazard regarding witness preparation (.9);
                                  conference with Emma Sanzotta regarding demonstrative for
                                  DIP reply (.3); evaluate research regarding same (.5);
                                  evaluate final DIP order from lender counsel (.4); correspond
                                  with Lazard regarding DIP hearing demonstrative (.2);
                                  evaluate same (.3); evaluate lender comments to DIP reply
                                  (.4); conference with lender counsel regarding same (.4); work
                                  on DIP order (.6); conference with Ankura regarding same
                                  (.2); comments on DIP reply (.5); revise Lazard supplemental
                                  DIP declaration (1.6); evaluate DIP reply (.7); evaluate issues
                                  list for DIP hearing (.3); evaluate witness and exhibit list (.3).

      04/25/22       ARMU         Correspond with V&E team regarding ND Mortgage.                                1.30

      04/25/22       TDAI         Review DIP objection response (.3); conference with V&E RR                     1.90
                                  team regarding DIP and case strategy (.4); analyze real
                                  estate filing issues (1.2).

      04/25/22       KIVA         Revise response to DIP objection (2.9); conference with V&E                    6.80


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      Re:        Restructuring Advice

                                  and Committee teams regarding evidentiary stipulations (.5);
                                  confer with Matt Pyeatt and Ryan Strubeck regarding budget
                                  issues (.3); prepare for same (.3); draft Tempke declaration
                                  (1.6); confer with Lazard team regarding precedent financing
                                  comparisons (.3); revise chart summarizing DIP objections
                                  and comments (.9).

      04/25/22       GRHO         Review, analyze, and comment on DIP reply drafts (5.3);                       10.30
                                  review and analyze comments to same (.8); conference with
                                  Sean O'Neal (Cleary) regarding responses to DIP objections
                                  (.3); conference with Pachulski regarding exhibits for final DIP
                                  hearing (.5); conference with Scott Pinsonnault (Ankura)
                                  regarding DIP and related budget issues (1.0); conference
                                  with Christian Tempke regarding DIP objections and related
                                  issues (1.0); review and analyze documents related to DIP
                                  reply (1.4).

      04/26/22       GGRI         Conferences with V&E team regarding North Dakota                               2.30
                                  perfection issue (.5); review update correspondence and
                                  related documents related to DIP (1.8).

      04/26/22       MJPY         Draft comments to DIP reply (.4); correspond with V&E team                    11.10
                                  regarding same (.2); conference with North Dakota local
                                  counsel regarding DIP hearing (.5); attend witness prep
                                  session for David Mirkin in advance of DIP hearing (1.1);
                                  attend witness prep session for Scott Pinsonnault in advance
                                  of DIP hearing (1.2); prepare for same (.4); correspond with
                                  lender counsel regarding DIP reply (.2); draft notice of revised
                                  proposed DIP order (.4); correspond with Lazard regarding
                                  supplemental declaration in support of DIP (.2); draft
                                  comments to same (1.3); correspond with Ankura regarding
                                  DIP budget (.2); review and revise stipulation of agreed facts
                                  regarding DIP evidence with Committee (.6); review exhibit to
                                  same (.7); correspond with Committee regarding same (.2);
                                  draft comments to same (.6); correspond and conference with
                                  Ankura regarding same (.5); correspond with court clerk
                                  regarding hearing (.2); evaluate updated DIP budget (.3);
                                  correspond with V&E team regarding same (.2); correspond
                                  with lender counsel regarding same (.2); draft DIP issues list
                                  (.6); correspond with V&E team regarding same (.2); evaluate
                                  proposed final DIP order to support same (.7).

      04/26/22       ARMU         Correspond with V&E team and ND counsel regarding ND                           0.80
                                  Mortgages (.3); conference with same regarding same (.5).

      04/26/22       KIVA         Review and revise response to DIP financing objections (1.6);                  6.00
                                  review and revise Tempke declaration (.8); draft Pinsonnault
                                  declaration (1.2); confer with V&E and Ankura teams
                                  regarding same (.4); revise same (.2); confer with V&E team
                                  regarding filing of same (.3); review final DIP order (.4); review
                                  and revise notice of final DIP order (.5); correspond with V&E
                                  team regarding same (.1); conference with North Dakota
                                  counsel regarding same (.5).


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      Re:        Restructuring Advice

      04/26/22       GRHO         Review DIP reply and related email correspondence with                         9.40
                                  Sean O'Neal (Cleary), and Matt Pyeatt, Kiran Vakamudi and
                                  David Meyer (.8); review reply to DIP objections before filing
                                  (.8); review and revise supplemental Tempke declaration in
                                  support of DIP reply (.7); review and revise Pinsonnault
                                  declaration in support of DIP reply (.9); conference call with
                                  Scott Pinsonnault (Ankura) and V&E team regarding potential
                                  testimony related to final DIP approval (1.2); draft/revise script
                                  for final DIP hearing (4.00); call with Shane Hanson and Alan
                                  Bryan (Crowley Fleck) regarding North Dakota law issues (.5);
                                  call with David Mirkin (Rockall) regarding final DIP hearing
                                  (.5).

      04/27/22       MJPY         Evaluate DIP hearing issues list (.4); conference with V&E                     4.90
                                  restructuring team regarding DIP hearing preparation (.6);
                                  work on DIP hearing prep issues (.8); conference with surety
                                  counsel regarding DIP financing inquiry (.3); conferences with
                                  U.S. Trustee regarding DIP hearing objection prior to hearing
                                  (.7); conference with lienholder counsel regarding DIP
                                  language (.2); conference with taxing authority counsel
                                  regarding tax language for DIP order (.2); conference with
                                  lender counsel regarding same (.1); work on comments to DIP
                                  order following hearing (1.2); correspond with Ankura
                                  regarding DIP budget (.2); correspond with lender counsel
                                  regarding milestone extension (.2).

      04/27/22       KIVA         Conference with V&E team regarding DIP Motion argument                         2.70
                                  (.6); review and revise issues list regarding objections to DIP
                                  Motion (1.3); review revisions to final DIP order (.3); review
                                  correspondence regarding settlement regarding DIP financing
                                  (.4); review correspondence regarding same (.1).

      04/27/22       GRHO         Review and comment on settlement term sheet related to DIP                     0.80
                                  (.4); revise final DIP order (.3); conference with Sean O'Neal
                                  (Cleary) regarding same (.1).

      04/28/22       MJPY         Conference with lender counsel regarding Final DIP Order                       2.10
                                  (.3); evaluate comments received to same from lenders and
                                  Committee (.8); correspond with Ankura regarding budget
                                  (.2); evaluate same (.2); comment on DIP order (.4);
                                  correspond with lender counsel regarding same (.2).

      04/28/22       IDAY         Prepare execution version of term sheet.                                       0.60

      04/28/22       GRHO         Review and comment on DIP Order (.4); comment on global                        0.70
                                  settlement term sheet (.3).

      04/29/22       LRKA         Conference with Cleary, Pachulski, V&E team regarding DIP                      1.20
                                  order and settlement (.5); correspond with same regarding
                                  same (.3); review revised proposed order (.2); correspond
                                  with Matt Pyeatt regarding same (.2).



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      04/29/22       MJPY         Draft comments to DIP Order (.3); evaluate lender comments                     1.70
                                  to same (.2); evaluate Committee comments to same (.2);
                                  correspond with V&E team regarding same (.2); evaluate and
                                  finalize budget (.2); prepare DIP order for filing (.4);
                                  correspond with V&E team regarding same (.2).




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      Re:        Restructuring Advice

             Summary of services - Financing and Cash Collateral
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                        0.60      540.00               324.00
                     TDAI         Taylor Daily                                                     31.90      590.00            18,821.00
                     MAGA         Michael A. Garza                                                  0.50      860.00               430.00
                     JRGO         Jeremy R. Gonzalez                                                0.80      705.00               564.00
                     GGRI         Guy Gribov                                                       26.80     1095.00            29,346.00
                     GRHO         George R. Howard                                                 44.90     1285.00            57,696.50
                     LRKA         Lauren R. Kanzer                                                 28.20      975.00            27,495.00
                     RLPE         Rebecca L. Matthews                                               1.70     1155.00             1,963.50
                     EMME         Elias M. Medina                                                   0.10      590.00                59.00
                     DSME         David S. Meyer                                                    2.50     1325.00             3,312.50
                     MWMO         Matthew W. Moran                                                  2.10     1285.00             2,698.50
                     ARMU         Arthur Munoz                                                     34.40      705.00            24,252.00
                     MJPY         Matthew J. Pyeatt                                                72.00      910.00            65,520.00
                     KIVA         Kiran Vakamudi                                                   56.90      790.00            44,951.00

             Total                                                                               303.40                        277,433.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Hearings
      Date           Initials     Description                                                                   Hours

      04/26/22       DSME         Prepare for hearing and deposition.                                            7.60

      04/27/22       MWMO         Attend contested hearing in Fort Worth.                                        1.70

      04/27/22       KDG          Attend hearing in Fort Worth.                                                  1.70

      04/27/22       DSME         Participate in hearing.                                                        1.70

      04/27/22       LRKA         Present at hearing regarding KEIP, KERP, DIP financing, and                    1.70
                                  V&E retention application.

      04/27/22       MJPY         Attend telephonic hearing regarding DIP financing and                          1.70
                                  retention.

      04/27/22       ESST         Attend hearing on KEIP/KERP, V&E retention, and DIP.                           1.70

      04/27/22       GRHO         Appear and present at final DIP hearing.                                       1.70




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      Re:        Restructuring Advice

             Summary of services - Hearings
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     KDG          Katherine D. Grissel                                              1.70      925.00             1,572.50
                     GRHO         George R. Howard                                                  1.70     1285.00             2,184.50
                     LRKA         Lauren R. Kanzer                                                  1.70      975.00             1,657.50
                     DSME         David S. Meyer                                                    9.30     1325.00            12,322.50
                     MWMO         Matthew W. Moran                                                  1.70     1285.00             2,184.50
                     MJPY         Matthew J. Pyeatt                                                 1.70      910.00             1,547.00
                     ESST         Eli S. Sterbcow                                                   1.70      590.00             1,003.00

             Total                                                                                 19.50                        22,471.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Litigation (Contested Matters and Adversary Proceedings)
      Date           Initials     Description                                                                   Hours

      04/01/22       MWMO         Review correspondence regarding 2CO invoices (.1); review                      1.00
                                  correspondence regarding lift stay issues (.2); review
                                  correspondence regarding agreements with UCC regarding
                                  second day motions and CNOs (.2); review
                                  diligence/document production tracker and related email
                                  correspondence (.1); review correspondence regarding
                                  witness and exhibit list (.1); review correspondence regarding
                                  finalizing Steel Reef stipulation (.1); review correspondence
                                  regarding document production (.2).

      04/01/22       RLPE         Correspond with V&E team regarding additional items for                        2.90
                                  diligence production to Committee and review same (.5);
                                  confer with restructuring team on current status of resolving
                                  objections with Committee and US Trustee (.8); correspond
                                  with V&E team regarding witness and exhibit list (.2);
                                  correspond with same regarding procedure for certificates of
                                  no objection/motions (.2); review correspondence regarding
                                  diligence tracker (.3); correspond with V&E restructuring team
                                  regarding same (.2); review issues related to contested
                                  motions (.4); correspond with Jeremy Gonzalez regarding
                                  privilege considerations (.3).

      04/01/22       DSME         Correspond with V&E team regarding second day hearing                          1.40
                                  (.8); correspond with V&E team regarding hearing schedule
                                  (.6).

      04/01/22       JRGO         Analyze and prepare documents for production.                                  0.50

      04/01/22       ERHI         Update and circulate UCC diligence production tracker (.8);                    1.70


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      Re:        Restructuring Advice

                                  review documents for privilege (.9).

      04/01/22       MAGA         Confer with V&E team regarding hearing strategy (.6);                          1.20
                                  correspond with V&E team regarding first day orders with
                                  respect to committee diligence request (.3); confer with
                                  Committee counsel regarding same (.3).

      04/01/22       ESST         Communicate with V&E team regarding suggestions of                             2.20
                                  bankruptcy and external litigation (.6); produce UCC
                                  requested diligence (.3); communicate with V&E team
                                  regarding strategy and updates related to contested hearings
                                  (.9); review documents for privilege concerns (.4).

      04/02/22       ESST         Review suggestions of bankruptcy court related to state court                  1.20
                                  litigation (.8); correspond with V&E team regarding same (.4).

      04/03/22       RLPE         Correspond with Mike Garza and Trevor Spears regarding                         0.30
                                  status of hearing and related filing requirements.

      04/03/22       LRKA         Review and comment on draft response to Committee                              0.80
                                  diligence questions regarding KEIP and KERP (.7);
                                  correspond with V&E team regarding same (.1).

      04/04/22       MWMO         Review Bonebrake declaration revisions and related email                       1.50
                                  correspondence (.5); conference with V&E team regarding
                                  UCC proposal and related matters (.4); review
                                  correspondence with V&E team regarding confidentiality
                                  issues (.2); review correspondence regarding CNOs (.1);
                                  review notice of agenda for April 5 hearing (.1); review
                                  correspondence regarding Steel Reef stipulation (.1); review
                                  correspondence regarding document production and updated
                                  tracker (.1).

      04/04/22       RLPE         Comment on documents related to May 5 hearing (.9);                            1.40
                                  correspond with V&E team regarding confidentiality issues in
                                  connection with Committee KEIP/KERP diligence (.5).

      04/04/22       DSME         Review settlement proposal (.8); correspond with V&E team                      1.20
                                  regarding follow-ups (.4).

      04/04/22       LRKA         Conference call with Pachulski regarding settlement (.4);                      4.50
                                  review correspondence regarding Steel Reef (.3); revise
                                  interrogatories and document requests (.3); correspond with
                                  V&E litigation team regarding same (.3); review settlement
                                  agreement (.3); correspond with V&E team regarding same
                                  (.2); review Steel Reef objection to motion to reject (.4);
                                  correspond with V&E team regarding case status, open
                                  issues (.5); review and comment on certificate of no objection
                                  (.6); correspond with V&E team regarding same (.1); review
                                  and comment on notice of adjournment (.3); correspond with
                                  V&E team regarding same (.1); review agenda (.2);
                                  correspond with V&E team regarding same (.2); correspond
                                  with V&E team regarding KEIP/KERP diligence for UCC (.3).


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      Re:        Restructuring Advice

      04/04/22       MJPY         Evaluate settlement proposal (.3); correspond with client                      0.80
                                  regarding same (.2); work on confidentiality issues in
                                  connection with discovery produced to Committee (.3).

      04/04/22       ERHI         Update and circulate UCC diligence production tracker (.9);                    2.90
                                  review Bonebrake, Gillies, and Pinsonnault declarations (1.5);
                                  review discovery requests (.3); review local rules related to
                                  discovery requests (.2).

      04/04/22       MAGA         Review and revise certificate of no objection and hearing                      1.20
                                  adjournment (.5); confer with V&E team regarding same (.5);
                                  review and revise agenda for hearing (.2).

      04/04/22       SAZO         Compile and evaluate KEIP/KERP materials in connection                         2.20
                                  with UCC diligence (1.7); revise draft response related to
                                  same (.3); confer with V&E team regarding same (.2).

      04/04/22       ESST         Review Steel Reef objection motion to reject.                                  0.80

      04/05/22       MWMO         Review requests for information from UCC and proposed                          1.00
                                  responses to same related to KERP/KEIP (.2); confer with
                                  V&E team regarding same (.2); correspond with V&E team
                                  regarding Sligar litigation (.2); confer with V&E team regarding
                                  confidentiality issues (.3); review correspondence regarding
                                  same (.1).

      04/05/22       RLPE         Correspond with Mike Garza regarding CNOs for hearing and                      3.60
                                  notice of adjournment (.2); review and analyze Committee
                                  settlement proposal (.4); correspond with V&E team and
                                  Company to discuss same (.5); confer with V&E team
                                  regarding Sligar and Steel Reef litigation issues (.3); attend to
                                  confidentiality and diligence issues and revise update to
                                  lenders regarding same (1.5); review comments to
                                  declarations and discuss witness preparations for KEIP/KERP
                                  motions (.3); review and revise draft responses to Committee
                                  follow-up questions in connection with KEIP and KERP plans
                                  (.4).

      04/05/22       DSME         Review Committee settlement proposal (.2); analyze                             1.60
                                  response (.1); correspond with Lauren Kanzer regarding
                                  same (.2); analyze workstreams and correspondence
                                  regarding same (.2); telephone conference with S. O'Neal
                                  regarding same (.3); follow-up with V&E team and advisors
                                  (.6).

      04/05/22       LRKA         Correspond with V&E team regarding term sheet,                                 2.00
                                  management presentation (.3); conference call with Company
                                  and advisors regarding UCC term sheet (.6); follow-up
                                  correspondence regarding same (.4); conference call with
                                  Mike Garza regarding same (.7).

      04/05/22       MJPY         Correspond with V&E team regarding Committee diligence                         1.80


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      Re:        Restructuring Advice

                                  issues (.4); evaluate documents supporting same (.3); call
                                  with client and advisors regarding Committee settlement
                                  proposal (.6); call with Lazard regarding Committee diligence
                                  matters pertaining to sale-related documents (.2); correspond
                                  with V&E team regarding same (.2); correspond with lender
                                  counsel regarding confidentiality matters (.1).

      04/05/22       JRGO         Analyze brief opposing Debtors’ motion to reject Steel Reef                    2.00
                                  contracts (1.6); analyze Steel Reef’s discovery requests (.4).

      04/05/22       ERHI         Correspond with V&E team regarding filing declarations.                        0.40

      04/05/22       MAGA         Confer with V&E team regarding second day motions and                          2.10
                                  hearing (.4); confer with court regarding same (.3); review and
                                  revise certificate of no objection (.3); review and revise notice
                                  of cancellation of hearing (.6); confer with V&E team
                                  regarding diligence requests and related strategy (.5).

      04/05/22       EMME         Review Box diligence regarding committee diligence request                     0.50
                                  (.3); correspond with V&E team regarding same (.2).

      04/05/22       ESST         Review and revise updated declarations for KEIP/KERP                           5.20
                                  motions (.9); review Steel Reef objection, request for
                                  production, and interrogatories (2.7); draft communications to
                                  committee (.7); correspond with V&E team regarding bylaws
                                  and confidentiality provisions (.9).

      04/05/22       TGSP         Correspond with V&E team regarding diligence requests from                     1.30
                                  the Committee (.4); confer and correspond with V&E team
                                  regarding board meeting minutes for Committee diligence (.9).

      04/05/22       IDAY         Conduct research regarding Bankruptcy rule 9023 (1.6);                         4.10
                                  correspond with Sara Zoglman regarding same (.3);
                                  determine whether a party has standing (.8); incorporate
                                  comments and revise draft of same (.8); circulate draft to V&E
                                  litigation team and incorporate comments (.6).

      04/05/22       GRHO         Review and analyze UCC settlement proposal and research                        1.50
                                  regarding precedent for same and related creditor recoveries.

      04/06/22       MWMO         Review correspondence regarding confidentiality concerns by                    2.00
                                  UCC (.3); correspond with V&E team regarding same (.2);
                                  conference with V&E team regarding Steel Reef and
                                  KEIP/KERP issues and lift stay motion (.5); review
                                  correspondence regarding litigation workstreams (.1); review
                                  summary of Steel Reef discovery (.1); review summary of
                                  Steel Reef objection to motion to reject (.2); review discovery
                                  requests from UCC (.1); review correspondence regarding
                                  Sligar lift stay motion and order on same (.1); review
                                  information regarding UCC settlement offer and analyze same
                                  (.2); review discovery to Weil and related email
                                  correspondence (.2).



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      Re:        Restructuring Advice

      04/06/22       RLPE         Correspond with David Meyer, Matt Moran, Lauren Kanzer                         5.20
                                  and Eli Sterbcow regarding Committee lien diligence requests
                                  (.6); draft update to Committee regarding related diligence
                                  and confidentiality issues (.5); confer with Matt Moran and
                                  Jeremy Reichman regarding litigation work streams (.3);
                                  conference with V&E restructuring team regarding diligence
                                  and litigation issues (.3); review and analyze Steel Reef
                                  response to motion to reject as well as summary of key
                                  arguments in same (.6); review and analyze Steel Reef
                                  discovery requests (.4); confer with Eli Sterbcow regarding
                                  interrogatory chart (.4); conference with V&E litigation team
                                  regarding Steel Reef and diligence issues (.7); analyze issues
                                  in connection with Baucum litigation matter (.3); update local
                                  counsel in Sligar matter (.2); review Committee's first informal
                                  document requests and attention to same (.4); review Matt
                                  Pyeatt's update to Committee on document production and
                                  follow-up with litigation team regarding same (.3); correspond
                                  with David Meyer and UCC regarding status of extension of
                                  certain objection deadlines and related matters (.2).

      04/06/22       DSME         Review Committee document production (.1); correspond with                     0.30
                                  Lauren Kanzer regarding same (.2).

      04/06/22       LRKA         Conference with counsel regarding Baucum lawsuit (.9);                         3.30
                                  correspond with Company regarding same (.2); conference
                                  with Cleary regarding same (.5); conference with V&E team
                                  regarding discovery issues (.3); correspond with V&E team
                                  regarding committee issues and prepare management
                                  presentation (.6); correspond with Ankura, Lazard regarding
                                  same (.5); conference with David Meyer regarding same (.3).

      04/06/22       JRGO         Conference with V&E team regarding case developments and                       1.10
                                  next steps (.2); analyze Steel Reef’s discovery requests (.2);
                                  confer with litigation team regarding same and other litigation
                                  matters (.7).

      04/06/22       ERHI         Analyze motion to reject Steel Reef contracts (.6); analyze                    4.50
                                  objection to motion to reject (.3); analyze Steel Reef discovery
                                  requests (.4); conference with V&E team regarding case
                                  updates (.2); conference with V&E team regarding UCC
                                  diligence requests (.7); update UCC production tracker (.6);
                                  conference with Eli Medina and Eli Sterbcow regarding new
                                  UCC production requests (.9); analyze document requests
                                  (.2); produce requested documents and circulate summary to
                                  V&E team (.6).

      04/06/22       MAGA         Conference with V&E team regarding diligence requests (.9);                    1.40
                                  prepare for same (.2); conference with V&E team regarding
                                  Steel Reef litigation (.3).

      04/06/22       EMME         Conference with V&E litigation team regarding committee                        5.10
                                  diligence tracking and next steps (.6); conference with V&E
                                  team regarding committee diligence follow-ups (.3);


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      Re:        Restructuring Advice

                                  conference with V&E restructuring team regarding same (.2);
                                  pull and review documents to be produced in diligence
                                  requests (1.3); correspond with V&E teams regarding same
                                  (.8); conference with V&E litigation team regarding updates
                                  and next steps (.7); conference with same regarding
                                  committee responses (.9); conference with V&E litigation
                                  team regarding motion to reject midstream agreements (.3).

      04/06/22       ESST         Review and organize document production for committee                          6.80
                                  diligence (1.0); review Steel Reef objection, RFPs, and
                                  interrogatories (1.0); draft summaries of steel reef documents,
                                  motion to reject and objection thereto, RFPs, and
                                  interrogatories (2.6); call with V&E team (.3); conference with
                                  V&E team regarding committee document productions (.9);
                                  conference with V&E team regarding UCC diligence requests
                                  (.7); conference with V&E team regarding motion to reject
                                  midstream agreements (.3).

      04/06/22       KIVA         Attend conference call with V&E team regarding committee                       0.50
                                  requests for information.

      04/06/22       GRHO         Correspond with V&E team regarding M&M liens and related                       0.40
                                  issues.

      04/07/22       MWMO         Confer with V&E team regarding discovery matters (.4);                         1.80
                                  review related email correspondence (.3); analyze documents
                                  related to same (.5); confer with Becky Matthews regarding
                                  privilege issues (.2); review and revise correspondence to
                                  UCC regarding discovery matters (.2); review correspondence
                                  regarding Steel Reef stipulation (.1); review correspondence
                                  regarding discovery from Steel Reef (.1).

      04/07/22       RLPE         Review responses to Committee's first informal discovery                       6.80
                                  request (1.4); confer with litigation team regarding production
                                  of same (.4); correspond with Emily Rhine regarding
                                  production issues (.3); correspond with Mike Garza regarding
                                  Baucum litigation (.2); correspond with Lauren Kanzer and
                                  Matt Moran regarding claim investigation issues (.4); review
                                  and analyze UCC diligence production (1.4); review and
                                  revise update to Committee on responses to informal
                                  discovery requests (.9); conference with litigation team and Eli
                                  Medina regarding same (.7); correspond with David Mirkin
                                  regarding same (.6); confer with Matt Pyeatt regarding PEO
                                  designations (.3); conference with Matt Moran regarding
                                  privilege issues (.2).

      04/07/22       DSME         Review correspondence regarding discovery (.1); correspond                     0.20
                                  with V&E team regarding UCC production (.1).

      04/07/22       MJPY         Evaluate documentation for confidentiality issues to support                   4.50
                                  Committee discovery and diligence requests (.6); correspond
                                  with V&E team regarding same (.2); correspond with client
                                  regarding same (.2); correspond with lender counsel


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                                  regarding issues in support of same (.2); correspond with
                                  Committee counsel regarding same (.2); call with V&E finance
                                  team regarding mortgage coverage issue to support same
                                  (.2); evaluate lender comments to Committee settlement (.4);
                                  work on comments to same (.4); correspond with V&E team
                                  regarding same (.2); correspond with U.S. Trustee regarding
                                  diligence requests (.2); correspond with Committee counsel
                                  regarding inquiries on credit documentation (.9); evaluate
                                  documentation to support same (.6); correspond with V&E
                                  litigation team regarding same (.2).

      04/07/22       JRGO         Confer with V&E litigation team regarding document                             2.50
                                  production (.4); analyze and redact documents in preparation
                                  for production (2.1).

      04/07/22       ERHI         Collect, review, and produce documents responsive to the                       4.50
                                  UCC's first informal document request (2.6); conference with
                                  V&E litigation team regarding production efforts and status
                                  (.7); correspond with Ankura regarding document production
                                  (.2); correspond with V&E team regarding documents to
                                  produce and confidentiality and privilege concerns regarding
                                  same (.9); update production tracker (.1).

      04/07/22       MAGA         Conference with V&E team regarding diligence requests (.4);                    1.90
                                  confer with V&E team regarding state court litigation and
                                  related issues (.3); conduct research regarding motion to
                                  reconsider (.6); confer with V&E team regarding same (.6).

      04/07/22       SAZO         Revise draft response to UCC diligence regarding KEIP and                      1.00
                                  KERP matters and V&E correspondence regarding same (.5);
                                  analyze UCC motion to reconsider (.3); correspond with V&E
                                  team regarding same (.2).

      04/07/22       EMME         Conference with V&E litigation team regarding committee                        3.80
                                  diligence production (.7); conference with V&E team regarding
                                  committee diligence follow-up (.4); correspond with V&E team
                                  regarding same (.3); correspond with V&E team regarding
                                  document production (.7); pull and review documents
                                  regarding same (1.7).

      04/07/22       ESST         Conference with V&E team on document production efforts                        4.40
                                  (.7); review, organize, and prepare responses to committee
                                  requests for production (2.6); review documents for
                                  confidentiality and privilege (1.1).

      04/08/22       MWMO         Analyze issues related to discovery (.9); review email                         1.70
                                  correspondence regarding same (.1); confer with V&E team
                                  regarding same (.1); conference with V&E team regarding
                                  privilege issues (.2); review IOIs (.3); review correspondence
                                  to UCC regarding document production (.1).

      04/08/22       RLPE         Review documents related to UCC production request (.7);                       6.70
                                  confer with litigation team on privilege and confidentiality


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      Re:        Restructuring Advice

                                  issue (1.1); correspond with V&E restructuring team on
                                  production status and specific UCC requests and attention to
                                  same (.7); review and analyze documents for privilege (.8);
                                  correspond with Matt Pyeatt regarding lien analysis request
                                  and review same (.8); conference with Company to discuss
                                  outstanding UCC informal discovery requests (.4); conference
                                  with Cleary regarding Weil report (.2); correspond with V&E
                                  team regarding stock certificates and related priority
                                  documents to upload to UCC data room (.7); correspond with
                                  V&E restructuring team regarding summary presentation on
                                  collateral review (.3); conference with V&E team regarding
                                  Baucum litigation matter (.2); correspond with V&E team
                                  regarding same (.4); revise and finalize update to Committee
                                  (.4).

      04/08/22       GGRI         Discuss follow up questions from UCC and potential mortgage                    1.50
                                  records and reconciliation with V&E team (1.1); draft email
                                  response to UCC regarding same (.4).

      04/08/22       LRKA         Correspond with V&E litigation team regarding document                         1.70
                                  production (.8); attend conferences with V&E team regarding
                                  same (.7); correspond with V&E team regarding same (.2).

      04/08/22       MJPY         Call with V&E team regarding Committee diligence requests                      2.80
                                  (.4); correspond with Jones Day regarding documentation in
                                  support of same (.2); correspond with client regarding same
                                  (.2); evaluate documentation and production issues to support
                                  same (.6); call with client regarding same (.2); correspond
                                  with lender counsel regarding same (.2); correspond with V&E
                                  team regarding document production issues (.4); correspond
                                  with Committee counsel regarding diligence requests (.2);
                                  correspond with V&E team regarding collateral review
                                  summary presentation (.2); correspond with U.S. Trustee
                                  regarding diligence requests (.2).

      04/08/22       JRGO         Confer with litigation team regarding production of documents                  3.20
                                  (.3); analyze and redact documents in preparation for
                                  production (2.9).

      04/08/22       ERHI         Collect, review, and produce documents responsive to the                       6.40
                                  UCC's first informal document request (2.8); correspond with
                                  V&E team regarding documents to produce and confidentiality
                                  and privilege concerns regarding same (1.7); update
                                  production tracker (.6); draft correspondence to UCC
                                  regarding status of production (1.3).

      04/08/22       MAGA         Conference with V&E and Cosmich team regarding motion to                       1.00
                                  lift stay and related issues (.8); draft email correspondence to
                                  V&E restructuring team regarding same (.2).

      04/08/22       SAZO         Conduct follow-up work related to UCC diligence request                        1.10
                                  regarding KEIP and KERP matters.



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      04/08/22       EMME         Correspond with V&E, LIT, RR teams, Ankura, management                         6.10
                                  regarding diligence items (1.4); pull and review documents
                                  related to same (2.9); correspond with V&E team regarding
                                  publication notices (.4); correspond with MACM team
                                  regarding committee diligence request items (.2); correspond
                                  with V&E teams regarding confidentiality issues (.4); review
                                  documents related to same (.8).

      04/08/22       ESST         Compile and review documents produced to UCC (.7);                             3.60
                                  conference with client regarding document requests and
                                  upcoming production (.4); review documents to produce to
                                  UCC for privileged and confidential information (2.1);
                                  communicate with V&E team regarding same (.4).

      04/08/22       TGSP         Draft slides for management presentation to UCC (1.2);                         1.60
                                  correspond with V&E team regarding same (.1); review other
                                  professionals management presentation draft slides (.3).

      04/08/22       IDAY         Draft response to UCC’s objection to bidding procedures                        3.00
                                  (2.7); review and correspond with V&E team regarding same
                                  (.3).

      04/09/22       MWMO         Review correspondence regarding document production and                        1.50
                                  discovery (.2); review counterproposal to UCC (.2); review
                                  correspondence regarding same (.1); analyze valuation
                                  materials (.5); review and revise presentation deck to UCC
                                  (.5).

      04/09/22       RLPE         Review and analyze additional documents in response to                         2.10
                                  Committee requests (.9); confer with litigation team on status
                                  of various requests (.7); review settlement counter proposal
                                  (.3); correspond with Matt Moran and Lauren Kanzer
                                  regarding same (.2).

      04/09/22       LRKA         Correspond with V&E team regarding litigation matters (.4);                    1.80
                                  review North Dakota mortgage matters (.4); correspond with
                                  Ankura regarding budget (.2); review and comment on
                                  management presentation materials (.6); correspond with
                                  V&E team regarding same (.2).

      04/09/22       MJPY         Evaluate Committee diligence production (.2); correspond                       0.30
                                  with V&E team regarding same (.1).

      04/09/22       JRGO         Analyze and redact documents in preparation for production                     1.00
                                  (.7); correspond with Becky Matthews regarding same (.3).

      04/09/22       ERHI         Upload documents for UCC production (.8); update diligence                     1.20
                                  production tracker (.4).

      04/09/22       MAGA         Review and revise management presentation to creditors                         1.50
                                  committee (.6); correspond with George Howard through day
                                  regarding same (.9).



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      04/09/22       EMME         Correspond with V&E team regarding diligence production                        2.00
                                  update (.2); review diligence documents (1.8).

      04/09/22       ESST         Coordinate with V&E team regarding diligence production.                       0.70

      04/09/22       IDAY         Research regarding federal rules (1.7); draft summary                          2.60
                                  regarding same (.8); correspond with Sara Zoglman regarding
                                  same (.1).

      04/10/22       RLPE         Review and analyze documents in response to UCC informal                       1.40
                                  requests and correspond with V&E team regarding same (.9);
                                  correspond with Matt Moran regarding witness preparation
                                  and declarations for KEIP/KERP motions (.3); correspond with
                                  V&E team regarding mortgage documents and issues with
                                  respect to same (.2).

      04/10/22       LRKA         Review diligence materials (.4); correspond with V&E team                      0.90
                                  regarding same (.5).

      04/10/22       MJPY         Correspond with V&E team regarding Committee diligence                         1.20
                                  and mortgages (.2); correspond with Ankura regarding same
                                  (.2); compile diligence documents to support same (.4);
                                  evaluate email correspondence with advisors regarding
                                  Committee settlement (.2); evaluate email correspondence
                                  with advisors regarding mortgage issues (.2).

      04/10/22       JRGO         Analyze and redact documents in preparation for production                     0.80
                                  (.6); correspond with Becky Matthews regarding same (.2).

      04/10/22       ERHI         Collect, review, and produce documents responsive to UCC's                     1.10
                                  first informal document request (.8); correspond with V&E
                                  team regarding same (.3).

      04/10/22       IDAY         Continue to draft reply motion to the Committee of Unsecured                   2.80
                                  Creditors' motion for reconsideration (2.4); confer and
                                  correspond with V&E team regarding same (.4).

      04/11/22       RLPE         Correspond with Lauren Kanzer and Jeremy Gonzalez                              3.40
                                  regarding board minutes in response to UCC requests and
                                  attention to same (.2); review and analyze additional
                                  documents for production (.4); confer with V&E litigation team
                                  on status of production (.5); revise summary update to
                                  Committee (.3); correspond with Sara Zoglman, Matt Moran
                                  and declarants regarding declarations and witness/evidentiary
                                  preparation for KEIP/KERP motions (.8); review documents
                                  for production in response to UCC requests (.4); conference
                                  with Eli Medina, Eli Sterbcow, Jeremy Gonzalez and Emily
                                  Rhine to discuss production issues (.3); correspond with V&E
                                  team regarding Baucum litigation issues (.2); update
                                  additional items to post to Committee VDR and attention to
                                  same (.3).

      04/11/22       DSME         Review management presentation (.5); prepare for                               2.00


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                                  management presentation (.5); participate in presentation
                                  (1.0).

      04/11/22       LRKA         Review and revise UCC presentation slides.                                     0.60

      04/11/22       MJPY         Review and evaluate mortgage coverage issues to address                        2.30
                                  Committee diligence (1.1); correspond with V&E team
                                  regarding same (.2); evaluate committee diligence issues (.3);
                                  correspond with client regarding same (.2); correspond with
                                  V&E team regarding management presentation to Committee
                                  (.2); evaluate email correspondence with Ankura and Lazard
                                  regarding same (.3).

      04/11/22       JRGO         Analyze documents to determine responsiveness for                              1.00
                                  production to the committee.

      04/11/22       ERHI         Collect, review, and produce documents responsive to the                       3.60
                                  UCC's first informal document request (2.2); correspond with
                                  V&E team regarding same (.6); attend call with V&E litigation
                                  team regarding status update on diligence production (.3);
                                  update tracker and various status documents regarding same
                                  (.5).

      04/11/22       MAGA         Review and revise management presentation to creditors                         1.50
                                  committee (1.0); confer with V&E, Ankura, and Lazard teams
                                  regarding same (.5).

      04/11/22       SAZO         Research and review precedent related to objection to motion                   3.20
                                  to reconsider bidding procedures (.9); review and analyze
                                  draft objection regarding same (.8); revise draft objection
                                  regarding same (1.3); correspond with V&E team regarding
                                  same (.2).

      04/11/22       EMME         Pull and review diligence documents for Committee requests                     5.00
                                  (1.9); draft notice of adjournment (.6); correspond with V&E
                                  team regarding same (.1); review and revise same (.3); draft
                                  notice of hearing (.6); correspond with V&E team regarding
                                  same (.1); draft condensed bar date notice (.2); correspond
                                  with V&E team regarding same (.1); conferences with V&E
                                  LIT team regarding diligence production (1.1).

      04/11/22       ESST         Review initial proposed settlement agreement (.5); conference                  1.30
                                  calls with V&E team regarding document collection and
                                  production (.8).

      04/11/22       TGSP         Correspond with V&E team regarding Baucum issues (.4);                         2.60
                                  conference with Company and V&E team regarding same
                                  (.3); attend conference call with V&E team regarding same
                                  (.5); review diligence regarding same (.6); correspond with
                                  Lockton and Company regarding same (.4); correspond with
                                  V&E team regarding weekly update call with UCC (.1); confer
                                  with V&E team regarding diligence requests (.3).



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      Re:        Restructuring Advice

      04/12/22       MWMO         Prepare for calls with KEIP/KERP declarants, including review                  3.90
                                  of KEIP motion, KERP motion and related declarations (.7);
                                  conference with Kevin Bonebrake regarding witness
                                  preparation for KEIP motion (.5); confer with V&E team
                                  regarding Steel Reef discovery (.1); review correspondence
                                  regarding production of documents to UCC (.3); conference
                                  with Lewis Gillies regarding witness preparation for KERP
                                  motion (.5); review update from call with UCC (.2); review
                                  correspondence regarding outstanding discovery requests
                                  (.2); conference with Scott Pinsonnault regarding witness
                                  preparation for KEIP and KERP motions (.7); conference with
                                  V&E restructuring team regarding upcoming hearing
                                  preparation workstreams and prioritization of items (.7).

      04/12/22       RLPE         Correspond with V&E litigation team regarding Committee                        5.20
                                  production requests (.8); correspond with V&E team regarding
                                  Steel Reef discovery (.1); confer with V&E team regarding
                                  status of upcoming hearing and witness and exhibit list (.2);
                                  conference with Kevin Bonebrake and V&E team regarding
                                  witness preparation for KEIP/KERP motions (.5); conference
                                  with Lewis Gillies and V&E team regarding witness
                                  preparation for KEIP/KERP motions (.3); conference with
                                  Scott Pinsonnault and Matt Moran regarding KEIP/KERP
                                  motions (.5); correspond with V&E restructuring and litigation
                                  teams to finalize KEIP/KERP declarations and related issues
                                  (.3); review and revise document production update to
                                  Committee (.3); review additional diligence requests from
                                  Committee (.5); conference with V&E restructuring and
                                  litigation teams regarding UCC discovery requests and related
                                  matters (.7); confer and correspond with V&E litigation team
                                  same (.7); correspond with V&E restructuring and litigation
                                  teams regarding Committee's draft information motion (.3).

      04/12/22       LRKA         Conference call with V&E team regarding litigation matters                     2.50
                                  and document production (.7); prepare for same (.3); confer
                                  with V&E team regarding committee matters (1.2); attend
                                  portion of call with V&E team and Scott Pinsonnault regarding
                                  witness preparation for KEIP and KERP motions and related
                                  declaration (.3).

      04/12/22       MJPY         Participate in call with V&E litigation team regarding                         1.40
                                  responses to same (.7); evaluate mortgage coverage issues
                                  to address Committee diligence (.5); correspond with V&E
                                  team regarding same (.2).

      04/12/22       JRGO         Confer with V&E litigation team regarding document review                      1.00
                                  and production for UCC (.9); analyze documents in
                                  furtherance of same (.1).

      04/12/22       ERHI         Conference with Scott Pinsonnault and V&E team regarding                       5.40
                                  KEIP/KERP witness preparation (.5); conference with V&E
                                  team regarding production status and other workstreams (.7);
                                  collect, review, and produce documents responsive to the


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      Re:        Restructuring Advice

                                  UCC's first informal document request (3.3); correspond with
                                  V&E team regarding same (.4); update diligence production
                                  tracker (.5).

      04/12/22       MAGA         Conference with V&E team regarding discovery requests and                      0.90
                                  related issues and strategy (.7); review and analyze
                                  committee motion regarding committee information
                                  obligations (.2).

      04/12/22       SAZO         Review and analyze UCC motion to reconsider bidding                            4.10
                                  procedures order (.3); review precedent objections related to
                                  same (.5); review and revise draft objection to UCC motion to
                                  reconsider (1.4); correspond with V&E team regarding same
                                  (.3); conference call with Kevin Bonebrake and V&E team
                                  regarding KEIP declaration for witness preparation purposes
                                  (.5); conference with Lewis Gillies and V&E team regarding
                                  KERP declaration for witness preparation purposes (.5);
                                  conference with Scott Pinsonnault and V&E team regarding
                                  KEIP/KERP declaration for witness preparation purposes (.5);
                                  correspond with Scott Pinsonnault and V&E team regarding
                                  same (.1).

      04/12/22       ESST         Conference call with Kevin Bonebrake and V&E team                              5.70
                                  regarding KEIP declaration for witness preparation purposes
                                  (.5); conference with Lewis Gillies and V&E team regarding
                                  KERP declaration for witness preparation purposes (.5);
                                  conference with Scott Pinsonnault and V&E team regarding
                                  KEIP/KERP declaration for witness preparation purposes (.5);
                                  conference with V&E team regarding document production
                                  efforts in response to UCC (1.0); review, assess, compile, and
                                  produce additional documents to UCC (2.5); conference with
                                  V&E team regarding production requests and case strategy
                                  (.7).

      04/13/22       MWMO         Analyze and assess UCC production and related discovery                        1.00
                                  matters (.7); review email correspondence regarding same
                                  throughout day (.3).

      04/13/22       RLPE         Confer with V&E litigation team on Steel Reef discovery                        7.00
                                  issues (.3); review and analyze draft Committee information
                                  motion and e-mail correspondence with V&E litigation team
                                  regarding same (.7); review diligence production (1.1); review
                                  various privilege and confidentiality issues in connection with
                                  same (.9); correspond with V&E team regarding potential
                                  Baucum litigation (.4); conference with V&E litigation team to
                                  discuss plan for priority UCC requests (.5); analyze UCC
                                  requests (.8); facilitate review process for collecting UCC-
                                  requested communications regarding DIP, RSA and Plan (.4);
                                  confer with V&E litigation team regarding same (.2); review
                                  and revise follow-up e-mail correspondence to David Mirkin
                                  regarding UCC document requests (.1); confer with V&E team
                                  regarding same (.7); confer with V&E restructuring team on
                                  document custodians regarding same (.5); prepare for meet


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                                  and confer with UCC, including review index of all documents
                                  produced and provide comments to UCC document tracker
                                  (.4).

      04/13/22       DSME         Conference with V&E team regarding strategy and next steps                     1.40
                                  in connection with UCC diligence and production requests
                                  (1.0); conference with V&E team regarding settlement (.4).

      04/13/22       LRKA         Conference with Lockton, Company, and V&E team regarding                       1.20
                                  insurance issues (.4); correspond with V&E team regarding
                                  discovery production (.8).

      04/13/22       JRGO         Confer with V&E litigation team regarding case developments,                   0.80
                                  document productions, and next steps (.5); analyze
                                  correspondence regarding review and production of
                                  documents for UCC (.3).

      04/13/22       ERHI         Collect, review, and produce documents responsive to the                       6.50
                                  UCC's first informal document request (3.2); correspond with
                                  V&E team regarding same (1.1); gather and compile emails
                                  for UCC's request (.4); prepare and review index of produced
                                  documents in anticipation of meet and confer with UCC (1.3);
                                  attend call with V&E team regarding UCC discovery (.5).

      04/13/22       SAZO         Review objection to UCC motion to reconsider bidding                           1.50
                                  procedures order (.1); correspond with V&E team regarding
                                  same (.2); conference with V&E team regarding revisions to
                                  same (1.2).

      04/13/22       EMME         Conference with V&E LIT team regarding discovery requests                      4.30
                                  (.7); conference with V&E LIT team regarding diligence
                                  matters for UCC (.3); correspond with V&E team regarding
                                  diligence requests (1.2); review diligence items in preparation
                                  for sharing with Committee (1.5); review and revise Petro
                                  Harvester ownership summary for counsel in state court
                                  litigation (.2); correspond with V&E tax team regarding D&O
                                  policy (.1); correspond with Ankura team regarding diligence
                                  items (.1); correspond with Company regarding outstanding
                                  Committee diligence requests after meet and confer (.2).

      04/13/22       ESST         Attend conference call with V&E team following up on meet                      5.50
                                  and confer with UCC (.7); conference with V&E team
                                  regarding diligence production (.7); prepare and review
                                  document production in response to UCC informal requests
                                  (3.1); review declarations in support of pending motions (1.0).

      04/13/22       TGSP         Correspond with V&E team regarding Baucum issues (.9);                         2.10
                                  attend conference call with V&E team and Company and
                                  Lockton regarding insurance issues related to same (.4);
                                  confer with V&E team regarding same (.3); conference with
                                  defense counsel regarding same (.3); correspond with V&E
                                  team regarding UCC diligence requests (.2).



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      04/14/22       MWMO         Review correspondence regarding Steel Reef discovery (.1);                     0.80
                                  confer with V&E team regarding objections and responses to
                                  same (.3); review correspondence regarding production of
                                  insurance information (.1); review suggestion of bankruptcy
                                  and complaint in Saucier case (.3).

      04/14/22       RLPE         Facilitate review of document production with V&E litigation                   4.80
                                  team (.8); conferences with V&E team and Company on same
                                  (.6); correspond with V&E team regarding Steel Reef
                                  discovery issues (.8); confer with V&E team regarding
                                  Baucum litigation and review relevant documents (.5); review
                                  additional production requests from UCC (.2); correspond with
                                  V&E team and company regarding same (.1); coordinate with
                                  practice support team and V&E litigation team to collect e-mail
                                  correspondence from relevant custodians in response to
                                  Committee requests (.4); conference with V&E litigation and
                                  practice support teams to discuss same (.5); review and
                                  respond to various e-mail correspondence with counsel for
                                  third parties to resolve confidentiality concerns with UCC
                                  document production (.4); correspond with V&E team
                                  regarding same (.2); finalize logistics with litigation team and
                                  practice support related to document review (.3).

      04/14/22       DSME         Correspond with V&E litigation team regarding workstreams                      1.40
                                  and production for UCC (.6); conference with V&E team
                                  regarding strategy for pending matters (.6); correspond with
                                  V&E team regarding e-mail production for UCC (.2).

      04/14/22       LRKA         Correspond with V&E team regarding Baucum litigation (.2);                     1.60
                                  conference with same and defense counsel regarding same
                                  (.3); correspond with V&E team regarding e-mail production
                                  for UCC (.3); organize files for same (.8).

      04/14/22       MJPY         Evaluate and address follow-up issues with respect to                          5.10
                                  Committee diligence and mortgage coverage issues (.2);
                                  conference with client and V&E team regarding same (.8);
                                  correspond with V&E team regarding same (.3); analyze
                                  mortgage coverage issues and related diligence (.7); confer
                                  with V&E team regarding same (.6); review and comment on
                                  well analysis to support same (.4); conference with client
                                  regarding same (.2); evaluate revised draft of same (.2);
                                  correspond with V&E litigation team regarding Committee
                                  diligence responses (.2); correspond with local counsel
                                  regarding Louisiana mortgage issues in connection with same
                                  (.4); correspond with V&E team regarding same (.2);
                                  correspond further with V&E team regarding mortgage issues
                                  (.4); participate on call with V&E team regarding production
                                  issues (.5).

      04/14/22       JRGO         Confer with V&E litigation team regarding document review                      3.00
                                  and production for UCC (.6); review, analyze, and redact
                                  documents in preparation for production to UCC (2.4).



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      04/14/22       ERHI         Collect, review, and produce documents responsive to the                       5.20
                                  UCC's first informal document request (2.2); correspond with
                                  V&E team regarding same (.7); redact documents in
                                  connection with same (.8); conference with V&E practice
                                  support regarding email production review for UCC (.3);
                                  review status of document production and draft update
                                  summary (1.2).

      04/14/22       EMME         Conference with V&E practice support team regarding email                      1.80
                                  collections for committee discovery (.3); conference V&E
                                  litigation team regarding UCC production (.2); correspond with
                                  V&E team regarding committee diligence (1.1); correspond
                                  with company regarding committee diligence (.2).

      04/14/22       ESST         Compile, review, redact, and produce documents in response                     4.20
                                  to UCC informal requests (3.3); conference with V&E practice
                                  support team regarding UCC document production (.3);
                                  conference with V&E team regarding production efforts (.2);
                                  review document requests (.4).

      04/14/22       TGSP         Correspond with V&E team regarding Saucier litigation (.3);                    2.20
                                  review suggestion of bankruptcy regarding same (.2);
                                  correspond with V&E team regarding Baucum litigation (.6);
                                  conferences with local defense counsel regarding same (.3);
                                  correspond with V&E litigation team regarding UCC diligence
                                  requests (.8).

      04/15/22       MWMO         Review research regarding retention of professionals (.4);                     2.30
                                  review correspondence with Vogel law firm regarding
                                  requested information (.1); review correspondence regarding
                                  scheduling (.1); review committee motion (.3); review
                                  correspondence regarding state court lawsuit (.2); confer with
                                  V&E team regarding same (.1); analyze issues related to liens
                                  and confer with V&E team regarding same (.7); review update
                                  regarding discovery for UCC (.1); review correspondence
                                  regarding privilege in connection with discovery (.1); confer
                                  with V&E team regarding same (.2).

      04/15/22       RLPE         Correspond with V&E team regarding Sligar litigation (.4);                     7.90
                                  facilitate document production (.4); correspond with V&E team
                                  regarding April 22 and April 27 hearings, agenda and
                                  evidentiary issues (.3); correspond with V&E litigation team on
                                  additional UCC production (.6); evaluate UCC requests and
                                  confer with Company and V&E restructuring team regarding
                                  same (.4); correspond with V&E team regarding document
                                  review issues (.9); review and analyze board materials for
                                  production (1.3); confer with litigation team regarding same
                                  (.7); conference with UCC and Lazard regarding updates on
                                  various issues (.4); confer with V&E restructuring and litigation
                                  teams regarding confidentiality and privilege issues (.5); draft
                                  e-mail correspondence to UCC concerning same (.1);
                                  participate on telephone conference with opposing counsel in
                                  Baucum matter (.5); conduct follow-up telephone conference


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                                  with V&E restructuring team regarding next steps and strategy
                                  for Baucum matter (.4); participate on telephone conference
                                  with UCC and Debtors to discuss sales process update (1.0).

      04/15/22       DSME         Correspond with V&E team regarding responses to UCC (.2);                      0.50
                                  conference with V&E litigation team regarding document
                                  production to UCC (.2); correspond with V&E team regarding
                                  same (.1).

      04/15/22       LRKA         Review board materials for production (.4); correspond with                    0.60
                                  V&E team regarding same (.2).

      04/15/22       MJPY         Evaluate mortgage issues in connection with Committee                          1.70
                                  diligence and settlement (.8); correspond with V&E team
                                  regarding same (.2); evaluate correspondence from North
                                  Dakota counsel regarding same (.3); correspond with
                                  Louisiana counsel regarding same (.2); correspond with
                                  Mississippi counsel regarding same (.2).

      04/15/22       JRGO         Confer with V&E litigation team and practice support group                     8.30
                                  regarding document collection and production in connection
                                  with UCC discovery (.7); analyze, tag, and redact documents
                                  in preparation for production (5.2); correspond with V&E team
                                  regarding same (1.4); review organizational chart and related
                                  documents in furtherance of responding to local counsel
                                  inquiry (.5); draft correspondence to local counsel regarding
                                  same (.3); correspond with local counsel regarding complaint
                                  and alleged damages (.2).

      04/15/22       ERHI         Review email document production for UCC (4.2); conference                     7.10
                                  with V&E team regarding document review status and next
                                  steps (.4); finalize redactions for documents to be produced to
                                  UCC including board presentations and minutes (1.2); collect,
                                  review, and produce documents responsive to the UCC's first
                                  informal document request (.8); correspond with V&E team
                                  regarding same (.5).

      04/15/22       MAGA         Confer with V&E team regarding litigation and diversity issues                 0.70
                                  (.5); draft email response regarding same (.2).

      04/15/22       SAZO         Gather and review publication notices for auction sale,                        1.50
                                  combined hearing, and bar date in connection with UCC
                                  diligence request (.6); prepare chart tracking same (.5);
                                  correspond with V&E team regarding same (.1); correspond
                                  with V&E team regarding draft objection to UCC motion to
                                  reconsider bidding procedures motion (.3).

      04/15/22       EMME         Conference with V&E team regarding email production and                        2.10
                                  review in response to UCC (.3); correspond with V&E LIT
                                  team regarding email collection review for committee (.1);
                                  correspond with Ankura team regarding outstanding diligence
                                  for committee (.2); correspond with V&E team regarding
                                  reserve reports for new committee diligence request (.1);


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                                  correspond with V&E team regarding suspense research (.1);
                                  correspond with V&E LIT team regarding diligence and
                                  production work streams (.6); review diligence related to same
                                  (.7).

      04/15/22       ESST         Review declarations in support of pending matters and related                  4.50
                                  court filings (1.2); compile and review document production to
                                  UCC informal requests (2.9); conference with Lazard related
                                  to document production for UCC (.4).

      04/15/22       TGSP         Correspond with V&E team regarding suggestion of                               1.20
                                  bankruptcy (.4); correspond with V&E team regarding Sligar
                                  lawsuit (.6); correspond with V&E team regarding suspense
                                  fund matters related to UCC discovery (.2).

      04/16/22       MWMO         Review protective order and confer with V&E team regarding                     0.60
                                  same (.3); review correspondence throughout day regarding
                                  discovery process and production of documents in connection
                                  with UCC (.3).

      04/16/22       RLPE         Review and revise proposed protective order and correspond                     5.00
                                  with V&E litigation and restructuring teams regarding same
                                  (.5); confer with V&E team on document review issues (.6);
                                  review document production (1.6); provide update to
                                  restructuring team regarding same (.3); analyze and discuss
                                  issues with respect to production (.9); correspond with V&E
                                  litigation team regarding same (.2); correspond with
                                  Committee regarding agreement relating to mortgage analysis
                                  (.2); confer with Lazard on follow-up questions from
                                  Committee (.3); correspond with Shell counsel regarding
                                  protective order (.2); provide update to Cleary team on
                                  production (.2).

      04/16/22       DSME         Correspond with V&E team regarding Committee information                       0.50
                                  requests and document production (.3); review materials
                                  regarding same (.2).

      04/16/22       LRKA         Correspond with V&E team and Lazard regarding UCC                              1.50
                                  diligence matters and document production (.6); review
                                  materials regarding same (.5); conduct follow-up
                                  correspondence with V&E team regarding suspense (.4).

      04/16/22       JRGO         Analyze and tag documents in preparation for production in                     1.50
                                  response to UCC.

      04/16/22       CELE         Analyze issue related to treatment of suspense funds (.2);                     0.30
                                  correspond with V&E team regarding same (.1).

      04/16/22       ERHI         Review emails to be produced to UCC.                                           1.30

      04/16/22       EMME         Correspond with V&E team regarding suspense obligations                        1.10
                                  research (.6); correspond with Pachulski regarding same (.1);
                                  research related to same (.4).


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      Re:        Restructuring Advice

      04/16/22       ESST         Compile and review document production (1.6); conduct                          4.20
                                  research related to objections to committee motions (2.6).

      04/17/22       MWMO         Review correspondence regarding committee discovery                            0.70
                                  matters and attention to same (.4); evaluate and consider
                                  privilege and other concerns related to committee production
                                  (.1); confer with V&E team regarding same (.2).

      04/17/22       RLPE         Review and finalize DIP production for Committee (.7);                         4.40
                                  correspond with third parties concerning confidentiality
                                  concerns (.2); review and finalize document production in
                                  connection with UCC's Plan-related (.9); confer with V&E
                                  litigation team on document review issues (.4); review and
                                  finalize document production in connection with UCC's RSA-
                                  related requests (.8); analyze issues in connection with
                                  Baucum litigation (.4); correspond with V&E and document
                                  production teams regarding uploading final productions to
                                  UCC VDR (.4); correspond with V&E team regarding sharing
                                  of information in connection with ongoing settlement
                                  discussions with Committee and analyze same (.3); conduct
                                  follow-up analysis regarding Committee's motion (.1);
                                  correspond with V&E restructuring team regarding UCC
                                  informal discovery requests (.2).

      04/17/22       DSME         Correspond with V&E team regarding pending matters in                          0.50
                                  preparation for call with lender's counsel (.3); correspond with
                                  S. O'Neal regarding status (.2).

      04/17/22       LRKA         Correspond with V&E team regarding document requests                           0.70
                                  from Committee (.5); review correspondence regarding same
                                  (.2).

      04/17/22       MJPY         Evaluate email correspondence with V&E litigation team                         0.30
                                  regarding Committee discovery responses and production.

      04/17/22       ERHI         Review and finalize email document production sets in                          2.50
                                  response to UCC (1.7); correspond with V&E team regarding
                                  same (.8).

      04/17/22       ESST         Compile and review document production in response to UCC                      3.10
                                  informal request for production.

      04/17/22       TGSP         Conduct research regarding unclaimed property (.6);                            0.70
                                  correspond with V&E team regarding same (.1).

      04/18/22       MWMO         Review correspondence regarding UCC discovery (.3); confer                     1.50
                                  with V&E team regarding citizenship issues of LLCs (.2);
                                  conference with V&E team regarding suspense analysis (.2);
                                  review correspondence regarding reserve reports and
                                  severance agreements (.1); review correspondence regarding
                                  related to suspense analysis (.1); review analysis from local
                                  counsel related to lien analysis (.2); review draft response to


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                                  motion to show cause and request for extension of time in
                                  Sligar lawsuit (.3); confer with V&E team regarding same (.1).

      04/18/22       RLPE         Correspond with local counsel in Sligar matter regarding                       5.10
                                  Order to Show Cause and attention to efforts to gather
                                  information necessary for same (.8); review and revise
                                  response to Order to Show Cause (.6); participate in
                                  telephone conference with V&E team regarding various
                                  litigation work streams and next steps with respect to same
                                  (.4); correspond with V&E team regarding Baucum litigation
                                  matter (.8); review and evaluate materials and information in
                                  connection with same (.2); correspond with opposing counsel
                                  regarding same (.3); review materials for production to UCC
                                  and confer with V&E team on necessary redactions (.8);
                                  confer with V&E team on responses and objections to Steel
                                  Reef discovery (.3); conduct follow-up correspondence with
                                  third parties on confidentiality issues (.3); conduct follow-up
                                  correspondence with V&E team on outstanding UCC (.2);
                                  conference with same regarding same (.4).

      04/18/22       LRKA         Conference call with V&E litigation team regarding producing                   1.10
                                  documents to UCC (.4); correspond with V&E team regarding
                                  same (.7).

      04/18/22       MJPY         Review and evaluate North Dakota analysis regarding                            1.80
                                  mortgage coverage issues to support Committee diligence
                                  requests (.2); conference with V&E team regarding
                                  workstreams to address Committee inquiries (.8); analyze
                                  client responses to same (.4); correspond with V&E
                                  restructuring team regarding same (.2); evaluate further
                                  correspondence with V&E team and Committee counsel
                                  regarding same (.2).

      04/18/22       JRGO         Analyze correspondence with local counsel regarding order to                   0.90
                                  show cause (.2); conduct research regarding same (.3);
                                  analyze and redact documents in preparation for production to
                                  UCC (.4).

      04/18/22       ERHI         Correspond with V&E team regarding UCC document                                2.60
                                  production (1.4); organize and summarize current document
                                  production status (1.2).

      04/18/22       MAGA         Confer with V&E team regarding issues related to suspense                      0.50
                                  obligations.

      04/18/22       EMME         Conference with V&E RR and LIT team regarding                                  5.20
                                  confidentiality issues related to suspense document
                                  production (.5); revise documents related to same (2.0);
                                  correspond with V&E team regarding same (.4); correspond
                                  with V&E team regarding Committee diligence requests (.4);
                                  review diligence related to same (.9); correspond with
                                  Company regarding diligence Committee requests (.6);
                                  correspond with V&E team regarding W&E list for April 23


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      Re:        Restructuring Advice

                                  hearing (.4).

      04/18/22       ESST         Confer with V&E team regarding case strategy (.4); review                      5.90
                                  requests for production and interrogatories (2.3); draft
                                  responses related to same (3.2).

      04/19/22       MWMO         Review correspondence regarding lien analysis (.1); review                     0.30
                                  correspondence regarding witness and exhibit list (.1);
                                  analyze issues related to potential retention objection (.1).

      04/19/22       RLPE         Analyze confidentiality issues in connection with ongoing                      3.90
                                  document production (.4); correspond with V&E team and
                                  third parties in connection with same (.2); correspond with
                                  V&E team regarding upcoming hearings and agendas (.3);
                                  review and comment on draft witness & exhibit list for April 22
                                  hearing (.3); confer with Eli Sterbcow on Steel Reef discovery
                                  responses and objections (.4); conference with Debtors' and
                                  Committee's professionals to discuss sales process (.9);
                                  confer with Lauren Kanzer, David Meyer and Matt Moran on
                                  UCC request for additional information from Weil (.3); review
                                  and analyze reserve reports for production to UCC (.3);
                                  correspond with Eli Medina, Emily Rhine and Company
                                  regarding same (.5); update on UCC counter-proposal and
                                  begin to review same (.3).

      04/19/22       LRKA         Review settlement proposal (.7); correspond with Company,                      1.60
                                  advisors regarding same (.5); conference with David Meyer
                                  regarding same (.4).

      04/19/22       MJPY         Call with Committee advisors regarding case updates and                        3.70
                                  Committee diligence and production (1.0); evaluate research
                                  regarding legal defenses to support Committee settlement
                                  response (.3); evaluate entity asset and liability chart to
                                  support same (.4); call with Ankura regarding Committee
                                  diligence responses and mortgage coverage issues (.7); call
                                  with Committee counsel regarding settlement proposal (.4);
                                  evaluate written settlement proposal (.3); follow-up call with
                                  V&E restructuring team regarding same (.2); correspond with
                                  V&E team regarding same (.4).

      04/19/22       JRGO         Confer with V&E and UCC teams regarding case                                   1.00
                                  developments and next steps (.9); analyze correspondence
                                  regarding document production (.1).

      04/19/22       ERHI         Attend committee professionals call (.9); draft declaration for                3.90
                                  motion to assume (2.3); attend call with third party regarding
                                  engagement letter (.4); review witness and exhibit list (.3).

      04/19/22       EMME         Correspond with V&E team regarding W&E for upcoming                            1.20
                                  hearing (.2); review and revise W&E for April 22 hearing (.6);
                                  circulate same to V&E team (.1); correspond with V&E team
                                  regarding same (.1); correspond with Company regarding
                                  reserves diligence request from Committee (.2).


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      04/19/22       ESST         Confer with V&E team regarding case strategy (.4);                             4.60
                                  conference with same regarding committee diligence requests
                                  (.5); draft responses to requests for production from Steel
                                  Reef (3.7).

      04/19/22       TGSP         Correspond with V&E team regarding W&E list (.5); draft                        0.90
                                  same (.4).

      04/20/22       MWMO         Review correspondence regarding response to motion to                          0.50
                                  reconsider bid procedures (.2); correspond with V&E team
                                  regarding same (.2); confer with V&E team regarding witness
                                  and exhibit list (.1).

      04/20/22       RLPE         Correspond with V&E team regarding objection to UCC                            4.80
                                  Motion to Reconsider (.6); correspond with Sara Zoglman
                                  regarding same (.3); correspond with Trevor Spears regarding
                                  Baucum litigation (.3); review and revise objection to Motion to
                                  Reconsider (.4); provide comments to restructuring team (.6);
                                  analyze UCC objection to DIP (.3); prepare for contested
                                  hearing related to same (.4); correspond with Emily Rhine
                                  regarding exhibit binders for April 22 hearing (.2); revise
                                  document production summary and correspond with Emily
                                  Rhine and Eli Medina regarding comments (.3); revise
                                  objection to Motion to Reconsider (.3); correspond with
                                  litigation and restructuring teams on filing (.4); review UCC
                                  objection to DIP and provide comments for response to Matt
                                  Pyeatt (.7).

      04/20/22       DSME         Correspond with Matt Moran regarding hearing prep (.3);                        0.50
                                  prepare for hearing (.2).

      04/20/22       LRKA         Correspond with Ankura, Committee regarding objection                          2.00
                                  deadlines (.4); correspond with V&E team regarding UST
                                  comments, information requests (.5); correspond with V&E
                                  team regarding objection to motion to reconsider (.5); review
                                  same (.6).

      04/20/22       MJPY         Correspond with V&E team regarding Committee settlement                        0.60
                                  issues (.2); evaluate precedent related to same (.4).

      04/20/22       JRGO         Analyze Committee's retention objection (.3); analyze                          1.00
                                  Committee's DIP objection (.5); analyze correspondence
                                  regarding same (.2).

      04/20/22       ERHI         Review documents responsive to the UCCs first informal                         2.90
                                  document request (.3); correspond with V&E team regarding
                                  same (.2); draft summary of production to UCC (1.6); compile
                                  binders for potential April 22 hearing (.5); attend internal
                                  update call (.3).

      04/20/22       SAZO         Review Committee motion to reconsider bidding procedures                       4.80
                                  (.3); correspond with V&E team regarding same (.6); draft


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                                  objection to same (.9); correspond with V&E regarding same
                                  (.9); evaluate comments to same (.3); confer with V&E team
                                  regarding same (.2); revise draft objection regarding same
                                  (.8); correspond with V&E team regarding same (.6);
                                  correspond with Cleary regarding same (.2).

      04/20/22       ESST         Draft responses to interrogatories.                                            0.80

      04/21/22       RLPE         Review updates related to Baucum litigation (.2); review and                   1.10
                                  provide comments on draft witness and exhibit list for 4/27
                                  hearing (.4); correspond with V&E team regarding Sligar
                                  litigation (.2); correspond with V&E team regarding UST
                                  objection to KEIP/KERP (.3).

      04/21/22       LRKA         Conference with Sean O’Neal regarding settlement                               1.90
                                  counterproposal (.3); conference with Jessica Liou regarding
                                  retention objection, case status (.3); draft correspondence to
                                  UCC regarding settlement proposal (.3); correspond with V&E
                                  team regarding same (.2); correspond and conferences with
                                  V&E team regarding replies to objections (.8).

      04/21/22       ERHI         Research regarding retention reply (2.2); draft summary of                     5.10
                                  findings (1.2); conference with Eli Sterbcow to discuss witness
                                  and exhibit list drafting tasks (.4); draft witness and exhibit list
                                  for April 27 hearing (1.3).

      04/21/22       SAZO         Evaluate UST objection to KEIP/KERP (.6); prepare summary                      2.80
                                  and analysis regarding same (1.2); confer and correspond
                                  with V&E team regarding same (.6); correspond with Cleary
                                  team regarding draft objection to committee motion to
                                  reconsider bidding procedures (.1); confer and correspond
                                  with V&E team regarding same (.3).

      04/21/22       EMME         Correspond with V&E team regarding committee diligence                         0.50
                                  (.2); correspond with V&E team regarding April 27 hearing
                                  (.3).

      04/21/22       ESST         Research and compile information for litigation schedule.                      2.00

      04/22/22       MWMO         Prepare for DIP hearing (.6); prepare for hearing on retention                 4.60
                                  application (.7); compile and review evidence related to same
                                  (1.3); analyze legal arguments related to same (.5); review
                                  correspondence regarding deposition of David Meyer (.1);
                                  review outline for KEIP and KERP briefs (.1); confer with V&E
                                  team regarding retention objection (.1); review UST objection
                                  to V&E retention (.3); review correspondence regarding
                                  witness and exhibit list (.2); confer with V&E team regarding
                                  same (.1); review exhibits for upcoming hearing (.6).

      04/22/22       RLPE         Review retention declarations (.6); confer with Emily Rhine                    8.60
                                  regarding exhibits (.4); prepare for 341 meeting (.3);
                                  conference with Lauren Kanzer and David Mirkin (.4); attend
                                  portion of 341 meeting (.8); review evidence in support of DIP


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                                  presentation for 4/27 hearing (.3); confer with Matt Pyeatt and
                                  finance team on same (.2); review outline of arguments in
                                  response to KERP/KEIP objection (.4); confer with Katie
                                  Grissel, Eli Medina, Emily Rhine and Matt Moran on hearing
                                  preparations and evidence for retention and DIP hearing (.9);
                                  conference with Debtors advisors regarding DIP objection and
                                  witness testimony for 4/27 hearing (1.0); conference with
                                  Debtors and Committees professionals (.5); confer with
                                  Trevor Spears and Lauren Kanzer on Baucum litigation issues
                                  (.4); review documents for use in support of DIP reply and
                                  confer with Eli Sterbcow and Emily Rhine on litigation work
                                  streams (.7); confer with litigation and restructuring teams on
                                  Committees standing motion (.3); draft meet and confer e-mail
                                  to Committee counsel on exhibits (.3); review Committees
                                  exhibits and e-mail correspondence regarding same (.7);
                                  correspond with witness to confirm availability (.4).

      04/22/22       DSME         Correspond with V&E team regarding hearing prep and                            1.60
                                  deposition (.6); coordinate with V&E team regarding same
                                  (.4); conference with V&E team regarding same (.3);
                                  conference with V&E team regarding hearing strategy (.3).

      04/22/22       LRKA         Draft checklist for hearing workstreams (.8); conference call                  3.80
                                  with V&E team regarding same (1.0); correspond with V&E
                                  team regarding witness and exhibit list (.7); conference with
                                  Matt Moran regarding standing motion (.2); review same (.3);
                                  correspond with V&E team, UCC regarding same (.5);
                                  correspond with V&E team regarding Baucum response (.3).

      04/22/22       MJPY         Conference with V&E restructuring and litigation teams                         0.70
                                  regarding 4/27 hearing prep and workstreams.

      04/22/22       JRGO         Conference with V&E litigation and restructuring teams                         1.00
                                  regarding hearin.

      04/22/22       ERHI         Revise witness & exhibit list (1.9); compile exhibits (.7);                    5.00
                                  conference with V&E LIT team regarding work streams (.4);
                                  conduct research related to retention application objection
                                  (2.0).

      04/22/22       MAGA         Draft reply to objections to KEIP and KERP motion (.6); confer                 2.10
                                  with V&E team regarding same (.5); confer with V&E team
                                  regarding upcoming hearing and related strategy and
                                  preparation (1.0).

      04/22/22       SAZO         Review email correspondence regarding UST objection to                        10.20
                                  KERP/KEIP (.3); prepare outline for reply to KERP/KEIP
                                  objection (1.1); confer with V&E team regarding same (.7);
                                  correspond with V&E team regarding same (.3); review UST
                                  objection to KEIP/KERP (.4); review precedent KEIP/KERP
                                  reply (.8); draft reply regarding same (4.1); confer with V&E
                                  team regarding same (1.1); prepare KERP schedule for W&E
                                  list (.2); correspond with V&E team regarding same (.1);


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                                  conference with V&E team regarding upcoming hearing
                                  preparation (1.0); prepare for same (.1).

      04/22/22       EMME         Correspond with V&E team regarding W&E list (.4);                              0.60
                                  correspond with V&E team regarding Talco transaction (.2).

      04/22/22       ESST         Compile information related to litigation schedule (1.7);                      9.00
                                  conference with Lazard regarding sale process (1.0);
                                  conference with V&E team regarding hearing prep (1.0);
                                  collect documents (.9); conference with V&E team regarding
                                  case strategy updates (.5); conduct document review in
                                  connection with upcoming hearing (2.2); draft responses to
                                  interrogatories (.7); create, edit, organize, and file witness and
                                  exhibit list for upcoming hearing (1.0).

      04/22/22       TGSP         Conference with V&E team regarding contested hearing (1.0);                    4.60
                                  review and revise witness and exhibit list regarding same (.7);
                                  correspond with V&E team regarding same (.8); review UCC
                                  witness and exhibit list related to contested hearing (1.1);
                                  correspond with V&E team regarding same (.3); correspond
                                  with witness for contested hearing (.7).

      04/22/22       KIVA         Conference with V&E team regarding witness and exhibit list                    1.00
                                  preparation for April 27 hearing.

      04/23/22       MWMO         Review DIP budget (.2); confer with V&E team regarding                         3.90
                                  potential update to board (.1); prepare for hearing on DIP
                                  motion (.3); prepare for hearing on V&E retention (.5); review
                                  and revise declarations in support of same (.4); conference
                                  with V&E team regarding revisions to declaration and
                                  evidence for upcoming hearings (.7); conferences with V&E
                                  team regarding evidentiary issues in preparation for hearing
                                  (.3); analyze standing motion and proposed adversary
                                  complaint (1.0); conduct research related to same (.4).

      04/23/22       RLPE         Correspond with Mike Garza and Matt Moran regarding                            5.00
                                  motion to reconsider bidding procedures (.3); correspond with
                                  UCC regarding standing motion and review same (.5);
                                  correspond with Eli Medina regarding Meyer declaration (.2);
                                  revise same (.3); conferences with V&E team regarding
                                  Meyer declaration (1.0); correspond with V&E restructuring
                                  and litigation teams regarding retention reply and work
                                  streams to assist with same (.8); review further revised
                                  Pinsonnault declaration and confer with David Meyer, Matt
                                  Moran, Eli Medina and Mike Garza on additional comments to
                                  same (.8); review additional comments to Meyer supplemental
                                  declaration (.3); review updated DIP in preparation for DIP
                                  hearing (.4); conferences and correspond with V&E team
                                  regarding witnesses for 4/27 hearing (.4).

      04/23/22       LRKA         Review UST retention application objection (.5); correspond                    4.20
                                  with V&E team regarding same (.1); review correspondence
                                  regarding declarations, replies, evidentiary issues (.4);


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      Re:        Restructuring Advice

                                  correspond with V&E team regarding same (.6); review UCC
                                  witness and exhibit list (.3); correspond with V&E team
                                  regarding same (.3); draft settlement proposal (.3);
                                  correspond with David Meyer regarding same (.4); conference
                                  with Cleary and V&E teams regarding open issues (.5); follow-
                                  up correspondence with David Meyer regarding same (.5);
                                  correspond with Committee, V&E team regarding standing
                                  motion (.3).

      04/23/22       ERHI         Review and analyze UCC DIP objection (.7); review and                          4.50
                                  analyze UCC V&E retention application objection (.7); review
                                  and analyze US Trustee's V&E retention application objection
                                  (.7); compile helpful retention application objection research
                                  and relevant disclosures (1.6); conference with Eli Sterbcow
                                  to discuss witness and exhibit list and other litigation work
                                  streams (.8).

      04/23/22       MAGA         Draft reply to objections to KEIP and KERP motion (2.0);                       2.80
                                  confer with V&E team regarding same (.6); confer with V&E
                                  team regarding federal litigation and diversity issues (.2).

      04/23/22       SAZO         Review comments to KEIP/KERP reply (.5); confer with V&E                       5.00
                                  team regarding same (.7); revise KEIP/KERP reply (3.2);
                                  correspond with V&E team regarding same (.6).

      04/23/22       EMME         Correspond with V&E LIT team regarding W&E (.3);                               0.40
                                  conference with same regarding same (.1).

      04/23/22       ESST         Draft responses to interrogatories (1.2); conference with V&E                  1.60
                                  team regarding upcoming hearing tasks and responsibilities
                                  (.4).

      04/24/22       MWMO         Conferences with V&E, Lazard, and Ankura teams regarding                       6.00
                                  contested DIP matters and preparation for DIP hearing (1.5);
                                  review and comment on supplemental Pinsonnault declaration
                                  (.5); review potential exhibits and work on exhibit list (.4);
                                  conference with V&E team regarding workstreams for
                                  contested hearing (.7); conference with V&E team regarding
                                  DIP hearing and evidentiary issues for same and witness
                                  preparation (1.7); analyze issues to standing motion and
                                  review order (.4); revise language in proposed order (.2);
                                  analyze lien issues (.3); correspond with V&E team regarding
                                  contested KEIP/KERP hearing (.1); prepare for meetings with
                                  witnesses (.2).

      04/24/22       RLPE         Conference with Ankura, Lazard, Company and V&E teams to                       5.20
                                  discuss preparation and issues for upcoming contested
                                  hearing on retention, DIP and KEIP/KERP issues (1.7);
                                  correspond with V&E team regarding updates to witness and
                                  exhibit list and order of agenda for hearing (.5); review
                                  revisions and comments to replies in support of retention and
                                  DIP and analyze evidentiary issues in connection with same
                                  (.4); conference with V&E restructuring and litigation teams


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                                  regarding various work streams related to 4/27 hearing (.6);
                                  conference with V&E litigation team regarding witness
                                  preparation and specific evidentiary and exhibit issues (1.3);
                                  correspond with Committee and V&E team regarding
                                  evidentiary meet and confer (.2); correspond with V&E team
                                  regarding KEIP/KERP discovery (.1); confer with David Meyer
                                  and Matt Moran on same (.2); correspond with V&E team
                                  regarding Baucum litigation matter (.2).

      04/24/22       DSME         Prepare for contested hearing.                                                 1.20

      04/24/22       LRKA         Conferences with V&E team regarding hearing prep,                              3.00
                                  evidentiary record (1.5); correspond with same regarding
                                  same (.4); correspond with V&E team regarding Baucum
                                  litigation (.2); update hearing works in progress checklist (.6);
                                  correspond with V&E team regarding certificates of no
                                  objection, objection to motion for reconsideration (.3).

      04/24/22       JRGO         Confer with V&E teams and Debtors’ advisors in preparation                     2.60
                                  for hearing (1.7); confer with V&E litigation and restructuring
                                  teams in preparation for same (.9).

      04/24/22       ERHI         Conferences with Ankura team regarding hearing preparation                     7.10
                                  (1.7); conference with V&E team regarding work streams (.9);
                                  conference with V&E litigation team regarding evidence for
                                  4/27 hearing (1.1); revise witness and exhibit list (.7);
                                  schedule witness preparation meetings (.6); review omnibus
                                  KEIP/KERP objection reply draft (.8); review UST KEIP/KERP
                                  objection (.9); review UCC exhibit list (.4).

      04/24/22       MAGA         Prepare for and participate on call with Debtors' advisors and                 1.50
                                  management team regarding contested hearing strategy and
                                  related issues (1.1); prepare for and participate on call with
                                  V&E teams regarding same (.4).

      04/24/22       SAZO         Evaluate research regarding reply for KEIP and KERP (.6);                      2.10
                                  draft questions for witness preparation (1.5).

      04/24/22       EMME         Correspond with V&E teams regarding witness and exhibit                        0.20
                                  list.

      04/24/22       ESST         Conferences with Debtors professionals and V&E to discuss                      4.70
                                  upcoming hearing (1.7); review and draft responses to
                                  interrogatories (3.0).

      04/24/22       TGSP         Conference with Company and advisors regarding contested                       1.90
                                  hearing matters and updates (.9); correspond with V&E team
                                  regarding witness and exhibit list regarding same (.2);
                                  conference with V&E team regarding contested hearing
                                  workstreams (.8).

      04/24/22       KIVA         Attend portion of conference with V&E restructuring and                        0.70
                                  litigation teams regarding works in progress for 4/27 hearing.


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      04/25/22       MWMO         Review and revise reply in support of retention application                    8.30
                                  (1.5); review correspondence regarding stipulation of facts
                                  (.3); review exhibits for hearing (.2); prepare outlines for
                                  contested hearing (.8); review omnibus reply to KEIP and
                                  KERP objections (.8); review revisions to reply in support of
                                  V&E retention (.3); conference with Lewis Gillies regarding
                                  hearing preparations (.8); conference with Scott Pinsonnault
                                  regarding hearing preparations (1.0); conference with Kevin
                                  Bonebrake and Scott Pinsonnault regarding hearing
                                  preparations (.7); conference with Christian Tempke regarding
                                  hearing preparations (1.0); review summaries of ND law
                                  related to mortgages (.3); review stipulation with committee
                                  and confer with V&E team regarding same (.3); review
                                  revisions to reply briefs (.3).

      04/25/22       RLPE         Correspond with V&E team and Committee regarding                               9.50
                                  stipulation (.5); review and analyze revisions to retention reply
                                  (.3); revise Meyer and Pinsonnault declarations (.4); confer
                                  with restructuring team on same (.3); telephonic meet and
                                  confer with Committee on witness and exhibits (.8);
                                  conference with opposing counsel on Baucum matter and
                                  follow-up on same (.3); correspond and conferences
                                  regarding confidentiality issues in connection with evidence in
                                  support of KEIP/KERP, DIP and retention motions (.3); review
                                  and revise witness preparation outlines (.9); conference with
                                  Lewis Gillies regarding hearing preparation (.8); conference
                                  with Kevin Bonebrake and Scott Pinsonnault regarding same
                                  (1.5); conference with Christian Tempke regarding same
                                  (1.0); revise DIP reply (.5); confer with litigation and
                                  restructuring teams on same (.5); correspond with V&E team
                                  and Committee on exhibit stipulation (.4); correspond with
                                  V&E team regarding witness preparation (.4); confer with Eli
                                  Sterbcow and Lauren Kanzer concerning Steel Reef issues
                                  (.3); correspond with Lauren Kanzer and Mike Garza
                                  regarding objection to bidding procedures (.3).

      04/25/22       DSME         Prepare for hearing (1.8); conference with Scott Pinsonnault                   2.10
                                  regarding same (.3).

      04/25/22       LRKA         Consider strategy regarding settlement (.6); correspond with                   6.20
                                  Trevor Spears regarding talking points (.4); correspond with
                                  V&E team regarding hearing logistics, agenda (.5);
                                  conferences with Pachulski, V&E team regarding hearing
                                  exhibits, open issues (1.0); prepare for same (.3); prepare for
                                  and conference with V&E team, Baucum plaintiffs' counsel
                                  regarding lift stay (.6); follow-up correspondence regarding
                                  same (.2); attend hearing preparation with Scott Pinsonnault
                                  (1.0); review materials regarding same (.3); correspond with
                                  V&E team regarding evidentiary issues, stipulations (.8);
                                  review draft stipulation and comments to same (.3);
                                  correspond with Pachulski regarding standing motion (.2).



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      04/25/22       JRGO         Draft hearing preparation outline for KERP/KEIP (2.2);                         7.10
                                  analyze related motions, objections, replies, and declarations
                                  in furtherance of preparing for hearing (1.1); participate in
                                  Lewis Gillies hearing preparation (.5); participate in David
                                  Mirkin hearing preparation (.4); draft summary of same (.1);
                                  participate in Kevin Bonebrake hearing preparation (.5);
                                  participate in Christian Tempke hearing preparation (1.0);
                                  confer with litigation and restructuring teams regarding
                                  hearing preparation (.3); analyze and edit objections and
                                  responses to Steel Reef discovery requests (1.0).

      04/25/22       ERHI         Prepare for and participate in Pinsonnault hearing preparation                 9.20
                                  (1.2); draft Pinsonnault KEIP/KERP witness hearing
                                  preparation outline (2.9); circulate relevant materials for
                                  hearing preparation (.8); attend meet and confer with UCC
                                  regarding April 27 hearing exhibits (.8); draft Pinsonnault DIP
                                  and retention witness hearing preparation outline (2.4); attend
                                  Tempke hearing preparation (1.1).

      04/25/22       MAGA         Review and revise witness preparation outline for witnesses in                 6.40
                                  support of KEIP and KERP motion (1.0); confer with V&E
                                  team regarding same (.4); prepare for and participate in
                                  witness preparation session for Lewis Gillies (.8); prepare for
                                  and participate in witness preparation session for Scott
                                  Pinsonnault (1.0); prepare for and participate in witness
                                  preparation session for Kevin Bonebrake (1.0); review and
                                  revise certificate of no objection (.2); confer with V&E team
                                  regarding response to KERP and KEIP objection (.7); review
                                  and revise response to KERP and KEIP objections (1.3).

      04/25/22       SAZO         Draft witness preparation questions for KERP/KEIP (1.9);                      10.70
                                  confer with V&E team regarding same (.6); prepare for and
                                  participate in witness preparation session regarding same for
                                  Lewis Gillies (.8); prepare for and participate in witness
                                  preparation session regarding same for Scott Pinsonnault
                                  (1.0); prepare for and participate in same for Kevin Bonebrake
                                  (1.0); review and revise KEIP/KERP reply (1.6); confer with
                                  V&E team regarding same (1.2); analyze and evaluate
                                  comments to reply (.6); correspond with V&E team regarding
                                  same (.6); revise same (1.4).

      04/25/22       ESST         Attend meet and confer with committee (.9); conference with                    7.20
                                  Lewis Gillies to prepare for hearing (.8); conference call with
                                  Scott Pinsonnault regarding same (1.0); conference with
                                  Kevin Bonebrake regarding same (1.0); conference with
                                  Christian Tempke (1.0); general call on upcoming hearing (.3);
                                  draft deposition prep materials for David Meyer (2.2).

      04/25/22       TGSP         Conference with V&E team regarding hearing preparation (.4);                   2.60
                                  correspond with V&E team regarding UCC and opening
                                  remarks (.1); conference with V&E litigation team regarding
                                  hearing preparation (.4); draft hearing workstreams checklist
                                  (.3); correspond with V&E team regarding same (.2);


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                                  conferences with V&E team regarding related workstreams
                                  (.7); draft hearing agenda (.3); correspond with V&E team
                                  regarding same (.2).

      04/26/22       MWMO         Prepare for Wednesday hearings, including work on witness                     10.90
                                  outlines (2.7); review supplemental declaration of Pinsonnault
                                  (.5); review supplemental declaration of David Meyer (.2);
                                  review supplemental declaration of Christian Tempke (.4);
                                  multiple prep sessions with Scott Pinsonnault regarding DIP
                                  motion, KEIP motion, KERP motion and retention motion
                                  (2.0); meeting with David Meyer regarding preparation for
                                  deposition (2.5); review email correspondence regarding
                                  deposition (.2); prepare exhibits for deposition (.2); review
                                  research and analysis of ND liens (.3); review reply in support
                                  of KEIP and KERP (.6); review reply in support of retention
                                  (.7); review speaking points for remarks to court and
                                  arguments related to contested motions (.6).

      04/26/22       RLPE         Correspond with litigation and restructuring teams to make                    11.00
                                  final edits to replies and related declarations for hearing on
                                  Committee objections (.8); review and revise witness outlines
                                  (.7); hearing and witness preparation with Matt Moran, David
                                  Meyer and Scott Pinsonnault (1.5); hearing and witness
                                  preparation with David Mirkin, Matt Pyeatt, George Howard
                                  and Lauren Kanzer (.9); conference with restructuring and
                                  litigation teams to discuss final preparations for hearing and
                                  outstanding items (.9); conference with Eli Sterbcow, Jeremy
                                  Gonzalez and Emily Rhine regarding support for hearing
                                  preparation and items for amended witness and exhibit list
                                  (.8); additional hearing preparation with litigation team, Matt
                                  Pyeatt, George Howard and Scott Pinsonnault (2.7);
                                  conference with Paul Labov and Lauren Kanzer (.4); follow-up
                                  with Lauren Kanzer and Matt Moran on issues with respect to
                                  confidential evidence and additional evidence in support of
                                  KEIP/KERP (.8); confer with Eli Sterbcow on logistics for
                                  hearing (.3); review and revise supplemental Tempke and
                                  Pinsonnault declarations in support of DIP (.8); follow-up call
                                  with Paul Labov regarding hearing (.2); update Matt Moran
                                  regarding same (.2).

      04/26/22       LRKA         Review KEIP and KERP objections (.7); review precedent                         9.50
                                  cases regarding same (.8); consider issues for hearing (.5);
                                  correspond with V&E team regarding research questions,
                                  open items regarding same (.4); review and comment on reply
                                  to objections (1.6); correspond and conferences with V&E
                                  team regarding same (.8); attend hearing preparation session
                                  with David Mirkin (.6); conference call with V&E team
                                  regarding hearing preparations, open issues (.9); attend
                                  portion of preparation session with Scott Pinsonnault (1.0);
                                  review and comment hearing talking points for opening
                                  presentation (.9); correspond with Trevor Spears regarding
                                  same (.3); correspond with V&E team regarding witness,
                                  evidentiary matters (.5); review amended witness and exhibit


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                                  list (.3); correspond with V&E team regarding same (.2).

      04/26/22       JRGO         Draft, analyze, and edit hearing outlines for various witnesses                6.80
                                  preparations (3.4); confer and correspond with V&E litigation
                                  and restructuring teams regarding preparation, strategy,
                                  logistics, and other matters regarding hearing (.5); participate
                                  in preparation of witnesses for hearing (1.3); analyze and
                                  collect documents for witness preparation (1.6).

      04/26/22       ERHI         Finish drafting Pinsonnault hearing preparation outline (1.3);                 6.50
                                  attend Pinsonnault hearing preparation (2.6); attend Meyer
                                  hearing and deposition preparation (1.1); update witness and
                                  exhibit list (.7); draft Pyeatt hearing outline (.8).

      04/26/22       MAGA         Prepare for and lead call with V&E teams regarding hearing                     4.60
                                  preparation and related strategy (.8); prepare for and
                                  participate in meeting with V&E and witness regarding hearing
                                  preparation and related strategy (1.5); conduct research and
                                  draft materials in furtherance of same (.8); review and revise
                                  response to objections to KERP and KEIP (1.1); confer with
                                  V&E team regarding same (.4).

      04/26/22       SAZO         Correspond with V&E team regarding reply to KEIP/KERP                          9.90
                                  objections (.4); revise reply based on comments received
                                  (1.8); correspond with client, advisors, and Cleary regarding
                                  same (.5); evaluate questions and comments from company
                                  and advisors regarding same (1.3); confer with V&E team
                                  regarding same (.7); correspond with company and advisors
                                  regarding same (.4); revise draft reply regarding same (1.3);
                                  draft talking points for hearing regarding KEIP and KERP
                                  (3.5).

      04/26/22       EMME         Conferences with V&E team regarding hearing prep and work                      2.10
                                  streams (1.3); coordinate with litigation team regarding
                                  witness and exhibit list (.8).

      04/26/22       ESST         Attend witness preparation meetings for witness for hearing                   10.80
                                  (4.7); organize all written materials and exhibits for contested
                                  hearing (3.4); draft witness examination outlines (2.7).

      04/26/22       TGSP         Conference calls with V&E team regarding hearing                               8.10
                                  preparation (.8); draft revisions to agenda and amended
                                  agenda (.4); correspond with V&E team regarding same (.4);
                                  draft revisions to CNO (.6); correspond with regarding same
                                  (.3); conference call with V&E Lit team regarding evidence
                                  and hearing preparation (.7); review UCC witness and exhibit
                                  list (.3); review and revise Company witness and exhibit list
                                  (.5); correspond with Emily Rhine and Eli Sterbcow regarding
                                  same (.3); review witness preparation and hearing materials
                                  (1.2); correspond with V&E litigation team regarding same
                                  (.8); draft hearing statement (1.6); correspond with V&E team
                                  regarding same (.2).



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      Re:        Restructuring Advice

      04/26/22       IDAY         Read and review Committee amended witness and exhibit list                     2.00
                                  (.4); correspond with V&E team regarding same (.3);
                                  coordinate and prepare hearing materials (1.3).

      04/27/22       MWMO         Prepare for David Meyer deposition (2.4); prepare for                          5.50
                                  contested hearing, including meeting with Scott Pinsonnault at
                                  V&E offices in preparation for same, and preparation at
                                  courthouse (3.1).

      04/27/22       RLPE         Correspond with Lauren Kanzer, Mike Garza and Sara                             4.40
                                  Zoglman regarding potential rebuttal evidence in connection
                                  with KEIP/KERP and attention to other evidentiary questions
                                  (.8); further review witness outlines and confer with Matt
                                  Moran and Jeremy Gonzalez on same (.9); call with Paul
                                  Labov regarding exhibit stipulation and update V&E team
                                  regarding same (.5); continued work on Pinsonnault
                                  preparation for hearing (.7); confer with V&E team regarding
                                  developing settlement discussions (.5); update V&E litigation
                                  team on same and make necessary evidentiary adjustments
                                  for hearing to address outstanding UST objections (.7);
                                  update Matt Moran on status of outlines and witness
                                  preparations and walk through same (.3).

      04/27/22       DSME         Prepare for deposition (2.8); prepare for hearing (2.0).                       4.80

      04/27/22       LRKA         Prepare for contested hearing (2.5); correspond and                            4.10
                                  conferences with V&E team regarding evidentiary matters,
                                  talking points, research questions (1.0); correspond and
                                  conferences with Lazard regarding KEIP, sale process, DIP
                                  (.6).

      04/27/22       JRGO         Analyze examination outline and prepare for hearing on key                     4.90
                                  employee retention plan and related objections (2.2);
                                  participate in hearing preparation with Lewis Gillies (.3); draft,
                                  analyze, and edit objections and responses to Steel Reef
                                  requests for production of documents (2.4).

      04/27/22       ERHI         Final hearing preparation with Scott Pinsonnault.                              2.30

      04/27/22       MAGA         Prepare materials in preparation of contested matters (1.5);                   2.00
                                  confer with V&E team regarding same (.5).

      04/27/22       SAZO         Draft hearing outline for KERP/KEIP motions (.1); evaluate                     3.60
                                  and analyze same (.4); correspond with V&E team regarding
                                  same (.5); revise hearing outline (1.4); perform research
                                  regarding same (.3); review KEIP in preparation for hearing
                                  (.2); confer with V&E team regarding same (.2); confer with
                                  V&E team regarding workstreams related to settlement with
                                  UCC (.5).

      04/27/22       TGSP         Draft revisions to talking points (1.2); draft revisions to agenda             4.90
                                  (.4); correspond with V&E team regarding same (.3);
                                  correspond with Lazard team regarding same (.2); confer and


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      Re:        Restructuring Advice

                                  correspond with V&E team regarding hearing preparation and
                                  materials (.9); review and revise settlement agreement (1.5);
                                  correspond with V&E team regarding same (.4).

      04/27/22       GRHO         Plan/prepare for final DIP hearing.                                            5.00

      04/28/22       MWMO         Participate in team call regarding Steel Reef discovery and                    1.10
                                  sale process.

      04/28/22       RLPE         Correspond with Eli Sterbcow regarding Steel Reef discovery                    1.70
                                  and motion to reconsider bidding procedures (.3); confer with
                                  Trevor Spears on Debtors and Committee professionals call
                                  and related updates (.3); telephone conference with V&E
                                  team regarding Steel Reef and Krewe indemnity claim, and
                                  analyze same (1.1).

      04/28/22       LRKA         Conference call with V&E team regarding Steel Reef                             1.20
                                  discovery strategy (1.1); consider issues regarding same (.1).

      04/28/22       MJPY         Evaluate comments to term sheet received from lenders and                      2.20
                                  Committee (1.2); correspond with V&E team regarding same
                                  (.4); work on response from Archrock counsel (.4); correspond
                                  with V&E team regarding Krewe issues (.2).

      04/28/22       ESST         Revise, draft, and organize answers to Steel Reef discovery                    3.50
                                  requests (2.4); V&E team phone call on Steel Reef contract
                                  issues and strategy (1.1).

      04/28/22       TGSP         Correspond with V&E team regarding Global Settlement (.2);                     2.10
                                  review Krewe objection (.3); correspond with V&E team
                                  regarding same (.1); review proposed orders from contested
                                  hearing and prepare for filing (.8); correspond with V&E team
                                  regarding same (.7).

      04/29/22       RLPE         Correspond with Lauren Kanzer and Mike Garza concerning                        1.10
                                  conflicts counsel issues (.2); confer with Sara Zoglman and
                                  litigation team to facilitate court reporter and related logistics
                                  for auction and various e-mail correspondence regarding
                                  same (.4); review draft outline relating to Steel Reef issues
                                  and confer with George Howard on Steel Reef discovery
                                  matters (.5).

      04/29/22       MJPY         Finalize term sheet for filing (.2); finalize notice for filing (.2);          0.90
                                  work on filing mechanics for notice of settlement term sheet
                                  (.3); correspond with Committee counsel and lender counsel
                                  regarding same (.2).

      04/29/22       ERHI         Call with Eli Sterbcow to discuss status of Steel Reef                         0.60
                                  discovery objections (.4); correspond with V&E team
                                  regarding witness & exhibit list for 5/3 hearing (.2).

      04/29/22       ESST         Read materials related to claims under contribution                            2.80
                                  agreement (1.4); conference call with V&E team regarding


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      Re:        Restructuring Advice

                                  updates on discovery requests (.5); revise responses to
                                  requests for production (.9).

      04/30/22       MWMO         Review analysis of options to address Steel Reef issues (.2);                  0.30
                                  review summary of bids (.1).

      04/30/22       RLPE         Correspond with Matt Pyeatt, Lauren Kanzer and Trevor                          0.50
                                  Spears regarding update on sales process and litigation
                                  assistance for Tuesday's hearing (.3); follow-up with Trevor
                                  Spears and Emily Rhine regarding witness and exhibit list for
                                  same (.2).

      04/30/22       ERHI         Draft witness and exhibit list for 5/2 hearing (1.3); compile                  2.40
                                  exhibits for same (.7); revise and circulate witness and exhibit
                                  list (.4).




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      Re:        Restructuring Advice

             Summary of services - Litigation (Contested Matters and Adversary Proceedings)
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                      14.50       540.00             7,830.00
                     MAGA         Michael A. Garza                                                33.30       860.00            28,638.00
                     JRGO         Jeremy R. Gonzalez                                              52.00       705.00            36,660.00
                     GGRI         Guy Gribov                                                       1.50      1095.00             1,642.50
                     GRHO         George R. Howard                                                 6.90      1285.00             8,866.50
                     LRKA         Lauren R. Kanzer                                                62.30       975.00            60,742.50
                     CELE         Cesar Leyva                                                      0.30       860.00               258.00
                     RLPE         Rebecca L. Matthews                                            130.00      1155.00           150,150.00
                     EMME         Elias M. Medina                                                 42.00       590.00            24,780.00
                     DSME         David S. Meyer                                                  21.20      1325.00            28,090.00
                     MWMO         Matthew W. Moran                                                62.70      1285.00            80,569.50
                     MJPY         Matthew J. Pyeatt                                               32.10       910.00            29,211.00
                     ERHI         Emily Rhine                                                    106.40       590.00            62,776.00
                     TGSP         Trevor G. Spears                                                36.80       790.00            29,072.00
                     ESST         Eli S. Sterbcow                                                106.30       590.00            62,717.00
                     KIVA         Kiran Vakamudi                                                   2.20       790.00             1,738.00
                     SAZO         Sara Zoglman                                                    63.70       590.00            37,583.00

             Total                                                                               774.20                        651,324.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Meetings and Communications with Creditors
      Date           Initials     Description                                                                   Hours

      04/04/22       RLPE         Telephone conference with Committee to discuss DIP,                            0.50
                                  settlement negotiations and other issues.

      04/04/22       DSME         Telephone conference with Palchulski team regarding                            0.50
                                  committee proposal.

      04/04/22       MJPY         Prepare for and lead call with Committee counsel regarding                     1.00
                                  settlement (.6); correspond with lender counsel regarding DIP
                                  milestones (.1); correspond with lender counsel regarding DIP
                                  order revisions (.2); correspond with taxing authority counsel
                                  regarding same (.1).

      04/04/22       MAGA         Participate on inbound calls with creditors regarding                          0.90
                                  bankruptcy case and related issues.

      04/05/22       MAGA         Participate on calls from creditors.                                           0.40

      04/05/22       SAZO         Correspond with lenders' counsel regarding KEIP and KERP                       0.30
                                  matters.


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      Re:        Restructuring Advice

      04/06/22       DSME         Correspond with Pachulski team regarding discovery status                      0.80
                                  (.6); correspond with Pachulski team regarding objection
                                  deadlines (.2).

      04/06/22       MJPY         Call with Committee counsel regarding collateral review and                    3.20
                                  lien documentation (.6); prepare for call (.3); draft Committee
                                  diligence responses and compiling collateral and credit
                                  documentation (1.1); correspond with V&E team throughout
                                  day regarding same (.6); correspond with lender counsel
                                  regarding additional diligence requests following call with
                                  Committee counsel (.2); evaluate credit documentation to
                                  support same (.2); correspond with Committee counsel
                                  regarding same (.2).

      04/06/22       MAGA         Prepare for and participate on call with V&E and Cleary teams                  0.50
                                  regarding matter updates, strategy, and next steps regarding
                                  settlement.

      04/07/22       DSME         Correspond with Pachulski regarding UCC counter-proposal.                      0.30

      04/08/22       DSME         Correspond with Pachulski team regarding                                       0.80
                                  objections/settlement issues (.2); telephone conference with
                                  Pachulski and Riveron team regarding collateral review (.6).

      04/08/22       MJPY         Conference call with Committee counsel regarding collateral                    0.50
                                  review.

      04/08/22       TGSP         Call with Evangeline Parish District Attorney regarding notice.                0.20

      04/09/22       DSME         Telephone conference with Pachulski regarding deal.                            0.70

      04/09/22       LRKA         Conference call with Pachulski regarding committee                             1.10
                                  counterproposal (.7); conference call with Cleary regarding
                                  committee counterproposal (.4).

      04/10/22       DSME         Telephone conference with Pachulski regarding settlement                       0.30
                                  terms.

      04/10/22       LRKA         Correspond with creditors regarding recorded mortgages,                        0.30
                                  North Dakota.

      04/10/22       MAGA         Review and revise management presentation to creditors                         0.50
                                  committee (.4); draft email regarding same (.1).

      04/11/22       LRKA         Prepare for and attend management presentation to                              1.60
                                  Committee (1.4); follow-up correspondence with Committee
                                  and other parties regarding same (.2).

      04/11/22       MJPY         Attend management presentation to Committee.                                   1.00

      04/11/22       MAGA         Prepare for and participate on management presentation with                    1.50
                                  Debtors' management and professionals and Committee


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      Re:        Restructuring Advice

                                  members and professionals.

      04/12/22       RLPE         Attend telephone conference with Debtors and Committee                         1.40
                                  professionals.

      04/12/22       DSME         Conduct telephone conference with S. O'Neal and V&E team                       1.60
                                  (1.0); participate in portion of creditor committee call regarding
                                  status of diligence and related issues (.6).

      04/12/22       LRKA         Participate in conference with Mike Warner regarding                           0.20
                                  objection deadlines and potential adjournment of upcoming
                                  hearing.

      04/12/22       MJPY         Attend call with Committee counsel regarding settlement                        1.20
                                  issues and Committee diligence responses (.8); assess
                                  follow-up issues regarding same (.4).

      04/12/22       JRGO         Confer with V&E teams and Committee professionals                              1.00
                                  regarding case developments and next steps.

      04/12/22       ERHI         Attend call with V&E team, debtors and committee                               1.20
                                  professionals regarding diligence and related matters.

      04/12/22       MAGA         Prepare for and participate on call with Debtors' professionals                1.20
                                  and committee's professionals regarding case issues.

      04/13/22       RLPE         Confer with Committee regarding discovery requests.                            0.80

      04/13/22       DSME         Participate in telephone conference with Pachulski regarding                   0.50
                                  settlement terms and production matters.

      04/13/22       LRKA         Participate in conference call with Sean O'Neal regarding                      1.60
                                  open issues (.3); participate in conference call with Pachulski
                                  and V&E team regarding same (.3); participate in conference
                                  call with Pachulski, V&E team regarding document production
                                  (1.0).

      04/13/22       MJPY         Participate on call with Committee counsel regarding                           1.10
                                  mortgage issues.

      04/13/22       ERHI         Attend meet and confer call with UCC.                                          1.00

      04/13/22       MAGA         Prepare for and participate on call with V&E and Pachulski                     1.00
                                  team regarding discovery and diligence requests.

      04/14/22       RLPE         Participate on telephone conference with Committee and                         0.40
                                  Company to discuss questions concerning Krewe claim.

      04/14/22       LRKA         Correspond with Cleary and V&E teams regarding Committee                       1.90
                                  requests and mortgage issues (1.1); participate on conference
                                  call with same regarding same (.8).

      04/14/22       MJPY         Participate on call with Cleary and V&E team regarding                         0.80


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      Re:        Restructuring Advice

                                  Committee diligence and mortgage coverage issues.

      04/14/22       MAGA         Prepare for and participate on portion of call with V&E and                    0.50
                                  Pachulski teams regarding discovery and diligence requests.

      04/15/22       DSME         Participate on telephone conference with Pachulski and                         1.00
                                  Riveron team regarding mortgage matters.

      04/15/22       MJPY         Correspond with Shell counsel regarding Committee diligence                    1.40
                                  requests (.2); correspond with V&E team regarding same (.2);
                                  participate on call with Committee counsel regarding sale
                                  update (1.0).

      04/15/22       CELE         Prepare for and attend call with UCC professionals regarding                   1.00
                                  sale process update.

      04/15/22       MAGA         Prepare for and participate on call with Debtor and Committee                  1.00
                                  professionals regarding sales process and related issues.

      04/16/22       LRKA         Participate in conference call with Pachulski regarding                        1.00
                                  suspense fund matters (.5); correspond with Cleary regarding
                                  MS lawsuit (.2); correspond with Cleary regarding UCC (.3).

      04/16/22       MAGA         Participate on call with Pachulski and V&E team regarding                      0.50
                                  suspense obligations.

      04/16/22       EMME         Conference with Pachulski regarding suspense.                                  0.50

      04/18/22       RLPE         Correspond with Shell counsel on protective order revisions                    1.10
                                  (.2); correspond with UCC regarding updates to responses to
                                  informal document requests and continued work on same (.4);
                                  correspond with V&E, UCC, and Cleary teams regarding
                                  suspense obligations analysis, including follow-up on
                                  mortgage analysis issues (.5).

      04/18/22       LRKA         Correspond with Pachulski regarding suspense matters (.3);                     0.80
                                  correspond with Committee regarding North Dakota mortgage
                                  analysis (.3); correspond with Cleary regarding same (.2).

      04/19/22       MAGA         Prepare for and participate on call with lease counter parties                 2.70
                                  regarding case updates and related issues (.8); prepare for
                                  and participate on call with Debtors and committee's
                                  professionals regarding case updates and related issues (.8);
                                  prepare for and participate on call with Debtor and
                                  Committee's counsel regarding settlement proposal (.6);
                                  prepare for and participate on call with V&E, Ankura, and
                                  management teams regarding 341 meeting preparation (.5).

      04/19/22       SAZO         Correspond with Committee counsel regarding motion to                          0.10
                                  reconsider bidding procedures order.

      04/19/22       EMME         Conference with V&E, Committee, and company advisors                           0.80
                                  regarding case updates and committee issues.


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      Re:        Restructuring Advice

      04/19/22       TGSP         Draft revisions to 341 memo (.9); correspond with V&E team                     2.70
                                  regarding same (.2); conference with V&E team, Ankura, and
                                  Company regarding 341 preparations (.5); correspond with
                                  V&E team regarding trustee diligence request (.2); attend
                                  portion of conference with Company advisors and UCC
                                  advisors regarding sales process (.3); conference with
                                  Pachulski regarding settlement offer (.6).

      04/20/22       DSME         Correspond with Pachulski regarding retention application and                  0.60
                                  contested matters.

      04/20/22       SAZO         Correspond with Committee counsel regarding motion to                          1.10
                                  reconsider bidding procedures (.1); gather and prepare KEIP
                                  and KERP documents for UST diligence (.8); correspond with
                                  V&E team regarding same (.2).

      04/20/22       TGSP         Correspond with Ankura and V&E teams regarding materials                       1.40
                                  requested by UST for 341 meeting (.6); review materials (.8).

      04/21/22       MWMO         Review correspondence regarding 341 meeting and confer                         0.20
                                  with Becky Matthews regarding same.

      04/21/22       TGSP         Correspond with V&E team and Ankura team regarding                             0.60
                                  materials requested by UST for 341 meeting (.4); correspond
                                  with V&E team regarding 341 meeting (.2).

      04/22/22       MWMO         Confer with V&E team regarding 341 meeting.                                    0.10

      04/22/22       LRKA         Conference with Becky Matthews, Dave Mirkin regarding 341                      1.50
                                  meeting (.4); prepare for and attend 341 meeting (1.1).

      04/22/22       MAGA         Prepare for section 341 meeting of creditors (.5); attend same                 2.30
                                  (.5); confer with V&E and Ankura teams regarding follow-up
                                  issues regarding same (.5); confer with V&E team regarding
                                  same (.5); participate on inbound call from creditor regarding
                                  case status (.3).

      04/22/22       EMME         Conference with Debtors' professionals and Committee's                         0.40
                                  professionals regarding sales process and related issues.

      04/22/22       TGSP         Attend section 341 meeting (.5); correspond with V&E team                      0.90
                                  regarding UST request regarding equipment (.4).

      04/25/22       LRKA         Correspond and conference with Paul Labov regarding KEIP                       0.40
                                  and KERP.

      04/25/22       MJPY         Conference with Committee counsel regarding meet and                           0.70
                                  confer for 4/27 hearing.

      04/28/22       MJPY         Call with Committee counsel regarding same.                                    0.50

      04/28/22       TGSP         Conference call with UCC professionals and Company                             0.70


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      Re:        Restructuring Advice

                                  professionals regarding sales process update (.5); correspond
                                  with same regarding same (.2).

      04/29/22       MJPY         Call with Committee counsel and lender counsel regarding                       0.70
                                  settlement term sheet.




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Meetings and Communications with Creditors
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                 13.00      860.00            11,180.00
                     JRGO         Jeremy R. Gonzalez                                                1.00      705.00               705.00
                     LRKA         Lauren R. Kanzer                                                 10.40      975.00            10,140.00
                     CELE         Cesar Leyva                                                       1.00      860.00               860.00
                     RLPE         Rebecca L. Matthews                                               4.20     1155.00             4,851.00
                     EMME         Elias M. Medina                                                   1.70      590.00             1,003.00
                     DSME         David S. Meyer                                                    7.10     1325.00             9,407.50
                     MWMO         Matthew W. Moran                                                  0.30     1285.00               385.50
                     MJPY         Matthew J. Pyeatt                                                12.10      910.00            11,011.00
                     ERHI         Emily Rhine                                                       2.20      590.00             1,298.00
                     TGSP         Trevor G. Spears                                                  6.50      790.00             5,135.00
                     SAZO         Sara Zoglman                                                      1.50      590.00               885.00

             Total                                                                                 61.00                        56,861.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Non-Working Travel
      Date           Initials     Description                                                                   Hours

      04/25/22       DSME         Travel to Dallas.                                                              1.30




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      Re:        Restructuring Advice

             Summary of services - Non-Working Travel
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     DSME         David S. Meyer                                                    1.30     1325.00             1,722.50

             Total                                                                                  1.30                         1,722.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Plan, Disclosure Statement, and Confirmation
      Date           Initials     Description                                                                   Hours

      04/04/22       DSME         Telephone conference with Scott Pinsonnault regarding plan                     0.50
                                  (.3); correspond with Lauren Kanzer regarding same (.2).

      04/04/22       MAGA         Review and analyze committee settlement proposal (.6);                         1.00
                                  confer with V&E team regarding same (.4).

      04/06/22       MAGA         Review, analyze, and revise settlement term sheet (.9); confer                 1.50
                                  with V&E team regarding same (.6).

      04/07/22       DSME         Participate in telephone conference with Cleary regarding                      1.60
                                  settlement proposal (.8); review and revise Goldman UCC
                                  counter-proposal (.5); review response to UCC settlement
                                  proposal (.3).

      04/07/22       MAGA         Review and revise committee settlement proposal (.3); review                   1.60
                                  and revise lenders' markup of same (.6); confer with V&E
                                  team regarding same (.7).

      04/09/22       DSME         Correspond with Lauren Kanzer regarding follow-up.                             1.10

      04/10/22       DSME         Correspond with Lauren Kanzer regarding confirmation plan                      0.80
                                  strategy (.6); follow-up regarding next steps (.2).

      04/14/22       TGSP         Correspond with V&E team regarding confirmation order (.3);                    3.20
                                  research regarding same (1.2); draft outline/shell of same
                                  (1.7).

      04/18/22       LRKA         Correspond with V&E team regarding substantive                                 0.80
                                  consolidation research (.2); conference call with Lazard, V&E
                                  team, and management regarding Rockall Midstream (.6).

      04/18/22       TGSP         Correspond with V&E team regarding substantive                                 1.70
                                  consolidation issue (.1); research regarding same (1.6).

      04/19/22       DSME         Correspond with Lauren Kanzer regarding plan/deal                              1.30


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      Re:        Restructuring Advice

                                  negotiations (.6); follow-up with V&E team regarding
                                  Committee call (.4); follow-ups with Cleary regarding same
                                  (.3).

      04/19/22       MAGA         Review and analyze settlement proposal.                                        0.50

      04/19/22       TGSP         Draft summary of research regarding substantive                                0.80
                                  consolidation (.7); correspond with V&E team regarding same
                                  (.1).

      04/20/22       DSME         Correspond with Pachulski regarding settlement status (.4);                    1.40
                                  evaluate next steps (.2); review Goldman settlement proposal
                                  (.2); correspond with Cleary regarding questions/issues
                                  related to same (.2); address next steps (.2); conference with
                                  Lauren Kanzer regarding same (.2).

      04/20/22       LRKA         Review settlement counterproposal from Committee (.4);                         2.80
                                  correspond and conferences with V&E team regarding same
                                  (1.0); correspond and conferences with Cleary regarding
                                  lender counterproposal (.8); correspond with client, V&E team
                                  regarding same (.6).

      04/20/22       MAGA         Review and analyze research regarding confirmation issues.                     1.50

      04/21/22       DSME         Correspond with V&E team regarding deal and committee                          0.50
                                  objections (.3); correspond with Sean O'Neal regarding same
                                  (.2).

      04/21/22       IDAY         Correspond with Kiran Vakamudi regarding confirmation brief.                   0.30

      04/23/22       DSME         Correspond with Lauren Kanzer regarding Committee                              1.90
                                  proposal (1.0); conferences with V&E team regarding same
                                  (.5); correspond with V&E team regarding same (.4).

      04/24/22       LRKA         Conference with management, advisors regarding open                            2.20
                                  issues and strategy (1.3); conference with Sean O’Neal
                                  regarding same (.2); conferences with V&E team regarding
                                  same (.7).

      04/25/22       DSME         Conference with Sean O'Neal regarding settlement terms and                     3.80
                                  proposals (1.0); conferences with V&E, Committee, and
                                  Cleary teams regarding same (2.0); correspond with same
                                  regarding plan issues (.4); correspond with V&E team
                                  regarding same (.4).

      04/25/22       IDAY         Review NDTX local rules (1.6); correspond with courtroom                       2.60
                                  deputy (.6); correspond with V&E team regarding witness
                                  meetings (.1); conference with V&E team regarding same (.3).

      04/26/22       DSME         Conference calls with Cleary and Pachulski regarding                           4.50
                                  settlement terms and proposals (2.8); meetings with V&E
                                  team and Company regarding same (1.7).



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      Re:        Restructuring Advice

      04/27/22       LRKA         Review and comment on settlement term sheet (1.3);                             3.10
                                  correspond with V&E team regarding same (.5); conferences
                                  with V&E team, client regarding same (.6); conference with
                                  George Howard regarding solicitation matters (.4); correspond
                                  with V&E team regarding same (.3).

      04/27/22       MAGA         Confer with V&E team regarding global settlement and related                   2.10
                                  issues and strategy (.7); confer with lenders' and committee's
                                  advisors regarding same (.5); review and revise same (.9).

      04/27/22       TGSP         Research regarding confirmation order.                                         0.70

      04/28/22       LRKA         Review settlement term sheet and comments on same (.7);                        2.00
                                  correspond with V&E team regarding same (.2); correspond
                                  with Cleary, Pachulski regarding same (.2); conference with
                                  Mike Garza regarding plan supplement, disclosure statement
                                  supplement, revised plan (.6); review materials regarding
                                  same (.3).

      04/28/22       MAGA         Participate on calls with V&E team regarding global                            1.50
                                  settlement and related issues, strategy, and work streams.

      04/28/22       SAZO         Review precedent supplemental disclosure statements (.4);                      1.60
                                  draft same (1.2).

      04/28/22       EMME         Correspond and conference with V&E team regarding work                         4.90
                                  streams from global settlement (1.5); conference with S.
                                  Zoglman regarding disclosure statement supplement (.4);
                                  review precedent disclosure statement supplements (1.2);
                                  draft same (1.8).

      04/28/22       TGSP         Draft confirmation order (1.4); calls with Lauren Kanzer                       4.90
                                  regarding Plan Supplement and Plan (.7); draft retained
                                  causes of action list (1.8); draft notice of plan supplement
                                  (1.0).

      04/29/22       DSME         Correspond with V&E team regarding disclosure statement                        0.50
                                  supplement (.2); review same (.3).

      04/29/22       LRKA         Review and comment on plan supplement (.8); correspond                         5.60
                                  with V&E team regarding same (.4); correspond with Cleary,
                                  Pachulski regarding same (.2); review and comment on
                                  revised plan (1.6); conferences and correspond with V&E
                                  team regarding same (.7); review and comment on disclosure
                                  statement supplement (1.4); correspond and conferences with
                                  V&E team regarding same (.5).

      04/29/22       MAGA         Review and revise plan supplement (.6); review and revise                      4.10
                                  chapter 11 plan (1.5); review and revise supplement to
                                  disclosure statement (1.5); confer with V&E team regarding
                                  plan and disclosure statement and related strategy (.5).

      04/29/22       SAZO         Correspond with V&E team regarding supplement to                               6.00


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      Re:        Restructuring Advice

                                  disclosure statement (.4); draft supplement to disclosure
                                  statement (5.2); confer with V&E team regarding same (.2);
                                  correspond with Ankura team regarding recoveries for
                                  supplemental disclosure statement (.2).

      04/29/22       EMME         Conference with V&E team regarding disclosure statement                        9.30
                                  supplement motion (.8); draft disclosure statement
                                  supplement (7.4); correspond with V&E team regarding same
                                  (.8); review and revise committee letter (.3).

      04/29/22       TGSP         Correspond with V&E team regarding plan supplement (.7);                      11.10
                                  draft revisions to same (.9); calls with Sara Zoglman regarding
                                  plan supplement (.7); review and revise same (3.2); call with
                                  Lauren Kanzer regarding same (.3); correspond with same
                                  regarding same (.3); review and draft revisions to plan
                                  regarding global settlement (3.2); calls with Lauren Kanzer
                                  regarding same (.4); correspond with V&E team regarding
                                  same (.7); call with Eli Medina regarding disclosure statement
                                  motion (.3); review and revise committee letter in support of
                                  plan (.2); correspond with Eli Medina regarding same (.2).

      04/29/22       IDAY         Draft notices and agenda for hearing on disclosure statement                   2.60
                                  supplement.

      04/30/22       LRKA         Revise disclosure statement supplement (.7); correspond with                   3.90
                                  V&E team regarding same, amended plan (.5); review and
                                  comment on motion for conditional approval of disclosure
                                  statement (1.1); correspond with V&E team regarding same
                                  (.3); correspond with V&E team regarding amended plan (.3);
                                  review and comment on further revised motion (.8);
                                  correspond with V&E team regarding same (.2).

      04/30/22       MAGA         Review and revise motion to approve solicitation procedures                    3.00
                                  and disclosure statement (2.2); review and revise chapter 11
                                  plan (.5); review and revise disclosure statement supplement
                                  (.3).

      04/30/22       SAZO         Review email correspondence regarding supplement to                            1.30
                                  disclosure statement (.2); review and revise supplemental
                                  disclosure statement (.9); correspond with V&E team
                                  regarding same (.2).

      04/30/22       EMME         Review and revise disclosure statement supplement motion                       5.40
                                  (3.1); correspond with V&E team regarding same (.7); draft
                                  revisions to same related to V&E team comments (1.6).

      04/30/22       TGSP         Review revised disclosure statement supplement (.3);                           6.80
                                  correspond with V&E team regarding same (.4); calls with
                                  Sara Zoglman regarding same (.2); correspond with lenders
                                  and Committee regarding same and Plan (.1); correspond
                                  with Company and advisors regarding same (.1); correspond
                                  with Ida Ayalew regarding confirmation brief (.2); draft
                                  analysis regarding Plan and avoidance actions issues (.4);


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      Re:        Restructuring Advice

                                  correspond with V&E team regarding same (.5); review and
                                  revise notice of hearing on disclosure statement supplement
                                  (.6); correspond with Ida Ayalew regarding same (.1);
                                  correspond with V&E team regarding witness and exhibit list
                                  regarding hearing on same (.3); draft further revisions to plan
                                  (.6); correspond with V&E team regarding same (.3); review
                                  and further revise disclosure statement supplement based on
                                  disclosure statement supplement motion (1.1); review and
                                  revise witness and exhibit list for hearing on same (.3); draft
                                  confirmation order (1.3).

      04/30/22       IDAY         Draft confirmation brief (2.5); draft notice of hearing on                     3.90
                                  disclosure supplement (1.4).




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      Re:        Restructuring Advice

             Summary of services - Plan, Disclosure Statement, and Confirmation
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                        9.40      540.00             5,076.00
                     MAGA         Michael A. Garza                                                 16.80      860.00            14,448.00
                     LRKA         Lauren R. Kanzer                                                 20.40      975.00            19,890.00
                     EMME         Elias M. Medina                                                  19.60      590.00            11,564.00
                     DSME         David S. Meyer                                                   17.90     1325.00            23,717.50
                     TGSP         Trevor G. Spears                                                 29.20      790.00            23,068.00
                     SAZO         Sara Zoglman                                                      8.90      590.00             5,251.00

             Total                                                                               122.20                        103,014.50



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Relief from Stay and Adequate Protection
      Date           Initials     Description                                                                   Hours

      04/01/22       RLPE         Revise requests to lift stay in pending litigation matters,                    0.50
                                  including Sligar proposed order, and analyze same.

      04/03/22       RLPE         Follow-up with Mike Garza on pending litigation matters,                       0.20
                                  including Sligar and other possibly contested request to lift
                                  stay.

      04/05/22       TGSP         Correspond with V&E team and Sligar counsel regarding lift                     0.10
                                  stay order and hearing.

      04/06/22       JRGO         Analyze agreed order to lift stay (.2); update local counsel                   0.30
                                  regarding same (.1).

      04/06/22       TGSP         Correspond with V&E team and Company regarding Baucum                          0.40
                                  automatic stay issues.

      04/07/22       TGSP         Correspond with V&E team regarding Baucum.                                     0.20

      04/08/22       TGSP         Conference call with Baucum plaintiff's counsel regarding lift                 0.70
                                  stay (.6); correspond with V&E team and Company regarding
                                  same (.1).

      04/09/22       TGSP         Correspond with V&E team regarding Baucum litigation.                          0.20

      04/11/22       LRKA         Correspond with V&E team regarding motion to lift stay and                     2.40
                                  insurance (.7); conference with client regarding same (.3);
                                  review complaint related to same (.2); participate in
                                  conference call with V&E team regarding insurance and lift
                                  stay motion (.7); correspond with same regarding same (.5).


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      Re:        Restructuring Advice

      04/12/22       TGSP         Conduct research regarding automatic stay issues (1.1);                        1.60
                                  correspond with V&E team regarding same (.5).

      04/15/22       LRKA         Prepare for and attend conference call with plaintiffs' counsel                1.90
                                  regarding lift stay relief (1.3); conduct follow-up
                                  correspondence and conferences with V&E team regarding
                                  same (.6).

      04/15/22       TGSP         Correspond and confer with V&E team regarding Baucum                           1.70
                                  lawsuit (1.1); attend conference call with V&E team and
                                  counsel to Baucum regarding lift stay (.6).

      04/18/22       LRKA         Participate on conference call with Cleary and V&E team                        1.40
                                  regarding Baucum litigation (.5); prepare for same (.3);
                                  conduct follow-up correspondence and conferences with V&E
                                  team and local counsel regarding same (.4); correspond with
                                  Cleary regarding same (.2).

      04/18/22       TGSP         Correspond with V&E team and Cleary regarding Baucum                           0.90
                                  issues (.2); conference call with same regarding same (.3);
                                  call with Lauren Kanzer regarding same (.3); correspond with
                                  Baucum counsel regarding update (.1).

      04/20/22       TGSP         Correspond with V&E team regarding Baucum issues (.4);                         0.60
                                  correspond with Baucum counsel regarding same (.2).

      04/22/22       TGSP         Correspond with V&E team and Baucum counsel regarding lift                     1.00
                                  stay (.7); conference with V&E team regarding same (.3).

      04/24/22       TGSP         Correspond with V&E team regarding Baucum lift stay (.4);                      0.60
                                  correspond with Baucum counsel regarding same (.2).

      04/25/22       TGSP         Correspond with V&E team and Baucum counsel regarding lift                     0.20
                                  stay.

      04/27/22       TGSP         Correspond with V&E team regarding Bacum lift stay.                            0.10

      04/28/22       RLPE         Correspond with V&E team and opposing counsel regarding                        0.30
                                  Baucum matter.

      04/28/22       TGSP         Correspond with V&E team regarding Baucum lift stay (.2);                      0.60
                                  call with Lauren Kanzer regarding same (.3); correspond with
                                  Baucum counsel regarding same (.1).




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                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Relief from Stay and Adequate Protection
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     JRGO         Jeremy R. Gonzalez                                                0.30      705.00               211.50
                     LRKA         Lauren R. Kanzer                                                  5.70      975.00             5,557.50
                     RLPE         Rebecca L. Matthews                                               1.00     1155.00             1,155.00
                     TGSP         Trevor G. Spears                                                  8.90      790.00             7,031.00

             Total                                                                                 15.90                        13,955.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Reporting
      Date           Initials     Description                                                                   Hours

      04/01/22       MJPY         Evaluate fee reporting issues under DIP order (.4);                            0.80
                                  correspond with V&E team regarding same (.4).

      04/01/22       MAGA         Review and revise SOFAs and SOALs and global notes (3.1);                      8.00
                                  discuss analysis with Trevor Spears (1.1); incorporate
                                  comments to be revised (2.3); correspond with Lauren Kanzer
                                  regarding same (.6); confer with V&E team regarding same
                                  (.3); correspond with V&E and Stretto team regarding
                                  publication notice (.2); review and revise same (.4).

      04/01/22       SAZO         Review precedent schedules and sofas global notes (3.2);                       3.50
                                  correspond with V&E team regarding same (.3).

      04/01/22       TGSP         Continue review of SOFAs and SOALs (2.3); conduct                              6.20
                                  research regarding same (2.9); correspond with V&E team
                                  regarding same (1.0).

      04/02/22       MAGA         Review and revise SOFAs and SOALs and global notes (2.9);                      4.80
                                  confer with V&E team regarding same (1.1); confer with V&E
                                  and Ankura team regarding same (.8).

      04/02/22       TGSP         Review comments to SOFAs and SOALs (1.1); research                             6.10
                                  regarding same (1.7); correspond with V&E team and Ankura
                                  regarding same (.4); draft revisions to global notes regarding
                                  same (2.9).

      04/03/22       MAGA         Confer with V&E team SOFAs and SOALs and global notes.                         0.30

      04/03/22       TGSP         Review and revise global notes regarding SOFAs and SOALs                       3.20
                                  (.6); correspond with V&E team and Ankura regarding same
                                  (.7); review updated SOFAs and SOALs (1.9).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      04/04/22       LRKA         Review SOFA/SOAL and global notes.                                             1.10

      04/04/22       MJPY         Evaluate bi-weekly reporting issues under DIP order.                           0.30

      04/04/22       SAZO         Correspond with V&E team regarding global notes for                            0.30
                                  schedules and sofas.

      04/04/22       TGSP         Review SOFAs and SOALs (2.1); correspond with V&E team                         3.50
                                  and Ankura team regarding same (.4); conference with Mike
                                  Garza regarding same (.3); draft notice of filing master service
                                  list (.3); correspond with V&E team and Stretto regarding
                                  same (.2); coordinate filing of same (.2).

      04/05/22       LRKA         Review and comment on SOFA/SOAL (3.2); correspond with                         5.30
                                  V&E team regarding same (.7); review and comment on
                                  global notes (.8); conference with Trevor Spears regarding
                                  same (.6).

      04/05/22       MJPY         Prepare bi-weekly reporting under interim DIP order (.8);                      1.50
                                  correspond with V&E team regarding same (.3); conference
                                  call with Ankura regarding same (.2); correspond with lender
                                  counsel regarding same (.2).

      04/05/22       MAGA         Review and revise SOALs and SOFAs (2.3); correspond with                       2.50
                                  Trevor Spears regarding same (.2).

      04/05/22       TGSP         Correspond with V&E team and Ankura team regarding                             2.10
                                  SOFAs and SOALs throughout the day (1.3); correspond with
                                  V&E team regarding global notes to same (.2); draft revisions
                                  to same related to comments from V&E team (.6).

      04/06/22       DSME         Review schedules/statements (1.1); conference with Lauren                      1.80
                                  Kanzer regarding same (.7).

      04/06/22       LRKA         Conferences with Trevor Spears regarding SOFAs and                             4.90
                                  schedules throughout the day (.6); review same (1.5); review
                                  and comment on global notes (1.1); correspond with V&E
                                  team re SOFAs and schedules (.9); coordinate filing (.8).

      04/06/22       MAGA         Review and revise SOALs and SOFAs (2.1); confer with V&E                       3.00
                                  team regarding same (.9).

      04/06/22       TGSP         Review drafts of schedules and statements (1.2); draft                         4.70
                                  revisions to global notes (1.1); correspond with V&E team
                                  regarding same (.3); prepare and finalize global notes,
                                  schedules and statements for filing (2.1).

      04/07/22       MAGA         Confer with V&E team regarding SOFAs and SOALs notice                          0.50
                                  issues.

      04/07/22       BEZE         Continue working on disclosure schedules (.9); correspond                      1.00
                                  with V&E restructuring team regarding same (.1).



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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      04/11/22       TGSP         Correspond with V&E team regarding monthly reporting                           0.50
                                  obligations of prepetition payments (.2); review report
                                  regarding same (.2); correspond with US Trustee regarding
                                  same (.1).

      04/15/22       TGSP         Correspond with V&E team regarding 341 meeting and                             0.50
                                  materials.

      04/19/22       LRKA         Correspond with V&E team, Ankura regarding UST questions,                      0.50
                                  monthly operating report.

      04/19/22       SAZO         Prepare summary of SOAL (1.3); correspond with Ankura                          1.50
                                  team regarding same (.2).

      04/19/22       EMME         Correspond with Stretto regarding revised MSL (.1); draft                      0.40
                                  revised notice of MSL (.2); correspond with V&E team
                                  regarding same (.1).

      04/23/22       TGSP         Review SOALs regarding UST request from 341 (2.2);                             3.60
                                  research regarding same (1.1); correspond with V&E team
                                  regarding same (.3).

      04/24/22       MAGA         Confer with V&E and Ankura teams regarding supplement to                       0.50
                                  disclosures.

      04/24/22       TGSP         Review SOFAs and SOALs regarding question from 341                             2.60
                                  meeting (.9); correspond with V&E team regarding same (.4);
                                  research regarding same (1.3).

      04/25/22       TGSP         Research related to SOALs (.8); draft summary of same (.9);                    2.70
                                  conferences with Ankura regarding same (.4); correspond
                                  with V&E team regarding same (.6).

      04/26/22       MAGA         Prepare for and participate on call with V&E team regarding                    1.70
                                  amended SOFAs and SOALs (.3); prepare for and participate
                                  on calls with V&E and Ankura teams regarding same (.9);
                                  review and revise same (.5).

      04/26/22       TGSP         Conference call with V&E team regarding schedule                               1.90
                                  supplement from trustee 341 request (.3); correspond with
                                  same regarding same (.4); conference call with V&E team and
                                  Ankura regarding same (.5); draft notice of same (.6);
                                  correspond with same regarding same (.1).

      04/27/22       MAGA         Review and revise amended SOFA and SOALS.                                      0.50

      04/27/22       TGSP         Draft revisions to notice related to UST 341 requests (.4);                    0.60
                                  correspond with V&E team regarding same (.2).




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      Re:        Restructuring Advice

             Summary of services - Reporting
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                 21.80      860.00            18,748.00
                     LRKA         Lauren R. Kanzer                                                 11.80      975.00            11,505.00
                     EMME         Elias M. Medina                                                   0.40      590.00               236.00
                     DSME         David S. Meyer                                                    1.80     1325.00             2,385.00
                     MJPY         Matthew J. Pyeatt                                                 2.60      910.00             2,366.00
                     TGSP         Trevor G. Spears                                                 38.20      790.00            30,178.00
                     BEZE         Benjamin Zeter                                                    1.00      685.00               685.00
                     SAZO         Sara Zoglman                                                      5.30      590.00             3,127.00

             Total                                                                                 82.90                        69,230.00



      Disbursements and other charges posted through April 30, 2022:


      Fees for services posted through April 30, 2022:
      Re: Tax
      Date           Initials     Description                                                                   Hours

      04/01/22       JCWI         Prepare for and attend conference call with V&E team                           1.00
                                  regarding tax structuring considerations (.7); draft
                                  correspondence related to same (.3).

      04/06/22       WTS          Confer with Curt Wimberly regarding tax issues for                             0.30
                                  restructuring team and analyze tax issues regarding same.

      04/06/22       JCWI         Prepare for and attend weekly status call regarding tax                        0.80
                                  matters.

      04/08/22       JL           Review and analyze tax and structuring issues relating to                      2.50
                                  potential sale transaction (.8); review and revise purchase and
                                  sale agreement for tax issues (1.1); telephone conference
                                  regarding basis issues (.6).

      04/08/22       JCWI         Review Deloitte tax information and review questions from                      0.50
                                  corporate team.

      04/11/22       JL           Review purchase agreement for potential sale transaction                       2.00
                                  (.5); review and analyze related tax issues and debt
                                  cancellation issues (1.0); draft related comments to
                                  transaction documents (.5).

      04/11/22       JCWI         Review updated tax basis spreadsheet provided by Deloitte.                     0.50

      04/13/22       WTS          Analyze tax issues for restructuring and confer with V&E tax                   0.80
                                  working group regarding same.




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      Re:        Restructuring Advice

      04/13/22       JCWI         Prepare for and attend conference with V&E team regarding                      0.50
                                  tax analysis and tax basis information.

      04/14/22       JL           Review tax basis issues and transaction structure (1.4);                       2.00
                                  prepare for and attend telephone conference regarding same
                                  (.6).

      04/14/22       WTS          Confer with V&E tax team regarding tax issues for                              0.50
                                  restructuring (.3); analyze tax issues regarding same (.2).

      04/14/22       JCWI         Prepare for and participate on conference with V&E team                        1.30
                                  regarding tax analysis and tax basis information.

      04/19/22       JCWI         Review tax basis spreadsheet provided by Deloitte.                             0.30

      04/20/22       JL           Review tax basis and restructuring issues.                                     1.50

      04/20/22       WTS          Conference with V&E team regarding case updates and                            3.50
                                  strategy (.3); confer with V&E restructuring and tax teams
                                  regarding tax issues (.5); review revised asset purchase
                                  agreement (1.8); confer with V&E tax team regarding same
                                  (.9).

      04/20/22       JCWI         Review and comment on purchase and sale agreement and                          6.00
                                  escrow agreement (2.0); analyze tax considerations related to
                                  purchase and sale agreement (1.5); attend portions of
                                  conferences with V&E team regarding same (1.5); review tax
                                  basis information (1.0).

      04/20/22       MAGA         Confer with V&E teams regarding matter updates and related                     0.30
                                  tax issues.

      04/21/22       JL           Review revised purchase and sale agreement (1.0); revise                       3.50
                                  transaction documents related to sale (2.0); conference with
                                  V&E team regarding same (.5).

      04/21/22       WTS          Review and revise purchase and sale agreement (1.5); confer                    3.00
                                  with V&E team regarding tax issues related to same (1.5).

      04/21/22       JCWI         Review and comment on purchase and sale agreement (1.0);                       2.50
                                  conference with V&E team regarding same (1.5).

      04/22/22       JL           Review changes to purchase and sale agreement draft for tax                    1.00
                                  issues.

      04/22/22       JCWI         Review and comment on escrow agreement.                                        1.00

      04/25/22       JL           Review Hawkeye purchase and sale agreement (.5); analyze                       1.00
                                  related tax issues (.5).

      04/30/22       JL           Review purchase and sale agreement (.5); draft revisions of                    1.00
                                  purchase and sale agreement (.5).



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      Re:        Restructuring Advice

      04/30/22       JCWI         Review purchase and sale agreement markup submitted by                         0.20
                                  Formentera.




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

            Summary of services - Tax
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  0.30      860.00               258.00
                     JL           John E. Lynch                                                    14.50     1465.00            21,242.50
                     WTS          Wendy T. Salinas                                                  8.10     1325.00            10,732.50
                     JCWI         John C. Wimberly                                                 14.60      890.00            12,994.00

            Total                                                                                  37.50                        45,227.00



      Disbursements and other charges posted through April 30, 2022:




      I.R.S. NO. XX-XXXXXXX

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      Re:        Restructuring Advice

      Disbursements and other charges posted through April 30, 2022:


      Travel
      04/06/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051264673 DATE:                                        292.83
                                  4/27/2022 04/06/2022 Airfare United Airlines - Airfare for travel to/from
                                  Dallas, TX on May 3-6, 2022 in connection with Rockall - Hearing on
                                  Supplemental DS. for GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on
                                  05/03/2022 - 05/06/2022
      04/06/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051264673 DATE:                                             27.00
                                  4/27/2022 04/06/2022 Agency Fees - Other UNITED AIRLINES HOT
                                  SPRINGS VA - Airfare for travel to/from Dallas, TX on May 3-6, 2022 in
                                  connection with Rockall - Hearing on Supplemental DS. for GARZA
                                  /ECONOMY P
      04/06/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051264673 DATE:                                             27.00
                                  4/27/2022 04/06/2022 Agency Fees - Other UNITED AIRLINES HOT
                                  SPRINGS VA - Airfare for travel to/from Dallas, TX on May 3-6, 2022 in
                                  connection with Rockall - Hearing on Supplemental DS. for GARZA
                                  /ECONOMY P
      04/07/22       MJPY         VENDOR: AMEX - ChromeRiver INVOICE#: CE010050917538 DATE:                                             17.00
                                  4/8/2022 04/07/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Correspondence with client and advisors; evaluate and
                                  revise documents for client on 4/7, during travel.
      04/07/22       MJPY         VENDOR: AMEX - ChromeRiver INVOICE#: CE010050917538 DATE:                                              9.95
                                  4/8/2022 04/07/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Correspondence with client and advisors; evaluate and
                                  revise documents for client on 4/7, during travel.
      04/10/22       MJPY         VENDOR: AMEX - ChromeRiver INVOICE#: CE010050991068 DATE:                                             10.00
                                  4/13/2022 04/10/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Correspondence with client and advisors; evaluate and
                                  revise documents for client during travel.
      04/21/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        -564.07
                                  5/20/2022 04/21/2022 Airfare United Airlines - Refund for ticket issued for
                                  trip to Dallas in connection with Rockall case April 25-27. for
                                  GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 04/25/2022 -
                                  04/27/2022
      04/21/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        564.07
                                  5/20/2022 04/21/2022 Airfare United Airlines - Ticket issued for trip to
                                  Dallas in connection with Rockall case April 25-27. (Ticket was canceled)
                                  for GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 04/25/2022 -
                                  04/27/2022
      04/22/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        529.29
                                  5/20/2022 04/22/2022 Airfare United Airlines - Replacement ticket issued
                                  for trip to Dallas in connection with Rockall case April 25-27. for
                                  GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 04/24/2022 -
                                  04/27/2022
      04/24/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                      1,038.27
                                  5/5/2022 04/24/2022 Airfare American Airlines - Travel to Dallas for
                                  deposition hearing. for MEYER/DAVID S Route: LGA/DFW LGA on
                                  04/25/2022 - 04/27/2022 (Coach Fair)
      04/25/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        350.00
                                  5/5/2022 04/25/2022 Hotel - Lodging MANSIONONTURTLECREEK
                                  DALLAS TX Attend deposition hearing. arrival: 04/25/2022 # of nights 1.00


      I.R.S. NO. XX-XXXXXXX

      Please reference client/matter and invoice numbers when making payment.
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                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  Dallas, Texas
      04/25/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        154.50
                                  5/5/2022 04/25/2022 Taxi ALL TOWNS LIVERY 030 STAMFORD CT -
                                  Attend deposition hearing. Taxi from home to LGA airport.
      04/25/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                             98.10
                                  5/20/2022 04/25/2022 Taxi S1 GLOBAL, LLC DALLAS TX -
                                  Transportation in connection with trip.
      04/25/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        110.50
                                  5/20/2022 04/25/2022 Taxi EXCELSIOR TRANSPORTA 1142381-1 TX -
                                  Transportation in connection with trip.
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        -513.21
                                  5/5/2022 04/26/2022 Airfare Delta Airlines - Attend deposition hearing.
                                  Delta credit. for MEYER/DAVID S Route: DFW LGA on 04/28/2022 -
                                  04/28/2022
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        513.21
                                  5/5/2022 04/26/2022 Airfare Delta Airlines - Attend deposition hearing. for
                                  MEYER/DAVID S Route: DFW LGA on 04/28/2022 - 04/28/2022
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             10.33
                                  5/5/2022 04/26/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  deposition hearing. Taxi from hotel to Dallas office.
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             98.10
                                  5/5/2022 04/26/2022 Taxi S1 GLOBAL, LLC DALLAS TX - Attend
                                  deposition hearing. Taxi from DFW airport to hotel on 4/25.
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051230567 DATE:                                             19.00
                                  4/26/2022 04/26/2022 Internet Services VIASAT IN-FLIGHT WI-
                                  CARLSBAD US - Prepared for deposition.
      04/27/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             19.95
                                  5/5/2022 04/27/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Attend deposition hearing. Prepare for deposition.
      04/27/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             23.60
                                  5/5/2022 04/27/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  deposition hearing. Taxi from hotel to Dallas office on 4/26.
      04/27/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             20.83
                                  5/5/2022 04/27/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  deposition hearing. Taxi from Dallas office to hotel on 4/26.
      04/27/22       MWMO         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051314206 DATE:                                             15.95
                                  4/29/2022 04/27/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  Rockall hearing
      04/28/22       MWMO         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051314206 DATE:                                             66.65
                                  4/29/2022 04/28/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  Rockall hearing
      04/28/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             19.00
                                  5/5/2022 04/28/2022 Internet Services VIASAT IN-FLIGHT WI-
                                  CARLSBAD US - Attend deposition hearing. Worked on documents for
                                  client.
      04/28/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        189.50
                                  5/5/2022 04/28/2022 Taxi ALL TOWNS LIVERY 030 STAMFORD CT -
                                  Attend deposition hearing. Taxi from LGA/home.
      04/28/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        250.00
                                  5/5/2022 04/28/2022 Taxi S1 GLOBAL, LLC DALLAS TX - Attend
                                  deposition hearing. Taxi from Dallas office to court and then from court to
                                  airport.
      04/28/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                      1,062.78


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      Re:        Restructuring Advice

                                   5/20/2022 04/28/2022 Hotel - Lodging THE FAIRMONT DALLAS DALLAS
                                   TX Hotel in connection with Rockall trip to Dallas for meetings and
                                   contested bankruptcy hearing. arrival: 04/24/2022 # of nights 3.00 Dallas,
                                   Texas
                     Travel                                                                                                     $4,460.13
      Business Meals
      04/25/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/25/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/25/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/25/2022 6332115 - BAR VELOCE QUEENS NY - Attend
                                   deposition hearing. Food at the airport. # of attendees 1
      04/26/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/26/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/26/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/26/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/26/22       MWMO          VENDOR: Taco Joint; INVOICE#: TJ042622; DATE: 4/26/2022 - Depo of D                                  43.84
                                   Meyer breakfast on 4/27/22- 7 people
      04/27/22       MWMO          VENDOR: Taco Joint; INVOICE#: 16; DATE: 4/27/2022 - Depo of D Meyer                                  36.86
                                   breakfast on 4/27/22- 7 people
      04/27/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            18.49
                                   5/5/2022 04/27/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/27/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            19.34
                                   5/5/2022 04/27/2022 Cowboys Club A DFW 1 Dallas TX - Attend
                                   deposition hearing. Food at the airport. # of attendees 1
      04/30/22       MWMO          VENDOR: Special Delivery Service, Inc; INVOICE#: 665028; DATE:                                  168.16
                                   4/30/2022; Depo of David Meyer Breakfast and Lunch on 4/27/2022
                     Business Meals                                                                                               $466.69
      Filing Fees
      04/14/22       ARMU          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051118797 DATE:                                            20.00
                                   4/20/2022 04/14/2022 Fees PAYPAL *EVANG CLERK 3373635671 LA -
                                   Subscription Fee to Evangeline Parish Clerk of Court (processed through
                                   PayPal - see attached receipt)
      04/28/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051731070 DATE:                                       498.52
                                   5/20/2022 04/28/2022 Fees IN *DIPTI PATEL AUSTIN TX - Transcriber
                                   fees for Dipti Patel in connection with the 4/27/2022 court hearing
                                   transcript.
                     Filing Fees                                                                                                  $518.52
      Outside Professional Services
      04/15/22       EENE          VENDOR: Restructuring Concepts LLC; INVOICE#: 121381; DATE:                                           7.62
                                   4/15/2022; Chapter 11 Dockets document downloads for the month of
                                   March 2022 ($7.00@100%)
      04/15/22       SAZO          VENDOR: Restructuring Concepts LLC; INVOICE#: 121381; DATE:                                          14.93
                                   4/15/2022; Chapter 11 Dockets document downloads for the month of
                                   March 2022 ($14.00@80%)



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                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                     Outside Professional Services                                                                                 $22.55

      Total                                                                                                                     $5,467.89

      Total disbursements and other charges                                                                                     $5,467.89

      Total fees, all matters                                                                                            $1,995,705.50

      Total disbursements and other charges, all matters                                                                       $5,467.89

      Total Amount Due                                                                                                   $2,001,173.39




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                                                                                Client/Matter Number         ROC447 64001
                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Summary of Services

      Initials       Name                                       Rank                               Hours      Eff. Rate             Amount

      GGRI           Guy Gribov                                 Partner                           28.30      1095.00             30,988.50
      GRHO           George R. Howard                           Partner                           63.30      1285.00             81,340.50
      LRKA           Lauren R. Kanzer                           Partner                          218.60       975.00            213,135.00
      BELO           Bryan E. Loocke                            Partner                           59.80      1285.00             76,843.00
      JL             John E. Lynch                              Partner                           14.50      1465.00             21,242.50
      RLPE           Rebecca L. Matthews                        Partner                          146.90      1155.00            169,669.50
      DSME           David S. Meyer                             Partner                          108.70      1325.00            144,027.50
      MWMO           Matthew W. Moran                           Partner                           73.50      1285.00             94,447.50
      WTS            Wendy T. Salinas                           Partner                            8.10      1325.00             10,732.50
      JETO           Joclynn E. Townsend                        Counsel                           49.00       945.00             46,305.00
      TDAI           Taylor Daily                               Associate                         31.90       590.00             18,821.00
      MAGA           Michael A. Garza                           Associate                        150.20       860.00            129,172.00
      JRGO           Jeremy R. Gonzalez                         Associate                         54.20       705.00             38,211.00
      KDG            Katherine D. Grissel                       Associate                         94.10       925.00             87,042.50
      CELE           Cesar Leyva                                Associate                         24.60       860.00             21,156.00
      EMME           Elias M. Medina                            Associate                        164.90       590.00             97,291.00
      ARMU           Arthur Munoz                               Associate                         34.40       705.00             24,252.00
      ZPAR           Zachary J. Parker                          Associate                         18.30       685.00             12,535.50
      MJPY           Matthew J. Pyeatt                          Associate                        208.90       910.00            190,099.00
      ERHI           Emily Rhine                                Associate                        111.50       590.00             65,785.00
      TGSP           Trevor G. Spears                           Associate                        162.20       790.00            128,138.00
      ESST           Eli S. Sterbcow                            Associate                        111.30       590.00             65,667.00
      KIVA           Kiran Vakamudi                             Associate                         65.20       790.00             51,508.00
      JCWI           John C. Wimberly                           Associate                         14.60       890.00             12,994.00
      BEZE           Benjamin Zeter                             Associate                         39.00       685.00             26,715.00
      SAZO           Sara Zoglman                               Associate                        146.00       590.00             86,140.00
      EENE           Elizabeth E. Neuman                        Paralegal                         75.90       310.00             23,529.00
      IDAY           Ida Ayalew                                 Law School                        51.70       540.00             27,918.00
                                                                Graduate/Law Clerk

      Total                                                                                    2,329.60                       $1,995,705.50




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      August 9, 2022

      Rockall Energy Holdings, LLC                                              Client/Matter Number         ROC447 64001
      5851 Legacy Circle, Suite 500                                             Invoice Number               25701991
      Plano, TX 75024                                                           Billing Attorney             William C. Smith

      This invoice has been forwarded via e-mail to:
      accountspayable@rockallenergy.com



      Re:        Restructuring Advice
      Fees for services posted through May 31, 2022:
      Re: Asset Sales
      Date           Initials     Description                                                                   Hours

      05/01/22       BELO         Review and discuss Purchase and Sale Agreement with V&E                        2.20
                                  team (1.6); conference call with Debtors Professionals
                                  regarding sale update (.6).

      05/01/22       JETO         Prepare for and participate in telephone conference with V&E                   0.50
                                  team regarding status of bid (.3); draft correspondence to
                                  V&E team regarding same (.2).

      05/01/22       MJPY         Follow-up correspondence with V&E team regarding UCC                           0.20
                                  sale update conference call.

      05/02/22       MTDO         Review Formentera markup of bid draft purchase agreement                       0.80
                                  and assess environmental provisions.

      05/02/22       BELO         Review and revise Purchase and Sale Agreements (1.2);                          3.20
                                  correspond with V&E team regarding bid materials (.4);
                                  conference with Lazard and Rockall teams regarding PSA
                                  and bid materials (1.6).

      05/02/22       LRKA         Conference with V&E team, Stephen Golmont regarding                            1.70
                                  same (.9); prepare for and participate on conference call with
                                  UCC professionals, V&E team, and Lazard regarding sale
                                  process (.8).

      05/02/22       JETO         Review Formentera's markup of PSA (.8); provide comments                       1.50
                                  to Formentera regarding same (.7).

      05/02/22       MJPY         Correspond with V&E team regarding bid updates (.4);                           4.60
                                  correspond with V&E team regarding notice of adjournment of
                                  auction (.2); review same (.2); correspond with surety counsel
                                  regarding sale process (.2); participate on call with lender
                                  counsel regarding sale update (.4); correspond with Lazard
                                  and V&E team regarding same (.3); draft note to board
                                  regarding same (.4); participate on call with NDIC counsel
                                  regarding sale process (.4); participate on call with Lazard
                                  and client regarding sale process update (.9); participate on
                                  call with Committee counsel regarding same (.7); evaluate
                                  Formentera PSA (.5).

      05/02/22       BGBR         Correspond with V&E team regarding Rockall transaction and                     1.30
                                  363 process (.3); review PSA draft related to same (.8);
                                  review correspondence related to same (.2).



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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      05/02/22       CELE         Prepare for and attend conference with Spencer Fane                            0.50
                                  regarding North Dakota regulatory issues (.4); draft
                                  correspondence to V&E team regarding same (.1).

      05/02/22       SAZO         Review precedent notices of adjournment (.2); draft notice of                  3.70
                                  adjournment for auction and related deadlines (1.8); confer
                                  with V&E team regarding same (.1); review and revise cure
                                  objection tracker (1.3); correspond with V&E team regarding
                                  same (.2); correspond with V&E team regarding auction
                                  logistics (.1).

      05/03/22       MTDO         Review proposed comments to environmental provisions of                        0.70
                                  Formentera bid draft agreement (.4); draft revisions to same
                                  (.3).

      05/03/22       BELO         Review Purchase and Sale Agreements and bid materials                          4.70
                                  (4.0); correspond and conferences with V&E team, Lazard
                                  and Company regarding PSA and bid materials (.7).

      05/03/22       JETO         Review and revise Formentera PSA (2.7); correspond and                         4.50
                                  confer with V&E team regarding same (1.1); review schedules
                                  and exhibits related to same (.7).

      05/03/22       MJPY         Correspond with Lazard regarding draft email to board                          3.10
                                  regarding sale process (.2); correspond with client regarding
                                  same (.2); correspond with courtroom deputy regarding sale
                                  hearing date (.2); correspond with lender counsel regarding
                                  same (.1); participate on call with Lazard regarding sale
                                  process update and Steel Reef issues (.7); correspond with
                                  V&E restructuring team regarding auction notice (.3);
                                  correspond with U.S. Trustee regarding sale hearing (.2);
                                  correspond with V&E team regarding sale timeline (.3);
                                  evaluate Formentera PSA (.9).

      05/03/22       SAZO         Correspond with V&E team regarding notice of adjournment                       7.90
                                  of auction and related dates (.4); review and draft additional
                                  provisions for same (1.3); draft sale order provisions (1.7);
                                  correspond with V&E team regarding form of sale order and
                                  confirmation order (.6); review comments to notice of
                                  adjournment (.1); revise same (.8); correspond with V&E team
                                  regarding same (.2); prepare same for filing (.1); confer with
                                  V&E team regarding near term sale process items (.7); confer
                                  with V&E team regarding new deadlines for sale process (.1);
                                  correspond with V&E team regarding cure objection tracker
                                  (.3); review and evaluate cure objections (.4); review and
                                  revise cure objection tracker (1.0); correspond with V&E team
                                  regarding same (.1); correspond with Cleary regarding same
                                  (.1).

      05/03/22       BEZE         Conference with V&E team regarding revisions to Formentera                     2.10
                                  PSA (.7); draft comments to Formentera PSA in light of same
                                  (1.4).



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      Re:        Restructuring Advice

      05/04/22       BELO         Review Purchase and Sale Agreements and bid materials                          2.80
                                  with V&E team (2.6); correspond with V&E, Lazard and
                                  Rockall teams regarding PSA and bid materials (.2).

      05/04/22       JETO         Review current working draft of Formentera PSA and provide                     3.50
                                  comments thereto (.6); provide comments with respect to
                                  updated timeline and bid requirements (.2); correspond with
                                  V&E team regarding escrow accounts and funding construct
                                  (.3); review and revise Formentera PSA (2.4).

      05/04/22       MJPY         Correspond with Lazard regarding sale update (.2);                             1.50
                                  correspond with client regarding sale transaction (.2);
                                  correspond with Lazard regarding PSA (.2); correspond with
                                  V&E team regarding Steel Reef issues in connection with sale
                                  (.3); evaluate sale order precedent (.4); analyze bid
                                  procedures to support auction logistics (.2).

      05/04/22       BGBR         Review and revise PSA.                                                         0.80

      05/04/22       SAZO         Correspond with V&E team regarding notice of adjournment                       0.40
                                  of auction and related deadlines (.1); revise same (.1);
                                  correspond with V&E team regarding bidding procedures
                                  timeline (.1); review precedent for declaration in support of
                                  sale (.1).

      05/04/22       BEZE         Correspond with Escrow Agent in connection with sale (.2);                     1.00
                                  finalize PSA with V&E team revisions (.8).

      05/05/22       BELO         Correspond with Joclynn Townsend regarding PSA (.4);                           2.60
                                  Review Purchase and Sale Agreements (1.7); conference
                                  calls with V&E, Lazard and Rockall teams regarding PSA and
                                  bid materials (.5).

      05/05/22       JETO         Finalize initial markup of Formentera PSA and send to V&E                      3.80
                                  team for review (2.8); correspond with various specialists
                                  regarding Formentera PSA (.7); prepare riders regarding
                                  Formentera PSA (.3).

      05/05/22       MJPY         Participate on call with client and Lazard regarding sale                      3.40
                                  process update (.5); participate on call with Lazard regarding
                                  operatorship transfer in connection with sale transaction (.8);
                                  review and analyze Bureau of Land Management sale order
                                  language (.6); correspond with V&E team regarding same
                                  (.2); draft Formentera PSA comments (1.3).

      05/05/22       BGBR         Review Confidentiality Agreement for termination provisions                    2.80
                                  (.6); review and revise draft PSA (2.2).

      05/05/22       BEZE         Incorporate edits to Formentera PSA (2.2); correspond with                     2.80
                                  V&E team regarding same (.6).

      05/06/22       BELO         Review and revise PSA and related markup (2.3); correspond                     4.60
                                  and conferences with V&E team regarding same (1.4);


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                                  conference calls with Lazard and Rockall teams regarding
                                  PSA and operatorship (.7); conference call with Lazard, V&E,
                                  and Rockall teams regarding NDIC bonding issues and
                                  related matters (.2).

      05/06/22       JETO         Review and revise Formentera PSA (2.3); correspond with                        5.50
                                  Rockall regarding same (.7); review updated draft provided by
                                  V&E team (.8); provide further comments to same (1.3);
                                  correspond with Formentera counsel regarding same (.1);
                                  correspond with V&E team regarding escrow agent and
                                  setting up escrow account (.3).

      05/06/22       MJPY         Correspond with V&E team regarding Steel Reef issues                           2.50
                                  pertaining to sale process (.3); correspond with Dallas County
                                  counsel regarding sale objection and related inquiry (.3);
                                  participate on call with Lazard and client regarding
                                  operatorship transfer issues in connection with sale
                                  transaction (.7); evaluate Formentera PSA comments (.6);
                                  participate on call with client regarding NDIC issues (.2);
                                  correspond with NDIC counsel regarding same (.2); evaluate
                                  sale deadlines and related milestones (.2).

      05/06/22       BGBR         Review and revise PSA (1.8); discuss same with V&E team                        3.50
                                  (.3); further review and revise PSA in light of discussion (1.4).

      05/06/22       BEZE         Draft revisions to Formentera PSA (1.8); correspond with V&E                   2.30
                                  restructuring team regarding same (.5).

      05/07/22       JETO         Correspondence with V&E ETP transaction team regarding                         0.20
                                  Rockall PSA.

      05/07/22       BEZE         Correspond with V&E team regarding Formentera PSA.                             0.10

      05/08/22       SAZO         Draft notice of successful bidder (1.1); review and revise sale                1.80
                                  process time line based on adjournment of auction and
                                  related dates (.6); correspond with V&E team regarding same
                                  (.1).

      05/09/22       BELO         Review and revise Purchase and Sale Agreements (2.2);                          3.40
                                  Coorespond with V&E team, Lazard and Rockall team to
                                  discuss PSA and sales process (1.2).

      05/09/22       JETO         Correspond with V&E team regarding escrow agreement and                        0.70
                                  exhibits and schedules.

      05/09/22       SAZO         Draft sale order (2.2); correspond with V&E team regarding                     5.40
                                  sale order and confirmation order (.3); review and evaluate
                                  precedent sale order (.8); revise draft sale order (1.8);
                                  correspond with V&E team regarding same (.3).

      05/10/22       BELO         Correspond with V&E team regarding schedules (.4);                             2.40
                                  correspondl with V&E team to discuss revisions to PSA and
                                  related matters (.6); conference calls with V&E and Rockall


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                                  team to discuss PSA, bonding issues, suspense fund issues
                                  and sales process (1.4).

      05/10/22       JETO         Correspond with V&E team regarding treatment of suspense                       2.00
                                  funds and cure costs (.5); prepare for and participate in
                                  telephone conferences with V&E team regarding NDIC issues
                                  and treatment of suspense funds (1.1); correspond with V&E
                                  team regarding status of disclosure schedules, escrow
                                  agreement and signing checklist (.4).

      05/10/22       MJPY         Evaluate sale order (.8); provide comments to same (1.2);                      3.30
                                  correspond with V&E team regarding same (.4); participate on
                                  call with Lazard and North Dakota counsel regarding
                                  operatorship transfer issues in connection with sale
                                  transaction (.5); evaluate BLM sale order proposed language
                                  (.2); correspond with V&E team regarding same (.2).

      05/10/22       BGBR         Review and revise JPM escrow agreement form (1.3);                             1.70
                                  correspond with V&E team regarding same (.4).

      05/10/22       CELE         Discuss issues related to disclosure schedules with V&E                        0.10
                                  team.

      05/10/22       SAZO         Review and revise sale process timeline (.1); review and                       1.90
                                  revise notice of winning bidder (.1); draft reply to sale
                                  objections (.6); correspond with V&E team regarding sale
                                  order (.2); review and revise same (.9).

      05/10/22       BEZE         Correspond with V&E team regarding disclosure schedules                        2.20
                                  for Formentera bid (.1); update schedules regarding same
                                  (1.9); draft signing checklist for Formentera bid (.2).

      05/11/22       BELO         Review and revise Purchase and Sale Agreements (2.2);                          3.90
                                  participate on call with V&E, Ankura, and Lazard teams
                                  regarding sales process and potential auction procedures (.8);
                                  participate on calls with V&E team regarding revisions to PSA
                                  and related matters (.9).

      05/11/22       DSME         Correspond with V&E team regarding sale process and next                       0.50
                                  steps.

      05/11/22       LRKA         Review auction mechanics matters (.3); correspond with V&E                     0.50
                                  team regarding same (.2).

      05/11/22       MJPY         Participate on call with Lazard regarding auction procedures                   2.10
                                  (.8); evaluate bid procedures to address auction procedures
                                  (.3); correspond with V&E team regarding same (.2); evaluate
                                  strategy regarding auction procedures and bids for separate
                                  asset packages (.8).

      05/11/22       CELE         Review and comment on Escrow Agreement (.7); discuss                           0.80
                                  issues related to schedules with V&E ETP team (.1).



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      05/11/22       ZPAR         Review and revise Formentera escrow agreement (.4); revise                     1.10
                                  Formentera schedules (.7).

      05/11/22       SAZO         Draft declaration in support of sale transaction (2.2); prepare                3.10
                                  sale process work stream tracker (.8); correspond with V&E
                                  team regarding same (.1).

      05/11/22       BEZE         Confer with V&E team regarding Escrow Agreement (.2);                          1.60
                                  review, analyze, and revise same (1.3); correspond with V&E
                                  team regarding same (.1).

      05/12/22       BELO         Review and comment on schedules to Purchase and Sale                           2.90
                                  Agreement (.6); participate on call with V&E team and
                                  advisors regarding rsales process (.6); correspond with V&E
                                  team regarding bankruptcy sales transaction and bid deadline
                                  (1.7).

      05/12/22       DSME         Conference with V&E team regarding sale process.                               0.60

      05/12/22       LRKA         Conference call with Company, Lazard, Ankura regarding sale                    0.80
                                  process (.6); correspond with V&E team regarding same (.2).

      05/12/22       MJPY         Participate on call with Lazard and client regarding sale                      2.10
                                  process (.6); correspond with V&E team regarding bidder
                                  inquiry (.1); evaluate bid procedures to support same (.3);
                                  correspond with Lazard regarding same (.2); evaluate sale
                                  order comments (.3); evaluate and comment on escrow
                                  agreement (.4); correspond with V&E team regarding same
                                  (.2).

      05/12/22       BGBR         Correspond with V&E team regarding Escrow Agreement and                        0.30
                                  escrow account.

      05/12/22       CELE         Correspond with V&E ETP team regarding next steps in sales                     0.90
                                  process (.2); review and comment on schedules to Purchase
                                  and Sale Agreement (.3); review and analyze comments to
                                  Escrow Agreement (.4).

      05/12/22       SAZO         Draft declaration in support of sale (1.3); confer with V&E                    2.20
                                  team regarding same (.2); correspond with V&E team and
                                  Lazard team regarding deposit procedures (.1); review
                                  bidding procedures regarding same (.3); review comments
                                  received to sale approval order (.3).

      05/12/22       BEZE         Correspond with V&E team regarding schedules and exhibits                      3.30
                                  to PSA (.9); review and prepare revisions to escrow
                                  agreement (2.4).

      05/13/22       BELO         Review offer letters, bid drafts and PSAs (3.3); correspond                    4.10
                                  with V&E team, Lazard regarding same (.4); participate on call
                                  with V&E team regarding sales process (.4).

      05/13/22       LRKA         Review bids (.5); correspond with V&E team, Lazard                             1.20


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                                  regarding sale process (.7).

      05/13/22       JETO         Review offer letters, bid drafts and PSAs (3.2); correspond                    3.70
                                  with V&E team regarding escrow agreement (.5).

      05/13/22       MJPY         Participate on call with V&E team regarding Crowell land                       3.50
                                  issues in connection with sale (.4); correspond with Lazard
                                  regarding bidder inquiry (.2); review and comment on
                                  declaration in support of sale (.8); participate on call with V&E
                                  team regarding escrow account (.2); coordinate auction
                                  logistics (.3); evaluate bids received (1.4); correspond with
                                  consultation parties regarding same (.2).

      05/13/22       CELE         Correspond with V&E ETP team regarding Escrow Agreement                        3.10
                                  (.2); review and comment on same (.4); prepare for and
                                  attend teleconference with V&E sale team regarding sales
                                  process and next steps (.4); teleconference with V&E team
                                  regarding issues related to Crowell leases and objections in
                                  connection therewith (.6); review and analyze bidder markup
                                  of Purchase and Sale Agreement (1.0); prepare issues list
                                  regarding same (.5).

      05/13/22       ZPAR         Revise and update PSA issues list template (.3); prepare                       4.70
                                  issues lists for each bid and PSA (4.2); prepare escrow
                                  agreement signature packets (.2).

      05/13/22       SAZO         Review and revise sale approval order (3.9); confer with V&E                   5.10
                                  team regarding same (.2); confer with V&E team regarding
                                  witness and exhibit list for sale hearing (.1); draft preliminary
                                  list of exhibits and witnesses for same (.5); correspond with
                                  V&E team regarding same (.3); revise sale process work
                                  stream tracker chart (.1).

      05/13/22       GRHO         Review and analyze bid packages (.9); correspond with V&E                      1.20
                                  team regarding same (.3).

      05/13/22       BEZE         Evaluate escrow agreement matters (.7); correspond with                        1.80
                                  V&E ETP team regarding same (.2); review and revise issues
                                  list regarding same (.9).

      05/13/22       JOLA         Review Purchase and Sale Agreement bid drafts (3.8);                           5.30
                                  conference with V&E team regarding same (.4); review and
                                  amend Escrow Agreement (.6); confer with V&E team
                                  regarding same (.5).

      05/14/22       MTDO         Review purchase and sale agreement markups.                                    0.50

      05/14/22       BELO         Review and revise Purchase and Sale Agreements and                             2.40
                                  bidder bids (1.7); participate on conference call with V&E
                                  team, Lazard, client regarding sale process (.7).

      05/14/22       JETO         Prepare for and participate in telephone conference with V&E                   4.50
                                  team regarding status of bids (.7); review bids (2.3); review


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                                  and revise comparison chart of various bidders (1.5).

      05/14/22       MJPY         Evaluate bids received (1.1); review revised sale order (.4);                  3.20
                                  provide comments to same (.4); participate on call with client
                                  and Lazard regarding bids (.7); review and comment on
                                  declaration in support of sale (.6).

      05/14/22       CELE         Review and analyze Formentera Purchase and Sale                                2.10
                                  Agreement (1.3); prepare issues list regarding same (.8).

      05/14/22       ZPAR         Review PSA bid drafts (2.0); prepare issues lists regarding                    3.60
                                  same (1.4); review escrow agreements changes (.2).

      05/14/22       SAZO         Draft summary of each bid's qualifications under bidding                       3.80
                                  procedures (1.2); correspond with V&E team regarding same
                                  (.1); review comments to sale order (.2); confer with V&E
                                  team regarding same (.2); revise same (2.1).

      05/14/22       GRHO         Review, analyze and revise form of sale order.                                 1.00

      05/15/22       BELO         Review Purchase and Sale Agreements and bidder bids.                           0.80

      05/15/22       DSME         Correspond with V&E and Lazard teams regarding sale                            0.30
                                  process.

      05/15/22       LRKA         Correspond with V&E team regarding sale, PSA (.5);                             0.90
                                  correspond with Lazard regarding same (.2); correspond with
                                  V&E team regarding research of sale issues (.2).

      05/15/22       MJPY         Correspond with consultation parties regarding bids received                   2.90
                                  (.2); correspond with Lazard regarding same (.2); evaluate
                                  Formentera PSA (1.2); correspond with V&E team regarding
                                  auction logistics (.3); review board update regarding sale
                                  process (.2); provide comments to same (.6); correspond with
                                  board regarding same (.2).

      05/15/22       ZPAR         Review and analyze questions related to PSA.                                   0.20

      05/15/22       SAZO         Review and respond to correspondence with V&E team                             3.20
                                  regarding environmental matters in connection with sale
                                  transaction (.4); conduct additional research regarding same
                                  (2.1); prepare analysis regarding same (.7).

      05/16/22       MTDO         Confer with V&E team regarding environmental matters                           1.30
                                  related to purchase agreement markup (.3); review proposed
                                  comments to purchase agreement (.5); draft further
                                  environmental revisions to purchase agreement (.5).

      05/16/22       BELO         Prepare for and participate in telephone conference with                       3.60
                                  Formentera's counsel discussing Formentera PSA and TSA
                                  (2.2); conference call with V&E team, Lazard, Company
                                  regarding PSA, TSA (1.0); correspond with V&E team
                                  regarding same (.4).


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      05/16/22       LRKA         Conference call with V&E team, Lazard, Company regarding                       1.80
                                  PSA, TSA (1.0); review PSA comments (.8).

      05/16/22       JETO         Prepare for and participate in telephone conference with                       8.60
                                  Formentera's counsel discussing Formentera PSA and TSA
                                  (2.0); prepare for and participate in telephone conference with
                                  Rockall discussing the same (1.2); review and revise PSA and
                                  TSA based on telephone discussions (5.4).

      05/16/22       MJPY         Participate on call with V&E tax team regarding PSA (.5);                      5.90
                                  participate on call with client regarding PSA issues (1.0);
                                  correspond with Ankura regarding sale process inquiry (.2);
                                  correspond with V&E ETP team regarding PSA schedules
                                  and related diligence (.4); correspond with V&E restructuring
                                  team regarding sale process sale order (.3); correspond with
                                  Lazard regarding same (.2); review and comment on PSA
                                  (1.9); correspond with V&E ETP team regarding same (.2);
                                  participate on call with V&E restructuring team regarding sale
                                  workstreams (.3); review and provide comments to Tempke
                                  declaration in support of sale (.7); correspond with Lazard
                                  regarding sale inquiry (.2).

      05/16/22       CELE         Prepare for and attend teleconference with Rockall and V&E                     1.70
                                  teams regarding Transition Services Agreement and
                                  Purchase and Sale Agreement (1.2); review and analyze
                                  certain oil and gas leases in connection with same (.5).

      05/16/22       ZPAR         Revise and incorporate comments into PSA (.8); coordinate                      2.20
                                  with parties on Formentera escrow agreement (.3); draft
                                  Escrow Agreement (1.1).

      05/16/22       SAZO         Prepare for and attend call with V&E team, company, and                        4.10
                                  company's advisors regarding TSA and PSA (1.0); attend call
                                  with V&E team regarding sale process work streams (.3); draft
                                  notice of adjournment of auction (.8); confer with V&E team
                                  regarding same (.1); revise notice of adjournment of auction
                                  (.2); draft analysis regarding environmental matters in
                                  connection with sale process (1.1); correspond with V&E team
                                  regarding same (.6).

      05/16/22       BEZE         Update Escrow Agreement to reflect Formentera's counsel's                      1.70
                                  edits (1.0); incorporate V&E ELO team comments into
                                  PSA/TSA (.5); incorporate V&E ECB team comments into
                                  PSA (.2).

      05/16/22       JOLA         Attend call with Formentera's counsel regarding outstanding                    7.40
                                  PSA items (1.5); review Formentera draft of PSA (.4); amend
                                  Transition Services Agreement (1.4); review Disclosure
                                  Schedule (.3); participate on call with client regarding same
                                  (.6); review and further amend Purchase Agreement and
                                  related schedules (3.2).



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      Re:        Restructuring Advice

      05/17/22       BELO         Review, revise and prepare Formentera Purchase and Sale                        2.70
                                  Agreement for execution (2.1); discuss PSA and related
                                  matters with Lazard and V&E team (.6).

      05/17/22       DSME         Telephone conference with Formentera's counsel regarding                       0.70
                                  suspense liabilities (.4); correspond with V&E team regarding
                                  sale process and auction (.3).

      05/17/22       LRKA         Prepare for and participate on conference call with                            1.90
                                  Formentera's counsel regarding suspense issues, PSA (.8);
                                  conference call with V&E team regarding PSA (.5); evaluate
                                  follow-up issues regarding same (.6).

      05/17/22       JETO         Review and revise PSA and TSA and send to Rockall to                           8.20
                                  review (3.6); prepare for and participate in telephone with
                                  Rockall to discuss revised PSA (.9); review and further revise
                                  PSA and TSA and send to Formentera's counsel (.8); review
                                  and revise exhibits and schedules to PSA (2.4); prepare for
                                  and participate in telephone conference with V&E team
                                  regarding PSA with Lender's counsel (.5).

      05/17/22       MJPY         Provide comments to sale order (1.3); correspond with V&E                      4.20
                                  team regarding same (.2); review and provide restructuring
                                  comments to PSA (1.8); correspond with Lazard regarding bid
                                  update (.4); review and comment on notice of adjournment of
                                  auction (.2); evaluate bid procedures to support inquiry on
                                  auction (.3).

      05/17/22       ZPAR         Review and revise signing checklist (1.2); prepare execution                   4.10
                                  version of escrow agreement and coordinate with escrow
                                  agent (.4); review and revise Mineral Deed and Assignment
                                  (1.8); correspond with V&E team regarding schedules and
                                  exhibits (.7).

      05/17/22       SAZO         Correspond with V&E team with respect to adjournment of                        5.10
                                  auction (.3); review comments to declaration in support of sale
                                  (.2); review and revise draft regarding same (1.8); draft reply
                                  to sale objections (1.1); research and review precedent
                                  regarding same (.9); correspond with V&E team regarding
                                  notice of adjournment of auction (.1); revise draft regarding
                                  same (.4); revise declaration in support of sale (.2);
                                  correspond with V&E team regarding same (.1).

      05/17/22       GRHO         Review and comment on notice of auction adjournment.                           0.20

      05/17/22       BEZE         Coordinate signing matters in connection with PSA and                          4.30
                                  related matters (3.5); conferences and correspond with V&E
                                  team regarding same (.8).

      05/17/22       JOLA         Review and amend Purchase Agreement, Exhibits, Schedules                       7.20
                                  and associated transaction documents (4.4); review and
                                  amend Transition Services Agreement (1.6); participate on
                                  various calls with client related to same (1.2).


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      Re:        Restructuring Advice

      05/18/22       BELO         Review and revise TSA and Purchase and Sale Agreement                          2.80
                                  (1.4); participate in telephone conference with Lazard and
                                  Company discussing purchase price adjustments (.4);
                                  participate in telephone conferences with Company regarding
                                  Purchase and Sale Agreement (1.0).

      05/18/22       DSME         Correspond with V&E team regarding sale process (.2);                          0.90
                                  correspond with V&E team regarding PSA sale objections
                                  (.7).

      05/18/22       LRKA         Evaluate Rockall sale issues (.5); correspond with V&E team                    1.60
                                  regarding same (.4); conference with Scott Pinsonnault
                                  regarding TSA (.3); follow-up correspondence with V&E team,
                                  Lazard regarding same (.4).

      05/18/22       JETO         Review and revise TSA and PSA (3.4); prepare for and                          10.50
                                  participate in telephone conference with Lazard and Company
                                  discussing purchase price adjustments (.5); prepare for and
                                  participate in telephone conferences with Company regarding
                                  open items in PSA and TSA (1.1); review and revise exhibits
                                  and schedules to PSA (2.4); coordinate signing items
                                  regarding same (2.1); prepare for and participate in
                                  conference with Cleary discussing critical open points (1.0).

      05/18/22       MJPY         Participate on call with Lazard and V&E ETP team regarding                     4.70
                                  PSA and TSA (1.1); prepare for and participate on call with
                                  client and Lazard regarding purchase price adjustment (.6);
                                  participate on call with purchaser counsel regarding PSA (.5);
                                  correspond with client regarding seismic agreements (.2);
                                  evaluate same (.4); evaluate and address surety bond issues
                                  in connection with sale transaction (.6); evaluate and address
                                  Steel Reef issues in connection with sale transaction (.4);
                                  correspond with V&E team regarding suspense matters (.2);
                                  evaluate purchaser comments to sale order (.5); correspond
                                  with V&E team regarding same (.2).

      05/18/22       CELE         Prepare for and attend teleconference with V&E team,                           0.70
                                  Barbara Callaway and David Mirkin regarding issues related
                                  to Rockall oil and gas leases in connection with sale
                                  objections (.5); correspond with V&E team regarding exhibits
                                  and schedules to Purchase and Sale Agreement (.2).

      05/18/22       ZPAR         Attend call with V&E team and Rockall regarding leases in                      0.40
                                  connection with sale objections.

      05/18/22       SAZO         Correspond with V&E team regarding declarations in support                     3.60
                                  of sale (.2); confer with V&E team regarding sale reply (.2);
                                  review and revise sale reply (1.7); review comments received
                                  on declaration in support of sale (.3); draft revisions to same
                                  based on comments received (.9); correspond with V&E team
                                  regarding same (.1); update sale workstream tracker (.2).



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      05/18/22       BEZE         Coordinate signing of PSA and related matters throughout                       3.60
                                  day (2.7); conferences and correspondence with V&E team
                                  regarding same (.9).

      05/18/22       JOLA         Review and amend Purchase Agreement, Exhibits,                                 5.60
                                  Annexures and ancillary sale transaction documents (3.4);
                                  confer with V&E team regarding same (1.2); participate on
                                  various calls with client regarding sale items (1.0).

      05/19/22       MWMO         Review and revise Tempke declaration in support of sale                        1.40
                                  (1.2); review changes to same (.2).

      05/19/22       MTDO         Review updated draft of purchase agreement (.8); review                        1.60
                                  litigation schedule (.2); discuss environmental matters with
                                  V&E team (.2); confer with buyer's counsel regarding same
                                  (.4).

      05/19/22       BELO         Review, revise and prepare Formentera Purchase and Sale                        2.60
                                  Agreement for execution (1.6); discuss PSA and related
                                  matters with Lazard and V&E teams (1.0).

      05/19/22       DSME         Review Tempke declaration in support of sale and                               1.30
                                  confirmation (.6); correspond with Pachulski regarding sale
                                  issues (.2); review PSA (.3); correspond with V&E team
                                  regarding same (.2).

      05/19/22       JETO         Conference with V&E team and Company regarding PSA and                         7.70
                                  TSA issues (1.2); prepare for and participate on various
                                  conferences with V&E ETP team discussing open items in
                                  TSA and PSA (1.2); evaluate and correspond throughout the
                                  day with V&E ETP team and Company regarding open items
                                  in the PSA and TSA (2.4); review and evaluate PSA and TSA
                                  in connection with same (2.9).

      05/19/22       MJPY         Conference with client and Lazard regarding PSA (.4);                          7.90
                                  conference with lender counsel regarding same (.3);
                                  conference with V&E ETP team and client regarding PSA and
                                  TSA issues (1.2); correspond with lender counsel regarding
                                  PSA and TSA markups (.3); correspond with Committee
                                  counsel regarding same (.1); review draft notice of
                                  adjournment of auction (.3); correspond with parties objecting
                                  to sale regarding objection deadline (.3); conference with
                                  surety counsel regarding PSA matters (.5); correspond with
                                  surety counsel regarding same (.3); evaluate comments to
                                  Tempke declaration in support of sale (.4); review and
                                  comment on sale reply (1.1); review and comment on PSA
                                  (.5); correspond with V&E ETP team regarding same (.2);
                                  correspond with Committee counsel regarding bid update (.3);
                                  correspond with Lazard regarding bid procedures inquiry (.3);
                                  correspond with purchaser counsel regarding adequate
                                  assurance matters (.2); correspond with lender counsel
                                  regarding sale objections (.5); review and comment on sale
                                  order (.5); correspond with purchaser counsel regarding same


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                                  (.2).

      05/19/22       SAZO         Correspond with V&E team regarding sale declaration (.1);                      3.70
                                  revise same (1.1); correspond with V&E and Lazard teams
                                  regarding same (.1); correspond with V&E team regarding
                                  notice of adjournment of auction (.1); draft same (.7); review
                                  and revise reply to sale objections (1.2); correspond with V&E
                                  team regarding same (.1); revise and update sale work
                                  stream tracker (.1); conference with Christian Tempke
                                  regarding revisions to sale declaration (.2).

      05/19/22       BEZE         Coordinate with V&E team regarding PSA signing matters                         5.10
                                  (.6); revise PSA and TSA (3.4); correspond and conferences
                                  with V&E team regarding same (1.1).

      05/19/22       JOLA         Review and amend Purchase Agreement, Transition Services                       4.70
                                  Agreement and various Exhibits and Schedules (3.9);
                                  correspond with V&E team, Lazard, and client regarding same
                                  (.8).

      05/20/22       BELO         Review, revise and prepare Formentera Purchase and Sale                        4.30
                                  Agreement for execution (2.4); correspond with V&E team
                                  regarding same (.7); discuss PSA and related matters with
                                  Lazard and V&E teams (1.2).

      05/20/22       LRKA         Conferences with V&E team, client, and advisors regarding                      1.10
                                  sale status (.6); correspond with same regarding same (.2);
                                  correspond with Board regarding same (.3).

      05/20/22       JETO         Review and revise TSA (.4); correspond with V&E ETP team                       3.10
                                  regarding same (.4); correspond with V&E ETP team
                                  regarding open items for signing (2.3).

      05/20/22       MJPY         Conference with Committee counsel regarding bid (.5);                          7.20
                                  conference with Shell counsel regarding same (.3); evaluate
                                  sale objections (.9); conference with Lazard regarding bid (.4);
                                  conference with client regarding same (.2); correspond with
                                  multiple objecting parties regarding sale process and
                                  objection deadline (.9); correspond with lender counsel
                                  regarding PSA and TSA (.4); conference with surety counsel
                                  regarding sale objection and PSA (.4); evaluate indemnity
                                  matters in connection with PSA (1.1); correspond with Talco
                                  counsel regarding sale objections (.2); review and comment
                                  on draft notice of successful bidder (.6); correspond with client
                                  regarding successful bid (.3); analyze deposit matters (.4);
                                  correspond with clerk regarding sale hearing setting (.2);
                                  evaluate contract schedules to PSA (.4).

      05/20/22       CELE         Correspond with Barbara Callaway regarding Crowell oil and                     0.10
                                  gas leases in connection with sale objections.

      05/20/22       SAZO         Review and revise notice of successful bidder (.5); review and                 4.40
                                  revise adjournment of auction and sale hearing (.6);


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                                  correspond with V&E team regarding same (.1); revise sale
                                  order (.2); correspond with V&E team regarding same (.3);
                                  prepare same for filing (.1); compile sale objections from
                                  docket (.5); review and evaluate same (1.3); prepare chart
                                  tracking sale objections (.2); summarize sale objections (.6).

      05/20/22       BEZE         Correspond with V&E team regarding PSA signing and                             3.90
                                  closing matters throughout the day (1.1); revise PSA and
                                  related documents (2.8).

      05/20/22       JOLA         Review and amend Purchase Agreement, Exhibits and                              4.20
                                  Schedules (3.8); correspond with V&E team regarding same
                                  (.4).

      05/21/22       DSME         Telephone conference with Lazard regarding sale transaction                    0.40
                                  matters.

      05/21/22       LRKA         Conference call with Lazard, V&E team, Scott Pinsonnault                       0.50
                                  regarding sale matters (.4); follow-up correspondence with
                                  same regarding same (.1).

      05/21/22       JETO         Correspond with V&E team regarding items related to PSA.                       0.50

      05/21/22       MJPY         Evaluate sale objections (1.3); revise sale objection tracker                  7.80
                                  (1.1); draft language to resolve various parties' objections
                                  (1.2); correspond with objecting parties regarding same (1.1);
                                  correspond with V&E team, Ankura, client regarding same
                                  (.7); conference with Ankura regarding contract schedule (.2);
                                  correspond with V&E ETP team regarding PSA inquiry (.3);
                                  correspond with client regarding same (.2); correspond with
                                  V&E team regarding Steel Reef matters in connection with
                                  sale transaction (.2); correspond with V&E team regarding
                                  sale brief (.2); review and comment on Tempke sale
                                  declaration (.2); correspond with V&E ETP team regarding
                                  sale objection (.4); review and revise sale brief and reply to
                                  objections (.7).

      05/21/22       SAZO         Review comments to Tempke sale declaration (.2); revise                        2.60
                                  same (.5); correspond with V&E team regarding sale
                                  objections (.4); correspond with V&E team regarding charts
                                  tracking sale and confirmation objections (.2); summarize sale
                                  objections for sale objection tracker chart (1.3).

      05/21/22       JOLA         Correspond with Jarrod Gamble and David Mirkin regarding                       0.80
                                  sale updates (.3); revise documents related to same (.5).

      05/22/22       MJPY         Correspond with purchaser counsel regarding contract                           9.30
                                  schedules (.3); review and revise same (.4); review and revise
                                  sale reply (1.7); correspond with V&E team regarding same
                                  (.2); correspond with North Dakota local counsel regarding
                                  same (.4); address bonding matters in connection with sale
                                  transaction (.8); correspond with V&E litigation team regarding
                                  same (.3); correspond with purchaser counsel regarding sale


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                                  order language (.2); address seismic agreement matters in
                                  connection with sale transaction (.8); evaluate and address
                                  office lease matters in connection with sale transaction (.8);
                                  review and comment on sale brief (2.1); review and revivse
                                  sale order (.9); review and revise sale objection tracker (.4).

      05/22/22       SAZO         Summarize sale objections for tracker chart (.8); correspond                   3.90
                                  with V&E team regarding Tempke sale declaration (.3);
                                  correspond with Lazard regarding same (.1); review proposed
                                  language in sale order (.2); confer with V&E team regarding
                                  same (.5); revise omnibus reply to sale objections (1.2);
                                  correspond with V&E team regarding same (.8).

      05/23/22       MTDO         Review summary of objections from state of North Dakota                        0.70
                                  (.3); confer with V&E team regarding same (.1); review draft
                                  response to sale objections (.3).

      05/23/22       LRKA         Review Steel Reef sale order language (.3); correspond with                    1.10
                                  V&E team regarding same (.1); conferences and correspond
                                  with V&E team regarding sale matters, TSA, PSA (.7).

      05/23/22       JETO         Prepare for and participate in conference with NDIC and other                  1.10
                                  governmental authorities regarding environmental and P&A
                                  matters (.8); correspondence with V&E team regarding same
                                  (.3).

      05/23/22       MJPY         Conference with DEQ counsel regarding sale objection (.8);                     6.40
                                  conference with purchaser counsel regarding sale objections
                                  (.8); prepare for same (.3); correspond with V&E litigation
                                  team regarding surety bond research to support sale order
                                  language (.2); correspond with V&E restructuring team
                                  regarding same (.2); correspond with surety counsel
                                  regarding same (.2); revise assumed contract schedule (.8);
                                  correspond with purchaser counsel regarding seismic
                                  agreements in connection with sale transaction (.3);
                                  correspond with U.S. Trustee regarding sale (.2); correspond
                                  with client regarding bonding matters in connection with sale
                                  transaction (.2); correspond with purchaser counsel regarding
                                  same (.2); correspond with purchaser counsel regarding
                                  assumed contract list (.2); comment on Tempke sale
                                  declaration (.7); comment on brief in support of sale (1.3).

      05/23/22       CELE         Correspond with V&E team regarding issues related to                           0.30
                                  Purchase and Sale Agreement (.1); correspond with Barbara
                                  Callaway regarding plugging and abandonment obligations
                                  (.1); correspond with Joe Schimelpfening and Barbara
                                  Callaway regarding same (.1).

      05/23/22       SAZO         Review correspondence from Lazard and V&E teams                                4.20
                                  regarding further revisions to Tempke sale declaration (.2);
                                  revise same to reflect comments received (.5); correspond
                                  with counsel to purchaser regarding sale declaration (.1); draft
                                  revisions to omnibus sale reply (.6); review precedent sale


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                                  replies (.9); confer with V&E team regarding revisions to sale
                                  reply (.3); correspond with V&E team and Lazard team
                                  regarding further changes to sale declaration (.8); confer with
                                  Stephen Golmont regarding certain sale-related disclosures
                                  (.2); correspond with V&E team and counsel to purchaser
                                  regarding status of sale objections (.3); review further
                                  revisions to Tempke sale declaration (.1); confer with V&E
                                  team regarding same (.1); revise same (.1).

      05/23/22       BEZE         Revise PSA closing checklist.                                                  1.30

      05/23/22       JOLA         Address closing tasks (.8); correspond with V&E team                           1.10
                                  regarding same (.3).

      05/24/22       MTDO         Review Formentera PSA (.3); review assignments and bills of                    1.30
                                  sale related to sale (.4); conference with V&E team regarding
                                  North Dakota objections (.5); correspond with V&E team
                                  regarding same (.1).

      05/24/22       JETO         Prepare for and participate in conference with V&E team                        1.70
                                  discussing DEQ issues and other environmental claims (.7);
                                  correspond with Rockall regarding interim period spending
                                  matters (.2); correspond with Rockall regarding records and
                                  title information (.2); correspond with V&E team regarding
                                  cure costs during interim period and open items (.6).

      05/24/22       MJPY         Correspond with V&E litigation team regarding DEQ objection                    9.00
                                  and related diligence (.3); correspond with purchaser counsel
                                  regarding contract assumption, sale objections (.4);
                                  correspond with J-W Power counsel regarding sale objection
                                  (.2); correspond with purchaser counsel regarding seismic
                                  agreements (.2); correspond with Verde counsel regarding
                                  sale objection (.2); prepare language regarding same (.2);
                                  prepare Steel Reef sale order language (.7); conference with
                                  V&E litigation team regarding DEQ objection (.5); review and
                                  comment on Chevron sale order proposed language (.3);
                                  correspond with Denbury counsel regarding sale objection
                                  (.2); conference with same regarding same (.3); revise sale
                                  order language to address same (.3); revise supplemental
                                  contract schedule and modifications list regarding same (.6);
                                  correspond with purchaser counsel regarding same (.2);
                                  correspond with taxing authority counsel regarding sale
                                  objection (.3); analyze issues regarding Steel Reef sale
                                  objection (.3); correspond with Steel Reef counsel regarding
                                  same (.2); prepare sale order language to address seismic
                                  matters (.3); correspond with counsel regarding same (.3);
                                  review and comment on objections tracker for sale brief (.4);
                                  correspond with V&E ETP team regarding sale closing
                                  checklist (.2); evaluate sale order regarding same (.6); revise
                                  brief in support of sale (1.2); correspond with V&E litigation
                                  team regarding research to support same (.2); correspond
                                  with DOJ counsel regarding sale order (.2); correspond with
                                  DEQ counsel regarding sale objection (.2).


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      Re:        Restructuring Advice

      05/24/22       CELE         Prepare for and conference with Leann Moses and V&E team                       0.50
                                  regarding oil and gas lease matters in connection with sale
                                  objections.

      05/24/22       SAZO         Conference with V&E team regarding DEQ and sale                                4.40
                                  objections (.5); revise sale declaration (.4); correspond with
                                  V&E team regarding same (.2); correspond with Christian
                                  Tempke regarding same (.1); revise proposed Archrock
                                  language for sale order (.1); correspond with V&E team
                                  regarding language for sale order to resolve government
                                  objections (.3); review and revise sale order regarding same
                                  (.2); review and revise draft reply based on discussions with
                                  objecting parties (1.9); correspond with V&E team regarding
                                  same (.5); correspond with Committee counsel regarding sale
                                  approval order (.1); correspond with Denbury counsel
                                  regarding language in sale approval to resolve objection (.1).

      05/24/22       BEZE         Finalize closing checklist for Formentera transaction (1.4);                   1.80
                                  correspond with V&E team regarding same (.4).

      05/25/22       MTDO         Participate in call with V&E team and North Dakota local                       1.50
                                  counsel to discuss ND environmental objections (.5);
                                  participate in call with North Dakota representatives to discuss
                                  same (1.0).

      05/25/22       JETO         Prepare for and participate in telephone conference regarding                  2.40
                                  DEQ issues with NDIC (1.0); telephone conference with V&E
                                  RR team and local counsel regarding the same (.5);
                                  correspond with V&E team regarding DEQ issues (.6);
                                  correspond with V&E team regarding key dates and terms in
                                  the PSA (.3).

      05/25/22       MJPY         Correspond with Chevron counsel regarding sale objection                       8.60
                                  (.2); evaluate PSA to support same (.2); finalize sale objection
                                  chart for sale brief (.3); finalize comments to sale brief (.6);
                                  prepare comments to notice of contracts (.2); correspond with
                                  purchaser counsel regarding proposed DOJ language (.2);
                                  correspond with client regarding seismic agreements in
                                  connection with sale transaction (.2); review and revise
                                  proposed Steel Reef language for sale order (.4); correspond
                                  with Steel Reef counsel regarding same (.2); correspond with
                                  landlord counsel regarding office lease (.2); prepare
                                  comments to sale order regarding same (.4); correspond with
                                  V&E team regarding same (.2); participate on multiple calls
                                  with North Dakota local counsel regarding DEQ sale objection
                                  (1.1); participate on multiple calls with North Dakota/DEQ
                                  counsel regarding same (1.6); evaluate North Dakota statutes
                                  to support same (.3); participate on calls with lender counsel
                                  regarding same (.5); correspond with surety counsel
                                  regarding sale order (.2); provide further comments to Steel
                                  Reef proposed sale order language (.4); participate on call
                                  with client regarding DEQ issues (.5); evaluate documentation


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      Re:        Restructuring Advice

                                  from client regarding same (.5); correspond with North Dakota
                                  local counsel regarding DEQ matters (.2).

      05/25/22       CELE         Review and analyze Crowell insert to Sale Order (.2);                          0.30
                                  correspond with V&E team regarding same (.1).

      05/25/22       GRHO         Review/analyze status of various plan/sale objections and                      5.40
                                  proposed language to resolve same (.8); call with local North
                                  Dakota counsel regarding DEQ issues (.5); multiple calls with
                                  DEQ to discuss plan/sale objections (1.5); calls with Matt
                                  Moran and Matt Pyeatt regarding same (.3); calls with Cleary
                                  Gottlieb regarding same (.7); call with Rockall personnel
                                  regarding DEQ issues (1.1); draft/revise follow-up emails
                                  regarding same (.5).

      05/26/22       JETO         Correspond with V&E team regarding Steel Reed matters in                       0.30
                                  connection with sale transaction.

      05/26/22       MJPY         Correspond with V&E ETP team regarding Steel Reef sale                         5.20
                                  order language (.2); participate on call with client regarding
                                  DEQ objection (.2); participate on call with V&E litigation team
                                  regarding DEQ objection strategy (.5); correspond with V&E
                                  restructuring team regarding same (.2); draft email to North
                                  Dakota counsel regarding remaining open issues on DEQ
                                  objection (.5); correspond with client regarding same (.2);
                                  correspond with North Dakota local counsel regarding same
                                  (.2); evaluate various production-related data to address DEQ
                                  objection (.8); participate on call with North Dakota counsel
                                  regarding objections to sale (.6); evaluate further Steel Reef
                                  issues to address sale order language (.3); evaluate
                                  remaining open sale objections (.6); prepare sale order
                                  language to address same (.4); evaluate sale order comments
                                  (.3); correspond with V&E team regarding same (.2).

      05/26/22       CELE         Analyze issue related to Transition Services Agreement (.2);                   0.30
                                  correspond with V&E team regarding same (.1).

      05/26/22       BEZE         Assist V&E team with pre-closing items in connection with                      0.60
                                  sale transaction.

      05/26/22       JOLA         Correspond with V&E team, client regarding sale closing                        0.40
                                  tasks.

      05/27/22       JETO         Discuss treatment of Steel Reef contacts with V&E team.                        0.30

      05/27/22       MJPY         Correspond with V&E restructuring team regarding sale order                    8.10
                                  language (.2); evaluate remaining objections to sale (.3);
                                  correspond with client regarding Steel Reef language in sale
                                  order (.2); participate on call with V&E ETP team regarding
                                  same (.3); prepare TGS language for sale order and related
                                  side letter agreement (.6); correspond with TGS and
                                  Formentera counsel regarding same (.2); correspond with
                                  V&E restructuring team regarding supplemental sale brief (.2);


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      Re:        Restructuring Advice

                                  evaluate 31 Group remediation cost estimate (.4); evaluate
                                  DEQ remediation reports (.9); prepare outline for
                                  supplemental sale brief (1.1); correspond with V&E ETP team
                                  regarding sale closing (.2); participate on call with company
                                  representative regarding 31 Group site remediation cost
                                  estimate and hearing preparation (1.4); correspond with Steel
                                  Reef counsel and Formentera counsel regarding Steel Reef
                                  sale order language (.2); correspond with lender counsel
                                  regarding same (.2); participate on call with DEQ counsel
                                  regarding 31 Group site remediation and objections (1.5);
                                  follow-up correspondence with V&E team regarding same
                                  (.2).

      05/27/22       CELE         Discuss issues related to recordable conveyances, letters in                   0.20
                                  lieu and resignations of operatorship with V&E team.

      05/27/22       SAZO         Confer with V&E team regarding estimated cure and reserve                      2.10
                                  amounts resolving objections (.2); review email
                                  correspondence with objecting parties and summarize status
                                  of language (.4); revise sale approval order to reflect same
                                  (.3); correspond with V&E team regarding same (.1);
                                  correspond with Purchaser's counsel regarding CLM objection
                                  and proposed language (.2); review and evaluate ND
                                  objections (.3); confer with V&E team regarding same (.1);
                                  review Jefferson County tax issues regarding sale and plan
                                  objection (.3); correspond with V&E and Ankura team
                                  regarding same (.2).

      05/28/22       MJPY         Correspond with V&E litigation team regarding DEQ issues                       1.70
                                  (.2); correspond with DEQ counsel regarding informal
                                  discovery (.2); evaluate discovery received from DEQ (1.1);
                                  correspond with client regarding same (.2).

      05/28/22       CELE         Discuss issues related to closing deliverables with John                       0.30
                                  Larbalestier (.2); correspond with V&E team regarding same
                                  (.1).

      05/28/22       GRHO         Review/analyze documents produced by North Dakota and                          3.80
                                  draft/revise summary notes regarding same (2.3); draft/revise
                                  email update for Cleary team (.2); draft/revise proposed
                                  settlement summary for North Dakota (.8); email
                                  correspondence with V&E team regarding same (.2);
                                  draft/revise email to Eric Van Horn (Spencer Fane) regarding
                                  proposed North Dakota settlement (.3).

      05/28/22       JOLA         Conference with Cesar Leyva regarding closing tasks.                           0.20

      05/29/22       MJPY         Prepare for call with DEQ counsel (.2); call with DEQ counsel                  4.40
                                  and representative regarding informal discovery (1.1); follow-
                                  up call with DEQ counsel regarding same (.8); correspond
                                  with V&E team regarding same (.2); call with DEQ counsel
                                  regarding proposed resolution (.4); draft language to address
                                  same (.8); correspond with V&E team regarding same (.2);


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      Re:        Restructuring Advice

                                  correspond with Steel Reef counsel regarding sale order
                                  language (.3); correspond with client regarding DEQ
                                  proposed resolution (.2); correspond with Formentera counsel
                                  regarding DEQ issues (.2).

      05/29/22       SAZO         Review correspondence with V&E team regarding language                         0.80
                                  inserts for sale order (.3); revise sale order with agreed upon
                                  language resolving objections (.3); correspond with V&E team
                                  regarding same (.2).

      05/30/22       MTDO         Review remediation report resolve sale objection (.7); review                  1.80
                                  environmental provisions of purchase agreement in
                                  preparation for call with purchaser's counsel (.3); confer with
                                  V&E team regarding resolution of state objections to sale (.3);
                                  discuss environmental matters with purchaser's counsel (.3);
                                  confer with V&E team regarding same (.2).

      05/30/22       MJPY         Correspond with client regarding sale hearing (.2); review and                 2.80
                                  comment on North Dakota sale order language (.4);
                                  correspond with North Dakota counsel, Formentera counsel,
                                  and lender counsel regarding same (.3); prepare further
                                  comments to North Dakota sale order language (.4);
                                  participate on call with North Dakota counsel regarding same
                                  (.5); work on Steel Reef language (.4); correspond with lender
                                  counsel regarding Steel Reef sale order language (.3);
                                  evaluate lender counsel comments to Steel Reef and North
                                  Dakota sale order language (.3).

      05/30/22       GRHO         Review/analyze and comment on North Dakota settlement                          2.00
                                  language (1.2); calls with Eric Van Horn (Spencer Fane)
                                  regarding resolution of same (.5); review/analyze and
                                  consider proposed revisions to Steel Reef language from
                                  Cleary (.3).

      05/30/22       BEZE         Compile recordable conveyances for counties with Rockall                       4.80
                                  assets being sold in connection with sale transaction (3.9);
                                  correspond with V&E team regarding same (.9).

      05/31/22       MTDO         Confer with client regarding environmental remediation                         1.10
                                  activities (.3); review reports in connection with same (.5);
                                  confer with purchaser's counsel regarding additional requests
                                  related to ongoing remediation projects (.2); discuss same
                                  with V&E and Rockall teams (.1).

      05/31/22       JETO         Prepare for and participate in telephone conference regarding                  1.20
                                  required consent issues with V&E restructuring team (.5);
                                  prepare for and participate in telephone conference with
                                  Cleary regarding same (.5); correspond with V&E team
                                  regarding same (.2).

      05/31/22       MJPY         Participate on call with Steel Reef counsel regarding sale                     3.00
                                  order language (.2); revise sale order language to address
                                  Steel Reef matters (.6); correspond with Steel Reef counsel


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      Re:        Restructuring Advice

                                  regarding same (.2); participate on call with U.S. Specialty
                                  counsel regarding sale hearing and sale order language (.2);
                                  participate on calls with North Dakota counsel regarding same
                                  (.4); revise sale order language to address objecting parties'
                                  issues following hearing (.6); revise TGS sale order language
                                  (.4); correspond with TGS counsel regarding same (.2);
                                  correspond with client regarding TGS contract issues (.2).

      05/31/22       SAZO         Review and evaluate government sale order language (.2);                       2.60
                                  review and respond to email correspondence among V&E
                                  team and various objecting parties regarding sale approval
                                  order language to resolve objections (.9); revise sale approval
                                  order with agreed upon language from various creditors (1.1);
                                  draft language to resolve TGS objection (.2); confer with V&E
                                  team regarding same (.1); update sale objection tracker (.1).




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      Re:        Restructuring Advice

             Summary of services - Asset Sales
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     BGBR         Brian G. Broussard                                              10.40       685.00             7,124.00
                     MTDO         Matthew T. Dobbins                                              11.30      1055.00            11,921.50
                     GRHO         George R. Howard                                                13.60      1285.00            17,476.00
                     LRKA         Lauren R. Kanzer                                                13.10       975.00            12,772.50
                     JOLA         John Larbalestier                                               36.90       830.00            30,627.00
                     CELE         Cesar Leyva                                                     11.90       860.00            10,234.00
                     BELO         Bryan E. Loocke                                                 56.00      1285.00            71,960.00
                     DSME         David S. Meyer                                                   4.70      1325.00             6,227.50
                     MWMO         Matthew W. Moran                                                 1.40      1285.00             1,799.00
                     ZPAR         Zachary J. Parker                                               16.30       685.00            11,165.50
                     MJPY         Matthew J. Pyeatt                                              128.60       910.00           117,026.00
                     JETO         Joclynn E. Townsend                                             76.00       945.00            71,820.00
                     BEZE         Benjamin Zeter                                                  44.30       685.00            30,345.50
                     SAZO         Sara Zoglman                                                    80.00       590.00            47,200.00

             Total                                                                               504.50                        447,698.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Assumption and Rejection of Leases and Contracts
      Date           Initials     Description                                                                   Hours

      05/01/22       SAZO         Correspond with Cleary regarding cure objection tracker in                     0.30
                                  connection with potential assumed contracts (.1); correspond
                                  with V&E team regarding same (.2).

      05/01/22       IDAY         Draft summary of cure objections (1.8); correspond with V&E                    2.10
                                  team regarding same (.3).

      05/04/22       MJPY         Call with surety counsel regarding bonding issues and cure                     1.10
                                  objection (.4); correspond with V&E team regarding cure
                                  objections (.2); evaluate Steel Reef cure objection (.3);
                                  correspond with Ankura regarding same (.2).

      05/05/22       MJPY         Correspond with Chevron counsel regarding cure objection                       1.00
                                  (.2); correspond with V&E team regarding cure objection
                                  tracker (.3); correspond with V&E team regarding Steel Reef
                                  cure issues (.4); correspond with Ankura regarding same (.1).

      05/05/22       CELE         Review materials related to Crowell Land objection and oil                     0.40
                                  and gas leases related thereto.

      05/06/22       MJPY         Participate on call with counsel to sureties regarding                         1.10
                                  assumption issues (.4); correspond with V&E team regarding


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      Re:        Restructuring Advice

                                  same (.2); evaluate surety documents in connection with
                                  same (.3); evaluate proposed cure objection language for
                                  Seitel (.2).

      05/06/22       CELE         Correspond with V&E team regarding oil and gas leases to                       0.20
                                  resolve cure objection.

      05/09/22       MJPY         Evaluate precedent language regarding Seitel cure objection                    2.40
                                  and briefing regarding same (.8); prepare responses and
                                  resolutions to cure objections (1.0); analyze Talco and U.S.
                                  Specialty issues in connection with cure objection (.6).

      05/11/22       JETO         Correspond with V&E team regarding contract cure schedule.                     0.20

      05/11/22       MJPY         Evaluate seismic agreements in connection with cure                            1.50
                                  objection (.4); evaluate Steel Reef cure claim analysis (.4);
                                  correspond with Ankura regarding cure costs (.2); evaluate
                                  supplemental cure notice issues (.5).

      05/11/22       GRHO         Review and analyze Steel Reef cure calculations and related                    0.40
                                  email correspondence.

      05/12/22       MJPY         Participate on call with client and Ankura regarding Steel Reef                0.80
                                  cure amount (.4); evaluate documentation to support same
                                  (.2); review and comment on supplemental cure notice (.2).

      05/12/22       SAZO         Correspond with V&E team regarding executory contract                          0.70
                                  inquiry (.1); draft second supplemental cure notice (.5);
                                  correspond with V&E team regarding same (.1).

      05/12/22       GRHO         Participate on call with Company, Ankura, and V&E team                         0.40
                                  regarding Steel Reef cure calculation.

      05/13/22       MJPY         Evaluate cure cost issues and supplemental cure notice                         1.90
                                  exhibit (.6); participate on call with Ankura regarding same
                                  (.8); finalize and file supplemental cure notice (.2); address
                                  service issues regarding same (.3).

      05/13/22       SAZO         Evaluate objections to cure amount for certain leases (.2);                    0.90
                                  review leases regarding same (.4); correspond with company
                                  and V&E team regarding same (.3).

      05/16/22       MJPY         Evaluate cure objection issues (.3); correspond with Ankura                    0.60
                                  regarding same (.1); evaluate contracts to support same (.2).

      05/16/22       SAZO         Correspond with Ankura team regarding contracts on cure                        0.40
                                  schedule (.1); correspond with Company regarding same (.1);
                                  review contracts regarding same (.2).

      05/17/22       MJPY         Review and evaluate issues for assumed contract schedule                       0.90
                                  (.5); evaluate cure costs to support same (.4).

      05/17/22       SAZO         Review leases related to issues for assumed contract                           0.60


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      Re:        Restructuring Advice

                                  schedule (.5); correspond with V&E team regarding same (.1).

      05/18/22       SAZO         Review correspondence with V&E and company regarding                           0.40
                                  cure schedule (.2); confer with V&E team regarding same (.2).

      05/19/22       MJPY         Conference with landlord counsel regarding headquarters                        0.90
                                  lease treatment (.5); correspond with client regarding
                                  headquarters lease issues (.4).

      05/23/22       MJPY         Conference with office lease landlord counsel regarding lease                  0.50
                                  issues.

      05/24/22       MJPY         Correspond with client regarding office lease.                                 0.30

      05/24/22       SAZO         Review leases to conform schedule of assumed contracts                         1.50
                                  (.4); correspond with V&E team regarding same (.1);
                                  correspond with Ankura regarding same (.1); draft notice of
                                  amended schedule of assumed contracts (.9).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Assumption and Rejection of Leases and Contracts
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                        2.10      540.00             1,134.00
                     GRHO         George R. Howard                                                  0.80     1285.00             1,028.00
                     CELE         Cesar Leyva                                                       0.60      860.00               516.00
                     MJPY         Matthew J. Pyeatt                                                13.00      910.00            11,830.00
                     JETO         Joclynn E. Townsend                                               0.20      945.00               189.00
                     SAZO         Sara Zoglman                                                      4.80      590.00             2,832.00

             Total                                                                                 21.50                        17,529.00



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Budgeting (Case)
      Date           Initials     Description                                                                   Hours

      05/03/22       DSME         Telephone conference with Sean O'Neal regarding budget.                        0.50

      05/05/22       DSME         Conference with Ankura team regarding budget.                                  0.30

      05/05/22       LRKA         Participate on conference call with David Meyer and Ankura                     0.30
                                  regarding budget.

      05/09/22       DSME         Correspond with Scott Pinsonnault regarding budget.                            0.30

      05/17/22       DSME         Review budget (.2); correspond with V&E team regarding                         0.30
                                  same (.1).

      05/17/22       LRKA         Correspond with V&E team regarding fees, budget.                               0.30

      05/23/22       DSME         Conference with Goldman and Blue Torch regarding budget                        0.90
                                  (.7); correspond with V&E team regarding same (.2).

      05/23/22       LRKA         Conference with Houlihan, Goldman, V&E team, Sean O’Neal                       0.70
                                  regarding budget, fees.

      05/26/22       DSME         Telephone conference with Goldman and advisors regarding                       0.60
                                  budget and vendors (.6).

      05/26/22       LRKA         Conference call with V&E, Cleary, Houlihan, Goldman                            0.60
                                  regarding budget and vendors.




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Budgeting (Case)
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     LRKA         Lauren R. Kanzer                                                  1.90      975.00             1,852.50
                     DSME         David S. Meyer                                                    2.90     1325.00             3,842.50

             Total                                                                                  4.80                         5,695.00



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Business Operations
      Date           Initials     Description                                                                   Hours

      05/01/22       MJPY         Evaluate and revise insurance order (.6); correspond with                      1.00
                                  UST regarding same (.2); correspond with lender counsel
                                  regarding same (.2).

      05/02/22       MJPY         Correspond with insurance premium financing provider                           1.50
                                  regarding insurance order (.4); correspond with lender
                                  counsel regarding same (.2); correspond with UST regarding
                                  same (.2); review and provide comments to same (.7).

      05/04/22       LRKA         Conference with management, V&E, and Ankura teams                              0.20
                                  regarding open issues.

      05/04/22       MAGA         Participate on call with V&E, Ankura, and management teams                     0.20
                                  regarding operations and related issues and strategy.

      05/05/22       MJPY         Participate on call with Ankura and client regarding chapter 11                0.30
                                  workstreams and pending matters.

      05/05/22       MAGA         Participate on call with V&E, Ankura, and management teams                     0.30
                                  regarding operations and related issues and strategy.

      05/06/22       LRKA         Conference with Scott Pinsonnault regarding open operational                   0.30
                                  issues.

      05/09/22       MJPY         Participate on call with Ankura and client regarding chapter 11                0.40
                                  workstreams and pending matters.

      05/09/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.50
                                  management teams regarding operations and related issues
                                  and strategy.

      05/11/22       LRKA         Participate on conference call with company, Ankura, and                       1.00
                                  V&E teams regarding matter status and open issues (.7);
                                  conference with Scott Pinsonnault regarding open issues (.3).


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      Re:        Restructuring Advice

      05/11/22       MJPY         Participate on call with V&E team, Ankura, and client                          0.70
                                  regarding operational workstreams.

      05/11/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.70
                                  management teams regarding operations and related issues
                                  and strategy.

      05/13/22       LRKA         Conference call with management, Ankura, V&E team                              0.80
                                  regarding open operational issues (.3); conduct follow-up
                                  correspondence regarding same (.5).

      05/13/22       MJPY         Participate on call with V&E team, Ankura, and client                          0.30
                                  regarding operational workstreams and pending matters.

      05/13/22       MAGA         Participate on call with V&E, Ankura, and management teams                     0.30
                                  regarding operations and related issues and strategy.

      05/16/22       MJPY         Participate on call with V&E team, Ankura, and client                          0.50
                                  regarding operational workstreams and pending matters.

      05/16/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.50
                                  management teams regarding operations and related issues
                                  and strategy.

      05/18/22       MJPY         Participate on call with V&E team, Ankura, and client                          0.50
                                  regarding operational workstreams and pending matters.

      05/18/22       MAGA         Participate on call with V&E, Ankura, and Management teams                     0.50
                                  regarding operations and related issues and strategy.

      05/19/22       LRKA         Correspond with V&E team regarding operational issues.                         0.30

      05/20/22       LRKA         Conference with management, Ankura, V&E team regarding                         0.30
                                  open operational issues.

      05/20/22       MJPY         Conference with Ankura and client regarding operational                        0.30
                                  workstreams.

      05/20/22       MAGA         Conference with V&E, Ankura, and Management teams                              0.30
                                  regarding operations and related issues and strategy.

      05/23/22       LRKA         Conference with management, V&E team, Ankura regarding                         0.50
                                  open issues.

      05/23/22       MAGA         Conference with V&E, Ankura, and Management teams                              0.50
                                  regarding operations and related issues and strategy.

      05/25/22       MAGA         Participate on call with Ankura and Management teams                           0.60
                                  regarding operations and related issues and strategy.

      05/27/22       LRKA         Conference call with Ankura, Company regarding open                            0.30
                                  issues.


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      Re:        Restructuring Advice

      05/27/22       MJPY         Call with Ankura and client regarding operational                              0.30
                                  workstreams.

      05/27/22       MAGA         Participate on call with V&E, Ankura, and Management teams                     0.30
                                  regarding operations and related issues and strategy.

      05/31/22       LRKA         Conference call with Company, Ankura, V&E team regarding                       0.20
                                  open issues.

      05/31/22       MJPY         Participate on call with Ankura and client regarding                           0.20
                                  operational workstreams.

      05/31/22       MAGA         Participate on call with V&E, Ankura, and Management teams                     0.20
                                  regarding operations and related issues and strategy.




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Business Operations
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  4.90      860.00             4,214.00
                     LRKA         Lauren R. Kanzer                                                  3.90      975.00             3,802.50
                     MJPY         Matthew J. Pyeatt                                                 6.00      910.00             5,460.00

             Total                                                                                 14.80                        13,476.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Case Administration
      Date           Initials     Description                                                                   Hours

      05/01/22       LRKA         Review key dates (.3); correspond with V&E team regarding                      0.60
                                  same (.3).

      05/01/22       MAGA         Review and revise workstreams checklis (.8); revise staffing                   1.10
                                  plan for workstreams (.3).

      05/01/22       SAZO         Draft works in progress timeline key dates and deadlines (.8);                 0.90
                                  correspond with V&E team regarding same (.1).

      05/02/22       EENE         Correspond with V&E attorney team regarding filing of Notice                   4.10
                                  of Hearing on 5/3 (.6); obtain, review, and calendar updated
                                  docket report for V&E attorney team (.2); correspond with
                                  attorney group regarding case calendar details and complete
                                  additional calendaring (.9); correspond with judge's courtroom
                                  deputy regarding DIP Order entry status (.2); correspond with
                                  attorney group regarding filing for Witness and Exhibit List for
                                  5/3 hearing (.5); provide court hearing transcript to attorney
                                  group (.1); review court documents for filing requirements of
                                  Monthly Fee Statements, and communicate with attorney
                                  group regarding findings and clarification (.6); review general
                                  correspondence for case and project status (1.0).

      05/03/22       LRKA         Participate on conference call with V&E team regarding work                    1.10
                                  in process, next steps, and strategy (.6); correspond with V&E
                                  team regarding notices (.2); review and comment on same
                                  (.3).

      05/03/22       MJPY         Participate in call with V&E restructuring team regarding                      0.60
                                  works in progress.

      05/03/22       EENE         Communicate with attorneys regarding filing of (i) First                       5.50
                                  Monthly Report of Ankura Consulting Group, (ii) Monthly
                                  Operating Reports for all debtors, (iii) Amended Chapter 11


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      Re:        Restructuring Advice

                                  Plan, (iv) Notice of Filing of Amended Chapter 11 Plan, and
                                  (v) Supplement to Disclosure Statement (1.4); prepare to file
                                  Notice of Agenda for Emergency Hearing on 5/3 (.2); obtain,
                                  review, and calendar updated docket report for attorneys and
                                  other groups (.2); complete and submit request form for 5/3
                                  court hearing transcript (.2); communicate with transcriber and
                                  attorney group regarding same (.2); update transcript status
                                  chart (.1); communicate with attorney group regarding select
                                  precedent case retention applications to be obtained (.6);
                                  communicate with attorney group regarding status of online
                                  submission to court of proposed order (.1); prepare to file
                                  solicitation versions of Amended Chapter 11 Plan and
                                  Supplement to Disclosure Statement (.9); communicate with
                                  attorney group regarding same (.3); review general
                                  correspondence for case and project status (1.0); organize
                                  documents into office files (.3).

      05/03/22       MAGA         Review and revise work streams checklist (.6); participate on                  1.20
                                  call with V&E team regarding work streams, strategy, and
                                  related issues (.6).

      05/03/22       SAZO         Prepare for and attend call with V&E team regarding works in                   0.60
                                  progress.

      05/03/22       TGSP         Conference with V&E team regarding workstreams and                             0.60
                                  updates.

      05/04/22       WTS          Participate in V&E working group call regarding restructuring.                 0.30

      05/04/22       DSME         Correspond with V&E team regarding workstreams and next                        0.80
                                  steps open matters (.5); conference with same regarding
                                  same (.3).

      05/04/22       LRKA         Review and revise works in process checklist (.5); send                        1.00
                                  follow-up correspondence regarding same (.2); conference
                                  call with V&E team regarding workstreams (.3).

      05/04/22       MJPY         Evaluate works-in-progress checklist (.4); participate on call                 0.70
                                  with V&E team regarding works in progress (.3).

      05/04/22       EENE         Review correspondence and related documents regarding                          3.30
                                  auction status, and update calendar (.2); obtain and review
                                  updated docket report for attorneys and other groups (.3);
                                  correspond with paralegal for UCC's counsel regarding
                                  request for court hearing transcripts, and provide same (.1);
                                  correspond with attorney group for calendar clarification (.2);
                                  organize court hearing transcript and related invoice into files,
                                  and provide transcript copy to attorney group (.1); correspond
                                  with transcriber and staff regarding partial refund processing
                                  details regarding transcript (.3); update internal status chart
                                  (.1); correspond with attorney group regarding filing details for
                                  Notice of Adjournment of Auction, Sale Hearing and
                                  Combined Hearing, and Extension of Related Deadlines, and


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      Re:        Restructuring Advice

                                  complete court filing of same (.5); review Notice for calendar
                                  details and complete extensive calendaring (1.0); review
                                  general correspondence for case and project status (.4);
                                  correspond with attorney group regarding cure objection
                                  tracker chart instructions (.1).

      05/04/22       ERHI         Attend call with V&E team regarding weekly update.                             0.30

      05/04/22       MAGA         Conference with V&E teams regarding matter updates,                            0.30
                                  strategy, and next steps.

      05/05/22       LRKA         Conference call with V&E team regarding work in process.                       0.70

      05/05/22       MJPY         Participate on call with V&E restructuring team regarding                      0.70
                                  works in progress.

      05/05/22       EENE         Obtain and review updated docket report for attorneys and                      1.50
                                  other groups (.2); complete draft of cure objection tracker
                                  chart (.8); review general correspondence for case and
                                  project status (.5).

      05/05/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.70
                                  matter updates, workstreams, and related strategy and
                                  issues.

      05/05/22       TGSP         Conference call with V&E team regarding workstreams and                        0.70
                                  updates.

      05/06/22       EENE         Obtain select court documents for attorney group (.1); draft                   5.40
                                  Notice of Hearing for Motion to Reject Steel Reef Agreement
                                  and provide Notice to attorney group (.6); obtain updated
                                  docket report for attorneys and other groups (.1); prepare to
                                  and file Notice of Filing of Debtors' Revised Master Service
                                  List (1.0); communicate with attorney group regarding same
                                  (.4); prepare to and file Declarations of Disinterestedness
                                  regarding Ordinary Course Professionals (2.2); communicate
                                  with attorney group regarding same (.3); review general
                                  correspondence for case and project status (.7).

      05/09/22       EENE         Correspond with attorney group regarding filing of                             1.30
                                  Declarations of Disinterestedness of (i) Brunini, Grantham,
                                  and (ii) Coghlin Crowson (.4); obtain updated docket report for
                                  attorneys and other groups (.2); review and revise Notice of
                                  Hearing on Debtors' Motion for Order Authorizing Debtors to
                                  Reject Steel Reef Contracts (.5); communicate with attorney
                                  group regarding filing of same (.2).

      05/10/22       LRKA         Participate on conference call with V&E team regarding works                   0.40
                                  in process.

      05/10/22       EENE         Complete court filing of Declaration of Disinterestedness of                   1.50
                                  Jason R. Warran (.2); obtain, review, and calendar updated
                                  docket report for attorneys and other groups, (.5); complete


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      Re:        Restructuring Advice

                                  filing of Declaration of Disinterestedness of KE Andrews and
                                  Company (.2); review general correspondence for case and
                                  project status (.6).

      05/10/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.40
                                  work streams, case updates, and related issues and strategy.

      05/10/22       SAZO         Attend call with V&E team regarding works in progress.                         0.40

      05/10/22       IDAY         Prepare for and attend call with V&E team regarding works in                   0.40
                                  progress.

      05/10/22       GRHO         Participate on portion of call with V&E team regarding open                    0.30
                                  workstreams and next steps.

      05/11/22       EENE         Obtain updated docket report for attorneys and other groups                    0.90
                                  (.1); file Debtors' Application of Order Authorizing Retention of
                                  Brown Fox PLLC as Conflicts Counsel (.2); complete update
                                  to cure objection tracker for attorney group (.1); file
                                  Declaration of Disinterestedness of Jones Walker LLP (.3);
                                  communicate with attorney group regarding filing instructions
                                  for additional document (.2).

      05/12/22       DSME         Participate on portion of call with V&E team regarding works                   0.50
                                  in progress.

      05/12/22       LRKA         Conference call with V&E team regarding work in process.                       0.70

      05/12/22       MJPY         Evaluate works in progress checklist (.2); participate on call                 0.90
                                  with V&E team regarding works in progress (.7).

      05/12/22       EENE         Correspond with attorney group regarding filing (.2); prepare                  2.80
                                  to file same (.4); obtain, review, and calendar updated docket
                                  report for attorneys and other groups (.2); correspond with
                                  court case manager regarding filing instructions (.2);
                                  communicate with attorney group regarding same (.3); file
                                  Debtors' Amended Application for Order Authorizing
                                  Retention of Brown Fox PLLC as Conflicts Counsel (.2);
                                  gather plan confirmation objections for attorney group (.8);
                                  communicate with attorney group regarding same (.2); review
                                  general correspondence for case and project status (.3).

      05/12/22       MAGA         Review and revise workstreams checklist (.6); prepare for and                  1.40
                                  participate on call with V&E team regarding work streams and
                                  related issues and strategy (.8).

      05/12/22       SAZO         Attend call with V&E team regarding works in progress.                         0.70

      05/17/22       DSME         Attend conference call with V&E team regarding open                            0.60
                                  workstreams.

      05/17/22       LRKA         Conference call with V&E team regarding open workstreams                       1.10
                                  (.6); review and revise case timeline (.4); correspond with


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     22-30500-swe7 Doc
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                                                                                Invoice Number               25701991
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  V&E team regarding same (.1).

      05/17/22       EENE         Obtain, review, and calendar updated docket report for                         1.50
                                  attorneys and other groups (.1); communicate with attorney
                                  group regarding filing deadline for Witness and Exhibit List for
                                  5/25 hearing (.2); review filing dates of prior Witness and
                                  Exhibit Lists in connection with same (.2); prepare and file
                                  Notice of Adjournment of Auction (.4); review general
                                  correspondence for case and project status (.6).

      05/17/22       MAGA         Participate on call with V&E team regarding workstreams.                       0.60

      05/17/22       SAZO         Attend call with V&E team regarding works in progress.                         0.60

      05/17/22       EMME         Conference with V&E team regarding works in process.                           0.60

      05/17/22       GRHO         Participate on call with V&E RR team regarding open                            0.60
                                  workstreams and next steps.

      05/18/22       EENE         Obtain, review, and calendar updated docket report for                         2.70
                                  attorneys and other groups (.2); compile precedent pleading
                                  for attorney group (1.8); communicate with same regarding
                                  same (.2); review precedent documents and draft Certificate
                                  of No Objection to Motion to Assume Blossman Contract (.5).

      05/18/22       JRGO         Conference with V&E teams regarding case developments                          0.20
                                  and next steps.

      05/18/22       ZPAR         Prepare for and attend V&E call regarding status.                              0.30

      05/18/22       ERHI         Conference with V&E team regarding updates.                                    0.20

      05/18/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.30
                                  matter updates and related issues.

      05/18/22       SAZO         Attend weekly standing call with V&E team regarding case                       0.20
                                  status.

      05/18/22       ESST         Attend conference with V&E team regarding case updates.                        0.20

      05/18/22       JOLA         Prepare for and participate on call with V&E team regarding                    0.30
                                  case status.

      05/19/22       MJPY         Conference with V&E team regarding works in progress.                          0.50

      05/19/22       EENE         Review precedent case dockets (.2); correspond with court                      4.10
                                  clerk to confirm filing method (.2); file Certificate of No
                                  Objection to Motion for Order Authorizing Debtors to Assume
                                  Blossman Contract (.2); complete related submission of
                                  proposed order to court (.2); draft Notice of Filing Second
                                  Supplement to Plan (.5); correspond with attorney group
                                  regarding same (.3); update docket report for attorneys (.1);
                                  electronically court file (i) Notice of Adjournment of Auction,


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  and (ii) Notice of Filing of Debtors Revised Master Service List
                                  (.2); calendar upcoming dates and deadline for attorneys (.2);
                                  file Declaration of Declaration of Disinterestedness of Blair &
                                  Bondurant, P.A. (.2); prepare for filing of documents (1.5); file
                                  Declaration of Alexa Westmoreland on Behalf of Stretto
                                  Regarding Solicitation of Votes and Tabulation of Ballots (.3).

      05/19/22       MAGA         Participate on call with V&E team regarding same and related                   0.50
                                  strategy and issues.

      05/19/22       SAZO         Prepare for and attend call with V&E team regarding works in                   0.50
                                  progress.

      05/19/22       EMME         Prepare for and attend conference with V&E team regarding                      0.50
                                  workstreams.

      05/20/22       EENE         Obtain updated docket report for attorneys (.1); complete                      3.80
                                  calendaring (.1); correspond with attorney group regarding
                                  filing details for court document and provide select court rules
                                  for same (.3); complete court filing of Declaration of
                                  Disinterestedness of Crowley Fleck PLLP (.2); correspond
                                  with attorneys regarding filing plan (.3); prepare to and file
                                  Notice of Successful Bidder, Cancellation of Auction, and
                                  Hearing Adjournment (1.5); correspond with V&E team
                                  regarding filing status and prepare to file Witness and Exhibit
                                  List for 5/25 hearing (.5); review general correspondence for
                                  case and project status (.8).

      05/21/22       EENE         File Witness and Exhibit List for 5/25 Hearing (1.0);                          2.80
                                  correspond with attorney group regarding confirmation of filing
                                  details and status (.5); correspond with same regarding NDTX
                                  court rules (.7); correspond with same regarding notices to be
                                  drafted and related hearing preparation and coordination (.6).

      05/22/22       EENE         Review precedent Confirmation Order filings (.3); correspond                   3.00
                                  with attorney group regarding same (.2); review precedent
                                  case dockets related to documents to be filed (.4); correspond
                                  with same regarding 5/25 hearing preparation logistics (1.0);
                                  correspond with same regarding Notice of Agenda for 5/25
                                  Hearing to be drafted (.1); review general correspondence for
                                  case and project status (1.0).

      05/23/22       EENE         Correspond with attorney group regarding drafting of Notice of                 4.30
                                  Filing of Amended Plan (.2); draft same (.1); correspond with
                                  attorneys regarding document management details (.6);
                                  correspond with attorneys regarding docket review
                                  instructions for Plan objections (.3); complete review and
                                  provide findings regarding same (.6); correspond with
                                  attorneys regarding court document filing plan list (.1); obtain
                                  updated docket report for attorneys (.2); complete calendaring
                                  (.2); draft Notice of Agenda for 5/25 Hearing (.5); draft Notice
                                  of Filing of Revised Form of Proposed Confirmation Order
                                  (.6); review precedent of same (.2); correspond with attorney


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  group regarding same (.1); file Notice of Filing of Second
                                  Supplement to Amended Plan (.6).

      05/24/22       DSME         Attend portion of conference with V&E team regarding work                      0.60
                                  streams.

      05/24/22       LRKA         Conference call with V&E team regarding work in process,                       1.10
                                  next steps (.7); correspond with V&E team regarding same
                                  (.2); coordinate filings (.2).

      05/24/22       EENE         Prepare to file various documents (2.3); correspond with                       9.10
                                  attorneys regarding filing plans (.7); correspond with same
                                  regarding draft status of Notice of Agenda for 5/25 Hearing
                                  (.1); obtain updated docket report for attorneys (.3);
                                  correspond with attorneys regarding hearing binder
                                  preparation coordination (.5); correspond with attorneys
                                  regarding filing details for and court file Pinsonnault
                                  confirmation declaration (.5); file Amended Witness and
                                  Exhibit List for 5/25 Hearing (1.0); correspond with Stretto
                                  team regarding filings (.6); correspond with attorneys
                                  regarding filing instructions for Notice of Agenda (.4); file
                                  same (.6); update calendar (.2); draft Notice of Third Plan
                                  Supplement (.5); correspond with attorneys regarding hearing
                                  preparation coordination (.5); review precedent notice of filing
                                  confirmation order (.3); draft same (.6).

      05/24/22       TGSP         Conference with V&E team regarding workstreams and                             0.70
                                  updates.

      05/24/22       IDAY         Conference with V&E team regarding works in process.                           0.70

      05/25/22       EENE         Prepare to file and communicate with attorneys regarding                       7.90
                                  filing details, and court file (i) Supplemental Brief in Support of
                                  Sale Motion and Omnibus Reply to Objections to Sale Motion,
                                  (ii) Notice of Amended Schedule of Contracts and Leases
                                  Debtors Propose to Assume and Assign to Formentera
                                  Partners Fund I, LP, (iii) Amended Plan, and (iv) Notice of
                                  Filing of Immaterial Modifications to Amended Plan (2.5);
                                  obtain updated docket report for attorneys and other groups,
                                  and review report for calendar details (.2); draft Notice of
                                  Fourth Plan Supplement (.5); correspond with attorney group
                                  regarding general filing plans (.2); correspond with same
                                  regarding hearing preparation details (.5); correspond with
                                  same regarding filing status for Second Amended Witness
                                  and Exhibit List for 5/25 Hearing, and file List (1.5); court file
                                  Notice of Filing Fourth Supplement to Plan (.2); court file
                                  Notice of Filing of Exhibits for 5/25 Hearing (.3); correspond
                                  with attorney group regarding Notice of Adjournment of Sale
                                  and Combined Hearings to be drafted, review related court
                                  documents, and complete draft (.7); correspond with court
                                  clerk regarding transcript request withdrawal due to adjourned
                                  hearing (.1); calendar adjourned hearing and related dates
                                  (.1); correspond with attorney group regarding filing details for


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  Notice of Adjournment, and file Notice (.5); correspond with
                                  same regarding potential filing (.6).

      05/26/22       EENE         Obtain and review updated docket report for attorneys and                      2.00
                                  other groups (.2); court file Certificate of No Objections to
                                  Debtors' Application for Order Authorizing Retention of Weil,
                                  Gotshal & Manges LLP (.2); correspond with attorneys
                                  regarding processing details for submission to court of related
                                  proposed order, and complete submission (.6); correspond
                                  with same regarding filing details and file Amended
                                  Declaration of Alexa Westmoreland on Behalf of Stretto
                                  Regarding Solicitation of Votes, etc. (.4); correspond with
                                  same regarding availability of template for select court
                                  document (.1); review general correspondence for case and
                                  project status (.5).

      05/27/22       MJPY         Participate on call with V&E restructuring team regarding                      0.70
                                  works in progress.

      05/27/22       EENE         Obtain updated docket report for attorneys and other groups                    4.20
                                  (.1); review filing method and court file Fee Statement of
                                  Lazard Freres and Co. LLC for April 2022 (.3); correspond
                                  with attorneys regarding Notice of Fifth Plan Supplement to be
                                  drafted and complete draft Notice (.4); obtain related docket
                                  information for same (.5); review pdf copy of Notice and
                                  Exhibits (.4); correspond with attorneys regarding final
                                  approval for filing and court file Declaration of
                                  Disinterestedness of Burton Oil & Gas Reporting Service, LLC
                                  (.5); correspond with court case manager regarding related
                                  Amended Declaration of Disinterestedness to be filed next
                                  week (.2); obtain select court documents for attorney group
                                  (.1); correspond with attorney group regarding court document
                                  filing plans (.1); correspond with same regarding preparation
                                  for filing of Third Amended Witness and Exhibit List for 5/31
                                  Hearing and file same (1.0); review general correspondence
                                  for case and project status (.6).

      05/27/22       SAZO         Attend call with V&E team regarding works in progress.                         0.70

      05/27/22       TGSP         Conference call with V&E team regarding workstreams and                        0.70
                                  updates.

      05/30/22       EENE         Obtain, review, and calendar updated docket report for                         4.10
                                  attorneys and other groups (.4); correspond with Trevor
                                  Spears for calendar clarification and complete additional
                                  calendaring (.5); file Notice of Filing Fifth Supplement to Plan
                                  (.2); review filing preparation and court file Notice of Agenda
                                  for 5/31 Hearing (.2); correspond with attorneys regarding
                                  filing details for Fourth Amended Witness and Exhibit List for
                                  5/31 Hearing (.5); prepare for filing and file same (1.8); review
                                  general correspondence for case and project status (.5).

      05/31/22       EENE         Correspond with attorneys regarding status, and court file                     5.10


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      Re:        Restructuring Advice

                                  Proposed Confirmation Order (.8); prepare for filing and file
                                  Notice of Filing Revised Form of Proposed Confirmation
                                  Order (.5); correspond with court case manager regarding
                                  Declaration of Disinterestedness to be re-filed per 5/27
                                  communication, and provide status to attorneys (.1); complete
                                  various hearing preparation tasks (1.9); correspond with
                                  attorneys regarding filing plans (.1); obtain updated docket
                                  report for attorneys and other groups, and review report and
                                  court documents for calendar details (.1); correspond with
                                  attorneys regarding hearing documents to be organized and
                                  delivered (.2); complete order form for 5/31 court hearing
                                  transcript, submit same to court clerk, and provide status to
                                  attorneys (.2); complete online payment to transcriber for 5/31
                                  court hearing transcript and communicate with transcriber
                                  regarding status (.2); court file Notice of Filing of Second
                                  Monthly Report of Ankura Consulting Group (.4); review
                                  general correspondence for case and project status (.6).




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      Re:        Restructuring Advice

             Summary of services - Case Administration
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                        1.10      540.00               594.00
                     MAGA         Michael A. Garza                                                  6.50      860.00             5,590.00
                     JRGO         Jeremy R. Gonzalez                                                0.20      705.00               141.00
                     GRHO         George R. Howard                                                  0.90     1285.00             1,156.50
                     LRKA         Lauren R. Kanzer                                                  6.70      975.00             6,532.50
                     JOLA         John Larbalestier                                                 0.30      830.00               249.00
                     EMME         Elias M. Medina                                                   1.10      590.00               649.00
                     DSME         David S. Meyer                                                    2.50     1325.00             3,312.50
                     EENE         Elizabeth E. Neuman                                              80.90      310.00            25,079.00
                     ZPAR         Zachary J. Parker                                                 0.30      685.00               205.50
                     MJPY         Matthew J. Pyeatt                                                 4.10      910.00             3,731.00
                     ERHI         Emily Rhine                                                       0.50      590.00               295.00
                     WTS          Wendy T. Salinas                                                  0.30     1325.00               397.50
                     TGSP         Trevor G. Spears                                                  2.70      790.00             2,133.00
                     ESST         Eli S. Sterbcow                                                   0.20      590.00               118.00
                     SAZO         Sara Zoglman                                                      4.60      590.00             2,714.00

             Total                                                                               112.90                         52,897.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Corporate Governance and Board Matters
      Date           Initials     Description                                                                   Hours

      05/04/22       MAGA         Confer with Eli Medina regarding board meeting materials.                      0.10

      05/04/22       EMME         Draft updated timeline slide for board deck (.6); conference                   1.30
                                  with Mike Garza regarding same (.1); review and revise same
                                  (.4); correspond with V&E team regarding same (.2).

      05/05/22       EMME         Review and revise updated timeline slide for board deck.                       0.20

      05/06/22       LRKA         Prepare for and attend board meeting (.5); follow-up                           0.80
                                  correspondence regarding same (.3).

      05/06/22       MJPY         Attend telephonic board call.                                                  0.60

      05/06/22       EMME         Attend board meeting.                                                          0.60

      05/11/22       SAZO         Review precedent board resolutions (.3); draft board                           1.20
                                  resolutions approving sale transaction (.8); correspond with
                                  V&E team regarding same (.1).

      05/11/22       GRHO         Review and comment on form of board resolution approving                       0.50


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  winning bidder and related precedent (.4); correspond with
                                  V&E team regarding same (.1).

      05/15/22       LRKA         Correspond with V&E team regarding board materials (.2);                       0.50
                                  review same (.3).

      05/16/22       DSME         Review and revise board presentation.                                          0.20

      05/16/22       LRKA         Prepare for and attend board meeting with V&E team.                            0.70

      05/16/22       MJPY         Attend telephonic board call regarding sale process update.                    0.50

      05/18/22       SAZO         Revise board resolutions approving sale transaction (.4);                      0.70
                                  correspond with V&E team regarding same (.3).

      05/18/22       GRHO         Review, analyze, and comment on form of board resolution                       0.80
                                  approving sale.

      05/19/22       LRKA         Draft board update (.5); correspond with advisors, Board                       1.50
                                  regarding same (.1); review and comment on board meeting
                                  materials (.6); correspond with V&E team regarding same (.3).

      05/19/22       MJPY         Prepare board materials for board meeting (.4); evaluate PSA                   0.70
                                  to support same (.3).

      05/19/22       SAZO         Correspond with V&E team regarding board resolutions to                        0.30
                                  approve sale (.1); revise board resolutions (.2).

      05/19/22       JOLA         Draft summary sale materials for Board.                                        2.30

      05/20/22       DSME         Attend board meeting.                                                          0.50

      05/20/22       LRKA         Prepare for board meeting (.4); attend same (.5); correspond                   1.20
                                  with V&E team regarding same (.3).

      05/20/22       MJPY         Attend portion of board meeting.                                               0.40

      05/20/22       SAZO         Correspond with V&E team regarding board resolutions to                        0.90
                                  approve sale (.2); attend board meeting (.5); correspond with
                                  V&E team regarding same (.1); correspond with V&E MACM
                                  team regarding board resolutions to approve sale (.1).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Corporate Governance and Board Matters
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  0.10      860.00                86.00
                     GRHO         George R. Howard                                                  1.30     1285.00             1,670.50
                     LRKA         Lauren R. Kanzer                                                  4.70      975.00             4,582.50
                     JOLA         John Larbalestier                                                 2.30      830.00             1,909.00
                     EMME         Elias M. Medina                                                   2.10      590.00             1,239.00
                     DSME         David S. Meyer                                                    0.70     1325.00               927.50
                     MJPY         Matthew J. Pyeatt                                                 2.20      910.00             2,002.00
                     SAZO         Sara Zoglman                                                      3.10      590.00             1,829.00

             Total                                                                                 16.50                        14,245.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Employment and Fee Applications
      Date           Initials     Description                                                                   Hours

      05/02/22       LRKA         Review Ankura fee statement (.3); correspond with V&E team                     0.50
                                  regarding same (.2).

      05/03/22       KIVA         Correspond with Mustafa Kodwavi regarding payment of                           0.20
                                  professional invoices.

      05/04/22       EMME         Review Brown Fox retention application.                                        0.70

      05/04/22       TGSP         Correspond with Lazard regarding monthly fee statement (.3);                   0.70
                                  conference calls with V&E billing team regarding V&E monthly
                                  fee statement (.4).

      05/04/22       IDAY         Draft Deloitte Retention Application (2.1); correspond with                    2.20
                                  V&E team regarding same (.1).

      05/05/22       MWMO         Review and comment on retention application for Brown Fox                      0.90
                                  and related declaration (.7); confer with V&E team regarding
                                  same (.2).

      05/05/22       EMME         Review and revise Brown Fox retention application (.6);                        0.80
                                  correspond with Brown Fox regarding same (.2).

      05/05/22       IDAY         Draft revisions to Deloitte retention application (2.8);                       3.80
                                  correspond and conferences with V&E team and Deloitte
                                  team regarding same (1.0).

      05/06/22       EMME         Coordinate with V&E team regarding OCP declarations of                         0.10
                                  disinterestedness.


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      Re:        Restructuring Advice

      05/10/22       LRKA         Review and revise Brown Fox retention application (.7);                        0.90
                                  correspond with Eli Medina regarding same (.2).

      05/10/22       EMME         Correspond with V&E team regarding Brown Fox retention                         1.30
                                  (.4); correspond with V&E team regarding OCP issues (.3);
                                  conference with Ankura team regarding same (.1); review and
                                  revise Brown Fox retention application (.4); correspond with
                                  Brown Fox regarding same (.1).

      05/10/22       IDAY         Correspond with Ankura in connection with Deloitte retention                   0.40
                                  application.

      05/11/22       LRKA         Review and comment on Deloitte retention application (1.0);                    1.20
                                  correspond with V&E team regarding same (.2).

      05/11/22       EMME         Correspond with Ankura team regarding Brown Fox retention                      0.70
                                  application (.1); review and revise same (.2); coordinate with
                                  V&E team to file same (.1); review local rules regarding
                                  amended applications (.1); review and revise Brown Fox
                                  application (.2).

      05/12/22       LRKA         Conferences with Ida Ayalew regarding Deloitte retention                       1.90
                                  application (.8); review Deloitte engagement letters and
                                  declaration (.6); correspond with Ida Ayalew regarding same
                                  (.3); conference with V&E tax team regarding same (.2).

      05/12/22       EMME         Correspond with V&E, Ankura teams regarding OCP issues.                        0.60

      05/12/22       IDAY         Review comments received on Deloitte retention application                     1.10
                                  (.3); conferences with Lauren Kanzer regarding same (.8).

      05/15/22       IDAY         Review and revise Deloitte retention application (2.2);                        2.70
                                  correspond with V&E team regarding same (.5).

      05/23/22       IDAY         Revise Deloitte retention declaration.                                         1.20

      05/24/22       EMME         Correspond with V&E team and Ankura regarding                                  0.40
                                  declarations of disinterestedness.

      05/27/22       EMME         Correspond with V&E, Ankura teams regarding OCP issues                         0.50
                                  (.3); coordinate with V&E team regarding filing OCP
                                  declaration (.2).

      05/27/22       TGSP         Correspond with V&E team, Lazard and Sidley regarding                          0.40
                                  Lazard monthly fee statement (.2); coordinate filing of same
                                  (.2).

      05/27/22       IDAY         Correspond with Deloitte regarding retention application.                      0.30

      05/28/22       LRKA         Review and comment on Deloitte application (.7); correspond                    0.90
                                  with V&E team regarding same (.2).



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      Re:        Restructuring Advice

      05/28/22       IDAY         Review and revise Deloitte retention application regarding                     3.40
                                  comments received (3.1); correspond with V&E team
                                  regarding same (.3).

      05/29/22       LRKA         Review and comment on Deloitte retention application (.9);                     1.10
                                  correspond with Ida Ayalew regarding same (.2).

      05/29/22       IDAY         Review and incorporate comments received regarding                             3.60
                                  Deloitte Retention application (3.4); correspond with Lauren
                                  Kanzer regarding same (.2).

      05/30/22       IDAY         Correspond with Deloitte regarding retention application.                      0.40




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      Re:        Restructuring Advice

             Summary of services - Employment and Fee Applications
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                       19.10      540.00            10,314.00
                     LRKA         Lauren R. Kanzer                                                  6.50      975.00             6,337.50
                     EMME         Elias M. Medina                                                   5.10      590.00             3,009.00
                     MWMO         Matthew W. Moran                                                  0.90     1285.00             1,156.50
                     TGSP         Trevor G. Spears                                                  1.10      790.00               869.00
                     KIVA         Kiran Vakamudi                                                    0.20      790.00               158.00

             Total                                                                                 32.90                        21,844.00



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Financing and Cash Collateral
      Date           Initials     Description                                                                   Hours

      05/03/22       MJPY         Correspond with courtroom deputy regarding Final DIP Order                     0.50
                                  (.2); correspond with lender counsel regarding same (.3).

      05/05/22       MJPY         Review and evaluate updated DIP milestones (.2); correspond                    0.40
                                  with lender counsel regarding same (.2).

      05/06/22       MJPY         Analyze mechanic's lien issues and lien notices (.6);                          1.10
                                  correspond with V&E finance team regarding same (.2); draft
                                  email to lender counsel regarding strategy on same (.3).

      05/09/22       MJPY         Correspond with lender counsel regarding mechanic's liens                      1.10
                                  (.3); analyze client documentation to support same (.6);
                                  correspond with client regarding same (.2).

      05/10/22       MJPY         Evaluate lien analysis from client.                                            0.20

      05/12/22       MJPY         Evaluate DIP reporting issues (.3); correspond with V&E team                   0.50
                                  regarding same (.2).

      05/12/22       KIVA         Review DIP order and motion in connection with reporting                       0.30
                                  issues (.1); correspond with V&E team regarding same (.2).

      05/26/22       DSME         Review reservation of rights letter in connection with DIP                     0.30
                                  agreement (.2); correspond with V&E team regarding same
                                  (.1).

      05/26/22       LRKA         Correspond with V&E team regarding milestones, reservation                     0.50
                                  of rights.

      05/26/22       MJPY         Correspond with lender counsel regarding DIP milestones                        0.60


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      Re:        Restructuring Advice

                                  (.2); correspond with V&E team regarding same (.2); evaluate
                                  notice of reservation of rights and Final DIP Order in
                                  connection with same (.2).

      05/27/22       MJPY         Correspond with lender counsel regarding DIP milestone                         0.20
                                  extension.




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      Re:        Restructuring Advice

             Summary of services - Financing and Cash Collateral
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     LRKA         Lauren R. Kanzer                                                  0.50      975.00               487.50
                     DSME         David S. Meyer                                                    0.30     1325.00               397.50
                     MJPY         Matthew J. Pyeatt                                                 4.60      910.00             4,186.00
                     KIVA         Kiran Vakamudi                                                    0.30      790.00               237.00

             Total                                                                                  5.70                         5,308.00



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Hearings
      Date           Initials     Description                                                                   Hours

      05/03/22       DSME         Participate in hearing.                                                        0.80

      05/03/22       LRKA         Present at hearing regarding disclosure statement                              2.40
                                  supplement (.8); prepare for same (1.6).

      05/03/22       MJPY         Attend and participate in hearing regarding disclosure                         0.80
                                  statement supplement and insurance motion.

      05/03/22       MAGA         Attend bankruptcy hearing.                                                     0.80

      05/03/22       TGSP         Attend hearing on disclosure statement supplement and                          0.90
                                  insurance motion.

      05/30/22       MJPY         Draft talking points and related outline in preparation for sale               2.10
                                  hearing (.9); prepare further for same (1.2).

      05/31/22       MWMO         Attend confirmation hearing.                                                   1.20

      05/31/22       DSME         Attend confirmation hearing.                                                   1.20

      05/31/22       LRKA         Present at confirmation hearing.                                               1.20

      05/31/22       MJPY         Draft and revise talking points and related outline in prepartion              1.70
                                  for sale hearing (.9); prepare further for sale hearing (.8).

      05/31/22       MJPY         Attend and participate in sale and confirmation hearing (1.2);                 1.50
                                  prepare for same (.3).

      05/31/22       JRGO         Attend confirmation hearing.                                                   1.20

      05/31/22       MAGA         Attend confirmation hearing.                                                   1.20




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      Re:        Restructuring Advice

      05/31/22       SAZO         Attend confirmation hearing.                                                   1.20




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Hearings
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  2.00      860.00             1,720.00
                     JRGO         Jeremy R. Gonzalez                                                1.20      705.00               846.00
                     LRKA         Lauren R. Kanzer                                                  3.60      975.00             3,510.00
                     DSME         David S. Meyer                                                    2.00     1325.00             2,650.00
                     MWMO         Matthew W. Moran                                                  1.20     1285.00             1,542.00
                     MJPY         Matthew J. Pyeatt                                                 6.10      910.00             5,551.00
                     TGSP         Trevor G. Spears                                                  0.90      790.00               711.00
                     SAZO         Sara Zoglman                                                      1.20      590.00               708.00

             Total                                                                                 18.20                        17,238.00



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Litigation (Contested Matters and Adversary Proceedings)
      Date           Initials     Description                                                                   Hours

      05/01/22       RLPE         Review and analyze draft disclosure statement supplement                       1.20
                                  motion regarding evidentiary support and related issues (.8);
                                  review and revise witness and exhibit list for hearing (.4).

      05/02/22       RLPE         Confer with V&E team regarding language for proposed order                     2.60
                                  on Baucum matter (.2); revise witness and exhibit list for
                                  hearing (.5); review and revise responses and objections to
                                  Steel Reef discovery (.8); correspond with V&E team
                                  regarding hearing logistics (.1); conference with V&E team
                                  and counsel for Steel Reef regarding extension of time to
                                  respond to discovery and related issues (.4); correspond with
                                  V&E team regarding same (.2); analyze potential litigation and
                                  release issues in connection with Plan (.4).

      05/02/22       ERHI         Correspond with V&E team regarding Steel Reef                                  0.90
                                  interrogatories and requests for production (.3); finalize and
                                  file witness and exhibit list (.6).

      05/02/22       ESST         Edit and revise draft responses to requests for production and                 2.40
                                  revise draft responses to interrogatories.

      05/02/22       GRHO         Draft and revise talking points and review/analyze related                     1.20
                                  materials in preparation for call with Steel Reef counsel
                                  regarding motion to reject (.8); conference call with Steve
                                  Soule (Hall Estill) and Kristian Gluck (Norton Rose) regarding
                                  same (.4).

      05/03/22       MWMO         Conference with Ankura team regarding insurance motion and                     1.10


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      Re:        Restructuring Advice

                                  hearing (.3); confer with Becky Matthews regarding Steel Reef
                                  issues and related discovery requests (.2); review Krewe
                                  indemnity claim and confer with Becky Matthews regarding
                                  Krewe indemnity claim (.3); review correspondence regarding
                                  access to database by Steel Reef (.3).

      05/03/22       RLPE         Confer with Matt Moran regarding Steel Reef issues (.2);                       2.60
                                  correspond with V&E team regarding witness preparation for
                                  hearing (.3); conference with George Howard and counsel for
                                  Steel Reef regarding discovery requests (.6); follow-up call
                                  with V&E team regarding next steps (.3); correspond with
                                  Lazard and V&E teams regarding confidentiality and NDA
                                  issues in connection with discovery requests, and confer with
                                  Eli Sterbcow regarding same (.9); correspond with V&E team
                                  regarding draft stipulation in Baucum litigation matter (.3).

      05/03/22       MJPY         Attend witness preparation call with V&E team and Ankura                       0.50
                                  regarding insurance motion.

      05/03/22       JRGO         Confer with litigation team and Ankura in preparation for                      0.50
                                  hearing on insurance motion (.3); analyze related declaration
                                  (.2).

      05/03/22       ESST         Revise and draft responses to interrogatories (2.3); review                    3.70
                                  and revise confidentiality issues related to discovery and
                                  potential production (1.4).

      05/03/22       GRHO         Conference call with Becky Matthews, Steve Soule (Hall                         1.30
                                  Estill) and Kristian Gluck (Norton Rose) regarding Steel Reef
                                  contract rejection issues (.6); conduct follow-up call with V&E
                                  team regarding same (.3); correspond with Lazard regarding
                                  same (.4).

      05/04/22       RLPE         Correspond with V&E team regarding Baucum claim (.2);                          4.90
                                  review comments to stipulation (.3); correspond with V&E
                                  team, Company, and local counsel regarding same (.4); work
                                  on Steel Reef discovery responses (.4); correspond with V&E
                                  team regarding same (.2); analyze Steel Reef discovery
                                  issues (.8); correspond with V&E and Lazard teams regarding
                                  confidentiality and related issues (.6); conference with V&E
                                  team regarding outstanding issues regarding Steel Reef
                                  discovery and confer on next steps (.3); draft response to
                                  Steel Reef counsel (.2); correspond with George Howard
                                  regarding same (.3); update Company on Steel Reef
                                  discovery issues (.3); correspond with Lazard regarding same
                                  (.4); correspond with Matt Pyeatt and Ankura team regarding
                                  Steel Reef issues (.3); review update from Lauren Kanzer on
                                  Steel Reef issues (.2).

      05/04/22       JRGO         Confer with V&E litigation team regarding responses to                         0.70
                                  discovery requests (.4); confer with restructuring team
                                  regarding case developments and next steps (.1); analyze
                                  related correspondence (.2).


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      Re:        Restructuring Advice

      05/04/22       ESST         Review and compile documents for potential production (3.2);                   3.80
                                  correspond and confer with V&E team regarding same (.6).

      05/04/22       GRHO         Draft and revise proposal to Steel Reef regarding motion to                    1.40
                                  reject litigation and discovery (.6); conference call with V&E
                                  team regarding same (.3); correspond with V&E team
                                  regarding same (.1); review and analyze Steel Reef requests
                                  for production and interrogatories (.4).

      05/05/22       RLPE         Correspond with local counsel, Company and V&E teams                           3.00
                                  regarding issues in connection with Baucum litigation (.6);
                                  correspond with Lazard team regarding Steel Reef issues (.9);
                                  conference with V&E team regarding Steel Reef (.5); analyze
                                  issues related to Steel Reef (.4); confer with Lazard and V&E
                                  team regarding same (.3); correspond with V&E team
                                  regarding Krewe claim (.3).

      05/05/22       ERHI         Correspond with V&E team regarding Baucum lift stay.                           0.20

      05/05/22       ESST         Review documents for potential production (3.4); correspond                    3.70
                                  with V&E team regarding case strategy related to same (.3).

      05/05/22       GRHO         Conference call with Stephen Golmont regarding status of                       2.00
                                  discussions with Steel Reef (.3); draft and revise proposed
                                  discovery and litigation schedule (.8); attend call with Steve
                                  Soule and Kristian Gluck regarding same (.8); conference call
                                  with Sean O'Neal regarding Steel Reef discussions (.1).

      05/06/22       MWMO         Correspond with V&E team regarding Steel Reef issues and                       0.30
                                  potential resolution of same.

      05/06/22       RLPE         Confer with Eli Sterbcow regarding interrogatory responses                     2.60
                                  (.3); review and revise Baucum order (.3); correspond with
                                  Lauren Kanzer regarding Krewe objection (.3); review and
                                  revise interrogatory responses and objections (.8); correspond
                                  with Eli Sterbcow regarding same (.2); review Steel Reef's
                                  response to discovery proposal (.4); review and revise
                                  response to Steel Reef's counter (.2); correspond with V&E
                                  team regarding same (.1).

      05/06/22       ESST         Review documents in connection with responding to discovery                    2.90
                                  requests (1.7); draft and revise responses to discovery
                                  requests (.9); discuss same with Becky Matthews (.3).

      05/06/22       GRHO         Review, analyze, and respond to correspondence from                            0.70
                                  various parties regarding Steel Reef issues.

      05/07/22       MWMO         Confer with V&E team regarding Steel Reef issues and review                    1.20
                                  related email correspondence regarding same (.4); review
                                  and revise interrogatory responses (.5); correspond with V&E
                                  team regarding revisions (.3).



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      Re:        Restructuring Advice

      05/07/22       RLPE         Correspond with Steel Reef's counsel regarding discovery                       0.60
                                  agreements and access to sale VDR (.3); correspond with
                                  V&E team regarding same (.1); correspond with V&E team
                                  and company concerning interrogatory responses (.2).

      05/07/22       ESST         Coordinate document disclosure to satisfy discovery requests                   2.30
                                  of opposing counsel (1.2); revise drafts of interrogatory
                                  responses (1.1).

      05/08/22       ESST         Revise drafts of interrogatory responses (.6); correspond with                 0.80
                                  V&E team regarding same (.2).

      05/09/22       RLPE         Work on Steel Reef discovery responses and objections (.9);                    3.00
                                  follow-up with Lazard team regarding contents of sale VDR in
                                  connection with discovery requests (.4); review and revise
                                  interrogatory responses (.6); confer and correspond with V&E
                                  team to revise responses (.8); correspond with V&E team and
                                  Company regarding Baucum litigation (.3).

      05/09/22       LRKA         Draft email update to management regarding Baucum                              0.60
                                  litigation (.4); correspond with V&E team regarding same (.2).

      05/09/22       EMME         Review and revise notice of hearing for Steel Reef rejection                   0.40
                                  (.2); coordinate with V&E team to file same (.2).

      05/09/22       ESST         Review comments to and revise interrogatory responses                          5.30
                                  (3.1); confer and correspond with V&E team regarding same
                                  (.8); review additional documents for potential use in
                                  discovery responses (1.4).

      05/09/22       GRHO         Review, analyze, and revise responses to Steel Reef                            1.80
                                  Interrogatories (.7); correspond and confer with Company and
                                  V&E team regarding same (1.1).

      05/10/22       RLPE         Correspond with V&E team and Steel Reef regarding                              1.50
                                  discovery (.2); review and revise interrogatory responses and
                                  objections (.4); correspond with Eli Sterbcow concerning
                                  comments to same (.2); confer with V&E restructuring team
                                  regarding potential production and review related documents
                                  (.4); follow-up with David Mirkin regarding Steel Reef
                                  discovery issues (.3).

      05/10/22       LRKA         Confer with Cleary team regarding issues related to Krewe                      0.30
                                  and Baucum.

      05/10/22       ESST         Review and revise discovery responses (1.8); correspond with                   2.10
                                  Becky Matthews regarding same (.3).

      05/11/22       RLPE         Review and analyze various issues in connection with Steel                     3.40
                                  Reef discovery responses (.7); review and revise discovery
                                  responses (.9); correspond with V&E restructuring and
                                  litigation teams regarding interrogatory responses (.4);
                                  correspond with Company regarding same (.3); prepare for


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      Re:        Restructuring Advice

                                  meet and confer on Steel Reef requests for production (.6);
                                  correspond with V&E team regarding issues to address during
                                  same (.2); conduct follow-up on particular document
                                  questions (.3).

      05/11/22       ESST         Review, revise, and circulate multiple updated drafts of                       4.40
                                  discovery responses (3.7); confer with V&E team regarding
                                  same (.3); compile and circulate additional documents for
                                  potential production (.4).

      05/11/22       GRHO         Review, analyze, and comment on responses to Steel Reef                        1.20
                                  interrogatories (.8); review, analyze, and respond to email
                                  correspondence with V&E team regarding same (.4).

      05/12/22       RLPE         Prepare for meet and confer regarding Steel Reef discovery                     2.90
                                  (.4); conference with V&E restructuring team to prepare for
                                  and discuss meet and confer (.3); draft follow-up e-mail
                                  summary to Steel Reef (.6); confer with V&E team on same
                                  (.2); review and revise update to Steel Reef, including
                                  discovery issues (.6); coordinate with V&E litigation team on
                                  draft request to Lazard regarding location of certain
                                  information in sale VDR in connection with Steel Reef
                                  discovery (.4); review and analyze response from Lazard
                                  regarding sale VDR discovery questions (.3); correspond with
                                  V&E litigation team regarding same (.1).

      05/12/22       ESST         Review documents for potential production (1.1); confer with                   3.90
                                  V&E team regarding meet and confer (.3); correspond with
                                  V&E team regarding same (.6); draft responses to discovery
                                  requests (1.1); coordinate with V&E litigation team related to
                                  same (.4); conference with same regarding same (.4).

      05/12/22       GRHO         Review, analyze and respond to email summary of call with                      0.80
                                  Steel Reef counsel regarding discovery requests (.3);
                                  participate on call with V&E litigation team in preparation for
                                  call with Steel Reef regarding discovery requests (.3);
                                  correspond with V&E litigation team regarding same (.2).

      05/13/22       RLPE         Correspond with V&E litigation team regarding Steel Reef                       1.60
                                  document requests (.3); review and evaluate same (.6);
                                  conference with Kristian Gluck concerning discovery issues
                                  and related correspondence with V&E restructuring and
                                  litigation teams (.4); correspond with V&E litigation team on
                                  draft discovery responses and objections (.3).

      05/13/22       ESST         Correspond with V&E team regarding Steel Reef document                         2.60
                                  requests (.3); review and evaluate documents related to same
                                  (2.3).

      05/15/22       RLPE         Correspond with V&E team regarding Steel Reef discovery                        1.80
                                  issues (.2); review and revise responses and objections to
                                  Steel Reef's requests for production (1.2); confer with Eli
                                  Sterbcow on potential items for production (.4).


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      Re:        Restructuring Advice

      05/15/22       ESST         Review and revise drafts of responses to discovery requests                    2.60
                                  (2.0); correspond with V&E litigation team regarding same
                                  (.2); conference with Becky Matthews regarding same (.4).

      05/16/22       MWMO         Conference with V&E litigation team regarding litigation                       1.40
                                  updates and next steps, Steel Reef discovery, auction and
                                  confirmation objections (.4); correspond with V&E RR team
                                  regarding same (.3); review correspondence regarding USSIC
                                  request for information and review of related documents (.6);
                                  confer with V&E team regarding same (.1).

      05/16/22       RLPE         Confer with V&E litigation and production teams regarding                      4.30
                                  specifications for document production (.4); correspond with
                                  Steel Reef counsel regarding protective order (.1); correspond
                                  with V&E litigation team regarding Steel Reef discovery and
                                  related litigation issues (.2); evaluate and review discovery
                                  responses, including potential documents for production and
                                  related confidentiality issues (.8); correspond with David
                                  Mirkin and V&E litigation team regarding specific discovery
                                  requests (.4); review, revise and finalize responses and
                                  objections for service on Steel Reef (1.6); draft and revise
                                  cover e-mail to Steel Reef regarding discovery responses and
                                  production (.3); correspond with V&E restructuring team
                                  regarding confirmation objections and analyze same (.4);
                                  correspond with V&E litigation team regarding same (.1).

      05/16/22       ERHI         Prepare witness and exhibit list for confirmation and sale                     0.70
                                  hearing.

      05/16/22       ESST         Review and revise multiple drafts of responses to discovery                    4.30
                                  requests (3.9); conference with V&E team regarding same
                                  (.4).

      05/16/22       GRHO         Review and analyze document production materials for Steel                     2.00
                                  Reef (.2); correspond with V&E litigation team regarding same
                                  (.1); correspond with same regarding responses to Steel Reef
                                  requests for production and review/analyze related materials
                                  (.6); review/analyze and comment on responses to Steel Reef
                                  requests for production (.7); correspond with V&E team
                                  regarding same (.4).

      05/17/22       MWMO         Review correspondence from UCC counsel regarding                               0.50
                                  Formentera bid (.1); review declarations in support of
                                  confirmation (.4).

      05/17/22       RLPE         Correspond with V&E team regarding next steps with respect                     2.80
                                  to Steel Reef/motion to reject (.3); confer with same regarding
                                  reply in support of motion to reject (.2); outline main
                                  arguments to address in same (.6); correspond with V&E
                                  litigation team regarding reply (.2); correspond with V&E team
                                  regarding deposition logistics, preparations and outline for
                                  same (1.0); correspond with David Mirkin regarding deposition


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      Re:        Restructuring Advice

                                  preparation (.2); correspond with Emily Rhine regarding
                                  witness and exhibit list issues (.3).

      05/17/22       ERHI         Draft witness and exhibit list for confirmation hearing (.8);                  1.30
                                  gather documents in support of same (.5).

      05/17/22       ESST         Draft reply brief related to Steel Reef litigation (3.6);                      4.10
                                  correspond with V&E team regarding same (.3); confer with
                                  same regarding same (.2).

      05/18/22       RLPE         Correspond with V&E litigation team regarding deposition and                   5.10
                                  confirmation preparation issues (.6); prepare for and
                                  participate on conference with Steel Reef counsel regarding
                                  Steel Reef issues (.5); review and revise all declarations in
                                  support of confirmation and PSA and related documents in
                                  connection with same (2.2); correspond with V&E litigation
                                  team regarding same (.4); review and revise deposition
                                  preparation outline (.7); correspond with V&E litigation team
                                  regarding same (.1); correspond with David Mirkin regarding
                                  deposition preparation (.2); conferences and e-mail
                                  correspondence with Steel Reef counsel and V&E teams
                                  regarding sale progress and Steel Reef deposition (.4).

      05/18/22       JRGO         Confer with V&E litigation team regarding sale process, reply                  3.80
                                  in support of motion to reject, and related discovery (.4);
                                  analyze and edit declarations in support of Plan confirmation
                                  (3.4).

      05/18/22       ERHI         Draft witness and exhibit list and compile additional                          0.90
                                  documents.

      05/18/22       ESST         Draft deposition preparation outline (2.3); confer with V&E                    4.10
                                  team regarding same (.6); draft reply brief in connection with
                                  Steel Reef litigation (1.2).

      05/19/22       MWMO         Confer and correspond with V&E team regarding Steel Reef                       0.80
                                  issues and potential reply brief on motion to reject.

      05/19/22       RLPE         Review and comment on declarations in support of                               6.20
                                  confirmation (.7); correspond with V&E team on comments
                                  (.2); review and confer with V&E restructuring team to finalize
                                  Stretto declaration and exhibits (.5); prepare for and
                                  participate in witness preparation for David Mirkin deposition,
                                  including telephone conference with V&E team and David
                                  Mirkin on same (1.2); correspond and conferences with Steel
                                  Reef counsel and V&E restructuring team regarding status,
                                  Mirkin deposition, and extension of related deadline (.9);
                                  analyze issues in connection with reply in support of motion to
                                  reject Steel Reef (.4); discuss same with V&E litigation team
                                  (.6); revise declarations in support of confirmation and sales
                                  (.4); correspond with Steel Reef counsel and David Mirkin
                                  regarding deposition and related matters (.2); review
                                  confirmation objection tracker chart (.3); review and analyze


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      Re:        Restructuring Advice

                                  liquidation analysis (.5); confer with V&E team regarding
                                  same (.3).

      05/19/22       ERHI         Review and revise witness & exhibit list.                                      3.00

      05/19/22       ESST         Draft reply to objections filed by third parties.                              5.40

      05/20/22       MWMO         Review and revise liquidation analysis (.8); confer with Eli                   5.10
                                  Sterbcow regarding preparation for confirmation hearing (1.0);
                                  confer with Becky Matthews regarding Transier declaration
                                  (.2); review same (.2); review revisions to Tempke declaration
                                  (.2); conference with V&E team regarding evidentiary issues
                                  (.8); conference with Ankura regarding liquidation analysis
                                  (.7); revise confirmation declarations (1.1); correspond with
                                  V&E team regarding witness and exhibit list (.1).

      05/20/22       RLPE         Confer with Eli Sterbcow regarding reply in support of motion                  4.10
                                  to reject (.3); correspond with Kristian Gluck regarding Steel
                                  Reef issues (.3); review and revise declarations (.4); confer
                                  with Matt Moran regarding Transier declaration (.2); prepare
                                  for confirmation hearing (.4); review confirmation objections
                                  (.3); analyze same related to witness preparation (.2);
                                  conference with V&E team regarding confirmation hearing
                                  preparation (.4); review, revise and finalize witness and
                                  exhibit list (.3); correspond with V&E team regarding revisions
                                  to same (.4); correspond with V&E restructuring team
                                  regarding confirmation brief (.5); review same (.3); correspond
                                  with Kristian Gluck regarding notice of successful bidder (.1).

      05/20/22       JRGO         Confer with V&E litigation and restructuring teams regarding                   0.40
                                  confirmation hearing preparation.

      05/20/22       ERHI         Revise witness and exhibit list (2.6); compile related exhibits                4.90
                                  (1.9); conference with V&E team regarding evidence needed
                                  for confirmation hearing (.4).

      05/20/22       ESST         Conference with V&E team regarding confirmation hearing                        5.30
                                  (.4); review and revise declarations to be filed for confirmation
                                  hearing (4.9).

      05/20/22       GRHO         Correspond with V&E team regarding Steel Reef issues (.5);                     0.70
                                  conference with Kristian Gluck (Norton Rose) regarding same
                                  (.2).

      05/21/22       MWMO         Review and revise evidentiary chart for confirmation hearing                   1.70
                                  (.7); correspond with V&E team regarding evidentiary
                                  presentation (.3); review revisions to Tempke sale declaration
                                  (.4); review revisions to Pinsonnault confirmation declaration
                                  (.3).

      05/21/22       RLPE         Correspond with V&E litigation team regarding witness                          4.40
                                  preparation for confirmation hearing (.9); correspond with V&E
                                  team regarding witness & exhibit list (.3); correspond with


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      Re:        Restructuring Advice

                                  V&E team and Kristian Gluck regarding Steel Reef issues (.4);
                                  review and revise confirmation brief (.7); correspond with Matt
                                  Pyeatt and Eli Medina regarding same (.2); correspond with
                                  V&E team regarding Talco issues (.3); review updated
                                  confirmation objection tracker (.3); review additional revisions
                                  and comments to Liquidation Analysis (.3); review and revise
                                  Pinsonnault and Tempke declarations (.6); correspond with
                                  Weil team regarding Transier confirmation declaration (.2);
                                  correspond with Kristian Gluck regarding David Mirkin
                                  deposition and update client and V&E team on same (.2).

      05/21/22       ERHI         Correspond with V&E team regarding witness & exhibit list.                     0.30

      05/21/22       ESST         Review and revise confirmation declarations.                                   1.40

      05/22/22       MWMO         Revise evidence chart (.4); correspond with V&E team                           2.50
                                  regarding same (.1); review revisions to confirmation
                                  declarations (.6); conference with V&E team regarding
                                  confirmation hearing preparation (.8); review liquidation
                                  analysis (.2); revise same (.4).

      05/22/22       RLPE         Correspond with Eli Sterbcow regarding witness and hearing                     3.10
                                  preparation (.6); revise confirmation declarations (.8);
                                  correspond with Weil team regarding hearing preparation (.3);
                                  correspond with V&E team and counsel to Steel Reef
                                  regarding related sale/confirmation issues (.2); correspond
                                  with V&E team regarding research related to hearing (.2);
                                  revise confirmation brief (.4); outline additional points for
                                  witness preparation (.4); correspond with Eli Sterbcow and
                                  Matt Moran regarding hearing preparations (.2).

      05/22/22       JRGO         Confer with V&E litigation and restructuring teams regarding                   0.80
                                  hearing preparation.

      05/22/22       ERHI         Conference with V&E team regarding workstreams for hearing                     1.30
                                  (.8); correspond with V&E team regarding confirmation and
                                  sale declarations, witness and exhibit list, and witness
                                  preparation (.5).

      05/22/22       ESST         Review and revise sale and confirmation declarations (1.8);                    6.90
                                  conference with V&E team regarding works in progress and
                                  hearing preparation (.8); conduct research regarding
                                  confirmation objection (4.3).

      05/22/22       GRHO         Correspond with Kristian Gluck (Norton Rose) regarding                         0.50
                                  resolution of Steel Reef objections (.2); correspond V&E team
                                  regarding same (.3).

      05/23/22       MWMO         Review and revise Tempke sale declaration (.4); correspond                     5.30
                                  with V&E team regarding same (.2); review correspondence
                                  regarding objections (.2); correspond with Becky Matthews
                                  regarding confirmation hearing preparation (.3); review and
                                  analyze changes to liquidation analysis (.6); review chart


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      Re:        Restructuring Advice

                                  tracking confirmation and sale objections (.3); analyze issues
                                  related to bonding obligations (.4); review revisions to Tempke
                                  sale declaration (.2); review USSIC objection to disclosure
                                  statement and confirmation (.4); correspond with V&E team
                                  regarding same (.4); review related documents (.4); review
                                  documents related to Talco transaction (.7); prepare witness
                                  preparation outlines (.8).

      05/23/22       RLPE         Correspond with V&E team regarding hearing preparations                        8.00
                                  (.6); review and revise language addressing Steel Reef's
                                  objection (.7); correspond with V&E team and Steel Reefs
                                  counsel regarding same (.5); review and revise Tempke sale
                                  declaration (.8); correspond with V&E team and Lazard
                                  regarding same (.6); conference with same regarding same
                                  (.8); review Pinsonnault confirmation declaration (.5); revise
                                  witness outlines (.4); correspond with V&E team regarding US
                                  Specialty issues (.7); conference with V&E team regarding
                                  same (.4); review US Specialty objections and related
                                  documents (.6); correspond with V&E team regarding same
                                  (.4); review and analyze confirmation brief (.3); correspond
                                  with V&E team regarding sale and confirmation objections
                                  (.4); review and revise witness and exhibit list (.3).

      05/23/22       JRGO         Analyze confirmation brief in furtherance of witness prep (1.2);               4.30
                                  correspond with V&E litigation team regarding same (.4);
                                  analyze confirmation declarations (.6); draft witness
                                  preparation outline (2.1).

      05/23/22       ERHI         Review Tempke sale declaration and draft hearing                               6.00
                                  preparation outline (2.4); revise evidence tracker (1.7);
                                  correspond with V&E team regarding same (.8); revise
                                  witness and exhibit list (.7); revise Tempke hearing
                                  preparation outline (.4).

      05/23/22       ESST         Conduct research related to confirmation objections (2.1);                     6.60
                                  correspond with V&E team regarding same (.8); draft reply to
                                  an objection to confirmation (3.7).

      05/24/22       MWMO         Prepare for confirmation hearing (.9); review objections and                   7.60
                                  confirmation order (1.5); review amended witness and exhibit
                                  list (.3); revise witness preparation outlines (1.2); confer with
                                  Scott Pinsonnault in preparation for confirmation hearing
                                  (2.0); conference with Bill Transier regarding preparation for
                                  confirmation hearing (.7); review and analyze issues related to
                                  North Dakota claims (.3); conference with V&E team
                                  regarding same (.7).

      05/24/22       RLPE         Revise witness and exhibit list (.7); revise Tempke and                        8.50
                                  Pinsonnault sale and confirmation declarations (.5);
                                  conference with V&E team regarding North Dakota issues
                                  (.7); review and revise proposed language to resolve Steel
                                  Reef and USSIC objections and comment on same (.7);
                                  confer with Eli Sterbcow on witness preparation (.6); meeting


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  with Scott Pinsonnault to prepare for confirmation hearing
                                  (2.0); conference with Christian Tempke to prepare for
                                  confirmation hearing (1.5); confer with V&E team regarding
                                  logistics and outstanding preparation items for confirmation
                                  and sale hearing (.4); review and revise witness cross-
                                  examination outlines (1.2); correspond with V&E team
                                  regarding hearing logistics (.2).

      05/24/22       LRKA         Correspond with V&E team regarding witness and exhibit list                    1.40
                                  (.5); correspond with V&E team regarding Pinsonnault
                                  confirmation declaration (.2); attend witness preparation with
                                  Bill Transier (.7).

      05/24/22       MJPY         Conference with Lazard and V&E litigation teams regarding                      1.40
                                  witness preparation for sale hearing (1.4).

      05/24/22       JRGO         Correspond with V&E litigation and restructuring teams                         6.20
                                  regarding sale objections (.4); analyze and collect documents
                                  in furtherance of preparing witnesses for sale and
                                  confirmation hearing (1.4); prepare for witness preparation
                                  meetings (.1); conference with Scott Pinsonnault regarding
                                  confirmation hearing preparation (2.0); conference with
                                  Christian Tempke regarding confirmation hearing preparation
                                  (1.5); conference with William Transier regarding confirmation
                                  hearing preparation (.5); confer with V&E litigation team
                                  regarding next steps (.3).

      05/24/22       ERHI         Conference with V&E team regarding confirmation objection                      5.30
                                  (.5); revise amended witness and exhibit list (2.3); coordinate
                                  hearing logistics (.4); coordinate filing of witness and exhibit
                                  list (.5); coordinate hearing binder preparation (.4); revise
                                  witness and exhibit list (.4); create virtual data room for
                                  witness and exhibit list exhibits (.8).

      05/24/22       SAZO         Prepare objection summary chart regarding sale objections                      2.50
                                  for agenda exhibit (1.5); confer with V&E team regarding
                                  same (.3); revise same (.7).

      05/24/22       ESST         Revise draft confirmation objection reply (1.7); draft witness                 7.60
                                  prep materials (1.0); conference with V&E team regarding
                                  sale and confirmation objections (.5); draft cross examination
                                  outline for witness prep (2.0); coordinate logistics related to
                                  confirmation hearing attendance (.9); compile related
                                  materials (1.5).

      05/25/22       MWMO         Prepare for confirmation hearing (1.5); review updates and                     4.70
                                  summaries of objections (.5); negotiations, calls, research and
                                  analysis related to North Dakota DEQ claim and potential
                                  resolution of same (2.6); confer with V&E team regarding
                                  additional research related to DEQ dispute (.1).

      05/25/22       RLPE         Revise language resolving Steel Reef objection (.7);                           5.40
                                  negotiations and analysis regarding outstanding objections


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      Re:        Restructuring Advice

                                  (.9); confer with V&E team regarding witness and exhibit list
                                  (.4); review evidentiary presentation for hearing (.3); confer
                                  with Scott Pinsonnault and Ankura team regarding hearing
                                  preparation (.9); revise witness outlines (.7); conferences with
                                  various parties regarding potential hearing continuation (.5);
                                  conference with Scott Pinsonnault regarding hearing (.3);
                                  correspond with V&E litigation team regarding continued
                                  hearing and next steps (.4); correspond with Weil team
                                  regarding continued hearing and witness preparation (.3).

      05/25/22       LRKA         Review correspondence regarding objections (.7); correspond                    1.20
                                  and conference with V&E team regarding same and next
                                  steps (.5).

      05/25/22       JRGO         Research various issues in furtherance of responding to                        3.50
                                  objections to confirmation of chapter 11 plan (1.6); compile
                                  and draft summary of research (.6); confer and correspond
                                  with litigation and restructuring teams in preparation for
                                  hearing on confirmation of chapter 11 plan (.5); analyze
                                  summaries of objections to confirmation and related research
                                  questions (.4); confer and correspond with litigation team
                                  regarding case developments and next steps (.4).

      05/25/22       ERHI         Revise second amended witness and exhibit list and                             5.40
                                  coordinate filing (2.2); draft notice of additional exhibits (.6);
                                  print additional exhibits and update hearing binders (1.2); file
                                  notice and additional exhibits prior to hearing (.7); set up for
                                  and begin to attend hearing (.7).

      05/25/22       SAZO         Revise sale reply to objections (.4); confer with V&E team                     4.40
                                  regarding same (.2); revise same based on discussions (.2);
                                  prepare same for filing (.2); update objection tracker (.7);
                                  revise sale approval order with language resolving objections
                                  (1.3); correspond with V&E team regarding same (.6); update
                                  exhibit to agenda tracking objections to sale (.4); compile P&A
                                  materials for hearing preparation and potential argument (.3);
                                  correspond with V&E team regarding same (.1).

      05/26/22       MWMO         Work on issues related to North Dakota DEQ dispute,                            2.50
                                  including amendments to witness and exhibit list and review
                                  of incident reports and briefing related to alleged
                                  environmental remediation issues (1.8); draft requests for
                                  production to ND DEQ and confer with V&E team regarding
                                  same (.5); confer with V&E team regarding witness and
                                  exhibit list (.2).

      05/26/22       RLPE         Correspond with V&E team regarding outstanding North                           2.30
                                  Dakota DEQ issues and analyze next steps with respect to
                                  discovery and witnesses (.3); conference with V&E team to
                                  discuss supplemental briefing and documents to request in
                                  connection with same (.3); review further revised Steel Reef
                                  language to resolve objection, and e-mail correspondence
                                  with Steel Reef on same (.3); review and revise draft DEQ


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      Re:        Restructuring Advice

                                  document/information requests and confer with team on same
                                  (.5); confer with V&E team on revisions and additions to
                                  witness and exhibit list (.4); correspond to opposing counsel
                                  on DEQ issues (.3); correspond with V&E team regarding
                                  evidentiary issues (.2).

      05/26/22       JRGO         Conduct research in furtherance of responding to confirmation                  6.50
                                  objections (3.2); draft summary of same (.4); analyze
                                  documents produced in support of objections (.6); correspond
                                  with litigation team regarding preparation for confirmation
                                  hearing (.5); draft witness preparation outline (1.8).

      05/26/22       ERHI         Draft third amended witness & exhibit list (.8); correspond with               1.40
                                  V&E team regarding same (.6).

      05/26/22       ESST         Correspond with V&E team on strategy for handling                              3.50
                                  outstanding objections to confirmation/sale (.7); participate in
                                  internal V&E call on potential discovery issues (.4); conduct
                                  research in connection with Debtors' responses to
                                  confirmation objections (2.0); correspond on drafting
                                  amended witness and exhibit list (.4).

      05/27/22       MWMO         Prepare for and participate in call with Bill Bender and Joe                   3.60
                                  Schimelpfening regarding remediation issues (1.5); analysis
                                  related to ND DEQ objection (2.1).

      05/27/22       RLPE         Review correspondence from opposing counsel regarding                          2.10
                                  North Dakota DEQ issues and update on discussions
                                  concerning same (.5); confer with V&E team regarding next
                                  steps and further evidentiary preparation to address DEQ
                                  issues (.2); correspond with Eric Van Horn on DEQ issues
                                  and begin to review provided documents (.4); confer with V&E
                                  team on evidence for and revisions to third amended witness
                                  and exhibit list (.3); update from V&E team on as-filed
                                  Baucum motion to lift stay (.2); correspond with V&E team
                                  regarding issues with respect to same (.5).

      05/27/22       JRGO         Analyze research regarding confirmation objections (.3); draft,                4.20
                                  analyze, and edit witness outline in preparation for
                                  confirmation hearing (1.8); edit witness outline (.6); analyze
                                  and edit witness and exhibit list in preparation for filing same
                                  (.7); confer and correspond with litigation and restructuring
                                  teams regarding hearing preparation and witness and exhibit
                                  list (.4); confer with V&E team regarding same and research
                                  question (.1); finalize witness and exhibit list for filing (.3).

      05/27/22       ESST         Conference with potential expert witness in connection with                    4.70
                                  North Dakotas objections (1.3); conference with V&E team
                                  regarding strategy related to same (.5); conference with North
                                  Dakotas counsel related to same (1.5); conference with V&E
                                  team regarding same (.4); review and revise witness and
                                  exhibit list for upcoming hearing and assist in compiling
                                  documents to be filed (1.0).


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      Re:        Restructuring Advice

      05/28/22       MWMO         Work on issues related to North Dakota DEQ claim (1.3);                        2.20
                                  prepare for conference with Bill Seuss, including review of
                                  documents from ND DEQ (.9).

      05/28/22       RLPE         Correspond with V&E team and buyer's counsel regarding                         1.70
                                  further revised language to resolve objections and review
                                  same (.3); correspond with V&E team regarding informal
                                  discovery on DEQ issues and initial review of incomplete
                                  documentation provided (.5); review and analyze draft
                                  response to opposing counsel concerning same, as well as
                                  proposed revisions to be made (.4); follow-up with Bill Bender
                                  regarding conference with opposing counsel on Monday (.1);
                                  correspond with opposing counsel regarding conference with
                                  Bill Suess tomorrow morning to discuss DEQ issues (.2);
                                  review settlement communication to opposing counsel
                                  regarding DEQ issues (.2).

      05/29/22       MWMO         Conference with Bill Seuss to understand cost estimate (1.1);                  2.70
                                  conference with V&E team regarding settlement (.4); follow up
                                  call with Eric Van Horn and ND DEQ regarding settlement
                                  (.4); prepare for and participate in further conference with Eric
                                  Van Horn regarding settlement offer (.7); correspond with
                                  V&E team regarding same (.1).

      05/29/22       RLPE         Review correspondence from V&E and Cleary teams related                        0.60
                                  to DEQ issues and updates (.2); correspond with V&E team
                                  regarding Baucum motion to lift stay (.2); correspond with
                                  Steel Reef and buyer team regarding language to address
                                  potential objection, similar follow-up on CLM language (.2).

      05/29/22       JRGO         Conferences with opposing counsel regarding confirmation                       1.80
                                  objection (1.1); confer with litigation team regarding same (.4);
                                  analyze correspondence regarding potential settlement (.3).

      05/29/22       ESST         Conference with North Dakota's counsel and expert witness in                   1.50
                                  connection with its confirmation objection (1.1); follow-up
                                  conference with V&E team (.4).

      05/30/22       MWMO         Review settlement language for confirmation order to address                   0.60
                                  North Dakota objections and related email correspondence
                                  (.4); prepare for confirmation hearing (.2).

      05/30/22       RLPE         Correspond with Emily Rhine and Lauren Kanzer regarding                        2.20
                                  amended witness and exhibit list and review additional
                                  revisions to finalize same (.4); correspond with lender's and
                                  buyer's counsel regarding resolution of various objections (.2);
                                  correspond with Weil concerning hearing logistics (.1); update
                                  witnesses regarding hearing details (.2); correspond with Matt
                                  Pyeatt regarding DEQ issues and review related language to
                                  resolve objection (.8); further analyze Baucum motion to lift
                                  stay and correspond with V&E team regarding same (.4);
                                  analyze Steel Reef settlement language in efforts to resolve


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      Re:        Restructuring Advice

                                  objection (.1).

      05/30/22       ERHI         Revise and file fourth amended witness and exhibit list for                    0.90
                                  5/31 hearing.

      05/30/22       SAZO         Correspond with V&E team regarding status of sale objections                   1.80
                                  (.4); revise sale approval order with updated language
                                  resolving objections (.8); correspond with Pachulski, Cleary,
                                  and Kirkland teams regarding revised sale approval order and
                                  confirmation order and status of objections (.2); revise sale
                                  objection summary chart exhibit for agenda (.3); correspond
                                  with V&E team regarding same (.1).

      05/31/22       MWMO         Review correspondence regarding finalizing language with                       2.80
                                  ND DEQ (.3); confer with V&E team regarding claims
                                  channeled to liquidating trust (.1); correspond with witnesses
                                  regarding hearing (.2); prepare for final prep session with
                                  Scott Pinsonnault including review of UST objections (.8);
                                  meeting with Scott Pinsonnault and V&E team regarding
                                  confirmation hearing (.8); prepare for confirmation hearing
                                  (.6).

      05/31/22       RLPE         Correspond with V&E team regarding hearing and witness                         1.20
                                  preparation for hearing today (.3); correspond with counsel
                                  regarding revisions to Steel Reef and DEQ language (.4);
                                  update from taxing authorities regarding position on resolving
                                  objection (.2); review reservation of rights from Cleary (.1);
                                  correspond with V&E team regarding update on hearing (.2).

      05/31/22       JRGO         Analyze and collect documents in preparation for hearing on                    3.80
                                  confirmation of chapter 11 plan (.6); confer with litigation team
                                  regarding same (.2); prepare for confirmation hearing (3.0).

      05/31/22       ERHI         Prepare for confirmation hearing.                                              2.10




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      Re:        Restructuring Advice

             Summary of services - Litigation (Contested Matters and Adversary Proceedings)
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     JRGO         Jeremy R. Gonzalez                                               36.50      705.00            25,732.50
                     GRHO         George R. Howard                                                 13.60     1285.00            17,476.00
                     LRKA         Lauren R. Kanzer                                                  3.50      975.00             3,412.50
                     RLPE         Rebecca L. Matthews                                              93.70     1155.00           108,223.50
                     EMME         Elias M. Medina                                                   0.40      590.00               236.00
                     MWMO         Matthew W. Moran                                                 46.60     1285.00            59,881.00
                     MJPY         Matthew J. Pyeatt                                                 1.90      910.00             1,729.00
                     ERHI         Emily Rhine                                                      34.60      590.00            20,414.00
                     ESST         Eli S. Sterbcow                                                  95.90      590.00            56,581.00
                     SAZO         Sara Zoglman                                                      8.70      590.00             5,133.00

             Total                                                                               335.40                        298,818.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Meetings and Communications with Creditors
      Date           Initials     Description                                                                   Hours

      05/01/22       LRKA         Conference call with UCC regarding sale process.                               0.50

      05/02/22       MJPY         Conferences with Committee advisors regarding plan                             0.90
                                  comments.

      05/02/22       MAGA         Conference with V&E, Pachulski, and Cleary teams regarding                     0.70
                                  plan issues.

      05/05/22       MAGA         Participate on calls with creditors' counsel regarding case                    0.50
                                  updates and related issues (.4); correspond with V&E
                                  restructuring team regarding same (.1).

      05/11/22       LRKA         Participate on conference call with Committee, V&E team,                       0.50
                                  and Lazard regarding sale process.

      05/11/22       MJPY         Participate on call with taxing authority counsel regarding                    1.40
                                  confirmation objection (.3); correspond with counsel to
                                  seismic agreements regarding cure objection (.2); participate
                                  on call with counsel regarding same (.2); participate on call
                                  with Committee advisors regarding sale process update (.5);
                                  correspond with lender counsel regarding Formentera PSA
                                  (.2).

      05/11/22       MAGA         Confer with and participate on calls with creditor parties                     0.90
                                  regarding objections (.4); call with Debtors' and Committee's
                                  professionals regarding matter updates and related issues


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      Re:        Restructuring Advice

                                  (.5).

      05/12/22       RLPE         Participate on telephonic meet and confer with counsel for                     1.00
                                  Steel Reef and discuss requests for production (.8);
                                  correspond with Steel Reef regarding discovery issues (.2).

      05/12/22       MJPY         Correspond with lender counsel regarding diligence issues on                   0.20
                                  remediation obligations.

      05/12/22       ESST         Conduct meet and confer with opposing counsel.                                 0.80

      05/12/22       GRHO         Conference with Steel Reef counsel and V&E litigation team                     0.80
                                  regarding Steel Reef requests for production.

      05/16/22       LRKA         Conference with Lazard, V&E team, Pachulski, Riveron,                          1.30
                                  Ankura regarding sale process, updates (.5); conference call
                                  with Cleary, V&E team regarding same (.8).

      05/16/22       MJPY         Conference with Committee advisors regarding sale process                      1.30
                                  update (.5); participate on call with lender advisors regarding
                                  same (.8).

      05/17/22       MJPY         Correspond with Committee advisors regarding chapter 11                        0.70
                                  updates (.3); correspond with Shell counsel regarding auction
                                  (.2); correspond with DEQ counsel regarding sale process
                                  (.2).

      05/18/22       DSME         Correspond with Jeff Pomerantz regarding sale process (.2);                    0.80
                                  review correspondence related to same (.3); conference with
                                  Pachulski regarding sale (.3).

      05/18/22       MJPY         Participate on call with Committee advisors regarding chapter                  0.40
                                  11 update (.3); prepare for same (.1).

      05/18/22       MAGA         Conference with Debtor and Committee professionals                             1.30
                                  regarding matter updates and related issues.




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      Re:        Restructuring Advice

             Summary of services - Meetings and Communications with Creditors
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  3.40      860.00             2,924.00
                     GRHO         George R. Howard                                                  0.80     1285.00             1,028.00
                     LRKA         Lauren R. Kanzer                                                  2.30      975.00             2,242.50
                     RLPE         Rebecca L. Matthews                                               1.00     1155.00             1,155.00
                     DSME         David S. Meyer                                                    0.80     1325.00             1,060.00
                     MJPY         Matthew J. Pyeatt                                                 4.90      910.00             4,459.00
                     ESST         Eli S. Sterbcow                                                   0.80      590.00               472.00

             Total                                                                                 14.00                        13,340.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Plan, Disclosure Statement, and Confirmation
      Date           Initials     Description                                                                   Hours

      05/01/22       LRKA         Review and comment on disclosure statement supplement                          1.40
                                  (.3); correspond with V&E team regarding same (.1); review
                                  amended plan (.5); correspond with V&E team regarding
                                  same (.1); review analysis regarding GUC recoveries (.3);
                                  correspond with Bryan Gaston regarding same (.1).

      05/01/22       EMME         Correspond with V&E, Ankura teams regarding notices of                         1.80
                                  filing reports (.2); correspond with V&E team regarding cure
                                  objection tracker (.1); conference with same regarding same
                                  (.4); conference with same regarding same (.1); draft
                                  emergency motion to consider DS supplement motion (.5);
                                  review Pachulski comments to DS supplement motion (.2);
                                  correspond with V&E team regarding same (.3).

      05/01/22       TGSP         Correspond with V&E team regarding disclosure statement                        1.80
                                  supplement motion and plan (.2); research regarding
                                  Committee comments to Plan (.5); correspond with V&E team
                                  regarding same (.4); draft revisions to Plan (.7).

      05/02/22       DSME         Correspond with Lauren Kanzer regarding disclosure                             0.60
                                  statement supplement (.3); review same (.3).

      05/02/22       LRKA         Review and comment on supplement to disclosure statement                       4.70
                                  (.8); correspond with V&E team regarding same (.5); review
                                  and comment on amended plan (.7); conference and
                                  correspond with V&E team regarding same (.7); correspond
                                  with V&E team regarding supplemental disclosure statement
                                  motion, solicitation (.6); conference call with Pachulski,
                                  Cleary, V&E teams regarding disclosure statement


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      Re:        Restructuring Advice

                                  supplement, plan (.5); conduct follow-up conference with V&E
                                  team regarding same (.5); correspond with Pachulski, Cleary
                                  regarding same (.4).

      05/02/22       SAZO         Review and respond to correspondence with V&E team                             2.10
                                  regarding amended plan, supplemental DS, and supplemental
                                  DS motion (.2); revise supplemental DS (.9); conference with
                                  V&E team regarding same (.5); correspond with Ankura team
                                  regarding same (.2); correspond with V&E team regarding
                                  changes to supplemental DS (.3).

      05/02/22       EMME         Review precedent liquidation trust language (.3); review and                   2.60
                                  revise disclosure statement supplement (1.8); conference with
                                  V&E team regarding same (.5).

      05/02/22       TGSP         Draft revisions to Plan based on same and comments from                        2.40
                                  V&E team regarding same (1.8); correspond with V&E team
                                  regarding same (.6).

      05/02/22       IDAY         Draft notice of agenda (.8); correspond with V&E team                          2.50
                                  regarding same (.4); review and revise same (.6); draft notice
                                  of filing insurance motion (.5); coordinate with V&E team
                                  regarding filings (.2).

      05/02/22       GRHO         Conference with Pachulski, Cleary and V&E teams regarding                      0.50
                                  plan and UCC settlement term sheet.

      05/03/22       MAGA         Review and revise various documents related to global                          1.20
                                  settlement (.9); confer with V&E team regarding same (.3).

      05/03/22       SAZO         Correspond with V&E team regarding supplemental                                1.50
                                  disclosure statement (.4); revise same (.8); prepare same for
                                  filing (.1); correspond with Lewis Gillies regarding amended
                                  plan and supplemental disclosure statement (.2).

      05/03/22       EMME         Correspond with V&E team regarding DS supplement and DS                        3.80
                                  supplement motion (.3); review and revise same (.6); research
                                  regarding solicitation (1.2); correspond with V&E team
                                  regarding same (.7); draft revised order (.6); correspond with
                                  V&E team regarding same (.4).

      05/03/22       TGSP         Draft revisions to Plan based on comments received at                          2.20
                                  hearing and comments from UCC (.8); correspond with V&E
                                  team regarding same (.6); draft revisions to Disclosure
                                  Statement Supplement and Plan for solicitation (.4);
                                  correspond with V&E team and Company regarding same
                                  (.2); correspond with Stretto regarding solicitation (.2).

      05/03/22       IDAY         Revise notice of agenda for upcoming hearing regarding                         0.50
                                  supplemental Disclosure Statement motion, Plan, and
                                  Insurance Motion.

      05/04/22       LRKA         Review solicitation procedures (.4); correspond and                            1.80


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      Re:        Restructuring Advice

                                  conferences with V&E team, Stretto regarding same (.8);
                                  consider strategy issues, timeline (.6).

      05/04/22       EMME         Research regarding tabulation procedures (1.7); correspond                     5.80
                                  with V&E team regarding same (.2); draft confirmation brief
                                  (3.9).

      05/05/22       LRKA         Participate on conference call with V&E team regarding                         0.60
                                  declarations in support of confirmation.

      05/05/22       MJPY         Call with V&E restructuring team regarding evidence for                        0.60
                                  confirmation hearing and declarations in support of same.

      05/05/22       MAGA         Review and revise confirmation brief (.8); confer with V&E                     1.40
                                  team regarding declarations in support of confirmation (.6).

      05/05/22       EMME         Draft confirmation brief (2.4); correspond with V&E team                       6.30
                                  regarding same (.3); draft confirmation order (3.6).

      05/06/22       MAGA         Draft brief in support of confirmation (2.2); correspond with                  2.60
                                  V&E team regarding confirmation work streams (.4).

      05/06/22       EMME         Correspond with V&E team regarding confirmation brief                          1.70
                                  research (.3); research regarding confirmation brief (1.4).

      05/06/22       IDAY         Research third-party releases (.6); draft summary of same                      1.50
                                  (.9).

      05/09/22       LRKA         Confer with Eli Medina regarding plan solicitation (.3);                       0.70
                                  conference with Ida Ayalew regarding Pinsonnault declaration
                                  in support of confirmation (.4).

      05/09/22       MAGA         Review and analyze confirmation order (.4); draft confirmation                 2.10
                                  brief (1.7).

      05/09/22       EMME         Conference with Lauren Kanzer regarding soliciation (.3);                      3.10
                                  review proposed confirmation order language from United
                                  States Attorney's Office (.8); review confirmation brief
                                  research (.3); review and revise confirmation order (1.6);
                                  correspond with V&E team regarding same (.1).

      05/09/22       IDAY         Research regarding confirmation brief (2.5); correspond with                   3.20
                                  V&E team regarding same (.3); conference with Lauren
                                  Kanzer regarding Pinsonnault declaration (.4).

      05/10/22       MAGA         Review and revise confirmation order (2.5); correspond with                    4.50
                                  V&E team regarding same (.3); draft brief in support of
                                  confirmation (1.7).

      05/10/22       SAZO         Review precedent plan supplement schedules (.5); draft                         2.40
                                  schedule of trust assets for plan supplement (1.8); confer with
                                  V&E team regarding same (.1).



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      Re:        Restructuring Advice

      05/10/22       EMME         Correspond with V&E team regarding confirmation order (.3);                    2.80
                                  review DOI, BLM, and EPA language for confirmation order
                                  (.6); correspond with V&E team regarding same (.2); conduct
                                  research in furtherance of confirmation brief (.6); review and
                                  revise confirmation order (1.1).

      05/10/22       IDAY         Research and review precedent declarations in support of                       2.80
                                  plan confirmation (.7); draft declaration regarding same (2.1).

      05/11/22       LRKA         Review confirmation order (.2); correspond with V&E team                       1.60
                                  regarding same (.3); conferences with Ankura regarding
                                  liquidation analysis (.7); conduct initial review of filed
                                  confirmation objections (.4).

      05/11/22       MJPY         Correspond with V&E team regarding confirmation objections                     1.30
                                  (.2); evaluate confirmation objections (.4); participate on call
                                  with Ankura regarding liquidation analysis (.7).

      05/11/22       MAGA         Review and revise confirmation order (.8); confer with V&E                     4.60
                                  team regarding same (.3); review and revise plan supplement
                                  documents (.7); confer with V&E and Ankura teams regarding
                                  same (.4); draft brief in support of confirmation (1.8); review
                                  and analyze objections to confirmation (.6).

      05/11/22       EMME         Review and revise confirmation order (1.5); research in                        3.20
                                  furtherance of confirmation brief (.8); conference with V&E
                                  team regarding same (.1); review informal
                                  comments/objections to confirmation (.5); draft tracking chart
                                  for objections (.3).

      05/11/22       IDAY         Draft declaration in support of plan confirmation (1.2); conduct               2.40
                                  research regarding confirmation brief (.9); correspond with
                                  V&E team regarding same (.3).

      05/12/22       LRKA         Conference calls with Ankura, V&E team regarding liquidation                   2.10
                                  analysis (1.3); review same (.3); correspond with V&E team
                                  regarding confirmation issues (.3); correspond with Eric
                                  English regarding Krewe objection (.2).

      05/12/22       MJPY         Correspond with V&E team regarding liquidation analysis (.2);                  2.10
                                  correspond with V&E team regarding confirmation brief inquiry
                                  (.2); participate on call with Ankura regarding liquidation
                                  analysis (1.3); evaluate confirmation objections (.4).

      05/12/22       MAGA         Draft brief in support of confirmation (2.3); participate on                   3.60
                                  various calls with V&E and Ankura teams regarding same
                                  (1.3).

      05/12/22       EMME         Review and analyze UST confirmation objection (.6); conduct                    5.20
                                  research regarding same (.9); update tracking chart including
                                  summarizing objections and informal comments (1.5); draft
                                  responses to UST objections (2.2).



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      Re:        Restructuring Advice

      05/12/22       IDAY         Draft declaration in support of confirmation (1.2); conduct                    1.90
                                  research in furtherance of same (.7).

      05/13/22       LRKA         Conference call with V&E team regarding objections (.6);                       2.70
                                  correspond with V&E team, Cleary regarding same (.2);
                                  review voting report (.2); review and comment on confirmation
                                  order (1.0); review materials regarding same (.5); correspond
                                  with V&E team regarding same (.2).

      05/13/22       MAGA         Draft brief in support of confirmation (2.3); review and analyze               3.30
                                  objections to confirmation of plan (.4); participate on calls and
                                  confer with V&E team regarding same (.6).

      05/13/22       EMME         Review and revise confirmation order (.7); correspond with                     2.70
                                  V&E team regarding same (.4); draft responses to
                                  confirmation objections (.7); prepare for and attend
                                  conference with V&E team regarding UST objections (.9).

      05/13/22       IDAY         Draft declaration in support of plan confirmation (1.0); confer                1.30
                                  with V&E team regarding draft declaration (.3).

      05/14/22       LRKA         Review and comment on Pinsonnault declaration (.6);                            3.40
                                  correspond with V&E team regarding same (.2); review and
                                  comment on confirmation order (1.2); correspond with Eli
                                  Medina regarding same (.3); review research regarding
                                  abandonment (.7); correspond with V&E team, Lazard
                                  regarding same (.4).

      05/14/22       EMME         Review and revise confirmation order (2.4); correspond with                    3.10
                                  V&E team regarding same (.3); correspond with same
                                  regarding plan strategy (.2); research regarding same (.2).

      05/14/22       IDAY         Draft revisions to declaration in support of plan confirmation                 1.40
                                  based on comments from V&E team (1.2); correspond with
                                  V&E team regarding same (.2).

      05/15/22       LRKA         Conference call with Company, Matt Pyeatt regarding ND                         1.30
                                  DEQ and NDIC (.7); review materials regarding same (.2);
                                  consider issues regarding plan alternatives (.4).

      05/15/22       MJPY         Participate on call with client regarding NDIC confirmation                    1.10
                                  objection (.7); correspond with local counsel regarding same
                                  (.2); correspond with V&E team regarding same (.2).

      05/15/22       EMME         Draft Transier declaration in support of confirmation (2.5);                   2.90
                                  correspond with V&E team regarding same (.3); correspond
                                  with V&E team regarding confirmation order and sale
                                  approval order (.1).

      05/16/22       LRKA         Review Talco settlement agreement (.3); correspond with                        3.20
                                  V&E team regarding same (.2); review correspondence
                                  regarding same (.3); review and comment on Transier
                                  declaration in support of confirmation (.8); correspond with


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                                  V&E team regarding same (.2); evaluate confirmation
                                  objections and potential issues (.6); draft confirmation
                                  checklist (.6); correspond with V&E team regarding same (.2).

      05/16/22       MAGA         Draft brief in support of confirmation (1.4); correspond with                  3.00
                                  V&E team regarding confirmation objections and related
                                  matters (.7); analysis regarding same (.9).

      05/16/22       EMME         Review and revise Transier declaration in support of                           3.90
                                  confirmation (1.7); correspond with V&E team regarding same
                                  (.3); correspond with V&E team regarding confirmation brief
                                  (.4); review and revise confirmation brief (1.5).

      05/16/22       IDAY         Review and revise declaration in support of plan confirmation                  1.70
                                  based on comments received (1.3); correspond with V&E
                                  team regarding same (.4).

      05/17/22       LRKA         Review and comment on Transier declaration in support of                       3.50
                                  confirmation (.9); correspond with V&E team regarding same
                                  (.3); review and comment on Tempke declaration in support of
                                  sale (1.0); correspond with V&E team regarding same (.3);
                                  review revised Tempke declaration (.2); revise Pinsonnault
                                  declaration in support of confirmation (.7); correspond with
                                  V&E team regarding same (.1).

      05/17/22       MAGA         Draft brief in support of confirmation (2.3); conferences and                  3.70
                                  correspondence with V&E team regarding confirmation
                                  objections and progress on same (1.4).

      05/17/22       EMME         Correspond with V&E, Ankura teams regarding setoff issues                      5.60
                                  (.3); conference with V&E team regarding confirmation brief
                                  (.4); review and revise confirmation brief (1.7); conduct
                                  research in support of same (2.4); review and revise objection
                                  tracker chart (.8).

      05/17/22       IDAY         Research regarding recently confirmed plans in the NDTX                        2.60
                                  (1.2); draft summary regarding same (.9); correspond with
                                  V&E team regarding same (.3); correspond with Lauren
                                  Kanzer regarding declaration (.2).

      05/18/22       DSME         Review Transier declaration in support of confirmation (.8);                   1.30
                                  correspond with V&E team regarding same (.5).

      05/18/22       LRKA         Evaluate issues regarding confirmation workstreams (.8);                       1.80
                                  review and comment on Pinsonnault declaration in support of
                                  plan confirmation (.6); confer with V&E team regarding same
                                  (.4).

      05/18/22       MAGA         Review and revise brief in support of confirmation (.9); review                1.50
                                  and revise plan supplement documents (.6).

      05/18/22       EMME         Review and evaluate voting tabulation procedures (.5);                         3.20
                                  correspond with V&E team regarding same (.3); research


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                                  related to confirmation objection responses (.9); review and
                                  revise Transier declaration in support of confirmation (.8);
                                  correspond with V&E team regarding same (.3); review and
                                  revise chart summarizing and tracking confirmation objections
                                  (.4).

      05/18/22       IDAY         Review and revise declaration in support of confirmation                       1.30
                                  following comments received.

      05/19/22       MWMO         Review and revise Transier declaration in support of                           2.00
                                  confirmation (1.0); review V&E comments regarding same
                                  (.4); review and revise Pinsonnault declaration in support of
                                  confirmation (.6).

      05/19/22       LRKA         Correspond with V&E team regarding plan releases (.4);                         4.20
                                  review and revise Pinsonnault declaration (1.0); correspond
                                  with Ida Ayalew regarding same (.2); review and comment on
                                  secured claims schedule (.3); correspond with Mike Garza
                                  regarding same (.1); review and comment on confirmation
                                  brief (1.1); correspond with V&E team regarding same (.3);
                                  correspond with V&E team regarding plan supplement
                                  documents (.5); review same (.3).

      05/19/22       MAGA         Review and revise plan supplement documents (1.2); confer                      3.70
                                  and participate on calls with V&E and Ankura teams regarding
                                  same (.8); draft confirmation order inserts to resolve
                                  objections (1.3); participate on calls with creditors regarding
                                  same (.4).

      05/19/22       SAZO         Review comments to plan supplement exhibits (.1); revise                       1.40
                                  same (.6); correspond with V&E team regarding notice of filing
                                  plan supplement (.2); review and revise same (.5).

      05/19/22       EMME         Correspond with Stretto, Ankura, Company, V&E, Cleary, and                     3.60
                                  Pachulski teams regarding voting tabulation results (.6);
                                  correspond with V&E LIT team regarding Transier declaration
                                  (.4); correspond with V&E team regarding plan modifications
                                  (.2); review and revise sale/confirmation objection tracker
                                  chart (.3); review and revise Transier declaration (.4);
                                  correspond with V&E team regarding same (.3); correspond
                                  with Bill Transier regarding same (.1); correspond with Stretto
                                  team regarding service (.1); review Cleary comments to
                                  confirmation order (.9); correspond with V&E team regarding
                                  same (.3).

      05/19/22       IDAY         Review and revise Pinsonnault confirmation declaration (.7);                   0.90
                                  correspond with Lauren Kanzer regarding same (.2).

      05/20/22       DSME         Review liquidation analysis (.2); correspond with V&E team                     1.60
                                  regarding same (.2); review confirmation workstreams and
                                  related strategy (.4); conference with V&E team regarding
                                  plan revisions and status (.3); review GUC trust agreement
                                  (.5).


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      05/20/22       LRKA         Review and revise Pinsonnault confirmation declaration (.6);                   4.10
                                  correspond with Ida Ayalew regarding same (.2); correspond
                                  with Ankura regarding contract schedule, winddown budget
                                  (.3); review liquidation analysis (.5); correspond with V&E
                                  team regarding same (.2); review and revise plan supplement
                                  documents (1.0); correspond with V&E team regarding same
                                  (.3); review and comment on confirmation brief (.8);
                                  correspond with V&E team regarding same (.2).

      05/20/22       MJPY         Conferences with lender counsel regarding plan objections                      3.10
                                  (1.4); conference with V&E team regarding plan supplement
                                  documents (.7); review and revise schedule of other secured
                                  claims (.4); evaluate confirmation objections and tracker chart
                                  (.6).

      05/20/22       MAGA         Review and revise plan supplement documents (.7);                              4.00
                                  conference with V&E and Ankura teams regarding same (.7);
                                  conference with V&E and Cleary teams regarding objections
                                  to confirmation and related issues (1.4); draft emails to
                                  objecting parties regarding confirmation objections (.8); confer
                                  with V&E team regarding same (.4).

      05/20/22       SAZO         Revise liquidation trust agreement (1.3); correspond with V&E                  2.10
                                  team regarding same (.3); evaluate precedent liquidation trust
                                  agreements (.5).

      05/20/22       EMME         Correspond with V&E team regarding plan modifications (.3);                    5.40
                                  draft modifications to plan (.4); update confirmation objection
                                  tracker (.7); correspond with V&E LIT team regarding hearing
                                  exhibits (.3); review and revise confirmation order (1.4);
                                  correspond with V&E LIT team regarding Talco documents
                                  (.3); review and revise confirmation brief (.8); correspond with
                                  V&E team regarding confirmation objection tracker (.4);
                                  review and revise confirmation objection tracker (.8).

      05/20/22       IDAY         Revise Pinsonnault confirmation declaration (1.4); correspond                  1.80
                                  with V&E team and Scott Pinsonnault regarding same (.4).

      05/20/22       GRHO         Review and revise confirmation brief (.8); correspond with                     3.00
                                  V&E team regarding status of liquidation analysis (.4); review
                                  and revise liquidation trust agreement (.3); conference with
                                  Ankura and V&E teams regarding liquidation analysis (.7);
                                  review and revise plan supplement documents (.8).

      05/21/22       LRKA         Correspond with V&E team regarding confirmation matters                        4.60
                                  (.5); review revised confirmation brief (.6); correspond with Eli
                                  Medina regarding same (.2); review and comment on GUC
                                  trust agreement (.9); correspond with Mike Garza regarding
                                  same (.2); review and comment on Plan (1.6); correspond
                                  with Eli Medina regarding same (.3); correspond with Mike
                                  Garza regarding document status (.2); correspond with Ida
                                  Ayalew regarding open work streams (.1).


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      05/21/22       MAGA         Review and revise plan supplement documents (1.3); draft                       2.00
                                  emails to objecting parties regarding confirmation objections
                                  (.7).

      05/21/22       SAZO         Revise liquidation trust agreement (.3); correspond with V&E                   3.40
                                  team regarding same (.5); review and evaluate precedent
                                  trust agreements (.9); review amended plan (.2); prepare
                                  outline of revisions to liquidation trust agreement and plan
                                  (.6); confer with V&E team regarding same (.3); revise lists of
                                  trust assets (.2); correspond with V&E team regarding
                                  liquidation trust agreement revisions (.2); correspond with
                                  V&E tax team regarding same (.2).

      05/21/22       EMME         Review and revise confirmation brief (.8); correspond with                     4.20
                                  V&E team regarding same and amended plan (.2);
                                  correspond with V&E team regarding objections (.1); review
                                  and revise objection tracker chart (.4); correspond with Cleary
                                  and Pachulski teams regarding confirmation brief (.1); revise
                                  modified plan (.8); correspond with V&E teams regarding
                                  same (.2); review and revise GUC Trust Agreement (.3);
                                  review and revise confirmation brief (.6); review and revise
                                  objection tracker chart (.7).

      05/22/22       LRKA         Correspond with Cleary regarding liquidation trust agreement,                  4.80
                                  plan changes (.2); review and comment on confirmation order
                                  (.7); correspond with V&E team regarding same (.3); review
                                  and comment on Pinsonnault declaration (.5); correspond with
                                  Ida Ayalew regarding same (.1); conference with Mike
                                  Weinberg regarding settlement, LOE payments (.5); review
                                  and comment on plan, liquidation trust agreement,
                                  confirmation order, confirmation brief (2.5).

      05/22/22       MAGA         Review and revise plan supplement documents (.7);                              1.90
                                  correspond with V&E and Ankura team regarding same (.5);
                                  review and analyze objections to confirmation (.7).

      05/22/22       SAZO         Conference with V&E team regarding tax matters related to                      1.80
                                  the liquidation trust agreement (.4); review comments to
                                  liquidation trust agreement (.5); revise same (.5); correspond
                                  with V&E team regarding same (.2); correspond with Cleary
                                  team regarding same (.2).

      05/22/22       EMME         Review and revise confirmation order (.9); correspond with                     5.50
                                  V&E team regarding GUC Trust Agreement (.3); review and
                                  revise modified plan (.8); correspond with V&E team
                                  regarding same (.4); review and revise Transier confirmation
                                  declaration (.4); correspond with V&E, Weil teams, Transier
                                  regarding same (.8); correspond with Cleary/Pachulski teams
                                  regarding modified plan (.1); correspond with
                                  Cleary/Pachulski teams regarding confirmation order (.1);
                                  review and revise confirmation brief (.9); correspond with V&E
                                  team regarding same (.2); correspond with V&E ETP team


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                                  regarding confirmation order (.1); draft filing version of
                                  confirmation objection tracker (.3); correspond with V&E team
                                  regarding same (.2).

      05/22/22       IDAY         Draft revisions to declaration (.9); correspond with V&E team                  1.20
                                  regarding same (.3).

      05/22/22       GRHO         Review and revise GUC Trust Agreement (1.1); conference                        2.40
                                  with V&E tax team regarding GUC Trust Agreement and
                                  Liquidating Trust Agreement (.5); review and revise modified
                                  plan (.8).

      05/23/22       DSME         Prepare for confirmation hearing (1.6); correspond with V&E                    2.20
                                  team regarding same (.5); conference with Scott Pinsonnault
                                  regarding confirmation issues (.1).

      05/23/22       LRKA         Review and comment on Pinsonnault confirmation declaration                     6.20
                                  (.9); review and revise confirmation brief (.8); conferences and
                                  correspond with V&E team regarding same (.9); review and
                                  revise GUC trust agreement (.7); correspond with Cleary
                                  regarding same (.2); conference with Cleary regarding
                                  confirmation matters (1.0); review and comment on
                                  confirmation order (1.2); correspond with V&E team regarding
                                  same (.5).

      05/23/22       MAGA         Review and revise plan supplement documents (1.9);                             9.90
                                  coordinate filing of same (.5); correspond with V&E and
                                  Ankura teams regarding same (1.2); conferences with V&E
                                  team regarding confirmation and related strategy (.9); review
                                  and revise confirmation order (1.7); review and revise
                                  objection tracker (.8); review and revise confirmation brief (.9);
                                  conferences with parties objecting to confirmation of plan
                                  regarding same (2.0).

      05/23/22       SAZO         Draft notice of second plan supplement (.3); correspond with                   2.30
                                  V&E team regarding same (.1); revise same (.2); review
                                  Committee comments to liquidation trust agreement (.4);
                                  confer with V&E team regarding same (.2); revise liquidation
                                  trust agreement (.3); correspond with Cleary team regarding
                                  same (.2); revise notice of second plan supplement (.1);
                                  compile exhibits to plan supplement (.1); prepare same for
                                  filing (.1); compile exhibits to confirmation order to be filed
                                  (.2); correspond with V&E team regarding same (.1).

      05/23/22       EMME         Correspond with V&E team regarding confirmation and sale                       6.20
                                  declarations (.3); correspond with Cleary regarding same (.1);
                                  review and revise confirmation and sale objection tracker (.6);
                                  correspond with V&E, Ankura teams regarding same (.2);
                                  review and revise plan modification language (.8); correspond
                                  with V&E team regarding same (.1); review and revise GUC
                                  Trust Agreement (.8); correspond with V&E team regarding
                                  same (.3); review and revise confirmation brief (.9); revise
                                  confirmation order (1.1); correspond with Cleary team


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                                  regarding same (.1); review and revise confirmation and sale
                                  objection tracker (.9).

      05/23/22       IDAY         Correspond with Ankura regarding Pinsonnault confirmation                      2.80
                                  declaration (.4); correspond with V&E team regarding hearing
                                  logistics (.3); prepare confirmation hearing materials (1.6);
                                  revise Pinsonnault confirmation declaration (.5).

      05/23/22       GRHO         Confer and correspond with V&E team regarding USSIC                            4.10
                                  objection to plan confirmation and related responses (.9);
                                  review and revise proposed language from various parties to
                                  resolve confirmation and sale objections (1.5); correspond
                                  with opposing counsel regarding same (.7); conference with
                                  Phil Eisenberg regarding USSIC objection (.5); review and
                                  revise supplement briefing in support of confirmation and sale
                                  (.5).

      05/24/22       LRKA         Review and comment on proposed objection resolutions (.7);                     5.40
                                  correspond with Cleary regarding same (.2); conference with
                                  UST, Matt Pyeatt regarding objection (.5); correspond with
                                  V&E team, Cleary, Pachulski regarding plan (.3); correspond
                                  and conference with Cleary regarding GUC trust agreement
                                  (.5); correspond with Ankura regarding assumed contract
                                  schedule (.3); correspond with V&E team regarding same (.2);
                                  review liquidation trust agreement (.3); correspond with
                                  Cleary, Pachulski regarding same (.2); draft talking points and
                                  outline in preparation for confirmation hearing (1.5);
                                  correspond with V&E team regarding research questions in
                                  preparation for confirmation hearing (.3); review and comment
                                  on agenda for confirmation hearing (.3); correspond with V&E
                                  regarding same (.1).

      05/24/22       MJPY         Conference with UST regarding confirmation objection.                          0.50

      05/24/22       MAGA         Confer and participate on calls with parties regarding                         4.30
                                  objections to confirmation (1.6); correspond with same (.9);
                                  draft inserts for confirmation order regarding same (1.0);
                                  review and revise objection tracker (.4); review and revise
                                  plan supplement documents (.4).

      05/24/22       SAZO         Review liquidation trust agreement draft (.2); confer with V&E                 0.60
                                  team regarding same (.1); revise same (.2); correspond with
                                  Cleary and Pachulski regarding same (.1).

      05/24/22       EMME         Review and revise confirmation and sale objection tracker                      5.90
                                  (.7); review and revise confirmation order (.9); revise
                                  confirmation objection tracker (.3); draft talking points for UST
                                  objection (1.3); revise confirmation order, plan (.9); review and
                                  revise liquidation trust agreement (.3); draft proposed plan
                                  and confirmation order modification language (.7); correspond
                                  with Cleary, Pachulski, V&E teams regarding amended plan
                                  and confirmation order (.4); review revise and compile plan
                                  supplement (.4).


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      05/24/22       TGSP         Research regarding UST fees related to objection (1.7); draft                  2.60
                                  summary and talking points of same (.6); correspond with
                                  V&E team regarding same (.3).

      05/24/22       GRHO         Conference with V&E team regarding North Dakota                                4.80
                                  confirmation objections (.5); conference with same regarding
                                  confirmation and sale objections and potential resolutions of
                                  same (.5); correspond with opposing counsel regarding same
                                  (.8); review and revise supplemental briefing in support of
                                  confirmation sale (2.3); review and revise related confirmation
                                  and sale declarations (.7).

      05/25/22       DSME         Prepare for confirmation hearing.                                              1.30

      05/25/22       LRKA         Prepare for confirmation hearing (1.5); revise talking points in               3.50
                                  preparation for confirmation hearing (.7); conferences with
                                  V&E team regarding confirmation hearing preparation (.5);
                                  review and comment on notice of adjournment regarding
                                  confirmation hearing (.3); correspond with V&E team
                                  regarding same (.2); conferences with Chambers, US
                                  Trustee, Cleary, Pachulski, Kirkland regarding confirmation
                                  hearing (.3).

      05/25/22       MAGA         Confer and participate on calls with parties regarding                         4.10
                                  objections to confirmation (2.6); draft inserts for confirmation
                                  order regarding same (1.5).

      05/25/22       EMME         Review and revise objection tracker as objections are                          3.70
                                  resolved (1.2); review and revise confirmation order (1.0);
                                  follow up with various parties in interest related to
                                  confirmation objections and language (1.5).

      05/25/22       IDAY         Coordinate hearing logistics with V&E team.                                    0.90

      05/26/22       DSME         Telephone conference with Lauren Kanzer regarding status.                      0.30

      05/26/22       LRKA         Conference call with Matt Pyeatt and Mike Garza regarding                      2.30
                                  objections (.5); review CLM order language (.3); review and
                                  comment on LA taxing authority language (.9); conference
                                  with David Meyer regarding open issues (.3); review and
                                  comment on voting declaration (.3).

      05/26/22       MJPY         Call with V&E restructuring team regarding open confirmation                   0.50
                                  objections and resolutions.

      05/26/22       MAGA         Confer and participate on calls with parties regarding                         2.10
                                  objections to confirmation (.7); draft inserts for confirmation
                                  order regarding same (.9); participate on call with V&E team
                                  regarding next steps and confirmation (.5).

      05/26/22       EMME         Revise amended Stretto declaration (.3); correspond with                       2.90
                                  V&E, Stretto regarding same (.2); research regarding


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                                  governmental unit treatment (1.2); correspond with V&E team
                                  regarding same (.2); research regarding administrative claims
                                  (.8); correspond with V&E team regarding same (.2).

      05/26/22       GRHO         Review/analyze and comment on tracking chart of                                2.60
                                  sale/confirmation objections (.4); correspond with Matt Pyeatt
                                  and Sara Zoglman regarding same (.3); review/analyze
                                  related diligence information (.8); draft/revise summary of
                                  legal research and diligence and share with Cleary (1.1).

      05/27/22       DSME         Telephone conference with Lauren Kanzer regarding                              1.10
                                  confirmation matters and open issues (.5); telephone
                                  conference with V&E team and Jane VanLare regarding same
                                  (.6).

      05/27/22       LRKA         Correspond with Committee regarding sale, confirmation                         2.80
                                  order (.2); correspond with V&E team regarding DOJ
                                  objections, order language (.5); review materials regarding
                                  same (.3); review and comment on proposed language to
                                  resolve same (.7); conferences with Jane VanLare regarding
                                  confirmation matters (.6); conference with David Meyer
                                  regarding same (.5).

      05/27/22       MAGA         Confer and participate on calls with parties regarding                         2.40
                                  objections to confirmation (1.1); draft inserts for confirmation
                                  order regarding same (.5); correspond with V&E team
                                  regarding next steps and confirmation issues (.8).

      05/27/22       EMME         Research related to governmental discharge exemption (1.3);                    3.20
                                  correspond with V&E team related to same (.6); correspond
                                  with Cleary team regarding same (.2); review Cleary markup
                                  on DOI language and confer with V&E team regarding same
                                  (.4); correspond with V&E team regarding confirmation
                                  workstreams (.7).

      05/27/22       GRHO         Call with Bill Bender and Joe Schimelpfenig regarding North                    4.10
                                  Dakota confirmation objections and related issues (1.0); call
                                  with North Dakota and Eric Van Horn (Spencer Fane)
                                  regarding same (1.0); review/analyze North Dakota diligence
                                  materials (1.3); review/analyze and respond to email
                                  correspondence regarding confirmation / sale objections (.8).

      05/28/22       DSME         Correspond with V&E team regarding strategy and hearing.                       0.30

      05/28/22       LRKA         Revise LA Dept. of Revenue settlement language (.6);                           1.10
                                  correspond with V&E team regarding objections (.5).

      05/29/22       LRKA         Review correspondence regarding ND, Steel Reef objections                      2.20
                                  (.3); correspond with Ankura regarding GUC estimates (.2);
                                  correspond with V&E team regarding proposed orders,
                                  objections (.8); correspond with V&E team regarding plan
                                  supplement (.3); review same (.6).



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      05/29/22       MJPY         Analyze DOI confirmation order language (.2); evaluate                         0.70
                                  research regarding same (.3); correspond with V&E team
                                  regarding same (.2).

      05/29/22       GRHO         Telephonic interview with Bill Seuss (North Dakota) regarding                  3.50
                                  North Dakota DEQ issues (1.1); follow-up calls with Eric Van
                                  Horn (Spencer Fane) regarding same and next steps on
                                  potential settlement (1.5); review/analyze proposed North
                                  Dakota settlement (.4); correspond with Jane Van Lare
                                  (Cleary Gottlieb) regarding same (.2); correspond with Matt
                                  Pyeatt and Matt Moran regarding North Dakota settlement
                                  terms (.3).

      05/30/22       DSME         Prepare for confirmation hearing (.3); telephone conference                    0.50
                                  with V&E team regarding same (.2).

      05/30/22       LRKA         Review and comment on revised confirmation order, sale                         2.70
                                  order, objection chart (.4); correspond and conferences with
                                  V&E team regarding same (.6); correspond with Eli Medina
                                  regarding plan supplement (.2); correspond with V&E team
                                  regarding objections (.8); correspond with objecting parties
                                  (.4); correspond with Cleary, Pachulski, K&E, client regarding
                                  confirmation order, sale order (.3).

      05/30/22       MAGA         Confer with V&E team and other parties regarding objections                    1.50
                                  to confirmation.

      05/30/22       EMME         Review and revise confirmation order (1.5); review and revise                  2.40
                                  confirmation order tracker (.9).

      05/31/22       DSME         Telephone conference with Scott Pinsonnault and V&E team                       0.60
                                  regarding confirmation hearing.

      05/31/22       LRKA         Conference call with Cleary, V&E team regarding sale order,                    3.60
                                  confirmation order (.5); correspond and conferences with V&E
                                  team regarding same (.8); consider issues regarding same
                                  (.4); conferences with David Meyer and Matt Pyeatt regarding
                                  same (.5); correspond with counsel regarding objections (.6);
                                  correspond with UST, Pachulski, Cleary regarding
                                  confirmation order (.6); correspond with board regarding
                                  confirmation (.2).

      05/31/22       MJPY         Call with Ankura regarding witness preparation for                             1.10
                                  confirmation hearing (.9); call with Lauren Kanzer regarding
                                  open confirmation order issues (.2).

      05/31/22       MAGA         Confer and participate on calls with parties regarding                         2.30
                                  objections to confirmation (1.5); review and revise
                                  confirmation order addressing same (.8).

      05/31/22       EMME         Correspond with V&E team regarding leases (.2); correspond                     2.70
                                  with V&E team regarding DOI language (.3); update objection
                                  tracker (.4); revise confirmation order (.6); review precedent


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                                  related to same (.4); correspond with counsel for all parties
                                  with outstanding objections (.8).




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                                                                                Client/Matter Number         ROC447 64001
                                                                                Invoice Number               25701991
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Plan, Disclosure Statement, and Confirmation
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     IDAY         Ida Ayalew                                                      30.70       540.00            16,578.00
                     MAGA         Michael A. Garza                                                69.70       860.00            59,942.00
                     GRHO         George R. Howard                                                25.00      1285.00            32,125.00
                     LRKA         Lauren R. Kanzer                                                76.30       975.00            74,392.50
                     EMME         Elias M. Medina                                                103.40       590.00            61,006.00
                     DSME         David S. Meyer                                                   9.80      1325.00            12,985.00
                     MWMO         Matthew W. Moran                                                 2.00      1285.00             2,570.00
                     MJPY         Matthew J. Pyeatt                                               11.00       910.00            10,010.00
                     TGSP         Trevor G. Spears                                                 9.00       790.00             7,110.00
                     SAZO         Sara Zoglman                                                    17.60       590.00            10,384.00

             Total                                                                               354.50                        287,102.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Relief from Stay and Adequate Protection
      Date           Initials     Description                                                                   Hours

      05/02/22       TGSP         Correspond with Baucum counsel regarding agreed order (.1);                    0.30
                                  correspond with V&E team regarding same (.2).

      05/03/22       TGSP         Research regarding agreed order (.6); draft agreed order                       1.90
                                  (1.1); correspond with V&E team regarding same (.2).

      05/04/22       LRKA         Review and comment on agreed order (.6); correspond with                       0.80
                                  Trevor Spears and Becky Matthews regarding same (.2).

      05/04/22       TGSP         Correspond with Baucum counsel regarding agreed order (.3);                    1.60
                                  draft revision to agreed order (.5); correspond with Company
                                  regarding same (.6); correspond with defense counsel
                                  regarding same (.2).

      05/05/22       LRKA         Prepare for and participate on conference call with company                    1.30
                                  and Brunini firm regarding Baucum litigation (.7); review and
                                  revise draft agreed order lifting automatic stay (.3);
                                  correspond with Trevor Spears regarding same (.3).

      05/05/22       TGSP         Call with Company and defense counsel regarding Baucum                         2.70
                                  litigation (.6); conference call with V&E team regarding same
                                  (.4); calls with Lauren Kanzer regarding same (.6); call with
                                  Emily Rhine regarding same (.2); draft revisions to agreed
                                  order and correspondence to Baucum counsel regarding
                                  same (.7); correspond with V&E team regarding same (.2).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      05/27/22       TGSP         Review Baucum lift stay motion (.2); correspond with V&E                       1.30
                                  team regarding same (.3); research regarding same (.6);
                                  correspond with V&E team regarding same (.2).




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                                                                                Client/Matter Number         ROC447 64001
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      Re:        Restructuring Advice

             Summary of services - Relief from Stay and Adequate Protection
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     LRKA         Lauren R. Kanzer                                                  2.10      975.00             2,047.50
                     TGSP         Trevor G. Spears                                                  7.80      790.00             6,162.00

             Total                                                                                  9.90                         8,209.50



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Reporting
      Date           Initials     Description                                                                   Hours

      05/02/22       MAGA         Review and revise monthly operating reports (1.3); confer with                 2.80
                                  V&E team regarding same (.7); conference with V&E and
                                  Ankura teams regarding same (.8).

      05/04/22       MJPY         Correspond with Committee regarding DIP reporting (.2);                        0.40
                                  correspond with client regarding same (.2).

      05/13/22       MJPY         Evaluate DIP reporting issues (.4); correspond with V&E team                   0.70
                                  regarding same (.2); correspond with Ankura regarding same
                                  (.1).




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                                                                                Client/Matter Number         ROC447 64001
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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Reporting
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  2.80      860.00             2,408.00
                     MJPY         Matthew J. Pyeatt                                                 1.10      910.00             1,001.00

             Total                                                                                  3.90                         3,409.00



      Disbursements and other charges posted through May 31, 2022:


      Fees for services posted through May 31, 2022:
      Re: Tax
      Date           Initials     Description                                                                   Hours

      05/01/22       JCWI         Review purchase and sale agreement markup submitted by                         1.50
                                  Formentera (1.1); correspond with Matt Pyeatt regarding
                                  same (.4).

      05/02/22       JL           Review tax matters relating to potential sale transaction.                     0.80

      05/02/22       WTS          Review Formentera purchase and sale agreement.                                 0.80

      05/02/22       JCWI         Review and provide tax comments to purchase agreement                          1.00
                                  (.7); discuss with George Howard regarding same (.3).

      05/03/22       JL           Review and revise purchase and sale agreement (1.0);                           1.30
                                  conference with V&E team regarding tax issues (.3).

      05/03/22       WTS          Review and revise purchase and sale agreement regarding                        2.40
                                  tax issues (1.3); correspond with Curt Wimberly regarding
                                  same (.2); conferences with John Lynch and Curt Wimberly
                                  regarding same (.9).

      05/03/22       JCWI         Review and provide tax comments to PSA (1.1); conference                       2.00
                                  with V&E team regarding same (.9).

      05/04/22       WTS          Review trust structure and analyze tax issues regarding                        1.00
                                  same.

      05/05/22       JL           Review tax matters associated with potential sale                              0.80
                                  transactions.

      05/06/22       JL           Respond to questions relating to tax issues associated with                    0.80
                                  potential sale transaction.

      05/06/22       WTS          Confer with V&E working group regarding tax issues for                         0.80
                                  restructuring (.5); analyze tax issues regarding same (.3).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      05/06/22       LRKA         Conference call with V&E team regarding tax matters.                           0.50

      05/06/22       JCWI         Prepare for and conference with V&E team regarding tax                         0.80
                                  considerations (.6); correspond with Deloitte regarding tax
                                  analysis (.2).

      05/06/22       MAGA         Prepare for and participate on call with V&E teams regarding                   0.50
                                  tax issues.

      05/07/22       JCWI         Review tax basis information and draft email to Deloitte                       0.40
                                  regarding same.

      05/11/22       JL           Review potential sale transaction structure (.8); review tax                   2.50
                                  basis issues and gain calculations for alternative structures
                                  (1.7).

      05/11/22       WTS          Review and revise correspondence to Deloitte regarding tax                     0.50
                                  issues for restructuring (.2); confer with Curt Wimberly
                                  regarding same (.3).

      05/11/22       JCWI         Review and analysis tax basis information and draft email to                   0.50
                                  Deloitte regarding same (.3); conference with Wendy Salinas
                                  regarding same (.2).

      05/12/22       JL           Review and analyze tax basis issues (.8); review and evaluate                  1.30
                                  escrow issues regarding same (.3); conference with V&E
                                  team regarding same (.2).

      05/12/22       WTS          Review and revise escrow agreement (.3); confer with V&E                       0.50
                                  tax team regarding same (.2).

      05/12/22       JCWI         Confer with V&E team regarding tax compliance (.2); draft                      0.80
                                  correspondence regarding same (.6).

      05/13/22       JL           Review proposed transaction bids and related tax issues.                       0.70

      05/13/22       WTS          Review revised escrow agreement (.2); review revised                           1.30
                                  purchase and sale agreements (1.1).

      05/13/22       JCWI         Review and provide tax comments to escrow agreement (1.5);                     2.20
                                  review and analyze bid drafts of purchase and sale
                                  agreement (.7).

      05/15/22       JL           Review alternative acquisition proposals and related tax and                   2.00
                                  structuring issues (1.6); correspond with V&E team regarding
                                  same (.4).

      05/15/22       WTS          Review revised purchase agreement (.6); correspond with                        1.60
                                  V&E working group regarding same (.4); analyze tax issues
                                  regarding restructuring (.6).

      05/15/22       JCWI         Review and analyze tax inquires related to bid draft purchase                  0.80
                                  and sale agreement.


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      Re:        Restructuring Advice

      05/16/22       JL           Draft and revise changes to purchase and sale agreement                        2.20
                                  (.9); review and evaluate tax and structuring issues in
                                  connection with same (.7); review gain calculation issues and
                                  cancellation of indebtedness issues (.6).

      05/16/22       WTS          Review and revise tax related provisions of purchase and sale                  2.50
                                  agreement (1.9); confer with V&E working group regarding
                                  same (.6).

      05/16/22       JCWI         Review and provide tax comments to purchase and sale                           1.80
                                  agreement.

      05/17/22       JL           Draft and revise Formentera purchase and sale agreement                        2.00
                                  (.6); review trust agreement (.5); review basis issues and
                                  allocation of purchase price issues (.5); telephone
                                  conferences with V&E team regarding tax issues (.4).

      05/17/22       WTS          Review and revise tax provisions in transition services                        1.50
                                  agreement and purchase and sale agreement (1.1); confer
                                  with V&E working group regarding same (.4).

      05/17/22       JCWI         Review and provide tax comments to transition services                         1.70
                                  agreement (1.3); discuss same with V&E team (.4).

      05/18/22       JL           Review and analyze basis issues and purchase price                             1.50
                                  allocation issues (.8); review tax model and impact on Rockall
                                  equity owners (.7).

      05/18/22       WTS          Review and revise purchase and sale agreement (.9); confer                     3.70
                                  with V&E working group regarding same (.6); correspond with
                                  Deloitte regarding tax issues for restructuring (.5); conference
                                  call with Deloitte and V&E tax working group regarding same
                                  (.5); review and revise GUC trust agreement (.8); confer with
                                  V&E tax team regarding same (.4).

      05/18/22       JCWI         Review and analyze markup of purchase and sale agreement                       3.80
                                  (.8); discuss markup of purchase and sale agreement with
                                  V&E team (.6); discuss markup of purchase and sale
                                  agreement with Formentera counsel (.9); review and provide
                                  tax comments to GUC trust agreement (1.5).

      05/19/22       JL           Review and revise Formentera Purchase and sale Agreement                       1.60
                                  (.6); review tax and structuring issues regarding same (.4);
                                  telephone conferences with V&E team regarding same (.6).

      05/19/22       WTS          Review revised purchase and sale agreement (.7); confer with                   1.30
                                  V&E tax working group regarding same (.6).

      05/20/22       WTS          Conference with Deloitte and V&E working group regarding                       1.80
                                  tax partnership issues (.5); review and revise liquidation trust
                                  agreement (1.3).



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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      05/20/22       JCWI         Review and comment on liquidation trust agreement (1.2);                       2.00
                                  conference with Deloitte and V&E teams regarding tax issues
                                  (.5); prepare for same (.3).

      05/21/22       JCWI         Review and analyze liquidation trust tax considerations.                       0.80

      05/22/22       JL           Review changes to transaction documents and related tax                        0.80
                                  issues.

      05/22/22       WTS          Analyze tax issues related to liquidation trust agreement (.5);                2.50
                                  conference with Curt Wimberly regarding same (.5); review
                                  and revise same (.6); review and revise confirmation order
                                  (.4); correspond with V&E team regarding same (.5).

      05/22/22       JCWI         Review and analyze liquidation trust tax considerations (1.0);                 1.50
                                  conference with Wendy Salinas regarding same (.5).

      05/24/22       JCWI         Draft and review tax partnership termination agreement.                        1.00

      05/25/22       WTS          Review and revise amendment to conveyance and analyze                          1.50
                                  related tax issues (1.3); confer with Curt Wimberly regarding
                                  same (.2).

      05/25/22       JCWI         Draft and review tax partnership termination agreement (.6);                   0.80
                                  confer with Wendy Salinas regarding same (.2).

      05/27/22       JL           Review and revise NPI amendment.                                               0.70

      05/27/22       JCWI         Review and revise net profits interest amendment and discuss                   1.30
                                  same with V&E team (.8); draft correspondence related to
                                  same (.5).




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      Re:        Restructuring Advice

            Summary of services - Tax
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  0.50      860.00               430.00
                     LRKA         Lauren R. Kanzer                                                  0.50      975.00               487.50
                     JL           John E. Lynch                                                    19.00     1465.00            27,835.00
                     WTS          Wendy T. Salinas                                                 23.70     1325.00            31,402.50
                     JCWI         John C. Wimberly                                                 24.70      890.00            21,983.00

            Total                                                                                  68.40                        82,138.00



      Disbursements and other charges posted through May 31, 2022:


      Disbursements and other charges posted through May 31, 2022:


      Travel
      05/02/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051836845 DATE:                                         -27.00
                                  5/25/2022 05/02/2022 Baggage Fee UNITED AIRLINES HOUSTON TX -
                                  Reimbursement of baggage fee for canceled tickets. See Report # 0100-
                                  5126-4673 for receipts. for GARZA /OTHER
      05/02/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051836845 DATE:                                        -292.83
                                  5/25/2022 05/02/2022 Airfare United Airlines - Reimbursement for
                                  canceled tickets. See Report # 0100-5126-4673 for receipts. for
                                  GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 05/03/2022 -
                                  05/06/2022
      05/03/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051743670 DATE:                                        -326.20
                                  5/21/2022 05/03/2022 Airfare American Airlines - Refund for canceled
                                  ticket. for GARZA/MICHAEL ANGEL Route: DFW PHL on 05/13/2022 -
                                  05/13/2022
      05/03/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051743670 DATE:                                        -136.12
                                  5/21/2022 05/03/2022 Airfare United Airlines - Refund for canceled ticket.
                                  for GARZA/MICHAEL ANGEL Route: IAH DFW on 05/11/2022 -
                                  05/11/2022
      05/12/22       LRKA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051826453 DATE:                                        578.72
                                  5/25/2022 05/12/2022 Airfare Delta Airlines - Attending hearing in Dallas.
                                  Trip canceled. for KANZER/LAUREN RISTAU Route: LGA/DFW LGA on
                                  05/17/2022 - 05/19/2022
      05/17/22       LRKA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051826453 DATE:                                        -578.72
                                  5/25/2022 05/17/2022 Airfare Delta Airlines - Attending hearing in Dallas.
                                  Trip canceled. for KANZER/LAUREN RISTAU Route: LGA/DFW/LGA on
                                  05/17/2022 - 05/19/2022
      05/23/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                     -1,055.52
                                  6/1/2022 05/23/2022 Airfare Delta Airlines - Hearing was canceled. for
                                  MEYER/DAVID S Route: LGA/DFW LGA on 05/24/2022 - 05/25/2022
      05/23/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                      1,055.52
                                  6/1/2022 05/23/2022 Airfare Delta Airlines - Hearing was canceled. for
                                  MEYER/DAVID S Route: LGA/DFW LGA on 05/24/2022 - 06/25/2022
      05/23/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                        -574.88


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      Re:        Restructuring Advice

                                   6/1/2022 05/23/2022 Airfare American Airlines - Hearing was canceled.
                                   for MEYER/DAVID S Route: DFW LGA on 05/25/2022 - 05/25/2022
      05/23/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                       574.88
                                   6/1/2022 05/23/2022 Airfare American Airlines - Hearing was canceled.
                                   for MEYER/DAVID S Route: DFW LGA on 05/25/2022 - 05/25/2022
      05/25/22       ESST          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051863029 DATE:                                       466.20
                                   5/26/2022 05/25/2022 Sedan Services S1 GLOBAL, LLC DALLAS TX -
                                   Two SUVs reserved to transport attorneys and witnesses to Fort Worth
                                   bankruptcy court to attend hearing - judge rescheduled hearing to virtual so
                                   car service was cancelled but a penalty was assessed due to cancellation
                                   time frame
                     Travel                                                                                                      $-315.95
      Business Meals
      04/27/22       MWMO          VENDOR: Lush Catering Co.; INVOICE#: 7628; DATE: 4/27/2022 - Lunch                              130.39
                                   on 4/27 for Depo. of D.Meyer (5 ppl)
      05/24/22       ESST          VENDOR: East Hampton Sandwich Co; INVOICE#: 10062722567208962;                                  137.85
                                   DATE: 5/24/2022 - ROC client meeting lunch on 5/25/22 - 8 people
      05/25/22       ESST          VENDOR: Taco Joint; INVOICE#: 13; DATE: 5/25/2022 - ROC client                                       65.01
                                   meeting breakfast on 5/25/22 - 7 people
      05/25/22       ESST          VENDOR: Lush Catering Co.; INVOICE#: 7688; DATE: 5/25/2022 - ROC                                150.57
                                   client meeting breakfast on 5/25/22 - 10 people
      05/26/22                     VENDOR: JP Morgan Chase - Petty Cash; INVOICE#: JPMCPC052622;                                        20.00
                                   DATE: 5/26/2022 - Petty Cash Reimbursement - fruit for M. Morgan
                                   meeting
      05/26/22                     VENDOR: JP Morgan Chase - Petty Cash; INVOICE#: JPMCPC052622;                                        12.94
                                   DATE: 5/26/2022 - Petty Cash Reimbursement - Danish for E. Sterbcow
                                   meeting
                     Business Meals                                                                                               $516.76
      Courier Services
      05/18/22       LRKA          VENDOR: FedEx INVOICE#: 776411878 DATE: 5/23/2022 RCL                                                20.55
                                   Consultants LLC BATON ROUGE LA US - Tracking#: 776897534066
      05/28/22       ESST          VENDOR: Special Delivery Service, Inc; INVOICE#: 667047; DATE:                                       24.62
                                   5/28/2022; Courier Services - ROC Client Meeting - 5/25/22
                     Courier Services                                                                                              $45.17
      Filing Fees
      05/03/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051731070 DATE:                                       302.50
                                   5/20/2022 05/03/2022 Fees IN *LAWRENCE COURT T PORT ORANGE
                                   FL - Transcrier fees for the 5/3/2022 transcript by Kelli at Lawrence Court
                                   Transcription.
      05/31/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010052092572 DATE:                                       453.75
                                   6/7/2022 05/31/2022 Fees IN *LAWRENCE COURT T PORT ORANGE
                                   FL - Fee deposit for transcript of 5/31/2022 hearing.
                     Filing Fees                                                                                                  $756.25

      Total                                                                                                                     $1,002.23

      Total disbursements and other charges                                                                                     $1,002.23




      I.R.S. NO. XX-XXXXXXX

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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Total fees, all matters                                                                                            $1,288,950.00

      Total disbursements and other charges, all matters                                                                       $1,002.23

      Total Amount Due                                                                                                   $1,289,952.23




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                                                                                Invoice Number               25701991
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Summary of Services

      Initials       Name                                       Rank                               Hours      Eff. Rate             Amount

      MTDO           Matthew T. Dobbins                         Partner                           11.30      1055.00             11,921.50
      GRHO           George R. Howard                           Partner                           56.00      1285.00             71,960.00
      LRKA           Lauren R. Kanzer                           Partner                          125.60       975.00            122,460.00
      BELO           Bryan E. Loocke                            Partner                           56.00      1285.00             71,960.00
      JL             John E. Lynch                              Partner                           19.00      1465.00             27,835.00
      RLPE           Rebecca L. Matthews                        Partner                           94.70      1155.00            109,378.50
      DSME           David S. Meyer                             Partner                           23.70      1325.00             31,402.50
      MWMO           Matthew W. Moran                           Partner                           52.10      1285.00             66,948.50
      WTS            Wendy T. Salinas                           Partner                           24.00      1325.00             31,800.00
      JETO           Joclynn E. Townsend                        Counsel                           76.20       945.00             72,009.00
      BGBR           Brian G. Broussard                         Associate                         10.40       685.00              7,124.00
      MAGA           Michael A. Garza                           Associate                         89.90       860.00             77,314.00
      JRGO           Jeremy R. Gonzalez                         Associate                         37.90       705.00             26,719.50
      JOLA           John Larbalestier                          Associate                         39.50       830.00             32,785.00
      CELE           Cesar Leyva                                Associate                         12.50       860.00             10,750.00
      EMME           Elias M. Medina                            Associate                        112.10       590.00             66,139.00
      ZPAR           Zachary J. Parker                          Associate                         16.60       685.00             11,371.00
      MJPY           Matthew J. Pyeatt                          Associate                        183.50       910.00            166,985.00
      ERHI           Emily Rhine                                Associate                         35.10       590.00             20,709.00
      TGSP           Trevor G. Spears                           Associate                         21.50       790.00             16,985.00
      ESST           Eli S. Sterbcow                            Associate                         96.90       590.00             57,171.00
      KIVA           Kiran Vakamudi                             Associate                          0.50       790.00                395.00
      JCWI           John C. Wimberly                           Associate                         24.70       890.00             21,983.00
      BEZE           Benjamin Zeter                             Associate                         44.30       685.00             30,345.50
      SAZO           Sara Zoglman                               Associate                        120.00       590.00             70,800.00
      EENE           Elizabeth E. Neuman                        Paralegal                         80.90       310.00             25,079.00
      IDAY           Ida Ayalew                                 Law School                        53.00       540.00             28,620.00
                                                                Graduate/Law Clerk

      Total                                                                                    1,517.90                       $1,288,950.00




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      August 9, 2022

      Rockall Energy Holdings, LLC                                              Client/Matter Number         ROC447 64001
      5851 Legacy Circle, Suite 500                                             Invoice Number               25701992
      Plano, TX 75024                                                           Billing Attorney             William C. Smith

      This invoice has been forwarded via e-mail to:
      accountspayable@rockallenergy.com



      Re:        Restructuring Advice
      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Asset Sales
      Date           Initials     Description                                                                   Hours

      06/01/22       MTDO         Prepare for call with Formentera to discuss environmental                      0.70
                                  issues (.2); participate in call with V&E team regarding same
                                  (.5).

      06/01/22       LRKA         Conference call with Ankura re sale closing matters (.5);                      0.80
                                  follow-up correspondence with V&E team re same (.3).

      06/01/22       JETO         Review and provide comments on closing checklist (.5);                         1.20
                                  prepare for and participate in telephone conference
                                  discussing closing checklist with V&E ETP team (.5); review
                                  NPIs amendments and provide comments thereto (.2).

      06/01/22       MJPY         Participate on calls with North Dakota counsel regarding sale                  1.40
                                  order (.6); correspond with V&E team regarding same (.3);
                                  prepare and revise sale order language to address same (.3);
                                  correspond with Formentera counsel regarding same (.2).

      06/01/22       BEZE         Review sale closing checklist (.2); correspond with V&E team                   2.20
                                  regarding same (.4); evaluate and address closing tasks in
                                  connection with same (1.6).

      06/01/22       JOLA         Correspondence and conferences with V&E team throughout                        1.90
                                  day regarding closing tasks (.3); address same (1.1);
                                  participate on call with Kirkland & Ellis team regarding sale
                                  closing matters (.5).

      06/02/22       LRKA         Correspond with V&E team regarding sale matters, funds flow                    2.70
                                  (.8); conference call with Mike Warner regarding open issues
                                  regarding same (.3); evaluate issues regarding funds flow (.6);
                                  prepare for and participate on conference call with V&E team,
                                  Ankura regarding funds flow, effective date (.8); follow-up
                                  correspondence with V&E team regarding same (.2).

      06/02/22       JETO         Prepare for and participate in telephone conference                            1.90
                                  discussing open sale closing items with Rockall (.5); review
                                  and provide comments to the exhibits to the conveyance
                                  documents (.6); correspondence with V&E finance team
                                  regarding lien releases in relation to sale closing (.4);
                                  correspondence regarding status of sale closing deliverables
                                  with Rockall and V&E teams (.4).

      06/02/22       MJPY         Correspond with Formentera counsel regarding sale closing                      1.20
                                  issues (.2); evaluate sources and uses analysis draft (.3);


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  review and provide comments to TGS agreement (.4);
                                  evaluate preliminary settlement statement from K&E
                                  regarding environmental matters related to sale closing (.3).

      06/02/22       TGSP         Prepare for and participate in conference call with Ankura                     0.80
                                  regarding funds flow.

      06/02/22       BEZE         Correspond with V&E team regarding sale closing matters                        2.30
                                  (.4); prepare for same, including review of closing deliverables
                                  and checklist (1.9).

      06/02/22       JOLA         Correspondence and conferences with V&E team throughout                        3.10
                                  day regarding sale closing tasks (.8); evaluate and address
                                  same (2.3).

      06/03/22       MTDO         Review environmental matters in connection with sale closing                   0.80
                                  (.3); review and evaluate purchase agreement in support of
                                  same (.3); discuss assessment of same with V&E team (.2).

      06/03/22       LRKA         Correspond and conferences with V&E team regarding sale                        1.10
                                  closing items, liquidation trust (.6); conference with Jane
                                  VanLare regarding same (.2); review Committee letter
                                  regarding settlement (.2); correspond with V&E team, Scott
                                  Pinsonnault regarding same (.1).

      06/03/22       JETO         Prepare for and participate in telephone conferences with                      1.70
                                  V&E team regarding environmental matters related to sale
                                  closing (.5); review materials related to same (.4);
                                  correspondence with V&E team regarding same (.2);
                                  correspondence regarding lien releases and other closing
                                  items with V&E teams (.6).

      06/03/22       MJPY         Participate on call with client regarding closing matters (.5);                2.10
                                  address office lease issues in support of same (.4); address
                                  lien release issues in support of same (.5); evaluate
                                  environmental matters and related materials in connection
                                  with sale closing (.5); correspond with V&E team regarding
                                  same (.2).

      06/03/22       BEZE         Correspond and conferences with V&E team regarding sale                        2.10
                                  closing matter preparation (.6); prepare sale closing
                                  deliverables (1.5).

      06/03/22       JOLA         Correspond and conferences with V&E team throughout day                        3.80
                                  regarding sale closing tasks (.8); evaluate and address sale
                                  closing tasks (2.1); follow-up assessment of sale closing tasks
                                  in furtherance of same (.9).

      06/04/22       MTDO         Participate in call with Rockall team regarding environmental                  1.70
                                  matters related to sale closing (.5); analyze documents in
                                  connection with same (.8); draft comments to same (.4).

      06/04/22       JETO         Review backup support related to environmental matters in                      4.00


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  connection with sale closing (.5); prepare for and participate in
                                  telephone conference with V&E ETP team regarding
                                  outstanding sale closing items (.6); prepare for and participate
                                  in telephone conference with Rockall regarding environmental
                                  matters related to sale closing (.5); draft response letter in
                                  connection with same (1.1); correspondence with V&E ETP
                                  team regarding closing deliverables (.5); review and revise
                                  closing deliverables (.8).

      06/04/22       SAZO         Correspond with V&E team regarding PSA and closing                             0.30
                                  matters (.2); review sale order regarding same (.1).

      06/04/22       BEZE         Prepare conveyance documents in connection with sale                           2.80
                                  closing (2.2); correspond and coordinate with V&E team
                                  regarding same (.6).

      06/04/22       JOLA         Evaluate and address sale closing tasks, including review of                   3.20
                                  conveyance documents (2.8); correspondence with V&E team
                                  regarding same (.4).

      06/05/22       MTDO         Correspond with V&E team regarding environmental matters                       0.40
                                  relating to closing (.2); review revised response letter in
                                  connection with same (.2).

      06/05/22       LRKA         Correspond with V&E team, Ankura, Lazard, and Cleary                           0.50
                                  teams regarding environmental matters related to sale closing
                                  (.2); review draft letter regarding same (.2); correspond with
                                  V&E team regarding funds flow (.1).

      06/05/22       JETO         Review and revise response letter related to environmental                     0.60
                                  matters in connection with sale closing (.3); correspondence
                                  with V&E ETP team regarding sale closing deliverables (.3).

      06/05/22       MJPY         Evaluate response letter related to environmental matters in                   0.70
                                  connection with sale closing (.2); correspond with V&E team
                                  regarding same (.2); evaluate sources and uses spreadsheet
                                  (.2); correspond with V&E team regarding same (.1).

      06/05/22       BEZE         Correspond and conference with V&E team regarding sale                         2.30
                                  closing matters (.7); prepare sale closing documents in
                                  furtherance of same (1.6).

      06/05/22       JOLA         Address sale closing tasks including review of closing                         2.80
                                  documents (2.4); correspond with V&E team regarding same
                                  (.4).

      06/06/22       MTDO         Assess environmental matters and related documents in                          1.20
                                  connection with sale closing (.7); participate in call with
                                  Rockall Ops and HSE team to discuss responses related to
                                  same (.5).

      06/06/22       LRKA         Correspond with V&E team regarding sales process (.3);                         0.90
                                  correspond with Ankura, Stretto re professional fee account


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  (.1); conference call with Ankura, V&E, Company re sale
                                  closing (.5).

      06/06/22       JETO         Prepare for and participate in telephone conference with V&E                   5.00
                                  team and advisors regarding status update of Rockall closing
                                  (.6); participate on call with K&E regarding outstanding closing
                                  checklist items (.5); participate on call with V&E team
                                  regarding same (.5); prepare for and participate on call with
                                  V&E team and Rockall regarding environmental matters in
                                  connection with sale closing (.5); correspondence with V&E
                                  finance and restructuring teams regarding lien searches and
                                  releases in connection with same (.4); correspondence with
                                  K&E regarding outstanding sale closing items (.8);
                                  correspondence with the escrow agent regarding payment of
                                  fees (.6); review closing deliverables (.7); review updated sale
                                  closing checklist (.4).

      06/06/22       MJPY         Participate on call with advisors and client regarding sale                    0.90
                                  closing issues (.5); correspond with Formentera counsel
                                  regarding same (.2); correspond with V&E ETP team
                                  regarding same (.2).

      06/06/22       BEZE         Review and address sale closing matters (.8); conferences                      3.30
                                  and correspondence with V&E team throughout day regarding
                                  same (.8); prepare sale closing deliverables in support of
                                  same (1.7).

      06/06/22       JOLA         Participate on call with client regarding sale closing matters                 3.40
                                  (.5); follow up correspondence with V&E team regarding same
                                  (.2); review and revise sale closing deliverables (2.0);
                                  correspond and confer with V&E team regarding same (.7).

      06/07/22       MTDO         Review updated environmental information from Rockall (.3);                    2.20
                                  participate in call with K&E and Formentera to discuss
                                  environmental issues (.5); analyze purchase agreement
                                  arbitration provisions (.3); review and evaluate response from
                                  Formentera related to environmental matters (.3); participate
                                  in call with Rockall team to discuss environmental matters in
                                  connection with sale closing (.5); participate in call with
                                  Lender's counsel to discuss same (.3).

      06/07/22       LRKA         Conference call with Kirkland, V&E team, Ankura, Lazard                        4.10
                                  regarding sale closing matters (.5); follow-up correspondence
                                  with V&E team regarding same (.3); evaluate issues regarding
                                  same (.7); conferences and correspondence with V&E team
                                  regarding sale closing matters (.6); prepare for and attend
                                  conference call with V&E team, Cleary regarding same (.9);
                                  correspond with Ankura re funds flow, bank accounts (.8);
                                  correspond with V&E team re PSA amendment (.3).

      06/07/22       JETO         Prepare for and participate in all hands-call regarding                        7.00
                                  environmental matters in connection with sale closing (.5);
                                  follow-up call with Rockall related to the same (.5); participate


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  on call with K&E regarding sale closing checklist (.5);
                                  participate on call with Rockall regarding status of sale closing
                                  matters (.5); prepare for and participate on call with Cleary
                                  regarding environmental matters in connection with sale
                                  closing (1.0); review and revise comments regarding
                                  environmental matters in connection with sale closing (.4);
                                  correspond with K&E regarding same (.1); conferences and
                                  correspondence with K&E throughout day regarding sale
                                  closing items and related environmental matters (1.6);
                                  correspondence with Cleary regarding environmental matters
                                  in connection with sale closing (.4); correspondence with V&E
                                  ETP team and RR team throughout day regarding sale
                                  closing items (.8); correspondence with Rockall and K&E
                                  regarding offer letters in connection with sale closing (.7).

      06/07/22       MJPY         Correspond with client regarding closing (.2); evaluate                        1.10
                                  sources and uses analysis (.3); evaluate and address sale
                                  closing issues (.6).

      06/07/22       BEZE         Correspond and conference with V&E team throughout day                         2.90
                                  regarding sale closing matters (.8); prepare for sale closing,
                                  including review of closing deliverables and checklist (2.1).

      06/07/22       JOLA         Prepare for and participate on call with Kirkland & Ellis                      4.10
                                  regarding sale closing checklist (.5); prepare for and
                                  participate on all parties call regarding sale closing update
                                  and related matters (1.1); conference and correspondwith
                                  V&E team throughout day regarding sale closing tasks (.7);
                                  review closing documentation regarding same (1.8).

      06/08/22       MTDO         Review documents in connection with environmental matters                      0.40
                                  relating to sale closing (.2); draft revisions to purchase
                                  agreement regarding same (.2).

      06/08/22       LRKA         Conference call with company, V&E team, Ankura re sale                         1.50
                                  closing (.7); correspond and conferences with V&E team re
                                  same (.8).

      06/08/22       JETO         Telephone conferences with K&E regarding outstanding sale                      4.80
                                  closing items (.5); review and revise Amendment to PSA (.8);
                                  correspond with Rockall, Cleary, and K&E throughout day
                                  regarding environmental matters in connection with sale
                                  closing (1.1); correspond with K&E throughout day regarding
                                  closing items (.7); correspond and conferences with V&E RR
                                  team and V&E ETP team throughout day regarding sale
                                  closing items (.6); review and revise closing deliverables (1.1).

      06/08/22       BEZE         Review and address sale closing matters (1.3); conferences                     3.90
                                  and correspondence with V&E team throughout day regarding
                                  same (2.6).

      06/08/22       JOLA         Conference and correspond with V&E team regarding sale                         4.80
                                  closing deliverables (2.9); review and revise documents in


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  furtherance of same (1.9).

      06/09/22       LRKA         Conference call with Company, Ankura, Lazard, V&E team                         1.60
                                  regarding funds flow, environmental matters related to sale
                                  closing (.7); conference call with V&E team, Company,
                                  Ankura re sale closing (.6); conference with Jane VanLare re
                                  closing matters, timing (.3).

      06/09/22       JETO         Prepare for and participate in telephone conferences with                      6.20
                                  Rockall and advisors regarding flow of funds (.9); prepare for
                                  and participate on call with K&E regarding office lease matters
                                  (.5); correspond with Rockall regarding sale Closing/Effective
                                  Date (.4); correspond with K&E and Rockall regarding
                                  outstanding sale closing items (.4); correspondence with V&E
                                  RR team regarding office lease rejection (.4); review and draft
                                  revisions to office lease (.4); conference with V&E ETP team
                                  regarding sale closing items (.5); review and revise
                                  amendment to PSA (.8); review and revise closing
                                  deliverables (1.1); evaluate and address closing items (.8).

      06/09/22       BEZE         Address sale closing matters for Rockall-Formentera.                           0.80

      06/09/22       JOLA         Participate on call with lenders regarding closing matters (.3);               1.90
                                  participate on call with client and advisors regarding sale
                                  closing matters (.6); evaluate and address sale closing tasks
                                  (.6); correspond with V&E team regarding same (.4).

      06/10/22       LRKA         Correspond with V&E team, client, Cleary, Pachulski                            1.90
                                  throughout day regarding sale closing matters.

      06/10/22       JETO         Correspondence with Rockall and K&E regarding TSA                              2.40
                                  matters (.2); correspondence and conferences with K&E and
                                  Rockall throughout day regarding delivery of wires, lien
                                  releases and other sale closing items (2.2).

      06/10/22       BEZE         Correspond with V&E team regarding sale closing matters.                       0.70

      06/10/22       JOLA         Correspondence with V&E team regarding sale closing                            1.20
                                  matters (.4); address tasks in furtherance of same (.8).




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      Re:        Restructuring Advice

             Summary of services - Asset Sales
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MTDO         Matthew T. Dobbins                                                7.40     1055.00             7,807.00
                     LRKA         Lauren R. Kanzer                                                 15.10      975.00            14,722.50
                     JOLA         John Larbalestier                                                30.20      830.00            25,066.00
                     MJPY         Matthew J. Pyeatt                                                 7.40      910.00             6,734.00
                     TGSP         Trevor G. Spears                                                  0.80      790.00               632.00
                     JETO         Joclynn E. Townsend                                              34.80      945.00            32,886.00
                     BEZE         Benjamin Zeter                                                   23.30      685.00            15,960.50
                     SAZO         Sara Zoglman                                                      0.30      590.00               177.00

             Total                                                                               119.30                        103,985.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Assumption and Rejection of Leases and Contracts
      Date           Initials     Description                                                                   Hours

      06/02/22       MJPY         Evaluate TGS assumption issues (.2); correspond with                           0.30
                                  Ankura regarding same (.1).

      06/03/22       MJPY         Evaluate notice of assumption regarding TGS agreement (.1);                    0.30
                                  correspond with Ankura regarding cure costs (.1); correspond
                                  with V&E team regarding same (.1).

      06/03/22       SAZO         Prepare notice of assumption and assignment for TGS                            1.30
                                  agreement (.9); correspond with V&E team regarding same
                                  (.3); revise same (.1).

      06/07/22       LRKA         Correspond with V&E team, Kirkland regarding office lease.                     0.30

      06/09/22       LRKA         Conference and correspond with V&E team, client, K&E,                          2.60
                                  Munsch regarding office lease (2.1); conference and
                                  correspond with V&E team regarding notice of extension in
                                  connection with office lease (.5).

      06/09/22       SAZO         Prepare draft notice of assumption and rejection for office                    1.60
                                  lease (1.1); confer with V&E team regarding same (.2); revise
                                  same (.3).

      06/09/22       EMME         Correspond with V&E team regarding notice of withdrawal of                     1.10
                                  Steel Reef rejection motion (.2); conference with same
                                  regarding same (.3); draft and revise same (.4); review leases
                                  to be rejected (.1); correspond with V&E team regarding same
                                  (.1).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      06/10/22       LRKA         Correspond with Ankura, V&E team, Company re office lease                      0.60
                                  (.4); review notice of extension in connection with same (.2).

      06/10/22       SAZO         Review and revise notice of assumption of TGS contracts (.2);                  0.50
                                  correspond with V&E team re same (.1); prepare same for
                                  filing (.2).

      06/10/22       EMME         Review and revise notice of withdrawal of steel reef motion                    0.70
                                  (.2); coordinate filing of same (.1); review notice of
                                  assumption/rejection extension (.2); correspond with V&E
                                  team regarding same (.2).




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      Re:        Restructuring Advice

             Summary of services - Assumption and Rejection of Leases and Contracts
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     LRKA         Lauren R. Kanzer                                                  3.50      975.00             3,412.50
                     EMME         Elias M. Medina                                                   1.80      590.00             1,062.00
                     MJPY         Matthew J. Pyeatt                                                 0.60      910.00               546.00
                     SAZO         Sara Zoglman                                                      3.40      590.00             2,006.00

             Total                                                                                  9.30                         7,026.50



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Business Operations
      Date           Initials     Description                                                                   Hours

      06/05/22       LRKA         Conference with Scott Pinsonnault, V&E team, Bill Transier                     0.80
                                  regarding LOE payments (.4); correspond with V&E team
                                  regarding same (.2); revise draft correspondence regarding
                                  same (.2).

      06/06/22       LRKA         Conference call with management, V&E team, Ankura                              0.40
                                  regarding matter status, next steps.

      06/06/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.40
                                  management teams regarding operations and related issues
                                  and strategy.

      06/07/22       LRKA         Conference call with V&E team, Ankura, Company re open                         0.50
                                  issues.

      06/07/22       MAGA         Prepare for and participate on call with V&E, Ankura, and                      0.50
                                  management teams regarding operations and related issues
                                  and strategy.




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Business Operations
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  0.90      860.00               774.00
                     LRKA         Lauren R. Kanzer                                                  1.70      975.00             1,657.50

             Total                                                                                  2.60                         2,431.50



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Case Administration
      Date           Initials     Description                                                                   Hours

      06/01/22       EENE         Obtain, review, and calendar updated docket report for                         3.30
                                  attorneys and other groups (.1); correspond with staff
                                  regarding processing of paid invoice for 5/31 court hearing
                                  transcript (.1); correspond with attorneys regarding court
                                  documents to be drafted and filing plans (.2); draft Notice of
                                  Filing Revised Proposed Confirmation Order (.5); correspond
                                  with transcriber regarding 5/31 court hearing transcript status
                                  (.2); complete online submission of proposed Confirmation
                                  Order to court (.2); organize 5/31 court hearing transcript into
                                  files and provide copy to attorneys (.2); review filing
                                  preparation details and file Notice of Filing Second Revised
                                  Form of Proposed Confirmation Order (.5); correspond with
                                  attorneys regarding filing status (.1); correspond with
                                  attorneys regarding night filing plans for Monthly Operating
                                  Reports for all debtors (.3); prepare to file same, including
                                  review of filing method (.9).

      06/01/22       MAGA         Draft press release announcing plan confirmation (.8); review                  1.70
                                  and revise work streams checklist (.7); confer with V&E team
                                  regarding same (.2).

      06/02/22       LRKA         Review and comment on WIP checklist (.3); correspond with                      0.80
                                  V&E team regarding same (.1); conference call with V&E
                                  team regarding works in process (.4).

      06/02/22       EENE         Correspond with attorneys regarding submission of revised                      1.60
                                  Confirmation Order (.4); obtain, review, and calendar updated
                                  docket report for attorneys and other groups (.4); correspond
                                  with attorneys regarding court document filing plans (.1); file
                                  [Amended] Declaration of Disinterestedness of Burton Oil &
                                  Gas Reporting Service, LLC (.2); correspond with attorneys
                                  regarding filing status of, Monthly Operating Reports for April
                                  2022 for all debtors (.3); file same (.2).




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      Re:        Restructuring Advice

      06/02/22       MAGA         Prepare for and participate on call with V&E teams regarding                   0.90
                                  matter updates, work streams, and related strategy (.7);
                                  review and revise workstreams checklist (.2).

      06/02/22       SAZO         Attend call with V&E team re workstream updates.                               0.50

      06/02/22       EMME         Conference with V&E team regarding works in process.                           0.40

      06/02/22       TGSP         Conference call with V&E team regarding workstreams and                        0.40
                                  updates.

      06/03/22       EENE         Obtain updated docket report for attorneys and other groups                    1.00
                                  (.1); court file Notice of Filing Debtors' Revised Master
                                  Service List (.1); draft Certificate of No Objections to Debtors'
                                  Application to Retain Brown Fox PLLC, and correspond with
                                  attorneys regarding details (.5); correspond with transcriber
                                  regarding 5/31 court hearing transcript, and correspond with
                                  staff for processing (.2); correspond with attorneys regarding
                                  court document filing status (.1).

      06/06/22       EENE         Obtain updated docket report for attorneys and other groups                    0.50
                                  (.1); review and court file Certificate of No Objections to
                                  Debtors' Amended Application to Retain Brown Fox PLLC
                                  (.2); file Debtors' Application to Retain Deloitte Tax LLP (.2).

      06/06/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.40
                                  workstreams and related issues and strategy.

      06/06/22       SAZO         Attend call with V&E team regarding works in progress.                         0.40

      06/06/22       EMME         Conference with V&E team regarding case updates and                            0.40
                                  works in process.

      06/06/22       TGSP         Prepare for and participate in conference call with V&E team                   0.90
                                  regarding workstreams and updates (.4); update WIP
                                  checklist (.5).

      06/07/22       EENE         Obtain, review, and calendar updated docket report for                         0.40
                                  attorneys and other groups (.1); communicate with attorneys
                                  regarding submission of proposed order to court for Brown
                                  Fox Amended Retention Application, and complete
                                  submission (.3).

      06/08/22       LRKA         Conference call with V&E team re chapter 11 case works in                      0.70
                                  process (.5); follow-up correspondence with same regarding
                                  same (.2).

      06/08/22       EENE         Obtain updated docket report for attorneys and other groups                    1.00
                                  (.1); court file Notice of Formentera Partners Fund I, LP's
                                  Election for Assumption and Assignment of TGS Agreements
                                  (.2); communicate with attorneys regarding Steel Reef select
                                  court documents, review docket for same, and discuss
                                  findings (.7).


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      Re:        Restructuring Advice

      06/08/22       MAGA         Prepare for and participate on call with V&E team regarding                    0.70
                                  work streams and related strategy and issues.

      06/08/22       SAZO         Attend call with V&E team regarding chapter 11 case works in                   0.50
                                  progress.

      06/08/22       TGSP         Conference call with V&E team regarding workstreams.                           0.50

      06/09/22       EENE         Obtain, review, and calendar updated docket report for                         0.90
                                  attorneys and other groups (.1); communicate with attorneys
                                  regarding board meeting materials to be organized into files,
                                  and complete same (.4); review filing details for Notice of
                                  Effective Date for court filing preparation, and communicate
                                  with court clerk regarding same (.4).

      06/10/22       EENE         Obtain, review, and calendar updated docket report for                         1.50
                                  attorneys and other groups (.2); communicate with attorneys
                                  regarding filing plans and court file Notice of Extension of
                                  Time to Assume, Assume and Assign, or Reject Office Lease
                                  (.3); review Notice and complete calendaring (.2); review filing
                                  method for Notice of Withdrawal and communicate with court
                                  clerk to confirm same (.2); communicate with attorneys
                                  regarding upcoming filing (.2); file (i) Notice of Effective Date,
                                  and (ii) Notice of Withdrawal of Motion Authorizing Debtors to
                                  Reject Steel Reef Contracts (.4).




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      Re:        Restructuring Advice

             Summary of services - Case Administration
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  3.70      860.00             3,182.00
                     LRKA         Lauren R. Kanzer                                                  1.50      975.00             1,462.50
                     EMME         Elias M. Medina                                                   0.80      590.00               472.00
                     EENE         Elizabeth E. Neuman                                              10.20      310.00             3,162.00
                     TGSP         Trevor G. Spears                                                  1.80      790.00             1,422.00
                     SAZO         Sara Zoglman                                                      1.40      590.00               826.00

             Total                                                                                 19.40                        10,526.50



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Corporate Governance and Board Matters
      Date           Initials     Description                                                                   Hours

      06/01/22       EMME         Correspond with V&E team regarding corporate structure                         0.60
                                  matters.

      06/02/22       LRKA         Review board meeting agenda (.1); correspond with V&E                          0.20
                                  team regarding same (.1).

      06/02/22       MAGA         Confer with V&E and other Debtor professionals regarding                       0.90
                                  board meeting and related issues (.3); confer with V&E team
                                  regarding corporate governance issues (.6).

      06/02/22       EMME         Draft, review, revise April, May board minutes (2.1);                          2.90
                                  correspond with V&E team regarding same (.8).

      06/02/22       TGSP         Correspond with V&E team regarding Board minutes and                           0.30
                                  Board meeting.

      06/03/22       LRKA         Review draft board meeting materials (.4); correspond with                     1.30
                                  Lazard, Ankura, V&E teams regarding same (.2); prepare for
                                  and attend board meeting (.6); correspond with V&E team
                                  regarding board minutes (.1).

      06/03/22       JETO         Prepare for and participate in telephone conferences with                      1.00
                                  V&E team regarding Board discussion.

      06/03/22       MAGA         Confer with V&E team regarding corporate governance issues                     2.30
                                  (.5); review and revise board minutes (1.2); prepare for and
                                  attend board meeting (.6).

      06/03/22       EMME         Compile board minutes for April, May, June (.2); correspond                    0.50
                                  with V&E team regarding same (.3).


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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      06/03/22       TGSP         Attend Board meeting (.5); correspond with V&E team                            0.80
                                  regarding board minutes (.3).

      06/03/22       JOLA         Prepare for and participate on board call regarding sale                       1.10
                                  closing tasks.

      06/05/22       LRKA         Review and revise draft board minutes (.4); correspond with                    0.50
                                  V&E team regarding same (.1).

      06/06/22       LRKA         Review board consents (.4); correspond with V&E team                           1.40
                                  regarding same (.1); review May board minutes (.6);
                                  correspond and conferences with V&E team regarding D&O
                                  insurance (.3).

      06/06/22       SAZO         Confer with V&E team regarding May board meeting minutes.                      0.40

      06/06/22       EMME         Revise board minutes (.3); draft board consents (.9);                          2.00
                                  correspond with V&E team regarding same (.8).

      06/06/22       TGSP         Correspond with V&E team regarding board minutes and                           0.30
                                  materials.

      06/07/22       EMME         Correspond with board members regarding board minutes                          0.30
                                  and consents.

      06/08/22       EMME         Correspond with board members regarding written consents.                      0.20

      06/09/22       EMME         Correspond with V&E team and board members regarding                           0.40
                                  board consents.

      06/09/22       TGSP         Correspond with V&E team regarding Board consents.                             0.20

      06/10/22       EMME         Correspond with V&E team and board members regarding                           0.30
                                  board consents.




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      Re:        Restructuring Advice

             Summary of services - Corporate Governance and Board Matters
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  3.20      860.00             2,752.00
                     LRKA         Lauren R. Kanzer                                                  3.40      975.00             3,315.00
                     JOLA         John Larbalestier                                                 1.10      830.00               913.00
                     EMME         Elias M. Medina                                                   7.20      590.00             4,248.00
                     TGSP         Trevor G. Spears                                                  1.60      790.00             1,264.00
                     JETO         Joclynn E. Townsend                                               1.00      945.00               945.00
                     SAZO         Sara Zoglman                                                      0.40      590.00               236.00

             Total                                                                                 17.90                        13,673.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Employee Benefits and Compensation
      Date           Initials     Description                                                                   Hours

      06/03/22       MAGA         Confer with V&E team regarding employee compensation                           1.10
                                  issues (.3); conduct research regarding same (.8).

      06/03/22       SAZO         Correspond with V&E and Ankura teams regarding employee                        0.30
                                  compensation obligations (.1); review and evaluate materials
                                  related to same (.2).

      06/04/22       SAZO         Conduct research regarding employee compensation matters                       1.60
                                  (1.4); correspond with V&E team regarding same (.2).

      06/05/22       SAZO         Conduct research regarding employee compensation matters                       2.20
                                  (.4); draft analysis regarding same (1.4); correspond with V&E
                                  team regarding same (.4).

      06/06/22       MAGA         Confer with V&E team regarding employee compensation                           0.90
                                  issues (.2); conduct research regarding same (.7).

      06/07/22       LRKA         Conference calls with V&E team regarding employee                              1.20
                                  compensation matters (.7); review materials regarding same
                                  (.3); correspond with V&E team regarding same (.2).

      06/07/22       MAGA         Prepare for and participate on calls with V&E and Ankura                       0.70
                                  teams regarding employee benefit and compensation issues.

      06/07/22       SAZO         Review and analyze plan, confirmation order, and related                       2.30
                                  filings in connection with employee compensation matters and
                                  related claims (1.3); review services agreement in connection
                                  with same (.7); correspond with V&E team regarding same
                                  (.3).


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      Re:        Restructuring Advice

      06/08/22       LRKA         Correspond with V&E team regarding employee matters (.2);                      0.40
                                  review materials regarding same (.2).




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      Re:        Restructuring Advice

             Summary of services - Employee Benefits and Compensation
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  2.70      860.00             2,322.00
                     LRKA         Lauren R. Kanzer                                                  1.60      975.00             1,560.00
                     SAZO         Sara Zoglman                                                      6.40      590.00             3,776.00

             Total                                                                                 10.70                         7,658.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Employment and Fee Applications
      Date           Initials     Description                                                                   Hours

      06/02/22       LRKA         Review and comment on Deloitte application (.4); correspond                    0.50
                                  with V&E team regarding same (.1).

      06/02/22       MAGA         Correspond with V&E and Ankura teams regarding ordinary                        0.40
                                  course professionals retention issues (.4).

      06/02/22       EMME         Draft OCP declaration of disinterestedness (.2); correspond                    0.60
                                  with V&E, Ankura teams regarding same (.3); conference with
                                  Ankura regarding same (.1).

      06/03/22       LRKA         Review and comment on Deloitte application (.4); correspond                    0.60
                                  with V&E team regarding same (.2).

      06/06/22       EMME         Correspond with V&E team regarding Brown Fox CNO (.2);                         1.00
                                  review and revise same (.6); coordinate filing same (.1);
                                  conference and correspond with Ankura team regarding OCP
                                  issues (.1).

      06/06/22       TGSP         Correspond with V&E team and other professions regarding                       0.20
                                  monthly fee statements for professionals.

      06/07/22       EMME         Coordinate uploading of Brown Fox CNO (.2); correspond                         0.30
                                  with court regarding same (.1).

      06/08/22       EMME         Correspond with V&E team regarding Brown Fox retention                         0.30
                                  (.2); correspond with Brown Fox regarding entry of retention
                                  order (.1).




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      Re:        Restructuring Advice

             Summary of services - Employment and Fee Applications
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  0.40      860.00               344.00
                     LRKA         Lauren R. Kanzer                                                  1.10      975.00             1,072.50
                     EMME         Elias M. Medina                                                   2.20      590.00             1,298.00
                     TGSP         Trevor G. Spears                                                  0.20      790.00               158.00

             Total                                                                                  3.90                         2,872.50



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Financing and Cash Collateral
      Date           Initials     Description                                                                   Hours

      06/01/22       ARMU         Correspond and conference with V&E team regarding lien                         0.70
                                  release and related matters (.4); review relevant documents
                                  related to same (.3).

      06/01/22       TDAI         Evaluate and address lien release and related matters (.4);                    0.90
                                  correspond with V&E and Cleary teams regarding same (.5).

      06/02/22       ARMU         Review PSA in connection with lien release matters (.7);                       1.20
                                  correspond with V&E team regarding same (.5).

      06/02/22       TDAI         Evaluate and address lien release and DIP /payoff matters                      1.00
                                  (.7); correspond with V&E and Cleary teams regarding same
                                  (.3).

      06/03/22       ARMU         Correspond and conference with V&E team regarding lien                         0.90
                                  release and DIP payoff.

      06/03/22       TDAI         Evaluate and address lien release and DIP payoff matters                       1.30
                                  (.7); review relevant filings to support same (.2); correspond
                                  with V&E and Cleary teams regarding same (.4).

      06/04/22       ARMU         Evaluate Payoff of DIP and lien releases matters (.4);                         0.60
                                  correspond with V&E team regarding same (.2).

      06/04/22       TDAI         Evaluate lien release and DIP payoff matters (.7); draft and                   3.60
                                  revise mortgage lien releases (1.4); review and revise DIP
                                  payoff letter (.8); correspond and discuss lien release and DIP
                                  payoff matters with V&E team (.4); correspond with Cleary
                                  team regarding mortgage lien releases (.3).

      06/05/22       ARMU         Correspond with V&E team regarding lien releases and DIP                       0.40
                                  payoff matters.


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      Re:        Restructuring Advice

      06/05/22       TDAI         Evaluate lien release and payoff matters (.7); review and                      2.30
                                  revise UCC termination statements (1.1); correspond with
                                  V&E and Cleary team regarding lien release and payoff
                                  matters (.5).

      06/06/22       ARMU         Correspond with V&E team regarding lien release and related                    0.70
                                  matters (.4); review relevant materials regarding same (.3).

      06/06/22       TDAI         Evaluate lien release and DIP payoff matters (.6); draft,                      2.40
                                  review and revise UCC-3 termination statements and
                                  mortgage lien releases (1.2); correspond and discuss same
                                  with V&E and Cleary teams (.6).

      06/07/22       ARMU         Correspond with V&E team regarding lien releases and                           1.40
                                  related matters (.7); conference with K&E team regarding
                                  same (.5); review documents in connection with same (.2).

      06/07/22       TDAI         Draft, review and revise UCC-3 termination statements and                      4.80
                                  mortgage lien releases (2.9); correspondence and
                                  conferences with V&E, company and Cleary teams
                                  throughout day regarding same (1.4); attend call with V&E
                                  and K&E teams regarding sale closing in connection with
                                  same (.5).

      06/08/22       ARMU         Review lien release and DIP payoff (1.1); correspond with                      1.50
                                  V&E, company, and Cleary regarding same (.4).

      06/08/22       TDAI         Review and revise lien release and DIP payoff documentation                    3.10
                                  (1.2); correspond with V&E team regarding same (.4);
                                  evaluate and address related credit agreement closing
                                  matters (.7); correspondence and conferences with V&E,
                                  company and Cleary teams throughout day regarding same
                                  (.8).

      06/09/22       ARMU         Correspond with V&E team, company, and Cleary regarding                        0.60
                                  closing of credit agreement.

      06/09/22       TDAI         Address credit agreement closing matters (.6);                                 1.20
                                  correspondence and conferences with V&E, company and
                                  Cleary teams throughout day regarding closing and lien
                                  release matters (.6).

      06/10/22       ARMU         Review final documentation regarding closing (.6); correspond                  0.80
                                  with V&E team regarding same (.2).

      06/10/22       TDAI         Correspond with V&E and Cleary teams regarding lien                            0.80
                                  release and closing matters (.8).

      06/10/22       EMME         Correspond with V&E FIN team regarding DIP payoff letter.                      0.10




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      Re:        Restructuring Advice

             Summary of services - Financing and Cash Collateral
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     TDAI         Taylor Daily                                                     21.40      590.00            12,626.00
                     EMME         Elias M. Medina                                                   0.10      590.00                59.00
                     ARMU         Arthur Munoz                                                      8.80      705.00             6,204.00

             Total                                                                                 30.30                        18,889.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Litigation (Contested Matters and Adversary Proceedings)
      Date           Initials     Description                                                                   Hours

      06/01/22       LRKA         Conference with Paul Labov regarding LOE payments (.2);                        0.40
                                  follow-up correspondence with V&E team regarding same
                                  (.2).

      06/08/22       EMME         Draft notice of withdrawal of Steel Reef rejection motion (.7);                1.10
                                  correspond with V&E team regarding same (.3); correspond
                                  with Mike Garza regarding same (.1).




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      Re:        Restructuring Advice

             Summary of services - Litigation (Contested Matters and Adversary Proceedings)
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     LRKA         Lauren R. Kanzer                                                  0.40      975.00               390.00
                     EMME         Elias M. Medina                                                   1.10      590.00               649.00

             Total                                                                                  1.50                         1,039.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Plan, Disclosure Statement, and Confirmation
      Date           Initials     Description                                                                   Hours

      06/01/22       LRKA         Review and comment on NPI amendment (.6); correspond                           0.90
                                  with V&E team and company regarding same (.3).

      06/01/22       MAGA         Confer with V&E team and objecting parties regarding                           0.50
                                  confirmation order.

      06/01/22       SAZO         Review and respond to correspondence with V&E team                             0.80
                                  regarding sale approval/confirmation order language (.1);
                                  revise sale approval/confirmation order language with
                                  updated steel reef language to resolve objection (.4);
                                  correspond with V&E team regarding same (.3).

      06/01/22       EMME         Confer with V&E FIN team regarding sale status (.3);                           3.30
                                  correspond with V&E ETP team regarding same (.1); revise
                                  confirmation order (.6); correspond with V&E and Cleary
                                  teams regarding same (.3); correspond with V&E team
                                  regarding notice of amended confirmation order (.2); finalize
                                  and compile confirmation order for filing (.6); coordinate filing
                                  and uploading of same (.2); correspond with court regarding
                                  filing (.2); revise notice of filing amended plan (.7); coordinate
                                  filing of same (.1).

      06/01/22       TGSP         Review Confirmation Order, Plan, Liquidation Trust, GUC                        1.40
                                  Trust and draft summary regarding effective date
                                  requirements (1.1); correspond with V&E team regarding
                                  same (.3).

      06/02/22       LRKA         Review and comment on effective date checklist (.4);                           0.60
                                  correspond with V&E team regarding same (.2).

      06/02/22       MAGA         Correspond with V&E and Ankura team regarding effective                        0.70
                                  date and wind down.

      06/02/22       TGSP         Correspond with V&E team regarding effective date (.6);                        0.90


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      Re:        Restructuring Advice

                                  correspond with Ankura team regarding same (.3).

      06/03/22       LRKA         Correspond with V&E team regarding NPI amendments (.2);                        0.40
                                  correspond with same regarding effective date (.2).

      06/03/22       SAZO         Correspond with V&E team regarding liquidation trust                           0.20
                                  agreement.

      06/03/22       TGSP         Draft revisions and updates to effective date checklist (.5);                  0.90
                                  correspond with V&E team regarding same (.2); correspond
                                  with V&E team regarding NPI amendements (.2).

      06/05/22       TGSP         Research regarding statutory fees and plan effective dates.                    1.20

      06/06/22       LRKA         Correspond with V&E team, Scott Pinsonnault regarding                          0.90
                                  issues related to wind down and closing (.3); conference call
                                  with V&E team, Paul Labov, Mike Warner regarding same
                                  (.4); correspond with same re same (.2).

      06/06/22       MAGA         Confer with V&E team regarding issues related to                               0.80
                                  confirmation (.3); correspond with V&E and Ankura team
                                  regarding issues related to wind down process (.5).

      06/06/22       EMME         Conference with V&E team regarding confirmation order/plan                     1.40
                                  requirements (.3); review plan/confirmation order regarding
                                  same (.4); research related to same (.7).

      06/07/22       LRKA         Review comments to GUC trust agreement (.3); correspond                        1.50
                                  with V&E team regarding same (.2); correspond with Riveron
                                  regarding same (.2); review and comment on notice of
                                  effective date (.3); correspond with V&E team re same (.1);
                                  correspond with Dave Mirkin, Ankura regarding liquidation
                                  trust agreement (.4).

      06/07/22       EMME         Draft notice of effective date (.9); correspond with V&E team                  1.30
                                  regarding same (.3); correspond with Cleary regarding same
                                  (.1).

      06/07/22       TGSP         Review sources and uses analysis (.2); correspond with V&E                     2.60
                                  team regarding same (.1); draft revisions to trust agreements
                                  for execution (.4); correspond and confer with V&E team
                                  regarding same (.2); correspond with V&E team regarding
                                  plan and statutory fees (.2); correspond with V&E team
                                  regarding professional fee escrow account and plan (.2);
                                  correspond with V&E team regarding claims reserves (.3);
                                  confer and correspond with V&E team regarding notice of
                                  effective date (.2); correspond with GUC Trustee and
                                  Liquidation Trustee agreements (.2); review GUC trust
                                  comments (.2); correspond with V&E team regarding same
                                  (.2); correspond with V&E team regarding TSA and effective
                                  date issue (.2).

      06/08/22       LRKA         Conference call with Ankura, V&E team regarding claims                         1.40


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                                                                                Client/Matter Number         ROC447 64001
                                                                                Invoice Number               25701992
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  reserve (.3); review materials regarding same (.2); correspond
                                  with Cleary, Riveron, Pachulski regarding trust agreements,
                                  closing (.2); correspond with V&E team regarding same (.2);
                                  review Stretto services agreement (.3); correspond with V&E
                                  team re insurance matters (.2).

      06/08/22       EMME         Correspond with V&E team regarding GUC Trust Agreement                         0.60
                                  (.2); review materials related to the same (.4).

      06/08/22       TGSP         Conference call with Ankura regarding claims reserve (.3);                     3.20
                                  correspond with V&E team regarding same (.2); correspond
                                  with V&E team regarding effective date (.4); review GUC trust
                                  regarding comments from Pachulski (.3); correspond and
                                  confer with V&E team regarding same (.4); revise NPI
                                  agreements and correspond with V&E team regarding same
                                  (.2); review comments from Liquidation Trustee to Liquidation
                                  trust agreement (.2); correspond with same, Cleary, and V&E
                                  teams regarding same (.2); review and revise Stretto services
                                  agreement (.5); correspond with V&E team regarding same
                                  (.2); correspond with Company and V&E team regarding trust
                                  agreements (.3).

      06/09/22       LRKA         Correspond with V&E team regarding notice of effective date                    0.80
                                  (.3); correspond and conferences with Pachulski regarding
                                  settlement, closing (.3); follow-up correspondence with V&E
                                  team, Ankura regarding same (.2).

      06/09/22       EMME         Revise notice of effective date (.3); correspond with same                     0.60
                                  regarding same (.3).

      06/09/22       TGSP         Review trust agreement and plan regarding deposit services                     2.40
                                  agreement (.4); correspond with V&E team regarding same
                                  (.1); correspond with Liquidation Trust regarding closing (.2);
                                  correspond with V&E team regarding office lease for plan
                                  effective date (.2); review and revise trustee engagement
                                  letter (.9); correspond with V&E team, Company, Ankura, and
                                  Liquidation Trust regarding same (.3); correspond with V&E
                                  team regarding closing and effective date (.3).

      06/10/22       LRKA         Review notice of effective date (.2); correspond with V&E                      0.70
                                  team regarding same (.2); evaluate and address effective
                                  date matters (.3).

      06/10/22       EMME         Review and revise notice of effective date (.4); correspond                    0.70
                                  with V&E team regarding same (.2); coordinate filing of same
                                  (.1).

      06/10/22       TGSP         Revise trust agreements for execution (.3); correspond with                    2.20
                                  V&E team regarding same (.2); review trustee engagement
                                  letter (.2); correspond with V&E team, Company, Ankura,
                                  Liquidation Trustee regarding same (.2); correspond with V&E
                                  team regarding effective date (.4); review notice of effective
                                  date (.2); correspond with all parties regarding effective date


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      Re:        Restructuring Advice

                                  and closing matters (.6); correspond with Stretto regarding
                                  notice of effective date (.1).




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      Re:        Restructuring Advice

             Summary of services - Plan, Disclosure Statement, and Confirmation
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  2.00      860.00             1,720.00
                     LRKA         Lauren R. Kanzer                                                  7.20      975.00             7,020.00
                     EMME         Elias M. Medina                                                   7.90      590.00             4,661.00
                     TGSP         Trevor G. Spears                                                 14.80      790.00            11,692.00
                     SAZO         Sara Zoglman                                                      1.00      590.00               590.00

             Total                                                                                 32.90                        25,683.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Relief from Stay and Adequate Protection
      Date           Initials     Description                                                                   Hours

      06/06/22       LRKA         Correspond with Company re Baucum litigation.                                  0.20

      06/06/22       TGSP         Correspond with V&E team regarding Baucum lift stay.                           0.20

      06/07/22       LRKA         Prepare for and attend conference with Baucum counsel                          0.40
                                  regarding motion for relief from stay.

      06/07/22       TGSP         Correspond with Baucum counsel regarding lift stay (.2);                       0.70
                                  conference call with same and V&E team regarding same (.3);
                                  correspond with V&E team regarding same (.2).




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                                                                                Client/Matter Number         ROC447 64001
                                                                                Invoice Number               25701992
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

             Summary of services - Relief from Stay and Adequate Protection
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     LRKA         Lauren R. Kanzer                                                  0.60      975.00               585.00
                     TGSP         Trevor G. Spears                                                  0.90      790.00               711.00

             Total                                                                                  1.50                         1,296.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Fees for services posted from June 1, 2022 through June 10, 2022:
      Re: Reporting
      Date           Initials     Description                                                                   Hours

      06/01/22       LRKA         Review April MOR (.4); correspond with V&E team regarding                      0.60
                                  same (.2).

      06/01/22       MAGA         Review and revise monthly operating reports (1.6);                             1.80
                                  correspond with V&E and Ankura teams regarding same (.2).

      06/02/22       MAGA         Confer with V&E and Ankura teams regarding monthly                             0.50
                                  operating reports and UST fees.

      06/03/22       EMME         Correspond with Stretto team regarding same (.2); review                       0.70
                                  draft notice of revised MSL (.4); coordinate filing of same (.1).




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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

            Summary of services - Reporting
                     Initials     Name                                                             Hours      Eff. Rate            Amount

                     MAGA         Michael A. Garza                                                  2.30      860.00              1,978.00
                     LRKA         Lauren R. Kanzer                                                  0.60      975.00                585.00
                     EMME         Elias M. Medina                                                   0.70      590.00                413.00

            Total                                                                                   3.60                          2,976.00



      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Travel
      06/02/22       MWMO         VENDOR: AMEX - ChromeRiver INVOICE#: CE010052120514 DATE:                                        466.20
                                  6/8/2022 06/02/2022 Sedan Services S1 GLOBAL, LLC DALLAS TX -
                                  Roundtrip transport of attorneys and witnesses to Fort Worth bankruptcy
                                  court to attend hearing.
                     Travel                                                                                                       $466.20

      Total                                                                                                                       $466.20

      Total disbursements and other charges                                                                                       $466.20

      Total fees, all matters                                                                                                 $198,056.00

      Total disbursements and other charges, all matters                                                                         $466.20

      Total Amount Due                                                                                                        $198,522.20




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                                                                                Client/Matter Number         ROC447 64001
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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Summary of Services

      Initials       Name                                       Rank                               Hours      Eff. Rate            Amount

      MTDO           Matthew T. Dobbins                         Partner                             7.40     1055.00             7,807.00
      LRKA           Lauren R. Kanzer                           Partner                            36.70      975.00            35,782.50
      JETO           Joclynn E. Townsend                        Counsel                            35.80      945.00            33,831.00
      TDAI           Taylor Daily                               Associate                          21.40      590.00            12,626.00
      MAGA           Michael A. Garza                           Associate                          15.20      860.00            13,072.00
      JOLA           John Larbalestier                          Associate                          31.30      830.00            25,979.00
      EMME           Elias M. Medina                            Associate                          21.80      590.00            12,862.00
      ARMU           Arthur Munoz                               Associate                           8.80      705.00             6,204.00
      MJPY           Matthew J. Pyeatt                          Associate                           8.00      910.00             7,280.00
      TGSP           Trevor G. Spears                           Associate                          20.10      790.00            15,879.00
      BEZE           Benjamin Zeter                             Associate                          23.30      685.00            15,960.50
      SAZO           Sara Zoglman                               Associate                          12.90      590.00             7,611.00
      EENE           Elizabeth E. Neuman                        Paralegal                          10.20      310.00             3,162.00

      Total                                                                                      252.90                       $198,056.00




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                                    Exhibit I

                Detailed Description of Expenses and Disbursements




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                                                                                Client/Matter Number         ROC447 64001
                                                                                Invoice Number               25695303
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Disbursements and other charges posted through March 31, 2022:


      Business Meals
      03/09/22       SAZO          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050681209 DATE:                                            86.43
                                   3/29/2022 03/09/2022 UBER POSTMATES SAN FRANCISCO CA - In
                                   office client meeting dinner to discuss client business matters. # of
                                   attendees 3
      03/09/22       SAZO          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051306084 DATE:                                            13.67
                                   5/12/2022 03/09/2022 UBER POSTMATES SAN FRANCISCO CA - In
                                   office client meeting dinner. The $13.67 was the tip that was charged
                                   separately, and the receipt was not provided. # of attendees 3
      03/10/22       MAGA          VENDOR: Mendocino Farms; INVOICE#: 271719; DATE: 3/10/2022 -                                         73.18
                                   Rockall lunch on 3/9/22 - 4 people
                     Business Meals                                                                                               $173.28
      Courier Services
      03/14/22       TDAI          VENDOR: FedEx INVOICE#: 769746730 DATE: 3/21/2022 Cleary                                             37.68
                                   Gottlieb Steen & Hamilton NEW YORK NY US - Tracking#: 776285715114
      03/14/22       TDAI          VENDOR: FedEx INVOICE#: 769746730 DATE: 3/21/2022 Cleary                                             30.06
                                   Gottlieb Steen & Hamilton NEW YORK NY US - Tracking#: 776287966330
                     Courier Services                                                                                              $67.74
      Filing Fees
      03/09/22       LRKA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050400547 DATE:                                    24,332.00
                                   3/14/2022 03/09/2022 Fees COURTS/USBC-TX-N-D2 DALLAS TX -
                                   Rockall filing petitions.
      03/09/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050419198 DATE:                                     3,476.00
                                   3/14/2022 03/09/2022 Fees COURTS/USBC-TX-N-D2 DALLAS TX -
                                   Rockall filing petitions.
      03/10/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050443037 DATE:                                       400.00
                                   3/15/2022 03/10/2022 Fees COURTS/USBC-TX-N-D2 DALLAS TX -
                                   Filing fee payment to USBC NDTX for four (4) pro hac vice motions (David
                                   Meyer, George Howard, Lauren Kanzer, Eli Medina) at $100 each.
      03/14/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010050439882 DATE:                                       122.85
                                   3/15/2022 03/14/2022 Fees IN *LAWRENCE COURT T PORT ORANGE
                                   FL - Transcript for hearing on 3/11/2022.
                     Filing Fees                                                                                               $28,330.85
      Outside Professional Services
      03/17/22       MAGA          VENDOR: Restructuring Concepts LLC; INVOICE#: 120836; DATE:                                           3.73
                                   3/17/2022. Chapter 11 Dockets document downloads for the month of
                                   February 2022. (3.50 @ 80%)
      03/17/22       SAZO          VENDOR: Restructuring Concepts LLC; INVOICE#: 120836; DATE:                                          11.19
                                   3/17/2022. Chapter 11 Dockets document downloads for the month of
                                   February 2022. (10.50 @ 80%)
      03/25/22       EENE          VENDOR: Kathy Rehling; INVOICE#: 8980; DATE: 3/25/2022 - Payment                                565.50
                                   for precedent case transcript
      03/25/22       EENE          VENDOR: Kathy Rehling; INVOICE#: 8981; DATE: 3/25/2022 - Payment                                717.75
                                   for precedent case transcript



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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                     Outside Professional Services                                                                               $1,298.17

      Total                                                                                                                     $29,870.04

      Total disbursements and other charges                                                                                     $29,870.04

      Total fees, all matters                                                                                                 $996,581.50

      Total disbursements and other charges, all matters                                                                       $29,870.04

      Total Amount Due                                                                                                   $1,026,451.54




      I.R.S. NO. XX-XXXXXXX

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                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Disbursements and other charges posted through April 30, 2022:


      Travel
      04/06/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051264673 DATE:                                        292.83
                                  4/27/2022 04/06/2022 Airfare United Airlines - Airfare for travel to/from
                                  Dallas, TX on May 3-6, 2022 in connection with Rockall - Hearing on
                                  Supplemental DS. for GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on
                                  05/03/2022 - 05/06/2022
      04/06/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051264673 DATE:                                             27.00
                                  4/27/2022 04/06/2022 Agency Fees - Other UNITED AIRLINES HOT
                                  SPRINGS VA - Airfare for travel to/from Dallas, TX on May 3-6, 2022 in
                                  connection with Rockall - Hearing on Supplemental DS. for GARZA
                                  /ECONOMY P
      04/06/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051264673 DATE:                                             27.00
                                  4/27/2022 04/06/2022 Agency Fees - Other UNITED AIRLINES HOT
                                  SPRINGS VA - Airfare for travel to/from Dallas, TX on May 3-6, 2022 in
                                  connection with Rockall - Hearing on Supplemental DS. for GARZA
                                  /ECONOMY P
      04/07/22       MJPY         VENDOR: AMEX - ChromeRiver INVOICE#: CE010050917538 DATE:                                             17.00
                                  4/8/2022 04/07/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Correspondence with client and advisors; evaluate and
                                  revise documents for client on 4/7, during travel.
      04/07/22       MJPY         VENDOR: AMEX - ChromeRiver INVOICE#: CE010050917538 DATE:                                              9.95
                                  4/8/2022 04/07/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Correspondence with client and advisors; evaluate and
                                  revise documents for client on 4/7, during travel.
      04/10/22       MJPY         VENDOR: AMEX - ChromeRiver INVOICE#: CE010050991068 DATE:                                             10.00
                                  4/13/2022 04/10/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Correspondence with client and advisors; evaluate and
                                  revise documents for client during travel.
      04/21/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        -564.07
                                  5/20/2022 04/21/2022 Airfare United Airlines - Refund for ticket issued for
                                  trip to Dallas in connection with Rockall case April 25-27. for
                                  GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 04/25/2022 -
                                  04/27/2022
      04/21/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        564.07
                                  5/20/2022 04/21/2022 Airfare United Airlines - Ticket issued for trip to
                                  Dallas in connection with Rockall case April 25-27. (Ticket was canceled)
                                  for GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 04/25/2022 -
                                  04/27/2022
      04/22/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        529.29
                                  5/20/2022 04/22/2022 Airfare United Airlines - Replacement ticket issued
                                  for trip to Dallas in connection with Rockall case April 25-27. for
                                  GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 04/24/2022 -
                                  04/27/2022
      04/24/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                      1,038.27
                                  5/5/2022 04/24/2022 Airfare American Airlines - Travel to Dallas for
                                  deposition hearing. for MEYER/DAVID S Route: LGA/DFW LGA on
                                  04/25/2022 - 04/27/2022 (Coach Fair)
      04/25/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        350.00
                                  5/5/2022 04/25/2022 Hotel - Lodging MANSIONONTURTLECREEK
                                  DALLAS TX Attend deposition hearing. arrival: 04/25/2022 # of nights 1.00


      I.R.S. NO. XX-XXXXXXX

      Please reference client/matter and invoice numbers when making payment.
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                                                                                Client/Matter Number         ROC447 64001
                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                  Dallas, Texas
      04/25/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        154.50
                                  5/5/2022 04/25/2022 Taxi ALL TOWNS LIVERY 030 STAMFORD CT -
                                  Attend deposition hearing. Taxi from home to LGA airport.
      04/25/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                             98.10
                                  5/20/2022 04/25/2022 Taxi S1 GLOBAL, LLC DALLAS TX -
                                  Transportation in connection with trip.
      04/25/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                        110.50
                                  5/20/2022 04/25/2022 Taxi EXCELSIOR TRANSPORTA 1142381-1 TX -
                                  Transportation in connection with trip.
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        -513.21
                                  5/5/2022 04/26/2022 Airfare Delta Airlines - Attend deposition hearing.
                                  Delta credit. for MEYER/DAVID S Route: DFW LGA on 04/28/2022 -
                                  04/28/2022
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        513.21
                                  5/5/2022 04/26/2022 Airfare Delta Airlines - Attend deposition hearing. for
                                  MEYER/DAVID S Route: DFW LGA on 04/28/2022 - 04/28/2022
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             10.33
                                  5/5/2022 04/26/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  deposition hearing. Taxi from hotel to Dallas office.
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             98.10
                                  5/5/2022 04/26/2022 Taxi S1 GLOBAL, LLC DALLAS TX - Attend
                                  deposition hearing. Taxi from DFW airport to hotel on 4/25.
      04/26/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051230567 DATE:                                             19.00
                                  4/26/2022 04/26/2022 Internet Services VIASAT IN-FLIGHT WI-
                                  CARLSBAD US - Prepared for deposition.
      04/27/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             19.95
                                  5/5/2022 04/27/2022 Internet Services HTTP://WWW.GOGOAIR.C 877-
                                  350-0038 IL - Attend deposition hearing. Prepare for deposition.
      04/27/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             23.60
                                  5/5/2022 04/27/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  deposition hearing. Taxi from hotel to Dallas office on 4/26.
      04/27/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             20.83
                                  5/5/2022 04/27/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  deposition hearing. Taxi from Dallas office to hotel on 4/26.
      04/27/22       MWMO         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051314206 DATE:                                             15.95
                                  4/29/2022 04/27/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  Rockall hearing
      04/28/22       MWMO         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051314206 DATE:                                             66.65
                                  4/29/2022 04/28/2022 Taxi UBER TRIP SAN FRANCISCO CA - Attend
                                  Rockall hearing
      04/28/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                             19.00
                                  5/5/2022 04/28/2022 Internet Services VIASAT IN-FLIGHT WI-
                                  CARLSBAD US - Attend deposition hearing. Worked on documents for
                                  client.
      04/28/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        189.50
                                  5/5/2022 04/28/2022 Taxi ALL TOWNS LIVERY 030 STAMFORD CT -
                                  Attend deposition hearing. Taxi from LGA/home.
      04/28/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                        250.00
                                  5/5/2022 04/28/2022 Taxi S1 GLOBAL, LLC DALLAS TX - Attend
                                  deposition hearing. Taxi from Dallas office to court and then from court to
                                  airport.
      04/28/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051740529 DATE:                                      1,062.78


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                                                                                Client/Matter Number         ROC447 64001
                                                                                Invoice Number               25701990
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                                   5/20/2022 04/28/2022 Hotel - Lodging THE FAIRMONT DALLAS DALLAS
                                   TX Hotel in connection with Rockall trip to Dallas for meetings and
                                   contested bankruptcy hearing. arrival: 04/24/2022 # of nights 3.00 Dallas,
                                   Texas
                     Travel                                                                                                     $4,460.13
      Business Meals
      04/25/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/25/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/25/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/25/2022 6332115 - BAR VELOCE QUEENS NY - Attend
                                   deposition hearing. Food at the airport. # of attendees 1
      04/26/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/26/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/26/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            45.00
                                   5/5/2022 04/26/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/26/22       MWMO          VENDOR: Taco Joint; INVOICE#: TJ042622; DATE: 4/26/2022 - Depo of D                                  43.84
                                   Meyer breakfast on 4/27/22- 7 people
      04/27/22       MWMO          VENDOR: Taco Joint; INVOICE#: 16; DATE: 4/27/2022 - Depo of D Meyer                                  36.86
                                   breakfast on 4/27/22- 7 people
      04/27/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            18.49
                                   5/5/2022 04/27/2022 MANSIONONTURTLECREEK DALLAS TX - Attend
                                   deposition hearing. # of attendees 1
      04/27/22       DSME          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051408569 DATE:                                            19.34
                                   5/5/2022 04/27/2022 Cowboys Club A DFW 1 Dallas TX - Attend
                                   deposition hearing. Food at the airport. # of attendees 1
      04/30/22       MWMO          VENDOR: Special Delivery Service, Inc; INVOICE#: 665028; DATE:                                  168.16
                                   4/30/2022; Depo of David Meyer Breakfast and Lunch on 4/27/2022
                     Business Meals                                                                                               $466.69
      Filing Fees
      04/14/22       ARMU          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051118797 DATE:                                            20.00
                                   4/20/2022 04/14/2022 Fees PAYPAL *EVANG CLERK 3373635671 LA -
                                   Subscription Fee to Evangeline Parish Clerk of Court (processed through
                                   PayPal - see attached receipt)
      04/28/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051731070 DATE:                                       498.52
                                   5/20/2022 04/28/2022 Fees IN *DIPTI PATEL AUSTIN TX - Transcriber
                                   fees for Dipti Patel in connection with the 4/27/2022 court hearing
                                   transcript.
                     Filing Fees                                                                                                  $518.52
      Outside Professional Services
      04/15/22       EENE          VENDOR: Restructuring Concepts LLC; INVOICE#: 121381; DATE:                                           7.62
                                   4/15/2022; Chapter 11 Dockets document downloads for the month of
                                   March 2022 ($7.00@100%)
      04/15/22       SAZO          VENDOR: Restructuring Concepts LLC; INVOICE#: 121381; DATE:                                          14.93
                                   4/15/2022; Chapter 11 Dockets document downloads for the month of
                                   March 2022 ($14.00@80%)



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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

                     Outside Professional Services                                                                                 $22.55

      Total                                                                                                                     $5,467.89

      Total disbursements and other charges                                                                                     $5,467.89

      Total fees, all matters                                                                                            $1,995,705.50

      Total disbursements and other charges, all matters                                                                       $5,467.89

      Total Amount Due                                                                                                   $2,001,173.39




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                         729 Filed 09/20/24
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                                                                                Invoice Number               25701991
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Disbursements and other charges posted through May 31, 2022:


      Travel
      05/02/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051836845 DATE:                                         -27.00
                                  5/25/2022 05/02/2022 Baggage Fee UNITED AIRLINES HOUSTON TX -
                                  Reimbursement of baggage fee for canceled tickets. See Report # 0100-
                                  5126-4673 for receipts. for GARZA /OTHER
      05/02/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051836845 DATE:                                        -292.83
                                  5/25/2022 05/02/2022 Airfare United Airlines - Reimbursement for
                                  canceled tickets. See Report # 0100-5126-4673 for receipts. for
                                  GARZA/MICHAEL ANGEL Route: IAH/DFW IAH on 05/03/2022 -
                                  05/06/2022
      05/03/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051743670 DATE:                                        -326.20
                                  5/21/2022 05/03/2022 Airfare American Airlines - Refund for canceled
                                  ticket. for GARZA/MICHAEL ANGEL Route: DFW PHL on 05/13/2022 -
                                  05/13/2022
      05/03/22       MAGA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051743670 DATE:                                        -136.12
                                  5/21/2022 05/03/2022 Airfare United Airlines - Refund for canceled ticket.
                                  for GARZA/MICHAEL ANGEL Route: IAH DFW on 05/11/2022 -
                                  05/11/2022
      05/12/22       LRKA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051826453 DATE:                                        578.72
                                  5/25/2022 05/12/2022 Airfare Delta Airlines - Attending hearing in Dallas.
                                  Trip canceled. for KANZER/LAUREN RISTAU Route: LGA/DFW LGA on
                                  05/17/2022 - 05/19/2022
      05/17/22       LRKA         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051826453 DATE:                                        -578.72
                                  5/25/2022 05/17/2022 Airfare Delta Airlines - Attending hearing in Dallas.
                                  Trip canceled. for KANZER/LAUREN RISTAU Route: LGA/DFW/LGA on
                                  05/17/2022 - 05/19/2022
      05/23/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                     -1,055.52
                                  6/1/2022 05/23/2022 Airfare Delta Airlines - Hearing was canceled. for
                                  MEYER/DAVID S Route: LGA/DFW LGA on 05/24/2022 - 05/25/2022
      05/23/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                      1,055.52
                                  6/1/2022 05/23/2022 Airfare Delta Airlines - Hearing was canceled. for
                                  MEYER/DAVID S Route: LGA/DFW LGA on 05/24/2022 - 06/25/2022
      05/23/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                        -574.88
                                  6/1/2022 05/23/2022 Airfare American Airlines - Hearing was canceled.
                                  for MEYER/DAVID S Route: DFW LGA on 05/25/2022 - 05/25/2022
      05/23/22       DSME         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051959176 DATE:                                        574.88
                                  6/1/2022 05/23/2022 Airfare American Airlines - Hearing was canceled.
                                  for MEYER/DAVID S Route: DFW LGA on 05/25/2022 - 05/25/2022
      05/25/22       ESST         VENDOR: AMEX - ChromeRiver INVOICE#: CE010051863029 DATE:                                        466.20
                                  5/26/2022 05/25/2022 Sedan Services S1 GLOBAL, LLC DALLAS TX -
                                  Two SUVs reserved to transport attorneys and witnesses to Fort Worth
                                  bankruptcy court to attend hearing - judge rescheduled hearing to virtual so
                                  car service was cancelled but a penalty was assessed due to cancellation
                                  time frame
                     Travel                                                                                                      $-315.95
      Business Meals
      04/27/22       MWMO         VENDOR: Lush Catering Co.; INVOICE#: 7628; DATE: 4/27/2022 - Lunch                               130.39
                                  on 4/27 for Depo. of D.Meyer (5 ppl)


      I.R.S. NO. XX-XXXXXXX

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                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      05/24/22       ESST          VENDOR: East Hampton Sandwich Co; INVOICE#: 10062722567208962;                                  137.85
                                   DATE: 5/24/2022 - ROC client meeting lunch on 5/25/22 - 8 people
      05/25/22       ESST          VENDOR: Taco Joint; INVOICE#: 13; DATE: 5/25/2022 - ROC client                                       65.01
                                   meeting breakfast on 5/25/22 - 7 people
      05/25/22       ESST          VENDOR: Lush Catering Co.; INVOICE#: 7688; DATE: 5/25/2022 - ROC                                150.57
                                   client meeting breakfast on 5/25/22 - 10 people
      05/26/22                     VENDOR: JP Morgan Chase - Petty Cash; INVOICE#: JPMCPC052622;                                        20.00
                                   DATE: 5/26/2022 - Petty Cash Reimbursement - fruit for M. Morgan
                                   meeting
      05/26/22                     VENDOR: JP Morgan Chase - Petty Cash; INVOICE#: JPMCPC052622;                                        12.94
                                   DATE: 5/26/2022 - Petty Cash Reimbursement - Danish for E. Sterbcow
                                   meeting
                     Business Meals                                                                                               $516.76
      Courier Services
      05/18/22       LRKA          VENDOR: FedEx INVOICE#: 776411878 DATE: 5/23/2022 RCL                                                20.55
                                   Consultants LLC BATON ROUGE LA US - Tracking#: 776897534066
      05/28/22       ESST          VENDOR: Special Delivery Service, Inc; INVOICE#: 667047; DATE:                                       24.62
                                   5/28/2022; Courier Services - ROC Client Meeting - 5/25/22
                     Courier Services                                                                                              $45.17
      Filing Fees
      05/03/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010051731070 DATE:                                       302.50
                                   5/20/2022 05/03/2022 Fees IN *LAWRENCE COURT T PORT ORANGE
                                   FL - Transcrier fees for the 5/3/2022 transcript by Kelli at Lawrence Court
                                   Transcription.
      05/31/22       MAGA          VENDOR: AMEX - ChromeRiver INVOICE#: CE010052092572 DATE:                                       453.75
                                   6/7/2022 05/31/2022 Fees IN *LAWRENCE COURT T PORT ORANGE
                                   FL - Fee deposit for transcript of 5/31/2022 hearing.
                     Filing Fees                                                                                                  $756.25

      Total                                                                                                                     $1,002.23

      Total disbursements and other charges                                                                                     $1,002.23

      Total fees, all matters                                                                                            $1,288,950.00

      Total disbursements and other charges, all matters                                                                       $1,002.23

      Total Amount Due                                                                                                   $1,289,952.23




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                         729 Filed 09/20/24
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                                                                                Invoice Number               25701992
                                                                                Billing Attorney             William C. Smith



      Re:        Restructuring Advice

      Disbursements and other charges posted from June 1, 2022 through June 10, 2022:


      Travel
      06/02/22       MWMO         VENDOR: AMEX - ChromeRiver INVOICE#: CE010052120514 DATE:                                        466.20
                                  6/8/2022 06/02/2022 Sedan Services S1 GLOBAL, LLC DALLAS TX -
                                  Roundtrip transport of attorneys and witnesses to Fort Worth bankruptcy
                                  court to attend hearing.
                     Travel                                                                                                       $466.20

      Total                                                                                                                       $466.20

      Total disbursements and other charges                                                                                       $466.20

      Total fees, all matters                                                                                                 $198,056.00

      Total disbursements and other charges, all matters                                                                         $466.20

      Total Amount Due                                                                                                        $198,522.20




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Case 22-90000-mxm11
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                         729 Filed 09/20/24
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                                   Exhibit J

                                Proposed Order




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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

    In re:                        §                                     Case No. 22-90000 (MXM)
                                  §
    ROCKALL ENERGY HOLDINGS, LLC, §                                     (Chapter 11)
    et al.,                       §
                                  §                                     (Jointly Administered)
            Debtors. 1            §

              ORDER GRANTING THE FINAL FEE APPLICATION OF
     VINSON & ELKINS LLP, ATTORNEYS FOR THE DEBTORS AND DEBTORS IN
    POSSESSION, FOR THE PERIOD FROM MARCH 9, 2022 THROUGH JUNE 10, 2022

         Upon the Final Fee Application of Vinson & Elkins LLP, Attorneys for the Debtors and

Debtors in Possession, for the Period From March 9, 2022 Through June 10, 2022 (the “Final

Fee Application”); and the Court having jurisdiction over the matters raised in the Final Fee

Application pursuant to 28 U.S.C. § 1334; and the Court having found that this is a core proceeding


1
         The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
         numbers are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall
         Agent Corp. (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR,
         LLC (4136), Rockall Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA,
         LLC (4270), Rockall Laurel, LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740),
         Rockall ND, LLC (9311), Rockall Pine Prairie, LLC (5799), White Marlin Investment Company, LLC
         (9987), and White Marlin Midstream, LLC (1466). The location of the Debtors’ U.S. corporate headquarters
         and the Debtors’ service address is: 5005 LBJ Freeway, Suite 700, Dallas, TX 75244.



US 8969626


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Case 22-90000-mxm11
     22-30500-swe7 Doc
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pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article

III of the United States Constitution; and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that proper and adequate notice of the Fee Application and hearing thereon has been given

and that no other or further notice is necessary; and the Court having found that good and sufficient

cause exists for the granting of the relief requested in the Fee Application after having given due

deliberation upon the Fee Application and all of the proceedings had before the Court in connection

with the Motion, it is HEREBY ORDERED THAT:2

       1.      Compensation of fees to V&E for professional and paraprofessional services

rendered during the Fee Period is allowed on a final basis in the amount of $4,479,293.00.

       2.      Reimbursement to V&E for expenses incurred during the Fee Period is allowed on

a final basis in the amount of $36,806.36.

       3.      The Liquidation Trust is authorized and directed to pay V&E all unpaid fees and

expenses allowed pursuant to this Order within five business days of entry of this Order.

       4.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, or enforcement of this Order.

                                      # # # END OF ORDER # # #




2
       Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Final Fee
       Application.


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Case 22-30500-swe7   Doc 261-8
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                          Exhibit G




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     Paul R. Genender (TX 00790758)                                 Jessica Liou
     WEIL, GOTSHAL & MANGES LLP                                     WEIL, GOTSHAL & MANGES LLP
     200 Crescent Court, Suite 300                                  767 Fifth Avenue
     Dallas, Texas 75201                                            New York, New York 10153
     Telephone:       (214) 746-7700                                Telephone:       (212) 310-8000
     Facsimile:       (214) 746-7777                                Facsimile:       (212) 310-8007
     Email:           Paul.Genender@weil.com                        Email:           Jessica.Liou@weil.com
     SPECIAL COUNSEL TO THE SPECIAL
     LITIGATION COMMITTEE OF THE BOARD OF
     DIRECTORS OF ROCKALL ENERGY HOLDINGS,
     LLC

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

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                                                             :
In re:                                                       :            Chapter 11
                                                             :
ROCKALL ENERGY HOLDINGS, LLC, et al., :                                   Case No. 22–90000 (MXM)
                                                             :
                  Debtors.   1                               :            (Jointly Administered)
                                                             :
                                                             :
------------------------------------------------------------ x
            SUMMARY OF FIRST INTERIM AND FINAL FEE APPLICATION
                 OF WEIL, GOTSHAL & MANGES LLP AS SPECIAL
              COUNSEL TO THE SPECIAL LITIGATION COMMITTEE OF
       THE BOARD OF DIRECTORS OF ROCKALL ENERGY HOLDINGS, LLC FOR
       ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
     FOR THE PERIOD OF MARCH 9, 2022 THROUGH AND INCLUDING JUNE 10, 2022

Name of Applicant:                                                                      Weil, Gotshal & Manges LLP
                                                                                        (“Weil”)

Name of Client:                                                                         Special Counsel to the Special
                                                                                        Litigation Committee of the Board




 1
       The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
       are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall Agent Corp.
       (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR, LLC (4136), Rockall
       Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA, LLC (4270), Rockall Laurel,
       LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740), Rockall ND, LLC (9311), Rockall Pine
       Prairie, LLC (5799), White Marlin Investment Company, LLC (9987), and White Marlin Midstream, LLC (1466).
       The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 5005 LBJ Freeway,
       Suite 700, Dallas, TX 75244.



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                                                                              of Directors of Rockall Energy
                                                                              Holdings, LLC2

Petition Date:                                                                March 9, 2022

Retention Date:                                                               Effective as of the Petition Date
                                                                              [Docket No. 589]

Date of Order Approving Employment:                                           May 31, 2022

Prior Interim Applications:                                                   None

Period for Which Compensation and Reimbursement is Sought on a                March 9, 2022 through and
Final Basis:                                                                  including June 10, 2022 (the “Fee
                                                                              Period”)

Summary of Fees and Expenses Sought in This Application

Time Period Covered by This Application Not Previously Covered by             March 9, 2022 through and
Prior Interim Applications:                                                   including June 10, 2022 (the “Fee
                                                                              Period”)

Total Compensation Sought this Period:                                        $459,602.00

Total Expenses Sought this Period:                                            $652.15

Total Compensation and Expenses Requested for this Period:                    $460,254.15

Total Compensation Approved by Interim Orders to Date:                        N/A

Total Expenses Approved by Interim Orders to Date:                            N/A

Total Compensation Paid to Date:                                              $0.00

Total Expenses Paid to Date:                                                  $0.00

Blended Rate for this Period for All Attorneys:                               $1,157.93

Blended Rate for this Period for All Timekeepers:                             $1,083.97

Compensation sought for this Period already paid pursuant to a monthly        N/A
compensation order but not yet allowed: (80%)

Expenses sought in this application already paid pursuant to a monthly        N/A
compensation order but not yet allowed: (100%)

2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed in the Debtors’
     Application for Entry of an Order Authorizing the Retention and Employment of Weil, Gotshal & Manges LLP,
     as Special Counsel to the Special Litigation Committee of the Board of Directors of Rockall Holdings, LLC,
     Effective as of the Petition Date [Docket No. 366] (the “Retention Application”).



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        Number of professionals included for this Period:                                          153

        If applicable, number of professionals for this Period not included in the                 N/A4
        staffing plan approved by the client:

        If applicable, difference between fees budgeted and compensation                           N/A
        sought for this Period:

        Number of professionals billing fewer than 15 hours to the case during                     8
        this Period:

        Summary of Fees and Expenses Sought in This Application for the Fee Period
        Amount of Compensation Sought as
                                                                                                   $459,602.00
        Actual, Reasonable, and Necessary for the Entire Fee Period:

        Amount of Expense Reimbursement Sought as Actual, Reasonable, and
                                                                                                   $652.15
        Necessary for the Entire Fee Period:
        Total Compensation and Expenses Requested for the Entire Fee
                                                                                                   $460,254.155
        Period:
        This is a(n):         monthly X interim X final application.

        I.          Attorney/Other Professional Summary for the Fee Period:


                                                                                        HOURLY
                                                                                                          TOTAL
    NAME OF                                                             YEAR            BILLING                         TOTAL
                               POSITION         DEPARTMENT6                                               BILLED
  PROFESSIONAL                                                        ADMITTED           RATE                        COMPENSATION
                                                                                                          HOURS


Genender, Paul R.                 Partner               LIT                1994          $1,475.00           36.30     $53,542.50

Liou, Jessica                     Partner              RES                 2009          $1,495.00           41.80     $62,491.00

Prugh, Amanda
                                 Counsel                LIT                2012          $1,250.00           53.10     $66,375.00
Pennington




        3
                Nine (8) attorneys; six (6) paraprofessionals and one (1) other non-legal staff.

        4
                As set forth in Weil’s Retention Application, Weil had regular meetings with the Special Litigation Committee
                to provide updates regarding the ongoing workstreams, developments, and material facts discovered in the course
                of the Investigation, and other strategic considerations during the Fee Period and did not otherwise develop a
                formal budget and staffing plan. Retention Application ¶ 15.

        5
                The amounts sought in this Fee Application reflect voluntary reductions made by Weil totaling $68,440.97
                ($68,374.50 in fees and $66.47 in expenses).

        6
                RES – Restructuring; LIT – Litigation



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                                                                                 HOURLY
                                                                                               TOTAL
    NAME OF                                                        YEAR          BILLING                   TOTAL
                             POSITION         DEPARTMENT6                                      BILLED
  PROFESSIONAL                                                   ADMITTED         RATE                  COMPENSATION
                                                                                               HOURS


Friedman, Julie T.             Associate               RES             2003        $695.00       7.50       $5,212.50

Bunch, Brittany Nicole         Associate               LIT             2017       $1,130.00    102.70      $116,051.00

Ha, Frances R.                 Associate               RES             2018        $980.00      46.20      $45,276.00

De Santis, Elena               Associate               LIT             2019       $1,075.00     57.10      $61,382.50

Momplaisir, Krystel            Associate               LIT             2020        $840.00      35.20      $29,568.00

Total Attorney Hours
                                                                                               379.90      $439,898.50
and Fees


      The paraprofessionals and other non-legal staff who rendered professional services in these chapter
      11 cases during the Fee Period are:

       NAME OF
                                                                               HOURLY         TOTAL
  PARAPROFESSIONALS                                                                                        TOTAL
                                           POSITION          DEPARTMENT7       BILLING        BILLED
 AND OTHER NON-LEGAL                                                                                    COMPENSATION
                                                                                RATE          HOURS
        STAFF

 Lee, Kathleen Anne                        Paralegal             RES            $495.00        14.60       $7,227.00

 Fabsik, Paul                              Paralegal             RES            $430.00        11.60       $4,988.00

 Lawless, Martha M.                        Paralegal             RES            $430.00        0.40        $172.00

 Morris, Sharron                           Paralegal             LIT            $430.00        13.90       $5,977.00

 Olvera, Rene A.                           Paralegal             RES            $430.00        0.70        $301.00

 Jewett, Laura                         Litigation Support        LSS            $415.00        0.70        $290.50

 Jalomo, Chris                             Paralegal             RES            $340.00        2.20        $748.00

 Total Hours and Fees for
 Paraprofessionals and Other                                                                   44.10      $19,703.50
 Non-Legal Staff




        7
             RES – Restructuring; LIT – Litigation; LSS – Litigation Support Services



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       II.       Total Fees for the Fee Period by Position are:

              PROFESSIONALS                          BLENDED RATE       TOTAL      TOTAL COMPENSATION
                                                                        BILLED
                                                                        HOURS

Partners and Counsel                                       $1,390.31     131.20         $182,408.50

Associates                                                 $1,035.34     248.70         $257,490.00

Paraprofessionals and Other Non-Legal
                                                           $446.79        44.10         $19,703.50
Staff

Blended Attorney Rate                                      $1,157.93

Total Fees Incurred (15 professionals,
                                                                         424.00         $459,602.00
paraprofessionals, and other non-legal staff):



       III.      Compensation by Project Category for the Fee Period:

              TASK                    PROJECT CATEGORY                  TOTAL        TOTAL
              CODE                                                      BILLED    COMPENSATION
                                                                        HOURS

               001      Case Administration                              3.80            $2,144.00
                        Communications with Special Litigation
               002                                                       9.00           $12,032.00
                        Committee
               003      Communications with UCC                          26.60          $34,017.00

               004      General Case Strategy (Including Team Calls)     7.80            $9,445.50

               005      Hearings and Court Matters                       10.10          $12,444.00

               006      Investigation                                   265.40         $292,067.50

               007      Retention/Fee Applications: Weil                101.30          $97,452.00

              TOTAL                                                     424.00         $459,602.00




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IV.       Expense Summary for the Fee Period:

                 EXPENSE CATEGORY                       AMOUNT

 Duplicating                                                                 $148.50

 Electronic Research                                                         $453.62

 Transportation                                                               $50.03

 TOTAL                                                                       $652.15




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  Paul R. Genender (TX 00790758)                                 Jessica Liou
  WEIL, GOTSHAL & MANGES LLP                                     WEIL, GOTSHAL & MANGES LLP
  200 Crescent Court, Suite 300                                  767 Fifth Avenue
  Dallas, Texas 75201                                            New York, New York 10153
  Telephone:       (214) 746-7700                                Telephone:       (212) 310-8000
  Facsimile:       (214) 746-7777                                Facsimile:       (212) 310-8007
  Email:           Paul.Genender@weil.com                        Email:           Jessica.Liou@weil.com
  SPECIAL COUNSEL TO THE SPECIAL
  LITIGATION COMMITTEE OF THE BOARD OF
  DIRECTORS OF ROCKALL ENERGY HOLDINGS,
  LLC


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

------------------------------------------------------------ x
                                                             :
In re:                                                       :        Chapter 11
                                                             :
ROCKALL ENERGY HOLDINGS, LLC, et al., :                               Case No. 22–90000 (MXM)
                                                             :
                  Debtors.   1                               :        (Jointly Administered)
                                                             :
                                                             :
------------------------------------------------------------ x
               FIRST INTERIM AND FINAL FEE APPLICATION
              OF WEIL, GOTSHAL & MANGES LLP AS SPECIAL
          COUNSEL TO THE SPECIAL LITIGATION COMMITTEE OF
    THE BOARD OF DIRECTORS OF ROCKALL ENERGY HOLDINGS, LLC FOR
    ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
  FOR THE PERIOD OF MARCH 9, 2022 THROUGH AND INCLUDING JUNE 10, 2022

           NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
           RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
           BANKRUPTCY COURT AT 501 W. 10TH STREET, ROOM 147, FORT WORTH,
           TX 706102-3643, BEFORE CLOSE OF BUSINESS ON AUGUST 30, 2022, WHICH
           IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF.


   1
        The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
        numbers are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall
        Agent Corp. (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR, LLC
        (4136), Rockall Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA, LLC
        (4270), Rockall Laurel, LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740), Rockall ND,
        LLC (9311), Rockall Pine Prairie, LLC (5799), White Marlin Investment Company, LLC (9987), and White
        Marlin Midstream, LLC (1466). The location of the Debtors’ U.S. corporate headquarters and the Debtors’
        service address is: 5005 LBJ Freeway, Suite 700, Dallas, TX 75244.



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          ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK,
          AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING
          PARTY PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A
          RESPONSE IS FILED A HEARING MAY BE HELD WITH NOTICE ONLY TO
          THE OBJECTING PARTY.

          IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED,
          THE RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND
          THE COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR
          THE NOTICED ACTION MAY BE TAKEN.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

                    Pursuant to sections 330 and 331 of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules (the “Local Rules”) of

the United States Bankruptcy Court for the Northern District of Texas (the “Court”), the General

Order 2006-02 Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case

Procedures”) from this Court, the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals, entered on April 27, 2022 [Docket No. 322]

(the “Interim Compensation Procedures Order”), Weil, Gotshal & Manges LLP (“Weil”), as

special counsel for the Special Litigation Committee for the above-captioned debtors and debtors-

in-possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),

hereby files its first interim and final fee application (the “Fee Application”) for entry of an order,

substantially in the form attached to this Fee Application as Exhibit A (the “Proposed Order”),

(i) granting final allowance of (a) payment of compensation for professional services to the Special

Litigation Committee during the period from March 9, 2022 through and including June 10, 2022

(the “Fee Period”) in the amount of $459,602.00, representing 100% of fees owed to Weil for

professional services to the Special Litigation Committee during the Fee Period and

reimbursement of 100% of the actual and necessary expenses incurred by Weil during the Fee




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Period in connection with such services in the amount of $652.15. In support of this Fee

Application, Weil submits the declaration of Jessica Liou, a partner of Weil (the “Liou

Declaration”), which is attached hereto as Exhibit B. In further support of the Fee Application,

Weil respectfully represents as follows:

                                            Jurisdiction and Venue

                    1.         This Court has jurisdiction to consider this matter pursuant to 28

U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 Background

                    2.         On March 9, 2022, (the “Petition Date”) the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code in this Court. The Debtors’ Chapter

11 Cases have been consolidated for procedural purposes only and are being jointly administered

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1.

                    3.         On February 25, 2022, the Board established a Special Litigation

Committee (the “Special Litigation Committee”) and appointed William Transier, an

experienced independent director, as its sole member to (i) investigate and determine whether the

Debtors hold any causes of action that are worth pursuing (the “Investigation”); and (ii) present

to the Board the conclusions of the Investigation and recommendations for consideration

(collectively, the “Mandate”).

                    4.         In connection with the Investigation, the Board delegated to the Special

Litigation Committee the power and authority to (i) conduct the Investigation, (ii) engage counsel

on behalf of the Debtors to assist in the Investigation, and (iii) take all such other actions that it

may determine are necessary, advisable, or appropriate to fulfill its duties and responsibilities with

respect to its review and evaluation of any potential claims or causes of action the Debtors may


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have. On February 26, 2022, the Special Litigation Committee retained Weil to serve as legal

counsel and assist in discharging its Mandate. Subsequently, the Debtors retained Weil as special

counsel to the Special Litigation Committee effective as of the Petition Date pursuant to the Order

Authorizing the Retention and Employment of Weil, Gotshal & Manges LLP as Special Counsel to

the Special Litigation Committee of the Board of Directors of Rockall Holdings, LLC, Effective as

of the Petition Date [Docket No. 589] (the “Retention Order”). The Retention Order authorizes

the Debtors to compensate and reimburse Weil subject to allowance of such compensation and

reimbursement by the Court.

                    5.         On May 25, 2022, the Debtors filed the Amended Joint Chapter 11 Plan

[Docket No. 548] (the “Plan”). On June 2, 2022, the Court entered an order confirming the

Debtors’ Plan and authorizing the sale of the Debtors’ assets [Docket No. 600] (the “Confirmation

Order”).2 The Debtors’ Plan became effective on June 10, 2022 (the “Effective Date”). See

Docket No. 641. Pursuant to the Confirmation Order, all professionals seeking payment of fees

are required to file, no later than sixty (60) days after the Effective Date, their respective

applications for final allowance of compensation for services rendered and reimbursement of

expenses incurred.

                                  Summary of Professional Compensation
                                 and Reimbursement of Expenses Requested

                    6.         By this Fee Application, Weil requests final allowance of $459,602.00 as

compensation for professional services rendered during the Fee Period, as well as allowance of

$652.15 as reimbursement for actual and necessary expenses incurred by Weil during the Fee

Period. Weil’s aggregate fees and expenses incurred prepetition through the Fee Period in


   2
        Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
        Confirmation Order.



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connection with its representation of the Special Litigation Committee, including the prepetition

work performed in connection with the investigation, totals approximately $700,000.

                    7.         Weil attorneys and paraprofessionals expended a total of 424.00 hours

during the Fee Period. All services for which compensation is requested by Weil were performed

for or on behalf of the Debtors.

                    8.         The amounts sought in this Fee Application reflect voluntary reductions

made by Weil totaling $68,440.97 ($68,374.50 in fees and $66.47 in expenses).

                    9.         Weil has received no payment and no promises of payment from any source

other than the Debtors for services rendered or to be rendered in any capacity whatsoever in

connection with the matters covered by this Fee Application.                  There is no agreement or

understanding between Weil and any other person, other than members of the firm, for the sharing

of compensation to be received for services rendered in these cases.

                    10.        The fees charged by Weil in these cases are billed in accordance with Weil’s

normal hourly rates and procedures in effect during the Fee Period, and in accordance with the

Retention Order. Weil did not agree to any variations from, or alternatives to, its standard or

customary billing arrangements in connection with the services rendered during the Fee Period.

Weil’s fees are reasonable based on the customary compensation charged by comparably skilled

practitioners in comparable non-bankruptcy cases in a competitive national legal market.

                                   Summary of Services and Compensation
                                  by Project Category During the Fee Period

                    11.        Weil maintains computerized records of the time spent by all Weil attorneys

and paraprofessionals in connection with its representation of the Debtors and non-debtor

affiliates. Pursuant to, and in compliance with, the Local Rules and the Department of Justice

Appendix B Guidelines for Reviewing Applications for Compensation and Reimbursement of



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Expenses Filed Under United States Code by Attorneys in Larger Chapter 11 Cases

(the “Guidelines”), attached hereto are (i) Exhibit C, the customary and comparable

compensation disclosures required pursuant to section C.3 of the Guidelines, (ii) Exhibit D, a

schedule setting forth all Weil professionals and paraprofessionals who have performed services

in these Chapter 11 Cases during the Fee Period, the capacity in which each such individual is

employed by Weil, the hourly billing rate charged by Weil for the services performed by such

individual, the aggregate number of hours expended in these cases during the Fee Period and fees

billed therefor, and the year in which each professional was first licensed to practice law,

(iii) Exhibit E, a schedule setting forth the actual and necessary disbursements that Weil incurred

during the Fee Period in connection with performance of professional service for the Debtors and

for which Weil seeks reimbursement by category, and (vii) Exhibit F, a summary cover sheet of

this Fee Application.

                    12.        Weil’s itemized time records for professionals and paraprofessionals

performing services for the Debtors during the Fee Period and Weil’s itemized records detailing

expenses incurred on behalf of the Debtors during the Fee Period are set forth in Exhibit G and

Exhibit H, respectively. All itemized expenses comply with the requirements of the Local Rules

and the Guidelines.

                    13.        The professional services performed by Weil during the Fee Period were

necessary and appropriate to the administration of the Debtors’ chapter 11 cases. These services

were in the best interests of the Debtors. The compensation requested is commensurate with the

complexity and nature of the issues and tasks involved.

                    14.        The following is a summary of the significant professional services

rendered by Weil during the Fee Period. This summary is organized in accordance with the




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internal system of work codes set up by Weil at the outset of these Chapter 11 Cases. If a work

code does not appear below, then Weil did not bill significant time for that work code during the

Fee Period.

                    15.        Case Administration
                               Task Code 001: Fees: $2,144.00; Total Hours: 3.80

                               This category includes, without limitation, time spent reviewing and

monitoring the court docket of these Chapter 11 Cases and preparing and circulating updates

regarding upcoming deadlines and hearings.

                    16.        Communications with Special Litigation Committee
                               Task Code 002: Fees: $12,032.00; Total Hours: 9.00

                               This category includes, without limitation, time spent corresponding with

the independent director of the Special Litigation Committee to review and discuss the findings of

the Investigation and other matters relevant to the Investigation.

                    17.        Communication with UCC
                               Task Code 003: Fees: $34,017.00; Total Hours: 26.60

                               This category includes, without limitation, time spent reviewing, analyzing,

and responding to the requests for discovery by the Official Committee of Unsecured Creditors

(the “Creditors’ Committee”). It also includes time spent participating in conference calls with

Creditors’ Committee professionals and internal conferences discussing issues related to the

Creditors’ Committee requests for production.

                    18.        General Case Strategy
                               Task Code 004: Fees: $9,445.50; Total Hours: 7.80

                               This category includes, without limitation, time spent reviewing pleadings

filed in these Chapter 11 Cases to assess any potential impact on the Investigation and preparing

updates to the Special Litigation Committee. It also includes time spent participating in internal




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team conferences to discuss and analyze strategies regarding the Investigation and other relevant

issues.

                    19.        Hearings and Court Matters
                               Task Code 005: Fees: $12,444.00; Total Hours: 10.10

                               This category includes, without limitation, time spent preparing for and

monitoring hearings in these Chapter 11 Cases to determine the potential impact on the

Investigation. It also includes time spent preparing potential witnesses for the hearings.

                    20.        Investigation
                               Task Code 006: Fees: $292,067.50; Total Hours: 265.40

                               This category includes, without limitation, the time spent coordinating and

communicating with the Special Litigation Committee or the Debtors and their advisors, regarding

the Investigation, including reviewing and analyzing various documents and relevant pleadings

filed in these Chapter 11 Cases with respect to the Investigation. It also includes time spent

participating in internal conferences, discussing issues related to the Investigation and drafting

materials, including the investigation report, and presenting to the Board the findings of the

Investigation and recommendations for consideration.

                    21.        Retention/Fee Applications: Weil
                               Task Code 007: Fees: $97,452.00; Total Hours: 101.30

                               This category includes, without limitation, the time spent reviewing and

analyzing connections to parties in interest for conflicts disclosures, drafting, reviewing, and

revising Weil’s Retention Fee Application in accordance with Bankruptcy Code, Bankruptcy

Rules, orders of this Court and applicable guidelines, and reviewing invoices for compliance with

the Local Rules, the Interim Compensation Procedures Order, and the U.S. Trustee fee guidelines.

                    22.        All of the foregoing professional services performed by Weil were

necessary and appropriate for the Debtors’ Chapter 11 Cases. Compensation for the foregoing



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services as requested is commensurate with the complexity, importance, and nature of the

problems, issues, or tasks involved. The professional services were performed without duplication

of work performed by the Debtors’ other advisors.

                                     Actual and Necessary Disbursements

                    23.        Section 330 of the Bankruptcy Code authorizes “reimbursement for actual,

necessary expenses” incurred by professionals employed in a chapter 11 case. Accordingly, Weil

requests allowance of actual and necessary expenses incurred during the Fee Period in the amount

of $652.15. A detailed statement of Weil’s out-of-pocket expenses incurred during the Fee Period

is attached as Exhibit E.

                    24.        Weil’s disbursement policies pass through all out-of-pocket expenses at

actual cost or an estimated actual cost when the actual cost is difficult to determine. For example,

with respect to duplication charges, Weil will charge $0.10 per black and white page and $0.50

per color page because the actual cost is difficult to determine. Similarly, as it relates to

computerized research, Weil believes that it does not make a profit on that service as a whole,

although the cost of any particular search is difficult to ascertain. Other reimbursable expenses

(whether the service is performed by Weil in house or through a third-party vendor) include, but

are not limited to, facsimiles, toll calls, overtime, deliveries, court costs, cost of food at meetings,

transcript fees, travel, and clerk fees.

                               The Compensation and Out-of-Pocket Expenses
                                Sought by Weil With Respect to the Final Fee
                            Period Are Actual, Necessary, and Reasonable under
                           the Standards Established in the Bankruptcy Code and
                          in the Fifth Circuit and Should Be Allowed as Requested

                    25.        Section 330 of the Bankruptcy Code provides that a court may award a

professional employed under section 327 of the Bankruptcy Code “reasonable compensation for




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actual, necessary services rendered and reimbursement for actual, necessary expenses.” 11 U.S.C.

§ 330(a)(1).

                    26.        The Fifth Circuit had held that the six factors found in section 330(a)(3) of

the Bankruptcy Code are to be considered when awarding compensation to professionals. See In

re Crager, 691 F.3d 671, 676 (5th Cir. 2012). Specifically, under section 330 of the Bankruptcy

Code, courts “shall consider the nature, the extent, and the value of such services, taking into

account all relevant factors,” including –

                               a.     the time spent on such services;

                               b.     the rates charged for such services;

                               c.     whether the services were necessary to the administration of, or
                                      beneficial at the time at which the service was rendered toward the
                                      completion of, a case under this title;

                               d.     whether the services were performed within a reasonable amount of
                                      time commensurate with the complexity, importance, and nature of
                                      the problem, issue, or task addressed;

                               e.     with respect to a professional person, whether the person is board
                                      certified or otherwise has demonstrated skill and experience in the
                                      bankruptcy field; and

                               f.     whether the compensation is reasonably based on the customary
                                      compensation charged by comparably skilled practitioners in cases
                                      other than cases under this title.

11 U.S.C. § 330(a)(3).

                    27.        Compensation for the foregoing services as requested is commensurate with

the complexity, importance, and nature of the issues and tasks involved. Not only were Weil’s

professional services performed skillfully and efficiently, but whenever possible, Weil sought to

minimize the cost of its services to the Debtors by utilizing talented junior attorneys and

paraprofessionals to handle the more routine tasks.




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                    28.        In sum, the services rendered by Weil were necessary and beneficial to the

Debtors’ estates and were consistently performed in a timely manner commensurate with the types

of issues involved in these Chapter 11 Cases. Accordingly, approval of the compensation for

professional services and reimbursement of expenses sought in this Fee Application is warranted.

                                                   Fee Advance

                    29.        As of the date of this filing, Weil has a remaining credit balance in favor of

the Debtors for services to be rendered and expenses to be incurred by Weil pursuant to the terms

of the engagement of approximately $150,082.00 (the “Remaining Fee Advance”).

                    30.        Pursuant to Local Rule 2016-1(b), Weil requests that the Court allow

withdrawal of the Remaining Fee Advance upon entry of the Court’s order approving this Fee

Application.

                                                   Certification

                    31.        Pursuant to the Local Rules attached hereto, and incorporated herein by

reference, is the Declaration of Jessica Liou, certifying that this Fee Application complies with the

Local Rules.

                                                      Notice

                    32.        Notice of this Fee Application shall be provided in accordance with the

Interim Compensation Procedures Order. Weil respectfully submits that such notice is sufficient

under the circumstances.

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                    WHERFORE Weil requests (a) final allowance and payment of compensation for

professional services rendered to the Special Litigation Committee during the Fee Period in the

amount of $459,602.00, representing 100% of the fees owed to Weil and (b) reimbursement of

100% of the actual and necessary expenses incurred by Weil during the Fee Period in connection

with such services in the amount of $652.15, for a total award of $460,254.15.

Dated: August 9, 2022
       Dallas, Texas
                                             /s/ Paul R. Genender
                                             WEIL, GOTSHAL & MANGES LLP
                                             Paul R. Genender (TX 00790758)
                                             WEIL, GOTSHAL & MANGES LLP
                                             200 Crescent Court, Suite 300
                                             Dallas, Texas 75201
                                             Telephone:     (214) 746-7700
                                             Facsimile:     (214) 746-7777
                                             Email:         Paul.Genender@weil.com

                                             -and-

                                             WEIL, GOTSHAL & MANGES LLP
                                             Jessica Liou
                                             Frances R. Ha
                                             767 Fifth Avenue
                                             New York, New York 10153
                                             Telephone:    (212) 310-8000
                                             Facsimile:    (212) 310-8007
                                             Email:        Jessica.Liou@weil.com
                                                           Frances.Ha@weil.com

                                             Special Counsel to Special Litigation Committee
                                             of the Board of Directors of Rockall Energy
                                             Holdings, LLC




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                                    Exhibit A

                                 Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

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In re:                                                       :           Chapter 11
                                                             :
ROCKALL ENERGY HOLDINGS, LLC, et al., :                                  Case No. 22–90000 (MXM)
                                                             :
                  Debtors.1                                  :           (Jointly Administered)
                                                             :
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        ORDER APPROVING FIRST INTERIM AND FINAL FEE APPLICATION
                OF WEIL, GOTSHAL & MANGES LLP AS SPECIAL
            COUNSEL TO THE SPECIAL LITIGATION COMMITTEE OF
      THE BOARD OF DIRECTORS OF ROCKALL ENERGY HOLDINGS, LLC FOR
           ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
       EXPENSES FOR THE PERIOD OF MARCH 9, 2022 THROUGH JUNE 10, 2022


 1
      The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
      are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall Agent Corp.
      (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR, LLC (4136), Rockall
      Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA, LLC (4270), Rockall Laurel,
      LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740), Rockall ND, LLC (9311), Rockall Pine
      Prairie, LLC (5799), White Marlin Investment Company, LLC (9987), and White Marlin Midstream, LLC (1466).
      The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 5005 LBJ Freeway,
      Suite 700, Dallas, TX 75244.



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                    Upon the application (the “Fee Application”)2 of Weil, Gotshal & Manges LLP

(“Weil”), as special counsel to the Special Litigation Committee, for the entry of an order

(the “Order”) allowing the compensation for professional services rendered and reimbursement

of actual and necessary expenses incurred from March 9, 2022 through and including June 10,

2022 (the “Fee Period”), all as more fully set forth in the Fee Application; and upon consideration

of the Liou Certification; and the Court having jurisdiction to consider the Fee Application and the

relief requested therein pursuant to 28 U.S.C. § 1334; and consideration of the Fee Application

and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Fee Application having been provided to the Notice Parties, and it appearing that no other or

further notice need be provided; and the Court having reviewed the Fee Application and the

supporting documents; and the Court having held a hearing on the Fee Application; and the Court

having determined that the legal and factual bases set forth in the Fee Application establish just

cause for the relief granted herein; and upon all of the proceedings had before the Court and after

due deliberation and sufficient cause appearing therefor,

                    IT IS HEREBY ORDERED THAT:

                    1.         Compensation to Weil for professional services rendered during the Fee

Period is allowed on a final basis in the amount of $459,602.00.

                    2.         Reimbursement to Weil for expenses incurred during the Fee Period is

allowed on a final basis in the amount of $652.15.




2
     Capitalized terms used but not otherwise defined herein shall have the meaning set forth in the Fee Application.



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                    3.         Upon entry of this Order, Weil is authorized to withdraw the Remaining Fee

Advance and to apply any portion of the Remaining Fee Advance to payment of fees and expenses

allowed by the Court.

                    4.         The Liquidation Trust is authorized and directed to pay Weil all fees and

expenses allowed pursuant to this Order, less any amounts that may be paid from the Remaining

Fee Advance.

                    5.         This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.


                                              # # # END OF ORDER # # #




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                                    Exhibit B

                                Liou Declaration




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

------------------------------------------------------------ x
                                                             :
In re:                                                       :           Chapter 11
                                                             :
ROCKALL ENERGY HOLDINGS, LLC, et al., :                                  Case No. 22–90000 (MXM)
                                                             :
                  Debtors.1                                  :           (Jointly Administered)
                                                             :
                                                             :
------------------------------------------------------------ x
            DECLARATION OF JESSICA LIOU IN SUPPORT OF THE FIRST
      INTERIM AND FINAL FEE APPLICATION OF WEIL, GOTSHAL & MANGES
       LLP AS SPECIAL COUNSEL TO THE SPECIAL LITIGATION COMMITTEE
     OF THE BOARD OF DIRECTORS OF ROCKALL ENERGY HOLDINGS, LLC FOR
           ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
       EXPENSES FOR THE PERIOD OF MARCH 9, 2022 THROUGH JUNE 10, 2022

           I, Jessica Liou, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury that

 the following is true and correct to the best of my knowledge, information and belief:

           1.        I am a partner of the applicant firm, Weil, Gotshal & Manges LLP (“Weil”). I make

 this declaration in accordance with Exhibit H of the General Order Regarding Procedures for

 Complex Chapter 11 Cases (“Exhibit H”) regarding the contents of applications for compensation

 and expenses.

           2.        I have read the First Interim and Final Fee Application of Weil, Gotshal & Manges

 LLP As Special Counsel to the Special Litigation Committee of the Board of Directors of Rockall


 1
      The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
      are: Arrow Rock Energy, LLC (7549), Petro Harvester Operating Company, LLC (2136), Rockall Agent Corp.
      (1653), Rockall Energy Holdings, LLC (5784), Rockall Energy, LLC (6340), Rockall EOR, LLC (4136), Rockall
      Exploration Company, LLC (0547), Rockall Intermediate, Inc. (9759), Rockall LA, LLC (4270), Rockall Laurel,
      LLC (1178), Rockall Midstream, LLC (0917), Rockall MS, LLC (0740), Rockall ND, LLC (9311), Rockall Pine
      Prairie, LLC (5799), White Marlin Investment Company, LLC (9987), and White Marlin Midstream, LLC (1466).
      The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 5005 LBJ Freeway,
      Suite 700, Dallas, TX 75244.



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Energy Holdings, LLC for Allowance of Compensation and Reimbursement of Expenses for the

Period of March 9, 2022 Through June 10, 2022 (the “Application”).2

          3.        I hereby certify to the best of my knowledge, information and belief, formed after

reasonable inquiry, that (a) the compensation and expense reimbursement sought by Weil is in

conformity with Exhibit H, except as specifically noted in the Application, and (b) the

compensation and expense reimbursement requested by Weil are billed at rates in accordance with

practices no less favorable than those customarily employed by the applicant and generally

accepted by the applicant’s clients.

          4.        I have reviewed the requirements of the Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses by Attorneys in Large Chapter 11 Cases, effective

November 1, 2013 (the “Guidelines”) and I believe that the Application complies with the

Guidelines.

          5.        In accordance with the Guidelines, Weil responds to the questions identified therein

as follows:

                         A. Did you agree to any variations from, or alternatives to, your
                            standard or customary billing rates, fees or terms for services
                            pertaining to this engagement that were provided during the
                            application period? If so, please explain.

                                   No; Weil did not agree to any variations from, or
                                   alternatives to, our standard or customary billing
                                   rates, fees or terms for services that were provided
                                   during the Fee Period.

                         B. If the fees sought in this interim fee application as compared
                            to the fees budgeted for the time period covered by this fee
                            application are higher by 10% or more, did you discuss the
                            reasons for the variation with the client?


2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Application.



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                                    N/A. As set forth above and in Weil’s Retention
                                    Application, given the nature of the engagement,
                                    Weil did not develop a formal budget and staffing
                                    plan in addition to the regular meetings with the
                                    Special Litigation Committee to provide updates
                                    regarding the Investigation.

                         C. Have any of the professionals included in this interim fee
                            application varied their hourly rate based on the geographic
                            location of the bankruptcy case?

                                    No; none of the professionals included in this Fee
                                    Application have varied their hourly rate based on
                                    the geographic location of these bankruptcy cases.

                         D. Does the interim fee application include time or fees related
                            to reviewing or revising time records or preparing, reviewing,
                            or revising invoices? (This is limited to work involved in
                            preparing and editing billing records that would not be
                            compensable outside of bankruptcy and does not include
                            reasonable fees for preparing a fee application.). If so, please
                            quantify by hours and fees.

                                    The total time expended for such matters during the
                                    Fee Period is included within Task Code 007.

                         E. Does this fee application include time or fees for reviewing
                            time records to redact any privileged or other confidential
                            information? If so, please quantify by hours and fees.

                                    The total time expended for such matters during the
                                    Fee Period is included within Task Code 007.

                         F. If the fee application includes any rate increases since
                            retention: (i) Did your client review and approve those rate
                            increases in advance? (ii) Did your client agree when
                            retaining the law firm to accept all future rate increases? If
                            not, did you inform your client that they need not agree to
                            modified rates or terms in order to have you continue the
                            representation, consistent with ABA Formal Ethics Opinion
                            11–458?

                                    The Application does not include rate increases since
                                    the date of Weil’s retention in these Chapter 11
                                    Cases.




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          6.        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my information, knowledge and belief.

          Executed on this 9th day of August.

                                                   /s/ Jessica Liou
                                                  Jessica Liou




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                                                       Exhibit C

           Customary and Comparable Compensation Disclosures with Fee Applications

 CATEGORY OF TIMEKEEPER                                        BLENDED HOURLY RATE

                                         BILLED BY TIMEKEEPERS IN
                                                                                       BILLED IN THIS FEE
                                           NEW YORK AND DALLAS,
                                                                                          APPLICATION
                                         EXCLUDING BANKRUPTCY1

 Partner                                                            $1,398.00                               $1,488.00

 Counsel                                                            $1,105.00                               $1,250.00

 Senior Associate (7 years or more
                                                                    $1,062.00                                 $695.00
 since first admission)

 Mid-level Associate (4-6 years
                                                                      $983.00                               $1,110.00
 since first admission)

 Junior Associate (0-3 years since
                                                                      $731.00                                 $939.00
 first admission)

 Contract Attorney                                                      $0.00                                   $0.00

 Staff Attorney                                                       $379.00                                   $0.00

 Paralegal                                                            $358.00                                 $447.00

 Other                                                                $345.00                                 $415.00

 All Timekeepers Aggregated                                           $967.00                               $1,076.00




  1
       In accordance with the Guidelines for Reviewing Applications for Compensation and Reimbursement of
       Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013,
       preceding year is a rolling 12 months year ending July 31, 2022; blended rates reflect work performed in
       preceding year in each of the domestic offices in which timekeepers collectively billed at least 10% of the hours
       to the case during the application period, excluding all data from bankruptcy law matters.



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                                                                Exhibit D

                                Summary of Timekeepers Included in this Fee Application

                                                                                    HOURLY
                                                                                                 TOTAL
    NAME OF                                                          YEAR           BILLING                   TOTAL
                              POSITION         DEPARTMENT                                        BILLED
  PROFESSIONAL                                                     ADMITTED          RATE                  COMPENSATION
                                                                                                 HOURS


Genender, Paul R.                Partner                LIT               1994       $1,475.00     36.30      $53,542.50

Liou, Jessica                    Partner                RES               2009       $1,495.00     41.80      $62,491.00

Prugh, Amanda
                                Counsel                 LIT               2012       $1,250.00     53.10      $66,375.00
Pennington

Friedman, Julie T.              Associate               RES               2003        $695.00      7.50       $5,212.50

Bunch, Brittany Nicole          Associate               LIT               2017       $1,130.00    102.70     $116,051.00

Ha, Frances R.                  Associate               RES               2018        $980.00      46.20      $45,276.00

De Santis, Elena                Associate               LIT               2019       $1,075.00     57.10      $61,382.50

Momplaisir, Krystel             Associate               LIT               2020        $840.00      35.20      $29,568.00

Total Attorney Hours
                                                                                                  379.90     $439,898.50
and Fees




       NAME OF
                                                                                  HOURLY         TOTAL
  PARAPROFESSIONALS                                                                                           TOTAL
                                            POSITION          DEPARTMENT1         BILLING        BILLED
 AND OTHER NON-LEGAL                                                                                       COMPENSATION
                                                                                   RATE          HOURS
        STAFF

Lee, Kathleen Anne                          Paralegal              RES              $495.00       14.60       $7,227.00

Fabsik, Paul                                Paralegal              RES              $430.00       11.60       $4,988.00

Lawless, Martha M.                          Paralegal              RES              $430.00       0.40        $172.00

Morris, Sharron                             Paralegal               LIT             $430.00       13.90       $5,977.00

Olvera, Rene A.                             Paralegal              RES              $430.00       0.70        $301.00

Jewett, Laura                          Litigation Support          LSS              $415.00       0.70        $290.50


        1
                RES – Restructuring; LIT – Litigation; LSS – Litigation Support Services



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       NAME OF
                                                                HOURLY    TOTAL
  PARAPROFESSIONALS                                                                   TOTAL
                                      POSITION    DEPARTMENT1   BILLING   BILLED
 AND OTHER NON-LEGAL                                                               COMPENSATION
                                                                 RATE     HOURS
        STAFF

Jalomo, Chris                         Paralegal       RES       $340.00    2.20       $748.00

Total Hours and Fees for
Paraprofessionals and Other                                                44.10     $19,703.50
Non-Legal Staff




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                                             Exhibit E

                       Summary of Expense Reimbursement Requested by Category

                 EXPENSE CATEGORY                               AMOUNT

 Duplicating                                                                    $148.50

 Electronic Research                                                            $453.62

 Transportation                                                                  $50.03

 TOTAL                                                                          $652.15




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                                                   Exhibit F

                  Summary of Cover Sheet of First Interim and Final Fee Application

Name of Applicant:                                                            Weil, Gotshal & Manges LLP
                                                                              (“Weil”)

Name of Client:                                                               Special Counsel to the Special
                                                                              Litigation Committee of the Board
                                                                              of Directors of Rockall Energy
                                                                              Holdings, LLC1

Petition Date:                                                                March 9, 2022

Retention Date:                                                               Effective as of the Petition Date
                                                                              [Docket No. 589]

Date of Order Approving Employment:                                           May 31, 2022

Prior Interim Applications:                                                   None

Period for Which Compensation and Reimbursement is Sought on a                March 9, 2022 through and
Final Basis:                                                                  including June 10, 2022 (the “Fee
                                                                              Period”)

Summary of Fees and Expenses Sought in This Application

Time Period Covered by This Application Not Previously Covered by             March 9, 2022 through and
Prior Interim Applications:                                                   including June 10, 2022 (the “Fee
                                                                              Period”)

Total Compensation Sought this Period:                                        $459,602.00

Total Expenses Sought this Period:                                            $652.15

Total Compensation and Expenses Requested for this Period:                    $460,254.15

Total Compensation Approved by Interim Orders to Date:                        N/A

Total Expenses Approved by Interim Orders to Date:                            N/A

Total Compensation Paid to Date:                                              $0.00

Total Expenses Paid to Date:                                                  $0.00


1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed in the Debtors’
     Application for Entry of an Order Authorizing the Retention and Employment of Weil, Gotshal & Manges LLP,
     as Special Counsel to the Special Litigation Committee of the Board of Directors of Rockall Holdings, LLC,
     Effective as of the Petition Date [Docket No. 366] (the “Retention Application”).



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Blended Rate for this Period for All Attorneys:                                         $1,157.93

Blended Rate for this Period for All Timekeepers:                                       $1,083.97

Compensation sought for this Period already paid pursuant to a monthly                  N/A
compensation order but not yet allowed: (80%)

Expenses sought in this application already paid pursuant to a monthly                  N/A
compensation order but not yet allowed: (100%)

Number of professionals included for this Period:                                       152

If applicable, number of professionals for this Period not included in the              N/A3
staffing plan approved by the client:

If applicable, difference between fees budgeted and compensation                        N/A
sought for this Period:

Number of professionals billing fewer than 15 hours to the case during                  8
this Period:

Summary of Fees and Expenses Sought in This Application for the Fee Period
Amount of Compensation Sought as
                                                                                        $459,602.00
Actual, Reasonable, and Necessary for the Entire Fee Period:

Amount of Expense Reimbursement Sought as Actual, Reasonable, and
                                                                                        $652.15
Necessary for the Entire Fee Period:
Total Compensation and Expenses Requested for the Entire Fee
                                                                                        $460,254.154
Period:




2
     Nine (8) attorneys; six (6) paraprofessionals and one (1) other non-legal staff.

3
     As set forth in Weil’s Retention Application, Weil had regular meetings with the Special Litigation Committee
     to provide updates regarding the ongoing workstreams, developments, and material facts discovered in the course
     of the Investigation, and other strategic considerations during the Fee Period and did not otherwise develop a
     formal budget and staffing plan. Retention Application ¶ 15.

4
     The amounts sought in this Fee Application reflect voluntary reductions made by Weil totaling $68,440.97
     ($68,374.50 in fees and $66.47 in expenses).



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                                     Exhibit G

                                     Fee Detail




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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
70157.0003
2022008909

                                 ITEMIZED SERVICES - 70157.0003 - Rockall Energy Holdings, LLC


   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index

   03/21/22  Liou, Jessica                      0.20       299.00                                001    64240180
       EMAIL WITH C. JALOMO REGARDING UPCOMING DEADLINES AND HEARINGS.


   03/21/22  Jalomo, Chris                     1.20      408.00                                  001    64308349
       REVIEW AND CALENDAR UPCOMING DEADLINES AND HEARING DATES.


   03/29/22  Jalomo, Chris                     0.40       136.00                                 001    64325192
       REVIEW AND UPDATE CALENDAR DEADLINES AND HEARING DATES.


   03/29/22  Olvera, Rene A.                     0.20        86.00       001       64324972
       PREPARE AND REVISE CALENDAR INVITES IN CONNECTION WITH UPCOMING HEARINGS AND
       DEADLINES.


   04/06/22  Ha, Frances R.                    0.90       882.00      001       64390296
       CHECK COURT DOCKET RE VARIOUS HEARING DATES/ADJOURNMENTS AND CORRESPOND WITH J.
       LIOU REGARDING SAME.


   04/07/22  Jalomo, Chris                      0.40       136.00       001                             64459439
       PREPARE CALENDAR INVITES TO TEAM REGARDING DEADLINES AND HEARING DATES.


   04/15/22  Olvera, Rene A.                     0.30      129.00       001        64553195
       PREPARE CALENDAR INVITES IN CONNECTION WITH UPCOMING HEARINGS AND DEADLINES (.2);
       EMAILS IN CONNECTION WITH SAME (.1).


   04/22/22 Jalomo, Chris                       0.20        68.00                                001    64550202
       UPDATE CALENDAR INVITES FOR TEAM REGARDING HEARINGS.


    SUBTOTAL TASK 001 - Case Administration:                    3.80       $2,144.00

   03/19/22 Genender, Paul R.                       0.70        1,032.50       002        64233883
       UPDATE CALL WITH B. TRANSIER, A. PRUGH, B. BUNCH (.6); FOLLOW UP ON INVESTIGATION (.1).




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                                 ITEMIZED SERVICES - 70157.0003 - Rockall Energy Holdings, LLC


   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
   03/19/22 Prugh, Amanda Pennington               0.60       750.00         002                        64232477
       ATTEND CLIENT UPDATE WITH B. TRANSIER, P. GENENDER AND B. BUNCH (.6).


   03/19/22 Bunch, Brittany Nicole                 0.50        565.00      002                          64236197
       UPDATE CALL WITH B. TRANSIER, P. GENENDER, A. PRUGH REGARDING UPDATES AFTER
       MACDOUGALL AND HOWIE INTERVIEWS (.5).


   03/20/22 Genender, Paul R.                                   0.10          147.50             002    64836359
       UPDATE EMAIL TO B. TRANSIER (.1).


   03/25/22 Liou, Jessica                          0.40        598.00                            002    64285177
       UPDATE CALL WITH B. TRANSIER, P. GENENDER AND A. PRUGH.


   03/25/22 Genender, Paul R.                        1.60        2,360.00      002                      64286797
       UPDATE CALL WITH B. TRANSIER, J. LIOU AND A. PRUGH (.4); REVIEW DRAFT REPORT (1.2).


   03/25/22 Prugh, Amanda Pennington              0.60        750.00           002                      64286417
       ATTEND CLIENT UPDATE CALL WITH B. TRANSIER, P. GENENDER, AND J. LIOU (.4); ATTEND
       FOLLOW-UP CALL WITH P. GENENDER (.2).


   03/27/22  Genender, Paul R.                   0.10       147.50                               002    64836501
       EMAILS WITH B. TRANSIER ABOUT STATUS AND DRAFT REPORT (.1).


   03/28/22  Prugh, Amanda Pennington                1.10       1,375.00      002        64298389
       PREPARE FOR CLIENT CALL (.2); CALL WITH B. TRANSIER, B. BUNCH REGARDING INVESTIGATION
       SUMMARIES (.9).


   03/28/22  Bunch, Brittany Nicole                 0.80       904.00        002                        64837867
       CALL WITH B. TRANSIER, A. PRUGH DISCUSSING REPORT AND INVESTIGATION (.8).


   03/31/22     Prugh, Amanda Pennington                        0.50          625.00             002    64320376




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   Date         Timekeeper/Narrative                           Hours          Amount                Task   Index
       ATTEND CALL WITH B. TRANSIER AND WEIL TEAM REGARDING DRAFT REPORT (.5).


   04/22/22 Genender, Paul R.                                    0.10           147.50              002    64496286
       UPDATE CALL WITH B. TRANSIER.


   04/26/22  Genender, Paul R.                    0.20       295.00       002                              64511625
       CALL WITH B. TRANSIER ABOUT STATUS, PENDING OBJECTIONS AND NEXT STEPS.


   05/16/22  Genender, Paul R.                  0.10         147.50       002        64667558
       EMAILS WITH B. TRANSIER ABOUT DEVELOPMENTS, STATUS, OBJECTION TO PLAN, DECLARATION
       ABOUT SAME.


   05/22/22  Genender, Paul R.                      1.10    1,622.50        002         64713112
       REVIEW DRAFT DECLARATION OF B. TRANSIER IN CONNECTION WITH SETTLEMENT MOTION (.4);
       CALL WITH B. TRANSIER ABOUT SAME; (.4); WORK AND COMMENT ON SAME (.2); EMAIL TO V&E
       ABOUT SAME (.1).


   05/24/22  Bunch, Brittany Nicole               0.50       565.00                                 002    64745134
       CALL WITH B. TRANSIER IN PREPARATION FOR CONFIRMATION HEARING.


    SUBTOTAL TASK 002 - Communications with                      9.00      $12,032.00
    Special Litigation Committee:

   03/23/22  Genender, Paul R.                   0.20      295.00      003         64266194
       EMAIL FROM P. LUBOV ABOUT APPOINTMENT AS UCC COUNSEL AND COORDINATION CALL (.1);
       EMAILS WITH CLIENT AND VE TEAM ABOUT SAME (.1).


   03/24/22     Genender, Paul R.               0.80        1,180.00      003         64275393
       CALL WITH VE TEAM ABOUT UCC’S COUNSEL OUTREACH (.2); KICKOFF CALL WITH UCC’S COUNSEL
       (.5); FOLLOW UP FROM SAME (.1).


   03/25/22     Genender, Paul R.                                0.10           147.50              003    64836487




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               22-30500-swe7 Doc
                              Doc250-7
                                 261-8
                                   727 Filed 09/20/24
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   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
       EMAIL WITH UCC COUNSEL WITH INFORMAL INFORMATION REQUESTS.


   03/26/22    Genender, Paul R.                 1.30       1,917.50        003       64286948
       CALL WITH V&E ABOUT OUTREACH BY UCC, COORDINATION, NEXT STEPS (.5); DRAFT RESPONSE TO
       INFORMAL INFORMATION REQUESTS FROM UCC (.3); EMAILS TO AND FROM B. TRANSIER RE SAME
       (.4); CALL WITH B. TRANSIER RE SAME(.1).


   03/26/22  Prugh, Amanda Pennington             0.90      1,125.00       003       64286179
       ATTEND COORDINATION CALL WITH WEIL AND V&E TEAMS (.5); REVIEW AND ANALYZE DOCUMENT
       REQUESTS FROM UCC’S COUNSEL (.3); EXCHANGE INTERNAL EMAILS WITH P. GENENDER AND J. LIOU
       RELATED TO SAME (.1).


   03/26/22  Bunch, Brittany Nicole                0.20      226.00        003                          64289022
       EMAILS WITH A. PRUGH, E. DE SANTIS REGARDING UCC DOCUMENT REQUESTS.


   03/27/22  Genender, Paul R.                  1.60     2,360.00      003           64286720
       DRAFT RESPONSE TO INFORMAL DISCOVERY REQUEST FROM COUNSEL FOR UCC (1.2); DETAILED
       EMAIL TO COUNSEL FOR UCC (.4).


   03/27/22  Prugh, Amanda Pennington               1.90     2,375.00        003         64286222
       REVIEW CLIENT DOCUMENTS (.2); EXCHANGE EMAILS WITH S. MORRIS, E. DE SANTIS, AND B. BUNCH
       REGARDING REVIEW, REDACTION, AND PRODUCTION OF RESPONSIVE INFORMATION (.5); DRAFT
       COMPREHENSIVE RESPONSE TO UCC’S DILIGENCE REQUESTS (1.0); EXCHANGE INTERNAL EMAILS
       WITH E. DE SANTIS, B. BUNCH RELATED TO SAME (.2).


   03/27/22  De Santis, Elena                  1.60     1,720.00       003        64288713
       REVIEW AND ANYALZE DOCUMENTS AND DILIGENCE REQUESTS IN CONNECTION WITH UCC
       INFORMATION REQUEST.


   03/27/22  Bunch, Brittany Nicole             1.60     1,808.00                                003    64289043
       REVIEW COLLECTION AND RESPONSES TO UCC DOCUMENT REQUESTS.


   03/28/22     Liou, Jessica                                   0.30          448.50             003    64836611




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                                   727 Filed 09/20/24
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   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
       REVIEW AND RESPOND TO EMAILS FROM A. PRUGH REGARDING PRODUCTION TO UCC COUNSEL (.3).


   03/28/22  Prugh, Amanda Pennington                1.20      1,500.00       003       64837702
       ATTEND CALL L. KANZER REGARDING UCC DILIGENCE REQUESTS (.4); ATTEND WORKING SESSION
       WITH B. BUNCH AND E. DE SANTIS (.5); EXCHANGE INTERNAL EMAILS WITH P. GENENDER AND J. LIOU
       REGARDING DOCUMENTS RESPONSIVE TO UCC REQUESTS (.3).


   03/28/22 De Santis, Elena                   0.90       967.50       003        64837707
       ANALYZE AND PROVIDE FEEDBACK REGARDING PRODUCTION IN RESPONSE TO UCC REQUEST (0.9).


   03/28/22  Bunch, Brittany Nicole            1.90      2,147.00                                003    64837869
       REVIEW AND FINALIZE DOCUMENTS FOR PRODUCTION TO UCC (1.9).


   03/29/22  Genender, Paul R.                                  0.20          295.00             003    64305074
       REVISE DISCOVERY REQUESTS FROM UCC (.2).


   03/29/22 De Santis, Elena                   0.60       645.00       003                              64305557
       ANALYZE AND PROVIDE FEEDBACK REGARDING POTENTIAL PRODUCTION TO UCC (0.6).


   03/31/22  De Santis, Elena                   0.30        322.50                               003    64346079
       REVIEW AND FINALIZE PRODUCTION OF DOCUMENTS TO UCC (0.3).


   04/01/22 Prugh, Amanda Pennington            0.20      250.00                                 003    64335850
       EXCHANGE INTERNAL EMAILS RELATED TO UCC DOCUMENT PRODUCTIONS.


   04/06/22  Genender, Paul R.                     0.80      1,180.00      003          64375808
       REVIEW EMAIL FROM P. LABOV WITH UCC’S DISCOVERY REQUESTS TO BILL TRANSIER (.2); PREPARE
       RESPONSE TO SAME (.5); EMAILS FROM AND TO PACHULSKI ON DISCOVERY REQUESTS (.1).


   04/06/22  Prugh, Amanda Pennington            0.30      375.00                                003    64375435
       REVIEW, ANALYZE, AND RESPOND TO UCC DISCOVERY REQUESTS.




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   04/07/22  Bunch, Brittany Nicole            0.30      339.00       003                                  64397784
       REVIEW AND FINALIZE DOCUMENTS REGARDING UCC DOCUMENT REQUESTS.


   04/19/22  Genender, Paul R.                     1.70     2,507.50         003         64464613
       PREPARE FOR CALL WITH UCC COUNSEL ABOUT INVESTIGATION (.5); CALL WITH UCC’S COUNSEL
       ABOUT INVESTIGATION (.8); EMAILS WITH UCC COUNSEL ABOUT REPORT (.2); CALLS WITH L. KANZER
       ABOUT STATUS OF NEGOTIATIONS WITH UCC (.2).


   04/19/22  Prugh, Amanda Pennington               1.10      1,375.00     003        64464340
       PREPARE FOR CALL WITH UCC (.2); CALL WITH WEIL AND UCC TEAM REGARDING INVESTIGATION
       REPORT (.9).


   04/19/22  Bunch, Brittany Nicole             0.80                            904.00              003    64469714
       CALL WITH UCC REGARDING INDEPENDENT INVESTIGATION.


   04/21/22  Genender, Paul R.                     2.30         3,392.50    003          64481163
       CALL WITH UCC’S COUNSEL TO REVIEW INVESTIGATIVE REPORT IN DETAIL (1.1); FOLLOW UP EMAIL
       TO UCC COUNSEL ON SAME (.2); REVIEW UCC’S OBJECTION TO RETENTION OF V&E (.4); CALL WITH B.
       TRANSIER ABOUT SAME (.3); FOLLOW UP CALL WITH J. LIOU (.3).


   04/21/22  Prugh, Amanda Pennington           1.30     1,625.00          003       64482639
       CALL WITH UCC COUNSEL AND WEIL REGARDING PRESENTATION (1.1); DRAFT FOLLOW-UP EMAILS
       RELATED TO SAME (.2).


   04/21/22  Bunch, Brittany Nicole                1.90      2,147.00       003       64494636
       CALL WITH UCC TO DISCUSS PRESENTATION (1); DRAFT PRESENTATION SLIDES AND ANALYZE
       UNDERLYING DOCUMENTS IN PREPARATION FOR CALL (.9).


   04/22/22 Genender, Paul R.                                    0.20           295.00              003    64838150
       FOLLOW UP ON UCC ISSUES.


   04/25/22     Genender, Paul R.                                0.10           147.50              003    64838151




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               22-30500-swe7 Doc
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                                 261-8
                                   727 Filed 09/20/24
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       REVIEW UCC’S DEPOSITION NOTICE OF D. MEYER.


    SUBTOTAL TASK 003 - Communications with                   26.60       $34,017.00
    UCC:
   03/09/22  Liou, Jessica                       0.30      448.50          004        64166381
       REVIEW AND RESPOND TO EMAILS FROM A. PRUGH REGARDING STATUS (.2); REVIEW FILING EMAILS
       (.1).


   03/09/22  Genender, Paul R.                                  0.10          147.50             004    64828063
       EMAILS ABOUT FIRST DAY FILINGS (.1).


   03/09/22  Morris, Sharron                     0.60       258.00       004          64173593
       EMAILS WITH A. PRUGH AND B. BUNCH REGARDING ROCKALL FILING FOR BANKRUPTCY (.3);
       RESEARCH REGARDING SAME (.3).


   03/10/22   Prugh, Amanda Pennington              0.50       625.00       004         64828434
       REVIEW FILINGS IN BANKRUPTCY CASE (.3); DISCUSS REPORT DELIVERABLES WITH P. GENENDER, J.
       LIOU, AND K. SIMMONS (.2).


   03/10/22  De Santis, Elena                     1.60     1,720.00          004                        64828440
       REVIEW AND ANALYZE FIRST DAY FILINGS IN ROCKALL CHAPTER 11 CASE (1.6).


   03/20/22 Liou, Jessica                          0.20        299.00       004                         64232776
       CONFER WITH P. GENENDER, A. PRUGH, L. KANZER, AND D. MEYER REGARDING STATUS.


   03/20/22  Genender, Paul R.                   0.20        295.00          004        64233828
       UPDATE CALL WITH V&E TEAM (L. KANZER AND D. MEYER) AND J. LIOU, A. PRUGH RE: STATUS OF
       INVESTIGATION (.2).


   03/20/22 Prugh, Amanda Pennington              0.20         250.00        004         64232352
       ATTEND UPDATE CALL WITH WEIL (P. GENENDER, J. LIOU) AND V&E TEAMS (L. KANZER, D. MEYER).




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                                   727 Filed 09/20/24
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   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
   03/28/22  Liou, Jessica                                      0.20          299.00             004    64295997
       REVIEW DOCKET FILINGS.


   03/29/22  Liou, Jessica                                      0.10          149.50             004    64306159
       REVIEW DOCKET AND FILED PLEADINGS.


   04/08/22 Liou, Jessica                       0.10       149.50                                004    64400029
       CONFER WITH A. PRUGH REGARDING UPDATE CALL WITH CLEARY AND V&E.


   04/08/22  Genender, Paul R.                   0.30                         442.50             004    64397983
       CALL WITH CLEARY TEAM ABOUT STATUS, NEXT STEPS.


   04/21/22 Liou, Jessica                       0.20                          299.00             004    64838146
       CONFER WITH L. KANZER REGARDING UPCOMING HEARINGS.


   04/21/22  Liou, Jessica                                      0.50          747.50             004    65314796
       REVIEW PLEADINGS FILED (.5);.


   04/21/22  Ha, Frances R.                       1.00       980.00       004        64838149
       REVIEW UCC AND UST'S OBJECTIONS TO DEBTORS' VARIOUS MOTIONS INCLUDING RETENTION
       APPLICATIONS.


   04/25/22  Genender, Paul R.                    0.20                        295.00             004    64504922
       REVIEW UST’S OBJECTION TO V&E’S RETENTION.


   04/26/22  Liou, Jessica                         0.90     1,345.50      004         64838156
       REVIEW PLEADINGS FILED IN CHAPTER 11 CASES REGARDING RETENTION AND DIP ISSUES.


   04/27/22 Liou, Jessica                       0.30          448.50         004       64523284
       CONFER WITH L. KANZER REGARDING CASE STATUS (.2); EMAIL B. TRANSIER REGARDING SAME (.1).




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                                 261-8
                                   727 Filed 09/20/24
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   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
   04/27/22  Genender, Paul R.                0.10                            147.50             004    64523632
       EMAILS ABOUT SETTLEMENT BETWEEN COMPANY AND UCC.


   05/26/22  Lee, Kathleen Anne                 0.20                            99.00            004    64778139
       OBTAIN SALE AND CONFIRMATION OBJECTIONS.


    SUBTOTAL TASK 004 - General Case Strategy                   7.80       $9,445.50
    (Including Team Calls):

   03/11/22 Liou, Jessica                                       2.40         3,588.00            005    64828694
       ATTEND FIRST DAY HEARING (2.4).


   03/11/22 Genender, Paul R.                                   0.10          147.50             005    64828716
       UPDATES ON FIRST DAY HEARINGS (.1).


   03/11/22  Morris, Sharron                     0.30        129.00          005       64197899
       EMAILS WITH A. PRUGH AND B. BUNCH REGARDING FIRST DAY HEARING (.1); PULL ADDITIONAL
       DOCUMENTS FOR ATTORNEY REVIEW (.2).


   03/15/22  Olvera, Rene A.                     0.20       86.00       005        64324779
       PREPARE CALENDAR INVITE IN CONNECTION WITH UPCOMING HEARINGS AND DEADLINES.


   04/27/22  Ha, Frances R.                      1.00         980.00        005        64569334
       ATTEND HEARING ON DIP MOTION, RETENTION APPLICATION (.5); DRAFT AND CIRCULATE SUMMARY
       OF THE HEARING (.5).


   05/16/22  Lee, Kathleen Anne                                 0.20            99.00            005    64712259
       OBTAIN CONFIRMATION OBJECTIONS.


   05/17/22  Lee, Kathleen Anne                 0.20        99.00                                005    64712167
       OBTAIN CONFIRMATION OBJECTIONS AND RECENT PLEADINGS.




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                                 261-8
                                   727 Filed 09/20/24
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   05/18/22  Lee, Kathleen Anne                                 0.20            99.00            005    64778938
       OBTAIN CONFIRMATION OBJECTIONS.


   05/19/22  Lee, Kathleen Anne                 0.20        99.00                                005    64711922
       OBTAIN ADDITIONAL PLEADINGS INCLUDING CONFIRMATION OBJECTIONS.


   05/22/22  Genender, Paul R.                  0.20       295.00      005           64953432
       EMAILS WITH V&E TEAM ABOUT WITNESS PREPARATION AND CONFIRMATION HEARING (.2).


   05/23/22  Genender, Paul R.                                  0.30          442.50             005    64722533
       PREPARE FOR CONFIRMATION EVIDENCE.


   05/24/22  Genender, Paul R.                    1.60     2,360.00          005                        64732293
       CALL WITH V&E AND B. TRANSIER TO PREPARE FOR CONFIRMATION TRIAL (.5); REVIEW
       DECLARATIONS IN CONNECTION WITH CONFIRMATION AND PREPARE FOR HEARING (1.1).


   05/24/22  Lawless, Martha Mary                0.40                         172.00             005    64741006
       PREPARE HEARING MATERIAL FOR P. GENENDER.


   05/25/22  Liou, Jessica                                      0.40          598.00             005    64953659
       PARTICIPATE IN ROCKALL HEARING.


   05/25/22  Genender, Paul R.                    0.50        737.50          005       64745700
       PREPARE FOR AND PARTICIPATE IN CONFIRMATION HEARING (CONTINUED TO 5/31) (.3); EMAILS ON
       STATUS AND RELEASE LANGUAGE (.1); EMAIL UPDATES WITH B. TRANSIER (.1).


   05/27/22  Lee, Kathleen Anne                 0.30        148.50                               005    64772413
       OBTAIN CONFIRMATION PLEADINGS FOR HEARING ON MAY 31.


   05/31/22  Liou, Jessica                                      0.20          299.00             005    64953927
       PARTICIPATE IN CONFIRMATION HEARING (.2).




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   05/31/22  Genender, Paul R.                    1.40      2,065.00      005                           64783212
       PREPARE FOR CONFIRMATION HEARING (.2); ATTEND CONFIRMATION HEARING (1.2).


    SUBTOTAL TASK 005 - Hearings and Court                    10.10       $12,444.00
    Matters:

   03/09/22  Genender, Paul R.                                  0.30          442.50             006    64166159
       PREPARE FOR UPCOMING INTERVIEWS (.3).


   03/09/22  Prugh, Amanda Pennington           0.70       875.00                                006    64828069
       TEAM STRATEGY CALL WITH B. BUNCH REGARDING INTERVIEWS (.7).


   03/09/22  De Santis, Elena                        6.10     6,557.50      006        64166108
       PARTICIPATE IN STRATEGY ZOOM REGARDING ROCKALL INVESTIGATION WITH A. PENNINGTON
       PRUGH, B. BUNCH, AND K. MOMPLAISIR (0.5); REVIEW AND ANALYZE ROCKALL CHAPTER 11
       DISCLOSURE STATEMENT (0.8); REVIEW AND ANALYZE DILIGENCE DOCUMENTS (3.0); AND
       INVESTIGATION ANALYSES (1.0); AND DRAFT POWERPOINT PRESENTATION REGARDING WEIL'S
       INVESTIGATION OF POTENTIAL CLAIMS (.8).


   03/09/22  Momplaisir, Krystel                  4.10     3,444.00          006       64169598
       REVISE DRAFT OF CFO INTERVIEW OUTLINE, INCORPORATING COMMENTS FROM A. PRUGH (1.3);
       UPDATE/DRAFT APPENDIX TO BE INCLUDED IN FINAL PRESENTATION (1.2); REVIEW IMPORTANT
       DOCUMENTS TO BE INCORPORATED IN CFO INTERVIEW OUTLINE (1.6).


   03/09/22  Momplaisir, Krystel                  0.50       420.00                              006    64828072
       PARTICIPATE IN TEAM MEETING TO DISCUSS INTERVIEW OUTLINE (.5).


   03/09/22     Bunch, Brittany Nicole              5.50      6,215.00       006        64172374
       CALL WITH A. PRUGH, K. MOMPLAISIR, AND E. DESANTIS DISCUSSING INVESTIGATION STATUS (.5);
       DRAFT D. MIRKIN INTERVIEW OUTLINE AND INCORPORATE REVISIONS BASED ON NEW DOCUMENTS
       (3.4); REVIEW DILIGENCE DOCUMENTS TO DETERMINE ADDITIONAL DOCUMENT REQUESTS AND
       MISSING ITEMS (1.6).




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   03/09/22 Morris, Sharron                   0.50        215.00      006        64828066
       GATHER RELEVANT DOCUMENTS FOR ATTORNEY REVIEW IN CONNECTION WITH INVESTIGATION (.5).


   03/10/22  Prugh, Amanda Pennington             1.50      1,875.00         006        64172982
       REVIEW AND ANALYZE DRAFT POWERPOINT (.8); MEET WITH E. DE SANTIS, B. BUNCH AND K.
       MOMPLASIR REGARDING SAME (.6); EXCHANGE EMAILS WITH V&E REGARDING INTERVIEW
       SCHEDULING (.1).


   03/10/22  De Santis, Elena                     0.50       537.50       006       64173414
       CONFER WITH A. PENNINGTON PRUGH, B. BUNCH, AND K. MOMPLASIR REGARDING ROCKALL
       INVESTIGATION (0.5).


   03/10/22  Momplaisir, Krystel                  0.50       420.00       006         64187345
       PARTICIPATE IN TEAM MEETING TO DISCUSS POWER POINT PRESENTATION DRAFT, INVESTIGATION
       STATUS UPDATES, AND WORK STREAMS.


   03/10/22   Bunch, Brittany Nicole                2.90      3,277.00       006        64178018
       REVIEW D. MIRKIN INTERVIEW OUTLINE AND ASSOCIATED DILIGENCE DOCUMENTS (2.4); CALL WITH
       A. PRUGH, E. DE SANTIS AND K. MOMPLAISIR CALL DISCUSSING STATUS OF INVESTIGATION
       MATERIALS (.5).


   03/11/22  Liou, Jessica                                      0.70         1,046.50              006    64189132
       PARTICIPATE IN MIRKIN INTERVIEW (.7).


   03/11/22  Genender, Paul R.                    1.20        1,770.00                             006    64188209
       PREPARE FOR AND PARTICIPATE IN INTERVIEW OF D. MIRKIN (1.2).


   03/11/22  Prugh, Amanda Pennington              1.50      1,875.00       006         64188486
       EXCHANGE INTERNAL EMAILS REGARDING CLIENT DELIVERABLES AND TIMELINE (.1); ATTEND D.
       MIRKIN INTERVIEW (1.2); EXCHANGE EMAILS WITH B. BUNCH TO FOLLOW UP ON SAME (.2).


   03/11/22     De Santis, Elena                                3.60         3,870.00              006    64189397




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       REVIEW AND ANALYZE DECLARATIONS OF D. MIRKIN AND S. PINSONNAULT (.4); DISCLOSURE
       STATEMENT (.7); AND MOTION TO REJECT STEEL REEF CONTRACTS (.6); REVIEW AND REVISE
       POWERPOINT DECK REGARDING INVESTIGATION (1.9).


   03/11/22  Momplaisir, Krystel                    3.90       3,276.00        006       64192645
       REVIEW INTERVIEW MEMO AND ORGANIZE FILES FOR INTERVIEW OF D. MIRKIN, CFO OF ROCKALL
       ENERGY HOLDINGS (1.0); PARTICIPATE IN INTERVIEW OF D. MIRKIN, CFO OF ROCKALL ENERGY
       HOLDINGS (1.3); REVIEW AND REVISE NOTES FROM INTERVIEW OF D. MIRKIN (1.6).


   03/11/22  Bunch, Brittany Nicole                3.50     3,955.00          006         64193189
       ATTEND INTERVIEW OF D. MIRKIN AS PART OF INVESTIGATION (1.7); PREPARE FOR D. MIRKIN
       INTERVIEW (1.8).


   03/12/22 Prugh, Amanda Pennington             0.50         625.00        006        64188415
       EXCHANGE INTERNAL EMAILS WITH LITIGATION ASSOCIATE TEAM REGARDING DELIVERABLES,
       APPROACH FOR INVESTIGATION REPORT, AND NEXT STEPS IN LIGHT OF D. MIRKIN INTERVIEW.


   03/12/22  De Santis, Elena                    1.20      1,290.00        006        64189273
       REVIEW AND ANALYZE NOTES FROM D. MIRKIN INTERVIEW (0.3); REVIEW AND REVISE POWERPOINT
       DECK REGARDING INVESTIGATION (0.9).


   03/12/22  Bunch, Brittany Nicole            2.60      2,938.00        006        64193118
       DRAFT SUMMARY UPDATE FOLLOWING D. MIRKIN INTERVIEW (2); DRAFT UPDATED DUE DILIGENCE
       REQUESTS (.6).


   03/14/22    Genender, Paul R.                  0.50         737.50       006        64197073
       REVIEW A. PRUGH UPDATES ON STATUS OF INVESTIGATION (.1); REVIEW DETAILED EMAIL TO CLIENT
       (.1); REVIEW DRAFT REPORT (.3).


   03/14/22  Prugh, Amanda Pennington                1.10     1,375.00         006        64197130
       DRAFT UPDATE FOR P. GENENDER J. LIOU, AND B. TRANSIER ON STATUS (.3); EXCHANGE EMAILS
       WITH B. BUNCH RELATED TO SAME (.1); REVISE DILIGENCE REQUESTS TO V&E TEAM (.2); REVIEW
       POWERPOINT (.5).




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   03/14/22   De Santis, Elena                     3.60     3,870.00         006     64198238
       REVIEW RESPONSES TO DILIGENCE REQUESTS FROM V&E AND DRAFT UPDATED REQUESTS
       REGARDING SAME (0.4); DRAFT TPG/PETRO HARVESTER SPONSOR OUTLINE (2.8); REVIEW
       POWERPOINT REGARDING INVESTIGATION (0.1); CONFER WITH K. MOMPLAISIR REGARDING
       STRATEGY FOR SPONSOR OUTLINES (0.1); REVIEW AND ANALYZE WHITE MARLIN SPONSOR OUTLINE
       (0.2).

   03/14/22   Momplaisir, Krystel                3.10      2,604.00        006        64197146
       DRAFT INTERVIEW OUTLINE FOR WHITE MARLIN SPONSOR INTERVIEW (2.2); REVIEW REVISED POWER
       POINT PRESENTATION (.9).


   03/14/22  Bunch, Brittany Nicole                4.70    5,311.00      006           64198162
       DRAFT DUE DILIGENCE REQUESTS (.6); ANALYZE NEW DOCUMENTS PROVIDED BY V&E (1.3); DRAFT,
       AND REVISE POWERPOINT (2.8).


   03/15/22  Prugh, Amanda Pennington             3.70    4,625.00        006        64204456
       REVISE AND SUPPLEMENT DRAFT TPG SPONSOR INTERVIEW OUTLINE (.7); COMMENT ON AND
       SUPPLEMENT DRAFT INVESTIGATION REPORT (3.0).


   03/15/22  De Santis, Elena                    3.60         3,870.00      006       64205277
       REVISE TPG/PETRO HARVESTER SPONSOR OUTLINE (2.1); REVIEW AND REVISE POWERPOINT DECK
       REGARDING INVESTIGATION (1.5).


   03/15/22  Momplaisir, Krystel                 2.30     1,932.00                               006    64208883
       REVIEW AND REVISE INTERVIEW OUTLINE FOR WHITE MARLIN INTERVIEW.


   03/15/22  Bunch, Brittany Nicole              2.80      3,164.00       006         64211321
       REVISE INTERVIEW OUTLINES FOR WHITE MARLIN AND PETRO HARVESTER (1.3); REVIEW DILIGENCE
       REQUESTS AND RECEIPT OF DOCUMENTS ASSOCIATED WITH THOSE REQUESTS (1.1); COMMUNICATE
       WITH TEAM REGARDING INTERVIEW OUTLINES AND STATUS (.4).


   03/15/22     Jewett, Laura                                   0.70          290.50             006    64201310




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       PROCESS DOCUMENTS FOR ATTORNEY REQUEST (0.5); QUALITY CHECK RECORDS LOADED INTO
       DATABASE AND RELEASE TO CASE TEAM FOR REVIEW (0.2).


   03/16/22 Genender, Paul R.                    0.30                         442.50             006    64216324
       WORK SESSION ON INVESTIGATION AND NEXT STEPS.


   03/16/22 Prugh, Amanda Pennington             2.00       2,500.00     006        64215916
       WORKING SESSIONS WITH LITIGATION ASSOCIATES REGARDING REPORT AND ANALYSES (1.5); DRAFT
       COMPREHENSIVE BUDGET AND ANTICIPATED NEXT STEPS (.3); EXCHANGE EMAILS INTERNALLY
       REGARDING STATUS OF INVESTIGATION (.2).


   03/16/22     De Santis, Elena                   1.80         1,935.00       006       64217218
       PREPARE FOR AND PARTICIPATE IN STRATEGY ZOOM REGARDING ROCKALL INVESTIGATION DECK
       (1.3); REVIEW FEEDBACK TO INVESTIGATION DECK (0.3); REVIEW AND REVISE TPG/PETRO HARVESTER
       OUTLINE FOR M. MACDOUGALL (0.2).


   03/16/22  Momplaisir, Krystel                  2.60      2,184.00       006          64222296
       PARTICIPATE ON TEAM CALL TO DISCUSS REVISIONS TO POWER POINT PRESENTATION (1.0); REVISE
       WHITE MARLIN INTERVIEW MEMO (.3); REVIEW NEW DRAFT OF POWER POINT PRESENTATION (1.3).


   03/16/22  Bunch, Brittany Nicole              2.30       2,599.00       006           64219918
       TEAM CALL REGARDING INVESTIGATION STATUS (1.2); REVIEW DILIGENCE REQUESTS (.6); REVIEW
       AND ANALYZE DILIGENCE DOCUMENTS, INCLUDING BOARD MEETING MINUTES (.5).


   03/17/22 Genender, Paul R.                                   1.00         1,475.00            006    64224073
       ATTEND J. HOWIE INTERVIEW.


   03/17/22  Prugh, Amanda Pennington               1.50        1,875.00    006         64222208
       EXCHANGE EMAILS WITH V&E AND INTERNALLY REGARDING UPCOMING INTERVIEWS (.1);
       EXCHANGE EMAILS WITH B. BUNCH REGARDING J. HOWIE INTERVIEW (.2); ATTEND J. HOWIE
       INTERVIEW (1.0); DISCUSS REPORT WITH B. BUNCH AND E. DE SANTIS (.2).


   03/17/22     Momplaisir, Krystel                             9.90         8,316.00            006    64222325




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       REVIEW VARIOUS AGREEMENTS FOR KEY PROVISIONS TO BE INCLUDED IN POWER POINT
       PRESENTATION (3.2); REVIEW VARIOUS AGREEMENTS FOR KEY PROVISIONS (1.3); DRAFT AND
       CIRCULATE NOTES OF INTERVIEW OF J. HOWIE, ROCKALL BOARD MEMBER, AND WHITE MARLIN
       BOARD MEMBER (1.2); CONDUCT RESEARCH ON CONTRACT ISSUES (3.2); PARTICIPATE IN INTERVIEW
       OF J. HOWIE, ROCKALL BOARD MEMBER, AND WHITE MARLIN BOARD MEMBER (1.0).


   03/17/22   Bunch, Brittany Nicole                9.40     10,622.00       006       64221734
       ATTEND INTERVIEW OF J. HOWIE (1); ANALYZE DILIGENCE DOCUMENTS (3); DRAFT POWERPOINT
       SLIDES REFLECTING INVESTIGATION OUTCOMES (5.4).


   03/18/22 Liou, Jessica                                       0.50          747.50             006    64236532
       ATTEND M. MACDOUGALL INTERVIEW.


   03/18/22   Genender, Paul R.                      0.40     590.00       006       64233673
       WORK SESSION ON REPORT (.2); CALL WITH A. PRUGH ABOUT MCDOUGALL INTERVIEW AND NEXT
       STEPS (.1); EMAILS WITH B. TRANSIER ABOUT STATUS (.1).


   03/18/22   Prugh, Amanda Pennington            4.20       5,250.00      006         64232297
       REVISE M. MACDOUGALL INTERVIEW OUTLINE (.3); DRAFT INVESTIGATION POWERPOINT (2.5); WORK
       SESSION WITH B. BUNCH REGARDING INVESTIGATION AND RELATED ANALYSES (.7); LEAD M.
       MACDOUGALL INTERVIEW (.5); DISCUSS FOLLOW UPS WITH P. GENENDER AND B. BUNCH REGARDING
       SAME (.2).


   03/18/22  De Santis, Elena                     4.20     4,515.00         006        64237604
       PREPARE FOR AND PARTICIPATE IN INTERVIEW OF M. MACDOUGALL (0.5); DRAFT ANALYSIS OF M.
       MACDOUGALL INTERVIEW AND NEXT STEPS FOR DILIGENCE (0.4); REVIEW AND ANALYZE BOARD
       MINUTES FOR INFORMATION REGARDING TRANSACTIONS (1.9); REVIEW AND ANALYZE CHAPTER 11
       FILINGS AND BOARD MINUTES REGARDING VARIOUS THIRD PARTY TRANSACTIONS (1.4).


   03/18/22  Momplaisir, Krystel                 5.10       4,284.00     006                            64244736
       REVIEW LATEST VERSION OF POWER POINT PRESENTATION, INCORPORATING IMPORTANT
       INFORMATION FROM REVIEWED DOCUMENTS (2.8); REVIEW AND ORGANIZE IMPORTANT
       DOCUMENTS TO BE INCLUDED IN POWER POINT PRESENTATION (2.3).




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   03/18/22 Bunch, Brittany Nicole                 8.20    9,266.00       006        64236220
       ATTEND INTERVIEW OF M. MACDOUGALL (.5); DRAFT BACKGROUND SLIDES, INCLUDING SLIDES
       REGARDING THE COMPANY AND SIGNIFICANT TRANSACTIONS (5.5); ANALYZE BOARD MEETING
       MINUTES AND MATERIALS (1.2); ANALYZE DILIGENCE DOCUMENTS REGARDING VARIOUS
       TRANSACTIONS (1).


   03/19/22 Prugh, Amanda Pennington             1.00         1,250.00   006          64836353
       ATTEND FOLLOW-UP CALL WITH B. BUNCH REGARDING INVESTIGATION REPORT (.3); REVIEW,
       ANALYZE AND RESPOND TO BOARD MEETING MINUTE SUMMARIES (.4); DRAFT COMPREHENSIVE
       SUMMARY OF MISSING DILIGENCE FOR LITIGATION TEAM (.3).


   03/19/22  De Santis, Elena                   3.80      4,085.00       006       64238388
       REVIEW AND REVISE POWERPOINT ANALYSIS REGARDING INVESTIGATION OF POTENTIAL CLAIMS.


   03/19/22  Bunch, Brittany Nicole                 1.40      1,582.00       006        64836356
       REVIEW DILIGENCE REQUESTS REGARDING BOARD MEETING MINUTES (.6); CALL WITH A. PRUGH TO
       DISCUSS WORK STREAM PRIORITIES (.3); EMAILS WITH A. PRUGH AND E. DESANTIS REGARDING
       WORK STREAMS (.5).


   03/20/22  Bunch, Brittany Nicole              8.80     9,944.00       006         64236230
       DRAFT SUMMARY FINDINGS FOR PPT SLIDE DECK REGARDING INVESTIGATION (6); ANALYZE
       UNDERLYING DOCUMENTS REGARDING SAME (2.8).


   03/21/22  Prugh, Amanda Pennington           6.30        7,875.00       006        64242734
       DRAFT AND SUPPLEMENT INVESTIGATION REPORT (5.0); WORK SESSION WITH B. BUNCH AND E. DE
       SANTIS REGARDING SAME (1.3).


   03/21/22   De Santis, Elena                      5.70     6,127.50      006        64243003
       PARTICIPATE IN STRATEGY ZOOM REGARDING INVESTIGATION ANALYSIS AND PRESENTATION WITH
       A. PENNINGTON PRUGH AND B. BUNCH (1.5); REVIEW UPDATED DILIGENCE MATERIALS AND REVISE
       POWERPOINT REGARDING INVESTIGATION (4.2).


   03/21/22     Momplaisir, Krystel                             2.00         1,680.00            006    64244668




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       DRAFT AND ORGANIZE APPENDIX OF REVIEWED DOCUMENTS TO BE INCLUDED IN POWER POINT
       PRESENTATION.


   03/21/22     Bunch, Brittany Nicole                7.40      8,362.00        006       64243841
       CALL WITH A. PRUGH, K. MOMPLAISIR, AND E. DESANTIS DISCUSSING INVESTIGATION SLIDE DECK
       (1.3); DRAFT INVESTIGATION SLIDE DECK (5); REVIEW DILIGENCE REQUESTS (.5); ANALYZE
       DILIGENCE DOCUMENTS (.6).


   03/22/22  Genender, Paul R.                                  1.10         1,622.50            006    64252305
       REVIEW DRAFT REPORT.


   03/22/22  Prugh, Amanda Pennington                           4.00         5,000.00            006    64252466
       DRAFT AND SUPPLEMENT REPORT.


   03/22/22  Bunch, Brittany Nicole                 5.20    5,876.00        006       64253749
       DRAFT SLIDE DECK REGARDING INVESTIGATION FINDINGS (3.5); ANALYZE BOARD MEETING
       MINUTES AND MATERIALS (1.0); MEET WITH A. PRUGH REGARDING ANALYSIS (.7).


   03/22/22  Morris, Sharron                      0.50      215.00        006          64275354
       EMAILS WITH A. PRUGH, B. BUNCH REGARDING UPDATED POWERPOINT SLIDES (.2); CONTINUE
       UPDATING SAME (.3).


   03/23/22  De Santis, Elena                   2.10        2,257.50   006           64265591
       REVIEW AND ANALYZE UPDATED DILIGENCE AND MATERIALS FROM VINSON & ELKINS (1.2); REVIEW
       AND REVISE POWERPOINT REGARDING INVESTIGATION (0.9).


   03/24/22 Liou, Jessica                       0.60       897.00        006        64836364
       CONFER WITH PACHULSKI AND P. GENENDER REGARDING STATUS OF CLAIMS INVESTIGATION (.6).


   03/24/22  Genender, Paul R.                                  0.30          442.50             006    64907364
       REVIEW DRAFT REPORT (.3).




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   03/24/22  Prugh, Amanda Pennington                           0.40           500.00              006    64275121
       REVIEW AND REVISE DRAFT REPORT.


   03/24/22  De Santis, Elena                   0.50       537.50          006       64275407
       REVIEW AND REVISE POWERPOINT DECK REGARDING INVESTIGATION (0.2); REVIEW AND ANALYZE
       BOARD MINUTES AND MATERIALS (0.3).


   03/24/22  Bunch, Brittany Nicole            3.60       4,068.00        006        64277056
       ANALYZE ADDITIONAL DILIGENCE DOCUMENTS RECEIVED FROM V&E (1.5); REVISE REPORT SLIDE
       DECK REGARDING FINDINGS AND RECOMMENDATIONS (2.1).


   03/25/22  Genender, Paul R.                    0.10                         147.50              006    64836486
       EMAIL B. TRANSIER ABOUT STATUS OF INVESTIGATION (.1).


   03/25/22    Prugh, Amanda Pennington           2.00      2,500.00      006         64836498
       DRAFT AND SUPPLEMENT INVESTIGATION REPORT (1.3); ATTEND WORKING SESSION WITH B. BUNCH
       (.3); DRAFT SUMMARY POWERPOINT FOR B. TRANSIER’S UPCOMING BOARD MEETING (.4).


   03/25/22  De Santis, Elena                  0.60       645.00        006         64288684
       REVIEW AND ANALYZE ROCKALL BOARD OF DIRECTORS MEETING MINUTES (0.1); REVIEW AND
       DRAFT ANALYSIS OF CONTRACTS (0.5).


   03/25/22  Momplaisir, Krystel                                1.20         1,008.00              006    64289113
       REVISE DILIGENCE TRACKER.


   03/25/22  Bunch, Brittany Nicole             1.30      1,469.00       006                              64289038
       REVIEW DILIGENCE, INCLUDING DOCUMENTS RELATED TO MEETING MINUTES.


   03/26/22 Liou, Jessica                       0.50                           747.50              006    64288529
       UPDATE CALL WITH V&E REGARDING ROCKALL STATUS.


   03/26/22     De Santis, Elena                                1.90         2,042.50              006    64288657




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       ANALYZE KEY DOCUMENTS REVIEWED BY WEIL REGARDING INVESTIGATION AND DRAFT APPENDIX
       REGARDING SAME.


   03/27/22  Morris, Sharron                     1.10       473.00      006          64300243
       EMAILS WITH A. PRUGH AND B. BUNCH REGARDING PRODUCTION DOCUMENTS (.4); UPDATE SAME
       (.7).

   03/28/22  Liou, Jessica                         2.50     3,737.50      006                            64907525
       REVIEW AND RESPOND TO EMAILS FROM A. PRUGH REGARDING QUESTIONS REGARDING
       PRODUCTION (.3); REVIEW DRAFT INVESTIGATION REPORT AND COMMENT ON SAME (2.2).


   03/28/22  Genender, Paul R.                        2.40      3,540.00      006        64298435
       CALL WITH B. TRANSIER ON DRAFT REPORT (.9); WORK SESSION FOLLOWING SAME (.5); FOLLOW UP
       INTERVIEW WITH L. GILLIES AND D. MIRKIN (.4); REVIEW UPDATED REPORT AND DILIGENCE LIST (.4);
       REVIEW AND REVISE REPORT TO BE SHARED WITH BOARD (.2).


   03/28/22   Prugh, Amanda Pennington                 2.90     3,625.00    006           64837701
       INTERVIEW WITH L. GILLIES AND D. MIRKIN REGARDING INVESTIGATION INQUIRIES (.4); ATTEND
       FOLLOW-UP CALL WITH B. BUNCH REGARDING SAME (.2); STRATEGY CALLS WITH J. LIOU AND B.
       BUNCH REGARDING ANALYSES IN INVESTIGATION REPORT (1.5); DRAFT COMPREHENSIVE UPDATE
       FOR P. GENENDER AND J. LIOU (.3); REVISE INVESTIGATION REPORT (.5).


   03/28/22  De Santis, Elena                       3.50      3,762.50        006           64297853
       REVIEW AND REVISE APPENDIX OF KEY DOCUMENTS REVIEWED BY WEIL (0.1); CONFER WITH A.
       PENNINGTON PRUGH AND B. BUNCH REGARDING STRATEGY FOR INVESTIGATION ANALYSIS
       POWERPOINT (0.5); PREPARE FOR AND PARTICIPATE ON ZOOM WITH L. GILLIES, D. MIRKIN, P.
       GENENDER, J. LIOU, A. PENNINGTON PRUGH, AND B. BUNCH REGARDING INVESTIGATED
       TRANSACTIONS (0.5); ANALYZE DILIGENCE DOCUMENTS AND REVISE POWERPOINT REGARDING
       INVESTIGATION ANALYSIS (2.4).


   03/28/22  Bunch, Brittany Nicole                 1.00      1,130.00      006                          64837868
       CALL WITH J. LIOU AND A. PRUGH DISCUSSING THIRD PARTY TRANSACTIONS (1).


   03/28/22     Morris, Sharron                                 2.90         1,247.00             006    64300282




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       EMAILS WITH A. PRUGH AND B. BUNCH REGARDING DRAFT AGREED PROTECTIVE ORDER (.4);
       PREPARE SAME FOR ATTORNEY REVIEW (.5); ADDITIONAL EMAILS WITH A. PRUGH AND B. BUNCH
       REGARDING DOCUMENT PRODUCTION (.3); REVIEW DOCUMENT PRODUCTION AND BATES LABEL
       SAME (1.7).

   03/29/22  Genender, Paul R.                                  0.50          737.50             006    64837874
       REVIEW UPDATES TO REPORT (.5).


   03/29/22  De Santis, Elena                      6.10      6,557.50        006        64837994
       CONFER WITH A. PRUGH AND B. BUNCH REGARDING STRATEGY FOR INVESTIGATION ANALYSIS (0.5);
       CONFER WITH A. PRUGH REGARDING REVISIONS TO INVESTIGATION POWERPOINT AND REVISIONS
       REGARDING SAME (1.2); PARTICIPATE ON STRATEGY CALL WITH L. KANZER, A. PRUGH, AND B.
       BUNCH REGARDING OUTSTANDING DILIGENCE QUESTIONS (1.0); CONFER WITH A. PRUGH
       REGARDING ANALYSIS (0.2); REVIEW DILIGENCE DOCUMENTS AND REVISE POWERPOINT REGARDING
       INVESTIGATION ANALYSIS (3.2).


   03/29/22  Bunch, Brittany Nicole                 6.20     7,006.00         006        64303609
       CALL WITH A. PRUGH AND E. DE SANTIS DISCUSSING REPORT AND ANALYSIS (.7); CALL WITH V&E TO
       DISCUSS OUTSTANDING DILIGENCE ITEMS (1); REVISE REPORT (3.1); ANALYZE UNDERLYING
       DILIGENCE DOCUMENTS (.6); PREPARE REQUEST FOR ADDITIONAL DILIGENCE ITEMS (.5); PREPARE
       DOCUMENTS FOR PRODUCTION FOR V&E REVIEW (.3).


   03/29/22  Morris, Sharron                      1.60      688.00      006        64305522
       ADDITIONAL EMAILS WITH A. PRUGH AND B. BUNCH REGARDING DOCUMENT PRODUCTION (.4);
       CONTINUE TO PREPARE AND FINALIZE DOCUMENT PRODUCTION (1.2).


   03/30/22    Liou, Jessica                      1.70      2,541.50      006          64313073
       REVIEW AND COMMENT ON REVISED INVESTIGATION LONG AND SHORT DECK (.2), REVIEW CASES
       (.2); REVIEW AND COMMENT ON REVISED INVESTIGATION LONG AND SHORT DECK (1.1), EMAILS
       WITH A. PRUGH AND B. BUNCH REGARDING SAME (.2).


   03/30/22   Genender, Paul R.                      2.00        2,950.00 006         64312543
       REVIEW AND COMMENT ON INVESTIGATIVE REPORTS (LONG AND SHORT VERSIONS) (1.5); PREPARE
       FOR 4/1 BOARD MEETING (.4); EMAILS WITH B. TRANSIER (.1).




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   03/30/22  Prugh, Amanda Pennington              5.50      6,875.00       006        64312586
       ANALYZE ADDITIONAL DOCUMENTS PROVIDED BY V&E (.3); REVISE REPORT AND CONFER WITH E. DE
       SANTIS REGARDING UPDATES (2.9); EXCHANGE INTERNAL EMAILS RELATED TO SAME (.4); DRAFT
       TALKING POINTS FOR BOARD MEETING (1.5); WORKING SESSION WITH B. BUNCH (.4).


   03/30/22  De Santis, Elena                     2.70      2,902.50      006         64311941
       REVIEW AND ANALYZE AGREEMENT BETWEEN ROCKALL AND THIRD PARTIES (0.3); CONFER WITH A.
       PRUGH AND B. BUNCH REGARDING STRATEGY FOR INVESTIGATION PRESENTATION (0.5); STRATEGY
       SESSION WITH A. PENNINGTON PRUGH REGARDING INVESTIGATION ANALYSIS AND REVISIONS TO
       POWERPOINT REGARDING SAME (1.7); REVIEW AND REVISE POWERPOINT PRESENTATION REGARDING
       INVESTIGATION ANALYSIS (0.2).


   03/30/22  Bunch, Brittany Nicole              6.40      7,232.00        006         64315079
       DRAFT AND INCORPORATE EDITS INTO INVESTIGATION REPORT SLIDE DECK (4.3); ANALYZE
       UNDERLYING DILIGENCE DOCUMENTS AND AGREEMENTS (1.3); RESEARCH CASES RELATED TO
       SEVERANCE PAYMENTS (.8).


   03/30/22  Morris, Sharron                      0.70      301.00      006        64321344
       ADDITIONAL EMAILS WITH A. PRUGH AND B. BUNCH REGARDING DOCUMENT PRODUCTION (.3);
       REVIEW AND BATES STAMP ADDITIONAL DOCUMENTS (.4).


   03/31/22   Liou, Jessica                        2.00      2,990.00         006       64324537
       REVIEW EMAIL WITH B. BUNCH AND A. PRUGH REGARDING DILIGENCE (.3) AND COMMENTS TO
       REPORT (1.0) AND CALL WITH B. TRANSIER REGARDING SAME (.4); EMAILS WITH TEAM REGARDING
       EDITS TO INVESTIGATION REPORT (.3).


   03/31/22  Genender, Paul R.                          3.10     4,572.50         006       64321371
       WORK SESSIONS TO PREPARE FOR 4/1 BOARD MEETING ON SUMMARY OF INVESTIGATION (1.2);
       REVISE REPORTS (.8); CALL WITH B. TRANSIER (.4); FOLLOW UP FROM SAME (.4); EMAILS AND CALL
       WITH D. MEYER ON STATUS (.3).


   03/31/22     Prugh, Amanda Pennington                        3.10         3,875.00            006    64837997




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       FINALIZE TALKING POINTS FOR BOARD MEETING (.5); ATTEND PREPARATION SESSION WITH P.
       GENENDER AND B. BUNCH IN ADVANCE OF BOARD MEETING (.7); REVISE REPORT BASED ON
       ADDITIONAL DILIGENCE (1.0); CALL WITH L. KANZER REGARDING OUTSTANDING DILIGENCE (.3);
       EXCHANGE INTERNAL EMAILS RELATED TO SAME (.2); ATTEND CALLS WITH B. BUNCH REGARDING
       INVESTIGATION APPROACH AND ANALYSES IN ADVANCE OF BOARD MEETING (.4).


   03/31/22  De Santis, Elena                   0.20       215.00         006                           64838010
       REVIEW AND REVISE APPENDIX OF KEY DOCUMENTS RELIED ON IN INVESTIGATION (0.2).


   03/31/22  Bunch, Brittany Nicole                 6.30       7,119.00      006         64321177
       REVISE INVESTIGATION REPORT (2.2); CALL WITH B. TRANSIER AND TEAM REGARDING
       INVESTIGATION REPORT (.3); MEET WITH A. PRUGH AND P. GENENDER REGARDING BOARD MEETING
       AND INVESTIGATION REPORT (1.0); DRAFT TALKING POINTS FOR BOARD MEETING (1.7); REQUEST
       ADDITIONAL DILIGENCE ITEMS (.5); ANALYZE DILIGENCE ITEMS (.6).


   03/31/22  Morris, Sharron                      0.60      258.00        006         64321399
       ADDITIONAL EMAILS WITH A. PRUGH AND B. BUNCH REGARDING INVESTIGATION SLIDES (.2);
       CONTINUE UPDATING SAME (.4).


   04/01/22  Liou, Jessica                                      0.30          448.50             006    64336627
       REVISE ROCKALL BOARD PRESENTATION.


   04/01/22   Genender, Paul R.                  0.90      1,327.50      006         64341132
       PREPARE FOR PRESENTATION TO COMPANY’S BOARD ABOUT SUMMARY OF INVESTIGATION
       FINDINGS AND RECOMMENDATIONS (.5); PRESENTATION TO COMPANY BOARD (.3); FOLLOW UP FROM
       SAME, INCLUDING TO FINALIZE REPORT (.1).


   04/01/22 Prugh, Amanda Pennington                            0.30          375.00             006    64838143
       ATTEND ROCKALL BOARD MEETING.


   04/01/22  De Santis, Elena                    0.40       430.00        006        64337300
       PREPARE FOR AND PARTICIPATE IN ROCKALL BOARD MEETING TO DISCUSS SPECIAL LITIGATION
       COMMITTEE INVESTIGATION.




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   04/01/22 Bunch, Brittany Nicole                2.30       2,599.00   006                              64337607
       ATTORNEY BOARD MEETING DISCUSSING INVESTIGATION REPORT FINDINGS AND
       RECOMMENDATIONS (.5); FINALIZE INVESTIGATION REPORT (1.8).


   04/01/22  Morris, Sharron                      4.20     1,806.00       006         64351183
       ADDITIONAL EMAILS WITH A. PRUGH AND B. BUNCH REGARDING INVESTIGATION SLIDES (.9);
       CONTINUE EXTENSIVE REVIEW OF SAME (3.3).


   04/02/22  Bunch, Brittany Nicole                             1.20         1,356.00             006    64337455
       FINALIZE INVESTIGATION REPORT.


   04/03/22  Liou, Jessica                     0.50       747.50                                  006    64336697
       REVIEW AND COMMENT ON REVISED LONG AND SHORT DECK.


   04/03/22  Genender, Paul R.                    0.70        1,032.50      006        64341150
       FINALIZE REPORTS AND EMAIL B. TRANSIER ABOUT SAME (.6); EMAIL V&E ABOUT BOARD DECK (.1).


   04/03/22  Bunch, Brittany Nicole              0.40                         452.00              006    64337448
       FINALIZE SHORT DECK OF INVESTIGATION REPORT.


   04/05/22 Prugh, Amanda Pennington                            0.30          375.00              006    64370071
       ATTEND CALL WITH L. KANZER.


   04/07/22     Genender, Paul R.                     0.50      737.50           006   64385407
       FURTHER EMAIL FROM P. LABOV AND ATTENTION/RESPONSE TO SAME (.2); CALL WITH L. KANZER
       (.1); FOLLOW UP EMAILS WITH UCC (.1); EMAILS ABOUT CLEARY INQUIRIES (.1).


   04/08/22 Prugh, Amanda Pennington            0.20       250.00          006       64395654
       ATTEND CALL WITH L. KANZER REGARDING MEET AND CONFERS (.1); ATTEND CALL WITH WEIL,
       CLEARY AND V&E TEAMS REGARDING INVESTIGATION (.1).


   04/08/22     Bunch, Brittany Nicole                          0.30          339.00              006    64411607




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       CALL DISCUSSING ROCKALL INVESTIGATION.


   04/16/22  Genender, Paul R.                    0.10                        147.50             006    64448634
       EMAILS WITH P. LABOV ABOUT INVESTIGATION FINDINGS.


   04/18/22  Morris, Sharron                     0.90       387.00          006         64464956
       EMAILS WITH A. PRUGH AND B. BUNCH REGARDING PRESENTATION (.2); REVIEW SAME (.7).


   04/19/22 Liou, Jessica                          1.10    1,644.50       006        64462497
       CONFER WITH P. GENENDER, A. PRUGH AND B. BUNCH REGARDING UCC CALL RE INVESTIGATION (.8);
       CONFER WITH P. GENENDER REGARDING NEXT STEPS (.3).


   04/20/22    Genender, Paul R.                0.70      1,032.50         006        64472593
       EMAILS WITH UCC COUNSEL ABOUT FOLLOW UP CALL ON INVESTIGATION (.1); PREPARE FOR SAME
       (.5); UPDATE CALL WITH B. TRANSIER (.1).


   04/21/22  Liou, Jessica                        1.00       1,495.00     006                           64487671
       CONFER WITH PACHULSKI, A. PRUGH AND B. BUNCH, P. GENENDER REGARDING WEIL
       INVESTIGATION.

   04/21/22  Bunch, Brittany Nicole               0.50                        565.00             006    64838148
       PREPARE INVESTIGATION SLIDES FOR THIRD PARTIES.


    SUBTOTAL TASK 006 - Investigation:                       265.40      $292,067.50

   03/22/22  Ha, Frances R.                        3.60      3,528.00       007         64239812
       MEET WITH J. LIOU REGARDING WEIL'S RETENTION APPLICATION RESEARCH (.6); RESEARCH
       PRECEDENTS AND CASE LAW FOR SPECIAL COMMITTEES RETENTION (3.0).


   03/24/22  Liou, Jessica                        0.60        897.00      007                           64277018
       REVIEW AND RESPOND TO EMAILS FROM F. HA, V&E AND P. GENENDER REGARDING WEIL
       RETENTION APPLICATION (.6).




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   03/24/22  Lee, Kathleen Anne                    5.50       2,722.50       007       64273905
       RESEARCH RETENTION PRECEDENT IN NDTX FOR F. HA (1.2); DRAFT DISCLOSURE TABLE FOR WEIL'S
       RETENTION APPLICATION (4.1); OBTAIN RETENTION APPLICATIONS FILED IN ROCKALL ENERGY (.2).


   03/25/22   Lee, Kathleen Anne                   5.60      2,772.00       007        64300921
       ASSIST F. HA WITH WEIL RETENTION APPLICATION, AND FINALIZE DISCLOSURE SCHEDULE FOR WEIL
       RETENTION (5.4); CORRESPOND WITH F. HA REGARDING RETENTION APPLICATION (.2).


   03/28/22  Ha, Frances R.                                     1.00          980.00             007    64310297
       DRAFT WEIL RETENTION APPLICATION.


   03/29/22   Lee, Kathleen Anne                   1.20                       594.00             007    64302874
       ASSIST F. HA WITH WEIL RETENTION APPLICATION.


   04/04/22  Liou, Jessica                       0.40       598.00       007                            64358737
       CONFER WITH F. HA REGARDING RETENTION APPLICATION AND QUESTIONS REGARDING
       DISCLOSURE SCHEDULES.


   04/04/22   Ha, Frances R.                      3.50        3,430.00      007         64390291
       REVIEW AND REVISE WEIL'S RETENTION APPLICATION (3.2); CORRESPOND WITH J. LIOU REGARDING
       EDITS TO SAME (.3).


   04/05/22   Liou, Jessica                        0.60        897.00       007        64374852
       REVIEW RETENTION APPLICATION (.3); CONFIRM WITH F. HA REGARDING QUESTIONS AND ISSUES RE
       SAME (.3).


   04/07/22  Liou, Jessica                     0.50          747.50        007       64389828
       REVIEW PROPOSED INTERIM COMPENSATION PROCEDURES (.2); EMAILS WITH P. GENENDER
       REGARDING QUESTIONS ON INTERIM COMPENSATION PROCEDURES (.3).


   04/07/22     Ha, Frances R.                                  3.50         3,430.00            007    64390380




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       REVIEW, DRAFT, AND REVISE WEIL RETENTION APPLICATION AND LIOU DECLARATION (1.5);
       FINALIZE CONFLICTS DISCLOSURE SCHEDULE (2).


   04/13/22 Liou, Jessica                           0.50          747.50        007        64439707
       CONFER WITH F. HA (.1); CONFER WITH P. GENENDER (.1); EMAILS WITH D. WARNER AND A. CHESSLER
       REGARDING WEIL RETENTION APPLICATION DISCLOSURE SCHEDULE (.3).


   04/13/22  Ha, Frances R.                         1.20       1,176.00       007       64430317
       REVIEW OCP MOTION (.5); AND DISCLOSURE SCHEDULE (.5); FOR WEIL RETENTION PURPOSES AND
       CORRESPOND WITH J. LIOU REGARDING SAME (.2).


   04/14/22  Liou, Jessica                          1.60     2,392.00       007       64443947
       REVIEW WEIL RETENTION APPLICATION (.4); AND CONFER WITH P. GENENDER AND D. WARNER
       REGARDING SAME (.4); CONFER WITH A. CHESSLER REGARDING SAME (.8).


   04/14/22  Genender, Paul R.                                  0.20          295.00             007    64442712
       REVIEW RETENTION APPLICATION.


   04/14/22  Ha, Frances R.                       0.60      588.00        007        64445676
       REVIEW AND AND RESPOND TO EMAILS FROM J. LIOU REGARDING WEIL'S RETENTION APPLICATION.


   04/14/22  Lee, Kathleen Anne                   0.60      297.00       007                            64441555
       PROVIDE P. FABSIK WITH INTERIM COMPENSATION MOTION AND SUMMARIZE POTENTIAL
       DEADLINES AND SERVICE REQUIREMENTS FOR SAME.


   04/15/22  Liou, Jessica                       1.50                        2,242.50            007    64448831
       REVIEW AND REVISE WEIL RETENTION APPLICATION.


   04/16/22  Ha, Frances R.                       4.20      4,116.00         007         64445804
       REVIEW AND REVISE DRAFT WEIL'S RETENTION APPLICATION PER J. LIOU'S COMMENTS (2.7); AND
       CONDUCT LEGAL RESEARCH REGARDING SAME (1.5).




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   04/17/22  Ha, Frances R.                       2.00      1,960.00         007         64445749
       REVIEW AND REVISE DRAFT WEIL'S RETENTION APPLICATION PER J. LIOU'S COMMENTS (.8); AND
       CONDUCT RELEVANT LEGAL RESEARCH REGARDING SAME (1.1); AND SEND TO J. LIOU FOR REVIEW
       (.1).

   04/18/22    Liou, Jessica                        1.70      2,541.50       007        64457359
       EMAIL P. GENENDER REGARDING RETENTION APPLICATION (.2); CONFER WITH L. KANZER
       REGARDING RETENTION ISSUES (.1); EMAIL P. GENENDER REGARDING SAME (.4); CONFER WITH P.
       GENENDER AND F. HA REGARDING WEIL RETENTION APPLICATION (.4); REVIEW AND COMMENT ON
       FURTHER REVISED WEIL RETENTION APPLICATION (.2); AND CONFER WITH F. HA REGARDING SAME
       (.1); CONFER WITH F. HA REGARDING WEIL RETENTION APPLICATION (.3).


   04/18/22  Ha, Frances R.                      5.00      4,900.00        007        64452617
       REVIEW AND REVISE DRAFT WEIL RETENTION APPLICATION PER J. LIOU'S COMMENTS AND CONDUCT
       RELEVANT LEGAL RESEARCH REGARDING RELEVANT LOCAL RULES (4.6) CORRESPOND WITH J. LIOU
       REGARDING SAME (.4).


   04/19/22  Liou, Jessica                       0.20        299.00                              007    64838145
       REVIEW EMAIL TO F. HA REGARDING WEIL RETENTION APPLICATION.


   04/19/22    Ha, Frances R.                        3.10      3,038.00      007       64569213
       RESEARCH J. LIOU QUESTIONS REGARDING WEIL RETENTION APPLICATIONS (2.3); CORRESPOND WITH
       J. FRIEDMAN REGARDING SAME (.4); REVISE WEIL'S DRAFT RETENTION APPLICATION ACCORDINGLY
       AND BASED ON J. LIOU'S COMMENTS (.4).


   04/20/22  Liou, Jessica                     0.70        1,046.50                              007    64475357
       REVIEW AND COMMENT ON WEIL RETENTION APPLICATION (.7).


   04/21/22  Liou, Jessica                        2.20      3,289.00       007         64838147
       CONFER WITH B. TRANSIER AND P. GENENDER REGARDING RETENTION ISSUES (.3); REVIEW AND
       COMMENT ON RETENTION APPLICATION (.3); REVIEW AND REVISE WEIL RETENTION APPLICATION
       AND CONFER WITH F. HA REGARDING QUESTIONS REGARDING SAME (1.3); CONFER WITH P.
       GENENDER REGARDING RETENTION ISSUES (.3).




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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
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2022008909

                                 ITEMIZED SERVICES - 70157.0003 - Rockall Energy Holdings, LLC


   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
   04/22/22  Liou, Jessica                       0.60       897.00         007         64496303
       REVIEW RETENTION APPLICATION AND RETENTION-RELATED ISSUES (.3); EMAIL P. GENENDER AND F.
       HA REGARDING STATUS OF RETENTION APPLICATION (.3).


   04/22/22  Ha, Frances R.                       2.00                       1,960.00            007    64569280
       REVIEW AND REVISE WEIL'S RETENTION APPLICATION.


   04/23/22  Liou, Jessica                       1.60                        2,392.00            007    64495904
       REVIEW AND FURTHER REVISE RETENTION APPLICATION.


   04/24/22  Liou, Jessica                       0.80                        1,196.00            007    64496142
       REVIEW AND FURTHER REVISE RETENTION APPLICATION.


   04/24/22  Ha, Frances R.                    6.80       6,664.00       007       64569445
       CONDUCT RESEARCH AND REVIEW AND REVISE WEIL'S RETENTION APPLICATION AND DRAFT B.
       TRANSIER'S DECLARATION.


   04/25/22  Liou, Jessica                          4.80       7,176.00     007          64506825
       REVIEW REVISED RETENTION APPLICATION (.3); EMAIL F. HA REGARDING SAME (.3); CONFER WITH F.
       HA REGARDING FURTHER REVISIONS AND COMMENTS TO WEIL RETENTION APPLICATION (.9);
       REVIEW ISSUES RELATING TO ROCKALL RETENTION APPLICATION (.4); CONFER WITH F. HA
       REGARDING RETENTION ISSUES (.9); CONFER WITH F. HA REGARDING ROCKALL RETENTION
       APPLICATION (.8); FURTHER REVIEW AND REVISE RETENTION APPLICATION AND EMAILS TO F. HA
       REGARDING SAME (1.2).

   04/25/22  Genender, Paul R.                                  1.10         1,622.50            007    64838153
       REVIEW WEIL RETENTION APPLICATION.


   04/25/22   Ha, Frances R.                      5.50      5,390.00         007        64569251
       CORRESPOND WITH J. LIOU REGARDING WEIL'S RETENTION APPLICATION (.7); REVIEW AND REVISE
       WEIL'S RETENTION APPLICATION (4.8).


   04/25/22     Lee, Kathleen Anne                              0.40          198.00             007    64548139




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          Case 22-90000-mxm11
               22-30500-swe7 Doc
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                                 261-8
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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
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2022008909

                                 ITEMIZED SERVICES - 70157.0003 - Rockall Energy Holdings, LLC


   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
       ASSIST F. HA WITH WEIL RETENTION DISCLOSURE SCHEDULE.


   04/26/22 Liou, Jessica                          1.50      2,242.50       007        64514061
       CONFER WITH F. HA REGARDING RETENTION APPLICATION (.2); EMAIL V&E REGARDING SAME (.1);
       CONFER WITH A. CHESSLER REGARDING DISCLOSURES FOR WEIL RETENTION APPLICATION (.5);
       CONFER WITH A. CHESSLER REGARDING RETENTION APPLICATION (.2); CONFER WITH F. HA
       REGARDING SAME (.3); CONFER WITH F. HA REGARDING RETENTION APPLICATION (.2).


   04/26/22 Genender, Paul R.                   0.20                          295.00             007    64838302
       FOLLOW UP ON RETENTION APPLICATION AND OBJECTIONS.


   04/27/22 Genender, Paul R.                                   0.10          147.50             007    64838303
       ATTENTION TO RETENTION APPLICATION.


   04/29/22  Liou, Jessica                        1.00      1,495.00       007        64546916
       CONFER WITH L. KANZER REGARDING ROCKALL RETENTION ISSUES (.5); MULTIPLE EMAILS WITH F.
       HA REGARDING FILING AND FINALIZING WEIL RETENTION APPLICATION (.5).


   04/29/22  Genender, Paul R.                                  0.30          442.50             007    64548121
       FINALIZE RETENTION APPLICATION.


   05/18/22 Fabsik, Paul                         0.50      215.00         007                           64688574
       CONDUCT RESEARCH RE: FEE STATEMENTS IN THE NORTHERN DISTRICT OF TEXAS.


   05/19/22  Friedman, Julie T.                   0.80       556.00                              007    64698542
       REVIEW INVOICE FOR COMPLIANCE WITH U.S. TRUSTEE GUIDELINES.


   05/19/22 Ha, Frances R.                       0.30        294.00       007        64692718
       MONITOR THE DOCKET FOR ANY ISSUES/OBJECTIONS RE WEIL'S RETENTION APPLICATION AND
       CORRESPOND WITH THE TEAM REGARDING THE SAME.


   05/23/22     Liou, Jessica                                   0.10          149.50             007    64734101




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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
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                                 ITEMIZED SERVICES - 70157.0003 - Rockall Energy Holdings, LLC


   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
       CONFER WITH F. HA RE STATUS OF WEIL RETENTION APPLICATION.


   05/24/22 Liou, Jessica                                       0.20          299.00             007    64737122
       CONFER WITH F. HA RE FEE APPLICATIONS.


   05/24/22   Fabsik, Paul                       1.50        645.00         007       64724839
       ASSIST WITH RESEARCH RE: MONTHLY AND FINAL FEE APPLICATIONS FILED IN THE NORTHERN
       DISTRICT OF TEXAS.


   05/25/22  Liou, Jessica                        0.40       598.00         007       64748489
       EMAIL WITH V&E RE WEIL RETENTION APPLICATION; CONFER WITH F. HA RE PREPARATION OF FEE
       APPLICATION.


   05/25/22  Friedman, Julie T.                    0.60       417.00                             007    64769752
       REVIEW INVOICE FOR COMPLIANCE WITH U. S. TRUSTEE GUIDELINES.


   05/25/22  Fabsik, Paul                         2.80      1,204.00                             007    64738628
       REVIEW INVOICE FOR COMPLIANCE WITH U.S. TRUSTEES GUIDELINES.


   05/27/22  Friedman, Julie T.                    0.50       347.50                             007    64769858
       REVIEW INVOICE FOR COMPLIANCE WITH U. S. TRUSTEE GUIDELINES.


   05/27/22  Ha, Frances R.                      1.00       980.00        007        64932926
       REVIEW INVOICE AND REDACT FOR PRIVILEGE AND TO COMPLY WITH THE UST GUIDELINES.


   05/27/22  Fabsik, Paul                        0.40                         172.00             007    64755435
       PREPARE AND REVISE FIRST MONTHLY FEE STATEMENT.


   05/31/22  Liou, Jessica                                      1.90         2,840.50            007    64789334
       REVIEW INVOICE AND REDACT FOR PRIVILEGE.


   06/01/22     Liou, Jessica                                   0.30          448.50             007    64806809




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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
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                                 ITEMIZED SERVICES - 70157.0003 - Rockall Energy Holdings, LLC


   Date         Timekeeper/Narrative                          Hours          Amount              Task   Index
       REVIEW AND REVISE WEIL FEE STATEMENT FOR COMPLIANCE WITH LOCAL RULES AND US TRUSTEE
       GUIDELINES.


   06/01/22  Fabsik, Paul                        2.50     1,075.00       007        64801547
       REVISE WEIL FEE STATEMENT FOR COMPLIANCE WITH LOCAL RULES AND US TRUSTEE GUIDELINES.


   06/02/22  Friedman, Julie T.                1.10      764.50                                  007    64828149
       REVIEW FEE STATEMENT AND CONDUCT RESEARCH REGARDING SAME.


   06/02/22  Friedman, Julie T.                  2.00     1,390.00                               007    64828193
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   06/02/22  Fabsik, Paul                        2.60     1,118.00       007        64807506
       REVISE WEIL FEE STATEMENT FOR COMPLIANCE WITH LOCAL RULES AND US TRUSTEE GUIDELINES.


   06/03/22  Friedman, Julie T.                  1.80     1,251.00                               007    64828179
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   06/07/22  Fabsik, Paul                        1.30       559.00       007        64839866
       REVISE WEIL FEE STATEMENT FOR COMPLIANCE WITH LOCAL RULES AND US TRUSTEE GUIDELINES.


   06/08/22  Friedman, Julie T.               0.70       486.50       007        64855479
       REVIEW FEE STATEMENT AND COMMENT ON SAME FOR COMPLIANCE WITH LOCAL RULES AND US
       TRUSTEE GUIDELINES.


    SUBTOTAL TASK 007 - Retention/Fee                        101.30       $97,452.00
    Applications: Weil:


    Total Fees Due                                           424.00      $459,602.00




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                                   Expense Detail




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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
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                                              ITEMIZED DISBURSEMENTS

                         NAME
               DATE      DESCRIPTION                                               DISB TYPE    DISB ID#   AMOUNT

               03/09/22 WGM, Firm                                                  S011         40959710     128.00
                         DUPLICATING
                         256 COLOR PRINT(S) MADE IN NEW YORK BETWEEN 03/02/2022 TO 03/05/2022

               03/09/22 WGM, Firm                                     S117           40959715                  9.90
                        DUPLICATING
                        66 PRINT(S) MADE IN NEW YORK BETWEEN 03/02/2022 TO 03/05/2022

               03/29/22 WGM, Firm                                                  S016         40958973       0.80
                         DUPLICATING
                         8 PAGES SCANNED IN NEW YORK CITY BETWEEN 03/22/2022 TO 03/22/2022

               03/31/22 De Santis, Elena                                           H165         40957628      50.03
                         TRANSPORTATION - LOCAL MEETING
                         INVOICE#: CREX5072240003311208; DATE: 3/31/2022 - LOCAL TAXI, MAR 29, 2022 - CAR
                         HOME AFTER LATE NIGHT


               04/05/22 De Santis, Elena                                H062            40962983        4.00
                        COMPUTERIZED RESEARCH
                        INVOICE#: 3.3.22.TEXAS SECRETARY.#112534887; DATE: 03/03/2022 - TEXAS SECRETARY
                        DOCUMENTS REQUESTED.


               04/05/22 De Santis, Elena                                           H062         40962985       0.11
                         COMPUTERIZED RESEARCH
                         INVOICE#: 3.3.22.TEXAS SECRETARY; DATE: 03/03/2022 - TEXAS SECRETARY SERVICE
                         BUREAU FEE


               04/12/22 WGM, Firm                                                  S016         40971174       1.10
                         DUPLICATING
                         11 PAGES SCANNED IN NEW YORK CITY BETWEEN 04/06/2022 TO 04/06/2022




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          Case 22-90000-mxm11
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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
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                                              ITEMIZED DISBURSEMENTS

                         NAME
               DATE      DESCRIPTION                                               DISB TYPE    DISB ID#   AMOUNT

               04/19/22 Bunch, Brittany Nicole                                     S061         40976241      41.82
                         COMPUTERIZED RESEARCH
                         DALLAS WESTLAW - BUNCH,BRITTANY 03/18/2022 TRANSACTIONS: 7

               04/19/22 Bunch, Brittany Nicole                       S061      40976203                       20.91
                        COMPUTERIZED RESEARCH
                        DALLAS WESTLAW - BUNCH,BRITTANY 03/30/2022 TRANSACTIONS: 3

               04/20/22 Houston Office, H                                          S117         40990139       8.70
                         DUPLICATING
                         58 PRINT(S) MADE IN HOUSTON BETWEEN 04/18/2022 TO 04/18/2022

               04/21/22 De Santis, Elena                                           S061         40981947     109.45
                         COMPUTERIZED RESEARCH
                         NY WESTLAW - DE SANTIS,ELENA 03/09/2022 TRANSACTIONS: 12

               04/21/22 Momplaisir, Krystel                          S061       40981948                     109.45
                        COMPUTERIZED RESEARCH
                        NY WESTLAW - MOMPLAISIR,KRYSTEL 03/17/2022 TRANSACTIONS: 13

               04/21/22 De Santis, Elena                                           S061         40981921      21.89
                         COMPUTERIZED RESEARCH
                         NY WESTLAW - DE SANTIS,ELENA 03/19/2022 TRANSACTIONS: 1

               04/21/22 De Santis, Elena                                           S061         40981922      21.89
                         COMPUTERIZED RESEARCH
                         NY WESTLAW - DE SANTIS,ELENA 03/26/2022 TRANSACTIONS: 3

               04/26/22 Genender, Paul R.                          S061                         40988749       7.80
                        COMPUTERIZED RESEARCH
                        PACER USAGE REPORT - NEW YORK OFFICE - MARCH 2022




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          Case 22-90000-mxm11
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Special Committee of the Board of Rockall Energy Holdings, LLC - Rockall Energy Holdings, LLC
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                                              ITEMIZED DISBURSEMENTS

                         NAME
               DATE      DESCRIPTION                                               DISB TYPE    DISB ID#   AMOUNT

               04/26/22 Ha, Frances R.                                             S061         40988614      27.40
                         COMPUTERIZED RESEARCH
                         PACER USAGE REPORT - NEW YORK OFFICE - MARCH 2022

               04/26/22 Genender, Paul R.                           S061                        40987021       8.80
                        COMPUTERIZED RESEARCH
                        PACER USAGE REPORT - DALLAS OFFICE - MARCH 2022

               05/20/22 Lee, Kathleen Anne                                         S061         41014550       4.60
                         COMPUTERIZED RESEARCH
                         PACER USAGE REPORT - NEW YORK OFFICE - APRIL 2022

               05/20/22 Ha, Frances R.                                             S061         41014341      75.50
                         COMPUTERIZED RESEARCH
                         PACER USAGE REPORT - NEW YORK OFFICE - APRIL 2022


                         TOTAL DISBURSEMENTS                                                                $652.15




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
                                    1
    GWG Holdings, Inc., et al.,                                      ) Case No. 22-90032 (MI)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

         SUMMARY COVER SHEET TO THE FIFTH INTERIM AND FINAL FEE
      APPLICATION OF KATTEN MUCHIN ROSENMAN LLP FOR ALLOWANCE
        AND PAYMENT OF FEES AND EXPENSES AS ATTORNEYS TO DEBTOR
        GWG HOLDINGS, INC., ON BEHALF OF AND AT THE SOLE DIRECTION
    OF THE INDEPENDENT DIRECTORS, FOR THE (I) FIFTH FEE INTERIM PERIOD
    FROM MAY 1, 2023 THROUGH AND INCLUDING JUNE 20, 2023, AND (II) TOTAL
     FEE PERIOD FROM JUNE 20, 2022 THROUGH AND INCLUDING JUNE 20, 2023

             Name of Applicant:                                          Katten Muchin Rosenman LLP
                                                             Attorneys to Debtor GWG Holdings, Inc., on Behalf
                                                              of and at the Sole Direction of Jeffrey S. Stein and
                                                             Anthony R. Horton,2 as the Independent Directors of
    Applicant’s Role in Case:                                the board of directors of GWGH (the “Board”), and
                                                               members of the Investigations Committee of the
                                                             Board (the “Investigations Committee”) and Special
                                                             Committee of the Board (the “Special Committee”)
    Docket No. of Employment Order(s):                                                  687
    Interim Application (X)             No. __5th __
                                                                       Fifth Interim and Final Application
    Final Application    (X)
                                               Fifth Interim Fee Period
                                                                    Beginning Date                  End of Period
    Time period covered by this Application for
    which interim compensation has not                                May 1, 2023                    June 20, 2023
    previously been awarded:
    Were the services provided necessary to the administration of or beneficial at the time

1
      The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538); GWG DLP
      Funding IC, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
      is 325 N. St. Paul Street, Suite 2650 Dallas, Texas 75201. Further information regarding the Debtors and these
      Chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.
2
      David F. Chavenson served as an Independent Director and member of the Special Committee until his resignation
      from the Board on November 16, 2022.




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    rendered toward the completion of the case? (Y)
    Were the services performed in a reasonable amount of time commensurate with the
    complexity, importance and nature of the issues addressed? (Y)
    Is the requested compensation reasonable based on the customary compensation charged by
    comparably skilled practitioners in other non-bankruptcy cases? (Y)
    Do expense reimbursements represent actual and necessary expenses incurred? (Y)

                                    Compensation Breakdown for Fifth Interim Fee Period
    Total attorney fees requested in this Application:                                                $892,445.50
     Total attorney hours covered by this Application:                                                      738.80

     Average hourly rate for attorneys:                                                                  $1,249.44

     Total paraprofessional fees requested in this Application:                                             $9,785

     Total paraprofessional hours covered by this Application:                                                22.50

     Average hourly rate for paraprofessionals:                                                               $460

     Total fees requested in this Application:                                                       $902,230.503
     Total expense reimbursements requested in this Application:                                      $24,912.684
     Total fees and expenses requested in this Application:                                           $927,143.18
     Total fees and expenses awarded in all prior Applications:                                     $8,640,423.09
     Plan Status: On June 20, 2023, the Court entered an order approving the Plan. The Effective Date of
     the Plan was on August 1, 2023.


     Primary Benefits:
            On June 15, 2023, the Court confirmed the Plan at a fully consensual confirmation hearing. The
    Debtors, Katten, and other creditor constituents worked diligently for over a year to achieve such result.
    Katten’s work on behalf of the Special Committee and Investigations Committee was integral to the post-
    emergence structure embodied in the Plan.
                                                    Total Fee Period

                                                                     Beginning Date                  End of Period
    Time period covered by this Application:                          June 20, 2022                   June 20, 2023
    Were the services provided necessary to the administration of or beneficial at the time
    rendered toward the completion of the case? (Y)
    Were the services performed in a reasonable amount of time commensurate with the
    complexity, importance and nature of the issues addressed? (Y)
    Is the requested compensation reasonable based on the customary compensation charged by

3
      Katten has voluntarily written off timekeepers billing under three hours during the Fifth Interim Fee Period in the
      total amount of $13,869.50 as a courtesy to the Debtors’ estates.
4
      Katten has voluntarily written off Business Meals during the Fifth Interim Fee Period in the total amount of
      $14,441.66 as a courtesy to the Debtors’ estates.

                                                            2

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    comparably skilled practitioners in other non-bankruptcy cases? (Y)
    Do expense reimbursements represent actual and necessary expenses incurred? (Y)

                                        Compensation Breakdown for Total Fee Period
    Total attorney fees requested in this Application:                                            $16,823,049.50
     Total attorney hours covered by this Application:                                                   15,492.00

     Average hourly rate for attorneys:                                                                    $991.04

     Total paraprofessional fees requested in this Application:                                       $189,933.00

     Total paraprofessional hours covered by this Application:                                              488.20

     Average hourly rate for paraprofessionals:                                                               $408

     Total fees requested in this Application:                                                   $17,012,982.505
    Total expense reimbursements requested in this Application:                                      $202,188.966
    Total fees and expenses requested in this Application:                                        $17,215,171.46
    Total fees and expenses awarded in all prior Applications:                                      $8,640,423.09
     Plan Status: On June 20, 2023, the Court entered an order approving the Plan. The Effective Date of
     the Plan was on August 1, 2023.
     Primary Benefits: As attorneys to Debtor GWG Holdings, Inc., on behalf of and at the sole direction of
     the Independent Directors Jeffrey S. Stein and Anthony R. Horton, Katten7 diligently and effectively
     represented the Independent Directors during the period of June 20, 2022 through and including June 20,
     2023 (the “Total Fee Period”) on a wide variety of complex restructuring matters and issues during the
     chapter 11 cases (the “Chapter 11 Cases”), including (a) advising the Special Committee and
     Investigations Committee in matters concerning related parties, including all issues with The Beneficient
     Company Group, L.P.; (b) negotiating with the Debtors, the Bondholder Committee, L Bond
     Management, and the Ad Hoc Committee of Broker/Dealers regarding terms of the Plan; (c) assisting in
     drafting various Plan documents, including the Plan, the Disclosure Statement, the Bondholder
     Statement, the trust agreements and various other documents; (d) participating in mediation sessions
     before United States Bankruptcy Judge David R. Jones; (e) conducting an extensive, months long
     investigation into the Company’s prepetition transactions with related parties, leading to the resignations
     of the Debtors’ Chief Executive Officer and Chief Financial Officer and certain board members; (f)
     facilitating resolutions to contested matters throughout the Chapter 11 Cases, including related to the
     Bondholder Committee’s Standing Motion and Insurance Comfort Motion; (g) preparing for and
     attending hearings throughout the Chapter 11 Cases, and preparing for Mr. Stein’s testimony; (h)
     defending Mr. Stein’s July 15, 2022 and October 10, 2022 depositions; and (i) coordinating with advisors
     for the Plan Proponents to facilitate a consensual confirmation hearing.


5
      As a courtesy to the Debtors’ estates, creditors, and other stakeholders, Katten voluntarily wrote off certain fees
      on each monthly fee statement during the Total Fee Period. Further, during this engagement, certain Katten
      attorneys did not bill all their time.
6
      As a courtesy to the Debtors’ estates, creditors, and other stakeholders, Katten voluntarily wrote off certain
      categories of expenses in each monthly fee statement during the Total Fee Period.
7
      Capitalized terms used in the Summary Cover Sheet but not otherwise defined have the meaning ascribed to such
      terms in the Fee Application.

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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
                                    1
    GWG Holdings, Inc., et al.,                                      ) Case No. 22-90032 (MI)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

        FIFTH INTERIM AND FINAL FEE APPLICATION OF KATTEN MUCHIN
     ROSENMAN LLP FOR ALLOWANCE AND PAYMENT OF FEES AND EXPENSES
     AS ATTORNEYS TO DEBTOR GWG HOLDINGS, INC., ON BEHALF OF AND AT
        THE SOLE DIRECTION OF THE INDEPENDENT DIRECTORS, FOR THE
         (I) FIFTH INTERIM FEE PERIOD FROM MAY 1, 2023 THROUGH AND
            INCLUDING JUNE 20, 2023, AND (II) TOTAL FEE PERIOD FROM
                JUNE 20, 2022 THROUGH AND INCLUDING JUNE 20, 2023

              If you object to the relief requested, you must respond in writing. Unless
              otherwise directed by the Court, you must file your response electronically
              at https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this
              motion was filed. If you do not have electronic filing privileges, you must
              file a written objection that is actually received by the clerk within twenty-
              one days from the date this motion was filed. Otherwise, the Court may
              treat the pleading as unopposed and grant the relief requested.

             Katten Muchin Rosenman LLP (“Katten”), attorneys for debtor GWG Holdings, Inc. (the

“Debtor” or “GWGH” and, together with its debtor affiliates, collectively, the “Debtors” or

“GWG”), on behalf of and at the sole direction of Jeffrey S. Stein and Anthony R. Horton2 (each,

an “Independent Director” and, together, the “Independent Directors”), as the Independent

Directors of the board of directors of GWGH (the “Board”), and members of the Investigations



1
      The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538); GWG DLP
      Funding IC, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
      is 325 N. St. Paul Street, Suite 2650 Dallas, Texas 75201. Further information regarding the Debtors and these
      Chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.
2
      David F. Chavenson served as an Independent Director and member of the Special Committee until his resignation
      from the Board on November 16, 2022.




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Committee of the Board (the “Investigations Committee”) and the Special Committee of the Board

(the “Special Committee”), hereby submits its Fifth Interim and Final Fee Application of Katten

Muchin Rosenman LLP for Allowance and Payment of Fees and Expenses as Attorneys to Debtor

GWG Holdings, Inc., on Behalf of and At the Sole Direction of the Independent Directors, for the

(I) Fifth Interim Fee Period from May 1, 2023 Through and Including June 20, 2023, and (II)

Total Fee Period from June 20, 2022 Through and Including June 20, 2023 (the “Fee

Application”) for (i) allowance and approval of compensation in the amount of $902,230.503 and

reimbursement of actual and necessary expenses in the amount of $24,912.684 that Katten incurred

for the period from May 1, 2023 through and including June 20, 2023 (the “Fifth Interim Fee

Period”), and (ii) allowance and approval on a final basis of compensation in the amount of

$17,012,982.505 and reimbursement of actual and necessary expenses in the amount of

$202,188.966 that Katten incurred for the period from June 20, 2022 through and including June

20, 2023 (the “Total Fee Period”). In support of this Fee Application, Katten submits the

declaration of Steven J. Reisman, a partner at Katten (the “Reisman Declaration”), attached hereto

as Exhibit A and incorporated herein by reference, and respectfully states as follows:

                                            Preliminary Statement

        1.       During the Total Fee Period, Katten diligently and efficiently represented the

Independent Directors with respect to a variety of complex matters and issues in these chapter 11

cases (the “Chapter 11 Cases”), including, without limitation:




3
    Katten has voluntarily written off timekeepers billing under three hours during the Fifth Interim Fee Period in the
    total amount of $13,869.50 as a courtesy to the Debtors’ estates.
4
    Katten has voluntarily written off Business Meals during the Fifth Interim Fee Period in the total amount of
    $14,441.66 as a courtesy to the Debtors’ estates.
5
    As a courtesy to the Debtors’ estates, creditors, and other stakeholders, Katten voluntarily wrote off certain fees
    on each monthly fee statement during the Total Fee Period. Further, during this engagement, certain Katten
    attorneys did not bill all their time.
6
    As a courtesy to the Debtors’ estates, creditors, and other stakeholders, Katten voluntarily wrote off certain
    categories of expenses in each monthly fee statement during the Total Fee Period.

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            a. participating in negotiations on terms of the Debtors’ Further Modified Second
               Amended Joint Chapter 11 Plan, Submitted By the Debtors, the Bondholder
               Committee, and L Bond Management, LLC as Co-Proponents [Docket No. 1678]
               (the “Plan”)7 on behalf of the Independent Directors, and reviewing, analyzing, and
               providing comments on various restructuring documents including the Plan,
               Disclosure Statement, Bondholder Statement, Litigation Trust Agreement, Wind
               Down Trust Agreement, the Schedule of Retained Causes of Action, and other
               Plan-related documents (collectively, the “Plan Documents”), as well as preparing
               materials for the Independent Directors in connection therewith;

            b. working closely with the Debtors’ primary restructuring counsel, Mayer Brown
               LLP (“Mayer Brown”), financial advisor, FTI Consulting, Inc., and investment
               banker, PJT Partners, Inc. (“PJT”) throughout the Chapter 11 Cases regarding,
               among other things, the Debtors’ potential restructuring frameworks, the Debtors’
               operations and management, discovery requests and other matters relating to the
               Investigations Committee’s independent investigation into the Company’s
               prepetition transactions with related parties (the “Investigation”) and the parallel
               investigation by the Official Committee of Bondholders (the “Bondholder
               Committee”), the Vida DIP Facility, and the drafting of and negotiations over the
               Plan Documents and mediation;

            c. conducting meetings with various creditor groups and their respective advisors,
               including the Bondholder Committee, L Bond Management, LLC, and the Ad Hoc
               Committee of Broker/Dealers (the “Ad Hoc Committee”) to address key issues in
               the Chapter 11 Cases, including the Investigation, Plan Documents, and other
               matters mediated pursuant to the Order (I) Appointing a Judicial Meditator, (II)
               Requiring Parties to Maintain Confidentiality of Mediation Communications, and
               (II) Granting Related Relief (the “Mediation Order”) [Docket No. 1323];

            d. reviewing and analyzing various restructuring proposals and negotiating such
               proposals both before and during the mediations before United States Bankruptcy
               Judge David R. Jones on January 30, 2023, January 31, 2023, February 27, 2023,
               February 28, 2023, and June 8, 2023 on behalf of the Independent Directors;

            e. coordinating extensively with the Independent Directors’ independent financial
               advisor, Province, LLC (“Province”), in connection with the Investigation;

            f. submitting over 100 document and information requests to the Debtors in
               connection with the Investigation, including documents relating to The Beneficient
               Company Group L.P. (together with its affiliates, “Beneficient”) and documents
               produced by the Debtors in connection with the investigation by the U.S. Securities
               and Exchange Commission (the “SEC”) and reviewing and analyzing documents
               provided by the Debtors in connection therewith;

            g. submitting document and information requests to other key parties in the Chapter
               11 Cases, including Beneficient, former GWG directors, the Bondholder

7
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Plan.

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            Committee, L Bond Management, and the Ad Hoc Committee, and reviewing and
            analyzing documents provided by such parties in connection therewith;

         h. drafting and issuing the Investigations Committee’s motions, pursuant to Federal
            Rule of Bankruptcy Procedure 2004 (the “2004 Requests”) to former GWG
            directors and former GWG auditors, attending meet-and-confer sessions with
            opposing counsel, and reviewing documents produced by such parties in
            connection with the 2004 Requests;

         i. preparing for and conducting the depositions of eight witnesses in connection with
            the Investigation: (1) Roy Bailey, former GWG director (November 1, 2022); (2)
            Daniel Fine, former GWG director (October 28, 2022, and November 2, 2022); (3)
            David Glaser, former GWG director (October 13, 2022); (4) Brad Heppner, former
            GWG Chairman and current CEO of Beneficient (December 15, 2022 and
            December 16, 2022); (5) Sheldon Stein, former GWG director (October 17, 2022);
            (6) Bruce Zimmerman, former GWG director (October 26, 2022); (7) Rina Parikh
            from Grant Thornton LLP, former GWG auditor (December 12, 2022); and (8)
            Matthew Reiter from Whitley Penn, former GWG auditor (December 21, 2022).

         j. preparing for and conducting 33 interviews of former members of the Debtors’
            management team, former directors, and current and former legal and financial
            professionals, and other individuals involved with GWG and/or Beneficient in
            furtherance of the Investigation;

         k. preparing, in coordination with Province, a comprehensive report for the
            Investigations Committee detailing Katten’s findings from the Investigation;

         l. performing legal research related to issues involving the prepetition historical
            transactions, confirmation-related requirements under the Bankruptcy Code, the
            SEC Investigation, the Insurance Comfort Motion, issues related to the Plan,
            including matters concerning the Investment Company Act of 1940, tax concerns,
            classification, and the Litigation Trust, FOXO’s merger with Delwinds Insurance
            Acquisition Corp. (the “FOXO SPAC”), and Beneficient’s merger with Avalon
            Acquisition Inc. (the “Beneficient SPAC”);

         m. reviewing and analyzing pleadings related to the Motion of the Official Committee
            of Bondholders of GWG Holdings Inc., et al., for Standing to Prosecute Causes of
            Action on behalf of the Debtors’ Estates (the “Standing Motion”) [Docket No.
            1250], the Debtors’ Motion for (I) Entry of an Order Modifying the Automatic Stay
            and Authorizing Use of Estate Property, to the Extent Applicable, to Allow
            Payment, Reimbursement, and/or Advancement of Defense Costs Under Insurance
            Policies and (II) Granting Related Relief (the “Insurance Comfort Motion”)
            [Docket No. 639]; Emergency Motion of the Official Committee of Bondholders to
            Compel the Debtors to Produce Documents in Response to the Committee’s Second
            Request for the Production of Documents [Docket No. 465] (the “Motion to Compel
            Documents”); Debtors’ Emergency Motion for Order (A) Approving Debtors’
            Entry Into Vida Option Agreement in Connection with Financing Transactions and
            (B) Granting Related Relief (the “Vida Motion”) [Docket No. 821], first day
            motions for the Chapter 11 filing of the DLP Entities, and various objections to the

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            Plan and the Disclosure Statement, and conducting meetings with advisors for the
            Debtors, the Bondholder Committee, and other relevant parties regarding the
            foregoing;

         n. analyzing the Standing Motion and the Order on Motion to Seal (the “Order on
            Motion to Seal”) [Docket No. 1386] and preparing the Independent Directors’
            response to the Motion to Seal [Docket No. 850];

         o. negotiating and engaging in discussions among the Bondholder Committee and the
            Debtors to narrow the scope and resolve the Insurance Comfort Motion and the
            Motion to Compel;

         p. preparing Mr. Stein for his deposition testimony taken by counsel to the Bondholder
            Committee related to the Vida DIP Facility and the Debtors' Motion for Entry of an
            Order Authorizing (I) Designation of Jeffrey S. Stein as Chief Restructuring
            Officer, (II) the Appointment of Jeffrey S. Stein and Anthony R. Horton as New
            Independent Directors, and (III) Granting Related Relief (the “Independent
            Director Motion”) [Docket No. 430] and related objection by the Bondholder
            Committee [Docket No. 535], and defending Mr. Stein at the July 15, 2022 and
            October 10, 2022, depositions;

         q. attending the depositions of each witness in connection with the Vida DIP Facility
            and the Independent Director Motion: (1) Jeffrey S. Stein (July 15, 2022 and
            October 10, 2022); (2) Peter Laurinaitis of PJT (October 10, 2022); (3) Murray
            Holland, former Chief Executive Officer (July 14, 2022 and October 22, 2022); and
            (4) Timothy Evans, former Chief Financial Officer (July 14, 2022), and analyzing
            issues addressed therein;

         r. preparing numerous presentations and related materials for the Independent
            Directors throughout the Chapter 11 Cases, including with respect to the Shared
            Services Agreement, Vida DIP Facility, the Investigation, the resignation of
            GWG’s Chief Executive Officer, Chief Financial Officer, and Board members, the
            SEC disclosure issues, the Disclosure Statement and Plan, the Standing Motion and
            Order on Motion to Seal, the Insurance Comfort Motion, matters related to the
            FOXO SPAC and Beneficient SPAC, and various issues mediated pursuant to the
            Mediation Order;

         s. preparing for and attending numerous hearings throughout the Chapter 11 Cases,
            including with respect to the Independent Director Motion, Vida DIP Facility, the
            Insurance Comfort Motion, Company management and Board resignations and
            disclosures to the SEC, the Standing Motion, the Disclosure Statement, and Plan
            confirmation;

         t. preparing the Independent Directors for potential in-court testimony in advance of
            the hearings on the Disclosure Statement (April 19, 2023 and April 21, 2023) and
            Plan confirmation (June 15, 2023);




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            u. conducting meetings on a consistent basis with the Investigations Committee and
               Special Committee to apprise the Independent Directors of the foregoing matters
               and issues, and preparing presentation materials and minutes to document same;

            v. preparing retention applications for Katten and Province, as well as monthly fee
               statements and interim fee applications; and

            w. attending to calls, correspondence, and other matters in respect of all of the
               foregoing.

       2.      With respect to each of these matters and issues, and as described in further detail

below, the professional services Katten performed were reasonable, necessary, and appropriate.

In light of the complexity of the issues involved in these Chapter 11 Cases, Katten maintained a

leanly staffed team comprised of highly qualified attorneys that completed the tasks with which

they were charged in an efficient and effective manner. Accordingly, Katten respectfully requests

that the Court grant the relief requested herein.

                                      Jurisdiction and Venue

       3.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b). The Debtor confirms its consent to the entry of a final order by

the Court in connection with this Fee Application.

       4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.      The bases for the relief requested herein are sections 327(a) and 330 of title 11 of

the United States Code (the “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), rules 2014-1 and 2016-1 of the Bankruptcy Local

Rules for the Southern District of Texas (the “Bankruptcy Local Rules”), the Order Granting the

Application of Debtor GWG Holdings Inc., for Entry of an Order Authorizing Employment and

Retention of Katten Muchin Rosenman LLP as Counsel to Debtor GWG Holdings, Inc., on Behalf

of and at the Sole Direction of Its Independent Directors, Effective as of June 20, 2022

[Docket No. 687] (the “Retention Order”), and the Corrected Order (I) Establishing Procedures

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for Interim Compensation and Reimbursement of Expenses for Professionals, and (II) Granting

Related Relief [Docket No. 378] (the “Interim Compensation Order”).

                                          Background

  I.   Commencement of the Chapter 11 Cases

       6.      On April 20, 2022, GWGH, GWG Life, LLC, and GWG Life USA, LLC

(collectively, the “Initial Debtors”) filed voluntary petitions for relief under chapter 11 of the

Bankruptcy Code initiating the Initial Debtors’ chapter 11 cases. On April 20, 2022, the Court

entered an order authorizing the joint administration of the Initial Debtors’ chapter 11 cases

[Docket No. 18]. On October 31, 2022 (the “DLP Petition Date”), GWG DLP Funding IV, LLC,

GWG DLP Funding Holdings VI, LLC, and GWG DLP Funding VI, LLC (collectively, the “DLP

Entities” and together with the Initial Debtors, the “Debtors”) filed their own voluntary petitions

for relief under chapter 11 of the Bankruptcy Code. On the DLP Petition Date, the Court entered

an order authorizing the joint administration of the Initial Debtors’ and the DLP Entities’ cases

[Docket No. 970]. The Debtors have continued to operate and manage their businesses as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       7.      On May 9, 2022, the Office of the United States Trustee for the Southern District

of Texas appointed the Bondholder Committee solely with respect to the Initial Debtors [Docket

No. 214]. No trustee or examiner has been appointed in the chapter 11 cases.

       8.      A description of the Debtors’ businesses, the reasons for commencing the Chapter

11 Cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are

set forth in the Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in

Support of the Debtors' Chapter 11 Petitions and First Day Motions, filed on April 20, 2022

[Docket No. 17] and incorporated herein by reference.

       9.      On June 9, 2022, the Court entered the Interim Compensation Order.



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 II.   Appointment of the Independent Directors

       10.      On June 19, 2022 (as subsequently amended and restated on July 13, 2022, and

July 17, 2022) the Board unanimously adopted resolutions (a) designating Jeffrey S. Stein as Chief

Restructuring Officer, effective June 1, 2022, (b) appointing Jeffrey S. Stein and Anthony R.

Horton as Independent Directors of the Board, (c) forming the Investigations Committee and

appointing Jeffrey S. Stein and Anthony R. Horton as the sole members thereof, (d) forming the

Special Committee and appointing Jeffrey S. Stein, Anthony R. Horton, and David Chavenson as

the sole members thereof, and (e) delegating specific authorities to the Investigations Committee

and Special Committee, respectively (as subsequently amended and restated, the “Resolutions”).

       11.      On June 20, 2022, the Debtors filed the Independent Director Motion. In support

of the Independent Director Motion, the Debtors submitted the Declaration of Jeffrey S. Stein,

Managing Partner of Stein & Holly Advisors Inc., in Support of the Debtors' Motion for Entry of

an Order Authorizing (I) Designation of Jeffrey S. Stein as Chief Restructuring Officer, (II) the

Appointment of Jeffrey S. Stein and Anthony R. Horton as New Independent Directors, and (III)

Granting Related Relief [Docket No. 431] and the Declaration of Anthony R. Horton, CEO and

Managing Director of AR Horton Advisors, LLC, in Support of the Debtors' Motion for Entry of

an Order Authorizing (I) Designation of Jeffrey S. Stein as Chief Restructuring Officer, (II) the

Appointment of Jeffrey S. Stein and Anthony R. Horton as New Independent Directors, and (III)

Granting Related Relief [Docket No. 432], each filed on June 20, 2022, and incorporated herein

by reference.

       12.      On July 18, 2022, the Court entered an order approving the Independent Director

Motion and authorizing the Debtors to, among other things, (1) appoint the new Independent

Directors on the terms set forth in the Resolutions and the Directors’ respective engagement

agreements, (2) compensate the Independent Directors pursuant to the terms of their respective



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engagement agreements and the Resolutions, as applicable, and (3) retain Mr. Stein as Chief

Restructuring Officer [Docket No. 594].

        13.      At the hearing on the Independent Director Motion on July 18, 2022, the Court

stated that, as a result of the appointment of the Independent Directors and formation of the

Investigations Committee, the Court had “extremely high confidence that the transactions that

occurred prior to the petition and the events that have occurred in these cases will be fully

scrutinized by completely independent people” and, moreover, “if there has been any wrongdoing

by any party with respect to the handling of the affairs of [the Debtors], that can be independently

prosecuted by counsel who is charged with doing that.”8

        14.      As of June 20, 2022, the Independent Directors engaged Katten to assist the

Independent Directors in connection with their duties on the Board and (a) with respect to Messrs.

Stein, Horton and Chavenson, their duties as members of the Special Committee9 and (b) with

respect to Messrs. Stein and Horton, their duties as members of the Investigations Committee.

Pursuant to that certain engagement letter between the Debtor and Katten, dated as of June 20,

2022 (the “Engagement Letter”), a copy of which is attached hereto as Exhibit 1 to Exhibit B and

incorporated herein by reference, Katten agreed to provide advice and legal services to the

Independent Directors in connection with these Chapter 11 Cases and such other matters as the

Independent Directors may direct the Debtors to request and Katten may agree to handle.

        15.      On July 29, 2023, Katten filed the Application to Employ Katten Muchin Rosenman

LLP as Counsel to Debtor GWG Holdings, Inc., on Behalf of and at the Sole Direction of the

Independent Directors [Docket No. 649] (the “Retention Application”).




8
    Hr’g Tr., 100:22-25, 101:17-20, July 18, 2022.
9
    David F. Chavenson served as an Independent Director and member of the Special Committee until his resignation
    from the Board on November 16, 2022.

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       16.     On August 23, 2023, the Court entered the Retention Order attached hereto as

Exhibit B.

       17.     The Retention Order authorizes GWGH to compensate and reimburse Katten in

accordance with the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and

the Interim Compensation Order. The Retention Order also authorizes GWGH to compensate

Katten at Katten’s hourly rates charged for services of this type and to reimburse Katten for

Katten’s actual and necessary out-of-pocket expenses incurred, subject to application to this Court.

The particular terms of Katten’s engagement are detailed in the Engagement Letter.

       18.     The Retention Order authorizes GWGH to retain Katten to provide certain legal

services consistent with the Retention Application, Retention Order, and Engagement Letter.

III.   Plan Confirmation

       19.     On June 20, 2023, the Court entered the Order (I) Confirming the Debtors’ Further

Modified Second Amended Joint Chapter 11 Plan, Submitted By the Debtors, the Bondholder

Committee, and L Bond Management, LLC as Co Proponents, and (II) Granting Related Relief

[Docket No. 1952] (the “Confirmation Order”) confirming the Plan. The Confirmation Order

requires Katten, as a Professional asserting a Professional Fee Claim, to file a final fee application

no later than 60 days after the entry of the Confirmation Order.

                                       No Adverse Interest

       20.     As disclosed in the Declaration of Steven J. Reisman in Support of the Application

of Debtor GWG Holdings, Inc., for Entry of an Order Authorizing Employment and Retention of

Katten Muchin Rosenman LLP as Counsel to Debtor GWG Holdings, Inc., on Behalf of and At the

Sole Direction of the Independent Directors, Effective as of June 20, 2022, attached as Exhibit B

to the Retention Application (collectively, with any supplemental declarations filed thereafter, the

“Declarations”), Katten: (a) does not hold or represent an interest adverse to the Debtors or their



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respective estates with respect to the matters on which Katten was retained, and (b) has no

connection to the Debtors, their affiliates, their creditors, or other parties in interest, except as may

be disclosed in the Declarations.

        21.        Katten may have represented, may currently represent, and may in the future

represent parties in interest in connection with matters unrelated to these Chapter 11 Cases. In the

Declarations, Katten disclosed its connections to parties in interest that it has been able to ascertain

using its reasonable efforts.

        22.        Katten performed the services for which it is seeking compensation on behalf of

and at the sole direction of the Independent Directors, and not on behalf of any committee, creditor,

or other entity.

        23.        Except as set forth in the Declarations, Katten has received no payment and no

promises for payment from any source other than the Debtors for services provided in any capacity

whatsoever in connection with these Chapter 11 Cases.

        24.        Pursuant to Bankruptcy Rule 2016(b), Katten has not shared, nor has Katten agreed

to share, (a) any compensation it has received or may receive with another party or person other

than with the partners, counsel, and associates of Katten or (b) any compensation another person

or party has received or may receive.

                        Summary of Compliance with Interim Compensation Order

        25.        This Fee Application has been prepared in accordance with the Interim

Compensation Order.

        26.        Pursuant to the Interim Compensation Order, Katten has submitted thirteen

monthly fee statements during the pendency of the Chapter 11 Cases. A summary of Katten’s

monthly fee statements, including any payments that Katten has received in accordance with the

Interim Compensation Order, is set forth in the chart below:



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         Monthly Fee                             Fees Paid          Expenses       Expenses Paid       Total Balance
                          Fees Incurred
      Statement Period                            (80%)             Incurred          (100%)              Owed
     June 20, 2022 –
     June 30, 2022        $271,829.00            $271,829.00             $0.00              $0.00              $0.00
     (Docket No. 904)
     July 1, 2022 –
     July 31, 2022       $1,239,256.00         $1,239,256.00         $4,693.60         $4,693.60               $0.00
     (Docket No. 954)
     August 1, 2022 –
     August 31, 2022     $2,138,783.00         $2,138,783.00         $3,284.03         $3,284.03               $0.00
     (Docket No. 1125)
     September 1, 2022 –
     September 30, 2022 $2,247,350.00          $2,247,350.00        $13,361.91        $13,361.91               $0.00
     (Docket No. 1286)
     October 1, 2022 –
     October 31, 2022    $2,704,578.00         $2,704,578.00        $17,287.55        $17,287.55               $0.00
     (Docket No. 1491)
     November 1, 2022 –
     November 30, 2022 $2,588,743.50           $2,070,994.80        $52,991.65        $52,991.65        $517,748.70
     (Docket No. 1684)
     December 1, 2022 –
     December 31, 2022 $1,440,802.50                    $0.00       $22,252.04              $0.00     $1,463,054.54
     (Docket No. 2121)
     January 1, 2023 –
     January 31, 2023    $1,039,241.00                  $0.00       $22,790.93              $0.00     $1,062,031.93
     (Docket No. 2124)
     February 1, 2023 –
     February 28, 2023    $794,260.00                   $0.00        $5,473.03              $0.00       $799,733.03
     (Docket No. 2129)
     March 1, 2023 –
     March 31, 2023       $893,009.00                   $0.00       $21,006.48              $0.00       $914,015.48
     (Docket No. 2138)
     April 1, 2023 –
     April 31, 2023       $752,900.00                   $0.00       $14,135.06              $0.00       $767,035.06
     (Docket No. 2139)
     May 1, 2023 –
     May 31, 2023         $483,428.00                   $0.00        $8,533.04              $0.00       $491,961.04
     (Docket No. 2141)
     June 1, 2023 –
     June 20, 2023        $418,802.50                   $0.00       $16,379.64              $0.00       $435,182.14
     (Docket No. 2142)
     Balance Owing                                                                                    $6,450,761.92

           27.      Katten seeks (i) allowance and approval of compensation in the amount of

$902,230.5010 and reimbursement of actual and necessary expenses in the amount of $24,912.6811

that Katten incurred during the Fifth Interim Period, and (ii) allowance and approval on a final


10
       Katten has voluntarily written off timekeepers billing under three hours during the Fifth Interim Fee Period in the
       total amount of $13,869.50 as a courtesy to the Debtors’ estates.
11
       Katten has voluntarily written off Business Meals during the Fifth Interim Fee Period in the total amount of
       $14,441.66 as a courtesy to the Debtors’ estates.

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basis of compensation in the amount of $17,012,982.50 for professional services rendered on

behalf of and at the sole direction of the Independent Directors, and reimbursement of actual and

necessary expenses in the amount of $202,188.96 incurred during the Total Fee Period. During

the pendency of these Chapter 11 Cases, Katten voluntarily wrote off certain fees and certain

categories of expenses on each monthly fee statement. Further, as a courtesy to the Debtors’

estates, creditors, and other stakeholders, during this engagement, certain Katten attorneys did not

bill all their time.

         28.      During the Fifth Interim Fee Period, Katten attorneys and paraprofessionals

expended a total of 761.30 hours for which compensation is requested. During the Total Fee

Period, Katten attorneys and paraprofessionals expended a total of 15,980.20 hours for which

compensation is requested.

         29.      In accordance with the Interim Compensation Order, as of the date hereof, Katten

has received payments totaling $10,764,409.54 ($10,672,790.80 of which was for services

provided and $91,618.74 of which was for reimbursement of expenses) for the Total Fee Period.

Accordingly, by this Fee Application, and to the extent such amounts have not been paid by the

time of the hearing on this Fee Application, Katten seeks payment of the remaining $6,450,761.92,

which amount represents the entire amount of unpaid fees and expenses incurred between June 20,

2022, and June 20, 2023.12

                        Fees and Expenses Incurred During Total Fee Period

     A. Customary Billing Disclosures

         30.      Katten’s hourly rates are set at a level designed to compensate Katten fairly for the

work of its attorneys and paraprofessionals and to cover fixed and routine expenses. The hourly



12
     This amount consists of: (i) 100 percent of fees and expenses for the period from December 1, 2022 through and
     including June 20, 2023 in the amount of $5,933,013.22; and (ii) the 20 percent holdback for fees for the period
     of November 1,2022 through and including November 30, 2022 in the amount of $517,748.70.

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rates and corresponding rate structure utilized by Katten in these Chapter 11 Cases are equivalent

to the hourly rates and corresponding rate structure used by Katten for other restructuring matters,

as well as similar complex corporate, securities, and litigation matters whether in court or

otherwise, regardless of whether a fee application is required. The rates and rate structure reflect

that such restructuring and other complex matters typically are national in scope and typically

involve great complexity, high stakes, and severe time pressures. For the convenience of the Court

and all parties in interest, attached hereto as Exhibit C is Katten’s budget and staffing plan for this

Total Fee Period and attached hereto as Exhibit D is a summary of blended hourly rates for

timekeepers who billed to non-bankruptcy matters and blended hourly rates for timekeepers who

billed to the Debtor during the Total Fee Period.

   B. Fees Incurred During Total Fee Period

       31.     In the ordinary course of Katten’s practice, Katten maintains computerized records

of the time expended to render the professional services required by GWGH and its estate, on

behalf of and at the sole direction of the Independent Directors. For the convenience of the Court

and all parties in interest, attached hereto as Exhibit E is a summary of fees incurred and hours

expended during the Total Fee Period, setting forth the following information:

   •   the name of each attorney and paraprofessional for whose work on these Chapter 11 Cases
       compensation is sought;

   •   each attorney’s year of bar admission and area of practice concentration;

   •   the aggregate time expended and fees billed by each attorney and each
       paraprofessional during the Total Fee Period;

   •   the hourly billing rate for each attorney and each paraprofessional at
       Katten’s current billing rates; and

   •   the number of rate increases since the inception of the case.




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       C. Expenses Incurred During the Total Fee Period.

          32.     In the ordinary course of Katten’s practice, Katten maintains a record of expenses

  incurred in the performance of the professional services required by GWGH and its estate, on

  behalf of and at the sole direction of the Independent Directors, and for which reimbursement is

  sought. Katten currently charges $0.10 per page for standard black and white duplication and

  $0.25 per page for color duplication in its offices in the United States. Katten does not charge its

  clients for incoming facsimile transmissions.

          33.     For the convenience of the Court and all parties in interest, attached hereto as

  Exhibit F is a summary setting forth the total amount of reimbursement sought with respect to

  each category of expenses for which Katten is seeking reimbursement for the Total Fee Period.

                Summary of Legal Services Rendered During the Total Fee Period

          34.     As discussed above, during the Total Fee Period, Katten provided extensive and

  important professional services on behalf of and at the sole direction of the Independent Directors

  in connection with these Chapter 11 Cases. These services were necessary to address a multitude

  of critical issues in support of the Independent Directors’ delegated authority.

          35.     To provide a meaningful summary of Katten’s services provided on behalf of and

  at the sole direction of the Independent Directors, Katten has established, in accordance with its

  internal billing procedures, certain subject matters categories (each, a “Matter Category”) in

  connection with these Chapter 11 Cases. The following is a summary of the fees and hours billed

  for each Matter Category in the Total Fee Period:

Matter                                                        Hours                  Total Compensation
                Project Category Description
Number                                               Budgeted         Billed     Budgeted            Billed
   2      Retention and Fee Applications                470             464.80   $ 350,000.00   $     301,110.00
   4      DIP                                           250             223.50     257,000.00         263,984.50
   5      Employee Matters                              125              86.10     125,000.00          90,172.00
   7      Contested Matters, Adversary Proceedings    1,250             907.90   1,400,000.00       1,068,174.00
  10      Business Operations and Governance          3,600           3,278.40   4,000,000.00       3,700,430.00


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Matter                                                       Hours                 Total Compensation
                Project Category Description
Number                                              Budgeted         Billed     Budgeted          Billed
   11     Case Administration                           70           46.00        60,000.00         41,458.50
   12     Claims Administration and Objections         150          153.00       175,000.00        169,044.50
   14     Tax Matters                                   85           76.00        75,000.00         64,933.00
   19     Hearings                                     750          657.20       850,000.00        785,227.00
   21     Investigation                              8,400        8,354.40     8,500,000.00      8,388,116.50
   22     Plan/Disclosure Statement/Confirmation     1,750        1,530.30     2,250,000.00      1,884,786.50
   28     Non-Working Travel                           250          202.60       315,000.00        255,546.00
Totals                                                           15,980.20                    $ 17,012,982.50

          36.     The following is a summary, by Matter Category, of the most significant

   professional services provided by Katten during the Total Fee Period. This summary is organized

   in accordance with Katten’s internal system of matter numbers.             The detailed descriptions

   demonstrate that Katten was heavily involved in performing services on behalf of and at the sole

   direction of the Independent Directors, on a daily basis, often including night and weekend work,

   to meet the needs of the Independent Directors in these Chapter 11 Cases. A schedule setting forth

   a description of the Matter Categories utilized in this case, the number of hours expended by Katten

   partners, associates, and paraprofessionals by matter, and the aggregate fees associated with each

   matter is attached hereto as Exhibit G.

          37.     In addition, Katten’s computerized records of time expended providing

   professional services and expenses to GWG and their estate, on behalf of and at the sole direction

   of the Independent Directors, are attached hereto as Exhibit H.

                  (a)     Retention and Fee Matters [Matter No. 2]

                          Total Fees:  $301,110.00
                          Total Hours: 464.80

          38.     This Matter Category includes time spent by Katten attorneys and paraprofessionals

   during the Total Fee Period with respect to preparing the Retention Application and Katten’s

   monthly fee statements in accordance with the Interim Compensation Order. This preparation

   entailed, among other things, close review of time records during each month of the Total Fee


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Period to limit disclosure of privileged and confidential information. Katten attorneys also spent

time reviewing the potential parties in interest list received from the Debtors and information

compiled from Katten professionals for purposes of preparing necessary disclosures in connection

with Katten’s retention.

               (b)    DIP Financing [Matter No. 4]

                      Total Fees:  $263,984.50
                      Total Hours: 223.50

       39.     This Matter Category includes time spent by Katten attorneys during the Total Fee

Period providing services related to reviewing and analyzing issues concerning the debtor-in-

possession financing, including participating in calls with the Debtors’ advisors, the Bondholder

Committee, Quinn Emanuel Urquhart & Sullivan, LLP, counsel to Obra Capital, Inc., Cravath,

Swaine & Moore LLP, counsel to Fifth Season Investments LLC (“Fifth Season”), and other

parties regarding the Chapford DIP Facility, the Vida DIP Facility, and negotiations related to the

foregoing. This Matter Category also includes time spent by Katten attorneys analyzing and

providing comments to the Final DIP Order (I) Authorizing the Debtors to Obtain Postpetition

Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and

Providing Claims with Superpriority Administrative Expense Status, (IV) Modifying the Automatic

Stay, and (V) Granting Related Relief [Docket No. 606] as well as to the Emergency Motion for

Order (A) Approving Debtors' Entry Into Vida Option Agreement in Connection with Financing

Transactions and (B) Granting Related Relief [Docket No. 821] and the related objection by the

Bondholder Committee [Docket No. 852].




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               (c)    Adversary Proceedings, Contested Matters [Matter 7]

                      Total Fees:  $1,068,174.00
                      Total Hours: 907.90

       40.     This Matter Category includes time spent by Katten attorneys during the Total Fee

Period providing services related to contested matters between the Debtors and certain of their

creditor constituencies. Katten spent time analyzing the Standing Motion, drafting a response to

the Standing Motion on behalf of the Investigations Committee, and attending various calls with

the Bondholder Committee and Mayer Brown regarding the Standing Motion. Katten also

provided comments to the Independent Director Motion and engaged in various discussions with

the Bondholder Committee to resolve its objection to the Independent Director Motion. This

Matter Category also includes time spent by Katten attorneys reviewing the Insurance Comfort

Motion, conducting legal research and drafting memoranda on issues relating to the Insurance

Comfort Motion, and conferring with the Debtors’ advisors, the Bondholder Committee, and

Willkie Farr & Gallagher LLP. In addition, Katten spent time reviewing and providing comments

on the Debtors’ Complaint for Declaratory Relief [Docket No. 1779] against Fifth Season and the

related pleadings as well as conferring with the Debtors’ and the Bondholder Committee’s

advisors.

               (d)    Business Operations and Governance [Matter No. 10]

                      Total Fees:  $3,700,430.00
                      Total Hours: 3,278.40

       41.     This Matter Category includes time spent by Katten attorneys during the Total Fee

Period advising the Independent Directors with respect to corporate governance matters as well as

the business affairs of the Debtors and the Chapter 11 Cases generally. Katten spent time preparing

for and attending regular meetings and calls, multiple times per week, with the Debtors’

management, legal and financial advisors, and various creditor groups’ legal and financial



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advisors, and preparing summaries of the same for the Independent Directors. This Matter

Category also includes Katten’s review, on behalf of the Independent Directors, of the Shared

Services Agreement and quarterly invoices, and analyses of the FOXO SPAC and the Beneficient

SPAC. In addition, Katten conducted regular meetings with the Special Committee, generally on

a weekly basis or more often as required by the circumstances of the Chapter 11 Cases, and

prepared minutes documenting all such meetings. In connection with these meetings, Katten

prepared detailed agendas and materials setting forth updates in connection with the Chapter 11

Cases.

               (e)    Case Administration [Matter No. 11]

                      Total Fees:  $41,458.50
                      Total Hours: 46.00

         42.   This Matter Category includes time spent by Katten attorneys and paraprofessionals

during the Total Fee Period on various administrative and logistical tasks in connection with these

Chapter 11 Cases, such as creating and updating case calendars and work-in-progress reports to

ensure that tasks were accomplished timely, efficiently and without duplication, as well as

coordinating the filing and service of certain documents. This Matter Category also includes time

spent by Katten attorneys reviewing Province’s retention application and engagement letter and

providing comments to monthly fee statements and fee applications for Province.

               (f)    Hearings [Matter No. 19]

                      Total Fees:  $785,227.00
                      Total Hours: 657.20

         43.   This Matter Category includes time spent by Katten attorneys preparing for and

attending Bankruptcy Court hearings during the Total Fee Period on behalf of the Independent

Directors, and attending to matters arising out of such hearings. Specifically, Katten prepared for

and attended hearings in the Chapter 11 Cases held on June 23, 2022, June 30, 2023, July 18, 2022,


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July 19, 2022, August 29, 2022, September 29, 2022, October 11, 2022, October 27, 2022,

November 2, 2022, November 14, 2022, December 1, 2022, December 16, 2022, March 20, 2023,

March 23, 2023, March 28, 2023, March 31, 2023, April 19, 2023, May 1, 2023, May 24, 2023,

June 13, 2023, and June 15, 2023 during the Total Fee Period.

               (g)    Investigation [Matter 21]

                      Total Fees:  $8,388,116.50
                      Total Hours: 8,354.40

       44.     This Matter Category includes time spent by Katten attorneys and paraprofessionals

during the Total Fee Period conducting the Investigation on behalf of the Investigations

Committee.    Specifically, in furtherance of the Investigation, Katten attorneys spent time:

(a) collecting and reviewing documents responsive to Katten’s document and information

requests, the 2004 Requests, the Bondholder Committee’s discovery requests, and documents

produced as part of the SEC’s investigation into GWG from, among other sources, the Debtors,

the Debtors’ advisors, Beneficient, and certain current and former directors and officers of GWGH;

(b) preparing for and conducting 33 interviews and depositions of eight witnesses, including

interviews and depositions of members of the Debtors’ former management team, former directors,

and current and former legal and financial professionals involved with GWG and Beneficient; (c)

attending additional interviews conducted by the Bondholder Committee; (d) attending various

meetings virtually and in person with Company management regarding GWG’s history, business

operations, and key historical transactions; (e) analyzing SEC filings and prepetition transaction

documents; (f) communicating with the Debtors’ advisors regarding diligence requests and

institutional information for the Investigation; (g) conferring regularly with the Independent

Directors to obtain their views and input and to provide them with regular updates on the

Investigation; (h) collaborating regularly with the Bondholder Committee’s advisors (including in

weekly meetings between Katten and the Bondholder Committee’s advisors) regarding potential


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claims and matters of concern to the Investigation, and diligently pursuing avenues of inquiry

suggested by the Bondholder Committee’s advisors; and (j) attending in-person mediations

pursuant to the Mediation Order relevant to the Investigation and potential estate claims and causes

of action.

       45.     In the course of conducting the Investigation, and at the direction of the

Independent Directors, Katten submitted 109 targeted diligence requests to the Debtors seeking

documents and information relevant to the Investigation, including, among other requests, copies

of board materials and minutes, corporate governance documents, agreements with related parties

(e.g., Beneficient), fairness and valuation opinions, accounting information, and internal company

communications. Katten received and reviewed more than 350,800 documents produced in

response to the Independent Directors’ requests and document requests from the Bondholder

Committee.

       46.     Katten prepared detailed analyses and advised the Independent Directors regarding

potential estate claims subject to the Investigation. Katten also conducted extensive legal research

regarding each potential claim at issue.

       47.     Katten had frequent calls and meetings with Province regarding financial analyses

and related work product, and coordinated with Province to produce various work product and

analyses throughout the Total Fee Period for the Independent Directors’ review. Katten, in

coordination with Province, prepared a comprehensive report detailing Katten and Province’s

findings from the Investigation.

               (h)     Plan/Disclosure Statement/Confirmation

                       Total Fees:  $1,884,786.50
                       Total Hours: 1,530.30

       48.     This Matter Category includes time spent by Katten attorneys providing services to

the Independent Directors regarding the Plan, Disclosure Statement, and confirmation. Katten


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carefully monitored and contributed to all Plan and Disclosure Statement developments. As part

of this work, Katten reviewed and provided comments on drafts of various restructuring proposals,

the Plan, Disclosure Statement, and Plan Supplement documents, including the Litigation Trust

and Wind Down Trust Agreements and Schedule of Retained Causes of Action, and other Plan

Documents. Katten analyzed various issues regarding implementation of the Plan, including

regulatory and tax matters, and advised the Independent Directors accordingly. Further, Katten

coordinated with the Debtors’ various advisors, and apprised the Independent Directors of progress

throughout these Chapter 11 Cases related to the foregoing. Katten also participated in several

mediation sessions and helped broker the agreements memorialized in the Plan.

                         Actual and Necessary Expenses Incurred by Katten

       49.     As set forth in Exhibit H attached hereto, and as summarized in Exhibit G attached

hereto, Katten seeks reimbursement of a total of $202,188.96 for expenses incurred on behalf of

and at the sole direction of the Independent Directors during the Total Fee Period. These charges

are intended to reimburse Katten’s direct operating costs, which are not incorporated into the

Katten hourly billing rates. Katten charges external copying and computer research at the

provider’s cost without markup. Only clients who actually use services of the types set forth in

Exhibit H of this Fee Application are separately charged for such services.

                   Reasonable and Necessary Services Provided by Katten

A.     Reasonable and Necessary Fees Incurred in Providing Services to the Independent
       Directors

       50.     The foregoing professional services provided by Katten on behalf of and at the sole

direction of the Independent Directors during the Total Fee Period were reasonable, necessary, and

appropriate.

       51.     Many of the services Katten partners and associates performed were provided by

Katten’s Insolvency and Restructuring Department. Katten has a prominent practice in this area


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and enjoys a national reputation for its specialized expertise. The attorneys at Katten have

extensive experience acting as estate professionals in many large chapter 11 cases.

       52.     In addition, due to the facts and circumstances of these chapter 11 cases, attorneys

from Katten’s Litigation Department and Katten’s Corporate Department were heavily involved

with Katten’s representation of the Independent Directors. Both of these practice groups also enjoy

a national reputation for their skill and knowledge advising and advocating for their clients, who

operate across the globe in virtually all market sectors.

B.     Reasonable and Necessary Expenses Incurred in Providing Services to the
       Independent Directors

       53.     The actual expenses incurred in providing professional services were necessary,

reasonable, and justified under the circumstances to serve the needs of the Independent Directors.

Due to the location of the Debtors’ businesses, their counsel, and other parties in interest in relation

to Katten’s offices, frequent multiparty telephone conferences involving numerous parties were

required as well as various in-person meetings, interviews, and depositions in New York and

Texas, and multiple Bankruptcy Court hearings held in Houston, Texas. On many occasions, the

exigencies and circumstances of these Chapter 11 Cases required overnight delivery of documents

and other materials. Katten has made every effort to minimize its disbursements in these Chapter

11 Cases. The actual expenses incurred in providing professional services were necessary,

reasonable, and justified under the circumstances to serve the needs of the Independent Directors

in these Chapter 11 Cases.

       54.     Katten regularly reviews its bills to ensure that GWGH is only billed for services

that were actual and necessary and, where appropriate, prorates expenses. In that regard, Katten

will waive certain fees and reduce its expenses if necessary. As a courtesy to the Debtors’ estates,

creditors, and other stakeholders, Katten voluntarily wrote off certain fees and certain categories

of expenses in each monthly fee statement during the Total Fee Period. Consequently, Katten does


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not seek payment of any fees or reimbursement of any expenses that were waived or reduced, in

connection with this Fee Application. Further, throughout the Chapter 11 Cases, certain Katten

attorneys did not bill all their time.

         Katten’s Requested Compensation and Reimbursement Should be Allowed

        55.     Section 330 of the Bankruptcy Code provides that a court may award a professional

employed under section 327 of the Bankruptcy Code “reasonable compensation for actual

necessary services rendered . . . and reimbursement for actual, necessary expenses.” 11 U.S.C.

§ 330(a)(1). Section 330 also sets forth the criteria for the award of such compensation and

reimbursement:

                In determining the amount of reasonable compensation to be
                awarded, the court should consider the nature, extent, and the value
                of such services, taking into account all relevant factors, including—

                      (a) the time spent on such services;

                      (b) the rates charged for such services;

                      (c) whether the services were necessary to the administration
                          of, or beneficial at the time at which the service was
                          rendered toward the completion of, a case under this title;

                      (d) whether the services were performed within a reasonable
                          amount of time commensurate with the complexity,
                          importance, and nature of the problem, issue, or task
                          addressed;

                      (e) with respect to a professional person, whether the person
                          is board certified or otherwise has demonstrated skill and
                          experience in the bankruptcy field; and

                      (f) whether the compensation is reasonable based on the
                          customary compensation charged by comparably skilled
                          practitioners in cases other than cases under this title.

11 U.S.C. § 330(a)(3).

        56.     Katten respectfully submits that the services for which it seeks compensation in this

Fee Application were, at the time rendered, necessary for and beneficial to the Independent


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Directors and were rendered to protect and preserve the GWGH estate. Katten further believes

that it performed the services for the Independent Directors economically, effectively, and

efficiently, and that Katten’s work benefited GWGH and its estate and stakeholders. Katten further

submits that the compensation requested herein is reasonable in light of the nature, extent, and

value of such services to the Independent Directors.

       57.     During the Total Fee Period, Katten’s hourly billing rates for attorneys ranged from

$580 to $1,755. The hourly rates and corresponding rate structure utilized by Katten in these

Chapter 11 Cases are equivalent to the hourly rates and corresponding rate structure used by Katten

for restructuring, workout, bankruptcy, insolvency, and comparable matters, and similar complex

corporate, securities, and litigation matters, whether in court or otherwise, regardless of whether a

fee application is required. These rates and the rate structure reflect that such matters are typically

national in scope and involve great complexity, high stakes, and severe time pressures—all of

which were present in these Chapter 11 Cases.

       58.     Moreover, Katten’s hourly rates are set at a level designed to compensate Katten

fairly for the work of its attorneys and paraprofessionals and to cover certain fixed and routine

overhead expenses. Hourly rates vary with the experience and seniority of the individuals

assigned. These hourly rates are subject to periodic adjustments to reflect economic and other

conditions and are consistent with the rates charged elsewhere.

       59.     In sum, Katten respectfully submits that the professional services provided by

Katten on behalf of and at the sole direction of the Independent Directors during these chapter 11

cases were necessary and appropriate given the complexity of these Chapter 11 Cases, the time

expended by Katten, the nature and extent of Katten’s services provided, the value of Katten’s

services, and the cost of comparable services outside of bankruptcy, all of which are relevant




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factors set forth in section 330 of the Bankruptcy Code. Accordingly, Katten respectfully submits

that the compensation sought herein is warranted and should be approved.

                               Reservation of Rights and Notice

       60.     It is possible that some professional time expended or expenses incurred during the

Total Fee Period are not reflected in the Fee Application. Katten reserves the right to include such

amounts in future fee applications. Notice of this Fee Application will be provided in accordance

with the Interim Compensation Order.

                                        No Prior Request

       61.     No prior application for the relief requested herein has been made to this or any

other court.



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       WHEREFORE, Katten respectfully requests that the Court enter an order, substantially in

the form attached hereto (a) granting the Fee Application and awarding Katten final allowance and

approval of compensation for professional and paraprofessional services rendered during the (i)

Fifth Interim Fee Period in the amount of $902,230.50, and reimbursement of actual, reasonable,

and necessary expenses incurred in the Fifth Interim Fee Period in the amount of $24,912.68, and

(ii) Total Fee Period in the amount of $17,012,982.50, and reimbursement of actual, reasonable,

and necessary expenses incurred in the Total Fee Period in the amount of $202,188.96; (b)

authorizing and empowering the Debtors to remit payment to Katten for such fees and expenses;

and (c) granting such other relief as is appropriate under the circumstances.




 Dated: August 21, 2023                    Respectfully submitted,
        New York, New York
                                           /s/ Steven J. Reisman
                                           KATTEN MUCHIN ROSENMAN LLP
                                           Steven J. Reisman (admitted pro hac vice)
                                           Cindi M. Giglio (admitted pro hac vice)
                                           Marc B. Roitman (admitted pro hac vice)
                                           50 Rockefeller Plaza
                                           New York, NY 10020-1605
                                           Telephone: (212) 940-8700
                                           Email: sreisman@katten.com
                                                   cgiglio@katten.com
                                                   marc.roitman@katten.com

                                           - and -

                                           Daniel D. Barnowski (admitted pro hac vice)
                                           2900 K Street, NW
                                           North Tower, Suite 200
                                           Washington, DC 20007-5118
                                           Telephone: (202) 625-3661
                                           Email: dan.barnowski@katten.com

                                           Counsel to Jeffrey S. Stein and Anthony R. Horton, the
                                           Independent Directors of GWG Holdings, Inc.




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                                     Certificate of Service

        I certify that on August 21, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Steven J. Reisman
                                                      Steven J. Reisman




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                                   Exhibit A

                              Reisman Declaration




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
                                    1
    GWG Holdings, Inc., et al.,                                      ) Case No. 22-90032 (MI)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

 DECLARATION OF STEVEN J. REISMAN IN SUPPORT OF THE FIFTH INTERIM
  AND FINAL FEE APPLICATION OF KATTEN MUCHIN ROSENMAN LLP FOR
  ALLOWANCE AND PAYMENT OF FEES AND EXPENSES AS ATTORNEYS TO
DEBTOR GWG HOLDINGS, INC., ON BEHALF OF AND AT THE SOLE DIRECTION
OF THE INDEPENDENT DIRECTORS, FOR THE (I) FIFTH FEE INTERIM PERIOD
 FROM MAY 1, 2023 THROUGH AND INCLUDING JUNE 20, 2023, AND (II) TOTAL
  FEE PERIOD FROM JUNE 20, 2022 THROUGH AND INCLUDING JUNE 20, 2023

             I, Steven J. Reisman, hereby declare the following under penalty of perjury:

             1.     I am a partner of the law firm of Katten Muchin Rosenman LLP, located at 50

Rockefeller Plaza, New York, New York 10020 (“Katten”).2                            I submit this declaration in

connection with the Fifth Interim and Final Fee Application of Katten Muchin Rosenman LLP for

Allowance and Payment of Fees and Expenses as Attorneys to Debtor GWG Holdings, Inc., on

Behalf of and At the Sole Direction of the Independent Directors for the (I) Fifth Interim Fee

Period from May 1, 2023 Through and Including June 20, 2023, and (II) Total Fee Period from

June 20, 2022 Through and Including June 20, 2023 (the “Fee Application”). I am the lead

attorney from Katten working on the above-captioned Chapter 11 Cases.


1
      The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538); GWG DLP
      Funding IC, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
      is 325 N. St. Paul Street, Suite 2650 Dallas, Texas 75201. Further information regarding the Debtors and these
      Chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.
2
      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the Fee
      Application or the Plan, as applicable.




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          2.   I am a member in good standing of the Bar of the State of New York, and I have

been admitted to practice in the United States District Courts for the Southern District of New

York, Eastern District of New York, District of New Jersey, District of Connecticut, Eastern

District of Michigan, and Eastern District of Wisconsin, the United States Courts of Appeals for

the Second Circuit and Third Circuit, and the United States Supreme Court. I have been admitted

pro hac vice in these Chapter 11 Cases. There are no disciplinary proceedings pending against

me.

          3.   I have personally performed legal services rendered by Katten as attorneys to the

Debtor on behalf of and at the sole direction of the Independent Directors, and am familiar with

the work performed on behalf of the Independent Directors by the lawyers and other personnel at

Katten.

          4.   To the best of my knowledge, information, and belief, the statements contained in

the Fee Application are true and correct. In addition, I believe that the Fee Application complies

with Bankruptcy Local Rule 2016-1. In connection therewith, I hereby certify that:

               a)     to the best of my knowledge, information, and belief, formed after
                      reasonable inquiry, the fees and disbursements sought in the Fee
                      Application are permissible under the relevant rules, court orders, and
                      Bankruptcy Code provisions, except as specifically set forth herein;

               b)     except to the extent disclosed in the Fee Application, the fees and
                      disbursements sought in the Fee Application are billed at rates customarily
                      employed by Katten and generally accepted by Katten’s clients, and none
                      of the professionals seeking compensation varied their hourly rate based on
                      the geographic location of the Debtors’ cases;

               c)     Katten is seeking compensation with respect to the approximately 273.80
                      hours and $121,457.50 in fees spent reviewing or revising time records for




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                            privilege or confidential information and preparing, reviewing, and revising
                            invoices during the Total Fee Period;3

                   d)       in providing a reimbursable expense, Katten does not make a profit on that
                            expense, whether the service is performed by Katten in-house or through a
                            third party;

                   e)       in accordance with Rule 2016(a) of the Federal Rules of Bankruptcy
                            Procedure and 11 U.S.C. § 504, no agreement or understanding exists
                            between Katten and any other person for the sharing of compensation to be
                            received in connection with the above cases except as authorized pursuant
                            to the Bankruptcy Code, Bankruptcy Rules, and Bankruptcy Local Rules;
                            and

                   f)       all services for which compensation is sought were professional services to
                            GWG, on behalf of and at the sole direction of the Independent Directors,
                            and not on behalf of any other person.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge, information, and belief.

    New York, New York                                      /s/ Steven J. Reisman
    Dated: August 21, 2023                                 Steven J. Reisman
                                                           Partner
                                                           Katten Muchin Rosenman LLP




3
      This is limited to work involved in preparing and editing billing records that would not be compensable outside
      of bankruptcy and does not include reasonable fees for preparing a fee application.



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                                   Exhibit B

                                Retention Order




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                                                   830                United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                             August 23, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
                                    1
    GWG Holdings, Inc., et al.,                                      ) Case No. 22-90032 (MI)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

ORDER GRANTING THE APPLICATION OF DEBTOR GWG HOLDINGS INC., FOR
  ENTRY OF AN ORDER AUTHORIZING EMPLOYMENT AND RETENTION OF
KATTEN MUCHIN ROSENMAN LLP AS COUNSEL TO DEBTOR GWG HOLDINGS,
 INC., ON BEHALF OF AND AT THE SOLE DIRECTION OF ITS INDEPENDENT
              DIRECTORS, EFFECTIVE AS OF JUNE 20, 2022
                        [Related to Docket No. 649]

             Upon the application of GWG Holdings, Inc. (the “Debtor” and with its Debtor affiliates,

the “Debtors”), pursuant to sections 327(a) and 330 of the Bankruptcy Code; Bankruptcy Rules

2014 and 2016; and Bankruptcy Local Rules 2014-1 and 2016-1, for the entry of an order (this

“Order”) authorizing the Debtor to retain and employ Katten Muchin Rosenman LLP (“Katten”)

as counsel to the Debtor, on behalf of and at the sole direction its Independent Directors, effective

as of June 20, 2022 (the “Application”) 2; and the Court having reviewed the Application, the

Reisman Declaration, and the Stein Declaration; and the Court having found that the Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and the Court having found that the

Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found

that venue of this proceeding and the Application in this district is proper pursuant to 28 U.S.C.



1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
      location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
      St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these Chapter 11
      Cases is available at the website of the Debtors’ claims and noticing agent: https://donlinrecano.com/gwg.
2
      Capitalized terms used in this Order but not immediately defined have the meanings given to such terms in the
      Application.




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§§ 1408 and 1409; and the Court having found based on the representations made in the

Application, in the Reisman Declaration, and in the Stein Declaration, that, (a) Katten does not

hold or represent an interest adverse to the Debtors’ estates; (b) Katten has no connection with the

Debtors, their affiliates, their creditors, the U.S. Trustee, any person employed in the office of the

U.S. Trustee, the United States Bankruptcy Judges in the Southern District of Texas, or any other

entity with an actual or potential interest in these Chapter 11 Cases or their respective attorneys or

accountants, except as set forth in the Reisman Declaration; (c) Katten is not a creditor, equity

security holder, or insider of the Debtors; (d) none of Katten’s attorneys are or were, within two

years of the Petition Date, a director, officer, or employee of the Debtors; and (e) Katten neither

holds nor represents an interest materially adverse to the Debtors or its estates by reason of any

direct or indirect relationship to, connection with, or interest in the Debtors, or for any other reason,

except as set forth in the Reisman Declaration; and the Court having found that the relief requested

in the Application is in the best interests of the Debtors’ estates, its creditors, and other parties in

interest; and the Court having found that the Debtors provided adequate and appropriate notice of

the Application under the circumstances and that no other or further notice is required; and the

Court having reviewed the Application; and the Court having determined that the legal and

factual bases set forth in the Application establish just cause for the relief granted herein; and

any objections to the relief requested herein having been withdrawn or overruled on the

merits; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.      The Debtor is authorized to retain and employ Katten effective as of June 20, 2022

to render independent services, on behalf of and at the sole direction of the Independent Directors,




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in accordance with the terms and conditions set forth in the Application and the Engagement Letter

attached hereto as Exhibit 1, as modified by this Order, and in furtherance of the delegation of

authority to the Independent Directors set forth in the Resolutions, as approved by Order of the

Court on July 18, 2022 [Docket No. 594].

         2.    Katten shall apply for compensation for professional services rendered and

reimbursement of expenses in accordance with the procedures set forth in sections 330 and 331 of

the Bankruptcy Code, applicable provisions of the Bankruptcy Rules, the Local Bankruptcy Rules,

and any fee and expense guidelines of this Court. Katten also intends to comply with the U.S.

Trustee’s request for information and additional disclosures, both in connection with the

Application and the interim and final fee applications to be filed by Katten in these Chapter 11

Cases.

         3.    Katten shall include in its fee applications, among other things, contemporaneous

time records setting forth a description of the services rendered by each professional and the

amount of time spent on each date by each such individual in rendering services on behalf of the

Independent Directors in one-tenth (.1) hour increments.

         4.    Retention pursuant to section 327(a) of the Bankruptcy Code is appropriate given

the specific scope of the retention.

         5.    Notwithstanding anything to the contrary in the Application, Katten shall not be

entitled to reimbursement for fees and expenses incurred in connection with any objection to its

fees absent further order of this Court.

         6.    Katten shall file a supplemental declaration with the Court and provide no less than

ten days business days’ notice to the Debtors, the U.S. Trustee, and any official committee that

may be appointed in these Chapter 11 Cases prior to any increases in the rates set forth in the



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Application. Any such supplemental declaration shall explain the basis for the requested rate

increases in accordance with Bankruptcy Code Section 330(a)(3)(F) and state whether the Debtors

and the Independent Directors have consented to the rate increase. The U.S. Trustee retains all

rights to object to any hourly rate increases on all grounds, including the reasonableness standard

set forth in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to section 330 of the Bankruptcy Code.

       7.      Katten shall use its reasonable efforts to avoid any duplication of services provided

by any of the Debtors’ other retained professionals in these Chapter 11 Cases.

       8.      Katten will review its files periodically during the pendency of these Chapter 11

Cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Katten will use reasonable efforts to identify

such further developments and will promptly file a supplemental declaration, as required by

Bankruptcy Rule 2014(a).

       9.      Katten shall not charge a markup with respect to fees billed by contract attorneys

who are hired by Katten to provide services, and shall ensure that any such contract attorneys are

subject to conflict checks and disclosures in accordance with the requirements of the Bankruptcy

Code and Bankruptcy Rules.

       10.     To the extent the Application, the Reisman Declaration, or the Stein Declaration is

inconsistent with this Order, the terms of this Order shall govern.

       11.     The Debtor is authorized to take all actions necessary to effectuate the relief granted

in this Order in accordance with the Application.

       12.     The notice requirements of Bankruptcy Rule 6004(a) are deemed waived.

       13.     Notice of the Application as provided therein is deemed to be good and sufficient



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notice of such Application, and the requirements of the Local Bankruptcy Rules are satisfied by

the contents of the Application.

       14.     The terms and conditions of this Order are immediately effective and

enforceable upon its entry.

       15.     The Court retains jurisdiction with respect to all matters arising from or relating to

the interpretation, implementation, and enforcement of this Order.



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 Dated:
          August
          October23,
                  17,2022
                      2018
                      2022
        Houston, Texas                               MARVIN ISGUR
                                                                                                        
                                                     UNITED STATES BANKRUPTCY JUDGE
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                                     Exhibit 1

                             Katten Engagement Letter




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                                                                                                                         50 Rockefeller Plaza
                                                                                                                         New York, NY 10020-1605
                                                                                                                         212.940.8800 tel
                                                                                                                         www.katten.com


                                                                                                                         STEVEN J. REISMAN
                                                                                                                         sreisman@katten.com
                                                                                                                         212.940.8700 direct


                                                                                     Dated as of June 20, 2022

            VIA EMAIL: jstein@steinadvisorsllc.com                                   VIA EMAIL: tony.horton48@yahoo.com

            Jeffrey S. Stein                                                         Anthony R. Horton
            Independent Director of                                                  Independent Director of
            GWG Holdings, Inc.                                                       GWG Holdings, Inc.
            Stein & Holly Advisors Inc.                                              2612 Independence Road
            42 River Wind Road                                                       Colleyville, TX 76034
            New Canaan, CT 06840

            VIA EMAIL: dchavenson@outlook.com

            David F. Chavenson
            Independent Director of
            GWG Holdings, Inc.
            325 N. St. Paul Street
            Suite 2650
            Dallas, TX 75201

            Re: Engagement Agreement

            Dear Jeff, Tony and David:

                    We are pleased to have the opportunity to represent you (the “Client”) in your capacity as
            independent directors on the board of directors (the “Board”) of GWG Holdings, Inc. (the
            “Company”) and, as applicable to each of you, members of the Special Committee of the Board
            (the “Special Committee”) and the Investigation Committee of the Board (the “Investigation
            Committee”), to provide advice and representation in connection with the chapter 11 cases of In
            re GWG Holdings, Inc. and its debtor affiliates (collectively, the “Chapter 11 Cases”), jointly
            administered at Bankruptcy Case No: 22-90032, pending before the Honorable Judge Marvin Isgur
            in the United States Bankruptcy Court for the Southern District of Texas (Houston Division) (the
            “Bankruptcy Court”) and such other matters as the Client may request and Katten Muchin
            Rosenman LLP (the “Firm”) may agree to handle from time to time (collectively, the “Matter”).
            This letter and the enclosed Terms of Engagement, which contains a provision on conflicts of
            interest, describe the basis on which the Firm will provide legal services to the Client.



                                                           KATTEN MUCHIN ROSENMAN LLP
                                      CENTURY CITY      CHARLOTTE           CHICAGO         DALLAS         LOS ANGELES
                                        NEW YORK       ORANGE COUNTY             SHANGHAI          WASHINGTON, DC
                                             A limited liability partnership including professional corporations
                                                     LONDON: KATTEN MUCH N ROSENMAN UK LLP


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            Jeffrey S. Stein, Anthony Horton and David Chavenson
            Dated as of June 20, 2022
            Page 2


                    The Company has agreed to be responsible to the Firm for all reasonable legal fees and
            expenses incurred in this Matter as described in this engagement agreement. This undertaking by
            the Company is made with the express understanding that the sole professional obligation of
            myself and the Firm is to the Client. The Firm is not required to disclose any legal strategy, theory,
            plan of action, or the like to the Company, and the payment of legal fees by the Company to the
            Firm in no way depends upon such disclosure. In essence, no professional relationship will arise
            between the Company and the Firm as a result of the rendering of legal services by us to the Client
            or by the payment of legal fees and expenses by the Company. In addition, the Client shall control
            any attorney-client, work product, or other privilege belonging to the Company in connection with
            the Firm’s work or privileged communications on the Matter.

                   Nevertheless, certain confidential communications between the Firm and counsel for the
            Companies may, with your consent, occur. These confidential communications will be subject to
            any and all applicable privileges, to the extent provided under law and agreed upon by the Firm
            and counsel for the Companies. Once again, however, the payment of legal fees and expenses
            under this agreement is neither conditioned upon nor dependent upon the Firm’s cooperation with
            counsel for the Companies or any other party.

                   On a monthly basis, the Firm will send a detailed invoice to the Client providing a fulsome
            description for all timekeeper entries and a summary of work performed during the billing period.
            The Firm will apply for compensation for professional services rendered and reimbursement of
            expenses incurred in this matter in compliance with 11 U.S.C. §§ 330 and 331 and applicable
            provisions of the Federal Rules of Bankruptcy Procedure, the local rules of the Bankruptcy Court,
            the Order (I) Establishing Procedures for Interim Compensation and Reimbursement of Expenses
            for Professionals, and (II) Granting Related Relief [Docket No. 378], and any other applicable
            procedures and orders of the Bankruptcy Court.

                     I will be the lawyer at the firm with the primary responsibility for the Matter and understand
            that it is your expectation, as well as my own intention, that I be involved in managing all aspects
            of this engagement. I will be assisted by Cindi Giglio, Dan Barnowski, Geoffrey King, and such
            other partners, associates, and other members of the Firm as appropriate. As indicated in the Terms
            of Engagement, our fees are based upon our hourly rates unless otherwise noted herein.

                    Please review the Terms of Engagement (which immediately follow the signature page),
            with the assistance of independent counsel if you wish, and let me know if you have any questions
            about them. If all the terms are satisfactory, please indicate your consent by signing this letter and
            returning it to me. However, your continuing instructions in this matter will amount to your
            acceptance of the terms of this letter, including the Terms of Engagement (collectively, the
            “Terms”). All parties to this agreement agree that a digital signature shall be effective to prove
            each party’s agreement to the Terms. Furthermore, the parties agree that the Terms may be proven




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            Jeffrey S. Stein, Anthony Horton and David Chavenson
            Dated as of June 20, 2022
            Page 3


            through an electronic copy in digital format, and that no “original” hard-copy document need be
            retained to prove the Terms.

                     Based on a review of the Firm’s conflict database, the Firm currently represents a former
            employee in matters related to certain of the Company’s accounting matters and investment
            products (the “Existing Client”). Out of an abundance of caution, any attorneys of the Firm who
            represent the Existing Client will not be involved in representing you in connection with this
            Matter, and the Firm will establish an ethical screen, including, without limitation, implementing
            appropriate information safeguards, to ensure compliance with the foregoing in connection with
            this Matter. You agree that the Firm may represent the Existing Client in matters related to the
            Company. You also confirm that your agreement to this waiver is voluntary and that you intend
            for it to be effective and enforceable and for the Firm to rely upon it.

                    A schedule of the Firm’s standard hourly rates is attached as Exhibit A. The Firm’s
            disbursements that are billed on a per-unit basis are attached as Exhibit B. The Firm’s wiring
            instructions are attached as Exhibit C, and the Firm’s W-9 Taxpayer Certification is attached as
            Exhibit D.

                    Thank you for allowing us the privilege of this representation. We value and appreciate
            the trust and confidence you have placed in us and we assure you we will do our best to see that
            your expectations are satisfied.

                        My best.
                                                                         Sincerely,



                                                                         Steven J. Reisman

            w/attachments

            cc:         Thomas S. Kiriakos, Esq. (w/attachments, via email: tkiriakos@mayerbrown.com)
                        Louis S. Chiappetta, Esq. (w/attachments, via email: lchiappetta@mayerbrown.com)
                               (Mayer Brown LLP)
                        Cindi Giglio, Esq. (w/attachments, via email: cgiglio@katten.com)
                        Geoffrey M. King, Esq. (w/attachments, via email: geoff.king@katten.com)
                        Dan Barnowski, Esq. (w/attachments, via email: dan.barnowski@katten.com)
                               (Katten Muchin Rosenman LLP)




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            Jeffrey S. Stein, Anthony Horton and David Chavenson
            Dated as of June 20, 2022
            Page 4


            This letter and the Terms of Engagement are agreed to:

            JEFFREY S. STEIN,
            INDEPENDENT DIRECTOR OF
            GWG HOLDINGS, INC.



            By:
            Name: Jeffrey S. Stein
            Title: Independent Director
                   Dated as of June 20, 2022

            ANTHONY R. HORTON,
            INDEPENDENT DIRECTOR OF
            GWG HOLDINGS, INC.



            By:
            Name: Anthony Horton
            Title: Independent Director
                   Dated as of June 20, 2022

            DAVID F. CHAVENSON,
            INDEPENDENT DIRECTOR OF
            GWG HOLDINGS, INC.



            By:
            Name: David F. Chavenson
            Title: Independent Director
                   Dated as of June 20, 2022




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            Jeffrey S. Stein, Anthony Horton and David Chavenson
            Dated as of June 20, 2022
            Page 5


            Acknowledged and agreed to:

            GWG HOLDINGS, INC., a Delaware corporation



            By:

            Name: Jeffrey S. Stein

            Title: Chief Restructuring Officer

                        Dated as of June 20, 2022




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                                           KATTEN MUCHIN ROSENMAN LLP
                                              TERMS OF ENGAGEMENT

            The information below describes the terms that apply to the legal services provided for you by
            Katten Muchin Rosenman LLP (the “Firm”). We encourage you to discuss any of these Terms
            with us at any time. If modifications to the Terms are needed, you should discuss that with us so
            that agreement on changes can be reached and reduced to writing. All references to “you” or
            “your” means only the client or clients identified in our engagement letter. Individuals or entities
            that are related to or affiliated with you, such as partners, officers, directors, stockholders,
            parent companies, related companies, or family members, are not clients, unless we
            otherwise agree in writing.

            I.      Scope of Representation. The scope of the work we will do for you is limited to the
            description stated in our engagement letter. Any changes or additions to the scope of our work,
            which we would be pleased to consider, must be agreed to and memorialized by letter or email.
            Unless that description states otherwise, our engagement does not include responsibility for:
            (1) review of your insurance policies to determine the possibility of coverage for our fees and costs
            or for the claim asserted against you, (2) notification of your insurance carriers about a matter, (3)
            advice to you about your disclosure obligations concerning a matter under the federal securities
            laws or any other applicable law, or (4) advice to you about tax issues that relate to a matter. If
            we agree to represent you in additional matters, we will do so in writing by letter or email, and the
            Terms of our engagement will remain the same for these additional matters unless changed by
            agreement in writing.

            Additionally, if in response to your request or by requirement of lawful process we: testify; gather
            and/or produce documents; respond to document hold or production requests; or respond to any
            other requests in connection with possible, threatened or actual proceedings commenced by third
            parties that relate to our representation of you, you agree to pay us our reasonable fees and costs
            incurred.

            II.    Staffing. Steven J. Reisman will have the primary responsibility for our relationship. We
            assign additional lawyers and other personnel when needed based upon the type of work and the
            appropriate experience level required.

            III.    Client Responsibilities. You agree to provide us with all information that we believe is
            necessary or appropriate to fulfill our professional responsibilities in this matter and to cooperate
            with us in matters such as fact investigation, preparation of pleadings, discovery responses,
            settlement conferences, etc. You will designate one or more persons to give us instructions and
            authority to receive our requests and inquiries. You further agree that without our express written
            consent, you will not use our name or the fact of your engagement of us in any form of advertising
            or solicitation of business.

            IV.         Financial Arrangements.

                        A.     Fees and Expenses. Our fees are based primarily upon the hourly rates of our
                        lawyers and other personnel in effect when the services are performed. These rates change
                        periodically based upon economic factors and the experience level of our personnel. We




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                        are affiliated with Katten Muchin Rosenman UK LLP of London, England, and if we obtain
                        advice or services on your behalf from that firm, we will include their time and expenses
                        on our bill.

                        Expenses include items such as consultants, experts, filing fees, court reporting fees, travel
                        costs, overnight or other special mail services, messenger services, photocopies, long
                        distance telephone, outgoing faxes, research service charges (e.g., LEXIS), secretarial and
                        other staff overtime charges (when required to meet the needs of the matter), and other
                        special services such as document imaging. Certain of these charges are adjusted to include
                        administrative and overhead expenses incurred by the Firm to provide the billed service.
                        With respect to costs incurred and payable to third parties, such as court reporters or
                        experts, it is our usual policy to forward those bills to you for payment directly to the third
                        party, and you agree to pay those fees directly to the provider. As an accommodation to
                        you, however, we may advance those costs on your behalf and include them in our monthly
                        bills. Some large disbursements may be forwarded to you for direct payment. Some
                        charges may not be in the system at the time of monthly billing and will appear on a later
                        bill.

                        B.      Fee Deposits. The amount of any fee deposit required in this engagement is set
                        forth in the engagement letter, which is not an estimate of the total costs of the
                        representation, nor is it a maximum fee. This fee deposit will be used to pay our fees and
                        expenses when they come due to the extent not timely paid. We will pay our monthly
                        invoices using the fee deposit when earned, unless you already have paid the invoice or
                        dispute the amount of our invoice before that time. You agree that you will maintain the
                        fee deposit balance at the amount agreed in the engagement letter. Accordingly, while we
                        will pay our invoices from the fee deposit as set forth above, you agree to maintain the
                        agreed balance by either paying each invoice within 20 days of mailing or by replenishing
                        the fee deposit in a like amount. In the event our fees and expenses exceed the retainer
                        deposited with us, we will bill you for the excess. We may also request, and you agree to
                        provide, additional fee advances from time to time based on our estimates of future work
                        to be undertaken. If you fail to maintain the balance of the fee deposit when requested or
                        to pay promptly any additional fees requested, we reserve the right to cease performing
                        further work and withdraw from the representation.

                        C.     Billing and Payment. We generally forward our statements monthly; however, we
                        may request payment more frequently, such as on a weekly or bi-weekly basis. The
                        statements will include a brief description of the work performed, the date the work was
                        performed, the time required to do the work, and the expenses incurred. Payment is due
                        within 20 days of mailing of our invoice. We reserve the right to terminate our
                        representation of clients who do not pay promptly. We do not and cannot guarantee the
                        outcome of any matter, and payment of our fees and disbursements is not conditioned on
                        any particular outcome.

            V.     Electronic Communication. The use of email can be an efficient means of
            communication, and we use it often in communicating with clients. Some clients also use instant
            messaging as a means of communication. However, these electronic communications can be
            delayed or blocked (for example, by anti-spam software) or otherwise not transmitted. You must



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            not assume that an email or instant message sent to us was actually opened and read by us unless
            you receive a non-automated reply message indicating that we have read your message.

            VI.     Responses to Auditors’ Inquiries. We are frequently asked to provide information to
            auditing firms regarding client legal matters and we respond to those inquiries with the same level
            of care and professionalism used to handle the client’s other legal work. We will accordingly
            charge for those services at the same rates. When you make a written request that we provide
            information to an auditing firm, we will deem your request to be your consent for us to disclose
            the requested information on your behalf. Additionally, when an auditing firm makes a written
            request for information on your behalf, that request will be deemed to be your consent for us to
            disclose that information to the auditing firm.

            VII. Conflicts of Interest Issues. As you know, we are a large general services law firm with
            many clients and with offices located in Charlotte, North Carolina; Chicago, Illinois; Dallas,
            Texas; Los Angeles, California (Century City and Downtown); New York, New York; Orange
            County, California; Washington D.C.; and Shanghai, China, and we have an affiliate in London,
            England. It is possible that, during the course of our engagement, an existing or future client may
            seek to hire the Firm in connection with an actual or potential transaction or pending or potential
            litigation or other dispute resolution proceeding in which such other client’s interests are or
            potentially may become adverse to your interests.

            Because the duty of loyalty would otherwise prevent the Firm from being adverse to a current
            client, rules of professional conduct prevent the Firm from accepting such engagements during the
            Firm’s representation of you absent informed consent by you and the waiver of the duty of
            loyalty. Notwithstanding any affirmative consent and waiver, the Firm will not undertake any
            such representation unless we first reasonably determine that we will be able to provide competent
            and diligent representation to both of the affected clients. We also will continue to maintain the
            confidentiality of the confidential information you provide to us in the course of the Firm’s
            engagement by you, and will not use such information for any purpose except for the benefit of,
            and on behalf of, you without your written consent.

            Potential adverse consequences may result from the Firm’s representing parties that are adverse to
            you. These may include a perception that the Firm’s loyalty and independence of judgment with
            respect to you are impaired. Also, the Firm’s representation of parties adverse to you may come
            at a time when it would harm your interests to terminate the services of the Firm, or after
            expenditures of fees and costs to the Firm that might need to be replicated by new counsel. The
            Firm encourages you to have this conflicts waiver reviewed by independent counsel acting on your
            behalf before agreeing to these Terms of Engagement.

            Further, in the course of our representation of you, it may be necessary for our lawyers to analyze
            or address their professional duties or responsibilities or those of the Firm, and to consult with the
            Firm’s General Counsel, Deputy General Counsel, Conflicts Counsel, or other lawyers in doing
            so. To the extent we are addressing our duties, obligations or responsibilities to you in those
            consultations, it is possible that a conflict of interest might be deemed to exist as between our Firm
            and you. As a condition of this engagement, you waive any conflict of interest that might be
            deemed to arise out of any such consultations. You further agree that these consultations are
            protected from disclosure by the Firm’s attorney-client privilege. Nothing in the foregoing shall



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            diminish or otherwise affect our obligation to keep you informed of material developments in your
            representation, including any conclusions arising out of such consultations to the extent that they
            affect your interests.

            VIII. Arbitration of Disputes. At the prior request of the United States Trustee in other cases,
            this paragraph has been removed.

            IX.     Conclusion of Representation. Our representation of you will terminate when we send
            you our final statement for services rendered in this matter. We may also terminate our
            representation for any reason consistent with rules of professional responsibility, including
            conflicts of interest or your failure to pay our fees and expenses. Our representation may also be
            terminated upon your request. Following termination, any nonpublic information you have
            supplied to us which is retained by us will be kept confidential in accordance with applicable rules
            of professional responsibility. Once our representation is concluded, we will not be obligated to
            take any steps such as keeping track of deadlines, filing papers, pursuing appeals, or monitoring
            or advising you about changes in the law or circumstances that might bear upon the concluded
            matter.

            X.     Disposition of Client Files. Upon conclusion of your representation, we may return to
            you your original papers, documents and/or other property that you provided to the Firm during
            our engagement. You agree to accept the return of such documents and/or property. If you so
            request, we will also provide to you, at your expense, copies or originals of your complete file. We
            reserve the right to make, at our expense, copies of all documents generated or received by us in
            the course of our representation of you. The Firm will not provide copies or originals of the Firm
            Administrative or Matter Administration files pertaining to the matter, which will be retained by
            the Firm. All such documents retained by the Firm, including client files (including any original
            documents and/or property that we attempted unsuccessfully to return to you) and Firm
            Administrative or Matter Administration files, will be transferred to the person responsible for
            administering our records retention program. For various reasons, including the minimization of
            unnecessary storage expenses, we reserve the right to destroy or otherwise dispose of any
            documents or other materials retained by us within a reasonable time, but not less than seven (7)
            years after the matter is closed. We will not destroy, discard or otherwise dispose of any such
            documents without first providing you with thirty (30) days’ prior written notice.




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                                                    EXHIBIT A

                                                     RATES


                                    PROFESSIONALS                 STANDARD RANGE

                        Partner                              $835 - $1795

                        Associate                            $300 - $935

                        Counsel and Special Staff            $460 - $1,230

                        Of Counsel                           $735 - $1,440

                        Paralegal                            $90 - $650




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                                                      EXHIBIT B

                                                  PER UNIT EXPENSES



                                   Description                        Cost per page

                        Fax                                              $1.60
                        Photocopy Costs                                  $ .20
                        Photocopy – Wide Format                          $1.00
                        Color Printing / Copies                          $ .25




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                                                  EXHIBIT C

                                       KATTEN MUCHIN ROSENMAN LLP

                                           WIRE INSTRUCTIONS




            Bank:               JP Morgan Chase Bank
                                1211 Avenue of the Americas
                                New York, New York 10036
                                Attn: Mindy Drogos
                                Phone 1-847-398-4102

            Account Name:       Katten Muchin Rosenman LLP
                                Operating Account

            Bank ABA#:

            Account Number:

            SWIFT Code:

            Ref:                Jeffrey Stein, Anthony Horton and David Chavenson / GWG Holdings




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                                    Exhibit B

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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                   )
In re:                                                             ) Chapter 11
                                                                   )
                                 1
GWG Holdings, Inc., et al.,                                        ) Case No. 22-90032 (MI)
                                                                   )
                          Debtors.                                 ) (Jointly Administered)
                                                                   )

ORDER GRANTING THE APPLICATION OF DEBTOR GWG HOLDINGS INC., FOR
  ENTRY OF AN ORDER AUTHORIZING EMPLOYMENT AND RETENTION OF
KATTEN MUCHIN ROSENMAN LLP AS COUNSEL TO DEBTOR GWG HOLDINGS,
 INC., ON BEHALF OF AND AT THE SOLE DIRECTION OF ITS INDEPENDENT
              DIRECTORS, EFFECTIVE AS OF JUNE 20, 2022
                        [Related to Docket No. 649]

         Upon the application of GWG Holdings, Inc. (the “Debtor” and with its Debtor affiliates,

the “Debtors”), pursuant to sections 327(a) and 330 of the Bankruptcy Code; Bankruptcy Rules

2014 and 2016; and Bankruptcy Local Rules 2014-1 and 2016-1, for the entry of an order (this

“Order”) authorizing the Debtor to retain and employ Katten Muchin Rosenman LLP (“Katten”)

as counsel to the Debtor, on behalf of and at the sole direction its Independent Directors,

effective as of June 20, 2022 (the “Application”)2; and the Court having reviewed the

Application, the Reisman Declaration, and the Stein Declaration; and the Court having found

that the Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and the Court

having found that the Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Application in this district is proper


1
    The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
    location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
    St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these Chapter 11
    Cases is available at the website of the Debtors’ claims and noticing agent: https://donlinrecano.com/gwg.
2
    Capitalized terms used in this Order but not immediately defined have the meanings given to such terms in the
    Application.




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pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found based on the

representations made in the Application, in the Reisman Declaration, and in the Stein

Declaration, that, (a) Katten does not hold or represent an interest adverse to the Debtors’

estates; (b) Katten has no connection with the Debtors, their affiliates, their creditors, the U.S.

Trustee, any person employed in the office of the U.S. Trustee, the United States Bankruptcy

Judges in the Southern District of Texas, or any other entity with an actual or potential interest in

these Chapter 11 Cases or their respective attorneys or accountants, except as set forth in the

Reisman Declaration; (c) Katten is not a creditor, equity security holder, or insider of the

Debtors; (d) none of Katten’s attorneys are or were, within two years of the Petition Date, a

director, officer, or employee of the Debtors; and (e) Katten neither holds nor represents an

interest materially adverse to the Debtors or its estates by reason of any direct or indirect

relationship to, connection with, or interest in the Debtors, or for any other reason, except as set

forth in the Reisman Declaration; and the Court having found that the relief requested in the

Application is in the best interests of the Debtors’ estates, its creditors, and other parties in

interest; and the Court having found that the Debtors provided adequate and appropriate notice

of the Application under the circumstances and that no other or further notice is required; and the

Court having reviewed the Application and having heard statements in support of the

Application at a hearing held before the Court (the “Hearing”); and the Court having determined

that the legal and factual bases set forth in the Application and at the Hearing establish just cause

for the relief granted herein; and any objections to the relief requested herein having been

withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:




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       1.      The Debtor is authorized to retain and employ Katten effective as of June 20,

2022 to render independent services, on behalf of and at the sole direction of the Independent

Directors, in accordance with the terms and conditions set forth in the Application and the

Engagement Letter attached hereto as Exhibit 1, as modified by this Order, and in furtherance of

the delegation of authority to the Independent Directors set forth in the Resolutions, as approved

by Order of the Court on July 18, 2022 [Docket No. 594].

       2.      Katten shall apply for compensation for professional services rendered and

reimbursement of expenses in accordance with the procedures set forth in sections 330 and 331

of the Bankruptcy Code, applicable provisions of the Bankruptcy Rules, the Local Bankruptcy

Rules, and any fee and expense guidelines of this Court. Katten also intends to comply with the

U.S. Trustee’s request for information and additional disclosures as set forth in the Guidelines

for Reviewing Applications for Compensation and Reimbursement of Expenses under 11 U.S.C.

§ 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013 (the “Revised UST

Guidelines”), both in connection with the Application and the interim and final fee applications

to be filed by Katten in these Chapter 11 Cases.

       3.      Katten shall include in its fee applications, among other things, contemporaneous

time records setting forth a description of the services rendered by each professional and the

amount of time spent on each date by each such individual in rendering services on behalf of the

Independent Directors in one-tenth (.1) hour increments.

       4.      Retention pursuant to section 327(a) of the Bankruptcy Code is appropriate given

the specific scope of the retention.




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       5.      Notwithstanding anything to the contrary in the Application, Katten shall not be

entitled to reimbursement for fees and expenses incurred in connection with any objection to its

fees absent further order of this Court.

       6.      Katten shall file a supplemental declaration with the Court and provide no less

than ten days business days’ notice to the Debtors, the U.S. Trustee, and any official committee

that may be appointed in these Chapter 11 Cases prior to any increases in the rates set forth in the

Application. Any such supplemental declaration shall explain the basis for the requested rate

increases in accordance with Bankruptcy Code Section 330(a)(3)(F) and state whether the

Debtors and the Independent Directors have consented to the rate increase. The U.S. Trustee

retains all rights to object to any hourly rate increases on all grounds, including the

reasonableness standard set forth in section 330 of the Bankruptcy Code, and the Court retains

the right to review any rate increase pursuant to section 330 of the Bankruptcy Code.

       7.      Katten shall use its reasonable efforts to avoid any duplication of services

provided by any of the Debtors’ other retained professionals in these Chapter 11 Cases.

       8.      Katten will review its files periodically during the pendency of these Chapter 11

Cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Katten will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

       9.      Katten shall not charge a markup with respect to fees billed by contract attorneys

who are hired by Katten to provide services, and shall ensure that any such contract attorneys are

subject to conflict checks and disclosures in accordance with the requirements of the Bankruptcy

Code and Bankruptcy Rules.

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       10.     To the extent the Application, the Reisman Declaration, or the Stein Declaration

is inconsistent with this Order, the terms of this Order shall govern.

       11.     The Debtor is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Application.

       12.     The notice requirements of Bankruptcy Rule 6004(a) are deemed waived.

       13.     Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Local Bankruptcy Rules are satisfied by

the contents of the Application.

       14.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       15.     The Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation or, implementation, and enforcement of this Order.



Dated: __________, 2022
       Houston, Texas                             MARVIN ISGUR
                                                  UNITED STATES BANKRUPTCY JUDGE




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                                   Exhibit C

                            Budget and Staffing Plan




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                               In re GWG Holdings, Inc., et al.
                   Bankruptcy Case No. 22-90032 (MI) (Jointly Administered)

                                        Budget and Staffing Plan

            Budget for the Total Fee Period of June 20, 2022 Through June 20, 2023

 Matter                                                                       Total Compensation
                    Project Category Description             Hours Budgeted
 Number                                                                            Budgeted
2            Retention and Fee Applications                       470            $ 325,000.00
4            DIP                                                  250               275,000.00
5            Employee Matters                                     125               125,000.00
7            Contested Matters, Adversary Proceedings           1,250             1,400,000.00
10           Business Operations and Governance                 3,600             4,000,000.00
11           Case Administration                                   70                60,000.00
12           Claims Administration and Objections                 150               175,000.00
14           Tax Matters                                           85                75,000.00
19           Hearings                                             750               850,000.00
21           Investigation                                      8,400             8,500,000.00
22           Plan/Disclosure Statement/Confirmation             1,750             2,250,000.00
28           Non-Working Travel                                   250               315,000.00
Total                                                          17,150          $ 18,350,000.00

        Staffing Plan for the Total Fee Period of June 20, 2022 Through June 20, 2023

                                     Number of Timekeepers Expected to
    Category of Timekeeper         Perform Work Across All Matters During     Average Hourly Rate
                                             the Budget Period
Partner                                             25                               $1,200
Associate                                           15                                 $800
Paraprofessional                                         5                            $400
Total                                                   45                           $1,000




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                                   Exhibit D

                           Voluntary Rate Disclosures




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                               In re GWG Holdings, Inc., et al.
                   Bankruptcy Case No. 22-90032 (MI) (Jointly Administered)

                                        Voluntary Rate Disclosures

•   The blended hourly rate for timekeepers in the New York, Chicago, and Washington, D.C.
    offices of Katten Muchin Rosenman LLP (“Katten”) (including both professionals and
    paraprofessionals) who billed to non-bankruptcy matters (collectively, the “Non-Bankruptcy
    Matters”)1 during the period beginning on July 1, 2022, and ending on June 30, 2023 (the
    “Comparable Period”), was, in the aggregate, approximately $957 per hour (the “Non-
    Bankruptcy Blended Hourly Rate”).2
•   The blended hourly rate for all Katten timekeepers (including both professionals and
    paraprofessionals) who billed to GWGH during the Total Fee Period was approximately
    $1,064.63 per hour (the “Debtor Blended Hourly Rate”).3

•   A detailed comparison of these rates is as follows:

                                   Debtor Blended Hourly Rate                Non-Bankruptcy Blended
    Position at Katten
                                     for the Total Fee Period                     Hourly Rate
    Partner                                  $ 1,279.94                              $ 1,195
    Associate                                    757.16                                  776
    Paraprofessionals                            389.05                                  432
    Total                                    $ 1,064.63                              $ 957




1
    It is the nature of Katten’s practice that certain non-bankruptcy engagements require the advice and counsel of
    professionals and paraprofessionals who work primarily within Katten’s Insolvency and Restructuring Practice.
    Accordingly, “Non-Bankruptcy Matters” consist of matters for which Katten’s domestic timekeepers represented
    a client in a matter other than an in-court bankruptcy proceeding. Moreover, the Non-Bankruptcy Matters may
    include time billed by Katten domestic timekeepers who work primarily within Katten’s Insolvency and
    Restructuring Practice.
2
    Katten calculated the blended rate for Non-Bankruptcy Matters by dividing the total dollar amount billed by
    Katten timekeepers in the New York, Chicago, and Washington, D.C. offices to the Non-Bankruptcy Matters
    during the Comparable Period by the total number of hours billed by Katten timekeepers in the New York,
    Chicago, and Washington, D.C. offices to the Non-Bankruptcy Matters during the Comparable Period.
3
    Katten calculated the blended rate for timekeepers who billed to GWGH by dividing the total dollar amount billed
    by such timekeepers during the Total Fee Period by the total number of hours billed by such timekeepers during
    the Total Fee Period.




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                                    Exhibit E

            Summary of Total Fees Incurred and Hours Billed During the
              Total Fee Period of June 20, 2022 Through June 20, 2023




                                                                           Ex. Pg. 1215
                                                               In re GWG Holdings, Inc., et al.
                                                   Bankruptcy Case No. 22-90032 (MI) (Jointly Administered)

                                   Summary of Timekeepers for the Total Fee Period of June 20, 2022 Through June 20, 2023
                                                                                                                                                                 CaseCase




                                                     Year                         Hourly Billing       Hours Billed           Fees Billed        Number of
                 Attorney Name       Position                    Department
                                                    Admitted                          Rate          In this Application   In this Application   Rate Increases
                                                                                 2022 –   $1,585          1,142.50        $   1,810,862.50
               Steven Reisman      Partner (NYC)   NY - 1991    Restructuring                                                                         1
                                                                                                                                                                      22-30500-swe7




                                                                                 2023 –    1,755            378.30              663,916.50
                                                                                 2022 –    1,350            793.50            1,071,225.00
               Cindi Giglio        Partner (NYC)   NY - 2007    Restructuring                                                                         1
                                                                                 2023 –    1,495            449.30              671,703.50
                                                                                 2022 –    1,250             49.90               62,375.00
               Todd Hatcher        Partner (NYC)   NY - 2009         Tax                                                                              1
                                                                                 2023 –    1,390             31.90               44,341.00
                                                                                                                                                                          22-90032 Document




                                                                                 2022 –    1,315              3.40                4,471.00
               Lawrence Levin      Partner (CHI)    IL - 1985     Corporate                                                                           0
                                                                                                                                                                                    Doc 261-8
                                                                                                                                                                                        250-8




                                                                                 2023 –       n/a
                                                   VA - 1997
                                                                                                                                                                                          Exhibit




                                                                                 2022 –    1,285           671.80              863,263.00
               Jerry Hall          Partner (NYC)   DC - 2007    Restructuring                                                                         1
                                                                                 2023 –    1,425           151.90              216,457.50
                                                   NY - 2016
                                                                                                                                                                                            2143Filed




                                                                                 2022 –       n/a
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               Jeffrey Patt        Partner (CHI)    IL - 1987     Corporate                                                                           0
                                                                                 2023 –    1,395             16.70              23,296.50
                                                                                                                                                                                                      Page




                                                                                 2022 –    1,255              3.40               4,267.00
               Evan Borenstein     Partner (NYC)   NY - 1999      Corporate                                                                           0
                                                                                 2023 –       n/a
                                                                                                                                                                                                         66067
                                                                                                                                                                                                      08/14/24
                                                                                                                                                                                                      09/20/24




                                                                                 2022 –    1,180           206.90              244,142.00
                                                                                                                                                                                                             ofof




               Julia Winters       Partner (NYC)   NY - 2006    Restructuring                                                                         0
                                                                                 2023 –       n/a
                                                                                                                                                                                                               1651




                                                                                 2022 –    1,145          1,176.90            1,347,550.50
                                                                                                                                                                                                                  830




               Geoffrey King       Partner (Chi)    IL - 2009   Restructuring                                                                         1
                                                                                 2023 –    1,270             63.00               80,010.00
                                                                                 2022 –    1,145          1,166.80            1,335,986.00
                                                                                                                                                                                                         in TXSBEntered




               Marc Roitman        Partner (NYC)   NY - 2010    Restructuring                                                                         1
                                                                                 2023 –    1,270            758.70              963,549.00
                                                                                 2022 –    1,125            889.70            1,000,912.50
                                                                                                                                                                                                                  on 08/21/23




               Daniel Barnowski    Partner (DC)    DC - 1998      Litigation                                                                          1
                                                                                 2023 –    1,245            581.30              723,718.50
                                                                                 2022 –    1,180            507.70              599,086.00
                                                                                                                                                                                                                         08/14/24
                                                                                                                                                                                                                         09/20/24




               Michael Comerford   Partner NYC)    NY - 2003    Restructuring                                                                         1
                                                                                 2023 –    1,310             51.60               67,596.00
                                                                                                                                                                                                                              Page




                                                   NY - 2009                     2022 –    1,170             60.70               71,019.00
               Vlad Bulkin         Partner (DC)                   Corporate                                                                           1
                                                   DC - 2010                     2023 –    1,295              3.50                4,532.50
                                                                                 2022 –    1,140             17.80               20,292.00
               Brian Stern         Partner (LA)    CA - 2003    Private Credit                                                                        0
                                                                                                                                                                                                                                  23:37:17
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                                                                                 2023 –       n/a
                                                                                 2022 –    1,095             26.00              28,470.00
               Philip Nemecek      Partner (NYC)   NY - 1992      Litigation                                                                          0
                                                                                 2023 –       n/a
                                                                                 2022 –       n/a
                                                                                                                                                                                                                                    66 of 829Desc




               Bret Diskin         Partner (CHI)    IL - 2009     Corporate                                                                           0
                                                                                 2023 –    1,105             60.80              67,184.00




Ex. Pg. 1216
                                                       Year                        Hourly Billing      Hours Billed           Fees Billed        Number of
                 Attorney Name         Position                   Department
                                                      Admitted                         Rate         In this Application   In this Application   Rate Increases
                                                                                  2022 –   1,180              8.20                8,856.00
               Julie Gottshall       Partner (CHI)    IL - 1991    Litigation                                                                         0
                                                                                  2023 –      n/a
                                                                                                                                                                 CaseCase




                                                                                  2022 –   1,050             11.30              11,865.00
               John Mitchell         Partner (TX)     TX - 1996   Restructuring                                                                       0
                                                                                  2023 –      n/a
                                                                                  2022 –   1,035           123.50              127,822.50
               Timothy Kirby         Partner (NYC)    NY - 2012    Corporate                                                                          1
                                                                                  2023 –   1,140            54.20               61,788.00
                                                      MD - 2002                   2022 –   1,020             6.70                6,834.00
               Danette Edwards       Partner (DC)                  Litigation                                                                         0
                                                                                                                                                                      22-30500-swe7




                                                      DC - 2004                   2023 –      n/a
                                                                                  2022 –     955              7.60                7,258.00
               Elliott Bacon         Partner (Chi)    IL - 2013    Litigation                                                                         0
                                                                                  2023 –      n/a
                                                      TX - 2012                   2022 –     955           256.40              244,862.00
               Eric Werlinger        Partner (DC)                  Litigation                                                                         0
                                                      DC - 2014                   2023 –      n/a
                                                                                                                                                                          22-90032 Document




                                                                                  2022 –     920             5.50                5,060.00
               Carrie Stickel        Partner (CHI)    IL - 2014    Litigation                                                                         1
                                                                                                                                                                                    Doc 261-8
                                                                                                                                                                                        250-8




                                                                                  2023 –   1,020             5.00                5,100.00
                                                                                                                                                                                          Exhibit




                                                                                  2022 –     910           741.50              674,765.00
               Ashley Chase         Associate (NYC)   NY - 2016   Restructuring                                                                       1
                                                                                  2023 –     990            10.40               10,296.00
                                                                                                                                                                                            2143Filed




                                                      MA - 2017
                                                                                  2022 –      n/a
               Fabiola Valenzuela   Associate (CHI)   IL - 2018    Corporate                                                                          0
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                                                                                  2023 –     920              4.00                3,680.00
                                                      TX - 2023
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                                                      NY - 2013
                                                                                  2022 –     875            257.80             225,575.00
                                                                                                                                                                                                         66168




               Yelena Archiyan      Associate (TX)    IL - 2015   Restructuring                                                                       0
                                                                                                                                                                                                      08/14/24
                                                                                                                                                                                                      09/20/24




                                                                                  2023 –      n/a
                                                      TX - 2020
                                                                                                                                                                                                             ofof




                                                                                  2022 –     875              4.60                4,025.00
               Jennifer Howard      Associate (DC)    DC - 2017    Corporate                                                                          0
                                                                                                                                                                                                               1651




                                                                                  2023 –      n/a
                                                                                                                                                                                                                  830




                                                                                  2022 –     800           478.00              382,400.00
               Michael Rosella      Associate (NYC)   NY - 2019   Restructuring                                                                       0
                                                                                                                                                                                                         in TXSBEntered




                                                                                  2023 –      n/a
                                                      NY – 2019                   2022 –     800          1,211.80             969,440.00
               Grace Thompson       Associate (NYC)               Restructuring                                                                       1
                                                      NJ - 2022                   2023 –     895            201.40             180,253.00
                                                                                                                                                                                                                  on 08/21/23




                                                      VA - 2017                   2022 –     775            557.80             432,295.00
               Andrew Pecoraro      Associate (DC)                 Litigation                                                                         1
                                                      DC - 2020                   2023 –     875             77.80              68,075.00
                                                                                                                                                                                                                         08/14/24
                                                                                                                                                                                                                         09/20/24




                                                      IL - 2014                   2022 –     715             79.60              56,914.00
                                                                                                                                                                                                                              Page




               Taryn Baker          Associate (CHI)                   Tax                                                                             1
                                                                                  2023 –     755             33.90              25,594.50
                                                      IL - 2018                   2022 –     715              3.10               2,216.50
               Ethan Trotz          Associate (CHI)               Restructuring                                                                       0
                                                      WI - 2019                   2023 –      n/a
                                                                                                                                                                                                                                  23:37:17
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                                                                                  2022 –     580          1,111.60             644,728.00
               Loredana Miranda     Associate (NYC)   NY - 2022   Restructuring                                                                       1
                                                                                  2023 –     710            555.60             394,476.00
                                                                                  2022 –     660            221.70             146,322.00
               Jesse Kitnick        Associate (NYC)   NY - 2021   Restructuring                                                                       1
                                                                                                                                                                                                                                    67 of 829Desc




                                                                                  2023 –     775             29.80              23,095.00




Ex. Pg. 1217
                                                                                  2
                                                               Year                               Hourly Billing         Hours Billed             Fees Billed         Number of
                 Attorney Name              Position                          Department
                                                              Admitted                                Rate            In this Application     In this Application    Rate Increases
                                                                                                2022 –       655                36.20                23,711.00
               Kenneth Hebeisen          Associate (CHI)                      Restructuring                                                                                 0
                                                              IL - 2021                         2023 –        n/a
                                                                                                                                                                                      CaseCase




                                                                                                2022 –        n/a
               Bora Ndregjoni            Associate (CHI)                        Litigation                                                                                  0
                                                              IL - 2021                         2023 –       695                35.00                24,325.00
                                                              CT - 2021                         2022 –       655                52.90                34,649.50
               Ally Jordan               Associate (DC)                         Litigation                                                                                  0
                                                              DC - 2022                         2023 –        n/a
                                                                                                2022 –       580               38.70                 22,446.00
               Alexis Zobeideh           Associate (NYC)                      Restructuring                                                                                 1
                                                                                                                                                                                           22-30500-swe7




                                                              NY - 2023                         2023 –       640                6.40                  4,096.00
               Total for Professionals                                                                                     15,492.00           $ 16,823,049.50
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                                                                                                                                                                       Number of
                                                                                                 Hourly Billing         Hours Billed             Fees Billed
                                                 Position                 Department                                                                                     Rate
                                                                                                                                                                                                               Exhibit




               Paraprofessional Name                                                                 Rate            In this Application     In this Application
                                                                                                                                                                       Increases
                                                                                               2022 -      410              121.70                   49,897.00
                                                                                                                                                                                                                 2143Filed




               Janice Brooks-Patton              Paralegal           Restructuring (TX)                                                                                     0
                                                                                               2023 -       n/a
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                                                                                               2022 -       n/a
               John Murphy                       Paralegal          Restructuring (NYC)                                                                                     0
                                                                                                                                                                                                                           Page




                                                                                               2023 -      510                5.60                    2,856.00
                                                                                               2022 -      330               74.90                   24,717.00
                                                                                                                                                                                                                              66269
                                                                                                                                                                                                                           08/14/24
                                                                                                                                                                                                                           09/20/24




               Rick Brady                    Litigation Support            IT (NYC)                                                                                         0
                                                                                               2023 -       n/a
                                                                                                                                                                                                                                  ofof




                                                                                               2022 -      380              159.90                   60,762.00
               Marie Siena                       Paralegal          Restructuring (NYC)                                                                                     1
                                                                                                                                                                                                                                    1651




                                                                                               2023 -      410              126.10                   51,701.00
                                                                                                                                                                                                                                       830




               Total for Paraprofessionals                                                                                  488.20             $    189,933.00
               Total for Attorneys and Paraprofessionals1                                                                15,980.20             $ 17,012,982.50
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                  1
                      As a courtesy to the Debtors’ estates, creditors, and other stakeholders, Katten voluntarily wrote off certain fees on each monthly fee statement during the
                                                                                                                                                                                                                                                         68 of 829Desc




                      Total Fee Period. Further, during this engagement, certain Katten attorneys did not bill all their time.




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                                     Exhibit F

                 Summary of Actual and Necessary Expenses for the
               Total Fee Period of June 20, 2022 Through June 20, 2023




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                               In re GWG Holdings, Inc., et al.
                   Bankruptcy Case No. 22-90032 (MI) (Jointly Administered)

                       Summary of Actual and Necessary Expenses for the
                     Total Fee Period of June 20, 2022 Through June 20, 2023

                                        Expense                              Amount
                   Airfare                                                  $37,086.00
                   Binding / Color Printing                                  $1,161.05
                   Business Meals                                            $1,426.37
                   Filing Fees / Court Costs                                   $221.70
                   Legal Research                                           $34,762.28
                   Out of Town Travel                                       $34,560.31
                   Postage and Courier                                        $518.98
                   Service Fees                                             $91,785.75
                   Telephone Conference Charges                               $666.52
                   Total1                                                  $202,188.96




1
    As a courtesy to the Debtors’ estates, creditors, and other stakeholders, Katten voluntarily wrote off certain
    categories of expenses in each monthly fee statement during the Total Fee Period.




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                                     Exhibit G

                  Summary of Fees and Expenses by Matter for the
               Total Fee Period of June 20, 2022 Through June 20, 2023




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                               In re GWG Holdings, Inc., et al.
                   Bankruptcy Case No. 22-90032 (MI) (Jointly Administered)

                        Summary of Fees and Expenses by Matter for the
                     Total Fee Period of June 20, 2022 Through June 20, 2023

Matter                                                       Hours                  Total Compensation
               Project Category Description
Number                                              Budgeted         Billed     Budgeted           Billed
    2    Retention and Fee Applications                470          464.80    $ 325,000.00     $    301,110.00
    4    DIP                                           250          223.50        275,000.00        263,984.50
    5    Employee Matters                              125           86.10        275,000.00         90,172.00
    7    Contested Matters, Adversary Proceedings    1,250          907.90      1,400,000.00      1,068,174.00
   10    Business Operations and Governance          3,600        3,278.40      4,000,000.00      3,700,430.00
   11    Case Administration                            70           46.00         60,000.00         41,458.50
   12    Claims Administration and Objections          150          153.00        175,000.00        169,044.50
   14    Tax Matters                                    85           76.00         75,000.00         64,933.00
   19    Hearings                                      750          657.20        850,000.00        785,227.00
   21    Investigation                               8,400        8,354.40      8,500,000.00      8,388,116.50
   22    Plan/Disclosure Statement/Confirmation      1,750        1,530.30      2,250,000.00      1,884,786.50
   28    Non-Working Travel                            250          202.60        315,000.00        255,546.00
Totals                                              17,150       15,980.20    $18,350,000.00   $ 17,012,982.50




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                                     Exhibit H

                    Detailed Description of Services Provided and
                 Detailed Description of Expenses and Disbursements
           for the Total Fee Period of June 20, 2022 Through June 20, 2023




                                                                             Ex. Pg. 1223
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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 18, 2022
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
                                                                                                                                                                                              www.katten.com

Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00002
                                                                                                                                                    Invoice #:                                   9020089929
                                                                                                                                                    Invoice Due Date:                          Payable Upon
                                                                                                                                                                                                     Receipt




Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through June 30, 2022



Fees Total.............................................................................................................................................................                 15,555.00
Total Amount Due ..............................................................................................................................................                         15,555.00        USD




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00002
Invoice #:          9020089929                                                                               October 18, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                          Hours
06/22/2022     Miranda, Loredana Review emails with G. Thompson regarding retention application (.50)                           0.50
06/22/2022     Reisman, Steven       Update regarding retention application and review materials regarding                      0.30
                                     same (.30)
06/23/2022     Thompson, Grace Correspondence with Y. Segarra and G. King regarding fee application                             0.30
                                 matters (.30)
06/23/2022     Miranda, Loredana Begin drafting Katten's retention application (2.30)                                           2.30
06/23/2022     Siena, Marie          Begin to draft guidelines for GWG matter (.30)                                             0.30
06/24/2022     King, Geoff           Prepare materials in connection with retention by Independent Directors                    1.20
                                     (.60); analyze issues in connection with retention (.40); confer with S.
                                     Reisman regarding retention issues (.20)
06/24/2022     Miranda, Loredana Continue drafting Katten's retention application (1.60)                                        1.60
06/24/2022     Siena, Marie          Continue to draft guidelines to ensure compliance with UST guidelines                      0.60
                                     (.40); emails with G. Thompson regarding same (.20)
06/24/2022     Reisman, Steven       Review materials regarding retention by Independent Directors (.60);                       0.80
                                     confer with G. King regarding same (.20)
06/25/2022     King, Geoff           Call with S. Reisman regarding retention issues (.10); prepare summary                     0.70
                                     regarding retention issues (.40); emails with M. Roitman regarding
                                     retention issues (.20)
06/25/2022     Reisman, Steven       Discussions with G. King regarding retention issues (.10); follow up                       0.50
                                     regarding retention issues and moving forward with retention application
                                     (.40)
06/26/2022     Barnowski, Dan        Analyze conflict memo related to retention (.30)                                           0.30
06/26/2022     King, Geoff           Review pleadings and prepare materials related to retention scope (1.80)                   1.80
06/26/2022     Reisman, Steven Review materials regarding UST's guidelines, compliance with same and                            0.80
                               affidavit in connection with retention (.80)
06/27/2022     Thompson, Grace Emails with Katten regarding fee application matters and compliance with                         0.20
                               UST guidelines (.20)
06/27/2022     Siena, Marie          Emails with G. Thompson regarding billing guidelines memo (.10); emails                    0.30
                                     with Katten regarding same (.20)
06/29/2022     King, Geoff           Review issues regarding retention (.30)                                                    0.30
06/30/2022     Miranda, Loredana Continue drafting Katten's retention application (2.80); email G.                              2.90
                                 Thompson regarding retention application (.10)
06/30/2022     Reisman, Steven Follow up regarding retention application and review comments and edits                          1.10
                                 to same (1.10)
                                                                                              Total Hours :                16.80




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Matter:             397894.00002
Invoice #:          9020089929                                                     October 18, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        3.50            1,585.00               5,547.50
King, Geoff                                            4.00            1,145.00               4,580.00
Barnowski, Dan                                         0.30            1,125.00                 337.50
Thompson, Grace                                        0.50              800.00                 400.00
Miranda, Loredana                                      7.30              580.00               4,234.00
Siena, Marie                                           1.20              380.00                 456.00

                                     Sub Total :      16.80   Sub Total :                    15,555.00
                                     Total Hours :    16.80   Total Fees              15,555.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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October 18, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: DIP

For Professional Services Rendered Through June 30, 2022



Fees Total.............................................................................................................................................................                   9,880.00
Total Amount Due ..............................................................................................................................................                           9,880.00       USD




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00004
Invoice #:          9020089930                                                                           October 18, 2022
Invoice Due Date:   Payable Upon Receipt


RE: DIP

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
06/21/2022     King, Geoff        Review DIP credit agreement and related materials in connection with                      1.90
                                  milestones (.70); review prior financing motion (.70); review description
                                  of proposed transaction (.50)
06/21/2022     Reisman, Steven    Update regarding credit agreement, milestones, financing motion and                       1.10
                                  materials in connection with liquidity for GWG (1.10)
06/22/2022     King, Geoff        Review historical DIP financing documents (.60); review amendment                         1.30
                                  documents (.70)
06/22/2022     Roitman, Marc      Review materials related to restructuring and DIP (.70)                                   0.70
06/22/2022     Reisman, Steven    Continue to review documentation related to Debtor in possession                          1.70
                                  financing facility, amendments and interim order (1.10); follow up
                                  regarding same in connection with advising Independent Directors (.60)
06/27/2022     Archiyan, Yelena   Review email regarding DIP budget in interim order and related email                      0.20
                                  from G. King (.20)
06/28/2022     Roitman, Marc      Review materials prepared by company restructuring advisors relating to                   0.70
                                  DIP (.70)
                                                                                            Total Hours :               7.60




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Invoice #:          9020089930                                                     October 18, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        2.80            1,585.00               4,438.00
King, Geoff                                            3.20            1,145.00               3,664.00
Roitman, Marc                                          1.40            1,145.00               1,603.00
Archiyan, Yelena                                       0.20              875.00                 175.00

                                     Sub Total :       7.60   Sub Total :                     9,880.00
                                     Total Hours :     7.60   Total Fees               9,880.00   USD




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October 18, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through June 30, 2022



Fees Total.............................................................................................................................................................                 61,311.00
Total Amount Due ..............................................................................................................................................                         61,311.00        USD




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00007
Invoice #:          9020089931                                                                            October 18, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
06/20/2022     Reisman, Steven    Analyze issues regarding retention of CRO and Independent Directors in                     2.20
                                  chapter 11 matters (2.20)
06/21/2022     Giglio, Cindi      Correspond with Katten regarding Independent Directors Motion (.20)                        0.20
06/21/2022     King, Geoff        Review Independent Director motions (.30); review resolutions (.40);                       1.20
                                  review Independent Director declarations (.20); review agreed orders to
                                  amendments (.30)
06/21/2022     Reisman, Steven    Review motion to retain chief restructuring officer, J. Stein, as well as to               3.00
                                  retain Independent Directors as well as minutes, agreement and supporting
                                  documentation related to same (1.70); discussions with J. Stein and A.
                                  Horton throughout the day regarding matters related to motion, request for
                                  bankruptcy court approval (1.30)
06/22/2022     King, Geoff        Review delegating resolutions (.20); discussion with S. Reisman regarding                  0.40
                                  resolutions (.20)
06/22/2022     Reisman, Steven    Review and provide comments on delegating resolutions (.30); confer with                   0.50
                                  G. King regarding resolutions and next steps (.20)
06/23/2022     Barnowski, Dan     Review materials regarding appointment of CRO and Independent                              0.50
                                  Directors (.50)
06/23/2022     King, Geoff        Review materials regarding CRO/ID motion (.70); review precedent filed                     1.40
                                  materials in connection with same (.70)
06/24/2022     Giglio, Cindi      Review correspondence related to pending motion to appoint CRO/IDs                         0.80
                                  (.80)
06/24/2022     Barnowski, Dan     Review communications with debtor’s counsel concerning 8-K revisions                       1.50
                                  (.20); analysis of motion to compel (.50); teleconference with G. King
                                  concerning motion to compel and other strategic issues (.20);
                                  teleconference with Mayer Brown and Katten concerning discovery
                                  motion (.60)
06/24/2022     King, Geoff        Call with Independent Directors regarding 8-K (.10); call with Mayer                       1.70
                                  Brown regarding 8-K (.10); review multiple versions of 8-K to confirm
                                  changes (.40); review director compensation summary (.30); call with
                                  Mayer Brown regarding motion to compel (.60); communications with D.
                                  Barnowski regarding motion to compel (.20)
06/24/2022     Miranda, Loredana Emails with G. King and M. Roitman regarding bondholder's motion to                         2.50
                                 enter an order clarifying the requirement to provide access to confidential
                                 or privileged information and approving a protocol (.20); prepare email for
                                 client regarding bondholder's motion on access to confidential or
                                 privileged information (.60); emails with G. King and M. Roitman
                                 regarding emergency motion by the bondholders (.30); call with Katten,
                                 GWG, and Mayer Brown regarding emergency motion by the bondholders
                                 (.60); prepare summary of call with Mayer Brown (.80)
06/24/2022     Roitman, Marc     Review motion to compel production (.60): draft email to Special                            2.20
                                 Committee regarding same (.70); call with Mayer Brown regarding motion
                                 to compel (.60); emails with Katten regarding same (.30)




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Date           Timekeeper         Description                                                                           Hours
06/24/2022     Reisman, Steven    Review motion to compel document production (.40); call with Mayer                          2.50
                                  Brown and Katten team members regarding motion to compel (.60);
                                  review disclosure to be filed on form 8-K regarding appointment of
                                  independent directors and chief restructuring officer J. Stein (.60);
                                  discussions with Mayer Brown regarding comments to same (.10); review
                                  Bondholders Committee's motion for access to confidential and privileged
                                  information and next steps regarding same (.80)
06/24/2022     Archiyan, Yelena   Review M. Roitman summary regarding motion to convert and                                   0.30
                                  Bondholder Committee motion to compel production of documents (.10);
                                  review revised form 8-K regarding appointment of Independent Directors
                                  and CRO (.20)
06/25/2022     Roitman, Marc      Analyze Special Committee and Investigation Committee construct and                         2.20
                                  independent representation thereof (.80); draft email to Special Committee
                                  regarding same (1.40)
06/25/2022     Reisman, Steven    Review Special Committee's resolutions and note comments and edits                          1.80
                                  regarding same (1.10); review email to Special Committee members
                                  regarding advice and guidance in connection with issues in GWG case
                                  (.70)
06/26/2022     Giglio, Cindi      Review and comment on email advice to Special Committee (.40)                               0.40
06/26/2022     Roitman, Marc      Further analysis relating to Special Committee construct and independent                    2.10
                                  representation thereof (.60); revise email to Special Committee regarding
                                  same (1.10); emails with Katten regarding same (.40)
06/27/2022     Barnowski, Dan     Teleconference with G. King about motion to compel and strategy going                       0.30
                                  forward (.30)
06/27/2022     King, Geoff        Call with D. Barnowski regarding motion to compel (.30); review matters                     0.90
                                  in connection with same (.60)
06/27/2022     Reisman, Steven    Review motion to compel document production from noteholders                                0.60
                                  committee (.40); follow up with Katten team regarding motion to compel
                                  (.20)
06/28/2022     King, Geoff        Review notes regarding resolution issues (.40); review Board materials                      0.60
                                  (.20)
06/29/2022     Giglio, Cindi      Update call with G. King and S. Reisman on case updates including                           2.20
                                  Motion to Compel (.40); markup Debtor's response to Motion to Compel
                                  (1.80)
06/29/2022     Barnowski, Dan     Revisions to several versions of draft opposition to motion to compel                       1.50
                                  (1.10); teleconference with G. King concerning same (.20); teleconference
                                  with A. Elkhoury of Mayer Brown concerning opposition brief (.20)
06/29/2022     King, Geoff        Review multiple drafts of response to motion to compel (1.30); call with                    3.90
                                  C. Giglio and S. Reisman regarding same (.40); prepare markup of
                                  response in connection with role of Independent Directors (.80); prepare
                                  markups and summary of response for Independent Directors (.30); call
                                  with D. Barnowski regarding response (.20); call with Mayer Brown
                                  regarding response (.20); emails with Mayer Brown regarding response
                                  (.20); emails with Katten team regarding response and potential revisions
                                  (.50)
06/29/2022     Miranda, Loredana Review and compare Mayer Brown's draft response to Bondholder                                1.40
                                 Committee's motion to compel (.10); update Mayer Brown's draft response
                                 with comments by G. King and C. Giglio (1.30)




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Matter:             397894.00007
Invoice #:          9020089931                                                                           October 18, 2022
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                         Hours
06/29/2022     Reisman, Steven    Review and edit of Mayer Brown response to motion to compel document                      3.10
                                  production and note comments regarding same (.70); discussions with C.
                                  Giglio and G. King regarding same (.40); discussions with Mayer Brown
                                  regarding response and feedback (.20); review email and discussions with
                                  Independent Directors regarding feedback on response of Mayer Brown
                                  (.60); review and provide edits and recommendations to same (1.70)
06/29/2022     Archiyan, Yelena   Review draft response to Committee motion to compel production (.20)                      0.20
06/30/2022     Barnowski, Dan     Analyze final filed opposition to motion to compel (.40)                                  0.40
06/30/2022     King, Geoff        Call with M. Roitman and S. Reisman regarding resolutions (.40); review                   2.10
                                  revised resolutions (.40); provide comments to revised resolutions (.20);
                                  emails with Katten team regarding resolutions (.20); analyze issues
                                  regarding scope of retention and corporate governance matters (.80); call
                                  with Mayer Brown regarding motion to compel (.10)
06/30/2022     Roitman, Marc      Revise resolutions for delegation of authority to Special Committee and                   2.80
                                  Investigation Committee (2.40); call with G. King and S. Reisman
                                  regarding same (.40)
06/30/2022     Reisman, Steven    Review and revise resolutions regarding delegation of authority to Special                1.70
                                  Committee and Investigations Committee (1.30); discussions with M.
                                  Roitman and G. King regarding same (.40)
                                                                                             Total Hours :             49.10




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Matter:             397894.00007
Invoice #:          9020089931                                                     October 18, 2022
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TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                       15.40            1,585.00              24,409.00
Giglio, Cindi                                          3.60            1,350.00               4,860.00
King, Geoff                                           12.20            1,145.00              13,969.00
Roitman, Marc                                          9.30            1,145.00              10,648.50
Barnowski, Dan                                         4.20            1,125.00               4,725.00
Archiyan, Yelena                                       0.50              875.00                 437.50
Miranda, Loredana                                      3.90              580.00               2,262.00

                                     Sub Total :      49.10   Sub Total :                    61,311.00
                                     Total Hours :    49.10   Total Fees              61,311.00   USD




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                                                                                                                                                                                              Fax: 212-940-8776
October 18, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00010
                                                                                                                                                    Invoice #:                                   9020089971
                                                                                                                                                    Invoice Due Date:                          Payable Upon
                                                                                                                                                                                                     Receipt




Summary


RE: Business Operations and Governance

For Professional Services Rendered Through June 30, 2022



Fees Total............................................................................................................................................................. 103,818.00
Total Amount Due .............................................................................................................................................. 103,818.00                               USD




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00010
Invoice #:          9020089971                                                                            October 18, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
06/20/2022     Reisman, Steven    Review background materials regarding GWG Holdings, business                               7.00
                                  operations, and chapter 11 filing (4.20); participate in discussions with
                                  Independent Directors D. Chavenson, A. Horton and J. Stein regarding
                                  GWG background and chapter 11 case (1.80); follow up regarding matters
                                  related to same (1.00)
06/21/2022     King, Geoff        Call with J. Mitchell regarding case status (.10); prepare summary of                      0.90
                                  initial action items (.80)
06/21/2022     Thompson, Grace Review GWG docket and circulate docket daily docket summary (1.40)                            1.40
06/21/2022     Miranda, Loredana Emails with G. Thompson regarding background materials and docket                           0.40
                                 updates (.40)
06/21/2022     Reisman, Steven  Attend to matters regarding GWG and review of background                                     3.20
                                documentation as well as pleadings (2.10); continue follow up regarding
                                matters related to GWG and prepare for tomorrow's calls with counsel for
                                GWG and outline for first Independent Directors meeting (1.10)
06/22/2022     Pecoraro, Andrew Teleconference with Katten and Independent Directors regarding                               2.00
                                appointment of Independent Directors and scope of representation (.70);
                                teleconference with Katten and Debtor's counsel regarding background
                                information (1.30)
06/22/2022     Giglio, Cindi      Attend portion of kick off call with Mayer Brown (1.00); attend call with                  1.90
                                  Independent Directors (.70); follow up with G. King (.20)
06/22/2022     Barnowski, Dan     Teleconference meeting with Independent Directors (.70); teleconference                    3.60
                                  with Katten to discuss next steps after conclusion of Independent Director
                                  meeting (.30); teleconference with Katten to prep for call with Special
                                  Committee (.50); teleconference with Mayer Brown about background of
                                  matter (1.30); teleconference with G. King about next steps (.20); prepare
                                  short memo outlining results of various calls today (.60)
06/22/2022     King, Geoff       Attend GWG Board call (.50); prepare for call with Independent Directors                    4.00
                                 (.30); attend Katten pre-call (.50); call with Independent Directors (.70);
                                 attend Katten follow-up call to Independent Directors meeting (.30);
                                 prepare for call with Mayer Brown regarding onboarding (.40); call with
                                 Mayer Brown regarding onboarding (1.30)
06/22/2022     Thompson, Grace Pre-call with Katten regarding case background and upcoming call with                         5.30
                                 Independent Directors (.50); call with Independent Directors (.70); attend
                                 follow-up call with Katten (.30); attend kickoff call with Katten and Mayer
                                 Brown (1.30); revise L. Miranda call notes (.10); draft shell for official
                                 Independent Director meeting meetings and draft minutes from today's call
                                 (1.00); correspondence with G. King and Katten regarding the foregoing
                                 (.20); review case background materials (1.20)
06/22/2022     Mitchell, John    Review Chapter 11 pleadings (.50); call with Katten attorneys regarding                     2.30
                                 assignment (.50); call with Mayer Brown (1.30)
06/22/2022     Miranda, Loredana Review docket updates for issues relevant to Special Committee (.70);                       4.50
                                 draft summary for Katten (.90); conference with G. Thompson regarding
                                 same (.10); attend Katten pre-call for meeting with Independent Directors
                                 (.50); Katten post-call from meeting with Independent Directors (.20);
                                 attend call with Mayer Brown (1.30); prepare summary of call with Mayer
                                 Brown (.80)
06/22/2022     Roitman, Marc     Meeting with Independent Directors (.70); attend Katten pre-call in                         2.70
                                 preparation for same (.50); attend portion of follow up call with Katten
                                 (.20); call with Mayer Brown and Katten regarding restructuring (1.30)


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Date           Timekeeper          Description                                                                            Hours
06/22/2022     Reisman, Steven     Attend Katten pre-call for meeting with Independent Directors (.50);                         4.60
                                   Participate in meeting with Independent Directors and provide guidance
                                   and feedback on recommendations regarding certain actions (.70); attend
                                   Katten post-call from meeting with Independent Directors (.20);
                                   participate in call with Mayer Brown regarding restructuring background
                                   and next steps (1.30); review materials in preparation for call with
                                   Independent Directors (1.20); review materials in preparation for call with
                                   Mayer Brown (1.50)
06/22/2022     Archiyan, Yelena    Attend Katten pre-call (.50); debrief with J. Mitchell (.20); attend call with               2.00
                                   Mayer Brown (1.30)
06/23/2022     King, Geoff         Call with P. Nemecek regarding coverage issues (.20)                                         0.20
06/23/2022     Thompson, Grace Review docket update and related correspondence with L. Miranda (.30);                           1.30
                                 begin drafting key fact sheet for Katten (1.00)
06/23/2022     Miranda, Loredana Review docket updates for issues relevant to Special Committee (.40);                          1.20
                                 draft summary for Katten (.80)
06/24/2022     King, Geoff       Emails to Katten team regarding recent pleadings (.30); review summaries                       1.40
                                 of recent pleadings (.20); emails with Katten team regarding progress
                                 report (.30); review initial draft of internal Katten worklist (.30); review
                                 summary of Mayer Brown call and motions (.30)
06/24/2022     Thompson, Grace Review background corporate governance documents for issues regarding                            6.20
                                 special committees, Independent Directors, and company counsel (2.60);
                                 continue reviewing background information on company to incorporate
                                 into case materials (1.50); continue drafting key fact sheet for matter
                                 (2.10)
06/24/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee (1.60)                         1.60
06/24/2022     Archiyan, Yelena  Review summary of 6/21 call (.10); review materials regarding                                  0.40
                                 Committee's motion (.10); review summaries of pleadings filed on 6/22
                                 (.10); review summary of 6/23 hearing (.10)
06/25/2022     Thompson, Grace Research key background information for case background and work plan                            6.70
                                 (2.50); draft case background fact sheet and work plan (2.70); revise both
                                 per comments from G. King (1.10); correspondence with L. Miranda and
                                 G. King regarding same (.40)
06/25/2022     Mitchell, John    Review emails regarding tasks and next steps, diligence, and filings in                        0.20
                                 Chapter 11 case (.20)
06/25/2022     Miranda, Loredana Draft inserts for case background fact sheet and work plan for Katten                          2.90
                                 (2.90)
06/25/2022     Roitman, Marc     Review draft work plan and summary of case filings (.50); review case                          0.90
                                 filings in connection with Special Committee matters (.40)
06/25/2022     Reisman, Steven     Review background information, work plan (1.20); emails with Katten                          2.30
                                   team members throughout the day regarding feedback on same and next
                                   steps (1.10)
06/25/2022     Archiyan, Yelena    Review docket update summary from June 24, 2022 (.10); review                                0.20
                                   summary of call with Mayer Brown on June 24, 2022 (.10)
06/26/2022     Thompson, Grace Continue reviewing background corporate governance documents for                                 2.50
                               issues regarding special committees, Independent Directors, and company
                               counsel (1.60); related correspondence with M. Roitman and G. King
                               (.40); revise WIP and fact sheet per comments from Katten (.50)
06/27/2022     Giglio, Cindi       Prepare for Board call (.20); attend Board call (1.10)                                       1.30
06/27/2022     Barnowski, Dan      Attend Independent Directors meeting (1.10)                                                  1.10




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Matter:             397894.00010
Invoice #:          9020089971                                                                            October 18, 2022
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Date           Timekeeper         Description                                                                          Hours
06/27/2022     King, Geoff        Prepare for GWG Board call (.60); attend Katten pre-call (.40); GWG                        2.60
                                  Board Call (1.10); call with Director regarding follow-up items (.30); call
                                  with M. Gill regarding insurance notice (.10); review Board minutes (.10)
06/27/2022     Thompson, Grace Attend pre-call with Katten (.40); attend Board call with Independent                         1.50
                                 Directors (1.10)
06/27/2022     Miranda, Loredana Review and draft summary of new developments for Independent                                3.90
                                 Directors (1.10); attend Katten pre-call for call with clients (.40); attend
                                 Board call with clients (1.10); prepare meeting minutes of Board call (.90);
                                 email G. Thompson regarding same (.10); revise meeting minutes with G.
                                 Thompson's comments (.20); review and prepare docket update (.10)
06/27/2022     Roitman, Marc     Call with GWG Board Directors regarding strategy and case matters                           2.50
                                 (1.10); pre-call with Katten in preparation for same (.40); review materials
                                 and analyses in preparation for Independent Directors call (1.00)
06/27/2022     Reisman, Steven    Review materials and attend to issues regarding representation of Special                  1.80
                                  Committee (.40); correspondence with Katten regarding representation
                                  (.30); attend Katten pre-call (.40); attend GWG Board call (partial) (.70)
06/27/2022     Archiyan, Yelena   Review GWG fact sheet and Katten WIP report (.30)                                          0.30
06/28/2022     Barnowski, Dan     Attend company Board meeting (1.10); prepare for same (.30)                                1.40
06/28/2022     King, Geoff        Prepare notes of Board meeting call (.60); attend GWG Board meeting                        2.00
                                  (1.10); call with J. Mitchell regarding issues related to scope of
                                  committees (.10); call with P. Nemecek regarding D&O insurance matters
                                  (.20)
06/28/2022     Miranda, Loredana Revise meeting minutes for Investigation and Special Committees with G.                     2.10
                                 King's comments (.30); attend part of GWG Holdings Board Call (1.10);
                                 prepare summary of GWG Holdings Board call (.70)
06/28/2022     Roitman, Marc     Partial attendance at Board meeting regarding DIP financing (1.10);                         1.20
                                 follow-up correspondence regarding the same (.10)
06/28/2022     Reisman, Steven    Update regarding matters related to D&O insurance, D&O Insurance                           1.30
                                  review and other analysis as requested by Independent Directors (.70);
                                  review minutes of committee meetings and note comments regarding same
                                  (.60)
06/29/2022     King, Geoff        Review materials from Board call and summary (.40)                                         0.40
06/29/2022     Miranda, Loredana Prepare summary of docket entries (.90)                                                     0.90
06/29/2022     Reisman, Steven    Follow up regarding Board minutes and finalizing same (.30)                                0.30
06/30/2022     King, Geoff        Prepare summary regarding open items (.10); review revised WIP report                      0.20
                                  (.10)
06/30/2022     Mitchell, John     Review emails regarding governance and related matters (.40)                               0.40
06/30/2022     Miranda, Loredana Update June 29, 2022 docket summary with new entries (.20); prepare                         0.80
                                 summary of docket entries (.60)
06/30/2022     Reisman, Steven Review materials related to ongoing work streams and summary of actions                       0.40
                                 needed and recommendations for Independent Directors (.40)
06/30/2022     Archiyan, Yelena   Review summary of GWG docket updates (.10)                                                 0.10
                                                                                            Total Hours :              100.30




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Invoice #:          9020089971                                                     October 18, 2022
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TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                       20.90            1,585.00              33,126.50
Giglio, Cindi                                          3.20            1,350.00               4,320.00
King, Geoff                                           11.70            1,145.00              13,396.50
Roitman, Marc                                          7.30            1,145.00               8,358.50
Barnowski, Dan                                         6.10            1,125.00               6,862.50
Mitchell, John                                         2.90            1,050.00               3,045.00
Archiyan, Yelena                                       3.00              875.00               2,625.00
Thompson, Grace                                       24.90              800.00              19,920.00
Pecoraro, Andrew                                       2.00              775.00               1,550.00
Miranda, Loredana                                     18.30              580.00              10,614.00

                                     Sub Total :     100.30   Sub Total :                   103,818.00
                                     Total Hours :   100.30   Total Fees             103,818.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 18, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00011
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Summary


RE: Case Administration

For Professional Services Rendered Through June 30, 2022



Fees Total.............................................................................................................................................................                   1,971.00
Total Amount Due ..............................................................................................................................................                           1,971.00       USD




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00011
Invoice #:          9020089933                                                                            October 18, 2022
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RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
06/21/2022     King, Geoff        Review notices of appearance and pro hac vice motions (.20)                                0.20
06/21/2022     Thompson, Grace Attend to issues regarding opening matters, NoA, and pro hacs (.50);                          0.80
                               related correspondence with G. King, L. Miranda, and M. Siena regarding
                               the same (.30)
06/21/2022     Siena, Marie    Draft notice of appearance and pro hac vice applications for Katten team                      2.40
                               (1.10); emails with G. King and G. Thompson regarding same (.40); file
                               notice of appearance on the court's docket (.20); revise pro hac vice
                               applications (.30); emails with Katten team regarding same (.20); setup
                               ECF notifications for Katten team (.20)
06/22/2022     Siena, Marie       Email noticing agent regarding service of notice of appearance filed (.20)                 0.20
06/24/2022     Siena, Marie       Setup case alerts for Katten team (.30)                                                    0.30
                                                                                           Total Hours :                 3.90




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TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
King, Geoff                                            0.20            1,145.00                 229.00
Thompson, Grace                                        0.80              800.00                 640.00
Siena, Marie                                           2.90              380.00               1,102.00

                                     Sub Total :       3.90   Sub Total :                     1,971.00
                                     Total Hours :     3.90   Total Fees               1,971.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 18, 2022
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Summary


RE: Hearings

For Professional Services Rendered Through June 30, 2022



Fees Total.............................................................................................................................................................                 12,790.00
Total Amount Due ..............................................................................................................................................                         12,790.00        USD




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Matter:             397894.00019
Invoice #:          9020089934                                                                                October 18, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                              Hours
06/21/2022     Siena, Marie       Revise case calendar to incorporate details of 6/23 hearing (.40); revise                      0.70
                                  case calendar to include hearing of 6/30 (.30)
06/23/2022     King, Geoff        Review hearing agenda (.10); attend hearing regarding Emergency Motion                         0.80
                                  for Order Modifying Bar Date Order (.70)
06/23/2022     Thompson, Grace Review and provide comments on L. Miranda summary of hearing (.20)                                0.20
06/23/2022     Miranda, Loredana Attend court hearing regarding Emergency Motion for Order Modifying                             1.40
                                 Bar Date Order (.70); prepare summary of hearing regarding emergency
                                 motion for order modifying bar date order (.70)
06/23/2022     Reisman, Steven    Review materials for today's hearing to modify bar date order (.90);                           1.60
                                  participate in hearing before bankruptcy court (.70)
06/24/2022     Siena, Marie       Update case calendar to include details of hearing on 6/30 (.20); revise                       0.40
                                  case calendar to include hearing on 7/18 (.20)
06/30/2022     Giglio, Cindi      Attend hearing regarding Committee's Motion to Compel Documents                                0.90
                                  (.50); update with S. Reisman and G. King regarding the same (.30); call
                                  with G. King regarding hearing and open items (.10)
06/30/2022     Barnowski, Dan     Attend hearing regarding Committee's Motion to Compel Documents                                0.90
                                  (.50); attend continuation of court hearing (.20); call with G. King
                                  regarding hearing (.20)
06/30/2022     King, Geoff        Prepare for hearing (.60); attend GWG hearing (.70); calls with S.                             2.50
                                  Reisman regarding hearing and diligence items (.30); call with C. Giglio
                                  regarding hearing and open items (.10); call with D. Barnowski regarding
                                  hearing (.20); prepare summary regarding hearing (.40); communications
                                  with team regarding hearing (.20)
06/30/2022     Thompson, Grace Attend hearing regarding Committee's Motion to Compel Documents                                   1.10
                               (.50); draft summary for Independent Directors (.20); attend continued
                               hearing (.20); follow-up correspondence regarding hearing (.20)
06/30/2022     Siena, Marie       Revise case calendar with details for today's hearing (.20)                                    0.20
06/30/2022     Reisman, Steven    Review materials in preparation for hearing (.20); calls with G. King                          1.20
                                  regarding presentation to court (.30); attend hearing on motion to compel
                                  and matters in connection with same (.70)
                                                                                            Total Hours :                   11.90




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Matter:             397894.00019
Invoice #:          9020089934                                                     October 18, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        2.80            1,585.00               4,438.00
Giglio, Cindi                                          0.90            1,350.00               1,215.00
King, Geoff                                            3.30            1,145.00               3,778.50
Barnowski, Dan                                         0.90            1,125.00               1,012.50
Thompson, Grace                                        1.30              800.00               1,040.00
Miranda, Loredana                                      1.40              580.00                 812.00
Siena, Marie                                           1.30              380.00                 494.00

                                     Sub Total :      11.90   Sub Total :                    12,790.00
                                     Total Hours :    11.90   Total Fees              12,790.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 18, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00021
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Summary


RE: Investigation

For Professional Services Rendered Through June 30, 2022



Fees Total.............................................................................................................................................................                 66,504.00
Total Amount Due ..............................................................................................................................................                         66,504.00        USD




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00021
Invoice #:          9020089972                                                                               October 18, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                             Hours
06/21/2022     Barnowski, Dan     Review and analysis of background materials, including first day                              2.40
                                  declaration (2.40)
06/21/2022     King, Geoff        Begin review of prior litigation materials (1.70)                                             1.70
06/22/2022     Pecoraro, Andrew Analyze first day declaration and other case background documents (1.20);                       1.60
                                meeting with D. Barnowski regarding investigation strategy (.40)
06/22/2022     Barnowski, Dan   Initial development of due diligence list (.70); meeting with A. Pecoraro                       1.50
                                regarding investigation (.40); call with G. King regarding investigation
                                (.40)
06/22/2022     King, Geoff        Call with D. Barnowski regarding investigation issues (.40); calls with S.                    1.80
                                  Reisman regarding investigation issues (.20); prepare initial issues list
                                  (.80); begin preparation of initial document request (.30); circulate initial
                                  preparatory emails to Katten team (.10)
06/22/2022     Thompson, Grace Draft information email document and information request for G. King to                          1.00
                                 the Debtors (.50); call with L. Miranda regarding action items for
                                 investigation work (.50)
06/22/2022     Miranda, Loredana Call with G. Thompson regarding action items for investigation work                            3.80
                                 (.50); begin reviewing background information related to investigation
                                 (1.10); emails with M. Roitman and G. King regarding reviewing
                                 background documents (.20); retrieve and review all pleadings from the
                                 docket to prepare for the investigation (1.30); retrieve and review 10-Q
                                 and 10-K's SEC filings (.70)
06/23/2022     Pecoraro, Andrew Review complaints filed against GWG Holdings, Inc. (1.00); review                               2.50
                                public SEC filings referenced in same (1.00); review and edit initial due
                                diligence requests (.50)
06/23/2022     Barnowski, Dan   Prepare initial due diligence request for documents (2.10); teleconference                      3.30
                                with G. King concerning next steps (.20); analyze securities litigation
                                against company (.60); analyze proposed investigation plan (.40)
06/23/2022     King, Geoff        Call with S. Reisman regarding diligence issues (.60); call with D.                           2.50
                                  Barnowski regarding document request (.20); call with S. Reisman
                                  regarding follow-up items (.20); review diligence list and related action
                                  items (.80); review diligence materials (.70)
06/23/2022     Roitman, Marc      Continue to review case filings and related background materials in                           1.80
                                  connection with investigation (1.80)
06/24/2022     Barnowski, Dan     Revise due diligence list of requested documents from debtor (.70); begin                     1.50
                                  preparation of investigation plan (.60); teleconference with G. King about
                                  next steps (.20)
06/24/2022     King, Geoff        Call with D. Barnowski regarding diligence issues (.20); review issues                        4.20
                                  related to precedent Board committee issues (.60); calls with S. Reisman
                                  regarding diligence issues (.80); review initial draft of production request
                                  (.40); review materials in connection with diligence questions from client
                                  (1.80); prepare issues list of open diligence-related items (.40)
06/25/2022     Barnowski, Dan     Provide comments to draft workstream memo (.40)                                               0.40
06/25/2022     King, Geoff        Review multiple drafts of status report (.90); review Director requests and                   1.70
                                  prepare responses (.80)
06/26/2022     King, Geoff        Review internal summary of key issues (.90); review revised version of                        3.40
                                  status report (.20); review materials related to scope of investigation and
                                  critical issues (2.30)



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Invoice #:          9020089972                                                                             October 18, 2022
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Date           Timekeeper         Description                                                                           Hours
06/27/2022     Barnowski, Dan     Revise initial due diligence list (.10); call with G. King regarding                        0.40
                                  investigation (.30)
06/27/2022     King, Geoff        Call with D. Barnowski regarding investigation topics (.30); review initial                 4.20
                                  document request (.20); prepare materials in connection with initial action
                                  items (.60); begin review of certain public filings related to historical
                                  transactions (.80); analyze issues in connection with committee authority
                                  (.60); communications with Katten team regarding investigation matters
                                  (.40); begin review of class action suit and related materials (1.30)
06/27/2022     Reisman, Steven    Update on investigation work plan in connection with update on work                         1.20
                                  product in connection with representation on Investigations Committee
                                  and preparation for Independent Directors call (1.20)
06/28/2022     Pecoraro, Andrew Review complaint and other filings in Bayati v. GWG Holdings, Inc. et al.                     3.80
                                regarding allegations of transactions between GWG Holdings and the
                                Beneficient Company Group L.P. (.50); compare allegations in same to
                                public filings (.80); draft memorandum regarding same (2.50)
06/28/2022     Barnowski, Dan   Analyze SEC complaint allegations concerning GWG transactions with                            2.30
                                Ben LP (.60); revise memo concerning Ben/GWG transactions (.90);
                                teleconference with G. King concerning next steps and strategy (.30);
                                analyze background materials concerning Ben history (.50)
06/28/2022     King, Geoff        Calls with D. Barnowski regarding transactions (.30); call with L. Miranda                  2.80
                                  regarding transactions (.10); call with S. Reisman regarding delegation of
                                  authority issues (.20); continue to review pleadings regarding Ben
                                  transactions (.80); review transaction list (.20); prepare list of open items
                                  and follow-up diligence (.60); review filings sent by Mayer Brown (.40);
                                  correspondence with Katten team regarding review of available documents
                                  (.20)
06/28/2022     Miranda, Loredana Retrieve and review form S-1 SEC filings (.20); call with G. King                            0.30
                                 regarding transactions (.10)
06/28/2022     Archiyan, Yelena   Review Project Polly Board presentation materials (.20)                                     0.20
06/29/2022     Barnowski, Dan     Revise intercompany transaction memo (.80); analyze transactional                           1.20
                                  background materials (.40)
06/29/2022     King, Geoff        Review prior filings in connection with bond offerings (.70); review                        2.40
                                  materials in connection with related parties (.60); review materials related
                                  to prior related party transactions (.70); call with S. Reisman regarding
                                  response revisions (.40)
06/30/2022     Pecoraro, Andrew Call with Katten regarding investigation strategy and related party                           3.50
                                transactions (.70); analyze public filings regarding transactions between
                                Debtors and related parties (1.50); research related parties regarding
                                relationship to Debtors and Principles of such parties (.80); draft chart
                                summarizing transactions between Debtors and related parties (.50)
06/30/2022     Barnowski, Dan   Katten team call regarding initial investigation work (.70)                                   0.70
06/30/2022     King, Geoff        Prepare for call regarding diligence follow-up items (.50); attend Katten                   2.20
                                  call regarding Investigation (.70); review precedent matters in connection
                                  with scope of investigation (.40); analyze issues regarding scope of
                                  investigation (.60)
06/30/2022     Thompson, Grace Attend call with Katten team regarding next steps for investigation (.70);                     1.50
                                 correspondence with J. Greer regarding GWG litigation (.40); review chart
                                 from A. Pecoraro regarding Ben (.40)
06/30/2022     Mitchell, John    Attend a portion of call with Katten team regarding investigation tasks and                  0.40
                                 planning (.40)
06/30/2022     Miranda, Loredana Call with Katten regarding work streams for investigation (.70)                              0.70



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Matter:             397894.00021
Invoice #:          9020089972                                                                          October 18, 2022
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Date           Timekeeper         Description                                                                        Hours
06/30/2022     Roitman, Marc      Call with Katten regarding work plan (.70)                                               0.70
06/30/2022     Archiyan, Yelena   Review chart of transactions between GWG and related parties (.40); call                 1.50
                                  with Katten team regarding investigation (.70); review chart of
                                  transactions between GWG and Ben LP (.40)
                                                                                          Total Hours :               65.10




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Matter:             397894.00021
Invoice #:          9020089972                                                     October 18, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        1.20            1,585.00               1,902.00
King, Geoff                                           26.90            1,145.00              30,800.50
Roitman, Marc                                          2.50            1,145.00               2,862.50
Barnowski, Dan                                        13.70            1,125.00              15,412.50
Mitchell, John                                         0.40            1,050.00                 420.00
Archiyan, Yelena                                       1.70              875.00               1,487.50
Thompson, Grace                                        2.50              800.00               2,000.00
Pecoraro, Andrew                                      11.40              775.00               8,835.00
Miranda, Loredana                                      4.80              580.00               2,784.00

                                     Sub Total :      65.10   Sub Total :                    66,504.00
                                     Total Hours :    65.10   Total Fees              66,504.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 24, 2022
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through July 31, 2022



Fees Total.............................................................................................................................................................                 42,862.00
Total Amount Due ..............................................................................................................................................                         42,862.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00002
Invoice #:          9020091087                                                                                 October 24, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                            Hours
07/01/2022     King, Geoff           Review materials regarding retention issues (.40)                                            0.40
07/01/2022     Thompson, Grace Call and correspondence with N. Lesar regarding parties in interest and                            0.40
                               retention application (.40)
07/01/2022     Reisman, Steven       Follow up regarding retention issues related to Katten's retention                           0.30
                                     application (.30)
07/06/2022     King, Geoff           Address issues in connection with Katten retention application (.40);                        0.80
                                     discuss same with S. Reisman (.20); review portion of draft retention
                                     application (.20)
07/06/2022     Thompson, Grace Revise retention application (.30); review list of disclosures from T.                             1.00
                               Neddermeyer (.30); correspondence with G. King and T. Neddermeyer
                               regarding follow-up (.40)
07/06/2022     Reisman, Steven       Confer with G. King regarding Katten retention issues (.20); review                          0.50
                                     revised retention application (.30)
07/07/2022     King, Geoff           Emails with Katten team regarding retention matters (.40)                                    0.40
07/07/2022     Thompson, Grace Provide comments on retention application (2.90); provide comments on                              4.60
                                 proposed order and declarations (1.10); correspondence with G. King and
                                 T. Neddermeyer regarding follow-up questions on disclosures (.20);
                                 correspond with L. Miranda regarding retention application (.20); call with
                                 L. Miranda regarding same (.20)
07/07/2022     Miranda, Loredana Revise Katten's retention application per comments from G. Thompson                              2.00
                                 (1.60); emails with G. Thompson regarding same (.20); call with G.
                                 Thompson regarding same (.20)
07/07/2022     Reisman, Steven       Continue work on Katten's retention application, proposed order and                          0.90
                                     review of declarations (.60); confer with J. Stein regarding matters related
                                     to same (.30)
07/08/2022     King, Geoff           Review and revise draft retention application (1.40); address retention                      2.20
                                     application open items (.70); review research related to retention
                                     application issues (.10)
07/08/2022     Thompson, Grace Revise retention application per comments from G. King (1.30); call with                           2.00
                                 T. Neddermeyer regarding follow-up questions about disclosures (.30);
                                 correspondence with G. King and T. Neddermeyer regarding the same
                                 (.20); follow-up call with T. Neddermeyer (.20)
07/08/2022     Miranda, Loredana Review case law on section 327(e) of the Bankruptcy Code (1.40); email                           1.50
                                 G. King regarding same (.10)
07/08/2022     Reisman, Steven       Review revised retention application (.60); emails with Katten regarding                     1.20
                                     scope and activities on behalf of Committee (.20); confer with J. Stein
                                     regarding matters related to same (.40)
07/08/2022     Archiyan, Yelena      Review Katten’s fully executed engagement letter for drafting retention                      0.20
                                     application (.20)
07/11/2022     Thompson, Grace Correspondence with G. King and T. Neddermeyer regarding retentention                              0.50
                               application and disclosures (.30); draft case budget (.20)
07/11/2022     Siena, Marie          Revise budget and staffing plan (.30)                                                        0.30
07/11/2022     Reisman, Steven       Review revised budget and staffing plan (.20)                                                0.20
07/12/2022     Thompson, Grace Review correspondence regarding Katten retention application (.20)                                 0.20
07/13/2022     Giglio, Cindi         Comment on retention application (.80); emails with Katten regarding                         0.90
                                     same (.10)


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Invoice #:          9020091087                                                                               October 24, 2022
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Date           Timekeeper         Description                                                                             Hours
07/13/2022     Thompson, Grace Revise fee application materials per instructions from S. Reisman and G.                         1.00
                                 King (.20); correspondence with N. Lesar regarding retention application
                                 and disclosures (.30); revise portions of retention application per
                                 comments from C. Giglio (.50)
07/13/2022     Miranda, Loredana Revise portions of retention application with C. Giglio's comments (.90);                      1.00
                                 emails with G. Thompson regarding same (.10)
07/13/2022     Reisman, Steven    Confer with G. Thompson regarding revisions to retention application                          0.30
                                  (.30)
07/14/2022     Archiyan, Yelena   Review draft of Katten retention application for local jurisdictional                         0.30
                                  compliance (.30)
07/19/2022     King, Geoff        Review current version of retention application (.30)                                         0.30
07/19/2022     Thompson, Grace Revise retention application to reflect recent developments regarding ID/                        0.50
                               CRO motion (.30); revise budget per comments from G. King (.20)
07/19/2022     Reisman, Steven    Continue to revise retention application regarding Independent Director                       0.30
                                  representation and disclosures (.30)
07/20/2022     King, Geoff        Review revised retention application materials (.20)                                          0.20
07/20/2022     Thompson, Grace Correspondence with S. Reisman and G. King regarding retention                                   0.20
                               application and budget (.20)
07/20/2022     Reisman, Steven    Emails with G. Thompson regarding retention application and comments                          0.20
                                  to budget (.20)
07/21/2022     King, Geoff        Calls with S. Reisman regarding retention application (.30); revise                           1.70
                                  retention application (.80); review precedent retention applications (.60)
07/21/2022     Thompson, Grace Revise Katten retention application per comments from S. Reisman (.60);                          1.40
                                 further revise per comments from M. Roitman (.60); related
                                 correspondence with L. Miranda (.20)
07/21/2022     Miranda, Loredana Revise retention application (.50); emails with G. Thompson regarding                          0.60
                                 same (.10)
07/21/2022     Roitman, Marc     Comment on draft Katten retention application (.80)                                            0.80
07/21/2022     Reisman, Steven    Confer with G. Thompson regarding revisions to retention application,                         1.10
                                  declaration and other disclosures as well as proposed order (.30); follow
                                  up emails regarding same (.40); follow up regarding matters related to
                                  retention application, next steps, revisions and need for review of
                                  precedent retention applications for appropriate disclosures in Southern
                                  District of Texas (.40)
07/25/2022     King, Geoff        Review and revise retention application (1.20)                                                1.20
07/26/2022     Giglio, Cindi      Revisions to retention application (.90); emails with Katten team regarding                   1.20
                                  same (.30)
07/26/2022     King, Geoff        Final review of retention application (.70); address issues regarding                         1.00
                                  disclosures in retention application (.30)
07/26/2022     Thompson, Grace Revise retention application per comments from S. Reisman, M. Roitman,                           1.30
                               and G. King (.70); revise budget (.20); revise Schedules for retention
                               application (.20); correspondence with Katten team regarding retention
                               application (.20)
07/26/2022     Roitman, Marc   Revise Katten retention application (1.70)                                                       1.70
07/26/2022     Reisman, Steven    Review, revise and modify retention application for Katten (.90); revise                      2.20
                                  affidavit of J. Stein (.60); revise affidavit of S. Reisman (.40); review final
                                  submission for forwarding to clients for review and approval (.30)
07/28/2022     Thompson, Grace Prepare materials in connection with retention application (.20)                                 0.20
07/28/2022     Siena, Marie       Review and revise materials for June fee statement (.60)                                      0.60


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Date           Timekeeper         Description                                                                           Hours
07/28/2022     Reisman, Steven    Continue to work on matters related to retention application and next steps                 0.20
                                  (.20)
07/29/2022     Giglio, Cindi      Finalize retention application with G. Thompson (.30)                                       0.30
07/29/2022     Thompson, Grace Revise retention application per comments from Mayer Brown (.60); call                         1.20
                               with C. Giglio regarding the same (.30); correspondence with Katten
                               regarding finalization and filing of Katten retention application (.30)
07/29/2022     Siena, Marie       File retention application on the court's docket (.40); email noticing agent                0.80
                                  regarding service of same (.20); emails with G. Thompson regarding same
                                  (.20)
                                                                                            Total Hours :                42.30




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TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        7.40            1,585.00              11,729.00
Giglio, Cindi                                          2.40            1,350.00               3,240.00
King, Geoff                                            8.20            1,145.00               9,389.00
Roitman, Marc                                          2.50            1,145.00               2,862.50
Archiyan, Yelena                                       0.50              875.00                 437.50
Thompson, Grace                                       14.50              800.00              11,600.00
Miranda, Loredana                                      5.10              580.00               2,958.00
Siena, Marie                                           1.70              380.00                 646.00

                                     Sub Total :      42.30   Sub Total :                    42,862.00
                                     Total Hours :    42.30   Total Fees              42,862.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 24, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: DIP

For Professional Services Rendered Through July 31, 2022



Fees Total.............................................................................................................................................................                 27,404.50
Total Amount Due ..............................................................................................................................................                         27,404.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: DIP

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
07/03/2022     Reisman, Steven    Update regarding DIP motion and review underlying documentation (1.10)                     1.10
07/03/2022     Archiyan, Yelena   Review materials regarding DIP motion (.10)                                                0.10
07/04/2022     King, Geoff        Begin review of DIP materials as-filed (.60); review summary prepared by                   0.70
                                  Katten team (.10)
07/04/2022     Miranda, Loredana Email G. King regarding materials on Debtor's DIP motion (.20); prepare                     0.60
                                 email to Independent Directors regarding DIP motion (.30); email G. King
                                 regarding same (.10)
07/11/2022     King, Geoff        Review revisions to DIP documents (.30)                                                    0.30
07/12/2022     Giglio, Cindi      Review DIP open issues (.40)                                                               0.40
07/12/2022     King, Geoff        Review materials in connection with DIP Objection (.50)                                    0.50
07/12/2022     Reisman, Steven    Continue to review DIP materials and DIP feedback from Bondholder                          1.60
                                  Committee (.80); update Katten team regarding open issues on DIP
                                  financing (.40); emails with team regarding same (.40)
07/12/2022     Archiyan, Yelena   Review DIP materials (.40); review revised DIP documents (.50); review                     1.00
                                  update on DIP discussions with Committee (.10)
07/13/2022     Giglio, Cindi      Review DIP objection (.50); review summary email (.10)                                     0.60
07/13/2022     King, Geoff        Review issues related to proposed DIP (.80)                                                0.80
07/13/2022     Roitman, Marc      Review Bondholder Committee objection to DIP motion (.80); draft email                     1.40
                                  to Independent Directors regarding same (.60)
07/14/2022     Reisman, Steven    Review materials regarding GWG DIP financing and objection of                              1.30
                                  Bondholder Committee (.90); correspondence with Katten team members
                                  regarding Bondholder Committee objection and potential resolution to
                                  same (.40)
07/14/2022     Archiyan, Yelena   Review Bondholder Committee limited objection to Debtors’ DIP motion                       0.90
                                  (ECF No. 542) (.10); review Cravath mark-ups to DIP documents (.50);
                                  review limited objection of the DLP IV Lenders to Supplement to the
                                  Debtor’s DIP Motion (ECF No. 556 and 557) (.30)
07/16/2022     King, Geoff        Review proposed DIP response (.20)                                                         0.20
07/16/2022     Roitman, Marc      Call with Debtors’ management and advisors regarding DIP update and                        1.80
                                  related matters (.90); review draft omnibus DIP reply (.60); emails with
                                  Mayer Brown regarding same (.30)
07/16/2022     Reisman, Steven    Review changes to DIP financing motion (.50); follow up regarding final                    2.00
                                  DIP proposal and matters related to same (.60); participate in meeting of
                                  CRO and company management to discuss comments to DIP financing
                                  facility and Bondholder Committee's objection (.90)
07/17/2022     Archiyan, Yelena   Review draft of Debtors’ responses to DLP IV Lender Parties’ First Set of                  0.60
                                  Requests for Admission to the Debtors (.20); review as filed omnibus
                                  reply by Debtors to objections to Debtors’ supplement to DIP motion (.40)
07/18/2022     King, Geoff        Review matters related to DIP objections (.80); prepare materials for                      1.40
                                  Special Committee in connection with resolving DIP objections (.60)
07/18/2022     Reisman, Steven    Review updates regarding efforts to resolve DIP objection with                             0.60
                                  Bondholder Committee (.60)
07/18/2022     Archiyan, Yelena   Review final DIP order redline (.10); review materials on replacement of                   0.40
                                  DIP financing (.10); review notice of unredacted equity (ECF No. 583)
                                  commitment letter by Owl Rock Capital Advisors (ECF No. 580) (.20)



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Date           Timekeeper         Description                                                                        Hours
07/19/2022     King, Geoff        Review revisions to DIP materials (.40); emails to Special Committee                     0.60
                                  regarding DIP resolution (.20)
07/19/2022     Reisman, Steven    Review draft of DIP modifications and emails regarding modifications to                  2.40
                                  DIP facility (1.40); update regarding DIP hearing and communications
                                  with counsel (.70); confer with J. Stein and T. Horton regarding matters
                                  related to DIP (.30)
                                                                                          Total Hours :               21.30




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Matter:             397894.00004
Invoice #:          9020091088                                                     October 24, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        9.00            1,585.00              14,265.00
Giglio, Cindi                                          1.00            1,350.00               1,350.00
King, Geoff                                            4.50            1,145.00               5,152.50
Roitman, Marc                                          3.20            1,145.00               3,664.00
Archiyan, Yelena                                       3.00              875.00               2,625.00
Miranda, Loredana                                      0.60              580.00                 348.00

                                     Sub Total :      21.30   Sub Total :                    27,404.50
                                     Total Hours :    21.30   Total Fees              27,404.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Employee Matters

For Professional Services Rendered Through July 31, 2022



Fees Total.............................................................................................................................................................                 47,395.00
Total Amount Due ..............................................................................................................................................                         47,395.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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RE: Employee Matters

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
07/19/2022     King, Geoff        Review shared services agreement (.20); review precedent materials in                        0.60
                                  connection with shared services analysis (.40)
07/19/2022     Reisman, Steven    Review shared services agreement (.30); review feedback on same from                         1.10
                                  various professionals for debtors (.80)
07/20/2022     King, Geoff        Call with D. Chavenson regarding employee issues (.30); call with FTI                        1.00
                                  regarding employee issues (.30); review KERP materials (.40)
07/20/2022     Archiyan, Yelena   Review most recent draft of the KEIP/KERP issues (.20)                                       0.20
07/22/2022     King, Geoff        Review initial steps in connection with shared services agreement (.20)                      0.20
07/22/2022     Reisman, Steven    Continue to work on analysis of shared services agreement and appropriate                    0.60
                                  allocation to debtors (.60)
07/26/2022     King, Geoff        Emails with M. Roitman and C. Giglio regarding KERP issues (1.00);                           2.50
                                  begin summary of KEIP issues (.90); review materials regarding employee
                                  issues (.60)
07/26/2022     Reisman, Steven    Follow up regarding matters related to key employee retention program or                     1.10
                                  incentive program (.40); review of underlying documentation (.30);
                                  prepare for tomorrow's call regarding same (.40)
07/27/2022     Giglio, Cindi      Attend call regarding KERP issues (1.00)                                                     1.00
07/27/2022     King, Geoff        Review issues regarding key employees (.70); review precedent materials                      4.30
                                  in connection with KEIP issues (.60); review public filings regarding
                                  employee issues (.70); prepare for KEIP call (.20); call with Mayer Brown,
                                  PJT and FTI regarding KEIP (1.00); prepare employee fact sheet (.80);
                                  call with S. Reisman (.30)
07/27/2022     Thompson, Grace Attend call with Debtors' professionals and Katten regarding KEIP/KERP                          1.70
                               (1.00); draft summary for Katten team (.70)
07/27/2022     Winters, Julia  Emails with Katten regarding KEIP/KERP issues (.40)                                             0.40
07/27/2022     Miranda, Loredana Call with M. Roitman regarding memorandum related to the shared                               2.20
                                 services agreement and section 365 of the Bankruptcy Code (.30); review
                                 case law on section 365 of the Bankruptcy Code (.70); begin to draft
                                 memorandum regarding the shared services agreement and section 365 of
                                 the Bankruptcy Code (1.20)
07/27/2022     Roitman, Marc     Review Shared Services Agreement and summary thereof (.90); call with                         2.80
                                 L. Miranda regarding research on section 365 and executory contracts
                                 (.30); call with with Debtors' professionals regarding key employees
                                 (1.00); review analysis of potential key employee plans in preparation for
                                 same (.60)
07/27/2022     Reisman, Steven Participate in call with debtors professional regarding KEIP and KERP                           2.20
                                 (1.00); prepare for same (.30); review materials and positions of
                                 Independent Directors with G. King (.30)
07/28/2022     King, Geoff       Review precedent materials in connection with shared services agreement                       3.00
                                 (.60); review research regarding executory contract issues (.70); analyze
                                 issues regarding KEIP timeline (.40); review draft motion regarding
                                 employee issues (.70); review shared services agreement (.20); prepare
                                 summary regarding employment issues (.40)
07/28/2022     Thompson, Grace Research legal framework for KEIP/KERPs in SDTX (.70); begin drafting                           1.50
                               presentation regarding the same (.80)




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Invoice #:          9020091089                                                                          October 24, 2022
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Date           Timekeeper         Description                                                                        Hours
07/28/2022     Miranda, Loredana Review case law on section 365 of the Bankruptcy Code (1.40); draft                       5.20
                                 memorandum of law regarding section 365 Bankruptcy Code and the
                                 shared services agreement (3.60); emails with M. Roitman and G. King
                                 regarding same (.20)
07/28/2022     Reisman, Steven    Continue to follow up regarding matters related to shared services                       1.60
                                  agreement and analysis of issues regarding same (.80); review draft
                                  motion regarding employee issues (.80)
07/28/2022     Archiyan, Yelena   Review summary of call regarding KEIP/KERP issues (.20); review draft                    0.50
                                  of motion to enforce shared services agreement (.30)
07/29/2022     Thompson, Grace Draft KEIP/KERP slides for Special Committee deck (2.50);                                   3.00
                                 correspondence with L. Miranda and A. Pecoraro about the Shared
                                 Services Agreement slides for Special Committee deck (.50)
07/29/2022     Miranda, Loredana Review case law on section 365 of the Bankruptcy Code (.70); revise                       5.40
                                 memorandum of law regarding section 365 Bankruptcy Code (2.40);
                                 emails with M. Roitman and G. King regarding same (.10); prepare
                                 presentation regarding section 365 of the bankruptcy code (2.10); emails
                                 with G. Thompson regarding same (.10)
07/29/2022     Roitman, Marc     Review analysis of Shared Services Agreement in connection with                           2.70
                                 analysis of go-forward employee treatment (.80); review research
                                 regarding executory contracts in connection with same (.70); revise draft
                                 presentation materials in connection with same (.90); emails with Katten
                                 regarding same (.30)
07/29/2022     Reisman, Steven    Review materials for Special Committee presentation on KEIP/KERP                         1.60
                                  (1.10); follow up with Independent Directors regarding KEIP/KERP issues
                                  (1.50)
                                                                                          Total Hours :               46.40




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Matter:             397894.00005
Invoice #:          9020091089                                                     October 24, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        8.20            1,585.00              12,997.00
Giglio, Cindi                                          1.00            1,350.00               1,350.00
Winters, Julia                                         0.40            1,180.00                 472.00
King, Geoff                                           11.60            1,145.00              13,282.00
Roitman, Marc                                          5.50            1,145.00               6,297.50
Archiyan, Yelena                                       0.70              875.00                 612.50
Thompson, Grace                                        6.20              800.00               4,960.00
Miranda, Loredana                                     12.80              580.00               7,424.00

                                     Sub Total :      46.40   Sub Total :                    47,395.00
                                     Total Hours :    46.40   Total Fees              47,395.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 24, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through July 31, 2022



Fees Total............................................................................................................................................................. 412,647.00
Total Amount Due .............................................................................................................................................. 412,647.00                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

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RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
07/01/2022     Roitman, Marc      Further revise resolutions for delegation of authority to Special Committee                1.40
                                  and Investigations Committee (1.40)
07/01/2022     Reisman, Steven    Review and revise resolutions regarding delegation of authority to Special                 1.40
                                  Committee and Investigations Committee (1.10); follow up with Katten
                                  team members regarding same (.30)
07/01/2022     Archiyan, Yelena   Review GWG draft amended and restated UWC regarding delegation of                          0.30
                                  authority to Special Committee (.30)
07/02/2022     Barnowski, Dan     Correspondence with Katten team regarding potential objection to CRO/                      0.30
                                  ID motion (.30)
07/03/2022     King, Geoff        Review materials in connection with resolutions (.20)                                      0.20
07/03/2022     Reisman, Steven    Confer with clients regarding feedback on resolutions and                                  0.70
                                  recommendations regarding same (.70)
07/06/2022     Giglio, Cindi      Review committee list of requests regarding CRO motion (.40)                               0.40
07/06/2022     Barnowski, Dan     Analyze Bondholder Committee requests for resolving the CRO and                            0.80
                                  investigation committee motions (.40); communications with Katten team
                                  about Bondholder Committee requests to resolve CRO and Investigation
                                  Committee motions (.40)
07/06/2022     King, Geoff        Call with D. Chavenson regarding upcoming hearing on CRO/ID                                0.10
                                  appointment motion (.10)
07/06/2022     Reisman, Steven    Review Bondholder Committee's proposal for resolving CRO and                               2.00
                                  Investigations Committee motions and matters related to same (.60);
                                  confer with Akin regarding same (.30); follow up with Katten team
                                  members regarding feedback on efforts to resolve dispute with Bondholder
                                  Committee (.80); discussion with client related to same (.30)
07/07/2022     King, Geoff        Call with M. Roitman and S. Reisman regarding resolutions (.50); review                    1.20
                                  matters in connection with proposed resolutions (.60); call with S.
                                  Reisman and C. Giglio regarding resolutions (.10)
07/07/2022     Roitman, Marc      Call with G. King and S. Reisman regarding resolutions (.50)                               0.50
07/07/2022     Reisman, Steven    Discussions with M. Roitman and G. King regarding proposal to resolve                      0.90
                                  revised resolutions of Bondholder Committee objection (.50); emails with
                                  C. Giglio regarding same (.10); follow up regarding revisions to
                                  resolutions (.30)
07/07/2022     Archiyan, Yelena   Review amended Board resolutions (redline) (.10)                                           0.10
07/08/2022     Barnowski, Dan     Analyze draft revised resolutions (.20)                                                    0.20
07/08/2022     King, Geoff        Revise resolutions (.90); review and revise materials related to amended                   4.10
                                  resolutions (.70); analyze issues in connection with proposed corporate
                                  governance changes (.70); call with S. Reisman regarding resolutions
                                  (.40); further revise resolutions (.30); call with J. Stein regarding
                                  resolutions (.10); prepare materials in connection with revised resolutions
                                  (.40); correspondence with Katten team members regarding resolutions
                                  (.60)
07/08/2022     Miranda, Loredana Revise GWGH Board resolutions with G. King's comments (.60)                                 0.60
07/08/2022     Roitman, Marc      Revise Independent Director and CRO Resolutions (2.10); draft response                     3.80
                                  to Bondholder Committee issues list (1.70)




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Date           Timekeeper         Description                                                                          Hours
07/08/2022     Reisman, Steven    Continue to work on matters related to efforts to resolve objection of                     3.20
                                  Bondholder Committee to CRO retention and resolutions (1.90); numerous
                                  discussions with Independent Directors throughout the day (.90);
                                  discussions with G. King regarding revisions to resolutions and efforts to
                                  settle issues (.40)
07/08/2022     Archiyan, Yelena   Review further revised amended & restated UWC (multiple versions)                          0.50
                                  (.30); review amended Board resolutions and CRO/ID Motion issues list
                                  (.20)
07/10/2022     Giglio, Cindi      Attend precall with Katten regarding resolutions (.80); revise resolutions                 1.40
                                  (.60)
07/10/2022     Barnowski, Dan     Katten team call to prep for call with Mayer Brown about resolutions                       3.30
                                  (.80); call with Mayer Brown regarding revisions to draft resolutions
                                  (1.70); follow-up call with Mayer Brown (.30); review and revise further
                                  revised resolutions (.50)
07/10/2022     King, Geoff        Revise Board materials (1.10); review precedent resolutions (.40); attend                  8.20
                                  pre-call with Katten team (.80); attend call with Mayer Brown and
                                  Independent Directors regarding resolutions (1.70); call with M. Roitman
                                  regarding resolutions (.60); calls with S. Reisman regarding resolutions
                                  (.20); call with Mayer Brown regarding resolutions (.30); calls with Katten
                                  team regarding resolutions (.40); call with D. Barnowski regarding
                                  deposition preparation (.10); review and revise various version of
                                  resolutions and issues list (1.80); review US Trustee comments (.30);
                                  correspondence with Katten and Mayer Brown team regarding same (.50)
07/10/2022     Thompson, Grace Attend Katten only precall (.80); attend call with Katten and Mayer Brown                     3.10
                               regarding Amended Resolutions (1.70); revise notes from call (.30);
                               follow-up call with Mayer Brown and Katten regarding same (.30)
07/10/2022     Roitman, Marc   Call with Debtors' Board and advisors regarding case updates and                              5.10
                               upcoming hearing (1.70); Katten pre-call in preparation for same (.80);
                               Katten follow-up call after Board meeting (.40); revise Independent
                               Director and CRO Resolutions (1.30); call with G. King regarding
                               resolutions (.60); follow-up call with Mayer Brown and Katten regarding
                               CRO and ID Motion (.30)
07/10/2022     Reisman, Steven Review and comment on proposed resolutions related to Investigations                          5.00
                               Committee and Special Committee in response to feedback from UST and
                               Bondholder Committee (1.40); participate in discussions with J. Stein and
                               other Directors regarding same as well as management of GWG (.60);
                               participate in extensive conference call with Mayer Brown regarding mark
                               up of resolutions and feedback on draft resolutions (1.70); participate in
                               pre-call with Katten regarding feedback on resolutions (.80); call with G.
                               King regarding the same (.20); participate in follow-up call with Mayer
                               Brown regarding resolutions (.30)
07/11/2022     Pecoraro, Andrew Call with G. King, D. Barnowski, and T. Horton (Independent Director)                        1.20
                                regarding collection of emails (.30); review and edit draft motion to
                                compel SEC documents (.90)
07/11/2022     Giglio, Cindi      Initial review of motion to compel (.30)                                                   0.30
07/11/2022     Barnowski, Dan     Teleconference with C. Kelly and G. King concerning document requests                      2.90
                                  and depositions (.60); follow up email to J. Stein concerning same (.20);
                                  review and analysis of deposition notice and document request issues
                                  (.50); teleconference with G. King and T. Horton concerning document
                                  production issues (.30); revise opposition to motion to compel production
                                  of securities documents (.50); review J. Stein documents for privilege
                                  purposes (.80)




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Date           Timekeeper         Description                                                                            Hours
07/11/2022     King, Geoff        Call with Mayer Brown and D. Barnowski regarding discovery requests                          3.90
                                  for CRO/ID motion (.60); prepare materials in connection with deposition
                                  (.50); analyze issues regarding discovery matters (.70); calls with T.
                                  Horton regarding discovery for CRO/ID Motion (.30); review materials in
                                  connection with discovery request (.40); review draft brief (1.20); review
                                  Board resolutions (.20)
07/11/2022     Reisman, Steven    Review and provide comments on revised resolutions (1.60); confer with                       3.00
                                  Katten team members regarding feedback on resolutions (.60); review
                                  documents and correspondence regarding T. Horton and J. Stein
                                  Production of documents to Bondholder Committee (.80)
07/12/2022     Giglio, Cindi      Call with G. King regarding upcoming hearing issues (.70); email G. King                     2.20
                                  regarding same (.10); review open issues list and emails (.40); attend J.
                                  Stein deposition prep session (1.00)
07/12/2022     Barnowski, Dan     Attend deposition prep session with J. Stein (1.00); prep for first                          1.90
                                  deposition prep session with J. Stein (.50); teleconference with G. King
                                  concerning next steps (.20); revise revised opposition to motion to compel
                                  (.20)
07/12/2022     King, Geoff        Analyze issues regarding brief and reply brief (.40); review and analyze                     6.10
                                  matters in connection with document production (.80); review prior
                                  materials in connection with SEC discovery matters (.40); review issues in
                                  connection with upcoming deposition prep session (.60); call with D.
                                  Chavenson regarding hearing issues (.20); calls with S. Reisman regarding
                                  hearing issues (.40); call with C. Giglio regarding hearing issues (.70); call
                                  with D. Barnowski regarding hearing issues (.20); calls with C. Kelley
                                  regarding hearing issues (.40); prepare for deposition prep call (.30);
                                  attend Deposition prep call (1.00); review draft brief (.70)
07/12/2022     Thompson, Grace Attend precall with Katten regarding J. Stein deposition prep (.30); attend                     3.40
                                 deposition prep session with J. Stein in connection with CRO/ID Motion
                                 (1.00); review and compile documents for J. Stein in connection with
                                 deposition prep and productions to Bondholders' committee (1.60); review
                                 Bondholder Committee objection to CRO/ID Motion (.20);
                                 correspondence with Katten regarding the same (.30)
07/12/2022     Miranda, Loredana Review documents related to J. Stein regarding deposition preparation                         0.90
                                 (.90)
07/12/2022     Roitman, Marc     Attend deposition preparation session with J. Stein and Debtors' counsel in                   1.40
                                 connection with CRO/ID Motion (1.00); review materials in preparation
                                 for same (.40)
07/12/2022     Reisman, Steven    Analyze materials in connection with Bondholder Committee objection to                       5.60
                                  CRO/ID motion (1.20); review recent materials related to CRO/ID motion
                                  (.70); review materials related to resolutions appointing independent
                                  directors (.80); review matters regarding potential response to Bondholder
                                  Committee objection (.40); review materials regarding Debtors' response
                                  to motion to compel production of SEC documents (1.30); discussions
                                  with T. Horton, J. Stein and D. Chavenson regarding matters related to
                                  GWG and various strategy regarding responding to Bondholder
                                  Committee objections (1.20)
07/12/2022     Archiyan, Yelena   Review Debtor’s brief regarding Official Committee of Bondholders’                           0.20
                                  Motion to Compel Debtors to Produce Documents related to Securities
                                  Litigation (.20)
07/13/2022     Giglio, Cindi      Review Bondholder Committee objection (.40); call regarding script for                       3.60
                                  hearing (1.00); discuss with S. Reisman (.60); review Mayer Brown
                                  presentation and G. King comments (.30); attend Board call (1.30)




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Date           Timekeeper         Description                                                                         Hours
07/13/2022     Barnowski, Dan     Prep for deposition preparation session of Jeff Stein (2.10); analysis of                 4.60
                                  issues pertinent to depositions of other Board members (.50); analyze
                                  committee’s objection to motion to appoint independent directors and
                                  CRO (.40); attention to strategy issues concerning depositions of M.
                                  Holland and T. Evans (.60); attend portion of Board of Directors meeting
                                  (1.00)
07/13/2022     Werlinger, Eric    Correspond with D. Barnowski and A. Pecoraro regarding forthcoming                        0.70
                                  deposition of company executives related to CRO/ID motion (.70)
07/13/2022     King, Geoff        Review objection (.40); emails with Katten team regarding same (.30); call                5.10
                                  with S. Reisman regarding July 18 hearing issues (.40); call with C. Giglio
                                  and M. Roitman and G. Thompson regarding July 18 hearing issues (1.00);
                                  review issues related to director and CRO retention (.70); review
                                  precedent materials in connection with director and CRO motion (.80);
                                  prepare materials in connection with potential objections for July 18
                                  hearing (1.30); call with D. Chavenson regarding July 18 hearing issues
                                  (.10); call with D. Barnowski regarding discovery (.10)
07/13/2022     Thompson, Grace Call with C. Giglio, G. King, and M. Roitman regarding hearing script                        3.40
                                 (1.00); correspondence regarding Resolutions comparison chart (.10);
                                 related discussions with L. Miranda (.20); revise chart (.10); draft hearing
                                 script for July 18 hearing (1.50); revise script per comments from C.
                                 Giglio, G. King, and M. Roitman (.50)
07/13/2022     Miranda, Loredana Draft response chart to the Bondholder Committee's objection to the CRO                    4.50
                                 and Independent Directors motion (2.60); calls with G. Thompson
                                 regarding same (.20); call with M. Roitman regarding same (.20); emails
                                 with G. Thompson and M. Roitman regarding same (.20); revise response
                                 chart to the Bondholder Committee's objection to the CRO and
                                 Independent Directors motion with M. Roitman comments (1.30)
07/13/2022     Roitman, Marc     Review Bondholder Committee objection to CRO/ID Motion (1.50); draft                       6.30
                                 email to Independent Directors regarding same (.90); emails with Katten
                                 regarding same (.30); call with Independent Director regarding same (.20);
                                 call with M. Rosella regarding research in connection with CRO
                                 appointment (.40); call with Katten regarding preparation for hearing on
                                 CRO/ID Motion (1.00); call with L. Miranda regarding issues list related
                                 to Resolutions (.20); call with M. Rosella regarding compensation research
                                 (.20); attend Board call regarding delegating resolutions to appoint CRO
                                 and Independent Directors (1.30); review materials in preparation for same
                                 (.30)
07/13/2022     Rosella, Michael Attend call with M. Roitman regarding chief restructuring officer                           4.90
                                 compensation research (.20); review pleadings from numerous chapter 11
                                 cases regarding CRO retention and compensation issues (2.70); prepare
                                 comprehensive chart with research summary (2.00)
07/13/2022     Reisman, Steven    Review Bondholder Committee objection to CRO and Independent                              6.30
                                  Director motion (2.10); discussions with Katten team members regarding
                                  same (.20); participate in Board call regarding delegating resolutions to
                                  appoint CRO (1.30); discussions with Katten team members regarding
                                  preparing for hearing on CRO Independent Director motion and need for
                                  evidence, submissions, declarations, regarding same (1.00); discussions
                                  with Katten team regarding strategy related to depositions of
                                  management, Board, Bondholder Committee members and others (.70);
                                  discussions with C. Giglio regarding hearing, outline of script for
                                  hearing and revisions to same (.60); confer with G. King regarding
                                  matters related to same (.40)




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07/13/2022     Archiyan, Yelena   Review Bondholder Committee objection to debtors’ motion for entry of                        2.40
                                  an order authorizing Jeff Stein as CRO and appointing J. Stein and A.
                                  Horton as new Independent Directors (ECF No. 535) (.80); review M.
                                  Roitman summary of same (.10); review Bondholder Committee opening
                                  brief regarding the Debtors’ refusal to produce documents related to the
                                  ongoing SEC investigation (ECF No. 537) (.50); review joinder and
                                  statement in support of the Bondholder Committee opening brief regarding
                                  the Debtors’ refusal to produce documents related to the ongoing SEC
                                  investigation (ECF No. 539) (.20); review summary of examples of CRO
                                  comp (.10); review situation update slide deck (.50); review redline of
                                  Board resolutions (.20)
07/14/2022     Pecoraro, Andrew Attend deposition of M. Holland regarding Bondholder Committee                                 6.80
                                objections to Debtor's motion to appoint a CRO and Independent
                                Directions (3.50); draft summary regarding same (.70); attend and observe
                                deposition of T. Evans regarding Bondholder Committee objections to
                                Debtor's motion to appoint a CRO and Independent Directors (1.80); draft
                                summary regarding same (.80)
07/14/2022     Giglio, Cindi      Emails regarding motion to compel SEC documents (.50); prepare J. Stein                      2.90
                                  for deposition (1.60); follow up on issues related to pending motions and
                                  hearing (.50); call with G. King regarding the same (.20); call with G.
                                  King and S. Reisman regarding the same (.10)
07/14/2022     Barnowski, Dan     Prepare for J. Stein deposition (1.50); attend deposition preparation                        3.90
                                  meeting with J. Stein (1.60); multiple teleconferences with C. Kelly of
                                  Mayer Brown concerning SEC document issues (.20); review memoranda
                                  analyzing results of today’s depositions (.40); teleconference with M.
                                  Roitman concerning today’s depositions (.20)
07/14/2022     Werlinger, Eric    Attend deposition of M. Holland (3.50); correspond with D. Barnowski                         6.00
                                  regarding privilege issues (.20); attend deposition of T. Evans (1.80);
                                  review summaries of depositions prepared by A. Pecoraro (.50)
07/14/2022     King, Geoff        Calls with S. Reisman regarding July 18 hearing issues (.90); call with J.                   9.80
                                  Stein regarding deposition issues (.10); call with L. Chiappetta regarding
                                  July 18 hearing issues (.20); attend meeting with J. Stein and D.
                                  Barnowski and C. Kelley regarding deposition (1.60); call with C. Giglio
                                  regarding July 18 hearing issues (.20); call with D. Barnowski regarding
                                  discovery issues (.10); call with C. Giglio and S. Reisman regarding July
                                  18 hearing issues (.10); call with M. Roitman regarding July 18 hearing
                                  issues (.20); calls with T. Horton regarding preparation for hearing (.50);
                                  communications with Katten team regarding hearing issues (.40); prepare
                                  talking point summary in connection with upcoming hearing (.80); review
                                  draft protective order (.30); review materials in connection with SEC
                                  discovery issues (.40); prepare summary regarding resolution of discovery
                                  issues (.40); analyze issues regarding discovery dispute resolution (.20);
                                  emails with Katten regarding hearing preparation (.30); review emails
                                  regardi
07/14/2022     Thompson, Grace Attend T. Evans deposition (partial) (1.20); prepare materials for hearing                      1.50
                                 on CRO/ID motion (.30)
07/14/2022     Miranda, Loredana Prepare materials for Independent Directors for binder for July 18, 2022                      1.10
                                 hearing (1.10)
07/14/2022     Roitman, Marc     Attend T. Evans deposition (1.80); review documents in preparation for                        6.40
                                 same (.90); partial attendance at preparation session for T. Evans
                                 deposition (.30); emails regarding summary of T. Evans deposition (.70);
                                 comment upon Debtors' reply brief to CRO/ID motion (2.30); call with G.
                                 King regarding upcoming hearing (.20); call with D. Barnowski regarding
                                 depositions (.20)



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07/14/2022     Reisman, Steven    Attend deposition of T. Evans (1.80); prepare for upcoming depositions                  13.90
                                  (1.00); attend deposition of M. Holland (3.50); participate in numerous
                                  discussions throughout the day with M. Stamer of Akin Gump and Mayer
                                  Brown regarding Bondholder Committee motion to compel SEC
                                  documents and CRO/ID appointment motion (2.40); review revised and
                                  discussed proposed settlement with J. Stein, A. Horton, G. King and C.
                                  Giglio of Katten including multiple phone conversations and emails
                                  throughout the day regarding same (1.30); review of response filed by
                                  Mayer Brown to Committee's Motion for production of SEC
                                  documentation and follow up regarding same (1.70); review of draft
                                  response to objection of Bondholder Committee regarding CRO/ID motion
                                  (1.20); follow up discussions with Katten team and Mayer Brown
                                  regarding strategy related to same (1.00)
07/14/2022     Archiyan, Yelena   Review updated CRO/ID issues chart (.20); review stipulated                                 1.00
                                  confidentiality and protective order (.30); review summary of T. Evans
                                  depo (.10); review National Founders LP’s Limited Objection (.10);
                                  review A. Pecoraro summary of T. Evans’ deposition (.10); review draft of
                                  Debtors’ response to the Bondholder Committee opening brief regarding
                                  its motion to compel production of documents (.20)
07/15/2022     Pecoraro, Andrew Attend deposition of J. Stein regarding Bondholder Committee objections                       3.20
                                to Debtors' motion to appoint a CRO and Independent Directors (2.20);
                                draft summary regarding same (1.00)
07/15/2022     Giglio, Cindi      Review and comment on reply briefs (1.20); correspondence regarding                         7.00
                                  same (.50); multiple calls to discuss replies (1.20); review Stein
                                  declaration (.30); review further edits (.40); call with T. Horton regarding
                                  hearing preparation (1.20); attend J. Stein deposition (2.20)
07/15/2022     Barnowski, Dan     Final prep for J. Stein deposition (.70); defend J. Stein deposition (2.20);                4.30
                                  teleconference with J. Stein concerning results of deposition (.20); strategy
                                  call with Katten team and T. Horton concerning his potential testimony
                                  (1.20)
07/15/2022     King, Geoff        Calls with J. Stein regarding July 18 hearing issues (.60); calls with S.               10.80
                                  Reisman regarding deposition (.60); calls with C. Giglio regarding
                                  deposition (.20); call with Mayer Brown and Katten team regarding draft
                                  response (.80); attend Stein deposition (2.20); call with M. Roitman
                                  regarding deposition (.10); call with D. Barnowski regarding deposition
                                  (.10); calls with C. Kelley regarding discovery issues (.60); call with T.
                                  Horton and Katten team (1.10); call with D. Chavenson regarding July 18
                                  hearing issues (.10); review materials in connection with SEC discovery
                                  resolution (.60); communications with Katten and Mayer Brown team
                                  regarding SEC discovery issues (.80); revise draft response regarding
                                  motion to compel (.90); review draft response regarding CRO/ID motion
                                  (.60); revise draft response regarding CRO/ID motion (.90); review
                                  proposals to settlement of SEC discovery issues (.60)
07/15/2022     Thompson, Grace Provide comments on Amended Resolutions (.10); summarize Akin                                  3.90
                               comments to July 13 Amended Resolutions (.60); prepare materials for
                               July 18 hearing (.40); revise L. Miranda binder index and cover email to
                               Directors (.30); call with L. Miranda regarding same (.20); attend J. Stein
                               deposition (2.20); correspondence with Mayer Brown regarding
                               unredacted exhibits for hearing on CRO/ID motion (.10)




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Date           Timekeeper         Description                                                                           Hours
07/15/2022     Miranda, Loredana Continue to prepare materials for Independent Directors for binder for July                  7.30
                                 18, 2022 hearing (3.80); conference with G. Thompson regarding same
                                 (.20); prepare for call with A. Horton and Katten (.20); attend call with A.
                                 Horton and Katten (1.20); revise materials for July 18, 2022 hearing with
                                 comments by M. Roitman (1.10); draft email to Independent Directors
                                 regarding binder for July 18, 2022 hearing (.60); emails with G. Thompson
                                 and M. Roitman regarding same (.20)
07/15/2022     Rosella, Michael Review all relevant pleadings related to sample chief restructuring officer                   0.50
                                 retentions (.30); emails with Katten regarding same (.20)
07/15/2022     Roitman, Marc     Revise Debtors' reply brief to CRO/ID motion (3.60); emails with Katten                  10.50
                                 team regarding same (.50); call with Mayer Brown regarding Debtors'
                                 reply brief to CRO/ID motion (.80); review Supplemental Stein
                                 Declaration (1.40); emails with Katten regarding same (.30); draft revised
                                 Resolutions in response to Bondholder Committee comments (1.60);
                                 further revise issues list in connection with same (1.50); emails with
                                 Katten regarding same (.50); emails with Independent Directors regarding
                                 same (.30)
07/15/2022     Reisman, Steven    Discussions with J. Stein regarding July 18th hearing and efforts to resolve                7.40
                                  matters related to same and preparing for same (.70); discussions with G.
                                  King regarding deposition prep (.60); participate in various calls
                                  throughout the day regarding efforts to resolution issues with Akin Gump
                                  and discussions with Mayer Brown and Katten team members regarding
                                  same (1.10); participate in deposition of J. Stein (2.20); discussions and
                                  follow up with D. Chavenson regarding matters related to depositions
                                  (.30); review and edit draft response to motion to retain Chief
                                  Restructuring Officer and Independent Directors (1.80); review materials
                                  in preparation for J. Stein's deposition (.60)
07/15/2022     Archiyan, Yelena   Review redline of reply in support of CRO/ID motion (.60); review                           3.00
                                  revised Debtors’ response to Bondholder Committee opening brief
                                  regarding motion to compel production of documents (.20); review L
                                  Bond Management LLC’s Response to Bondholder Committee Objection
                                  to J. Stein Appointment (.30); review Bondholder Committee reply brief
                                  regarding Debtor’s refusal to produce documents (ECF No. 567) (.30);
                                  review Debtors’ response to Bondholder Committee opening brief (ECF
                                  No. 568) (.20); review T. Horton’s statement and joinder in support of
                                  Bondholder Committee Reply Brief (ECF No. 569) (.20); review redline
                                  of Debtors’ reply in support of motion authorizing designation of J. Stein
                                  as CRO (.30); review multiple emails regarding proposal regarding SEC
                                  Subpoenas and document production (.30); review Mayer Brown’s
                                  changes to proposed order granting motion to appoint J. Stein as CRO and
                                  revisions to J. Stein declaration (.30); review blackline of credit agreement
                                  as revised by Cravath (.30)
07/16/2022     Giglio, Cindi      Emails and correspondence throughout the day related to potential                           0.90
                                  resolutions of disputes with Bondholder Committee (.90)
07/16/2022     Barnowski, Dan     Preparation for Monday’s hearing on objections to appointment of CRO                        0.60
                                  and independent directors (.60)
07/16/2022     King, Geoff        Review resolution chart (.80); call with C. Kelley regarding discovery                      3.00
                                  issues (.20); call with J. Stein regarding July 18 hearing issues (.20);
                                  correspondence with Katten team regarding revised resolutions (.60);
                                  review document care package summary (.10); review materials related to
                                  discovery issues (.70); review revised resolutions (.40)




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Date           Timekeeper         Description                                                                           Hours
07/16/2022     Thompson, Grace Revise hearing script for July 18 hearing on CRO/ID motion per                                 3.90
                                 comments from M. Roitman (.50); call with M. Roitman (.10); further
                                 revise hearing script (.50); revise materials for Special Committee for July
                                 18 hearing (2.30); finalize and send hearing materials to Special
                                 Committee (.50)
07/16/2022     Miranda, Loredana Continue to prepare materials for Independent Directors for hearing (2.30);                  6.20
                                 emails with G. Thompson regarding same (.20); draft comparison chart
                                 regarding proposed amended resolutions (3.20); emails with M. Roitman
                                 and G. King regarding same (.30); revise comparison chart regarding
                                 proposed amended resolutions with G. King's comments (.20)
07/16/2022     Roitman, Marc     Emails with Katten regarding Special Committee action items in                               0.70
                                 connection with CRO/ID Motion (.50); call with L. Chiappetta regarding
                                 Board actions in connection with CRO/ID appointments (.10); call with G.
                                 Thompson regarding preparation for hearing on CRO/ID motion (.10)
07/16/2022     Reisman, Steven    Attend to matters regarding review of revised resolutions and proposed                      8.40
                                  order to be filed with the court approving CRO retention and revised
                                  authority of Special Committee and Investigations Committee (2.70);
                                  prepare for Monday's hearing (1.60); confer with T. Horton regarding
                                  matters related to same (.20); confer with J. Stein regarding matters related
                                  to same (.40); review and negotiate with Committee counsel regarding
                                  matters on for Monday's hearing including SEC documentation, matters
                                  related to CRO retention and powers of Special Committee and
                                  Investigations Committee (1.40); review materials in preparation for call
                                  with management and J. Stein as proposed Chief Restructuring Officer
                                  (2.10)
07/16/2022     Archiyan, Yelena   Review as filed proposed order authorizing and approving designation of                     0.70
                                  J. Stein as CRO and accompanying documents (ECF No. 573) (.70)
07/17/2022     Giglio, Cindi      Attention to hearing preparation, including script preparation, and                         1.30
                                  correspondence related to outstanding objections (1.30)
07/17/2022     Barnowski, Dan     Analyze communications concerning negotiations with Bondholders                             1.10
                                  Committee over CRO motion (.80); review talking points for hearing (.30)
07/17/2022     King, Geoff     Calls with S. Reisman and J. Stein regarding resolutions (.70); calls with                     9.00
                               T. Horton regarding Monday hearing (.60); call with S. Alberino and C.
                               Kelley regarding discovery issues (.10); call with C. Kelley and A.
                               Quereshi regarding discovery issues (.10); prepare issues list regarding
                               resolutions (.60); review outline in connection with hearing (.80); address
                               matters and correspondence in connection with resolution of discovery
                               issues (1.90); address issues regarding resolutions in connection with
                               settlement with Committee in advance of hearing (1.70); prepare for 7/18
                               hearing (1.30); analyze issues regarding future document production (.30);
                               prepare summary in connection with potential Horton testimony at
                               tomorrow’s hearing (.40); revise Horton summary (.20); emails with
                               clients and teams regarding latest status on resolved objections (.30)
07/17/2022     Thompson, Grace Emails with M. Roitman regarding hearing script for hearing on Motion to                       1.30
                               Appoint CRO/IDs (.20); revise script (.80); further revise script (.30)
07/17/2022     Roitman, Marc   Meetings with Debtors' management and advisors in Houston in                                   8.50
                               preparation for Bankruptcy Court hearing (6.50); review materials in
                               preparation for hearing (2.00)




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Date           Timekeeper         Description                                                                           Hours
07/17/2022     Reisman, Steven    Numerous calls with J. Stein and G. King regarding amendments to                            5.50
                                  resolution and efforts to resolve issues (.70); follow up regarding open
                                  discovery issues and issues list in connection with resolutions (.40);
                                  numerous discussions with Akin Gump regarding efforts to resolve issues
                                  related to CRO motion and ID resolutions throughout the day (1.10);
                                  review materials in preparation for tomorrow's hearing including outline of
                                  argument, testimony from depositions and matters related to same (3.30)
07/17/2022     Archiyan, Yelena   Review as filed omnibus reply by Debtors to objections to Debtors’                          0.40
                                  supplement to DIP motion (.40)
07/18/2022     Roitman, Marc      Review materials in preparation for Bankruptcy Court hearing, including                     4.10
                                  Resolutions, engagement letters, and proposed order (2.80); meetings with
                                  case parties following hearing (.50); review summary of Bankruptcy Court
                                  hearing (.50); emails with Katten regarding same (.30)
07/18/2022     Reisman, Steven    Review materials in preparation for hearing before the Bankruptcy Court                     5.40
                                  regarding the appointment of CRO and Independent Directors, including
                                  revised resolutions (3.10); calls with Independent Directors and Katten
                                  regarding the same (1.20); review updates regarding efforts to resolve
                                  Bondholder Committee objections (1.10)
07/18/2022     Archiyan, Yelena   Review order clarifying Committee’s requirements to provide access to                       0.10
                                  confidential/privileged information and establishing protocol regarding
                                  Bondholder Requests (ECF No. 593) (.10)
07/19/2022     Barnowski, Dan     Provide comments to draft revised protective order and related materials                    1.90
                                  (.60); provide comments to draft discovery protocol (.30); revise draft
                                  subpoena (.30); communications with S. Reisman concerning subpoena
                                  (.30); provide comments to draft SEC discovery stipulation (.40)

07/19/2022     King, Geoff        Emails regarding Ben LOI (.20); review drafts of joint subpoena (.20);                      2.80
                                  revise stipulated order (.80); review current version of discovery protocol
                                  (.10); emails with Mayer Brown and Katten teams regarding discovery
                                  resolution (.70); review issues regarding discovery stipulation (.80)
07/19/2022     Reisman, Steven    Follow up regarding matters related to Ben subpeona with D. Barnowski                       1.70
                                  (.30); update regarding Ben letter of intent (.30); follow up regarding
                                  matters related to ongoing discovery and discussions with various Katten
                                  attorneys regarding matters related to same (1.10)
07/19/2022     Archiyan, Yelena   Review draft of subpoena (.20); review draft stipulated order on SEC                        0.40
                                  discovery (.10); review stipulation and agreed general discovery protocols
                                  order (.10)
07/20/2022     Barnowski, Dan     Revise discovery protocol (.20)                                                             0.20
07/20/2022     King, Geoff        Review draft insurance motion (.40); email to P. Nemecek regarding                          0.50
                                  comfort motion (.10)
07/20/2022     Nemecek, Philip    Review email from G. King regarding draft of debtor's motion to modify                      1.20
                                  the automatic stay to permit advancement of defense cost (.20); initial
                                  review of draft motion (.80); email to King regarding debtor's motion (.20)
07/20/2022     Reisman, Steven    Follow up regarding D&O Motion and matters related to same (.70);                           1.30
                                  review correspondence with Willkie regarding ongoing discovery in
                                  connection with D&O Insurance Motion (.60)
07/20/2022     Archiyan, Yelena   Review email chain between SEC and Wilkie regarding discovery (.10);                        1.00
                                  review updated version of discovery order with comments from Akin
                                  (.20); review draft of motion regarding stay for insurance coverage (.70)




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Date           Timekeeper         Description                                                                             Hours
07/21/2022     Barnowski, Dan     Teleconference with G. King and C. Kelley concerning SEC document                             2.10
                                  issue (.80); teleconference with G. King and C. Kelley concerning
                                  protective order issue (.60); review and suggest revisions to draft
                                  protective order language (.40); teleconference with C. Kelley concerning
                                  proposed changes to SEC stipulation (.30)
07/21/2022     Archiyan, Yelena   Review Debtors’ edits to SEC discovery stipulated order (.10); review                         0.60
                                  redline of protective order (.40); review further redline of stipulation
                                  regarding discovery (.10)
07/22/2022     King, Geoff        Call with P. Nemecek regarding insurance motion (.30); begin review of                        1.20
                                  insurance motion (.50); review precedent insurance motions (.20); review
                                  Nemecek revisions to motion (.20)
07/22/2022     Nemecek, Philip    Exchange multiple emails with G. King regarding analysis of draft of                          2.70
                                  debtor's motion to modify the automatic stay to permit advancement of
                                  defense costs (.40); call with G. King regarding same (.30); prepare email
                                  to King regarding analysis of draft motion (2.00)
07/22/2022     Archiyan, Yelena   Review motion regarding stay for insurance coverage (.60)                                     0.60
07/23/2022     Barnowski, Dan     Analyze revised motion concerning insurance policies (.50)                                    0.50
07/23/2022     King, Geoff        Call with T. Kiriakos regarding insurance motion (.10); calls with D.                         4.40
                                  Chavenson regarding insurance motion (.30); review and revise draft
                                  insurance motion (1.80); review materials in connection with insurance
                                  motion (.90); emails with P. Nemecek regarding insurance issues (.20);
                                  emails with Katten team and Mayer Brown regarding insurance motion
                                  (.40); emails with Mayer Brown regarding Insurance motion and diligence
                                  materials (.30); review revised insurance motion (.40)
07/23/2022     Nemecek, Philip    Review email from G. King forwarding revised draft of debtor's motion to                      2.20
                                  modify automatic stay to permit advancement of defense costs, including
                                  review of changes from prior draft (.50); email to G. King regarding
                                  comments on revised draft of debtor's motion (.80); review emails
                                  exchanged between G. King and T. Kiriakos regarding revised draft of
                                  debtor's motion responses to specific comments (.50); review
                                  communications with clients regarding comments on debtor's motion (.40)
07/23/2022     Reisman, Steven    Review proposed motion regarding D&O coverage and note comments                               1.10
                                  and feedback regarding same (1.10)
07/23/2022     Archiyan, Yelena   Review multiple email chains regarding motion regarding stay for                              3.00
                                  insurance coverage (.20); cite check motion regarding stay for insurance
                                  coverage (2.80)
07/24/2022     Barnowski, Dan     Analyze further revised motion concerning insurance policies (.40);                           0.60
                                  communications with Katten team concerning strategy issues pertinent to
                                  motion for insurance coverage (.20)
07/24/2022     King, Geoff        Call with T. Evans regarding motion (.40); call with D. Chavenson                             5.80
                                  regarding motion (.10); review and revise several versions of insurance
                                  motion (2.60); review precedent insurance motions (.60); review materials
                                  regarding D&O insurance (.80); review third party revisions to motion
                                  (.40); review summaries from P. Nemecek regarding D&O policies (.20);
                                  emails with Katten team regarding insurance motion (.30); review
                                  correspondence regarding coverage (.40)
07/24/2022     Roitman, Marc      Review draft motion regarding stay for D&O insurance coverage (.90);                          1.20
                                  emails with Katten regarding same (.30)




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07/24/2022     Nemecek, Philip    Review and analyze primary D&O policy and run-off policy regarding                          2.80
                                  effect of Additional Parent Company Endorsement naming Beneficient as
                                  additional parent company (.70); email to G. King regarding analysis of
                                  Additional Parent Company Endorsement (.90); exchange emails with G.
                                  King regarding Priority of Payments provisions in GWG's D&O tower,
                                  including review and analysis of policies (.80); review emails from G.
                                  King to J. Stein, T. Horton and D. Chavenson regarding latest draft of
                                  debtor's motion and pertinent D&O insurance communications (.40)
07/24/2022     Reisman, Steven    Follow up regarding D&O Motion and emails with G. King and others                           2.50
                                  regarding matters related to potential need for litigation and motion (1.10);
                                  review internal emails with Katten team members regarding D&O analysis
                                  (.40); follow up with J. Stein, T. Horton and D. Chevenson regarding
                                  matters related to same and potential for settlement on D&O side (.60);
                                  confer with Akin Gump regarding potential settlement proposals (.40)
07/24/2022     Archiyan, Yelena   Review comments to the insurance motion provided by Ben’s counsel                           3.50
                                  (.30); research precedent insurance comfort orders in other cases (1.70);
                                  incorporate changes into updated version of motion and correspond with
                                  G. King regarding Debtors' further revision (1.40); review redline version
                                  of insurance motion (.10)
07/25/2022     King, Geoff        Review draft insurance motion (.90); respond to director inquiries                          3.40
                                  regarding insurance motion (.50); review revised version of motion (.40);
                                  call with P. Nemecek regarding insurance motion (.40); calls with D.
                                  Chavenson regarding insurance motion (.20); call with S. Reisman
                                  regarding insurance motion (.20); analyze issues in connection with
                                  insurance motion (.60); emails with Katten team regarding insurance
                                  motion (.20)
07/25/2022     Nemecek, Philip    Review emails exchanged between G. King and D. Chavenson regarding                          1.10
                                  insurance communications (.40); telephone conference with G. King
                                  regarding D&O insurance concerns (.40); exchange emails with G. King
                                  regarding D&O insurance coverage (.30)
07/25/2022     Reisman, Steven    Review of D&O motion and discussions with clients regarding request for                     2.00
                                  reimbursement of Willkie Farr and issues and feedback related to same
                                  (1.60); confer with D. Chavenson regarding specific comments to D&O
                                  motion (.20); follow up regarding matters related to same with G. King
                                  and feedback for Mayer Brown (.20)
07/26/2022     Barnowski, Dan     Analyze agreement covering production of LOI (.30); analyze insurance                       1.10
                                  motion to be filed (.50); teleconference with C. Kelley concerning
                                  discovery issues (.30)
07/26/2022     King, Geoff        Review proposed final version of insurance motion (.80); calls with D.                      2.10
                                  Chavenson regarding insurance motion (.30); review Ben materials
                                  regarding potential transaction (.30); review materials regarding insurance
                                  motion (.70)
07/26/2022     Rosella, Michael   Review emails regarding D&O policies comfort motion (.40)                                   0.40
07/26/2022     Reisman, Steven    Review draft final version of insurance motion and note comments                            1.30
                                  regarding same prior to filing (1.30)
07/29/2022     Pecoraro, Andrew Prepare slide deck regarding overview of the Shared Services Agreement                        2.20
                                and impact on B. Bailey for upcoming Special Committee meeting (1.70);
                                research regarding same (.50)
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TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                       78.60            1,585.00             124,581.00
Giglio, Cindi                                         20.00            1,350.00              27,000.00
King, Geoff                                           81.70            1,145.00              93,546.50
Roitman, Marc                                         49.90            1,145.00              57,135.50
Barnowski, Dan                                        30.30            1,125.00              34,087.50
Nemecek, Philip                                       10.00            1,095.00              10,950.00
Werlinger, Eric                                        6.70              955.00               6,398.50
Archiyan, Yelena                                      17.80              875.00              15,575.00
Thompson, Grace                                       20.50              800.00              16,400.00
Rosella, Michael                                       5.80              800.00               4,640.00
Pecoraro, Andrew                                      13.40              775.00              10,385.00
Miranda, Loredana                                     20.60              580.00              11,948.00

                                     Sub Total :     355.30   Sub Total :                   412,647.00
                                     Total Hours :   355.30   Total Fees             412,647.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 24, 2022
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                                                                                                                                                                                              www.katten.com

Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through July 31, 2022



Fees Total............................................................................................................................................................. 134,268.50
Total Amount Due .............................................................................................................................................. 134,268.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper          Description                                                                          Hours
07/01/2022     Giglio, Cindi       Attend call with Mayer Brown (.80)                                                         0.80
07/01/2022     Barnowski, Dan      Katten initial onboarding call with Mayer Brown (.80)                                      0.80
07/01/2022     Thompson, Grace Attend call with Katten team and Mayer Brown regarding open                                    1.20
                                 onboarding tasks (.80); revise and circulate call notes to Katten team (.30);
                                 revise WIP reflecting case updates (.10)
07/01/2022     Miranda, Loredana Prepare summary of docket entries (.30)                                                      0.30
07/01/2022     Roitman, Marc       Call with Mayer Brown regarding diligence (.80)                                            0.80
07/01/2022     Reisman, Steven     Participate in a portion of call with Mayer Brown regarding work in                        0.60
                                   progress, onboarding tasks and other matters (.60)
07/01/2022     Archiyan, Yelena    Review summary of call with Mayer Brown and updated WIP (.20)                              0.20
07/03/2022     Giglio, Cindi       Review summary of Board meeting (.10)                                                      0.10
07/03/2022     Barnowski, Dan      Attend company Board meeting partial (.50)                                                 0.50
07/03/2022     King, Geoff         Attend GWG Board call (.60); review prepared notes in connection with                      0.70
                                   GWG Board call (.10)
07/03/2022     Thompson, Grace Attend GWG Board call (.60); revise and circulate notes for Katten (.40)                       1.00
07/03/2022     Reisman, Steven     Participate in a portion of GWG Board call (.40)                                           0.40
07/03/2022     Archiyan, Yelena    Review summery of Board call (.10); review email from G. King to Mayer                     0.30
                                   Brown regarding open items and related emails (.10); review summary of
                                   letter withdrawing motion to convert case from Ch. 11 to Ch. 7 (.10)
07/04/2022     Reisman, Steven     Review diligence materials in preparation for this week's meeting in Dallas                5.30
                                   with GWG management regarding operational and financial structure of
                                   GWG (3.20); review bankruptcy pleadings and other materials forwarded
                                   from Mayer Brown in connection with upcoming meetings (2.10)
07/05/2022     King, Geoff         Call with D. Chavenson regarding Special Committee meeting tomorrow                        1.40
                                   (.20); review meeting agenda (.10); discuss agenda with S. Reisman (.20);
                                   prepare matters in connection with meetings tomorrow (.70); review and
                                   revise Special Committee agenda (.20)
07/05/2022     Thompson, Grace Update WIP with chapter 11 case updates (.10)                                                  0.10
07/05/2022     Miranda, Loredana Draft Independent Director's meeting agenda (.30); email G. King                             1.30
                                 regarding Independent Director's meeting agenda (.10); prepare summary
                                 of docket entries (.90)
07/05/2022     Reisman, Steven     Review materials in preparation for tomorrow's meetings with GWG                           6.90
                                   management in Dallas including review of proposed agenda and
                                   underlying documentation and pleadings (5.60); discussion with G. King
                                   regarding agenda (.20); discussions with various team members regarding
                                   assignments and work flows (.40); confer with J. Stein regarding
                                   scheduling of meeting and interactions with GWG management (.40);
                                   follow up regarding scheduling (.30)
07/06/2022     Giglio, Cindi       Participate in pre-call for Special Committee meeting (.30); attend Special                0.90
                                   Committee meeting (.60)
07/06/2022     Barnowski, Dan      Katten team call to prep for Special Committee meeting (.30); attend                       0.90
                                   Special Committee meeting (.60)




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Date           Timekeeper         Description                                                                           Hours
07/06/2022     King, Geoff        Prepare agenda for upcoming meeting (.20); prepare for Special                              2.50
                                  Committee call (.30); calls with S. Reisman regarding Special Committee
                                  matters (.40); review agenda (.10); prepare for call with Special
                                  Committee (.30); attend Katten pre-call (.30); call with Special Committee
                                  regarding matters in connection with 7/18 hearing (.60); review draft
                                  minutes (.30)
07/06/2022     Miranda, Loredana Revise meeting agenda for meeting with Special Committee (.30); attend                       3.10
                                 Katten pre-call for meeting with Special Committee (.30); attend call for
                                 meeting with Special Committee (.60); draft minutes for meeting with
                                 Special Committee (.90); revise Special Committee's meeting minutes
                                 (.60); prepare summary of docket entries (.40)
07/06/2022     Roitman, Marc     Prepare for meeting with Special Committee (.40); attend call with Special                   1.30
                                 Committee (.60); Katten pre-call in preparation for same (.30)
07/06/2022     Reisman, Steven    Review materials in preparation for call with Special Committee (.40);                      1.00
                                  participate in Special Committee meeting (.60)
07/06/2022     Archiyan, Yelena   Review update from GWG docket on July 5, 2022 (.10); review stipulation                     0.30
                                  by GWG Holdings and US Bank National Association (ECF No. 509)
                                  (.10); review update from GWG docket for 7/6/2022 (.10)
07/07/2022     King, Geoff        Attend call regarding Board minutes (.50); attend call with Special                         1.10
                                  Committee (.60)
07/07/2022     Thompson, Grace Attend Special Committee meeting (.60); attend call regarding meeting                          1.20
                                 minutes (.50); revise minutes per same (.10)
07/07/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee (.50);                       1.40
                                 meeting with Katten regarding Independent Directors meeting minutes
                                 (.50); review notes from Independent Directors meeting (.30); email G.
                                 King regarding same (.10)
07/07/2022     Archiyan, Yelena   Review update from GWG docket for 7/7/2022 (.10)                                            0.10
07/08/2022     Barnowski, Dan     Emails with G King concerning results of Independent Directors meeting                      0.20
                                  (.20)
07/09/2022     Thompson, Grace Provide comments to L. Miranda on WIP and fact sheet (.50)                                     0.50
07/09/2022     Miranda, Loredana Update fact sheet with new contact information (.10); update WIP with                        0.30
                                 new contact information (.10); emails with G. Thompson regarding same
                                 (.10)
07/09/2022     Archiyan, Yelena   Review updated WIP (.10)                                                                    0.10
07/10/2022     Miranda, Loredana Revise Special Committee's meeting minutes (.70)                                             0.70
07/11/2022     Giglio, Cindi      Attend Polly update call (.80); comments to Board minutes (.60)                             1.40
07/11/2022     King, Geoff        Review draft Board minutes (.20); attend Project Polly standing call (.80)                  1.00
07/11/2022     Thompson, Grace Revise July 7 Special Committee minutes per comments from G. King                              0.20
                                 (.20)
07/11/2022     Miranda, Loredana Revise Special Committee's meeting minutes with comments by M.                               2.70
                                 Roitman and C. Giglio (2.20); prepare summary of docket entries relevant
                                 to Special Committee (.50)
07/11/2022     Roitman, Marc     Attend Poly update call (.80); preparation in connection with same (.70);                    2.70
                                 revise minutes of Special Committee meetings (1.20)
07/11/2022     Reisman, Steven Participate in portion of Project Polly update call and review materials in                    0.70
                                 preparation for same (.70)
07/12/2022     Giglio, Cindi      Discuss open matters with G. King (.70); attend pre-call for Special                        2.20
                                  Committee Meeting (.20); attend Special Committee Meeting (.90); follow
                                  up after meeting with S. Reisman (.40)



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07/12/2022     King, Geoff        Attend Katten pre-call (.20); attend Special Committee meeting (.90);                       2.20
                                  revise WIP report (.40); call with C. Giglio regarding case updates (.70)
07/12/2022     Thompson, Grace Correspondence regarding Special Committee meeting minutes and                                 0.20
                                 procedures (.20)
07/12/2022     Miranda, Loredana Prepare agenda for Special Committee's meeting (.20); revise Special                         3.80
                                 Committee's meeting minutes (.90); emails with G. Thompson, G. King,
                                 M. Roitman and C.Giglio regarding same (.10) attend Katten pre-call for
                                 weekly call with Special Committee (.20); attend weekly call with Special
                                 Committee (.90); draft minutes of Special Committee meeting (1.40);
                                 prepare summary of docket entries (.10)
07/12/2022     Roitman, Marc     Revise minutes of 7/7 meeting (.50); emails with Katten regarding same                       2.40
                                 (.30); meeting with Special Committee (.90); Katten pre call in preparation
                                 for same (.20); review materials in preparation for same (.50)
07/12/2022     Reisman, Steven    Participate in a portion of Special Committee Meeting (.30); follow up                      0.70
                                  discussions with C. Giglio regarding matters related to same (.40)
07/12/2022     Archiyan, Yelena   Review minutes from investigation committee meeting and Special                             0.40
                                  Committee meetings (.30); review update from GWG docket for July 11,
                                  2022 (.10)
07/13/2022     King, Geoff        Attend Board call (1.30)                                                                    1.30
07/13/2022     Thompson, Grace Update Katten WIP reflecting new case developments and Katten                                  0.20
                                 workstreams (.20)
07/13/2022     Miranda, Loredana Update summary of docket entries (.30); prepare summary of docket                            1.60
                                 entries (1.10); review WIP (.20)
07/14/2022     Miranda, Loredana Revise meeting minutes (.20); email G. King regarding same (.10);                            1.40
                                 prepare summary of docket entries relevant to Special Committee (1.10)
07/14/2022     Archiyan, Yelena   Review docket update summary from 7/13/2022 (.10); review updates                           0.20
                                  from GWG docket for 7/14/2022 (.10)
07/15/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee (1.90);                      2.10
                                 emails with Katten updates to the GWGH docket (.20)
07/16/2022     Archiyan, Yelena   Review docket updates from 7/15/2022 (.10); review as filed proposed                        0.70
                                  order authorizing and approving designation of J. Stein as CRO and
                                  accompanying documents (ECF No. 573) (.60)
07/17/2022     Giglio, Cindi      Attend Special Committee and Investigations Committee meeting (.40);                        1.40
                                  attend Board Meeting (1.00)
07/17/2022     Barnowski, Dan     Attend Special Committee meeting (.40); attend (partial) Board meeting                      1.10
                                  (.70)
07/17/2022     King, Geoff        Prepare summary materials in connection with upcoming Board meetings                        2.30
                                  (.30); call with D. Chavenson regarding upcoming Board meeting (.10);
                                  calls with J. Stein regarding upcoming Board meeting (.20); attend full
                                  Board call (1.00); prepare for Special Committee meeting (.30); attend
                                  Special Committee call (.40)
07/17/2022     Thompson, Grace Attend Special Committee call (.40); draft minutes from same (.20)                             0.60
07/17/2022     Miranda, Loredana Prepare summary of docket updates relevant to Special Committee (.20)                        0.20
07/17/2022     Roitman, Marc      Attend Special Committee meeting (.40); attend full Board meeting (1.00)                    1.40
07/17/2022     Reisman, Steven    Participate in Special Committee meeting (.40); review materials in                         1.70
                                  preparation for call (.50); participate in GWG Board meeting for portion of
                                  meeting (.80)
07/18/2022     Miranda, Loredana Draft email to Independent Directors regarding docket entries (.10);                         1.70
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (1.60)


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07/18/2022     Archiyan, Yelena   Review summary of docket from July 19 (.10)                                                  0.10
07/19/2022     Giglio, Cindi      Attend Special Committee call (.50); Katten pre-call in preparation for                      1.10
                                  same (.40); review minutes (.20)
07/19/2022     Barnowski, Dan     Katten team call to prepare for meeting of Special Committee (.40); attend                   1.00
                                  Special Committee meeting (.50); prepare for same (.10)
07/19/2022     King, Geoff        Attend Katten pre-call (.40); attend Special Committee call (.50); review                    1.30
                                  prior Board minutes (.40)
07/19/2022     Thompson, Grace Draft minutes from 7/17 (1.10)                                                                  1.10
07/19/2022     Miranda, Loredana Emails with G. King regarding meeting minutes (.20); revise meeting                           5.70
                                 minutes with G. King's comments (.90); prepare agenda for meeting with
                                 the Special Committee (.30); attend Katten pre-call for call with Special
                                 Committee (.40); attend call with Special Committee (.50); prepare
                                 meeting minutes from call with Special Committee and the Investigations
                                 Committee (1.30); email Katten meeting minutes regarding same (.20);
                                 emails G. King meeting minutes (.20); prepare summary of docket entries
                                 relevant to Special Committee matters (.60); draft summary of media
                                 coverage from July 19, 2022 hearing (.50); draft summary of media
                                 coverage from July 18, 2022 hearing (.50); email Katten regarding same
                                 (.10)
07/19/2022     Roitman, Marc     Attend Special Committee call (.50); Katten pre-call in preparation for                       0.90
                                 same (.40)
07/19/2022     Archiyan, Yelena   Review 5 sets of Special and Investigations Committee meeting minutes                        0.30
                                  (.30)
07/20/2022     Giglio, Cindi      Discuss various work streams with S. Reisman (.80); attend Katten pre-                       1.30
                                  call (.50)
07/20/2022     King, Geoff        Prepare for Special Committee call (.50)                                                     0.50
07/20/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.50
                                 (.40); draft summary of media coverage from July 20, 2022 hearing (.10)
07/20/2022     Reisman, Steven    Review materials in preparation for Special Committee call (.30);                            1.90
                                  discussions with C. Giglio regarding ongoing work streams (.80);
                                  participate in Katten pre-call (.50); follow up discussions with Katten team
                                  members regarding ongoing work streams (.30)
07/20/2022     Archiyan, Yelena   Review revised form of the Board deck presented to the DLP VI Board                          0.10
                                  (.10)
07/21/2022     King, Geoff        Call with O'Melveny regarding Special Committee (.30)                                        0.30
07/21/2022     Thompson, Grace Call with D. Chavenson (O'Melveny) counsel regarding delineation of                             0.30
                                 mandates (.30)
07/21/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.60
                                 (.60)
07/21/2022     Roitman, Marc     Call with O'Melveny regarding Independent Director indemnity and                              0.40
                                 related matters (.30); review materials in preparation for same (.10)
07/22/2022     Barnowski, Dan    Revise presentation to DLP IV Board (.40)                                                     0.40
07/22/2022     King, Geoff        Review and revise multiple versions of DLP presentation (1.20); call with                    1.50
                                  D. Chavenson regarding Board presentation (.10); emails with Mayer
                                  Brown regarding Board presentation and DIP (.20)
07/22/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.20
                                 (.20)
07/22/2022     Archiyan, Yelena   Review redline of PowerPoint presentation to Board (.10)                                     0.10
07/25/2022     Barnowski, Dan     Attend Special Committee status update call (.90)                                            0.90



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07/25/2022     King, Geoff        Revise meeting minutes (.40); attend Project Polly call (.90)                                1.30
07/25/2022     Miranda, Loredana Revise meeting minutes from Special Committee meeting (.60); prepare                          1.70
                                 guidelines for meeting minutes (.90); prepare summary of docket entries
                                 relevant to Special Committee matters (.20)
07/25/2022     Roitman, Marc     Attend weekly update call with Debtors' advisors and management (.90)                         0.90
07/25/2022     Archiyan, Yelena   Review 11 sets of committee minutes (.80)                                                    0.80
07/26/2022     Giglio, Cindi      Attend Katten pre-call (.40); attend Special Committee meeting (.80);                        2.90
                                  attend meeting with Akin and Debtors (.30); call with Katten to discuss
                                  next steps (1.00); review minutes (.40)
07/26/2022     King, Geoff        Attend Katten pre-call (.40); prepare for Special Committee call (.50);                      1.70
                                  attend Special Committee call (.80)
07/26/2022     Thompson, Grace Attend Katten pre-call for Special Committee call (.40); update Katten                          1.10
                                 WIP (.50); revise same per comments from J. Stein and G. King (.20)
07/26/2022     Miranda, Loredana Prepare agenda for call with the Special Committee (.40); emails with G.                      4.60
                                 King regarding same (.20); attend Katten pre-call for call with the Special
                                 Committee (.40); attend call with the Special Committee (.80); draft
                                 meeting minutes for call with the Special Committee (1.70); revise
                                 meeting minutes for call with Special Committee with D. Barnowski
                                 comments (.30); emails with D. Barnowski and G. King regarding same
                                 (.20); revise meeting minutes for call with Special Committee with C.
                                 Giglio's comments (.20); prepare summary of docket entries (.40)
07/26/2022     Rosella, Michael Attend Katten pre-call for Special Committee meeting (.40)                                     0.40
07/26/2022     Roitman, Marc      Katten pre-call for Special Committee call (.40); Special Committee call                     2.50
                                  (.80); call with Debtors' counsel and Bondholder Committee counsel
                                  regarding case updates (.30); call with Katten regarding Special
                                  Committee matters (1.00)
07/26/2022     Reisman, Steven    Review Special Committee minutes and note comments regarding same                            2.20
                                  (.40); discussions with Katten team members as well as Debtor advisors
                                  and management regarding updated matters related to GWG restructuring
                                  (.70); participate in Special Committee update call (.80); participate in call
                                  with counsel for Bondholder Committee and counsel for Debtors
                                  regarding ongoing activity (.30)
07/27/2022     King, Geoff        Review draft Board minutes (.40); call with D. Chavenson regarding LOI                       0.60
                                  (.20)
07/27/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.20
                                 (.20)
07/28/2022     Giglio, Cindi      Calls with Akin and Mayer Brown regarding case updates (.40); call with                      0.80
                                  Mayer Brown regarding Special Committee work (.40)
07/28/2022     King, Geoff        Call with E. Borenstein regarding LOI (.10)                                                  0.10
07/28/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.20
                                 (.20)
07/28/2022     Roitman, Marc     Attend a portion of call with Akin and Mayer Brown regarding case                             0.70
                                 updates (.30); call with Mayer Brown related to Special Committee work
                                 (.40)
07/28/2022     Siena, Marie       Revise slides for presentation (.60)                                                         0.60
07/29/2022     King, Geoff        Review materials in connection with upcoming Special Committee                               0.30
                                  meeting (.30)
07/29/2022     Thompson, Grace Edit A. Pecoraro and L. Miranda slides of Special Committee presentation                        3.70
                               (2.40); revise full Special Committee deck (1.30)




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Date           Timekeeper         Description                                                                     Hours
07/29/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                0.20
                                 (.20)
07/30/2022     Giglio, Cindi      Review and comment on presentation for Board Meeting (1.30)                           1.30
07/30/2022     Reisman, Steven    Review materials for upcoming Special Committee meeting and note edits                1.70
                                  to presentation (1.70)
                                                                                        Total Hours :             127.80




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Matter:             397894.00010
Invoice #:          9020091091                                                     October 24, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                       23.10            1,585.00              36,613.50
Giglio, Cindi                                         14.20            1,350.00              19,170.00
King, Geoff                                           20.10            1,145.00              23,014.50
Roitman, Marc                                         14.00            1,145.00              16,030.00
Barnowski, Dan                                         5.80            1,125.00               6,525.00
Archiyan, Yelena                                       3.70              875.00               3,237.50
Thompson, Grace                                       11.40              800.00               9,120.00
Rosella, Michael                                       0.40              800.00                 320.00
Miranda, Loredana                                     34.50              580.00              20,010.00
Siena, Marie                                           0.60              380.00                 228.00

                                     Sub Total :     127.80   Sub Total :                   134,268.50
                                     Total Hours :   127.80   Total Fees             134,268.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00011
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Summary


RE: Case Administration

For Professional Services Rendered Through July 31, 2022



Fees Total.............................................................................................................................................................                       794.00
Total Amount Due ..............................................................................................................................................                               794.00     USD




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Matter:             397894.00011
Invoice #:          9020091092                                                                           October 24, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
07/14/2022     Thompson, Grace Correspondence regarding team pro hac vice applications (.20)                                0.20
07/15/2022     Thompson, Grace Correspondence with J. Patton and M. Siena regarding filing of pro hac                       0.20
                               vice applications (.20)
07/15/2022     Brooks-Patton,  Respond to email from G. Thompson and M. Siena regarding filing pro                          0.60
               Janice          hac motions in In regarding GWG Holdings, Inc., et al., Case No,
                               22-90032 (.10); prepare for and file pro hac motions for G. King, C.
                               Giglio, M. Roitman, D. Barnowski, and S. Reisman in GWG Holdings
                               bankruptcy case (.40); email attorneys regarding filed pro hac motions
                               (.10)
07/21/2022     Siena, Marie       Review pro hac vice orders (.20); email same to Katten team (.10)                         0.30
07/27/2022     Siena, Marie       Update case calendar with details for 8/29 hearing (.20); emails with G.                  0.30
                                  Thompson regarding same (.10)
                                                                                           Total Hours :                1.60




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Matter:             397894.00011
Invoice #:          9020091092                                                       October 24, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                   Rate               Amount
Thompson, Grace                                        0.40                 800.00                  320.00
Brooks-Patton, Janice                                  0.60                 410.00                  246.00
Siena, Marie                                           0.60                 380.00                  228.00

                                     Sub Total :       1.60   Sub Total :                           794.00
                                     Total Hours :     1.60   Total Fees                   794.00    USD




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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through July 31, 2022



Fees Total.............................................................................................................................................................                   4,139.00
Total Amount Due ..............................................................................................................................................                           4,139.00       USD




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Matter:             397894.00012
Invoice #:          9020091093                                                                        October 24, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                                      Hours
07/15/2022     Thompson, Grace Review D. Chavenson draft proof of claim (.20); research related D&O                      1.00
                               precedents (.80)
07/16/2022     Thompson, Grace Continue research regarding D&O proofs of claim (1.00)                                    1.00
07/19/2022     King, Geoff        Review materials regarding proof of claim (.30)                                        0.30
07/19/2022     Thompson, Grace Provide comments to D. Chavenson proof of claim (1.00)                                    1.00
07/21/2022     Giglio, Cindi      Call related to D. Chavenson proof of claim (.30)                                      0.30
07/21/2022     King, Geoff        Review proof of claim addendum (.10)                                                   0.10
07/21/2022     Archiyan, Yelena   Review draft proof of claim addendum (.20)                                             0.20
07/28/2022     King, Geoff        Review Ben proof of claim (.20)                                                        0.20
07/29/2022     Winters, Julia     Review Beneficient Proof of Claim (.40)                                                0.40
                                                                                        Total Hours :                4.50




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Matter:             397894.00012
Invoice #:          9020091093                                                     October 24, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Giglio, Cindi                                          0.30            1,350.00                 405.00
Winters, Julia                                         0.40            1,180.00                 472.00
King, Geoff                                            0.60            1,145.00                 687.00
Archiyan, Yelena                                       0.20              875.00                 175.00
Thompson, Grace                                        3.00              800.00               2,400.00

                                     Sub Total :       4.50   Sub Total :                     4,139.00
                                     Total Hours :     4.50   Total Fees               4,139.00   USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through July 31, 2022



Fees Total.............................................................................................................................................................                 27,463.00
Total Amount Due ..............................................................................................................................................                         27,463.00        USD




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Matter:             397894.00019
Invoice #:          9020091234                                                                            October 24, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
07/18/2022     Giglio, Cindi      Attend portion of hearing on Motion to Compel SEC Documents, Motion                        2.50
                                  to Appoint CRO/IDs, Final DIP (2.50)
07/18/2022     Barnowski, Dan     Attend portion of hearing on Motion to Compel SEC Documents, Motion                        2.00
                                  to Appoint CRO/IDs, Final DIP (1.80); emails with Katten team about
                                  results of same (.20)
07/18/2022     King, Geoff        Prepare outline in advance of hearing (.70); attend hearing on Motion to                   4.20
                                  Compel SEC Documents, Motion to Appoint CRO/IDs, Final DIP (2.80);
                                  review issues in connection with hearing (.40); review summary materials
                                  in connection with hearing (.30)
07/18/2022     Thompson, Grace Attend hearing on Motion to Compel SEC Documents, Motion to Appoint                           4.90
                                 CRO/IDs, Final DIP (2.80); draft detailed summary for Independent
                                 Directors (2.10)
07/18/2022     Miranda, Loredana Attend part of July 18, 2022 hearing (1.10); email summary of notes to G.                   1.30
                                 Thompson (.20)
07/18/2022     Roitman, Marc     Prepare for hearing (.70); attend hearing on Motion to Compel SEC                           3.50
                                 Documents, Motion to Appoint CRO/IDs, Final DIP (2.80)
07/18/2022     Reisman, Steven    Attend hearing on Motion to Compel SEC Documents, Motion to Appoint                        4.30
                                  CRO/IDs, Final DIP (2.80); calls with Katten regarding hearing and
                                  diligence items (.30); emails with clients regarding same (.60); calls with
                                  clients regarding same (.60)
07/18/2022     Archiyan, Yelena   Review materials regarding July 18 hearing (.30); review summary of July                   0.60
                                  18 hearing (.20); review materials regarding July 19 hearing (.10)
07/19/2022     King, Geoff        Prepare for hearing regarding DIP motion (.30); attend hearing regarding                   0.60
                                  DIP motion (.30)
07/19/2022     Thompson, Grace Attend follow-up hearing on supplemental DIP (.30)                                            0.30
07/21/2022     Thompson, Grace Correspondence with A. Berk regarding transcript from CRO/ID motion                           0.10
                               hearing (.10)
                                                                                           Total Hours :                24.30




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Matter:             397894.00019
Invoice #:          9020091234                                                     October 24, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        4.30            1,585.00               6,815.50
Giglio, Cindi                                          2.50            1,350.00               3,375.00
King, Geoff                                            4.80            1,145.00               5,496.00
Roitman, Marc                                          3.50            1,145.00               4,007.50
Barnowski, Dan                                         2.00            1,125.00               2,250.00
Archiyan, Yelena                                       0.60              875.00                 525.00
Thompson, Grace                                        5.30              800.00               4,240.00
Miranda, Loredana                                      1.30              580.00                 754.00

                                     Sub Total :      24.30   Sub Total :                    27,463.00
                                     Total Hours :    24.30   Total Fees              27,463.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
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October 24, 2022
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Investigation

For Professional Services Rendered Through July 31, 2022



Fees Total............................................................................................................................................................. 509,264.50
Total Amount Due .............................................................................................................................................. 509,264.50                               USD




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Matter:             397894.00021
Invoice #:          9020091235                                                                               October 24, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Investigation

TIME DETAILS
Date           Timekeeper          Description                                                                            Hours
07/01/2022     Barnowski, Dan      Analyze intercompany transaction memo (.50)                                                  0.50
07/01/2022     King, Geoff         Review materials regarding historical litigation (.20); call with Mayer                      3.10
                                   Brown regarding diligence items and onboarding (.80); prepare summary
                                   of initial action items in connection with investigation (.60); emails with
                                   Katten team regarding action items (.40); review draft resolutions (.40);
                                   review company presentations (.40); analyze issues in connection with
                                   committee authority (.30)
07/01/2022     Thompson, Grace Draft shell of related party/transaction chart (.40); call with L. Miranda                       4.50
                                 regarding analysis of related parties (.50); follow-up call with L. Miranda
                                 (.50); correspondence with A. Peroraro and other Katten team members
                                 regarding litigation search (.30); review search results and summaries
                                 (.60); begin reviewing 2019 10-K for related parties (1.00); review and
                                 organize documents from PJT production (1.00); correspondence
                                 regarding the same (.20)
07/01/2022     Miranda, Loredana Call with G. Thompson regarding related parties (.50); follow up call with                     1.40
                                 G. Thompson (.50); retrieve background documents regarding litigation
                                 related to GWGH (.40)
07/01/2022     Reisman, Steven Review background materials in connection with investigation, prior                              3.90
                                 transactions as well as public securities filings and intercompany
                                 transactions among Debtors in connection with work for Investigations
                                 Committee (3.30); discussions with J. Stein regarding ongoing work
                                 streams, authorization to proceed and task list (.60)
07/01/2022     Archiyan, Yelena    Review Polly management presentation (both versions) (.50)                                   0.50
07/02/2022     Barnowski, Dan      Teleconference with G. King concerning committee requested deposition                        0.30
                                   and discovery (.10); review committee request (.20)
07/02/2022     King, Geoff         Call with J. Stein regarding investigation (.50); prepare summary of task                    1.40
                                   list (.80); call with D. Barnowski regarding committee request (.10)
07/02/2022     Thompson, Grace Review and organize documents from Mayer Brown production (.90);                                 1.00
                               correspondence regarding the same (.10)
07/02/2022     Reisman, Steven     Continue to work on matters related to investigation, background, review                     2.20
                                   of public filings from GWG and attend to matters regarding next steps
                                   (2.20)
07/03/2022     Pecoraro, Andrew Review and analyze case documents involving GWG Holdings, Inc. or                               5.30
                                related parties regarding nature of allegations and status of litigation
                                (2.00); draft memorandum regarding same (.80); review GWG public
                                filings regarding related parties and transactions (1.00); compile list of
                                related parties and research their relationship with GWG (1.50)
07/03/2022     Thompson, Grace Continue reviewing documents from Mayer Brown initial production                                 1.20
                                 (1.20)
07/03/2022     Miranda, Loredana Begin reviewing form 10-K from 2016 (1.20)                                                     1.20
07/05/2022     Pecoraro, Andrew Review management slide decks and diligence documents provided by                               4.80
                                Mayer Brown (1.00); analyze background documents regarding
                                identification of related parties, their relationship to GWG, and any related
                                principals of the companies (2.50); draft memorandum regarding same
                                (1.30)
07/05/2022     Giglio, Cindi       Review information in preparation for onboarding meetings (2.10)                             2.10




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07/05/2022     Barnowski, Dan     Analyze transactional memo and related documents (1.10); analyze initial                     3.60
                                  materials relating to litigation against GWG (1.90); prepare for
                                  tomorrow’s meetings with client (.60)
07/05/2022     King, Geoff        Emails with Katten team regarding upcoming investigations meetings                           1.20
                                  (.40); review materials in connection with upcoming GWG meeting (.80)
07/05/2022     Thompson, Grace Call with L. Miranda regarding diligence storage, document review, and                          6.30
                                 other investigation workstreams (.50); continue reviewing initial diligence
                                 from Debtors (2.00); continue reviewing SEC filings and compiling
                                 related parties (2.30); review and organize additional diligence produced
                                 by the Debtors (1.40); correspond with R. Adams (Mayer Brown)
                                 regarding document production (.10)
07/05/2022     Miranda, Loredana Call with G. Thompson regarding document tracker list (.50); emails with                      5.50
                                 R. Brady regarding documents sent by Mayer Brown (.20); call with R.
                                 Brady regarding same (.20); review documents received by Mayer Brown
                                 and PJT Partners (2.00); begin drafting document tracker chart (2.30);
                                 emails with G. Thompson and G. King regarding same (.30)
07/05/2022     Roitman, Marc     Review SEC disclosure documents and transaction documents in                                  4.10
                                 preparation for onboarding meeting with Company management (2.50);
                                 emails with S. Reisman regarding same (.30); further prepare for meeting
                                 with GWG management team (1.30)
07/05/2022     Siena, Marie       Prepare materials for Katten meetings in Dallas (1.20)                                       1.20
07/05/2022     Reisman, Steven    Emails with M. Roitman regarding SEC disclosure documentation (.30);                         3.20
                                  review onboarding materials in preparation for upcoming meetings with
                                  Debtors' management (2.90)
07/06/2022     Pecoraro, Andrew Draft chart outlining GWG-related parties and transactions (2.40); review                      4.90
                                and analyze diligence documents regarding same (1.80); draft summary of
                                pending litigation involving GWG and related parties (.40); email with
                                Katten regarding same (.30)
07/06/2022     Giglio, Cindi      Attend portion of day 1 of onboarding session (4.00)                                         4.00
07/06/2022     Barnowski, Dan     Analyze litigation matters against GWG and affiliated entities (.50);                        6.30
                                  analyze Paul Capital complaint (.50); introductory teleconference with
                                  client about background of matters (5.30)
07/06/2022     King, Geoff        Review materials in connection with historical litigation (.50); review                      7.00
                                  latest version of document tracking chart (.20); review publicly filed
                                  pleadings (.20); prepare for upcoming meeting with GWG regarding
                                  historical transactions (.80); attend meeting with GWG regarding
                                  historical transactions overview (5.30)
07/06/2022     Thompson, Grace Correspondence regarding analysis of related parties (.30); revise related                      8.60
                                 party chart with information from 2019-2021 (2.20); attend Katten-only
                                 pre-call to onboarding session (.30); attend and take notes at onboarding
                                 meeting with Katten, T. Evans, and M. Holland (5.30); revise notes (.50)
07/06/2022     Miranda, Loredana Revise document tracker list with G. King's comments (.20); review form                       3.10
                                 10-K for 2016 regarding related parties (1.80); begin preparing related
                                 parties chart (.60); revise Investigation Committee's meeting minutes (.30);
                                 email G. King regarding same (.20)
07/06/2022     Roitman, Marc     Attend onboarding meeting in person with Company regarding historical                         9.60
                                 transactions (5.30); review materials to prepare for same (2.50); follow-up
                                 discussions with management (1.80)




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07/06/2022     Reisman, Steven     Attend meeting with T. Evans and other representatives of GWG                              6.50
                                   regarding background on GWG business line and other matters related to
                                   GWG restructuring at Offices of GWG in Dallas (5.30); discussions with
                                   A. Horton, J. Stein and D. Chavenson throughout the day as Independent
                                   Directors and follow up on matters related to independent investigation
                                   (1.20)
07/07/2022     Pecoraro, Andrew Review and analyze notes from Special Committee Onboarding Session                            2.50
                                regarding relevant corporate structures (.40); review diligence documents
                                regarding same (.80); draft chart summarizing related parties, principals,
                                and transactions (1.30)

07/07/2022     Giglio, Cindi       Pre-call for onboarding meetings (.50); partially attend onboarding session                4.20
                                   participation (3.70)
07/07/2022     Barnowski, Dan      Onboarding meeting with GWG to discuss background of matter (partial)                      5.00
                                   (5.00)
07/07/2022     King, Geoff         Attend GWG Meeting regarding historical transactions (partial) (3.80)                      3.80
07/07/2022     Thompson, Grace Revise L. Miranda inserts to related party chart (.50); attend second day of                   7.50
                                 onboarding meetings with Katten, T. Evans, and M. Holland (7.00)
07/07/2022     Mitchell, John    Review materials in prep for diligence meeting with T. Evans (.50);                          8.00
                                 meeting with T. Evans and Katten co-counsel regarding pre bankruptcy
                                 corporate and capital structure and related transactions (7.00); follow-up
                                 discussions with management regarding same (.50)
07/07/2022     Miranda, Loredana Review form 10-K for 2017 (2.10); continue preparing related parties                         4.70
                                 chart (2.60)
07/07/2022     Roitman, Marc     Attend day 2 of onboarding meeting with Company management (7.00);                           8.90
                                 further review materials in preparation for same (1.90)
07/07/2022     Reisman, Steven     Participate in 2nd day of onboarding meeting with GWG management and                       8.80
                                   review materials prior to and subsequent to meeting (8.40); discussions
                                   with J. Mitchell and M. Roitman regarding ongoing work (.40)
07/08/2022     King, Geoff         Review correspondence in connection with discovery issues (.20)                            0.20
07/08/2022     Thompson, Grace Continue revising related party and related party transaction chart (.80);                     1.00
                                 correspondence with A. Pecoraro and L. Miranda regarding next steps
                                 (.20)
07/08/2022     Miranda, Loredana Review documents produced by Mayer Brown (1.10); update documents                            1.40
                                 tracker chart (.10); emails with G. King and G. Thompson regarding same
                                 (.20)
07/08/2022     Reisman, Steven     Attend to matters regarding analysis of issues in connection with                          2.20
                                   investigation on behalf of Independent Directors (2.20)
07/09/2022     Pecoraro, Andrew Draft updated chart of related parties and transactions (2.00); review and                    2.50
                                analyze public filings regarding same (.50)
07/09/2022     Thompson, Grace Revise inserts from A. Pecoraro on table of related parties and related                        4.70
                                 party transactions (1.20); correspondence with A. Pecoraro and L. Miranda
                                 regarding same (.20); draft and revise summary notes from two day
                                 onboarding sessions with Katten, T. Evans, and M. Holland (3.30)
07/09/2022     Miranda, Loredana Review document production by Mayer Brown (1.10); update document                            1.20
                                 tracker chart (.10)
07/10/2022     Thompson, Grace Further revise table of related parties and related party transactions (2.00);                 2.10
                               correspond with Katten investigations team regarding same (.10)




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Date           Timekeeper          Description                                                                           Hours
07/10/2022     Miranda, Loredana Revise related party transactions chart (.30); emails with G. Thompson and                    4.80
                                 A. Pecoraro regarding same (.20); review document production by Mayer
                                 Brown LLP (3.70); update document tracker chart (.30); revise
                                 Investigation Committee's meeting minutes (.30)
07/10/2022     Roitman, Marc     Review documents relevant to related party transactions (1.90); review                        6.50
                                 draft analysis of related party transactions subject to potential investigation
                                 (2.10); draft memorandum regarding key matters for investigation and
                                 particular transactions for further review (2.20); correspond with S.
                                 Reisman regarding the same (.30)
07/10/2022     Reisman, Steven Review materials in connection with related parties transaction and                             2.70
                                 continue to work on investigation and intercompany dealings (2.30);
                                 emails with M. Roitman regarding matters related to same (.40)
07/11/2022     Pecoraro, Andrew Call with Katten regarding analysis of related parties and transaction,                        1.20
                                supplement diligence lists, and investigation strategy (1.20)
07/11/2022     Giglio, Cindi       Attend call with Katten to discuss investigation (1.20)                                     1.20
07/11/2022     Barnowski, Dan      Teleconference with G. King concerning strategy for analyzing potential                     1.90
                                   conflict transactions (.30); analyze M. Roitman email concerning potential
                                   conflict transactions (.40); Katten team call to discuss strategy for
                                   analyzing potential conflict transactions (1.20)
07/11/2022     King, Geoff         Begin review of materials received to date in connection with investigation                 4.30
                                   (1.70); calls with D. Barnowski regarding investigation (.30); review
                                   materials related to potential related party transactions (1.10); call with
                                   Katten team regarding investigation (1.20)
07/11/2022     Thompson, Grace Revise chart of related parties and transactions per comments from G.                           5.90
                                 King and M. Roitman (3.30); call with Katten team regarding
                                 investigation, related parties chart, and next steps (1.20); revise same per
                                 comments from team (1.40)
07/11/2022     Miranda, Loredana Attend Katten call regarding related party transaction chart (1.20); revise                   2.00
                                 Investigations Committee's meeting minutes with comments by M.
                                 Roitman and C. Giglio (.80)
07/11/2022     Roitman, Marc     Further review of analysis of related party transactions (1.60); Katten call                  2.80
                                 regarding investigation (1.20)
07/11/2022     Reisman, Steven Review list of related parties transactions and follow up regarding matters                     3.80
                                 in connection with independent investigation (2.60); discussions with
                                 Katten team members regarding potential conflict transactions, ongoing
                                 work streams, diligence materials (1.20)
07/12/2022     King, Geoff         Review documents produced to Bondholder Committee (.50)                                     0.50
07/12/2022     Thompson, Grace Further revise chart of related party transactions (.20); correspond with A.                    0.30
                                 Pecoraro regarding the same (.10)
07/12/2022     Miranda, Loredana Review related party transactions chart with G. Thompson's edits (.40);                       2.90
                                 emails with G. Thompson and A. Pecoraro regarding same (.20); review
                                 document production from Mayer Brown from July 10, 2022 (1.10);
                                 update document tracker chart (.40); review precedent materials (.30);
                                 emails with C. Giglio regarding same (.10); retrieve document
                                 production from Mayer Brown from July 12, 2022 (.40)
07/12/2022     Archiyan, Yelena    Review document tracker (.20)                                                               0.20
07/14/2022     Miranda, Loredana Review related parties and transactions chart (1.10); review documents                        2.10
                                 received by Mayer Brown (.90); update document tracker (.10)
07/14/2022     Archiyan, Yelena    Review document request tracking chart (.10)                                                0.10
07/15/2022     King, Geoff         Prepare materials in connection with upcoming Investigation Committee                       0.30
                                   meetings (.30)


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07/15/2022     Reisman, Steven    Review materials in preparation for upcoming Investigations Committee                         0.90
                                  meeting (.60); participate in internal discussions regarding ongoing work
                                  streams (.30)
07/16/2022     Roitman, Marc      Research regarding investigation report and privilege matters (2.50);                         3.10
                                  emails with Katten regarding same (.60)
07/17/2022     Barnowski, Dan     Attend Investigations Committee meeting (.20)                                                 0.20
07/17/2022     Miranda, Loredana Revise comparison chart regarding amended resolutions (.30); emails with                       0.80
                                 G. King regarding same (.10); prepare agenda for Investigations
                                 Committee meeting (.20); emails with M. Roitman regarding same (.20)
07/17/2022     Reisman, Steven    Participate in Investigations Committee meeting (.20); review materials                       0.30
                                  regarding same (.10)
07/18/2022     Reisman, Steven    Follow up with Katten team in connection with initial investigation                           1.30
                                  matters (1.30)
07/19/2022     Giglio, Cindi      Attend Katten call to discuss investigation (1.40)                                            1.40
07/19/2022     Barnowski, Dan     Teleconference with G. King, M. Roitman and C. Giglio concerning                              3.90
                                  investigation plan (1.40); analyze draft investigation work plan (.30);
                                  analyze SEC powerpoint, complaints and related material (1.40); analyze
                                  notes of meetings with GWG management (.80)
07/19/2022     Werlinger, Eric    Review and analyze class action complaint (2.00)                                              2.00
07/19/2022     King, Geoff        Attend Investigations Committee call (.10); call with Katten team                             2.60
                                  regarding Investigation issues (1.40); review PCA suit and related
                                  materials (.60); review draft workplan (.20); review current versions of
                                  document request list and tracking chart (.30)
07/19/2022     Thompson, Grace Call with M. Roitman regarding transactions and investigation (.20);                             3.10
                                follow-up call with L. Miranda (.40); call with M. Rosella regarding
                                investigation background and workstreams (1.00); draft investigation work
                                plan (.70); revise investigation work plan per comments from M. Roitman
                                (.50); correspondence regarding document requests (.30)
07/19/2022     Roitman, Marc    Call with Katten regarding Investigation matters and transaction analyses                       4.30
                                (1.40); draft analysis of potential investigation interviewees and topics
                                (1.70); review materials regarding Ben-GWG transaction in connection
                                with same (.80); call with G. Thompson regarding transactions and
                                investigation (.20); call with M. Rosella regarding investigation
                                background (.20)
07/19/2022     Rosella, Michael Attend call with M. Roitman regarding matter and investigation                                  2.40
                                background (.20); attend call with G. Thompson regarding workstreams
                                for investigation (1.00); begin to review key documents related to chapter
                                11 case and events leading to petition date as background for investigation
                                (1.20)
07/19/2022     Reisman, Steven Review materials regarding matters related to investigation and status of                        1.60
                                same and allocation of work among Katten team members (1.60)
07/20/2022     Pecoraro, Andrew Review and edit supplemental diligence requests (.50); review and edit                          0.80
                                draft investigation work plan (.30)
07/20/2022     Giglio, Cindi      Attend Investigations Committee meeting (.90)                                                 0.90
07/20/2022     Barnowski, Dan     Teleconference with E. Werlinger about SEC action and investigation of                        4.40
                                  same (.80); teleconference with G. King about investigation of SEC action
                                  (.20); analyze report of meetings with management about background of
                                  transactions (1.60); prepare short memo concerning SEC claims (.40);
                                  Katten team call to prep for meeting of the Investigations Committee (.50);
                                  attend meeting of the Investigations Committee (.90)




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07/20/2022     Werlinger, Eric     Continue review of securities complaint and related SEC documents                          2.90
                                   (2.10); phone call with D. Barnowski regarding plan for investigating
                                   securities matters (.80)
07/20/2022     King, Geoff       Review initial version of draft workplan (.50); review and revise multiple                   8.20
                                 versions of draft workplan (1.70); call with S. Reisman regarding
                                 workplan (.20); review and revise document request list (1.30); review
                                 latest version of diligence request (.80); prepare agenda for Investigation
                                 Committee Call (.10); begin review of SEC class-action related materials
                                 (.30); Katten pre-call for Investigations Committee call (.50); call with
                                 Investigations Committee (.90); call with D. Barnowski regarding
                                 investigation issues (.20); call with G. Thompson and M. Roitman
                                 regarding investigation issues (.30); review Western complaint (.40);
                                 review protective order comments (.20); emails with Investigations
                                 Committee regarding discovery protocol (.20); analyze issues in
                                 connection with investigation and discovery protocol (.60)
07/20/2022     Thompson, Grace Revise related party chart transaction chart per updates in investigation                      5.70
                                 and comments from Katten team (2.20); provide comments on diligence
                                 requests (.20); revise investigation work plan for Investigations Committee
                                 (1.10); discussions with M. Roitman and G. King regarding work plan
                                 (.30); further revise work plan (.50); attend Katten only pre-call for
                                 Investigations Committee meeting (.50); attend Investigations Committee
                                 call (.90)
07/20/2022     Miranda, Loredana Draft meeting minutes of call with Investigations Committee (1.20); revise                   6.40
                                 first supplemental document and information request list with M. Roitman
                                 comments (2.80); emails with G. King and M. Roitman regarding same
                                 (.20); draft agenda for call with Investigations Committee (.30); revise first
                                 supplemental documentation and information request list with G. King's
                                 comments (.30); emails with G. Thompson regarding same (.20); attend
                                 Katten pre-call for call with Investigations Committee (.50); attend call
                                 with Investigations Committee (.90)
07/20/2022     Roitman, Marc     Review diligence request list (.80); review investigation work plan,                         4.30
                                 including summary of key transactions relevant to investigation (1.80);
                                 discussions with G. Thompson and G. King regarding work plan (.30);
                                 attend Investigations Committee meeting (.90); Katten pre-call in
                                 preparation for same (.50)
07/20/2022     Rosella, Michael Attend Katten pre-call for Investigation Committee call (.50); review                         3.50
                                 investigation workplan in advance of meeting (.30); review SEC filings
                                 and various chapter 11 case pleadings to ascertain information regarding
                                 various prepetition transactions in connection with ongoing investigation
                                 (2.70)
07/20/2022     Reisman, Steven     Discussions with G. King regarding work plan in connection with                            2.80
                                   Investigations Committee activities (.20); review diligence request list,
                                   document production and ongoing work streams in connection with
                                   independent investigation on behalf of Investigations Committee (1.10);
                                   review draft work plan and edits to same as well as follow up with G. King
                                   and D. Barnowski regarding matters related to same (.60); participate in
                                   Investigations Committee meeting regarding ongoing work, discovery,
                                   strategy and areas to be examined as well as matters addressed on agenda
                                   (.90)
07/20/2022     Archiyan, Yelena    Review draft investigation work plan (.30)                                                 0.30
07/21/2022     Barnowski, Dan      Complete review of notes from meetings with client (.90); review SEC                       3.20
                                   complaint (.60); prepare interview outline for T. Evans interview (1.40);
                                   teleconference with G. King concerning status and next steps (.10);
                                   teleconference with S. Reisman concerning discovery issues (.20)



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07/21/2022     King, Geoff        Calls with C. Kelley and D. Barnowski regarding discovery issues (.80);                     6.30
                                  call with D. Barnowski regarding discovery (.10); calls with S. Reisman
                                  regarding diligence request (.40); review multiple versions of diligence
                                  request (.60); prepare summary of potential follow up diligence request
                                  (.30); address issues in connection with stipulated order (.40); review
                                  comments to stipulated orders (.50); analyze issues regarding next steps
                                  for investigation and follow up requests (.80); analyze issues in connection
                                  with investigation workplan (.80); review diligence received to date on
                                  potential investigation topics (1.40); calls with M. Roitman regarding
                                  diligence request (.20)
07/21/2022     Thompson, Grace Provide comments to L. Miranda draft emails to key stakeholders (.20)                          0.20
07/21/2022     Miranda, Loredana Revise first supplemental document and information request list (.90);                       2.00
                                 prepare emails to Willkie, Akin, and T. Evans regarding meeting on the
                                 investigation (.90); emails with M. Roitman, M. Rosella, and G.
                                 Thompson regarding same (.20)
07/21/2022     Roitman, Marc     Revise initial document request for investigation (1.40); emails with                        1.80
                                 Katten regarding same (.20); confer with S. Reisman and G. King
                                 regarding same (.20)
07/21/2022     Reisman, Steven    Discussions with G. King regarding diligence in connection with                             3.00
                                  Investigations Committee work (.40); discussions with D. Barnowski
                                  regarding discovery (.20); review document request list for independent
                                  investigation and note comments regarding same (1.10); review work plan
                                  (.40); discussions with Katten team members regarding same (.30); follow
                                  up regarding calls, emails and matters related to ongoing investigation
                                  items (.60)
07/21/2022     Archiyan, Yelena   Review first supplemental documentation and information request list                        0.20
                                  (.20)
07/22/2022     Barnowski, Dan     Revise discovery requests and cover letter (2.60); analyze Investigation                    6.90
                                  Committee meeting minutes (.20); analyze securities claims and litigation
                                  (.80); interview T. Evans (1.70); follow-up call with E. Werlinger
                                  concerning next steps (.20); interview with T. Evans (.10); prepare memo
                                  setting forth next steps on SEC claims (.30); Katten team call to discuss
                                  investigation next steps (1.10)
07/22/2022     Werlinger, Eric    Call with D. Barnowski to discuss forthcoming call with T. Evans (.20);                     3.70
                                  phone interview with T. Evans regarding SEC investigation (1.70);
                                  participate in Katten team call regarding status of investigation (1.10);
                                  review summary email of interview from D. Barnowski (.70); phone
                                  interview with T. Evans regarding SEC investigation (.10)
07/22/2022     King, Geoff        Prepare for call with T. Evans (.20); call with T. Evans regarding SEC                      5.60
                                  issues (1.70); review materials in connection with historical transactions in
                                  preparation for team meeting regarding investigation (1.30); attend
                                  Investigations team call (1.10); review revisions to diligence request (.40);
                                  analyze issues regarding investigation priorities (.70); call with S. Reisman
                                  regarding investigation issues (.10); review issues in connection with SEC
                                  discovery (.10)
07/22/2022     Thompson, Grace Attend interview with T. Evans regarding SEC matters (1.70); attend call                       6.90
                                 with Katten investigation team (1.10); follow-up call with G. King
                                 regarding investigation workstreams (.10); call with Y. Archiyan regarding
                                 background on case, investigation, and assigned transactions (.50); draft
                                 summary notes from T. Evans interview (3.50)
07/22/2022     Miranda, Loredana Revise first supplemental document and information request list (1.20);                      3.50
                                 revise meeting minutes of Investigations Committee (.40); attend part of
                                 meeting with T. Evans (.50); attend Katten call regarding investigation
                                 work plan (1.10); retrieve sample D&O motions (.30)


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Date           Timekeeper         Description                                                                          Hours
07/22/2022     Rosella, Michael   Attend Katten investigation team call (1.10); continue to review                           3.00
                                  documents regarding various related party transactions and prepare email
                                  to Katten regarding investigation analysis (1.90)
07/22/2022     Roitman, Marc      Diligence call with Katten and T. Evans regarding SEC matters (1.70);                      3.70
                                  review topics list and questions in preparation for same (.30); review
                                  materials in connection with same (.40); review materials in connection
                                  with same (.10) Katten team call regarding investigation (1.10)
07/22/2022     Reisman, Steven    Discussions with G. King regarding investigation matters (.30); follow up                  3.10
                                  regarding SEC issues in connection with investigation (1.10); discussion
                                  regarding interviews with various management in connection with
                                  intercompany transactions (.60); review Investigation Committee meeting
                                  minutes and note comments regarding same (.30); discussions with Katten
                                  team regarding ongoing work in connection with investigation throughout
                                  the day (.80)
07/22/2022     Archiyan, Yelena   Katten call regarding Investigation (1.10); call with G. Thompson                          1.60
                                  regarding investigation (.50)
07/23/2022     Reisman, Steven    Attend to matters regarding investigation, review of document request and                  1.30
                                  update regarding ongoing investigation efforts (1.30)
07/24/2022     Pecoraro, Andrew Review Shared Services Agreement and related documents (1.00); draft                         2.40
                                summary regarding same for investigation (1.20); email with G. King
                                regarding same (.20)
07/24/2022     King, Geoff        Review shared services summary (.20); review prepetition DLP                               0.40
                                  transactions summary (.20)
07/25/2022     Barnowski, Dan     Revise discovery requests (.80); communications with S. Reisman and G.                     2.40
                                  King about revisions to discovery requests (.20); revision to committee
                                  meeting minutes (.40); multiple teleconferences with G. King concerning
                                  discovery and next steps (.20); teleconference with L. Chiappetta
                                  concerning discovery issues (.20); revise investigation plan for SEC
                                  matters (.60)
07/25/2022     King, Geoff        Prepare issues list of investigation next steps (.70); review materials                    2.00
                                  regarding past transactions (.40); review matters in connection with first
                                  diligence request (.50); call with D. Barnowski and S. Reisman regarding
                                  diligence request (.20); call with L. Chiappetta regarding diligence request
                                  (.20)
07/25/2022     Miranda, Loredana Revise meeting minutes of Investigations Committee (.30); begin to                          5.40
                                 review historical transaction documents related to investigation (1.20);
                                 review meeting minutes by Special Committee of the Board from 2019
                                 and 2020 (3.40); email G. Thompson, M. Rosella, A. Pecoraro, and Y.
                                 Archiyan regarding same (.30); revise meeting minutes from
                                 Investigations Committee meeting (.20)
07/25/2022     Rosella, Michael Research prepetition related party transactions not previously identified                    2.90
                                 using various SEC filings (1.50); prepare emails to Katten regarding
                                 research (.50); review various documents related to Debtors' prepetition
                                 transactions (1.20)
07/25/2022     Roitman, Marc     Review documents relevant to transactions involving DLP and third                           3.60
                                 parties (2.10); review draft memorandum analysis regarding same (1.20);
                                 emails with Katten regarding same (.30)
07/25/2022     Reisman, Steven    Review documents related to investigation (.80); call with G. King and D.                  2.20
                                  Barnowski regarding discovery requests (.20); review first request for
                                  production to Mayer Brown (1.20)
07/25/2022     Archiyan, Yelena   Review draft of first document and information request and interrogatories                 1.20
                                  (.30); review Memorandum regarding Special Committee Onboarding
                                  Sessions (.90)


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Date           Timekeeper         Description                                                                           Hours
07/26/2022     Pecoraro, Andrew Review and analyze Shared Services Agreement and related documents                            2.00
                                regarding analysis of the transaction (1.20); correspond with E. Werlinger
                                regarding research on SEC investigation (.20); analyze invoices and
                                related documents regarding Shared Services Agreement (.60)
07/26/2022     Barnowski, Dan   Katten team call to prep for investigations committee meeting (.40);                          2.70
                                meeting with E. Werlinger to plan investigation into SEC claims (.60);
                                prepare short memo outlining investigation plan for SEC claims (.50);
                                revise meeting minutes (.60); teleconference with G. King concerning
                                investigation next steps (.20); teleconference with Akin and Debtors
                                concerning status of case (.40)
07/26/2022     Werlinger, Eric  Phone call with D. Barnowski and A. Pecoraro to discuss questions and                         0.60
                                interviews regarding SEC investigation (.60)
07/26/2022     King, Geoff        Call with D. Barnowski regarding discovery issues (.20); review hearing                     1.60
                                  transcripts (.80); review draft stipulation (.30); review matters regarding
                                  document request (.30)
07/26/2022     Thompson, Grace Revise investigation work plan (.20); call with Katten team regarding                          0.50
                                 investigation status (.30)
07/26/2022     Miranda, Loredana Revise meeting minutes for call with Investigations Committee with D.                        0.40
                                 Barnowski's comments (.20); attend Katten call regarding status update to
                                 Investigation (.20)
07/26/2022     Rosella, Michael Begin to prepare presentation inserts regarding various prepetition                           1.00
                                 transactions involving summaries and analyses of related party
                                 transactions (.80); call with Katten team regarding investigation status
                                 (.20)
07/26/2022     Reisman, Steven    Attend to review of documentation and information related to GWG and                        2.50
                                  follow up regarding matters related to same (1.60); coordination regarding
                                  Mayer Brown and participate in call on producing documentation in
                                  connection with investigation and going through issues, transaction and
                                  matters related to GWG (.90)
07/26/2022     Archiyan, Yelena   Call with GWG team associates to discuss investigation process (.20);                       8.20
                                  review SEC background documents regarding prepetition transactions
                                  (4.20); review diligence received from Debtors regarding prepetition
                                  transactions (3.80)
07/27/2022     Pecoraro, Andrew Call with E. Werlinger regarding investigation into securities complaint                      6.60
                                and SEC investigation (.60); review and analyze corporate governance
                                documents (1.20); legal research regarding standards and governing law
                                for fiduciary duties (1.40); review Bayati securities complaint and related
                                registration statement disclosures (1.80); call with Katten regarding
                                investigation (.10); draft chart regarding company disclosures (1.40); call
                                with Katten regarding investigation (.70)


07/27/2022     Giglio, Cindi      Attend call regarding next steps on investigations with G. King, S.                         2.00
                                  Reisman and J. Winters (1.20); attend Katten update call regarding
                                  investigation (.80)
07/27/2022     Barnowski, Dan     Discovery meet and confer with Mayer Brown (1.10); revise SEC                               2.70
                                  investigation plan (.30); teleconference with C. Kelley concerning
                                  document requests and follow-up on same (.30); analyze Paul Capital
                                  complaint (.60); prepare memorandum analyzing Paul Capital complaint
                                  (.40)
07/27/2022     Werlinger, Eric    Phone call with A. Pecoraro to discuss research projects regarding                          0.60
                                  securities class action complaint (.60)




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Date           Timekeeper          Description                                                                          Hours
07/27/2022     King, Geoff         Call with C. Kelley regarding LOI (.10); call with M. Roitman regarding                    5.20
                                   discovery issues (.10); attend Katten team call regarding investigation
                                   (.70); review materials in connection with document request (.10); call
                                   with D. Barnowski regarding discovery issues (.10); call with C. Giglio, S.
                                   Reisman and J. Winters regarding investigation workstreams (1.20); calls
                                   with S. Reisman regarding investigation workstreams (.40); call with C.
                                   Kelley, D. Barnowski and M. Roitman regarding document production
                                   (1.10); review Ben diligence materials (.40); review materials in
                                   connection with document request (.30); review materials regarding Paul
                                   Capital complaint (.30); review investigation committee agenda (.10);
                                   prepare for investigation committee meeting (.20)
07/27/2022     Thompson, Grace Discussion with L. Miranda regarding SEC documents (.30);                                      1.30
                                 correspondence with A. Pecoraro and L. Miranda regarding fiduciary
                                 duties analysis (.30); attend Katten investigation update call (.70)
07/27/2022     Brooks-Patton,    Respond to Y. Archiyan regarding review and working with Unredacted                          1.30
               Janice            and redacted Special Committee Minutes (.10); work with unredacted
                                 Special Committee Minutes files (.50); prepare index of Special
                                 Committee Meeting MinutesResolutionsUnredacted and send same to Y.
                                 Archiyan (.60); email exchange with Y. Archiyan regarding same (.10)
07/27/2022     Winters, Julia    Emails with Katten regarding investigation (.90); review background                          4.20
                                 materials for investigation (.90); onboarding call with G. King, C. Giglio
                                 (1.20); review investigation workplan (.70); call with Katten regarding
                                 investigation (.70); prepare for Katten update call (.10)
07/27/2022     Miranda, Loredana Update document tracker (1.60); emails with G. Thompson regarding                            4.40
                                 same (.10); emails with Katten regarding updated document tracker (.20);
                                 emails with R. Brady regarding documents sent by Mayer Brown
                                 regarding SEC investigation (.20); calls with R. Brady regarding same
                                 (.20); review documents sent by Mayer Brown on July 26, 2022 (.90);
                                 emails with A. Pecoraro regarding corporate governance documents (.20);
                                 attend Katten call regarding status update on investigation (.70); draft
                                 agenda for meeting with the Investigations Committee (.30)
07/27/2022     Rosella, Michael Attend Katten investigation update call (.70); continue to prepare                            1.80
                                 presentation inserts with summaries and analyses of various prepetition
                                 related party transactions (.80); review emails regarding fiduciary duty
                                 research in connection with investigation (.30)
07/27/2022     Roitman, Marc     Call with Mayer Brown regarding discovery requests (1.00); call with Y.                      1.90
                                 Archiyan regarding investigation of GWG investments in Ben and related
                                 documentation (.20); Katten team call regarding investigation (.70)
07/27/2022     Reisman, Steven Review materials regarding documents produced in connection with                               7.50
                                 investigation and complaints, SEC materials, filing documents, and other
                                 materials in connection with investigation work (3.40); discussions with
                                 G. King, C. Giglio and J. Winters regarding investigation work streams
                                 (1.20); ongoing discussions with G. King regarding focus of Investigation
                                 Committee work (.30); review materials regarding Paul Capital complaint
                                 (1.10); participate in investigation team update call (.70); review materials
                                 in preparation for same (.80)
07/27/2022     Archiyan, Yelena    Continue reviewing documents related to investigation of various                           7.80
                                   transactions (6.80); call with M. Roitman regarding summary of Special
                                   Committee minutes in index (.20); meeting with J. Brooks-Patton
                                   regarding organizing file of minutes (.10); Katten call regarding
                                   Investigation (.70)




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Date           Timekeeper         Description                                                                            Hours
07/28/2022     Pecoraro, Andrew Review corporate governance documents regarding fiduciary duties (.80);                        6.50
                                legal research regarding fiduciary duties under Delaware law (.60); draft
                                memorandum regarding same (1.80); email with D. Barnowski regarding
                                same (.30); draft summary comparing allegations in securities complaint to
                                public disclosures (1.20); review public filings regarding same (.80); legal
                                research regarding obligation to disclose non-public government
                                investigation (1.00)
07/28/2022     Giglio, Cindi      Attend Katten pre-call (.50); attend Investigation Committee call (.50)                      1.00
07/28/2022     Barnowski, Dan     Katten team call to prepare for meeting of investigations committee (.50);                   3.70
                                  teleconference meeting of investigations committee (.50); teleconference
                                  with G. King to discuss next steps in investigation (.20); further analysis of
                                  Paul Capital complaint (.30); teleconference with A. Pecoraro concerning
                                  status of research into fiduciary duty issues (.20); teleconference with C.
                                  Kelley concerning discovery protocols (.20); communications with G.
                                  King concerning discovery issues (.30); teleconference with Mayer Brown
                                  and Akin teams concerning status of Committee investigation issues (.30);
                                  analysis of research into fiduciary duty waivers (.80); teleconference with
                                  Mayer Brown and Katten teams concerning discovery issues (.40)
07/28/2022     King, Geoff        Prepare for Investigation Committee call (.80); attend Katten pre-call                       3.50
                                  (.50); attend Investigation Committee call (.50); call with S. Reisman
                                  regarding Investigation Committee issues (.20); call with D. Barnowski
                                  regarding discovery issues (.20); emails with Katten team regarding
                                  discovery protocol (.30); review matters in connection with discovery
                                  protocol (.20); attend Akin/Mayer Brown meeting (.30); call with Mayer
                                  Brown regarding Investigation issues (.40); call with J. Stein regarding
                                  action items (.10)
07/28/2022     Thompson, Grace Attend Katten pre-call (.50); attend call with Investigations Committee                         2.00
                                 (.50); draft minutes for meeting (.50); correspondence with L. Miranda
                                 and R. Brady regarding document productions from Debtors (.30); update
                                 investigation work plan to reflect information from Investigations
                                 Committee call (.20)
07/28/2022     Brooks-Patton,    Review and comparison of redacted files against unredacted files                              4.60
               Janice            reviewing for completeness and accuracy, index and prepare spreadsheet
                                 regarding same (3.50); email exchange with Y. Archiyan regarding same
                                 (.20); revise index of Special Committee Meeting Resolutions Un-redacted
                                 (.80); email Y. Archiyan regarding revisions to index of Special
                                 Committee Meeting Resolutions Un-redacted (.10)
07/28/2022     Winters, Julia    Pre-call with Katten (.50); call with Investigation Committee (.50); emails                   3.70
                                 with Katten regarding discovery requests (.60); revise minutes of 7/28
                                 Investigation Committee meeting (.30); review notes from onboarding
                                 sessions (.90); review presentations to Bondholder Committee (.90)
07/28/2022     Miranda, Loredana Attend Katten pre-call for call with the Investigation Committee (.50)                        0.50
07/28/2022     Roitman, Marc      Review research regarding exculpation provisions and fiduciary duties                        3.50
                                  (.90); emails with Katten regarding same (.50); review corporate formation
                                  documents in connection with same (.70); attend Investigations Committee
                                  call (.50); pre-call with Katten in preparation for same (.50); review
                                  materials in preparation for same (.40)
07/28/2022     Rosella, Michael   Attend Katten pre-call for Investigations Committee call (.50); continue to                  1.20
                                  prepare presentations sections on various prepetition related party
                                  transactions and review related documents and SEC filings (.70)
07/28/2022     Brady, Rick        Continue to unzip and copy data to network (2.30); modify load files                         8.30
                                  (1.10); load data into Concordance database (3.20); attach images and
                                  native files (1.20); add OCR and index databases (.50)



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Date           Timekeeper         Description                                                                           Hours
07/28/2022     Reisman, Steven    Attend to matters regarding Investigations Committee call and review of                     3.10
                                  materials in preparation for same (.80); attend Katten pre-call regarding
                                  agenda for Investigations Committee and focus of discussions (.50);
                                  participate in Investigations Committee update call regarding ongoing
                                  work (.50); review materials subsequent to call per request of
                                  Investigations Committee (1.30)
07/28/2022     Archiyan, Yelena Continue summarizing Special Committee minutes (3.20); create index in                        5.30
                                connection with investigation of transactions (2.10)
07/29/2022     Pecoraro, Andrew Review and analyze company public disclosures regarding securities                            4.50
                                complaint (1.50); draft chart regarding disclosures (1.00); legal research
                                in connection with SEC investigation (.50); draft summary regarding
                                same (1.50)
07/29/2022     Barnowski, Dan   Teleconference with J. Winters concerning status of investigation work                        1.80
                                (.40); supervise research into securities investigation (.20); analyze legal
                                research into securities claims (.40); initial analysis of various
                                intercompany transactions (.80)
07/29/2022     King, Geoff        Review materials in connection with investigation issues (.40); review                      1.10
                                  emails from Katten team regarding investigation issues (.70)
07/29/2022     Winters, Julia     Call with D. Barnowski regarding investigation (.40); emails with G.                        2.70
                                  Thompson, D. Barnowski regarding investigation (.60); review documents
                                  regarding prepetition transactions (1.70)
07/29/2022     Reisman, Steven    Review materials regarding investigation issues and ongoing work,                           1.80
                                  document production, work streams requested by Investigations
                                  Committee (1.80)
07/29/2022     Archiyan, Yelena   Continue reviewing and summarizing Special Committee minutes related                        1.70
                                  to prepetition transactions (1.70)

07/30/2022     Archiyan, Yelena   Continue to review and summarize Special Committee minutes related to                       2.30
                                  prepetition transactions (2.30)

07/31/2022     Archiyan, Yelena   Continue reviewing and summarizing Special Committee minutes related                        6.10
                                  to prepetition transactions (6.10)


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TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                       64.70            1,585.00             102,549.50
Giglio, Cindi                                         16.80            1,350.00              22,680.00
Winters, Julia                                        10.60            1,180.00              12,508.00
King, Geoff                                           58.30            1,145.00              66,753.50
Roitman, Marc                                         58.10            1,145.00              66,524.50
Barnowski, Dan                                        49.50            1,125.00              55,687.50
Mitchell, John                                         8.00            1,050.00               8,400.00
Werlinger, Eric                                        9.80              955.00               9,359.00
Archiyan, Yelena                                      35.50              875.00              31,062.50
Thompson, Grace                                       62.80              800.00              50,240.00
Rosella, Michael                                      15.80              800.00              12,640.00
Pecoraro, Andrew                                      44.00              775.00              34,100.00
Miranda, Loredana                                     53.70              580.00              31,146.00
Brooks-Patton, Janice                                  5.90              410.00               2,419.00
Siena, Marie                                           1.20              380.00                 456.00
Brady, Rick                                            8.30              330.00               2,739.00

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                                     Total Hours :   503.00   Total Fees             509,264.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00028
                                                                                                                                                    Invoice #:                                   9020091096
                                                                                                                                                    Invoice Due Date:                          Payable Upon
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Summary


RE: Non-Working Travel

For Professional Services Rendered Through July 31, 2022



Fees Total.............................................................................................................................................................                 33,018.50
Total Amount Due ..............................................................................................................................................                         33,018.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00028
Invoice #:          9020091096                                                                          October 24, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Non-Working Travel

TIME DETAILS
Date           Timekeeper         Description                                                                        Hours
07/05/2022     Roitman, Marc      Travel to Dallas for meetings with GWG (3.50)                                            3.50
07/06/2022     Reisman, Steven    Travel to Dallas, TX for meetings with GWG management regarding on                       4.00
                                  boarding session and review materials from chapter 11 case and
                                  background while traveling (4.00)
07/08/2022     Roitman, Marc      Non-working portion of time spent traveling home from Dallas (3.70)                      3.70
07/17/2022     King, Geoff        Travel to Houston in connection with hearing (3.20)                                      3.20
07/17/2022     Roitman, Marc      Non-working portion of travel to Houston for Bankruptcy Court hearing                    4.50
                                  (4.50)
07/18/2022     King, Geoff        Travel from Dallas to Chicago (4.20)                                                     4.20
07/18/2022     Roitman, Marc      Non-working portion of travel to Houston for Bankruptcy Court hearing                    4.20
                                  (4.20)
                                                                                        Total Hours :                 27.30




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Matter:             397894.00028
Invoice #:          9020091096                                                     October 24, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate              Amount
Reisman, Steven                                        4.00            1,585.00               6,340.00
King, Geoff                                            7.40            1,145.00               8,473.00
Roitman, Marc                                         15.90            1,145.00              18,205.50

                                     Sub Total :      27.30   Sub Total :                    33,018.50
                                     Total Hours :    27.30   Total Fees              33,018.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
October 24, 2022
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00032
                                                                                                                                                    Invoice #:                                   9020091222
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Summary


RE: Expenses

For Professional Services Rendered Through July 31, 2022


Disbursements .....................................................................................................................................................                       4,693.60
Total Amount Due ..............................................................................................................................................                           4,693.60       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice Due Date:    Payable Upon Receipt


RE: Expenses

DISBURSEMENTS
Description                   Cost Description                                                               Amount

Out of Town Travel            Attend client meetings in Dallas.-Cab from hotel to airport in                 1,993.15
                              Dallas-Date Incurred: 07/08/2022. Attend client meetings in
                              Dallas.-From:: LaGuardia Airport (LGA), Queens, NY, USA
                              To:: 4 Crawford Lane, Scarsdale, NY, USA-Date Incu rred:
                              07/08/2022. Attend client meetings in Dallas.-Toll for
                              Whitestone Bridge - EZ Pass - No receipt-Date Incurred:
                              07/08/2022. Attend client meetings in Dallas.-Cancellation fee
                              for cab-Date Incurred: 07/06/2022. Attend client meetings in
                              Dallas.-Cab from dinner meeting to hotel-Date Incurred:
                              07/07/2022. Attend client meetings in Dallas.-cab from hotel to
                              dinner meeting-Date Incurred: 07/07/2022. Attend client
                              meetings in Dallas.-Cab from home to airport-Date Incurred:
                              07/05/2022. Attend client meetings in Dallas.-Cab from Airport
                              in Dallas to hotel-Date Incurred: 07/05/2022. Attend Hearing in
                              Houston-Cab from airport to home-Date Incurred: 07/18/2022.
                              Attend Hearing in Houston-cab from court to hotel-Date
                              Incurred: 07/18/2022. Attend Hearing in Houston-Cab from
                              dinner to hotel-Date Incurred: 07/17/2022. Attend Hearing in
                              Houston-Cab from local counsel's office to dinner-Date
                              Incurred: 07/17/2022. Attend hearing in Houston, TX-Cab from
                              Airport in Houston to Hotel-Date Incurred: 07/17/2022. Attend
                              hearing in Houston, TX-Cab from home to airport-Date
                              Incurred: 07/17/2022. Attend hearing in Houston, TX-1 night's
                              stay plus taxes-Date Incurred: 07/17/2022. Attend Hearing in
                              Houston-Cab from hotel to airport-Date Incurred: 07/18/2022.
                              Taxi / Uber / Car Service Charges-Car service charge for
                              transportation to the office to work on client related matters /
                              Reservati on #2020386-Date Incurred: 07/20/2022. Attend
                              client meetings in Dallas.-cab from office to hotel-Date
                              Incurred: 07/06/2022. Attend client meetings in Dallas.-In-
                              flight WiFi-Date Incurred: 07/08/2022. Attend client meetings
                              in Dallas.-3 nights stay plus taxes-Date Incurred: 07/08/2022.
                              Attend client meetings in Dallas.-Cab from hotel to dinner
                              meeting-Date Incurred: 07/06/2022. Attend client meetings in
                              Dallas.-Cab from meeting to hotel-Date Incurred: 07/06/2022.
Airfare                       Attend client meetings in Dallas-Seat Fees-Date Incurred:                       982.72
                              07/05/2022. Attend client meetings in Dallas-Airfare to/from
                              Dallas plus Service Fee and Taxes (578.31 + 7.00 + 39.99)-
                              Date Incurred: 07/05/2022. Attend Hearing in Houston-seat
                              booking fee-Date Incurred: 07/15/2022. Attend Hearing in
                              Houston-Airline flight change fare difference-Date Incurred:
                              07/18/2022.
Business Meals                Attend client meetings in Dallas.-food at airport in Dallas-Date                217.70
                              Incurred: 07/08/2022. Late night work meal-Late night work
                              meal while working on client matters-Date Incurred:
                              06/23/2022. Attend client meetings in Dallas.-beverage at
                              airport-Date Incurred: 07/05/2022. Attend client meetings in
                              Dallas.-food at airport-Date Incurred: 07/05/2022. Attend client
                              meetings in Dallas.-meal at airport-Date Incurred: 07/05/2022.
                              Attend client meetings in Dallas.-beverages at hotel-Date
                              Incurred: 07/07/2022. Attend client meetings in Dallas.-
                              beverages at hotel-Date Incurred: 07/06/2022. Attend client


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Invoice Due Date:   Payable Upon Receipt

Description                  Cost Description                                                               Amount
                             meetings in Dallas.-beverage at airport in Dallas-Date Incurred:
                             07/08/2022. Attend Hearing in Houston-food at airport-Date
                             Incurred: 07/18/2022. Attend Hearing in Houston-lunch at
                             airport-Date Incurred: 07/18/2022. Attend Hearing in Houston-
                             snack at airport-Date Incurred: 07/17/2022. Attend Hearing in
                             Houston-snack at airport-Date Incurred: 07/18/2022.
Airfare-Lawyers Travel       Airline - M. Roitman 7/18/22 IAH LGA Inv 14320. Airline - G.                   1,043.76
                             King 7/17/22 ORD IAH ORD Inv 14308-14311.


Court Costs                  Pacer Court Costs 6/01/2022-6/30/2022.                                                0.30



Data/Library Research        Westlaw Legal Research: ARCHIYAN,YELENA on                                        455.97
Services                     7/24/2022. Westlaw Legal Research: THOMPSON,GRACE on
                             7/29/2022. Westlaw Legal Research: THOMPSON,GRACE on
                             7/18/2022. Westlaw Legal Research: MIRANDA,LOREDANA
                             on 7/29/2022. Westlaw Legal Research:
                             MIRANDA,LOREDANA on 7/8/2022.
                                                                   Total Disbursements:             4,693.60    USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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November 29, 2022
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                 26,831.50
Total Amount Due ..............................................................................................................................................                         26,831.50        USD




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Matter:             397894.00002
Invoice #:          9020098159                                                                               November 29, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                         Hours
08/08/2022     Siena, Marie          Review and revise materials for June fee statement (.60)                               0.60
08/09/2022     Giglio, Cindi         Review US Trustee's comments to retention application (.10)                            0.10
08/09/2022     King, Geoff           Address matters related to Katten retention application and UST inquiries              0.80
                                     (.80)
08/09/2022     Thompson, Grace Correspondence with Katten regarding parties in interest and UST                             0.70
                               comments to retention application (.40); draft CNO for same (.30)
08/09/2022     Siena, Marie          Continue to review and revise June and July prebills to ensure privileged              5.60
                                     and confidential information is not disclosed (3.90); emails with Katten
                                     regarding fee statements (.60); revise materials for June and July fee
                                     statements (1.10)
08/09/2022     Reisman, Steven       Review UST comments to Katten retention application (.40); follow up                   0.60
                                     regarding matters related to same and sign off on Katten retention
                                     application (.20)
08/10/2022     Siena, Marie          Revise July prebills to ensure privileged and confidential information is              1.30
                                     not disclosed (1.30)
08/12/2022     Siena, Marie          Continue to review and revise July prebills to ensure privileged and                   2.20
                                     confidential information is not disclosed (2.20)
08/13/2022     Thompson, Grace Review June/July prebills for proper assingment of matter categories (.30);                  0.50
                               correspondence with M. Siena regarding the same (.20)
08/13/2022     Siena, Marie          Continue to review and revise June and July prebills to ensure compliance              3.90
                                     with UST guidelnes and to ensure privileged and confidential information
                                     is not disclosed (3.90)
08/14/2022     Thompson, Grace Review June/July prebills for privileged information and proper                              2.60
                               assignment of matter categories (2.60)
08/14/2022     Siena, Marie          Revise June and July prebills to incorporate G. Thompson comments                      3.50
                                     (3.50)
08/16/2022     Thompson, Grace Revise June/July prebills for privilege and confidential information (1.50)                  1.50
08/17/2022     Thompson, Grace Continue revising June/July prebills for privilege and confidential                          2.80
                                 information (2.60); correspond with L. Miranda regarding monthly fee
                                 statement (.20)
08/17/2022     Miranda, Loredana Draft first monthly fee statement (2.10); emails with G. Thompson                          4.50
                                 regarding same (.20); review June and July pre-bills (2.10); emails with G.
                                 Thompson regarding same (.10)
08/17/2022     Reisman, Steven Review of first monthly fee statement and note comments regarding same                       1.30
                                 (.90); follow up regarding privilege issues (.40)
08/18/2022     Thompson, Grace Continue revision of June/July prebills for privilege and confidential                       1.20
                                 information (1.20)
08/18/2022     Miranda, Loredana Draft first monthly fee statement (.80); emails with G. Thompson                           0.90
                                 regarding same (.10)
08/20/2022     Thompson, Grace Revise shell for monthly fee statements from L. Miranda (.50)                                0.50
08/21/2022     King, Geoff           Review GWG MFS materials (2.60)                                                        2.60
08/21/2022     Siena, Marie          Revise June and July prebills to incorporate G. King comments (4.70)                   4.70




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Date           Timekeeper         Description                                                                           Hours
08/22/2022     Siena, Marie       Review June and July prebills (.20); emails with G. Thompson and G.                      0.80
                                  King regarding same (.20); file CNO regarding Katten retention
                                  application on the court's ECF system (.20); emails with noticing agent
                                  regarding service of same (.20)
08/23/2022     Miranda, Loredana Draft second monthly fee statements (.30); emails with G. Thompson                        0.40
                                 regarding same (.10)
                                                                                           Total Hours :                 43.60




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Matter:             397894.00002
Invoice #:          9020098159                                                     November 29, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        1.90            1,585.00               3,011.50
Giglio, Cindi                                          0.10            1,350.00                 135.00
King, Geoff                                            3.40            1,145.00               3,893.00
Thompson, Grace                                        9.80              800.00               7,840.00
Miranda, Loredana                                      5.80              580.00               3,364.00
Siena, Marie                                          22.60              380.00               8,588.00

                                     Sub Total :      43.60   Sub Total :                    26,831.50
                                     Total Hours :    43.60   Total Fees              26,831.50   USD




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November 29, 2022
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: DIP

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                       829.50
Total Amount Due ..............................................................................................................................................                               829.50     USD




Payment can be remitted directly to our account:




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Invoice #:          9020098153                                                                         November 29, 2022
Invoice Due Date:   Payable Upon Receipt


RE: DIP

TIME DETAILS
Date           Timekeeper         Description                                                                      Hours
08/26/2022     King, Geoff        Review DIP materials (.10); review precedent materials in connection with           0.50
                                  plan diligence (.40)
08/26/2022     Hall, Jerry        Review DIP reporting (.20)                                                          0.20
                                                                                         Total Hours :               0.70




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Matter:             397894.00004
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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Hall, Jerry                                            0.20            1,285.00                   257.00
King, Geoff                                            0.50            1,145.00                   572.50

                                     Sub Total :       0.70   Sub Total :                         829.50
                                     Total Hours :     0.70   Total Fees                 829.50    USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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November 29, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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                                                                                                                                                    Invoice #:                                   9020098160
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Summary


RE: Employee Matters

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                 41,288.50
Total Amount Due ..............................................................................................................................................                         41,288.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Employee Matters

TIME DETAILS
Date           Timekeeper         Description                                                                       Hours
08/01/2022     King, Geoff        Review KEIP/KERP presentation materials (.70); call with D. Chavenson                2.50
                                  regarding same (.10); review revised KEIP/KERP slides (.30); prepare for
                                  call with T. Evans (.10); call with T. Evans regarding KEIP issues (.40);
                                  prepare materials regarding follow up on KEIP/KERP issues (.30); review
                                  Ben LOI (.20); review revised version of KEIP/KERP presentation (.40)
08/02/2022     King, Geoff        Prepare follow-up regarding KEIP issues (.20); analyze issues in                     0.50
                                  connection with KEIP issues (.30)
08/02/2022     Brooks-Patton,     Respond to email from L. Miranda and G. Thompson regarding                           2.20
               Janice             compensation emails conversion project (.10); compile and prepare emails
                                  regarding 2021 compensation for attorney review (1.90); email exchange
                                  with L. Miranda regarding compensation email files (.20)
08/02/2022     Roitman, Marc      Revise presentation to Independent Directors regarding shared services               1.90
                                  and potential employee retention program (1.60); emails with Katten
                                  regarding same (.30)
08/03/2022     Giglio, Cindi      Attend KEIP/KERP call (.70); post call follow up (.30)                               1.00
08/03/2022     King, Geoff        Review materials received with respect to KEIP issues (.40); prepare for             1.50
                                  call with PJT and FTI (.40); call with PJT and FTI regarding KEIP/KERP
                                  status (.70)
08/03/2022     Thompson, Grace Attend call with PJT and FTI regarding KEIP/KERP (.70); attend follow-                  1.60
                               up call with Katten (.30); draft summary of calls for Katten (.60)
08/03/2022     Roitman, Marc   Call with FTI and PJT regarding employee compensation matters (.70);                    1.00
                               follow-up call with Katten regarding same (.30)
08/03/2022     Reisman, Steven    Update regarding matters related to KEIP/KERP (.10); participate in calls            0.80
                                  with PJT and FTI regarding same (.70)
08/03/2022     Archiyan, Yelena   Review summary of call with FTI and PJT regarding KEIP/KERPs (.20)                   0.20
08/04/2022     Giglio, Cindi      Email regaring Bailey bonus (.10); emails regarding KERP (.20)                       0.30
08/04/2022     King, Geoff        Call with C. Harvick regarding KEIP (.10); prepare summary regarding                 0.80
                                  current KEIP status (.40); review materials in connection with KEIP (.30)
08/04/2022     Thompson, Grace Correspondence with Katten regarding compensation documents in                          0.20
                               connection with KEIP/KERP (.20)
08/04/2022     Winters, Julia  Emails regarding KEIP/KERP (.70)                                                        0.70
08/05/2022     Giglio, Cindi      Call with Mayer Brown regarding KEIP (.50)                                           0.50
08/05/2022     Thompson, Grace Call with Mayer Brown regarding KEIP/KERP (.50); draft summary of                       0.90
                               call for Katten (.40)
08/05/2022     Roitman, Marc   Call with Mayer Brown regarding potential key employee compensation                     0.50
                               matters (.50)
08/06/2022     Thompson, Grace Review background documents related to KEIP/KERP (.70)                                  0.70
08/07/2022     King, Geoff        Review employment diligence (.60)                                                    0.60
08/08/2022     Giglio, Cindi      Call with Mayer Brown and G. King regarding KERP/KEIP and related                    2.10
                                  follow up (.90); further call with Mayer Brown and FTI teams (.50); call
                                  with Ben's counsel regarding KEIP (.70)
08/08/2022     Barnowski, Dan     Analyze memorandum describing results of call with Ben concerning pay                0.20
                                  issues (.20)




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Date           Timekeeper         Description                                                                        Hours
08/08/2022     King, Geoff        Call with C. Giglio and FTI regarding KEIP issues (.40); call with C.                 3.00
                                  Giglio and L. Chiappetta regarding KEIP (.20); call with C. Giglio
                                  regarding KEIP (.40); attend KERP/KEIP call with FTI/MB (.50); revise
                                  fact sheet in connection with KERP analysis (.80); call with Ben’s counsel
                                  regarding KEIP issues (.70)
08/08/2022     Thompson, Grace Call with FTI regarding KEIP/KERP (.70); draft summary of call for                       1.90
                               Katten (.40); call with Mayer Brown regarding KEIP/KERP (.50); draft
                               summary of call for Katten (.20)
08/08/2022     Reisman, Steven    Attend to matters regarding KEIP and consideration of same (.60); follow              1.30
                                  up with Ben's counsel regarding KEIP issues (.70)
08/08/2022     Archiyan, Yelena   Review update on KEIP/KERP issue (.10)                                                0.10
08/10/2022     King, Geoff        Review matters in connection with KEIP/KERP (.80)                                     0.80
08/10/2022     Winters, Julia     Emails with Katten, Mayer Brown regarding KEIP/KERP (.60)                             0.60
08/10/2022     Archiyan, Yelena   Review email regarding 2021 bonuses for B. Bailey and his team (.10)                  0.10
08/11/2022     Giglio, Cindi      Call with J. Stein regarding KEIP (.10)                                               0.10
08/11/2022     King, Geoff        Review diligence in connection with insurance and KEIP related inquiries              0.40
                                  (.40)
08/11/2022     Thompson, Grace Call with M. Rosella regarding KEIP/KERP analysis (.10);                                 0.20
                                correspondence regarding the same (.10)
08/11/2022     Rosella, Michael Review materials regarding KEIP motion and employee wage issues in                      1.10
                                connection with presentation for Bondholder Committee (1.00); call with
                                G. Thompson regarding same (.10)
08/12/2022     Giglio, Cindi      Discussion with G. King regarding KEIP throughout day (.60)                           0.60
08/12/2022     King, Geoff        Call with T. Evans regarding KEIP issues (.20); call with M. Rosella                  0.30
                                  regarding presentation (.10)
08/12/2022     Rosella, Michael   Prepare presentation to Bondholder Committee counsel regarding KEIP/                  1.60
                                  KERP issues (1.50); call with G. King regarding presentation (.10)
08/12/2022     Reisman, Steven    Update regarding KEIP/KERP Motion and coordination with Bondholders                   0.70
                                  Committee regarding same (.70)
08/15/2022     Rosella, Michael   Continue to prepare KEIP/KERP presentation for counsel to the                         0.80
                                  Bondholder Committee (.50); review emails regarding KEIP/KERP issues
                                  (.30)
08/16/2022     King, Geoff        Review KEIP presentation (.40)                                                        0.40
08/16/2022     Rosella, Michael   Incorporate Katten comments to KEIP/KERP presentation for Akin (.40)                  0.40
08/16/2022     Roitman, Marc      Revise presentation to Independent Directors regarding potential key                  1.60
                                  employee compensation programs (1.40); emails with G. King and M.
                                  Rosella regarding same (.20)
08/18/2022     King, Geoff        Analyze issues in connection with potential KEIP (.40)                                0.40
08/18/2022     Archiyan, Yelena   Review KEIP/KERP presentations (.20)                                                  0.20
08/22/2022     Rosella, Michael   Review emails regarding updated KEIP/KERP analyses prepared by FTI                    0.40
                                  (.40)
08/23/2022     Reisman, Steven    Follow up regarding matters related to KEIP (.60)                                     0.60
08/25/2022     King, Geoff        Call with T. Evans regarding employee issues (.10)                                    0.10
                                                                                           Total Hours :              38.40




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Invoice #:          9020098160                                                     November 29, 2022
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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        3.40            1,585.00              5,389.00
Giglio, Cindi                                          4.60            1,350.00              6,210.00
Winters, Julia                                         1.30            1,180.00              1,534.00
King, Geoff                                           11.30            1,145.00             12,938.50
Roitman, Marc                                          5.00            1,145.00              5,725.00
Barnowski, Dan                                         0.20            1,125.00                225.00
Archiyan, Yelena                                       0.60              875.00                525.00
Thompson, Grace                                        5.50              800.00              4,400.00
Rosella, Michael                                       4.30              800.00              3,440.00
Brooks-Patton, Janice                                  2.20              410.00                902.00

                                     Sub Total :      38.40   Sub Total :                    41,288.50
                                     Total Hours :    38.40   Total Fees              41,288.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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November 29, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through August 31, 2022



Fees Total............................................................................................................................................................. 273,088.50
Total Amount Due .............................................................................................................................................. 273,088.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
08/01/2022     King, Geoff        Review committee response regarding insurance motion (.20); email to P.                0.30
                                  Nemecek regarding insurance follow up (.10)
08/01/2022     Nemecek, Philip    Review email of Bondholder Committee's questions regarding D&O                         0.40
                                  insurance and motion to modify stay (.40)
08/03/2022     King, Geoff        Review materials in connection with insurance motion (.80)                             0.80
08/03/2022     Archiyan, Yelena   Review GWG responses to Akin’s questions regarding D&O insurance                       0.20
                                  (.20)
08/04/2022     King, Geoff        Call with J. Rubin regarding insurance motion (.20)                                    0.20
08/05/2022     King, Geoff        Correspondence regarding Insurance motion (.30); call with P. Nemecek                  0.80
                                  regarding insurance motion (.30); prepare summary regarding insurance
                                  issues (.20)
08/05/2022     Nemecek, Philip    Review emails from G. King and Y. Archiyan regarding debtor's motion                   0.70
                                  and insurance issues and concerns (.40); telephone conference with G.
                                  King regarding D&O concerns (.30)
08/05/2022     Archiyan, Yelena   Review Alta Mesa insurance orders and circulate to Katten team (.20)                   0.20
08/09/2022     King, Geoff        Review insurance materials and analysis from P. Nemecek (.80)                          0.80
08/09/2022     Nemecek, Philip    Review and analyze GWG's D&O policies regarding coverage D&Os in                       2.40
                                  ongoing litigation (.60); draft analysis for G. King regarding coverage for
                                  D&Os in ongoing litigation (1.10); exchange emails with G. King
                                  regarding same (.70)
08/10/2022     Nemecek, Philip    Review reservation of rights letter issued by primary D&O insurer in                   0.40
                                  connection with PCA litigation (.40)
08/11/2022     King, Geoff        Review materials in connection with outstanding insurance issues (.30);                1.10
                                  review insurance diligence (.80)
08/12/2022     Giglio, Cindi      Discuss insurance motion with Willkie (.20); emails regarding insurance                0.70
                                  motion (.20); discuss next steps with S. Reisman (.30)
08/12/2022     King, Geoff        Call with Willkie regarding insurance motion (.20); call with J. Longmire              1.50
                                  of Willkie regarding insurance motion (.20); review materials in
                                  connection with insurance motion (.60); call with J. Rubin regarding
                                  insurance objection (.10); emails with Katten and Mayer Brown regarding
                                  insurance motion (.20); call with Mayer Brown regarding insurance
                                  motion (.20)
08/12/2022     Thompson, Grace Call with Mayer Brown regarding Insurance Motion (.20)                                    0.20
08/12/2022     Reisman, Steven    Follow up regarding matters related to insurance motion and review draft               2.20
                                  of motion (1.10); discussions with Mayer Brown regarding insurance
                                  motion (.20); provide comments to insurance motion (.70); discussions
                                  with Willkie Farr regarding same (.20)
08/13/2022     Miranda, Loredana Review bondholders claims procedure Motion for M. Comerford (.40);                      0.70
                                 emails with M. Comerford regarding same (.30)
08/15/2022     Werlinger, Eric   Phone call with G. Thompson regarding insurance policies (.40); review                  4.30
                                 Willkie bills regarding potential coverage by insurance (2.50); draft
                                 summary of bill analysis for G. King (.50); answer follow-up questions
                                 from G. King regarding Willkie bills (.90)
08/15/2022     King, Geoff       Prepare chart regarding outstanding invoices to insurance carriers and                  2.20
                                 related information in connection with insurance motion (1.80); review
                                 materials in connection with invoices accepted by carriers (.40)



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Matter:             397894.00007
Invoice #:          9020098162                                                                             November 29, 2022
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Date           Timekeeper         Description                                                                          Hours
08/15/2022     Thompson, Grace Research regarding insurance proceeds and estate property (2.40); draft                    3.90
                                email on research for Katten (1.00); call with J. Winters regarding same
                                (.10); call with E. Werlinger regarding same (.40)
08/15/2022     Winters, Julia   Emails with Katten regarding insurance motion (.60); call with G.                         1.50
                                Thompson regarding research for insurance motion (.10); review research
                                memo regarding insurance motion (.80)
08/15/2022     Rosella, Michael Review insurance coverage research (.30)                                                  0.30
08/15/2022     Archiyan, Yelena   Review research on whether non-debtor co-insured are stayed from using                  0.10
                                  insurance proceeds (.10)
08/16/2022     Barnowski, Dan     Attend Katten pre-call to prepare for call for with Akin, Mayer Brown and               0.60
                                  Willkie regarding insurance motion (.20); attend call with Akin, Mayer
                                  Brown and Willkie regarding same (.40)
08/16/2022     King, Geoff        Call with J. Rubin regarding insurance motion (.10); call with D. Bennett               4.30
                                  regarding insurance motion (.10); analyze issues in connection with open
                                  insurance issues (.70); review materials provided by Debtors to Committee
                                  in connection with insurance diligence requests (.40); review precedent
                                  orders in connection with insurance order (.50); prepare summary of
                                  outstanding insurance motion issues (.70); Katten pre-call for Akin call
                                  (.30); call with Akin regarding insurance matters (.80); pre-call before call
                                  with Willkie and Akin (.30); call with Akin and Willkie (.40)
08/16/2022     Thompson, Grace Attend call with Akin regarding Insurance Motion (.80); attend precall                     2.20
                                 with Katten for same (.30); attend call with Mayer Brown and Akin
                                 regarding Insurance Motion (.40); attend precall with Katten for same
                                 (.20); draft summary of calls / status of Insurance Motion for Katten and
                                 Independent Directors (.50)
08/16/2022     Miranda, Loredana Attend Katten pre-call for call with Akin (.30); Katten pre-call with Akin,              0.50
                                 Mayer Brown, and Willkie (.20)
08/16/2022     Reisman, Steven    Participate in call with Akin regarding insurance matters (.80); attend                 2.80
                                  Katten pre-call for Akin call (.30); review materials in connection with
                                  insurance diligence requests (.60); attend call with Mayer Brown, Willkie
                                  and Akin regarding insurance motion (.40); Katten pre-call for same (.20)
08/16/2022     Archiyan, Yelena   Pull insurance orders from other cases and send to G. King (.20); review                0.30
                                  summary of call with Akin and Willkie regarding insurance motion and
                                  fees (.10)
08/17/2022     Chase, Ashley      Call with G. King regarding insurance motion (.60); read Debtors' motion                8.50
                                  regarding insurance policies and proceeds (1.10); read first day declaration
                                  for background on events leading up to the chapter 11 (1.40); review
                                  emails among Katten regarding Debtors' D&O insurance policies (.70);
                                  conduct factual research regarding pending litigation claims against GWG,
                                  Beneficient, and insured officers and directors (1.90); begin drafting
                                  background section of memo regarding ownership of insurance policies
                                  and proceeds (2.80)
08/17/2022     King, Geoff        Call with A. Chase regarding insurance research (.60); collect documents                2.90
                                  in connection with insurance memo (.20); call with D. Barnowski
                                  regarding insurance issues (.20); call with Mayer Brown, J. Stein and S.
                                  Reisman regarding insurance motion (.40); call with D. Bennett regarding
                                  insurance motion (.10); call with T. Evans regarding insurance motion
                                  (.70); analyze issues in connection with open issues in insurance motion
                                  (.70)
08/17/2022     Reisman, Steven    Review materials in connection with Insurance memo and D&O coverage                     1.50
                                  (.40); call with Mayer Brown, J. Stein and G. King regarding insurance
                                  motion (.40); participate in call with T. Evans regarding insurance motion
                                  (.70)


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08/18/2022     Chase, Ashley      Conduct research regarding ownership of insurance policies (1.70);                   10.20
                                  conduct research regarding ownership of insurance proceeds (3.80);
                                  review research from G. Thompson regarding insurance proceeds (1.30);
                                  begin drafting legal framework for memo regarding ownership of
                                  insurance policies and proceeds (3.40)
08/18/2022     King, Geoff        Call with D. Bennett regarding insurance (.50); call with G. Thompson                  3.30
                                  regarding insurance motion (.20); call with Holland & Knight regarding
                                  insurance motion (.50); call with J. Rubin regarding insurance motion
                                  (.20); emails with Katten team regarding insurance motion open issues
                                  (.30); review prior research on insurance case law (.80); prepare materials
                                  in connection with insurance memo (.80)
08/18/2022     Thompson, Grace Call with G. King regarding Insurance Motion (.20); call with Holland &                   0.90
                               Knight regarding the same (.50); draft summary of call for Katten (.20)
08/18/2022     Winters, Julia  Emails with G. King, A. Chase regarding insurance motion memo (.70)                       0.70
08/18/2022     Miranda, Loredana Review case law on D&O insurance (.70); emails with A. Chase regarding                  0.90
                                 same (.20)
08/18/2022     Nemecek, Philip Exchange emails with G. King regarding memo laying out D&O insurance                      0.20
                                 issues (.20)
08/18/2022     Reisman, Steven    Attend to matters regarding insurance motion and discussions regarding                 1.10
                                  same and efforts to resolve issues (1.10)
08/19/2022     Chase, Ashley      Revise current draft memorandum regarding ownership of insurance                     13.30
                                  proceeds and policies (2.10); further review of research regarding
                                  ownership of insurance proceeds (3.30); draft section of memorandum
                                  regarding Side A proceeds (2.90); draft section of memorandum regarding
                                  Side B/C proceeds for the Debtors (3.60); review sample requests for
                                  related insurance relief (.60); review Debtors' Primary D&O Policy (.80)
08/19/2022     Barnowski, Dan     Analyze communications concerning insurance motion (.40)                               0.40
08/19/2022     King, Geoff        Call with Ben and Mayer Brown regarding insurance motion (.20); call                   4.40
                                  with Akin regarding insurance motion issues (.20); review material in
                                  connection with insurance motion (.70); call with Young Conaway
                                  regarding insurance motion (.10); emails with Mayer Brown regarding
                                  open insurance issues (.20); call with S. Reisman regarding insurance
                                  motion (.10); review open matters related to insurance motion (.70);
                                  review first draft of insurance memo (1.10)
08/19/2022     Winters, Julia     Emails with Katten, MB, Akin regarding insurance motion (1.70); review                 2.30
                                  drafts of proposed order (.60)
08/19/2022     Reisman, Steven    Follow up with Katten team regarding insurance motion and matters                      4.80
                                  related to same (.70); continue to work on matters regarding insurance
                                  motion and efforts to resolve issues in connection with same (.70); update
                                  regarding insurance policy and entitlement to proceeds thereof and
                                  discussions of issues regarding side A, side B and side C proceeds (1.70);
                                  coordination with Akin Gump regarding efforts to resolve D&O insurance
                                  motion (1.70)
08/19/2022     Archiyan, Yelena   Review email chain regarding D&O motion (.30)                                          0.30
08/20/2022     Chase, Ashley      Revise draft memorandum regarding ownership of insurance policies and                  7.80
                                  proceeds (3.70); implement G. King's comments to draft memorandum
                                  (1.10); conduct research regarding co-insureds' right to proceeds (3.00)
08/20/2022     King, Geoff        Review multiple versions of revised memo (.80); emails with team                       1.00
                                  regarding memo (.20)
08/20/2022     Winters, Julia     Emails with Katten, MB regarding insurance motion (.80)                                0.80




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Date           Timekeeper         Description                                                                        Hours
08/20/2022     Nemecek, Philip    Review emails from A. Chase, G. King and S. Reisman regarding                         3.00
                                  insurance policies memorandum (.40); exchange emails with G. King
                                  regarding filed copy of debtor's motion to modify automatic stay to allow
                                  payment of costs, including review of motion (.60); review and revise
                                  memo regarding insurance policies (1.30); email to A. Chase and G. King
                                  regarding proposed revisions to insurance policies memo (.70)
08/20/2022     Reisman, Steven    Attend to matters regarding D&O policies, coverage, motion to modify                  1.10
                                  automatic stay and matters related to same (1.10)
08/21/2022     Chase, Ashley      Implement P. Nemecek edits to memo regarding ownership of insurance                   5.00
                                  proceeds (1.00); further revise memo regarding ownership of insurance
                                  proceeds (1.90); edit draft slides for upcoming Special Committee meeting
                                  regarding insurance motion (.50); input J. Winters edits to memo regarding
                                  insurance policy proceeds (1.20); email with P. Nemecek regarding
                                  insurance memo (.40)
08/21/2022     King, Geoff        Review insurance-related diligence (.60); review revised version of memo              1.60
                                  (.80); prepare revisions to memorandum (.20)
08/21/2022     Winters, Julia     Revise memo regarding insurance motion (1.30); emails with Katten                     1.70
                                  regarding insurance motion (.40)
08/21/2022     Nemecek, Philip    Review email from A. Chase regarding research, including review and                   2.30
                                  analysis of decision (.40); exchange emails with A. Chase regarding policy
                                  limits for primary and Side A D&O policies, including review and analysis
                                  of insurance policies (1.20); exchange emails with G. King regarding
                                  coverage available and further review of D&O policy terms and XL's
                                  reservation of rights communications (.70)
08/21/2022     Reisman, Steven    Follow up regarding insurance related diligence on Directors & Officers               0.60
                                  liability insurance motion (.60)
08/22/2022     Chase, Ashley      Implement C. Giglio edits to memo regarding ownership of insurance                    5.50
                                  proceeds (2.30); implement J. Winters edits to memo regarding ownership
                                  of insurance proceeds (.70); call with Katten regarding insurance proceeds
                                  memo (.60); further revise memo regarding insurance proceeds (1.90)
08/22/2022     Giglio, Cindi      Comment on insurance memo (1.20); review proposed order (.30); further                2.60
                                  review of memo (.20); call with Katten to discuss insurance motion (.60);
                                  call with G. King and J. Winters regarding insurance motion (.30)
08/22/2022     Barnowski, Dan     Analyze insurance memo (.40); teleconference with Katten about                        1.00
                                  insurance comfort motion and next steps (.60)
08/22/2022     King, Geoff        Call with Katten team regarding insurance motion (.60); call with C.                  1.60
                                  Giglio and J. Winters regarding insurance motion (.30); revise insurance
                                  order (.40); review insurance memo (.30)
08/22/2022     Winters, Julia     Review revised memo regarding insurance motion (.80); emails with                     4.20
                                  Katten, MB, Akin regarding insurance motion (1.40); call with G. King
                                  and C. Giglio regarding insurance motion (.30); call with Katten regarding
                                  insurance motion (.60); review draft proposed order (.40); review further
                                  revised memo regarding insurance motion (.70)
08/22/2022     Nemecek, Philip    Participate in Katten conference call regarding insurance motion (.60);               1.40
                                  review email from C. Giglio regarding comments to insurance memo
                                  (.40); review email from A. Chase regarding revised version of insurance
                                  memo (.40)
08/22/2022     Reisman, Steven    Attend to matters regarding insurance motion (.80)                                    0.80
08/22/2022     Archiyan, Yelena   Review memo regarding whether insurance proceeds are estate assets and                1.00
                                  revised draft (.70); review Akin’s mark up of D&O order and related
                                  correspondence (.10); review multiple emails regarding D&O insurance
                                  (.20)



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08/23/2022     Chase, Ashley      Read Committee's objection to the Debtors' insurance motion (1.20);                       4.70
                                  review proposals from Beneficient regarding insurance motion (.30);
                                  finalize memo regarding insurance policies and proceeds (3.20)
08/23/2022     Giglio, Cindi      Review Beneficient insurance proposal and communicate with G. King                        2.60
                                  regarding same (.30); attend call with Mayer Brown regarding same (.70);
                                  post call follow up with G. King (.30); review revised insurance memo
                                  (.20); comment on transmittal email (.20); review committee objection to
                                  insurance motion (.50); related emails (.40)
08/23/2022     Barnowski, Dan     Teleconference with Mayer Brown concerning insurance motion (.70)                         0.70
08/23/2022     King, Geoff        Call with J. Rubin regarding insurance motion (.20); call with YCST                       1.60
                                  regarding insurance motion (.10); call with Mayer Brown regarding
                                  insurance status (.70); post call follow up with C. Giglio (.30); emails with
                                  team regarding insurance motion (.30)
08/23/2022     Thompson, Grace Attend call with Mayer Brown regarding Insurance Motion (.70); draft                         1.00
                                summary of call for Katten (.30)
08/23/2022     Winters, Julia   Emails with Katten, Mayer Brown regarding insurance motion (1.60);                          2.80
                                review revised memo regarding insurance motion (.60); review
                                Bondholder Committee objection to insurance motion (.60)
08/23/2022     Rosella, Michael Review portions of Bondholder Committee objection to insurance comfort                      0.40
                                motion for specific information (.40)
08/23/2022     Reisman, Steven    Update regarding insurance motion (.60)                                                   0.60
08/23/2022     Archiyan, Yelena   Review notes from call with Mayer Brown regarding the Insurance Motion                    0.10
                                  (.10)
08/24/2022     Chase, Ashley      Read summary of calls among Katten and Debtor professionals regarding                     0.40
                                  Insurance Motion from G. Thompson (.20); read emails regarding draft
                                  Insurance Motion order (.20)
08/24/2022     Giglio, Cindi      Attention to issues related to insurance motion and potential settlement                  6.00
                                  (2.10); pre-call with G. King (.30); call with Mayer Brown regarding
                                  insurance (.70); follow up discussions with S. Reisman (.50); further
                                  review and analysis of insurance objection (1.20); review binder for
                                  hearing (.40); further communications regarding same (.80)
08/24/2022     Barnowski, Dan     Attend portion of call with Mayer Brown and Ben counsel concerning                        1.40
                                  insurance motion (.50); teleconference with Mayer Brown concerning
                                  insurance motion (.70); follow-up call with C. Kelley concerning
                                  insurance motion (.20)
08/24/2022     King, Geoff        Call with Mayer Brown regarding Insurance Motion (.70); call with Mayer                   4.70
                                  Brown and Holland & Knight regarding Insurance Motion (.80); calls with
                                  D. Barnowski regarding insurance motion (.30); calls with J. Rubin (.40);
                                  calls with G. Giglio regarding insurance (.40); call with J. Rubin and C.
                                  Giglio regarding insurance motion (.30); review multiple revisions to
                                  insurance order (.40); prepare issues list and related materials in
                                  connection with upcoming Monday hearing (1.20); call with C. Giglio and
                                  S. Reisman regarding insurance motion (.20)
08/24/2022     Thompson, Grace Call with Mayer Brown regarding Insurance Motion (.70); draft summary                        2.50
                               of call for Katten (.30); call with Holland & Knight regarding Insurance
                               Motion (.80); draft summary for Katten (.40); prepare materials related to
                               Insurance Motion for upcoming hearing (.10); related correspondence with
                               M. Siena and Katten (.20)
08/24/2022     Winters, Julia  Emails with Katten, Mayer Brown regarding insurance motion (.90)                             0.90
08/24/2022     Siena, Marie       Prepare index for D&O binder (.60); compile documents for D&O binder                      1.30
                                  (.40); emails with Katten regarding same (.30)



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08/24/2022     Reisman, Steven    Follow up regarding insurance motion and issues related to same (.30)                  0.30
08/24/2022     Reisman, Steven    Attend to matters regarding contested Director & Officer insurance motion              0.80
                                  (.80)
08/24/2022     Archiyan, Yelena   Review summary of call with Mayer Brown regarding Insurance motion                     0.20
                                  (.10); review notes from afternoon call with Mayer Brown and Holland &
                                  Knight regarding insurance motion (.10)
08/25/2022     Chase, Ashley      Revise memo regarding insurance policies and proceeds (.80)                            0.80
08/25/2022     Giglio, Cindi      Calls with G. King regarding settlement (1.10); consideration of issues                5.60
                                  related to proposal of committee (.90); attend to revisions of memo (2.50);
                                  follow up with J. Stein and with G. King (.60); further calls with S.
                                  Reisman (.50)
08/25/2022     King, Geoff        Calls with C. Giglio regarding insurance issues (1.10); call with S.                   2.90
                                  Reisman regarding insurance issues (.20); call with Akin regarding
                                  insurance issues (.10); review materials related to insurance motion (.40);
                                  review correspondence regarding Ben position on insurance motion (.20);
                                  analyze issues in connection with insurance objection (.70); review revised
                                  memo on insurance issues (.20)
08/25/2022     Winters, Julia     Emails with Katten, Mayer Brown, Akin regarding insurance motion                       1.10
                                  (1.10)
08/26/2022     Chase, Ashley      Review Debtors' response to the insurance motion objection (.40); review               0.70
                                  witness and exhibit lists for the August 29 hearing (.30)
08/26/2022     Giglio, Cindi      Call with S. Reisman regarding D&O (.40); call with G. King regarding                  8.20
                                  insurance motion (.40); draft chart of bid/ask and recommendations (4.40);
                                  work on script for hearing (2.10); call with Bondholder Committee (.30);
                                  call with Mayer Brown (.60)
08/26/2022     Barnowski, Dan     Teleconference with Okin Adams concerning insurance issues (.30);                      0.90
                                  teleconference with Mayer Brown, Katten and Holland & Knight
                                  concerning insurance issue (.60)
08/26/2022     King, Geoff        Call with Okin Adams regarding upcoming hearing (.30); review                          4.20
                                  summaries regarding current status of insurance motion (.40); call with
                                  Mayer Brown regarding insurance motion (.60); call with Holland &
                                  Knight and Mayer Brown regarding insurance issues (.60); review
                                  proposed language to insurance order and revise multiple versions of same
                                  (.70); review precedent materials in connection with insurance motion
                                  (.30); review memo on bankruptcy case law regarding insurance policies
                                  (.40); analyze issues in connection with upcoming hearing (.20); calls with
                                  C. Giglio regarding insurance motion (.40); review materials in connection
                                  with open insurance issues (.30)
08/26/2022     Thompson, Grace Call with Mayer Brown regarding Insurance Motion (.60); call with Mayer                   2.90
                               Brown and Holland & Knight regarding same (.60); draft summaries of
                               calls for Katten (.70); revise bid/ask chart for Special Committee (1.00)
08/26/2022     Hall, Jerry     Review chart regarding insurance motion issues (.30)                                      0.30
08/26/2022     Reisman, Steven    Call with C. Giglio regarding insurance motion (.40); review bid/ask and               3.00
                                  recommendation chart (1.00); review memo and case law regarding D&O
                                  insurance issues (.40); call with Mayer Brown regarding the same (.60);
                                  call with Mayer Brown and Holland & Knight regarding the same (.60)
08/26/2022     Archiyan, Yelena   Review multiple emails regarding D&O motion (.30); review summary of                   0.40
                                  call with Mayer Brown and Holland & Knight regarding insurance motion
                                  (.10)
08/27/2022     Giglio, Cindi      Revisions to reply brief and related correspondence (2.90)                             2.90




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08/27/2022     Barnowski, Dan     Revise chart comparing parties positions on insurance motion (.40); revise               0.90
                                  draft reply brief on insurance motion (.50)
08/27/2022     King, Geoff        Revise draft reply (1.70); review insurance documents (.40); call with D.                2.20
                                  Chavenson regarding insurance motion (.10)
08/27/2022     Thompson, Grace Revise bid/ask chart regarding Insurance Motion (.20); further revise chart                 0.70
                               (.50)
08/27/2022     Hall, Jerry     Review chart of insurance issues (multiple iterations) (.50); review draft                  0.80
                               reply in support of insurance motion (.30)
08/27/2022     Winters, Julia  Revise materials on insurance motion dispute (.80); emails with Katten                      1.20
                               regarding insurance motion dispute (.40)
08/27/2022     Reisman, Steven    Attend to calls, emails and follow up regarding efforts to resolve dispute               0.80
                                  related to D&O motion and discussions with Akin Gump regarding same
                                  (.80)
08/28/2022     Chase, Ashley      Review drafts of the reply to Insurance Motion for comment (1.30)                        1.30
08/28/2022     Giglio, Cindi      Further edits to reply brief (1.80): review revised script (.20); correspond             4.10
                                  with G. King throughout day (.90): calls with S. Reisman (.40); call with
                                  Mayer Brown regarding reply (.80)
08/28/2022     Barnowski, Dan     Analyze proposed revision to draft reply brief (.50)                                     0.50
08/28/2022     King, Geoff        Call with Mayer Brown regarding reply (.80); call with J. Stein regarding                5.40
                                  reply (.10); call with D. Chavenson regarding reply (.20); call with T.
                                  Horton regarding reply (.10); emails with Katten team regarding draft
                                  reply (.70); review multiple versions of revised reply and revise same
                                  (2.80); review revised order (.30); prepare revised version of reply for
                                  distribution (.20); review draft declaration (.20)
08/28/2022     Thompson, Grace Turn comments from Katten and Special Committee on Debtors' reply                           3.80
                               brief in support of Insurance Motion (2.40); revise script for hearing
                               related to Insurance Motion (.60); attend call with Mayer Brown regarding
                               Insurance Motion (.80)
08/28/2022     Hall, Jerry     Review revised reply in support of insurance motion (.40); email among                      0.90
                               C. Giglio, G. King and others regarding insurance motion (.50)
08/28/2022     Winters, Julia  Emails with Katten regarding insurance motion (.40); comment on draft                       1.20
                               reply brief regarding insurance motion (.80)
08/28/2022     Reisman, Steven    Review and comment on edits to reply brief (.60); follow up regarding                    1.90
                                  prep for upcoming hearing and efforts to resolve issues regarding D&O
                                  motion (.60); discussions with C. Giglio regarding same (.40); discussions
                                  with Akin Gump regarding efforts to reach resolution on D&O relief (.30)
08/28/2022     Archiyan, Yelena   Review multiple emails regarding Debtors’ reply to D&O motion and                        0.50
                                  drafts, and Evans declaration (.50)
08/29/2022     Chase, Ashley   Review finalized reply in support of insurance motion (.60); read                           1.50
                               declaration of T. Evans (.20); read emails among Debtors and Committee
                               regarding Insurance Motion settlement (.70)
08/29/2022     King, Geoff     Discussions with Katten and Mayer Brown regarding insurance issues                          3.00
                               (.70); review and revise various forms of revised orders (1.60); review
                               order language and similar materials following hearing (.70)
08/29/2022     Thompson, Grace Revise Insurance Motion section of hearing script to reflect developments,                  0.40
                               including Ben/MHT settlement (.40)
08/29/2022     Hall, Jerry     Email among J. Gross, J. Rubin and others regarding insurance motion and                    0.50
                               order (.50)




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08/29/2022     Winters, Julia     Review revised proposed order on insurance motion (.40); emails with                    1.80
                                  Katten, MB, Akin regarding revisions to proposed order on insurance
                                  motion (1.40)
08/29/2022     Reisman, Steven    Attend to preparation for hearing on insurance motion and review and                    3.90
                                  revise script in preparation for same (1.30); prepare for court hearing on
                                  insurance motion and review materials regarding same (2.60)
08/29/2022     Archiyan, Yelena   Review various emails regarding insurance motion and revisions thereto                  0.40
                                  (.30); review summary of hearing on insurance motion (.10)
08/30/2022     Chase, Ashley      Review drafts of insurance order (.50)                                                  0.50
08/30/2022     King, Geoff        Review multiple versions of revised insurance order (.30); review                       0.70
                                  materials from yesterday’s hearing in connection with revisions to
                                  insurance order (.40)
08/30/2022     Hall, Jerry        Email among J. Rubin, G. King and others regarding insurance motion                     0.80
                                  (.40); review revised order granting insurance motion (.40)
08/30/2022     Reisman, Steven    Review drafts of proposed order regarding insurance motion (.70); calls                 1.10
                                  and correspondence regarding same (.40)
08/31/2022     Giglio, Cindi      Review Akin comments to order (.30)                                                     0.30
                                                                                            Total Hours :              243.30




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       27.30            1,585.00             43,270.50
Giglio, Cindi                                         33.00            1,350.00             44,550.00
Hall, Jerry                                            3.30            1,285.00              4,240.50
Winters, Julia                                        20.20            1,180.00             23,836.00
King, Geoff                                           51.50            1,145.00             58,967.50
Barnowski, Dan                                         6.40            1,125.00              7,200.00
Nemecek, Philip                                       10.80            1,095.00             11,826.00
Werlinger, Eric                                        4.30              955.00              4,106.50
Chase, Ashley                                         60.20              910.00             54,782.00
Archiyan, Yelena                                       3.70              875.00              3,237.50
Thompson, Grace                                       18.50              800.00             14,800.00
Rosella, Michael                                       0.70              800.00                560.00
Miranda, Loredana                                      2.10              580.00              1,218.00
Siena, Marie                                           1.30              380.00                494.00

                                     Sub Total :     243.30   Sub Total :                  273,088.50
                                     Total Hours :   243.30   Total Fees             273,088.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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                                                                                                                                                                                              Fax: 212-940-8776
November 29, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through August 31, 2022



Fees Total............................................................................................................................................................. 561,203.50
Total Amount Due .............................................................................................................................................. 561,203.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
08/01/2022     Pecoraro, Andrew Review and edit presentation to Special Committee (.40)                                   0.40
08/01/2022     Giglio, Cindi      Comment on minutes of 7/20 and 7/28 (.50); attend Katten pre-call for                   1.70
                                  Project Polly call (.50); review notes on call with Akin Gump (.20); emails
                                  and calls regarding next steps (.50)
08/01/2022     King, Geoff        Begin review of materials related to FOXO transaction (.60); review issues              2.30
                                  in connection with upcoming Project Polly call (.20); attend Katten pre-
                                  call (.50); attend Project Polly call (.90); call with D. Chavenson regarding
                                  Special Committee matters (.10)
08/01/2022     Thompson, Grace Revise materials for Special Committee meeting per comments from C.                        5.30
                                 Giglio and G. King (1.30); correspondence with A. Pecoraro regarding
                                 Shared Services Agreement provisions (.20); attend weekly call with
                                 Special Committee, Katten, and Debtors' advisors (.90); draft summary for
                                 Katten team (.60); draft meeting log of representation of Special and
                                 Investigations Committees (1.90); update WIP (.40)
08/01/2022     Kirby, Timothy    Correspondence regarding FOXO-GWG de-SPAC and related equity                             2.50
                                 dilution issues, review public filings (2.50)
08/01/2022     Miranda, Loredana Review pending meeting minutes (.30); emails with Katten regarding                       1.30
                                 pending meeting minutes (.30); revise WIP (.40); prepare summary of
                                 docket entries (.30)
08/01/2022     Roitman, Marc     Attend Project Polly call regarding case updates (.90); review materials in              1.20
                                 preparation for same (.30)
08/01/2022     Reisman, Steven    Review and comment on Board minutes and presentation for Special                        0.80
                                  Committee (.80)
08/01/2022     Archiyan, Yelena   Review summary of call with Mayer Brown and Bondholder Committee                        0.30
                                  professionals call (.20); review summary of docket activity for August 1
                                  (.10)
08/02/2022     Giglio, Cindi      Discuss work streams with G. King (.50); discuss same with S. Reisman                   3.60
                                  (.30); review sample case update decks (.20); call with Katten to discuss
                                  next steps (.30); review agendas (.10); comment on Board materials (.40);
                                  prepare for Special Committee meeting (.50); attend Special Committee
                                  meeting (.80); follow up call with Katten (.30); review daily updates and
                                  emails regarding same (.20)
08/02/2022     Barnowski, Dan     Teleconference with Katten team concerning various work streams (.30);                  1.60
                                  attend portion of call with Special Committee (.70); follow-up call with G.
                                  King concerning next steps (.20); analyze SEC extension request (.20);
                                  review agenda for Special Committee call (.20)
08/02/2022     King, Geoff        Review matters in connection with SEC extension (.40); review Bailey                    4.30
                                  emails (.50); call with Special Committee (.80); Katten Post-call (.30); call
                                  with Katten team regarding deliverables (.20); review minutes (.20);
                                  review and revise materials in advance of call (1.10); prepare for Special
                                  Committee call (.80)




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Date           Timekeeper         Description                                                                        Hours
08/02/2022     Thompson, Grace Revise Special Committee presentation per comments from M. Roitman                       5.30
                                 (1.20); related correspondence with G. King regarding the same (.20);
                                 further revise Special Committee materials per comments from M.
                                 Roitman (.80); discussion with C. Giglio regarding workstreams (.10);
                                 discussion with L. Miranda regarding the same (.20); attend Katten team
                                 call regarding the same (.30); further revise and finalize Special
                                 Committee presentation reflecting comments from C. Giglio, G. King, M.
                                 Roitman, and J. Winters (1.90); attend Katten team call following Special
                                 Committee call (.30); revise meeting log and WIP (.30)
08/02/2022     Winters, Julia    Review draft presentation to Special Committee (.40); Katten post-call                 0.70
                                 (.30)
08/02/2022     Miranda, Loredana Review Debtors' May operating report (.40); draft email to Independent                 4.80
                                 Directors regarding same (.50); emails with M. Roitman regarding same
                                 (.30); email G. Thompson regarding same (.10); draft agenda for meeting
                                 with the Special Committee (.40); emails with G. King and C. Giglio
                                 regarding same (.10); call with Katten team regarding work streams (.30);
                                 review presentation to Special Committee (.20); attend Katten post call
                                 regarding Special Committee meeting (.30); attend Special Committee
                                 meeting (.80); draft minutes regarding Special Committee meeting (1.10);
                                 email J. Brooks regarding organization of documents (.20); prepare
                                 summary of docket entries (.10)
08/02/2022     Roitman, Marc     Call with Special Committee regarding case matters (.80); Katten Post-call             1.50
                                 regarding same (.30); review materials in preparation for same (.40)
08/02/2022     Reisman, Steven    Confer with C. Giglio regarding matters related to ongoing work streams               2.10
                                  (.30); review Special Committee materials and other materials for Special
                                  Committee meeting (.60); participate in portion of Special Committee
                                  meeting (.70); follow up call subsequent to same regarding ongoing work
                                  and request for Special Committee members (.30); confer with D.
                                  Chavenson in connection with same (.20)
08/03/2022     Giglio, Cindi      Review and comment on minutes from 8/2 meetings (.60); attend weekly                  1.70
                                  Mayer Brown call (.80); follow up call (.20); emails regarding 2004 (.10)
08/03/2022     Barnowski, Dan     Teleconference with C. Kelley concerning FOXO 2004 (.20);                             2.00
                                  teleconference with G. King concerning FOXO 2004 (.10); call with
                                  Mayer Brown Team about status and next steps (.80); follow-up call with
                                  Katten team concerning next steps (.20); analyze draft Rule 2004s for
                                  FOXO (.70)
08/03/2022     King, Geoff        Call with T. Kirby regarding FOXO (.10); review materials received in                 5.50
                                  connection with FOXO diligence (.50); review materials in connection
                                  with SPAC transaction (.40); review and revise various minutes of prior
                                  Special Committee meetings (.60); analyze issues in connection with
                                  record of Independent Directors (.30); call with Mayer Brown regarding
                                  status of open items (.80); review draft 2004 (.20); provide comments to
                                  draft 2004 (.30); emails with Katten team regarding 2004 request (.40);
                                  emails with Katten team regarding timing of FOXO transaction (.20);
                                  review materials in connection with FOXO requests (1.70)
08/03/2022     Thompson, Grace Correspond with J. Brooks-Patton regarding FOXO SPAC filings (.10);                      3.70
                               attend call with Mayer Brown regarding ongoing case matters (.80); attend
                               follow-up call with Katten (.20); draft follow-up summary to Katten
                               regarding the same (.60); review public filings regarding FOXO SPAC
                               transaction (.50); correspond with L. Miranda regarding outstanding
                               minutes for Independent Director approval (.10); revise draft rule 2004
                               request to FOXO (.50); related discussion with T. Kirby (.20); further
                               revise draft 2004 request (.30); circulate to Mayer Brown and Independent
                               Directors (.10); update meeting log and WIP (.30)



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Date           Timekeeper         Description                                                                           Hours
08/03/2022     Winters, Julia     Weekly Mayer Brown/Katten status call (.80); follow-up call with Katten                  1.70
                                  (.20); review Ben LOI (.70)
08/03/2022     Kirby, Timothy     Review Delwinds S-4 (.30); call with G. King regarding transaction (.10);                2.50
                                  correspondence with Katten team regarding de-SPAC mechanics, dilution
                                  issues (.20); research related matters (.60); prepare summary and potential
                                  merger timeline (.80); review supplemental request list and provide
                                  feedback (.30); related discussion with G. Thompson (.20)
08/03/2022     Miranda, Loredana Revise minutes from meeting with the Special Committee with C. Giglio                     1.50
                                 and D. Barnowski's edits (.50); revise minutes from meeting with the
                                 Special Committee with D. Chavenson's edits (.40); emails with Katten
                                 regarding same (.10); draft weekly update presentation for Special
                                 Committee (.30); update WIP (.20)
08/03/2022     Roitman, Marc     Call with Mayer Brown regarding case matters (.80); follow-up call with                   1.00
                                 Katten regarding same (.20)
08/03/2022     Reisman, Steven    Review summary of call for Independent Directors (.30); participate in                   3.30
                                  follow up call regarding same (.20); update regarding assets of GWG
                                  including FOXO and Ben and review materials regarding same (1.40);
                                  participate in conference call with Mayer Brown regarding case status,
                                  background and general update on matters (.80); review materials with
                                  Katten team in preparation for call with Mayer Brown (.20); review
                                  minutes from Independent Director meeting and follow up regarding same
                                  (.40)
08/03/2022     Archiyan, Yelena   Review summary of call with Mayer Brown (.10)                                            0.10
08/04/2022     Giglio, Cindi      Calls regarding PCA (.20); Katten pre-call for Mayer Brown/Akin call                     2.50
                                  (.30); attend Mayer Brown/Akin call (.60); attend Katten follow up call
                                  (.50); emails regarding daily docket update (.10); review draft 2004
                                  Motions (.80)
08/04/2022     Barnowski, Dan     Revise minutes from various Special Committee meetings (.30); revise                     1.70
                                  Rule 2004 requests for FOXO (.50); attend Katten team pre-call to prepare
                                  for meeting with Mayer Brown and Akin (.30); attend teleconference with
                                  Mayer Brown and Akin Teams (.60)
08/04/2022     King, Geoff        Review FOXO S-4 (1.20); call with D. Chavenson regarding FOXO (.20);                     4.30
                                  call with T. Kirby regarding FOXO (.10); review materials in connection
                                  with FOXO analysis (.60); call with M. Roitman, L. Chiappetta and C.
                                  Giglio regarding agenda (.10); attend Katten pre-call (.30); attend call with
                                  Bondholder Committee and Mayer Brown (.60); attend Katten post-call
                                  (.50); review draft minutes (.10); review revised 2004 (.20); revise 2004
                                  request (.20); emails with Katten team regarding revised FOXO 2004 (.20)
08/04/2022     Thompson, Grace Revise FOXO 2004 per comments from D. Chavenson (.30); attend Katten                        3.10
                                 pre-call (.30); attend call with Mayer Brown and Akin (.60); attend follow-
                                 up call with Katten (.50); draft summary of calls for Katten (.50);
                                 correspondence regarding diligence on FOXO (.20); revise internal work
                                 plan and meeting log (.40); begin presentation for weekly Special
                                 Committee meeting (.30)
08/04/2022     Winters, Julia    Katten pre-call (.30); weekly call with Mayer Brown, Akin (.60); Katten                   3.40
                                 follow-up call (.50); emails with Katten, Mayer Brown regarding FOXO
                                 transaction (1.10); review FOXO documents (.90)
08/04/2022     Kirby, Timothy    Correspondence with Katten team regarding de-SPAC and lock-up                             1.50
                                 mechanics (.30); related research (.40); call with G. King regarding the
                                 same (.10); continue to review and analyze FOXO dilution issues (.70)
08/04/2022     Miranda, Loredana Emails with Katten regarding meeting minutes (.30); update weekly status                  1.30
                                 presentation for the Special Committee (.20); prepare summary of docket
                                 entries (.80)


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08/04/2022     Roitman, Marc      Call with Akin and Mayer Brown regarding case matters (.60); Katten pre-                   1.40
                                  call in preparation for same (.30); follow-up call with Katten team
                                  regarding Special Committee matters (.50)
08/04/2022     Rosella, Michael   Attend Katten pre-call for call with Mayer Brown and Akin (.30)                            0.30
08/04/2022     Reisman, Steven    Attend to matters regarding document production and review of document                     2.90
                                  request in connection with FOXO (.80); participate in Katten pre-call in
                                  preparation for call to discuss matters with Akin and Mayer Brown related
                                  to restructuring (.30); participate in call with Mayer Brown and Akin
                                  Gump on restructuring (.60); follow up call with Katten team regarding
                                  Special Committee matters (.50); confer with D. Chavenson regarding
                                  matters related to GWG (.40); review correspondence regarding next
                                  steps, ongoing work and analysis of business operations and governance
                                  matters (.30)
08/04/2022     Archiyan, Yelena   Review summary of call with Debtors’ and Bondholder Committee’s                            0.40
                                  Professionals (.10); review Special Committee and Investigations
                                  Committee minutes from July 26 and 28, and August 2 (.30)
08/05/2022     Giglio, Cindi      Call with G. Thompson regarding presentation for Special Committee                         0.80
                                  update (.10); call with G. King and J. Stein regarding action items (.70)
08/05/2022     King, Geoff        Call with J. Winters, T. Kirby and M. Rosella regarding FOXO transaction                   1.80
                                  (.40); review FOXO public filings (.70); call with J. Stein and C. Giglio
                                  regarding action items (.70)
08/05/2022     Thompson, Grace Draft weekly presentation for Special Committee update (2.30); call with                      2.40
                                 C. Giglio regarding the same (.10)
08/05/2022     Kirby, Timothy    Call with Katten regarding FOXO investment and dilution issues (.40);                       1.00
                                 conduct related research (.60)
08/05/2022     Miranda, Loredana Draft proposed emails to Special Committee regarding meeting minutes                        0.60
                                 (.30); emails with G. King regarding same (.10); prepare summary of
                                 docket entries (.20)
08/06/2022     Giglio, Cindi      Review and revise decks for weekly calls (1.20)                                            1.20
08/06/2022     Thompson, Grace Revise presentation to Special Committee per comments from C. Giglio                          0.40
                               (.40)
08/06/2022     Kirby, Timothy  Review summary of FOXO SEC filings regarding investment and                                   1.00
                               subsequent dilution (1.00)
08/07/2022     Barnowski, Dan  Teleconference with Katten to prep for call with J. Stein (.30);                              1.00
                               teleconference with J. Stein concerning next steps and strategy (.50);
                               teleconference with Katten to discuss next steps after call with J. Stein
                               (.20)
08/07/2022     King, Geoff        Revise fact sheet (.40); prepare for call with J. Stein (.20); attend Katten               2.00
                                  pre-call (.30); call with J. Stein regarding action items (.50); post-call
                                  (.20); review draft presentation (.40)
08/07/2022     Thompson, Grace Attend pre-call with Katten (.30); attend call with J. Stein and Katten                       4.80
                               (.50); attend follow-up call with Katten (.20); draft summary of call for
                               Katten (.40); research legal issues regarding standing for various parties in
                               interest in chapter 11 cases (2.40); draft research email memo regarding
                               same (1.00)
08/07/2022     Reisman, Steven    Participate in call with D. Chavenson regarding matters of focus for                       1.90
                                  Special Committee and background information and request for specific
                                  work steams (.40); review materials in preparation for update call with J.
                                  Stein, CRO of GWG and next steps in case (.80); attend call with J. Stein
                                  and Katten (.50); attend follow-up call with Katten team (.20)
08/07/2022     Archiyan, Yelena   Review G. Thompson’s email regarding summary of Katten call with J.                        0.10
                                  Stein (.10)


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Date           Timekeeper         Description                                                                          Hours
08/08/2022     Giglio, Cindi      Attend Project Polly call (1.00); follow up on same (.10); review                       1.30
                                  presentation (.20)
08/08/2022     Barnowski, Dan     Revise minutes of Special Committee minutes (.20)                                       0.20
08/08/2022     King, Geoff        Call with D. Chavenson (.10); attend Special Committee call (1.00); attend              4.40
                                  Project Polly weekly call (1.00); review Special Committee materials
                                  (.30); review draft minutes (.50); review research regarding standing
                                  issues (.30); review FOXO materials received from company (.70); review
                                  S-4 regarding FOXO transaction (.20); review Special Committee
                                  presentation (.30)
08/08/2022     Thompson, Grace Revise Special Committee presentation per comments from J. Winters                         4.90
                                 (.40); correspondence with T. Kirby regarding FOXO transaction (.10);
                                 attend Special Committee call (1.00); draft minutes for same (.90); attend
                                 weekly call with management, Special Committee, and Debtors'
                                 professionals (1.00); draft summary of call for Katten (.50); further revise
                                 presentation for Special Committee (.50); correspondence with Katten and
                                 Independent Directors regarding upcoming meetings (.20); revise WIP and
                                 related documents reflecting case updates (.30)
08/08/2022     Winters, Julia    Revise weekly presentation to Special Committee (.90); emails with                       2.70
                                 Katten regarding Special Committee meeting (.80); call with Special
                                 Committee, PJT, Katten (1.00)
08/08/2022     Kirby, Timothy    Review FOXO de-SPAC filings (1.20); related correspondence with G.                       3.00
                                 Thompson regarding diligence (.20); prepare analysis regarding equity
                                 dilution issues (.80); review new FOXO governance materials (.80)
08/08/2022     Miranda, Loredana Prepare summary of docket entries (.10); emails with G. King regarding                   0.30
                                 Special Committee minutes (.20)
08/08/2022     Roitman, Marc     Weekly call with management and advisors (1.00)                                          1.00
08/08/2022     Siena, Marie       Revise presentation on DLP Transactions (1.30)                                          1.30
08/08/2022     Reisman, Steven    Review materials regarding FOXO related to de-SPAC filing (.40)                         0.40
08/08/2022     Reisman, Steven    Attend Project Polly update call (1.00); prepare for Special Committee                  4.90
                                  meeting (1.10); review materials in connection with the same (.70); attend
                                  Special Committee meeting (1.00); review revised materials regarding
                                  FOXO (1.10)
08/08/2022     Archiyan, Yelena   Review notes from Katten’s weekly call with Debtors’ advisors,                          0.10
                                  management and Special Committee (.10)
08/09/2022     Giglio, Cindi      Provide comments to 8/8 minutes and related emails (.50); pre-call for                  3.10
                                  Special Committee meeting (.30); attend Special Committee meeting
                                  (1.00); attend meeting with Mayer Brown/Akin (.50); call with J. Stein
                                  (.40); attend portion of post call (.40)
08/09/2022     Barnowski, Dan     Teleconference with Katten team and J. Stein concerning progress of case                1.90
                                  (.40); attend Special Committee meeting (1.00); attend Katten team call to
                                  discuss next steps after call with Special Committee (.50)
08/09/2022     King, Geoff        Review FOXO corporate documents (.70); email to T. Kirby regarding                      6.00
                                  FOXO status (.10); prepare summary of matters related to FOXO
                                  governance (.60); attend all Professionals Call (.50), Katten pre-call (.20);
                                  call with J .Stein and Katten team regarding action items (.40); call with
                                  Special Committee (1.00); Katten post-call (.60); prepare Special
                                  Committee agenda (.10); prepare for Special Committee meeting (.80);
                                  review Special Committee materials (.40); review Special Committee
                                  minutes (.30); call with D. Chavenson regarding agenda (.10); call with D.
                                  Chavenson regarding FOXO matters (.10); call with J. Stein regarding
                                  agenda (.10)




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Date           Timekeeper         Description                                                                        Hours
08/09/2022     Thompson, Grace Revise 8/8 minutes per comments from Katten (.20); attend call among                     2.60
                                 Debtors' and Committees' professionals (.50); attend Katten pre-call to
                                 Special Committee call (.20); draft summary of calls for Katten (.40);
                                 attend call with J. Stein (.40); attend follow-up call with Katten (.60);
                                 revise WIP and related documents reflecting case updates (.30)
08/09/2022     Winters, Julia    Katten pre-call (.20); weekly call with Akin, Mayer Brown (.50); revise                2.00
                                 minutes of 8/8 Investigations Committee meeting (.60); emails with Katten
                                 regarding 8/8 minutes (.70)
08/09/2022     Kirby, Timothy    Review Delwinds proxy (1.70); related correspondence with Katten                       2.50
                                 regarding filing SEC comment and approval process, FOXO capitalization
                                 issues (.80)
08/09/2022     Miranda, Loredana Draft agenda for Special Committee meeting (.30); email G. King                        4.40
                                 regarding same (.10); attend Katten pre-call for meeting with the Special
                                 Committee (.20); attend Special Committee meeting (1.00); draft minutes
                                 of Special Committee meeting (1.20); emails to Katten regarding same
                                 (.10); attend Katten post-call (.60); prepare summary of docket entries
                                 (.90)
08/09/2022     Roitman, Marc     Call with Committee and Debtor advisors regarding case updates (.50);                  3.10
                                 Special Committee meeting (1.00); Katten pre-call in preparation for same
                                 (.20); call with Katten and J. Stein in advance of Special Committee
                                 meeting (.40); call with Katten regarding follow-up matters for Special
                                 Committee (.60); further review of presentation for Special Committee
                                 (.40)
08/09/2022     Rosella, Michael Attend Katten pre-call for Special Committee call (.20)                                 0.20
08/09/2022     Reisman, Steven    Attend Special Committee call (1.00); attend Katten pre-call in preparation           4.40
                                  of Special Committee call (.20); participate in call with Debtors advisors
                                  regarding case status and update (.50); review materials in preparation for
                                  Special Committee meeting (2.00); participate in Katten follow-up call to
                                  Special Committee meeting (.60)
08/09/2022     Archiyan, Yelena   Katten pre-call (.20); review notes from call Katten attended with Debtors            0.30
                                  and Bondholder Committee’s professionals (.10)
08/10/2022     Giglio, Cindi      Katten pre-call regarding Mayer Brown call (.30); Mayer Brown call (.50);             1.50
                                  Katten post call (.30); comment on minutes from yesterday's meeting (.40)
08/10/2022     Barnowski, Dan     Attend Katten team teleconference to prep for meeting with Mayer Brown                1.00
                                  (.30); attend status update call with Mayer Brown (.50); revise minutes of
                                  Special Committee meeting (.20)
08/10/2022     King, Geoff        Calls with D. Chavenson regarding FOXO (.40); call with S. Reisman                    3.80
                                  regarding FOXO (.10); review matters in connection with FOXO (.50);
                                  analyze issues in connection with upcoming Special Committee items
                                  (.70); Katten Pre-call (.30); Mayer Brown Call (.50); Katten Post-call
                                  (.30); review minutes (.20); review FOXO diligence (.60); review current
                                  WIP list (.20)
08/10/2022     Thompson, Grace Attend call with Katten prior to Mayer Brown call (.30)                                  0.30
08/10/2022     Winters, Julia     Katten pre-call (.30); standing call with Mayer Brown (.50); follow-up call           1.90
                                  with Katten (.30); emails with Katten, Mayer Brown regarding regulatory
                                  issues (.80)
08/10/2022     Miranda, Loredana Attend Katten pre-call for call with Mayer Brown (.30); attend call with               2.40
                                 Mayer Brown (.50); attend Katten post call (.30); draft summary of call
                                 with Mayer Brown (.90); email Katten regarding same (.10); revise
                                 Special Committee minutes with G. King's comments (.20); prepare
                                 summary of docket entries (.10)




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Date           Timekeeper         Description                                                                          Hours
08/10/2022     Comerford,         Call with G. King regarding GWG and equity related issues (.10); follow-                3.30
               Michael            up call with G. King regarding equity issues and related documents (.40);
                                  review S-4 draft for FOXO and GWG issues (.70); email with G.
                                  Thompson regarding documents and searches for same (.20); review
                                  documents produced for FOX and GWG (1.90)
08/10/2022     Roitman, Marc      Call with Mayer Brown regarding case matters (.50); call with Katten in                 1.60
                                  preparation for same (.30); follow up call with Katten (.30); review
                                  Special Committee minutes (.50)
08/10/2022     Archiyan, Yelena   Review notes from Katten’s call with Mayer Brown (.10)                                  0.10
08/11/2022     Giglio, Cindi      Call with Akin (.80); pre-call regarding same (.30); review materials                   2.10
                                  related to same (.20); call with Mayer Brown (.40); follow up regarding
                                  same (.50)
08/11/2022     Barnowski, Dan     Attend weekly call between Katten and Bondholder Committee                              1.20
                                  professionals (.80); teleconference with Mayer Brown concerning status
                                  (.40)
08/11/2022     King, Geoff        Attend Mayer Brown call (.40); post call with Katten (.50)                              0.90
08/11/2022     Thompson, Grace Attend weekly call with Bondholder Commitee's professionals (.80);                         3.00
                               attend Katten precall for same (.30); attend call with Mayer Brown (.40);
                               attend follow-up call with Katten (.50); draft summaries of calls for Katten
                               (.70); revise WIP and meeting log reflecting case developments and
                               Katten workstreams (.30)
08/11/2022     Winters, Julia  Katten pre-call (.30); standing call with Akin, Katten (.80)                               1.10
08/11/2022     Miranda, Loredana Emails with M. Siena regarding execution of Special Committee minutes                    0.30
                                 (.20); prepare summary of docket entries (.10)
08/11/2022     Comerford,         Review public filings regarding background info on GWG and FOXO                         4.10
               Michael            (2.80); outline issues in connection with same (.50); review operating
                                  agreement for GWG and Insurtech (.80)
08/11/2022     Roitman, Marc      Call with Akin regarding case matters (.80); review materials in                        2.40
                                  preparation for same (.40); pre-call with Katten in preparation for same
                                  (.30); call with Mayer Brown regarding case matters (.40); follow-up call
                                  with Katten regarding same (.50)
08/11/2022     Siena, Marie       Emails with L. Miranda regarding submitting minutes of meetings for                     0.40
                                  signature through DocuSign (.10); submit minutes of meetings through
                                  DocuSign for signatures (.30)
08/11/2022     Reisman, Steven    Review documentation related to FOXO and other materials related to                     0.60
                                  ongoing work (.60)
08/12/2022     Giglio, Cindi      Comment on exclusivity motion (.90)                                                     0.90
08/12/2022     King, Geoff        Calls with D. Chavenson regarding Special Committee matters (.50); calls                2.80
                                  with C. Giglio regarding Special Committee matters (.90); calls with S.
                                  Reisman regarding upcoming workstreams (.70); call with J. Stein
                                  regarding Special Committee matters (.20); call with M. Comerford
                                  regarding FOXO (.30); review prior Board minutes (.20)
08/12/2022     Comerford,         Draft background for memo regarding FOXO merger (2.90); review                          5.40
               Michael            related background materials (2.20); call with G. King in connection with
                                  same (.30)
08/12/2022     Reisman, Steven    Review materials regarding work steams and ongoing work in connection                   2.20
                                  with Special Committee activities (1.60); correspondence with C. Giglio
                                  regarding matters related to same (.60)
08/13/2022     King, Geoff        Review FOXO materials (.50); emails with Katten team regarding FOXO                     2.20
                                  materials (.10); revise Special Committee materials (.40) review and revise
                                  exclusivity motion (1.20)


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08/13/2022     Kirby, Timothy     Correspondence regarding FOXO capitalization and SPAC prospectus                           3.00
                                  (.80); review certificate of incorporation (.30); prepare analysis (1.90)
08/13/2022     Miranda, Loredana Update weekly presentation to Special Committee (.30); emails with G.                       0.70
                                 Thompson regarding same (.10); prepare summary of docket entries (.30)
08/13/2022     Comerford,         Review email from G. King regarding FOXO shareholder question (.20);                       2.90
               Michael            review shareholders' agreement for FOXO (.90); review S-4 in connection
                                  with same (.40); draft email to G. King regarding shareholder question
                                  (1.30); review follow-up from G. King regarding shareholder question
                                  (.10)
08/14/2022     Barnowski, Dan     Analyze agenda for tomorrow’s Special Committee and Investigation                          0.80
                                  Committee meetings (.20); analyze presentation for Special Committee
                                  meeting (.30); respond to G. King questions concerning FOXO (.30)
08/14/2022     King, Geoff        Review Special Committee presentation materials and underlying                             3.20
                                  documents (1.60); review FOXO governance issues in connection with
                                  question from D. Chavenson (.60); revise agenda (.20); further revisions to
                                  draft exclusivity motion (.80)
08/14/2022     Thompson, Grace Draft weekly presentation for Special Committee (.60); revise per                             1.40
                                 comments from G. King (.20); update WIP per developments in case and
                                 Katten workstreams (.20); revise Special Committee presentation per
                                 comments from M. Roitman and G. King (.40)
08/14/2022     Winters, Julia    Review draft agendas for Special Committee and Investigations                               1.60
                                 Committee meetings (.40); emails with Katten regarding weekly
                                 committee meetings (.60); emails with Katten, Mayer Brown regarding
                                 exclusivity extension (.60)
08/14/2022     Kirby, Timothy    Correspondence regarding FOXO capitalization, continued discussions                         0.50
                                 regarding SPAC prospectus (.50)
08/14/2022     Miranda, Loredana Draft agenda for Special Committee meeting (.10)                                            0.10
08/14/2022     Comerford,         Review email from G. King regarding FOXO governance (.20); review T.                       0.30
               Michael            Kirby email in connection with FOXO governance (.10)
08/14/2022     Roitman, Marc      Revise presentation to Special Committee regarding case matters (.90)                      0.90
08/15/2022     Giglio, Cindi      Review and comment on Special Committee deck (.30); review agendas                         0.60
                                  (.20); email regarding T. Horton (.10)
08/15/2022     King, Geoff        Call with L. Chiappetta Special Committee matters (.20); attend Project                    5.30
                                  Polly call (.70); call with M. Comerford regarding FOXO (.10); call with
                                  D. Chavenson regarding FOXO (.30); calls with S. Reisman regarding
                                  Special Committee workstreams (.40); attend Katten pre-call regarding
                                  FTI matters (.30); call with FTI regarding diligence matters (.50); analyze
                                  issues in connection with ongoing FOXO diligence (.20); review agenda
                                  for Special Committee call (.10); review materials prior to circulating to
                                  Special Committee (.40); prepare for Special Committee call (.30); attend
                                  call with Special Committee (.90); attend Katten post-call (.20); review
                                  multiple drafts of exclusivity motion (.70)
08/15/2022     Thompson, Grace Revise presentation for Special Committee per comments from C. Giglio                         1.80
                               (.30); attend weekly Project Polly call (.70); attend follow-up call with
                               Katten (.20); draft summary of calls for Katten (.40); update WIP and
                               meeting log per case developments and updates in Katten workstreams
                               (.20)
08/15/2022     Winters, Julia  Emails with Katten regarding materials for Special Committee meeting                          0.90
                               (.90)




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08/15/2022     Miranda, Loredana Prepare summary of docket entries (.20); attend call with the Special                      2.20
                                 Committee (.90); attend Katten post-call (.20); draft minutes for the
                                 Special Committee call (.70); email Katten status of the meeting minutes
                                 (.20)
08/15/2022     Comerford,         Review diligence regarding FOXO and equity issuance issues (.60)                          0.60
               Michael
08/15/2022     Roitman, Marc      Weekly call with Debtors' advisors and management (.70); call with                        2.30
                                  Special Committee (.90); preparation in connection with same (.50);
                                  Katten post-call regarding same (.20)
08/15/2022     Reisman, Steven    Participate in call with D. Chavenson regarding matters of focus for                      2.10
                                  Special Committee and background information and request for specific
                                  work steams (.40); review materials in preparation for update call with J.
                                  Stein, CRO of GWG and next steps in case (.80); attend Project Polly call
                                  (.70); participate in call with Special Committee (.90); participate in
                                  Katten post call regarding ongoing work with Special Committee (.20);
                                  confer with J. Stein regarding status of Katten workstreams and case
                                  developments (.70); review docket in case and summary of filings (.30)
08/15/2022     Archiyan, Yelena   Review summary of weekly call with Debtors’ advisors, management and                      0.30
                                  Special Committee (.10); review Katten comments to motion to extend
                                  exclusivity (.20)
08/16/2022     King, Geoff        Katten pre-call for Akin/Willkie/Mayer Brown call (.20); calls with S.                    1.50
                                  Reisman (.30); call with M. Comerford (.10); call with L. Chiappetta
                                  regarding Special Committee matters (.10); call with Mayer Brown and
                                  Akin (.80)
08/16/2022     Thompson, Grace Draft Independent Director update deck for upcoming hearing (.70); attend                    1.80
                                 call with Mayer Brown (.80); update meeting log and WIP to reflect case
                                 updates (.30)
08/16/2022     Miranda, Loredana Prepare summary of docket entries (.10); update WIP (.10)                                  0.20
08/16/2022     Comerford,         Draft memorandum regarding FOXO and merger related issues (4.70);                         7.70
               Michael            revise memorandum (2.10); review source documentation for
                                  memorandum (.90)
08/16/2022     Roitman, Marc      Call with Mayer Brown and Akin regarding case matters (.80); revise                       2.20
                                  minutes of meetings of Special Committee and Investigations Committee
                                  on August 8 through 15 (1.20); emails with Katten regarding same (.20)
08/16/2022     Reisman, Steven    Participate in call with Mayer Brown and Akin regarding case matters                      1.30
                                  (.80); participate in Katten pre-call prior to call with Akin (.20); discussion
                                  of issues with G. King regarding same (.30)
08/17/2022     King, Geoff        Call with D. Chavenson regarding financials and FOXO request (.20);                       4.90
                                  calls with L. Chiappetta regarding Special Committee matters (.30); call
                                  with J. Stein regarding Special Committee workstreams (.50); call with J.
                                  Stein and S. Reisman regarding Special Committee workstreams (.50); call
                                  with Mayer Brown regarding open items (1.20); attend Katten post-call
                                  (.40); calls with S. Reisman regarding Special Committee matters (.10);
                                  review FOXO memo (.80); analyze diligence in connection with FOXO
                                  issues (.60); review materials related to Ben issues (.30)
08/17/2022     Kirby, Timothy     Correspondence with G. King about Ben issues (.50)                                        0.50
08/17/2022     Miranda, Loredana Revised Special Committee minutes from August 9, 2022 with M.                              2.80
                                 Roitman's comments (.20); emails with M. Roitman regarding same (.10);
                                 emails with Katten regarding Special Committee minutes from August 8,
                                 2022 and August 9, 2022 (.40); attend call with Mayer Brown (1.20); draft
                                 summary of call with Mayer Brown (.70); prepare summary of docket
                                 entries relevant to Special Committee matters (.20)



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08/17/2022     Comerford,         Revise memo regarding FOXO issues (2.20); emails with G. King                       5.20
               Michael            regarding same (.50); further revisions to memorandum regarding FOXO
                                  issues (1.40); review diligence in connection with same (1.10)
08/17/2022     Reisman, Steven    Review materials regarding FOXO and ongoing work streams (.30); call                1.50
                                  with Mayer Brown regarding work streams and open items (1.20)
08/17/2022     Archiyan, Yelena   Review notes from Katten call with Mayer Brown (.10)                                0.10
08/18/2022     Barnowski, Dan     Analysis of report of meeting with Akin (.30)                                       0.30
08/18/2022     King, Geoff        Call with Mayer Brown (.40); attend Katten team pre-call (.30)                      0.70
08/18/2022     Thompson, Grace Attend weekly call with Bondholder Committee professionals (.40); draft                1.30
                                 summary of same (.20); draft minutes from Special Committee meeting
                                 (.40); revise meeting log and WIP to reflect case updates (.30)
08/18/2022     Miranda, Loredana Revise memorandum on FOXO with M. Comerford's comments (1.40);                       3.20
                                 emails with M. Comerford regarding same (.10); attend call with Mayer
                                 Brown (.40); draft summary of call with Mayer Brown (.50); prepare
                                 summary of docket entries relevant to Special Committee matters (.40);
                                 revise Special Committee minutes with M. Roitman and G.King's
                                 comments (.30); emails with Katten team regarding same (.10)
08/18/2022     Comerford,         Review comments from G. King to memorandum on FOXO issues (.90);                    6.30
               Michael            revise memorandum to incorporate comments and add additional sections
                                  (3.10); review source documents for memorandum (1.60); review revised
                                  memorandum (.70)
08/18/2022     Reisman, Steven    Update regarding FOXO memorandum regarding asset, value, transaction                1.30
                                  and background (1.30)
08/18/2022     Archiyan, Yelena   Review summaries of calls with (i) Mayer Brown and (ii) Bondholder                  0.20
                                  Committee's professionals (.20)
08/19/2022     King, Geoff        Call with M. Comerford and V. Bulkin regarding presentation materials               0.40
                                  (.40)
08/19/2022     Thompson, Grace Draft weekly presentation for Special Committee (1.00); review and                     3.60
                               organize FOXO document production (2.40); related correspondence with
                               M. Comerford and G. King (.20)
08/19/2022     Comerford,         Revise memorandum regarding SPAC and related comments from G. King                  4.60
               Michael            (2.40); review related documents for same (1.10); email with G.
                                  Thompson regarding diligence for memo (.10); call with G. King and V.
                                  Bulkin regarding update for Independent Directors (.40); review
                                  presentation in connection with same (.60)
08/19/2022     Reisman, Steven    Update regarding memo regarding SPAC and FOXO (1.10)                                1.10
08/19/2022     Archiyan, Yelena   Review Special Committee meeting materials (.10)                                    0.10
08/20/2022     King, Geoff        Review FOXO diligence (1.00); emails with team regarding Special                    1.10
                                  Committee materials (.10)
08/20/2022     Thompson, Grace Draft docket updates for presentation to Special Committee (1.00); revise              1.60
                               presentation per comments from Katten team (.60)
08/20/2022     Winters, Julia  Revise presentation to Special Committee (.70); emails with Katten                     0.90
                               regarding presentations to Special Committee (.20)
08/20/2022     Kirby, Timothy  Correspondence regarding FOXO diligence issues and public filings (.50)                0.50
08/20/2022     Comerford,         Review emails regarding FOXO with G. King (.20); review related                     0.40
               Michael            presentation draft for Special Committee (.20)
08/20/2022     Roitman, Marc      Review Special Committee presentation materials (.60); emails with                  0.80
                                  Katten regarding same (.20)




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08/20/2022     Reisman, Steven    Review presentation to Special Committee and emails with Special                       1.10
                                  Committee regarding presentation materials for upcoming meeting (1.10)
08/21/2022     Giglio, Cindi      Provide comments to Special Committee deck for upcoming week (.50);                    0.90
                                  related emails (.40)
08/21/2022     Barnowski, Dan     Revise presentation to Special Committee (.50)                                         0.50
08/21/2022     King, Geoff        Draft relevant sections of Special Committee presentation (1.30); review               1.90
                                  materials related to ongoing FOXO diligence (.60)
08/21/2022     Thompson, Grace Revise Special Committee presentation per comments from C. Giglio, G.                     2.80
                               King, and A. Chase (1.20); review FOXO production per questions from
                               M. Comerford (.90); further revise Special Committee presentation per
                               comments from Katten (.70)
08/21/2022     Winters, Julia  Comment on further revised presentation to Special Committee (.90);                       1.60
                               emails with Katten regarding presentation to Special Committee (.70)
08/21/2022     Comerford,         Review presentation to Special Committee regarding updates on GWG                      5.40
               Michael            and FOXO (.60); draft slides regarding FOXO analysis and next steps
                                  (2.30); review comments from G. King (.30); incorporate comments into
                                  updated slides (1.10); review new diligence from Mayer Brown regarding
                                  FOXO (1.10)
08/21/2022     Roitman, Marc      Further review of Special Committee presentation materials (.30); emails               0.50
                                  with Katten regarding same (.20)
08/21/2022     Reisman, Steven    Review materials for Special Committee meeting (.40); follow up                        0.80
                                  regarding FOXO and matters related to same and follow up with M.
                                  Comerford (.40)
08/22/2022     Giglio, Cindi      Attend calls with G. King regarding Katten workstreams (.40); attend                   2.90
                                  Polly call (1.10); review related summary (.20); attend FOXO pre-call
                                  (.30); attend FOXO call with Mayer Brown (.40); review materials in
                                  connection with FOXO analysis (.50)
08/22/2022     Barnowski, Dan     Attend weekly Project Polly status call (1.10); teleconference with Katten             1.40
                                  team to prepare for call with Mayer Brown concerning FOXO (.30)
08/22/2022     King, Geoff        Attend Project Polly Call (1.10); attend Katten Pre-Call (.30); call with              4.40
                                  Mayer Brown regarding FOXO Diligence (.40); call with C. Giglio
                                  regarding workstreams (.20); call with C. Giglio regarding Project Polly
                                  follow-up (.20); review FOXO diligence materials (.60); review Special
                                  Committee agenda (.10); review and revise multiple versions of Special
                                  Committee presentation (.50); communications with team regarding
                                  FOXO diligence (.20); analyze issues related to ongoing workstreams and
                                  upcoming deliverables (.80)
08/22/2022     Thompson, Grace Further revise Special Committee presentation (.60); attend weekly Project                3.00
                                 Polly call (1.10); draft summary for Katten (.70); attend precall wtih
                                 Katten (.30); update meeting log and WIP per case developments (.30)
08/22/2022     Winters, Julia    Katten pre-call (.30); call with Mayer Brown regarding FOXO (.40);                      1.50
                                 emails with Katten, Mayer Brown regarding FOXO (.80)
08/22/2022     Kirby, Timothy    GWG-FOXO diligence call with Mayer Brown regarding capitalization                       0.50
                                 issues (.50)
08/22/2022     Miranda, Loredana Review of FOXO Diligence (3.90); draft index of FOXO Diligence (1.40);                  7.70
                                 emails with M. Comerford regarding same (.30); attend Katten pre call for
                                 call with Mayer Brown (.30); attend call with Mayer Brwon regarding
                                 FOXO (.40); draft summary of call with Mayer Brown (.30); draft agenda
                                 for Special Committee call (.30); email Katten team regarding same (.20);
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (.40); revise materials for Special Committee meeting (.20)



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08/22/2022     Comerford,         Review diligence received from FOXO regarding management, FOXO                        7.90
               Michael            corporate resolutions, and various SPAC related issues (4.80); review
                                  memorandum on FOXO issues (.40); call with Katten team in connection
                                  with diligence and FOXO issues (.30); call with Mayer Brown and Katten
                                  teams regarding next steps for diligence and related issues (.40); emails
                                  with L. Miranda regarding diligence and open issues (.30); review
                                  summary of diligence received from L. Miranda (1.10); revise same and
                                  provide comments on spreadsheet for L. Miranda (.60)
08/22/2022     Reisman, Steven    Participate in team update call for Project Polly (1.10); participate in              3.00
                                  Katten pre-call related to same (.30); follow up regarding matters related
                                  to FOXO (.40); review agenda for Special Committee meeting (.20);
                                  review summary of recent matters for Special Committee meeting as well
                                  as underlying pleadings and materials in preparation for same (1.10)
08/22/2022     Archiyan, Yelena   Review summary of call among Debtors’ advisors, management and SC                     0.20
                                  (.10); review summary of call with Mayer Brown regarding FOXO (.10)
08/23/2022     Giglio, Cindi      Meeting with J. Stein and Katten team (.50); meeting with Mayer Brown                 2.30
                                  and Akin (.40); attend Special Committee call (1.10); post call follow up
                                  (.30)
08/23/2022     Barnowski, Dan     Weekly call with Bondholder Committee and Akin (.40); attend portion of               1.50
                                  teleconference with Special Committee (.90); attend portion of Katten
                                  post-call (.20)
08/23/2022     King, Geoff        Call with T. Horton regarding Special Committee (.10); call with D.                   5.00
                                  Chavenson regarding FOXO (.40); call with T. Kirby regarding FOXO
                                  (.20); review multiple versions of FOXO diligence chart (.70); prepare for
                                  Special Committee call (.60); Katten pre-call with J. Stein regarding
                                  Special Committee meeting (.50); attend call with Special Committee
                                  (1.10); attend Katten Post-Call (.30); review multiple versions of Special
                                  Committee materials (.70); weekly call with Bondholder Committee and
                                  Akin (.40)
08/23/2022     Thompson, Grace Revise presentation for Special Committee per case updates (.40); attend                 1.80
                                 Katten precall with J. Stein (.50); attend call with Katten, Mayer Brown,
                                 and Akin (.40); attend Katten post-call (.30); draft summary of Mayer
                                 Brown/Akin call for Katten (.20)
08/23/2022     Brooks-Patton,    Review and index new and additional FOXO financial documents and                       2.80
               Janice            Board minutes, resolutions and other corporate documents (2.80)
08/23/2022     Winters, Julia    Emails with Katten regarding Special Committee meeting (.40); review                   3.70
                                 revised presentation to Special Committee (.40); emails with Katten,
                                 Mayer Brown regarding FOXO (1.10); weekly call with Mayer Brown,
                                 Akin (.40); call with Special Committee (1.10); Katten follow-up call (.30)
08/23/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                5.00
                                 (.70); call with M. Comerford regarding FOXO Diligence (.30); review of
                                 FOXO Diligence (1.10); emails with G. King and M. Comerford regarding
                                 same (.40); emails with R. Brady regarding FOXO diligence (.10); attend
                                 Katten call with the Special Committee (1.10); attend Katten post-call
                                 (.30); draft minutes from call with the Special Committee (.70); revise
                                 index of FOXO diligence (.30)
08/23/2022     Comerford,         Call with L. Miranda regarding equity incentive plan and issuance (.40);              4.50
               Michael            review diligence in connection with same (.90); review index of diligence
                                  regarding equity grants (.60); email Katten team regarding FOXO related
                                  diligence issues (.50); revise memorandum including incorporating
                                  updates from additional diligence (2.10)




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08/23/2022     Reisman, Steven    Update regarding FOXO (.30); attend to matters regarding Special                        2.90
                                  Committee meeting including preparation for same and review of
                                  underlying materials (.60); participate in pre-call for Special Committee
                                  meeting with J. Stein (.50); participate in conference call and update call
                                  with Akin Gump regarding status of matters and focus of Bondholders
                                  Committee (.40); participate in Special Committee update call with D.
                                  Chavenson, T. Horton and J. Stein (1.10)
08/23/2022     Archiyan, Yelena   Review notes from the call among the Debtors’ professionals and the                     0.20
                                  Bondholder Committee’s professionals (.10); review update from GWG
                                  docket (.10)
08/24/2022     Giglio, Cindi      Revise minutes (.40); pre-call regarding FOXO (.30); attend FOXO call                   3.20
                                  (.80); review presentation for court (.50); discuss same (.30); attend call
                                  with Mayer Brown (.50); pre-call for same (.30); follow up regarding same
                                  (.10)
08/24/2022     Barnowski, Dan     Weekly teleconference with Mayer Brown (.50); Katten pre-call to prepare                0.80
                                  for call with Mayer Brown (.30)
08/24/2022     King, Geoff       Call with D. Chavenson regarding FOXO (.20); call with M. Comerford                      2.90
                                 (.20); review materials in connection with ongoing FOXO diligence (.60);
                                 attend Katten pre-call (.30); attend weekly call with Mayer Brown (.50);
                                 Katten pre-call (.30); attend call with Mayer Brown regarding FOXO (.80)
08/24/2022     Thompson, Grace Draft presentation and script regarding Independent Director updates for                   3.00
                                 upcoming hearing (1.20); call with G. King and C. Giglio regarding the
                                 same (.30); revise script (.50); attend Katten only precall (.30); attend
                                 weekly call with Mayer Brown (.50); draft summary of same for Katten
                                 (.20)
08/24/2022     Winters, Julia    Emails with Katten, Mayer Brown regarding FOXO (.60); Katten pre-call                    2.50
                                 (.30); call with Mayer Brown, Katten regarding FOXO (.80); Katten pre-
                                 call (.30); weekly status call with Mayer Brown (.50)
08/24/2022     Kirby, Timothy    GWG-FOXO diligence call with Mayer Brown (.80); correspondence                           2.00
                                 related to same (.20); review draft memorandum and prepare comments to
                                 same (1.00)
08/24/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                  5.20
                                 (.10); revise index of FOXO diligence (.90); emails with G. King
                                 regarding same (.10); revise Special Committee minutes with C. Giglio's
                                 comments (.20); review FOXO diligence (1.90); emails with M.
                                 Comerford regarding same (.20); email Katten team regarding Special
                                 Committee minutes (.30); attend Katten pre-call (.30); attend call with
                                 Mayer Brown regarding FOXO (.80); draft summary of call with Mayer
                                 Brown (.40)
08/24/2022     Comerford,         Email with L. Miranda regarding FOXO diligence questions (.30); review                  5.70
               Michael            new diligence for FOXO (1.20); draft email to Mayer Brown regarding
                                  follow-up for FOXO analysis (1.30); review PJT slides regarding dilution
                                  and merger related matters (.60); review Mayer Brown memo regarding
                                  FOXO related issues (1.10); call with G. King regarding FOXO related
                                  issues (.20); revise memo for FOXO matters for Special Committee (.80)
08/24/2022     Reisman, Steven    Prepare outline for upcoming hearing and presentation on behalf of                      2.20
                                  Independent Directors regarding update on activities (1.10); discussions
                                  with Katten team regarding same (.40); review Special Committee meeting
                                  minutes (.40); participate in Katten pre-call regarding upcoming call with
                                  Special Committee (.30)
08/24/2022     Archiyan, Yelena   Review minutes for the 8/8 and 8/9 Special Committee meeting (.10);                     0.30
                                  review notes from afternoon call with Mayer Brown (.10); review notes
                                  from standing call with Mayer Brown (.10)



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08/25/2022     Pecoraro, Andrew Review and analyze documents regarding Q-2 2022 invoice under the                       2.70
                                Shared Services Agreement (2.00); draft questions for meeting with FTI
                                regarding same (.70)
08/25/2022     Giglio, Cindi      Attend Akin pre-call (.20); attend weekly Akin call (.80); attend meeting             2.60
                                  with Mayer Brown (.20); attend call with G. King and J. Stein (.40); attend
                                  Special Committee call (.80); related follow up (.20)
08/25/2022     Barnowski, Dan     Weekly teleconference with Mayer Brown (.20); teleconference with                     1.20
                                  Special Committee (.80); call with G. King regarding upcoming Akin call
                                  (.20)
08/25/2022     King, Geoff        Prepare for Special Committee call (.30); call with L. Chiappetta regarding           4.70
                                  exclusivity motion (.20); call with C. Harvik regarding shared services
                                  issues (.20); call with J. Stein and C. Giglio regarding Special Committee
                                  items (.40); call with T. Horton regarding Special Committee tasks (.30);
                                  call with D. Chavenson regarding upcoming Special Committee meeting
                                  (.20); review materials in connection with shared services amendment
                                  (.30); review documents in connection with potential role of Special
                                  Committee in upcoming hearing (.30); call with D. Barnowski regarding
                                  upcoming call with Akin (.20); attend Katten pre-call (.20); prepare for
                                  call with Committee (.30); attend weekly call with Akin/Piper/Alix (.80);
                                  attend weekly call with Mayer Brown (.20); attend call with Special
                                  Committee (.80)
08/25/2022     Thompson, Grace Call with Mayer Brown (.20); attend Special Committee meeting (.80);                     2.00
                                 revise slides and script regarding Independent Director updates (.70);
                                 revise meeting log and WIP to reflect case updates (.30)
08/25/2022     Winters, Julia    Emails with Katten, FTI regarding Ben Q2 Invoice (.70); review back up                 2.00
                                 materials regarding Ben Q-2 Invoice (.90); attend portion of call with
                                 Special Committee (.40)
08/25/2022     Miranda, Loredana Review and revise Memorandum regarding FOXO (3.40); emails with M.                     6.60
                                 Comerford regarding same (.20); attend Katten pre-call (.20); attend
                                 weekly call with Akin (.80); draft summary of call with Akin (.90);
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (1.10)
08/25/2022     Comerford,         Emails with L. Miranda regarding memo on FOXO and related research                    2.40
               Michael            (.20); review draft memorandum (.50); related diligence (.60); review
                                  comments to memorandum from L. Miranda (.60); email L. Miranda in
                                  connection with next steps (.20); review update email from L. Miranda
                                  regarding bondholder call (.30)
08/25/2022     Reisman, Steven    Update regarding matters related to FOXO and review memo regarding                    3.70
                                  same (1.10); participate in weekly update call with Akin Gump regarding
                                  matters in GWG case (.80); participate in pre-call with Katten team in
                                  preparation for call with Akin Gump (.20); participate in update call with
                                  Special Committee (.80); participate in weekly telephone conference and
                                  discussions with Mayer Brown regarding matters related to restructuring
                                  (.20); review materials in preparation for Special Committee meeting (.60)
08/25/2022     Archiyan, Yelena   Review notes from Katten’s weekly call with the Bondholder Committee’s                0.10
                                  professionals (.10)
08/26/2022     Pecoraro, Andrew Review and analyze documents regarding Shared Services Agreement Q-2                    2.70
                                invoice (.50); draft comparison chart and update questions regarding same
                                (.70); call with FTI and Katten regarding Shared Services Agreement Q-2
                                Invoice (.80); debrief call with G. King and J. Winters regarding same
                                (.20); draft summary of call with FTI (.50); draft slides for presentation to
                                Special Committee regarding same (.80)




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08/26/2022     King, Geoff        Prepare for FTI call (.20); call with FTI regarding shared services (.80);              1.60
                                  review materials regarding shared services agreement (.40); call with A.
                                  Pecoraro and J. Winters regarding shared services follow-up (.20)
08/26/2022     Thompson, Grace Revise script for hearing per comments from C. Giglio and G. King (.30);                   0.90
                               draft minutes from Special Committee meeting (.60)
08/26/2022     Winters, Julia  Call with FTI, Katten regarding shared services (.80); follow up call with                 2.80
                               G. King, A. Pecoraro (.20); review shared services materials provided by
                               FTI (.90); emails with Katten regarding shared services (.90)
08/26/2022     Kirby, Timothy  Review and provide comments to GWG-FOXO memo (3.00)                                        3.00
08/26/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                  1.10
                                 (1.10)
08/26/2022     Comerford,         Email to Mayer Brown regarding FOXO issues (.20); emails with Katten                    1.10
               Michael            team regarding same (.10); review memo regarding FOXO issues and
                                  updates for same (.80)
08/26/2022     Archiyan, Yelena   Review update from GWG docket (.10)                                                     0.10
08/27/2022     Thompson, Grace Revise and circulate key fact sheet per case developments (.50)                            0.50
08/27/2022     Kirby, Timothy     Research regarding GWG-FOXO transaction (.50)                                           0.50
08/28/2022     Pecoraro, Andrew Draft slides for Special Committee meeting regarding Shared Services                      1.50
                                Agreement Q-2 Invoice (1.40); email with J. Winters regarding same (.10)
08/28/2022     Kirby, Timothy   Research regarding GWG-FOXO transaction (.50)                                             0.50
08/28/2022     Miranda, Loredana Revise materials for meeting with the Special Committee (1.10); emails                   1.20
                                 with G. Thompson regarding same (.10)
08/29/2022     Pecoraro, Andrew Revise slide deck regarding Q-2 Shared Services Agreement Invoice (.80)                   0.80
08/29/2022     Giglio, Cindi      Attend weekly Project Polly call (.40)                                                  0.40
08/29/2022     Barnowski, Dan     Attend weekly status update call with Mayer Brown, PJT, Katten teams                    0.40
                                  and Special Committee (.40)
08/29/2022     King, Geoff        Attend Project Polly Call (.40)                                                         0.40
08/29/2022     Thompson, Grace Draft weekly presentation for Special Committee (1.00); draft email to                     1.50
                               Katten reflecting docket updates relevant to Special Committee (.20);
                               revise meeting log and WIP per case updates (.30)
08/29/2022     Winters, Julia  Revise slides on Shared Services Agreement for Special Committee                           2.10
                               presentation (.90); emails with Katten regarding Special Committee
                               presentation (1.20)
08/29/2022     Kirby, Timothy  Review Mayer Brown FOXO summary and related correspondence (.50)                           0.50
08/29/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                  0.90
                                 (.90)
08/29/2022     Comerford,         Review memorandum from Mayer Brown regarding FOXO and related                           6.50
               Michael            issues for merger (2.60); provide comments to same memo (1.10); draft
                                  update slides for FOXO (1.20); review SEC filing for Delwinds regarding
                                  FOXO (.60); draft summary regarding same (.80)
08/29/2022     Reisman, Steven    Participate in update calls with Debtors professionals (.40); review                    0.80
                                  materials in preparation for same (.40)
08/29/2022     Archiyan, Yelena   Review notes from call with Debtors’ professionals (.10); review draft of               0.40
                                  FOXO Board summary (.30)
08/30/2022     Giglio, Cindi      Katten pre-call (.30); call with Akin (.40); review FOXO deck (.50);                    2.20
                                  review SSA decks and comment on same (1.00)




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08/30/2022     Barnowski, Dan     Katten pre-call to prepare for weekly call between Mayer Brown and Akin                 0.90
                                  (.30); attend Mayer Brown and Akin weekly call (.40); revise status report
                                  to Special Committee (.20)
08/30/2022     King, Geoff        Attend Katten pre-call (.30); weekly call with Mayer Brown/Akin (.40);                  2.40
                                  review and revise Special Committee materials (.80); call with M.
                                  Comerford regarding FOXO (.20); review emails from Katten team
                                  regarding upcoming Special Committee meeting (.30); prepare for
                                  upcoming Special Committee call (.40)
08/30/2022     Thompson, Grace Revise presentation for Special Committee per comments from Katten                         2.20
                               (.70); attend weekly call with Debtors' and Bondholder Committee's
                               professionals (.40); attend Katten pre-call for same (.30); draft summary of
                               call (.20); further revise presentation to Special Committee per comments
                               from Katten (.60)
08/30/2022     Hall, Jerry     Attend Katten pre-call regarding upcoming update call among                                0.70
                               professionals (.30); call among Katten, Akin and Mayer Brown regarding
                               updates and related matters (.40)
08/30/2022     Winters, Julia  Further revise presentation on Shared Services Agreement (.80); emails                     3.70
                               with Katten regarding presentation to Special Committee (.60); review
                               FOXO presentation (.70); revise presentation to Special Committee (.90);
                               Katten pre-call for call with Mayer Brown, Akin (.30); call with Mayer
                               Brown, Akin (.40)
08/30/2022     Kirby, Timothy  Review dilution analysis (.50)                                                             0.50
08/30/2022     Miranda, Loredana Emails with M. Comerford regarding FOXO diligence (.40); update                          2.70
                                 FOXO index (.60); draft agenda for Special Committee meeting (.20);
                                 emails with Katten team regarding same (.20); revise materials for Special
                                 Committee meeting (.70); attend Katten pre-call for call with Mayer
                                 Brown (.30); prepare summary of docket entries relevant to Special
                                 Committee matters (.10); revise agenda for Special Committee meeting
                                 with G. King's edits (.20)
08/30/2022     Comerford,         Email with L. Miranda regarding FOXO diligence questions (.30); review                  5.50
               Michael            new diligence for FOXO (1.20); draft email to Mayer Brown regarding
                                  follow-up for FOXO analysis (1.30); review PJT slides regarding dilution
                                  and merger related matters (.60); review Mayer Brown memo regarding
                                  FOXO related issues (1.10); call with G. King regarding FOXO related
                                  issues (.20); revise memo for FOXO matters for Special Committee (.80)
08/30/2022     Roitman, Marc      Weekly Call with Mayer Brown/Akin regarding case matters (.40); call                    0.70
                                  with Katten in preparation for same (.30)
08/30/2022     Reisman, Steven    Attend weekly call with Mayer Brown and Akin (.40); attend Katten team                  1.30
                                  call in preparation for same (.30); review materials in preparation for same
                                  (.60)
08/30/2022     Archiyan, Yelena   Review notes from call among the Debtors’ professionals and the                         0.20
                                  Bondholder Committee’s professionals (.10); review Katten’s analysis/
                                  questions regarding the FOXO summary (.10)
08/31/2022     Chase, Ashley      Review materials for Special Committee meeting (.20)                                    0.20
08/31/2022     Pecoraro, Andrew Review and analyze updated FTI analysis regarding Q-2 Shared Services                     1.40
                                Agreement Invoice (.60); call with FTI and Katten regarding same (.50);
                                revise Special Committee slide deck regarding same (.30)
08/31/2022     Giglio, Cindi      Call regarding SSA invoice #2 (.50); related correspondence (.20); Katten               3.80
                                  pre-call (.50); call with J. Stein (.50); call with Mayer Brown (.60); review
                                  letter (.60); call with Special Committee (.90)




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Matter:             397894.00010
Invoice #:          9020098163                                                                             November 29, 2022
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Date           Timekeeper         Description                                                                          Hours
08/31/2022     Barnowski, Dan     Weekly status teleconference with Mayer Brown and Katten teams (.60);                   2.50
                                  Katten team call to prepare for weekly Special Committee call (.50);
                                  Katten team call with J. Stein to prepare for Special Committee call (.50);
                                  attend Special Committee call (.90)
08/31/2022     King, Geoff        Call with FTI regarding Shared Services Agreement Invoice (.50); Katten                 4.40
                                  pre-call (.50); Katten call with J. Stein (.50); prepare for Special
                                  Committee meeting (.40); call with the Special Committee (.90); weekly
                                  call with Mayer Brown (.60); call with D. Chavenson regarding FOXO
                                  (.20); review FOXO revised memorandum (.30); review shared services
                                  materials (.20); review Special Committee materials (.30)
08/31/2022     Thompson, Grace Finalize materials for Special Committee call (.10); attend call with J.                   2.00
                                 Stein and Katten (.50); attend Katten pre-call for Special Committee call
                                 (.50); attend call with Mayer Brown (.60); draft summary of same for
                                 Katten (.30)
08/31/2022     Hall, Jerry       Call among Katten and FTI regarding shared services agreement (.50);                     2.10
                                 review presentation regarding shared services (.20); weekly call with
                                 Mayer Brown regarding various matters (.60); call with J. Winters
                                 regarding draft letter to Bondholder Committee (.40); review letter to
                                 Bondholder Committee (.40)
08/31/2022     Winters, Julia    Review FTI materials regarding shared services agreement (.70); call with                5.90
                                 FTI, Katten regarding shared services invoice (.50); revise presentation to
                                 Special Committee (.40); emails with Katten regarding presentation to
                                 Special Committee (.90); Katten pre-call (.50); call with Special
                                 Committee (.90); revise draft letter to Bondholder Committee (.70); call
                                 with J. Hall regarding draft letter to Bondholder Committee (.40); emails
                                 with Katten regarding draft letter to Bondholder Committee (.90)
08/31/2022     Miranda, Loredana Attend call with the Special Committee (.90); draft minutes of the Special               2.50
                                 Committee call (.80); prepare summary of docket entries relevant to
                                 Special Committee matters (.10); conference with G. Thompson regarding
                                 same (.10); prepare proposed emails to clients regarding Special
                                 Committee minutes (.30); emails with G. King regarding same (.10);
                                 update WIP (.20)
08/31/2022     Comerford,         Revise memorandum regarding FOXO related issues and merger (1.40);                      5.50
               Michael            review updates on diligence from L. Miranda (.60); review email from
                                  Mayer Brown regarding FOXO issues and update (.30); revise FOXO
                                  memorandum in connection with new diligence and Mayer Brown
                                  summaries (2.40); review certain diligence documents in connection with
                                  same (.80)
08/31/2022     Roitman, Marc      Call with Special Committee (.90); Katten pre-call in preparation for same              2.60
                                  (.50); review presentation materials in preparation for same (.30); revise
                                  draft letter to Bondholder Committee (.70); emails with Katten regarding
                                  same (.20)
08/31/2022     Reisman, Steven    Participate in Special Committee update call (.90); Katten pre-call in                  2.00
                                  preparation for call with Special Committee (.50); review materials in
                                  preparation for update call with Special Committee regarding ongoing
                                  work in connection with restructuring (.60)
08/31/2022     Bulkin, Vlad       Attend call with Special Committee (.90); prepare for same (.10)                        1.00
08/31/2022     Archiyan, Yelena   Review email correspondence regarding FOXO analysis (.10); review                       0.20
                                  notes from weekly call with Mayer Brown (.10)
                                                                                            Total Hours :              519.40




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Matter:             397894.00010
Invoice #:          9020098163                                                     November 29, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       48.60            1,585.00             77,031.00
Giglio, Cindi                                         39.30            1,350.00             53,055.00
Hall, Jerry                                            2.80            1,285.00              3,598.00
Winters, Julia                                        42.70            1,180.00             50,386.00
Comerford, Michael                                    85.30            1,180.00            100,654.00
Bulkin, Vlad                                           1.00            1,170.00              1,170.00
King, Geoff                                           85.10            1,145.00             97,439.50
Roitman, Marc                                         23.20            1,145.00             26,564.00
Barnowski, Dan                                        20.90            1,125.00             23,512.50
Kirby, Timothy                                        26.00            1,035.00             26,910.00
Chase, Ashley                                          0.20              910.00                182.00
Archiyan, Yelena                                       3.80              875.00              3,325.00
Thompson, Grace                                       67.00              800.00             53,600.00
Rosella, Michael                                       0.50              800.00                400.00
Pecoraro, Andrew                                       9.50              775.00              7,362.50
Miranda, Loredana                                     59.00              580.00             34,220.00
Brooks-Patton, Janice                                  2.80              410.00              1,148.00
Siena, Marie                                           1.70              380.00                646.00

                                     Sub Total :     519.40   Sub Total :                  561,203.50
                                     Total Hours :   519.40   Total Fees             561,203.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
November 29, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Case Administration

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                   1,962.00
Total Amount Due ..............................................................................................................................................                           1,962.00       USD




Payment can be remitted directly to our account:




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Matter:             397894.00011
Invoice #:          9020098157                                                                        November 29, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                     Hours
08/01/2022     Miranda, Loredana Email Katten call times (.10)                                                       0.10
08/02/2022     Miranda, Loredana Email Katten call times (.10)                                                       0.10
08/03/2022     Reisman, Steven    Review materials regarding ongoing work process and work in progress               0.40
                                  list and review materials in connection with same (.40)
08/10/2022     Miranda, Loredana Email call times to Katten (.10)                                                    0.10
08/15/2022     Miranda, Loredana Email Katten call time (.20)                                                        0.20
08/16/2022     Miranda, Loredana Email call times to Katten (.10)                                                    0.10
08/17/2022     Miranda, Loredana Email Katten call times (.10)                                                       0.10
08/18/2022     King, Geoff        Review workstream summary (.40)                                                    0.40
08/22/2022     Miranda, Loredana Email call times to Katten team (.10)                                               0.10
08/23/2022     Miranda, Loredana Email call times to Katten team (.20)                                               0.20
08/24/2022     Miranda, Loredana Email call times to Katten team (.10)                                               0.10
08/26/2022     Miranda, Loredana Email call times to Katten (.10); conference with G. Thompson regarding             0.20
                                 same (.10)
08/30/2022     Miranda, Loredana Email call times to Katten (.10)                                                    0.10
08/31/2022     Miranda, Loredana Email call times to Katten (.10)                                                    0.10
                                                                                        Total Hours :               2.30




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Invoice #:          9020098157                                                     November 29, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        0.40            1,585.00                   634.00
King, Geoff                                            0.40            1,145.00                   458.00
Miranda, Loredana                                      1.50              580.00                   870.00

                                     Sub Total :       2.30   Sub Total :                     1,962.00
                                     Total Hours :     2.30   Total Fees               1,962.00    USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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November 29, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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                                                                                                                                                    Matter:                                    397894.00012
                                                                                                                                                    Invoice #:                                   9020098155
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                 20,340.50
Total Amount Due ..............................................................................................................................................                         20,340.50        USD




Payment can be remitted directly to our account:




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RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
08/03/2022     Giglio, Cindi      Review Paul email (.20)                                                                0.20
08/03/2022     Barnowski, Dan     Analyze summary of Paul Capital proofs of claim (.30)                                  0.30
08/03/2022     King, Geoff        Review Paul capital proofs of claim (.40); review materials regarding Paul             0.70
                                  Capital claims (.30)
08/03/2022     Thompson, Grace Review Paul Capital proofs of claim (.30); draft email summary for Katten                 0.60
                               (.30)
08/03/2022     Winters, Julia  Review summary of proofs of claim (.40)                                                   0.40
08/03/2022     Roitman, Marc      Review Paul Capital proof of claim (.50); draft email to Special                       1.60
                                  Committee regarding Paul Capital claim (.90); emails with Katten
                                  regarding same (.20)
08/03/2022     Reisman, Steven    Attend to matters regarding review of Paul Capital proof of claim and                  0.60
                                  materials related to same in connection with ongoing litigation (.60)
08/04/2022     Giglio, Cindi      Emails with G. King and M. Roitman regarding Paul Capital (.30)                        0.30
08/04/2022     Roitman, Marc      Further emails Special Committee regarding Paul Capital claim (.50);                   1.10
                                  emails with Katten regarding same (.20); call with D. Chavenson
                                  regarding same (.40)
08/08/2022     Giglio, Cindi      Follow up regarding PCA claim (.30)                                                    0.30
08/08/2022     King, Geoff        Review issues in connection with proof of claim (.40)                                  0.40
08/12/2022     Comerford,         Review draft motion regarding bar date and bond claims (.60); emails in                0.80
               Michael            connection with same to Katten team (.20)
08/13/2022     Comerford,         Email to L. Miranda regarding precedent for bondholder claims motion                   2.60
               Michael            (.20); review draft bondholder motion regarding claims bar date (1.30);
                                  review related precedent for bond claims (.40); review draft exhibits to
                                  claims bar date motion for bonds (.70)
08/14/2022     Comerford,         Review bondholder bar date motion (1.20); provide comments to same bar                 2.70
               Michael            date motion (.70); review precedent in connection with same bar date
                                  motion (.50); email to G. King regarding issues for bar date motion for
                                  bonds (.30)
08/15/2022     King, Geoff        Review bondholder claim motion (.20)                                                   0.20
08/15/2022     Comerford,         Review comments to claims procedures motion (.50); implement further                   2.70
               Michael            comments to motion (.30); call with G. King in connection with comments
                                  to same (.20); email to Katten team regarding comments and next steps for
                                  bar date motion for bonds (.70); call with G. King regarding next steps for
                                  bar date motion (.20); email to Mayer Brown regarding comments to bar
                                  date motion (.30); review Mayer Brown response with revised bar date
                                  motion for bonds (.50)
08/15/2022     Archiyan, Yelena   Review comments to draft bondholder claims procedure motion (.20)                      0.20
08/16/2022     Comerford,         Review revised bond bar date motion (.40); email Katten team with update               0.90
               Michael            on same (.30); call with Mayer Brown regarding follow-up issues (.20)
08/17/2022     Comerford,         Review update from Mayer Brown regarding bondholder claims bar date                    0.20
               Michael            motion (.20)
08/22/2022     Winters, Julia     Emails with Mayer Brown, Katten regarding bondholder claims motion                     0.30
                                  (.30)
08/24/2022     King, Geoff        Review materials regarding Paul Capital (.20)                                          0.20




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Matter:              397894.00012
Invoice #:           9020098155                                                     November 29, 2022
Invoice Due Date:    Payable Upon Receipt


TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                         0.60            1,585.00                951.00
Giglio, Cindi                                           0.80            1,350.00              1,080.00
Winters, Julia                                          0.70            1,180.00                826.00
Comerford, Michael                                      9.90            1,180.00             11,682.00
King, Geoff                                             1.50            1,145.00              1,717.50
Roitman, Marc                                           2.70            1,145.00              3,091.50
Barnowski, Dan                                          0.30            1,125.00                337.50
Archiyan, Yelena                                        0.20              875.00                175.00
Thompson, Grace                                         0.60              800.00                480.00

                                      Sub Total :      17.30   Sub Total :                    20,340.50
                                      Total Hours :    17.30   Total Fees              20,340.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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November 29, 2022
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                 25,535.00
Total Amount Due ..............................................................................................................................................                         25,535.00        USD




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Matter:             397894.00019
Invoice #:          9020098156                                                                            November 29, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
08/23/2022     Siena, Marie       Update case calendar to incorporate details for 8/29/22 hearing (.20)                  0.20
08/25/2022     Winters, Julia     Revise materials for 8/29 hearing (.40); emails with Katten regarding 8/29             1.20
                                  hearing (.80)
08/25/2022     Siena, Marie       Prepare index for 8/29/22 Hearing Binder (.80); compile documents for                  1.80
                                  binder (.70); emails with Katten regarding same (.30)
08/26/2022     Siena, Marie       Update case calendar for hearing on 9/20/22 (.20); call with L. Miranda                1.10
                                  regarding 8/29/22 Hearing Binder (.20); update hearing binder with newly
                                  filed documents (.40); place all hearing binder materials in shared space
                                  for access by Katten (.30)
08/28/2022     Hall, Jerry        Review agenda for upcoming hearing (.10)                                               0.10
08/28/2022     Siena, Marie       Review agenda for hearing on 8/29/22 (.20)                                             0.20
08/29/2022     Chase, Ashley      Attend part of hearing regarding insurance motion (1.10)                               1.10
08/29/2022     Giglio, Cindi      Prepare for court hearing on insurance motion (4.00); attend hearing on                6.40
                                  insurance motion (1.40); related follow up and discussions on order (1.00)
08/29/2022     Barnowski, Dan     Attend hearing on insurance motion (1.40)                                              1.40
08/29/2022     King, Geoff        Attend hearing on insurance motion (1.40); prepare for hearing on                      3.30
                                  insurance motion (1.90)
08/29/2022     Thompson, Grace Attend hearing on Insurance Motion (1.40); draft summary of hearing for                   2.00
                               Independent Directors (.60)
08/29/2022     Hall, Jerry     Attend hearing on insurance motion (1.40)                                                 1.40
08/29/2022     Winters, Julia     Attend hearing on insurance motion (1.40)                                              1.40
08/29/2022     Rosella, Michael   Review updates from hearing (.40)                                                      0.40
08/29/2022     Siena, Marie       Review amended agenda for today's hearing (.10); update case calendar                  0.40
                                  with details for hearings on 9/29/22 and 12/1/22 (.30)
08/29/2022     Reisman, Steven    Attend hearing on insurance motion and related relief on behalf of                     1.40
                                  Independent Directors J. Stein and T. Horton (1.40)
                                                                                             Total Hours :             23.80




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        1.40            1,585.00               2,219.00
Giglio, Cindi                                          6.40            1,350.00               8,640.00
Hall, Jerry                                            1.50            1,285.00               1,927.50
Winters, Julia                                         2.60            1,180.00               3,068.00
King, Geoff                                            3.30            1,145.00               3,778.50
Barnowski, Dan                                         1.40            1,125.00               1,575.00
Chase, Ashley                                          1.10              910.00               1,001.00
Thompson, Grace                                        2.00              800.00               1,600.00
Rosella, Michael                                       0.40              800.00                 320.00
Siena, Marie                                           3.70              380.00               1,406.00

                                     Sub Total :      23.80   Sub Total :                    25,535.00
                                     Total Hours :    23.80   Total Fees              25,535.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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November 29, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Investigation

For Professional Services Rendered Through August 31, 2022



Fees Total............................................................................................................................................................. 1,083,447.50
Total Amount Due ..............................................................................................................................................1,083,447.50                              USD




Payment can be remitted directly to our account:




Direct billing inquiries to NYBillingInquiries@katten.com

Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
08/01/2022     Pecoraro, Andrew Legal research regarding securities claims (1.40); draft summary analyzing               5.80
                                allegations in Bayati securities complaint (2.30); legal research regarding
                                defenses in securities cases (1.00); draft summary regarding same (1.10)
08/01/2022     Barnowski, Dan   Katten team call to discuss latest developments and prepare for call with                5.70
                                CRO (.50); teleconference with GWG management team (.90); prepare
                                talking points for meeting with Bondholder Committee (.50);
                                teleconference with G. King concerning investigation and meeting with
                                Bondholder Committee (.30); teleconference with Bondholder Committee
                                concerning investigations (.90); prepare memo to file on results of call
                                with Bondholder Committee (.30); analyze recent articles concerning Ben
                                issues (.40); teleconference with C. Kelley concerning investigation issues
                                (.20); prepare additional potential discovery requests (.30); follow-up on
                                items raised in call with Akin (.70); begin preparation of Willkie interview
                                outline (.70)
08/01/2022     King, Geoff        Prepare for Akin call (.60); attend Akin call (.90); call with D. Barnowski            3.20
                                  regarding discovery issues (.30); review call log (.40); analyze upcoming
                                  issues in connection with prepetition transactions and investigation (.60);
                                  review latest WIP and diligence list (.40)
08/01/2022     Thompson, Grace Review databases for SEC productions (.40); related discussion with L.                    3.00
                                 Miranda (.20); attend pre-call with Katten (.50); kickoff call with Akin
                                 regarding investigations (.90); draft summary of call for Katten (.60); call
                                 with Y. Archiyan regarding diligence review for prepetition transactions
                                 (.40)
08/01/2022     Brooks-Patton,    Revise index of Special Committee resolutions and meeting minutes (.60)                 0.60
               Janice
08/01/2022     Winters, Julia    Review WSJ article regarding B. Heppner (.80); Katten pre-call (.50); call              2.80
                                 with Akin, AlixPartners, Katten (.90); emails with Katten regarding
                                 investigation (.60)
08/01/2022     Miranda, Loredana Attend Katten pre-call for call with Bondholder Committee (.50); review                 4.70
                                 historical transaction documents for investigation (2.10); call with G.
                                 Thompson regarding databases for SEC production (.20); begin to draft
                                 overview of Master Exchange Agreement (.60); draft summary of Akin's
                                 monthly fee statements (1.10); call with M. Roitman regarding same (.10);
                                 emails with M. Roitman and S. Reisman regarding same (.10)
08/01/2022     Roitman, Marc     Call with Akin regarding investigation matters (.90); pre-call with Katten              2.40
                                 in preparation for same (.50); emails with Katten regarding investigation
                                 document requests (.20); review analyses of Board materials in connection
                                 with investigation of pre-petition transactions (.80)
08/01/2022     Rosella, Michael Attend Katten pre-call for call with Bondholder Committee's professionals                4.90
                                 (.50); review notes from Bondholder Committee meeting (.40); review
                                 article on various related party transactions involving GWG executives
                                 (.50); review SEC filings regarding all transactions discussed in article
                                 (2.70); prepare email to Katten summarizing the foregoing transactions
                                 (.80)




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Date           Timekeeper         Description                                                                          Hours
08/01/2022     Reisman, Steven    Review materials in preparation for call with counsel from Bondholder                   4.40
                                  Committee at Akin regarding issues to focus on in connection with
                                  investigation and background materials (1.70); attend Katten pre-call for
                                  same (.50); participate in call with M. Stamer and Akin team regarding
                                  Bondholder Committee counsels views of focus of investigation and
                                  working with them for coordination on third party discovery, document
                                  production and deposition (.90); discussions with client regarding matters
                                  related to ongoing investigation, Wall Street Journal article, continued
                                  document production SEC investigation and other matters (1.30)
08/01/2022     Archiyan, Yelena   Review WSJ article regarding Heppner (.10); continue reviewing                          3.30
                                  documents, and finalize index for distribution to group (2.80); call with G.
                                  Thompson regarding diligence review of Special Committee minutes (.40)
08/02/2022     Pecoraro, Andrew Call with Katten regarding status of investigation (.70); meeting with D.                 3.40
                                Barnowski and E. Werlinger regarding analysis of securities complaint and
                                SEC investigation (.60); review background documents regarding Heppner
                                status at GWG Holdings (.30); review emails and consolidate informatoin
                                regarding supplemental document requests to Debtors (.50); review and
                                analyze documents regarding Shared Services Agreement (1.30)
08/02/2022     Giglio, Cindi      Call with G. King and others to discuss next steps on investigation (1.00);             3.70
                                  review slides (.40); follow up on WSJ article issues (.60); attend update
                                  call with team (.70); attend Investigations Committee call (.50); attend pre-
                                  call for same (.50)
08/02/2022     Barnowski, Dan     Teleconference with G. King, M. Roitman, J. Winters and C. Giglio                       2.60
                                  concerning investigation workplan (1.00); review memo analyzing
                                  disclosures concerning Heppner transactions (.30); meeting with A.
                                  Pecoraro and E. Werlinger to discuss investigation plan for securities
                                  claims (.60); teleconference with Katten team to discuss status of
                                  investigation (.70); Katten team call to prep for Investigations Committee
                                  meeting (.50); teleconference with Investigations Committee (.50)
08/02/2022     Werlinger, Eric    Attend a portion of meeting regarding strategy for conducting securities                0.50
                                  investigation with A. Pecoraro and D. Barnowski (.50)
08/02/2022     King, Geoff        Katten call regarding status of investigation (.70); Katten Pre-call (.50);             4.90
                                  call with Investigations Committee (.50); call with C. Giglio regarding
                                  investigation (.50); call with D. Barnowski, C. Giglio, J. Winters and M.
                                  Roitman regarding investigation workstreams (1.00); calls with D.
                                  Barnowski regarding diligence issues (.20); various revisions to materials
                                  in advance of call (.70); prepare for Investigations Committee call (.50);
                                  review emails from Akin and Mayer Brown regarding discovery issues
                                  (.30)
08/02/2022     Thompson, Grace Draft materials for Investigations Committee meeting (1.00); attend call                   3.50
                               with Katten team regarding investigation workstreams (.70); revise
                               Investigations Committee materials per comments from C. Giglio, G.
                               King, D. Barnowski, and others (.70); attend precall with Katten for
                               Investigations Committee meeting (.50); review Y. Archiyan list of
                               minutes received to date (.10); review files regarding the same (.20); draft
                               email for D. Barnowski to Mayer Brown regarding the same (.30)
08/02/2022     Brooks-Patton,  Research SEC filings regarding GWG Holdings, Inc., download filings                        4.00
               Janice          and supporting exhibits (2.60); revise Special Committee Meeting
                               Resolutions report (1.20); email exchange with Y. Archiyan regarding Ben
                               Purchase and Contribution Agreement (.20)
08/02/2022     Winters, Julia  Emails with Katten regarding investigation (.80); call with Katten                         3.90
                               regarding investigation (1.00); review draft presentation to Investigations
                               Committee (.40); call with Katten regarding weekly investigation update
                               (.70); Katten pre-call (.50); Investigations Committee call (.50)



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Date           Timekeeper          Description                                                                        Hours
08/02/2022     Miranda, Loredana Draft agenda for meeting with the Investigations Committee (.20); emails                3.20
                                 with G. King and C. Giglio regarding same (.10); attend Katten pre-call
                                 for meeting with the Investigations Committee (.50); attend Investigations
                                 Committee meeting (.50); draft minutes regarding Investigations
                                 Committee meeting (1.20); attend Katten call regarding investigation
                                 update (.70)
08/02/2022     Roitman, Marc     Call with investigation team leaders regarding investigation (.70); call with           3.80
                                 Investigations Committee (.50); Katten Pre-call in preparation for same
                                 (.50); continue to review documents produced in connection with
                                 investigation and related analyses regarding evaluation of potential claims
                                 arising from prepetition transactions (2.10)
08/02/2022     Rosella, Michael Prepare updates to investigation workplan to reflect newly added                         3.40
                                 transactions (.70); attend Katten call regarding investigation status (.70);
                                 attend Katten pre-call for Investigations Committee call (.50); continue to
                                 prepare fact sheets for various prepetition related-party transactions (1.50)
08/02/2022     Reisman, Steven     Review Akin 2004 request for document production (.40); follow up                     5.40
                                   regarding litigation materials and review of SEC documentation and
                                   request and related to same (.60); discussions with Katten team regarding
                                   investigation work streams including follow up on diligence, discovery
                                   (.70); prepare for Investigations Committee conference call (1.20);
                                   participate in Katten pre-call in preparation for Investigations Committee
                                   call (.50); participate in update call with Investigations Committee
                                   regarding ongoing work, agenda and next steps (.50); follow up calls with
                                   team members regarding ongoing work and projects (.40); review SEC
                                   filing in connection with Investigations Committee work and ongoing SEC
                                   investigation (1.10)
08/02/2022     Archiyan, Yelena    Continue drafting summary of Special Committee minutes and other                    10.70
                                   documents (3.40); continue reviewing public filings regarding prepetition
                                   transactions (3.90); continue reviewing litigation documents (.90); attend
                                   investigation team call (.70)
08/03/2022     Pecoraro, Andrew Draft supplemental document requests (1.10); email with Katten regarding                 2.90
                                same (.30); review and analyze securities complaint regarding preparation
                                for discussion with Willkie (1.50)
08/03/2022     Giglio, Cindi       Emails regarding production and committee coordination (.20); review                  4.30
                                   notes on investigation topics (4.10)
08/03/2022     Barnowski, Dan      Communications with Bondholder Committee about Rule 2004 requests                     0.70
                                   (.20); communications with Katten team about Rule 2004 requests (.20);
                                   communications with Debtor counsel concerning meeting minutes (.30)
08/03/2022     Werlinger, Eric     Review materials regarding preparing outline for interview with Willkie               0.70
                                   (.70)
08/03/2022     King, Geoff         Review materials in connection with investigation workstreams (.40);                  0.60
                                   emails with Katten regarding discovery issues (.10); call with D.
                                   Barnowski regarding diligence issues (.10)
08/03/2022     Thompson, Grace Review documents related to historical transactions (2.80); begin drafting                4.60
                               fact summary of same (1.00); attend to issues regarding Debtors'
                               production of historical minutes (.50); correspond with S. Stanger (Mayer
                               Brown) regarding new productions of documents (.10); correspondence
                               with A. Pecoraro and M. Rosella regarding supplemental diligence
                               requests (.20)




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Date           Timekeeper         Description                                                                        Hours
08/03/2022     Brooks-Patton,     Respond to email from G. Thompson regarding locating additional GWG                   6.40
               Janice             SEC documents (.10); continue to research of GWG Holdings SEC filings
                                  and compile filings with supporting documents for attorneys review
                                  (3.50); revisions to Special Committee Meeting Minutes, Resolutions -
                                  Index (1.30); email Y. Archiyan regarding the index (.10); review project
                                  reports and prepare key parties list (.70); respond to email from G.
                                  Thompson regarding Kansas law research (.10); research regarding
                                  Technology-Enabled Fiduciary Financial Institutions Act (.50); email Y.
                                  Archiyan regarding Player List (.10)
08/03/2022     Winters, Julia     Emails with Katten regarding discovery requests (.40); review documents               2.70
                                  regarding prepetition transactions (2.30)
08/03/2022     Miranda, Loredana Revise minutes from meeting with the Investigations Committee with C.                  1.80
                                 Giglio and D. Barnowski's comments (.40); review documents sent by
                                 Mayer Brown on August 3, 2022 (1.10); calls with G. Thompson
                                 regarding same (.30)
08/03/2022     Rosella, Michael Prepare multiple information and document requests to add to                            2.90
                                 supplemental request (.40); continue to prepare fact sheets for multiple
                                 prepetition related-party transactions (2.50)
08/03/2022     Roitman, Marc     Revise investigation work plan and outline of key transactions (.30);                  1.90
                                 emails with Katten regarding same (.20); continue to review Board
                                 documents and materials produced in connection with investigation
                                 regarding evaluation of potential claims arising from prepetition
                                 transactions (1.40)
08/03/2022     Reisman, Steven Participate in various internal calls regarding discovery request related to             4.60
                                 prepetition transactions and review documentation related to same (1.60);
                                 review materials regarding in preparation for call with Willkie Farr (1.10);
                                 update regarding SEC investigation and internal discussions regarding
                                 same (.40); review SEC filings (.60); follow up regarding matters related
                                 to pre-bankruptcy transactions and analysis of issues regarding same (.60);
                                 update regarding investigation work streams (.30)
08/03/2022     Archiyan, Yelena   Continue reviewing public documents regarding prepetition transactions                7.20
                                  (4.10); review documents produced by GWG in connection with same
                                  (3.10)
08/04/2022     Pecoraro, Andrew Draft supplemental document requests (1.00); correspond with Katten                     3.70
                                regarding same (.20); review and analyze documents regarding
                                background of Shared Services Agreement (.70); draft summary of Shared
                                Services Agreement and related documents (1.30); draft outline for
                                interview of Wilkie regarding securities complaint and SEC investigation
                                (.50)
08/04/2022     Giglio, Cindi      Continue reviewing investigation materials (1.20)                                     1.20
08/04/2022     Barnowski, Dan     Revise discovery requests (.40)                                                       0.40
08/04/2022     King, Geoff        Call with D. Barnowski regarding discovery issues (.30); call with J.                 1.40
                                  Winters and D. Barnowski regarding investigation (.20); call with C.
                                  Giglio regarding investigation matters (.10); prepare for call with
                                  Bondholder Committee (.30); call with G. Thompson regarding discovery
                                  issues (.10); analyze issues regarding ongoing document production (.40)




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Date           Timekeeper         Description                                                                          Hours
08/04/2022     Thompson, Grace Call with L. Miranda regarding new document productions (.20); related                     4.30
                               correspondence with L. Miranda (.10); review Box productions from
                               Debtors (.30); related correspondence with G. King and D. Barnowski
                               (.20); call with C. Herrera (Mayer Brown) regarding document
                               productions (.20); call with G. King regarding the same (.10); revise
                               Supplemental Document Request (.50); correspondence with Y. Archiyan
                               regarding assigned prepetition transactions (.30); review SEC disclosures
                               regarding same (.50); review email production from Debtors (1.80)
08/04/2022     Brooks-Patton,  Revise Key Parties List (.80); email Y. Archiyan regarding revisions to                    6.30
               Janice          key parties list (.10); respond to email from L. Miranda and G. Thompson
                               regarding review and preparation of additional financial documents
                               received, preparing for attorney review (.10); review and preparation of
                               files regarding consolidated financial statements and consolidated balance
                               sheets for attorney review (3.00); research GWG SEC filings regarding
                               certain Preferred Series C Unit Purchase Agreements (.60); respond to
                               email from L. Miranda and G. Thompson regarding review of additional
                               GWG documents (.10); review of new/additional documents received
                               comparing against Unredacted Special Committee minutes comparing for
                               completeness (1.50); email L. Miranda regarding review results (.10)
08/04/2022     Winters, Julia  Emails with Katten regarding discovery (1.30)                                              1.30
08/04/2022     Miranda, Loredana Review August 3, 2022 document production form Mayer Brown (3.90);                       5.00
                                 emails with J. Brooks-Patton regarding same (.20); emails with G.
                                 Thompson regarding same (.20); update document tracker (.60); email
                                 Katten document tracker (.10)
08/04/2022     Roitman, Marc     Continue to review Board materials and related documents produced in                     1.10
                                 connection with investigation regarding evaluation of potential claims
                                 arising from prepetition transactions (1.10)
08/04/2022     Rosella, Michael Begin to review SEC filings and corporate governance documents                            3.70
                                 regarding newly added transactions to investigation workplan (2.00);
                                 emails with Katten regarding same (.40) review document tracker for
                                 newly received documents from Mayer Brown (.40); prepare additional
                                 supplemental document and information requests (.30); continue to
                                 prepare prepetition related-party transactions fact sheets (.60)
08/04/2022     Reisman, Steven    Follow up regarding document production, SEC investigation, SEC                         4.80
                                  disclosures, document request to Mayer Brown and coordination with
                                  Katten team members related to same throughout the day (1.80); analyze
                                  FOXO transaction (.70); update regarding Ben and transactions involving
                                  Ben (.30); update regarding matters related to Shared Services Agreement
                                  and calculations of amount under same and negotiation of same (.70);
                                  review materials in preparation for call with Bondholder Committee to
                                  discuss investigation and matters of concern (.40); participate in call with
                                  Bondholder Committee counsel regarding investigation matters (.30);
                                  review and comment on draft 2004 motions on behalf of Investigations
                                  Committee (.60)
08/04/2022     Archiyan, Yelena   Continue reviewing documents in connection with transaction                             1.80
                                  investigations and begin working on fact sheets and timelines (1.50);
                                  correspond with group regarding additional requests for information (.30)
08/05/2022     Pecoraro, Andrew Draft second set of discovery requests to Debtors (1.70); email with Katten               4.50
                                regarding edits and additional requests to same (.40); call with E.
                                Werlinger regarding analysis of SEC investigation and upcoming
                                interview with Willkie Farr (.40); review and analyze SEC documentation
                                regarding preparation for interview with Willkie Farr (.70); draft outline
                                regarding same (.50); call with Katten regarding status of investigation
                                (.80)



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Date           Timekeeper         Description                                                                         Hours
08/05/2022     Giglio, Cindi      Review second discovery requests and accompanying letter (.60); review                 5.80
                                  investigation materials (4.40); attend investigation call (.80)
08/05/2022     Barnowski, Dan     Revise proposed discovery requests (.80); emails with Katten team and                  3.20
                                  independent directors concerning new discovery requests (.40);
                                  teleconference with G. King about discovery strategy (.30); teleconference
                                  with C. Kelley concerning discovery issues (.20); analyze issues
                                  concerning document access (.30); status update call with Katten team
                                  (.80); analyze strategy issues concerning Willkie interview (.20); review
                                  email report of Mayer Brown call (.20)
08/05/2022     Werlinger, Eric    Review research from A. Pecoraro regarding strengths and weaknesses of                 2.40
                                  securities matters (1.20); call with A. Pecoraro to discuss securities
                                  investigation (.40); attend investigation update call with Katten (.80)
08/05/2022     King, Geoff        Review multiple versions of revised diligence request (.40); call with T.              0.90
                                  Evans regarding diligence request (.50)
08/05/2022     Thompson, Grace Correspondence with Katten regarding follow-up document requests (.50);                   5.10
                                 call with M. Roitman regarding prepetition transactions and related parties
                                 (.20); call with C. Giglio regarding investigation (.20); provide comments
                                 on fact sheets regarding prepetition transactions (.60); correspondence
                                 with Mayer Brown regarding document production (.20); continue
                                 diligence on assigned prepetition transaction (1.50); attend Katten
                                 investigation team call (.80); revise investigation work plan, reflecting
                                 scope and feedback from Katten and Investigations Committee (.60); draft
                                 materials for weekly Investigations Committee meeting (.50)
08/05/2022     Brooks-Patton,    Continue to review and prepare files regarding consolidated financial                   5.20
               Janice            statements and consolidated balance sheets for attorney review (3.80);
                                 email L. Miranda and G. Thompson regarding same (.10); continue to
                                 research of GWG SEC filings regarding certain Preferred Series C Unit
                                 Purchase Agreements (1.30)
08/05/2022     Winters, Julia    Call with Katten regarding FOXO (.40); review public filings and                        7.10
                                 memoranda regarding historical FOXO transactions (1.90); review second
                                 document requests to the debtors (.90); emails with Katten regarding
                                 document requests (1.10); review public filings and memoranda regarding
                                 Beneficient (1.60); emails with M. Roitman, Y. Archiyan regarding
                                 document review (.40); call with Katten regarding investigation (.80)
08/05/2022     Miranda, Loredana Katten call regarding status of Investigation (.80); review historical                  7.10
                                 transaction documents (2.40); draft background section on Master
                                 Exchange transaction (3.70); draft proposed emails to Investigations
                                 Committee regarding meeting minutes (.20)
08/05/2022     Roitman, Marc     Continue to review Board materials and related documents produced in                    4.10
                                 connection with investigation regarding evaluation of potential claims
                                 arising from prepetition transactions (2.60); review analysis prepared by
                                 investigation team members regarding prepetition transactions (.70) call
                                 with Katten investigation team (.80)
08/05/2022     Rosella, Michael Attend call with Katten regarding FOXO issues (.40); review all SEC                      5.70
                                 filings and corporate documents regarding the Debtors' prepetition
                                 dealings with FOXO (2.50); prepare email summary for Katten (2.50);
                                 emails with Katten regarding supplemental document and information
                                 requests (.30)




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Date           Timekeeper          Description                                                                         Hours
08/05/2022     Reisman, Steven     Coordination of matters in connection with investigation on behalf of                  6.30
                                   Independent Directors including review of SEC investigation materials
                                   and discussions with Katten team members throughout the day regarding
                                   same (2.60); review of Board materials from prior board meetings (.60);
                                   review publicly filed documentation by GWG in connection with ongoing
                                   investigation work (.60); participate in Katten investigation team call and
                                   discuss work plan and work streams to be assigned to various individuals
                                   (.80); follow up regarding matters related to same and discussions with C.
                                   Giglio regarding same (.40); attend to review of materials produced in
                                   connection with ongoing investigation on behalf of Independent Directors
                                   J. Stein and T. Horton and focus on prior investments and transactions
                                   (1.30)
08/05/2022     Archiyan, Yelena    Review second document production list (.20); continue reviewing                       5.60
                                   documents in connection with transaction investigation (4.60); Katten call
                                   regarding Investigation (.80)
08/06/2022     Thompson, Grace Revise presentation to Investigations Committee per comments from C.                       8.10
                                 Giglio (.20); draft presentation outline related to certain prepetition
                                 trasnactions (2.50); review newly produced documents from Debtors
                                 (3.00); review newly produced emails from Debtors (2.40)
08/06/2022     Miranda, Loredana Review document production from Mayer Brown (4.90); emails with G.                       5.20
                                 Thompson regarding same (.20); emails with J. Brooks-Patton regarding
                                 same (.10)
08/06/2022     Archiyan, Yelena    Continue working on fact sheets for various transactions (2.30); continue              3.20
                                   reviewing SEC filings in connection with same (.90)
08/07/2022     Pecoraro, Andrew Review SEC production documents regarding background on the Shared                        2.00
                                 Services Agreement (2.00)
08/07/2022     Thompson, Grace Research background information regarding select prepetition transactions                  5.70
                                 (2.30); draft outline for master case timeline (1.80); correspondence with
                                 M. Roitman regarding the same (.20); discussion with L. Mirdana
                                 regarding document productions (.20); review newly produced documents
                                 from the Debtors (1.00); provide comments on supplemental document
                                 request to the debtors (.20); related correspondence with A. Pecoraro (.10)
08/07/2022     Miranda, Loredana Review document production by Mayer Brown (3.90); update document                        7.00
                                 tracker (.90); email Katten regarding same (.30); continue to draft
                                 overview of Master Exchange Transaction (1.90)
08/07/2022     Rosella, Michael Continue to prepare fact sheets for various prepetition related party                     2.10
                                 transactions in connection with ongoing investigation (2.10)
08/07/2022     Archiyan, Yelena    Continue working on fact sheets for various transactions (6.10)                        6.10
08/08/2022     Pecoraro, Andrew Draft outline regarding interview with Willkie Farr (1.30); review                        3.70
                                documents regarding same (.40); draft summary of Shared Services
                                Agreement regarding factual background (2.00)
08/08/2022     Barnowski, Dan   Communications with C. Kelly concerning produced documents and SEC                        0.40
                                materials (.20); separate communications with G. King, J. Stein and T.
                                Horton about SEC documents (.20)
08/08/2022     King, Geoff         Call with J. Winters regarding investigation matters (.20)                             0.20
08/08/2022     Thompson, Grace Revise presentation to Investigations Committee per comments from J.                       2.60
                               Winters (.10); revise written outline of prepetition transaction (.80); draft
                               slide outlines for additional prepetition transaction (1.70)




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08/08/2022     Brooks-Patton,     Respond to email from L. Miranda and G. Thompson regarding working                      4.00
               Janice             with GWGH Special Committee Minutes and Board Written Consent
                                  documents (.10); review and work with GWGH Special Committee
                                  Minutes and Board Written Consent documents (1.70); email L. Miranda
                                  and G. Thompson regarding same (.10); begin working with Bondholders
                                  Committee Offering documents reviewing for completeness and accuracy
                                  (1.30); revise key parties list (.80)
08/08/2022     Winters, Julia     Revise weekly presentation to Investigations Committee (.40); emails with               3.30
                                  Katten regarding Investigations Committee meeting (.40); review
                                  summary regarding FOXO (.80); call with G. King regarding Shared
                                  Services Agreement (.20); review summary of Shared Services Agreement
                                  (.40); review prepetition documents regarding FOXO (1.10)
08/08/2022     Miranda, Loredana Continue to draft overview of Master Exchange Transaction (2.20); email                  6.60
                                 M. Roitman and J. Winters regarding same (.10); review documents
                                 produced by Mayer Brown (4.20); emails with Katten regarding same (.10)
08/08/2022     Roitman, Marc     Continue to review Board materials and related documents produced in                     6.30
                                 connection with investigation regarding evaluation of potential claims
                                 arising from prepetition transactions (4.10); review analyses prepared by
                                 investigation team members regarding prepetition transactions (2.20)
08/08/2022     Rosella, Michael Prepare portion of fact sheet for certain prepetition related party                       5.10
                                 transactions, including reviewing SEC filings and relevant corporate
                                 governance documents (1.60); continue to prepare fact sheets for
                                 additional prepetition related party transactions, including reviewing
                                 newly received documents from the Company (3.50)
08/08/2022     Reisman, Steven    Attend to review of materials in connection with investigation and                      5.20
                                  consideration of pre-petition transactions and potential claims associated
                                  therewith (2.30); update regarding meeting with Willkie as SEC counsel
                                  and attend to matters regarding same (.70); review materials regarding
                                  master exchange transaction and documentation produced by Mayer
                                  Brown and follow up related to same (2.20)
08/08/2022     Archiyan, Yelena   Continue working on fact sheets for various transactions (5.10)                         5.10
08/09/2022     Pecoraro, Andrew Call with Katten regarding status of investigation (.80); review corporate                2.20
                                governance documents regarding fiduciary duty liability for directors
                                (1.00); draft summary regarding same (.40)
08/09/2022     Giglio, Cindi      Review materials regarding investigation including minutes (5.10); attend               5.90
                                  Katten update call (.80)
08/09/2022     Barnowski, Dan     Katten team call to discuss status and progress of investigation (.50);                 1.00
                                  teleconference with G. King concerning privilege issue (.20);
                                  teleconference with G. King and C. Kelley concerning privilege issue and
                                  investigation issue (.10); communications with C. Kelley concerning
                                  document issues (.20)
08/09/2022     King, Geoff        Katten call regarding status of Investigation (.80); review matters                     3.00
                                  regarding upcoming Investigations Committee meetings (.30); calls with
                                  S. Reisman regarding Investigations Committee matters (.30); review
                                  updated task items list (.10); call with C. Kelley regarding discovery issues
                                  (.20); call with D. Barnowski and C. Kelley regarding discovery issues
                                  (.20); review Paul capital matters (.70); review updated diligence materials
                                  (.40)




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Date           Timekeeper          Description                                                                         Hours
08/09/2022     Thompson, Grace Attend internal investigation team call (.80); correspondence regarding                    3.40
                                 minutes to be produced by Debtors (.20); review status of ongoing
                                 litigation related to prepetition transactions (.20); correspondence with G.
                                 King regarding same (.20); revise index of minutes produced and D.
                                 Barnowski email to Mayer Brown on same (.60); continue drafting master
                                 case timeline (1.40)
08/09/2022     Brooks-Patton,    Respond to email from G. Thompson and Y. Archiyan regarding review                       3.20
               Janice            and indexing of additional GWG Board minutes received (.10); review
                                 new and additional Board minutes, resolutions, Board presentations, and
                                 memorandums received and prepare index of same (1.50); update Special
                                 Committee Minutes Resolutions Un-redacted and Redacted comparison
                                 index (.50); respond to email from Y. Archiyan regarding new and
                                 additional minutes, resolutions produced (.10); continued work with
                                 additional and new minutes, resolutions and other related documents
                                 produced and compile and prepare attorney notebooks (1.00)
08/09/2022     Winters, Julia    Katten call regarding investigation (.80); review summary of Shared                      4.30
                                 Services Agreement (1.70); emails with Katten regarding investigation
                                 (1.80)
08/09/2022     Miranda, Loredana Continue to review documents produced by Mayer Brown (1.70); update                      4.00
                                 document tracker (1.30); emails with Katten regarding same (.20); attend
                                 Katten call regarding status of Investigation (.80)
08/09/2022     Roitman, Marc     Call with Katten regarding investigation matters (.80); continue to review               6.50
                                 Board materials and related documents produced in connection with
                                 investigation regarding evaluation of potential claims arising from
                                 prepetition transactions (3.90); further review of analyses prepared by
                                 investigation team members regarding prepetition transactions (1.80)
08/09/2022     Rosella, Michael Finalize fact sheets for certain prepetition related party transactions (1.50);           2.50
                                 emails with M. Roitman regarding same (.20); attend call with Katten
                                 regarding status of investigation (.80)
08/09/2022     Reisman, Steven     Review materials in preparation for Investigations Committee meeting as                5.90
                                   well as agenda and outline (1.10); confer with G. King regarding matters
                                   related to Investigations Committee activities and agenda (.30); follow up
                                   regarding discovery issues (.20); review matters related to ongoing
                                   discovery (1.10); attend to work on matters related to investigation and
                                   review of documentation and information related to same (3.20)
08/09/2022     Archiyan, Yelena    Continue working on fact sheets (4.80); Katten call regarding Investigation            6.00
                                   (.80); review and respond to G. Thompson’s email regarding certain
                                   related parties, and review notes and summaries regarding same (.30);
                                   correspond with M. Roitman regarding amendment (.10)
08/10/2022     Pecoraro, Andrew Review and edit summary of Shared Services Agreement (.80); review                        4.50
                                financial statements regarding payments from GWG to Beneficient
                                Company Group under the Shared Services Agreement (1.20); review
                                Board minutes regarding GWG consideration of Shared Services
                                Agreement (1.00); legal research regarding causes of action related to
                                Shared Services Agreement (.50); draft supplemental discovery requests to
                                Debtors (1.00)
08/10/2022     Giglio, Cindi       Discuss investigation aspects with M. Roitman (1.00)                                   1.00
08/10/2022     Barnowski, Dan      Communications with C. Kelley concerning document issue (.20); analysis                0.40
                                   of fiduciary duty issues (.20)




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08/10/2022     King, Geoff        Call with D. Barnowski regarding discovery issues (.10); call with T.                   3.30
                                  Evans regarding discovery issues (.30); call with T. Horton (.30); review
                                  materials in connection with investigation (.80); other matters related to
                                  Investigation (1.00); prepare materials regarding discovery issues (.20);
                                  review and revise presentation outline (.30); emails to team regarding
                                  investigation committee presentation (.10); review materials related to
                                  discovery (.20)
08/10/2022     Thompson, Grace Research documents related to certain prepetition transactions (.20);                    16.70
                                 update Investigation Work Plan (.10); continue drafting case timeline
                                 (1.10); draft outline of background presentation to Investigations
                                 Committee (1.50); call with M. Rosella regarding same (.30); draft
                                 background sections of presentation to Investigations Committee (2.60);
                                 correspondence regarding minutes to be produced by Debtors (.20); draft
                                 transaction sections of presentation to Investigations Committee (4.20);
                                 correspondence with L. Miranda regarding presentation inserts and edits
                                 (.30); revise presentation inserts from Katten (3.20); calls with L. Miranda
                                 regarding presentation to Investigations Committee (.50); revise
                                 presentation (2.50)
08/10/2022     Brooks-Patton,    Respond to email from Y. Archiyan and G. Thompson regarding missing                      2.60
               Janice            unredacted minutes (.10); review Redacted and Unredacted minute folders
                                 and report status to G. Thompson, Y. Archiyan and L. Miranda (.50);
                                 continued review and work with new and additional GWGH Special
                                 Committee Minutes and Board Written Consent documents reviewing for
                                 accuracy and completeness (1.60); update Minutes Redacted vs
                                 Unredacted index (.40)
08/10/2022     Winters, Julia    Revise memo regarding Shared Services Agreement (1.60); emails with                      2.80
                                 Katten regarding investigation (1.20)
08/10/2022     Miranda, Loredana Update master timeline (.30); emails with G. Thompson regarding same                     8.00
                                 (.10); update minutes tracker (.30); revise minutes of the Special
                                 Committee meeting with C. Giglio's comments (.30); emails to C. Giglio
                                 regarding same (.10); begin to draft presentation to Investigations
                                 Committee (3.90); call with A. Pecoraro regarding historical minutes (.10);
                                 revise presentation on Master Exchange Transaction (1.90); email J.
                                 Winters and M. Roitman regarding same (.10); email Mayer Brown
                                 regarding document production (.10); emails with G. Thompson regarding
                                 Investigations Committee presentation (.30); call with G. Thompson
                                 regarding same (.50)
08/10/2022     Rosella, Michael Prepare sections of presentation for Investigations Committee on certain                  2.00
                                 prepetition related party transactions (1.00); emails with Katten team
                                 regarding presentation issues (.30); continue to prepare fact sheet for
                                 certain prepetition related party transaction, including reviewing newly
                                 received documents from the Company (.70)
08/10/2022     Roitman, Marc     Call with C. Giglio regarding investigation matters (1.00); continue to                  3.50
                                 review Board materials and related documents produced in connection
                                 with investigation regarding evaluation of potential claims arising from
                                 prepetition transactions (2.50)
08/10/2022     Archiyan, Yelena   Confer with J. Brooks-Patton regarding missing committee minutes (.20);                 2.00
                                  update fact sheet for prior transaction and prepare graphic for presentation
                                  (1.80)
08/11/2022     Pecoraro, Andrew Draft letters to Beneficient Company Group, LP, MHT Financial, LLC,                       1.90
                                and FOXO Technologies Inc. regarding Bondholder Committee's 2004
                                requests (.70); review Debtor corporate governance documents regarding
                                waiver or exculpation clauses (.30); legal research regarding same (.30);
                                draft memorandum regarding excuplation clause in GWG certificate of
                                incorporation (.60)


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08/11/2022     Giglio, Cindi      Comment on investigation presentation (2.00); discuss same with G. King                 3.10
                                  (.10); attend call regarding interviews (1.00)
08/11/2022     Barnowski, Dan     Katten team meeting to prepare for debtor interviews (1.00); follow-up                  2.50
                                  teleconference with G. King concerning interviews (.10); communications
                                  with Bondholder Committee about discovery (.10); communications with
                                  G. King and C. Giglio concerning discovery efforts (.40); review and
                                  revise presentation to investigation committee (.90)
08/11/2022     King, Geoff        Calls with C. Giglio regarding follow-up from Akin call (.40); call with D.             5.90
                                  Barnowski regarding follow up from Akin call (.20); call with S. Reisman
                                  regarding follow up from Akin call (.10); begin review of Investigations
                                  Committee presentation materials (.30); call with C. Kelley regarding
                                  discovery issues (.20); call with D. Barnowski regarding investigation
                                  issues (.10); Pre call (.30); prepare for upcoming Akin call (.40); Akin call
                                  (.80); call with Katten team regarding interview planning (1.00); prepare
                                  for upcoming Investigations Committee meeting (.40); emails with Katten
                                  team regarding discovery (.20); review Investigations Committee
                                  presentation (1.40); call with C. Giglio regarding workstreams (.10)
08/11/2022     Thompson, Grace Call with A. Pecoraro regarding financial statements (.20); review GWG                     6.80
                                 financial statements per same (.20); call with Katten team regarding
                                 interview planning (1.00); call with investigation team associates
                                 regarding interview outlines (.30); revise investigation background
                                 presentation per comments from G. King, C. Giglio, and J. Winters (1.50);
                                 further revise presentation per comments from Katten team (2.10); revise
                                 investigation work plan reflecting planned interviews (.30); further revise
                                 investigation background presentation per comments from G. King (1.00);
                                 related correspondence with G. King and M. Roitman (.20)
08/11/2022     Brooks-Patton,    Respond to email from L. Miranda and G. Thompson regarding working                       3.50
               Janice            with additional and new GWGH Special Committee Minutes and Board
                                 Written Consent documents (.10); review and work with GWGH Special
                                 Committee Minutes, Board Written Consent, Resolutions and
                                 memorandum (1.80); email L. Miranda and G. Thompson regarding same
                                 (.10); review additional un-redacted Minutes and Resolutions and update
                                 Special Committee Minutes and Resolutions Index (.90); email Y.
                                 Archiyan regarding same (.10); continued review and work with
                                 Bondholder Committee Offering documents reviewing for completeness
                                 (.50)
08/11/2022     Winters, Julia    Call with Katten regarding interviews (1.00); revise presentation on pre-                8.00
                                 petition transactions (2.90); emails with Katten regarding presentation
                                 (1.80); emails with Katten regarding investigation (1.60); emails with
                                 Katten, Mayer Brown regarding discovery (.70)
08/11/2022     Miranda, Loredana Continue to draft presentation to Investigations Committee (4.20); draft               11.90
                                 timeline of transactions (1.20); review document production by Mayer
                                 Brown (3.30); call with Katten regarding Investigations update (.30);
                                 update document tracker (1.10); draft Investigations Committee agenda
                                 (.30); emails with G. King regarding same (.20); emails with G. Thompson
                                 regarding presentation to Investigations Committee (.40); revise
                                 presentation to Investigations Committe with M. Roitman's comments
                                 (.90)
08/11/2022     Rosella, Michael Continue to prepare sections of presentation for Investigations Committee                 2.80
                                 regarding various prepetition transactions (1.20); finalize fact sheet for
                                 certain prepetition transactions (.60); attend call with Katten regarding
                                 investigation interviews (.30); begin to prepare questions for upcoming
                                 investigation interviews (.70)




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Date           Timekeeper         Description                                                                            Hours
08/11/2022     Roitman, Marc      Revise presentation regarding preliminary investigation analysis of                       7.30
                                  prepetition transactions (4.70); review Board materials and related
                                  documents produced in connection with investigation in connection with
                                  same (1.60); Katten call on Investigation matters and prospective
                                  interviews (1.00)
08/11/2022     Reisman, Steven    Review presentation regarding pre-petition transactions and underlying                    8.10
                                  documentation in connection with investigation in preparation for meeting
                                  with Investigations Committee (4.60); continue to revise presentation
                                  (.90); correspondence with Katten team members regarding same (.70);
                                  Katten call regarding investigation matters and investigation interviews
                                  (1.00); discussions with G. King regarding call with Akin Gump (.10);
                                  participate in call with Akin regarding status of matters focused on by
                                  Investigations Committee (.80)
08/11/2022     Archiyan, Yelena   Revise sections of PowerPoint presentation for Committee meeting (1.80);                  2.20
                                  call with associate team regarding upcoming interviews (.30); review draft
                                  agenda for Friday’s Investigations Committee meeting (.10)
08/12/2022     Pecoraro, Andrew Draft third set of discovery requests to debtor (1.50); email with Katten                   8.40
                                regarding same (.40); draft outline of interview questions regarding Shared
                                Services Agreement (2.70); draft outline of interview questions regarding
                                SEC investigation and securities class action (1.00); call with E. Werlinger
                                and D. Barnowski regarding same (.40); review Special Committee
                                minutes regarding approval of Shared Services Agreement (.40); review
                                and analyze documents regarding former Special Committee issues (.50);
                                legal research regarding effect of Renunciation on fiduciary duty claims
                                (1.20); draft email to Debtors regarding outstanding discovery requests
                                (.30)
08/12/2022     Giglio, Cindi      Call with M. Roitman regarding investigation presentation (.30); email                    0.60
                                  with G. King regarding same (.10); call regarding minutes format (.20)
08/12/2022     Barnowski, Dan     Teleconference with E. Werlinger and A. Pecoraro concerning preparation                   3.80
                                  of SEC related interview questions (.30); begin preparation of interview
                                  outline concerning SEC issues (.50); Katten team call to discuss status of
                                  investigation (1.00); Katten call to prep for meeting of Investigations
                                  Committee (.50); attend meeting of Investigations Committee (1.10);
                                  analyze final presentation to Investigations Committee (.40)
08/12/2022     Werlinger, Eric    Phone call with A. Pecoraro and D. Barnowski to discuss outline for                       1.30
                                  securities related interviews (.30); participate in investigation update call
                                  with Katten (1.00)
08/12/2022     King, Geoff        Final review of Investigations Committee materials (.70); prepare for                     4.70
                                  Investigations Committee meeting (.60); call with D. Barnowski regarding
                                  discovery matters (.20); Partial attendance of Katten team call regarding
                                  investigation (.80); address issues in connection with outstanding diligence
                                  requests (.50); attend Katten team pre-call (.50); Investigations Committee
                                  call (1.10); call with T. Evans regarding diligence (.30)
08/12/2022     Thompson, Grace Attend call with the Investigations Committee (1.10); attend Katten pre-                     4.00
                               call for same (.50); attend internal investigation team call (1.00); attend
                               call with L. Miranda regarding investigation workstreams (.20); provide
                               comments on third set of discovery (.20); related correspondence with A.
                               Pecoraro (.20); review document tracker (.30); related correspondence
                               with D. Barnowski and Katten team regarding outstanding discovery (.20);
                               call with L. Miranda regarding the same (.10); correspondence regarding
                               SEC documents and review (.20)




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08/12/2022     Brooks-Patton,     Respond to email from L. Miranda and G. Thompson regarding cross-                      3.50
               Janice             check of new and additional minutes received against redacted and un-
                                  redacted minutes (.10); review and work with new and additional minutes
                                  received, cross-check minutes against redacted and un-redacted minutes
                                  and update files with missing minutes and prepare index regarding same
                                  (2.80); prepare detailed email to L. Miranda and G. Thompson regarding
                                  the results (.20); update Minutes Resolutions Redacted and Un-redacted
                                  index (.40)
08/12/2022     Winters, Julia     Katten call regarding Investigations Committee meeting (.10); review                   1.90
                                  updated summary of Shared Services Agreement (1.30); Katten pre-call
                                  (.50)
08/12/2022     Miranda, Loredana Katten call regarding investigation (.10); email J. Brooks -Patton regarding            8.40
                                 Special Committee minutes (.10); revise Investigations Committee agenda
                                 with S. Reisman's comments (.30); email Katten regarding same (.10);
                                 review minutes received by D. Chavenson (3.10); attend Katten pre-call
                                 for Investigations Committee meeting (.50); attend Investigations
                                 Committee meeting (1.10); attend Katten call regarding status of
                                 Investigation (1.00); update index of minutes (.80); emails with Katten
                                 regarding document tracker (.10); emails with A. Pecoraro regarding
                                 production of SEC documents (.20); call with G. Thompson regarding
                                 same (.10); update documents tracker (.30); draft chart of outstanding
                                 documents for Mayer Brown (.40); call with A. Pecoraro regarding same
                                 (.10); email Katten call times (.10)
08/12/2022     Roitman, Marc     Further revise presentation to Investigations Committee regarding                       6.90
                                 preliminary analysis of prepetition transactions (2.10); call with C. Giglio
                                 regarding the same (.30); call with the Investigations Committee (1.10);
                                 Katten pre-call in preparation for same (.50); prepare to give presentation
                                 to Investigations Committee (1.20); review Board materials and related
                                 documents produced in connection with investigation in connection with
                                 same (.70); follow up Katten call regarding investigation matters (1.00)
08/12/2022     Rosella, Michael Attend Katten call with subset of team regarding investigation issues (.10);             2.60
                                 attend Katten investigation call (1.00); prepare additional document and
                                 information requests for Mayer Brown related to the investigation (.40);
                                 prepare updates to master case timeline (.40); emails with Katten
                                 regarding same (.20); continue to prepare interview questions related to
                                 certain prepetition related party transactions (.50)
08/12/2022     Reisman, Steven Review various document request and outline of ongoing investigation                      6.60
                                 items including past corporate transactions (1.80); participate in
                                 Investigations Committee team call with Katten as well as T. Horton and J.
                                 Stein (1.10); update regarding document production and materials received
                                 and hot docs (.80); participate in Katten pre-call regarding Investigations
                                 Committee activities (.50); review and revise presentation to
                                 Investigations Committee regarding ongoing work and findings to date
                                 (2.40)
08/12/2022     Archiyan, Yelena   Review draft Investigations Committee materials presentation (.30);                    2.50
                                  review draft of next set of doc requests and add additional document
                                  requests (1.00); Katten call regarding Investigation (1.00); update master
                                  timeline (.20)
08/13/2022     Thompson, Grace Review recently produced Board materials (.40); correspondence with L.                    0.60
                               Miranda and G. King regarding the same (.20)




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Date           Timekeeper          Description                                                                         Hours
08/13/2022     Miranda, Loredana Draft minutes for the Investigations Committee meeting (.70); review                     3.20
                                 minutes from Special Committee and attachments (.60); finish updating
                                 index of minutes (.40); email Katten regarding same (.20); email Katten
                                 Investigations Committee minutes (.10); review documents produced by
                                 Mayer Brown regarding SEC production (1.10); email A. Pecoraro
                                 regarding same (.10)
08/13/2022     Archiyan, Yelena Review stipulation by GWG and SEC regarding extension of deadline                         2.90
                                (.10); work on interview questions related to prepetition transactions (2.80)
08/14/2022     Pecoraro, Andrew Draft interview questions and compile relevant documents regarding                        4.60
                                Shared Services Agreement (1.70); draft interview questions and compile
                                relevant documents regarding SEC investigation (.90); review and analyze
                                additional SEC materials, including transcripts of witness interviews (2.00)
08/14/2022     Barnowski, Dan   Analysis of document tracker identifying requests for information that                    2.70
                                have not yet been answered and identify plan for following up on same
                                (.30); revise letters to FOXO, Ben and MHT concerning 2004 requests
                                (.40); revise interview questions concerning SEC matters (1.50); analysis
                                of draft timeline of key events (.30) ~ Analyze presentation for
                                Investigations Committee meeting (.20)
08/14/2022     King, Geoff         Review Investigations Committee agenda (.10)                                           0.10
08/14/2022     Thompson, Grace Draft weekly presentation for Investigations Committee (.30); draft                        4.20
                                 questions for upcoming interviews regarding prepetition transactions
                                 (1.90); review recently produced Board materials (1.00); incorporate key
                                 information into master timeline (.70); related correspondence with Katten
                                 (.10); revise presentation for Investigations Committee per comments from
                                 Katten team (.20)
08/14/2022     Winters, Julia    Revise presentation to Investigations Committee (.60); emails with Katten                5.30
                                 regarding presentation (.30); emails with Katten regarding investigation
                                 (2.20); review outlines of prepetition transactions (1.80); review timeline
                                 of prepetition transactions (.40)
08/14/2022     Miranda, Loredana Prepare interview questions related to prior transactions for upcoming                   3.60
                                 interviews (1.80); emails with M. Roitman and J. Winters regarding same
                                 (.10); update document tracker (1.40); email Katten regarding same (.10);
                                 draft agenda for Investigations Committee meeting (.10); emails with G.
                                 King regarding same (.10); email Mayer Brown regarding production of
                                 new documents (.10)
08/14/2022     Rosella, Michael Prepare comprehensive set of questions for investigation interviews related               2.50
                                 to all prepetition related party transactions tasked with investigating (2.50)
08/14/2022     Roitman, Marc     Further review of Board materials and related documents produced in                      1.10
                                 connection with investigation (1.10)
08/14/2022     Reisman, Steven     Review materials regarding SEC investigation as well as investigation                  2.10
                                   interview notes and other materials in connection with ongoing work and
                                   representation of Investigations Committee of GWG (2.10)
08/14/2022     Archiyan, Yelena    Continue working on questions for interviews (.80)                                     0.80
08/15/2022     Pecoraro, Andrew Review Special Committee minutes and related documents regarding                          4.70
                                corporate opportunity renunciation (.60); legal research regarding waiver
                                of corporate opportunities (1.30); draft summary regarding same (.50);
                                draft interview questions regarding corporate opportunity renunciation
                                (.60); legal research regarding duty of loyalty claims (1.70)
08/15/2022     Giglio, Cindi       Review and comment on Investigations Committee deck (.30)                              0.30




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08/15/2022     Barnowski, Dan      Katten team call to prep for meeting with FTI (.30); teleconference with              4.40
                                   FTI concerning work streams (.50); Katten team call to follow-up on
                                   results of FTI call (.30); prepare short memo to G. King concerning
                                   privilege issues (.30); research on fiduciary duty issues (.40); analyze
                                   Board minutes concerning certain transactions (.60); revise and finalize
                                   discovery requests (.40); email to Investigations Committee concerning
                                   new discovery requests (.20); revise interview questions for this week’s
                                   interviews (1.20); email to Katten team concerning interview strategies
                                   (.20)
08/15/2022     Werlinger, Eric     Revise interview outline regarding SEC interviews (1.50)                              1.50
08/15/2022     King, Geoff       Call with D. Barnowski regarding diligence issues (.30); review                         3.00
                                 investigation diligence materials (.60); prepare for Investigations
                                 Committee call (.30); attend Katten pre-call prior to Investigations
                                 Committee call (.50); call with Investigations committee (.40); prepare
                                 materials in connection with financial advisor issues (.20); analyze issues
                                 in connection with financial advisor (.70)
08/15/2022     Thompson, Grace Review recently produced Board materials to answer follow-up questions                    3.80
                                 from D. Barnowski (1.10); related correspondence (.50); revise
                                 Investigations Committee presentation (.20); research proposed exhibits
                                 for upcoming interviews (.70); attend call with FTI regarding investigation
                                 (.50); pre-call to same with Katten (.30); attend pre-call for Investigations
                                 Committee call (.50)
08/15/2022     Brooks-Patton,    Continue reviewing and indexing L Bond Offering documents reviewing                     4.50
               Janice            for completeness and accuracy (3.70); email G. Thompson, L. Miranda
                                 and Y. Archiyan regarding review of Bondholder Committee documents
                                 (.10); update minutes and resolution index (.70)
08/15/2022     Winters, Julia    Emails with Katten regarding investigation (1.80); Katten pre-call                      3.50
                                 regarding call with FTI (.30); call with FTI (.50); Katten pre-call for call
                                 with the Investigations Committee (.50); weekly call with Investigations
                                 Committee (.40)
08/15/2022     Miranda, Loredana Review historical Special Committee minutes (.40); email G. Thompson                    5.00
                                 regarding same (.10); revise interview questions and exhibit list for Master
                                 Exchange Transaction (1.30); emails with Mayer Brown regarding
                                 document production (.20); attend Katten pre-call for call with FTI (.30);
                                 review documents produced by Mayer Brown (1.20); attend Katten pre-
                                 call for call with the Investigations Committee (.50); attend call with the
                                 Investigations Committee (.40); draft minutes from Investigations
                                 Committee call (.60); email R. Brady regarding document production (.10)
08/15/2022     Roitman, Marc     Continue review of former Special Committee and Board materials and                     8.50
                                 related documents produced in connection with investigation (2.30); call
                                 with Debtors' advisors regarding potential financial analyses for
                                 investigation (.50); Katten pre-call in preparation for same (.30); call with
                                 the Investigations Committee (.40); Katten pre-call in connection with
                                 same (.50); prepare for investigation interviews (1.20); draft topic outlines
                                 for upcoming investigation interviews (3.30)
08/15/2022     Rosella, Michael Continue to prepare investigation interview questions regarding all                      1.90
                                 prepetition related party transactions being investigated (1.10); emails with
                                 Katten team regarding upcoming interviews (.30); attend Katten pre-call
                                 for Investigations Committee meeting (.50)




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08/15/2022     Reisman, Steven    Participate in pre-call with Katten team for call with FTI regarding                    3.60
                                  potential for additional work and analysis related to solvency and other
                                  issues (.30); participate in call with Katten team and FTI team regarding
                                  need for certain analysis and questions regarding work done by FTI (.50);
                                  follow up discussions with Katten related to use of FTI and potential need
                                  for other financial advisor for Investigations Committee (.30); participate
                                  in Katten pre-call in preparation for call with Investigations Committee
                                  (.50); review materials regarding ongoing work for Investigations
                                  Committee and counsel in connection with investigation of prior
                                  transactions by GWG Debtors' (1.60); participate in call with T. Horton
                                  and J. Stein regarding ongoing work of Investigations Committee and
                                  follow up (.40)
08/15/2022     Archiyan, Yelena Review draft agenda for Investigations Committee meeting (.10); review                    4.10
                                materials for meeting with Investigations Committee (.20); review
                                document tracker (.10); revise prior transaction outline (3.40); review
                                emails regarding production of documents (.10); review interview outline
                                regarding SEC investigation (.20)
08/16/2022     Pecoraro, Andrew Legal research regarding scope of the duty of loyalty and statute of                      5.40
                                limitations for breach of fiduciary duty claims (1.50); draft summary
                                regarding same (1.00); call with Katten regarding status of Investigation
                                (.80); draft letter to counsel to prior special committees regarding
                                interviews (.60); assist with preparation of interview outline regarding C.
                                Roscopf (1.50)
08/16/2022     Barnowski, Dan   Prepare for T. Evans interview (.70); prepare for C. Roscopf interview                    2.60
                                (.50); Katten team call concerning status of investigation (.80); emails to
                                interviewees concerning details of interviews (.20); teleconference with C.
                                Kelley concerning interviews (.40)
08/16/2022     King, Geoff        Review interview outline (.30); emails with Katten team regarding                       2.20
                                  upcoming interviews (.40); review materials in connection with upcoming
                                  interviews (.40); Katten call regarding Status of Investigation (.80); review
                                  materials related to discovery (.20); call with D. Barnowski (.10)
08/16/2022     Thompson, Grace Correspondence with Katten regarding interviews (.50); review interview                    4.40
                                 outlines from M. Roitman (.30); draft interview topic lists (.30); draft
                                 summary of key issues regarding PCA litigation for S. Reisman (.60);
                                 attend investigation status call with Katten team (.80); further
                                 correspondence with Katten regarding upcoming interviews (.50); compile
                                 exhibits for interviews (.60); prepare materials for interviews for J.
                                 Winters (.80)
08/16/2022     Winters, Julia    Emails with Katten regarding interviews (2.20); prepare for C. Roscopf                   9.60
                                 interview (3.80); review outlines for T. Evans, M. Holland, D. Chaveson
                                 interviews (2.80); call with Katten regarding investigation (.80)
08/16/2022     Miranda, Loredana Review document production by Mayer Brown from August 14, 2022 and                       5.40
                                 August 16, 2022 (3.10); update document tracker (.80); email Katten
                                 regarding same (.10); attend Katten call regarding status of investigation
                                 (.80); draft email to Mayer Brown regarding Special Committee minutes
                                 (.30); emails with Mayer Brown regarding document production (.20);
                                 emails with Katten regarding same (.10)
08/16/2022     Roitman, Marc     Continue preparing for investigation interviews, including thorough                      7.80
                                 review of materials produced in connection with investigation relevant to
                                 interviewees (2.30); draft detailed outlines for upcoming investigation
                                 interviews (4.60); investigation team call (.80); follow up call with G.
                                 Thompson regarding investigation (.10)




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08/16/2022     Rosella, Michael   Review investigation interview outlines in advance of this week's                         2.30
                                  interviews (.60); review newly received documents from the Company
                                  related to specific prepetition related party transactions and update
                                  relevant transaction fact sheets (.90); attend Katten call regarding status of
                                  investigation (.80)
08/16/2022     Brady, Rick        Convert PDFs (2.80); create load files (.30); OCR and load data into                      6.90
                                  Concordance database (.70); download additional data from FTP site,
                                  unzip and copy data to network; modify load files (1.30); load data, attach
                                  images and native files (.60); add OCR and index database (1.20)
08/16/2022     Reisman, Steven    Coordination of matters regarding interviews, document production, work                   5.70
                                  product and other materials in connection with ongoing work for
                                  Investigations Committee (1.70); prepare for T. Evans interview and
                                  review materials in preparation for same (1.10); various emails an
                                  coordination regarding upcoming interviews and discussions with T.
                                  Horton and J. Stein regarding matters related to same (.70); update
                                  regarding status of investigation and discussions with Katten team
                                  members regarding ongoing work streams, work product, upcoming
                                  investigation interviews, timeline and areas of focus (2.20)
08/16/2022     Archiyan, Yelena   Review interview outline for T. Evans and M. Holland (.20); GWG call                      1.10
                                  regarding update on investigation (.40); review revised outline for T.
                                  Evans and M. Holland interviews, as well as draft outline for D.
                                  Chavenson interview (.30); review topic lists for T. Evans, M. Holland and
                                  D. Chavenson (.10); review summary of Paul Capital Transaction (.10)
08/17/2022     Pecoraro, Andrew Call with Katten regarding preparation for C. Roscopf's interview (.50);                    5.20
                                attend and take notes on C. Roscopf's interview (2.40); draft summary of
                                C. Roscopf's interview (1.20); review and analyze decision regarding
                                Ben's motion to dismiss PCA's suit in Delaware Chancery Court (.70);
                                draft analysis regarding same (.40)
08/17/2022     Barnowski, Dan   Interview C. Roscopf (2.40); Katten team call to prep for T. Evans                          8.40
                                interview (.50); interview T. Evans (3.80); follow-up teleconference with
                                J. Winters and M. Roitman concerning results of T. Evans interview (.40);
                                analyze Paul Capital decision (.40); teleconference with T. Durst of
                                O’Melveny (.20); teleconference with G. King about insurance issues
                                (.20); analyze memo detailing results of meeting with Mayer Brown (.20);
                                review memo describing results of T. Evans interview (.30)
08/17/2022     Werlinger, Eric  Review documents regarding investigation of potential securities related                    0.90
                                claims (.90)
08/17/2022     King, Geoff        Attend Katten pre-call for T. Evans interview (.50) ~ Review materials in                 0.90
                                  connection with potential financial advisor (.40)
08/17/2022     Thompson, Grace Attend pre-call with C. Roscopf interview (.50); attend pre-call for T.                      8.80
                                 Evans interview (.50); attend interview with T. Evans (3.80); attend
                                 follow-up call with Katten regarding interview (.40); draft key takeaways
                                 and notes from T. Evans interview (3.60)
08/17/2022     Winters, Julia    Prepare for C. Roscopf interview (2.60); Katten pre-call (.50); Interview                11.30
                                 C. Roscopf (2.40); prepare for T. Evans interview (1.10); Katten pre-call
                                 for T. Evans (.50); Interview T. Evans (3.80); Katten follow-up call (.40)
08/17/2022     Miranda, Loredana Review August 16, 2022 document production from Mayer Brown (.30);                         2.00
                                 update document tracker (.20); emails with R. Brady regarding document
                                 production (.20); emails with G. Thompson and A. Pecoraro regarding
                                 same (.20); emails with Mayer Brown regarding historical Special
                                 Committee minutes (.20); attend Katten pre-call for C. Roscopf Interview
                                 (.50); research relationship of financial advisors (1.30); emails with G.
                                 King regarding same (.20)



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Date           Timekeeper         Description                                                                          Hours
08/17/2022     Rosella, Michael   Review notes from two investigation interviews (.50); review certain                    1.20
                                  newly-received documents from the Company related to specific related-
                                  party transactions (.40); review internal diligence document tracker for
                                  specific information (.30)
08/17/2022     Roitman, Marc      Investigation interview of C. Roscopf (2.40); preparations in connection              12.10
                                  with same, including further thorough review of materials produced in
                                  connection with investigation relevant to interview (.50); Katten pre-call in
                                  preparation for same (.50); investigation interview of T. Evans (3.80);
                                  preparations in connection with same, including further thorough review
                                  of materials produced in connection with investigation relevant to
                                  interview (1.10); Katten pre-call in preparation for same (.50); call with
                                  Katten team regarding investigation interviews (.40); preparation for
                                  upcoming interviews, including further thorough review of materials
                                  produced in connection with investigation relevant to interview (2.90)
08/17/2022     Brady, Rick        Convert additional PDFs (1.20); create load files (.30); load data into                 3.30
                                  Concordance database; attach images, add OCR and index database (.50);
                                  download production volume 2 from FTP site, unzip and copy data to
                                  network (.30); modify load files, load data into Concordance database
                                  (.30); attach images and native files, add OCR and index database (.70)
08/17/2022     Reisman, Steven    Review materials in connection with Ben's motion to dismiss PCA lawsuit                 2.80
                                  in Delaware chancellor court and update regarding matters related to same
                                  (.90); discussions with Katten team members throughout the day regarding
                                  ongoing work streams in connection with investigation and coordination
                                  and streamlining of same (.80); review materials regarding Paul Capital
                                  litigation (1.10)
08/17/2022     Archiyan, Yelena   Review Paul Capital MTD Memorandum Opinion (.70); review interview                      0.80
                                  notes (T. Evans) (.10)
08/18/2022     Pecoraro, Andrew Attend and take notes regarding interview of M. Holland (2.50); draft                     3.10
                                summary and key takeaways regarding same (.60)
08/18/2022     Barnowski, Dan   Interview M. Holland (2.50); interview D. Chavenson (2.50); prep for                      6.60
                                Holland and Chavenson interviews (.50); teleconference with J. Winters
                                and M. Roitman to discuss results of today’s interviews (.30); prepare
                                memo on next steps in investigation and open issues (.40); analyze reports
                                of D. Chavenson and M. Holland interviews (.40)
08/18/2022     King, Geoff        Call with J. Winters regarding investigation (.40); call with Akin/Piper/               2.60
                                  Alix regarding investigation update (.40); emails with Katten team
                                  regarding upcoming investigation tasks (.30); review materials in
                                  connection with Paul Capital action (.40); revise draft letters to potential
                                  interviewees (.40); analyze upcoming workstreams for investigation (.40);
                                  call with T. Evans (.30)
08/18/2022     Thompson, Grace Continue drafting interview memo on T. Evans (2.80); attend interview of                   8.80
                               M. Holland (partial) (.40); attend interview of D. Chavenson (2.50); call
                               with A. Pecoraro regarding interviews (.30); review new production from
                               Debtors (1.30); related correspondence with L. Miranda (.20); begin
                               drafting interview memo from D. Chavenson interview (1.30)
08/18/2022     Winters, Julia  Emails with Katten regarding document review (.30); prepare for M.                         7.10
                               Holland, D. Chaveson interviews (1.20); interview M. Holland (2.50);
                               interview with D. Chaveson (2.50); emails with Katten regarding
                               interviews (.60)




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Date           Timekeeper         Description                                                                       Hours
08/18/2022     Miranda, Loredana Revise Investigations Committee minutes with M. Roitman comments                      1.70
                                 (.30); emails with Katten team regarding searchable minutes (.20); review
                                 January 18, 2022 document production from Mayer Brown (.70); update
                                 document tracker (.10); correspondence with G. Thompson regarding
                                 same (.20); emails with J. Brooks-Patton regarding document production
                                 (.20)
08/18/2022     Rosella, Michael Review detailed interview memoranda from investigation interviews                      2.00
                                 (1.10); prepare additional document and information requests (.30); review
                                 SEC filings for specific information arising from interviews (.40); review
                                 notes from day's calls and interviews (.20)
08/18/2022     Roitman, Marc     Investigation interview of Murray Holland (2.50); review materials in                 6.70
                                 preparation for same, including further thorough review of materials
                                 produced in connection with investigation relevant to interview (.50);
                                 Investigation interview of David Chavenson (2.50); review materials in
                                 preparation for same, including further thorough review of materials
                                 produced in connection with investigation relevant to interview (.80); call
                                 with Katten following up on interviews (.40)
08/18/2022     Reisman, Steven    Coordinate on matters related to ongoing interviews of M. Holland, T.                7.80
                                  Evans and others related to operations of GWG and review of background
                                  materials (5.70); continue to focus on work steams in connection with
                                  investigation, maximizing value, potential challengeable transactions and
                                  need for documentation and information related to same (2.10)
08/18/2022     Archiyan, Yelena   Review newly produced diligence for documents relevant to prepetition                1.20
                                  transactions (.30); review D. Barnowski summary of interviews (.10);
                                  confer with G. Thompson, M. Rosella and L. Miranda regarding locating
                                  critical documents (.20); review summary of M. Holland interview (.10);
                                  review summary of D. Chavenson interview (.10); review notes from T.
                                  Evans interview (.40)
08/19/2022     Pecoraro, Andrew Call with Katten regarding status of investigation (.30); draft updated                2.40
                                document requests (.30); draft summary of interview with M. Holland
                                (1.40); draft email to Debtors regarding outstanding document requests
                                (.30)
08/19/2022     Barnowski, Dan   Katten team call to discuss status of investigation work and next steps                0.90
                                (.30); analyze potential interviews (.30); analyze options for reviewing
                                SEC documents (.30)
08/19/2022     Werlinger, Eric  Phone call with Katten team regarding investigation update (.30); review               3.60
                                and summarize documents regarding investigation of securities related
                                claims (3.30)
08/19/2022     King, Geoff        Review materials on connection with investigation (.30); analyze                     1.20
                                  upcoming tasks in connection with investigation (.30); review prior
                                  correspondence in connection with discovery and production issues (.60)
08/19/2022     Thompson, Grace Continue drafting D. Chavenson interview memo (2.70); continue                          6.80
                               reviewing production of Board materials (2.30); attend investigation status
                               call (.30); draft weekly presentation for Investigations Committee meeting
                               (.40); review additional documents (.80); send update email to Katten
                               regarding status of documents (.30)
08/19/2022     Brooks-Patton,  Respond to email from L. Miranda, and G. Thompson regarding                             5.70
               Janice          production file review project (.10); review and work with newly produced
                               documents (2.9); update production index adding new production
                               documents (2.6); email G. Thompson and L. Miranda regarding same (.10)
08/19/2022     Winters, Julia  Review GWG Board minutes and materials (1.90); emails with Katten,                      4.30
                               MB regarding discovery (1.80); emails with Katten regarding interviews
                               (.30); Katten call regarding investigation (.30)



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08/19/2022     Roitman, Marc      Review emails regarding privilege log and investigation materials                      0.40
                                  produced (.30); emails with Katten regarding same (.10)
08/19/2022     Rosella, Michael   Attend Katten investigation status call (.30); review notes from interviews            0.80
                                  from past week (.50)
08/19/2022     Reisman, Steven    Continue to work on matters regarding investigation including discussions              5.80
                                  with Katten team members regarding Investigations Committee
                                  presentation and continued follow up and review of materials in
                                  connection with ongoing work for Investigations Committee (4.70);
                                  review GWG Board minutes and background materials in connection with
                                  work for Investigations Committee (1.10)
08/19/2022     Archiyan, Yelena   Katten call regarding Investigation (.30); correspond with G. Thompson                 1.60
                                  regarding index of Special Committee minutes, locate and review same
                                  (.20); review notes of D. Chavenson interview (.20); review index of
                                  documents, including list of new meeting minutes received (.10); review
                                  Bondholders Committee’s discovery requests (.30) ~ Review summary of
                                  interview with M. Holland and related notes (.30); review agenda and
                                  materials for Investigations Committee meeting (.10); review summary of
                                  call with Mayer Brown regarding FOXO (.10)
08/20/2022     Pecoraro, Andrew Review and analyze full Board minutes regarding SEC investigation,                       2.00
                                public disclosures and Shared Services Agreement (2.00)
08/20/2022     Thompson, Grace Revise presentation to Investigations Committee per comments from J.                      0.30
                               Winters (.30)
08/20/2022     Winters, Julia  Revise presentation to Investigations Committee (.60); emails with Katten,                1.40
                               Mayer Brown regarding discovery (.60); emails with Katten regarding
                               presentations to Investigations Committee (.20)
08/21/2022     Giglio, Cindi      Comments to Investigations Committee deck for upcoming week (.40)                      0.40
08/21/2022     Barnowski, Dan     Review Bondholder Committee’s draft 2004 requests (.40); analyze list of               1.20
                                  open discovery issues and related email to Mayer Brown about same (.40);
                                  revise presentation to Investigations Committee (.40)
08/21/2022     Thompson, Grace Further revise presentation to Investigations Committee per comments                      0.30
                                 from Katten team (.30)
08/21/2022     Winters, Julia    Review Bondholder Committee draft Rule 2004 requests (.70); emails                      2.80
                                 with Katten regarding discovery (.90); comment on further revised
                                 presentation to Investigations Committee (.40); emails with Katten
                                 regarding presentation to Investigations Committee (.80)
08/21/2022     Miranda, Loredana Draft agenda for Investigations Committee meeting (.30); emails with                    0.50
                                 Katten team regarding same (.20)
08/21/2022     Reisman, Steven    Review presentation to Investigations Committee and note comments                      1.30
                                  regarding same (.70); follow up regarding interviews and 2004 schedule
                                  (.60)
08/21/2022     Reisman, Steven    Update regarding Investigations Committee activities (.30)                             0.30
08/22/2022     Chase, Ashley      Call with G. Thompson and L. Miranda regarding document production                     3.70
                                  (.50); call with D. Barnowski, J. Winters, G. King regarding document
                                  production (.80); email with various vendors regarding external document
                                  production hosting (1.10); email D. Barnowski regarding external
                                  document review platform (.40); email with A. Pecoraro regarding
                                  document review platform (.20); create an estimate for engaging a vendor
                                  to host documents (.70)
08/22/2022     Pecoraro, Andrew Call with E. Werlinger regarding SEC investigation and document review                   0.80
                                (.30); review documents regarding SEC production (.50)




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08/22/2022     Giglio, Cindi      Review interview memoranda (1.10); pre-call for Investigations                          2.60
                                  Committee meeting (.50); Investigations Committee Meeting (.70); post
                                  call follow up (.20); review Investigations Committee agenda (.10)
08/22/2022     Barnowski, Dan     Transmit final agenda of Investigations Committee meeting to independent                3.90
                                  directors (.20); communications with C. Kelley about outstanding
                                  discovery requests (.20); finalize and serve third set of information
                                  requests on debtors and Bondholder Committee (.30); teleconference with
                                  G. King, J. Winters and A. Chase concerning review of securities
                                  documents (.80); teleconference with E. Werlinger concerning review of
                                  securities documents (.20); organize document review (.40); review
                                  agenda for investigations team meeting (.30); assess next steps in
                                  investigation (.30); Katten team call to prep for Investigations Committee
                                  call (.50); teleconference update meeting with Investigations Committee
                                  (.70)
08/22/2022     Werlinger, Eric    Correspond with investigation team regarding strategy for locating key                  4.30
                                  document related to securities investigation (.40); review and summarize
                                  key documents related to securities investigation (3.90)
08/22/2022     King, Geoff        Attend Katten pre-call (.50); attend call with Investigations Committee                 2.40
                                  (.70); attend Katten post-call (.20); call with D. Barnowski, J. Winters and
                                  A. Chase regarding discovery issues (.80); call with T. Evans regarding
                                  diligence (.20)
08/22/2022     Thompson, Grace Attend call with L. Miranda regarding recently produced documents (.40);                   7.40
                                 attend call with L. Miranda and A. Chase regarding SEC investigation
                                 documents (.50); revise timeline of prepetition transactions per recently
                                 received diligence (1.40); correspondence with Katten regarding document
                                 productions (.20); perform targeted searches of SEC document production
                                 (.80); related correspondence with D. Barnowski and E. Werlinger (.20);
                                 attend Katten pre-call for Investigations Committee meeting (.50); attend
                                 post-call with Katten (.20); revise investigation work plan (.20); continue
                                 reviewing recently produced Board materials and update timeline per same
                                 (2.20); draft key takeaway email for Katten team (.80)
08/22/2022     Winters, Julia    Call with G. King, A. Chase, D. Barnowski regarding document review                      4.40
                                 (.80); prepare for Investigations Committee call (.90); Katten pre-call
                                 (.50); call with Investigations Committee (.70); Katten follow-up call
                                 (.20); emails with Katten regarding investigation (1.30)
08/22/2022     Miranda, Loredana Call with G. Thompson regarding document production (.40); call with G.                  4.30
                                 Thompson and A. Chase regarding SEC documents (.50); attend Katten
                                 pre-call (.50); attend call with Investigations Committee (.70); attend
                                 Katten post-call (.20); draft minutes of call with the Investigations
                                 Committee (.80); update document tracker (1.10); coordinate execution of
                                 Investigations Committee meeting minutes (.10)
08/22/2022     Rosella, Michael Begin to review documents most recently received from the Company                         0.90
                                 (.50); review chart of FOXO diligence received (.40)
08/22/2022     Brady, Rick       Copy data to network (.50); modify load files (.40); load data into new                  2.30
                                 Concordance database (.70); attach images (.40); add OCR and index
                                 database (.50)
08/22/2022     Reisman, Steven    Review materials in connection with SEC investigation and matters for                   3.60
                                  Investigations Committee including underlying documentation and agenda
                                  for meeting (1.60); attend Investigations Committee meeting (.70); follow
                                  up regarding Board materials and presentations and timeline for ongoing
                                  activities in connection with investigation (.70); attend post call with
                                  Katten team to discuss ongoing work of Investigations Committee counsel
                                  and issues to be addressed (.20); discussions regarding 2004 interviews
                                  and parties to be focused on (.40)



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08/23/2022     Chase, Ashley      Email among Katten regarding document review (.70); review emails from                   0.90
                                  G. Thompson regarding calls among Katten, Debtors, and Committee's
                                  professionals (.20)
08/23/2022     Pecoraro, Andrew Call with Katten regarding status of investigation (.70); review and                       2.00
                                analyze Board minutes regarding Shared Services Agreement (.80); update
                                factual summary regarding Shared Services Agreement (.50)
08/23/2022     Giglio, Cindi      Review memos on interviews (1.10); call with J. Hall and G. King (.50)                   1.60
08/23/2022     Barnowski, Dan     Review revised timeline (.80); prepare memo to team concerning                           3.30
                                  additional interviews and transactions (.50); analyze key underlying
                                  documents (1.00); teleconference with C. Kelley concerning discovery
                                  issues (.30); attend investigation status update call with Katten team (.70)
08/23/2022     Werlinger, Eric    Phone call with Katten regarding status of the investigation (.70); review               4.70
                                  and summarize key documents regarding investigation of securities related
                                  claims (4.00)
08/23/2022     King, Geoff        Katten call regarding status of investigation (.70); call with J. Hall and C.            1.50
                                  Giglio regarding investigation (.50); call with C. Giglio (.30)
08/23/2022     Thompson, Grace Review additional Board materials produced by Debtors (1.20); attend                        3.50
                               Katten investigations team call (.70); review prepetition transactions and
                               timeline and draft list of potential interviews (1.40); correspondence with
                               A. Chase regarding SEC document review (.20)
08/23/2022     Brooks-Patton,  Respond to email from L. Miranda regarding review of additional                             0.20
               Janice          financial documents and Board minutes (.10); email L. Miranda regarding
                               the status of the financial document review (.10)
08/23/2022     Hall, Jerry     Call with G. King and C. Giglio regarding investigation (.50); review                       1.70
                               presentation regarding transactions subject to investigation (1.20)
08/23/2022     Winters, Julia  Review Board minutes in connection with investigation (1.60); emails                        3.20
                               with Katten regarding investigation next steps (.90); Katten call regarding
                               investigation (.70)
08/23/2022     Kirby, Timothy  Call and correspondence regarding FOXO equity dilution analysis (1.00)                      1.00
08/23/2022     Miranda, Loredana Emails with R. Brady regarding document production (.10); update                          4.40
                                 document tracker (.80) attend Katten call regarding status of investigation
                                 (.70); review document production by Mayer Brown from August 23,
                                 2022 (2.10); update document tracker regarding same (.70)
08/23/2022     Rosella, Michael Attend call with Katten regarding status of investigation (.70); review                    2.70
                                 recently-received FOXO documents and prepare email to Katten regarding
                                 various documents (.80); review Board materials relating to specific
                                 prepetition related party transactions (.90); review emails regarding
                                 possible DLP financing (.30)
08/23/2022     Roitman, Marc     Review analysis of Board materials produced in connection with                            1.60
                                 investigation (1.10); emails with Katten regarding same (.50)
08/23/2022     Siena, Marie       Submit Investigations Committee minutes for signature through DocuSign                   0.30
                                  (.20); emails with L. Miranda regarding same (.10)
08/23/2022     Brady, Rick        Rename and Reload data into new Concordance databases (.60)                              0.60
08/23/2022     Reisman, Steven    Coordination of matters regarding ongoing investigation, board materials,                3.20
                                  potential interviewees as well as other matters in connection with SEC
                                  investigation and follow up (2.60); discussions with T. Horton and J. Stein
                                  throughout the day regarding update on activities with respect to ongoing
                                  investigation (.60)
08/23/2022     Archiyan, Yelena   Summarize newly received Special Committee minutes (5.80); review                        5.90
                                  updated document tracker (.10)



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08/24/2022     Chase, Ashley       Email with potential vendors for document review platform (.60); call with            3.10
                                   potential vendor regarding document review platform (.30); review
                                   proposed statement of work from vendor for document review platform
                                   (.50); email among Katten regarding document review vendor (.30); read
                                   Katten investigation committee presentation for background (1.40)
08/24/2022     Barnowski, Dan    Analyze memo regarding SEC testimony (1.20); teleconference with E.                     3.30
                                 Werlinger about SEC investigation (.60); teleconference with J. Winters
                                 regarding SEC investigation (.20); revise interview outline based on SEC
                                 interviews (1.30)
08/24/2022     Werlinger, Eric   Review and summarize key documents regarding investigation of                           4.30
                                 securities related claims (1.90); prepare document review protocol for
                                 review of SEC documents (.80); correspond with securities partners
                                 regarding assembling securities review team (.40); prepare questions for
                                 forthcoming interviews with GWG employees (1.20)
08/24/2022     Thompson, Grace Review materials on prepetition trasnactions and diligence to respond to                  4.10
                                 follow-up questions from D. Barnowski and J. Winters (1.50); attend call
                                 with J. Hall regarding investigation and prepetition transactions (.80);
                                 review PCA opinion and draft update on PCA litigation for S. Reisman
                                 (.40); continue reviewing prepetition transaction materials to respond to D.
                                 Barnoswki follow-up questions (1.00); draft email to D. Barnowski and
                                 others regarding financial analyses and valuations (.40)
08/24/2022     Brooks-Patton,    Continue to review and work with new and additional FOXO and GWGH                       4.50
               Janice            Board minutes, resolutions, consents and other corporate documents
                                 (3.60); update minutes and resolutions index regarding same (.80); email
                                 L. Miranda regarding review of Board minutes, resolutions and edits to
                                 Board minutes index (.10)
08/24/2022     Hall, Jerry       Call with G. Thompson regarding investigation (.80); review notes of                    2.90
                                 interviews (investigation) (.90); review first day declaration (1.00); review
                                 master timeline of transactions (.20)
08/24/2022     Winters, Julia    Call with D. Barnowski regarding interviews (.20); emails with Katten                   5.60
                                 regarding interviews (1.20); emails with Katten regarding document
                                 review (.70); prep for T. Evans interview (2.70); emails with Katten
                                 regarding investigation (.80)
08/24/2022     Miranda, Loredana Review August 24, 2022 document production from Mayer Brown (.50);                      1.00
                                 update document tracker (.20); revise Investigations Committee minutes
                                 with J. Winter's comments (.30)
08/24/2022     Rosella, Michael Respond to emails from Katten regarding specifics of certain prepetition                 1.80
                                 related party transactions (.40); continue to review newly-received
                                 documents from the Company related to investigation into various
                                 prepetition related party transactions (1.00); review emails regarding DLP
                                 funding issues as they relate to investigation matters (.40)
08/24/2022     Reisman, Steven     Coordinate matters regarding upcoming interviews, work in connection                  4.30
                                   with investigation, Investigations Committee activities and general matters
                                   related to investigation of potential claims in connection with
                                   Investigations Committee activities (4.30)
08/24/2022     Archiyan, Yelena    Continue summarizing new Committee minutes (3.00)                                     3.00
08/25/2022     Chase, Ashley       Read notes from T. Evans interview from G. Thompson (1.80)                            1.80
08/25/2022     Pecoraro, Andrew Review and analyze testimonies and related documents regarding SEC                       1.40
                                investigation (1.00); correspond with G. Thompson and D. Barnowski
                                regarding same (.40)
08/25/2022     Giglio, Cindi       Attend Katten prep call for T. Evans interview (.70)                                  0.70




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Date           Timekeeper         Description                                                                           Hours
08/25/2022     Barnowski, Dan     Katten team call to prep for interview with T. Evans (.70); follow-up                    3.80
                                  interview with T. Evans (2.00); further analysis of SEC testimony and
                                  evidence (.50); teleconference with E. Werlinger about next steps in SEC
                                  investigation (.40); call with S. Reisman regarding T. Evans interview
                                  (.20)
08/25/2022     Werlinger, Eric    Participate in Katten pre-call for interview of T. Evans (.70); participate in           5.30
                                  interview of T. Evans (2.00); continue analysis and summary of
                                  documents regarding investigation of securities claims (2.60)
08/25/2022     King, Geoff        Review T. Evans interview materials (.30)                                                0.30
08/25/2022     Thompson, Grace Attend pre-call for T. Evans interview (.70); review SEC documents                          8.90
                                 related to D. Baranowski follow-up questions (1.50); attend follow-up
                                 interview with T. Evans (2.00); follow-up discussion with J. Winters
                                 regarding next steps for interviews (.50); call with M. Rosella regarding
                                 fiduciary duties research question (.10); correspondence with Katten team
                                 regarding interviews (.50); draft interview memo for T. Evans interview
                                 (3.60)
08/25/2022     Hall, Jerry       Review notes of interview (SEC investigation) (.50); review T. Evans’                     2.10
                                 first day declaration (1.00); review presentation (investigation) (.60)
08/25/2022     Winters, Julia    Prepare for T. Evans interview (.90); emails with Katten regarding                        5.30
                                 document review (.40); Katten pre-call for interview (.70); interview T.
                                 Evans (2.00); review Board materials (1.30)
08/25/2022     Miranda, Loredana Review August 25, 2022 document production from Mayer Brown (.30);                        0.60
                                 update document tracker (.30)
08/25/2022     Rosella, Michael Review Ben corporate governance documents to determine Ben                                 2.20
                                 Management Board fiduciary duty issues (1.10); prepare emails to Katten
                                 regarding same (.60); review notes from T. Evans interview (.50)
08/25/2022     Reisman, Steven Participate in internal discussions regarding preparing for T. Evans                        3.40
                                 interview and review materials in preparation for same (.70); update call
                                 with D. Barnowski regarding matters related to T. Evans interview (.20);
                                 review draft internal memo for T. Evans interview and note comments
                                 regarding same (1.10); follow up regarding T. Evans interview and review
                                 notes (.30); listen in to portion of interview of T. Evans (1.10)
08/25/2022     Archiyan, Yelena   Review T. Evans interview notes (.50); review updated document tracker                   0.60
                                  (.10)
08/26/2022     Chase, Ashley      Call with R. Brady regarding document review (.20); call among Katten                    5.40
                                  regarding investigation (.20); email among Katten regarding document
                                  review (.30); review emails among R. Brady and vendor regarding
                                  document review (.50); read T. Evans interview notes from July regarding
                                  SEC investigation (.60); review Katten's requests for documents in
                                  preparation for document review (.60); read deposition of T. Evans for
                                  background (1.20); review sample set of documents produced in
                                  connection with organizing upcoming document review (1.80)
08/26/2022     Barnowski, Dan     Investigation status update call (.20); prepare SEC memo concerning next                 2.30
                                  steps (1.40); teleconference with E. Werlinger concerning SEC
                                  investigation issues (.40); teleconference with J. Winters and G. King
                                  concerning issues in SEC investigation (.30)
08/26/2022     Werlinger, Eric    Phone call with Katten regarding status of the investigation (.20); phone                2.50
                                  call with D. Barnowski regarding SEC document review (.40); review
                                  documents and prepare document review protocol (1.90)
08/26/2022     King, Geoff        Review prior summaries of interviews (.30); call with J. Winters and D.                  0.60
                                  Barnowski regarding SEC litigation (.30)




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Date           Timekeeper         Description                                                                        Hours
08/26/2022     Thompson, Grace Review documents produced to SEC for key exhibits to testimonies (2.40);                 6.20
                                 correspondence regarding production of Board materials with M. Rosella
                                 (.20); review files in connection with same (.10); continue reviewing
                                 documents produced to SEC for key exhibits to testimonies (2.80); revise
                                 timeline and related documents following T. Evans interview (.70)
08/26/2022     Brooks-Patton,    Respond to email from L. Miranda regarding production file review                      0.70
               Janice            project (.10); review and work with newly produced documents (.50);
                                 email L. Miranda regarding same (.10)
08/26/2022     Hall, Jerry       Attend Katten call regarding investigation (.20); email among J. Winters               0.40
                                 and others regarding investigation (.20)
08/26/2022     Winters, Julia    Emails with Katten regarding investigation (1.30); call with D. Barnowski,             1.80
                                 G. King regarding investigation (.30); Katten call regarding investigation
                                 (.20)
08/26/2022     Miranda, Loredana Attend Katten call regarding status of Investigation (.20); review August              7.20
                                 26, 2022 document production from Mayer Brown (1.40); update
                                 document tracker (.60); email Katten team regarding same (.20); review
                                 SEC testimonies and exhibits (4.10); update index of SEC exhibits (.70)
08/26/2022     Rosella, Michael Review recently received documents to determine Ben Management Board                    2.30
                                 composition at various prepetition periods of time (1.50); review Katten
                                 document tracker for specific information (.60); attend Katten call
                                 regarding status of investigation (.20)
08/26/2022     Brady, Rick       Upload data to vendor FTP site for ingestion into Relativity (5.80)                    5.80
08/26/2022     Reisman, Steven    Update regarding SEC investigation and document review and status of                  1.10
                                  same (.30); update regarding matters related to ongoing discovery in
                                  connection with investigation and document production and status of same
                                  (.40); update regarding interviews and ongoing document production
                                  regarding SEC investigation issues (.40)
08/26/2022     Archiyan, Yelena   Katten call regarding status of Investigation (.20); correspond with A.               0.40
                                  Chase regarding document review (.10); review updated document tracker
                                  (.10)
08/27/2022     Barnowski, Dan     Revise document search protocol and search terms for SEC documents                    0.90
                                  (.90)
08/27/2022     Werlinger, Eric    Draft document review protocol for SEC review (3.80); review materials                7.70
                                  to prepare factual background for document review protocol (1.60); draft
                                  background for document review protocol (1.50); revise and proofread
                                  document review protocol (.80)
08/27/2022     Thompson, Grace Complete search of SEC testimony exhibits and corresponding index                        1.60
                               (1.40); correspondence with Katten regarding the same (.20)
08/27/2022     Hall, Jerry     Review materials regarding SEC investigation (.30)                                       0.30
08/27/2022     Brady, Rick        Continue to upload data to vendor FTP site (7.40)                                     7.40
08/28/2022     Chase, Ashley      Call with R. Brady regarding document review (.30); email with vendor                 2.80
                                  regarding document review (.40); edit draft document review protocol
                                  (2.10)
08/28/2022     Barnowski, Dan     Revise protocol for document review (.40)                                             0.40
08/28/2022     Werlinger, Eric    Revise SEC document review protocol in response to comments from A.                   1.70
                                  Chase (1.70)
08/28/2022     Thompson, Grace Draft weekly presentation for Investigations Committee (.20)                             0.20
08/28/2022     Winters, Julia     Emails with Katten regarding document review (.60)                                    0.60
08/28/2022     Brady, Rick        Phone calls with vendor regarding uploaded data (1.60); call with A.                  1.90
                                  Chase regarding document review (.30)



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Date           Timekeeper         Description                                                                          Hours
08/29/2022     Chase, Ashley      Email with vendor regarding document production (.40); email among                      3.10
                                  Katten regarding document review (.40); read M. Holland's deposition
                                  testimony in preparation for document review (2.30)
08/29/2022     Barnowski, Dan     Revise search parameters for SEC documents (.30); review hit reports for                0.60
                                  SEC documents (.30)
08/29/2022     Werlinger, Eric    Analyze hit report from document review vendor (.50); propose changes to                3.20
                                  terms to streamline review (.40); correspond with Katten team regarding
                                  procedure for conducting document review (.50); continue review and
                                  summary of documents regarding investigation of securities related claims
                                  (1.80)
08/29/2022     Thompson, Grace Revise Investigations Committee presentation per comments from J.                          0.10
                                Winters (.10)
08/29/2022     Hall, Jerry      Email among J. Garrett and others regarding document production and                       0.30
                                designation matters (.30)
08/29/2022     Winters, Julia   Emails with Katten regarding document review (1.40); review document                      2.30
                                review protocol (.90)
08/29/2022     Rosella, Michael Review emails regarding SEC investigation issues as they relate to                        0.40
                                Investigations Committee's investigation (.40)
08/29/2022     Siena, Marie     Emails with L. Miranda regarding signed minutes of Investigations                         0.20
                                Committee meetings (.20)
08/30/2022     Chase, Ashley      Finalize document review protocol (1.40); call with vendor regarding                    6.10
                                  document review platform (.30); email among Katten regarding document
                                  review (2.70); call among Katten regarding investigation (.80); email with
                                  vendor regarding document review platform (.90)
08/30/2022     Pecoraro, Andrew Call with Katten regarding status of investigation (.80); review document                 1.50
                                review protocol (.40); compile list of potential interviewees regarding SEC
                                investigation (.30)
08/30/2022     Giglio, Cindi      Call with Katten team regarding status of investigation (.80); related calls            1.70
                                  and emails with G. King (.40); review Investigations Committee deck
                                  (.20); related correspondence (.30)
08/30/2022     Barnowski, Dan     Katten team call to discuss status of investigation (.80); communications               4.50
                                  with C. Kelley about scheduling of interviews (.30); identify potential
                                  interviewees and schedule (.70); prepare initial outline of issues to be
                                  covered in interviews (.60); analyze SEC discovery (1.30); calls with G.
                                  King regarding discovery issues (.40); call with G. Thompson regarding
                                  recent document production (.20); revise status report to Investigations
                                  Committee (.20)
08/30/2022     Werlinger, Eric    Participate in Katten team call regarding status of investigation (.80);                2.80
                                  continue analysis and summary of key documents regarding investigation
                                  of securities related claims (2.00)
08/30/2022     King, Geoff        Katten call regarding status of Investigation (.80); review Investigations              2.20
                                  Committee materials (.10); call with C. Giglio regarding investigation
                                  matters (.20); prepare for upcoming Investigations Committee call (.40);
                                  analyze issues in connection with next steps for investigation (.30); calls
                                  with D. Barnowski regarding discovery issues (.40)
08/30/2022     Thompson, Grace Correspondence regarding recent production of documents from Debtors                       3.70
                               (.30); call with D. Barnowski regarding the same (.20); review newly
                               produced documents (1.20); call with L. Miranda regarding same (.20);
                               attend Katten investigation team call (.80); continue reviewing newly
                               produced documents (.80); revise presentation for Investigations
                               Committee per comments from Katten (.20)




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Date           Timekeeper         Description                                                                        Hours
08/30/2022     Hall, Jerry        Attend Katten call regarding investigation (.80); review SEC no action                2.10
                                  letters (.50); email among A. Cottrell and others regarding SEC
                                  investigation (.40); review update materials for Investigations Committee
                                  meeting (.40)
08/30/2022     Winters, Julia     Katten call regarding investigation (.80); emails with Katten regarding               2.20
                                  investigation (1.10); review revised Investigations Committee presentation
                                  (.30)
08/30/2022     Hebeisen, Kenneth Review document review protocol and other background documents (2.10)                  2.10
08/30/2022     Miranda, Loredana Review document protocol for document review (.90); emails with A.                     3.30
                                 Chase regarding same (.10); draft agenda for Investigations Committee
                                 meeting (.10); coordinate retrieval of August 29, 2022 document
                                 production from Mayer Brown (.30); attend Katten call regarding status of
                                 Investigation (.80); call with G. Thompson regarding document production
                                 (.20); emails with R. Brady and A. Chase regarding August 29, 2022
                                 document production from Mayer Brown (.20); review August 29, 2022
                                 document production from Mayer Brown (.30); update document tracker
                                 (.30); email Katten team regarding same (.10)
08/30/2022     Roitman, Marc     Katten call regarding Investigation matters (.80); review newly-produced               2.40
                                 Board materials and related documents produced in connection with
                                 investigation regarding evaluation of potential claims arising from
                                 prepetition transactions (1.60)
08/30/2022     Rosella, Michael Attend Katten call on status of investigation (.80); emails with Katten                 2.10
                                 regarding SEC investigation document review (.30); review SEC
                                 investigation document review protocol (1.00)
08/30/2022     Reisman, Steven Review materials in connection with ongoing investigation of potential                   1.00
                                 claims (1.00)
08/30/2022     Archiyan, Yelena   Katten call regarding status of Investigation (.80); review protocol for              1.80
                                  document review (.50); review multiple emails regarding SEC
                                  investigation (.10); review updated document tracker (.10); review
                                  materials for Special Committee and Investigations Committee meetings
                                  (.20); review draft agendas for Special Committee and Investigations
                                  Committee meeting (.10)
08/31/2022     Chase, Ashley      Email among Katten regarding document review (1.30); call with G.                     8.60
                                  Thompson regarding document review (.30); call with A. Pecoraro
                                  regarding document review (.20); email with Relativity vendor regarding
                                  document review (2.00); conduct review of documents (3.70); call with J.
                                  Winters and E. Werlinger regarding document review (.60); review
                                  dynamic search hit reports in connection with document review (.30);
                                  review notes of calls among Debtor professionals from G. Thompson (.20)
08/31/2022     Pecoraro, Andrew Review documents produced by Debtors in SEC investigation (2.20); call                  3.70
                                with E. Werlinger regarding document review status (.20); continue
                                reviewing SEC investigation documents (1.30)
08/31/2022     Giglio, Cindi      Call with Investigations Committee (.50); calls and emails regarding FA               1.70
                                  interviews (1.20)
08/31/2022     Barnowski, Dan     Analyze issues pertinent to SEC document review (.50); communications                 2.40
                                  with potential interviewees about interviews (.20); communications with
                                  T. Evans concerning additional interviews (.20); teleconference with T.
                                  Evans about investigation (.20); teleconference with potential FA (.50);
                                  teleconference with second potential FA (.30); teleconference with
                                  Investigations Committee (.50)




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08/31/2022     Werlinger, Eric    Propose changes to document review strategy based upon information                   3.30
                                  from the vendor (.80); correspond with D. Barnowski, J. Winters, and A.
                                  Chase regarding the same (.30); prepare list of potential interviewees
                                  based upon review of documents (.40); phone call with A. Chase and J.
                                  Winters to discuss document review protocol (.60); review and summarize
                                  key documents regarding securities investigation (1.20)
08/31/2022     King, Geoff        Call with T. Evans and D. Barnowski regarding discovery issues (.50); call           1.90
                                  with the Investigations Committee (.50); call with D. Barnowski regarding
                                  investigation issues (.10); analyze issues in connection with possible
                                  retention of financial advisor (.80)
08/31/2022     Thompson, Grace Continue reviewing latest production of documents from Debtors (1.90);                  6.70
                               correspondence with Katten regarding SEC document review (.30); review
                               Documents produced by Debtors in SEC investigation (2.80); continue
                               reviewing same (1.70)
08/31/2022     Kitnick, Jesse  Review documents produced by Debtors in SEC investigation (3.60)                        3.60
08/31/2022     Hall, Jerry        Call among Katten and Independent Directors regarding investigation (.50)            0.50
08/31/2022     Winters, Julia     Call with Investigations Committee (.50); call with Katten regarding                 2.40
                                  document review (.60); emails with Katten regarding investigation (1.30)
08/31/2022     Hebeisen, Kenneth Review documents produced to SEC (4.20)                                               4.20
08/31/2022     Miranda, Loredana Review August 29, 2022 production from Mayer Brown (2.10); emails                     6.00
                                 with G. Thompson regarding same (.10); attend Katten pre-call (.50);
                                 attend call with Investigations Committee (.50); draft minutes to the
                                 Investigations Committee meeting (.80); review documents in relativity
                                 related to SEC investigation (2.20); emails with A. Chase regarding same
                                 (.20); call with G. Thompson regarding document production in relativity
                                 (.20)
08/31/2022     Roitman, Marc     Call with the Investigations Committee (.50); review presentation to                  3.60
                                 Investigations Committee in preparation for same (.20); call with first
                                 potential financial advisor regarding potential pitch to Investigations
                                 Committee (.50); call with second potential financial advisor regarding
                                 potential pitch to Investigations Committee (.30); further review of newly-
                                 produced Board materials and related documents produced in connection
                                 with investigation regarding evaluation of potential claims arising from
                                 prepetition transactions (2.10)
08/31/2022     Rosella, Michael Begin to review and analyze documents related to ongoing SEC                           6.00
                                 investigation (4.50); review documents received from the Company and
                                 emails with Katten regarding same as they relate to various prepetition
                                 related party transactions being investigated (1.50)
08/31/2022     Reisman, Steven Participate in pre-call with Katten team regarding update on investigation              2.40
                                 and ongoing work (.50); review materials in preparation for Investigations
                                 Committee update call (1.10); participate in calls with Katten team
                                 regarding update on investigation and preparation for Investigations
                                 Committee update call (30); participate in call with Investigations
                                 Committee regarding on going work, discovery and analysis of claims
                                 (.50)
08/31/2022     Archiyan, Yelena   Conduct document review of documents produced to SEC (3.90)                          3.90
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TIME SUMMARY
United States
Name                                                  Hours                   Rate             Amount
Reisman, Steven                                        99.70             1,585.00            158,024.50
Giglio, Cindi                                          34.60             1,350.00             46,710.00
Hall, Jerry                                            10.30             1,285.00             13,235.50
Winters, Julia                                        111.20             1,180.00            131,216.00
King, Geoff                                            47.00             1,145.00             53,815.00
Roitman, Marc                                          88.00             1,145.00            100,760.00
Barnowski, Dan                                         72.90             1,125.00             82,012.50
Kirby, Timothy                                          1.00             1,035.00              1,035.00
Werlinger, Eric                                        50.70               955.00             48,418.50
Chase, Ashley                                          35.50               910.00             32,305.00
Archiyan, Yelena                                       83.80               875.00             73,325.00
Thompson, Grace                                       148.20               800.00            118,560.00
Rosella, Michael                                       66.80               800.00             53,440.00
Pecoraro, Andrew                                       79.80               775.00             61,845.00
Kitnick, Jesse                                          3.60               660.00              2,376.00
Hebeisen, Kenneth                                       6.30               655.00              4,126.50
Miranda, Loredana                                     121.10               580.00             70,238.00
Brooks-Patton, Janice                                  54.90               410.00             22,509.00
Siena, Marie                                            0.50               380.00                190.00
Brady, Rick                                            28.20               330.00              9,306.00

                                     Sub Total :     1,144.10   Sub Total :                 1,083,447.50
                                     Total Hours :   1,144.10   Total Fees           1,083,447.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
November 29, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00022
                                                                                                                                                    Invoice #:                                   9020098158
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                 69,290.00
Total Amount Due ..............................................................................................................................................                         69,290.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00022
Invoice #:          9020098158                                                                              November 29, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
08/07/2022     Giglio, Cindi      Call to discuss plan issue (.50); Katten pre-call regarding same (.30);                  1.10
                                  follow up regarding same (.30)
08/07/2022     Roitman, Marc      Call with CRO regarding plan structure (.50); call with Katten in                        1.20
                                  preparation for same (.30); review materials in connection with same (.40)
08/08/2022     Giglio, Cindi      Attend call with Special Committee to discuss plan constructs (1.00);                    1.10
                                  initial review of minutes (.10)
08/08/2022     Roitman, Marc      Call with PJT and Special Committee regarding potential plan frameworks                  1.30
                                  (1.00); review materials in connection with same (.30)
08/08/2022     Reisman, Steven    Review materials regarding potential plan framework (.20); attend a                      0.80
                                  portion of call with Special Committee and PJT regarding same (.60)
08/08/2022     Archiyan, Yelena   Review restructuring proposals materials (.40)                                           0.40
08/11/2022     Giglio, Cindi      Call regarding 40 Act (1.40); post call discussions (.10)                                1.50
08/11/2022     King, Geoff        Call with V. Bulkin regarding restructuring proposals (.10); call with S.                2.00
                                  Reisman regarding 40 Act issues (.10); analyze issues in connection with
                                  upcoming 40 act call (.40); attend call regarding 40 Act issues (1.40)
08/11/2022     Thompson, Grace Attend call with Debtors' professionals regarding restructuring frameworks                  1.40
                               (1.40)
08/11/2022     Reisman, Steven    Focus on matters related to 40 Act and discussions with G. King regarding                1.50
                                  matters related to same in connection with plan formulation and best
                                  restructuring proposal (.80); update regarding issues in connection with
                                  plan, restructuring and assets of company to be considered in connection
                                  with plan process (.70)
08/11/2022     Bulkin, Vlad       Call with G. King (.10); analyze restructuring issues relating to the                    2.90
                                  Investment Company Act of 1940 (1.40); attend call with GWG, Mayer
                                  Brown, PJT, and J. Stein regarding restructuring considerations and
                                  Investment Company Act of 1940 issues (1.40)
08/15/2022     King, Geoff        Attend 40 Act call with Mayer Brown (1.00)                                               1.00
08/15/2022     Bulkin, Vlad       Analyze restructuring options under the Investment Company Act of 1940                   4.70
                                  (.60); call with Mayer Brown regarding restructuring options under the
                                  Investment Company Act of 1940 (1.00); respond to questions regarding
                                  registration as a closed-end investment company under the Investment
                                  Company Act of 1940 and correspond with Mayer Brown and PJT
                                  regarding same (3.10)
08/16/2022     King, Geoff        Call with V. Bulkin regarding 40 Act follow-up (.30)                                     0.30
08/16/2022     Bulkin, Vlad       Discuss with G. King issues relating Investment Company Act of 1940                      0.30
                                  (.30)
08/17/2022     King, Geoff        Calls with V. Bulkin regarding 40 Act issues (.30); review materials in                  2.00
                                  connection with 40 Act issues (.70); attend 40 Act call (1.00)
08/17/2022     Bulkin, Vlad       Call with G. King regarding Investment Company Act issues (.30); call                    1.70
                                  with Mayer Brown to further discuss Investment Company Act issues
                                  (1.00); further analysis of Investment Company Act issues (.40)
08/18/2022     Barnowski, Dan     Teleconference with Special Committee and Mayer Brown, Katten and                        0.90
                                  PJT Teams (partial) (.90)
08/18/2022     King, Geoff        Attend Special Committee call regarding restructuring (1.10); review                     1.60
                                  materials in connection with open 40 Act issues (.50)
08/18/2022     Thompson, Grace Attend Special Committee meeting (1.10)                                                     1.10


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Matter:             397894.00022
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Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                             Hours
08/18/2022     Roitman, Marc      Meeting with Debtors' advisors, management, and Special Committee                          1.10
                                  regarding potential plan of reorganization alternatives (1.10)
08/18/2022     Reisman, Steven    Participate in update call with Debtors advisors, management and Special                   1.10
                                  Committee regarding plan of reorganization alternatives and consideration
                                  of materials in connection with same (1.10)
08/18/2022     Reisman, Steven    Review materials regarding matters related to 40 Act issues (.60)                          0.60
08/18/2022     Bulkin, Vlad       Attend GWG/Special Committee call regarding proposed Plan of                               1.10
                                  Reorganization (1.10)
08/19/2022     King, Geoff        Call with PJT regarding 40 Act considerations (.10); review materials in                   1.30
                                  connection with 40 Act considerations (.40); review materials related to
                                  potential plan proposals (.80)
08/19/2022     Reisman, Steven    Update regarding 40 Act considerations (.50)                                               0.50
08/19/2022     Reisman, Steven    Update regarding matters related to 40 Act, restructuring options and                      1.10
                                  matters related to same (1.10)
08/19/2022     Bulkin, Vlad       Research and analyze foreign insurance company exemption under the                         4.30
                                  Investment Company Act of 1940 (1.90); catch-up call with G. King and
                                  M. Comerford (.50); prepare summary slides of restructuring options that
                                  were considered in connection with the Investment Company Act of 1940
                                  (1.90)
08/23/2022     Bulkin, Vlad       Further analysis of exemptions under the Investment Company Act of                         2.30
                                  1940 (1.20); attend call with Special Committee to discuss Investment
                                  Company Act implications for restructuring options (1.10)
08/25/2022     Reisman, Steven    Review emails regarding comments to exclusivity motion and matters                         0.80
                                  regarding same (.40); update regarding shared services agreement and
                                  incorporation of provisions into plan (.40)
08/26/2022     King, Geoff        Attend call with Katten and Mayer Brown on 40 Act issues (.80)                             0.80
08/26/2022     Thompson, Grace Call with Katten and Mayer Brown regarding restructuring considerations                       0.80
                               (.80)
08/26/2022     Hall, Jerry     Review restructuring proposal presentation (.90)                                              0.90
08/26/2022     Reisman, Steven    Review restructuring presentation and follow up regarding matters related                  0.80
                                  to same (.80)
08/26/2022     Bulkin, Vlad       Review and comment on Restructuring Proposal slides (.40); call with                       1.80
                                  Mayer Brown regarding Restructuring Proposal (.80); research no-action
                                  letters regarding liquidating trust (.60)
08/27/2022     Winters, Julia     Review presentation on 40 Act considerations (.70)                                         0.70
08/29/2022     Miranda, Loredana Review filings for restructuring alternatives (.80); emails with G. King                    1.00
                                 regarding same (.20)
08/29/2022     Bulkin, Vlad      Review and analyze precedent no-action letters regarding liquidating trust                  2.40
                                 under the Investment Company Act of 1940 (2.40)
08/30/2022     Giglio, Cindi      Call regarding restructuring plan (.80)                                                    0.80
08/30/2022     King, Geoff        Partial attendance of call with Mayer Brown regarding restructuring                        0.60
                                  alternatives (.40); call with V. Bulkin regarding 40 Act issues (.20)
08/30/2022     Thompson, Grace Call with Mayer Brown regarding restructuring framework (.80)                                 0.80
08/30/2022     Bulkin, Vlad       Research and analysis of liquidating trust no-action letters under the                     3.70
                                  Investment Company Act of 1940 (2.70); call with Mayer Brown
                                  regarding proposed liquidating trust structure (.80); discuss liquidating
                                  trust analysis with G. King (.20)
                                                                                             Total Hours :                 58.10




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Matter:             397894.00022
Invoice #:          9020098158                                                     November 29, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        7.20            1,585.00             11,412.00
Giglio, Cindi                                          4.50            1,350.00              6,075.00
Hall, Jerry                                            0.90            1,285.00              1,156.50
Winters, Julia                                         0.70            1,180.00                826.00
Bulkin, Vlad                                          25.20            1,170.00             29,484.00
King, Geoff                                            9.60            1,145.00             10,992.00
Roitman, Marc                                          3.60            1,145.00              4,122.00
Barnowski, Dan                                         0.90            1,125.00              1,012.50
Archiyan, Yelena                                       0.40              875.00                350.00
Thompson, Grace                                        4.10              800.00              3,280.00
Miranda, Loredana                                      1.00              580.00                580.00

                                     Sub Total :      58.10   Sub Total :                    69,290.00
                                     Total Hours :    58.10   Total Fees              69,290.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
November 29, 2022
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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                                                                                                                                                    Invoice #:                                   9020098154
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Summary


RE: Non-Working Travel

For Professional Services Rendered Through August 31, 2022



Fees Total.............................................................................................................................................................                 34,966.50
Total Amount Due ..............................................................................................................................................                         34,966.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00028
Invoice #:          9020098154                                                                           November 29, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Non-Working Travel

TIME DETAILS
Date           Timekeeper         Description                                                                        Hours
08/29/2022     Giglio, Cindi      Travel to and from Houston in one day for hearing on insurance motion               12.30
                                  (12.30)
08/29/2022     King, Geoff        Travel to Houston for hearing (3.60); travel back from Houston after                  6.90
                                  hearing (3.30)
08/29/2022     Reisman, Steven    Travel to and from Houston for hearing before Judge Isgur related to                  6.60
                                  matters for D&O relief and review documentation for portion of time
                                  while traveling (6.60)
                                                                                          Total Hours :               25.80




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Matter:             397894.00028
Invoice #:          9020098154                                                     November 29, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        6.60            1,585.00             10,461.00
Giglio, Cindi                                         12.30            1,350.00             16,605.00
King, Geoff                                            6.90            1,145.00              7,900.50

                                     Sub Total :      25.80   Sub Total :                    34,966.50
                                     Total Hours :    25.80   Total Fees              34,966.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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November 29, 2022
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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                                                                                                                                                    Invoice #:                                   9020098161
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Summary


RE: Expenses

For Professional Services Rendered Through August 31, 2022


Disbursements .....................................................................................................................................................                       3,284.03
Total Amount Due ..............................................................................................................................................                           3,284.03       USD




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Matter:             397894.00032
Invoice #:          9020098161                                                            November 29, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Expenses

DISBURSEMENTS
Description                  Cost Description                                                        Amount

Color Printing               Color Printing.                                                             46.25



Courier                      FedExCorp.Inv#: 786518211,Trking# 277222929467,on                           67.19
                             8/25/2022 To: Steven Reisman. FedExCorp.Inv#:
                             786518211,Trking# 277175793210,on 8/24/2022 To: Steven
                             Reisman.
Court Costs                  Pacer Court Costs 7/01/2022-7/31/2022 NYC. Pacer Court                      30.90
                             Costs 7/01/2022-7/31/2022 NYC.


Legal Research               Westlaw July 2022-Pecoraro, Andrew on 7/28/2022.                           150.35



Data/Library Research        Westlaw Legal Research: PECORARO,ANDREW on                              2,989.34
Services                     8/12/2022. Westlaw Legal Research: PECORARO,ANDREW
                             on 8/17/2022. Westlaw Legal Research:
                             PECORARO,ANDREW on 8/15/2022. Westlaw Legal
                             Research: PECORARO,ANDREW on 8/16/2022. Westlaw
                             Legal Research: PECORARO,ANDREW on 8/11/2022.
                             Westlaw Legal Research: THOMPSON,GRACE on 8/15/2022.
                             Westlaw Legal Research: THOMPSON,GRACE on 8/7/2022.
                             Westlaw Legal Research: THOMPSON,GRACE on 8/7/2022.
                             Westlaw Legal Research: THOMPSON,GRACE on 8/6/2022.
                             Westlaw Legal Research: MIRANDA,LOREDANA on
                             8/18/2022.
                                                                   Total Disbursements:      3,284.03    USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
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December 21, 2022
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through September 30, 2022



Fees Total.............................................................................................................................................................                 16,178.00
Total Amount Due ..............................................................................................................................................                         16,178.00        USD




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Matter:             397894.00002
Invoice #:          9020103419                                                                                  December 21, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                            Hours
09/06/2022     Giglio, Cindi         Begin review of fee statement for compliance with UST guidelines (.90)                    0.90
09/06/2022     King, Geoff           Emails with Katten team regarding monthly fee statements (.20)                            0.20
09/07/2022     Giglio, Cindi         Finalize review of bills pursuant to UST guidelines (1.00)                                1.00
09/07/2022     King, Geoff           Review GWG MFS materials (1.30)                                                           1.30
09/07/2022     Thompson, Grace Draft detailed emails to directors regarding work performed and fees to                         0.90
                               date in connection with June/July fee statements (.90)
09/07/2022     Siena, Marie          Begin to revise June and July prebills to incorporate C. Giglio comments                  1.80
                                     (1.80)
09/08/2022     Siena, Marie          Revise materials for June and July fee statements to incorporate C. Giglio                4.20
                                     comments (2.10); revise materials for June and July fee statements to
                                     incorporate G. King comments (2.10)
09/13/2022     Siena, Marie          Revise materials for June and July fee statements (1.10); emails with S.                  1.30
                                     Reisman regarding the same (.20)
09/14/2022     King, Geoff           Review June and July monthly fee statements (.30)                                         0.30
09/18/2022     Siena, Marie          Review fee statement materials (2.80); review and revise August prebills                  4.20
                                     for compliance with UST guidelines (1.40)
09/19/2022     Siena, Marie          Continue to review and revise materials for August fee statement (5.10)                   5.10
09/21/2022     Thompson, Grace Review and revise fee statement materials (1.40)                                                1.40
09/22/2022     Thompson, Grace Continue reviewing August monthly fee statement materials (1.50)                                1.50
09/23/2022     Siena, Marie          Revise monthly fee statement materials (2.50)                                             2.50
09/27/2022     Siena, Marie          Review August monthly fee statement materials (2.50)                                      2.50
09/29/2022     Siena, Marie          Review August monthly fee statement materials for compliance with UST                     0.80
                                     Guidelines (.60); emails with G. Thompson regarding the same (.20)
                                                                                              Total Hours :                  29.90




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          1.90            1,350.00               2,565.00
King, Geoff                                            1.80            1,145.00               2,061.00
Thompson, Grace                                        3.80              800.00               3,040.00
Siena, Marie                                          22.40              380.00               8,512.00

                                     Sub Total :      29.90   Sub Total :                    16,178.00
                                     Total Hours :    29.90   Total Fees              16,178.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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December 21, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00004
                                                                                                                                                    Invoice #:                                   9020103418
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Summary


RE: DIP

For Professional Services Rendered Through September 30, 2022



Fees Total.............................................................................................................................................................                 28,358.00
Total Amount Due ..............................................................................................................................................                         28,358.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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RE: DIP

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
09/13/2022     Archiyan, Yelena   Review Vida Proposal response (.20)                                                       0.20
09/16/2022     Hall, Jerry        Review financing counterproposal (Vida) (.50)                                             0.50
09/16/2022     Archiyan, Yelena   Review Vida response to PJT counterproposal (.10)                                         0.10
09/19/2022     King, Geoff        Review DIP materials (.20); review latest Vida proposal (.30)                             0.50
09/28/2022     King, Geoff        Review financing materials (.90); prepare issues list in connection with                  1.40
                                  financing materials (.20); analyze issues in connection with upcoming
                                  motions (.30)
09/28/2022     Hall, Jerry        Review Vida transaction documents (1.00)                                                  1.00
09/28/2022     Reisman, Steven    Review documentation regarding proposed Vida transaction and feedback                     0.80
                                  on same (.80)
09/29/2022     King, Geoff        Call with B. Stern regarding financing matters (.10); review term sheets                  2.60
                                  (.20); review issues list (.10); analyze issues in connection with emergency
                                  motion (.30); review draft option agreement and fee letter (.60); prepare
                                  list for Special Committee consideration (.50); review fee letter (.10);
                                  review draft motion (.20); prepare for Special Committee meeting
                                  regarding financing issues (.30); communications with Katten team
                                  regarding Special Committee matter (.20)
09/29/2022     Archiyan, Yelena   Briefly review Vida Option Agreement (.50)                                                0.50
09/30/2022     Giglio, Cindi      Comments to Vida motion (.50); Special Committee call regarding Vida                      2.80
                                  (.90); call on term sheet with Debtors' Professionals and Quinn Emanuel
                                  (.80); review revised motion (.60)
09/30/2022     Barnowski, Dan     Teleconference with Special Committee and PJT Partners regarding Vida                     0.90
                                  Proposal (.90)
09/30/2022     King, Geoff        Call with Special Committee and PJT Partners regarding Vida Proposal                      4.20
                                  (.90); attend call with Debtors and Debtors’ Professionals regarding Vida
                                  Proposal (.60); call with Debtors’ Professionals and Quinn Emanuel
                                  regarding Vida Proposal (.80); review financing terms sheets (.40); review
                                  draft motion (.80); emails with Katten team regarding financing (.40);
                                  review and revise Stein declaration (.30)
09/30/2022     Thompson, Grace Turn multiple revisions of Vida motion and Stein declaration per                             1.00
                                 comments from Katten and Special Committee (1.00)
09/30/2022     Hall, Jerry       Call among Katten, Mayer Brown, PJT and others regarding Vida                              3.70
                                 agreements and motion (.60); call among Katten, Special Committee and
                                 PJT regarding Vida proposal (.90); call among Katten, Mayer Brown,
                                 Quinn and others regarding Vida proposal (.80); review DIP term sheet
                                 (.30); review revised motion to approve Vida option agreement (1.10)
09/30/2022     Miranda, Loredana Attend call with Special Committee and PJT Partners regarding Vida                         3.10
                                 Proposal (.90); attend call with Debtor and Debtors’ Professionals
                                 regarding Vida Proposal (.60); attend call with Debtors’ Professionals and
                                 Quinn Emanuel regarding Vida Proposal (.80); draft summary of calls
                                 regarding same (.80)
09/30/2022     Reisman, Steven Discussions with Katten team members regarding Vida DIP proposal in                          1.10
                                 connection with GWG ongoing business operations (.60); review and
                                 comment on term sheet related to Vida DIP (.50)
09/30/2022     Archiyan, Yelena   Briefly review Debtors’ motion to approve Vida Option (.30); briefly                      0.70
                                  review Vida DIP term sheet and summary of principal terms (.30); review
                                  notes from calls regarding Vida (.10)


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Matter:             397894.00004
Invoice #:          9020103418                                                     December 21, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        1.90            1,585.00               3,011.50
Giglio, Cindi                                          2.80            1,350.00               3,780.00
Hall, Jerry                                            5.20            1,285.00               6,682.00
King, Geoff                                            8.70            1,145.00               9,961.50
Barnowski, Dan                                         0.90            1,125.00               1,012.50
Archiyan, Yelena                                       1.50              875.00               1,312.50
Thompson, Grace                                        1.00              800.00                 800.00
Miranda, Loredana                                      3.10              580.00               1,798.00

                                     Sub Total :      25.10   Sub Total :                    28,358.00
                                     Total Hours :    25.10   Total Fees              28,358.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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December 21, 2022
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through September 30, 2022



Fees Total.............................................................................................................................................................                   1,637.50
Total Amount Due ..............................................................................................................................................                           1,637.50       USD




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RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
09/01/2022     Chase, Ashley      Review emails regarding drafts of the proposed order for the Insurance                  0.40
                                  Motion (.40)
09/01/2022     Giglio, Cindi      Review latest draft of insurance order and related emails (.30)                         0.30
09/01/2022     King, Geoff        Review revisions to insurance order (.20)                                               0.20
09/01/2022     Archiyan, Yelena   Review blacklined version of draft of insurance comfort order (.10)                     0.10
09/22/2022     King, Geoff        Review materials in connection with insurance comfort order (.10)                       0.10
09/28/2022     Archiyan, Yelena   Review Debtors’ proposed objection to PCA proofs of claim (.40)                         0.40
09/29/2022     Archiyan, Yelena   Review M. Roitman’s analysis of Mayer Brown’s proposal to object to                     0.10
                                  Paul Capital Claims (.10)
                                                                                            Total Hours :                 1.60




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          0.30            1,350.00                   405.00
King, Geoff                                            0.30            1,145.00                   343.50
Chase, Ashley                                          0.40              910.00                   364.00
Archiyan, Yelena                                       0.60              875.00                   525.00

                                     Sub Total :       1.60   Sub Total :                     1,637.50
                                     Total Hours :     1.60   Total Fees               1,637.50    USD




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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through September 30, 2022



Fees Total............................................................................................................................................................. 644,615.00
Total Amount Due .............................................................................................................................................. 644,615.00                               USD




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Matter:             397894.00010
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Invoice Due Date:   Payable Upon Receipt


RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
09/01/2022     Giglio, Cindi      Call with G. King to review committee letter (.50); attend pre-call for                  1.70
                                  weekly Akin call (.30); attend weekly Akin call (.50); call with Mayer
                                  Brown team (.40)
09/01/2022     Barnowski, Dan     Katten pre-call to prepare for call with Bondholders professionals (.30);                1.70
                                  weekly call with Bondholder Committee Professionals (.50);
                                  teleconference with Mayer Brown concerning next steps (.40); revise letter
                                  to Bondholders Committee (.30); follow up call with J. Winters (.20)
09/01/2022     King, Geoff        Katten pre-call (.30); prepare for bondholder committee call (.20); weekly               2.90
                                  call with Bondholder Committee Professionals (.50); call with Mayer
                                  Brown (.40); review Special Committee minutes (.60); call with C. Giglio
                                  regarding draft letter (.50); review multiple versions of draft letter (.30);
                                  email with Katten team regarding letter (.10)
09/01/2022     Thompson, Grace Attend weekly call with the Bondholder Committee's professionals (.50);                     1.90
                               attend Katten pre-call for same (.30); draft summary of same (.30); attend
                               follow-up call with Mayer Brown (.40); draft summary of same (.20);
                               correspondence regarding minutes of Special Committee meetings (.10);
                               update meeting log and WIP to reflect case developments (.10)
09/01/2022     Hall, Jerry     Review revised letter regarding potential conflicts matters (.50)                           0.50
09/01/2022     Winters, Julia     Katten pre-call (.30); weekly call with Akin (.50); follow-up call with D.               3.40
                                  Barnowski (.20); emails with Katten, MB, Akin regarding insurance
                                  comfort order (.70); emails with Katten regarding letter to Bondholder
                                  Committee (.90); review revised draft letter to Bondholder Committee
                                  (.80)
09/01/2022     Miranda, Loredana Emails with G. King and D. Barnowski regarding Special Committee                          1.70
                                 minutes (.60); revise Special Committee minutes with D. Barnowski's
                                 edits (.30); attend Katten pre-call for call with Bondholder Committee
                                 professionals (.30); prepare summary of docket entries relevant to Special
                                 Committee matters (.30); correspondence with G. Thompson regarding
                                 Special Committee minutes (.20)
09/01/2022     Miranda, Loredana Email call times to Katten (.10)                                                          0.10
09/01/2022     Comerford,         Review memorandum regarding FOXO related issues (.50); review Mayer                      1.80
               Michael            Brown summary related to FOXO capital structure (.60); revise
                                  memorandum for FOXO issues (.70)
09/01/2022     Roitman, Marc      Weekly call with Bondholder Committee Professionals regarding case                       1.70
                                  matters (.50); Katten pre-call in preparation for same (.30); call with
                                  Mayer Brown regarding case matters (.40); review Special Committee
                                  minutes (.50)
09/01/2022     Reisman, Steven    Participate in Bondholder Committee call to discuss matters related to                   2.50
                                  GWG restructuring (.50); review materials in preparation for Bondholder
                                  Committee call and discussions with Katten team members regarding
                                  matters to be addressed on call (.40); follow up regarding preparation for
                                  Special Committee call (.40); review materials regarding restructuring in
                                  preparation for Special Committee call (.40); discussions with J. Stein and
                                  D. Chavenson regarding matters related to same (.40); review and
                                  comment on proposed correspondence to Bondholder Committee (.40)
09/01/2022     Archiyan, Yelena   Review summary of call with Bondholder Committee’s professionals (.10)                   0.10




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Date           Timekeeper         Description                                                                           Hours
09/02/2022     Giglio, Cindi      Call with G. King regarding Board matters (.30); attend Polly call and                   3.10
                                  follow up (1.00); review current draft of revisions to committee letter
                                  (.60); review of 8/25 and 8/31 minutes and provide comments (.50);
                                  follow up on Committee letter (.70)
09/02/2022     King, Geoff        Call with C. Giglio regarding Special Committee matters (.30); call with                 1.20
                                  W. Evarts regarding Board meetings (.10); review and revise draft letter
                                  (.30); review draft minutes (.40); review materials in connection with
                                  disclosure issues (.10)
09/02/2022     Thompson, Grace Correspondence with Katten regarding finalizing minutes for Special                         0.10
                                 Committee (.10)
09/02/2022     Hall, Jerry       Review draft letter regarding potential conflicts on Bondholder Committee                 0.70
                                 (.30); email among C. Giglio and others regarding conflicts letter (.40)
09/02/2022     Winters, Julia    Revise draft letter to Bondholder Committee (.40); emails with Katten                     1.70
                                 regarding letter to Bondholder Committee (1.30)
09/02/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   1.30
                                 (.10); revise Special Committee minutes with C. Giglio comments (.60);
                                 emails with C. Giglio regarding same (.10); revise Special Committee
                                 minutes with G. King's comments (.30); draft proposed email to
                                 Independent Directors regarding same (.10); emails with G. Thompson
                                 regarding same (.10)
09/02/2022     Comerford,         Review diligence in connection with FOXO issues and dilution (2.40);                     3.10
               Michael            review Mayer Brown memo in connection with same (.70)
09/02/2022     Roitman, Marc      Attend call with Debtors' advisors and management (1.00); review                         1.20
                                  materials in preparation for same (.20)
09/02/2022     Reisman, Steven    Review materials in preparation for Special Committee call and                           1.20
                                  background materials regarding GWG in preparation for Special
                                  Committee call and discussions with professionals regarding GWG
                                  restructuring (.80); update regarding FOXO merger and underlying
                                  documentation (.40)
09/02/2022     Archiyan, Yelena   Review letter to Akin Gump regarding bondholder members fiduciary                        0.50
                                  duties (.10); review written consent adopting Delwinds/FOXO merger
                                  agreement (.40)
09/03/2022     Giglio, Cindi      Mark up email regarding meetings with investors and related emails (.50)                 0.50
09/03/2022     King, Geoff        Call with D. Chavenson regarding FOXO (.20); review FOXO materials                       0.50
                                  (.20); emails with Katten team regarding FOXO (.10)
09/03/2022     Kirby, Timothy     Review correspondence and related documentation from D. Chavenson                        1.50
                                  and Stinson regarding FOXO dilution issues, FOXO stockholder consent
                                  and equity incentive plan, and related discussions (1.50)
09/04/2022     King, Geoff        Review Special Committee minutes (.20)                                                   0.20
09/04/2022     Thompson, Grace Revise Special Committee minutes per comments from D. Chavenson                             0.20
                               (.20)
09/04/2022     Comerford,         Review updates from Mayer Brown regarding FOXO issues (.60); draft                       3.40
               Michael            FOXO update slides for Special Committee meeting (1.60); revise same
                                  (1.20)
09/05/2022     Giglio, Cindi      Follow up on broker/dealer email (.10); review and comment on FOXO                       0.60
                                  update slides (.50)
09/05/2022     King, Geoff        Review slides regarding FOXO update (.40); review Special Committee                      1.00
                                  agenda (.10); review FOXO materials (.20); review Special Committee
                                  materials (.30)
09/05/2022     Thompson, Grace Draft materials for Special Committee meeting (.30); incorporate inserts                    0.70
                               from other Katten team members and revise (.40)


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09/05/2022     Miranda, Loredana Draft agenda for Special Committee meeting (.20)                                        0.20
09/05/2022     Comerford,         Review G. King comments to FOXO slides (.40); revise slides to                         1.30
               Michael            incorporate comments (.70); review emails from G. Thompson regarding
                                  Special Committee meeting (.20)
09/05/2022     Reisman, Steven    Review materials for Special Committee meeting (.40)                                   0.40
09/05/2022     Archiyan, Yelena   Review agendas and materials for tomorrow’s Special Committee and                      0.20
                                  Investigation Committee meetings (.20)
09/06/2022     Giglio, Cindi      Call with Akin and Mayer Brown (.50); Katten pre-call for committee                    2.80
                                  meetings (.50); call with Special Committee (.80); discussions with S.
                                  Reisman regarding comments from S. Reisman to Committee letter and
                                  related emails (.50); call with G. King regarding Special Committee
                                  matters (.50)
09/06/2022     Barnowski, Dan     Katten call to prep for meetings with Mayer and Akin (.50); attend Mayer/              1.80
                                  Akin weekly call (.50); attend Special Committee call (.80)
09/06/2022     King, Geoff        Final review of Special Committee materials (.20); call with Akin and                  4.80
                                  Mayer Brown regarding case status (.50); attend Katten pre-call in
                                  advance of Special Committee meeting (.50); call with the Special
                                  Committee (.80); analyze issues in connection with ongoing FOXO
                                  diligence (.30); analyze workstreams in connection with ongoing
                                  workstreams (.40); call with C. Giglio regarding Special Committee
                                  workstreams (.50); call with D. Chavenson regarding upcoming Special
                                  Committee meeting (.10); attend Project Polly call (.50); prepare for
                                  Special Committee call (.40); review FOXO memorandum and follow-up
                                  questions (.60)
09/06/2022     Thompson, Grace Finalize materials for Special Committee meeting (.50); attend precall for                2.70
                                 Special Committee meeting (.50); attend weekly call with Debtors' and
                                 Bondholder Committee's professionals (.50); draft summary of same (.30);
                                 revise letter to Bondholder Committee (.50); draft cover email for same
                                 (.20); revise meeting log and WIP to reflect case developments (.20)
09/06/2022     Hall, Jerry       Attend Katten pre-call regarding upcoming meeting with Special                          2.10
                                 Committee (.50); meeting among Special Committee and Katten regarding
                                 various matters (.80); email among B. Perce and others regarding FOXO
                                 transaction (.30); review revised summary of FOXO transaction (.30);
                                 email among T. Kiriakos and others regarding meeting with broker-dealers
                                 (.20)
09/06/2022     Kirby, Timothy    Correspondence regarding merger approval process and stockholder vote                   0.50
                                 (.50)
09/06/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                 2.60
                                 (.30); attend Katten pre-call (.50); attend meeting with the Special
                                 Committee (.80); draft minutes to the Special Committee's meeting (.80);
                                 emails with M. Comerford regarding FOXO analysis (.20)
09/06/2022     Miranda, Loredana Email call times to Katten (.20); emails with A. Pecoraro regarding same                0.30
                                 (.10)
09/06/2022     Comerford,         Review updated memorandum from Mayer Brown regarding FOXO                              5.10
               Michael            corporate history (1.20); revise memorandum regarding FOXO and
                                  various issues relating to merger issues (1.10); review additional diligence
                                  in connection with revise memorandum (.90); prepare for call with Special
                                  Committee regarding agenda and related updates on GWG (1.10); attend
                                  Special Committee call regarding agenda (.80)




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09/06/2022     Roitman, Marc      Call with Debtors' advisors and management regarding case updates and                   2.70
                                  related matters (.50); call with Akin and Mayer Brown regarding same
                                  (.50); Katten pre-call in preparation for call with Akin and Mayer Brown
                                  (.50); attend weekly meeting of the Special Committee regarding case
                                  matters (.80); review materials in preparation for same (.40)
09/06/2022     Reisman, Steven    Review materials in preparation for update call with Akin and Mayer                     2.80
                                  Brown regarding status of matters in GWG case (.70); discussions with
                                  Akin and Mayer Brown regarding GWG (.50); participate in Katten pre-
                                  call on preparation for update call with Akin and Mayer Brown (.50);
                                  discussions with C. Giglio regarding comments to letter to committee and
                                  update (.50); review materials regarding update on case status, Special
                                  Committee activities and plan progress (.60)
09/06/2022     Archiyan, Yelena   Review updated FOXO transaction summary (.20); review email from M.                     0.30
                                  Roitman summarizing docs relevant to business plan (.10)
09/07/2022     Pecoraro, Andrew Review updated analysis of Shared Services Agreement invoice from FTI                     0.50
                                (.50)
09/07/2022     Giglio, Cindi      Call regarding case status with J. Hall (.50); pre-call with Katten regarding           1.70
                                  call with Mayer Brown (.30); call with Mayer Brown (.90)
09/07/2022     Barnowski, Dan     Katten team call to prep for weekly update with Mayer Brown (.30);                      2.10
                                  attend status update call with Mayer Brown (.90); teleconference with
                                  Bondholder Committee Counsel about letter to be sent to Special
                                  Committee (.50); follow up emails with Katten team (.40)
09/07/2022     King, Geoff        Katten pre-call prior to Mayer Brown call (.30); call with Mayer Brown                  3.60
                                  regarding case status (.90); call with D. Chavenson regarding Special
                                  Committee matters (.40); review materials for upcoming meetings (.40);
                                  emails with Katten team regarding FOXO issues (.10); call with Akin
                                  regarding letter to Special Committee (.50); prepare summary of call with
                                  Akin (.30); review diligence received in connection with FOXO
                                  transaction (.40); review letter to Special Committee from Bondholder
                                  Committee (.30)
09/07/2022     Thompson, Grace Attend call with Mayer Brown (.90); attend precall for same (.30); draft                   1.70
                                 summary of call (.50)
09/07/2022     Hall, Jerry       Call with C. Giglio regarding case status (.50); email among J. Gross and                1.40
                                 others regarding draft letter to Bondholder Committee (.20); review letter
                                 from Bondholders Committee (.20); review documents produced by
                                 FOXO (.20); call with M. Comerford regarding FOXO issues (.30)
09/07/2022     Miranda, Loredana Email call times to Katten (.10)                                                         0.10
09/07/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                  3.40
                                 (.30); review index of FOXO diligence (.30); emails with M. Comerford
                                 regarding same (.20); prepare FOXO documents for M. Comerford (.20);
                                 revise memorandum on FOXO (2.40); emails with M. Comerford
                                 regarding same (.10)
09/07/2022     Comerford,         Review updated prospectus filed by Delwinds regarding FOXO issues                       5.20
               Michael            (2.40); call with J. Hall regarding GWG and FOXO issues (.30); emails
                                  with L. Miranda regarding diligence (.30); emails with G. King regarding
                                  FOXO issues (.20); revise memorandum regarding updates from Mayer
                                  Brown (.90); review new diligence received on FOXO (1.10)
09/07/2022     Roitman, Marc      Call with MB and Katten regarding case matters (.90); pre-call with Katten              1.20
                                  in preparation for same (.30)




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09/07/2022     Reisman, Steven    Participate in update call regarding case status with Katten team members              1.60
                                  (.30); participate in update call with Mayer Brown regarding status of
                                  ongoing matters in connection with GWG restructuring (.90); review
                                  recently filed docket entries in connection with GWG case for update on
                                  status (.40)
09/07/2022     Archiyan, Yelena   Review summary of call among Debtors' and Bondholder Committee's                       0.60
                                  Professionals (.10); review email from G. King to Independent Directors
                                  regarding letter from Bondholder Committee (.10); review letter from
                                  Bondholder Committee to Special Committee (.30); review summary of
                                  call with Mayer Brown (.10)
09/08/2022     Pecoraro, Andrew Call with FTI regarding Q2 2022 Shared Services Agreement invoice                        0.70
                                (.40); draft summary regarding same (.30)
09/08/2022     Giglio, Cindi      Call with Mayer Brown regarding FOXO (.50); follow up with G. King                     3.60
                                  (.30); review 9/6 minutes and comment on same (.20); call with FTI
                                  regarding SSA #2 (.40); pre-call with Katten team (.30); call with Akin
                                  (.90); call with G. King and T. Kirby (.20); follow up with G. King (.80)
09/08/2022     Barnowski, Dan     Katten pre-call to prep for Akin call (.30); call with Bondholder                      1.70
                                  Committee Professionals (.90); weekly call with Mayer Brown (.50)
09/08/2022     King, Geoff        Call with Mayer Brown regarding FOXO (.60); analyze issues regarding                   7.30
                                  FOXO transaction (.30); review FOXO memorandum (.30); Katten pre-
                                  call (.30); prepare for call with Bondholder professionals (.20); call with
                                  Bondholder Committee Professionals (.90); weekly call with Mayer
                                  Brown (.50); review Special Committee draft letter and begin revisions
                                  (.40); prepare update to J. Stein in connection with upcoming Special
                                  Committee meeting (.30); review materials in connection with Ben LOI
                                  (.30); call with FTI regarding shared services (.40); calls with C. Giglio
                                  regarding Special Committee matters (.80); call with T. Kirby and C.
                                  Giglio regarding Ben matters (.20); call with J. Stein and S. Reisman
                                  regarding Special Committee matters (.90); call with M. Comerford
                                  regarding FOXO (.40); follow up call with Mayer Brown regarding FOXO
                                  issues (.50)
09/08/2022     Thompson, Grace Attend weekly call with Bondholder Committee's professionals (.90); draft                 2.20
                                 summary of same for Katten (.50); attend call with Mayer Brown (.50);
                                 draft summary for Katten (.30)
09/08/2022     Hall, Jerry       Call among T. Kiriakos and others regarding FOXO transaction and                        2.60
                                 related dilution matters (.60); call among G. King and others regarding
                                 Bondholder Committee matters (.30); call among Katten and Akin
                                 regarding case status (.90); call among Katten and Mayer Brown regarding
                                 case status and potential discovery matters (.50); review FOXO Board
                                 summary (.30)
09/08/2022     Winters, Julia    Review FTI materials regarding Q2 Ben Invoice (.70); call with FTI,                     1.10
                                 Katten regarding Q2 Ben Invoice (.40)
09/08/2022     Kirby, Timothy    Call regarding Ben LOI and reviewing term sheets, draft call summary,                   2.00
                                 review letter from Special Committee and related research (1.80); call with
                                 G. King and C. Giglio regarding Ben LOI (.20)
09/08/2022     Miranda, Loredana Email call times to Katten (.10)                                                        0.10
09/08/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                 4.90
                                 (.20); revise memorandum on FOXO (2.30); emails with M. Comerford
                                 regarding same (.20); review FOXO diligence for memorandum (.70);
                                 revise Special Committee minutes with G. King's comments (.20); attend
                                 call with PJT Partners and Mayer Brown regarding FOXO (.60); draft
                                 summary of call regarding same (.70)




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Date           Timekeeper         Description                                                                          Hours
09/08/2022     Comerford,         Call with G. King regarding FOXO issues (.40); call with Mayer Brown                    6.30
               Michael            and Katten regarding FOXO related issues (.50); review diligence in
                                  connection with FOXO issues (1.90); email to Mayer Brown regarding
                                  dilution and FOXO questions (.60); review memorandum regarding
                                  FOXO (1.40); review comments from L. Miranda to memo on FOXO
                                  (.80); revise memorandum in connection with same (.70)
09/08/2022     Roitman, Marc      Call with Akin and Katten (.90); Katten pre-call in preparation for same                1.70
                                  (.30); call with Mayer Brown regarding FOXO (.50)
09/08/2022     Reisman, Steven    Participate in call with Akin regarding status of matters related to GWG                3.70
                                  restructuring (.90); review materials and participate in call with Special
                                  Committee regarding matters related to same (.60); participate in call with
                                  Katten team members regarding FOXO transaction (.40); participate in
                                  call with G. King and J. Stein regarding Special Committee matters (.90);
                                  Calls with D. Chavenson, T. Horton and J. Stein regarding matters related
                                  to GWG restructuring, ongoing work, plan structure and discussion of
                                  issues regarding GWG operations (.90)
09/08/2022     Archiyan, Yelena   Review summary of call with Mayer Brown and PJT regarding FOXO                          0.30
                                  (.10); summary of weekly call with the Bondholder Committee’s
                                  professionals (.10); review summary of call with Mayer Brown (.10)
09/09/2022     Chase, Ashley      Read letter from Bondholder Committee (.50)                                             0.50
09/09/2022     Giglio, Cindi      Attend a portion of FOXO call (.50); call on UFE settlement portfolio (.40)             0.90
09/09/2022     King, Geoff     Prepare for FOXO call (.20); attend call with Mayer Brown/PJT regarding                    2.80
                               FOXO (.60); call with Katten team regarding committee letter (.90);
                               analyze issues in connection with ongoing FOXO analysis (.70); review
                               and analyze standing research and related materials (.30); emails with
                               Katten and Mayer Brown regarding FOXO (.10)
09/09/2022     Thompson, Grace Review research regarding broker dealer contracts and underlying                           0.40
                               agreements (.30); correspond with G. King regarding the same (.10)
09/09/2022     Kitnick, Jesse  Conduct legal research regarding FOXO issues (4.40)                                        4.40
09/09/2022     Hall, Jerry        Call among B. Perce, T. Kiriakos and others regarding FOXO transaction                  0.60
                                  and dilution matters (.60)
09/09/2022     Miranda, Loredana Email call times to Katten (.10)                                                         0.10
09/09/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                  1.60
                                 (.20); attend call with Mayer Brown and PJT regarding FOXO (.60);
                                 prepare summary of call regarding same (.60); email Katten team
                                 regarding same (.10); email D. Barnowski regarding outstanding Special
                                 Committee minutes (.10)
09/09/2022     Comerford,         Participate in call with Mayer Brown, PJT and Katten regarding FOXO                     3.40
               Michael            issues (.60); review follow-up issues in connection with call (.40); research
                                  in connection with potential claims and FOXO (1.20); email to J. Kitnick
                                  regarding continuing research for FOXO issues (.40); review FOXO
                                  memorandum in connection with revise for additional diligence (.80)
09/09/2022     Reisman, Steven    Review materials regarding FOXO transaction, potential claims, and                      1.80
                                  discussion of issues regarding same in connection with SPAC transaction
                                  (1.80)
09/09/2022     Archiyan, Yelena   Review updated master timeline (.10); review summary of follow up call                  0.20
                                  with Mayer Brown and PJT regarding FOXO (.10)
09/10/2022     Barnowski, Dan     Revise letter to Bondholders Committee (.40)                                            0.40
09/10/2022     King, Geoff        Review GWG draft letter (.20); analyze materials regarding FOXO (.30)                   0.50
09/10/2022     Kitnick, Jesse     Conduct legal research regarding direct and derivative claims by                        5.40
                                  subsequent shareholder (5.40)


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09/10/2022     Comerford,         Review research from J. Kitnick regarding FOXO merger issues (1.80);                     2.40
               Michael            emails to J. Kitnick regarding same (.30); review emails regarding FOXO
                                  issues and merger (.30)
09/10/2022     Roitman, Marc      Draft letter to Bondholder Committee (1.60); emails with Katten regarding                2.70
                                  same (.40); revise draft letter to Bondholder Committee in response to
                                  comments received from Katten team (.70)
09/10/2022     Reisman, Steven    Review materials, including diligence and Katten analysis, regarding                     6.30
                                  FOXO and merger and SPAC transaction (3.40); discussions with Katten
                                  team regarding same (1.30); confer with D. Chavenson regarding matters
                                  related to GWG (.40); review materials in connection with upcoming
                                  Special Committee meeting (1.20)
09/11/2022     Giglio, Cindi      Prepare for call regarding FOXO (.20); call with FOXO and counsel (.50);                 1.40
                                  follow up call with G. King and M. Comerford (.30); review slides
                                  regarding FOXO (.40)
09/11/2022     King, Geoff        Emails with Katten team regarding FOXO and Delwinds (.20); call with                     1.30
                                  M. Comerford and C. Giglio regarding FOXO (.30); call with FOXO and
                                  Mayer Brown (.50); post-call with Katten and Mayer Brown (.30)
09/11/2022     Thompson, Grace Draft presentation for Special Committee meeting (1.20)                                     1.20
09/11/2022     Kitnick, Jesse     Conduct legal research regarding statutory notice provision (3.30)                       3.30
09/11/2022     Hall, Jerry        Call with Mayer Brown, Stinson and others regarding FOXO transaction                     1.10
                                  (.50); follow up call with Mayer Brown regarding FOXO transaction (.30);
                                  review draft slides regarding FOXO presentation (.30)
09/11/2022     Miranda, Loredana Attend call with Mayer Brown, and FOXO, and Stinson LLP regarding                         2.30
                                 FOXO (.50); attend post-call with Mayer Brown (.30); draft summary of
                                 call regarding same (.80); emails with M. Comerford regarding FOXO
                                 valuations (.30); review FOXO minutes (.40)
09/11/2022     Comerford,        Review revised memorandum from Mayer Brown regarding merger issues                        6.10
               Michael           and FOXO (1.20); prepare for call with FOXO including review of open
                                 issues and questions (.80); participate in call with FOXO, Mayer Brown
                                 and Katten (.50); follow-up call with Mayer Brown and Katten regarding
                                 open issues (.30); review slides from Mayer Brown regarding merger and
                                 issues (.70); provide comments to slides (.90); correspond with Mayer
                                 Brown and PJT regarding revisions to slides (.20); review research from J.
                                 Kitnick regarding merger related issues (1.30); review email from PJT
                                 regarding next steps (.20)
09/11/2022     Reisman, Steven    Participate in call with Mayer Brown and counsel for FOXO regarding                      0.90
                                  matters related to transaction and general update on matters related to
                                  same (.40); call with Mayer Brown regarding FOXO and potential claims
                                  (.50)
09/11/2022     Archiyan, Yelena   Review email correspondence regarding FOXO shareholders agreement                        0.40
                                  (.10); review summary of FOXO/Delwinds matter (.20); review notes
                                  from call with Mayer Brown, FOXO and its counsel (.10)
09/12/2022     Giglio, Cindi      Call with PJT and Mayer Brown to discuss FOXO (.80); review slides                       5.00
                                  (.20); attend Polly call (1.20); follow up with S. Reisman (.40); follow up
                                  call with G. King (.40); emails regarding broker deals (.10); emails
                                  regarding FOXO ROR letter (.10); email regarding regular WIP meetings
                                  (.10); attend a portion of Katten call on case issues (.30); call with D.
                                  Chavenson (.20); review FOXO ROR letter (.40); correspond with G.
                                  King (.30); comments to Special Committee deck (.30); emails regarding
                                  FOXO potential litigation (.20)
09/12/2022     Barnowski, Dan     Attend weekly update call with all debtor professionals (1.20); Katten                   1.90
                                  team call to discuss next steps and strategy (.50); review minutes from
                                  committee meetings (.20)


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Date           Timekeeper         Description                                                                          Hours
09/12/2022     Bacon, Elliott     Analyze issues relating to potential dilution claim (.70); perform research             2.20
                                  relating to same (1.30); teleconference with G. King and M. Comerford
                                  relating to same (.20)
09/12/2022     King, Geoff        Attend a portion of Project Polly call (.50); calls with C. Giglio regarding            2.40
                                  follow-up items (.40); call with E. Bacon and M. Comerford regarding
                                  FOXO issues (.20); call with D. Chavenson regarding FOXO (.20); calls
                                  with M. Comerford regarding FOXO (.50); call with C. Harvick regarding
                                  budget (.20); review materials regarding FOXO (.20); emails with Katten
                                  team regarding FOXO analysis (.20)
09/12/2022     Thompson, Grace Revise presentation to Special Committee per comments from Katten                          0.90
                                 (.60); related correspondence with Katten (.10); revise meeting log and
                                 WIP reflecting case updates (.20)
09/12/2022     Hall, Jerry       Review draft reservation of rights (FOXO) (.50); call with M. Comerford                  1.10
                                 regarding same (.40); email among M. Comerford and others regarding
                                 reservation of rights (FOXO) (.20)
09/12/2022     Miranda, Loredana Email call times to Katten (.10)                                                         0.10
09/12/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                  3.80
                                 (.20); emails with M. Comerford regarding FOXO (.20); email D.
                                 Barnowski regarding outstanding meeting minutes (.20); email G. King
                                 regarding same (.20); attend call with Mayer Brown/PJT regarding FOXO
                                 (.80); attend Project Polly weekly call (1.20); prepare summary of call for
                                 Katten team regarding same (1.00)
09/12/2022     Comerford,         Call with Mayer Brown, PJT and Katten regarding FOXO related issues                     5.90
               Michael            (.80); attend Project Polly weekly call (1.20); review research regarding
                                  open issues for FOXO (1.40); call with J. Hall in connection with same
                                  (.40); call with G. King and E. Bacon regarding FOXO issues (.20);
                                  review FOXO diligence and related memo regarding open issues (.80);
                                  review PJT analysis regarding FOXO issues (.60); calls with G. King
                                  regarding FOXO issues (.50)
09/12/2022     Roitman, Marc      Attend Project Polly weekly call (1.20); review materials in preparation                2.10
                                  for same (.40); follow up call with Katten (.50)
09/12/2022     Rosella, Michael   Begin to prepare presentation regarding possible sale of life settlement                0.80
                                  policies portfolio, for Special Committee (.80)
09/12/2022     Reisman, Steven    Participate in Project Polly update call and matters related to same (1.20);            2.50
                                  review materials in preparation for Project Polly update call with
                                  professional (.70); participate in discussions with D. Chavenson regarding
                                  matters related to FOXO (.20); follow up with C. Giglio (.40)
09/12/2022     Archiyan, Yelena   Review notes from pre-call with PJT and Mayer Brown regarding FOXO                      0.30
                                  and call with Mayer Brown, PJT and the Special Committee (.10); review
                                  Project Polly, FOXO Spac Transaction Progress Report (.20)
09/13/2022     Giglio, Cindi      Attend corporate FOXO call (.80); call E. Borenstein and G. King                        6.20
                                  regarding FOXO litigation (.70); call with Mayer Brown team (.90); work
                                  on decision tree (.50); pre-call for Special Committee call (.50); continued
                                  call with Mayer Brown (.60); call with Akin (.70); Special Committee call
                                  (.80); prep call for Special Committee call (.30); follow up with G. King
                                  (.40)
09/13/2022     Stickel, Carrie    Research and analyze case law and guidance on potential direct and                      5.30
                                  derivative claims issues (2.50); calls with E. Bacon, G. King, C. Giglio,
                                  and M. Comerford regarding merger and potential claims (.40); review and
                                  analyze articles of incorporation (1.10); call with E. Bacon regarding same
                                  (.40); review draft letter regarding preserving potential claims (.90)




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09/13/2022     Barnowski, Dan     Teleconference with Mayer Brown regarding FOXO (.90); follow-up call                    4.40
                                  with Mayer Brown regarding FOXO (.60); call with Debtor Professionals
                                  and Bondholder Committee Professionals (.70); Katten pre-call to prepare
                                  for Special Committee call (.50); teleconference with the Special
                                  Committee (.80); review Special Committee presentation to prep for
                                  meeting (.50); review draft flowchart concerning FOXO transaction (.40)
09/13/2022     Borenstein, Evan   Call with C Giglio and G King regarding FOXO matters (.70); review of                   1.20
                                  the same (.50)
09/13/2022     Bacon, Elliott     Analyze issues relating to potential contractual claims (2.60); confer with             4.80
                                  G. King, M. Comerford, C. Giglio, and C. Stickel relating to same (.40);
                                  analyze certificate of incorporation in connection with same (1.40); confer
                                  with C. Stickel relating to same and potential liability theories and direct/
                                  derivative claims (.40)
09/13/2022     King, Geoff        Prepare for Special Committee meeting (.90); review materials in                        8.60
                                  connection with anticipated FOXO SPAC (.80); revise Special Committee
                                  materials (.40); revise FOXO materials (.20); analyze issues in connection
                                  with FOXO SPAC (.80); call with Mayer Brown regarding FOXO (.90);
                                  follow-up call with Mayer Brown regarding FOXO (.60); call with Debtor
                                  Professionals and Bondholder Committee Professionals (.70); attend
                                  portion of Katten pre-call (.10); call with the Special Committee (.80); call
                                  with E. Borenstein and C. Giglio regarding FOXO matters (.70); call with
                                  E. Bacon, M. Comerford, C. Stickel and C. Giglio regarding potential
                                  claims issues (.40); call with J. Stein regarding Special Committee meeting
                                  (.40); calls with C. Giglio regarding FOXO issues (.40); call with L.
                                  Chiapetta regarding FOXO (.10); review Special Committee minutes (.40)
09/13/2022     Thompson, Grace Draft presentation materials for Special Committee regarding FOXO                          3.60
                               transaction (1.30); revise per comments from M. Comerford and C. Giglio
                               (.50); attend Katten precall for Special Committee meeting (.50); revise
                               presentation for Special Committee per comments from G. King and C.
                               Giglio (.90); discussions and correspondence with C. Giglio regarding the
                               same (.30); revise meeting log and WIP to reflect case updates (.10)
09/13/2022     Kitnick, Jesse  Conduct legal research regarding claims in connection with FOXO (6.20)                     6.20
09/13/2022     Hall, Jerry        Meeting among Special Committee and Katten (.80); Katten pre-call for                   3.50
                                  Special Committee call (.50); call among Katten and Akin regarding
                                  various matters (.70); call among Katten and Mayer Brown regarding
                                  FOXO transaction (.90); follow up call among Katten and Mayer Brown
                                  regarding FOXO transaction (.60)
09/13/2022     Kirby, Timothy     Correspondence regarding Delwind shareholder vote, redemption, process                  0.50
                                  questions (.50)
09/13/2022     Miranda, Loredana Attend call with Mayer Brown regarding FOXO (.90) attend Katten pre-                     5.80
                                 call (.50); attend call with Debtor Professionals and Bondholder
                                 Committee Professionals (.70); prepare summary of call regarding same
                                 (.50). attend call with the Special Committee (.80); draft summary of call
                                 with Mayer Brown regarding FOXO (.70); draft summary of follow-up
                                 call with Mayer Brown regarding FOXO (.40); prepare summary of docket
                                 entries relevant to Special Committee matters (.10); draft minutes of the
                                 Special Committee meeting (1.10); emails with M. Comerford regarding
                                 FOXO's SPAC merger (.10)
09/13/2022     Miranda, Loredana Email call times to Katten (.10)                                                         0.10




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09/13/2022     Comerford,         Attend Mayer Brown and Katten call regarding FOXO (.90); attend                        6.80
               Michael            follow-up call with Mayer Brown and Katten regarding FOXO issues
                                  (.60); attend Katten pre-call regarding FOXO related issues (.50); call with
                                  Special Committee and Katten regarding various agenda issues (.80);
                                  review issues in connection with FOXO investigation (.90); prepare slides
                                  for FOXO presentation to Special Committee (1.20); calls with C. Giglio
                                  and G. King in connection with FOXO presentation (.40); call with E.
                                  Bacon, G. King, C. Giglio and C. Stickel regarding FOXO litigation
                                  related issues (.40); review related research in connection with same (.70);
                                  emails with J. Kitnick regarding FOXO research issues (.40)
09/13/2022     Rosella, Michael   Continue to review materials regarding Debtors' life insurance policies                0.90
                                  portfolio and prepare presentation to Special Committee regarding same
                                  (.90)
09/13/2022     Roitman, Marc      Call with Mayer Brown regarding FOXO investment and related case                       4.60
                                  matters (.90); review materials in preparation for same (.30); follow up
                                  call with Mayer Brown regarding same (.60); call with Mayer Brown and
                                  Akin regarding case matters (.70); attend weekly meeting of the Special
                                  Committee (.80); Katten pre-call in preparation for same (.50); revise draft
                                  letter to Bondholder Committee (.80)
09/13/2022     Reisman, Steven    Review docket and pleadings in GWG case and follow up on matters                       0.80
                                  regarding same (.80)
09/13/2022     Reisman, Steven    Review and comment on Special Committee presentation regarding FOXO                    4.10
                                  transaction and analysis of issues with respect to same (1.10); discussions
                                  with Katten team members regarding edits to presentation (.40); follow up
                                  calls with Mayer Brown regarding FOXO and underlying analysis of
                                  transaction and SPAC and prepare for meeting with Special Committee
                                  (1.80); review materials and participate in Special Committee meeting of
                                  Board of Directors (.80)
09/13/2022     Archiyan, Yelena   Review email of responses to items raised on call in connection with                   0.30
                                  FOXO valuation (.10); review summary of call with Mayer Brown (.10);
                                  review FOXO reservation of rights letter (.10)
09/14/2022     Chase, Ashley      Katten check-in call regarding workstreams (.50)                                       0.50
09/14/2022     Giglio, Cindi      Call with Katten team on WIP (.50); pre-call with G. King (.30); edits to              2.50
                                  9/12 and 9/13 minutes (.40); pre-call with Katten for MB call (.30); call
                                  with MB (.80); follow up with G. King (.20)
09/14/2022     Stickel, Carrie    Call with E. Bacon regarding update on analysis and merger (.20)                       0.20
09/14/2022     Barnowski, Dan     Katten team call to prepare for weekly call with Mayer Brown (.30);                    1.10
                                  weekly status update call with Mayer Brown (.80)
09/14/2022     Bacon, Elliott     Confer with C. Stickel relating to updated on analysis and merger (.20);               0.60
                                  emails with G. King relating to same (.20); confer with M. Comerford
                                  relating to FOXO research (.20)
09/14/2022     King, Geoff        Katten pre-call (.30); weekly call with Mayer Brown (.80); Katten Check-               3.40
                                  In call regarding Workstreams (.50); review Special Committee minutes
                                  (.10); review correspondence related to ongoing FOXO analysis (.50);
                                  analyze materials in connection with ongoing FOXO analysis (.90);
                                  prepare summary regarding FOXO developments (.20); review Special
                                  Committee letter (.10)
09/14/2022     Thompson, Grace Attend Katten check in call (.50); revise WIP to reflect updates in Katten                2.30
                               workstreams (.10); correspondence with Special Committee regarding
                               meeting minutes (.20); attend pre-call with Katten (.30); attend weekly
                               Wednesday call with Mayer Brown (.80); draft summary of call for Katten
                               (.40)



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09/14/2022     Hall, Jerry        Katten check-in call regarding case status (.50); attend Katten pre-call                 1.60
                                  regarding upcoming call with Mayer Brown (.30); call among Katten and
                                  Mayer Brown regarding case status (.80)
09/14/2022     Kirby, Timothy     Review disclosure regarding replacement of back-stop and related                         2.00
                                  correspondence (1.50); correspondence regarding Delwinds listing
                                  exchange transfer and related research (.50)
09/14/2022     Miranda, Loredana Prepare summary of recent bankruptcy filings relevant to Special                          1.50
                                 Committee matters (.30); revise Special Committee minutes with G. King
                                 and C. Giglio's comments (.50); email Katten team regarding Special
                                 Committee minutes (.10); update WIP (.30); attend Katten pre-call for call
                                 with Mayer Brown (.30)
09/14/2022     Miranda, Loredana Email call times to Katten team (.10)                                                     0.10
09/14/2022     Comerford,         Call with E. Bacon regarding FOXO research (.20); review emails in                       0.50
               Michael            connection with merger update for FOXO (.30)
09/14/2022     Roitman, Marc      Revise draft letter to Bondholder Committee in response to comments                      0.90
                                  received from Katten team (.90)
09/14/2022     Reisman, Steven    Participate in weekly team call with Mayer Brown (.80); participate in                   2.40
                                  Katten team call in preparation call with Mayer Brown (.40); follow up
                                  regarding matters related to FOXO documentation and transaction (.40);
                                  review restructuring materials in connection with call to discuss
                                  restructuring framework for plan (1.10);review Katten work streams in
                                  connection with ongoing matter being handled in connection with GWG
                                  restructuring and discussions with J. Stein, D. Chavenson and T. Horton
                                  throughout the day regarding matters related to same (.80)
09/14/2022     Archiyan, Yelena   Review notes from follow up call with Mayer Brown from 9/13/2022 and                     0.20
                                  summary of call among the Debtors’ professionals and the Bondholder
                                  Committee’s professionals (.10); review summary of weekly call with
                                  Mayer Brown (.10)
09/15/2022     Chase, Ashley      Katten call regarding work streams (.70)                                                 0.70
09/15/2022     Giglio, Cindi      Weekly call with Akin (.70); call with Mayer Brown (.70); follow up with                 1.80
                                  S. Reisman (.40)
09/15/2022     Barnowski, Dan     Katten team call concerning status of work and next steps (.70); Katten                  2.30
                                  pre-call to prepare for weekly call with Bondholder Committee (.30);
                                  weekly call with Bondholder Committee Professionals (.70); attend
                                  portion of weekly call with Mayer Brown (.60)
09/15/2022     King, Geoff        Weekly call with Mayer Brown (.70); review FOXO S-4 (.40); review                        4.70
                                  emails and materials regarding ongoing FOXO diligence (.80); analyze
                                  Ben materials (.50); Katten check-in call regarding workstreams (.70);
                                  Katten pre-call (.30); prepare for Bondholder Committee call (.40); weekly
                                  call with Bondholder Committee Professionals (.70); review committee
                                  response letter (.20)
09/15/2022     Thompson, Grace Attend weekly call with Bondholder Committee professionals (.70); attend                    7.70
                               pre-call for same (.30); draft summary of Akin call (.40); attend call with
                               Mayer Brown (.70); draft summary of call (.40); research legal issues
                               related to role of federal government agencies in chapter 11 cases (3.50);
                               draft summary of research (1.60); correspondence with Independent
                               Directors regarding minutes (.10)
09/15/2022     Hall, Jerry     Katten check-in call regarding workstreams (.70); call among Katten and                     2.10
                               Akin regarding Bondholder Committee matters (.70); call among Katten
                               and Mayer Brown regarding case status (.70)




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09/15/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   1.20
                                 (.10); attend Katten team call regarding workstreams (.70); attend Katten
                                 pre-call regarding Bondholder Committee Professionals (.30); coordinate
                                 execution of Special Committee minutes (.10)
09/15/2022     Miranda, Loredana Email call times to Katten team (.10)                                                     0.10
09/15/2022     Comerford,         Revise email to Special Committee regarding FOXO related issues (.90);                   5.00
               Michael            correspond with Special Committee regarding FOXO related matters (.40);
                                  call with Katten team regarding outstanding issues including FOXO (.70);
                                  review email from G. King regarding FOXO issues (.20); review materials
                                  in connection with responding to G. King email (.80); email to G. King
                                  regarding FOXO issues (.30); respond to follow-up questions regarding
                                  FOXO issues and merger (.50); draft email to Special Committee in
                                  connection with FOXO questions and related issues (1.20)
09/15/2022     Roitman, Marc      Call with Katten team regarding case matters and updates (.70); call with                2.40
                                  Bondholder Committee Professionals regarding case updates and situation
                                  (.70); Katten pre-call in preparation for same (.30); call with Mayer Brown
                                  regarding case updates (.70)
09/15/2022     Reisman, Steven    Participate in weekly call with Akin Gump and Bondholder professionals                   4.00
                                  (.70); review materials in preparation for same (.20); participate in Katten
                                  team update call regarding ongoing work, status of SEC investigation and
                                  matters related to ongoing issues with respect to FOXO (1.10); participate
                                  in Katten pre-call regarding update on matters related to Special
                                  Committee activities (.40); review and comment on Special Committee
                                  meeting minutes and follow up (.40); review FOXO S-4 filing and related
                                  documentation (.80); discussions with C. Giglio regarding ongoing work
                                  streams and matters related to FOXO, Akin and GWG operations update
                                  (.40)
09/15/2022     Bulkin, Vlad       Review LOI for potential merger between Ben and a SPAC (.70); review                     1.90
                                  Ben's organization documents to assess GWG's rights with respect to
                                  proposed merger (1.20)
09/15/2022     Archiyan, Yelena   Review materials in connection with potential claims where there is a                    1.20
                                  significant enforcement interest (.70); review summary of week call with
                                  Bondholder Committee’s professionals (.10); review restructuring
                                  proposal presentation (.30); review summary of weekly call with Mayer
                                  Brown following call with Bondholder Committee’s professionals (.10)
09/16/2022     King, Geoff        Review correspondence with C. Giglio regarding Special Committee                         1.30
                                  matters (.80); call with PJT regarding Special Committee matters (.20);
                                  call with D. Chavenson regarding Special Committee materials (.10); calls
                                  with J. Stein regarding Special Committee matters (.20)
09/16/2022     Hall, Jerry        Review draft letter to Akin (multiple iterations) (.40); review letter from              0.70
                                  Akin (.30)
09/16/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   0.30
                                 (.30)
09/16/2022     Roitman, Marc     Revise draft letter to Bondholder Committee in response to additional                     1.70
                                 comments received (1.50); emails with Katten regarding same (.20)
09/16/2022     Rosella, Michael Review certain sections of presentations prepared by PJT regarding life                    0.80
                                 policy portfolio (.80)
09/16/2022     Siena, Marie       Emails with L. Miranda regarding execution of minutes of meetings (.10);                 0.40
                                  submit minutes through DocuSign for execution (.30)




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09/16/2022     Reisman, Steven    Attend to matters regarding FOXO, GWG and other matters as well as                      3.10
                                  follow up with Mayer Brown regarding same (1.40); confer with J. Stein
                                  regarding Special Committee matters and follow up regarding issues list
                                  for discussion with Special Committee (1.10); review presentation from
                                  PJT regarding life insurance settlements portfolio and assets of GWG for
                                  upcoming discussions (.60)
09/16/2022     Archiyan, Yelena   Review Bondholder Committee’s follow up letter to Special Committee                     0.10
                                  (.10)
09/17/2022     Hall, Jerry        Email among T. Evans, D. Chavenson and others regarding upcoming                        0.20
                                  Board meeting (.20)
09/17/2022     Roitman, Marc      Revise draft letter to Akin Gump regarding case matters, plan, and                      1.60
                                  investigations (1.30); emails with Katten regarding same (.30)
09/18/2022     Giglio, Cindi      Pre-call for Special Committee call (.50); attend Special Committee                     5.30
                                  meeting (2.10); attend Board meeting (1.50); related follow up (.50); call
                                  with PJT on comments and send comments (.40); work on committee
                                  letter (.20); call with M. Roitman regarding letter (.10)
09/18/2022     Barnowski, Dan     Attend Katten pre-call to prep for Special Committee call (.50); attend                 4.90
                                  Special Committee call (2.10); analyze presentation to Special Committee
                                  concerning proposal (.80); attend GWG Board call (1.50)
09/18/2022     King, Geoff        Katten pre-call prior to Special Committee meeting (.50); attend Special                4.30
                                  Committee meeting (2.10); attend full Board meeting (1.50); call with M.
                                  Roitman regarding letter (.10); review revised letter (.10)
09/18/2022     Thompson, Grace Attend Special Committe call (2.10); attend Katten precall for same (.50);                 3.70
                               draft minutes for same (.80); update meeting log and WIP to reflect case
                               developments (.30)
09/18/2022     Hall, Jerry     Attend Katten pre-call regarding upcoming meeting of Special Committee                     4.20
                               (.50); attend Special Committee call (2.10); attend meeting of full Board
                               (1.50); prepare for same (.10)
09/18/2022     Roitman, Marc   Call with Special Committee regarding plan framework (2.10); Katten pre-                   6.30
                               call in preparation for same (.50); review materials in preparation for same
                               (.60); attend full Board call (1.50); further revise letter to Akin Gump
                               regarding case matters, plan, and investigations (1.40); call with C. Giglio
                               regarding same (.10); call with G. King regarding same (.10)
09/18/2022     Siena, Marie       Email L. Miranda and G. Thompson regarding executed minutes of                          0.20
                                  meetings (.20)
09/19/2022     Chase, Ashley      Katten call regarding workstreams (.90)                                                 0.90
09/19/2022     Pecoraro, Andrew Attend Katten daily call regarding Workstreams (.90)                                      0.90
09/19/2022     Giglio, Cindi      Emails regarding slide disclosure (.10); review NDAs (1.40): calls with S.              6.00
                                  Reisman throughout day regarding Special Committee matters (1.00);
                                  follow up emails with M. Roitman (.50); review Special Committee
                                  materials (.40); attend Polly call (1.00); follow up issues on LBC letter
                                  (.70); attend Katten update call (.90)
09/19/2022     Barnowski, Dan     Project Polly call with advisors (1.00); Katten daily call regarding work in            1.90
                                  progress (.90)
09/19/2022     Werlinger, Eric    Participate in call with Katten regarding ongoing work streams in                       0.90
                                  representation (.90)
09/19/2022     King, Geoff        Attend portion of Project Polly Call (.60); review materials regarding Ben              3.70
                                  issues (.80); emails with Katten team regarding Ben issues (.20); review
                                  PJT revised materials (.80); review Special Committee presentation
                                  materials (.30); communications with Katten team regarding response to
                                  Bondholder Committee letter (.60); review multiple versions of revised
                                  letter (.40)


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Date           Timekeeper          Description                                                                          Hours
09/19/2022     Thompson, Grace Attend check in call with Katten team (.90); attend follow-up call with L.                  5.00
                               Miranda regarding workstreams (.20); attend Project Polly call (1.00);
                               draft additional sections for presentation to Special Committee (2.20);
                               revise same per comments from G. King and C. Giglio (.50); update
                               meeting log and WIP to reflect case developments (.20)
09/19/2022     Hall, Jerry     Katten call regarding case status (.90); attend Project Polly call (1.00)                   1.90
09/19/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   1.30
                                 (.20); attend Katten daily call regarding workstreams (.90); follow up call
                                 with G. Thompson regarding workstreams (.20)
09/19/2022     Roitman, Marc     Further revise letter to Akin Gump regarding plan framework and                           3.40
                                 investigation matters (1.10); call with J. Stein regarding case matters (.20);
                                 weekly call with Debtors' advisors and management (1.00); review
                                 materials in preparation for same (.20); call with Katten regarding update
                                 on case matters and workstreams (.90)
09/19/2022     Reisman, Steven     Discussions with C. Giglio throughout the day regarding matters related to              4.40
                                   GWG, staffing, Project Polly, preparation for Project Polly call and
                                   matters related to same (1.00); follow up regarding Project Polly and
                                   preparation for team call regarding same (.40); participate in Project Polly
                                   team call with PJT, Mayer Brown and Katten (1.00); discussions with
                                   team members regarding ongoing work in connection with GWG
                                   restructuring (.60); attend to review of presentation for Special Committee
                                   and note comments regarding same (1.40)
09/19/2022     Bulkin, Vlad        Review Ben's various governing documents to assess GWG's consent                        3.90
                                   rights and follow-up with Mayer Brown regarding same (3.90)
09/19/2022     Archiyan, Yelena    Review email from E. Werlinger regarding disclosures on asset/liability                 0.30
                                   mismatch (.10); review draft of GWG letter to Bondholder Committee
                                   (.20)
09/20/2022     Giglio, Cindi       Review and comment on minutes (.60); call with Mayer Brown regarding                    3.00
                                   BD issues (.30); call with Mayer Brown and Akin (.60); Katten pre-call
                                   (.50); portion of Special Committee meeting (.50); calls and emails with
                                   G. King (.50)
09/20/2022     Barnowski, Dan      Teleconference with Mayer Brown team concerning broker dealer issue                     2.80
                                   (.30); attention to issues concerning production of documents shown to
                                   broker dealers (.40); attend teleconference with Mayer Brown and Akin
                                   teams (.60); attend weekly call with Special Committee (1.00); attend
                                   Katten team call to prepare for Special Committee call (.50)
09/20/2022     King, Geoff         Call with D. Chavenson regarding Special Committee matters (.10);                       4.40
                                   review agenda for Special Committee meeting (.10); review Special
                                   Committee materials (.30); call with Mayer Brown/Debtors regarding
                                   Broker Dealers Presentation (.30); attend Katten pre-call (.50); attend
                                   weekly call with Debtors’ and Bondholder Committee’s Professionals
                                   (.60); prepare for call with Special Committee (.40); attend call with the
                                   Special Committee (1.00); prepare updated workstream list (.40); review
                                   materials in connection with Ben consent rights (.30); call with MB and
                                   Katten team regarding Ben consent rights (.20); call with T. Evans
                                   regarding diligence issues (.10); call with PJT regarding presentation (.10)
09/20/2022     Thompson, Grace Revise presentation for Special Committee (.10); related correspondence                     1.90
                               with Katten (.10); attend call with Debtors' and Bondholder Committee's
                               professionals (.60); draft summary of same (.30); attend pre-call with
                               Katten for Special Committee call (.50); call with Katten and Mayer
                               Brown regarding presentation to broker-dealers (.30)




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09/20/2022     Hall, Jerry         Katten pre-call regarding upcoming meeting with Special Committee                      3.00
                                   (.50); review presentation for Special Committee (.30); meeting among
                                   Special Committee and Katten regarding various matters (1.00); call
                                   among Katten and Akin regarding various matters (.60); call among L.
                                   Chiappetta and others regarding negotiations with Bondholders Committee
                                   (.20); review broker-dealer presentation (.40)
09/20/2022     Miranda, Loredana Revise agenda for Special Committee meeting with J. Hall's comments                      2.20
                                 (.10); prepare summary of docket entries relevant to Special Committee
                                 matters (.20); attend Katten pre-call (.50); attend call with the Special
                                 Committee (1.00); update minutes section in WIP (.10); review
                                 presentation for Special Committee weekly meeting (.30)
09/20/2022     Roitman, Marc     Call with Debtors' professionals and management regarding Broker Dealer                  3.20
                                 Presentation (.30); emails with Katten regarding same (.20); weekly call
                                 with Debtors’ and Bondholder Committee’s Professionals (.60); review
                                 materials in preparation for same (.20); call with Katten in preparation for
                                 same (.50); call with the Special Committee regarding case matters and
                                 updates (1.00); review materials in preparation for same (.40)
09/20/2022     Bulkin, Vlad      Call with Mayer Brown to discuss GWG's consent rights (.20); prepare for                 0.80
                                 same (.60)
09/20/2022     Archiyan, Yelena    Review minutes from Special Committee meetings 8/25, 8/31, 9/6 (.10);                  1.00
                                   review Katten’s/Special Committee’s comments to Restructuring Proposal
                                   (.20); review draft agenda for Special Committee meeting (.10); review
                                   materials for Special Committee meeting (.10); review memo of asset
                                   liability mismatch (.40); review notes from call among Debtors'
                                   professionals and Bondholder Committee's professionals (.10)
09/21/2022     Chase, Ashley       Katten call regarding work streams (.90)                                               0.90
09/21/2022     Giglio, Cindi       Attend pre-call for Mayer Brown call (.30); call with Mayer Brown (1.00);              2.50
                                   prepare for same (.30); call with Katten regarding workstreams (.90)
09/21/2022     Barnowski, Dan      Teleconference with Katten team to discuss work streams (.90); attend                  2.20
                                   Katten pre-call to prep for Mayer Brown weekly call (.30); weekly status
                                   call with Mayer Brown (1.00)
09/21/2022     Werlinger, Eric     Phone call with Katten regarding workstreams (.90)                                     0.90
09/21/2022     King, Geoff         Attend Katten pre-call (.30); call with Mayer Brown regarding case status              3.40
                                   (1.00); review Ben SPAC materials (.80); prepare summary regarding Ben
                                   SPAC transaction (.40); attend Katten call regarding Workstreams (.90)
09/21/2022     Thompson, Grace Attend Katten internal check in call (.90); research case standing and ad                  5.70
                                 hoc group issues (1.70); review Ben merger agreement announcement
                                 materials and 8-K (.60); draft summary for Special Committee (.60);
                                 attend weekly call with Mayer Brown (1.00); attend Katten pre-call for
                                 same (.30); draft summary of call (.60)
09/21/2022     Hall, Jerry       Katten pre-call for upcoming call with Mayer Brown (.30); Katten check-                  3.00
                                 in call regarding case status and related matters (.90); call with Katten and
                                 Mayer Brown regarding status (1.00); review emails regarding
                                 restructuring matters (.80)
09/21/2022     Miranda, Loredana Draft minutes of Special Committee meeting (1.10); attend daily Katten                   2.30
                                 call regarding workstreams (.90); prepare summary of docket entries
                                 relevant to Special Committee matters (.30)
09/21/2022     Miranda, Loredana Email call times to Katten (.10)                                                         0.10
09/21/2022     Comerford,          Call with Katten team regarding workstreams (.90)                                      0.90
               Michael




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09/21/2022     Roitman, Marc      Katten call regarding case matters and workstreams (.90); call with Mayer                2.40
                                  Brown regarding same (1.00); Katten pre-call in preparation for same (30);
                                  review materials in preparation for same (.20)
09/21/2022     Bulkin, Vlad       Review 8-K and related documents for announcement of Ben's proposed                      0.90
                                  merger with a SPAC (.70); follow-up email with G. King regarding same
                                  (.20)
09/22/2022     Chase, Ashley      Katten call regarding workstreams (.50)                                                  0.50
09/22/2022     Giglio, Cindi      Attend daily team call (.50); call regarding Ben consent rights (.20); call              2.00
                                  regarding DLPIV with White & Case (.50); call regarding DLPVI with
                                  Sidley (.80)
09/22/2022     Barnowski, Dan     Attend portion of call with Akin concerning Ben consent rights (.10);                    0.80
                                  revise letters to Mayer Brown and Akin concerning discovery issues (.20);
                                  revise report to clients concerning latest developments (.50)
09/22/2022     Werlinger, Eric    Phone call with Katten regarding workstreams (.50)                                       0.50
09/22/2022     King, Geoff        Katten call regarding workstreams (.50); prepare for consent call (.20); call            4.40
                                  with Akin regarding Ben consent rights (.20); call with L. Chiappetta
                                  regarding DLP issues (.10); call with White and Case and Mayer Brown
                                  regarding DLP issues (.50); call with Mayer Brown and Sidley regarding
                                  DLP issues (.80); email with C. Giglio regarding DLP issues (.20); analyze
                                  issues in connection with upcoming workstreams (.60); draft response to
                                  Bondholders Committee (.70); call with D. Chavenson regarding SPAC
                                  announcement (.20); review materials in connection with SPAC (.40)
09/22/2022     Thompson, Grace Attend Katten team check in call (.50)                                                      0.50
09/22/2022     Hall, Jerry        Revise draft letter to Debtors regarding information requests (multiple                  5.60
                                  iterations) (1.10); call with Katten regarding case status (.50); email
                                  among D. Barnowski, C. Giglio and others regarding letter to Debtors
                                  (.50); call among Katten, Mayer Brown and White & Case regarding DLP
                                  IV bankruptcy (.50); call among Katten, Mayer Brown and Sidley Austin
                                  regarding DLP VI bankruptcy (.80); revise draft letter to Bondholders
                                  Committee (multiple iterations) (1.20); email among D. Barnowski, M.
                                  Roitman and others regarding letter response to Bondholder Committee
                                  (.50); review draft response to Bondholder Committee’s September 16
                                  letter (.50)
09/22/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   3.50
                                 (.90); attend call with Katten regarding workstreams (.50); update minutes
                                 section in WIP (.10); revise Special Committee minutes with D.
                                 Barnowski's comments (.20)
09/22/2022     Reisman, Steven Participate in calls regarding DLP related issues throughout the day and                    3.20
                                 review documentation and update on matters related to same (2.40);
                                 discussions with D. Chavenson regarding matters related to GWG and
                                 responding to questions (.40); review and comment on correspondence to
                                 Debtors' counsel regarding request for documentation (.40)
09/22/2022     Bulkin, Vlad      Call with Akin to discuss GWG's consent rights in Ben merger with a                       0.30
                                 SPAC (.20); prepare for same (.10)
09/22/2022     Archiyan, Yelena   Review letter of transmittal regarding FOXO Technologies Inc. (.10);                     0.50
                                  review notes from call with Mayer Brown (.10); review Avalon
                                  Acquisition merger docs with Ben (.30)
09/23/2022     Giglio, Cindi      Comment on response letter to Akin (.50)                                                 0.50
09/23/2022     Barnowski, Dan     Teleconference with Katten team to discuss ongoing work streams (.60)                    0.60
09/23/2022     King, Geoff        Attend Katten call regarding workstreams (.60)                                           0.60




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09/23/2022     Thompson, Grace Send docket update summarizing new pleadings relevant to Special                         0.30
                               Committee (.30)
09/23/2022     Hall, Jerry     Email among M. Roitman and others regarding letter to Akin (.20); revise                 0.50
                               letter to Mayer Brown (.30)
09/23/2022     Reisman, Steven Various calls throughout the day regarding update on Katten workstreams                  1.00
                               in connection with GWG business operations and restructuring options
                               and alternatives (.70); review, comment and sign off on Province
                               engagement letter and retention application (.30)
09/26/2022     Chase, Ashley      Katten call regarding work streams (.60)                                              0.60
09/26/2022     Barnowski, Dan     Katten team call to discuss work streams (.60)                                        0.60
09/26/2022     Werlinger, Eric    Participate in call with Katten to discuss workstreams (.60)                          0.60
09/26/2022     Thompson, Grace Attend Katten team update call (.60)                                                     0.60
09/26/2022     Hall, Jerry        Call among D. Barnowski and others regarding case status and related                  0.60
                                  matters (.60)
09/26/2022     Miranda, Loredana Email call times to Katten (.10)                                                       0.10
09/26/2022     Miranda, Loredana Attend daily Katten team call regarding workstreams (.60); prepare                     0.80
                                 summary of docket entries relevant to Special Committee matters (.20)
09/27/2022     Giglio, Cindi      Call with Mayer Brown and Akin (.30)                                                  0.30
09/27/2022     Barnowski, Dan     Attend meeting Mayer Brown and Bondholders Committee (.30)                            0.30
09/27/2022     King, Geoff        Call with Mayer Brown and Akin (.30); review and revise Special                       1.80
                                  Committee minutes (.20); review prior materials in connection with DLP
                                  issues (.40); prepare materials in connection with upcoming Special
                                  Committee meeting (.80); call with D. Chavenson regarding Special
                                  Committee matters (.10)
09/27/2022     Thompson, Grace Draft presentation for upcoming Special Committee meeting (1.40); attend                 1.80
                                 call with Debtors' and Committee's professionals (.30); draft summary of
                                 same for Katten (.10)
09/27/2022     Hall, Jerry       Call among Katten, Mayer Brown and Akin regarding case status (.30);                   0.90
                                 review revised letter to Mayer Brown (.20); review revised letter to
                                 Bondholders Committee (from Investigations Committee) (.20); review
                                 revised letter to Bondholders Committee (from Special Committee) (.20)
09/27/2022     Miranda, Loredana Draft docket filings slides for of Special Committee presentation (.50);               1.30
                                 revise Special Committee minutes with G. King and D. Barnowski's
                                 comments (.40); email D. Barnowski outstanding meeting minutes (.20);
                                 draft agenda for Special Committee (.10); prepare summary of docket
                                 entries relevant to Special Committee matters (.10)
09/27/2022     Roitman, Marc     Call with Debtors' professionals and Bondholder Committee's                            1.60
                                 professionals (.30); review materials in preparation for same (.20); revise
                                 draft letter to Bondholder Committee professionals on behalf of Special
                                 Committee (.80); emails with Katten regarding same (.30)
09/27/2022     Reisman, Steven    Attend to matters regarding transaction issues (.90); review and follow-up            1.30
                                  regarding same (.40)
09/27/2022     Archiyan, Yelena   Review summary of call with PJT and Province (.10); review summary of                 0.30
                                  call with PJT and Province (.10); review summary of call among Debtors’
                                  professionals and Bondholder Committee’s professionals (.10)
09/28/2022     Chase, Ashley      Katten call regarding workstreams (1.10)                                              1.10
09/28/2022     Pecoraro, Andrew Call with Katten regarding workstreams (1.10)                                           1.10




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09/28/2022     Giglio, Cindi       Attend Katten check-in call (1.10); attend Project Polly call (.80); attend             4.60
                                   Katten pre-call for Special Committee call (.50); attend Special Committee
                                   call (.80); attend Mayer Brown call (1.00); follow up on Paul Capital
                                   matters (.40)
09/28/2022     Barnowski, Dan      Teleconference with Debtors Advisors (.80); Katten pre-call to prep for                 4.20
                                   Special Committee meeting (.50); attend Special Committee meeting (.80);
                                   attend weekly teleconference with Mayer Brown (1.00); Katten team call
                                   to discuss ongoing work (1.10)
09/28/2022     King, Geoff         Review Special Committee materials (.30); Project Polly call (.80); call                4.90
                                   with J. Stein regarding Special Committee meeting (.20); review Ben
                                   SPAC materials (.20); Katten call regarding work streams (1.10); Katten
                                   pre-call (.50); call with Special Committee (.80); weekly call with Mayer
                                   Brown (1.00)
09/28/2022     Thompson, Grace Correspondence regarding materials for Special Committee materials                          2.30
                                 (.10); revise materials (.20); correspondence with Katten and directors
                                 regarding minutes (.20); attend Katten team call (1.10); attend pre-call for
                                 Special Committee meeting (.50); revise WIP and meeting log, reflecting
                                 case updates (.20)
09/28/2022     Hall, Jerry       Katten call regarding workstreams (1.10); Katten pre-call regarding                       3.40
                                 upcoming call with Special Committee (.50); call among Katten and
                                 Special Committee (.80); call among Katten and Mayer Brown regarding
                                 case status (1.00)
09/28/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   4.20
                                 (.20); attend Katten call regarding workstreams (1.10); attend weekly call
                                 with the Special Committee (.80); draft minutes for the call with the
                                 Special Committee (.70); attend weekly call with Mayer Brown (1.00);
                                 draft summary of call with Mayer Brown (.40)
09/28/2022     Miranda, Loredana Email call times to Katten (.20)                                                          0.20
09/28/2022     Comerford,          Call with Katten team regarding workstreams and other issues for GWG                    1.10
               Michael             (1.10)
09/28/2022     Roitman, Marc       Attend meeting of Special Committee (.80); call with Katten in                          2.60
                                   preparation for same (.50); review materials in preparation for same (.30);
                                   call with Mayer Brown regarding case matters (1.00)
09/28/2022     Siena, Marie        Submit minutes of meetings for signature through DocuSign (.40)                         0.40
09/28/2022     Reisman, Steven     Continue to work on Special Committee matters as well as review draft                   2.30
                                   minutes and sign off on same (.80); participate in weekly update call with
                                   Mayer Brown regarding ongoing activities in GWG case (.80); follow up
                                   regarding Katten workstreams and additional work in connection with
                                   Special Committee directives (.70)
09/28/2022     Archiyan, Yelena    Review notes from call with Mayer Brown (.10)                                           0.10
09/29/2022     Chase, Ashley       Katten call regarding work streams (1.00)                                               1.00
09/29/2022     Pecoraro, Andrew Call with Katten regarding workstreams (1.00)                                              1.00
09/29/2022     Giglio, Cindi       Attend daily check in call (1.00); attend Polly professionals call (1.00);              4.40
                                   attend weekly call with Akin (1.00); attend Katten post call (.30); call with
                                   PJT, Katten and J. Stein (.60); attend Mayer Brown call (.50)
09/29/2022     Barnowski, Dan      Katten team call regarding ongoing workstreams (1.00); Project Polly call               3.50
                                   amongst all advisors (1.00); weekly call with Bondholder Professionals
                                   (1.00); status update call with Mayer Brown (.50)




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09/29/2022     King, Geoff        Attend Katten call regarding workstreams (1.00); attend Project Polly call              4.60
                                  (1.00); attend call with PJT/Katten/Jeff Stein (.60); attend call with Mayer
                                  Brown (.50); call with D. Chavenson regarding Special Committee
                                  materials (.20); attend Weekly call with Bondholder Professionals (1.00);
                                  attend Katten post-call (.30)
09/29/2022     Thompson, Grace Attend Katten team check in call (1.00); attend call with Debtors                          6.40
                                 professionals (1.00); draft summary of same (.70); attend call with
                                 Bondholder Committee's professionals (1.00); attend post-call with Katten
                                 team (.30); attend call with PJT and J. Stein (.60); attend follow-up call
                                 with Mayer Brown (.50); draft summaries of forgoing calls (1.00); update
                                 WIP and meeting log, reflecting case updates (.30)
09/29/2022     Hall, Jerry       Attend Project Polly call (1.00); call among Katten, Akin and others                     4.40
                                 regarding discovery and restructuring options (1.00); call among Katten,
                                 PJT and others regarding restructuring options (.60); Katten post-call
                                 (.30); call among Katten and Mayer Brown (.50); review draft motion to
                                 approve option agreement (1.00)
09/29/2022     Miranda, Loredana Email call times to Katten (.10)                                                         0.10
09/29/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                  1.60
                                 (.40); update minutes section in WIP (.20); attend Katten call regarding
                                 workstreams (1.00)
09/29/2022     Comerford,         Call with Katten team regarding workstreams (1.00)                                      1.00
               Michael
09/29/2022     Roitman, Marc      Call with Debtors' professionals and management (1.00); review materials                1.30
                                  in preparation for same (.30)
09/29/2022     Siena, Marie       Submit several minutes of meetings for signature through DocuSign (.40);                0.50
                                  emails with L. Miranda and G. Thompson regarding the same (.10)
09/29/2022     Reisman, Steven    Attend Project Polly professionals call (1.00); attend weekly call with                 3.40
                                  Akin (1.00); attend Mayer Brown call (.50); discussions with J. Stein and
                                  T. Horton regarding ongoing Special Committee workstreams (.50);
                                  prepare for same (.40)
09/29/2022     Archiyan, Yelena   Review notes from call with Katten and Debtors’ professionals (.10);                    0.20
                                  review email from weekly call with Bondholder Committee professionals
                                  and subsequent call with Mayer Brown (.10)
09/30/2022     Chase, Ashley      Katten call regarding work streams (1.40)                                               1.40
09/30/2022     Giglio, Cindi      Comments to Stein declaration (.40); correspondence with G. King                        1.00
                                  regarding same throughout the day (.50); review Special Committee
                                  agenda (.10)
09/30/2022     Barnowski, Dan     Katten team call regarding work streams (1.40)                                          1.40
09/30/2022     Werlinger, Eric    Participate in phone call with Katten regarding work streams (1.40)                     1.40
09/30/2022     King, Geoff        Attend Katten team call regarding workstreams (1.40); prepare for Special               2.20
                                  Committee call (.20); calls with D. Chavenson regarding Special
                                  Committee matters (.20); calls with C. Giglio regarding Special
                                  Committee matters (.30); call with S. Reisman regarding Special
                                  Committee matters (.10)
09/30/2022     Hall, Jerry        Katten call regarding workstreams (1.40)                                                1.40
09/30/2022     Miranda, Loredana Email call times to Katten (.10)                                                         0.10
09/30/2022     Miranda, Loredana Draft agenda for Special Committee meeting (.40); emails with G. King                    4.40
                                 regarding same (.10); attend Katten call regarding workstreams (1.40);
                                 draft minutes to Special Committee meeting (.90); prepare summary of
                                 docket entries relevant to Special Committee matters (1.40); emails with
                                 C. Giglio regarding same (.20)


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Date           Timekeeper         Description                                                                        Hours
09/30/2022     Comerford,         Call with Katten regarding workstreams (1.40); review diligence in                    3.70
               Michael            connection with GWG issues (2.30)
09/30/2022     Roitman, Marc      Attend Katten team call regarding workstreams (1.40)                                  1.40
09/30/2022     Reisman, Steven    Participate in discussions with G. King regarding Special Committee                   1.60
                                  matters (.10); review materials in preparation for Special Committee call
                                  and coordination regarding matters related to same (.40); review draft
                                  agenda for Special Committee meeting (.20); participate in Katten team
                                  call (partial) regarding ongoing Special Committee workstreams (.90)
                                                                                           Total Hours :             584.40




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Matter:              397894.00010
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Invoice Due Date:    Payable Upon Receipt


TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                        55.30            1,585.00              87,650.50
Giglio, Cindi                                          61.40            1,350.00              82,890.00
Hall, Jerry                                            47.10            1,285.00              60,523.50
Borenstein, Evan                                        1.20            1,255.00               1,506.00
Comerford, Michael                                     63.00            1,180.00              74,340.00
Winters, Julia                                          6.20            1,180.00               7,316.00
Bulkin, Vlad                                            7.80            1,170.00               9,126.00
Roitman, Marc                                          46.70            1,145.00              53,471.50
King, Geoff                                            80.80            1,145.00              92,516.00
Barnowski, Dan                                         40.60            1,125.00              45,675.00
Kirby, Timothy                                          6.50            1,035.00               6,727.50
Bacon, Elliott                                          7.60              955.00               7,258.00
Werlinger, Eric                                         4.30              955.00               4,106.50
Stickel, Carrie                                         5.50              920.00               5,060.00
Chase, Ashley                                           8.10              910.00               7,371.00
Archiyan, Yelena                                        7.10              875.00               6,212.50
Rosella, Michael                                        2.50              800.00               2,000.00
Thompson, Grace                                        53.80              800.00              43,040.00
Pecoraro, Andrew                                        4.20              775.00               3,255.00
Kitnick, Jesse                                         19.30              660.00              12,738.00
Miranda, Loredana                                      53.90              580.00              31,262.00
Siena, Marie                                            1.50              380.00                 570.00

                                      Sub Total :     584.40   Sub Total :                   644,615.00
                                      Total Hours :   584.40   Total Fees             644,615.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
December 21, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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                                                                                                                                                    Matter:                                    397894.00011
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Summary


RE: Case Administration

For Professional Services Rendered Through September 30, 2022



Fees Total.............................................................................................................................................................                 14,297.50
Total Amount Due ..............................................................................................................................................                         14,297.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice #:          9020103424                                                                              December 21, 2022
Invoice Due Date:   Payable Upon Receipt


RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
09/15/2022     Miranda, Loredana Retrieve sample retention applications for Province (.20); emails with G.                 0.30
                                 Thompson regarding same (.10)
09/18/2022     King, Geoff        Review Province engagement letter (.80)                                                  0.80
09/19/2022     King, Geoff        Revise Province engagement letter (.50)                                                  0.50
09/20/2022     King, Geoff        Review and revise Province retention application (.90); review revisions to              1.10
                                  Province engagement letter (.20)
09/20/2022     Thompson, Grace Provide comments on Province Retention Application (1.50); revise per G.                    1.90
                               King (.30); related correspondence with Katten team (.10)
09/20/2022     Hall, Jerry     Revise Province retention application (1.30)                                                1.30
09/21/2022     Giglio, Cindi      Review Province retention application (.40)                                              0.40
09/21/2022     King, Geoff        Revise Province retention application (.30); revise Province engagement                  1.20
                                  letter (.20); coordinate finalization of Province engagement letter (.70)
09/21/2022     Thompson, Grace Revise Province retention application per comments from J. Hall (.30)                       0.30
09/21/2022     Hall, Jerry        Review revised Province retention application (.40)                                      0.40
09/23/2022     King, Geoff        Review revised Province retention application (.40); emails with Katten                  0.60
                                  team regarding Province retention application and engagement letter (.20)
09/23/2022     Siena, Marie       Submit Province engagement letter and retention application through                      0.40
                                  DocuSign for signatures (.40)
09/24/2022     Hall, Jerry        Email among J. Stein, T. Horton and others regarding Province retention                  0.20
                                  application (.20)
09/26/2022     King, Geoff        Review comments to Province retention application (.20); emails with                     0.90
                                  Katten team regarding retention application (.30); coordinate filing of
                                  Province retention application (.20); prepare email for UST regarding
                                  Province application (.20)
09/26/2022     Thompson, Grace Further revise and finalize Province retention application (.50); related                   1.50
                               correspondence with Province, Katten, and Independent Directors
                               regarding filing (.90); coordinate filing of same (.10)
09/26/2022     Hall, Jerry     Review revised Province retention application (multiple iterations) (1.00)                  1.00
09/26/2022     Siena, Marie       File Province retention application on the court's docket (.30); emails with             0.50
                                  noticing agent regarding service of same (.20)
09/26/2022     Reisman, Steven    Review Province retention application and note comments regarding same                   0.30
                                  and sign off on filing (.30)
09/27/2022     Thompson, Grace Revise case calendar (.30)                                                                  0.30
                                                                                            Total Hours :                13.90




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        0.30            1,585.00                 475.50
Giglio, Cindi                                          0.40            1,350.00                 540.00
Hall, Jerry                                            2.90            1,285.00               3,726.50
King, Geoff                                            5.10            1,145.00               5,839.50
Thompson, Grace                                        4.00              800.00               3,200.00
Miranda, Loredana                                      0.30              580.00                 174.00
Siena, Marie                                           0.90              380.00                 342.00

                                     Sub Total :      13.90   Sub Total :                    14,297.50
                                     Total Hours :    13.90   Total Fees              14,297.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through September 30, 2022



Fees Total.............................................................................................................................................................                   5,222.50
Total Amount Due ..............................................................................................................................................                           5,222.50       USD




Payment can be remitted directly to our account:




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RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
09/28/2022     King, Geoff        Call with S. Reisman regarding PCA proof of claim (.10); review PCA                    0.50
                                  materials (.40)
09/28/2022     Hall, Jerry        Review draft objection to Paul Capital claim (.50)                                     0.50
09/28/2022     Roitman, Marc      Review draft objection to significant claim (.80); draft memorandum                    3.50
                                  analyzing bases for significant claim and potential objection to such claim,
                                  and related considerations (2.10); review of source documents in
                                  connection with same (.60)
                                                                                            Total Hours :                4.50




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Invoice #:          9020103423                                                     December 21, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Hall, Jerry                                            0.50            1,285.00                 642.50
King, Geoff                                            0.50            1,145.00                 572.50
Roitman, Marc                                          3.50            1,145.00               4,007.50

                                     Sub Total :       4.50   Sub Total :                     5,222.50
                                     Total Hours :     4.50   Total Fees               5,222.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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December 21, 2022
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through September 30, 2022



Fees Total.............................................................................................................................................................                       774.00
Total Amount Due ..............................................................................................................................................                               774.00     USD




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RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                       Hours
09/20/2022     Thompson, Grace Review lease rejection motion and stipulation set for hearing (.10); attend             0.30
                               hearing (.10); draft summary for Katten (.10)
09/20/2022     Roitman, Marc   Attend hearing in Bankruptcy Court regarding lease rejection (.10);                     0.40
                               prepare for hearing (.30)
09/27/2022     Siena, Marie       Review updated notice of hearing setting hearing for 10/17/22 (.20)                  0.20
                                                                                          Total Hours :                0.90




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Matter:             397894.00019
Invoice #:          9020103421                                                     December 21, 2022
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Roitman, Marc                                          0.40            1,145.00                   458.00
Thompson, Grace                                        0.30              800.00                   240.00
Siena, Marie                                           0.20              380.00                    76.00

                                     Sub Total :       0.90   Sub Total :                         774.00
                                     Total Hours :     0.90   Total Fees                 774.00    USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
December 21, 2022
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
                                                                                                                                                                                              www.katten.com

Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00021
                                                                                                                                                    Invoice #:                                   9020103446
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Summary


RE: Investigation

For Professional Services Rendered Through September 30, 2022



Fees Total............................................................................................................................................................. 1,397,778.00
Total Amount Due ..............................................................................................................................................1,397,778.00                              USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
09/01/2022     Chase, Ashley      Email with Relativity vendor regarding document review (.50); call with                  7.40
                                  vendor regarding document review (.20); review batch sets and search
                                  terms on Relativity platform for adjustment (1.70); review document
                                  review protocol (.50); review documents (3.90); email among Katten
                                  regarding document review (.60)
09/01/2022     Pecoraro, Andrew Review documents produced by Debtors in SEC investigation (2.50)                           2.50
09/01/2022     Jordan, Ally       Review documents produced by Debtors in SEC Investigation (1.00)                         1.00
09/01/2022     Barnowski, Dan     Revise Special Committee and Investigations Committee meeting minutes                    1.80
                                  (.50); prepare for Willkie interview (.50); prepare draft email to former
                                  directors (.30); teleconference with G. King concerning next steps (.50)
09/01/2022     Werlinger, Eric    Review and summarize key documents regarding investigation of                            2.80
                                  securities related claims (2.80)
09/01/2022     King, Geoff        Calls with D. Barnowski regarding investigation issues (.50); call with S.               1.30
                                  Reisman regarding investigation issues (.10); address issues in connection
                                  with retention of possible financial advisor (.70)
09/01/2022     Thompson, Grace Review documents produced by Debtors in SEC investigation (3.30); call                      7.10
                               with Veristar Relativity vendor regarding SEC document review (.20);
                               correspondence regarding FA interviews (.10); continue reviewing
                               documents produced by Debtors in SEC investigation (3.50)
09/01/2022     Kitnick, Jesse  Continue to review documents produced by Debtors in SEC investigation                       4.40
                               (4.40)
09/01/2022     Hall, Jerry     Call with M. Roitman regarding investigation (1.00)                                         1.00
09/01/2022     Winters, Julia     Emails with Katten regarding document review (.60)                                       0.60
09/01/2022     Hebeisen, Kenneth Continue reviewing document production to SEC (2.70)                                      2.70
09/01/2022     Miranda, Loredana Review documents on Relativity related to SEC investigation (6.30)                        6.30
09/01/2022     Rosella, Michael   Continue to review documents produced in connection with SEC                             6.50
                                  investigation for relevance to ongoing investigation into certain prepetition
                                  related party transactions (6.50)
09/01/2022     Roitman, Marc      Continue to review newly-produced Board materials and related                            3.20
                                  documents produced in connection with investigation regarding evaluation
                                  of potential claims arising from prepetition transactions (2.20); call with J.
                                  Hall regarding investigation matters (1.00)
09/01/2022     Reisman, Steven    Review of documentation in connection with investigation and                             2.90
                                  investigation research of hot documents and ongoing discovery (1.80); call
                                  with G. King regarding investigation matters (.10); follow up regarding
                                  status of SEC document production (.40); update regarding analysis of
                                  pre-petition transactions and status of ongoing investigation (.60)
09/01/2022     Archiyan, Yelena   Continue reviewing documents in connection with investigation (4.40)                     4.40
09/02/2022     Chase, Ashley      Prepare for call regarding document review (.50); Katten call regarding                  6.30
                                  document review (.40); Katten call regarding status of investigations (.60);
                                  conduct document review (3.50); email among Katten regarding document
                                  review (.40); collect documents flagged for second level review (.90)
09/02/2022     Jordan, Ally       Review documents produced by Debtors in SEC Investigation (.40);                         0.80
                                  teleconference with Katten team to discuss progress and outstanding issues
                                  (.40)




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Date           Timekeeper          Description                                                                             Hours
09/02/2022     Giglio, Cindi       Katten call regarding status of investigation (.60); attend FA interviews                  2.90
                                   (1.20); prepare for same (.50); follow up on interviews (.40); emails
                                   regarding former directors (.20)
09/02/2022     Barnowski, Dan      Communications with former directors about interviews (.30);                               4.30
                                   teleconference meeting with former directors, S. Stein and D. Glaser (.90);
                                   teleconference with G. King concerning status of investigation (.30);
                                   attend teleconference meeting with Investigations Committee and potential
                                   FA (.50); attend teleconference meeting with Investigations Committee
                                   and Province (.50); teleconference with Investigations Committee about
                                   potential FAs (.30); Katten status update call concerning investigations
                                   (.60); prepare notes of teleconference with former directors (.30);
                                   teleconference with E. Werlinger about disclosure issues (.40);
                                   teleconference with S. Reisman concerning results of interviews (.20)
09/02/2022     King, Geoff         Attend Katten call regarding document review (.40); attend Katten call                     2.50
                                   regarding status of investigations (.60); attend financial advisor Interviews
                                   (1.20); call with D. Barnowski regarding investigation matters (.30)
09/02/2022     Thompson, Grace Correspondence regarding FA interviews (.20); review documents                                 7.10
                                 produced by Debtors in SEC investigation (3.40); attend FA interviews
                                 (1.20); attend call with Katten SEC document review team (.40); attend
                                 call with Katten investigation team (.60); continue reviewing documents
                                 produced by Debtors in SEC investigation (1.30)
09/02/2022     Kitnick, Jesse    Continue to review documents produced by Debtors in SEC investigation                        5.20
                                 (4.80); call with Katten regarding document review (.40)
09/02/2022     Hall, Jerry       Email among D. Barnowski and others regarding witness interviews (.40);                      2.20
                                 review revised document tracker (investigation) (.20); Katten call
                                 regarding investigation status (.60); review documents regarding
                                 investigation (Beneficient) (1.00)
09/02/2022     Winters, Julia    Emails with Katten team regarding investigation (1.20); call with Katten                     1.80
                                 regarding investigation status (.60)
09/02/2022     Hebeisen, Kenneth Continue reviewing documents produced to SEC (3.10); attend Katten                           3.50
                                 document review update meeting (.40)
09/02/2022     Miranda, Loredana Review documents on relativity related to the SEC investigation (5.90);                      8.20
                                 review September 2, 2022, document production by Mayer Brown (.30);
                                 update document tracker (.20); revise Investigations Committee minutes
                                 with G. King and C. Giglio's comments (.70); draft propose email to
                                 Independent Directors regarding same (.10); attend Katten call regarding
                                 document review (.40); attend Katten call regarding status of investigation
                                 (.60)
09/02/2022     Roitman, Marc     Continue to review newly-produced Board materials and related                                4.30
                                 documents produced in connection with investigation regarding evaluation
                                 of potential claims arising from prepetition transactions (3.30); Katten call
                                 regarding document review and analysis (.40); Katten call regarding status
                                 of investigations (.60)
09/02/2022     Rosella, Michael Attend SEC document review investigation call (.40); attend Katten call                       5.50
                                 on status of investigation (.60); continue to review documents related to
                                 SEC investigation for relevance to ongoing related party transaction
                                 investigation (4.50)




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Date           Timekeeper         Description                                                                          Hours
09/02/2022     Reisman, Steven    Review of documentation regarding SEC investigation and documents                       4.10
                                  produced in connection with same (.70); participate in discussions
                                  regarding retention of financial advisor for ongoing work in connection
                                  with investigations (.60); discussions with D. Barnowski regarding
                                  interviews and recommendation (.20); follow up regarding update on
                                  investigation matters, ongoing work, document production and interviews
                                  (.60); participate in portion of financial advisor interviews (1.20); review
                                  materials circulated by financial advisors regarding retention (.50); follow
                                  up regarding matters related to same (.30)
09/02/2022     Archiyan, Yelena   Continue conducting document review in connection with investigation                    3.70
                                  (3.60); review updated document request tracking chart (.10)
09/03/2022     Chase, Ashley      Begin reviewing documents flagged for second level review (3.40); begin                 5.10
                                  drafting summary of notable documents (1.70)
09/03/2022     Pecoraro, Andrew Review documents produced by Debtors in SEC investigation (3.00)                          3.00
09/03/2022     Jordan, Ally       Review documents produced by Debtors in SEC investigation (1.50)                        1.50
09/03/2022     Barnowski, Dan     Teleconference with S. Reisman concerning investigation interviews (.30);               0.60
                                  preparation for additional interviews (.30)
09/03/2022     Thompson, Grace Review documents produced by Debtors in SEC investigation (3.20);                          4.80
                                 perform target searches of documents in follow-up from investigation
                                 team call (.40); continue reviewing documents produced by Debtors in
                                 SEC investigation (1.20)
09/03/2022     Hebeisen, Kenneth Continue reviewing documents produced to SEC (2.70)                                      2.70
09/03/2022     Miranda, Loredana Review documents in relativity related to the SEC investigation (1.90)                   1.90
09/03/2022     Rosella, Michael   Continue to review documents related to SEC investigation for relevance                 2.50
                                  to ongoing related party transaction investigation (2.50)
09/03/2022     Reisman, Steven    Confer with D. Barnowski regarding update on investigation interviews,                  1.30
                                  plan of action, ongoing work and results to date (.30); update regarding
                                  status of matters regarding investigation, review of prior transactions an
                                  general update on SEC document production (.60); confer with client
                                  regarding status of matters and ongoing work (.40)
09/03/2022     Archiyan, Yelena   Review documents produced by GWG in SEC investigation (4.10);                           7.30
                                  continue reviewing SEC documents (3.20)
09/04/2022     Giglio, Cindi      Emails regarding investigation (.30)                                                    0.30
09/04/2022     Thompson, Grace Review documents produced by GWG in SEC investigation (3.20);                              4.90
                                 correspondence with D. Barnowski and Katten regarding key documents
                                 (.40); continue reviewing SEC documents (1.10); follow-up
                                 correspondence regarding same (.20)
09/04/2022     Hebeisen, Kenneth Continue reviewing documents produced to SEC (1.10)                                      1.10
09/04/2022     Miranda, Loredana Review documents on relativity related to the SEC investigation (2.60)                   2.60
09/04/2022     Rosella, Michael   Continue to review documents related to SEC investigation for relevance                 4.00
                                  to ongoing related party transaction investigation (4.00)
09/04/2022     Archiyan, Yelena   Review documents produced by GWG in SEC investigation (4.10);                           7.70
                                  continue reviewing SEC documents (3.60)
09/05/2022     Chase, Ashley      Continue reviewing documents marked hot in SEC production (2.40)                        2.40
09/05/2022     Pecoraro, Andrew Review documents produced by Debtors regarding SEC investigation                          3.50
                                (2.50); review materials in preparation for interview with Willkie (1.00)
09/05/2022     Jordan, Ally       Review documents produced by Debtors in SEC Investigation (3.20);                       4.80
                                  continue reviewing SEC investigation-related documents (1.60)




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Date           Timekeeper         Description                                                                          Hours
09/05/2022     Barnowski, Dan     Revise presentation to Independent Directors concerning investigation                   1.70
                                  (.50); prepare for Willkie interview (.80); prepare for additional witness
                                  interviews (.40)
09/05/2022     Werlinger, Eric    Review SEC filings in regarding investigation of potential securities                   5.50
                                  claims (2.70); prepare summary and outline of research to assist with
                                  forthcoming interviews (2.80)
09/05/2022     King, Geoff       Review Investigations Committee presentation (.10); review materials in                  0.60
                                 connection with prior transactions (.50)
09/05/2022     Thompson, Grace Follow-up correspondence with D. Barnowski and Katten team regarding                       4.90
                                 key documents (1.00); draft presentation for Investigations Committee
                                 meeting (.20); review documents produced by GWG in connection with
                                 SEC investigation (1.60); revise Investigations Committee presentation
                                 (.10); continue reviewing SEC documents (2.00)
09/05/2022     Miranda, Loredana Draft agenda for Investigations Committee meeting (.30); emails with                     2.80
                                 Katten team regarding same (.10); review documents on relativity related
                                 to the SEC investigation (2.10); emails with J. Brooks-Patton regarding
                                 retrieval of SEC filings (.30)
09/05/2022     Roitman, Marc     Continue to review documentation produced in connection with                             5.60
                                 investigation regarding evaluation of potential claims arising from
                                 prepetition transactions, including documentation relating to prior Special
                                 Committee consideration of potential transactions (5.10); emails with
                                 Katten regarding same (.50)
09/05/2022     Rosella, Michael Continue to review documents related to SEC investigation for relevance                   4.00
                                 to ongoing related party transaction investigation (4.00)
09/05/2022     Reisman, Steven Emails and update with Katten team regarding investigation status and                      1.50
                                 review of documentation in connection with same (.40); update regarding
                                 SEC investigation (.30); review materials in preparation for investigation
                                 meeting and review draft agenda related to same (.40); review of
                                 presentation to Independent Directors concerning of investigation and
                                 general update (.40)
09/05/2022     Archiyan, Yelena   Continue reviewing documents in connection with investigation (1.00)                    1.00
09/06/2022     Chase, Ashley      Continue drafting summary of notable documents (3.80); review                           6.50
                                  documents marked hot in SEC document review (1.50); call among Katten
                                  regarding document review (.20); email with Relativity vendor regarding
                                  second level review (.60); review and edit materials for Investigations
                                  Committee meeting (.40)
09/06/2022     Pecoraro, Andrew Pre-call with Katten to prepare for interview with Willkie (.20); attend and              4.70
                                take notes regarding interview with Willkie (.90); Katten call regarding
                                results of interview (.50); draft summary and key takeaways from
                                interview with Willkie (1.30); review documents produced by Debtors
                                regarding SEC investigation (1.20); review and analyze Debtor SEC
                                filings regarding debt coverage ratio (.60)
09/06/2022     Jordan, Ally       Review documents produced by Debtors in SEC Investigation (2.60); call                  4.80
                                  with Katten team to discuss document review process (.20); continue
                                  reviewing SEC investigation-related documents (2.00)
09/06/2022     Giglio, Cindi      Call with M. Roitman regarding investigation (1.00); call with                          1.80
                                  Investigations Committee (.80)




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Date           Timekeeper          Description                                                                          Hours
09/06/2022     Barnowski, Dan      Analyze memo concerning securities law issues (.40); prepare short                      6.10
                                   response concerning securities issues to pursue (.40); further prep for
                                   Willkie interview (.40); Katten team call to prepare for Willkie interview
                                   (.20); interview Willkie (.90); Katten team call to discuss results of
                                   Willkie meeting (.50); analyze documents relating to securities
                                   investigation (1.60); call with G. King regarding investigation issues (.20);
                                   teleconference with Debtor Advisors (.50); teleconference with M.
                                   Roitman concerning investigation (.20); attend Investigations Committee
                                   call (.80)
09/06/2022     Werlinger, Eric     Edit action plan for securities investigation (.50); comment on outline of              2.40
                                   questions for forthcoming interviews (.30); attend Katten pre-call
                                   regarding interview with Willkie (.20); attend interview of Willkie (.90);
                                   participate in debriefing regarding Willkie interview (.50)
09/06/2022     King, Geoff         Prepare for Investigations Committee call (.10); call with the                          1.30
                                   Investigations Committee (.80); call with D. Barnowski regarding
                                   Investigation issues (.20); analyze issues in connection with potential FA
                                   retention (.20)
09/06/2022     Thompson, Grace Correspondence with D. Barnowski regarding key documents (.40); draft                       6.40
                                 correspondence to Katten team regarding the same (.40); review
                                 documents produced by GWG in SEC investigation (2.40); revise master
                                 timeline per updates from M. Roitman and key documents (.80); attend
                                 call with Katten document review team (.20); continue reviewing
                                 documents produced by GWG in SEC investigation (2.20)
09/06/2022     Kitnick, Jesse    Continue to review documents produced by Debtors in SEC investigation                     6.60
                                 (6.40); call with Katten regarding document review (.20)
09/06/2022     Hall, Jerry       Review minutes regarding director resignations (.40); call among D.                       2.00
                                 Barnowski and others regarding Willkie interview (investigation) (.50);
                                 meeting among Investigations Committee and Katten (.80); email among
                                 J. Winter and others regarding investigation (.30)
09/06/2022     Winters, Julia    Review documents related to prepetition transactions (2.20); emails with                  4.60
                                 Katten regarding investigation (1.30); emails with Katten regarding call
                                 with Willkie (.20); attend Willkie interview (.90)
09/06/2022     Hebeisen, Kenneth Attend Katten document review meeting (.20); continue reviewing                           2.40
                                 documents produced to SEC (2.20)
09/06/2022     Miranda, Loredana Review documents on relativity related to SEC investigation (3.50); email                 5.30
                                 with J. Brooks-Patton regarding retrieval of SEC filings (.10); attend
                                 Katten call regarding document review (.20); attend meeting with the
                                 Investigations Committee (.80); draft minutes to the Investigations
                                 Committee's meeting (.70)
09/06/2022     Rosella, Michael Attend SEC investigation document review Katten call (.20); continue to                    6.30
                                 review documents related to SEC investigation for purposes of furthering
                                 Investigations Committee investigation into various prepetition related
                                 party transactions (6.10)
09/06/2022     Roitman, Marc     Draft internal memorandum regarding key documents relating to GWG's                       6.10
                                 business dealings and analysis of potential claims or causes of action
                                 arising from prepetition transactions (2.30); review of documentation
                                 produced in connection with investigation regarding evaluation of
                                 potential claims arising from prepetition transactions in connection with
                                 same (1.40); call with C. Giglio regarding investigation matters (1.00); call
                                 with D. Barnowski regarding investigation matters (.20); attend weekly
                                 call with the Investigations Committee regarding investigation matters
                                 (.80); review of materials in preparation for same (.40)




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Date           Timekeeper         Description                                                                          Hours
09/06/2022     Reisman, Steven    Review materials regarding update on SEC investigation, document                        3.30
                                  production, issues in connection with SEC investigation and follow up
                                  (1.40); review materials in preparation for call with Investigations
                                  Committee (.40); participate in Investigations Committee update call
                                  regarding on going work in connection with investigation (.80); update
                                  regarding retention of financial advisor and review materials regarding
                                  same (.30); update regarding matters related to meeting with Willkie as
                                  SEC counsel for GWG and review emails and follow up regarding same
                                  (.40)
09/06/2022     Archiyan, Yelena   Continue reviewing documents in connection with investigation (.50)                     0.50
09/07/2022     Chase, Ashley      Review Relativity for status of the document review (.60); email with                   0.90
                                  Relativity vendor regarding document review (.30)
09/07/2022     Pecoraro, Andrew Review documents produced by Debtors regarding the SEC investigation                      3.70
                                (.80); conduct second-level review of documents, including review of
                                "hot" documents (1.30); draft summary of certain documents to circulate
                                to team (.40); legal research regarding disclosure obligations for director
                                resignations (1.20)
09/07/2022     Jordan, Ally       Review documents produced by Debtors in SEC Investigation (2.60)                        2.60
09/07/2022     Giglio, Cindi      Discuss investigation with J. Winters and J. Hall (.50); call with G. King,             1.20
                                  M. Roitman and D. Barnowski (.50); review fee proposals (.20)
09/07/2022     Barnowski, Dan     Teleconference with M. Roitman concerning next steps in investigation                   3.70
                                  (.60); teleconference with Ben counsel about investigation needs (1.00);
                                  identification of information needed from Ben (.50); call with E.
                                  Werlinger and G. Thompson regarding document review issues (.60);
                                  teleconference with C. Kelley concerning Zimmerman interview (.20);
                                  revise investigation next steps (.40); analyze disclosure issues (.40)
09/07/2022     Werlinger, Eric    Discuss documents regarding new potential securities issues with D.                     0.60
                                  Barnowski and G. Thompson (.60)
09/07/2022     King, Geoff        Call with C. Giglio, D. Barnowski and M. Roitman regarding investigation                2.80
                                  matters (.50); emails with S. Reisman, C. Giglio and D. Barnowski
                                  regarding investigation matters (.40); calls with M. Roitman regarding
                                  investigation matters (1.00); review materials in connection with
                                  investigation and discovery matters (.60); call with J. Winters regarding
                                  investigation matters (.30)
09/07/2022     Thompson, Grace Review new document production from Debtors (1.00); review documents                       4.10
                               produced by Debtors in connection with SEC investigation (2.10); call
                               with D. Barnowski and E. Werlinger regarding documents review issues
                               (.60); review materials to answer follow-up questions from D. Barnowski
                               (.40)
09/07/2022     Brooks-Patton,  Research intelligize regarding GWG Holdings corporate financial filings                    4.80
               Janice          (1.50); review and work with new and additional financial documents
                               reviewing for accuracy and completeness (3.20); email L. Miranda and G.
                               Thompson regarding financial documents (.10)
09/07/2022     Kitnick, Jesse  Continue to review documents produced by Debtors in SEC investigation                      4.40
                               (4.40)
09/07/2022     Hall, Jerry     Call with M. Comerford regarding FOXO transaction (investigation) (.30);                   2.40
                               meeting with C. Giglio and J. Winters regarding investigation (.50);
                               meeting with J. Winters regarding investigation (1.00); review summary of
                               significant documents (.30); review summary of interview of Willkie (SEC
                               investigation) (.30)
09/07/2022     Winters, Julia  Meet with J. Hall and C. Giglio regarding investigation (.50); call with G.                2.20
                               King regarding investigation (.30); call with J. Hall regarding investigation
                               (1.00); emails with Katten regarding investigation (.40)


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Date           Timekeeper         Description                                                                        Hours
09/07/2022     Hebeisen, Kenneth Continue reviewing documents produced to SEC (4.20)                                    4.20
09/07/2022     Miranda, Loredana Review documents on relativity related to SEC Investigation (3.90);                    4.60
                                 review September 7, 2022 document production from Mayer Brown (.20);
                                 update document tracker (.20); update FOXO index (.20); email Katten
                                 team regarding same (.10)
09/07/2022     Rosella, Michael Continue to review SEC investigation documents for information relevant                 5.80
                                 to the Investigation Committee's ongoing investigation into certain
                                 prepetition related-party transactions (5.80)
09/07/2022     Roitman, Marc     Call with D. Barnowski regarding investigation (.60); call with G. King                6.70
                                 regarding same (1.00); call with potential financial advisor to
                                 Investigations Committee regarding types of financial analyses potentially
                                 relevant to investigation (.60); call with Katten regarding investigation
                                 matters (.50); call with T. Evans regarding Ben equity interests and related
                                 transactions (.50); draft email memorandum regarding same (.90);
                                 continue review of documentation produced in connection with
                                 investigation regarding evaluation of potential claims arising from
                                 prepetition transactions (2.60)
09/07/2022     Reisman, Steven Update regarding matters related to investigation, ongoing work streams,                 2.90
                                 review of documentation and matters in connection with updating client on
                                 status of investigation (1.80); update regarding matters related to FOXO
                                 (.30); confer with Katten team members including D. Barnowski, C.
                                 Giglio and G. King regarding matters related to investigation, work
                                 streams and general update on same (.40); review of financial advisor fee
                                 proposals and follow up including discussions with financial advisor
                                 regarding estimated cost of work in connection with investigation (.40)
09/07/2022     Archiyan, Yelena   Review updated document tracker (.10); continue reviewing documents in                2.50
                                  connection with investigation (2.20)
09/08/2022     Chase, Ashley    Continue reviewing hot documents (1.40); update draft hot document chart                2.10
                                (.70)
09/08/2022     Pecoraro, Andrew Legal research regarding disclosure obligations concerning director                     2.40
                                resignations (.80); conduct second level review of documents produced by
                                Debtor in SEC investigation (1.60)
09/08/2022     Jordan, Ally       Review documents produced by Debtors in SEC Investigation (2.00)                      2.00
09/08/2022     Giglio, Cindi      Emails regarding B. Zimmerman (.20); emails regarding discovery (.10);                0.60
                                  call with Katten team regarding investigation (.30)
09/08/2022     Barnowski, Dan     Teleconference with G. King concerning investigation work (.30); respond              1.20
                                  to C. Kelley email concerning production of securities documents (.20);
                                  teleconference with E. Taube concerning director interview (.30); email to
                                  Ben counsel concerning additional interviews (.10); Katten team call
                                  concerning investigation (.30)
09/08/2022     King, Geoff     Attend Katten call regarding investigation (.30); call with D. Barnowski                 1.40
                               regarding investigation issues (.30); review materials in connection with
                               ongoing investigation workstreams (.60); prepare checklist of ongoing
                               workstreams (.20)
09/08/2022     Thompson, Grace Review documents recently produced by Debtors for issues relevant to                     5.90
                               investigation (2.70); call with M. Roitman regarding investigation next
                               steps (.50); continue reviewing new documents from Debtors (2.10); call
                               with L. Miranda regarding diligence requests and review (.40);
                               correspondence with L. Miranda regarding the same (.20)
09/08/2022     Brooks-Patton,  Continue to review and work with new GWG Holdings corporate financial                    1.80
               Janice          filings and documents reviewing for accuracy and completeness (1.80)




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09/08/2022     Kitnick, Jesse     Continue to review documents produced by Debtors in SEC investigation                     1.10
                                  (1.10)
09/08/2022     Hall, Jerry        Katten call regarding investigation (.30); review documents regarding                     3.40
                                  investigation (2.20); review resignation letters (.20); email among D.
                                  Barnowski and others regarding director resignations (.30); call with J.
                                  Winters regarding investigation (.40)
09/08/2022     Winters, Julia     Call with Katten regarding investigation (.30); call with J. Hall regarding               0.70
                                  investigation (.40)
09/08/2022     Miranda, Loredana Revise Investigations Committee minutes with G. King's comments (.10);                     5.20
                                 emails with G. King regarding same (.20); review August 29, 2022
                                 document production by Mayer Brown (4.10); review September 8
                                 document production by Mayer Brown (.40); call with G. Thompson
                                 regarding same (.40)
09/08/2022     Rosella, Michael Review letter from counsel to Bondholder Committee regarding various                        0.50
                                 issues affecting the plan and ongoing investigation (.50)
09/08/2022     Roitman, Marc     Call with G. Thompson regarding investigation matters (.50); call with                     5.20
                                 Katten regarding investigation matters (.30); further revise memorandum
                                 regarding key matters relevant to investigation and analysis of potential
                                 claims or causes of action arising from prepetition transactions (2.90);
                                 continue review of documentation produced in connection with
                                 investigation in connection with same (1.50)
09/08/2022     Reisman, Steven    Participate in Katten investigations team update call (.30); review                       2.00
                                  materials in preparation for same and status of ongoing work in connection
                                  with investigation (.70); update regarding interviews, potential additional
                                  discovery and request for depositions (.30); review correspondence from
                                  Bondholders Committee regarding GWG, plan, structure and concerns
                                  (.40); follow up regarding matters related to same with clients (.30)
09/08/2022     Archiyan, Yelena   Continue reviewing documents in connection with investigation (1.50)                      1.50
09/09/2022     Chase, Ashley      Attend part of call among Katten regarding investigation (.50); read emails               4.90
                                  from G. Thompson summarizing this week's calls with Debtors and
                                  Bondholder Committee (.80); review emails among Katten and Relativity
                                  vendor regarding document review (.30); continue review of documents
                                  marked hot (2.30); update hot document chart (1.00)
09/09/2022     Pecoraro, Andrew Call with Katten regarding investigation status (.70); legal research                       3.10
                                regarding disclosure obligations (1.00); review and analyze Debtor's
                                public filings regarding director resignations (.40); conduct second level
                                review of documents produced by Debtors in SEC investigation (1.00)
09/09/2022     Giglio, Cindi      Call with Katten regarding investigation (.70); follow up calls and                       1.30
                                  correspondence (.60)
09/09/2022     Barnowski, Dan     Communications with former Board members about interviews (.30);                          2.40
                                  status update call concerning investigation with Katten team (.70); revise
                                  investigation plan as it relates to securities claims and SEC investigation
                                  (.60); review of hot documents (.60); call with M. Roitman regarding
                                  investigation (.20)
09/09/2022     King, Geoff        Attend a portion of Katten call regarding Investigation (.30); call with M.               1.20
                                  Rosella and C. Giglio regarding presentation materials (.30); call with S.
                                  Reisman and C. Giglio regarding presentation materials (.60)




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09/09/2022     Thompson, Grace Review documents recently produced by Debtors for issues relevant to                      6.50
                                 investigation (1.30); call with Katten investigation team (.70);
                                 correspondence with A. Chase, L. Miranda, and Veristar regarding
                                 additional documents to review (.30); call with M. Rosella regarding
                                 investigation update (.30); review hot documents from SEC document
                                 review (1.00); revise master timeline, reflecting information learned from
                                 document review and hot documents (1.40); continue reviewing
                                 documents produced by Debtors in SEC investigation (.90); further
                                 correspondence with Veristar and L. Miranda regarding new documents
                                 (.20); call with L. Miranda regarding minutes of Investigations Committee
                                 meeting (.40)
09/09/2022     Brooks-Patton,    Respond to email from L. Miranda and G. Thompson regarding review of                    1.90
               Janice            DLP IV and VI transactions documents (.10); review and work with new
                                 GWG Holdings and DLP IV and VI transactions documents reviewing for
                                 accuracy and completeness (1.80)
09/09/2022     Hall, Jerry       Attend Katten call regarding investigation (.70); review documents                      2.20
                                 regarding investigation (1.00); review draft investigation status chart (.50)
09/09/2022     Miranda, Loredana Review September 8, 2022 document Production from Mayer Brown                           7.00
                                 (3.10); update index of minutes, resolutions and materials (.40); update
                                 document tracker (.60); email Katten team regarding same (.20);
                                 conference with G. Thompson regarding same (.40); attend Katten call
                                 regarding Investigation (.70); coordinate sending document production to
                                 relativity (1.20); emails with A. Konrath regarding same (.20); emails with
                                 J. Patton-Brooks regarding document production (.10); email Mayer
                                 Brown regarding document production passwords (.10)
09/09/2022     Roitman, Marc     Revise draft memorandum regarding investigation status and focal points                 3.60
                                 for further investigation (1.60); call with D. Barnowski regarding same
                                 (.20); investigation team call (.70); continue review of documentation
                                 produced in connection with investigation in connection with analysis of
                                 potential estate claims (1.10)
09/09/2022     Rosella, Michael Review newly received documents related to specific prepetition related-                 5.00
                                 party transactions (2.40); prepare email summary and analysis for Katten
                                 (1.70); emails with Katten regarding updates from investigation team call
                                 (.30); call with G. Thompson regarding investigation update (.30); call
                                 with G. King and C. Giglio regarding presentation materials (.30)
09/09/2022     Reisman, Steven Update regarding matters related to investigation, document review,                       4.00
                                 analysis of prior transactions and matters related to GWG restructuring
                                 and SEC investigation (3.40); update regarding former board member
                                 interviews and documentation related to director resignations (.60)
09/10/2022     Chase, Ashley       Continue review of hot documents (2.00); update hot document chart                    3.80
                                   (1.40); read email from G. Thompson regarding GWG Board in 2019 (.40)
09/10/2022     Pecoraro, Andrew Call with Katten regarding SEC investigation (.60); review and analyze                   4.10
                                exhibits used by SEC in depositions to identify hot documents (1.50);
                                conduct second level review of documents produced by Debtors in SEC
                                investigation (2.00)
09/10/2022     Giglio, Cindi       Review Investigations Committee presentation and comment on same                      0.30
                                   (.30)
09/10/2022     Barnowski, Dan      Teleconference with Katten concerning SEC and securities claims                       0.60
                                   investigation (.60)
09/10/2022     Thompson, Grace Draft presentation for Investigations Committee meeting (.20);                            0.30
                               correspondence with Veristar regarding document review (.10)




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09/10/2022     Reisman, Steven    Continue to work on matters with respect to Investigations Committee,                   9.10
                                  work plan, and legal analysis in connection with same (2.90); review hot
                                  documents flagged by SEC document review team (3.50); continue to
                                  work on matters with respect to investigation and discussions regarding
                                  same with T. Horton and J. Stein throughout the day (1.10); analyze issues
                                  related to third party discovery and planning for same (1.60)
09/11/2022     Chase, Ashley      Conduct second level review of documents in the Debtors' SEC production                 2.40
                                  (1.90); review draft Investigations Committee materials for comment
                                  (.20); review draft response letter to Bondholder Committee (.30)
09/11/2022     Giglio, Cindi      Emails on Investigations Committee presentation and issues related to                   0.50
                                  former directors (.50)
09/11/2022     Barnowski, Dan     Recommend revisions to weekly presentation to Investigations Committee                  2.10
                                  (.40); prepare draft communication to former directors concerning
                                  interviews (.30); emails with team concerning next steps in investigation
                                  (.40); prepare memo concerning next steps in SEC investigation (.80);
                                  communications with former director’s counsel concerning his interview
                                  (.20)
09/11/2022     Thompson, Grace Draft presentation for Investigations Committee meeting (.40); continue                    2.50
                               first level review of Documents produced by GWG to SEC (.70); perform
                               second level review of select documents produced by GWG to SEC (1.00);
                               correspondence with L. Miranda and Veristar regarding loading additional
                               documents for review and next steps (.40)
09/11/2022     Hall, Jerry     Review presentation to Investigations Committee (.50)                                      0.50
09/11/2022     Kirby, Timothy     Correspondence and related research regarding DE law issue (3.00)                       3.00
09/11/2022     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); emails with                     0.30
                                 Katten team regarding same (.10)
09/11/2022     Reisman, Steven    Discussions with J. Stein and T. Horton throughout the day regarding                    0.60
                                  matters related to GWG investigation and general update (.60)
09/11/2022     Archiyan, Yelena   Review draft materials for Investigations Committee meeting (.10)                       0.10
09/12/2022     Chase, Ashley      Email with vendor regarding document review (.60); read summary from                    8.00
                                  interview of Willkie regarding SEC investigation (.40); conduct second
                                  level review of SEC investigation documents (2.80); conduct searches for
                                  documents in preparation for interview of B. Zimmerman (.90); review
                                  documents in preparation for interview of B. Zimmerman (3.30)
09/12/2022     Pecoraro, Andrew Review and analyze hot documents regarding SEC-related investigation                      9.10
                                issues (2.20); draft summary of same, identifying potential witnesses to
                                interview (2.60); legal research regarding obligation to disclose reasons for
                                director resignations (2.00); review Debtor disclosures regarding director
                                resignations (.50); draft analysis regarding same (1.80)
09/12/2022     Jordan, Ally       Draft chart regarding debt coverage ratio in prepetition transactions (.60)             0.60
09/12/2022     Giglio, Cindi      Investigations Committee pre-call (.50)                                                 0.50
09/12/2022     Barnowski, Dan     Analyze revised timeline of events (.80); analyze “hot” documents (1.40);               5.20
                                  call with J. Hall regarding investigation (.40); Investigations Committee
                                  call (.70); Katten pre-call to prep for Investigations Committee call (.50);
                                  emails to potential witnesses to set up interviews (.20); communications
                                  with former director’s counsel about his interview (.20); analyze SEC hot
                                  documents memorandum (.60); analyze memo concerning director
                                  resignation issue (.40)




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Date           Timekeeper         Description                                                                          Hours
09/12/2022     King, Geoff        Prepare for Investigations Committee call (.30); review team materials                  2.60
                                  regarding investigation issues (.30); Katten pre-call regarding investigation
                                  (.50); call with the Investigations Committee (.70); call with Katten team
                                  regarding Investigation issues (.50); call with T. Evans regarding diligence
                                  (.30)
09/12/2022     Thompson, Grace Correspond with Veristar, A. Chase, L. Miranda regarding new document                      7.90
                                 productions (.30); perform second level review of select documents
                                 produced by GWG in SEC investigation (2.40); revise Investigations
                                 Committee presentation per comments from D. Barnowski and M.
                                 Roitman (.30); perform targeted searches of documents in connection with
                                 upcoming interview (.80); related correspondence with Katten (.20);
                                 continue second level review of select SEC documents (3.20);
                                 correspondence with A. Chase and A. Pecoraro regarding the same (.20);
                                 attend pre-call for Investigations Committee meeting (.50)
09/12/2022     Hall, Jerry       Call with D. Barnowski regarding investigation (.40); call with S. Reisman               3.30
                                 regarding investigation (.10); follow up email with M. Comerford
                                 regarding investigation (.60); review research regarding FOXO
                                 investigation (2.20)
09/12/2022     Miranda, Loredana Email Mayer Brown regarding passwords for document production (.10);                     5.60
                                 attend Katten pre-call (.50); attend Investigations Committee meeting
                                 (.70); draft minutes for meeting with the Investigations Committee (.90);
                                 summarize Board minutes for interview preparation (3.20); emails with A.
                                 Chase regarding same (.20)
09/12/2022     Roitman, Marc     Revise presentation for Investigations Committee (.50), review documents                 5.10
                                 produced by Debtors and Ben in connection with analysis of prepetition
                                 transactions (1.10); review materials in preparation for upcoming
                                 investigation interviews (1.40); meeting with the Investigations Committee
                                 (.70); Katten pre-call in preparation for same (.50); draft memorandum
                                 regarding document review protocol for transactional document review
                                 (.90)
09/12/2022     Rosella, Michael Prepare email analysis to M. Roitman regarding review of various                          0.70
                                 documents related to certain prepetition related-party transactions (.70)
09/12/2022     Reisman, Steven    Attend to matters regarding investigation and discussions with Katten                   2.10
                                  team in preparation for diligence call regarding work of Investigations
                                  Committee (.70); review presentation to Investigations Committee as well
                                  as materials for upcoming interviews (.70); participate in meeting with
                                  Investigations Committee and update on status of investigation (.70)
09/13/2022     Chase, Ashley      Email with vendor regarding search terms (.30); quality check updated                  10.90
                                  document review platform (.30); Katten call regarding investigation (.60);
                                  review L. Miranda summary of 2019 Board documents (1.40); call with L.
                                  Miranda regarding same (.10); create summary of documents for interview
                                  of B. Zimmerman (4.20); draft topics of examination for B. Zimmerman
                                  interview (2.30); draft search terms for specific GWG transactions (1.70)
09/13/2022     Pecoraro, Andrew Call with Katten regarding investigation status (.60); meeting with D.                    1.20
                                Barnowski regarding investigation into SEC-related issues (.30); draft
                                outline of investigation steps regarding same (.40); call with E. Werlinger
                                regarding document review (.20)
09/13/2022     Jordan, Ally       Research SEC requirements regarding disclosures of director resignations                2.70
                                  (2.30); phone call with E. Werlinger to discuss research project (.40)
09/13/2022     Giglio, Cindi      Attend Katten investigation update call (.60)                                           0.60
09/13/2022     Barnowski, Dan     Katten team call regarding status of Investigation (.60); assessment of next            1.40
                                  steps in investigation (.50); meeting with A. Pecoraro regarding
                                  investigation into SEC-related issues (.30)



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09/13/2022     Werlinger, Eric     Phone call with Katten team regarding status of the investigation (.60);                   2.40
                                   revise investigation plan for securities related matters (.80); prepare a list
                                   of open research questions regarding securities claims (.40); phone call
                                   with A. Jordan to discuss research project (.40); call with A. Pecoraro
                                   regarding document review (.20)
09/13/2022     King, Geoff       Attend Katten call regarding investigation (.60); review Investigations                      0.80
                                 Committee minutes (.20)
09/13/2022     Thompson, Grace Perform targeted search and review of documents in connection with                             4.40
                                 upcoming interview (.80); related correspondence with A. Chase (.10);
                                 attend Katten investigations team call (.60); perform second level review
                                 of select documents produced by GWG in SEC investigation (.50);
                                 perform first level review of new documents produced by Debtors (1.70);
                                 perform additional targeted searches in connection with key investigation
                                 matters (.70)
09/13/2022     Kitnick, Jesse    Continue to review documents produced by Debtors in SEC investigation                        1.60
                                 (1.60)
09/13/2022     Hall, Jerry       Call with M. Roitman regarding DLP claims (.90); review documents and                        1.90
                                 research regarding DLP transactions (1.00)
09/13/2022     Hebeisen, Kenneth Continue reviewing documents produced to SEC (4.30)                                          4.30
09/13/2022     Kirby, Timothy      Correspondence regarding BEN structuring and related research (1.00)                       1.00
09/13/2022     Miranda, Loredana Summarize Board minutes for interview preparation (1.20); call with A.                       2.90
                                 Chase regarding same (.10); attend Katten call regarding Investigation
                                 (.60); review documents on Relativity related to SEC investigation (.70);
                                 review September 13, 2022 document production by Mayer Brown (.10);
                                 update document tracker (.10); email Katten team regarding document
                                 tracker (.10)
09/13/2022     Roitman, Marc     Call with Katten investigation team regarding analysis of prepetition                        5.10
                                 transactions (.60); call with J. Hall regarding investigation (.90); review
                                 timeline and documents in preparation for upcoming interview (2.80);
                                 review documents in connection with same (.80)
09/13/2022     Rosella, Michael Attend call with Katten regarding status of investigation (.60)                               0.60
09/13/2022     Reisman, Steven     Attend to review of matters in connection with SEC investigation, pulling                  5.00
                                   of documentation and update on ongoing work by Katten investigation
                                   team (1.30); update regarding 2019 board documentation analysis and
                                   Special Committee (1.30); review materials in preparation for
                                   Investigations Committee update call (1.10); attend and participate in
                                   Katten investigations team call (.60); discussions with J. Stein and T.
                                   Horton regarding matters related to ongoing work in connection with
                                   investigation and next steps (.70)
09/13/2022     Archiyan, Yelena    Review summary of hot documents and related email (.30); Katten call                       5.50
                                   regarding investigation update (.60); begin reviewing documents from new
                                   batches in connection with investigation (4.60)
09/14/2022     Chase, Ashley       Katten call regarding SEC document review (.20); Katten call regarding                     8.80
                                   FOXO document review (.30); review SEC production privilege log (.70);
                                   email Katten regarding privileged documents (.30); call with L. Miranda
                                   regarding FOXO document review (.50); email Relativity vendor
                                   regarding search terms (.30); review hit reports from Relativity vendor
                                   (.40); quality check status of document review (.90); call with M. Roitman
                                   regarding document review search terms (.80); conduct second level
                                   review of SEC documents (2.00); search for additional documents
                                   regarding B. Zimmerman interview (.80); conduct searches for documents
                                   related to decoupling transaction (1.60)



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Date           Timekeeper         Description                                                                           Hours
09/14/2022     Pecoraro, Andrew Review and analyze documents regarding investigation matters (2.50);                       6.20
                                draft summary of significant documents in preparation for witness
                                interviews (1.70); continue second level review of documents produced by
                                Debtors in connection with SEC investigation (1.30); review and analyze
                                corporate governance documents for GWG Life USA, LLC (.40); draft
                                analysis regarding same (.30)
09/14/2022     Jordan, Ally       Research fiduciary duty of good faith (1.10)                                             1.10
09/14/2022     Giglio, Cindi      Call with D. Barnowski, M. Roitman, and G. King to discuss various                       3.40
                                  issues related to status of investigation (.50); review of hot docs flagged by
                                  review team (2.90)
09/14/2022     Barnowski, Dan     Revise investigation update (.40); follow-up with Ben counsel concerning                 5.90
                                  interviews and documents (.20); follow-up with GWG concerning need for
                                  additional background documents (.20); teleconference with Katten team
                                  concerning next steps in investigation (.50); teleconference with M.
                                  Roitman, G. King and C. Giglio concerning several background and legal
                                  issues in investigation (.50); analyze documents pertinent to interview of
                                  B. Zimmerman (2.20); prepare interview outline for B. Zimmerman
                                  interview (1.90)
09/14/2022     King, Geoff       Review SEC discovery materials (.80); review Investigations Committee                     1.90
                                 minutes (.10); call with D. Barnowski, C. Giglio and M. Roitman
                                 regarding investigation matters (.50); Katten call regarding SEC document
                                 review (.20); Katten call regarding FOXO document review (.30)
09/14/2022     Thompson, Grace Perform targeted searches of Board materials for issues relevant to                         5.20
                                 investigation matters (1.50); perform first level review of new documents
                                 produced by Debtors (1.50); update master timeline to reflect new
                                 information (.30); correspondence with M. Roitman, D. Barnowski, and A.
                                 Chase regarding hot documents (.30); continue first level review of new
                                 documents produced by Debtors (1.60)
09/14/2022     Brooks-Patton,    Respond to email from L. Miranda regarding GWGH and FOXO diligence                        3.50
               Janice            document review (.10); review and work with GWG Holdings and FOXO
                                 diligence filings (3.40)
09/14/2022     Kitnick, Jesse    Attend call with Katten regarding SEC document review (.20); continue to                  3.70
                                 review documents produced by Debtors in SEC investigation (2.30);
                                 review and summarize Bespoke consulting agreement (1.20)
09/14/2022     Hall, Jerry       Review additional documents regarding potential DLP claims (make-                         2.20
                                 whole) (.90); review research regarding make-whole claims (1.00);
                                 meeting with M. Comerford regarding FOXO/GWG investigation (.30)
09/14/2022     Hebeisen, Kenneth Continue reviewing documents produced to SEC (5.10); attend Katten                        5.30
                                 SEC document review update call (.20)
09/14/2022     Miranda, Loredana Revise Investigations Committee minutes with G. King's comments (.20);                    4.80
                                 review documents on Relativity related to SEC investigation (2.10);
                                 Katten call regarding FOXO document review (.30); follow-up call with
                                 A. Chase regarding same (.50); review documents related to FOXO's
                                 historical transactions (1.30); attend Katten call regarding SEC document
                                 review (.20); emails with M. Comerford and J. Kitnick regarding FOXO
                                 historical transactions (.20)




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Date           Timekeeper         Description                                                                         Hours
09/14/2022     Comerford,         Meeting with J. Hall regarding FOXO/GWG investigation (.30); meeting                   2.60
               Michael            with L. Miranda regarding investigation of FOXO/GWG issues (.30);
                                  Katten call regarding FOXO document review (.30); review issues
                                  regarding consulting agreement and FOXO with J. Kitnick (.20); emails
                                  with J. Kitnick and L. Miranda in connection with FOXO issues (.30);
                                  review diligence for FOXO and related issues (.60); review email from J.
                                  Kitnick regarding FOXO diligence and issues for same (.40); review
                                  consulting agreement for FOXO and Bespoke (.20)
09/14/2022     Roitman, Marc      Call with Katten regarding investigation issues (.50); call with A. Chase              5.90
                                  regarding investigation matters and upcoming interviews (.80); review
                                  materials in preparation for upcoming interviews (1.90); further review of
                                  documents produced by Debtors and third parties regarding analysis of
                                  prepetition transactions and potential causes of action (2.40); emails with
                                  G. Thompson and A. Chase regarding same (.30)
09/14/2022     Rosella, Michael   Attend call with Katten regarding status of SEC document review (.20);                 4.50
                                  review new batches of SEC investigation documents (4.30)
09/14/2022     Reisman, Steven    Participate in team call with Katten members regarding investigation                   4.00
                                  status, next steps, document production and outline of parties being
                                  interviewed (1.30); review matters regarding SEC investigation and status
                                  (.70); update regarding investigation matters related to FOXO and
                                  discussions with Katten team members regarding same (.70); review
                                  emails and underlying documentation in connection with document
                                  production for investigation and next steps with respect to additional
                                  discovery (1.30)
09/14/2022     Archiyan, Yelena   Continue reviewing documents from new batches in connection with                      10.50
                                  investigation (5.00); continue reviewing documents from new batches in
                                  connection with investigation (5.10); attend Katten SEC document review
                                  catch-up call (.20); review updated draft of investigation memo (.10);
                                  review updated document tracker (.10)
09/15/2022     Chase, Ashley    Review follow up search term hit report (.20); review document summary                   7.70
                                in preparation for interview of B. Zimmerman (.70); Katten pre-call
                                regarding interview of B. Zimmerman (.30); interview of B. Zimmerman
                                (.80); Katten post-call regarding interview of B. Zimmerman (.30); draft
                                summary of B. Zimmerman interview (1.30); conduct review of
                                documents regarding role of Houlihan Lokey (2.90); email D. Barnowski
                                and M. Roitman regarding document review (.60); read email from L.
                                Miranda regarding FOXO document review (.60)
09/15/2022     Pecoraro, Andrew Review and analyze documents regarding Ben valuation issues in                           4.50
                                connection with SEC evaluation (1.20); review and analyze valuation
                                reports (1.00); draft summary and analysis regarding same (2.00);
                                teleconference with E. Werlinger and D. Barnowski concerning
                                investigation (.30)
09/15/2022     Jordan, Ally       Research disclosure obligations upon director resignations (3.80); review              7.70
                                  documents produced by Debtors in SEC investigation (3.90)
09/15/2022     Barnowski, Dan     Katten pre-call to prep for interview of B. Zimmerman (.30); revise outline            3.70
                                  for B. Zimmerman interview (.40); interview of B. Zimmerman (.80);
                                  Katten post-call regarding Interview of B. Zimmerman (.30);
                                  teleconference with G. King concerning results of interviews (.30);
                                  teleconference with E. Werlinger and A. Pecoraro concerning
                                  investigation (.30); prepare notes of B. Zimmerman interview (.40);
                                  analyze SEC disclosure issues (.90)




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Date           Timekeeper         Description                                                                         Hours
09/15/2022     Werlinger, Eric    Analyze email regarding securities investigation (.60); review SEC                     2.80
                                  disclosures regarding issues raised in the same (1.50); draft email
                                  summary of findings (.40); teleconference with D. Barnowski and A.
                                  Pecoraro concerning investigation (.30)
09/15/2022     King, Geoff        Review materials regarding FOXO consulting agreement (.50); call with                  1.30
                                  D. Moses (.10); call with D. Barnowski regarding results of interview
                                  (.30); review materials in connection with outstanding diligence (.40)
09/15/2022     Thompson, Grace Continue first level review of documents produced by GWG in SEC                           1.10
                                 investigation (1.10)
09/15/2022     Brooks-Patton,    Continue to review and work with GWG Holdings and FOXO diligence                        4.90
               Janice            filings and documents reviewing for accuracy and completeness (4.90)
09/15/2022     Kitnick, Jesse    Call with J. Hall regarding make-whole research (.30); begin reviewing                  4.20
                                 key documents for make-whole provisions, in connection with
                                 Bondholders' potential claims (3.90)
09/15/2022     Hall, Jerry       Review document regarding DLP transactions (1.40); call with J. Kitnick                 1.70
                                 regarding make-whole claim research (.30)
09/15/2022     Hebeisen, Kenneth Continue reviewing documents produced to SEC (3.70)                                     3.70
09/15/2022     Miranda, Loredana Emails with M. Comerford and J. Kitnick regarding FOXO historical                       7.00
                                 transactions (.20); analyze FOXO historical transactions (.60); draft
                                 follow-up questions regarding same (.60); update document tracker (.10);
                                 review documents related to FOXO (4.20); draft chart of relevant
                                 documents regarding same (1.20); coordinate execution of Investigations
                                 Committee minutes (.10)
09/15/2022     Rosella, Michael Continue to review documents in connection with ongoing SEC                              2.10
                                 investigation as related to the Investigations Committee's investigations
                                 (2.10)
09/15/2022     Roitman, Marc     Attend investigation interview of former director (.80); review materials in            3.70
                                 preparation for same (.50); call with Katten team in preparation for same
                                 (.30); follow up call with Katten regarding interview (.30); provide
                                 comments on interview memorandum (.70); continue review and analysis
                                 of documents produced in connection with investigation into prepetition
                                 transactions (1.10)
09/15/2022     Reisman, Steven    Attend to review of documentation in connection with investigation of                  6.70
                                  historical transactions and emails and hot docs produced (3.40); review
                                  interview summary and update on status of ongoing interviews in
                                  connection with investigations on behalf of investigations committee
                                  (1.10); review diligence related to FOXO and analyze matters related to
                                  same (2.20)
09/15/2022     Archiyan, Yelena   Continue to review new batches of documents regarding SEC                              4.10
                                  investigation (4.10)
09/16/2022     Chase, Ashley      Katten call regarding investigation (.60); continue second level review of             9.40
                                  documents (4.40); update chart of notable documents from document
                                  review for the investigation (2.40); email among Katten regarding review
                                  of documents related to decoupling transaction (.70); call with A. Pecoraro
                                  regarding document review (.20); revise summary of B. Zimmerman
                                  interview (.30); quality check status of document review (.60); revise draft
                                  email regarding 2004 document requests (.20)
09/16/2022     Pecoraro, Andrew Review and analyze SEC-investigation related issues regarding Ben                        6.10
                                valuation (2.50); draft summary regarding same (2.20); continue reviewing
                                hot documents regarding same (.70); call with Katten regarding SEC-
                                related issues and investigation status (.50); call with A. Chase regarding
                                document review (.20)



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09/16/2022     Jordan, Ally       Draft memo analyzing the fiduciary duty of good faith and its impact on                  3.80
                                  corporate disclosures (3.80)
09/16/2022     Giglio, Cindi      Attend a portion of team call on investigation (.50); attend onboarding                  1.10
                                  session for Province (.60)
09/16/2022     Barnowski, Dan     Katten call regarding status of Investigation (.60); Katten pre-call to prep             4.10
                                  for call with Province (.30); call with Province (.60); call with E.
                                  Werlinger and A. Pecoraro concerning securities investigation (.50); revise
                                  investigation plan (.90); teleconference with C. Kelley concerning
                                  discovery issues (.20); communications with Winston about investigation
                                  (.20); communications with T. Evans concerning interview schedule (.20);
                                  analyze memo concerning fiduciary duty issues (.40); begin preparing
                                  work on Rule 2004 requests (.20)
09/16/2022     Werlinger, Eric    Phone call with Katten regarding status of investigation (.60); phone call               2.40
                                  with Katten regarding analysis of SEC-related issues (.50); review SEC
                                  disclosures regarding SEC-related issues (1.30)
09/16/2022     King, Geoff        Call with T. Horton regarding investigation issues (.70); emails regarding               4.10
                                  Province onboarding (.20); review and revise presentation (.80); analyze
                                  materials in connection with Province onboarding (.30); Katten call
                                  regarding Investigation (.60); Katten pre-call (.30); call with Province
                                  (.60); call with J. Hall regarding investigation issues (.60)
09/16/2022     Thompson, Grace Call with M. Roitman regarding diligence for Province (.20); compile                        7.90
                                 initial documents and information package for Province (1.20); attend
                                 investigation team call (.60); call with L. Miranda regarding documents for
                                 Province (.20); attend onboarding call with Province (.60); attend Katten
                                 pre-call for same (.30); correspondence with Katten regarding data room
                                 for Province (.40); draft review protocol for supplemental document
                                 review (.40); perform second level review of select documents produced
                                 by GWG in SEC investigation (2.10); compile documents for Province
                                 data room (1.80); related correspondence with L. Miranda (.10)
09/16/2022     Brooks-Patton,    Continue to review and work with GWG Holdings and FOXO diligence                          4.00
               Janice            filings and documents reviewing for accuracy and completeness (4.00)
09/16/2022     Kitnick, Jesse    Continue to review documents produced by Debtors in SEC investigation                     6.90
                                 (2.10); continue to review documents for make-whole provisions and
                                 related background materials (1.50); legal research regarding make-whole
                                 provisions (3.30)
09/16/2022     Hall, Jerry       Katten call regarding investigation (.60); Katten pre-call upcoming call                  3.50
                                 with Province (investigation) (.30); call among Katten and Province
                                 regarding investigation (.60); review interview notes (Zimmerman) (.30);
                                 review NDAs for broker dealer presentations (.30); call with G. King
                                 regarding investigation (.60); email with J. Kitnick regarding DLP claims
                                 (.20); review documents regarding DLP claims (.60)
09/16/2022     Miranda, Loredana Attend Katten call regarding investigation (.60); update document tracker                 7.30
                                 (.30); review September 15, 2022 documents produced by Mayer Brown
                                 (.30); coordinate uploading of documents to relativity (.20); analyze
                                 historical FOXO transactions (4.00); emails with M. Comerford regarding
                                 same (.20); facilitate production of documents to Province (1.30); emails
                                 with Mayer Brown regarding document production (.20); call with G.
                                 Thompson regarding documents for Province (.20)
09/16/2022     Miranda, Loredana Email call times to Katten team (.10)                                                     0.10




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09/16/2022     Comerford,         Attend Katten call regarding investigation (.60); review open issues in                  4.60
               Michael            connection with GWG and FOXO in connection with investigation (.70);
                                  review consulting agreement from FOXO (1.20); review follow-up
                                  diligence questions in connection with consulting agreement (.80); revise
                                  list of follow-up diligence questions for FOXO and GWG (.60); email to
                                  G. King regarding same (.10); email to Mayer Brown regarding follow-up
                                  diligence questions (.60)
09/16/2022     Roitman, Marc      Call with Katten team regarding investigation (.60); call with Province                  4.20
                                  regarding financial analyses relevant to Investigation (.60); Katten pre-call
                                  in preparation for same (.30); review materials in preparation for same
                                  (.50); review and analyze key documents produced by Debtors in
                                  connection with Investigation into potential claims and causes of action
                                  (1.80); emails with A. Chase and G. Thompson regarding supplemental
                                  document review protocol relevant to transaction-specific document
                                  searches and analysis (.40)
09/16/2022     Reisman, Steven    Review documentation related to investigation, Ben, FOXO, and other                      4.10
                                  matters at request of Investigations Committee (2.20); attend call with
                                  Katten team regarding investigation (.60); call with Province regarding
                                  financial analyses (.60); Katten pre-call for same (.30); follow-up on
                                  matters related to document production and investigation timeline (.40)
09/16/2022     Archiyan, Yelena   Review B. Zimmerman interview memo (.20)                                                 0.20
09/17/2022     Chase, Ashley      Review Special Committee minutes in connection with drafting 2004                        6.80
                                  discovery requests (1.90); review Rule 2004 (.30); draft 2004 document
                                  requests to Winston (1.70); draft 2004 document requests to Sheldon Stein
                                  (1.20); draft 2004 examination requests to Sheldon Stein (1.50); email
                                  with G. Thompson regarding Project Keystone (.20)
09/17/2022     Giglio, Cindi      Emails regarding S. Stein interview (.20)                                                0.20
09/17/2022     Barnowski, Dan     Analyze privilege issues pertinent to Province work (.30)                                0.30
09/17/2022     Werlinger, Eric    Review and revise analysis of disclosures regarding SEC-related issues                   1.20
                                  (1.20)
09/17/2022     Thompson, Grace Draft Investigations Committee presentation (.30); correspondence with A.                   0.70
                                 Chase regarding the same (.10); correspondence with Katten team, and
                                 Province regarding delivering documents to Province (.30)
09/17/2022     Hall, Jerry       Email among D. Barnowski and others regarding interview of S. Stein                       0.20
                                 (.20)
09/17/2022     Miranda, Loredana Draft summary of historical FOXO transactions (3.60); draft agenda for                    3.80
                                 Investigations Committee meeting (.20)
09/17/2022     Roitman, Marc     Review documents and information relating to data room for                                0.50
                                 Investigations Committee financial advisors (.30); emails with Katten
                                 regarding same (.20)
09/17/2022     Archiyan, Yelena   Review redline of hot documents chart (.10)                                              0.10
09/18/2022     Chase, Ashley      Draft 2004 document requests to D. Glaser (1.10); draft 2004 examination                 6.00
                                  requests to D. Glaser (.70); draft 2004 document requests to D. Fine
                                  (1.10); draft 2004 examination requests to D. Fine (.60); draft 2004
                                  document requests to R. Bailey (.60); draft 2004 examination requests to
                                  R. Bailey (.50); draft 2004 document requests to J. MacDowell (.40); draft
                                  2004 examination requests to J. MacDowell (.40); read email from A.
                                  Pecoraro regarding S. Stein shares (.30); read email from E. Werlinger
                                  regarding asset liability mismatch (.30)
09/18/2022     Pecoraro, Andrew Review and analyze issues regarding asset/liability issues (1.50); research                2.40
                                public filings and documents regarding agreement for former director to
                                forfeit shares (.60); draft summary regarding same (.30)



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09/18/2022     Giglio, Cindi      Attend Investigations Committee meeting (.30)                                             0.30
09/18/2022     Barnowski, Dan     Analyze memo concerning Ben valuation issues (.60); analyze of memo                       1.40
                                  concerning public filing disclosures (.40); teleconference with D. Moses
                                  concerning Province analysis (.20); respond to D. Moses email questions
                                  concerning Ben valuation (.20)
09/18/2022     King, Geoff        Attend Investigations Committee meeting (.30); prepare for same (.10)                     0.40
09/18/2022     Thompson, Grace Attend Investigations Committee call (.30); draft minutes for same (.20);                    0.90
                                 revise presentation to Investigations Committee per comments from G.
                                 King, C. Giglio, and D. Barnowski (.40)
09/18/2022     Hall, Jerry       Review summary of DLP transactions and related transaction documents                       1.50
                                 (1.10); call with M. Roitman regarding DLP make-whole claims and
                                 investigation (.40)
09/18/2022     Miranda, Loredana Revise Investigations Committee agenda with G. King's comments (.10):                      0.20
                                 email Investigations Committee agenda to Katten team (.10)
09/18/2022     Comerford,         Review diligence summary from L. Miranda regarding GWG and FOXO                           1.90
               Michael            issues (1.60); email to L. Miranda regarding follow-up for same (.30)
09/18/2022     Roitman, Marc      Attend meeting of Investigations Committee regarding updates on                           2.10
                                  investigation and related matters (.30); call with J. Hall regarding DLP
                                  make-whole claims and investigation (.40); review materials produced in
                                  discovery in connection with same (.70); continue to review and analyze
                                  documents produced in connection with investigation into prepetition
                                  transactions (.50); emails with Katten regarding same (.20)
09/19/2022     Chase, Ashley      Prepare for call regarding historical transactions document review (.70);                 5.20
                                  Katten call regarding historical transactions document review (.60); review
                                  documents regarding decoupling transaction (.80); continue second level
                                  review of SEC documents (3.10)
09/19/2022     Pecoraro, Andrew Continue reviewing documents regarding Debtors' financial history (2.50);                   7.90
                                analyze issues under securities law and fiduciary duties regarding same
                                (2.30); draft summary of same (1.40); review and analyze hot documents
                                regarding Debtors' 2020 L Bond offering (1.20); review public disclosures
                                regarding same (.50)
09/19/2022     Jordan, Ally     Research potential causes of action based on misrepresentations in                          2.60
                                solicitation of consent to amend indenture (2.30); call with E. Werlinger
                                regarding research (.30)
09/19/2022     Giglio, Cindi      Katten call regarding preparation for Investigations Committee call (.50);                2.20
                                  attend Investigations Committee call (1.40); attend portion of follow up
                                  call regarding same (.30)
09/19/2022     Barnowski, Dan     Teleconference with Winston and C. Kelley concerning information                          6.60
                                  needed from Winston (.80); revise investigation plan and next steps (.50);
                                  analyze issues concerning request for materials used in meeting with
                                  brokers (.40); Katten team call to prep for Investigations Committee
                                  meeting (.50); meeting with the Investigations Committee (1.40); Katten
                                  post-call to discuss next steps after call with Investigations Committee
                                  (.40); analysis of hot documents concerning public filing disclosures
                                  (1.60); teleconference with financial advisors concerning work to be done
                                  (.20); revise investigation plan (.80)
09/19/2022     Borenstein, Evan   Review of FOXO organizational documents regarding consent issues for                      2.20
                                  GWG (1.50); call with M. Comerford, J. Hall and L. Miranda regarding
                                  FOXO historical transaction (.70)
09/19/2022     Werlinger, Eric    Phone call with A. Jordan to discuss research project (.30); prepare and                  2.30
                                  circulate research materials for A. Jordan (.30); review documents and
                                  agreements regarding SEC-related issues (1.70)



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Date           Timekeeper         Description                                                                          Hours
09/19/2022     King, Geoff        Revise Investigations Committee materials (.10); prepare for                            3.50
                                  Investigations Committee call (.40); Katten pre-call (.50); Investigations
                                  Committee investigation call (1.40); post-call (.40); call with T. Horton
                                  regarding investigation issues (.20); calls with M. Comerford regarding
                                  investigation issues (.20); review issues related to FOXO matters (.30)
09/19/2022     Thompson, Grace Katten call regarding document review (.60); attend Katten pre-call for                    5.30
                                 Investigations Committee meeting (.50); attend debrief call following
                                 Investigations Committee meeting (.40); collect documents responsive to
                                 Province's diligence requests (2.60); perform first level review of
                                 documents with new search categories (1.20)
09/19/2022     Brooks-Patton,    Continue to review and work with GWG Holdings and FOXO diligence                         2.70
               Janice            filings and documents reviewing for accuracy and completeness (2.60);
                                 email L. Miranda regarding same (.10)
09/19/2022     Kitnick, Jesse    Continue to conduct legal research regarding enforceability of make-whole                5.80
                                 provisions (5.80)
09/19/2022     Hall, Jerry       Email among M. Roitman and others regarding decoupling transaction                       5.10
                                 (including Board presentation) (.60); email among M. Roitman and others
                                 regarding document requests to Winston (.20); Katten pre-call regarding
                                 upcoming Investigations Committee meeting (.50); call among Katten and
                                 Investigations Committee regarding investigation status (1.40); call among
                                 Katten regarding FOXO transaction (.70); Katten post-call regarding
                                 results of meeting with Investigations Committee (.40); email among M.
                                 Comerford, B. Perce and others regarding FOXO information requests
                                 (.20); email among D. Barnowski and others regarding document
                                 production to Bondholders Committee (.30); email among M. Roitman
                                 and others regarding decoupling transaction (including attachment) (.30);
                                 email with J. Kitnick regarding DLP claims (.20); review DLP agreements
                                 regarding DLP claims (.30)
09/19/2022     Miranda, Loredana Emails with M. Comerford and E. Borenstein regarding FOXO's historical                   7.70
                                 transactions (.20); facilitate meeting regarding same (.10); revise summary
                                 of FOXO historical transaction with M. Comerford's comments (.20);
                                 emails with M. Comerford regarding same (.10); call with M. Comerford,
                                 J. Hall and E. Borenstein regarding FOXO historical transaction (.70); call
                                 with M. Comerford regarding same (.20); draft summary of call regarding
                                 same (.40); attend Katten Call regarding Historical Transactions
                                 Document Review (.60); attend Katten pre-call (.50); attend weekly call
                                 with the Investigations Committee (1.40); attend Katten post-call (.40);
                                 emails with M. Roitman and V. Bulkin regarding diligence (.20); draft
                                 minutes to meeting with the Investigations Committee (.90); update
                                 document tracker (.20); review documents on relativity related to historical
                                 transactions (1.60)
09/19/2022     Comerford,         Participate in Katten call regarding investigation issues (.60); attend                 4.30
               Michael            Katten call regarding FOXO related issues (.70); review email from L.
                                  Miranda in connection with FOXO issues (.30); attend pre-call
                                  Investigations Committee call (.50); review diligence issues in connection
                                  with GWG and FOXO (1.20); outline next steps for same (.80); call with
                                  G. King regarding FOXO and investigation (.20)
09/19/2022     Rosella, Michael   Attend Katten call regarding historical transactions document review (.60);             4.80
                                  review document review protocol for specific historical transaction (.70);
                                  begin to review documents in connection with specific historical
                                  transaction as part of ongoing Investigations Committee investigation
                                  (3.50)




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09/19/2022     Roitman, Marc      Call with Winston and Mayer Brown regarding production of documents                    6.90
                                  by former directors (.80); call with Katten regarding review of documents
                                  relating to specific prepetition transactions (.60); Katten call regarding
                                  FOXO and potential investigation matters (.70); Katten pre-call for
                                  Investigations Committee call (.50); meeting with Investigations
                                  Committee regarding investigation updates and related matters (1.40);
                                  review materials in preparation for same (.30); call with Katten following
                                  up on meeting with Investigations Committee (.40); continue review and
                                  analysis of documents produced in connection with investigation into
                                  prepetition transactions (2.20)
09/19/2022     Reisman, Steven    Continued work on matters related to investigation including review of                 5.80
                                  materials and presentations in preparation for call (2.10); participate in
                                  Investigations Committee call with T. Horton and J. Stein and discussion
                                  of issues regarding matters subject to investigation (1.40); participate in
                                  post call with Katten team and follow up (.40); participate in follow up
                                  calls with J. Stein and T. Horton after call (.80); discussion regarding
                                  issues related to investigation with Katten team members as well as update
                                  on document request to various parties including Winston & Strawn,
                                  Bondholder Committee and other case participants (1.10)
09/19/2022     Archiyan, Yelena   Review interview notes from call with S. Stein and email from A.                       0.50
                                  Pecoraro regarding forfeiture of shares (.30); review materials for
                                  Investigations Committee meeting (.10); email with L. Miranda regarding
                                  the Promissory Note Repayment (.10)
09/20/2022     Chase, Ashley      Call among Katten regarding investigation (1.00); conduct factual research             7.90
                                  regarding P. Cangany in preparation for interview (.90); draft search terms
                                  for P. Cangany documents in preparation for interview (.70); begin
                                  reviewing documents in preparation for P. Cangany interview (4.60);
                                  email G. Thompson and L. Miranda regarding P. Cangany interview (.30);
                                  update draft 2004 requests for examination (.40)
09/20/2022     Pecoraro, Andrew Katten call regarding investigation status (1.00); review and analyze issues             7.50
                                related to Debtors' 2020 L Bond Offering disclosures (1.60); draft analysis
                                regarding same (.80); review and analyze documents regarding director
                                resignations (1.30); legal research regarding standards for public
                                disclosures under securities laws (1.30); continue second level review of
                                documents produced by Debtors in SEC investigation (1.00); meeting with
                                E. Werlinger regarding investigation updates (.50)
09/20/2022     Jordan, Ally     Research potential causes of action based on misleading disclosures                      6.20
                                (5.70); meet with E. Werlinger to discuss analysis of the same (.50)
09/20/2022     Giglio, Cindi      Attend Katten team call regarding investigation (1.00); discuss issues with            1.30
                                  G. Thompson (.30)
09/20/2022     Barnowski, Dan     Katten team call to discuss progress of investigation (1.00); analyze SEC              3.80
                                  claims memo (.40); communications with potential interviewees to
                                  schedule interviews (.40); analysis of hot documents (.40); prepare
                                  document pull (.30); teleconference with C Kelley concerning document
                                  pull (.20); prepare initial draft of P. Cangany interview outline (1.10)
09/20/2022     Werlinger, Eric    Phone call with Katten regarding investigation (1.00); discussion with A.              3.40
                                  Pecoraro regarding factual review of securities-related issues (.50);
                                  discussion with A. Jordan regarding legal review of securities-related
                                  issues (.50); review company's public filings regarding disclosures issues
                                  (1.40)
09/20/2022     King, Geoff        Attend Katten investigation call (1.00); call with D. Moses (.20); prepare             1.70
                                  Company diligence list (.30); review emails related to investigation (.20)




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09/20/2022     Thompson, Grace Perform additional document searches for documents responsive to                            3.50
                                 Province's requests (.60); attend investigation team call (1.00); discuss
                                 issues with C. Giglio (.30); draft summary chart of diligence sent to
                                 Province (.90); review Board materials for issues relevant to upcoming
                                 interview of P. Cangany (.70)
09/20/2022     Hall, Jerry       Call with M. Comerford regarding FOXO investigation (.50); email with                     2.40
                                 M. Comerford regarding FOXO investigation (.40); call among D.
                                 Barnowski, C. Giglio and others regarding investigation (1.00); review
                                 summary of GWG historical background (.50)
09/20/2022     Miranda, Loredana Attend Katten call regarding Investigation (1.00); review company Board                   6.00
                                 materials to prepare for interview of Company's former director (3.40);
                                 emails with A. Chase regarding same (.20); draft summary of relevant
                                 documents for interview of former Company directors (.30); review
                                 documents on relativity regarding historical transactions (1.10)
09/20/2022     Comerford,         Attend Katten call regarding investigation and related issues (1.00); review             5.70
               Michael            FOXO related matters in connection with investigation (2.40); email to J.
                                  Hall in connection with ongoing investigation and FOXO related issues
                                  (1.10); review emails from L. Miranda regarding diligence and summary
                                  for same (1.20)
09/20/2022     Rosella, Michael   Continue to review documents related to specific historical transaction                  2.50
                                  (2.50)
09/20/2022     Roitman, Marc      Call with Katten regarding investigation (1.00); continue to review and                  3.30
                                  analyze documents produced in connection with investigation into
                                  prepetition transactions (2.30)
09/20/2022     Reisman, Steven    Attend to matters regarding investigation and review materials regarding                 7.70
                                  FOXO, Ben and matters related to debtors 2020 L Bond offerings and
                                  disclosures in connection with same (4.10); review materials in connection
                                  with director resignations (.70); participate in Katten team call to discuss
                                  status of investigation, SEC involvement, preparation by investigation
                                  team for interviews of company directors (1.30); participate in Katten call
                                  with investigations committee members separately throughout the day
                                  (.60); update regarding matters related to SPAC with respect to Ben (.40);
                                  continue to review of documentation in connection with investigation and
                                  discussions with team members throughout the day (.60)
09/20/2022     Archiyan, Yelena   Review minutes from investigations committee meetings 8/31, 9/6 (.10)                    0.10
09/21/2022     Chase, Ashley      Discussion with L. Miranda regarding FOXO (.40); Katten call regarding                   4.40
                                  FOXO (.60); review memorandum regarding FOXO to aid in drafting
                                  search terms (.70); draft search terms for FOXO document review (.80);
                                  continue review of emails to prepare for interview of P. Cangany (1.90)
09/21/2022     Pecoraro, Andrew Call with Katten regarding investigation (.70); draft memorandum                           6.10
                                analyzing securities and fiduciary duty issues (2.80); legal research
                                regarding securities laws issues (1.40); review hot documents regarding
                                same (.90); meeting with E. Werlinger regarding investigation status (.30)
09/21/2022     Jordan, Ally       Draft memo analyzing issues under federal securities laws (5.00); meet                   5.30
                                  with E. Werlinger to discuss the same (.30)
09/21/2022     Giglio, Cindi      Attend daily update call (.90); call with S. Reisman (.20); pre-call for Akin            4.50
                                  investigation call (.30); attend Akin investigation call (.70); call with
                                  group after (.50); call with S. Reisman (.30); call with G. King and J. Hall
                                  (.60); call with J. Hall and M. Roitman (.30); call with D. Barnowski
                                  regarding discovery issues (.20); comments to M. Roitman email (.50)




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09/21/2022     Barnowski, Dan      Teleconference with J. Hall concerning discovery issues (.40);                           4.40
                                   communications with Winston concerning additional documents needed
                                   (.20); teleconference with C. Giglio concerning discovery issues (.20); pre-
                                   call with Katten team to prepare for meeting with Akin (.30); attend team
                                   call with Akin to discuss both entities’ discovery (.70); analysis of memo
                                   concerning Ben financial issues (.40); analyze document production
                                   relating to Ben affiliate transactions (.70); review hot documents (1.00);
                                   call with G. Thompson regarding schedule of related parties (.10);
                                   teleconference with T. Evans concerning deposition request (.40)
09/21/2022     Werlinger, Eric     Conversation with D. Barnowski regarding investigation of securities                     2.90
                                   related issues (.30); conversation with A. Pecoraro regarding analysis of
                                   factual issues related to securities investigation (.30); conversation with A.
                                   Jordan regarding legal research related to securities investigation (.30);
                                   review documents regarding factual investigation into securities related
                                   issues (1.40); prepare outline of additional legal research needed as part of
                                   securities investigation (.60)
09/21/2022     King, Geoff         Katten pre-call prior to Akin investigation call (.30); call with Akin                   3.40
                                   regarding Investigation (.70); attend Katten post-call (.50); call with
                                   Katten team regarding investigation matters (.70); call with T. Evans
                                   regarding diligence issues (.40); review revisions to Akin letter (.20); call
                                   with C. Giglio and J. Hall (.60)
09/21/2022     Thompson, Grace Attend call with Akin regarding investigations (.70); attend Katten pre-call                 3.10
                                 for same (.30); attend Katten post-call for same (.50); draft notes from call
                                 (.50); call with D. Barnowski regarding schedule of related parties (.10);
                                 perform related searches in diligence produced by Debtors and Ben (.30);
                                 review and summarize documents relevant to upcoming interview (.50);
                                 related correspondence with L. Miranda and A. Chase (.20)
09/21/2022     Kitnick, Jesse    Continue legal research regarding make-whole provisions and review                         2.30
                                 make-whole documents (2.30)
09/21/2022     Hall, Jerry       Katten call regarding FOXO investigation and document review (.60);                        4.00
                                 email among M. Comerford and others regarding FOXO document
                                 requests (.40); Katten pre-call regarding upcoming call with Akin (.30);
                                 call among Akin and Katten regarding investigation and related matters
                                 (.70); Katten post-call regarding results of call with Akin (.50); email from
                                 P. Glackin regarding Bondholder Committee document requests (.20); call
                                 with D. Barnowski regarding Rule 2004 examinations (.40); call among P.
                                 Mehta and others regarding DLP make-whole claims (.20); email from P.
                                 Mehta regarding DLP make-whole claims (.30); call with M. Roitman
                                 regarding DLP make-whole claims (.40)
09/21/2022     Miranda, Loredana Emails with M. Comerford and J. Hall regarding FOXO historical                             8.80
                                 transactions (.30); attend Katten call regarding FOXO historical
                                 transactions (.60); discussion with A. Chase regarding same (.40);
                                 correspondence with A. Chase and G. Thompson regarding summary of
                                 Board documents for preparation of interview of former Company director
                                 (.30); review Board documents for preparation of interview of former
                                 Company director (3.10); draft summary regarding same (3.70); revise
                                 Province's engagement letter (.30); emails with J. Hall regarding same
                                 (.10)
09/21/2022     Comerford,          Draft email to A. Chase regarding search terms and FOXO diligence (.40);                 2.10
               Michael             call with Katten team regarding FOXO issues (.60); review open issues for
                                   FOXO and related follow-up (.50); review email from L. Miranda
                                   regarding diligence and related findings (.60)
09/21/2022     Rosella, Michael    Continue to review documents related to specific prepetition related-party               4.00
                                   transaction (3.50); emails with Katten regarding same (.20); review notes
                                   from day's calls as they relate to ongoing investigation (.30)


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09/21/2022     Roitman, Marc      Call with Akin regarding investigation matters (.70); Katten pre-call in                 9.80
                                  preparation for same (.30); follow up call with Katten regarding
                                  investigation matters (.50); call with C. Giglio and J. Hall regarding
                                  investigation matters (.30); call with J. Hall regarding DLP make-whole
                                  claims (.40); call with PJT regarding analysis of DLP make-whole claims
                                  in connection with investigation (.20); review materials in preparation for
                                  same (.50); review and analysis of documents produced in connection with
                                  investigation into prepetition transactions (4.60); comment on draft letter
                                  to Akin regarding investigation matters (1.20); comment on draft letter to
                                  Mayer Brown regarding investigation matters (1.10)
09/21/2022     Archiyan, Yelena   Review summary of call with Akin regarding investigation (.10); review                   0.20
                                  email from Akin regarding document production and outstanding
                                  discovery requests (.10)
09/22/2022     Chase, Ashley      Call with C. Herrera (Mayer Brown) regarding document production (.10);                  7.80
                                  email with Relativity vendor regarding document review (.20); review
                                  search term reports (.30); email Katten regarding FOXO document review
                                  (.40); email D. Barnowski and M. Roitman regarding 2004 notices (.40);
                                  Katten call regarding 2004 notices (.50); revise draft 2004 notices
                                  regarding fourth Special Committee (3.60); read emails from G.
                                  Thompson summarizing calls with Debtors counsel this week (1.20);
                                  conduct factual research on Beneficient (1.10)
09/22/2022     Pecoraro, Andrew Call with Katten regarding investigation workstreams (.50); legal research                 5.30
                                regarding fiduciary duties under Delaware law (.70); review and analyze
                                documents regarding Debtors' use of L Bond Proceeds (1.60); continue
                                second level review of documents (2.00); phone call with E. Werlinger to
                                discuss factual investigation of securities issues (.50)
09/22/2022     Jordan, Ally       Research claims under the Securities Exchange Act (2.80)                                 2.80
09/22/2022     Giglio, Cindi      Follow up with M. Roitman on investigation (.40); review and comment                     6.80
                                  on draft letters to Akin and Mayer Brown (.40); review hot documents
                                  (2.40); edits to letters and emails to clients (.30); team meetings regarding
                                  same throughout the day (2.90); call with G. King regarding same (.40)
09/22/2022     Barnowski, Dan     Katten team call to discuss status of investigation (.50); teleconference                6.40
                                  with T. Evans concerning outstanding document issues (.20); call with G.
                                  King regarding investigation issues (.40); analysis of SEC investigation
                                  issues (.20); teleconference with Winston concerning document and
                                  interview requests (.80); several follow-up calls with Winston concerning
                                  document and interview requests (.60); analysis of confidentiality and
                                  privilege issues (.80); teleconference with C. Kelley concerning Special
                                  Committee minutes and interviews (.20); Katten team call to discuss 2004
                                  requests to former Special Committee members (.50); prepare for P.
                                  Cangany interview (.80); document discovery (.70); Review documents
                                  produced in discovery (.70)
09/22/2022     Werlinger, Eric    Phone call with D. Edwards regarding investigation of securities-related                 3.10
                                  issues (.50); phone call with A. Pecoraro to discuss factual investigation of
                                  securities issues (.50); analyze documents regarding new information
                                  pertaining to securities issues (1.70); prepare email summary for Katten
                                  regarding analysis of new information regarding securities issues (.40)




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09/22/2022     King, Geoff       Call with D. Moses regarding investigation issues (.60); review materials               3.20
                                 in connection with Province analysis (.40); calls with D. Barnowski
                                 regarding investigation issues (.40); call with J. Stein regarding
                                 investigation issues (.20); call with S. Reisman regarding investigation
                                 issues (.10); call with C. Giglio regarding investigation issues (.40);
                                 review materials in connection with upcoming 2004 requests (.40); review
                                 materials in connection with FOXO investigation issues (.20); attend
                                 Katten call regarding 2004 requests (.50)
09/22/2022     Thompson, Grace Perform first level review of documents responsive to transaction-related                 3.20
                                 searches (2.50); discussion with M. Rosella and L. Miranda regarding
                                 results (.20); review diligence for documents requested by Province (.50)
09/22/2022     Hall, Jerry       Katten call regarding Rule 2004 examinations (.50); email among A.                      1.60
                                 Chase, M. Comerford and others regarding FOXO investigation (.30);
                                 review draft Rule 2004 notices (.80)
09/22/2022     Miranda, Loredana Review documents on Relativity regarding historical company                             1.40
                                 transactions (1.30); emails D. Barnowski regarding outstanding
                                 Investigations Committee minutes (.10)
09/22/2022     Comerford,         Review search terms and related results for FOXO investigation (.50);                  2.60
               Michael            review diligence received in connection with FOXO issues (2.10)
09/22/2022     Roitman, Marc      Call with Katten regarding investigation updates (.50); call with Winston              8.40
                                  regarding requests for documents from former directors (.80); follow up
                                  call with D. Barnowski regarding same (.20); comment upon draft 2004
                                  notices to former directors (1.80); emails with D. Barnowski and A. Chase
                                  regarding same (.40); further revise draft letter to Akin regarding
                                  investigation matters (.50); further revise letter to Mayer Brown regarding
                                  investigation matters (1.40); continue review and analysis of documents
                                  produced in connection with investigation into prepetition transactions
                                  (2.80)
09/22/2022     Rosella, Michael   Continue to review documents related to specific prepetition related-party             2.00
                                  transaction (.90); emails with Katten regarding same (.20); emails with
                                  Katten regarding DLP documents (.40); review emails from Katten
                                  regarding various calls and discussions affecting the investigation (.50)
09/22/2022     Reisman, Steven    Review and comment on correspondence to Bondholder Committee                           6.00
                                  regarding status of investigation and responding to inquiries (1.40);
                                  continue to work on matters related to investigation including discussion
                                  of underlying issues in connection with 2004 request, analysis of issues
                                  related to debtors use of L. Bond proceeds (2.20); follow up regarding
                                  additional depositions and interviews and update regarding matters related
                                  to SEC investigation (2.40)
09/22/2022     Archiyan, Yelena   Review letter from Katten to Akin recapping call and responding to                     0.20
                                  requests (.10); review various emails regarding 2004 requests and SEC
                                  investigation updates (.10)
09/23/2022     Chase, Ashley      Katten call regarding investigation (.60); revise 2004 notices for 2019               11.30
                                  directors (1.30); identify transaction-based documents for second level
                                  review (.50); call with G. Thompson regarding document review (.20); call
                                  with C. Herrera (Mayer Brown) regarding document production (.10);
                                  review Board documents in preparation for P. Cangany interview (4.60);
                                  draft summary of relevant documents for P. Cangany interview (4.00)




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09/23/2022     Pecoraro, Andrew Call with Katten regarding investigation status (.60); legal research                    7.50
                                regarding fiduciary duty issues (1.60); draft memorandum regarding
                                analysis of use of proceeds issue (3.20); call with E. Werlinger regarding
                                preparation for interviews/depositions (.40); review and analyze additional
                                documents produced by Debtors (.50); review documents regarding same
                                (.50); draft summary and chronology of fourth Special Committee
                                resignations (.70)
09/23/2022     Giglio, Cindi      Attend daily meeting with Katten team (.60); call with Province (.80); call            2.50
                                  with G. King regarding investigation issues (.50); emails regarding
                                  investigation (.60)
09/23/2022     Barnowski, Dan     Teleconference with Province team to discuss its ongoing analysis (.80);               7.40
                                  teleconference with E. Werlinger concerning investigation of SEC claims
                                  (.60); analyze case timeline and hot documents (.90); revise 2004 notices
                                  of Special Committee members (.30); communications with Winston
                                  concerning 2004 exams (.40); analyze confidentiality and privilege issues
                                  (.50); suggest revisions to letter to Mayer Brown (.30); revise response
                                  letter to Bondholder Committee (.20); prepare for P. Cangany interview
                                  (.80); review documents concerning operations and disbanding of 4th
                                  Special Committee (1.40); email to team concerning 4th Special
                                  Committee issues (.50); communications with M. Roitman concerning 4th
                                  Special Committee (.30); call with G. King regarding investigation issues
                                  (.40)
09/23/2022     Werlinger, Eric    Phone call with Katten regarding investigation update (.60); phone call                5.40
                                  with D. Barnowski to discuss forthcoming interviews and depositions
                                  (.60); phone call with A. Pecoraro to discuss preparation for forthcoming
                                  interviews and depositions (.40); review newly produced documents and
                                  associated disclosures regarding securities issues (1.60); correspond with
                                  A. Pecoraro and D. Barnowski regarding newly produced documents (.80);
                                  analyze legal exposure regarding securities issues raised in recently
                                  produced documents (1.40)
09/23/2022     King, Geoff        Call with D. Barnowski regarding investigation issues (.40); call with T.              3.90
                                  Horton regarding investigation issues (.20); call with C. Giglio regarding
                                  investigation issues (.50); emails with Katten team regarding upcoming
                                  investigation tasks (.40); review materials in connection with: potential
                                  2004 requests (.60); analyze issues in connection with recent diligence
                                  (.20); emails with Katten team regarding upcoming Investigations
                                  Committee meetings (.20); review materials in connection with
                                  investigation issues (.60); call with Katten and Province regarding
                                  investigation workstreams (.80)
09/23/2022     Thompson, Grace Attend Katten investigations team call (.60); attend call with Province                   8.60
                               regarding investigation progress (.80); summarize notes from Province call
                               (.40); call with M. Rosella regarding transaction related document review
                               (.30); call with A. Chase regarding document review (.20); perform first
                               level review of results of targeted searches of SEC documents (1.60);
                               correspondence with M. Roitman and Katten regarding documents for
                               Province and update data room (.40); perform second level review of
                               documents responsive to transaction searches (2.40); review new diligence
                               received (.70); correspondence with Province regarding the same (.20);
                               pull and summarize documents interview prep questions from D.
                               Barnowski (1.00)




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09/23/2022     Hall, Jerry        Call among Katten and Province (.80); email with J. Kitnick regarding                    4.60
                                  DLP claims (.20); review research regarding make-whole claims (1.20);
                                  Katten call regarding investigation status (.60); revise letter to Mayer
                                  Brown regarding diligence and examinations (.40); review recently
                                  produced documents regarding investigation (.70); email among D.
                                  Barnowski and others regarding Rule 2004 examinations (.70)
09/23/2022     Comerford,         Attend Katten update call regarding status of investigation and related                  3.10
               Michael            issues (.60); review issues regarding FOXO and ongoing investigation
                                  (.40); correspond with A. Chase regarding same (.20); review status of
                                  diligence review for FOXO (.40); review related documents and issues
                                  (1.50)
09/23/2022     Rosella, Michael   Attend call with G. Thompson regarding review of documents related to                    4.10
                                  certain prepetition related-party transactions (.30); attend Katten call
                                  regarding investigation updates (.60); complete review of certain
                                  documents related to specific related-party transaction and prepare email
                                  to Katten regarding same (.50); prepare email to Katten regarding key
                                  findings and analysis from other documents reviewed (.50); begin second-
                                  level review of documents tagged as part of first-level review with respect
                                  to certain prepetition related-party transactions (1.40); respond to
                                  questions from M. Roitman regarding the foregoing (.30); review emails
                                  regarding potential 2004 notices and other updates in investigation (.50)
09/23/2022     Roitman, Marc      Call with Province regarding investigation matters (.80); follow up emails               6.10
                                  with Province regarding investigation documents (.40); revise draft letter
                                  to Mayer Brown regarding investigation matters and document requests
                                  (.90); call with Katten team regarding investigation and workstreams (.60);
                                  continue review and analysis of documents produced in connection with
                                  investigation into prepetition transactions (2.30); emails with D.
                                  Barnowski regarding investigation of certain transactions (.90); emails
                                  with G. Thompson regarding memorandum in connection with same (.20);
                                  call with D. Barnowski regarding 4th Special Committee (.30)
09/23/2022     Reisman, Steven    Continued work on matters related to investigation including analysis of                 5.90
                                  issues raised by independent directors and follow up review of materials
                                  related to depositions, interviews, Province analysis prior transactions of
                                  GWG entities (3.00); participate in daily Katten team meeting regarding
                                  investigation matters (.60); update regarding work of Province and
                                  discussions with Province regarding matters related to investigation (.60);
                                  participate in discussions with Katten team members regarding
                                  investigation workstreams and next step (.40); update regarding matters
                                  related to press coverage and potential response to same (.30); review
                                  notices for 2004 examination of prior directors of GWG (.70); revisions
                                  regarding questions and focus of investigation (.30)
09/23/2022     Archiyan, Yelena   Review documents relevant prepetition transactions (.80); review                         0.90
                                  summary of new documents received in connection with investigation
                                  regarding 4th Special Committee (.10)
09/24/2022     Chase, Ashley      Revise 2004 notices to fourth Special Committee (.60); review documents                  6.70
                                  regarding FOXO in preparation for drafting 2004 notices (3.90); draft
                                  2004 notice to FOXO (2.20)
09/24/2022     Giglio, Cindi      Emails regarding Winston 2004s (.40)                                                     0.40
09/24/2022     Barnowski, Dan     Analyze email to Investigations Committee concerning 2004 requests                       0.40
                                  (.20); emails with Katten team about 2004s (.20)
09/24/2022     King, Geoff        Review correspondence regarding investigation issues (.20); emails with                  0.40
                                  Katten team regarding upcoming Investigations Committee requests (.20)
09/24/2022     Thompson, Grace Research facts and pull documents relevant to Special Committee for                         5.90
                               memo (2.10); draft background/facts sections of memo (3.80)


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09/24/2022     Hall, Jerry        Email among M. Roitman and others regarding Rule 2004 examinations                      0.50
                                  (.30); review request for documents (FOXO) (.20)
09/24/2022     Roitman, Marc      Review of documents relevant to prior Special Committee and analysis of                 3.40
                                  certain prepetition transactions (1.80); emails with G. Thompson regarding
                                  same (.30); draft email to Investigations Committee regarding 2004
                                  notices (.80); review revised draft 2004 notices (.50)
09/24/2022     Reisman, Steven    Discussions with T. Horton and J. Stein separately regarding update on                  0.70
                                  investigation and on going work of Katten in connection with analysis
                                  prior transactions of GWG (.70)
09/25/2022     Chase, Ashley      Conduct document review regarding funding from GWG to Ben (3.20)                        3.20
09/25/2022     Pecoraro, Andrew Review and analyze documents and disclosures regarding HCLP                               2.30
                                Nominees as related party (1.50); draft summary regarding same (.80)
09/25/2022     Barnowski, Dan   Prepare for P. Cangany interview (1.80); analyze documents pertinent to                   4.10
                                P. Cangany interview (2.10); analyze communications from Winston
                                concerning 2004s (.20)
09/25/2022     Thompson, Grace Continue drafting background section of Special Committee memo and                         1.90
                               outline analysis section (1.50); related correspondence with M. Roitman
                               (.10); correspondence with R. Brady and Veristar regarding production
                               from Ben (.30)
09/25/2022     Hall, Jerry     Email among D. Barnowski regarding Rule 2004 examinations (.10);                           1.10
                               review documents regarding director resignation matters (1.00)
09/25/2022     Comerford,         Review email from A. Chase regarding GWG issues (.20); review related                   0.50
               Michael            attachment in connection with GWG issues (.30)
09/25/2022     Roitman, Marc      Review memorandum regarding prior Special Committee and certain                         1.60
                                  prepetition transactions (.80); emails with G. Thompson regarding same
                                  (.30); review documents in connection with same (.50)
09/26/2022     Chase, Ashley      Prepare for interview with P. Cangany (1.20); attend interview of P.                   11.00
                                  Cangany (2.10); assist with finalizing 2004 motions for 4th Special
                                  Committee (.90); call with A. Pecoraro regarding document review (.30);
                                  call with D. Barnowski regarding P. Cangany interview (.20); draft
                                  protective order (1.00); conduct research regarding 2004 subpoenas (.60);
                                  revise proposed search terms for deposition preparation (.40); email with
                                  vendor regarding document review (.20); draft summary of P. Cangany
                                  interview (4.10)
09/26/2022     Pecoraro, Andrew Call with Katten regarding workstreams (.60); review and analyze public                   7.80
                                disclosures regarding changes to Debtors' external auditor (.70); draft
                                summary regarding same (1.20); review and analyze documents regarding
                                the 4th Special Committee (2.00); call with E. Werlinger regarding
                                upcoming interviews (.70); draft deposition outlines regarding depositions
                                of M. Holland, T. Evans, and B. Heppner (1.80); telephone call with A.
                                Chase regarding document review (.30); draft additional search terms
                                regarding 4th Special Committee issues (.50)
09/26/2022     Barnowski, Dan   Finalize Rule 2004 notices for Special Committee (.40); prepare for P.                    7.00
                                Cangany interview (.60); interview P. Cangany (2.10); follow-up call with
                                A. Chase to discuss results of P. Cangany interview (.20); prepare notes
                                from P. Cangany interview (.40); teleconference with A. Qureshi of Akin
                                concerning Rule 2004 notices (.10); prepare letter to Winston concerning
                                potential stipulation on Rule 2004 exams (.50); prepare draft stipulation
                                concerning Rule 2004 exams (.50); teleconference with G. King
                                concerning P. Cangany interview and next steps (.30); analyze auditor
                                resignation email (.30); analyze Ben memo concerning WSJ article on B.
                                Heppner (1.20); review Rule 2004 notices concerning B. Zimmerman, S.
                                Stein and D. Glaser (.40)


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09/26/2022     Werlinger, Eric    Phone call with A. Pecoraro to discuss forthcoming interviews and                        1.80
                                  depositions (.70); review summary of key public disclosures prepared by
                                  A. Pecoraro (.60); review summary of key securities-related documents
                                  prepared by A. Chase (.50)
09/26/2022     King, Geoff        Attend Katten workstream call (.60); calls with D. Barnowski regarding                   7.90
                                  investigation issues (.30); call with D. Moses regarding investigation
                                  issues (.40); revise letter to Akin (.20); review multiple draft 2004 requests
                                  (.80); coordinate filing of 2004 requests (.40); review memo regarding Ben
                                  affiliate transactions (1.40); draft Special Committee letter (.60); review
                                  and provide comments to Investigations Committee minutes (.30); analyze
                                  issues in connection with upcoming diligence (.20); revise materials
                                  regarding upcoming deposition request (.30); review discovery materials
                                  (2.40)
09/26/2022     Thompson, Grace Continue drafting memo regarding historical Special Committee (3.70);                       7.40
                                 review production of documents from Ben (1.80); draft presentation for
                                 upcoming Investigations Committee meeting (.70); revise memo regarding
                                 Special Committees (1.20)
09/26/2022     Hall, Jerry       Revise letter to Bondholders Committee (.30); email among S. Reisman,                     2.60
                                 D. Barnowski and others regarding Rule 2004 examinations (.50); review
                                 summary of disclosures regarding independent auditor changes (including
                                 supporting documents) (.80); revise document requests (FOXO) (.30);
                                 review Rule 2004 examination notices (.70)
09/26/2022     Miranda, Loredana Review local bankruptcy rules for rule 2004 notices (.70); emails with A.                 6.40
                                 Chase regarding same (.20); review and provide comments to A. Chase
                                 regarding 2004's (1.90); revise draft 2004's with G. King's and S.
                                 Reisman's comments (1.60); revise Investigations Committee minutes with
                                 G. King's comments (.30); review documents on Relativity regarding
                                 FOXO (.30); emails with A. Chase and Relativity vendor regarding same
                                 (.20); review and provide comments to G. Thompson regarding
                                 memorandum on historical Special Committee (1.10); emails with G.
                                 Thompson regarding same (.10)
09/26/2022     Comerford,         Review draft 2004 notice from A. Chase (.90); provide comments to 2004                   3.30
               Michael            notice (1.20); emails with Katten team regarding same (.20); review letter
                                  to bond counsel (.20); provide comments to same (.30); review status of
                                  diligence for FOXO and related follow-up questions (.40); correspond
                                  with A. Chase regarding same (.10)
09/26/2022     Roitman, Marc      Review revised 2004 notices (.40); emails with Katten regarding same                     0.80
                                  (.20); emails with Katten regarding investigation interviews (.20)
09/26/2022     Rosella, Michael   Continue to review documents as part of second-level review related to                   1.20
                                  specific related-party transactions (.70); review A. Pecoraro memorandum
                                  on independent auditor issues as they relate to specific investigation issues
                                  (.50)
09/26/2022     Siena, Marie       Emails with A. Chase regarding 2004 notices (.10); emails with L.                        0.90
                                  Miranda regarding 2004 notices (.20); file 2004 notices on the court's
                                  docket (.60)




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09/26/2022     Reisman, Steven    Update regarding matters related to 2004, discovery, revisions to 2004 and               6.60
                                  discussions with Katten team members regarding same (1.30); review
                                  Investigations Committee minutes and sign off on same (.40); follow up
                                  regarding ongoing work in connection with Investigations Committee and
                                  discussions with Committee members and next steps (1.10); review and
                                  revise letter to Bondholders Committee regarding feedback on
                                  investigation (.40); discussions with J. Hall, D. Barnowski and others
                                  regarding 2004 examinations and comments to response letter to
                                  Bondholder Committee (.60); review Investigations Committee summaries
                                  of investigation interviews and feedback on same (1.30); discussions with
                                  G. King regarding update on investigation (.40); discussions with J. Stein
                                  and T. Horton regarding update on investigation (.30); follow up regarding
                                  additional interviews and possible 2004 in connection with ongoing
                                  investigation committee activities (.80)
09/26/2022     Archiyan, Yelena   Review additional documents regarding GWGH’s investment in BEN                           0.40
                                  (.10); review draft letter to Winston regarding investigation (.10); review
                                  draft letter to Akin Gump (.10); review draft stipulated confidentiality and
                                  protective order (.10)
09/27/2022     Chase, Ashley      Finalize memo regarding interview of P. Cangany (.60); Katten call                       9.30
                                  regarding investigation (1.00); continue reviewing documents flagged for
                                  second level review in the Debtors' SEC production (3.20); summarize
                                  documents reviewed (2.30); email with vendor regarding document review
                                  (1.30); call with E. Werlinger regarding document review (.20); conduct
                                  further research regarding 2004 subpoenas (.70)
09/27/2022     Pecoraro, Andrew Call with Katten regarding investigation status (1.00); compile list of                    8.80
                                contacts regarding external auditors (.40); draft deposition outline for M.
                                Holland, T. Evans, and B. Heppner regarding SEC-related issues (2.50);
                                review and analyze documents regarding same (1.20); continue drafting
                                deposition outlines (2.50); call with E. Werlinger regarding upcoming
                                interviews (.70); meeting with D. Barnowski regarding auditor interviews
                                (.20); draft outreach email to external auditors (.30)
09/27/2022     Jordan, Ally     Review documents related to changes in auditors produced by Debtors in                     2.60
                                SEC investigation (2.60)
09/27/2022     Giglio, Cindi      Pre call regarding FOXO (.20); call regarding FOXO with FOXO counsel                     2.50
                                  (.40); pre-call with Katten team for Province call (.30); attend call with
                                  Province and PJT (.70); review slide deck (.40); follow up with G. King
                                  (.50)
09/27/2022     Barnowski, Dan     Communications with Winston concerning Rule 2004 requests (.20);                         7.80
                                  emails with Katten concerning Rule 2004 requests (.20); meeting with A
                                  Pecoraro concerning auditor interviews (.20); teleconference with C.
                                  Kelley concerning Rule 2004 requests (.20); research on subpoena issue
                                  (.40); prepare memorandum concerning auditor interviews (.30); revise
                                  outreach email to auditors (.20); revise weekly report to Investigations
                                  Committee (.40); revise minutes (.40); communications with Ben counsel
                                  concerning interviews (.20); teleconference with D. Moses concerning
                                  additional due diligence items needed (.20); analysis of revised timeline
                                  and related hot documents (2.80); Katten team call concerning ongoing
                                  work streams (1.00); Katten pre-call to prep for call with PJT and Province
                                  (.30); teleconference with PJT and Province (.70)
09/27/2022     Werlinger, Eric    Phone call with A. Pecoraro regarding to discuss plan for forthcoming                    2.90
                                  interviews and depositions (.70); meeting with D. Barnowski to discuss
                                  document review (.30); phone call with A. Chase to discuss follow up
                                  work on document review (.20); review work product from A. Pecoraro
                                  regarding interview of potential third party witnesses (.70); participate in
                                  phone call with Katten regarding investigation work streams (1.00)


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09/27/2022     King, Geoff        Call with J. Hall regarding Investigations Committee issues (.10); katten             5.30
                                  pre-call regarding FOXO discussion (.20); call with FOXO and Mayer
                                  Brown regarding FOXO (.40); review P. Cangany interview memo (.30);
                                  prepare for call with Katten team (.20); analyze issues regarding pending
                                  diligence requests (.30); call with C. Giglio regarding Investigations
                                  Committee issues (.50); review Investigations Committee meeting
                                  materials (.30); emails with Katten team regarding outstanding
                                  investigation items (.20); Katten Call regarding Investigation (1.00);
                                  review materials in connection with outstanding diligence questions (.60);
                                  Katten pre-call for Province call (.30); Katten call with Province and PJT
                                  (.70)
09/27/2022     Thompson, Grace Attend Katten team call regarding investigation (1.00); review Cangany                   4.30
                                 interview memo (.40); revise Investigations Committee presentation (.50);
                                 review diligence for outstanding requests from Province (.50); related
                                 correspondence with D. Barnowski (.20); further revise Investigations
                                 Committee presentation per comments from Katten team (.30); attend
                                 Katten pre-call for call with Province and PJT (.30); attend call with
                                 Province and PJT call regarding case background (.70); draft summary of
                                 call for Katten team (.40)
09/27/2022     Hall, Jerry       Revise presentation for Investigations Committee meeting (.60); Katten                 5.90
                                 call regarding investigation status (1.00); review summary of P. Cangany
                                 interview (.30); email among A. Chase and others regarding GWG audit
                                 matters (.20); Katten pre-call regarding FOXO call with Mayer Brown
                                 (.20); call among Katten and Mayer Brown regarding FOXO matters (.40);
                                 Katten pre-call regarding upcoming call with Province and PJT (.30); call
                                 among Katten, Province, PJT regarding various matters (investigation)
                                 (.70); call with G. King regarding investigation (.10); email among D.
                                 Barnowski and others regarding Rule 2004 examinations (.30); review
                                 background documents regarding upcoming Rule 2004 examinations
                                 (1.00); email with J. Kitnick regarding DLP claims (.20); review certain
                                 research regarding DLP claims (.60)
09/27/2022     Miranda, Loredana Email call times to Katten (.10)                                                       0.10
09/27/2022     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); review federal                5.40
                                 rules on issuing subpoenas (.60); emails with J. Greer and A. Chase
                                 regarding same (.30); attend Katten call regarding investigation (1.00);
                                 attend Katten pre-call regarding FOXO discussion (.20); attend call with
                                 FOXO and Mayer Brown regarding FOXO (.40); attend Katten pre-call
                                 regarding Province/PJT call (.30); draft summary of call with FOXO
                                 (1.10); review documents on Relativity regarding FOXO (.80); emails
                                 with M. Comerford and J. Hall regarding same (.10); emails with A. Chase
                                 and A. Pecoraro regarding auditors (.10)
09/27/2022     Comerford,         Outline follow-up diligence requests for GWG regarding FOXO (.60);                    6.20
               Michael            participate in Katten call regarding follow-up issues for investigation
                                  (1.00); review analysis from Relativity regarding GWG diligence (.30);
                                  review letters for various follow-up GWG issues (.50); review open issues
                                  for FOXO and related 2004 draft (1.20); prepare for call with FOXO and
                                  its counsel regarding follow-up diligence requests and questions (1.10);
                                  call with Stinson, Mayer Brown and Katten regarding FOXO related
                                  issues (.40); review follow-up issues from call regarding FOXO (.40) draft
                                  outline for additional diligence for FOXO (.70)




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Date           Timekeeper         Description                                                                          Hours
09/27/2022     Roitman, Marc      Revise draft letter to Bondholder Committee professionals on behalf of                  5.60
                                  Investigations Committee (.60); revise draft letter to Debtors' counsel on
                                  behalf of Investigations Committee (.50); emails with Katten regarding
                                  letters on behalf of Investigations Committee (.20); Katten call regarding
                                  Investigation (1.00); attend Province and PJT call (.70); pre-call with
                                  Katten in preparation for same (.30); review materials in preparation for
                                  same (.40); review of documents produced in connection with
                                  investigation of prepetition transactions marked for third-tier review
                                  (1.70); emails with A. Chase regarding same (.20)
09/27/2022     Rosella, Michael   Review memorandum prepared by counsel to Ben and prepare updates to                     2.60
                                  fact sheets regarding various prepetition related-party transactions (1.60);
                                  attend Katten call regarding status of investigation (1.00)
09/27/2022     Reisman, Steven    Review materials regarding FOXO in preparation for call (.70); attend to                4.90
                                  matters regarding 2004 of certain individuals in connection with ongoing
                                  investigation matters and review and sign off on same (1.70); review
                                  proposed correspondence in connection with investigation and follow up
                                  (.90); attend Katten pre-call for FOXO call (.20); participate in FOXO call
                                  (.40); attend Katten pre-call for Province and PJT call (.30); participate in
                                  call with PJT and Province regarding ongoing work in connection with
                                  investigation (.70)
09/27/2022     Archiyan, Yelena   Review summary of Katten’s interview with P. Cangany (.20); review                      0.30
                                  notes from call with FOXO (.10)
09/28/2022     Chase, Ashley    Email Relativity vendor regarding document review (.60); email among                      7.20
                                Katten regarding document review (.90); email among Katten regarding
                                2004 notices (.30); read draft memo from G. Thompson regarding 4th
                                Special Committee (1.10); continue reviewing documents flagged for
                                second level review in the Debtors' SEC production (2.70); summarize
                                documents reviewed (1.60)
09/28/2022     Pecoraro, Andrew Draft deposition outlines for M. Holland, T. Evans, and B. Heppner                        3.60
                                regarding SEC-related issues (2.60); review hit reports for additional
                                targeted document searches (.20); review and analyze documents
                                regarding 2019 director resignations (.80)
09/28/2022     Giglio, Cindi      Attend Investigations Committee call (.60); portion of call with T. Evans               2.10
                                  (1.50)
09/28/2022     Barnowski, Dan     Attend teleconference between Province and T. Evans (1.80);                             3.50
                                  communications with Ben counsel concerning additional interviews (.20);
                                  finalize Rule 2004 filing and related issues (.40); communications with
                                  Glaser, Stein and Zimmerman’s counsel concerning Rule 2004 notices
                                  (.50); attend Investigations Committee meeting (.60)
09/28/2022     Werlinger, Eric    Participate in phone call with Katten regarding workstreams on                          1.40
                                  investigation (1.10); emails with D. Barnowski to discuss follow-up work
                                  on securities document review (.30)
09/28/2022     King, Geoff        Prepare for Katten team call (.20); Katten team call (1.10); review                     3.80
                                  materials in connection with upcoming Rule 2004 requests (.30); call with
                                  the Investigations Committee (.60); review upcoming agenda for
                                  Investigations Committee call (.10); partial attendance of call with
                                  Province and T. Evans (1.20); call with S. Reisman regarding
                                  Investigation Committee matters (.30)
09/28/2022     Thompson, Grace Correspond with A. Chase and Katten team regarding upcoming document                       6.80
                               reviews (.30); begin new first level review of targeted search results from
                               Debtors' productions (1.50); attend Province/Katten interview of Tim
                               Evans (1.80); prepare exhibits for upcoming letters from Investigations
                               Committee (.40); draft memo from T. Evans interview (2.80)



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Date           Timekeeper         Description                                                                          Hours
09/28/2022     Hall, Jerry        Call among Katten and Investigations Committee regarding investigation                  3.30
                                  (.60); call among Katten, Province and T. Evans regarding financial
                                  diligence (1.80); email with M. Comerford regarding FOXO transactions
                                  (.30); review documents regarding investigation of decoupling transaction
                                  (.60)
09/28/2022     Miranda, Loredana Update document tracker with new diligence (.60); emails with M.                         2.60
                                 Comerford regarding FOXO (.20); attend weekly call with the
                                 Investigations Committee (.60); draft minutes for call with the
                                 Investigations Committee (.70); emails with A. Chase regarding preparing
                                 an opposition for a protective order (.20); review oppositions for a
                                 protective order (.30)
09/28/2022     Comerford,         Katten call regarding investigation related issues for GWG (1.10); email                5.10
               Michael            with L. Miranda regarding next steps for same investigation issues (.20);
                                  review documents in connection with investigation issues and next steps
                                  (.80); emails with Katten team regarding certain FOXO related issues and
                                  next steps (1.40); review related documents from diligence in connection
                                  with same issues (.90); outline open issues and next steps for investigation
                                  issues (.70)
09/28/2022     Roitman, Marc      Call with Katten regarding investigation matters (1.10); attend meeting of              3.90
                                  Investigations Committee (.60); attend investigation interview of T. Evans
                                  (1.80); review materials in preparation for same (.40)
09/28/2022     Rosella, Michael   Review document review protocol circulated by A. Chase regarding                        3.00
                                  upcoming 2004 examinations (.50); begin to review relevant documents in
                                  preparation for certain 2004 examinations (2.50)
09/28/2022     Reisman, Steven    Participate in Katten team call in preparation for call with Investigations             4.10
                                  Committee (1.10); participate in update with Investigations Committee
                                  regarding ongoing work in connection with Investigations Committee
                                  directives (.60); discussions with G. King regarding matters related to
                                  Investigations Committee (.30); update regarding ongoing deposition,
                                  2004 an review of emails regarding document production, scheduling and
                                  matters related to Investigations Committee activities (2.10)
09/28/2022     Archiyan, Yelena   Review agenda and materials for Investigations Committee meeting (.20);                 0.40
                                  review updated document tracker (.10); review M. Roitman email
                                  regarding decoupling as part of Project Keystone (.10)
09/29/2022     Chase, Ashley      Read memo from A. Pecoraro regarding historical financial information                   7.10
                                  (.90); assist with finalizing 2004 motions (1.20); read notes from call with
                                  Bondholder Committee from G. Thompson (.20); read memo from A.
                                  Pecoraro regarding auditor resignations (.50); continue reviewing
                                  documents flagged for second level review in the Debtors' SEC production
                                  (2.90); summarize documents reviewed (1.40)
09/29/2022     Pecoraro, Andrew Review and analyze documents regarding 2019 director resignations (.60);                  2.50
                                draft summary regarding same (.30); draft outline regarding interviews of
                                external auditors (1.60)
09/29/2022     Barnowski, Dan   Communications with Winston about 2004s to Special Committee (.30);                       3.10
                                finalize Rule 2004 requests (.40); teleconference with S. Stein lawyer
                                about his 2004 (.20); teleconference with B. Zimmerman concerning his
                                2004 request (.20); communications with D. Glaser about his 2004 request
                                (.20); call with Katten regarding investigations and 2004 examinations
                                (1.00); prepare for 2004 exams (.80)
09/29/2022     King, Geoff        Attend call with T. Horton and S. Reisman regarding Investigations                      1.10
                                  Committee matters (.40); call with S. Reisman regarding Investigations
                                  Committee matters (.10); prepare materials in connection with upcoming
                                  Investigations Committee activities (.30); call with D. Moses regarding
                                  investigation issues (.30)


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Date           Timekeeper         Description                                                                          Hours
09/29/2022     Thompson, Grace Review documents resulting from targeted searches related to historic                      4.00
                               Special Committees (3.70); review M. Roitman edits to memo on
                               historical Special Committee (.30)
09/29/2022     Kitnick, Jesse  Begin research regarding Delaware fiduciary issues (3.60)                                  3.60
09/29/2022     Hall, Jerry        Call with Katten regarding investigation and 2004 examinations (1.00);                  1.50
                                  email among D. Barnowski and others regarding witness interviews (.20);
                                  call with M. Roitman regarding DLP claims (.20)
09/29/2022     Miranda, Loredana Revise 2004 Notices to former Company directors (.80); emails with A.                    7.90
                                 Chase regarding same (.10); update FOXO diligence chart (.60); facilitate
                                 coordination of service for Bankruptcy Rule 2004 notices (.90); review
                                 oppositions for a protective order (1.80); emails with M. Comerford and J.
                                 Kitnick regarding research on breaches of fiduciary duties (.20); review
                                 diligence regarding FOXO historical transactions (1.40); draft presentation
                                 on FOXO historical transactions (3.10)
09/29/2022     Comerford,         Email to PJT regarding diligence issues for GWG and FOXO (.20); review                  1.90
               Michael            open research issues in connection with GWG and FOXO (.30); email
                                  with J. Kitnick regarding same research issue and next steps (.30); review
                                  documents for GWG and FOXO in connection with research issues (1.10)
09/29/2022     Roitman, Marc      Revise memorandum regarding prior Special Committee and certain                         5.10
                                  prepetition transactions (2.10); review of documents in connection with
                                  same (.90); call with Katten regarding investigation matters and
                                  workstreams (1.00); continue review and analysis of documents produced
                                  in connection with investigation into prepetition transactions, including
                                  documents marked for higher tier review (1.10)
09/29/2022     Rosella, Michael   Continue to review documents in preparation for 2004 examinations of                    3.80
                                  former GWG directors (3.50); review email from A. Pecoraro regarding
                                  same (.30)
09/29/2022     Siena, Marie       File 2004 notices for D. Glaser on the court's docket (.30); emails with L.             0.40
                                  Miranda regarding same (.10)
09/29/2022     Reisman, Steven    Participate in Katten team update call regarding update on Investigations               3.20
                                  Committee activities (1.10); continued work in connection with ongoing
                                  investigation committee activities at the direction of J. Stein and T. Horton
                                  (2.10)
09/29/2022     Archiyan, Yelena   Review email chains regarding letter to Akin (.10); review notes from                   0.40
                                  interview with T. Evans (.20); correspond with L. Miranda regarding
                                  service (.10)
09/30/2022     Chase, Ashley      Finalize summary of documents flagged for second level review in SEC                    7.50
                                  production (2.70); email among Katten regarding 2004 subpoena (.50);
                                  revise draft subpoena to D. Glaser (.30); finalize 2004 notices to S. Stein
                                  (.60); begin preparing summary of documents for deposition of R. Bailey
                                  (3.40)
09/30/2022     Pecoraro, Andrew Draft interview outlines regarding GWG auditors (2.20); review and                        5.70
                                analyze documents regarding same (1.00); draft chronology summaries
                                regarding GWG auditors (1.50); review and analyze documents regarding
                                4th Special Committee (1.00)
09/30/2022     Giglio, Cindi      Call with D. Barnowski and team on T. Evans call (.20); attend Province                 1.30
                                  call (1.10)




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Date           Timekeeper         Description                                                                           Hours
09/30/2022     Barnowski, Dan     Teleconference with T. Evans regarding diligence (.20); Teleconference                   5.40
                                  with C. Giglio and team regarding T. Evans call (.20); teleconference with
                                  Province concerning ongoing investigation (1.10); teleconference with D.
                                  Gillen of Akin concerning Rule 2004s (.20); teleconference with C. Kelley
                                  concerning Winston 2004 stipulation (.20); revise stipulation providing for
                                  Rule 2004 examinations (1.10); review additional hot documents (1.60);
                                  communications with Rule 2004 witnesses about timing of depositions
                                  (.30); finalize additional 2004 papers (.40); call with G. King regarding
                                  investigation matters (.10)
09/30/2022     Werlinger, Eric    Review materials to prepare for outreach to potential witnesses (.70); place             1.60
                                  multiple phone calls attempting to contact third party witnesses regarding
                                  interviews (.90)
09/30/2022     King, Geoff        Call with D. Barnowski regarding investigation matters (.10); call with                  1.70
                                  D .Barnowski, C. Giglio, M. Roitman and S. Reisman regarding
                                  Investigations Committee matters (.20); attend call with Province
                                  regarding investigation issues (1.10); review letter to Winston (.10); call
                                  with T. Evans regarding diligence (.20)
09/30/2022     Thompson, Grace Attend Katten investigation team call (1.40); revise memo on historical                     7.30
                                 Special Committees reflecting comments from M. Roitman (3.10);
                                 incorporate additional diligence into memo (.80); draft key fact sheet
                                 regarding Paul Capital (2.00)
09/30/2022     Kitnick, Jesse    Continue to conduct legal research regarding Delaware fiduciary duties                    5.60
                                 (5.60)
09/30/2022     Hall, Jerry       Review revised Rule 2004 stipulation (from C. Schreiber) (.30); email                     2.30
                                 among D. Barnowski and others regarding Rule 2004 examinations (.20);
                                 review documents regarding investigation (Heppner) (.70); review
                                 documents regarding investigation (decoupling transaction) (.90); review
                                 memorandum regarding fourth Special Committee (.20)
09/30/2022     Miranda, Loredana Draft presentation on FOXO historical transactions (.70); draft subpoena                  4.10
                                 for D. Glaser (.60); emails with A. Chase regarding same (.10); coordinate
                                 sending September 30, 2022 document production to relativity (.20);
                                 emails with D. Barnowski regarding same (.10); review case law on
                                 Bankruptcy Rule 2004 (1.80); draft potential objection to Winston's
                                 protective order (.60)
09/30/2022     Comerford,        Review email from L. Miranda regarding issues for diligence and related                   0.40
               Michael           matters (.40)
09/30/2022     Rosella, Michael   Attend Katten call regarding status of investigation (1.40); review and                  3.40
                                  revise G. Thompson memorandum regarding historical Special Committee
                                  issues as they relate to certain components of investigation (.50); continue
                                  to review documents related to certain 2004 examination deponents in
                                  preparation for upcoming depositions (1.20); prepare email to A. Chase
                                  regarding same (.30)
09/30/2022     Roitman, Marc      Continue review and analysis of documents produced in connection with                    6.40
                                  investigation into prepetition transactions, including documents marked
                                  for higher tier review (1.80); emails with Katten regarding same (.30);
                                  further revise memorandum regarding prior Special Committee and certain
                                  prepetition transactions (1.60); emails with G. Thompson regarding same
                                  (.20); call with Katten regarding investigation matters and workstreams
                                  (1.40); call with Province regarding investigation analysis (1.10)
09/30/2022     Siena, Marie       File 2004 Notices for Stein on the court's docket (.30); emails with L.                  0.50
                                  Miranda regarding the same (.20)




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Date           Timekeeper         Description                                                                          Hours
09/30/2022     Reisman, Steven    Attend call with D .Barnowski, C. Giglio, M. Roitman and G. King                        1.90
                                  regarding Investigations Committee matters (.20); attend call with
                                  Province regarding investigation (1.10); follow up regarding status of
                                  investigation with T. Horton and J. Stein and update on ongoing
                                  workstreams (.60)
09/30/2022     Archiyan, Yelena   Review updated hot documents chart (.20); correspond with A. Chase                      1.30
                                  regarding prepetition transaction (.10); review documents related to
                                  deconsolidation transaction (.40); review memo regarding 4th Special
                                  Committee (.60)
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TIME SUMMARY
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Name                                                  Hours                   Rate             Amount
Reisman, Steven                                       100.40             1,585.00             159,134.00
Giglio, Cindi                                          38.60             1,350.00              52,110.00
Hall, Jerry                                            62.90             1,285.00              80,826.50
Borenstein, Evan                                        2.20             1,255.00               2,761.00
Comerford, Michael                                     44.30             1,180.00              52,274.00
Winters, Julia                                          9.90             1,180.00              11,682.00
Roitman, Marc                                         122.60             1,145.00             140,377.00
King, Geoff                                            58.10             1,145.00              66,524.50
Barnowski, Dan                                        106.40             1,125.00             119,700.00
Kirby, Timothy                                          4.00             1,035.00               4,140.00
Werlinger, Eric                                        44.90               955.00              42,879.50
Chase, Ashley                                         188.00               910.00             171,080.00
Archiyan, Yelena                                       53.80               875.00              47,075.00
Rosella, Michael                                       79.40               800.00              63,520.00
Thompson, Grace                                       143.90               800.00             115,120.00
Pecoraro, Andrew                                      121.50               775.00              94,162.50
Kitnick, Jesse                                         55.40               660.00              36,564.00
Jordan, Ally                                           52.90               655.00              34,649.50
Hebeisen, Kenneth                                      29.90               655.00              19,584.50
Miranda, Loredana                                     126.30               580.00              73,254.00
Brooks-Patton, Janice                                  23.60               410.00               9,676.00
Siena, Marie                                            1.80               380.00                 684.00

                                     Sub Total :     1,470.80   Sub Total :                 1,397,778.00
                                     Total Hours :   1,470.80   Total Fees           1,397,778.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
December 21, 2022
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00022
                                                                                                                                                    Invoice #:                                   9020103425
                                                                                                                                                    Invoice Due Date:                          Payable Upon
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through September 30, 2022



Fees Total............................................................................................................................................................. 138,489.50
Total Amount Due .............................................................................................................................................. 138,489.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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Invoice #:          9020103425                                                                             December 21, 2022
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RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
09/02/2022     Barnowski, Dan     Meeting with Debtors and Professionals groups concerning status of                      1.20
                                  restructuring plan development and other developments (1.20)
09/04/2022     King, Geoff        Review and revise disclosure statement research email (.40)                             0.40
09/06/2022     Giglio, Cindi      Call with PJT/Mayer Brown regarding '40 Act (.50)                                       0.50
09/06/2022     King, Geoff        Call with PJT/Mayer Brown regarding 40 Act issues (.50); call with V.                   0.60
                                  Bulkin regarding 40 Act issues (.10)
09/06/2022     Thompson, Grace Attend call with Katten and Mayer Brown regarding restructuring                            0.70
                               alternatives (.50); revise notes from same (.20)
09/06/2022     Reisman, Steven    Update regarding 40 Act issues in connection with potential restructuring               1.10
                                  and discussions with Katten and Mayer Brown regarding same and
                                  alternative structures (.50); discussions with J. Stein regarding matters
                                  related to plan (.30); follow up regarding matters related to addressing
                                  investment company act and analysis of issues under same (.30)
09/06/2022     Bulkin, Vlad       Discuss with G. King open items regarding Investment Company Act                        1.10
                                  analysis and follow-up with PJT regarding same (.10); call with PJT,
                                  Mayer Brown and Katten regarding Investment Company Act analysis
                                  (.50); prepare for same (.50)
09/07/2022     Giglio, Cindi      Call with Akin regarding plan construct (.50); follow up regarding same                 1.90
                                  (.90); review letter (.50)
09/07/2022     Reisman, Steven    Update regarding matters related to plan of reorganization, proposed                    0.60
                                  construct and issues with respect to 40 Act (.60)
09/08/2022     Giglio, Cindi      Initial draft responsive letter to Committee (.80); correspondence                      0.40
                                  regarding same (.40)
09/08/2022     Roitman, Marc      Continue drafting response letter from Special Committee to Bondholder                  3.20
                                  Committee (1.90); review research and analyses regarding potential plan
                                  of reorganization framework in connection with same (.90); emails with
                                  Katten regarding same (.40)
09/08/2022     Reisman, Steven    Update regarding matters related to ongoing work in connection with plan                0.60
                                  and proposed correspondence to Bondholder Committee regarding same
                                  (.60)
09/09/2022     Giglio, Cindi      Call regarding Committee letter (.90); review draft of same (.40); calls                3.00
                                  with J. Stein and Katten regarding plan issues (.50); related emails (1.20)
09/09/2022     King, Geoff        Call with J. Stein and S. Reisman regarding plan issues (.70); call with J.             1.70
                                  Stein and Katten regarding plan issues (.50); call with PJT regarding
                                  restructuring analysis (.50)
09/09/2022     Rosella, Michael   Attend call with Katten regarding various plan issues (.50); research and               3.80
                                  review precedent chapter 11 plans containing certain features being
                                  considered by the Special Committee (2.70); prepare email to Katten
                                  regarding same (.60)
09/09/2022     Roitman, Marc      Call with G. King and C. Giglio regarding plan framework and letter to                  2.90
                                  Bondholder Committee (.90); further revise letter to Bondholder
                                  Committee (1.50); call with PJT and Katten regarding Plan (.50)
09/09/2022     Reisman, Steven    Discussions with Katten team regarding matters related to plan issues                   2.70
                                  (.30); follow up with J. Stein regarding same (.30); continue to review plan
                                  framework and materials related to same in preparation for consideration
                                  by Special Committee and ongoing work in connection with GWG
                                  restructuring (2.10)



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Date           Timekeeper         Description                                                                          Hours
09/10/2022     Giglio, Cindi      Review revised drafts of Committee letter and correspondence (.60)                      0.60
09/12/2022     Giglio, Cindi      Follow up on LBC letter (.10); follow up on toggle plans with M. Roitman                1.10
                                  (.40); attend call with S. Reisman regarding letter to LBC (.40); draft
                                  related correspondence (.20)
09/12/2022     King, Geoff        Review materials regarding plan framework (.40); call with PJT regarding                0.80
                                  plan framework (.40)
09/12/2022     Roitman, Marc      Research regarding plan election precedents and potential toggle                        4.10
                                  mechanics (2.40); draft memorandum regarding same (1.70)
09/13/2022     Giglio, Cindi      Edits to LBC letter from S. Reisman (.40); email regarding toggle plans                 1.10
                                  (.50); review comments to same (.20)
09/13/2022     Reisman, Steven    Review and edit letter to Bondholders Committee and discussions with C.                 0.80
                                  Giglio regarding same (.80)
09/14/2022     King, Geoff        Analyze issues in connection with upcoming restructuring framework                      2.10
                                  discussions (.50); review draft restructuring materials (.50); review
                                  materials in connection with 40 act considerations (.40); analyze issues
                                  regarding 40 Act considerations (.40); call with V. Bulkin regarding same
                                  (.30)
09/14/2022     Reisman, Steven    Review restructuring materials in connection with call to discuss                       1.10
                                  restructuring framework for plan (1.10)
09/14/2022     Bulkin, Vlad       Call with G. King regarding restructuring proposals and Investment                      0.90
                                  Company Act implications (.30); analysis regarding issues with the
                                  Investment Company Act (.60)
09/15/2022     Giglio, Cindi      Attend call on 40 Act/Plan issues (.40); related follow up (.20); call with             3.00
                                  professionals and management on plan aspects (1.00); related follow up
                                  (.50); call with G. King and V. Bulkin (.50); emails regarding plan (.40)
09/15/2022     King, Geoff        Call with V. Bulkin and C. Giglio regarding restructuring proposal (.50);               2.40
                                  review and revise plan proposal presentation (1.20); emails with Katten
                                  team regarding 40 act issues (.70)
09/15/2022     Bulkin, Vlad       Call with Mayer Brown Investment Company Act expert regarding 40 Act                    1.20
                                  issues (.40); prepare for same (.30); call with G. King and C. Giglio
                                  regarding Investment Company Act issues and SPAC questions (.50)
09/16/2022     Giglio, Cindi      Emails regarding PJT deck (.30); call with professionals regarding plan                 8.50
                                  structure (.90); review presentation (2.10); follow up on plan structure
                                  with PJT (.50); calls with Katten team throughout day (2.80); attend call
                                  with PJT and MB regarding finalizing presentation (1.90)
09/16/2022     Barnowski, Dan     Call with Mayer Brown and PJT regarding Plan Issues (.80); attend                       1.80
                                  portion of teleconference with Advisors about draft plan (1.00)
09/16/2022     King, Geoff        Call with Mayer Brown and PJT regarding Plan Issues (.80); call with PJT                4.70
                                  and Mayer Brown regarding restructuring proposal (1.90); call with PJT
                                  regarding follow-up (.50); call with Company and Mayer Brown regarding
                                  40 Act issues (.70); call with S. Reisman regarding plan issues (.10); call
                                  with Mayer Brown regarding 40 Act issues (.30); call with V. Bulkin, C.
                                  Giglio and S. Reisman regarding 40 Act issues (.20); calls with T. Evans
                                  regarding restructuring proposal (.20)
09/16/2022     Thompson, Grace Draft presentation for Special Committee regarding preliminary                             0.80
                               restructuring proposal and fiduciary duties (.50); revise per comments
                               from G. King (.30)
09/16/2022     Hall, Jerry     Review draft restructuring proposal (.90); call among Mayer Brown,                         2.60
                               Katten and others regarding restructuring options (.80); review draft
                               presentation regarding restructuring options (.90)




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Date           Timekeeper         Description                                                                          Hours
09/16/2022     Miranda, Loredana Draft restructuring proposal presentation (.40); emails with G. Thompson                 0.50
                                 regarding same (.10)
09/16/2022     Roitman, Marc     Review and analyze presentation and underlying projections and analyses                  5.80
                                 regarding Plan framework (1.90); draft email memorandum regarding Plan
                                 strategy and recommendation (1.40); emails with Katten regarding same
                                 (.50); review research regarding Plan structure considerations (.90); call
                                 with Mayer Brown and PJT regarding case matters and Plan framework
                                 (.80); prepare for same (.30)
09/16/2022     Reisman, Steven    Discussion with Mayer Brown and PJT regarding plan issues (.80); call                   1.80
                                  with G. King regarding plan issues (.10); call with C. Giglio, G. King and
                                  V. Bulkin regarding 40 Act issues (.20); review materials regarding plan
                                  framework and matters related to same and follow up (.70)
09/16/2022     Bulkin, Vlad       Call with PJT, Mayer Brown and Katten teams regarding reinsurance                       5.20
                                  business restructuring options (.80); follow-up research regarding same
                                  (1.30); call with S. Reisman, C. Giglio and G. King regarding Investment
                                  Company Act issues (.20); call with PJT, Mayer Brown and Katten team
                                  regarding restructuring proposal (1.90); prepare for same (1.00)
09/16/2022     Archiyan, Yelena   Review comments to Project Polly restructuring proposal presentation                    0.20
                                  (.20)
09/17/2022     Giglio, Cindi      Review Special Committee presentation and comment on same (.40); draft                  1.10
                                  response to Akin letter (.50); related correspondence (.20)
09/17/2022     Thompson, Grace Revise presentation for Special Committee per comments from G. King                        0.80
                               (.30); revise further (.50)
09/17/2022     Hall, Jerry     Review draft restructuring presentation (1.10); email among G. King and                    1.60
                               others regarding draft restructuring presentation (.50)
09/18/2022     Roitman, Marc   Call with D. Chavenson regarding Plan and related matters (.40)                            0.40
09/19/2022     Chase, Ashley      Review restructuring proposal (.60)                                                     0.60
09/19/2022     Giglio, Cindi      Review plan presentation (.50)                                                          0.50
09/19/2022     Barnowski, Dan     Analyze revised plan proposal (.50)                                                     0.50
09/19/2022     Hall, Jerry        Review revised restructuring proposal presentation (.50)                                0.50
09/19/2022     Rosella, Michael   Review presentations regarding restructuring proposals (.70)                            0.70
09/19/2022     Archiyan, Yelena   Review fiduciary duties overview and plan proposal recommendation                       0.50
                                  (.20); review Project Polly restructuring proposal dated September 20,
                                  2022 (.30)
09/20/2022     Giglio, Cindi      Follow up on plan issues and Ben comments (.90); review BD letter and                   1.50
                                  discuss with G. King (.60)
09/20/2022     King, Geoff        Review proposed restructuring materials (.40); emails with Katten and                   1.10
                                  Mayer Brown regarding restructuring proposal materials (.30); attend call
                                  with Mayer Brown, J. Stein and Company regarding restructuring proposal
                                  (.40)
09/20/2022     Roitman, Marc      Draft letter to purported bondholder representatives regarding disclosure               2.30
                                  of holdings and representation (1.90); emails with Katten regarding same
                                  (.40)
09/21/2022     King, Geoff        Analyze issues in connection with restructuring proposal (.60)                          0.60
09/22/2022     King, Geoff        Review restructuring proposal materials (.40)                                           0.40
09/22/2022     Miranda, Loredana Call with M. Roitman regarding research on section 1122 of the                           2.00
                                 bankruptcy code (.30); analyze documents related to L Bonds (1.70)




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Date           Timekeeper         Description                                                                           Hours
09/22/2022     Roitman, Marc      Review public disclosures regarding L Bonds in connection with Plan                      1.60
                                  issues (.80); initial review of case law regarding same (.50); call with L.
                                  Miranda regarding research in connection with Plan (.30)
09/22/2022     Archiyan, Yelena   Review Project Polly restructuring proposal dated September 21, 2022                     0.30
                                  (.30)
09/23/2022     Giglio, Cindi      Attend a portion of plan call with LBC professionals (.60)                               0.60
09/23/2022     Barnowski, Dan     Teleconference with L Bond Committee, Debtors and Advisors                               1.10
                                  concerning plan proposal (1.10)
09/23/2022     King, Geoff        Call with Akin and Mayer Brown regarding restructuring proposal (1.10);                  1.20
                                  call with L. Chiappetta regarding restructuring proposal call (.10)
09/23/2022     Hall, Jerry        Attend a portion of call among Katten, Mayer Brown, Akin, PJT and                        1.00
                                  others regarding potential restructuring options (1.00)
09/23/2022     Roitman, Marc      Call with Debtors' professionals and Committee's professionals regarding                 1.70
                                  proposed Plan framework (1.10); review preliminary research regarding
                                  Plan issues (.60)
09/23/2022     Reisman, Steven    Participate in calls among Katten, Mayer Brown, Akin and PJT regarding                   1.80
                                  restructuring options and feedback on same (1.10); review materials in
                                  preparation for call with Akin and others regarding restructuring options
                                  (.70)
09/24/2022     Hall, Jerry        Review revised restructuring proposal presentation (.30)                                 0.30
09/25/2022     Miranda, Loredana Review background documents for memo regarding classification of                          3.10
                                 claims pursuant to section 1122 of the Bankruptcy Code (3.10)
09/26/2022     Miranda, Loredana Review case law regarding classification of claims under section 1122 of                  5.70
                                 the Bankruptcy Code (3.60); draft memorandum regarding classification
                                 of claims under section 1122 of the Bankruptcy Code (2.10)
09/27/2022     King, Geoff        Review materials in connection with disclosure statement (.20)                           0.20
09/27/2022     Thompson, Grace Provide comments on L. Miranda's memorandum regarding classification                        0.60
                                 (.60)
09/27/2022     Miranda, Loredana Draft memorandum regarding classification of claims under section 1122                    3.50
                                 of the Bankruptcy Code (3.10); emails with M. Roitman regarding same
                                 (.40)
09/27/2022     Reisman, Steven    Attend to matters regarding work of Special Committee in connection with                 1.20
                                  plan and focus on issues related to same (1.20)
09/29/2022     King, Geoff        Attend call with PJT/Katten/Jeff Stein regarding plan issues (.60); attend               1.50
                                  call with Mayer Brown regarding plan issues (.50); review issues
                                  regarding plan matters (.40)
09/29/2022     Thompson, Grace Email with M. Roitman regarding elements of Seller Trusts L Bonds and                       0.50
                               classification (.10); research company documents regarding the same (.40)
09/29/2022     Roitman, Marc   Call with Bondholder Committee professionals regarding plan proposal                        2.40
                               (1.00); follow up meeting with Katten regarding same (.30); follow up call
                               with J. Stein and PJT regarding same (.60); call with Debtors' counsel
                               regarding plan framework and related matters (.50)
09/30/2022     King, Geoff        Call with T. Hatcher regarding tax issues (.40); review materials in                     0.50
                                  connection with upcoming plan (.10)
                                                                                             Total Hours :              121.40




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       11.70            1,585.00              18,544.50
Giglio, Cindi                                         23.80            1,350.00              32,130.00
Hall, Jerry                                            6.00            1,285.00               7,710.00
Bulkin, Vlad                                           8.40            1,170.00               9,828.00
King, Geoff                                           18.20            1,145.00              20,839.00
Roitman, Marc                                         24.40            1,145.00              27,938.00
Barnowski, Dan                                         4.60            1,125.00               5,175.00
Chase, Ashley                                          0.60              910.00                 546.00
Archiyan, Yelena                                       1.00              875.00                 875.00
Thompson, Grace                                        3.40              800.00               2,720.00
Rosella, Michael                                       4.50              800.00               3,600.00
Miranda, Loredana                                     14.80              580.00               8,584.00

                                     Sub Total :     121.40   Sub Total :                   138,489.50
                                     Total Hours :   121.40   Total Fees             138,489.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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Jeffrey S. Stein, Anthony R. Horton, and
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Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Expenses

For Professional Services Rendered Through September 30, 2022


Disbursements .....................................................................................................................................................                     13,361.91
Total Amount Due ..............................................................................................................................................                         13,361.91        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Expenses

DISBURSEMENTS
Description                   Cost Description                                                            Amount

Airfare                       Airfare Service Charge for Round Trip-Airfare service charge                1,357.20
                              for round trip flights to attend a GWG Hearing in Houston,
                              TX.-Date Inc urred: 08/29/2022.

Out of Town Travel            Taxi / Uber Car Service Charge-Taxi / Uber Car Service Charge                 720.69
                              for GWG meeting-Date Incurred: 09/15/2022. attend client
                              meeting-cab home from meeting-Date Incurred: 09/14/2022.
                              attend client meetings-Cab home-Date Incurred: 09/14/2022.
                              Taxi / Uber / Car Service Charge-Car service charge for
                              transportation to and from the airport for a GWG business trip
                              to attend a H earing in Houston, TX / Reservation #2020405-
                              Date Incurred: 08/29/2022. Taxi / Uber Service Charge-Car
                              service charge for transportation home after deposition prep.-
                              Date Incurred: 07/12/2022.
Courier                       FedExCorp.Inv#: 788041752,Trking# 277692523053,on                              21.48
                              9/7/2022 To: MICHAEL COMERFORD.


Court Costs                   Pacer Court Costs 8/01/2022-8/31/2022 NYC.                                     24.70



Legal Research                Westlaw August 2022-Pecoraro, Andrew on 8/01/2022.                            977.68



Data/Library Research         Westlaw Legal Research: JORDAN,ALLY on 9/16/2022.                          10,260.16
Services                      Westlaw Legal Research: JORDAN,ALLY on 9/19/2022.
                              Westlaw Legal Research: JORDAN,ALLY on 9/20/2022.
                              Westlaw Legal Research: JORDAN,ALLY on 9/21/2022.
                              Westlaw Legal Research: JORDAN,ALLY on 9/22/2022.
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                              PECORARO,ANDREW on 9/19/2022. Westlaw Legal
                              Research: PECORARO,ANDREW on 9/14/2022. Westlaw
                              Legal Research: PECORARO,ANDREW on 9/12/2022.
                              Westlaw Legal Research: PECORARO,ANDREW on
                              9/7/2022. Westlaw Legal Research: PECORARO,ANDREW
                              on 9/23/2022. Westlaw Legal Research: THOMPSON,GRACE
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                              on 9/7/2022. Westlaw Legal Research:
                              MIRANDA,LOREDANA on 9/26/2022. Westlaw Legal
                              Research: CHASE,ASHLEY on 9/26/2022. Westlaw Legal
                              Research: JORDAN,ALLY on 9/15/2022. Westlaw Legal
                              Research: JORDAN,ALLY on 9/14/2022. Westlaw Legal
                              Research: JORDAN,ALLY on 9/13/2022. Westlaw Legal
                              Research: STICKEL,CARRIE on 9/13/2022. Westlaw Legal
                              Research: KITNICK,JESSE on 9/13/2022. Westlaw Legal
                              Research: KITNICK,JESSE on 9/11/2022. Westlaw Legal
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                              Research: KITNICK,JESSE on 9/9/2022. Westlaw Legal


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Matter:             397894.00032
Invoice #:          9020103422                                                            December 21, 2022
Invoice Due Date:   Payable Upon Receipt

Description                  Cost Description                                                        Amount
                             Research: KITNICK,JESSE on 9/23/2022. Westlaw Legal
                             Research: KITNICK,JESSE on 9/22/2022. Westlaw Legal
                             Research: KITNICK,JESSE on 9/21/2022. Westlaw Legal
                             Research: KITNICK,JESSE on 9/20/2022. Westlaw Legal
                             Research: KITNICK,JESSE on 9/19/2022. Westlaw Legal
                             Research: KITNICK,JESSE on 9/30/2022.
                                                                   Total Disbursements:     13,361.91   USD




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ÿÿ
,5--1.ÿ/4012.ÿ3451.65.ÿ778ÿ25ÿ5.ÿK<<2.425ÿ7262-1Jÿ72522<2-6ÿ853-.13512Pÿ2.0<4J2.OÿP34;15524.5<ÿ043P435-24.5ÿ-15-ÿ155ÿ1<10-1Jÿ-4ÿ21ÿO4V13.1Jÿ26ÿ-11ÿK<<2.425ÿW.2;436ÿ853-.13512PÿX0-ÿÿYAFF9ZMÿ
ÿÿ
,5--1.ÿ/4012.ÿ3451.65.ÿW,ÿ778ÿ25ÿ5ÿ7262-1Jÿ72522<2-6ÿ853-.13512Pÿ4;ÿ54<202-435ÿ5.Jÿ31O25-131Jÿ;4312O.ÿ<5?6135ÿ31O25-131Jÿ2.ÿ[.O<5.Jÿ5.JÿN5<15M
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6>62>7677     ?@A%"ÿB9 HÿCEÿA9 9%ÿDÿ$E%ÿD ÿ%9 A ÿF7516G                            7516
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6>3>7677     ?@A%"ÿB9 H %#ÿC@ÿO5ÿ89#9ÿE9#Eÿ ÿ9#ÿD ÿCP% 9A%ÿ                       566
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                              F5K6GLÿA9%ÿC@ÿB5ÿMEÿE9#Eÿ%9A ÿF576G
6>1>7677     ME"ÿB DD  CÿJÿ8!IÿF576G                                                           6576
6>1>7677     ?@A%"ÿB9  CÿCÿ9%ÿÿ %ÿ%ÿDAÿ %ÿF576GLÿ %#ÿ                      6526
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                         <576=
637437677 B9"ÿ89  9ÿ;9 99ÿ7ÿAÿ7 ÿ99 ; ÿÿ9 ÿ65ÿ45ÿ;; 9ÿ                   4536
                         <5C6=>ÿ;99ÿ8?ÿA5ÿB ÿ59:5ÿAÿ7 ÿ99 ; ÿ<576=>ÿ79Dÿ!9ÿ
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                              A5ÿB9ÿ=526>?ÿ 8 ÿ7ÿA5ÿB9ÿ:;9ÿ ÿ;;;ÿ=56>
63636     45"ÿ6 77 K99:ÿ9ÿ7ÿP889;ÿ ÿ;;;ÿ=526>?ÿ899:ÿ9ÿ7ÿ                        4546
                              P889;ÿ:;9ÿ=516>?ÿ899:ÿB9ÿ:;9ÿ=536>
63636     JF<;"ÿ68 K99:ÿ8:ÿ98Dÿ9;ÿ89ÿ5ÿP889;ÿ:;9ÿ=5G6>?ÿ899:ÿ8:ÿ98Dÿ               4506
                              9;ÿ89ÿA5ÿB9ÿ:;9ÿ=526>
63636     @8"ÿA       K99:ÿ:;9ÿ7ÿ5ÿP889;ÿ=526>?ÿ899:ÿ:;9ÿ7ÿA5ÿB9ÿ               526
                              =526>?ÿ8ÿ8<5ÿ5ÿL88;Dÿ8:ÿ9F ;ÿ58:5ÿ8;ÿ;989;ÿ=536>
63636     78:8"ÿP :88!8989ÿ;F:5ÿ7ÿ7ÿ:;9;ÿ58:5ÿ9:8ÿ79ÿ=506>?ÿ                   506
                              89ÿ4899ÿ<< 9;ÿ9ÿ9Fÿ 9;Hÿ;;ÿ9ÿ9Fÿ9:8H;ÿ
                               < 5ÿ<9ÿ=526>?ÿ8ÿ 9;Hÿ;;ÿ9ÿ9Fÿ9:8H;ÿ
                               < 5ÿ<9ÿ=506>
63636      ;<8"ÿB9 C:89ÿ<899;ÿ8:ÿ 8 ÿ7ÿ9Fÿ<5ÿ:;9ÿ7ÿA5ÿB9"ÿ5ÿ                  546
                              P889;ÿ8:ÿ:8ÿÿ8:ÿ8989ÿÿ9ÿ7ÿ9F;ÿ:;9;ÿ=546>
63636     L8D "ÿJ8  8ÿÿC :9ÿK5 < 9ÿ9ÿ:ÿ98Mÿ<< 9;ÿ=56>?ÿ 8 ÿ                           5G6
                              ;<<8ÿ7ÿ98Mÿ<< 9;ÿ7ÿJ5ÿ@89F H;ÿ8ÿ=546>
63636     @89F "ÿJ::  8ÿÿ :9ÿ85 < 9ÿ7<ÿ78 ÿL8ÿ58:5ÿ98Mÿ                                    656
                              <89;ÿ=56>
                                                                                                         Ex. Pg. 1496
     Case
        Case QRSTÿVVWXYYZVÿÿÿ[\]^_T`aÿbcXbÿÿÿdefTgÿèÿhijkÿ\`ÿYZlYblVZÿÿÿmRnTÿVZÿ\oÿbYp
          22-30500-swe7
              22-90032 Document
                         Doc 261-8
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                                2143Filed
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7899         012314566664
ÿ      166604                                                                     !8ÿ2"ÿ60
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6336 49"ÿ58          6ÿ7889ÿ9:9ÿ; 79ÿ<= > 9ÿ?56@                                          56
6336 A="ÿB 88        6ÿ7889ÿ 79ÿ8= > 9ÿ>898Cÿ?546@                                       6546
6336 D8"ÿE           6ÿ57F7 Cÿ;>>99 GCÿH9ÿ9ÿI78ÿ9ÿ88ÿ                 56
                             >9ÿ?56@Jÿ8ÿ69Fÿ;5ÿB=ÿ=87=ÿI78ÿ9ÿ87ÿ897ÿ>899Cÿ
                             ?526@
6336     49"ÿ58  6ÿ>8Cÿ=87=ÿ7889ÿ9:9ÿ; 79ÿ<= > 9ÿ?56@                                 656
6336     A="ÿB 88  6ÿ 79ÿ8= > 9ÿ8> 7> 9Cÿ?56@                                           656
6336      C>8"ÿ49  6ÿ>898Cÿ=87=ÿ 79ÿ8= > 9ÿ87ÿI78ÿ9ÿ>899Cÿ?546@               6546
63436     49"ÿ58  6ÿC7ÿ7889ÿ8ÿÿ; 79ÿ<= > 9ÿ?56@                                         656
63236     49"ÿ58  6ÿC7ÿ7889ÿ8ÿ9:9ÿ; 79ÿ<= > 9ÿ?56@                                       656
63236     D89F "ÿK77  6ÿ7889ÿ:9ÿ889ÿ 79ÿ8= > 9ÿ8ÿ98:ÿCCCÿ?546@                      6546
63336     49"ÿ58  6ÿ>8Cÿ=87=ÿÿ; 79ÿ<= > 9ÿ?56@                                        656
63336     9>8"ÿ78 889ÿC7ÿC9ÿ=87=ÿ9ÿ8ÿC8ÿ9ÿCÿ9ÿ8ÿ                546
                             9ÿ9ÿ?516@Jÿ6ÿ8ÿ88ÿÿ7 ÿÿ9ÿ69FÿC8> ÿ?5L6@Jÿ
                               6ÿ8ÿI78ÿ88=ÿ9>ÿCF 9ÿÿ9ÿ69FÿC8> ÿ?546@Jÿ>8Cÿ
                             69FÿA899ÿ=87=ÿC8> ÿ?56@
63136     9>8"ÿ78 ;8ÿ69FÿA899ÿ87ÿ;Mÿ=87=ÿ9ÿ9ÿCÿ88=ÿ9ÿ87ÿ             526
                             C7 89Cÿ89ÿ9ÿC8> ÿ?506@Jÿ6ÿ>898Cÿÿ9ÿ
                             69FÿC8> ÿ?546@
63636     49"ÿ58  6ÿ>> 9Cÿ9ÿ9:9ÿ; 79ÿ<= > 9ÿ?56@Jÿ8989ÿÿ8ÿ                     56
                               =87=ÿÿ; 79ÿ<= > 9ÿ?526@
63636     A="ÿB 88 <997ÿ8CC8Cÿ8ÿ=87=ÿI78ÿ?526@                                        6526
63636     D8"ÿE      ;8ÿ8>=ÿA899"ÿ78 ÿ56"ÿEKÿ87ÿ9F Cÿ=87=ÿI78ÿ9ÿ                6536
                             ?5L6@Jÿ8ÿ8>=ÿA899"ÿ78 ÿ56"ÿEK"ÿ>88=> 9ÿ87ÿ9F Cÿ
                               =87=ÿF8=ÿÿI78ÿ9ÿ?56@
63636      C>8"ÿ49  6ÿ>> 9Cÿ=87=ÿI78ÿ889ÿ?546@Jÿ>8Cÿ69FÿB5ÿA=ÿ                65L6
                               =87=ÿI78ÿ889ÿ?56@
6336     49"ÿ58  6ÿC7ÿ7889ÿ8ÿ9:9ÿ; 79ÿ<= > 9ÿ?546@                                       6546
6336     KF>C"ÿB8 889ÿ C989ÿ8ÿ48ÿ;>>99 ÿ> 9=ÿÿI7835ÿM6ÿ                    566
                             9Cÿ?536@Jÿ8997ÿ 8ÿ8ÿC8> ÿ?536@Jÿ6ÿ87ÿ89ÿÿ
                             I ÿ9Cÿ?546@
6336     49"ÿ58  6ÿ>> 9Cÿ9ÿ9:9ÿ; 79ÿ<= > 9ÿ?526@Jÿ6ÿ>> 9Cÿ9ÿ                      56
                             ÿ; 79ÿ<= > 9ÿ?526@Jÿ8989ÿÿ8ÿ69Fÿ78 ÿ56ÿ87ÿ
                             Nÿ9>8ÿ=87=ÿ; 79ÿ<= > 9Cÿ?56@
6336     A="ÿB 88 <997ÿI78ÿ88=ÿ8ÿ69Fÿ78 ÿ56ÿ87ÿNÿ9>8ÿ?56@Jÿ              56
                               6ÿ89C9ÿ CCÿ8ÿ 79ÿ8= > 9Cÿ?546@
63036     49"ÿ58  6ÿ87ÿC7ÿ9ÿ>8Cÿ=87=ÿ; 79ÿ<= > 9Cÿ?546@                              6546
63036     586CO"ÿ8  6ÿ7889ÿ58ÿ87ÿI ÿ7889Cÿ?5L6@                                    65L6
63036     A="ÿB 88 ;8ÿ69FÿNÿ9>>88ÿ=87=ÿI78ÿ7> 9Cÿ?56@Jÿ8ÿ69FÿEKÿ            6516
                             87ÿNÿ9>8ÿ=87=ÿI78ÿ7> 9Cÿ?526@
63036     D8"ÿE      ;8ÿ8>=ÿA899"ÿEKÿ87ÿ48ÿ;>>99 ÿ=87=ÿI78ÿ9ÿ87ÿ             566
                               897ÿ>899Cÿ?566@
63436     49"ÿ58  6ÿC7ÿÿ; 79ÿ<= > 9ÿ?56@Jÿ6ÿC7ÿ9:9ÿ; 79ÿ                           656
                             <= > 9ÿ?56@
63436     586CO"ÿ8 <8Pÿ7889ÿ49ÿ7889ÿ?56@Jÿ88Pÿ7889ÿ58ÿ7889ÿ                 56
                             ?56@Jÿ88Pÿ7889ÿI ÿ7889ÿ?56@
63436     KF>C"ÿB8  Cÿ49ÿ7889ÿ ÿ>> 9Cÿ8>ÿA899ÿ98>ÿ?56@                          656

                                                                                                    Ex. Pg. 1497
     Case
        Case QRSTÿVVWXYYZVÿÿÿ[\]^_T`aÿbcXbÿÿÿdefTgÿèÿhijkÿ\`ÿYZlYblVZÿÿÿmRnTÿVcÿ\oÿbYp
          22-30500-swe7
              22-90032 Document
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7899         012314566664
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63436 48"ÿ5            6ÿ78ÿ79899 9ÿ:88:ÿ;88ÿ9ÿ9ÿ<5=6>?ÿ7ÿ55ÿ                 546
                              @9ÿ8889ÿ<;88ÿ9ÿ9>ÿ<526>?ÿ6ÿ75ÿ; ÿ8889ÿ
                              <;88ÿ9ÿ9>ÿ<536>?ÿ98ÿ89:ÿ75ÿ998ÿ88ÿ9A 7ÿ
                                 :88:ÿ79899 9ÿ:88:ÿ;88ÿ9ÿ9ÿ<506>
63436     7888"ÿB 888 7ÿC9ÿ9 97ÿ69Aÿ99 97ÿD9ÿ75ÿE9 D8"ÿE5ÿ                    546
                              F:"ÿ88ÿ75ÿE9 D8ÿ<546>
63436     E9 D8"ÿ  6ÿ@9ÿ88D9ÿ8889ÿ<5=6>?ÿ6ÿ88D9ÿ9ÿ9ÿD9ÿ                       536
               7A8         78 ÿG6ÿ88ÿ99 97ÿ<56>?ÿ6ÿ99 97ÿ9ÿ789 ÿ9ÿ
                              9ÿ<5=6>?ÿ6ÿ; ÿ8889ÿ<546>
63436     998"ÿ78  7ÿ88D9ÿ9ÿ79899 9ÿÿ79ÿDÿ9ÿDÿ;88ÿ9ÿ                 4506
                              <0536>?ÿ987ÿ69AÿH899ÿ:88:ÿ789 ÿ<56>
6336      F:"ÿE8 I998ÿ879ÿ ÿ69Aÿ55ÿ@9ÿ<566>?ÿD8Jÿ9ÿ89 97ÿ            056
                              88ÿ87777ÿ:88:ÿ789 ÿ<56>
6336      G867K"ÿ8 E99897ÿ69AÿE5ÿH ÿ :ÿ6977ÿ ÿ<56>?ÿ 8 ÿDÿ             566
                              55ÿ@9ÿ ÿ777ÿ<56>?ÿ55ÿ@9ÿ8ÿ ÿ8ÿ<56>?ÿ6ÿ78ÿ
                               9ÿ79899 9ÿ<536>?ÿ6ÿ78ÿ88897ÿÿ79ÿDÿ9ÿ
                              79899 9ÿ<516>?ÿ6ÿG8A8 ÿE9999 ÿD:ÿÿ77ÿ9ÿ
                               9ÿ79899 9ÿ<546>?
6336      H:"ÿF DD I998ÿ55ÿ@9ÿ879ÿ ÿ<566>                                              566
6336      48"ÿ5        7ÿ;88ÿ9ÿ9ÿDÿ9ÿ<526>?ÿ7ÿ8889ÿDÿ55ÿ@9ÿ           056
                              <79:ÿ9ÿDÿ9>ÿ<56>?ÿ8998ÿ879ÿ 889ÿDÿ55ÿ
                              @9ÿ<96ÿ7777>ÿ<56>?ÿ98ÿ89:ÿH899ÿ88ÿ78 ÿG6ÿ
                                 :88:ÿ;88ÿ9ÿ9ÿ9ÿ88ÿ898ÿ98997ÿ<56>
6336      998"ÿ78 !9A ÿ7ÿ9ÿ79899 9ÿ:88:ÿ9ÿDÿ;88ÿ9ÿ<536>?ÿ                  5=6
                               987ÿ69AÿH899ÿ:88:ÿ789 ÿ<56>?ÿ6ÿ88897ÿÿ79ÿDÿ
                              ;88ÿ9ÿ<506>
63=36     G867K"ÿ8 I7779ÿÿ 889ÿDÿ99ÿ9ÿIKÿ :ÿ8:ÿ87ÿ<56>?ÿ             546
                               ÿ5ÿB8897ÿDÿA7ÿ879ÿ<516>
63=36     48"ÿ5        6ÿ99ÿD9ÿ5ÿL9ÿ:88:ÿ998ÿ 8KMÿD ÿ<;88ÿ                     656
                              9>ÿ<56>?ÿ98ÿ89:ÿF5ÿH:ÿ88ÿ9A 7ÿ:88:ÿ998ÿ 8KM
                              ÿD ÿ<506>
63=36     E9 D8"ÿ  6ÿ99ÿ9ÿ@8ÿE9999 ÿ:88:ÿ;88ÿD9ÿGÿN6ÿ<5=6>                         65=6
               7A8
63=36     998"ÿ78  6ÿ99ÿD9ÿGÿN6ÿ:88:ÿ 8KMÿD ÿ<56>?ÿ987ÿ69Aÿ                       516
                              H899ÿ:88:ÿ789 ÿ<506>?ÿ6ÿÿN8 ÿÿ9ÿ69Aÿ789 ÿ
                              <546>?ÿ6ÿ88ÿ88JÿD ÿ99ÿ<56>?ÿD6ÿÿ987ÿ69AÿH899ÿ
                                 :88:ÿ789 ÿ<56>
63236     48"ÿ5        6ÿG8A8 7ÿE9999 O7ÿ79899 9ÿ:88:ÿ;88ÿ9ÿ                      6506
                               9ÿ<506>
63236     E9 D8"ÿ  6ÿ;88ÿ9ÿ898ÿD:7ÿD9ÿGÿN6ÿ<536>?ÿ78Aÿ                            506
               7A8            :88:ÿ 98ÿ777ÿ878ÿÿ9ÿ69AÿGÿN6ÿD:ÿ<516>?ÿ
                                 6ÿ78Aÿ797ÿDÿ777ÿ878ÿÿ9ÿ69AÿGÿN6ÿ
                              D:ÿ<546>?ÿ98ÿ69Aÿ75ÿ998ÿ:88:ÿ789 ÿ<56>
63236     998"ÿ78  6ÿD:ÿÿGÿN6ÿ:88:ÿ;88ÿD8:ÿ<56>?ÿ88D9ÿ98ÿ                  456
                              9 9889ÿ:88:ÿ8877ÿDÿ789 ÿ<526>?ÿ6ÿ78Aÿÿ
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                                ;ÿ B9ÿCÿ:8ÿ=9ÿ>:: ÿ9ÿ?506@Aÿ9ÿ
                              9:8ÿ69 ÿ99ÿ=9ÿ>:: ÿ8998ÿ9BÿB9Bÿ?536@Aÿ:9ÿ
                              9:8ÿD5ÿ68ÿ99ÿ< Bÿ8998ÿEÿF9ÿ8998: ÿ99ÿG 7
                              99ÿ99ÿ<ÿ:: ÿC:9ÿ?506@Aÿ;ÿB9ÿ ÿÿG 7
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7636436     8999"ÿE 999 Bÿ=9ÿ>:: ÿ9899ÿ;<ÿ85ÿ:9HBÿ:: Bÿ?506@Aÿ                4566
                                Bÿ=9ÿ>:: ÿ:9 9Bÿ;<ÿD5ÿ68HBÿ:: Bÿ?506@Aÿ:9Bÿ
                              ;<ÿ69 ÿ9:ÿ8998ÿB9: ÿ?56@Aÿ:9Bÿ;<ÿI5ÿ49< ÿ99ÿI5ÿ
                              F9G ÿ8998ÿ:9ÿ9: Bÿ?546@Aÿ99CÿB9ÿ:9ÿÿ
                              99ÿBÿ;<ÿ=9ÿ>:: ÿ:9 9Bÿ?576@Aÿ9 9ÿ
                              69 ÿ ÿ9ÿ?56@Aÿ9 9ÿ9ÿ;<ÿ<ÿ=9ÿ>:: ÿ?536@Aÿ99Cÿ
                              : BÿCÿ9ÿ;<ÿ<ÿ=9ÿ>:: ÿ?526@AÿBÿ=9ÿ
                              >:: ÿ: Bÿ;<ÿ>5ÿD8HBÿ:: Bÿ?56@Aÿ:9Bÿ;<ÿD5ÿ68"ÿ
                              >5ÿD8"ÿ99ÿ5ÿF9;BGÿ8998ÿB998ÿ: Bÿ?546@Aÿ 9 ÿ
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                              =9ÿ>:: ÿ?536@Aÿ69 ÿ 79ÿÿ 99ÿCÿB9: ÿ?56@Aÿ
                                Bÿ ÿÿFG ÿ 9ÿ>:: ÿÿBBÿÿ:: Bÿ
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7636436      B:9"ÿ=  99 ÿÿ 99ÿCÿ=9ÿ>:: ÿ9ÿ;<ÿ69 ÿ?56@Aÿ                  516
                                ;ÿ9: 9ÿÿ 99ÿCÿ69 ÿ9ÿ8998ÿ=9ÿ
                              >:: ÿ99ÿ;ÿ:9 9Bÿÿ 99ÿCÿB9: ÿ?516@Aÿ99 ÿ
                              ÿ=9ÿ>:: ÿ99 ÿ9ÿ?536@Aÿ9BBBBÿ;<ÿD5ÿ68ÿ
                                8998ÿ=9ÿ>:: ÿ:9 9Bÿ?56@Aÿ9BBBBÿ;<ÿ5ÿ
                              ><9Bÿ8998ÿ=9ÿ>:: ÿ:9 Bÿ?5J6@AÿC;ÿÿ9Bÿ
                              ;<ÿ89 ÿF;ÿ99ÿ69 ÿ9:ÿ: : Bÿ8998ÿ 99ÿCÿ
                              =9ÿ>:: ÿ9ÿ?546@AÿB8ÿCCÿÿ=9ÿ>:: ÿ:9 9Bÿ
                              ?506@Aÿ;ÿ;GÿÿBBÿ99ÿ88ÿ9ÿ8ÿÿÿ;<ÿ
                              ;GÿÿDKDÿB8ÿ:9 Bÿ?5J6@Aÿ;ÿ99ÿ:: ÿÿ
                               B9ÿÿL9ÿ4ÿ>:: ÿCÿFG ÿ 9Bÿ99ÿC;ÿÿ
                                8998ÿ:9 Bÿ9 9ÿÿB9: ÿ?536@Aÿ;ÿ99ÿ:: ÿÿF99ÿ
                              : BÿCÿ=9ÿ>:: ÿ?546@AÿC;ÿÿ8998ÿ;ÿCÿ
                              9 8ÿ9: 9ÿÿÿ;<ÿDKDÿ?546@
7636436     49< "ÿI99  ;ÿ=9ÿ>:: ÿ: 8ÿ:9 9Bÿ?546@Aÿ9 9ÿ=9ÿ                       6516
                              >:: ÿ 79ÿ;<ÿ69 ÿ?56@
763636      68"ÿD CC L 9ÿ69 ÿ9ÿ8998ÿ;GB 9:Bÿ?56@Aÿ9 9ÿ69 ÿ 79ÿ                    756
                                8998ÿ; Gÿ89 ÿF;ÿ9ÿ?506@Aÿ 9 ÿCÿ; Gÿ89 ÿ
                              F;ÿ9ÿ?56@Aÿ; Gÿ9ÿ;<ÿ89 ÿF;ÿ?546@Aÿ9ÿ;<ÿ5ÿ
                              ><9Bÿ8998ÿ=9ÿ>:: ÿ:9 Bÿ?576@Aÿ;ÿB9ÿ
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763636      49"ÿ5       69 ÿ9ÿ8998ÿ9BÿB9Bÿ?56@Aÿ69 ÿ 79ÿ8998ÿ:8ÿ           6516
                              9ÿ;<ÿ89 ÿF;ÿ?506@Aÿ; Gÿ9ÿ9:8ÿ69 ÿ99ÿ89 ÿF;ÿ
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763636      8999"ÿE 999 9 ÿB::9ÿCÿ9G ÿ Bÿ9ÿÿ=9ÿ>:: ÿ:9 Bÿ                    6546
                              ?56@Aÿ9 9ÿ69 ÿ9ÿ8998ÿ;GB 9:Bÿ?56@



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763636  459"ÿ6  79 ÿ9ÿ8998ÿ:;4 954ÿ<56=>ÿ9 9ÿ79 ÿ ?9ÿ@ÿ99 ÿ                   516
                          9ÿ:Aÿ89 ÿB:ÿ<506=>ÿ99 ÿÿ89 ÿB:ÿ99 ÿ9ÿ
                          <546=>ÿ:ÿ59 94ÿÿ 99ÿ@ÿ495 ÿ<546=>ÿ99 ÿÿ
                          94444ÿ:AÿB99ÿ5 5 4ÿ98ÿC5ÿD "ÿ5ÿEA94ÿ99ÿ
                          F5ÿ6 ÿA8AÿAÿ99ÿ8998ÿ94ÿ@ÿ69ÿE55 ÿ99ÿ
                          88ÿ:;ÿÿÿ:AÿGHGÿ48ÿ<516=>ÿ@:ÿÿ
                             8998ÿ 99ÿ@ÿ9ÿ:Aÿ79 ÿ95ÿ5 5 4ÿ8998ÿ
                          88ÿ:;ÿ4 954ÿ<526=
7636I36 EA94"ÿJ4A 79 ÿ9ÿ8998ÿ:;4 954ÿ<5I6=                                                 65I6
7636I36 G8"ÿE9 J 9ÿ9ÿ ÿ@ÿ9ÿ:Aÿ79 ÿ95ÿ8998ÿ:;4 954ÿ<56=                        656
7636I36 B9:4;"ÿ9 J 9ÿKÿÿ9ÿ<7566=>ÿ99Lÿ4;9 ÿ ÿ99ÿ49ÿ                    7506
                             44ÿ<506=
7636I36 78"ÿG @@ J 9ÿ79 ÿA;?ÿ9ÿ<5I6=>ÿ94ÿ:Aÿ5ÿEA94ÿ8998ÿ                     566
                          69ÿE55 ÿ59 4ÿ<546=>ÿ9 9ÿKÿÿ9ÿ<7566=
7636I36 CA54"ÿG9 J 9ÿ79 ÿ95ÿ9ÿ<5I6=>ÿ9 9ÿKÿÿ9ÿ<7566=>ÿ99@ÿ                    5I6
                          4559ÿ@ÿ495 ÿ@ÿ79 ÿ<56=>ÿ4ÿ ÿ@5ÿ69ÿE55 ÿ
                          99ÿ9 9ÿ 49ÿ:Aÿ85ÿ59ÿ<56=
7636I36 D9"ÿF       E9ÿ958ÿ5ÿB9:4;ÿ99ÿA 4ÿ8998ÿ94ÿ494ÿ<5I6=>ÿ9ÿ                 75I6
                          958ÿ79 "ÿ89 ÿB:"ÿFCÿ99ÿ59985 ÿ8998ÿ94ÿ494ÿ
                          <7566=
7636I36 8999"ÿM 999 9 ÿ4559ÿ@ÿ9; ÿ 4ÿ9ÿÿ69ÿE55 ÿ59 4ÿ                        7526
                          <7576=>ÿ9 9ÿ79 ÿ9ÿ8998ÿ:;4 954ÿ<5I6=
7636I36 59"ÿ89 E9ÿ:Aÿ79 ÿ8998ÿ49 8ÿ99ÿ494ÿ@ÿ:;4 954ÿ<5I6=>ÿ9ÿ                    7526
                          :Aÿ 4Nÿ@4494ÿ99ÿ59985 ÿ8998ÿ495 ÿ<7566=>ÿ
                           9 ÿ@ÿ495 ÿ<576=
7636I36  459"ÿ6  J 9ÿÿ59 ÿ8998ÿ99ÿÿ69ÿE55 ÿ5 8ÿ                          7536
                          <506=>ÿ@:ÿÿ8998ÿÿ:;ÿ4 954"ÿ!OPOÿ99ÿ59 4ÿ9 9ÿ
                           ÿ58ÿKÿÿ9ÿ<536=>ÿ99 ÿÿ ÿ@ÿKÿÿ
                          99 ÿ9ÿ99ÿ59 4ÿ9 9ÿÿ88ÿ:;ÿÿGHGÿ<526=
7636236 78"ÿG @@ E9ÿ:AÿC5ÿD ÿ8998ÿ69ÿE55 ÿ59 4ÿ<506=>ÿ9ÿ:Aÿ                     7576
                          M5ÿEA9 9ÿ8998ÿ69ÿE55 ÿ59 4ÿ<56=>ÿ:ÿ9899ÿ
                          <576=>ÿ9ÿ:Aÿ5ÿEA94ÿ8998ÿ69ÿE55 ÿ59 4ÿ<56=>ÿ
                             4ÿQJÿ<506=
7636236 CA54"ÿG9  4ÿ ÿ@5ÿ69ÿE55 ÿÿJ9ÿDÿE55 ÿ<506=>ÿ                             6526
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7636236 D9"ÿF        4ÿ@99ÿ98 5 ÿ<B; ? 9ÿJ9ÿDÿE55 =ÿ                          6506
                          <506=
7636236 8999"ÿM 999 9 ÿ4559ÿ@ÿ9; ÿ 4ÿ9ÿÿ69ÿE55 ÿ59 4ÿ                         656
                          <56=
7636236 E5 @9"ÿ  :ÿ99@ÿ?944 ÿ98 5 ÿ@ÿ9ÿ44ÿ8ÿ<536=>ÿ                         7526
           8A9         9ÿ55 4ÿ@ÿ495 ÿÿG5ÿ78ÿ<526=>ÿ594ÿ:AÿG5ÿ78ÿ
                             8998ÿ495 ÿ<56=
7636236  459"ÿ6  99 ÿÿ94ÿ@449ÿ94ÿ8998ÿ99 ÿÿBÿO:"ÿ                  7526
                          R99"ÿ!OPO"ÿ69ÿE55 ÿ99ÿ94444ÿ:Aÿ999ÿ94ÿ
                           A8AÿAÿ99ÿ<7526=
7636136 G8"ÿE9  :ÿ99ÿ4ÿS4ÿ5ÿ<56=>ÿ594ÿ8998ÿ495 ÿ<56=                     7566
7636136 CA54"ÿG9  4ÿ99@ÿTS4ÿ8ÿ ÿ55 4ÿ@5ÿ5ÿEA94ÿ99ÿ                     6546
                          79 ÿ95ÿ<546=
7637636 EA94"ÿJ4A 79 ÿ9ÿ8998ÿ:;ÿ4 954ÿ<516=                                                 6516

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                             <<ÿÿ<<ÿÿ=ÿÿ95Cÿ>56?
7637636 D96<;"ÿ9 99 ÿ9ÿ:95:ÿ6;< 9=<ÿ>516?Aÿ99Eÿ<<<ÿ :ÿ                    7536
                            9ÿ69 ÿBÿ:ÿ>56?Aÿ<ÿ59Bÿ<<ÿÿ=ÿÿ
                           95Cÿ>546?
7637636 F : "ÿG 8ÿ9ÿ68ÿ99 ÿ:95:ÿ6;< 9=ÿ59 ÿ>516?                                6516
7637636 9:"ÿ@ BB 79ÿ68ÿH5ÿI ÿ:95:ÿJ9ÿ7== ÿ=9 <ÿ>56?                             656
7637636 H8=<"ÿ@9 4 5ÿ99 ÿ9=ÿ8;ÿÿ9ÿ>516?                                             6516
7637636 I9"ÿK         <ÿ<<ÿÿ=ÿÿ95Cÿ>546?                                        6546
7637636 8 9 5 9"
                    ÿL 59
                         9 6ÿ5; ÿ <ÿ>526?Aÿ 9 ÿ<==9ÿBÿ5; ÿ <ÿ9ÿÿ                536
                           J9ÿ7== ÿ=9 <ÿ>756?Aÿ9 5ÿ99 ÿ9ÿ:95:ÿ
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7637636 7= B5"ÿ 4 5ÿ99 ÿ9ÿ:95:ÿ::ÿ6;< 9=<ÿ95ÿMÿ< <ÿ>516?                        6516
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7637736 @:"ÿ75 G=9<ÿ68ÿ@5ÿH8=<ÿ:95:ÿMÿ< <ÿ>546?Aÿ== ÿÿ                     756
                           <95:ÿ= <ÿ>56?Aÿ6ÿ <9ÿ=9 9<ÿ>506?
7637736 H8=<"ÿ@9 7 <5ÿ68ÿ<ÿ95ÿ99 ÿ:95:ÿ<95:ÿ= <ÿ                      656
                           Bÿ6ÿ95ÿ99ÿ>56?
7637736 8959"ÿL 59959 ÿ= <ÿ<ÿBÿFÿ>56?Aÿ 9 ÿ<==9ÿBÿ5; ÿ <ÿ               7536
                             9ÿÿJ9ÿ7== ÿ=9 <ÿ>756?Aÿ=9<ÿ68ÿ@5ÿH8=<ÿ
                             :95:ÿ<95:ÿ= :ÿ= <ÿ>56?Aÿ 9 ÿ=9ÿÿ55ÿ
                           <ÿ:95:ÿ<95:ÿ= <ÿ>56?
763736 789<"ÿ4<8 99 ÿ9ÿ:95:ÿ6;< 9=<ÿ>5N6?                                                65N6
763736 @:"ÿ75 4 5ÿ59ÿ9ÿ>5N6?Aÿ9ÿ68ÿ@5ÿ9:ÿ:95:ÿ6;< 9=<ÿ>526?Aÿ              5N6
                            =9<ÿ68ÿ85ÿ=9ÿ>5N6?Aÿ99 ÿÿ6 ;ÿ9ÿ68ÿ89 ÿ
                           D6ÿ>526?
763736 D96<;"ÿ9 99 ÿ9=ÿ9ÿÿ5<<<ÿ::ÿ6;ÿ95ÿMÿ< <ÿ>5N6?Aÿ9 5ÿ                  756
                            ÿBÿ6 ;ÿ<9<ÿ9ÿ68ÿ89 ÿD6ÿ>5N6?
763736 9:"ÿ@ BB  6ÿJ9ÿ7== ÿ9:59ÿ>576?Aÿ6ÿJ9ÿ7== ÿ                            516
                           =9 9<ÿ>506?Aÿ99Eÿ<<<ÿÿÿ68ÿLÿ5:ÿ<<<ÿ
                           >56?Aÿ9ÿ68ÿ75ÿ@:ÿ:95:ÿ=:ÿ6;ÿ< 9=<ÿ>526?Aÿ99ÿ
                           9 59ÿBÿ6 ;ÿ9ÿ68ÿ89 ÿD6ÿ>56?Aÿ9ÿ68ÿ5ÿ
                           789<ÿ:95:ÿJ9ÿ7== ÿ=9 <ÿ>56?Aÿ9ÿ68ÿ75ÿ@:ÿ
                             :95:ÿJ9ÿ7== ÿ=9 <ÿ>516?
763736 H8=<"ÿ@9 9Bÿ=9 9<ÿBÿJ9ÿ7== ÿ= :ÿ>756?Aÿ9 5ÿ99 ÿ9=ÿ                     0506
                           59 ÿ9ÿ>5N6?Aÿ9 5ÿ6 ;ÿF 5<59ÿ9ÿ68ÿ89 ÿD6ÿ>526?Aÿ
                           59Bÿ <ÿB=ÿ<9= ÿ>546?Aÿ<ÿJ9ÿ7== ÿ=9 9<ÿ>546?
763736 I9"ÿK        4 5ÿ99 ÿ9ÿ:95:ÿ9<ÿ<9<ÿ>5N6?Aÿ9ÿ9=:ÿ99 ÿ95ÿ                 7506
                           89 ÿD6ÿ:95:ÿ9<ÿ<9<ÿ>526?
763736 8959"ÿL 5999Bÿ9ÿB:<ÿ<ÿBÿ6 ;ÿJ9ÿ7== ÿ <9ÿ                    56
                           >756?Aÿ9 5ÿ99 ÿ9ÿ:95:ÿ6;< 9=<ÿ>5N6?Aÿ59Bÿ9:59ÿBÿ
                           J9ÿ7== ÿ= :ÿ>56?Aÿ=9<ÿ68ÿ75ÿ@:ÿ95ÿ@5ÿ9:ÿ
                             :95:ÿ<9= ÿ>576?Aÿ 9 ÿ<==9ÿBÿ5; ÿ <ÿ9ÿÿ
                           J9ÿ7== ÿ=9 <ÿ>56?Aÿ59 ÿ= <ÿ<ÿBÿFÿ>56?
763736 7= B5"ÿ  6ÿB<ÿ59ÿ95:<ÿBÿLÿB:ÿ>7576?Aÿ6ÿ9 5ÿ                           506
           889          5= <ÿB=ÿ@F@ÿB<ÿ59ÿ>756?
763736 =9"ÿ89 99 ÿ9=ÿ9ÿ:95:ÿ<9 :ÿ>5N6?                                                65N6

                                                                                               Ex. Pg. 1505
     Case PQRSÿUUVWXXYUÿÿÿZ[\]^S_ÿ̀abWaÿÿÿcdeSfÿd_ÿghijÿ[_ÿXYkXakUYÿÿÿlQmSÿYUÿ[nÿaXo
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          22-30500-swe7
              22-90032 Document
                         Doc 261-8
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                                                                       23:37:17
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                               Ex. 8 HPagePage
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89           012314566676
ÿ     16677602                                                                    !9ÿ2"ÿ60
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763736  459"ÿ6  79 ÿ8978ÿ59 4ÿ9 7ÿÿ69ÿ955 ÿ 49ÿ                                0576
                          :7576;<ÿ=ÿ=>ÿ4 954ÿ97ÿ?=ÿÿ8978ÿ88ÿ=>ÿ
                          4 954ÿÿÿ=@ÿABAÿ69ÿ955 ÿ94ÿ:536;<ÿ
                          74444ÿ=@ÿ69ÿ955 ÿ5 5 4ÿ97ÿ99ÿÿ69ÿ
                          955 ÿ74444ÿ@8@ÿ@ÿ79ÿ:536;<ÿ74444ÿ=@ÿ95ÿ
                          5 5 4ÿ8978ÿ88ÿ=>ÿ4 954ÿ:546;
7637036 A8"ÿ97 C 7ÿÿ9ÿ:5D6;<ÿ9 7ÿ9ÿ=@ÿE5ÿ6 ÿ97ÿEFÿ:5D6;<ÿ G9ÿ?ÿ           56
                          9ÿ=@ÿH7@7 I4ÿ?4494ÿ:506;<ÿ9ÿ=@ÿ7@7 4ÿ
                          ?4494ÿ:546;<ÿ ÿ9ÿ?ÿ9ÿ=@ÿ69ÿ955 ÿ:506;<ÿ9ÿ
                          =@ÿ69ÿ955 ÿ:7576;<ÿ?=ÿÿ=@ÿ89 ÿH=ÿ:5D6;<ÿ9ÿ
                          =@ÿE5ÿ6 ÿ97ÿ95ÿ:5D6;<ÿ 47ÿ=@ÿJ9 ÿ95ÿ@8@ÿ
                          79ÿ:516;<ÿ9ÿ=@ÿA5ÿJ8ÿ8978ÿ69ÿ955 ÿ59 4ÿ:576;
7637036 H9=4>"ÿ9 C 7ÿ G9ÿ=@ÿE5ÿ6 ÿ97ÿJ9 ÿÿ 9 ÿ?ÿ69ÿ955 ÿ                     756
                          5 8ÿ:5D6;<ÿ? ÿ=@ÿ89 ÿH=ÿ 8ÿ494ÿ97ÿ
                          49 8ÿ:5D6;
7637036 J8"ÿA ??  =ÿKÿ79?ÿ?4ÿ79ÿ54ÿ:536;<ÿ9ÿ=@ÿ85ÿ95 ?7ÿ                          D536
                            8978ÿKÿ59 4ÿ:506;<ÿ4ÿ69ÿ955 ÿ59 94ÿ:56;<ÿ
                           9 ÿ?ÿ69ÿ955 ÿ99ÿ:56;<ÿ9 7ÿJ9 ÿ G9ÿ?ÿ9ÿ
                          =@ÿ@ÿ69ÿ955 ÿ:506;<ÿ9 7ÿ9ÿ=@ÿ@ÿ69ÿ955 ÿ
                          :7576;<ÿ9ÿ=@ÿ5ÿ9@94ÿ8978ÿ69ÿ955 ÿ59 4ÿ:576;<ÿ
                          9ÿ=@ÿ65ÿ 459ÿ8978ÿ69ÿ955 ÿ59 4ÿ:576;<ÿ9ÿ=@ÿ
                          95ÿA8ÿ8978ÿ69ÿ955 ÿ59 4ÿ:576;<ÿ=ÿ69ÿ
                          955 ÿ5 4ÿ:526;<ÿ9 7ÿ=>4 95ÿ9ÿ=@ÿEF"ÿ89 ÿH=ÿ
                          97ÿE5ÿ6 ÿ:5D6;<ÿ9 7ÿLÿÿ9ÿ:5D6;<ÿ=ÿ59 94ÿ
                            8978ÿ?ÿ4 5 4ÿ444ÿ:56;<ÿ594ÿ=@ÿ95ÿ8978ÿ4@9 7ÿ
                          4 4ÿ4ÿ:576;<ÿ9 7ÿJ9 ÿ G9ÿ?ÿ9ÿ=@ÿ@ÿH7@7 ÿ
                          955 M4ÿ?4494ÿ:506;<ÿ 9 ÿ?ÿ9ÿ=@ÿH7@7 ÿ
                          955 M4ÿ?4494ÿ:576;<ÿ9ÿ=@ÿ@ÿH7@7 ÿ955 M4ÿ
                          ?4494ÿ:546;
7637036 F@54"ÿA9  4ÿ69ÿ955 ÿ59 94ÿ97ÿ9 ÿÿ4ÿ:56;<ÿ9 7ÿ                    56
                           G9ÿ?ÿ69ÿ955 ÿ5 8ÿ:506;<ÿ9 7ÿ9ÿ=@ÿH7@7 ÿ
                          955 I4ÿ?4494ÿ:546;<ÿ9 7ÿ G9ÿ?ÿ495 ÿ:506;<ÿ9 7ÿ9ÿ
                          =@ÿ89 ÿH=ÿ:5D6;<ÿ79?ÿ 4ÿ?5ÿ94ÿ:546;
7637036 N9"ÿE       C 7ÿ9ÿ ÿ?ÿ9ÿ958ÿJ9 ÿ97ÿ89 ÿH=ÿ8978ÿ94ÿ                     6506
                          494ÿ:506;
7637036 8979"ÿK 799 4ÿ9879ÿ?ÿ69ÿ955 ÿ5 8ÿ:506;<ÿ594ÿ=@ÿA5ÿ                        D576
                          F@54ÿ8978ÿ495 ÿ:576;<ÿ4ÿ69ÿ955 ÿ59 94ÿ=@ÿ
                          85ÿ59I4ÿ55 4ÿ:56;<ÿ594ÿ=@ÿJ9 ÿ95ÿ8978ÿ495 ÿ
                          :576;<ÿ79?ÿ4559ÿ?ÿLÿÿ9ÿ:526;<ÿ9 7ÿLÿÿ
                          = >ÿ9ÿ:5D6;<ÿ9 7ÿJ9 ÿ G9ÿ?ÿ9ÿ=@ÿ69ÿ955 ÿ
                          :506;<ÿ9 7ÿ9ÿ=@ÿ@ÿ69ÿ955 ÿ:7576;<ÿ79?ÿ5 4ÿ?ÿ@ÿ
                          69ÿ955 ÿ5 8ÿ:7546;<ÿ 9 ÿ4559ÿ?ÿ7> ÿ 4ÿ
                            9ÿÿ69ÿ955 ÿ59 4ÿ:546;<ÿ=ÿ9784ÿ?5ÿE78ÿ
                          48ÿ:5D6;<ÿ79 ÿOÿ?ÿ5 8ÿ5 4ÿ=@ÿ85ÿ69ÿ:506;
7637036 95 ?7"ÿ  =ÿ?4ÿ79ÿ9784ÿ?ÿKÿ4ÿ:546;<ÿ=ÿ9 7ÿ?4ÿ79ÿ                        2506
           8@9         75 4ÿ?ÿABAÿÿÿ=@ÿLÿ975ÿ5ÿ:526;<ÿ7ÿ
                          55 4ÿÿ495 ÿ:506;<ÿ9ÿ=@ÿA5ÿJ8ÿ8978ÿKÿ444ÿ:506;<ÿ
                           59ÿJ9 ÿ95ÿ8978ÿ55 4ÿ:506;<ÿ=ÿ55 4ÿÿ94@ÿ
                          59985 ÿ5ÿ?5ÿA5ÿJ8ÿ:546;<ÿ79 ÿ94@ÿ59985 ÿ5ÿ
                          ?ÿ55 4ÿ?5ÿA5ÿJ8ÿ:56;<ÿ79?ÿ59ÿÿ69ÿ955 ÿ
                            8978ÿKÿ9 7ÿ9784ÿ:56;<ÿ 47ÿ=@ÿA5ÿJ8ÿ8978ÿ
                          79 ÿ59ÿ?ÿ69ÿ955 ÿ:56;


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     Case QRSTÿVVWXYYZVÿÿÿ[\]^_T`aÿbcXbÿÿÿdefTgÿèÿhijkÿ\`ÿYZlYblVZÿÿÿmRnTÿZZÿ\oÿbYp
        Case
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                                                                       23:37:17
                                                                        357 of 829Desc
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                               Ex. 8 HPagePage
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7637036 49"ÿ89 59ÿ67ÿ 89ÿ499:4 ÿ9;ÿ<8898ÿ=5>6?@ÿA9 ÿ B9ÿ<ÿ            0506
                          9ÿ67ÿ7ÿC;7; ÿ544 D8ÿ<8898ÿ=506?@ÿ9ÿ67ÿ7ÿ
                          C;7; ÿ544 D8ÿ<8898ÿ=546?@ÿA9 ÿ B9ÿ<ÿ9ÿ67ÿ
                           7ÿE9ÿ544 ÿ=506?@ÿ9ÿ67ÿ7ÿE9ÿ544 ÿ=7576?@ÿ
                          <6Bÿ9ÿ67ÿ89 ÿC6ÿ=5>6?
7637036 E9"ÿ89 E4ÿ4 8ÿ<ÿ4 :8ÿ<ÿ8:9 ÿÿ7ÿ8ÿ7:7ÿ                           656
                          E:ÿ=56?
7637036  849"ÿE  ;9 ÿ:9;:ÿE9ÿ544 ÿ49 98ÿ9;ÿ6ÿE9ÿ                        0516
                          44 ÿ49 98ÿÿ 99ÿ<ÿ9ÿ67ÿE9ÿ544 ÿ
                          4 4 8ÿ=7576?@ÿ;8888ÿ67ÿ5ÿ5798ÿÿÿ9ÿ=56?@ÿ
                          ;8888ÿ67ÿF5ÿA:ÿ:9;:ÿE9ÿ544 ÿ49 8ÿ9;ÿ<6ÿ
                          ÿ=56?@ÿ;9 ÿ:9;:ÿ::ÿ6Gÿ67ÿE9ÿ544 ÿ=526?@ÿ
                          ;9 ÿ:9;:ÿ<:ÿ<ÿ6ÿFHFÿ;8ÿ9;ÿ6ÿ9;:8ÿÿ
                          ÿ67ÿ894 ÿ=7526?
7637436 F:"ÿ5; 598ÿ67ÿF5ÿA:ÿ:9;:ÿ4 :ÿ4 8ÿ=546?@ÿ6ÿ8449ÿ<ÿ               6526
                          9ÿ67ÿ<8898ÿ=56?@ÿ9ÿ67ÿE5ÿ 849ÿ=576?
7637436 C968G"ÿ9  8ÿ4 :ÿ4 8ÿ=546?                                                  6546
7637436 A:"ÿF << 598ÿ67ÿ55ÿF:ÿ:9;:ÿE9ÿ544 ÿ49 8ÿ=546?                         6546
7637436 89;9"ÿI ;99 8ÿ4 :ÿ4 8ÿ67ÿF5ÿA:8ÿ44 8ÿ=546?@ÿ 9 ÿ8449ÿ             6526
                          <ÿ;G ÿ 8ÿ9ÿÿE9ÿ544 ÿ49 8ÿ=506?
7637436 54 <;"ÿ 59ÿ67ÿJ5ÿK9ÿ:9;:ÿIÿ888ÿ=506?@ÿ6ÿ<8ÿ;9ÿ;99ÿ                7536
           879         ÿÿ67ÿIÿ<:8ÿ=516?@ÿ6ÿ987ÿ9 9ÿ4ÿ<ÿ
                          Iÿ=5>6?
7637436  849"ÿE  ;9 ÿ:9;:ÿ98ÿ898ÿ9;ÿ99 ÿÿ98ÿ67ÿ89 ÿC6"ÿ               6536
                          A9 ÿ94ÿ9;ÿE9ÿ544 ÿ4 4 8ÿ=536?
7637236 9"ÿL; 6 59ÿ67ÿA9 ÿ94ÿ:9;:ÿ6G8 948ÿ=56?                                      656
7637236 F:"ÿ5; L ;ÿÿ9ÿ=7566?@ÿA9 ÿ94ÿ9ÿ:9;:ÿ6G8 948ÿ=56?@ÿ               4506
                          9ÿ67ÿ85ÿ49ÿ9;ÿF5ÿA:ÿ=536?@ÿ B9ÿ<ÿE9ÿ544 ÿ
                          9ÿ=56?@ÿ9ÿ67ÿE9ÿ544 ÿ=756?
7637236 C968G"ÿ9 L ;ÿA9 ÿ94ÿ9ÿ:9;:ÿ6G8 948ÿ=56?@ÿ< ÿ67ÿ                      75>6
                          J5ÿE ÿ9;ÿA9 ÿÿ 9 ÿ<ÿE9ÿ544 ÿ9ÿ=56?@ÿ9 ;ÿ
                           ÿ<ÿ4 :ÿ67ÿE9ÿ544 ÿ=5>6?
7637236 H   
                 :  "ÿ
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                         7ÿ9ÿ67ÿA9 ÿ94ÿ:9;:ÿ6G8 948ÿ=56?                                656
7637236 A: "
                ÿF  <<   L ;ÿ B9ÿ67ÿJ5ÿE ÿ=56?@ÿ9 ;ÿE9ÿ544 ÿ9ÿ=756?@ÿ            4566
                           498ÿ67ÿA9 ÿ94ÿ:9;:ÿE9ÿ544 ÿ49 8ÿ=576?@ÿ9 ;ÿ
                          Nÿÿ9ÿ=7566?@ÿ9ÿ67ÿ55ÿF:ÿ9;ÿ85ÿ49ÿ:9;:ÿ
                          E9ÿ544 ÿ49 8ÿ=536?@ÿ 9 ÿ<ÿE9ÿ544 ÿ9ÿ=576?
7637236 O748"ÿF9 L ;ÿA9 ÿ94ÿ7Gÿÿ9ÿ=56?@ÿ9 ;ÿE9ÿ544 ÿ4 :ÿ                  0576
                          =756?@ÿ;9<ÿ4 8ÿ<ÿ894 ÿ=516?@ÿ8ÿ4 :ÿ:ÿ9;ÿHÿÿ<ÿ
                          98ÿ;9 8ÿ=56?
7637236 89;9"ÿI ;99 9 ÿ8449ÿ<ÿ;G ÿ 8ÿ9ÿÿE9ÿ544 ÿ49 8ÿ                     7546
                          =56?@ÿ9 ;ÿ9ÿ67ÿA9 ÿ94ÿ:9;:ÿ6G8 948ÿ=56?@ÿ498ÿ
                          67ÿF5ÿA:ÿ:9;:ÿ87;:ÿE9ÿ544 ÿ4 :ÿ=56?@ÿ;9<ÿ
                          E9ÿ544 ÿ 89ÿ8;ÿ=546?@ÿ;9 ÿ87;:ÿE9ÿ
                          544 98ÿ4 :ÿ=576?
7637236 54 <;"ÿ L ;ÿA9 ÿ9ÿ:9;:ÿ6G8 948ÿ9;ÿPÿ8 8ÿ=56?                                656
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     Case QRSTÿVVWXYYZVÿÿÿ[\]^_T`aÿbcXbÿÿÿdefTgÿèÿhijkÿ\`ÿYZlYblVZÿÿÿmRnTÿZcÿ\oÿbYp
        Case
          22-30500-swe7
              22-90032 Document
                         Doc 261-8
                             250-8
                                2143Filed
                                       Filed
                                           08/14/24
                                           09/20/24
                                             in TXSB on
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7637236 49"ÿ89 59ÿ67ÿ89 ÿ94ÿ99:9ÿ6;< 94<ÿ=56>?ÿ9ÿ67ÿ7ÿ@9ÿ                      45E6
                          544 ÿ=756>?ÿ6ÿ49 9<ÿÿ 99ÿAÿ<94 ÿ=506>?ÿ9ÿ67ÿ
                           <Bÿ49994 ÿ9:ÿ9:<<ÿ=7566>?ÿ9ÿ67ÿ55ÿC9ÿ9:ÿC5ÿ89ÿ
                          A69ÿÿÿ<94 ÿ=536>?ÿ9ÿ67ÿ5Dÿ9:ÿ89 ÿ99:9ÿ
                           99ÿAÿ@9ÿ544 ÿ4 9ÿ=56>
7637236  <49"ÿ@  99 ÿÿ@9ÿ544 ÿ:9 ÿ9ÿ=756>?ÿA6ÿÿ:<<<<ÿ           056
                          67ÿF5ÿG ÿ99:9ÿ<94 ÿ=546>?ÿA6ÿÿ67ÿH5ÿ@ ÿ99:9ÿ
                          <94 ÿ=56>?ÿ:<<<<ÿ67ÿ5ÿ579<ÿÿÿ@9ÿ544 ÿ
                          4 9ÿ=506>?ÿ99 ÿÿ I9ÿÿ9:9ÿAÿ@9ÿ544 ÿ
                          4 9ÿ67ÿ89 ÿ=56>?ÿ6ÿ49 9<ÿÿ 99ÿAÿ@9ÿ
                          544 ÿ4 9ÿ=506>
7637336 J96<;"ÿ9  6ÿ <9ÿÿ@9ÿ544 ÿ=546>                                         6546
7637336 89"ÿC AA 59<ÿ67ÿ55ÿC9ÿ99:9ÿ@9ÿ544 ÿ49 <ÿ=546>?ÿ6ÿ                      6536
                          49 9ÿ99:9ÿ99ÿ6;< 94<ÿ=56>?ÿ9ÿ67ÿ5ÿ579<ÿ
                            99:9ÿ@9ÿ544 ÿ49 <ÿ=56>
7637336 F74<"ÿC9 :ÿ44 <ÿÿ4 <ÿAÿAÿJ9:ÿ4 9<ÿ=56>                           56
7637336 89:9"ÿK :99 9 ÿ<449ÿAÿ:; ÿ <ÿ9ÿÿ@9ÿ544 ÿ49 <ÿ                       536
                          =576>?ÿ:9Aÿ99:9ÿAÿ@9ÿ544 ÿ4 9ÿ=576>?ÿ6ÿ9:ÿ<ÿ
                          CLCÿJ9:ÿ4 <ÿ=546>?ÿ49<ÿ67ÿC5ÿF74<ÿ99:9ÿ<94 ÿ
                          =56>
7637336 54 A:"ÿ M :ÿ89 ÿ9ÿ99:9ÿCLCÿ6;< 94<ÿ=7506>                                        7506
           879
7637136 579<"ÿM<7 89 ÿ9ÿ99:9ÿ6;< 94<ÿ=7506>                                               7506
7637136 9"ÿM: 6 59ÿ67ÿ89 ÿ99:9ÿ6;< 94<ÿ=7506>                                          7506
7637136 C9"ÿ5: 89 ÿ9ÿ99:9ÿ6;< 94<ÿ=7506>?ÿ I9ÿAÿ8Jÿ59ÿ=506>?ÿ                 456
                          6 ;ÿ9ÿ67ÿ8Jÿ=7566>?ÿ:<ÿÿ4 <ÿAÿ49ÿJ9:ÿ=756>?ÿ9ÿ
                          67ÿC5ÿ89ÿ99:9ÿ@9ÿ544 ÿ49 <ÿ=576>
7637136 J96<;"ÿ9 89 ÿ94ÿ9ÿ 9ÿ6;ÿ< 94<ÿ=7506>?ÿ89 ÿ I9ÿ=506>?ÿ                 5E6
                          6 ;ÿ<9<ÿ9ÿ67ÿ89 ÿ9:ÿ89 ÿJ6ÿ=7566>
7637136 L 9 "ÿN 99 ÿÿ9ÿ67ÿ89 ÿ94ÿ99:9ÿ6;< 94<ÿ=7506>                            7506
7637136 89"ÿC AA 59ÿ67ÿ@5ÿ <49ÿ99:9ÿ@9ÿ544 ÿ49 <ÿ=506>?ÿ9ÿ67ÿ                  0516
                          55ÿC9ÿ99:9ÿ@9ÿ544 ÿ49 <ÿ=576>?ÿ9ÿ67ÿ5ÿ
                          579<ÿ=56>?ÿ99Oÿ<<<ÿÿÿ67ÿ49ÿ
                          6;< 94<ÿ=546>?ÿ9 :ÿ89 ÿ94ÿ9ÿ=7506>?ÿ I9ÿ67ÿ89 ÿ
                            94ÿ=506>?ÿ9ÿ67ÿ89 ÿJ6ÿ=7566>?ÿ9 :ÿ<I9ÿ67ÿ89 ÿ
                            94ÿ=506>
7637136 F74<"ÿC9 M :ÿ89 ÿ94ÿ9ÿ=7506>?ÿ9 :ÿ9ÿ67ÿ89 ÿJ6ÿ=7566>?ÿ                    056
                          9 :ÿ 9ÿ67ÿ89 ÿ=506>?ÿ9 :ÿA6Iÿ9ÿ67ÿ89 ÿ=506>?ÿ
                          :9Aÿ<449ÿAÿ89 ÿJ6ÿ9ÿ=5E6>
7637136 G9"ÿH       59ÿ=99>ÿ949ÿ5ÿJ96<;ÿ9:ÿ7 <ÿ99:9ÿ9<ÿ<9<ÿ=7566>               7566
7637136 89:9"ÿK :99 9 ÿ<449ÿAÿ:; ÿ <ÿ9ÿÿ@9ÿ544 ÿ49 <ÿ                        7526
                          =576>?ÿ49ÿC5ÿ89"ÿ55ÿC9"ÿ9:ÿ5ÿJ96<;ÿ99:9ÿ<9:9ÿ
                          4 9ÿ4 <ÿ=506>?ÿ9 :ÿ89 ÿ9ÿ99:9ÿ6;< 94<ÿ=7506>
7637136 54 A:"ÿ 89 ÿ9ÿ99:9ÿ6;< 94<ÿ=7506>                                                  7506
           879
7637136 49"ÿ89 !6ÿÿ9ÿ67ÿ89 ÿ99:9ÿ9<ÿ49 <ÿ9:ÿ<9 9ÿ=506>?ÿ                       516
                          9 :ÿ89 ÿ9ÿ99:9ÿ<9 9ÿ9:ÿ99ÿ6;< 94<ÿ=7506>?ÿ
                          6 ;ÿ9ÿ67ÿ89 ÿJ6ÿ99:9ÿ9<ÿ49 <ÿ=7566>?ÿ89 ÿ I
                          9ÿÿÿ67ÿ<94 ÿ=506>
7637136 @9"ÿ89 N49<ÿ67ÿK5ÿ89:9ÿ9:ÿC5ÿF74<ÿ99:9ÿP :ÿ4 <ÿAÿ                      656
                          @9ÿ544 ÿ4 9<ÿ=56>
                                                                                                Ex. Pg. 1508
     Case TUVWÿYYZ[\\]Yÿÿÿ^_`abWcdÿef[eÿÿÿghiWjÿhcÿklmnÿ_cÿ\]o\eoY]ÿÿÿpUqWÿ]rÿ_sÿe\r
        Case
          22-30500-swe7
              22-90032 Document
                         Doc 261-8
                             250-8
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7637136  459"ÿ6  789ÿ9ÿ59 4ÿ:98:ÿ94ÿ494"ÿ;89ÿÿ<9:"ÿ                         0516
                           99ÿ9ÿ94ÿ=9 ÿ>?ÿ4 954ÿ9 8ÿÿ69ÿ755 ÿ
                          94ÿ98ÿ9>ÿÿ@75A6BCÿ84444ÿ><ÿD5ÿ6 ÿ94ÿ7Eÿ
                           :ÿ9ÿ494"ÿ::ÿ>?ÿ4 954"ÿ84 "ÿ69ÿ
                          755 ÿ94"ÿ99ÿ444ÿ98ÿ59 4ÿ9 8ÿÿ 9ÿ>ÿ
                          444ÿ4 ÿ9ÿFGFÿ@506B
763636 F:"ÿ78 H 8ÿ> ?ÿÿ9ÿ@5A6B                                                    65A6
763636 I9>4?"ÿ9 IJ> ?ÿKÿÿ9ÿ@5A6BCÿJ> ?ÿ9ÿ><ÿ89 ÿI>ÿ                   6536
                            :98:ÿ494ÿ@56B
763636 =:"ÿF 99 79ÿ><ÿL5ÿM ÿ:98:ÿ69ÿ755 ÿ59 4ÿ@506BCÿ9 8ÿ                         756
                           ÿ9ÿ=9 ÿ95ÿ9ÿ@506BCÿIJ> ?ÿKÿÿ9ÿ@5A6B
763636 L<54"ÿF9 H 8ÿ=9 ÿ95ÿ9ÿ@536BCÿ9 8ÿKÿÿ9ÿ@5A6BCÿ899ÿ 4ÿ                 0546
                          95ÿÿ9ÿ@506BCÿ9 8ÿ9ÿ><ÿI 589ÿ4ÿ:98:ÿ9ÿ
                          444ÿ@536BCÿ899ÿ4559ÿ9ÿ495 ÿ@5A6BCÿ899ÿ59ÿÿD5ÿ6 ÿ9ÿD5ÿM9ÿ
                          @506B
763636 8989"ÿN 899 9 ÿ4559ÿ9ÿ8? ÿ 4ÿ9ÿÿ69ÿ755 ÿ59 4ÿ                         65A6
                          @546BCÿ999 ÿ4<8:ÿ69ÿ755 ÿ5 :ÿ@56B
763636 75 98"ÿ 79ÿ><ÿ89 ÿI>ÿ:98:ÿFGFÿ98ÿÿ444ÿ@56B                                  656
           8<9
763636 59"ÿ89 IJ> ?ÿ9ÿ><ÿ 4Oÿ94494ÿ98ÿ599:5 ÿ@5A6BCÿ9>ÿ                 6536
                          ÿ9ÿ><ÿ89 ÿI>ÿ@56B
763636  459  "
                    ÿ6  99 ÿÿ> ?ÿKÿÿ89 ÿ9ÿ98ÿ 9 ÿ9ÿ495 ÿ@536BCÿ             7576
                          9>ÿÿ:98:ÿ59 4ÿ9 8ÿÿ::ÿ>?ÿ4 954ÿÿÿ
                          ><ÿFGFÿ:9P9ÿ@506B
763736 Q8<"ÿHR4  4ÿFGFÿI98ÿ5 4ÿ ÿ55 4ÿ95ÿ75ÿF:ÿ@7546B                          7546
763736 F:"ÿ78 S84ÿÿ69ÿ755 ÿ8?ÿ@506B                                                 6506
763736 I9>4?"ÿ9 H ÿÿ444ÿ :ÿ69ÿ755 ÿ5 :ÿ@506BCÿ                           65A6
                          5594ÿ><ÿ89 ÿI>ÿ :ÿ69ÿ755 ÿ
                          5 :ÿ@506B
763736 =:"ÿF 99 H 8ÿ=9 ÿ J9ÿ@536BCÿ9ÿ><ÿ69ÿ755 ÿ98ÿDLÿ                           5A6
                            :98:ÿ9ÿ4 5 ÿ444ÿ@756BCÿ594ÿ><ÿ75ÿF:ÿ:98:ÿ
                          69ÿ755 ÿ59 4ÿ@506BCÿ9ÿ><ÿD5ÿ6 ÿ:98:ÿ69ÿ
                          755 ÿ444ÿ@546BCÿ9ÿ><ÿ5ÿ7<94ÿ:98:ÿ69ÿ
                          755 ÿ59 4ÿ@576BCÿ9ÿ><ÿG5ÿS94ÿ:98:ÿ9ÿ4 5 4ÿ
                          444ÿ@56BCÿ9ÿ><ÿ65ÿ 459ÿ:98:ÿ9ÿ4 5 4ÿ444ÿ@536BCÿ
                          9ÿ><ÿ65ÿ 459ÿ98ÿDLÿ:98:ÿ9ÿ4 5 4ÿ444ÿ@56BCÿ
                          99Pÿ444ÿÿÿ><ÿ9ÿ4 5 4ÿ 9ÿ@526BCÿ>ÿ
                          69ÿ755 ÿ59 94ÿ@5A6B
763736 L<54"ÿF9  4ÿ5 4ÿ95ÿ9ÿI98ÿ5 :4ÿ@0516B                                        0516
763736 M9"ÿD       =9 ÿ J9ÿ:98:ÿ5:ÿ69ÿ755 ÿ5 :ÿ@536BCÿ                       516
                            >ÿ 49ÿ9ÿ5:ÿ9ÿ><ÿ69ÿ755 ÿ@5A6BCÿ9ÿ
                          95:ÿ=9 "ÿDL"ÿ98ÿ69ÿ755 ÿ@756B
763736 8989"ÿN 899 9 ÿ4559ÿ9ÿ8? ÿ 4ÿ9ÿÿ69ÿ755 ÿ59 4ÿ                          56
                          @56BCÿ899ÿ5 4ÿ:98:ÿ5 :ÿ><ÿ<ÿ69ÿ755 ÿ@756BCÿ
                          899ÿ9:89ÿ9ÿ69ÿ755 ÿ9ÿ@56BCÿ594ÿ><ÿ75ÿF:ÿ98ÿ
                          F5ÿ=:ÿ:98:ÿ495 ÿ@56BCÿ>ÿ59 4ÿ9 8ÿÿ69ÿ
                          755 ÿ5 :4ÿ@56BCÿ4ÿ69ÿ755 ÿ59 94ÿ><ÿ75ÿ
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                          H55 ÿ9ÿ@56ABÿ9 9ÿ69ÿH55 ÿ9ÿ@546ABÿ7ÿ99ÿ
                          55 ÿÿ5 4ÿ@7526ABÿ55 4ÿÿ69ÿH55 ÿ59 94ÿ
                          @546ABÿ 9ÿ 49ÿ@56A
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                           J9ÿÿ 9 ÿ:ÿ69ÿH55 ÿ9ÿ@56ABÿ9 9ÿ69ÿ
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763436 H5 :9"ÿ H9ÿ7=ÿG9 ÿ95ÿ8998ÿ7L4 954ÿ99ÿNÿ4 4ÿ@75I6ABÿ                            546
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                          :ÿ69ÿH55 ÿ@576ABÿ9 9ÿG9 ÿ J9ÿ8998ÿ69ÿ
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763436 59"ÿ89 G9 ÿ9ÿ8998ÿ7L4 954ÿ@75I6ABÿ69ÿH55 ÿ5 8ÿ                         56
                          @546ABÿG9 ÿ J9ÿÿ 99ÿ:ÿ495 ÿ@56A




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                           F9 ÿ95ÿ9 ;ÿÿD 4:ÿ8ÿ4ÿ9;ÿDÿ4 4ÿ<5G6=>ÿ7ÿ8ÿ
                            D 4ÿ;5 9ÿ 9 ;ÿÿ89 ÿH7ÿÿÿ7?ÿ
                            D 4:ÿ4ÿ9;ÿDÿ4 4ÿ<7536=>ÿ7ÿ8ÿ4;ÿ44ÿÿ
                           ÿ8ÿD 4ÿ8ÿÿ<7506=>ÿ87ÿÿ:9;:ÿ59 4ÿ9 ;ÿÿ
                           495 ÿÿ 99ÿ8ÿA?4;9I4ÿ?9:ÿ<546=
76336 J;?"ÿKD4  4ÿELEÿH9;ÿ5 :ÿ5 4ÿ<56=                                               56
76336 E:"ÿ9; K ;ÿELEÿH9;ÿ99ÿ<7576=>ÿ9 ;ÿ9ÿ7?ÿ@5ÿ6 ÿÿ;9 ÿ<546=>ÿ               576
                           94ÿ7?ÿF9 ÿ95ÿ<5G6=
76336  H9  74 M"
                      ÿ9 K ;ÿH9;ÿ9ÿ<7576=>ÿF9 ÿ95ÿ9ÿ:9;:ÿ7Mÿ4 954ÿ<5G6=                   7526
76336  F: "ÿ
                 E  88    994ÿ7?ÿ5ÿ9?94ÿ:9;:ÿ69ÿ955 ÿ59 4ÿ<546=>ÿ                      756
                           9 ;ÿELEÿH9;ÿ5 :ÿ<7576=
76336 A?54"ÿE9 99ÿ7?ÿF9 ÿ95ÿ:9;:ÿ7M4 954ÿ<5G6=                                          65G6
76336 B9"ÿ@         K ;ÿH9;ÿ5 :ÿ< :9;:ÿN;9ÿÿ=ÿ<7576=>ÿF9 ÿ9ÿ                506
                             :9;:ÿ94ÿ494ÿ<5G6=>ÿ7ÿ4;ÿ5ÿO994ÿ;99ÿ<5G6=
76336 89;9"ÿO ;99 9 ÿ4559ÿ8ÿ;M ÿ 4ÿ9ÿÿ69ÿ955 ÿ59 4ÿ                          056
                           <516=>ÿ9 ;ÿF9 ÿ9ÿ:9;:ÿ7M4 954ÿ<5G6=>ÿ59ÿ69ÿ
                           955 ÿ:9;:ÿ;M ÿ 4ÿ<56=>ÿ9 ;ÿELEÿH9;ÿ5 :ÿ
                           <7576=>ÿ;98ÿ9ÿ4559ÿ:9;:ÿ495 ÿ<546=
76336 95 8;"ÿ  7ÿ4;ÿ;99ÿ8ÿ@5ÿ6 ÿ<516=>ÿ7ÿ4;ÿ5ÿ                               056
           8?9            :9;:ÿÿÿ8ÿELEÿ<7526=>ÿ9ÿ7?ÿF9 ÿ95ÿ:9;:ÿ
                           7M4 954ÿ9;ÿDÿ4 4ÿ<5G6=
76336 59"ÿ89 ELEÿH9;ÿ99ÿ:9;:ÿN;9ÿÿ<7576=>ÿ7ÿ59 94ÿÿ                           56
                            99ÿ8ÿ495 ÿ<56=>ÿ9 ;ÿF9 ÿ9ÿ:9;:ÿ7M4 954ÿ<5G6=
76336  459"ÿ6  ;9 ÿ:9;:ÿ59 4ÿ9 ;ÿÿ9;ÿ5 4ÿ<506=>ÿ99 ÿÿ                        56
                           ELEÿ9;ÿ9ÿ9;ÿ;444ÿ8ÿ::ÿ7Mÿ4 954ÿ<7576=>ÿ;9 ÿ
                             :9;:ÿ59 4ÿ7?ÿ9ÿ9 ÿ9ÿ7?ÿ@5ÿ6 ÿ9;ÿ8 ;9Mÿÿ59 4ÿ
                             :9;:ÿ::ÿ7Mÿÿÿ7?ÿELEÿ4:ÿ<546=>ÿ
                           ;444ÿ7?ÿA5ÿB ÿ:9;:ÿ59 4ÿ9 ;ÿÿELEÿ9;ÿ::ÿ
                           7Mÿ4 954ÿ<546=
763G36 A?54"ÿE9 K ;ÿF9 ÿ95ÿ?Mÿÿ9ÿ<546=>ÿ89Pÿ8ÿH9;ÿ5 4ÿ9;ÿ                  7506
                           9 ÿÿ89 ÿH7ÿ<516=
763G36 89;9"ÿO ;99 9 ÿ4559ÿ8ÿ;M ÿ 4ÿ9ÿÿ69ÿ955 ÿ59 4ÿ                          756
                           <756=
763G36 95 8;"ÿ  7ÿ8;ÿÿ8ÿÿ9;ÿ9 ;ÿ;994ÿ<526=>ÿ9 ;ÿ                           0576
           8?9          F9 ÿ9ÿ:9;:ÿ7M4 954ÿ9;ÿDÿ4 4ÿ<546=
763G36  459  "
                    ÿ6   K ;ÿÿ Q5 :ÿ7?ÿ89 ÿH7ÿ95ÿ9;ÿ@Aÿÿ 99ÿ8ÿ                      4516
                           5 :ÿ9;ÿ;4444ÿ7?ÿKMÿÿ?98ÿ8ÿH;?; 4ÿ955 ÿ
                           <576=>ÿ99 ÿÿ5 :ÿ7?ÿH;?; 4ÿ955 ÿ4ÿ9ÿ
                           KMÿ94ÿ7 ÿ94ÿ899ÿ9;4ÿ ÿ:9;:ÿ5 7I4ÿ?9:ÿ9;ÿ
                           59 4ÿ9 ;ÿÿ495 ÿ<7526=>ÿ;4444ÿ7?ÿ89 ÿH7"ÿ@5ÿ6 "ÿA5ÿ
                           R94"ÿ@Aÿ9;ÿ? 4ÿ9 ;ÿÿ5 7I4ÿ?9:ÿ<7576=
763236 E:"ÿ9; K ;ÿ69ÿ955 ÿ5 :ÿ<56=                                                  656
763236 F:"ÿE 88 K ;ÿ69ÿ955 ÿ5 :ÿ<56=                                                    656
763236 B9"ÿ@         7ÿH 8S4ÿ49 5 ÿ:9;:ÿ6K9ÿ949ÿ<506=                            6506
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              22-90032 Document
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763236 8949"ÿ5 499 9 ÿ6779ÿ8ÿ49 ÿ 6ÿ9ÿÿ:9ÿ;77 ÿ79 6ÿ                      656
                          <506=>ÿ796ÿ?@ÿ:9ÿ;77 ÿ46ÿA94AÿBÿC?ÿ
                          69 7 ÿ<56=
763336 DA"ÿE 88 ;9ÿ?@ÿ5ÿ;@96ÿA94Aÿ:9ÿ;77 ÿ79 6ÿ<546=>ÿ9 4ÿ                   756
                          D9 ÿ9ÿA94Aÿ?96 976ÿ<516=>ÿ?ÿ498ÿ666ÿF4A7 ÿ
                          4 ÿ<56=
763336 G9"ÿH        ?ÿ86ÿ49ÿ94A6ÿ8ÿ7Aÿ5ÿ8A6ÿ<536=                       6536
763336 8949"ÿ5 499 9 ÿ6779ÿ8ÿ49 ÿ 6ÿ9ÿÿ:9ÿ;77 ÿ79 6ÿ                      656
                          <56=
763336 ;7 84"ÿ  ?ÿ69@ÿA94Aÿ89Aÿ666ÿÿÿ?@ÿ5ÿ                          0526
           8@9         <0506=>ÿ796ÿ?@ÿD9 ÿ97ÿA94Aÿ89Aÿ666ÿ<546=
763336  679"ÿ:   ?ÿ86ÿ49ÿ94A6ÿÿÿ?@ÿ7Aÿ5ÿ@9 ÿ77ÿ               576
                          8Aÿ94ÿ49 ÿ79 6ÿA94Aÿ697 ÿ<7576=>ÿ49 ÿA94Aÿ
                          :9ÿ;77 ÿ79 6ÿ94ÿAAÿ?9ÿ6 976ÿ<546=>ÿ49 ÿ
                             A94Aÿ79 6ÿÿÿ?@ÿI49ÿÿ94ÿ 9 ÿ8ÿ:9ÿ
                          ;77 ÿ7 Aÿ<5J6=
763136 DA"ÿE 88  ?ÿ5ÿ86ÿ49ÿ79 96ÿ<506=>ÿ796ÿ?@ÿA94AÿK6ÿ                  756
                          <576=>ÿ99Lÿ666ÿÿÿ?@ÿ5ÿ8Aÿ<506=>ÿ9ÿ?@ÿ55ÿ
                          ;@9 9ÿA94Aÿ5ÿ86ÿ496ÿ<506=>ÿ9ÿ?@ÿH5ÿÿA94Aÿ
                          5ÿ86ÿ496ÿ<56=
763136 G9"ÿH       M79ÿ97Aÿ85ÿ;7 84ÿ94ÿ@ 6ÿA94Aÿ86ÿ49ÿ94A6ÿ                   656
                          < 9ÿ5ÿ8A=ÿ<56=
763136 ;7 84"ÿ  ?ÿ86ÿ49ÿ76ÿ8ÿ5ÿ<7506=>ÿ?ÿ 64ÿ87ÿ85ÿ                      2566
           8@9         69ÿA94Aÿ697 ÿ<546=>ÿ?ÿ5ÿIÿ96@ÿ9 9ÿ4 ÿ<75J6=>ÿ
                          4ÿ77 6ÿÿ697 ÿ<5J6=>ÿ?ÿ5ÿ9 4ÿ666ÿÿÿ
                          ?@ÿ89Aÿ<536=>ÿ?ÿ69@ÿ87ÿH5ÿD9ÿÿÿ?@ÿ
                          89Aÿ9 4ÿ666ÿ8ÿ5ÿ<7526=>ÿ796ÿ?@ÿD9 ÿ97ÿA94Aÿ
                          697 ÿ<5J6=
763136 69"ÿ8@9  ?ÿ4986ÿ8ÿ5ÿ86ÿ49ÿ76ÿ9 4ÿÿ89 ÿB?ÿ94ÿ                0566
                           9 ÿ@9ÿ8ÿD9 ÿ?@ÿÿ666ÿÿÿ944 664ÿ<756=>ÿ?ÿ
                           4ÿ96@ÿ9 9ÿ76ÿ94ÿ4 6ÿ<536=>ÿ4ÿ77 6ÿÿ
                          498ÿ5ÿ96@ÿ9 9ÿ7ÿ<526=
7630636 EA"ÿ;4  ?ÿ694Aÿ7 6ÿ94ÿ9 4ÿ796ÿ<546=>ÿ9ÿ?@ÿ8Lÿ                  J566
                          <546=>ÿ N9ÿA94Aÿ697 ÿ<506=>ÿ77 6ÿÿ5ÿ96@ÿ9 9ÿ
                          4 ÿ<526=>ÿ?ÿÿ7ÿ94ÿ4996ÿ94ÿ77 ÿÿ697 ÿ
                          <0526=>ÿ796ÿA94Aÿ666ÿÿ 4ÿ9A 7 ÿ<56=
7630636 DA"ÿE 88  ?ÿ5ÿ96@ÿ9 9ÿ4 6ÿ94ÿ7ÿ<5J6=>ÿ9ÿ?@ÿ8Lÿ94ÿ              516
                          E4ÿA94Aÿ5ÿ!A6ÿ<506=
7630636 G9"ÿH       M79ÿ97Aÿ;5ÿEAÿ94ÿ@ 6ÿA94Aÿ96@ÿ9 9ÿ4 6ÿ<5=ÿ             7566
                          <56=>ÿ?ÿ64ÿ96@ÿ9 9ÿ4 6ÿ<56=
7630636 8949"ÿ5 499M79ÿD9 ÿ97ÿA94Aÿ694Aÿ7 6ÿ<546=                                 6546
7630636 ;7 84"ÿ  ?ÿ5ÿIÿ96@ÿ9 9ÿ4 ÿ<7516=>ÿ4ÿ77 6ÿÿ5ÿIÿ                   456
           8@9         96@ÿ9 9ÿ4 ÿ<516=>ÿ?ÿ96@ÿ9 9ÿ7ÿ8ÿ5IÿIÿ94ÿ
                          Iÿ<526=>ÿ4ÿ77 6ÿÿ697 ÿ<506=>ÿD9 ÿ N9ÿA94Aÿ5ÿ
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                            79ÿÿ:9ÿ;77 ÿA94Aÿ5ÿ86ÿ49ÿ76ÿ<56=
7630736 EA"ÿ;4 Fÿÿ9ÿ<536=>ÿ9ÿ?@ÿE5ÿDAÿA94Aÿ5ÿ666ÿ<576=>ÿ             056
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                              :;ÿ85ÿ65ÿ59<5ÿBÿ999ÿ?576@Aÿ9ÿ:;ÿC5ÿ= ÿ?576@Aÿ9ÿ
                              :;ÿC5ÿ= ÿ9<ÿ85ÿ65ÿ59<5ÿ=9ÿ8>> ÿ>9 9ÿ?546@Aÿ9ÿ
                              :;ÿD5ÿE ÿ59<5ÿ=9ÿ8>> ÿ>9 9ÿ?56@Aÿ9 <ÿFÿ
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                              <9 9ÿ?56@Aÿ9 <ÿFÿÿ9ÿ?536@Aÿ<97ÿ9>>9ÿ7ÿ9ÿ7ÿ
                              49 ÿ?546@Aÿ9ÿ:;ÿC5ÿ4Jÿ59<5ÿBÿ9ÿ75ÿ?56@Aÿ
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                              >5ÿ79ÿ<9ÿ;95ÿ?536@Aÿ9ÿ9>5ÿ49 "ÿ89 ÿH:ÿ9<ÿ
                              ; 9ÿ59<5ÿ99;ÿ9 9ÿ>9 9ÿ?B@ÿ?5G6@Aÿ>9ÿ9>5ÿ49 "ÿ
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7637136 @9= "ÿ699  7ÿ98ÿ;9 9:ÿA;ÿ84ÿ>56?                                                656
763636 495 "ÿ69  7ÿ99Aÿ8ÿA9ÿ 9ÿ9< ; ÿ99ÿ9ÿ98ÿ;; :ÿ                       5E6
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763036 D<"ÿC AA I 9ÿ89 ÿ47"ÿJK"ÿL6ÿ99ÿD9 ÿ9ÿ<99<ÿ98ÿ:::ÿ>7576?                7576
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                               $9H$ÿ%9F ÿC576D
76>6I>6     G$"ÿJ BB    @ÿF9 9%ÿÿÿ@AÿF$ÿA9$ÿÿKH9ÿÿ                 656
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76>62>6     G$"ÿJ BB    @ÿ %Hÿ$9H$ÿF$ÿKH9ÿÿA9$ÿC506D                     6506
76>63>6     G$"ÿJ BB    @ÿF9 9%ÿÿÿ@AÿF$ÿA9$ÿC56DEÿ9ÿ@AÿL5ÿ             6526
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76>61>6     J$"ÿOH  9 ÿBÿKH9ÿA9$ÿC576D                                                  576
76>61>6     G$"ÿJ BB  @ÿP%ÿFÿC56DEÿF9%ÿ@AÿG9 ÿ9Fÿ9Hÿ89 ÿ                      65I6
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76>61>6     QAF%"ÿJ9  9 ÿF9 9%ÿBÿ?5ÿ %F9ÿ9HÿG9 ÿ9FÿBÿA9$ÿÿKH9ÿ                   6516
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76>76>6     J$"ÿOH  %%ÿÿ%ÿBÿF @R%ÿA9$ÿC546D                                    6546
76>76>6     G$"ÿJ BB &F9%ÿ@AÿO5ÿJ$ÿ$9H$ÿA9$ÿC546DEÿ9%ÿ@Aÿ?5ÿ %F9ÿ                456
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                               9 ;ÿ<9 Aÿ>5H6?@ÿ9ÿ9<:ÿC9 "ÿ89 ÿ97"ÿ9;ÿIEÿ
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                               7ÿ;9 ;ÿ=;9ÿ<9 9Aÿ>56?@ÿ7ÿ=;9ÿ ÿ9;ÿ9 ;ÿ
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763436     J8<A"ÿB9 6 A;ÿ78ÿ55ÿCEÿ:9;:ÿA98ÿDÿ89:ÿAÿ>56?@ÿ                    6526
                             ;9DÿAÿ>56?
763436     CE"ÿ5AA 9DÿAAAÿK;:< ÿÿ9E:ÿAÿDÿAÿ9ÿ89:ÿ>756?                        756
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76336      C:"ÿB DD 69ÿ78ÿ55ÿL ÿ>576?@ÿ9 ;ÿC9 ÿ9<ÿ9ÿ:9;:ÿ9;:Aÿ>56?@ÿ                H566
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                          B0506CDÿ=9ÿ;9=;ÿ:9;ÿB756C
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                          B0506CDÿ95ÿ8:ÿ79ÿF66 ÿ6 6 5ÿ;9=;ÿP55ÿ9ÿ
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                         ;7546<=ÿÿ> B@ÿÿBÿL5ÿX77 7 ÿ>8ÿ;7516<
                                                                                          Ex. Pg. 1538
     CaseRSTUÿWWXYZZ[Wÿÿÿ\]^_`UabÿcdYcÿÿÿefgUhÿfaÿijklÿ]aÿZ[mZcmW[ÿÿÿnSoUÿpqÿ]rÿcZq
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                         ;@ ÿ<5B6=>ÿ6ÿ5@ ;ÿA 5AÿC;ÿ ;;ÿ<526=>ÿ
                           ;ÿ5;ÿ;ÿA 5Aÿ;@ ÿ<8506=
8636237677 DA"ÿ:5 : ÿ6Cÿ;A ;ÿ:@@ ÿ<516=                                      65B6
8636237677 E 6;F"ÿ   6ÿ;@  ÿ5ÿ?ÿ5@ ;ÿ?@ÿ5ÿD; ÿ<7576=>ÿ             0506
                         6Fÿÿ5Aÿ;@ ÿ<506=>ÿ7ÿ;;ÿ?ÿÿ6Cÿÿ<506=>ÿ
                           6ÿ? C ÿ;5ÿÿ ÿ<546=>ÿÿ6CÿD5ÿGAÿA 5Aÿ
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8636237677 GA"ÿD ?? : ÿ6Cÿ;A ;ÿ:@@ ÿ<516=>ÿÿ6Cÿ5ÿE 6;Fÿ                  856
                           A 5Aÿ;A ÿ@ ;ÿ<586=>ÿ6ÿ5ÿ;ÿÿ5Aÿ
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8636237677 HC@;"ÿD  : ;5ÿ6CÿG ÿA 5Aÿ6ÿ5@ ÿ5;ÿ<56=>ÿ                  7536
                          ?@ÿ A 5ÿ; Cÿ?ÿ5@ ;ÿ?ÿ5ÿE 6;Fÿ<506=>ÿ5;;;;ÿ
                         6CÿI5ÿ95ÿA 5Aÿ;;Aÿ6ÿ5@ ÿ5;ÿ<506=>ÿ
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8636237677 GF"ÿJ;; :ÿÿ5ÿAÿ; CÿA 5Aÿ@ FK6Cÿ;;ÿ5ÿ                    586
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8636237677 95"ÿI 5 :5 ÿN ÿB"ÿ7677ÿ5ÿN ÿ2"ÿ7677ÿ5@ ÿ5ÿÿ              0516
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                         5@ ÿ5ÿ<576=>ÿ5 ÿ5@ ÿ5ÿ;;65ÿ5Mÿ
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                            5ÿÿ;@ ÿ<8546=>ÿ5 ÿA 5AÿAAÿ6Fÿ; @;ÿ5Aÿ
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                           @ :@ÿ7681ÿ:7ÿG6ÿ95ÿ7ÿ;7586<=ÿÿ: G@ÿÿ
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                         :6 7ÿÿÿ6@ÿ:77ÿ;8526<
8638637677 ?57"ÿK75  9ÿ:6 7ÿG6ÿ>5ÿ> ÿ;75E6<=ÿ: ÿÿGÿD5ÿL66 6 ÿ               E5E6
                         :7ÿ;7526<=ÿÿ95ÿK5ÿ ÿ:ÿP5ÿQ @ ÿ@ :@ÿ>P?ÿ
                         :6 ÿ9ÿ;56<=ÿ6 ÿ95ÿ ÿ:ÿ@ :@ÿ:6 ÿ
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                         7 57ÿ;56<=ÿ9ÿ:ÿRÿ::ÿ:6 7ÿ::ÿÿ
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                         :7ÿ:ÿ:6 ÿ:ÿ;546<=ÿ777ÿÿ  ÿGÿ>5ÿ
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8638637677 9@"ÿD @  ?ÿ@6 7ÿ@@ÿÿ9  ÿE?ÿ<8516=>ÿ6 7ÿ?5ÿ95ÿ                  75G6
                         6 ÿA @Aÿ@Aÿ<586=>ÿ6 7ÿ?5ÿF5ÿ:57ÿ@ÿ95ÿ6 ÿ
                           A @Aÿ@Aÿÿ;6 ÿ7ÿ66 ÿ<586=>ÿ6 7ÿ?5ÿ
                           ÿ@ÿA @Aÿ@6 ÿ@ÿ<586=>ÿ6 7ÿ?5ÿ95ÿ
                         :6 ;@ÿA @Aÿ@77ÿ;ÿ6ÿ6 A6 ÿ<586=>ÿ6 7ÿ
                         ?5ÿÿ@ÿA @Aÿ@6 ÿ ÿ?ÿ<506=
8638637677 :6 ;@"ÿ  ?ÿ 7Hÿ77ÿÿ@5@ 7ÿ6 Aÿ6ÿ<56=>ÿ                         4576
           95         @ÿ66 7ÿÿ76 ÿ<5G6=>ÿ?ÿ7@ÿ 7Hÿ77ÿÿ
                          6 Aÿ6ÿ;ÿ@5@ 7ÿ<546=>ÿ?ÿ7 5ÿ;6ÿC5ÿIJÿ
                           A @Aÿ8K8ÿ7A ÿ777ÿ<8576=>ÿ?ÿ@ @ÿ@Aÿ
                            J ÿ;6ÿD5ÿ9@ÿ<516=>ÿÿÿ777ÿÿÿ?5ÿ
                         @ @ÿ@Aÿ<506=>ÿ?ÿÿ777ÿ;ÿ!LMLÿ @ÿ77ÿ
                         <506=
8638637677 7"ÿ95  :ÿÿ?ÿ@6 7ÿ@ÿ;6ÿÿ7664ÿN6 ÿ                       7576
                         @7ÿ@ÿ  ÿ@ 7ÿÿ6 57ÿ ÿ6 7ÿ<85G6=>ÿ
                           7@ÿÿ6 7ÿ6 7ÿ;6ÿI ÿA @Aÿ76 ÿ<5G6=
8638637677 6 "ÿ9   7ÿ@ ;ÿ6 6 @6ÿA @Aÿ  ÿ 77ÿOÿ                        4516
                           ÿ 77ÿ@ÿ?Jÿÿ9ÿ:66 7ÿ<0586=>ÿ
                         ÿÿ?ÿ@ÿOÿ@6 7ÿ@@ÿÿÿ?5ÿ
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8638637677  76 "ÿ9  @ ÿA @Aÿ7A ÿ?Jÿ7 67"ÿ76647"ÿ@6 ÿ                        0576
                         @"ÿ6 7ÿ @ÿÿ7A 7ÿ:66 ÿ7ÿ @ÿ
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8638637677 F5"ÿP   ?ÿ@ 7ÿÿ6 6ÿÿ5ÿ! 5ÿ9ÿ:66 ÿ<546=                         6546
8638837677 :57"ÿF75 : ÿ?5ÿ95ÿ7"ÿ85ÿ4567"ÿ@ÿD5ÿ9@ÿA @Aÿ@77ÿ               2536
                         <506=>ÿ6 ÿ?5ÿ@7ÿ@ÿA @Aÿ6Aÿ@77ÿ<56=>ÿ
                         ÿ?5ÿC5ÿB ÿ@ÿ95ÿ7ÿA @Aÿ87 ÿ@7ÿ<856=>ÿ@ÿ
                         ; ÿ?5ÿC5ÿB ÿ@ÿ95ÿ7ÿA @Aÿ87 ÿ@7ÿ<7506=>ÿ
                         ÿ?5ÿ95ÿ6 ÿA @Aÿ ?ÿ;ÿE5ÿE ÿ<576=>ÿ6 ÿ?5ÿF5ÿ
                          ÿ@ÿC5ÿIJÿA @Aÿ@6 ÿ?ÿ<546=>ÿ?ÿ
                         @6 7ÿ;ÿ5ÿ87 ÿ@7ÿ<8536=>ÿ?ÿ@ ;ÿÿ;ÿ5ÿ
                         87 ÿ@7ÿ<536=
8638837677  "ÿF@ ? :@ ÿ 5Aÿ@ÿ?ÿ;ÿ?ÿ@6 7ÿ@@ÿÿ 7ÿ                   3576
                         <56=>ÿ?ÿ@@ÿ@6 7ÿA @Aÿ;6 ÿ@7ÿ;ÿ8K8ÿÿ
                           ÿ;ÿ6Aÿ@7ÿ<7526=>ÿ@ ;ÿ766 ÿ;ÿQ5Qÿ
                         @6 7ÿA @Aÿ76 ÿ<506=>ÿÿ@6 ÿ?ÿA @Aÿ
                         ;6 ÿ@7ÿ;ÿ8K8ÿ<0576=>ÿ?ÿ@ÿOÿ?ÿ@6 7ÿ
                         @@ÿÿ 7ÿ<856=
8638837677 E ?7J"ÿ  :66 7ÿ?5ÿE ÿ7ÿ Aÿ ÿ ?7ÿ<576=>ÿ           4586
                             @ÿI ÿ 6ÿÿ Aÿ@77ÿ<56=>ÿ?ÿ;ÿR5Sÿ
                         @6 7ÿ<8586=>ÿ7ÿ? Jÿ ÿÿ7A 7ÿ:66 ÿ<56=>ÿ
                          Oÿ6 6ÿÿ77ÿ;ÿ@@ÿ9T:ÿ@6 ÿ?ÿ<546=>ÿAÿ
                           7ÿ;ÿB J7ÿ ?ÿ<546=>ÿ ÿ;ÿ6 Aÿ?5ÿ9T:ÿ<5G6=>ÿ
                         66 7ÿ?5ÿE@5@ 7ÿ:66 ÿ Aÿ@77ÿ
                         <576=>ÿ ÿ;ÿ6 ÿ@ÿ; ÿ?5ÿK7ÿ<546=>ÿ ÿÿ@6 ÿ
                         @ÿ;6ÿE ÿ<546=
8638837677 K A "ÿT 5ÿÿ?5ÿF5ÿ ÿÿ@777ÿ@6 ÿ?ÿ<506=>ÿ  ÿ;ÿ              8536
                         ; 56Aÿ ?ÿ?5ÿ5@ÿ ÿ?77ÿ<856=
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          22-30500-swe7
              22-90032 Document
                         Doc 261-8
                             250-8
                                2143Filed
                                       Filed
                                           08/14/24
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                                             in TXSB on
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8638837677 >?;9"ÿ6   7ÿ8 @ÿ95 9ÿ:;; ÿ 9 ÿ<56=Aÿ9ÿ                         8516
                          9 ÿ ÿ;; 9ÿ7;ÿ5ÿB 89@ÿ<576=Aÿÿ8?ÿ95ÿ9ÿ
                           5 C5ÿC99ÿ<546=Aÿÿ8?ÿ5ÿB 89@"ÿ95ÿ; "ÿCÿD5ÿ
                         9Cÿ5 C5ÿC9ÿ ÿ<56=Aÿÿ8?ÿD5ÿ9C"ÿE5ÿ:?9"ÿ
                          Cÿ95ÿ9ÿ5 C5ÿC9ÿ ÿ<506=
8638837677 4@"ÿF99 B 5ÿ85ÿC; 9ÿ CÿÿCÿ95 9ÿÿÿ                    4576
                         8?ÿ95 ÿ<4576=
8638837677 G "ÿF      : ÿ8?ÿE5ÿ:?9ÿCÿ95ÿ9ÿ5 C5ÿC9ÿ7ÿ5ÿ69 ÿ                  2576
                         <856=Aÿ78ÿÿÿ<CÿC; ÿ8=ÿ8?ÿE5ÿ:?9ÿCÿ95ÿ
                         9ÿ5 C5ÿC9ÿ7ÿ5ÿ69 ÿ<7506=Aÿ; ÿ;5ÿE5ÿ:?9ÿ
                          Cÿ95ÿ9ÿ5 C5ÿ5ÿ69 ÿC9ÿ<56=Aÿ9ÿ5ÿ69 ÿ
                         C9ÿÿ<56=Aÿ8ÿC 7ÿ7ÿB5ÿH;; ; ÿC9ÿÿ
                         <546=Aÿ8ÿC; 9ÿÿCCÿÿB5ÿH;; ; ÿ<5I6=Aÿ; ÿ
                          ;5ÿ95ÿ:; 7CÿCÿD5ÿ9Cÿ5 C5ÿ!JKJÿ 99ÿ<576=Aÿ
                           8ÿ9ÿ8ÿ5 C5ÿ!JKJÿ 99ÿ9 ?ÿ<8576=
8638837677 9C"ÿD C  9ÿB5ÿH;; ; ÿ7664ÿL9ÿ<506=AÿC 7ÿ9ÿ7ÿB5ÿ                        536
                         H;; ; ÿ5 C5ÿ7664ÿL9ÿ<506=Aÿ; ÿF5ÿ9?ÿ5 C5ÿ
                         9; ÿ<586=Aÿ; 9ÿ8?ÿE5ÿ:?9ÿCÿ95ÿMÿ5 C5ÿ9; ÿ<506=Aÿ
                          ; 9ÿ8?ÿ ÿCÿ5 C5ÿC; ÿCÿ ÿ
                         <586=Aÿ; 9ÿ8?ÿE5ÿ:?9ÿCÿE5ÿ4 ?ÿ5 C5ÿ9; ÿ<506=Aÿ; 9ÿ
                         8?ÿ5ÿB 89@ÿ5 C5ÿC; ÿCÿÿB 7ÿ<576=Aÿ
                         C ÿ8ÿ7ÿJ ÿ88"ÿ7677ÿC; ÿCÿ<526=Aÿ Cÿ
                         ÿ8?ÿ95ÿ9"ÿ65ÿ>?;9"ÿCÿE5ÿ:?9ÿ5 C5ÿC9ÿ
                           ÿ<506=AÿNÿ!JKJO9ÿ?9ÿ 99ÿ<85I6=Aÿ; 9ÿ
                         8?ÿF5ÿ4@ÿ5 C5ÿ9; ÿ<586=Aÿ8ÿ6P6O9ÿ ÿ5 ÿ
                         C; 9ÿ<546=Aÿ7 ÿ8?ÿE5ÿ ÿ5 C5ÿ9; ÿ<576=Aÿ
                          ; 9ÿ8?ÿ95ÿ:; 7Cÿ5 C5ÿ!JKJO9ÿ?9ÿ 99ÿ<506=Aÿ
                             Cÿ4 ÿÿ5 C5ÿC9ÿ  ÿ<56=
8638837677 :; 7C"ÿ  8ÿ99ÿ7;ÿF5ÿ4@ÿ9 ?ÿ<7546=AÿC 7ÿ78Qÿ; ÿÿ                  0546
           9?         ÿ8?ÿ9 ?ÿ<5I6=Aÿ; ÿ8?ÿD5ÿ9Cÿ5 C5ÿ78Qÿ
                         C5ÿ999ÿ<546=
8638837677 9"ÿ9?  E Cÿÿ8?ÿF5ÿG ÿCÿE5ÿ:?9ÿ5 C5ÿÿ7664ÿR; ÿ                 2536
                         C99ÿ ÿ<856=Aÿ Cÿ99Sÿÿ8?ÿF5ÿG ÿCÿE5ÿ:?9ÿ
                           5 C5ÿÿ7664ÿR; ÿC99ÿ ÿ<7506=Aÿ8ÿÿ
                         C; 9ÿÿÿ9Cÿ7ÿ;5ÿC99ÿCÿ  ÿR?9ÿ7ÿ
                         C99ÿ<0586=Aÿ9CÿÿS99ÿ7;ÿ4 ÿ?5?ÿ?ÿCÿ
                           5 C5ÿC9ÿ "ÿC5ÿ9 ?5ÿ 9ÿÿ999ÿ
                         <536=
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                           5 C5ÿ  ÿ7ÿ 89ÿ<576=Aÿ8ÿCÿNÿC; 9ÿ
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                           5 C5ÿ  ÿ7ÿ 89ÿ<8586=
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                           5 C5ÿ?ÿ9; ÿ<586=
8638837677 E?"ÿU  : 9Cÿ8?ÿ4 ÿ ;ÿ5 C5ÿ;5ÿC9ÿ ÿ<546=                    6546
8638737677 :?9"ÿE9? VCÿ7 9ÿ8?ÿ95ÿ9ÿCÿF5ÿG ÿ5 C5ÿC9ÿ7ÿ5ÿ                35I6
                         69 ÿ<7576=Aÿ8ÿÿ7ÿ5ÿ69 ÿC9ÿ7ÿ;; ÿ<8506=Aÿ
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                         C; ÿ8ÿÿÿ8?ÿB5ÿB ÿ 8ÿ<526=Aÿ; ÿ8?ÿ
                          ÿCÿ5 C5ÿC; ÿ8ÿ<576=Aÿ; ÿ8?ÿC9ÿ
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                         B ÿ 8ÿ<7506=
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     Case OPQRÿTTUVWWXTÿÿÿYZ[\]R^_ÿ̀aV`ÿÿÿbcdReÿc^ÿfghiÿZ^ÿWXjW`jTXÿÿÿkPlRÿmVÿZnÿ̀Wo
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              22-90032 Document
                         Doc 261-8
                             250-8
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                           ; 5;ÿ<A ÿ=506>?ÿ5 @ÿÿ@ÿ95ÿB C<ÿ 6ÿ=8566>?ÿ6ÿ
                         6ÿ5A <ÿ; 5;ÿ5ÿ<; <ÿ=8516>?ÿ5 @ÿ<AA ÿ
                           ; 5;ÿ<A ÿ=506>?ÿ6ÿA <ÿ5ÿ5A <ÿ; 5;ÿD5ÿD ÿ
                         =8516>?ÿ 6ÿ68ÿD C ÿEÿ=8586>?ÿ5 @ÿ<AA ÿ; 5;ÿ<A ÿ
                         =516>?ÿ5 @ÿ7664ÿF<<ÿÿG8ÿÿ=5H6>
8638737677 I;"ÿ75  6ÿA ÿ; 5;ÿ9:7ÿ=586>?ÿ 5ÿ<; <ÿ7AA ÿÿ                  8526
                         =8586>?ÿJ ÿ ÿ=56>
8638737677 D 6<C"ÿ  J ÿ Aÿÿÿ5<<<ÿ;;ÿ<; ÿ6Cÿ=56>?ÿ                         516
                           @ ÿA ;ÿ68ÿ9:7ÿ=56>?ÿ  ÿA Aÿÿ Aÿÿ<<ÿ
                         @ÿ9:7ÿÿ=546>?ÿ@ ÿ68ÿK5ÿB "ÿ45ÿ78<ÿ5ÿ95ÿ<ÿ
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                         A;ÿ5<<ÿ=546>?ÿJ ÿ Aÿÿÿ  ÿ@ÿ<; <ÿ
                         7AA ÿÿ=56>?ÿ@ ÿA ;ÿ68ÿ<; <ÿ
                         7AA ÿ=8586>?ÿ@ ÿ68ÿGCÿÿ5<<<ÿ;ÿ<<<ÿ
                         =5H6>?ÿ@ ÿA ÿ5ÿ@ ÿ68ÿG<ÿ=506>?ÿ  ÿ<8 ÿ
                            ÿ@ÿ<<ÿ@ÿA ÿ5ÿ@ ÿA ;ÿ=576>?ÿ5A ÿ6ÿ5ÿ
                         5ÿ@@ <ÿ=546>?ÿAA <ÿ68ÿ4Cÿ5ÿ8 ÿ <ÿ
                          ÿ5<<ÿ;;ÿA 6ÿ=546>?ÿÿ68ÿI5ÿJ;ÿ; 5;ÿ
                         <; ÿA <ÿ=576>
8638737677 G ; "ÿ: 8ÿÿ68ÿ < 5ÿ85ÿ ÿ; 5;ÿ<<L  5ÿA<ÿ                        576
                         =56>?ÿ8ÿÿ68ÿ5ÿD 6<Cÿ5ÿK5ÿB ÿÿ5<<<ÿ8ÿ<A ÿ=576>?ÿ
                           ÿ@ÿ 6ÿ@ÿ85ÿ ÿ6<<ÿ; 5;ÿ<<L  5ÿ
                         A<ÿ=056>?ÿCÿ 6ÿ@ÿ85ÿ ÿ6<<ÿ=8566>
8638737677 J; "ÿ
                 I  @@  4 5ÿJ ÿ Lÿ=56>?ÿ  ÿ@ÿ<; <ÿ7AA ÿÿ                     7536
                         =586>?ÿÿ68ÿ8ÿ<; <ÿ7AA ÿ=8586>?ÿÿ68ÿGCÿ
                           ; 5;ÿ9:7ÿ=5H6>?ÿÿ68ÿ5ÿD 6<Cÿ; 5;ÿ<; ÿ
                         A <ÿ=576>?ÿ6ÿ<; ÿA <ÿ=506>
8638737677 E8A<"ÿI   <ÿ5ÿ ÿ < ÿÿ<; <ÿ7AA ÿ=576>?ÿ 5ÿ                 7526
                         ÿ68ÿGCÿ; 5;ÿ9:7ÿ<; ÿ=5H6>?ÿ5 @ÿ<AA ÿ@ÿ
                         GCÿÿ@ÿJ ÿ=56>ÿ6ÿ5A <ÿ; 5;ÿ! 8ÿ9ÿ
                         7AA ÿ@Aÿ45ÿ ÿ6ÿ=546>?ÿ 5ÿJ ÿ ÿ@ÿ
                         <; <ÿ7AA ÿÿ=56>?ÿ <5ÿ68ÿM5ÿ9A8ÿ
                         =>ÿ; 5;ÿ8<ÿNÿ5ÿNN7ÿ; A <ÿ=576>?ÿ5<<<<ÿ
                         68ÿN5ÿ95ÿ; 5;ÿ<<;ÿ6ÿ55ÿD ÿ5A <ÿ
                         =506>
8638737677 DC<L "ÿ  <5ÿÿA ÿ@AÿN5ÿ95ÿ; 5;ÿ6ÿ@ÿD ÿ5A <ÿ                     7516
           K          =586>?ÿ6ÿ5ÿ6Cÿ68ÿIGIÿB5;<ÿ5ÿD ÿ 5ÿA <ÿ5ÿ
                         5A <ÿ6;ÿ@ÿ ÿ5ÿA <<ÿ=7536>
8638737677 JC"ÿK<< 75ÿ;ÿ< 8ÿ; 5;ÿ@5ÿ5ÿ6ÿ=0536>?ÿÿÿ                     3576
                           6ÿ5A <ÿ 5ÿÿ5ÿ<; <ÿÿÿ68ÿ
                         <; ÿ=4546>
8638737677 B "ÿK      7 <ÿ68ÿ45ÿ78<ÿ5ÿ95ÿ<ÿ; 5;ÿA;ÿ5<ÿ@ÿ5ÿ              H506
                         I< ÿ=7576>?ÿ6ÿ5A <ÿ; 5;ÿA;ÿ5<ÿ@ÿ5ÿ
                         I< ÿ=8566>?ÿ<ÿ5ÿI< ÿ5<ÿÿ=856>?ÿÿA;ÿ
                         J ÿ5ÿ9:7ÿ; 5;ÿ<; <ÿ=56>?ÿÿA;ÿ5ÿD 6<Cÿ
                          5ÿ8 <ÿ; 5;ÿA;ÿÿ68ÿ<; <ÿ7AA ÿ=56>?ÿ
                         ÿA;ÿJ ÿ5ÿ<; <ÿ7AA ÿ; 5;ÿ<; ÿ
                         =8586>




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     Case WXYZÿ\\]^__`\ÿÿÿabcdeZfgÿhi^hÿÿÿjklZmÿkfÿnopqÿbfÿ_`r_hr\`ÿÿÿsXtZÿu_ÿbvÿh_w
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                         9Aÿ; 4;ÿ6: ÿ=586>?ÿBÿ4;ÿ4ÿ7:ÿ8 7ÿ
                         ÿC ÿ87"ÿ7677ÿ=7516>?ÿ4666ÿBAÿD5ÿEA:6ÿ; 4;ÿ6: ÿ
                         =506>?ÿ4 ÿ4: ÿ F ÿ=5G6>?ÿ: 6ÿBAÿ95ÿH: 74ÿ; 4;ÿ
                         !CICJ6ÿA6ÿ 66ÿ=506>?ÿ4 7ÿ BÿK66ÿÿDLDÿ
                         9 ;: ÿ=85G6>?ÿ 4ÿM ÿ Nÿ=56>?ÿ 4ÿÿBAÿ
                         6; 6ÿH:: ÿ=8586>?ÿ4 7ÿ: 6ÿÿ6; 6ÿ
                         H:: ÿ: 6ÿ=516>?ÿBÿ4: 6ÿÿÿÿ  ÿ7ÿ
                          B6ÿ7ÿ:ÿ: ;: ÿ=8516>
8638737677 H: 74"ÿ O 4ÿM ÿÿ; 4;ÿ6; ÿ4 ÿ=56>?ÿBÿ4: 6ÿ                      G576
           9A         ÿÿBAÿDLDÿ6; ÿ4ÿ:;ÿ46ÿ=7576>?ÿ
                           BÿDLDÿ4ÿ!CICÿ 4ÿ4: 6ÿ=546>?ÿ: 6ÿBAÿM ÿ :ÿ
                           ; 4;ÿ6: ÿ666ÿ=506>?ÿBÿ: ÿ7:ÿ@5ÿMFÿ; 4;ÿ
                         7BNÿ6 Aÿ7ÿ6; ÿ=546>?ÿBÿ4;ÿÿÿ
                         BAÿDLDÿ6; ÿ=7576>?ÿ: 6ÿBAÿO5ÿHA6ÿÿÿBAÿ
                         4;ÿBÿ=576>
8638737677 6"ÿ9A  O 4ÿ:ÿ46ÿ  ÿ6ÿBAÿ@5ÿP ÿ4ÿO5ÿHA6ÿ                 G576
                         =7576>?ÿÿÿ  ÿ7ÿ86380ÿ46"ÿ4;ÿB;ÿ
                         Bÿ44ÿ4: 6ÿÿAÿ 6"ÿB;ÿ46; 4ÿ
                         4: 6"ÿ4ÿ  ;ÿQA6ÿ=056>?ÿ64ÿÿK66ÿ7:ÿ
                         M ÿA;AÿAÿ4ÿ; 4;ÿAÿ7 ;;ÿ=56>
8638737677 : "ÿ9  H ÿBAÿLFÿ; 4;ÿRSHÿ: 6ÿ=5G6>?ÿ6; 6ÿH:: ÿ                  45G6
                         ÿ=8586>?ÿÿBAÿM ÿÿ  ÿ7ÿ6: ÿ=56>?ÿÿÿ
                           Bÿ4ÿTÿ4: 6ÿ44ÿÿÿBAÿ6; ÿ
                         ÿ  ÿ 66ÿ=7546>
8638737677  6: "ÿR  H4ÿBFÿÿ: 6ÿ 4ÿÿBÿ7ÿRSHÿ: 6ÿ4ÿ: 6ÿ                        3516
                            4ÿÿRSHÿ6; ÿÿÿBAÿÿBFÿ7ÿ6; 6ÿ
                         H:: ÿ6ÿ=7506>?ÿBÿ: 6ÿ 4ÿÿ;;ÿ46?ÿ
                         6ÿ466"ÿ6; 6ÿH:: ÿBFÿ6 :6ÿ4ÿ46666ÿ
                         BAÿ6; 6ÿH:: ÿ: : 6ÿA;AÿAÿ4ÿ=4546>?ÿ
                           ÿÿM ÿÿ; 4;ÿ6; ÿH:: ÿ4 ÿ=56>?ÿ
                           ÿÿÿBAÿ6; 6ÿH:: ÿ: : 6ÿ; 4;ÿ
                         ;;ÿBFÿ6 :6ÿ4ÿÿ7ÿ;;ÿBFÿ=8586>?ÿ46666ÿ
                           ; 4;ÿ;4ÿBAÿM ÿ :ÿ=506>?ÿ4 ÿ; 4;ÿLFÿ4ÿ
                         4666ÿ; 4;ÿRSHÿ6; ÿ666ÿ=506>
8638737677 OA"ÿU   Bÿ 6ÿ7:ÿÿBAÿRSHÿ=586>?ÿBÿSHÿ: 6ÿ7:ÿ                     756
                         C ÿ86"ÿ7681ÿ=586>?ÿBÿ: 6ÿ7ÿ85ÿ8 ÿ=7576>
8638037677 HA6"ÿO6A   ÿ7ÿ5ÿD6 ÿ46ÿ=516>?ÿ  ÿÿ46ÿ7ÿ5ÿ                 8656
                         D6 ÿ=2506>?ÿÿBAÿ5ÿ8 B6F"ÿ@5ÿP "ÿ4ÿ95ÿ6ÿ; 4;ÿ
                         46ÿ=506>?ÿBÿ6:: ÿ7ÿ6ÿBAÿ 6ÿ7:ÿD5ÿ
                         EA:6ÿ=506>?ÿÿB;ÿ4: 6ÿ7ÿ85ÿ8 ÿ Bÿ
                         =8526>
8638037677  "ÿO4 B  Bÿ4ÿTÿ4: 6ÿ44ÿÿL6ÿVÿR Bÿ; 4;ÿ                    0576
                         ! AÿRÿH:: ÿ=8566>?ÿ4 7ÿ6:: ÿ; 4;ÿ6: ÿ=506>?ÿ
                         4 7ÿÿ7ÿ6ÿ7ÿ BÿBAÿ95ÿP F6ÿ=5G6>?ÿBÿ4ÿ
                          Tÿ6:  ÿRSHÿ4ÿ: 4ÿÿ 6ÿ=8576>
8638037677 D;"ÿH4 O 4ÿ ÿ7ÿ5ÿD6 ÿ46ÿ=7526>                                   7526
8638037677 8 B6F"ÿ  OTÿ: :ÿ46;ÿ66ÿ7ÿ6ÿ4: ÿBÿ=506>?ÿ 4ÿ                   25G6
                          ÿ7ÿ46ÿ7ÿ5ÿD6 ÿ=G506>?ÿBÿ4AÿRÿH:: ÿ
                         9 6ÿ=56>?ÿ6N46ÿÿBAÿ@5ÿP "ÿ95ÿ6ÿ4ÿO5ÿHA6ÿ
                          ;ÿQÿ6 6ÿ=506>?ÿBÿ ÿ7ÿ66ÿ7ÿ: ;ÿ B ÿ
                         OFÿ4ÿM ÿ=576>
8638037677 L ; "ÿS H 64ÿBAÿ6ÿ7ÿA4ÿ ÿB666ÿ; 4;ÿ6A4;ÿ                   656
                          B6ÿ; 4;ÿ66ÿ6; ÿ=56>
                                                                                            Ex. Pg. 1544
     Case
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8638037677 45"ÿ6 77        8ÿ9:;: ÿ<== ÿ:> ÿ?>ÿ@576ABÿ ÿ :ÿ                    8526
                             7ÿ5ÿ6> ÿ:>ÿ@536ABÿ8ÿ>5 >ÿ<== ÿ= >ÿ
                             @586ABÿ8ÿC>ÿ:ÿD 8ÿ= >ÿ@576ABÿ8ÿ ÿ
                             8E> =>ÿ@576ABÿ8ÿ8E> =>ÿ= >ÿ@576A
8638037677     F;=>"ÿ6    ÿ8ÿ:ÿÿÿ@5G6ABÿ8ÿ:= >ÿ :ÿÿ95ÿ                   0526
                             9 ÿ@8566ABÿ8ÿ:= >ÿ :ÿÿ! ;ÿDÿ<== ÿ
                             @7586A
8638037677     9E>H "ÿ <ÿÿ8ÿ:ÿ8E5ÿ8;ÿ6C6ÿJ:5>ÿ:ÿ9 ÿ:5ÿ                    0516
               I           :ÿ= >"ÿK?ÿÿÿ:= >ÿ:ÿ9JFÿD>ÿ
                             := >ÿ85ÿ7ÿ ÿ:ÿ= >>ÿ@0536ABÿ= ÿL5ÿ
                             9:ÿ5 :5ÿ>= ÿ@586A
8638037677     4E"ÿI>> <ÿÿ:ÿ5ÿ> ;ÿ5 :5ÿ7:ÿ:>ÿ@05G6ABÿ                       G5G6
                               8ÿ95ÿ9 ÿ:= >ÿÿÿ8;ÿ>5 ÿ@7586ABÿ5ÿ
                               > ;ÿÿ;ÿ>>>ÿM:5= ÿÿ@516A
8638037677     J "ÿI        ÿ7ÿ:>ÿ7ÿ5ÿ6> ÿ@8566ABÿ:ÿ:>ÿ7ÿ5ÿ6> ÿ           35G6
                             @2506ABÿ>H:>ÿÿ8;ÿ5ÿ9 8>E"ÿ95ÿ>ÿ:ÿN5ÿ<;>ÿ
                             @506A
8638037677     9:"ÿL : K= >ÿ8;ÿ9  ÿ98ÿ5 :5ÿ:= ÿO ÿ80"ÿ7677ÿ                         4566
                             := ÿ:ÿ@586ABÿ= >ÿ8;ÿ5ÿ9 :ÿ5 :5ÿ>= ÿ@546ABÿ
                               >ÿ 8ÿÿ7ÿ95ÿJ:ÿ8;ÿI5ÿ4EP>ÿ:>ÿ@506ABÿ= >ÿ
                             8;ÿ5ÿ9 :ÿ:= ÿ:ÿÿC>ÿQÿD 8ÿ@506ABÿ= >ÿ
                             8;ÿN5ÿ ÿ:ÿN5ÿ<;>ÿ5 :5ÿ>= ÿ@546ABÿ= ÿ9  ÿ98ÿ
                               5 :5ÿC>ÿQÿD 8ÿLLÿ:= ÿ:ÿ@506ABÿ8ÿ
                             > :ÿ ÿ: ÿ@5G6ABÿ= >ÿ8;ÿN5ÿ<;>ÿ5 :5ÿ>= ÿ
                             @576ABÿ= ÿ9  ÿ98ÿ5 :5ÿ5ÿ6> ÿ:= ÿ:ÿ@576ABÿ
                               8ÿ:= >ÿÿ  ÿ7ÿD5ÿD ÿ:>ÿ@8576A
8638037677     >"ÿ9;    ÿ7ÿ5ÿ6> ÿ:>ÿ@8566ABÿ  ÿÿ5ÿ6> ÿ:>ÿ            88506
                             @2506ABÿ5ÿÿ8ÿ5;ÿ >ÿ:ÿ  ÿ:>ÿ
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                         96ÿ ÿ6ÿ=506>?ÿ 9ÿ 69ÿA7ÿG ÿ=586>
8638137677 D76"ÿC67 D9 ÿ@;ÿG ÿ; 9;ÿ966ÿFÿ! 7ÿ4ÿ                          J5J6
                         D@@ ÿ=546>?ÿ 9ÿ9 9ÿ@ @ÿ; 9;ÿ! 7ÿ4ÿD@@ ÿ
                         F@ÿH5ÿI7@6ÿ=7516>?ÿ;ÿA;ÿ9@ 6ÿÿÿA7ÿ
                         ! 7ÿ4ÿD@@ ÿ966ÿ=0586>?ÿ 9ÿ6@@ ÿFÿÿ@;ÿ
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8638137677  "ÿC9 A  Fÿ66ÿFÿ<979 6ÿD@@ ÿ AÿFÿI5ÿK6ÿ=7506>?ÿ               0566
                         9 Fÿ Aÿÿ; 9;ÿ95ÿL :6ÿ=526>
8638137677 <   A6:
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                         =516>?ÿF ÿA7ÿÿ ;ÿ ÿA:ÿ=8566>?ÿ
                          66ÿFÿ ÿ 9ÿ9;ÿ=56>?ÿF ÿA7ÿH5ÿG;ÿ
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8638137677 I7@6"ÿH  D 69ÿA7ÿC5ÿD76ÿ9ÿB5ÿ99ÿ; 9;ÿ@;ÿ                       05J6
                         966ÿ9ÿ  ÿA:6 @6ÿ=506>?ÿ6 7ÿFÿ@;ÿ
                         96ÿ=506>?ÿÿA7ÿ55ÿ4@7ÿ=>ÿ; 9;ÿ9@ 6ÿ9ÿ
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8638137677 L "ÿO       Aÿ6@@ ÿ; 9;ÿ76ÿFÿ! 7ÿ4ÿD@@ ÿ=56>?ÿ                  0576
                           Aÿ9@ 6ÿ99ÿÿ<5ÿP@@ @ ÿ=506>?ÿAÿ6ÿAÿ
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8638137677 99"ÿB 9 ! ÿ679;ÿFÿ966ÿFÿ5ÿ!ÿ9ÿ5ÿ< ÿ=526>?ÿ@ 6ÿ         7546
                         A7ÿC5ÿD76ÿ; 9;ÿ6@ ÿ=576>?ÿ@ 6ÿA7ÿ95ÿ4ÿ; 9;ÿ6@ ÿ
                         =586>?ÿ6ÿ AÿÿFÿ95ÿL9ÿA7ÿ95ÿD@ F986ÿ
                         @@ 6ÿ=576>?ÿAÿÿFÿ<5ÿP@@ @ 86ÿ96ÿ=516>?ÿ
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8638137677 D@ F9"ÿ  Aÿ6@@ ÿFÿ:ÿ666ÿ9ÿQ66ÿFÿ95ÿL9ÿ Aÿ                    85J6
           97         =5J6>?ÿ6ÿ6@ ÿ=536>?ÿ@ ÿ5ÿ< A6:ÿ; 9;ÿ6@ ÿ=576>
8638137677 6"ÿ97   ÿG ÿ@@ 6ÿÿ4 ÿ96ÿ6@@ ÿ@ @ 9@ÿ                   8576
                         =8566>?ÿ@ 6ÿA7ÿG ÿ; 9;ÿ6@ ÿ=576>
8638137677 4"ÿ9  K@ ÿA7ÿB5ÿ99ÿ9ÿH5ÿI7@6ÿ; 9;ÿN 9ÿ@ 6ÿFÿ                     6576
                         6; 6ÿD@@ ÿ@ 6ÿ=576>
8638137677  6@ "ÿ4  D9 ÿ@ 6ÿ; 9;ÿ@;ÿ966"ÿ9@ ÿAÿ9ÿ                  0576
                         ;;ÿA:ÿ9ÿ66ÿÿÿA7ÿ6; 6ÿD@@ ÿ
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8638137677 C7"ÿE   Aÿ45ÿ4 ÿ96ÿ6@@ ÿ=56>                                        656
8637637677 D76"ÿC67  9ÿ6@@ ÿFÿ AÿFÿI5ÿK6ÿF@ÿC5ÿ ÿ=856>?ÿÿ                 1586
                           A;ÿ9@ 6ÿ 9ÿÿ7ÿ! 7ÿ4ÿD@@ ÿ=4586>?ÿ
                         ;ÿ9 F;ÿÿFÿ5ÿ!ÿ96ÿ=7536>?ÿ 69ÿA7ÿ
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8637637677  "ÿC9 A  Fÿ Aÿÿ; 9;ÿ95ÿL :6ÿ=85J6>                                  85J6
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                         L9ÿ Aÿ=8516>?ÿAÿFÿ7ÿ9@ 6ÿ ;ÿ47ÿ4ÿ
                         D@@ ÿ=536>
8637637677 L "ÿO       Aÿ9@ 6ÿ; 9;ÿ@ÿ ÿ=56>?ÿÿ@;ÿD5ÿ                  6526
                         H;ÿ9ÿ7 6ÿ; 9;ÿ ÿ@ 6ÿ=576>
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     Case RSTUÿWWXYZZ[Wÿÿÿ\]^_`UabÿcdYcÿÿÿefgUhÿfaÿijklÿ]aÿZ[mZcmW[ÿÿÿnSoUÿppÿ]qÿcZr
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                           9ÿB5ÿB ÿ48ÿ877 ÿ?516@Aÿ9ÿ4<ÿÿ  ÿCÿ
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                          84ÿ9:ÿ; ÿ 7ÿ< 4<ÿ ÿCÿ7<ÿ488ÿ
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8637837677 G:8"ÿK8: 67 ÿ7<ÿ; ÿ< 4<ÿ47 ÿ9ÿ?8576@Aÿ7 ÿ9:ÿ                         87546
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                         ?3566@Aÿ4 Cÿ877 ÿ< 4<ÿ87 ÿ?8506@
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8637837677 D 98F"ÿ  K 4ÿ95ÿI4ÿ 9ÿ?3566@Aÿ88ÿCÿ47 8ÿ44ÿÿ               1536
                         C :ÿBÿG77 ÿ?8546@Aÿ77 8ÿ9:ÿN8ÿÿ
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8637837677 N < "ÿ6   ÿÿCÿ:ÿÿ9:ÿ84ÿ8ÿCÿ:4P ÿ988ÿ                  7506
                         ?546@Aÿ:ÿÿ9:ÿ84ÿ8ÿCÿ:4P ÿ988ÿ?56@Aÿ9ÿ
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8637837677 H:78"ÿ=  G 84ÿ< 4<ÿ9ÿN8ÿ4ÿ?576@Aÿ9ÿN8ÿ                   45E6
                         4ÿCÿ! :ÿBÿG77 ÿ47 8ÿ?856@Aÿÿ9:ÿK5ÿ
                         G:8"ÿ95ÿ8"ÿ4ÿ55ÿ94ÿ< 4<ÿ48ÿ ÿ?5E6@Aÿ
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8637837677 I "ÿJ      K 4ÿÿ ÿCÿ 9ÿCÿ95ÿI4ÿ?E566@Aÿ9ÿ47 8ÿ                 256
                         44ÿÿD5ÿO77 7 ÿ?856@
8637837677 94"ÿ5 4 K 4ÿ; ÿÿ< 4<ÿ48ÿ  ÿ?5E6@Aÿ7 8ÿ9:ÿ5ÿ                   E506
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                         9:ÿ9  ÿD9ÿ< 4<ÿ47 ÿ48ÿ?506@Aÿ9ÿ8ÿ
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                          Q7 ÿ4ÿ?56@Aÿ 4ÿÿ9:ÿK5ÿG:8"ÿ=5ÿH:78"ÿ4ÿ
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     Case RSTUÿWWXYZZ[Wÿÿÿ\]^_`UabÿcdYcÿÿÿefgUhÿfaÿijklÿ]aÿZ[mZcmW[ÿÿÿnSoUÿpqÿ]rÿcZs
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                          4 ?ÿ6@ÿ= ÿ> 5>ÿ?4 ÿ9546;
8637837677 D 5"ÿC B ÿE!?ÿÿ? @ÿ!?ÿ9506;                                                506
8637837677  ?4 "ÿA  !6ÿÿ> 5>ÿ 6ÿ7ÿ95ÿ85ÿ5ÿ6ÿ?44 ÿ7ÿ                    7566
                         ?4 ÿ985:6;<ÿ7 ÿ6@ÿB5ÿF>ÿ> 5>ÿ95ÿ85ÿ 6ÿ9546;
8637837677 G@"ÿH   6ÿ ?ÿ4 ?ÿ> 5>ÿ54 ÿ5ÿ5ÿ@ÿ5?ÿ9506;<ÿ              656
                           6ÿ?> ?ÿB44 ÿ4 ?ÿ9576;
8637737677 B@?"ÿG?@ Bÿ6>ÿ54 ?ÿÿ  ÿ7ÿ5?ÿ7ÿ5ÿ!ÿ                     3586
                         9566;<ÿÿ5 7>ÿÿ7ÿ5?ÿ7ÿ5ÿ!ÿ97526;<ÿ4 ÿF5ÿ
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                         @ >ÿ5ÿLÿ? ?ÿ9546;
8637737677 E@4?"ÿF   6ÿ54 ?ÿ55ÿÿM?ÿ> 5>ÿ! @ÿAÿ                        526
                         B44 ÿ90516;<ÿ6ÿ7>>5ÿ54 ?ÿ74ÿ6ÿM?ÿ
                         5ÿ98536;
8637737677 8 "ÿI       6ÿ54 ?ÿ55ÿÿD5ÿJ44 4 ÿ98546;<ÿ4 ÿ4>ÿG5ÿ                85:6
                         B@?ÿ5ÿ@ ?ÿ> 5>ÿ54 ?ÿ55ÿÿD5ÿJ44 4 ÿ9576;
8637737677 95"ÿN 5  6ÿ54 ÿ5ÿ74ÿD5ÿJ44 4 ÿ90506;<ÿ5 7ÿ54 ÿ                 :5:6
                         ?44 ÿ> 5>ÿ?4 ÿ98546;<ÿ4 ?ÿ6@ÿ95ÿ?ÿ> 5>ÿ?4 ÿ
                         9506;<ÿ6ÿ5>ÿ7ÿD5ÿJ44 4 O?ÿ5?ÿ98586;<ÿ6ÿ
                         M?ÿ54 ÿ5ÿ9506;<ÿ4 ?ÿ6@ÿ5ÿD 5ÿ> 5>ÿ
                         P ÿ77"ÿ7677ÿ9  ÿD6ÿ54 ÿ5ÿ9576;
8637737677 ?"ÿ9@  Bÿÿ6ÿ54 ?ÿ55ÿÿÿ7664ÿL4 ÿ                         7566
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                         5?ÿ97566;
8637037677 B@?"ÿG?@ B ÿ6@ÿ5ÿD 6?Cÿ> 5>ÿ!ÿ5?ÿ9546;<ÿ6ÿM?ÿ                 885:6
                         QÿA 6ÿ54 ÿ5ÿ4 ÿ7ÿ9:586;<ÿ?ÿ5?ÿÿ
                         7ÿ5ÿ!ÿ94526;<ÿ?ÿ?44 ÿ7ÿÿ?> ?ÿ74ÿG5ÿ
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8637037677 D 6?C"ÿ   ?ÿ?> ÿB44 ÿ ? ÿÿ5ÿ?> ?ÿ                        7526
                         98536;<ÿ7 ÿ6@ÿG5ÿB@?ÿ >ÿ!ÿ5?ÿ9546;<ÿ
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8637037677 E@4?"ÿF  A44 Kÿ54 ?ÿÿÿ4>ÿ!3D ÿ5??ÿ                       456
                         97516;<ÿ?ÿ5?ÿ54 ÿ?44 ÿ@ ÿ9516;<ÿ5 7ÿ6 Cÿ
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                           @7:>ÿA 4AÿB>ÿ4: ÿ4ÿ;576<=ÿ4 ÿ! 7ÿ
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                           95ÿ: ÿA 4Aÿ>: ÿ;576<=ÿ6ÿC ÿ78"ÿ7677ÿ9  ÿD6ÿ
                           4ÿ;546<=ÿ: >ÿ67ÿE5ÿ97>ÿA 4Aÿ>: ÿ;576<=ÿ4 Fÿ
                           >A >ÿ9:: ÿA4ÿ;576<=ÿ4 ÿ4: ÿ G ÿ;536<=ÿ
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                           ;8536<=ÿ: >ÿ67ÿI ÿA 4Aÿ>: ÿ;506<=ÿÿ6ÿ4ÿ
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8637437677 97>"ÿE>7 I ÿÿA 4Aÿ4>ÿ  ÿ;7576<=ÿI ÿÿA 4Aÿ                           88516
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8637437677  "ÿE4 6   ÿFÿ 6ÿFÿ95ÿL G>ÿ;7566<=ÿ>ÿ > ÿÿ                              4506
                           >A >ÿ9:: ÿ;526<=ÿ 4ÿI ÿ 6ÿFÿ? ÿ@7ÿ
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8637437677 ?A"ÿ94 9 ÿA 4Aÿ>A ÿ;8566<=ÿ:: ÿÿ>A >ÿ9:: ÿ                    856
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                             F ÿ67ÿM5ÿ84 >ÿ AÿB>ÿ4>>ÿ;576<=ÿ
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8637437677 B A "ÿN   ÿFÿ 6ÿFÿ74ÿ ÿ6>>ÿA 4Aÿ>>ÿ:>ÿ                             8536
                           ;536<=ÿ4ÿ 6ÿFÿ74ÿ ÿ6>>ÿA 4Aÿ>>ÿ:>ÿ
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                           M5ÿIGÿA 4AÿD 4ÿFÿÿ> 7ÿFÿ>A ÿ;576<
8637437677 L "ÿM        9 >ÿ:AÿE5ÿ97>"ÿ5ÿD 6>Gÿ4ÿ7 >ÿA 4Aÿ:Aÿ                       0576
                           4>ÿFÿ5ÿ!ÿ;7576<=ÿÿ:Aÿ5ÿD 6>Gÿ4ÿ7 >ÿ
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     CaseTUVWÿYYZ[\\]Yÿÿÿ^_`abWcdÿef[eÿÿÿghiWjÿhcÿklmnÿ_cÿ\]o\eoY]ÿÿÿpUqWÿr\ÿ_sÿe\t
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                         9ÿ Aÿ9ÿ95ÿB C;ÿ<576=>ÿ9 ÿA?ÿD5ÿ ÿ@ 4@ÿ
                         ;7 ÿ<586=>ÿAÿE ÿ74"ÿ7677ÿ47 ÿ4ÿ<8546=>ÿ7 ;ÿ
                         A?ÿ5ÿF 4ÿ@ 4@ÿ;7 ÿ<576=>ÿ ÿ5ÿF A;CG;ÿ4ÿ95ÿ
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                         7 ;ÿ<546=>ÿ 4ÿ8 ÿÿ@ 4@ÿ;@ ÿ<8566=>ÿ7 ;ÿ
                         A?ÿ95ÿ7 ÿ@ 4@ÿF 9ÿ<576=>ÿ 4ÿ8 ÿÿ@ 4@ÿ
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           9?         Jÿ; ;ÿ<516=>ÿAÿ7 ;ÿ9ÿ;@ ÿH77 ÿ<576=>ÿ
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                         ;@ ÿ<8566=>ÿAÿ47 ;ÿÿ  ÿ9ÿ Aÿ9ÿ95ÿ
                         B C;ÿ<536=>ÿAÿÿÿÿA?ÿ;7 ÿ<8586=>ÿ7 ;ÿA?ÿ
                         D5ÿ ÿ@ 4@ÿ;7 ÿ<576=>ÿÿAÿ4ÿKÿ47 ;ÿ
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863737677 H?;"ÿD;? 8 ÿÿ@ 4@ÿ;@ ÿ<56=>ÿ  ÿ9ÿ4;ÿ9ÿF5ÿ                   84526
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863737677  "ÿD4 A  Aÿ9ÿ95ÿB C;ÿ<7546=>ÿÿA?ÿ8 ÿ@ 4@ÿ4P9ÿ<576=>ÿ             4586
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                         <506>?ÿ5ÿ5 ÿÿ5ÿ!8ÿ9ÿAÿC9ÿÿ ÿ<506>
8637237677 D;"ÿE   @ÿ9BB ÿAÿ45ÿFBB B ÿ59ÿ<506>?ÿ 95ÿ@;ÿ                  6526
                         G ÿ BÿC 5CÿHÿ9 9ÿAÿ59ÿ ÿ<546>
8637337677 7;9"ÿD9;   ÿAÿ59ÿAÿ5ÿ!ÿ<85=6>?ÿ6ÿ59ÿAÿ5ÿ!ÿ<0546>?ÿ             3586
                         G ÿ5AÿC 5Cÿ5ÿ!ÿ59ÿ<546>?ÿG ÿÿC 5Cÿ
                         59ÿAÿ5ÿ!ÿ<56>?ÿ9ÿ5 AÿAÿ6ÿ6 @ 9ÿABÿ5ÿ!ÿ
                         59ÿ<56>?ÿ 5ÿ9BB ÿAÿ @ÿ@;ÿ4 6 ÿ8ÿ<546>?ÿ
                         ÿ@Cÿ5B 9ÿABÿI9ÿÿÿBCÿ
                         599ÿ<8506>
8637337677  "ÿD5 @ 7 ÿ@;ÿG ÿC 5Cÿ9C ÿ<8566>                                      8566
8637337677 JC"ÿ75 G ÿ Bÿÿÿ9C ÿ<8566>?ÿ9C 9ÿ7BB ÿ                       576
                         B Cÿ<5=6>?ÿA@ÿÿÿC 5Cÿ9C ÿB 9ÿ<546>?ÿÿ
                         @;ÿG ÿ BÿC 5CÿHÿ9 9ÿ<8546>?ÿÿ@;ÿ:5ÿ 9B ÿ<576>?ÿ
                         ÿ@;ÿJ5ÿGCÿ5ÿJ5ÿ8;B9ÿC 5Cÿ9C ÿB 9ÿ<546>?ÿ
                         A ; ÿ9C 9ÿ7BB ÿÿ<56>?ÿ 95ÿ@;ÿ Bÿ
                         <526>
8637337677 4 @96"ÿ  7BB 9ÿ@;ÿ75ÿG ÿ Cÿ5K9ÿ599ÿ<576>?ÿ              =5=6
                          999ÿÿAÿ ÿAÿ5K9ÿ59ÿ<506>?ÿ  ÿAÿ9C 9ÿ
                         7BB ÿÿ<546>?ÿ9C 9ÿ7BB ÿÿ<5=6>?ÿG ÿ Bÿ
                         ÿÿ5999ÿHÿ9 9ÿÿ9C ÿ<8566>?ÿ  ÿAÿ5ÿ7;9ÿ
                          @ÿ<8586>?ÿ ÿÿ99ÿAÿ5ÿ!ÿ59ÿ<56>?ÿ
                           A ÿ@;ÿ95ÿB ÿ CÿHÿ9 9ÿ<576>?ÿ
                           A ÿ@;ÿD5ÿ ÿ Cÿ  ÿAÿA ; ÿ
                          @9ÿ<576>?ÿG ÿÿC 5Cÿ59ÿAÿ5ÿ!ÿ<56>?ÿ95ÿ
                         ÿ@;ÿ9C 9ÿ7BB ÿ<56>?ÿ ÿAÿ @ÿAÿL;ÿ
                         <8586>
8637337677 I C "ÿM D 5ÿ;ÿÿ@;ÿG ÿC 5Cÿ5 ÿÿ9C ÿ<8566>?ÿ                   0576
                         ;ÿÿ@;ÿ95ÿ9ÿAÿ;5ÿ ÿ@999ÿC 5CÿA@ÿ
                         ÿN99ÿÿ ÿ @ÿ<506>?ÿA@ÿÿ;ÿÿC 5Cÿ;ÿ
                         9B ÿ@;ÿD5ÿ ÿ<506>?ÿ  ÿ9BB ÿAÿ;ÿ9B ÿAÿG ÿ
                            Bÿ<546>?ÿ9ÿ5 AÿB BÿC 5Cÿ@99ÿ @ÿC 5Cÿ
                         99ÿB9ÿ<8576>
8637337677 GC"ÿJ AA D 5ÿ9C 9ÿ7BB ÿB Cÿ<5=6>?ÿÿ@;ÿ:5ÿ 9B "ÿ5ÿ                  5=6
                         4 @96ÿ5ÿ75ÿJCÿC 5Cÿ9C ÿB 9ÿ<8546>?ÿÿ@;ÿ
                         J5ÿ8;B9ÿ5ÿ75ÿJCÿ<546>?ÿÿ@;ÿ5ÿ4 @96ÿ5ÿ75ÿJCÿ
                         <576>?ÿ@ÿÿ5B 9ÿÿÿ@;ÿ9C ÿ9ÿ
                         <0566>
8637337677 8;B9"ÿJ    ÿAÿ59ÿ5ÿ 5ÿ59999ÿ@;ÿD5ÿ7;9ÿ<56>?ÿ 5ÿ                86516
                         !ÿ59ÿ<0546>?ÿ9O59ÿ5999ÿ@;ÿ95ÿB "ÿP5ÿ
                         L "ÿ5ÿD5ÿ7;9ÿ<56>?ÿÿ@;ÿQ5ÿ95ÿC 5Cÿ ÿAÿ4 ÿ
                         59ÿ<506>?ÿ@ÿ5B 9ÿAÿ4 ÿ59ÿ5ÿ9BB ÿ
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                         9 9ÿ<546>?ÿÿ@;ÿ5ÿ4 @96ÿ5ÿD5ÿ7;9ÿC 5Cÿ5ÿ!ÿ
                         59ÿ<56>?ÿ@ÿ59ÿ 9ÿ5ÿ5 Aÿ6ÿ6 @ 9ÿ
                         <56>?ÿÿ 9 ÿC 5Cÿ5ÿ9C 9ÿ<56>?ÿCÿ
                         5 ACÿ 9 ÿ<8576>?ÿ 95ÿ@;ÿD5ÿ ÿ5ÿQ5ÿ
                         95ÿC 5Cÿ5B ÿ@ÿ<546>?ÿ@ÿ55ÿ5B 9ÿ
                         AÿI9ÿAÿBCÿ @ÿ<7576>
8637337677 G6"ÿP99 75ÿCÿ9 ;ÿC 5CÿB 6O@;ÿ99ÿ5ÿ ÿ                           8546
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                             ÿ:>ÿ95ÿ7 ÿ8 =8ÿ;8 ÿ?5D6@Aÿ:ÿ ;ÿBÿ5ÿ
                             6>;E;ÿ :ÿ?576@Aÿ:ÿ==ÿ=7 ;ÿ==ÿÿ
                             F;ÿGÿH :ÿ?56@Aÿ:ÿ;ÿ:ÿ8 =8ÿ7 <I:>ÿ7;ÿ
                             ?56@Aÿ7 ÿ78ÿ95ÿ67 B=ÿ=ÿ> ;ÿ8 =8ÿ7 <I:>ÿ
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                             677 ÿ7 8ÿ?5D6@Aÿ= Bÿ7 ;ÿBÿÿ:>ÿ>ÿ;8 ;ÿ
                             677 ÿ?56@Aÿ= Bÿ7 7 =7ÿ8 =8ÿ95ÿK77 7 L;ÿ
                             =;ÿ?7586@Aÿÿ:>ÿM5ÿN>7;ÿ8 =8ÿ=7 ÿ=ÿ
                             ?506@Aÿ7 ;ÿ:>ÿC ÿ8 =8ÿ=7 ÿ=ÿ?576@Aÿ;ÿ
                             =7 ÿ;77 ÿ> ÿ:>ÿ:ÿ=8ÿ?5D6@Aÿ7 ;ÿ:>ÿO5ÿ6>;ÿ
                               8 =8ÿ;7 ÿ?576@Aÿ7 ;ÿ:>ÿC ÿ 7ÿ8 =8ÿ:ÿ=7 ÿ
                             ; >;ÿ?576@Aÿ7 ;ÿ:>ÿ95ÿ7 ÿ8 =8ÿ=;ÿBÿ5ÿ9 ÿ
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8637337677     ;"ÿ9>   ;=ÿÿP;;ÿB7ÿM5ÿN>7;ÿ8 =8ÿ7681ÿ=;ÿ?546@               6546
8637337677     7 "ÿ9  C ÿÿ8 =8ÿ;8 ÿ7 ;ÿ?8566@Aÿ =ÿ ÿ8ÿBÿ                      86586
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                               :ÿ=7 ;ÿÿÿ:>ÿ;7 ÿ?516@Aÿÿ:>ÿÿ=ÿ
                             C ÿ8 =8ÿBÿ;;ÿÿÿ:>ÿ;8 ÿ?8546@
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                             ?8506@Aÿ  ÿÿÿÿ  ÿBÿ;8 ;ÿ677 ÿ
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8637137677     6>;"ÿO;>  :ÿHR6ÿ;;ÿ?856@Aÿ;ÿ:>ÿ55ÿ4 ÿ8 =8ÿHR6ÿ=7 ÿ              0586
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8637137677 9<"ÿJ <  9ÿ<; =ÿ7ÿ 9ÿ9:ÿ5ÿ8:=ÿ>0526?@ÿ; =ÿ9:ÿ                4546
                         H5ÿ ÿ<ÿ65ÿA:;=ÿ5 <5ÿ=; ÿ>576?@ÿ; =ÿ9:ÿH5ÿ
                          ÿ5 <5ÿ 9ÿ7ÿ5ÿ8:=ÿ>506?@ÿ; =ÿ9:ÿ65ÿ
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G?"ÿ> FF                                             72566            8"84566              06"18566
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                              7:ÿI9 ÿ@9=@ÿ998 ÿ;576<Hÿ9ÿ7:ÿ85ÿ99ÿ@9=@ÿ9ÿ9=ÿ
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63637677     99"ÿ8:9 L =ÿ9ÿ7:ÿ85ÿ89ÿ@9=@ÿ9ÿ9=ÿ99 ÿ?9 8 ÿ                   0506
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63637677      989"ÿ?   7ÿ9=ÿ88 ÿÿ9"ÿ=99 ÿ99 8 ÿ9=ÿA =9Oÿÿ85ÿ                 7516
                              89ÿ@9=@ÿ998 ÿ;7576<Hÿ=9 ÿ@9=@ÿ9ÿAÿF=9ÿ8ÿ
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63737677     I@"ÿC AA L =ÿ9ÿ7:ÿC=9ÿC"ÿ6Bÿ9=ÿMOÿL=989ÿ@9=@ÿ99ÿ                      546
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                          FLÿ@97@ÿ:98ÿ:::ÿ6ÿ9ÿ;546=>ÿ:98ÿÿÿ98ÿ
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                           K5ÿ 699ÿ:9A:ÿ9ÿ;576<=ÿ9ÿ5?ÿ89 ÿ45ÿ9AÿB976ÿ
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63737677     49"ÿ89 59ÿ67ÿ89ÿ544 ÿ99ÿ:;ÿ<99<ÿ9ÿ=56>?ÿ@9 ÿ A                 7506
                              9ÿÿ 99ÿBÿC94 ÿ=536>
63737677     D97 "ÿ;99  6ÿ89ÿ544 ÿ49 9CÿB4ÿ:;ÿ=546>                                  6546
637737677     E<"ÿ59 F49Cÿ67ÿ@9 ÿ94ÿÿÿ=526>                                        6526
637737677      C49"ÿ8  CCCCÿ67ÿ:5ÿ8 ÿ<99<ÿ9ÿCCCÿ99ÿB6ÿÿ<99<ÿ          6546
                              C94 ÿ=546>
637037677     E<"ÿ59 59ÿ<99<ÿ9ÿ67ÿ89 ÿG6ÿ=546>?ÿB6ÿÿ9ÿ67ÿ85ÿ             7516
                               C49ÿ=576>?ÿB6ÿÿ@9 ÿ94ÿ9ÿ=526>?ÿ6ÿG9ÿ99Bÿ
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                                <99<ÿ9ÿC Cÿ=546>?ÿ9 9ÿ C9ÿ=506>
637037677     G96CH"ÿ9 ;B ÿ67ÿ89 ÿG6ÿ94ÿ <ÿCC ÿ89 4 ÿ                   6546
                              =546>
637037677     D9"ÿ:        6ÿ C9ÿ<99<ÿ9ÿ 4Cÿ=546>?ÿ6ÿC9ÿ                     6516
                              CC ÿ89 4 ÿ= 9ÿCC>ÿ=56>
637037677     54 B9"ÿ I 9ÿ9ÿ ÿBÿ@9 ÿ9ÿ67ÿ89 ÿG6ÿ<99<ÿCC ÿ                   6506
               879         89 4 ÿ=506>
637037677     49"ÿ89 9Bÿ4 4994ÿ99J<ÿC9ÿ9ÿC ÿ99ÿ 9ÿ                     7546
                              9 9Cÿ=56>?ÿ49Cÿ67ÿ@9 ÿ<99<ÿC94 ÿ=546>?ÿ6ÿ9ÿ
                                 4ÿC7 ÿÿÿ67ÿC94 ÿ=56>
637037677      C49"ÿ8  59ÿ67ÿ89 ÿG6ÿ<99<ÿB 99Hÿ99ÿ<ÿBÿC9ÿ Cÿ              516
                              BÿCC ÿ89 4 ÿ99ÿ9ÿ=546>?ÿB ÿ67ÿ5ÿ579Cÿ
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                              CC ÿ89 4 ÿ=5L6>?ÿ99 ÿÿB6ÿÿ9ÿ67ÿ@9 ÿ
                                <99<ÿ9ÿ=526>?ÿB6ÿÿ9ÿ67ÿ55ÿE<ÿ=576>
637437677     E<"ÿ59 544 ÿÿÿ94 ÿ=526>?ÿ44 ÿÿ999Cÿ=56>?ÿ              056
                                9 9ÿ C9ÿ=546>?ÿ9CCCÿ67ÿ85ÿ C49ÿ<99<ÿC94 ÿ
                              =506>
637437677     @<"ÿE BB I9JÿCCCÿÿÿ67ÿ9ÿ C9ÿ=536>                        6536
637437677     ;74C"ÿE9 9Bÿ C9ÿC9CÿBÿ89ÿ544 ÿ4 <ÿ=506>?ÿCÿ ÿ                  6526
                              44 CÿB4ÿE5ÿ@<"ÿ55ÿE<ÿ99ÿ@9 ÿ94ÿ=546>
637437677     D97 "ÿ;99  6ÿ99BÿCC ÿ89 4 ÿ=536>                                            6536
63737677      E<"ÿ59 59ÿÿMÿC Cÿÿ9ÿ=506>                                            506
63737677      @<"ÿE BB 59ÿ67ÿ89 ÿG6"ÿ C"ÿ:;"ÿ@9 ÿ99ÿ:5ÿ8 ÿ<99<ÿ9ÿ               526
                               C9ÿ=526>
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                              44 Cÿ=5L6>?ÿ49Cÿ67ÿ:5ÿD9ÿ<99<ÿ:5ÿ8 ÿ999ÿ=56>
63737677      54 B9"ÿ  6ÿ99Bÿ C9ÿ<99<ÿ9ÿ9 9ÿCCCÿBÿ89ÿ                          506
               879         544 ÿ=5L6>?ÿ6ÿ9ÿ ÿÿNG5ÿ=526>
63737677       C49"ÿ8  599ÿBÿ49 Cÿ<99<ÿ9ÿ AC9"ÿB 99HÿB4ÿ                506
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63737677      D97 "ÿ;99  6ÿ99BÿCC ÿ89 4 ÿ=576>                                            6576
637L37677     E<"ÿ59 I 9ÿ4 <ÿ67ÿNG5ÿBCC9Cÿÿ9CCCÿ9ÿCÿ=7566>               7566
637L37677     G96CH"ÿ9 8 4 ÿ4 <ÿ67ÿIHÿ=7566>                                              7566
637L37677     @<"ÿE BB 8 <ÿ67ÿIHÿ<99<ÿ9ÿ9CCCCÿ=7566>                               7566
637L37677     D9"ÿ:        6ÿC9ÿ99Bÿ9ÿ=56>                                                 656
637L37677     C9"ÿ879 F49Cÿ67ÿ@9 ÿ<99<ÿMÿC Cÿÿ44 <ÿÿ99Bÿ9ÿ99ÿ             6546
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637237677     F@"ÿG8  6ÿ 5ÿ7> ÿ98ÿ55 7ÿÿ795 ÿ;56<                                      656
637237677     A967B"ÿ9 H9DÿA8>8 ÿG55 I7ÿ77ÿÿ9@ÿ;56<=ÿ 9 ÿ                     56
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637237677     K>57"ÿF9 G 78ÿ6>ÿL5ÿ?Bÿ@98@ÿ79>ÿM7ÿ;576<=ÿ9 8ÿ                  6526
                              :9ÿG55 ÿ5 @ÿ;576<=ÿ899ÿ5 7ÿ95ÿ795 ÿ;506<
637237677     N9"ÿL       G9ÿ6>ÿ?9 ÿ@98@ÿ9ÿ 57ÿ;56<=ÿ9ÿ95@ÿ?9 ÿ98ÿ                 7546
                              :9ÿG55 ÿ@98@ÿ9ÿ59 7ÿ;576<=ÿ7ÿ9ÿ 5ÿ7> ÿ
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                              98ÿO7ÿ;546<=ÿ59ÿ95@ÿ?9 ÿ98ÿ89 ÿA6ÿ@98@ÿ
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637237677     8989"ÿP 899H 8ÿ?9 ÿ9ÿ@98@ÿ9ÿ;56<                                          656
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                              ;536<=ÿ597ÿ6>ÿ?9 ÿ@98@ÿ795 ÿ;506<=ÿ6ÿ55 7ÿÿ
                              78ÿ899ÿ 5ÿ7> ÿ 79ÿ;546<=ÿ597ÿ6>ÿLKÿ
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637237677     79"ÿ8>9 H 8ÿ9ÿ6>ÿ?9 ÿ@98@ÿOÿ7 7ÿ9ÿG>9 ÿÿ9ÿ;56<=ÿ                56
                                6ÿ 5ÿ7> ÿ 79ÿ;56<=ÿ6ÿ67ÿ 9@ÿ98ÿ597ÿ
                                @98@ÿ>9@ÿÿÿ9ÿC89ÿÿ;56<
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                              8Bÿ95ÿLKÿ;546<=ÿ6ÿ89 8ÿ ÿ79ÿ8Bÿ;506<
637237677     AB"ÿC98 G9ÿ6>ÿ?9 ÿ95ÿ@98@ÿ@9ÿM77ÿ;56<                                 656
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637337677     79"ÿ8>9 A @ÿÿ6ÿÿ55 7ÿ98ÿM77ÿ@98@ÿ899ÿ77 ÿ                546
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637137677     79"ÿ8>9 Gÿÿ6ÿ77 ÿ:9 5 ÿ899ÿ98ÿ9 ÿÿ                      256
                              55 7ÿ> ÿ;566<=ÿ6ÿ 7ÿ?9 ÿ55 7ÿÿ77 ÿ
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637137677     59"ÿ89  7ÿ899ÿ>9 ÿÿ9ÿ@98@ÿ 95 ÿÿ5 >97ÿ98ÿ                    4506
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                          44 ÿ69 7 ÿ956:?ÿ794ÿ;5ÿ@9 ÿ=9>=ÿ497 ÿ9506:?ÿ
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                           ÿ>98ÿ9ÿ95B6:
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           899         ;;;ÿ7ÿ9ÿ:9ÿ898 ÿ66 ÿ<506=>ÿ9 8ÿ898 ÿ9ÿ
                            @98@ÿÿ;;;ÿ<506=>ÿ9 8ÿ9ÿ:9ÿ89 ÿD:ÿ98ÿ?9 ÿ
                            @98@ÿÿ;;;ÿ7ÿAQAÿ98ÿBÿ<56=
7746046 69#ÿ89 ?9 ÿ96ÿ9ÿ@98@ÿ9;ÿ69 ;ÿ<5!6=>ÿ9ÿ:9ÿ ;Gÿ                             7576
                          7;;9;ÿ@98@ÿ;96 ÿ<56=>ÿ9ÿ:9ÿ"Cÿ@98@ÿ;96 ÿ<506=
7746046 ;9#ÿ899 " 8ÿ9ÿ:9ÿ85ÿ56 78ÿ@98@ÿBÿ;;;ÿ<506=>ÿ:ÿ                         7506
                           9:9 ÿ9 ÿ9:ÿ@98@ÿT9ÿ566 ÿ;;;ÿ<5!6=>ÿ 9 ÿ
                           69ÿ;669ÿÿM5ÿS9ÿ<546=
7746446 ?@#ÿA 77 59;ÿ:9ÿ55ÿA@ÿ@98@ÿT9ÿ566 ÿ69 ;ÿ<506=>ÿ9ÿ:9ÿ                   656
                          5ÿ599;ÿ@98@ÿ;9ÿ66 ÿ69 ;ÿ<56=
7746446 N96;#ÿA9 5 ;8ÿ:9ÿ;ÿ98ÿ?9 ÿ@98@ÿ6 ;ÿ7ÿT9ÿ                         6506
                          566 ÿ6 @;ÿ<506=
7746446 S9#ÿM        :ÿ9:;ÿ98ÿ 9ÿ;;ÿ@98@ÿD98ÿ98ÿT9ÿ                       6526
                          566 ÿ99;ÿ<506=>ÿ:ÿ6 ;ÿ7ÿT9ÿ566 ÿ
                          6 @ÿ<K5ÿ7=ÿ<56=>ÿ:ÿ6ÿÿU 8ÿU;ÿ<56=
7746446 8989#ÿB 89997ÿ69;ÿÿ88ÿ;ÿ@98@ÿ;98@ÿ6 ;ÿ<5!6=>ÿ                     7576
                           9 ÿ;669ÿ7ÿ8C ÿ ;ÿ9ÿÿT9ÿ566 ÿ69 ;ÿ
                          <56=

                                                                                                Ex. Pg. 1592
     CaseOPQRÿTTUVWWXTÿÿÿYZ[\]R^_ÿ̀abcÿÿÿdefRgÿe^ÿhijkÿZ^ÿWclT`lTXÿÿÿmPnRÿTVÿZoÿ̀W`
        Case
          22-30500-swe7
              22-90032 Document
                         Doc 261-8
                             250-8
                                2143Filed
                                       Filed
                                           08/14/24
                                           09/20/24
                                             in TXSB onEntered
                                                         08/21/23
                                                               08/14/24
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                                                       830
89           012314566676
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ÿÿ9 99ÿÿ 
$%&'        ()*'+'','- $'./-),&)01                                                            203-.
7746446 59#ÿ869 " 7ÿ9ÿ86ÿ99 ÿ:97:ÿ;ÿ<9 5ÿ=5!6>?ÿ9 7ÿ9ÿ86ÿ9ÿ           0546
                          @95:5ÿ:97:ÿ;ÿ<9 5ÿ=506>?ÿ<95ÿ86ÿ99 ÿÿ 99ÿ
                          Aÿ9ÿ86ÿ9ÿ@95:5ÿ=56>?ÿ 9 ÿ9779ÿ7< ÿ97ÿ
                          A<9ÿB55ÿÿ6ÿC<9ÿ:97:ÿ;ÿ555ÿ=56>?ÿ8ÿ
                          7< 5ÿ77ÿÿ89 ÿD8ÿÿ55ÿÿ7< ÿB55ÿ
                          =7566>?ÿ8ÿ;ÿD7ÿ7 5ÿ:97:ÿ95ÿ;E5Aÿ555ÿ
                          =56>
774646 59#ÿ869 F<95ÿ86ÿD5ÿG ÿ:97:ÿ;ÿÿ596ÿ ÿ9955ÿ=546>?ÿ               6516
                            57ÿÿB55ÿA<ÿ85ÿC< A7ÿ:97:ÿ;ÿD7ÿ7 ÿ
                          555ÿ9 7ÿÿ;ÿ9955ÿ=56>
7746!46 H:#ÿC7 " 7ÿG9ÿC<< ÿ< :ÿ=536>                                           6536
7746!46 D985I#ÿ9 " 7ÿG9ÿC<< ÿ< :ÿ=536>                                           6536
7746!46 9:#ÿH AA  9 ÿAÿG9ÿC<< ÿ< :ÿ=506>?ÿ9 7ÿG9ÿC<< ÿ                    7506
                          9ÿ=7566>
7746!46 J6<5#ÿH9  5ÿG9ÿC<< ÿ< 5ÿ ÿ<< 5ÿA<ÿ5ÿC695ÿ                   7566
                          =56>?ÿ9 7ÿG9ÿC<< ÿ< :ÿ=536>
7746!46 @9#ÿK       " 7ÿ9ÿ ÿAÿG9ÿC<< ÿ9ÿ=526>                               6526
7746!46 8979#ÿ; 799 5ÿG9ÿC<< ÿ< :ÿ< 5ÿ86ÿ5ÿC695L5ÿ                     756
                          << 5ÿ=536>?ÿ<95ÿ86ÿH5ÿJ6<5ÿ:97:ÿ59< ÿ=576>?ÿ8ÿ
                          7I ÿ 5ÿ=576>?ÿ 9 ÿ5<<9ÿAÿ7I ÿ 5ÿ9ÿÿG9ÿ
                          C<< ÿ<9 5ÿ=56>
7746!46 <9#ÿ89 C9ÿ86ÿ89 ÿD8ÿ:97:ÿ95ÿ<9 5ÿ=526>?ÿ9ÿ86ÿG9ÿ                 7526
                          C<< ÿ:97:ÿ59< ÿ=536>?ÿ 9 ÿAÿ59< ÿ=56>
7746!46 59#ÿ869 Cÿÿ8ÿ7< 5ÿ77ÿÿ89 ÿD8ÿ9 7ÿÿ;ÿ                   7516
                           5ÿ=526>?ÿ 9 ÿ5< 9ÿ7< ÿB55ÿÿ89 ÿD8ÿ
                            :97:ÿ59< ÿ=56>?ÿ 9 ÿ<95ÿÿ99 ÿ:97:ÿ95ÿ;ÿ
                          555ÿ5 <<:ÿA<ÿ8ÿ77ÿ7< 5ÿ=526>
7746246 C695#ÿ"56 " 7ÿ99 ÿ9ÿ:97:ÿ8I5 9<5ÿ=546>?ÿ9 7ÿ57ÿ99 ÿ9ÿ                7566
                            :97:ÿ8I5 9<5ÿ97ÿMÿ5 5ÿ=5!6>
7746246 9#ÿ"7 8 9ÿ9ÿ86ÿ99 ÿ:97:ÿ8I5 9<5ÿ=546>?ÿA8Eÿ9ÿ86ÿ           7566
                          99 ÿ:97:ÿ8I5 9<5ÿ=5!6>
7746246 H:#ÿC7 " 7ÿ8 Iÿÿ9ÿ=7566>                                             7566
7746246 D985I#ÿ9 JA ÿ86ÿ89 ÿD8ÿ97ÿ99 ÿ9<5ÿ=5!6>?ÿNÿÿ                  7516
                          9ÿ=7566>?ÿ9 7ÿ ÿAÿ99 ÿ9<ÿ9ÿ :ÿ8Iÿ5 9<5ÿ
                          =506>
7746246 9:#ÿH AA 99 ÿ9ÿ:97:ÿ8I5 9<5ÿ=546>?ÿ9 7ÿ99 ÿ9ÿ:97:ÿ                    566
                          8I5 9<5ÿ=5!6>?ÿ9 7ÿÿ9ÿ=7566>
7746246 J6<5#ÿH9 9Aÿ< 5ÿA<ÿ774!ÿG9ÿC<< ÿ< :ÿ=5!6>?ÿ5ÿ< 5ÿ               7566
                           ÿ<< 5ÿA<ÿ99 ÿ=546>
7746246 @9#ÿK       C9ÿ9<:ÿ99 #ÿ89 ÿD8#ÿKJ#ÿ<99:< ÿ97ÿ6 5ÿ:97:ÿ              7566
                          95ÿ595ÿ=7566>
7746246 8979#ÿ; 799 8ÿ7I ÿ 5ÿ=576>?ÿ 9 ÿ5<<9ÿAÿ7I ÿ 5ÿ9ÿÿ              756
                          G9ÿC<< ÿ<9 5ÿ=546>?ÿ79Aÿ<9 95ÿAÿG9ÿC<< ÿ
                          < :ÿ=526>
7746246 C< A7#ÿ " 7ÿ99 ÿ9ÿ:97:ÿ8I5 9<5ÿ=546>?ÿ9 7ÿ57ÿ99 ÿ9ÿ                  7566
           869           :97:ÿ8I5 9<5ÿ97ÿMÿ5 5ÿ=5!6>
7746246 59#ÿ869 " 7ÿ9ÿ86ÿ99 ÿ:97:ÿ8I5 9<5ÿ=546>?ÿ9 7ÿ9ÿÿAÿ9ÿ            526
                          86ÿ99 ÿ:97:ÿ8I5 9<5ÿ=5!6>?ÿ9 7ÿ99 ÿ9ÿ:97:ÿ
                          ;ÿ<9 5ÿ=7576>?ÿ 9 ÿ79 5ÿÿ9I:ÿ5ÿAÿ"Iÿ9ÿ
                            :97:ÿ;ÿ<9 5ÿ=5!6>
                                                                                          Ex. Pg. 1593
     Case QRSTÿVVWXYYZVÿÿÿ[\]^_T`aÿbcdeÿÿÿfghTiÿg̀ÿjklmÿ\`ÿYenVbnVZÿÿÿoRpTÿZYÿ\qÿbYb
        Case
          22-30500-swe7
              22-90032 Document
                         Doc 261-8
                             250-8
                                2143Filed
                                       Filed
                                           08/14/24
                                           09/20/24
                                             in TXSB onEntered
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89           012314566676
ÿ     166707!                                                              "ÿ72#ÿ60
ÿÿ9 99ÿÿ 
$%&'         ()*'+'','- $'./-),&)01                                                             203-.
7746246 59#ÿ89 69ÿ78ÿ89 ÿ97ÿ:9;:ÿ9<ÿ59 <ÿ=5!6>?ÿ9ÿ78ÿ <@ÿ                   506
                          A<<9<ÿ:9;:ÿ<95 ÿ=7566>?ÿ9ÿ78ÿB9 ÿ95ÿ:9;:ÿ9<ÿ
                          59 <ÿ9;ÿ<9 :ÿ=5!6>?ÿ9 ;ÿÿ<<<ÿ:9;:ÿ<95 ÿ=576>
7746346 C:#ÿ6; 69ÿ78ÿ"Dÿ95ÿ=56>                                                      656
7746346 E9#ÿF       69ÿ95:ÿB9 #ÿ89 ÿ97#ÿ9;ÿ"Dÿ:9;:ÿ9<ÿ<9<#ÿ9ÿ               656
                             5<ÿ9;ÿ9 ;ÿ59 <ÿ=56>
7746346 89;9#ÿG ;99 9 ÿ<559ÿAÿ;D ÿ <ÿ9ÿÿH9ÿ655 ÿ59 <ÿ                     6536
                          =56>?ÿ9 ;ÿB9 ÿ9ÿ:9;:ÿ7Dÿ< 95<ÿ=506>
7746346 65 A;#ÿ " ;ÿB9 ÿ I9ÿ:9;:ÿCJCÿ<<<ÿ=56>?ÿ9 ;ÿ89 ÿ97ÿ                       7546
           889         9ÿÿÿ78ÿ<95 ÿ=516>
7746146 89;9#ÿG ;99 9 ÿ<559ÿAÿ;D ÿ <ÿ9ÿÿH9ÿ655 ÿ59 <ÿ                     656
                          =56>
7747646 689<#ÿ"<8 69ÿ:9;:ÿ7Dÿ< 95<ÿ=56>                                                   656
7747646 9#ÿ"; 7 69ÿ78ÿB9 ÿ:9;:ÿ7D< 95<ÿ=56>                                          656
7747646 C:#ÿ6;  9 ÿAÿ"Dÿ9ÿ=506>?ÿ9 ;ÿ"Dÿ9ÿ=56>                              6536
7747646 997<D#ÿ9 B9 ÿ95ÿ9ÿ :ÿ7D< 95<ÿ=56>?ÿB9 ÿ I9ÿÿ 9 ÿ                7506
                          Aÿ;8; <ÿ9ÿ=506>?ÿA ÿ78ÿ9;8; <ÿ655 ÿ
                          A<<9<ÿ=56>
7747646 B:#ÿC AA 99ÿ9 ;9ÿAÿB9 ÿ ÿ9ÿ=56>?ÿ9ÿ78ÿ9 ÿ<ÿ:9;:ÿ             6516
                          H"6ÿ;9 ÿ=526>
7747646 K85<#ÿC9 " ;ÿB9 ÿ 9ÿ=506>?ÿ9 ;ÿ9ÿ78ÿ"Dÿ=56>                            6536
7747646 E9#ÿF       69ÿ95:ÿ5ÿ997<D#ÿC5ÿB:ÿ9;ÿ8 <ÿ:9;:ÿ9<ÿ<9<ÿ=56>?ÿ           7566
                          9ÿ95:ÿB9 ÿ9;ÿ"Dÿ:9;:ÿ9<ÿ<9<ÿ=56>
7747646 89;9#ÿG ;99" ;ÿB9 ÿ9ÿ:9;:ÿ7D< 95<ÿ=56>?ÿ 9 ÿ<559ÿAÿ                     7576
                          ;D ÿ <ÿ9ÿÿH9ÿ655 ÿ59 <ÿ=5!6>
7747646 65 A;#ÿ " ;ÿB9 ÿ9ÿ:9;:ÿ7D< 95<ÿ=56>?ÿ9 ;ÿB9 ÿ I9ÿ                        7506
           889           :9;:ÿ;<<<ÿ78ÿ;8; <Lÿ<ÿ=506>?ÿ9ÿ78ÿ
                          9;8; <Lÿ655 L<ÿA<<9<ÿ=56>
7747646 59#ÿ89 B9 ÿ9ÿ:9;:ÿ9<ÿ59 <ÿ9;ÿ<9 :ÿ=56>?ÿB9 ÿ I9ÿ=506>?ÿ               7506
                          9ÿ78ÿ9;8; ÿ655 @<ÿA<<9<ÿ=56>
7747646 <9#ÿ889 " ;ÿ9ÿ78ÿB9 ÿ:9;:ÿ7D< 95<ÿ=56>                                   656
7747746 89;9#ÿG ;99 9 ÿ<559ÿAÿ;D ÿ <ÿ9ÿÿH9ÿ655 ÿ59 <ÿ                     6546
                          =546>
7747746 "89#ÿM 9  7ÿ<;ÿ;DÿAÿN<ÿAÿOMÿ64ÿ8:8ÿOMÿ63ÿ9;ÿ                  656
                          A 9< ;ÿP<<ÿAÿ<95 ÿ5 ÿ ;ÿ=56>
7747046 C:#ÿ6; 69ÿ78ÿH9ÿ655 ÿ=506>                                               6506
7747046 997<D#ÿ9 H9ÿ655 ÿ9ÿ:9;:ÿ<9<ÿ=506>                                       6506
7747046 B:#ÿC AA " ;ÿ ÿ9ÿ78ÿH9ÿ655 ÿ:9;:ÿ99;ÿ5 :ÿ=506>                       6506
7747046 K85<#ÿC9 69ÿ78ÿH9ÿ655 ÿ:9;:ÿ99;ÿ5 :ÿ=506>                             6506
7747046 E9#ÿF       69ÿ95:ÿB9 ÿ9;ÿH9ÿ655 ÿ=506>                                   6506
7747046 59#ÿ89 69ÿ78ÿH9ÿ655 ÿ=506>                                                 6506
7747046 <9#ÿ889  7ÿGÿ ;ÿ9: 5 <ÿ:9;:ÿ<Aÿ<<ÿ9;; <<:ÿ                7526
                          89:ÿÿ <ÿ<<<ÿ=756>?ÿ59<ÿ78ÿ85ÿ65 A;ÿ:9;:ÿ
                          <95 ÿ=56>
7747446 59#ÿ89 69ÿ78ÿF5ÿH #ÿFK#ÿ9;ÿOKÿ:9;:ÿ659ÿ95 <ÿ=506>                  6506
774746 997<D#ÿ9 " ;ÿH9ÿ655 ÿ5 :ÿ=756>                                             756

                                                                                            Ex. Pg. 1594
     Case  QRSTÿVVWXYYZVÿÿÿ[\]^_T`aÿbcdeÿÿÿfghTiÿg̀ÿjklmÿ\`ÿYenVbnVZÿÿÿoRpTÿZbÿ\qÿbYb
        Case
          22-30500-swe7
              22-90032 Document
                         Doc 261-8
                             250-8
                                2143Filed
                                       Filed
                                           08/14/24
                                           09/20/24
                                             in TXSB onEntered
                                                         08/21/23
                                                               08/14/24
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774746 56#ÿ7 88 " 9ÿ59 ÿ9ÿ6996ÿ:9ÿ;<< ÿ<9 =ÿ>546?@ÿ:9ÿ                                75!6
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774746 AB<=#ÿ79 " 9ÿ:9ÿ;<< ÿ< 6ÿ>756?                                                      756
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                          9 99?ÿ>56?
774746 <9#ÿ89 ;9ÿGBÿ:9ÿ;<< ÿ6996ÿ9=ÿ<9 =ÿ99ÿ=9 6ÿ>756?@ÿ                              56
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                          "Eÿ7<ÿ>99ÿ9 99?ÿ>536?
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                            6996ÿ< 6ÿ< =ÿ8ÿJÿÿBÿ=ÿ>506?
7747!46 <9#ÿ89 ;9ÿGBÿ59 ÿ9<ÿ6996ÿ9=ÿ<9 =ÿ99ÿ=9 6ÿ>516?@ÿ998ÿ                                546
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7747!46 :9#ÿ89 :<ÿ< =ÿ8ÿ:9ÿ;<< ÿ8ÿ=69 =ÿB6Bÿ:6ÿ                               6506
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7747246 76#ÿ;9 ;<< =ÿÿ< 99ÿ<ÿ>546?@ÿ9 9ÿÿ9ÿ>526?@ÿ9ÿ                        056
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                           ÿ8ÿ"Eÿ9ÿ>506?@ÿ9ÿGBÿHF;ÿKÿ ÿ8==9=ÿ>516?
7747246 56#ÿ7 88  =ÿ998ÿ<ÿ>516?@ÿ9 9ÿLÿÿ9ÿ>526?                                     75!6
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                            6996ÿ=9< ÿ>506?@ÿÿ9986ÿ< 99ÿ<ÿ>56?@ÿ<9=ÿ
                          GBÿ59 ÿ6996ÿ=9< ÿ>56?
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                          P88 ÿ9ÿ>506?@ÿGÿ<9 9=ÿÿÿGBÿ998ÿ==ÿ
                          ÿÿGBÿ9=ÿ99ÿ< 6ÿ>546?
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                          8Gÿÿÿ< =ÿ>576?

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              22-90032 Document
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                             250-8
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                                             in TXSB onEntered
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774746     59678#ÿ9 9ÿÿ9ÿ:5!6;                                                         65!6
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                                6ÿ77ÿ=9@=ÿ9@@9ÿ89 ÿ56ÿ@77 #ÿ?Eÿ3<ÿ
                              9@ÿ= 9ÿ@9 ÿÿE9 7ÿ9 @ÿÿ>F>ÿ:546;
77446     >=#ÿC@  J9ÿ=9@=ÿE @9ÿ79 =ÿ:506;Aÿ9ÿ6Bÿ89 ÿ56ÿ9@ÿ                  456
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                              E9 7ÿ:56;
77446     DBE7#ÿ>9 " @ÿ<9 ÿ J9ÿ?ÿ9ÿ6Bÿ89 ÿ56ÿ9@ÿ"8ÿ:56;                         656
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                                =9@=ÿ97ÿ797ÿ:546;
77446     89@9#ÿI @99 9 ÿ7EE9ÿ?ÿ@8 ÿ 7ÿ9ÿÿL9ÿCEE ÿE9 7ÿ                        656
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                                =9@=ÿ79 =ÿ:516;
77446      7E9#ÿL  " @ÿÿ6ÿ?ÿE9 97ÿÿ 99ÿ?ÿ99ÿÿL9ÿ                    75!6
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                              9@ÿ?6ÿÿ=9@=ÿ79E ÿ:506;Aÿ?6ÿÿ=9@=ÿE9 7ÿ9 @ÿÿ
                              8ÿÿ"ÿ9ÿ8 @9ÿ9@ÿEE 7ÿÿ79E ÿ:5!6;
77446     "B9#ÿQ 9  6ÿ@9?ÿE =ÿEÿ?ÿ9E ÿ?ÿE @9ÿ:56;                          656
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774046     59678#ÿ9 9ÿÿ9ÿ:546;                                                         6546
774046     <=#ÿ> ?? " @ÿ9ÿÿ9ÿ:546;Aÿ6ÿE9 97ÿÿÿ6Bÿ                        6516
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$%&'           ()*'+'','- $'./-),&)01                                                               203-.
774046 59#ÿ6            7ÿ899ÿ: 89ÿ:ÿ;:ÿ 9<=ÿ;516=>ÿ:9ÿ9:?ÿ85ÿ           756
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                              A : Bÿ98ÿ@ <ÿ?98?ÿ<9ÿ:9 <ÿ;CÿD8ÿE:: ÿ
                               =ÿ;546=
774046     8989#ÿC 899" 8ÿ9ÿ7@ÿ <Fÿ9<<9<ÿ;56=>ÿ899ÿ<::9ÿ9ÿ9ÿ7@ÿ            7516
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                              H9ÿE:: ÿ:9 <ÿ;5!6=
774046     E: 98#ÿ  7ÿ899ÿ: 89ÿ:ÿ;546=>ÿ8ÿ:: <ÿÿ85ÿ:9ÿÿ                  6526
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774046     :9#ÿ89 E9ÿ7@ÿC5ÿI7 <Bÿ?98?ÿ: 89ÿ:ÿ;576=>ÿ9ÿ7@ÿJ5ÿ                7516
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774046     A : B#ÿ@  7ÿ98ÿ99Lÿ9ÿD8@8 <ÿE:: ÿ ÿ;536=>ÿM@9?ÿ                   56
                               :9<ÿ7@ÿ85ÿ:9ÿ98ÿN5ÿI?ÿ?98?ÿOPÿ<9ÿ99<<ÿ
                              ;756=>ÿ7ÿ:9<ÿ9:ÿH5ÿ <:9ÿ98ÿ85ÿ:9ÿ?98?ÿ
                              <8ÿ<<ÿÿD8@8 <ÿE:: ÿ ÿ;56=
774046     "@9#ÿQ 9  7ÿ<::9ÿ9ÿ9ÿ7@ÿ <Fÿ9<<9<ÿ;576=                         6576
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                              899ÿ<<ÿÿD8@8 <ÿE:: ÿ ÿ;526=
774!46     N?#ÿE8  7ÿ ÿÿ"Bÿ98ÿ:: ÿÿ<9: ÿ;546=                                   6546
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                                $9F$ÿJÿD9$ÿH546I
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77>6>6     #9"ÿE       ! Fÿ ÿAÿJÿA%ÿF9ÿD9$ÿH7566I                                    7566
77>6>6     BG AF"ÿ ! FÿDÿA%ÿF9ÿD9$ÿAÿJÿH526IOÿCÿ9%ÿG9%ÿ                     0506
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77>6>6     S9"ÿ89  CÿÿAÿD9$ÿAÿ7>1ÿH56I                                               656
77>77>6     RDG%"ÿ@9 9Aÿ %9ÿAÿD9$ÿH576IOÿ9 ÿ% %ÿ9FÿGG %ÿÿ                 536
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77>7>6     BD9%"ÿ!%D  %ÿF9Aÿ %9ÿAÿD9$ÿH546I                                             6546
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77>7>6     M9C%N"ÿ9  %ÿ ÿ %9ÿH536I                                                   6536
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77>70>6     @$"ÿBF # 9$ÿ ÿG $%ÿ9ÿ89 ÿMCÿH0536I                                        0536
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                              797ÿB ÿ:7566;
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                              ÿ 99ÿBÿ 9ÿ457A9ÿ599ÿ:05C6;<ÿ97ÿ>5ÿ5ÿ
                              =9>7Eÿ99A9ÿ599ÿ:546;<ÿ69ÿ>5ÿ?5ÿ8759ÿ99A9ÿ
                              599ÿ:576;<ÿ9ÿ>5ÿ85ÿF9995ÿBÿ?9E7ÿI9E ÿ99A9ÿ
                              599ÿ:576;<ÿ9ÿ>5ÿ5ÿF597ÿ99A9ÿ599ÿ:576;
7737436     4567"ÿ89 ! Aÿ797ÿB ÿÿD7ÿ:7566;<ÿ 9 ÿBÿ599ÿ:566;<ÿ                  4566
                              7ÿ599ÿ6 97ÿ9ÿ89 ÿ=>ÿ:7566;
7737436     D9"ÿ?       ! Aÿ797ÿB ÿ:7566;<ÿ>ÿ7AÿF ÿ 79ÿ:56;                       756
7737436     89A9"ÿJ A99! Aÿ8I8ÿ@97ÿFB ÿÿ=9EÿF ÿ:7566;<ÿA9Bÿ                         0576
                              7669ÿBÿ5ÿK6 ÿ74"ÿ6ÿ599ÿ:7506;<ÿB ÿ>5ÿ85ÿ
                              4567ÿ99A9ÿ796 ÿ:576;<ÿB99 ÿ75A9ÿBÿ5ÿK6 ÿ74ÿ
                              599ÿ:56;<ÿAÿ9997ÿBÿK6 ÿ74ÿ599ÿ:56;<ÿ697ÿ
                              >5ÿH9 ÿ99A9ÿK6 ÿ74ÿ599ÿ:506;
7737436     F6 BA"ÿ ! Aÿ8I8ÿ599ÿ59ÿ99A9ÿ8I8ÿB9ÿ9 Aÿ777ÿ                         7566
               859         :7566;
7737436     69"ÿ89 ! Aÿ=9EÿF ÿ599ÿ99A9ÿ@LFÿA77 ÿ69 7ÿ:7566;<ÿ                    156
                               99ÿÿÿ>5ÿ796 ÿ:756;<ÿ>ÿ69ÿ6 69A6ÿ
                                99A9ÿ599ÿ:56;<ÿ697ÿ>5ÿH9 ÿ99A9ÿ796 ÿ:546;<ÿB 5 ÿ
                                7ÿ 79ÿBÿ=9EÿF ÿ599ÿ:526;<ÿB 5 ÿ7ÿ
                              7ÿBÿ599ÿ:7506;<ÿB>Mÿ6 97ÿ9ÿ89 ÿ=>ÿ:7536;
7737436      769"ÿ@  ! Aÿ9Aÿ99 ÿÿ ÿ599ÿÿ8I8ÿ97ÿ:7566;<ÿA7777ÿ              1576
                              >5ÿ97ÿ7ÿB ÿ ÿ9Aÿ9B ÿ ÿÿ5ÿ@ÿ=9Eÿ
                              F ÿBÿ5ÿ@5 ÿ7ÿBÿ4G97ÿ:536;<ÿ9 Aÿÿ69 7ÿ99A9ÿ
                               99ÿBÿA9N7ÿ ÿÿ ÿ:756;<ÿA7777ÿ>5ÿ?5ÿ@ ÿ9Aÿ
                              H9 ÿ96ÿ595ÿ5ÿ69ÿ99A9ÿA7ÿÿ796 ÿ:566;<ÿ9 Aÿ
                               ÿ 99ÿ9Aÿ7ÿBÿ ÿ599ÿBÿ?A9ÿ79ÿ99A9ÿA9 ÿ
                              ÿ69 7ÿ99A9ÿFLO3FPOÿ:5C6;<ÿB ÿ>5ÿ45ÿD ÿ9Aÿ?5ÿ@ ÿ
                                99A9ÿ796 ÿ:5C6;<ÿ7ÿ599ÿA7777ÿ>5ÿ5ÿF597ÿ9Aÿ
                              97ÿ9ÿH9 ÿ99A9ÿ895ÿ67ÿ3MH3!ÿB9ÿ:536;<ÿ>ÿ
                               7ÿ9ÿ:7576;
773736      =9>7E"ÿ9  9 ÿBÿ599ÿÿ457A9ÿ:756;<ÿ7ÿ>77ÿ9AÿG5ÿ7ÿ                    566
                              :56;
773736      H9"ÿ8 BB F9ÿ>5ÿ?9E7ÿI9E ÿ99A9ÿ599ÿ777ÿ:56;<ÿ>ÿ69 97ÿ                   7546
                              ÿÿ>5ÿ69ÿ599ÿ:516;
773736      D9"ÿ?       F9ÿ969ÿH9 ÿ9Aÿ?9E7ÿI9E ÿ99A9ÿ69ÿ599ÿ:56;                656
773736      89A9"ÿJ A99 >ÿA6 7ÿBÿK6 ÿ72ÿ599ÿ:536;<ÿ9ÿ>5ÿ5ÿ=9>7Eÿ              7536
                                99A9ÿ796 ÿ:576;<ÿA9 ÿ 7Nÿ>77ÿ9AÿG5ÿ7ÿ:516;

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7737436 56"ÿ78  9 ÿ9ÿ 9ÿ:96ÿ;756<=ÿ9ÿ>:ÿ9?ÿÿ89ÿ9ÿ                 506
                          :96ÿ;516<=ÿ9>ÿÿ>:ÿ55ÿ@6ÿ;56<
7737436 A9>BC"ÿ9 D9?ÿ9ÿ 6ÿ 99ÿ9ÿ:96ÿ;56<=ÿ9 ÿ>:ÿ                     7526
                          E9CBÿF9C ÿÿ 9 ÿ9ÿ:96ÿ;546<=ÿ9 ÿ>:ÿ75ÿ@ ÿ
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7737436 @6"ÿ5 99 79ÿ>:ÿG5ÿ B?9"ÿ75ÿ56"ÿ5ÿA9>BCÿ98ÿ85ÿ?9ÿ6986ÿ              0576
                          ?6ÿ:96ÿ;516<=ÿ9ÿ>:ÿ5ÿA9>BCÿ6986ÿ?6ÿ
                          :96ÿ;506<=ÿ>ÿ?9 Bÿÿÿ>:ÿ?6ÿ:96ÿ;536<=ÿ
                            B9:ÿ 8ÿ?Bÿÿÿ>:ÿ?6ÿIÿB Bÿ;56<=ÿ
                           9 ÿ9ÿ?6ÿ:96ÿ;546<=ÿ99ÿ9 89ÿ9ÿ9ÿ>:ÿ89 ÿ
                          A>ÿ98ÿE9CBÿF9C ÿ6986ÿ:96ÿBBBÿ;56<
7737436  B?9"ÿG   >ÿ?9 9Bÿÿ 99ÿ9ÿ?6ÿ:96ÿ9Bÿ> ÿ9Bÿ                      0536
                          8BBBBÿ>:ÿ@9 ÿ9?ÿ? ? Bÿ6986ÿB9? ÿ;0546<=ÿ99 ÿ
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7737236 A9>BC"ÿ9 ! 8ÿ9 ÿ>:ÿ@9 "ÿ89 ÿA>ÿ98ÿE9CBÿF9C ÿ                         656
                            9?Bÿÿ8BBBÿB9Bÿ9ÿ ÿ:96Bÿ98ÿIBÿ;56<
77336 @6"ÿ5 99  9 ÿ?9 9Bÿÿÿ>:ÿ?6ÿ:96ÿ;546<                             6546
773236 56"ÿ78 99ÿBÿ9ÿE5ÿG ÿ9ÿ737ÿ;7576<                                           7576
773336 @6"ÿ5 99 79ÿ>:ÿ@9 "ÿE9CBÿF9C ÿ98ÿ89 ÿA>ÿ6986ÿ?6ÿ                    6546
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773336  B?9"ÿG  99 ÿÿ89 ÿ9ÿ>:ÿ@9 ÿ9?"ÿE9CBÿF9C ÿ98ÿ89 ÿ                  7566
                          A>ÿ6986ÿ 99ÿ9ÿ?6ÿ:96ÿÿ5F5ÿ9Bÿ98ÿIÿ
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773136 @6"ÿ5 99  >ÿ?9 9Bÿÿ 99ÿ9ÿ737ÿ:96ÿ;756<=ÿ9ÿ>:ÿG8ÿ                7546
                          98ÿ8Aÿ6986ÿ:96ÿBBBÿ;56<
773136 K9"ÿE       L?9ÿ9?6ÿ55ÿ@6ÿ98ÿ: Bÿ6986ÿ?6ÿ:96ÿ6986ÿ                  756
                          67ÿ8Bÿ;56<=ÿ899ÿ;98ÿB<ÿÿ6986ÿ?6ÿ:96ÿ
                          ;7566<
773136  B?9"ÿG  ! 8ÿÿ 99ÿ9ÿ:96ÿ>:ÿ96ÿÿÿ>:ÿ                        456
                          ?9 Bÿ9 8ÿÿ5F5ÿ98ÿ:96ÿÿ ? ÿ7Bÿ;0546<=ÿ>ÿ
                          ?9 9Bÿÿ 99ÿ9ÿ:96ÿÿ ? ÿ7Bÿ98ÿB9 6ÿ
                            6986ÿB9? ÿ;7576<
7730636 56"ÿ78     9 ÿ9ÿ? >MBÿ:96"ÿ86ÿ99H6ÿ? 89ÿ?=ÿ            4526
                          ÿ9ÿB69ÿ98ÿ: ÿ?9 9ÿ986Bÿ;4526<
7730636 @6"ÿ5 99  >ÿ98ÿBÿ:96ÿBÿ;506<=ÿ>ÿB8ÿ8 Bÿ98ÿBÿ                       3526
                          ÿ989ÿ9ÿ:96ÿ;7546<=ÿ>ÿB8ÿ BBÿ9ÿ?Bÿÿ
                          989ÿ9ÿ:96ÿ;7536<=ÿ? 6Bÿ>:ÿ@9 ÿ9?ÿ? ? B"ÿ89 ÿ
                          A>ÿ98ÿE5ÿG ÿ:6:ÿ89ÿ98ÿ 99Bÿ9 8ÿÿ?6ÿ
                          :96ÿ;0526<=ÿ 9 ÿ?9 9Bÿÿ989ÿ9ÿ737ÿ:96ÿ;516<=ÿ9Bÿ
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7730636 D:?B"ÿ59 99ÿ:96ÿBÿ6986ÿ9ÿ8? B"ÿ? 89"ÿ5ÿ;56<                      656
7730636 K9"ÿE       L?9ÿ9?6ÿN5ÿ8989ÿ98ÿ: Bÿ6986ÿÿ9ÿ?6ÿ:96ÿ               6536
                          ;56<=ÿ>ÿB8ÿÿ6986ÿ?6ÿ:96ÿ;506<
7730636 8989"ÿN 899L?9Bÿ>:ÿ!5ÿK ÿ6986ÿ ? ÿ7ÿK 96ÿ;56<=ÿ?9Bÿ>:ÿ                7566
                          89 ÿA>ÿ98ÿE9CBÿF9C ÿ6986ÿOÿ9ÿÿK 96ÿ
                          ;56<=ÿBÿOÿ9ÿÿK 96ÿ>:ÿ?? ÿ9?ÿ@9 ÿ;546<
7730636 ?9"ÿ89 8 6Bÿ9ÿ89 ÿA>ÿÿ 99ÿ9ÿA9Cÿ7 ÿ:96ÿ                         56
                          ;56<

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>?"ÿ@A                                           0506            7"06566              07"4 566
B9"ÿC                                                 =56             7"3566               3"056
@; DA"ÿ8E9                                          =526            7"736566              2"16=566
F?"ÿ> DD                                             00536            7"74566              03"267566
;9"ÿ89                                             2546            7"74566              07"020566
G9H:I"ÿ9                                           77536            7"7566              70"2566
@E9:"ÿ!:E                                              6546              176566                0=4566
!E9"ÿJ 9                                           6576              32566                  3256
KE;:"ÿ>9                                           7=516              366566             70"6566
FI"ÿC::                                              45=6              ==6566              0"60=566
89A9"ÿL A99                                          =56               36566              0"1=566
<9"ÿ89                                                656              036566                 2=566
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                         ?5ÿ5ÿG 9ÿ: 9:ÿ76 ÿ;576=>ÿÿ?5ÿ!5ÿ@57ÿ9ÿ85ÿ4567ÿ
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                           : 9:ÿ5ÿG ÿ97ÿ;0506=>ÿ?ÿ 9ÿ@Oÿ67ÿ
                         ;526=>ÿ6 7ÿ?5ÿ85ÿB:ÿ: 9:ÿ76 ÿ;586=>ÿ?ÿC7ÿ
                         96 ÿ9ÿÿÿ;516=>ÿ6 7ÿ?5ÿB ÿ 6ÿ
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                         G ?7Jÿ: 9:ÿ76 ÿ;586=>ÿ7: ÿÿ?5ÿCJÿ: 9:ÿ
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                             F ÿ@Aÿ95ÿ= ÿ 8ÿ4 4ÿ:5G6;
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                           6C9ÿ744 4ÿ:546;<ÿ@ÿ7ÿ55 ÿÿ7 Fÿ47ÿ7Hÿ:5G6;
8836437677 =8"ÿJ FF 9 ÿ@Aÿ5ÿE @4Hÿ8 78ÿ48 ÿ5 4ÿ:586;<ÿ 7ÿ                             4516
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                         <8546=>ÿ 9ÿ7; 7ÿ@66 ÿ6 ;ÿ<516=>ÿ 9ÿ Bÿ
                         B5ÿC5ÿDEÿ<8566=>ÿ9 ?ÿ 7ÿ9ÿEÿE B 7ÿ?6ÿC5ÿ
                         DEÿ Bÿ<8576=>ÿ 79ÿB5ÿ: ÿ; 9;ÿ
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8836437677 :E"ÿH77 ! 9ÿ: ÿÿ; 9;ÿDÿ7; ÿ<5I6=>ÿ 9ÿÿB5ÿDÿ                   2516
                         66 ÿ; 9;ÿ7; ÿ<506=>ÿÿÿ9ÿ;ÿ
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                         <8586=>ÿÿB5ÿ@5ÿ8;ÿ<586=>ÿ6 ÿ6;ÿ95ÿ6 "ÿ!5ÿ@57ÿ9ÿ
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                         : ÿ 6ÿÿ; 9;ÿ 7 ÿÿ7; 7ÿ@66 ÿ
                         <8566=>ÿÿB5ÿ95ÿ6 ÿ; 9;ÿ7; 7ÿ@66 ÿ
                          7 ÿ<576=>ÿÿB5ÿ95ÿ@6 ?9ÿ; 9;ÿ67ÿ;7ÿDÿ
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                         <56=>ÿBÿ; ÿ9ÿ977 ÿ79ÿ9Eÿ9ÿ9ÿ66 7ÿ
                         <7506=>ÿÿB5ÿ: ÿ 6ÿ; 9;ÿ7; ÿ<8566=>ÿ
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                         B5ÿ9  ÿKBÿ; 9;ÿ97ÿJ57ÿ<546=>ÿ6 ÿÿ: ÿ
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           95         ÿB5ÿ7; 7ÿ@66 ÿ<536=>ÿBÿ7 5ÿ777ÿÿ
                         ÿB5ÿDÿ7; ÿ<8546=>ÿ6 7ÿB5ÿ: ÿ 6ÿ
                           ; 9;ÿ?BFÿ?ÿDÿ<5I6=>ÿ ÿÿB5ÿ: ÿDÿ 6ÿ
                           ; 9;ÿ7; ÿ<5I6=>ÿÿB5ÿÿC 7;7ÿ; 9;ÿDÿ777ÿ
                         <506=>ÿ6 7ÿÿ9  ÿKBÿ; 9;ÿ?BFÿ9;ÿ?ÿDÿ
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                         86 ÿ;56=>ÿ8ÿ@ÿ6 76ÿ6 ÿ7ÿ788 ÿ
                         87 8ÿ;4516=>ÿ9 ÿABÿ55ÿC6ÿ6 76ÿ84 ÿ;5<6=>ÿÿ
                         ABÿ? ÿ6 76ÿ84 ÿ;8566=>ÿ9AÿÿÿABÿD5ÿE ÿ6 76ÿ
                         84 ÿ;576=>ÿ86 8ÿ544 ÿ4 6ÿ;516=>ÿ9AFÿÿABÿ
                         86 8ÿ544 ÿ;536=>ÿ? ÿ79ÿ9A6ÿ86 8ÿ
                         544 ÿ4 6ÿ;586=>ÿÿABÿ8Gÿ4 ÿH 8ÿ6 76ÿ
                         788 ÿ87 8ÿ;56=>ÿ86 ÿ Aÿ9ÿEBÿ:Iÿ
                         ;8566=>ÿ  ÿÿÿABÿ84 ÿ;526=>ÿAÿ7ÿ88ÿ9ÿ
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                         6ÿ888ÿÿÿABÿ:ÿ  ÿ 88ÿ;85<6=>ÿ
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                         ÿ  ÿ9ÿ7L8ÿ86 8ÿ544 ÿ4 6ÿ;75<6=>ÿ 7ÿ
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                             7ÿÿ86 8ÿ544 ÿ 8 ÿ;8566=>ÿ9Aÿÿÿ
                         ABÿ@5ÿE ÿ6 76ÿ4 8ÿ 7ÿÿ84 ÿ;546=>ÿ9 ÿABÿD5ÿK ÿ
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8836437677 !B"ÿM  Aÿ7 9ÿ 8 ÿ6 76ÿ6 ÿ7ÿ788 ÿ
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                         87 8ÿ;576=
883637677 5B8"ÿ!8B  8ÿ844 ÿ9ÿ5ÿN ÿ78ÿ;85<6=                                      85<6
883637677 C6"ÿ57 5 ÿABÿ9  ÿNAÿ;8586=>ÿ  ÿ9ÿ84 ÿ;56=>ÿÿABÿ? ÿ                  7566
                             4ÿ;576=>ÿAÿ9Aÿÿ4 ÿ;576=
883637677 N A8I"ÿ    ÿ9ÿ 8 ÿABÿ9  ÿNAÿ 6ÿ788 ÿ888ÿ                  7586
                         ;546=>ÿ? ÿ Fÿ 6ÿ4 6ÿABÿ9  ÿNAÿ;576=>ÿ
                         4 6ÿABÿ9  ÿNAÿ 6ÿ788 ÿ888ÿ;8586=>ÿ8ÿABÿ
                         D5ÿK ÿ 6ÿ8 8ÿ7ÿHÿ8 8ÿ;576=>ÿ8ÿABÿ9  ÿNAÿ
                          6ÿHÿ8 8ÿ;576=
883637677 ?6"ÿC 99 ! 7ÿÿABÿ9  ÿNAÿ6 76ÿ86 ÿ888ÿ;8586=>ÿ                      8536
                            Aÿ4 8ÿÿÿABÿ:ÿ888ÿ;526=
883637677 E "ÿD       O4 ÿ46ÿD5ÿ?Iÿ7ÿB 8ÿ6 76ÿ48ÿ68ÿ:ÿ;56=>ÿ                 8506
                            Aÿ8 Bÿ6 76ÿ48ÿ68ÿ:ÿ;536=
883637677 97"ÿ: 7  8ÿ4 4 74ÿ6 76ÿ5ÿN ÿ78ÿABÿ44 8ÿ94ÿ                    8576
                         !5ÿ5B8ÿ;8586=>ÿ4 8ÿABÿ!5ÿ5B8ÿ7ÿ95ÿ4 ÿ6 76ÿ84 ÿ
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883637677 54 97"ÿ  Aÿ4 8ÿ94ÿ? ÿ 4ÿ6 76ÿ:ÿ86 ÿ7ÿHÿ                            0516
           9B         8 8ÿ;8586=>ÿ87ÿÿ4 8ÿ6 76ÿHÿ8 8ÿ9ÿ:ÿ;546=>ÿAÿ
                          4 8ÿÿÿABÿCPCÿ86 ÿ7ÿHÿ8 8ÿ;536=>ÿAÿ
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              22-90032 Document
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                         4 6ÿ 9ÿÿGHCÿ966 6ÿ=7546>?ÿ  ÿÿBÿÿ57ÿ
                         9  ÿA5ÿ=5D6>?ÿ96666ÿ57ÿI5ÿG ÿ9ÿJ5ÿE ÿ787ÿ7ÿ
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                         B86ÿ=8566>
8836D37677 C4    B 9"
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           97         44 6ÿÿ64 ÿBÿ95ÿ6ÿ=516>?ÿ5ÿ4 6ÿB4ÿ95ÿ6ÿ
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                         68 6ÿC44 ÿ4 8ÿ=56>?ÿÿ57ÿ7ÿ68 6ÿ
                         C44 ÿ=8566>?ÿ9ÿ6 7ÿ8 98ÿA 9ÿ6ÿ=8506>?ÿÿ
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                             9= 7"ÿÿ: = 7"ÿ9ÿÿ7ÿDÿ>7526?
8836137677     H"ÿ9   7ÿ4;ÿHÿ8== ÿE9 ÿ>536?@ÿ 9ÿÿD;ÿC5ÿK;=7ÿ                   8566
                             >576?




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                           7ÿ5 4ÿÿÿ78ÿ::ÿ4: ÿ7?ÿ<856=>ÿ
                         ;4444ÿ78ÿ@5ÿA:ÿ: ;:ÿ4: ÿ955 ÿ5 4"ÿBÿ
                         4 4ÿ;ÿ4 :ÿ<8586=>ÿ  ÿÿÿ78ÿ9 ÿ@"ÿC 85ÿ
                         DÿE ?4ÿ<8566=>ÿÿ78ÿ95ÿ5 ÿ;ÿ95ÿ@:ÿ<546=>ÿ  ÿ
                         ÿÿ78ÿ9  ÿF7ÿ: ;:ÿ; ÿÿ4ÿ4 4ÿ<8576=>ÿ
                           ÿÿA ÿ Gÿ: ;:ÿ5 4ÿ ;ÿÿ4ÿ4 4ÿ<56=>ÿ
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                           : ;:ÿ4: ÿ<8566=>ÿ7ÿÿHÿ65ÿF:ÿ 7ÿ<576=>ÿ
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                           : ;:ÿ4: ÿ<8566=>ÿ ;ÿ ÿHÿÿ78ÿF ÿ4ÿ
                         <5K6=>ÿ4ÿ: ;:ÿ3GAÿ<546=>ÿÿ78ÿ9  ÿF7ÿ<546=>ÿH7ÿÿ
                         78ÿ@5ÿA:ÿ<506=>ÿ ÿÿ3GAÿ444ÿ;ÿ ;ÿ4ÿ<7536=>ÿÿ
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                         4: ÿ5 4ÿ<5K6=>ÿ ;ÿF ;ÿÿ<856=>ÿÿ78ÿNEÿ<5K6=>ÿ
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                         444ÿ<576=>ÿ5 ÿÿ 5ÿÿF ÿ444ÿ<576=>ÿ55 4ÿ78ÿM5ÿ
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8838637677 F "ÿ7      ; ÿ5B ÿ <ÿÿ=8566>?ÿ:ÿ5 6ÿB EBÿ                            K546
                         5B ÿ< 5ÿ=8506>?ÿ< ÿ<Bÿ5ÿG :5H"ÿI5ÿ9EÿEÿ
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                         GBÿ :ÿ=506>?ÿ EÿG Eÿ< Bÿ=856>?ÿÿ<Bÿ; ÿEÿ
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                         G Eÿ< Bÿ=56>?ÿ EÿG Eÿ< BÿEÿDÿ5555ÿ=856>?ÿ
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8838637677 9E"ÿI E  :ÿE< 5ÿ9ÿ :ÿ9ÿN5ÿGBÿ=8586>?ÿ< 5ÿ:6ÿ!5ÿ865ÿ               K516
                           B EBÿ5< ÿ=576>?ÿ< 5ÿ:6ÿ5ÿG :5HÿB EBÿE5ÿ
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                         FEÿ :ÿ=576>?ÿ Eÿ; ÿÿB EBÿ5B ÿ=8566>?ÿ
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8838637677 8< 9E"ÿ  :ÿ 5ÿ< 5ÿ9<ÿ; ÿ <ÿB EBÿ4Q4ÿ5B ÿ                          K566
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                         555ÿÿÿ:6ÿIÿ=536>?ÿ:ÿ Eÿ5:ÿ5 6ÿ9ÿ
                         Iÿ=75K6>?ÿ; ÿÿB EBÿ5B ÿEÿ Eÿ9:Oÿ
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                           B EBÿ5< ÿ=526>?ÿE5555ÿ:6ÿ75ÿN ÿEÿP5ÿF ÿB EBÿ
                         < 5ÿ Eÿÿ5B "ÿ555ÿB EBÿG ÿEÿ5 5ÿ9ÿ< 5ÿ
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                             >576?@ÿ8ÿ ÿ79ÿH5ÿD:ÿÿB ;ÿ>586?@ÿ8ÿ; 7ÿ;Qÿ7ÿ
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                         IJ4ÿ666ÿ>0576?@ÿÿ75ÿS5ÿ D ÿ; A;ÿ5ÿ6D ÿ>506?@ÿ  ÿ
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                         <ÿ!5ÿ456ÿ; A;ÿ6D ÿ>546?@ÿD 6ÿ75ÿ!5ÿ456ÿ; A;ÿ
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883837677      B 9:C"ÿ  D ÿ 5ÿÿ @ÿ: :ÿ7ÿUÿ: :ÿ<8566=>ÿ6 ÿ                      2586
                             98ÿ5ÿEÿ @ÿ:@ ÿ5 :ÿ<576=>ÿ ÿ6ÿV  ÿ
                              9ÿ<8536=>ÿÿ98ÿW5ÿV "ÿ7ÿ95ÿ5 ÿ@ 7@ÿB ÿ5:ÿ
                             <56=>ÿ6 ÿ98ÿWC:ÿF C ÿÿ:@ ÿ5 :ÿ
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                            95 ÿ999ÿ:586;<ÿÿ=>ÿA5ÿB ÿ5 85ÿ95 ÿ
                            C 9ÿ:56;<ÿÿ=>ÿ5ÿ999ÿ5 85ÿ95 ÿC 9ÿ:586;<ÿÿ
                            =>ÿD5ÿ65ÿ5 85ÿ95 ÿC 9ÿ:576;<ÿC 9ÿ=>ÿ4 ÿ
                               Cÿ5 85ÿ95 ÿCC ÿC 9ÿ:576;<ÿEÿ99ÿ
                              5 85ÿ8ÿ95 9ÿ:506;<ÿ=ÿC 9ÿÿÿ=>ÿ
                            8 7ÿ3F4ÿ:506;
883837677     A>C9"ÿ6  ! 8ÿ95 ÿ Cÿÿ:8566;<ÿÿ=>ÿ!5ÿ ÿ5 85ÿ? ÿ              25I6
                             9ÿ:506;<ÿÿ=>ÿG5ÿHC>ÿ:;ÿ8ÿ!5ÿ ÿ5 85ÿ
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                            :8586;<ÿ7=Fÿÿ=>ÿG5ÿHC>ÿ5 85ÿ>ÿ9C ÿ:546;<ÿ=ÿ? ÿ
                            76649ÿ8ÿ8ÿCC 9ÿ:546;<ÿÿ=>ÿK5ÿ98ÿ5 85ÿ? ÿ
                            76649ÿ:506;<ÿ 98ÿ5 85ÿ? ÿ 9ÿ:56;<ÿÿ=>ÿ!5ÿ
                            L8>ÿ5 85ÿ3F4ÿ9 >ÿ:586;<ÿ 8ÿ 98ÿ=>ÿ4 ÿ
                            :586;<ÿ9 >ÿ9=ÿ8ÿHMDÿ 8ÿ7ÿ? 8ÿ9999ÿ:7546;
883837677     4@"ÿN99  7ÿC ÿ> ÿ7ÿ6O6ÿ8ÿ? ÿ89ÿ:8546;                                  8546
883837677     B "ÿN      D ÿ=>ÿ4 ÿ Cÿ5 85ÿ95 ÿ8ÿC5ÿ> 5ÿ                     456
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                            C9ÿ59ÿKÿ:576;
883837677     4"ÿAC> Q=Fÿÿ=>ÿK5ÿK= ÿ5 85ÿ899 ÿ999ÿ:536;<ÿ                 7566
                             98ÿ=>ÿ4 ÿ Cÿ5 85ÿ3F4ÿ8ÿ 8ÿ899 9ÿ
                            :546;<ÿ9ÿ=>ÿN@9ÿO @ ÿ5 85ÿ9C ÿ:536;
883837677     K"ÿK=  Q=Fÿ=>ÿA5ÿ4ÿ5 85ÿ899 ÿ999ÿ:536;                         6536
883837677     98"ÿK 8 ! 8ÿ4 ÿÿ5 85ÿ95 ÿ:8566;<ÿ8 ÿ=>ÿ                        25I6
                              ÿ8ÿ=ÿ7ÿ8C ÿ8ÿ:526;<ÿ8 7ÿÿ7664ÿ
                            Gÿ:7506;<ÿC 9ÿ=>ÿN5ÿB ÿ5 85ÿ9C ÿ:506;<ÿ9ÿÿ7664ÿ
                            G9ÿ=>ÿ65ÿA>C9R9ÿ89ÿ:506;<ÿÿ=>ÿ65ÿA>C9ÿ5 85ÿ
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                            :506;
883837677     DC 78"ÿ  =ÿKÿ 8ÿ999ÿ7ÿ75ÿ:8576;<ÿC 9ÿ=>ÿ95ÿ9ÿ                  526
              9>          8ÿN5ÿ4@ÿ5 85ÿ75ÿ7ÿKÿ8ÿ95 ÿ:5I6;<ÿ=ÿ
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883837677     9"ÿ9>  ! 8ÿ4 ÿÿ5 85ÿ9 9ÿ7ÿ95 ÿ:8566;<ÿ=ÿ!5ÿ                   0506
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883837677     C "ÿ9  D ÿ=>ÿ4 ÿ5 85ÿ9 5ÿ8ÿ=@9 C9ÿ:8566;<ÿÿ=>ÿ                       546
                            ? R9ÿ9ÿ5 85ÿ95 ÿC 9ÿ:8566;<ÿÿ=>ÿN5ÿB ÿ8ÿ
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8838>37677 O7"ÿK6 Q5ÿÿÿ3MGÿ=506?                                                       6506
8838>37677 F 5:C"ÿ  K99 :ÿ;9ÿB A9ÿ 7ÿÿ9ÿ=586?@ÿ                      65>6
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8838>37677 G7"ÿO ;;  5ÿ9 :ÿÿÿ5Aÿÿ:7 ÿ9 :ÿ=56?                             656
8838>37677 DA9:"ÿO  K ÿ5AÿH5ÿ< ÿ7 67ÿF5ÿ<  ÿ 5ÿ=506?@ÿ:ÿ5AÿB5ÿ                 >546
                         96ÿ7 67ÿ:9 ÿ=506?@ÿ  ÿ9 :ÿ;ÿF5ÿ<  ÿ 5ÿ
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8838>37677 < "ÿH       :ÿF5ÿ<  ÿ 5ÿÿ=7566?@ÿ5ÿ ÿJA:ÿ;ÿ                   3586
                         :ÿÿF5ÿ<  ÿ 5ÿ=566?@ÿÿ5AÿO5ÿDA9:ÿ7 67ÿF5ÿ
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                         6:: :ÿ=56?@ÿ6ÿ: Aÿ7 67ÿ6:: :ÿ=8506?
8838>37677 G"ÿD9A 6 ÿRSÿ: :ÿ=546?                                                           6546
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                          ; <ÿ7Bÿ!5ÿ ÿ@ 5@ÿ89:ÿ5; ÿ5ÿ=576>Aÿ; <ÿ
                         7Bÿÿ@ 5@ÿ7ÿ5; <ÿ=576>AÿC ÿ<B5@ÿCÿ
                         D; ÿ82ÿB @ÿ=586>Aÿ; <ÿ7Bÿ5ÿE 5ÿ@ 5@ÿ5; ÿ
                         5ÿ <ÿ=586>Aÿ; <ÿ7Bÿ ÿ5ÿ@ 5@ÿ5; ÿ
                         5ÿ=546>Aÿÿ7Bÿ ÿ5ÿ5ÿ!5ÿ:B<ÿ@ 5@ÿ<; ÿ
                         =506>AÿC7Fÿÿ7Bÿ!5ÿ:B<ÿ@ 5@ÿ<; ÿ=586>Aÿ; <ÿ7Bÿ5ÿ
                         E 7<Gÿ@ 5@ÿ5; ÿ5ÿ=576>Aÿ<ÿ7BÿH5ÿIB;<ÿ
                           @ 5@ÿE5ÿJ  ÿ 7ÿ=506>
8838437677 ; "ÿ9  : ÿ7BÿK5ÿJ ÿ@ 5@ÿ<@ ÿ; <ÿ=56>Aÿÿ7Bÿ5ÿ                      0586
                         E 7<Gÿ@ 5@ÿ<@ ÿ; <ÿ=576>Aÿÿ7ÿ5ÿ
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                         J  ÿ=7576>Aÿ; <ÿ7Bÿ? ÿ@ 5@ÿ<; ÿ=576>
8838437677 8"ÿ9  8;ÿ; <ÿCÿ<@ <ÿ:;; ÿCÿ<@  <ÿB@Bÿ                            6506
                         8@ÿ=506>
8838437677  <; "ÿ8  :5 ÿCÿ; <ÿ@ 5@ÿ@@ÿ7Gÿÿÿ7Bÿ                       0546
                         <@ "ÿ5; ÿ5"ÿC 5GÿCÿD; ÿ82BÿB @ÿ
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                         <<ÿCÿÿ5ÿ; <ÿÿÿ7Bÿ@@ÿ7Gÿ< ;<ÿ
                         =0546>
8838237677 :B<"ÿ!<B :ÿ7ÿCÿ95ÿJ5ÿ; <ÿ=526>Aÿ7ÿI5ÿ9<Lÿ; <ÿ                       4546
                         =8536>Aÿ<;; Mÿ5; <ÿCÿ? ÿ=7586>
8838237677  "ÿ!5 7  7ÿ5ÿMÿ <<ÿ@ 5@ÿ8ÿ:;; ÿÿ                            7576
                         =8546>Aÿ@ÿ< Bÿ@ 5@ÿ ÿC5ÿ5 ÿIN<ÿ
                         7ÿ=506>Aÿÿ7BÿO5ÿ!Bÿ@ 5@ÿ <ÿCÿ ÿ=506>
8838237677 H@"ÿ:5 ! 5ÿ ÿCÿE5ÿJ  ÿ 7ÿ=0546>Aÿÿ7Bÿ9  ÿE7ÿPÿ                4546
                         KQÿ ;<ÿ=576>Aÿ5ÿ;; <ÿÿ3F?ÿ=506>Aÿ7ÿ <<ÿ <ÿ=506>Aÿ
                         ÿ7BÿH5ÿ?@ÿ5ÿ85ÿ <; ÿ@ 5@ÿ6ÿ; <ÿ=546>
8838237677 E 7<G"ÿ  Rÿ ÿCÿE5ÿJ  ÿ 7ÿ=546>Aÿ 5ÿE5ÿJ  ÿ 7ÿ                   1546
                         =3506>Aÿ< <ÿ5 ÿÿ7BÿK5ÿ8 ÿ @ÿ 7ÿ=576>AÿC7F
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                           S<<ÿ=536>
8838237677 ?@"ÿH CC  ÿ 5ÿCÿJ  ÿ 7ÿ=7506>Aÿÿ7Bÿ95ÿ:; C5ÿ                       4546
                           @ 5@ÿ6ÿ<<<ÿ=576>Aÿ 5ÿÿ7Bÿ85ÿ@ 5@ÿ6ÿ<ÿ
                         =56>AÿC7ÿÿÿ7Bÿ85ÿ <; ÿ5ÿ:5ÿH@ÿ@ 5@ÿ6ÿ<<<ÿ
                         =546>Aÿ7ÿ<@ ÿ; <ÿ=506>Aÿÿ7Bÿ5ÿE 7<Gÿ@ 5@ÿ
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8838237677 IB;<"ÿH  ! 5ÿE5B5 ÿ:;; ÿ 7ÿCÿE5ÿJ  ÿ=3506>Aÿ5 CÿGÿ                   1576
                           G 7 <ÿCÿ? ÿ ;ÿ=526>Aÿ 5ÿ <5ÿ7Bÿ? ÿ=576>
8838237677 J "ÿK        ÿCÿ 7ÿCÿE5ÿJ  ÿ=8566>Aÿ 5ÿ 7ÿCÿE5ÿJ  ÿ                1506
                         =3506>
8838237677 ?"ÿI;B  7ÿ5ÿ5ÿ;; <ÿÿ3F?3!ÿ=546>Aÿ <5ÿ7Bÿ                        056
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8838237677 ? "ÿ9  ! 4ÿ6C ÿ ;ÿ8ÿ95ÿ:  ÿ@3506ABÿ8 < ÿ  ÿÿ                 1576
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                            C 4Cÿ:  ÿ ;ÿ4ÿ84C6ÿ@526ABÿ4 ÿ? 6ÿ 4ÿÿ
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                          K ÿC 4Cÿ4? ÿ;ÿ@546ABÿÿ;<ÿ55ÿ94ÿC 4Cÿ
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                          4? 6ÿC 4CÿE5ÿQ6ÿ4ÿ9 ÿ:4ÿ@8576A
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                          666ÿ@576ABÿ8;ÿÿC 4CÿÿG ÿ@576ABÿ8;ÿÿ;ÿ8ÿ
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                          @586ABÿÿ;<ÿQ5ÿR C ÿC 4Cÿ4? ÿS66ÿÿ4ÿ@506A

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                             N44ÿ;526<=ÿ4>> Mÿ4ÿ7ÿ? ÿ;506<
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                             8 @8ÿ:ÿ444ÿ;506<=ÿÿ95ÿD5ÿH ÿ8 @8ÿ:ÿ444ÿ;576<=ÿ
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                           6>4ÿ;536<=ÿMÿ444ÿÿÿ95ÿ ÿ:ÿ4 > 4ÿ
                           ;8586<=ÿ9ÿ7ÿG ÿ@8ÿ;536<=ÿ9ÿ:ÿ 4 ÿ;516<=ÿ
                            Mÿ444ÿÿÿ95ÿ88ÿ9C4 >4ÿ;526<=ÿ7ÿ9ÿ
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                          ÿ5ÿ@ ?7AÿB77ÿ;536=>ÿ9 Cÿÿ7ÿCÿ6 :ÿ?5ÿ@ ÿ
                         ;546=>ÿ 79ÿ?5ÿD ÿ: 9:ÿ?ÿ96 7ÿ;546=>ÿÿ
                         ?5ÿÿ: 9:ÿ6 :ÿ?5ÿ@ ÿ;576=>ÿ7ÿÿ7ÿ ÿÿ
                         ;506=>ÿ 9ÿÿ?5ÿD ÿ 6ÿ: 9:ÿE  ÿ97ÿ;516=>ÿ
                         9 Cÿ766 ÿCÿ@ ÿ66 7ÿ: 9:ÿ4CCÿ5 ÿ;856=
8837737677 @A7F "ÿ  79ÿÿ6 ÿC6ÿH5ÿ99ÿ: 9:ÿ96 ÿ?ÿ;586=>ÿ                       0566
           G            ?ÿ9ÿ?Aÿ?5ÿAÿ7678ÿ7: ÿ96 7ÿ;7536=>ÿ6 ÿH5ÿ
                         99ÿ: 9:ÿ76 ÿ;586=
8837737677 DA"ÿG77 Iÿÿ9ÿ7 5ÿ: 9:ÿHÿ6 7ÿ;4576=                                   4576
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                          97ÿ;536=>ÿ6 ÿ6:ÿJ5ÿ 76 ÿ9ÿ5 7ÿ: 9:ÿ7664ÿ7ÿ
                          ÿ97ÿ;576=>ÿ?ÿ7 5ÿ: 9:ÿ 7ÿBÿÿ
                         ;8516=>ÿ6 ÿ6:ÿ5ÿ@ ?7Aÿ9ÿ5 7ÿ: 9:ÿ67ÿ:7ÿ
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                         K A ÿ;5<6=>ÿ9ÿ66 7ÿÿ3FDÿ;8546=
8837737677 99"ÿH 9 I9 ÿ79:ÿ96 ÿ9ÿÿÿ;546=>ÿ6 7ÿ?5ÿ5ÿ                 7546
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                           : 9:ÿ76 ÿ;506=>ÿÿ?5ÿÿ: 9:ÿ7: ÿ6 7ÿ
                         ;576=>ÿÿ?ÿ9ÿ77ÿCÿ96 7ÿ99ÿÿÿ
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8837737677 !5"ÿN   ?ÿ766 ÿCÿ@5ÿE  ÿ96 7ÿ;586=>ÿ?ÿ766 ÿCÿ                    6506
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                         ABAÿ;6ÿ<526=
8837037677  "ÿ!; ?  Cÿ66ÿ9 ;9ÿ;8 ÿ@66ÿ;ÿ;6ÿ6ÿÿ                      656
                         ABAÿC8 ÿ;6ÿ<56=
8837037677 A9"ÿ4; 4 ÿ?5ÿA5ÿ:9ÿ9 ;9ÿDÿ8 6ÿ<576=>ÿÿ?5ÿ: ÿ 8ÿ                   0506
                           9 ;9ÿDÿ86ÿ<8566=>ÿÿ?5ÿ9  ÿE?ÿ9 ;9ÿDÿ
                         8 6ÿ<506=>ÿÿ?5ÿFGÿ9 ;9ÿDÿ8 6ÿ<586=>ÿ?ÿ;ÿ
                         88 ÿÿ;Hÿ;6669ÿ6 8 ÿ<8526=
8837037677 E ?6H"ÿ  488 6ÿ?5ÿE ÿ6ÿ 9ÿC8 ÿ ;;ÿ<576=>ÿ            05I6
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                         8 9ÿ?5ÿE ÿ<7526=>ÿ666ÿÿ  ÿCÿ;ÿ;66ÿ<56=
8837037677 B 9 "ÿ7 4 6;ÿ?5ÿ6;ÿ6ÿÿ5;ÿ ÿ?666ÿ9 ;9ÿ                        7506
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                         66ÿÿ5;ÿ 6ÿ<526=
8837037677 :9"ÿA CC 4 6ÿ?5ÿ45ÿA9ÿ9 ;9ÿDÿ6 8 ÿ<576=>ÿÿ?5ÿF5ÿÿ             576
                           9 ;9ÿDÿ6 8 ÿ<586=>ÿÿ?5ÿ9  ÿE?ÿ9 ;9ÿDÿ
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                         6 8 ÿ<56=>ÿ?ÿ8 6ÿÿÿ?5ÿDÿ ;ÿ
                          9 8 6ÿ<526=>ÿ?ÿ6 ÿ8 6ÿÿÿ?5ÿ!Hÿ
                          ÿ<576=
8837037677 G586"ÿA    ÿCÿ ?ÿ?5ÿE ÿ<75I6=>ÿ?ÿÿ;9ÿ@66ÿ                  0566
                          ;ÿÿ66ÿ<576=>ÿ ;ÿ 6;ÿ?5ÿK5ÿL85ÿ<576=
8837037677 :H"ÿF66 ! ;ÿÿ?5ÿ: ÿ 8ÿ9 ;9ÿDÿ69 ÿ<8566=                           8566
8837037677 J "ÿF      4 ÿ89ÿ: ÿ 8ÿ9 ;9ÿDÿ86ÿ 6 ÿ<8566=>ÿ8 ÿ                  516
                          89ÿ75ÿB 9 ÿ;ÿ5 6ÿ9 ;9ÿ;ÿ7664ÿ6ÿ<546=>ÿ
                           ?ÿ6;ÿ;ÿ7664ÿ6ÿ<5I6=>ÿÿ?5ÿD5ÿ9;ÿ9 ;9ÿ
                         7664ÿ6ÿ<586=>ÿ6ÿDÿ86ÿ 6 ÿ<8ÿ 6=ÿ
                         <8536=>ÿ8 ÿ89ÿ95ÿ48 C;ÿ;ÿ5 6ÿ9 ;9ÿDÿ 6 ÿ
                         <56=>ÿ?ÿ6;ÿ7664ÿÿÿE5ÿJ  ÿ<5I6=>ÿ8 ÿ89ÿD5ÿ
                         45 ÿ;ÿ5 6ÿ9 ;9ÿDÿ6 8 ÿ<516=
8837037677 9;"ÿD ;  Cÿ8 ÿÿ6ÿ9 ;9ÿ7664ÿK6ÿÿC8 ÿ;6ÿ<5I6=>ÿÿ                8536
                         ?5ÿF5ÿJ ÿ9 ;9ÿ68 ÿ<586=>ÿ8 6ÿ?5ÿ: ÿ 8ÿ9 ;9ÿ68 ÿ
                         <506=>ÿÿ?5ÿ95ÿG8MCCÿ9 ;9ÿ6 ;9ÿ8 6ÿ<586=>ÿ
                          8 6ÿ?5ÿ95ÿG8MCCÿ9 ;9ÿ6 ;9ÿ?H6 86ÿ
                         <506=>ÿ8 6ÿ?5ÿ: ÿ 8ÿ9 ;9ÿC9ÿ7664ÿ6ÿ<576=>ÿ8 6ÿ
                         ?5ÿF5ÿJ ÿ;ÿ5ÿE ?6Hÿ9 ;9ÿE ÿ7664ÿ6ÿ<576=
8837037677 48 C;"ÿ : ÿÿ9 ;9ÿDÿ ;ÿ666ÿ<8566=>ÿ?ÿ8 6ÿ9 ;9ÿ                       4536
           95         6 8 ÿ?5ÿDÿ; 6"ÿ ;ÿ 8ÿ65 6ÿ;ÿ666ÿCÿ68 ÿ
                         <8576=>ÿ?ÿ; ;ÿ 6 ÿCÿDÿ; ÿ666ÿ<8546=>ÿ;ÿ
                         88 6ÿÿÿ?5ÿ68 ÿÿ95ÿ6ÿ<8576=
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                         69 ÿ 6 ÿÿ;;ÿ6ÿ<8546=>ÿÿ
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                         86ÿ<516=>ÿ8 6ÿ?5ÿ: ÿ9 ;9ÿ68 ÿ<506=>ÿ8 6ÿ?5ÿ5ÿ
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        Case
          22-30500-swe7
              22-90032 Document
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                          > ÿ;856<=ÿ 7ÿ @ÿ9ÿ>5 >ÿ6?? ÿÿ;56<
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36C37677 E?"ÿB :: @9ÿ7;ÿ!9"ÿD5ÿ6 ÿ98ÿE9 ÿ?98?ÿ9ÿ ÿ<526=>ÿ9ÿ7;ÿ               456
                          65ÿ 459ÿ?98?ÿ9ÿ444ÿ<56=>ÿ9ÿ7;ÿF5ÿG94ÿ98ÿ5ÿ
                          H994ÿ?98?ÿ9ÿ444ÿ<506=>ÿ94ÿ7;ÿD5ÿ6 ÿ?98?ÿ9ÿ
                          444ÿ<546=>ÿ 9 ÿ5ÿ 44ÿ:ÿ4559ÿ:ÿ 9ÿ
                           49ÿ<516=>ÿ594ÿ7;ÿE9 ÿ95ÿ?98?ÿ9ÿ444ÿ
                          <506=>ÿ7ÿÿ 49ÿ59 94ÿ<546=>ÿ7ÿ
                           49ÿ59 94ÿ<536=>ÿ9ÿ7;ÿ!9ÿ?98?ÿ9ÿ444ÿ<56=>ÿ
                          9ÿ7;ÿD5ÿ6 ÿ?98?ÿ9ÿ444ÿ<56=
36C37677 59"ÿ89  7ÿ48ÿ89:4ÿ:ÿ9ÿ98ÿ44 ÿ69 5 ÿ<576=>ÿ594ÿ                      56
                          7;ÿI5ÿJ9ÿ?98?ÿ146ÿ!ÿ48 94ÿ<506=
36C37677  459"ÿ6  4444ÿ7;ÿD5ÿ6 ÿ?98?ÿ? 9ÿ7;ÿ4ÿÿ9ÿ                        056
                          49ÿÿ 99ÿ:ÿ9ÿ7;ÿ85ÿ695 ÿ:ÿ!9ÿB5ÿÿ8444ÿ
                          495 ÿ<526=>ÿ7ÿ59 94ÿ8?ÿ 5ÿ4; ÿ7;ÿ4ÿÿBFBÿ
                            4?ÿ<56=>ÿ8444ÿ7;ÿ85ÿ695 ÿ:ÿ!9ÿB5ÿ98ÿD5ÿ6 ÿ
                            ?98?ÿ? 9"ÿ: 899ÿ:ÿHÿJ8ÿ@55 ÿÿ9ÿ49ÿ
                          98ÿKÿ4 4ÿ<5C6=>ÿ9ÿ7;ÿB5ÿE?ÿ?98?ÿ9ÿ444ÿ<56=>ÿ99Lÿ
                          444ÿ9 8ÿÿ;ÿK4ÿ5ÿ<566=
36C37677 J99 "ÿM9 89 ÿ9Kÿ55 4ÿ9 8ÿÿBFBÿ844 ÿ49 5 "ÿ98ÿ 9 ÿ                          6516
                           48ÿÿ89 ÿJ7ÿM95ÿ9 8ÿÿ;ÿ495 ÿ<516=
36C37677 N9; "ÿM88  7ÿ89 8ÿ9ÿ89:4ÿ<536=                                                     6536
36C37677 J9"ÿI98  7ÿ89 8ÿ89:ÿ:ÿDÿ@;9 ÿÿ9ÿ:5ÿ9ÿ146ÿ!ÿ                           6516
                           4ÿ<516=
36237677 N9"ÿD        7ÿ48ÿ44 ÿ69 5 ÿ<516=                                             6516
36237677 J99 "ÿM9 O9Lÿ98ÿ9 ÿ89 8ÿ55 4ÿ9 8ÿÿ;ÿBFBÿ9Kÿ                               516
                          844 ÿ<516=
36237677 N9; "ÿM88  7ÿ89:ÿ44 ÿ69 5 ÿ<536=                                                 6536
36337677 E?"ÿB ::  7ÿ444ÿÿÿ7;ÿ9ÿ<546=                                           6546
36337677 59"ÿ89  7ÿ55 4ÿÿ44 ÿ69 5 ÿ:5ÿ69ÿ@55 ÿ                             6526
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36337677 49"ÿ8;9  7ÿÿ55 4ÿ98ÿP44ÿ?98?ÿ89:ÿ44 ÿ                          526
                          69 5 ÿ98ÿ9 ÿÿ9 4ÿ89:ÿ<56=>ÿ594ÿ7;ÿ85ÿ59ÿ
                            ?98?ÿ495 ÿ<576=
36337677 J99 "ÿM9 M;ÿ: ÿ7;ÿ5ÿB ÿ98ÿM5ÿN9; ÿÿ8444ÿBFBÿ9Kÿ                          6536
                          844 ÿ<546=>ÿ4559Lÿ9ÿ 4ÿ98ÿ9ÿ54ÿ9 8ÿÿ;ÿ495 ÿ
                          <546=
36337677 N9; "ÿM88  7ÿ48ÿ9ÿ4 ÿ<56=>ÿ9ÿ7;ÿ8Jÿÿ8444ÿ9Kÿ9944ÿ                 6516
                          98ÿ844 ÿ<546=
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                          <546=>ÿ:7Qÿ7;ÿ89 ÿJ7ÿ?98?ÿ495 ÿ<576=
36337677 !;9"ÿR 9  7ÿ89 8ÿ 5ÿ4; ÿ:5ÿDMÿ9 4ÿ<56=                                       656
36137677 B?"ÿ@8  7ÿ9 4ÿ89:ÿ:ÿ9ÿ98ÿ55 ÿÿ495 ÿ<516=                               516
36137677 49"ÿ8;9 9 ÿ55 4ÿ:5ÿ4ÿ98ÿE9 ÿÿ89:ÿ9ÿ98ÿ44 ÿ                 7526
                          69 5 ÿ<756=>ÿ594ÿ7;ÿ89 ÿJ7ÿ?98?ÿ495 ÿ<506=>ÿ9 8ÿ
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                          55 4ÿ:5ÿM5ÿN9; ÿÿ9ÿ<56=
36137677  459"ÿ6   7ÿ:ÿ9ÿ<576=>ÿ99Lÿ444ÿ9 8ÿÿ;ÿ9A4ÿ9Kÿ4 ÿ                   756
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              22-90032 Document
                         Doc 261-8
                             250-8
                                2143Filed
                                       Filed
                                           08/14/24
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                                             in TXSB onEntered
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                              @@ >ÿ:576<
3637677     A?"ÿB 99  8ÿ9ÿ >9ÿ:546<=ÿ9ÿ85ÿ!Cÿ?97?ÿ9ÿ                  506
                               >9ÿ:56<=ÿ99Dÿ>>>ÿ?97?ÿ9ÿ>>>ÿ:546<
3637677      >@9"ÿE   8ÿ9ÿ >9ÿ97ÿ98ÿÿ85ÿ!CÿB@ÿ?97?ÿ              6526
                              @9 >ÿ9 7ÿÿ>9@ ÿ:526<
3637677     495 "ÿ677  8ÿ799ÿ>> ÿE9 @ ÿ:546<                                           6546
3637677     !59"ÿF 9  8ÿG@@ H>ÿ>>ÿÿG@9H>ÿ34ÿ>9ÿ:576<                     6576
337677     G59>"ÿ!>5  8ÿ799ÿ>> ÿE9 @ ÿ:7526<                                          7526
337677     @9"ÿ89 G9ÿ85ÿ89 ÿI8ÿ?97?ÿ9ÿ97ÿ>> ÿE9 @ ÿ:566<=ÿ               7516
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                              :56<
337677     >9"ÿ859 ! 7ÿ9ÿ85ÿA9 ÿ97ÿ89 ÿI8ÿ?97?ÿ9ÿ97ÿ>> ÿ             526
                              E9 @ ÿ>>>ÿ:566<=ÿ 9 ÿ9ÿ>9@ ÿÿ8?ÿ89 ÿI8ÿ
                              @@ >ÿ:546<=ÿ8ÿ@9>ÿ9@ÿ85ÿ@9ÿ?97?ÿ>9@ ÿ:506<
337677      >@9"ÿE  G7ÿ98ÿÿ?97?ÿ8ÿ9ÿ9"ÿ7>> ÿ>9 @ ÿ97ÿ              6536
                              79ÿ9ÿ@9 >ÿ?97?ÿ>9@ ÿ:536<
337677     I9C "ÿ69 65ÿ9 ÿ85ÿ65ÿ495 ÿÿ7>>>ÿ79 7ÿBJBÿ>7ÿ                    506
                                9>9ÿ97ÿ> ÿ97ÿ9Kÿ>7 9>ÿ9 7ÿÿ5ÿ>9@ ÿ:506<
337677     495 "ÿ677  8ÿ>>>ÿ9ÿL>ÿ:546<=ÿ8ÿ799ÿ>> ÿE9 @ ÿ               6526
                              :506<
3737677     A?"ÿB 99  8ÿ97ÿ@@ ÿÿ>7ÿ9ÿ>9ÿ:546<                                6546
3737677     49"ÿM        8ÿ>7ÿ9ÿ>9ÿ:516<=ÿ@9ÿ9@?ÿB5ÿA?ÿ97ÿ5 >ÿ             576
                                ?97?ÿ9ÿ>9ÿ:506<
3737677     495 "ÿ677 G >7ÿ85ÿ8Iÿ9 7ÿÿ9Kÿ7>> ÿ:546<=ÿ8ÿ>7ÿ                     6516
                               9Kÿ7>> ÿ:56<
3037677     @9"ÿ89  8ÿ>7ÿ799ÿ9ÿ>> ÿE9 @ ÿ:506<=ÿ@9>ÿ85ÿ85ÿ                   56
                              >9ÿ?97?ÿ>9@ ÿ:576<
3037677     >9"ÿ859  8ÿ97ÿ9 ÿ85ÿ@9ÿ>> ÿE9 @ ÿ@@ >ÿ                  56
                              :566<=ÿ7ÿ9779ÿ@@ >ÿÿ>> ÿE9 @ ÿ:56<
3037677     495 "ÿ677  8ÿ>7ÿ9Kÿ7>>ÿ:56<=ÿ >7ÿ85ÿ8Iÿ9Kÿ97ÿ65ÿ                  7566
                              I9C ÿ?97?ÿ9Kÿ7>> ÿ:56<
3437677     @9"ÿ89  8ÿ>7ÿ799ÿ9ÿ>> ÿE9 @ ÿ:506<=ÿ8ÿ>7ÿ799ÿ                   7546
                              9ÿ9ÿ9ÿ?9D9ÿ:516<=ÿ@9>ÿ85ÿA9 ÿ?97?ÿ>9@ ÿ:576<
3437677     >9"ÿ859  8ÿ>7ÿ799>ÿ9ÿ9ÿ97ÿ>> ÿE9 @ ÿ9 7ÿÿ               7566
                              89 ÿI8ÿ:536<=ÿ9 ÿA9 ÿ@@ >ÿ97ÿ7ÿ9779ÿ
                              @@ >ÿ:566<=ÿ@9>ÿ85ÿA9 ÿ?97?ÿ>9@ ÿ:576<
3437677     I9C "ÿ69 G99?ÿ >ÿ9Kÿ9 >ÿ97ÿ@@ >ÿ97ÿ9@ÿ95ÿ >ÿ               ;576
                              @@ ÿ89>ÿ977 >>7ÿÿ5ÿ ÿ799ÿ:7526<=ÿ 9 ÿ9ÿN@9ÿ
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                              9?ÿ9Kÿ@@ >ÿ:546<=ÿ>95ÿ9Kÿ>>>ÿ9 7ÿÿ
                              9>ÿ:536<=ÿ7ÿ>95ÿ9 7ÿÿ>ÿ06ÿ:526<
3437677     495 "ÿ677  8ÿ>7ÿ9Kÿ7>> ÿ:5;6<                                              65;6
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                              89 ÿI8ÿ?97?ÿ9ÿ @>ÿ:566<=ÿ 99ÿÿÿ85ÿ
                              9 ??ÿ9>ÿ:536<=ÿ9ÿ?97?ÿ46ÿ!ÿ>>>ÿ:576<
337677      A?"ÿB 99 G9ÿ85ÿI ÿ?97?ÿ9ÿ>>>ÿ:56<=ÿ9ÿ85ÿOCÿ!79@>ÿ?97?ÿ           56
                              9ÿ:56<=ÿ9ÿ85ÿJ5ÿP9>ÿ?97?ÿ9ÿ>>>ÿ:56<

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337677 49"ÿ89 8 5ÿ67ÿ!8ÿ94ÿ59:5ÿ9ÿ;ÿ59<9ÿ=56>?ÿ                            56
                           99ÿÿÿ67ÿ@94 ÿ=566>?ÿ9ÿ67ÿ89 ÿA6ÿ
                            59:5ÿ9ÿ 4@ÿ=566>?ÿ@ÿ9ÿ 4ÿ@7 ÿ=526>?ÿ49@ÿ67ÿ
                          B9 ÿ59:5ÿ@94 ÿ=56>?ÿ6ÿ@:ÿ:9;@ÿ;ÿ9ÿ9:ÿ@@ ÿ
                          C9 4 ÿ=536>
337677 @9"ÿ879 ! :ÿ9ÿ67ÿB9 ÿ9:ÿ89 ÿA6ÿ59:5ÿ9ÿ9:ÿ@@ ÿ                   0576
                          C9 4 ÿ@@@ÿ=566>?ÿ 9 ÿ4ÿ:@ÿ;ÿ@@ ÿC9 4 ÿ
                          44 @ÿ=566>?ÿ9 ÿ4ÿ:@ÿ;ÿB9 ÿ44 @ÿÿ
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337677  @49"ÿC  99 ÿÿ:9 ÿ9ÿ67ÿB9 ÿ9:ÿ89 ÿA6ÿ59:5ÿ                          7566
                          ; :98ÿÿ9ÿ9:ÿ:@@ ÿ@9 4 ÿ@@@ÿ=566>?ÿ6ÿ49 9@ÿ
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                           757ÿ7ÿ59:5ÿ49 @ÿ9 :ÿÿ9ÿ=546>
337677 G97 "ÿF::  6ÿ:9 :ÿ9ÿ=56>?ÿ6ÿ:9 :ÿ:@@ ÿ=576>                               6526
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3D37677 B5"ÿ9 ;;  6ÿ4ÿ @@ÿ;ÿ 4ÿ@7 ÿ=526>?ÿ9@ÿ67ÿI5ÿ95ÿ                      536
                            59:5ÿ9ÿ@@@ÿ=546>?ÿ99ÿ9 :9ÿ;ÿ9ÿ67ÿ89 ÿA6ÿ
                            59:5ÿ9ÿ@@@ÿ=526>
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                          9ÿ67ÿILÿ9:ÿ @Jÿ;@@9@ÿ59:5ÿ9ÿ 4ÿ@7 ÿ=546>?ÿ
                          ;6ÿÿ9ÿ67ÿ89 ÿA6ÿ59:5ÿ9ÿ9:ÿK@ÿ=56>?ÿ
                          9ÿ67ÿI5ÿ95ÿ59:5ÿ9ÿ=576>?ÿ@ÿ:9;ÿ;ÿ@@ ÿ
                          C9 4 ÿ=7576>?ÿ49@ÿ67ÿB9 ÿ59:5ÿ@94 ÿ=576>?ÿ6ÿ@:ÿ
                          9ÿ 4ÿ@7 ÿ=526>?ÿ9ÿ67ÿM5ÿGNI795ÿ=89 ÿA6>ÿ59:5ÿ
                          @@ ÿC9 4 ÿ=576>
3D37677 @9"ÿ879  9 ÿ;ÿ9ÿ67ÿ89 ÿA6ÿ9:ÿEFÿ59:5ÿ9ÿ9:ÿ@@ ÿ               756
                          C9 4 ÿ@@@ÿ=56>?ÿ9 :ÿ9ÿ67ÿ89 ÿA6ÿ9:ÿEFÿ59:5ÿ
                          9ÿ9:ÿ@@ ÿC9 4 ÿ@@@ÿ=516>?ÿ9 :ÿ;6Nÿ9ÿ67ÿ8Aÿ
                          9:ÿEFÿ59:5ÿ9ÿ@@@ÿ=546>?ÿ9 ÿ9::9ÿ44 @ÿÿ
                          @@ ÿC9 4 ÿ=526>
3D37677  @49"ÿC  I:9ÿ;ÿ49 @ÿ59:5ÿ; :98ÿÿ9ÿ@ "ÿ9ÿ 4ÿ                     7516
                          @7 "ÿ49 @ÿ59:5ÿK@ÿ9:ÿ; :98ÿÿ44 @ÿÿ
                          :@@ ÿ@9 4 ÿ=75D6>?ÿ:@@@@ÿ67ÿB9 ÿ94ÿ4 4 @ÿ9:ÿ
                           49@ÿ59:5ÿ49 @ÿ9 :ÿÿ@94 ÿ=506>
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                          @@ ÿC9 4 ÿ=506>?ÿ9ÿ67ÿ95ÿB5ÿ59:5ÿ9ÿ@@@ÿ=56>?ÿ
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                          @@@ÿ=506>?ÿ9ÿ67ÿE5ÿC ÿ59:5ÿ9ÿ@@@ÿ=506>?ÿ6ÿ;ÿ
                            @:ÿ@@ ÿC9 4 ÿ=506>?ÿ6ÿ@:ÿ9ÿ=526>?ÿ9ÿ67ÿI5ÿ
                          95ÿ59:5ÿ9ÿ@@@ÿ=56>
3237677 49"ÿ89 I9ÿ67ÿ89 ÿA6ÿ9:ÿE98@ÿO98 ÿ59:5ÿ9ÿ9:ÿ                           6506
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                          9@ÿÿ:98:ÿ59 4ÿ9 8ÿÿ55 4ÿÿ48ÿ844 ÿ
                          49 5 ÿ=5A6>
3237677 B9< "ÿC88  @ÿ48ÿ9ÿ=506>                                                          6506
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3337677 E:"ÿD 99  @ÿ899ÿ9ÿ=546>?ÿ99Fÿ444ÿÿÿ@<ÿ9:ÿ899ÿ              5A6
                          9ÿÿ 8ÿ44ÿ=546>?ÿ9ÿ@<ÿ85ÿ59ÿ:98:ÿ9ÿ
                          444ÿ=506>?ÿ9ÿ@<ÿG5ÿ7<9 9ÿ98ÿH5ÿ6 ÿ:98:ÿ::ÿ
                          @;4 954ÿ=56>
3337677 B9"ÿH        @ÿ48ÿ9ÿ9ÿ:9F9ÿ=546>?ÿ@ÿ48ÿ44 ÿ                    6516
                          69 5 ÿ=56>
3337677 49"ÿ8<9  9 ÿ55 4ÿÿ9 4ÿ899ÿ9ÿ44 ÿ69 5 ÿ=756>?ÿ@ÿ                   0546
                          98ÿ9 ÿE9 ÿ55 4ÿÿ9ÿ=5A6>?ÿ594ÿ@<ÿ89 ÿI@ÿ
                            :98:ÿ<ÿ9 ::ÿ=546>?ÿ48ÿÿJ44ÿ95ÿ89 ÿI@ÿ
                            :98:ÿ<ÿ9 ::ÿ=506>
3337677 59"ÿ89  4ÿ899ÿ9ÿ9ÿ9ÿ:9F9ÿ=566>?ÿ594ÿ@<ÿE9 ÿ:98:ÿ                 5A6
                          495 ÿ=506>?ÿ9ÿ@<ÿD5ÿE:ÿ:98:ÿ9ÿ444ÿ=506>
3337677  459"ÿ6   @ÿ9ÿ98ÿ844 ÿ49 5 ÿ98ÿ55 4ÿ98ÿ9 89;ÿÿ                  6536
                          495 ÿ=536>
3137677 D:"ÿ78 79ÿ@<ÿ89 ÿI@ÿ:98:ÿ9ÿ=506>?ÿ 48ÿ:98:ÿ                     656
                          495 ÿ=576>
3137677 E:"ÿD 99 79ÿ@<ÿ89 ÿI@ÿ:98:ÿ9ÿ98ÿ6ÿ=506>?ÿ9ÿ@<ÿH5ÿ6 ÿ                 6526
                            :98:ÿ9ÿ98ÿ6ÿ=56>?ÿ@ÿ44ÿÿ44 ÿ69 5 ÿ
                          =56>?ÿ9ÿ@<ÿC5ÿB ÿ:98:ÿ9ÿ444ÿ=576>
3137677 49"ÿ8<9  9 ÿ9ÿ9ÿ@<ÿ89 ÿI@ÿÿ9ÿ98ÿ44 ÿ69 5 ÿ                   566
                          444ÿ=506>?ÿ9 8ÿ9ÿ@<ÿE9 ÿ98ÿ89 ÿI@ÿÿ9ÿ98ÿ
                          44 ÿ69 5 ÿ444ÿ=506>?ÿ@ÿ98ÿ9 ÿ9889ÿ
                          E9 ÿ55 4ÿÿ9ÿ98ÿ44 ÿ69 5 ÿ=546>
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                          =526>?ÿ594ÿ@<ÿ 4Kÿ94494ÿ98ÿ69ÿ755 ÿ:98:ÿ
                          495 ÿ=546>
3137677 B9< "ÿC88  @ÿ48ÿ9ÿ98ÿ844 ÿ=546>                                            6546
37637677 I9; "ÿC9  @ÿ9ÿL4ÿ98ÿM4ÿL4ÿ58ÿ=526>?ÿ@ÿ49<ÿ                        7516
                          59 94ÿ98ÿÿ9:4ÿ9 8ÿÿ ÿ 9 8ÿ 44ÿ=7576>
3737677 D:"ÿ78 ! 8ÿ ÿ9ÿ9ÿ@<ÿ!;ÿ98ÿHCÿ98ÿ ÿ98ÿH5ÿ6 ÿ:98:ÿ            6536
                          9ÿ444ÿ=56>?ÿ94ÿ@<ÿD5ÿE:ÿ:98:ÿ9ÿ444ÿ=506>
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                          94ÿ@<ÿ75ÿD:ÿ:98:ÿ9ÿ444ÿ=506>
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37737677 I9@4;"ÿ9 C9 ÿ@<ÿE9 "ÿ89 ÿI@ÿ98ÿH9;4ÿN9; ÿ954ÿ                         516
                          =536>?ÿE9 ÿ P9ÿÿ 9 ÿ9ÿ9ÿ@<ÿ89 ÿI@ÿ98ÿH9;4ÿ
                          N9; ÿ=506>?ÿ9 ÿ@<ÿE;98ÿ=536>
37737677 E:"ÿD 99 79ÿ@<ÿH9;4ÿN9; ÿ98ÿ89 ÿI@ÿ:98:ÿ9ÿ=536>?ÿ@ÿ                   6516
                          59 94ÿ:98:ÿ9ÿ98ÿ44 ÿ69 5 ÿ=56>
37737677 C<54"ÿD9 ! 8ÿ P9ÿ@<ÿE9 ÿ=506>?ÿ9 8ÿ9ÿ@<ÿE;98ÿ98ÿ9ÿ                 56
                          799ÿ=536>?ÿ899ÿ4559ÿ9ÿ495 ÿ=546>

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                            <546=Cÿ99 ÿ8998ÿ ;9ÿÿ99ÿ9;ÿ8998ÿ
                            ;9;ÿFÿ;89ÿ99ÿ88ÿ?Aÿ; 97;ÿ<506=Cÿ79;ÿ978ÿ
                            D9 ÿ97ÿ7 7 ;ÿ99ÿF 99Aÿ8998ÿ79 ;ÿ9 9ÿÿ88ÿ
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                            77 ;ÿÿ;89ÿ>77 ÿ7 ;ÿ<546=CÿF?ÿÿ?:ÿ55ÿ
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                            7 99ÿ7ÿÿ;;ÿÿ77 ;ÿ9ÿ<536=Cÿ79;ÿ?:ÿ
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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 15, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through December 31, 2022



Fees Total.............................................................................................................................................................                 41,279.50
Total Amount Due ..............................................................................................................................................                         41,279.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00002
Invoice #:          9020144191                                                                              August 15, 2023
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RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                         Hours
12/02/2022     Thompson, Grace Draft notice of rate increase as required by retention order (.20)                             0.20
12/02/2022     Siena, Marie          Review and revise materials for September fee statement (3.90)                           3.90
12/04/2022     Siena, Marie          Continue to review and revise materials for September fee statement (2.70)               2.70
12/05/2022     Thompson, Grace Correspondence regarding rate increase notice as required by retention                         0.10
                               order (.10)
12/05/2022     Siena, Marie          Revise September billing statements to incorporate edits from Katten team                2.20
                                     (2.20)
12/06/2022     Miranda, Loredana Review September billing statements for privileged and confidential                          4.10
                                 information (3.90); email with G. Thompson regarding same (.20)
12/07/2022     Miranda, Loredana Call with M. Siena regarding September billing statements (.20); emails                      0.30
                                 with M. Siena regarding same (.10)
12/07/2022     Siena, Marie          Revise materials for September fee statement to incorporate L. Miranda                   1.80
                                     comments (1.60); call with L. Miranda regarding same (.20)
12/11/2022     Siena, Marie          Revise September billing statements to ensure that privileged and                        1.10
                                     confidential information is not disclosed (1.10)
12/12/2022     King, Geoff           Begin review of monthly fee statement materials (1.80); review matters                   2.10
                                     related to preparation of fee statements (.30)
12/12/2022     Thompson, Grace Review revisions to September billing statements for privileged matters                        0.30
                               (.30)
12/12/2022     Siena, Marie          Revise materials for September fee statement to incorporate G. Thompson                  0.90
                                     edits (.70); email same to G. King and C. Giglio (.20)
12/13/2022     King, Geoff           Review monthly fee statement materials (2.20)                                            2.20
12/13/2022     Miranda, Loredana Draft summary of work in September Monthly fee statement for the                             2.80
                                 Independent Directors (2.60); emails with G. Thompson regarding same
                                 (.20)
12/13/2022     Reisman, Steven       Review fee statements for privilege and for filing with court for September              1.60
                                     before forwarding to Independent Directors (1.60)
12/14/2022     Giglio, Cindi         Begin to review monthly fee statement for compliance with UST                            2.00
                                     Guidelines (2.00)
12/14/2022     King, Geoff           Complete review of monthly fee statement materials (1.70)                                1.70
12/14/2022     Siena, Marie          Revise materials to September fee statement to incorporate G. King and C.                1.30
                                     Giglio comments (1.30)
12/19/2022     Giglio, Cindi         Continue work on revising monthly fee statements for UST compliance                      1.50
                                     (1.50)
12/19/2022     Siena, Marie          Review and revise Katten CNO to 1st Interim Fee App (.30)                                0.30
12/20/2022     Siena, Marie          Revise supplemental declaration for filing (.30); file supplemental                      0.50
                                     declaration on the court's docket (.20)
12/21/2022     Giglio, Cindi         Finalize review of September monthly fee statement (1.20)                                1.20
12/21/2022     King, Geoff           Review September monthly fee statement materials (.70); review materials                 1.40
                                     in connection with prior fee statements (.20); prepare monthly fee
                                     statement for approval (.50)
12/21/2022     Thompson, Grace Revise September billing statements for privilege and confidential                             0.70
                               information (.50); draft shell for September monthly fee statement (.20)




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Date           Timekeeper         Description                                                                          Hours
12/21/2022     Miranda, Loredana Revise email to clients regarding September monthly fee statement (.20);                   0.30
                                 emails G. King regarding same (.10)
12/21/2022     Siena, Marie       Review September billing statements for confidential and privileged                       9.30
                                  information (.80); emails with S. Reisman regarding same (.30); draft
                                  exhibits for September fee statement (2.40); revise September fee
                                  statement (3.20); revise September fee statement to incorporate G.
                                  Thompson comments (.90); prepare allocations for August monthly fee
                                  statement (.70); file Katten CNO for 1st interim fee application on the
                                  court's docket (.20); emails with noticing agent regarding service of same
                                  (.20); emails with G. Thompson regarding same (.20); emails with S.
                                  Reisman regarding review of September monthly fee statement (.40)
12/21/2022     Reisman, Steven    Update regarding matters related to First Interim fee application and CNO                 0.40
                                  (.10); emails with M. Siena regarding September fee statement (.20);
                                  follow up regarding same (.10)
12/22/2022     King, Geoff        Review matters related to preparation of fee statement (.20)                              0.20
12/22/2022     Siena, Marie       File September Monthly Fee Statement on the court's docket (.20); emails                  0.60
                                  with noticing agent regarding service of same (.20); emails with Katten
                                  regarding same (.20)
12/22/2022     Reisman, Steven    Review fee statement for attorney client privileged documentation (.60);                  1.30
                                  follow up regarding obtaining clients sign-off and approval of monthly fee
                                  statement (.70)
12/26/2022     Siena, Marie       Review and revise October billing statements to ensure that privileged and                2.60
                                  confidential information is not disclosed (2.60)
12/27/2022     Siena, Marie       Review and revise materials for October fee statement for privileged and                  2.90
                                  confidential information (2.90)
12/28/2022     Siena, Marie       Continue to review and revise October billing statements for privileged                   6.10
                                  and confidential information (2.90); review and revise materials for
                                  October fee statement to ensure compliance with UST guidelines (3.20)
12/30/2022     Miranda, Loredana Review October billing statements for privilege and confidential                           3.20
                                 information (3.20)
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Matter:             397894.00002
Invoice #:          9020144191                                                     August 15, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        3.30            1,585.00               5,230.50
Giglio, Cindi                                          4.70            1,350.00               6,345.00
King, Geoff                                            7.60            1,145.00               8,702.00
Thompson, Grace                                        1.30              800.00               1,040.00
Miranda, Loredana                                     10.70              580.00               6,206.00
Siena, Marie                                          36.20              380.00              13,756.00

                                     Sub Total :      63.80   Sub Total :                    41,279.50
                                     Total Hours :    63.80   Total Fees              41,279.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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                                                                                                                                                                                              Tel: 212-940-8800
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August 15, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: DIP

For Professional Services Rendered Through December 31, 2022



Fees Total.............................................................................................................................................................                       826.00
Total Amount Due ..............................................................................................................................................                               826.00     USD




Payment can be remitted directly to our account:




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Invoice #:          9020144195                                                          August 15, 2023
Invoice Due Date:   Payable Upon Receipt


RE: DIP

TIME DETAILS
Date           Timekeeper         Description                                                        Hours
12/01/2022     Comerford,         Review revised DIP Order for VIDA (.70)                                 0.70
               Michael
                                                                            Total Hours :                 0.70




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Invoice #:           9020144195                                                     August 15, 2023
Invoice Due Date:    Payable Upon Receipt


TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Comerford, Michael                                      0.70            1,180.00                   826.00

                                      Sub Total :       0.70   Sub Total :                         826.00
                                      Total Hours :     0.70   Total Fees                 826.00    USD




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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through December 31, 2022



Fees Total.............................................................................................................................................................                 33,302.50
Total Amount Due ..............................................................................................................................................                         33,302.50        USD




Payment can be remitted directly to our account:




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Invoice Due Date:   Payable Upon Receipt


RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
12/15/2022     Giglio, Cindi      Attention to standing motion (1.20)                                                        1.20
12/15/2022     Barnowski, Dan     Analyze motion to grant standing (.70)                                                     0.70
12/15/2022     King, Geoff        Review standing motion (.80)                                                               0.80
12/15/2022     Roitman, Marc      Review Committee standing motion (1.20); emails with Katten regarding                      3.10
                                  same (.40); call with M. Somerstein regarding case matters (.50); draft
                                  talking points for hearing relevant to Committee standing motion (.80);
                                  emails with Katten regarding same (.20)
12/16/2022     Giglio, Cindi      Further attend to issues related to standing motion (1.20)                                 1.20
12/16/2022     Barnowski, Dan     Analyze standing motion (.50)                                                              0.50
12/16/2022     Comerford,         Review draft complaint and standing motion filed by the Bondholder                         0.90
               Michael            Committee (.90)
12/16/2022     Roitman, Marc      Review Committee draft complaint filed with Standing Motion (1.10)                         1.10
12/19/2022     Barnowski, Dan     Communications with Bondholders Committee about redacted complaint                         0.50
                                  (.50)
12/19/2022     Hall, Jerry        Review standing motion (1.00); email among Katten, Akin and Mayer                          1.30
                                  Brown regarding standing motion (.30)
12/20/2022     King, Geoff        Review standing motion and complaint (1.40)                                                1.40
12/20/2022     Hall, Jerry        Call among Katten and Mayer Brown regarding Bondholders Committee                          1.40
                                  standing issues (1.00); email among Katten and Mayer Brown regarding
                                  standing motion and related matters (.40)
12/20/2022     Roitman, Marc      Call with Debtors’ counsel regarding Committee motion to seal standing                     1.80
                                  motion and Complaint (1.00); review protective order in connection with
                                  same (.30); further review of Bondholder Committee's Complaint in
                                  connection with same (.50)
12/27/2022     Giglio, Cindi      Further study of standing motion (2.30)                                                    2.30
12/27/2022     Hall, Jerry        Email with G. King regarding standing motion (.20); review standing                        2.70
                                  motion and complaint (1.50); research regarding committee standing
                                  (1.00)
12/28/2022     Hall, Jerry        Review research regarding standing motion (2.50)                                           2.50
12/29/2022     Kitnick, Jesse     Call with J. Hall regarding response to LBC Standing Motion (.30)                          0.30
12/29/2022     Hall, Jerry        Call with J. Kitnick regarding standing motion (.30); review research                      1.30
                                  regarding standing motion (1.00)
12/30/2022     Kitnick, Jesse     Thoroughly review and annotate LBC Standing Motion and Complaint in                        3.90
                                  connection with drafting a response (3.90)
                                                                                               Total Hours :             28.90




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TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Giglio, Cindi                                           4.70            1,350.00               6,345.00
Hall, Jerry                                             9.20            1,285.00              11,822.00
Comerford, Michael                                      0.90            1,180.00               1,062.00
King, Geoff                                             2.20            1,145.00               2,519.00
Roitman, Marc                                           6.00            1,145.00               6,870.00
Barnowski, Dan                                          1.70            1,125.00               1,912.50
Kitnick, Jesse                                          4.20              660.00               2,772.00

                                      Sub Total :      28.90   Sub Total :                    33,302.50
                                      Total Hours :    28.90   Total Fees              33,302.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 15, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through December 31, 2022



Fees Total............................................................................................................................................................. 204,268.50
Total Amount Due .............................................................................................................................................. 204,268.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
12/01/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                    1.30
                                 for 12/1 (1.30)
12/02/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                    0.30
                                 for 12/2 (.30)
12/03/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                    1.40
                                 for 12/3 (1.10); draft agenda for Special Committee meeting (.20); revise
                                 agenda with comments by C. Giglio (.10)
12/04/2022     Giglio, Cindi      Prepare for Special Committee meeting (.20); attend Special Committee                     1.10
                                  call (.90)
12/04/2022     Barnowski, Dan     Attend Special Committee meeting (.90)                                                    0.90
12/04/2022     King, Geoff        Prepare for Special Committee call (.30); call with Special Committee                     1.20
                                  (.90)
12/04/2022     Hall, Jerry        Meeting among Katten and Special Committee regarding case status (.90)                    0.90
12/04/2022     Miranda, Loredana Attend Special Committee meeting (.90); draft minutes regarding same                       1.80
                                 (.90)
12/04/2022     Roitman, Marc     Attend Special Committee meeting (.90); review materials in preparation                    1.30
                                 for same (.40)
12/05/2022     King, Geoff        Call with T. Horton regarding Special Committee matters (.10)                             0.10
12/05/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                    0.40
                                 for 12/5 (.40)
12/06/2022     Giglio, Cindi      Katten pre-call (.50); weekly call with Debtor and Bondholder                             1.20
                                  Committee's professionals (.30); attend Polly call (.40)
12/06/2022     Barnowski, Dan     Weekly call with Debtors’ Professionals and Bondholder Committee’s                        0.70
                                  Professionals (.30); bi-weekly Project Polly call (.40)
12/06/2022     King, Geoff        Review draft minutes (.40); revise unanimous written consent (.30); attend                1.60
                                  Katten pre-call prior to call with Debtors' Professionals and Bondholder
                                  Committee's Professionals (.50); attend Polly call (.40)
12/06/2022     Thompson, Grace Attend pre-call with Katten (.50); attend call with Debtors' and                             1.60
                               Committee's professionals (.30); draft notes from same (.20); attend bi-
                               weekly Project Polly call (.40); draft notes from same (.20)
12/06/2022     Hall, Jerry     Review summary regarding L Bond Management (.20)                                             0.20
12/06/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                    0.40
                                 for 12/6 (.20); revise minutes from Special Committee meeting with
                                 comments by G. King and C. Giglio (.20)
12/06/2022     Roitman, Marc     Call with Debtors’ Professionals and Bondholder Committee’s                                0.80
                                 Professionals (.30); Katten pre-call in preparation for same (.50)
12/07/2022     Giglio, Cindi      Discuss press release with J. Stein (.20); emails with L. Miranda and G.                  1.40
                                  King regarding precedent (.20); review precedent and draft same (1.00)
12/07/2022     King, Geoff        Call with M. Laussade regarding governance issues (.10); review and                       1.90
                                  revise delegating resolutions (.60); review matters in connection with
                                  upcoming Special Committee meeting (.20); analyze matters regarding
                                  DLP case administration (.20); review prior Board minutes and materials
                                  in relation to Board minutes (.80)




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Date           Timekeeper         Description                                                                             Hours
12/07/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       1.90
                                 for 12/7 (.60); attend weekly call with Mayer Brown (.60); draft summary
                                 of call regarding same (.70)
12/07/2022     Roitman, Marc     Call with Debtors' counsel regarding case matters (.60)                                       0.60
12/08/2022     Giglio, Cindi      Follow up related to press release (1.50); attend Polly call (.60); call with                4.20
                                  Bondholder Committee's professionals (.20); call with Mayer Brown and
                                  J. Stein (.50); calls with S. Reisman during day (.90); follow up call with
                                  G. King (.50)
12/08/2022     Barnowski, Dan     Bi-weekly call with debtors professionals and company management (.60);                      0.80
                                  weekly call with Bondholder Committee’s Professionals (.20)
12/08/2022     King, Geoff        Attend Project Polly call (.60); review matters regarding minutes (.20);                     3.80
                                  calls with C. Giglio regarding Special Committee matters (.50); revise
                                  Board's unanimous written consent (.30); attend weekly call with
                                  Bondholder Committee's professionals (.20); review press release (.10);
                                  analyze matters regarding Special Committee tasks (.90); review matters
                                  related to mediation motion (.40); attend call with Mayer Brown and J.
                                  Stein (.50); prepare for same (.10)
12/08/2022     Thompson, Grace Attend pre-call for call with Bondholder Committee professionals (.30);                         1.20
                                 attend call with J. Stein and Mayer Brown (.50); draft summary of same
                                 for Katten (.40)
12/08/2022     Miranda, Loredana Attend Project Polly call regarding case updates (.60); draft summary of                      3.20
                                 call (.80); emails with S. Reisman and G. King regarding meeting minutes
                                 (.30); update minutes log (.40); attend call with Bondholder Committee's
                                 professionals (.20); draft summary of call regarding same (.20); prepare
                                 summary of docket entries relevant to Special Committee matters for 12/8
                                 (.70)
12/08/2022     Roitman, Marc     Emails with Mayer Brown regarding mediation order (.30); call with                            1.40
                                 Bondholder Committee professionals regarding case matters (.20); Katten
                                 pre-call in preparation for same (.30); call with Debtors’ professionals
                                 regarding case matters and strategy (.60)
12/08/2022     Siena, Marie       Submit minutes of meetings for execution through DocuSign (.40)                              0.40
12/08/2022     Reisman, Steven    Participate in Project Polly update call regarding case status and ongoing                   1.90
                                  work streams (.60); confer with C. Giglio throughout the day regarding
                                  matters related to ongoing work streams in connection with GWG (.90);
                                  discussions with Katten team regarding ongoing work and negotiations
                                  and discussions with Bondholders Committee professionals (.40)
12/09/2022     Giglio, Cindi      Call with S. Reisman (.40)                                                                   0.40
12/09/2022     King, Geoff        Address governance matters (.80); revise Board's unanimous written                           1.40
                                  consent (.20); call with L. Chiappetta regarding governance matters (.10);
                                  review Special Committee workstreams (.30)
12/09/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.80
                                 for 12/9 (.80)
12/10/2022     Giglio, Cindi      Follow up on Director compensation (.20)                                                     0.20
12/10/2022     King, Geoff        Review materials in connection with outstanding Special Committee                            0.40
                                  minutes (.10); review precedent materials in connection with governance
                                  issues (.30)
12/12/2022     Zobeideh, Alexis   Research and prepare Independent Director compensation data per G.                           2.90
                                  Thompson's instructions (2.90)
12/12/2022     Giglio, Cindi      Attend Polly call (.70)                                                                      0.70
12/12/2022     King, Geoff        Review future governance matters for J. Stein and A. Horton (.40); attend                    1.10
                                  Polly call (.70)


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Date           Timekeeper         Description                                                                            Hours
12/12/2022     Thompson, Grace Attend Project Polly call (.70); draft summary of same for Katten (.40)                        1.10
12/12/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      3.10
                                 for 12/12 (.80); incorporate various comments from Mayer Brown and
                                 Katten on 2004 Notices for L Bond Management, L Bond Committee, and
                                 Ad Hoc Committee of Broker/Dealers (2.10); emails with C. Giglio and S.
                                 Reisman regarding same (.10); call with S. Reisman regarding 2004
                                 Notices (.10)
12/12/2022     Comerford,         Review email from G. Thompson regarding summary update from Mayer                           0.30
               Michael            Brown (.30)
12/12/2022     Siena, Marie       Emails with M. Templeton (J. Stein Assistant) regarding executed minutes                    0.30
                                  of meetings (.30)
12/12/2022     Reisman, Steven    Participate in Project Polly update call with J. Stein and T. Horton (.70);                 0.90
                                  review materials regarding ongoing work streams in connection with
                                  preparation for Project Polly update call (.20)
12/13/2022     Giglio, Cindi      Follow up related to mediation (.50); call with Bondholder Committee’s                      0.80
                                  Professionals and Debtors’ Professionals (.30)
12/13/2022     King, Geoff        Attend Bondholder Committee's Professionals and Debtors' Professionals                      1.40
                                  call (.30); analyze matters regarding Board's unanimous written consent
                                  (.40); review matters in connection with upcoming deliverables for CRO
                                  and Board (.20); review revisions to mediation order (.10); review and
                                  revise multiple versions of mediation order (.40)
12/13/2022     Kirby, Timothy     Review BEN S-4 and related correspondence (1.00)                                            1.00
12/13/2022     Miranda, Loredana Revise 2004 Notices for L Bond Management (.40); email 2004 notices to                       1.30
                                 Mayer Brown and Jackson Walker (.20); attend call with Bondholder
                                 Committee’s Professionals and Debtors’ Professionals (.30); draft
                                 summary of call regarding same (.40)
12/13/2022     Comerford,         Review draft mediation order from Akin (.20)                                                0.20
               Michael
12/13/2022     Roitman, Marc      Call with Debtors’ professionals and Committee professionals (.30)                          0.30
12/13/2022     Reisman, Steven    Update with respect to mediation and review proposed revisions to                           1.10
                                  mediation order (.40); discussions with Bondholder professionals
                                  regarding matters related to restructuring (.30); update calls with
                                  Independent Directors regarding matters related to GWG (.40)
12/14/2022     Giglio, Cindi      Calls and follow up regarding mediation (.70)                                               0.70
12/14/2022     King, Geoff        Call with J. Stein regarding governance matters (.10); call with T. Kirby                   2.80
                                  regarding governance matters (.10); call with T. Horton regarding
                                  governance matters (.10); review and revise draft resolutions (.20); finalize
                                  revisions to mediation order (.30); calls with S. Reisman regarding
                                  mediation order (.40); call with L. Chiappetta regarding mediation order
                                  (.20); call with J. Rubin regarding mediation order (.20); review precedent
                                  mediation orders (.40); call with Jackson Walker and Mayer Brown
                                  regarding mediation order (.50); revise mediation order (.30)
12/14/2022     Hall, Jerry        Email among G. King and others regarding mediation (.30)                                    0.30
12/14/2022     Kirby, Timothy     Correspondence regarding CFO appointment (.90); call with G. King                           1.00
                                  regarding same (.10)
12/14/2022     Miranda, Loredana Finalize 2004 notices for L Bond Committee, L Bond Management and                            2.10
                                 the Ad Hoc Committee of Broker/Dealers (.60): emails with D. Barnowski
                                 regarding same (.20); prepare summary of docket entries relevant to
                                 Special Committee matters for 12/14 (1.30)




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12/14/2022     Reisman, Steven    Review and revise mediation order with comments (.70); discussions with                    1.50
                                  G. King regarding revisions to mediation order (.40); follow up regarding
                                  matters related to mediation, feedback from Mayer Brown and prior
                                  version of proposed mediation order (.40)
12/15/2022     Giglio, Cindi      Review 12/14 and 12/12 minutes (.10); call with G. King regarding same                     0.40
                                  (.30)
12/15/2022     King, Geoff        Calls with J. Stein regarding governance issues (.20); review materials in                 6.00
                                  connection with upcoming Special Committee action items (.20); call with
                                  Mayer Brown regarding governance issues (.20); call with C. Giglio
                                  regarding Special Committee matters (.30); attend project Polly call (.60);
                                  revise draft CFO motion (.70); review and revise declarations (.40);
                                  communications with Katten team regarding motions (.40); review
                                  pleadings in connection with mediation (.50); analyze issues in
                                  connection with revised mediation order (.40); communications with
                                  Mayer Brown and Jackson Walker regarding mediation order (.30);
                                  finalize mediation order (.70); review revisions to mediation order (.10);
                                  further revise mediation order (.30); communications with Jackson Walker
                                  and Mayer Brown regarding mediation order (.30); communications with
                                  Katten team regarding mediation order (.40)
12/15/2022     Thompson, Grace Attend Project Polly call (.60); draft summary of call for Katten (.20)                       0.80
12/15/2022     Kirby, Timothy     Correspondence regarding Board's unanimous written consent (.50)                           0.50
12/15/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     1.40
                                 for 12/15 (1.40)
12/15/2022     Rosella, Michael Review and revise draft motion to appoint interim CFO and supporting                         2.00
                                 declarations (1.20); incorporate G. King comments thereto (.40); emails
                                 with Mayer Brown regarding same (.40)
12/15/2022     Siena, Marie       Emails with Directors regarding DocuSign Unanimous Written Consent in                      0.40
                                  Lieu of Board Meeting (.20); emails with G. Thompson and G. King
                                  regarding same (.20)
12/16/2022     Giglio, Cindi      Emails with J. Hall (.50)                                                                  0.50
12/16/2022     King, Geoff        Review revised version of CFO motions (.20)                                                0.20
12/16/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     0.30
                                 for 12/16 (.30)
12/16/2022     Rosella, Michael Review updated draft of interim CFO motion circulated by Mayer Brown                         0.80
                                 (.50); emails with Katten regarding same (.30)
12/19/2022     Giglio, Cindi      Attend Polly Call (.60)                                                                    0.60
12/19/2022     Barnowski, Dan     Project Polly call (.60)                                                                   0.60
12/19/2022     King, Geoff        Attend Project Polly call (.60); final review of CFO motion prior to filing                1.30
                                  (.70)
12/19/2022     Miranda, Loredana Attend Project Polly call (.60); draft summary of call regarding same (.70);                1.50
                                 review case docket (.10); prepare summary of docket update relevant to
                                 Special Committee matters for 12/19(.10)
12/19/2022     Rosella, Michael Review updated drafts of CRO motion (.30); review emails from Katten,                        0.50
                                 clients, and Mayer Brown regarding same (.20)
12/19/2022     Reisman, Steven    Read materials in preparation for Project Polly call (.70); update regarding               1.90
                                  mediation order and mediation motion (.60); participate in Project Polly
                                  update call (.60)
12/20/2022     Giglio, Cindi      Review Blue Owl Letters (.30); attend Katten and Mayer Brown call                          1.50
                                  (1.20)




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Date           Timekeeper          Description                                                                           Hours
12/20/2022     Barnowski, Dan      Teleconference with Mayer Brown team and Katten team concerning                            3.20
                                   mediation and meet and confer (1.20); teleconference with J. Stein
                                   concerning strategy for meet and confer (.20); follow-up call with Mayer
                                   Brown and Katten teams concerning mediation and meet and confer (.70);
                                   prepare for tomorrow’s meet and confer (1.10)
12/20/2022     King, Geoff         Attend portion of call with Katten and Mayer Brown (1.00)                                  1.00
12/20/2022     Hall, Jerry         Review draft response to Blue Owl demand letter (1.50)                                     1.50
12/20/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.40
                                 for 12/20 (.20); draft agenda for Special Committee meeting (.20)
12/20/2022     Reisman, Steven Participate in portion of call with Mayer Brown regarding status of matters                    0.60
                                 related to GWG (.60)
12/21/2022     Zobeideh, Alexis    Prepare professional fees chart per G. Thompson's instructions (1.60)                      1.60
12/21/2022     Giglio, Cindi       Review comments to Blue Owl fee letter response (.40); attend call with                    1.00
                                   Mayer Brown (.50); review additional Bondholder Committee 2004
                                   requests (.10)
12/21/2022     Barnowski, Dan      Draft additional discovery requests to Bondholders Committee (.60);                        3.40
                                   prepare for meet and confer with Bondholders Committee concerning
                                   2004 requests (.40); meet and confer with Bondholders counsel (.90);
                                   follow-up call with G. King concerning meet and confer (.30); follow-up
                                   call with C. Kelley concerning meet and confer (.20); report on results of
                                   meet and confer to team (.20); teleconference with Mayer Brown and
                                   Katten teams to discuss background (.80)
12/21/2022     King, Geoff         Call with Mayer Brown regarding upcoming case workstreams (.80);                           2.00
                                   attend meet and confer with Akin (.90); call with D. Barnowski regarding
                                   meet and confer (.30)
12/21/2022     Hall, Jerry         Revise response letter to Blue Owl demand letter (.50); email among                        1.00
                                   Katten and Special Committee regarding Blue Owl demand letter (.30);
                                   email among Katten and Mayer Brown regarding Blue Owl demand letter
                                   (.20)
12/21/2022     Miranda, Loredana Attend call with the debtor's professionals (.80); draft summary of call                     1.90
                                 regarding same (.40); prepare summary of docket entries relevant to
                                 Special Committee matters for 12/21 (.70)
12/21/2022     Comerford,          Review Blue Owl response and related issues (.30); email to J. Hall                        1.50
               Michael             regarding same (.10); review draft motion and complaint from LBC (.60);
                                   outline issues in connection with next steps (.40)
12/21/2022     Roitman, Marc       Attend call with Mayer Brown call (partial) regarding case matters (.60)                   0.60
12/21/2022     Reisman, Steven     Update regarding matters related to L Bond Committee 2004 requests                         1.40
                                   (.30); update regarding matters related to Mayer Brown and ongoing work
                                   by Mayer Brown to avoid duplication (.30); follow up regarding response
                                   to Blue Owl demand letter, review materials and ongoing documentation
                                   related to same (.80)
12/22/2022     Giglio, Cindi       Attend Project Polly call (.40); attention to Blue Owl response (.50)                      0.90
12/22/2022     Barnowski, Dan      Attend portion of Project Polly Call (.30)                                                 0.30
12/22/2022     King, Geoff         Attend portion of Project Polly call (.30)                                                 0.30
12/22/2022     Kitnick, Jesse      Conduct legal research regarding declaratory judgment in connection with                   3.70
                                   Blue Owl (3.70)




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Invoice #:          9020144200                                                                              August 15, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                            Hours
12/22/2022     Hall, Jerry        Calls with M. Comerford regarding Blue Owl demand letter (1.10); review                     3.20
                                  research regarding declaratory judgment (1.00); email among M.
                                  Comerford and others regarding Blue Owl demand letter (.20); email
                                  among L. Kweskin and others regarding Blue Owl demand letter (.30);
                                  email with L. Freeman regarding mediation matters (.30); email among D.
                                  Barnowski and others regarding case status (.30)
12/22/2022     Miranda, Loredana Attend Project Polly call (.40); draft summary of call regarding same (.60);                 1.70
                                 prepare summary of docket entries relevant to Special Committee matters
                                 for 12/22 (.70)
12/22/2022     Comerford,         Calls with J. Hall regarding Blue Owl issues (1.10); review                                 2.30
               Michael            correspondence from J. Hall in connection with same (.20); review email
                                  from J. Kitnick regarding research issue for Blue Owl (.20); review related
                                  case research (.80)
12/22/2022     Reisman, Steven    Review materials regarding demand by Blue Owl for break up fee and                          2.40
                                  letter related to same (.60); discussions and follow up regarding response
                                  letter regarding Blue Owl and plan of action (1.80)
12/23/2022     Giglio, Cindi      Attend workstream status update call with Katten team (.30)                                 0.30
12/23/2022     Barnowski, Dan     Attend workstream status update call with Katten team (.30)                                 0.30
12/23/2022     King, Geoff        Attend a portion of Katten team call (.20)                                                  0.20
12/23/2022     Thompson, Grace Attend workstream status update call with Katten team (.30)                                    0.30
12/23/2022     Hall, Jerry        Call with M. Comerford regarding Blue owl demand letter (.60); review                       2.10
                                  additional research regarding Blue Owl demand letter (1.50)
12/23/2022     Miranda, Loredana Attend Katten call regarding case status update (.30); coordinate attorney                   1.40
                                 document review of Ben production (.80); prepare summary of docket
                                 entries relevant to Special Committee matters for 12/23 (.30)
12/23/2022     Comerford,         Review Blue Owl related research regarding alternative fee issues (1.60);                   2.20
               Michael            call with J. Hall regarding Blue Owl Demand Letter (.60)
12/27/2022     Giglio, Cindi      Attend Katten team status call (.40); attention to compensation issues                      2.10
                                  (.50); review Special Committee agenda (.20); prepare for Special
                                  Committee call (.20); attend Special Committee call (.50); call with G.
                                  King regarding Special Committee matters (.30)
12/27/2022     Barnowski, Dan     Katten pre-call to prepare for Special Committee meeting (.50); attend                      1.70
                                  Special Committee meeting (.50); prepare for meet and confer with ad hoc
                                  committee (.30); meet and confer with Ad Hoc Committee over Rule 2004
                                  requests (.40)
12/27/2022     King, Geoff        Call with J. Stein regarding Special Committee matters (.30); analyze                       3.40
                                  issues in connection with upcoming Special Committee deliverables (.50);
                                  review matters regarding blue owl response (.40); prepare for Special
                                  Committee call (.50); attend Katten pre-call (.50); attend Special
                                  Committee meeting (.50); call with C. Giglio regarding Special Committee
                                  matters (.30); attend Katten team call (.40)
12/27/2022     Thompson, Grace Attend pre-call for Special Committee meeting (.50)                                            0.50
12/27/2022     Hall, Jerry        Attend Katten pre-call regarding upcoming call with Special Committee                       1.90
                                  (.50); call among Katten and Special Committee regarding case status
                                  (.50); call with M. Comerford regarding Blue Owl demand letter (.70);
                                  email among M. Comerford and others regarding true sale matters (.20)




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Date           Timekeeper         Description                                                                         Hours
12/27/2022     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   3.50
                                 for 12/27 (.60); attend Katten pre call (.50); attend call with the Special
                                 Committee (.50); draft agenda regarding same (.30); revise same with
                                 comments from C. Giglio (.20); review Independent Director
                                 compensation (.20); prepare summary of director's compensation (.30);
                                 draft meeting minutes of Special Committee meeting (.90)
12/27/2022     Comerford,         Attend Katten call regarding status of open issues for GWG (.40); review                 2.90
               Michael            Blue Owl related issues (1.30); call with J. Hall regarding same (.70);
                                  review research from J. Kitnick regarding Blue Owl issues (.50)
12/28/2022     Giglio, Cindi      Call with L. Chiappetta and G. King (.20); call with J. Stein and G. King                2.20
                                  regarding Special Committee matters (.20); analyze and follow-up on
                                  compensation issues (1.50); review D&O notice (.30)
12/28/2022     Barnowski, Dan     Meet and confer with L Bond Management concerning discovery requests                     0.50
                                  (.50)
12/28/2022     King, Geoff        Call with L. Chiappetta and C. Giglio (.20); call with J. Stein and C.                   1.40
                                  Giglio regarding Special Committee matters (.20); review materials in
                                  connection with upcoming compensation matters (.50); emails with Katten
                                  team regarding upcoming compensation matters (.20); call with P.
                                  Nemecek regarding insurance matters (.30)
12/28/2022     Reisman, Steven    Numerous discussions with J. Stein related to Special Committee matters                  1.40
                                  (.90); follow up regarding issues of focus for Special Committee per J.
                                  Stein and T. Horton's requests (.50)
12/29/2022     Giglio, Cindi      Call with Mayer Brown (.40); revisions to to motion, declarations and                    7.10
                                  deck (5.90); calls with G. King regarding Special Committee matters (.60);
                                  call with L. Miranda regarding same (.20)
12/29/2022     King, Geoff        Calls with C. Giglio regarding Special Committee matters (.60); call with                2.50
                                  T. Horton regarding Special Committee matters (.40); call with J. Stein
                                  (.10); call with Mayer Brown regarding upcoming compensation matters
                                  (.40); prepare email to Special Committee regarding compensation matters
                                  (.20); review draft motion (.80)
12/29/2022     Kitnick, Jesse     Conduct legal research in connection with Blue Owl (3.80); conduct                       6.40
                                  follow-up research regarding declaratory judgment actions (2.60)
12/29/2022     Hall, Jerry        Email among M. Comerford and others regarding Blue Owl demand letter                     1.70
                                  (.20); review additional research regarding declaratory judgment actions
                                  (1.50)
12/29/2022     Miranda, Loredana Review and revise draft compensation motions with comments by C.                          9.50
                                 Giglio and G. King (.70); revise draft declarations regarding compensation
                                 matters with comments by C. Giglio and G. King, and S. Reisman (.90);
                                 revise amendment to independent director agreements with comments by
                                 C. Giglio and G. King (.40); draft materials regarding compensation
                                 matters (4.90); call with C. Giglio regarding same (.20); various emails
                                 with G. King and C. Giglio regarding same (.40); revise materials
                                 regarding same with comments by C. Giglio (.90); emails with A.
                                 Zobeideh regarding research of executive and director compensation (.70);
                                 prepare summary of docket entries relevant to Special Committee matters
                                 for 12/29 (.40)
12/29/2022     Comerford,        Review research from J. Kitnick regarding declaratory judgment related                    5.30
               Michael           issues (1.10); review related case law for same declaratory judgment
                                 related issues (1.90); follow-up with J. Kitnick regarding open issues for
                                 research (.70); review research in connection with other declaratory
                                 judgment issues from J. Kitnick (1.60)
12/29/2022     Rosella, Michael Respond to questions from Katten regarding comparative compensation                        0.50
                                 research (.50)



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Date           Timekeeper         Description                                                                          Hours
12/29/2022     Reisman, Steven    Attend to matters regarding modifications to compensation arrangements                    2.90
                                  and discussions with Katten attorneys related to amendment to
                                  Independent Director agreements (1.30); review presentation in connection
                                  with changes to compensation procedures (.60); follow up regarding
                                  matters related to Blue Owl demand letter and issues with respect to
                                  response to same (.60); confer with T. Horton and J. Stein throughout the
                                  day regarding compensation related matters (.40)
12/30/2022     Giglio, Cindi      Katten call regarding case status (.30); follow up related to compensation                1.20
                                  (.50); edits to compensation motion (.40)
12/30/2022     Barnowski, Dan     Katten team call concerning status (.30)                                                  0.30
12/30/2022     King, Geoff        Call with C. Harvick regarding compensation matters (.20); review draft                   0.90
                                  declarations (.40); review materials in connection with compensation
                                  matters (.30)
12/30/2022     Hall, Jerry        Katten team call regarding case status (.30)                                              0.30
12/30/2022     Miranda, Loredana Review and revise draft compensation motions with comments by C.                           4.30
                                 Giglio and G. King (.60); revise declarations with comments by G. King
                                 (.50); revise materials regarding compensation issues with comments by
                                 C. Giglio (2.30); review Board documents regarding same (.40); attend
                                 Katten call regarding case status (.30); prepare summary of docket entries
                                 relevant to Special Committee for 12/30 (.20)
12/30/2022     Roitman, Marc     Katten call regarding case matters (.30)                                                   0.30
12/31/2022     Miranda, Loredana Research compensation agreements (1.10); revise compensation materials                     1.30
                                 with same (.20)
                                                                                           Total Hours :               197.90




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Invoice Due Date:    Payable Upon Receipt


TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                        16.00            1,585.00              25,360.00
Giglio, Cindi                                          28.50            1,350.00              38,475.00
Hall, Jerry                                            13.10            1,285.00              16,833.50
Comerford, Michael                                     14.70            1,180.00              17,346.00
King, Geoff                                            34.90            1,145.00              39,960.50
Roitman, Marc                                           5.30            1,145.00               6,068.50
Barnowski, Dan                                         12.70            1,125.00              14,287.50
Kirby, Timothy                                          2.50            1,035.00               2,587.50
Thompson, Grace                                         5.50              800.00               4,400.00
Rosella, Michael                                        3.80              800.00               3,040.00
Kitnick, Jesse                                         10.10              660.00               6,666.00
Miranda, Loredana                                      45.20              580.00              26,216.00
Zobeideh, Alexis                                        4.50              580.00               2,610.00
Siena, Marie                                            1.10              380.00                 418.00

                                      Sub Total :     197.90   Sub Total :                   204,268.50
                                      Total Hours :   197.90   Total Fees             204,268.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 15, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Case Administration

For Professional Services Rendered Through December 31, 2022



Fees Total.............................................................................................................................................................                   5,639.00
Total Amount Due ..............................................................................................................................................                           5,639.00       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00011
Invoice #:          9020144188                                                                              August 15, 2023
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RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
12/01/2022     Thompson, Grace Correspondence with Katten and Province regarding Province fee                                 0.20
                               statement (.20)
12/06/2022     King, Geoff        Attend to matters related to Province fee applications (.10); review notice                 0.20
                                  of rate increase (.10)
12/06/2022     Miranda, Loredana Review case calendar (.10)                                                                   0.10
12/08/2022     King, Geoff        Review Province fee application (.80)                                                       0.80
12/08/2022     Siena, Marie       File Pro Hac Vice Applications for E. Werlinger and A. Pecoraro on the                      0.40
                                  court's docket (.40)
12/09/2022     King, Geoff        Review Province fee application (.90); review matters per FTI request                       1.90
                                  (1.00)
12/12/2022     King, Geoff        Final review of Province fee statement (.40)                                                0.40
12/13/2022     Siena, Marie       File Province monthly fee statement on the court's docket (.20); emails                     0.40
                                  with noticing agent regarding service of same (.20)
12/13/2022     Reisman, Steven    Review BEN S-4 (.60); follow up email with T. Kirby (.10)                                   0.70
12/20/2022     King, Geoff        Call with C. Harvick regarding budget issues (.20)                                          0.20
                                                                                            Total Hours :                     5.30




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Matter:             397894.00011
Invoice #:          9020144188                                                     August 15, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        0.70            1,585.00               1,109.50
King, Geoff                                            3.50            1,145.00               4,007.50
Thompson, Grace                                        0.20              800.00                 160.00
Miranda, Loredana                                      0.10              580.00                  58.00
Siena, Marie                                           0.80              380.00                 304.00

                                     Sub Total :       5.30   Sub Total :                     5,639.00
                                     Total Hours :     5.30   Total Fees               5,639.00   USD




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August 15, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through December 31, 2022



Fees Total.............................................................................................................................................................                 61,145.50
Total Amount Due ..............................................................................................................................................                         61,145.50        USD




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Matter:             397894.00019
Invoice #:          9020144189                                                                                August 15, 2023
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RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                              Hours
12/01/2022     Giglio, Cindi      Prepare for hearing (2.50); attend hearing regarding VIDA DIP (3.10)                          5.60
12/01/2022     Barnowski, Dan     Attend court hearings regarding VIDA DIP (3.10)                                               3.10
12/01/2022     King, Geoff        Prepare for upcoming court hearing (2.70); call with S. Reisman regarding                     5.90
                                  upcoming hearing (.10); attend Bankruptcy Court Hearing regarding
                                  VIDA DIP (3.10)
12/01/2022     Thompson, Grace Attend and take notes at hearing on Vida DIP, DLP settlement, and                                3.10
                                 exclusivity (3.10)
12/01/2022     Hall, Jerry       Attend bankruptcy court hearing (3.10); email among Katten, Mayer                              3.70
                                 Brown and others regarding hearing matters (.60)
12/01/2022     Miranda, Loredana Emails with T. Horton regarding bankruptcy hearing (.30)                                       0.30
12/01/2022     Comerford,         Attend hearing telephonically regarding DLP settlement and VIDA DIP                           3.10
               Michael            issues (3.10)
12/01/2022     Roitman, Marc      Attend Bankruptcy Court hearing (3.10); further meetings at Mayer Brown                       7.60
                                  in preparation for Bankruptcy Court hearing (3.50); follow up discussions
                                  with Katten and Mayer Brown after hearing regarding case matters and
                                  strategy (1.00)
12/01/2022     Reisman, Steven    Review materials in preparation for Vida DIP hearing and attend to                            5.80
                                  matters related to same (2.60); participate in discussions with G. King
                                  regarding preparation for upcoming hearing (.10); attend hearing at US
                                  Bankruptcy Court Southern District of TX regarding Vida DIP financing
                                  and matters related to same (3.10)
12/02/2022     Barnowski, Dan     Attend to issues concerning hearing and next steps (.30)                                      0.30
12/06/2022     Miranda, Loredana Emails with M. Siena regarding Bankruptcy Court hearing (.20)                                  0.20
12/06/2022     Siena, Marie       Review agenda for 12/16/22 hearing (.20)                                                      0.20
12/07/2022     King, Geoff        Call with Mayer Brown regarding upcoming hearing (.60)                                        0.60
12/15/2022     King, Geoff        Prepare materials in connection with upcoming hearing (.50); prepare for                      0.90
                                  hearing (.40)
12/16/2022     Giglio, Cindi      Work on script for today's hearing (1.00); attend to calls to prepare for                     2.00
                                  hearing (.80); work with S. Reisman on same (.20)
12/16/2022     Barnowski, Dan     Analyze results of Bankruptcy Court Hearing (.50)                                             0.50
12/16/2022     King, Geoff        Attend Katten pre-call (.30); call with Mayer Brown, Jackson Walker and                       2.40
                                  Katten regarding upcoming hearing (.50); attend mediation order hearing
                                  (1.50); call with T. Horton regarding hearing (.10)
12/16/2022     Miranda, Loredana Attend bankruptcy hearing regarding mediation motion (1.50)                                    1.50
12/16/2022     Roitman, Marc      Call with Katten team regarding preparation for hearing (.30); call with                      0.80
                                  CRO and Debtors' professionals regarding same (.50)
12/16/2022     Reisman, Steven    Prepare for today's hearing regarding Mediation Motion, including                             2.70
                                  reviewing and providing comments on script (1.20); attend hearing (1.50)
12/22/2022     Miranda, Loredana Email C. Herrera (Mayer Brown) regarding hearing transcript (.10)                              0.10
                                                                                             Total Hours :                  50.40




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TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                         8.50            1,585.00              13,472.50
Giglio, Cindi                                           7.60            1,350.00              10,260.00
Hall, Jerry                                             3.70            1,285.00               4,754.50
Comerford, Michael                                      3.10            1,180.00               3,658.00
King, Geoff                                             9.80            1,145.00              11,221.00
Roitman, Marc                                           8.40            1,145.00               9,618.00
Barnowski, Dan                                          3.90            1,125.00               4,387.50
Thompson, Grace                                         3.10              800.00               2,480.00
Miranda, Loredana                                       2.10              580.00               1,218.00
Siena, Marie                                            0.20              380.00                  76.00

                                      Sub Total :      50.40   Sub Total :                    61,145.50
                                      Total Hours :    50.40   Total Fees              61,145.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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August 15, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Investigation

For Professional Services Rendered Through December 31, 2022



Fees Total............................................................................................................................................................. 1,071,929.50
Total Amount Due ..............................................................................................................................................1,071,929.50                              USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                              Hours
12/01/2022     Chase, Ashley      Conduct document review of newly produced documents (2.30)                                    2.30
12/01/2022     Pecoraro, Andrew Review emails and documents regarding GWG auditor resignations (1.60)                           1.60
12/01/2022     Zobeideh, Alexis   Research fiduciary duty legal standard per G. Thompson instructions                           1.00
                                  (1.00)
12/01/2022     Barnowski, Dan     Communications with Ben counsel and Bondholders Committee counsel                             2.70
                                  concerning meeting between Ben and Bondholders Committee (.30);
                                  assessment of potential claims against Ben and Heppner (2.40)
12/01/2022     Werlinger, Eric    Prepare for forthcoming depositions of auditors (1.30)                                        1.30
12/01/2022     King, Geoff        Call with D. Moses regarding investigation issues (.40); review materials                     0.80
                                  in connection with ongoing investigation issues (.40)
12/01/2022     Thompson, Grace Continue drafting investigation presentation (background section) (1.00);                        1.60
                               review research from A. Zobeideh on legal standards (.40);
                               correspondence with A. Pecoraro regarding sections of presentation (.20)
12/01/2022     Brooks-Patton,  Continue to review and work with new and additional Ben documents                                3.80
               Janice          reviewing for accuracy and completeness (3.70); email L. Miranda
                               regarding same (.10)
12/01/2022     Hall, Jerry     Email among E. Werlinger and others regarding auditor depositions (.30)                          0.30
12/01/2022     Kirby, Timothy     Review and provide comments to 8-K regarding officers/directors                               2.00
                                  resignations (.80); correspondence with Jackson Walker regarding same
                                  (.40); review resignation letters (.80)
12/01/2022     Miranda, Loredana Review documents produced by the Debtors (1.10); draft summary of                              2.30
                                 relevant documents in document review (1.20)
12/01/2022     Comerford,         Review DLP issues regarding investigation (.40)                                               0.40
               Michael
12/01/2022     Rosella, Michael   Respond to questions from M. Comerford regarding DLP issues (.50);                            1.00
                                  review news coverage regarding the Court's approval of the DLP
                                  settlements (.50)
12/01/2022     Roitman, Marc      Analyze potential estate claims and causes of action, including analysis of                   1.90
                                  documents produced in connection with investigation into prepetition
                                  transactions, in preparation for meeting with Province (1.90)
12/02/2022     Chase, Ashley      Attend part of Katten call regarding Investigation (1.20); read summary of                    1.80
                                  Heppner interview from G. Thompson (.40); read letter regarding
                                  Investigation from M. Holland (.20)
12/02/2022     Pecoraro, Andrew Call with Katten regarding investigation (1.50); review and outline slides                      3.40
                                for report (.70); call with D. Barnowski regarding auditor depositions
                                (.20); review and analyze documents regarding GWG audits (1.00)
12/02/2022     Giglio, Cindi      Attend portion of Katten team call (1.00); participate in portion of call                     3.00
                                  with Province (2.00)
12/02/2022     Barnowski, Dan     Teleconference with G. King concerning next steps (.30); attend portion of                    6.00
                                  Katten team call concerning work streams (1.10); meeting with Province
                                  and Katten teams to analyze potential claims (3.20); revise memo
                                  analyzing potential claims and damages (.60); analysis of GWG Board
                                  meeting materials (.30); teleconference with A. Pecoraro concerning
                                  auditor depositions (.20); analysis of memo concerning transaction terms
                                  (.30)




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Date           Timekeeper         Description                                                                             Hours
12/02/2022     Werlinger, Eric    Phone call with counsel to third party to discuss forthcoming deposition                     3.10
                                  (.70); prepare for forthcoming depositions of third parties (.90); participate
                                  in call with Katten team regarding investigation work streams (1.50)
12/02/2022     King, Geoff        Call with D. Barnowski regarding investigation issues (.30); attend a                        4.10
                                  portion of Katten investigation call (1.20); review materials related to
                                  investigation issues (.60); attend part of call with Province regarding
                                  investigation (2.00)
12/02/2022     Thompson, Grace Attend investigation team call (1.50); attend call with Katten and Province                     8.20
                                 regarding analysis of claims and causes of action (3.20); call with L.
                                 Miranda regarding presentation work (.20); continue drafting presentation
                                 (.70); correspondence with J. Kitnick regarding legal standard appendix
                                 for presentation (.50); update memo on Fourth Special Committee
                                 regarding investigation and Board actions (2.10)
12/02/2022     Hall, Jerry       Attend Katten team call regarding investigation (1.50); call among Katten                     6.10
                                 and Province regarding investigation and detailed analysis of claims and
                                 damages (3.20); review letter from M. Holland regarding 2021 director
                                 resignations (.50); review documents regarding M. Holland 2021 director
                                 resignation letter (.50); review analysis of use of proceeds (GWG-Ben
                                 transactions) (.20); email among K. Peguero and others regarding T. Evans
                                 employment matters (.20)
12/02/2022     Miranda, Loredana Attend portion of Katten call regarding investigation (1.20); review                          4.20
                                 agreements between BEN and GWG (2.20); draft chart of the use of
                                 proceeds provisions regarding same (.60); call with G. Thompson
                                 regarding presentation (.20)
12/02/2022     Comerford,         Attend Katten call regarding investigation issues and updates regarding                      1.50
               Michael            same (1.50)
12/02/2022     Roitman, Marc      Call with Katten regarding Investigation matters and workstreams (1.50);                     7.30
                                  Katten and Province call regarding detailed analysis of claims and causes
                                  of action (3.20); continue review and analysis of documents produced in
                                  connection with investigation into prepetition transactions (1.40); review
                                  legal research and analysis related to claims and causes of action (1.20)
12/02/2022     Reisman, Steven    Participate in a portion of Katten team call regarding update on                             4.00
                                  investigation and discussion with D. Barnowski, G. King and other Katten
                                  attorneys related to investigation issues (1.20); review materials in
                                  preparation for call with Katten team (.40); participate in update call with
                                  Province regarding investigation (.80); discussions regarding ongoing
                                  work streams, research and potential causes of action related to
                                  investigation (.70); review letter from M. Holland regarding investigation
                                  (.30); follow up with Independent Directors and discussions with T.
                                  Horton and J. Stein regarding matters related to same (.60)
12/03/2022     Barnowski, Dan     Communications with Ben counsel concerning additional information                            0.40
                                  requests (.40)
12/03/2022     Thompson, Grace Continue updating Fourth Special Committee memo regarding                                       3.80
                               investigation process and Board actions (3.80)
12/03/2022     Hall, Jerry     Revise Fourth Special Committee memo (2.30)                                                     2.30
12/03/2022     Reisman, Steven    Review materials for Investigations Committee and review draft of memo                       0.80
                                  regarding activities of Fourth Special Committee (.80)
12/04/2022     Barnowski, Dan     Communications with Bondholders Committee about discovery efforts                            0.20
                                  (.20)
12/04/2022     Thompson, Grace Update factual findings section of Fourth Special Committee memo with                           3.80
                               new diligence (2.90); revise memo per comments from J. Hall (.50); draft
                               Investigations Committee materials (.40)



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Date           Timekeeper         Description                                                                            Hours
12/04/2022     Hall, Jerry        Revise Fourth Special Committee memo (1.90)                                                 1.90
12/04/2022     Reisman, Steven    Review materials in preparation for Investigations Committee meeting and                    0.80
                                  follow up regarding preparation for same (.80)
12/05/2022     Chase, Ashley      Read emails between L. Miranda and Relativity vendor regarding                              7.20
                                  document productions (.60); conduct research regarding common law
                                  fraud (4.90); summarize research for Katten (1.70)
12/05/2022     Giglio, Cindi      Review Investigations Committee agenda (.20); review materials                              1.70
                                  regarding same (.30); attend Katten and Province pre-call (.80); call with
                                  Investigations Committee (.40)
12/05/2022     Barnowski, Dan     Revise materials for Investigations Committee meeting (.40); follow-up on                   7.40
                                  request for information from Bondholders Committee (.20); Katten and
                                  Province pre-call (.80); call with Investigations Committee (.40); prepare
                                  for B. Heppner deposition (2.90); revise memo on potential claims (1.80);
                                  review L Bond Management production (.90)
12/05/2022     Werlinger, Eric    Multiple phone calls with counsel for third parties regarding forthcoming                   1.50
                                  depositions and document productions (.90); discuss with Katten regarding
                                  issues related to document productions and depositions (.60)
12/05/2022     King, Geoff        Call with S. Reisman regarding investigation issues (.10); analyze matters                  3.70
                                  in connection with ongoing investigation workstreams (.40); Pre-call with
                                  Katten and Province regarding investigation matters (.80); attend
                                  Investigations Committee call (.40); emails with C. Giglio regarding
                                  investigation matters (.20); prepare Investigations Committee agenda
                                  (.10); prepare for Investigations Committee (.20); review L Bond materials
                                  (.40); review investigation materials (.60); prepare summary regarding L
                                  Bond management summary (.50)
12/05/2022     Thompson, Grace Attend pre-call for Investigations Committee call (.80); attend                            11.50
                                 Investigations Committee meeting (.40); revise materials for same (.10);
                                 revise Fourth Special Committee memo per comments from J. Hall (.30);
                                 continue drafting background of investigation presentation (3.90); revise
                                 background section of presentation (2.60); continue drafting background
                                 section of presentation (3.10); call with L. Miranda regarding investigation
                                 presentation (.30)
12/05/2022     Kitnick, Jesse    Draft appendix slides regarding legal standards for investigation                            3.60
                                 presentation and conduct related legal research (3.60)
12/05/2022     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); revise agenda                       5.20
                                 with comments from G. King (.20); review documents for investigation
                                 presentation (1.70); draft Board section of investigation presentation
                                 (1.20); draft L Bonds section of investigation presentation (1.60);
                                 conference with G. Thompson regarding same (.30)
12/05/2022     Rosella, Michael Prepare section of investigation presentation related to DLP investigation                    1.60
                                 and settlements (1.00); emails with Katten regarding same (.20); review
                                 prior research regarding GWG directors' fiduciary duties in connection
                                 with investigation (.40)
12/05/2022     Roitman, Marc     Investigations Committee meeting (.40); Katten and Province call in                          2.10
                                 preparation for same (.80); review materials in preparation for same (.30);
                                 review and comment upon revised outline of Investigation presentation
                                 (.60)
12/05/2022     Reisman, Steven    Review materials regarding investigation in preparation for call with G.                    2.80
                                  King (.80); participate in call with G. King regarding investigation status
                                  (.10); follow up with C. Giglio regarding matters related to investigation
                                  matters (.60); continue work on matters related to investigation (1.30)
12/06/2022     Chase, Ashley      Call with J. Hall regarding fraud research (.80); Katten call regarding                     5.50
                                  Investigation (1.40); draft new 2004 requests (3.30)


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Date           Timekeeper         Description                                                                           Hours
12/06/2022     Pecoraro, Andrew Call with Katten regarding investigation (1.40); call with G. Thompson                       3.60
                                regarding presentation slides (.30); meet with E. Werlinger regarding
                                auditor depositions (.20); review and analyze documents regarding auditor
                                depositions (.90); draft slides for presentation to Independent Directors
                                regarding L Bonds and SEC investigation (.80)
12/06/2022     Giglio, Cindi      Attend call regarding investigation (1.40); review minutes (.20)                           1.60
12/06/2022     Barnowski, Dan     Analyze research into elements pertinent to fraud claim (.50); attend                      6.10
                                  portion of Katten team call to discuss investigation (1.10);
                                  communications with bondholders committee concerning depositions
                                  (.30); teleconference with Ben counsel concerning meet and confer over
                                  documents (.70); preparation for B. Heppner deposition (2.10); analyze
                                  potential claims to be pursued (1.40)
12/06/2022     Werlinger, Eric    Participate in call with Katten regarding investigation update (1.40); email               1.70
                                  with counsel for third party witness regarding document production (.10);
                                  meet with A. Pecoraro regarding auditor depositions (.20)
12/06/2022     King, Geoff        Attend a portion of investigation update call (1.10); revise 2004 draft                    2.10
                                  (.30); review LBM materials (.40); prepare update of LBM issue summary
                                  (.30)
12/06/2022     Thompson, Grace Draft minutes from Investigations Committee meeting (.30); continue                           7.30
                               drafting background section of presentation (1.20); call with A. Pecoraro
                               regarding presentation (.30); review and summarize diligence from L bond
                               management (.50); attend investigation team call (1.40); revise
                               background section of presentation (1.50); draft shell of analysis section of
                               presentation (2.10)
12/06/2022     Kitnick, Jesse  Continue to draft appendix slides for investigation presentation (2.70)                       2.70
12/06/2022     Hall, Jerry        Review research regarding fraud (1.50); call with A. Chase regarding                       7.40
                                  fraud matters (.80); call with Katten regarding investigation (1.40); revise
                                  investigation presentation (3.50); email among G. Thompson and M.
                                  Roitman regarding investigation presentation (.20)
12/06/2022     Miranda, Loredana Revise Board section of investigation presentation (.70); emails with G.                    2.50
                                 Thompson regarding same (.20); revise minutes from Investigations
                                 Committee meeting with comments by G. King and C. Giglio (.20); attend
                                 call with Katten team regarding investigation update (1.40)
12/06/2022     Roitman, Marc     Katten call regarding investigation (1.40); review of initial draft                         3.10
                                 preliminary report on investigation into potential claims and causes of
                                 actions arising from certain prepetition transactions (1.70)
12/06/2022     Rosella, Michael Attend call with Katten regarding status of investigation (1.40); review A.                  3.00
                                 Percoraro memorandum on exculpation of fiduciary duties (.80); prepare
                                 portions of investigation presentation on same (.80)
12/06/2022     Reisman, Steven    Participate in Katten investigation update call (1.40); analyze issues                     2.40
                                  regarding same (1.00)
12/07/2022     Chase, Ashley      Implement D. Barnowski comments to 2004 requests (.70); implement G.                       4.60
                                  King comments to 2004 requests (.50); message with J. Hall regarding
                                  investigation presentation (.30); conduct document review in connection
                                  with investigation presentation (2.20); summarize document review for D.
                                  Barnowski (.90)
12/07/2022     Pecoraro, Andrew Draft slides for presentation to Investigations Committee regarding L                        6.40
                                Bonds, SEC Investigation, and Auditor Resigations (3.50); review and
                                analyze documents regarding Whitley Penn (.80); review and analyze
                                documents regarding Grant Thornton resignation (1.50); coordinate
                                upcoming depositions of Whitley Penn and Grant Thornton (.60)
12/07/2022     Giglio, Cindi      Attend portion of Katten call regarding investigations claims (2.20)                       2.20


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Date           Timekeeper          Description                                                                          Hours
12/07/2022     Barnowski, Dan      Teleconference with Katten team to work on detailed analysis of potential                 7.10
                                   claims and causes of action (4.40); prep for B. Heppner deposition (.70);
                                   communications with Ben counsel concerning 2004 requests (.30); revise
                                   2004 notices to AHG and LBM (.50); teleconference with Willkie about
                                   depositions (.20); teleconference with Province team concerning
                                   investigation (1.00)
12/07/2022     Werlinger, Eric     Assist with scheduling depositions (.40); phone call with counsel for third               1.10
                                   party regarding deposition logistics and document production (.30);
                                   prepare for deposition of third party (.40)
12/07/2022     King, Geoff         Partial attendance of call with Katten team regarding investigation (2.40);               4.20
                                   call with Province regarding investigation (1.00); review draft 2004
                                   requests (.60); emails with Katten team regarding investigation issues (.20)
12/07/2022     Thompson, Grace Call with Katten investigations team regarding claims and causes of action                13.70
                                 (4.40); call with L. Miranda regarding same (.40); call with Province
                                 regarding outstanding workstreams (1.00); continue drafting shell of
                                 analysis section of presentation (1.50); correspondence with J. Kitnick, M.
                                 Rosella, and L. Miranda regarding inserts for presentation (.30); begin
                                 drafting fiduciary duties analysis for presentation (3.10); call with J. Hall
                                 regarding presentation (.70); correspondence with L. Miranda regarding
                                 presentation (.20); continue drafting fiduciary duties analysis for
                                 presentation (2.10)
12/07/2022     Kitnick, Jesse    Draft appendix slices for investigation presentation (1.30); conduct legal                  3.30
                                 research regarding section 550 of the bankruptcy code (2.00)
12/07/2022     Hall, Jerry       Call with investigation team regarding investigation presentation and                       7.60
                                 claims analysis (4.40); call among Katten and Province regarding claim
                                 analysis and related damages matters (1.00); call with G. Thompson
                                 regarding investigation presentation (.70); revise investigation presentation
                                 (1.50)
12/07/2022     Miranda, Loredana Draft Board section of investigations presentations (.30); emails with G.                   4.80
                                 Thompson regarding same (.10); call with G. Thompson regarding
                                 investigations presentation (.40); emails with relativity regarding new
                                 search of documents (.30); review documents regarding 2019 director
                                 resignations (2.60); draft summary of hot documents (.60); emails with A.
                                 Chase regarding same (.10) review claims of creditors (.20); emails with
                                 G. King regarding creditors attending depositions (.20)
12/07/2022     Roitman, Marc     Call with Katten regarding detailed analysis of potential claims and causes                 7.70
                                 of action (4.40); call with Province regarding financial analyses relevant to
                                 same (1.00); further review of revised draft of preliminary report on
                                 investigation into potential claims and causes of actions arising from
                                 certain prepetition transactions (1.40); continue review and analysis of
                                 documents produced in connection with investigation into prepetition
                                 transactions (.90)
12/07/2022     Rosella, Michael Reivew SEC filings and deal documents from various prepetition                               2.70
                                 transactions being investigated (1.50); prepare slides for investigation
                                 presentations related to prepetition transactions (1.20)




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Date           Timekeeper         Description                                                                           Hours
12/07/2022     Reisman, Steven    Participate in portion of Katten team call regarding investigation                         5.60
                                  presentation, damages, claims analysis and follow up regarding
                                  investigation presentation to Independent Directors (3.60); review
                                  materials in connection with preparation for meeting and call and note
                                  comments to investigation materials (.70); discussions with clients
                                  regarding status of investigation and ongoing work streams (.30); confer
                                  with Mayer Brown regarding preparation for upcoming hearing and
                                  possible need for disclosures related to investigation (.30); continued work
                                  on presentation and review emails and follow up regarding feedback and
                                  edits to presentation for client (.70)
12/08/2022     Chase, Ashley      Email among Katten regarding 2004 depositions (.20); call with L.                          6.20
                                  Miranda regarding investigation presentation (.50); call with D. Barnowski
                                  regarding 2019 resignations (.10); Katten call regarding investigation
                                  presentation (.90); call with J. Hall regarding investigation presentation
                                  (1.00); revise draft 2004 notices (1.10); review draft investigation
                                  presentation regarding applicable law (.60); review deposition testimony
                                  in connection with drafting investigation presentation (1.80)
12/08/2022     Pecoraro, Andrew Review and analyze documents regarding Grant Thornton deposition                             5.70
                                (2.70); draft summary of hot documents regarding same (.40); coordinate
                                deposition details for upcoming depositions of Grant Thornton, Whitley
                                Penn, and B. Heppner (.60); draft outline for depositions of Whitley Penn
                                and Grant Thornton (2.00)
12/08/2022     Giglio, Cindi      Call with J. Hall regarding investigation and likelihood of success (1.40);                2.30
                                  Katten call regarding investigation presentation (.90)
12/08/2022     Barnowski, Dan     Teleconference with J. Stein and Katten concerning discovery issues (.40);                 5.60
                                  teleconference with L. Chiapetta concerning discovery (.20); preparation
                                  for B. Heppner deposition (.60); call with J. Hall regarding investigation
                                  (.50); prepare discovery to Bondholders Committee (.50); revise discovery
                                  to Ad Hoc bondholders committee (.60); revise discovery to L Bond
                                  Management (.60); meet and confer with Bondholder Committee and Ben
                                  concerning B. Heppner documents (.40); work on issue relating to T.
                                  Evans (.30); communications with M. Holland counsel concerning
                                  depositions (.30); preparation of claims presentation (.40); analyze issues
                                  concerning deposition attendance (.40); call with A. Chase regarding 2019
                                  resignations (.10); call with G. King regarding investigation (.30)
12/08/2022     Werlinger, Eric    Analyze document production from third party witness (2.90)                                2.90
12/08/2022     King, Geoff        Call with J. Stein and Katten team regarding investigation matters (.40);                  1.90
                                  call with D. Barnowski regarding investigation matters (.30); analyze
                                  multiple issues regarding upcoming 2004 requests (.80); review revised
                                  2004 requests (.40)
12/08/2022     Thompson, Grace Continue drafting claims analysis section of presentation (2.50); call with                   8.90
                               Katten regarding workstreams for investigation presentation (.90); pull
                               sources materials to incorporate into claims analysis section (1.50); call
                               with L. Miranda regarding presentation (.30); continue drafting claims
                               analysis sections of presentation (3.70)
12/08/2022     Kitnick, Jesse  Conduct legal research regarding attendance at Rule 2004 examination                          2.10
                               (2.10)
12/08/2022     Hall, Jerry     Revise investigation presentation (multiple iterations) (2.30); email among                   7.10
                               D. Barnowski and others regarding 2004 examinations (.30); call with
                               Katten team regarding investigation (.90); call with M. Roitman regarding
                               presentation (.70); call with D. Barnowski regarding investigation (.50);
                               call with A. Chase regarding investigation (1.00); call with C. Giglio
                               regarding investigation (1.40)




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12/08/2022     Miranda, Loredana Emails with relativity regarding upload of Grant Thornton document                          7.60
                                 production with relativity (.30); emails with M. Siena regarding execution
                                 of Investigations Committee minutes (.20); call with A. Chase regarding
                                 investigation (.50); emails with A. Pecoraro regarding documents
                                 produced to L Bond Committee (.20); review document production
                                 regarding same (.50); Katten call regarding workstreams of investigation
                                 presentation (.90); draft Board section of investigation presentation (1.30);
                                 coordinate drafting of charts for presentation regarding same (.20); draft
                                 key parties chart for investigation presentation (1.20); call with G.
                                 Thompson regarding same (.30); draft timeline of prepetition transactions
                                 for investigation presentation (2.00)
12/08/2022     Roitman, Marc     Further review of revised draft of preliminary report on investigation into                 3.40
                                 potential claims and causes of actions arising from certain prepetition
                                 transactions (1.60); call with Province regarding financial analyses
                                 relevant to evaluation of potential estate claims and causes of action (.40);
                                 further review and analysis of documents produced in connection with
                                 investigation into prepetition transactions (.20); emails with Katten
                                 regarding analysis of certain claims (.50); call with J. Hall re investigation
                                 (.70)
12/08/2022     Rosella, Michael Respond to questions from Katten regarding investigation presentation                        0.30
                                 (.30)
12/08/2022     Reisman, Steven     Continued work on matters related to investigation presentation including                 3.40
                                   review of edits from J. Hall, D. Barnowski and others regarding ongoing
                                   work streams and results of investigation (2.40); general update regarding
                                   scheduling of upcoming depositions and interviews including with respect
                                   to B. Heppner, Grant Thornton (.40); continued review of investigation
                                   presentation to Independent Directors (.60)
12/09/2022     Chase, Ashley       Katten call regarding investigation work streams (1.20); Katten call                      5.80
                                   regarding investigation presentation (1.30); begin drafting investigation
                                   presentation regarding director resignations (3.30)
12/09/2022     Pecoraro, Andrew Call with Katten regarding investigation work streams (1.20); review and                     6.40
                                analyze documents produced by Grant Thornton regarding upcoming
                                deposition (2.50); continue reviewing documents from Grant Thornton
                                (1.40); draft summary of hot documents regarding same (1.00); correspond
                                with counsel for interested parties regarding upcoming depositions (.30)
12/09/2022     Barnowski, Dan   Revise and finalize draft document requests to L Bond Committee, L Bond                      3.10
                                Management and Ad Hoc Group (.50); Katten team call concerning next
                                steps and strategy (1.20); communications with Bondholders Committee
                                about Heppner deposition issues (.20); preparation for B. Heppner
                                deposition (.80); teleconference with E. Werlinger concerning auditor
                                depositions (.40)
12/09/2022     Werlinger, Eric  Participate in with Katten regarding investigation workstreams (1.20);                       5.70
                                review documents from third party production (2.00); prepare for third
                                party deposition (2.10); call with D. Barnowski regarding auditor
                                depositions (.40)
12/09/2022     King, Geoff         Attend investigation team call (1.20); analyze issues in connection with                  3.40
                                   upcoming Investigations Committee tasks (.70); review matters in
                                   connection with upcoming 2004 requests (.20); review issues in
                                   connection with upcoming depositions (.20); final review of 2004s (.20);
                                   review previous diligence list and prepare updated request (.60); review
                                   investigation materials (.30)




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12/09/2022     Thompson, Grace Attend investigation team call (1.20); review M. Roitman comments to                          9.80
                                 presentation (.30); revise presentation per M. Roitman comments (1.30);
                                 call with investigation presentation team (1.30); revise presentation per
                                 feedback from call (1.80); continue drafting analysis sections of
                                 presentation (3.90)
12/09/2022     Hall, Jerry       Review investigation presentation (2.50); call with investigation                           6.80
                                 presentation team regarding presentation (1.30); Katten call regarding
                                 investigation workstreams (1.20); call with M. Roitman regarding
                                 presentation (1.00); email among E. Werlinger and others regarding
                                 auditor discovery (.30); review Rule 2004 requests to L Bond Committee
                                 and related parties (.50)
12/09/2022     Miranda, Loredana Attend Katten Call regarding investigation work streams (1.20); attend                      6.30
                                 Katten Call regarding investigation presentation (1.30); draft background
                                 section of presentation (2.80); review document production from Mayer
                                 Brown (.80); emails with A. Konrath regarding same (.20)
12/09/2022     Comerford,         Attend Katten call regarding investigation and open issues (1.20)                          1.20
               Michael
12/09/2022     Roitman, Marc      Call with Katten regarding investigation matters and workstreams (1.20);                   4.60
                                  further review of revised draft of preliminary report on investigation into
                                  potential claims and causes of actions arising from certain prepetition
                                  transactions (1.10); call with Katten regarding same (1.30); call with J.
                                  Hall regarding same (1.00)
12/09/2022     Rosella, Michael   Attend call with Katten regarding investigation work streams (1.20);                       5.00
                                  attend call with Katten regarding investigation presentation (1.30); begin
                                  to research case law to supplement various positions in investigation
                                  presentation (2.50)
12/09/2022     Siena, Marie       Revise investigation presentation to incorporate G. Thompson comments                      0.80
                                  (.60); emails with G. Thompson regarding same (.20)
12/09/2022     Reisman, Steven    Participate in call regarding investigation work streams with Katten team                  2.50
                                  members (1.20); participate in portion of call with Katten regarding update
                                  on investigation presentation and edits to same (.70); continued work on
                                  revisions to presentation on investigation and ongoing work streams (.60)
12/10/2022     Pecoraro, Andrew Review and analyze documents produced by Grant Thornton (2.70); draft                        4.70
                                deposition outline for Grant Thornton (2.00)
12/10/2022     Barnowski, Dan   Teleconference with M. Lloyd of Akin concerning Grant Thornton                               1.50
                                deposition (.30); analysis of memo concerning Grant Thornton document
                                production (.30); analysis of memo concerning issues to be covered in
                                Grant Thornton deposition (.40); prepare for B. Heppner deposition (.50)
12/10/2022     Werlinger, Eric  Review documents produced by third party witness (3.90); prepare for                         5.20
                                deposition of third party witness (1.30)
12/10/2022     Thompson, Grace Continue drafting claims analysis section of presentation (3.50); call with                   8.50
                               M. Roitman and J. Hall regarding the same (.60); continue drafting claims
                               analysis section of presentation (3.90); revise analysis section per
                               comments from J. Hall (.50)
12/10/2022     Hall, Jerry     Call among G. Thompson and M. Roitman regarding investigation                                 2.00
                               presentation (.60); revise investigation presentation (1.00); email among
                               G. Thompson and others regarding investigation presentation (.20); email
                               among A. Pecoraro and others regarding auditor discovery (.20)
12/10/2022     Roitman, Marc   Further review of revised draft of preliminary report on investigation into                   2.90
                               potential claims and causes of actions arising from certain prepetition
                               transactions (.90); call with J. Hall and G. Thompson regarding same
                               (.60); review Form S-4 filed by Beneficient and related exhibits regarding
                               matters relevant to investigation into prepetition transactions (1.40)


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12/10/2022     Rosella, Michael   Respond to questions from Katten regarding Debtors' life insurance policy                     0.40
                                  portfolio (.40)
12/10/2022     Reisman, Steven    Review emails regarding scheduling of deposition, ongoing work streams                        1.10
                                  in connection with investigation and general update on status of
                                  investigation presentation (.70); discussions during the day with T. Horton
                                  and J. Stein related to investigation matters and work streams (.40)
12/11/2022     Chase, Ashley      Draft slides regarding claims related to the 2019 8-K for the investigation                   6.50
                                  presentation (4.40); review documents regarding director resignations in
                                  connection with drafting slides for investigation presentation (2.10)
12/11/2022     Pecoraro, Andrew Draft outline and questions regarding deposition of Grant Thornton (1.20);                      2.00
                                review documents regarding same (.80)
12/11/2022     Werlinger, Eric  Review documents produced by third party witness (3.80); prepare for                            7.80
                                deposition of third party witness (4.00)
12/11/2022     Thompson, Grace Continue drafting claims analysis section of investigation presentation                          5.30
                                 (3.90); revise per comments from M. Roitman and J. Hall (.70);
                                 correspondence with L. Miranda regarding presentation workstreams
                                 (.30); review and incorporate L. Miranda presentation inserts (.30);
                                 correspondence with M. Rosella regarding presentation workstreams (.10)
12/11/2022     Hall, Jerry       Review presentation materials from Province (1.20); review presentation                        2.20
                                 materials from A. Chase (1.00)
12/11/2022     Miranda, Loredana Revise background section of investigation presentation with comments by                       2.10
                                 J. Hall and G. Thompson (2.10)
12/11/2022     Rosella, Michael Review and respond to email from G. Thompson regarding investigation                            0.30
                                 presentation workstreams (.30)
12/11/2022     Reisman, Steven    General update regarding matters related to 8K disclosures and                                0.70
                                  investigation of background and matters related to same (.70)
12/12/2022     Chase, Ashley      Draft timeline of events regarding claims related to the 2019 8-K for the                     8.90
                                  investigation presentation (.80); review documents regarding 2021
                                  resignations in connection with revising slides for investigation
                                  presentation (1.70); review deposition testimony in connection with
                                  revising slides for investigation presentation (.90); revise slides regarding
                                  claims related to the 2021 8-K for the investigation presentation (3.50);
                                  revise slides regarding claims related to the 2019 8K for the investigation
                                  presentation (2.00)
12/12/2022     Pecoraro, Andrew Participate in deposition of Grant Thornton (6.60); draft memorandum                            9.40
                                regarding same (.80); review and analyze documents regarding Whitley
                                Penn deposition (2.00)
12/12/2022     Giglio, Cindi      Review Province deck (2.30); attend Katten/Province pre-call (.50); call                      4.70
                                  with Investigations Committee (.30); call with Katten regarding Province's
                                  deck (.40); follow up on 2004s (.90); call with G. King regarding
                                  investigation matters (.30)
12/12/2022     Barnowski, Dan     Attend portion Grant Thornton deposition (4.20); analysis of issues                           8.70
                                  pertinent to Grant Thornton deposition (.30); prepare for B. Heppner
                                  deposition (3.00); Katten and Province call to prepare for meeting of the
                                  Investigations Committee (.50); attend Investigations Committee meeting
                                  (.30); teleconference with Katten team about Province memo (.40)
12/12/2022     Werlinger, Eric    Prepare for third party deposition (4.00); take third party deposition of                 10.60
                                  Grant Thornton (6.60)




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12/12/2022     King, Geoff        Call with D. Moses regarding investigation matters (.30); call with C.                        3.60
                                  Giglio regarding investigation matters (.30); pre-call with Katten and
                                  Province regarding investigation matters (.50); prepare agenda for
                                  Investigations Committee meeting (.10); review Investigations Committee
                                  materials (.10); attend Investigations Committee call (.30); call with S.
                                  Reisman regarding investigation matters (.20); review Province materials
                                  (1.80)
12/12/2022     Thompson, Grace Review Province report and incorporate into presentation (2.10); revise                      12.10
                               claims analysis section of presentation (1.40); call with J. Hall regarding
                               workstreams for presentation (.40); call with M. Roitman and J. Hall
                               regarding Province report (1.80); attend Investigations Committee pre-call
                               with Province (.50); attend call with Katten team regarding Province
                               report (.40); attend follow-up call with J. Hall and M. Roitman regarding
                               same (1.60); revise presentation per feedback (1.20); continue
                               incorporating Province report into Katten presentation (2.70)
12/12/2022     Brooks-Patton,  Respond to email from L. Miranda regarding Ben SEC documents (.10);                              1.30
               Janice          review and work with Ben SEC filings (1.20)
12/12/2022     Hall, Jerry     Review presentation (including Province presentation) regarding solvency                         8.30
                               and related matters (3.30); call with M. Roitman and G. Thompson
                               regarding presentation (1.80); follow up call with M. Roitman and G.
                               Thompson regarding presentation (1.60); call with G. Thompson regarding
                               investigation (.40); pre-call with Katten and Province before Investigations
                               Committee call (.50); call with Katten regarding Province report (.40);
                               email among D. Barnowski and others regarding Rule 2004 requests (.30)
12/12/2022     Kirby, Timothy  Review BEN S-4 and related correspondence (2.50)                                                 2.50
12/12/2022     Miranda, Loredana Draft agenda and materials for Investigations Committee weekly meeting                         8.90
                                 (.80); incorporate comments by G. King's on Investigations Committee
                                 agenda (.20); emails with G. Thompson regarding same (.10); email
                                 Independent Directors regarding agenda and materials (.20) draft advisor
                                 slides for the Investigations Committee presentation (3.10); review
                                 prepetition transaction documents regarding same (1.80); revise 2004
                                 Notice for B. Heppner (.30); emails with D. Barnowski regarding same
                                 (.30); collect documents for D. Barnowski to prepare for deposition of B.
                                 Heppner (.90); attend Katten and Province pre call regarding
                                 Investigations Committee meeting (.50); attend call with Investigations
                                 Committee (.30); draft minutes regarding same (.40)
12/12/2022     Comerford,         Review emails regarding open issues for investigation and next steps (.20);                   0.70
               Michael            attend investigation pre-call regarding agenda and open issues with Katten
                                  and Province (.50)
12/12/2022     Roitman, Marc      Review initial draft of Province's financial analyses relevant to potential                   6.80
                                  estate claims and causes of action (1.90); call with J. Hall and G.
                                  Thompson regarding preliminary report on investigation into potential
                                  claims and causes of actions arising from certain prepetition transactions
                                  (1.80); Investigations Committee meeting (.30); pre-call with Katten and
                                  Province in preparation for same (.50); follow-up call with J. Hall and G.
                                  Thompson regarding detailed analysis of claims and review of Province's
                                  financial analyses relevant to potential estate claims and causes of action
                                  (1.60); further review and analysis of documents produced in connection
                                  with investigation into prepetition transactions relevant to preliminary
                                  report on investigation (1.20)
12/12/2022     Rosella, Michael   Continue to research case law regarding various positions in the                              4.60
                                  investigation presentation (2.30); prepare additional sections of
                                  investigation presentation on various legal principles (2.00); respond to
                                  questions from Katten regarding same (.30)



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12/12/2022     Siena, Marie       File amended 2004 notice for B. Heppner (.40)                                              0.40
12/12/2022     Reisman, Steven    Continued work on matters related to investigation including update on                     4.50
                                  2004 requests, document production, ongoing work streams and
                                  investigation presentation (2.70); discussions with G. King regarding
                                  investigation matters and general update (.20); discussions with C. Giglio
                                  regarding same (.20); discussions with Independent Directors regarding
                                  update on investigation (.30); review draft of Province presentation on
                                  financial analysis in connection with investigation presentation (.80);
                                  general update on today's deposition in connection with investigation (.30)
12/13/2022     Chase, Ashley    Katten call regarding investigation workstreams (.70); participate in part of                6.10
                                Katten call regarding Investigation presentation (.60); begin drafting slides
                                in investigation presentation related to claims against B. Heppner in
                                relation to SEC disclosures (2.70); review research from J. Kitnick
                                regarding aiding and abetting breaches of fiduciary duty (2.10)
12/13/2022     Pecoraro, Andrew Draft deposition outline regarding upcoming deposition of Whitley Penn                       3.50
                                (2.50); correspond with counsel for Whitley Penn regarding upcoming
                                deposition (.30); call with Katten regarding investigation work streams
                                (.70)
12/13/2022     Giglio, Cindi      Participate in Katten call regarding workstreams (.70); attend portion of                  3.60
                                  call with Province to go over deck (.80); call with D. Barnowski, S.
                                  Reisman and G. King regarding B. Heppner deposition (.50); discuss
                                  presentation with G. Thompson (.40); discuss same with J. Hall (.20);
                                  review talking points for call with T. Horton (.20); call with T. Horton and
                                  related follow up (.80)
12/13/2022     Barnowski, Dan     Katten team call to discuss strategy issues concerning investigation (.70);                7.80
                                  teleconference with M. Roitman concerning B. Heppner deposition (.30);
                                  analyze B. Heppner's deposition outline (2.10); revise B. Heppner's
                                  deposition outline (2.90); teleconference with S. Reisman, C. Giglio and
                                  G. King concerning B. Heppner deposition (.50); teleconference with T.
                                  Horton and Katten concerning B. Heppner deposition (.30); teleconference
                                  with C. Kelley concerning new discovery (.50); call with G. Thompson
                                  and L. Miranda regarding document production (.20); call with J. Hall
                                  regarding analysis of claims (.30)
12/13/2022     Werlinger, Eric    Attend meeting with Katten regarding investigation update (.70);                           1.20
                                  correspond with counsel for third party regarding upcoming deposition
                                  (.30); correspond with A. Pecoraro regarding logistics for forthcoming
                                  deposition (.20)
12/13/2022     King, Geoff        Attend Katten team call regarding investigation workstreams (.70); review                  3.60
                                  Province materials (.70); attend portion of call with Katten and Province
                                  regarding investigation (1.40); call with T. Horton and Katten regarding
                                  investigation issues (.30); call with C. Giglio, D. Barnowski and S.
                                  Reisman regarding investigation issues (.50)
12/13/2022     Thompson, Grace Call with D. Baranowski and L. Miranda regarding recent document                          10.90
                               production (.30); attend Katten investigation team call regarding
                               workstreams (.70); call with investigation presentation team (.70);
                               continue drafting claims analysis sections of presentation (2.70); call with
                               Province regarding Province's updated report (1.80); continue drafting
                               claims analysis sections of presentation (3.10); perform fact research and
                               document searches to incorporate into presentation (1.20); call with C.
                               Giglio regarding presentation (.40)
12/13/2022     Brooks-Patton,  Continue document review and work with Ben SEC filings and supporting                         4.30
               Janice          documents (4.30)
12/13/2022     Kitnick, Jesse  Conduct legal research regarding fiduciary duties as applied to entities                      1.90
                               (1.90)


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Date           Timekeeper         Description                                                                            Hours
12/13/2022     Hall, Jerry        Revise investigation presentation (4.90); call with Katten regarding                        8.80
                                  investigation workstreams (.70); call with investigation presentation team
                                  (.70); call among Katten and Province regarding investigation presentation
                                  (1.80); call with M. Roitman regarding same (.20); call with C. Giglio
                                  regarding investigation presentation (.20); call with D. Barnowski
                                  regarding analysis of claims (.30)
12/13/2022     Miranda, Loredana Attend Katten call regarding Investigation work streams (.70); attend                        5.30
                                 Katten call regarding Investigation presentation (.70); call with G.
                                 Thompson and D. Barnowski regarding same (.30); draft background
                                 section in investigation presentation (2.20); revise certain sections of
                                 investigation presentation with comments from J. Hall and M. Roitman
                                 (.70); review errata for deposition of D. Fine (.50); emails with A. Chase
                                 regarding same (.20)
12/13/2022     Comerford,         Attend Katten call regarding investigation update (.70); review issues in                   1.10
               Michael            connection with same (.40)
12/13/2022     Rosella, Michael   Begin to review emails in preparation for upcoming B. Heppner deposition                    0.80
                                  (.50); review emails regarding Vida DIP closing as they relate to DLP
                                  issues (.30)
12/13/2022     Roitman, Marc      Revise draft report to Investigations Committee regarding analysis of                   11.60
                                  certain potential claims and causes of action, including analysis of
                                  financial condition (3.80); review research regarding same (1.20); revise
                                  draft report to Investigations Committee regarding analysis of certain
                                  potential claims and causes of action, including analysis of certain
                                  fraudulent transfer claims (2.90); Katten call regarding Investigation work
                                  streams (.70); Katten call regarding report to Investigations Committee
                                  regarding analysis of certain potential claims and causes of action (.70);
                                  call with Province regarding report to Investigations Committee regarding
                                  analysis of certain potential claims and causes of action (1.80); call with J.
                                  Hall regarding same (.20); call with D. Barnowski regarding upcoming
                                  depositions (.30)
12/13/2022     Reisman, Steven    Review and revise investigation presentation (2.20); discussions                            5.40
                                  throughout the day with Katten team members regarding revisions to
                                  same, ongoing work streams in connection with investigation and
                                  upcoming third party discovery and both documents and depositions
                                  (2.20); participate in meeting with Katten team regarding matters related
                                  to investigation and update (.70); participate in call with T. Horton
                                  regarding investigation update and next steps in connection with same
                                  (.30)
12/14/2022     Chase, Ashley      Continue drafting slides in Investigation presentation related to claims in                 5.10
                                  relation to SEC disclosures (1.10); draft slides in Investigation
                                  presentation related to claims in relation to SEC disclosures (3.60); review
                                  updated draft 2004 requests (.40)
12/14/2022     Pecoraro, Andrew Draft outline for Whitley Penn deposition (2.00); review and analyze                          4.70
                                documents produced by Beneficient (1.90); prepare for deposition of B.
                                Heppner (.80)
12/14/2022     Giglio, Cindi      Discuss investigation issues with M. Roitman (.50); participate on                          1.50
                                  Investigations Committee call (1.00)
12/14/2022     Barnowski, Dan     Prepare for B. Heppner deposition (5.50); revise Rule 2004 requests to                      7.80
                                  LBC, LBM and AHG (.20); attention to issues concerning Whitley Penn
                                  deposition (.30); analysis of “hot” documents produced by B. Heppner and
                                  Ben (.80); attend Investigations Committee call (1.00)
12/14/2022     Werlinger, Eric    Correspond with Katten team and counsel for third party regarding                           0.50
                                  forthcoming deposition (.50)



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Date           Timekeeper         Description                                                                          Hours
12/14/2022     King, Geoff        Attend Investigations Committee meeting (1.00); review draft 2004s (.40)                  1.40
12/14/2022     Thompson, Grace Correspondence with L. Miranda regarding Ben productions (.30);                          11.60
                                 incorporate M. Roitman comments to investigation presentation (1.10);
                                 incorporate J. Hall comments into investigation presentation (.70);
                                 correspondence regarding option agreement (.20); revise presentation per
                                 same (.10); incorporate Province analysis to presentation (1.60); call with
                                 J. Hall regarding presentation workstreams (.40); attend Investigations
                                 Committee meeting (1.00); incorporate M. Roitman comments to
                                 presentation (2.10); continue incorporating Province analysis into merged
                                 presentation (4.10)
12/14/2022     Brooks-Patton,    Continue review of Ben SEC filings and work with documents (3.60);                         3.70
               Janice            email L. Miranda regarding same (.10)
12/14/2022     Hall, Jerry       Revise investigation presentation (3.80); email among D. Barnowski and                     6.70
                                 others regarding Rule 2004 notices (.40); review revised 2004 notice (.80);
                                 call among Katten and Investigations Committee regarding investigation
                                 (1.00); call with G. Thompson regarding investigation presentation (.40);
                                 email among M. Roitman and others regarding investigation presentation
                                 (.30)
12/14/2022     Miranda, Loredana Incorporate various comments from M. Roitman and J. Hall to                                6.40
                                 investigations presentation (4.00); emails with G. Thompson regarding
                                 same (.30); revise Board timeline (.90); review LP agreements for
                                 Beneficient (.40); emails with M. Roitman regarding same (.20); review
                                 GWG's SEC filings for presentation (.30); emails with G. Thompson
                                 regarding same (.10); coordinate sending Debtors' document production to
                                 relativity (.20)
12/14/2022     Roitman, Marc     Revise draft report to Investigations Committee regarding analysis of                  12.50
                                 certain potential claims and causes of action (3.60); discuss investigation
                                 issues with C. Giglio (.50);
                                 review research regarding same (1.50); revise draft report to Investigations
                                 Committee regarding analysis of certain potential claims and causes of
                                 action (3.30); begin drafting Executive Summary for report to
                                 Investigations Committee regarding analysis of certain potential claims
                                 and causes of action (1.30); review certain case law regarding analysis of
                                 same (.80); attend meeting of the Investigations Committee (1.00);
                                 preparation in connection with same (.50)
12/14/2022     Rosella, Michael Review documents produced by Ben to prepare for B. Heppner deposition                       4.30
                                 (3.50); prepare email to A. Pecoraro with notes and summary of
                                 documents produced (.50); respond to questions from Katten regarding
                                 same (.30)
12/14/2022     Reisman, Steven    Participate and attend Investigations Committee meeting with Katten team                  4.20
                                  members and Investigations Committee members (1.00); follow up
                                  discussions with Katten team members regarding Heppner deposition,
                                  investigation status, 2004 requests to LBC, LBM and others (1.30); review
                                  materials related to B. Heppner deposition (.90); follow up with T. Horton
                                  and J. Stein regarding matters related to Investigations Committee and
                                  ongoing activities (.40); review materials in preparation for Investigations
                                  Committee meeting (.60)
12/15/2022     Chase, Ashley      Revise slides in Investigation presentation regarding SEC disclosures                     4.30
                                  (3.60); conference with L. Miranda and G. Thompson regarding same
                                  (.20); email among Katten regarding same (.50)
12/15/2022     Pecoraro, Andrew Attend deposition of B. Heppner (9.20); draft summary regarding same                    10.00
                                (.70); call with L. Miranda regarding B. Heppner's deposition (.10)
12/15/2022     Giglio, Cindi      Attend portion of B. Heppner deposition (3.20)                                            3.20



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12/15/2022     Barnowski, Dan     Attend B. Heppner deposition (9.20)                                                         9.20
12/15/2022     King, Geoff        Prepare drafts of order to be sent to other parties (.30); review deposition                0.50
                                  summary of B. Heppner (.10); review protective order (.10)
12/15/2022     Thompson, Grace Revise investigation presentation comments from M. Roitman (2.10); draft                   11.50
                                 minutes from Investigations Committee meeting (.50); revise background
                                 sections and appendices of investigation presentation (1.50); further revise
                                 analysis sections of investigation presentation per comments from M.
                                 Roitman (2.90); revise presentation per J. Hall comments (.30); conference
                                 with A. Chase and L. Miranda regarding same (.20); revise Province
                                 analysis slides (1.10); continue revising analysis sections of investigation
                                 presentation per comments from M. Roitman (2.90)
12/15/2022     Hall, Jerry       Attend deposition of B. Heppner (portion) (4.00); revise investigation                       7.80
                                 presentation (3.50); email among A. Chase and others regarding
                                 investigation presentation (.30)
12/15/2022     Miranda, Loredana Coordinate filing of amended 2004 notice for Whitley Penn (.20); call with                   2.10
                                 A. Pecoraro regarding B. Heppner's deposition (.10); continue to
                                 incorporate comments by M. Roitman to investigation presentation (1.10);
                                 revise minutes from Investigation Committee meeting with comments by
                                 C. Giglio (.30); incorporate comments from J. Hall on investigations
                                 presentation (.50); conference with A. Chase and G. Thompson regarding
                                 same (.20)
12/15/2022     Rosella, Michael Review research on aiding and abetting breaches of fiduciary duty issues                      1.40
                                 (.30); prepare sections of investigation presentation regarding same (.80);
                                 review preliminary notes from B. Heppner deposition (.30)
12/15/2022     Roitman, Marc     Video attendance at Day 1 of B. Heppner deposition (9.20); further revise                12.10
                                 draft report to Investigations Committee regarding analysis of certain
                                 potential claims and causes of action, including executive summary (2.90)
12/15/2022     Siena, Marie       File Amended 2004 notice for oral examination of Witney Penn LLP on                         0.30
                                  the court's docket (.20); email with L. Miranda regarding same (.10)
12/15/2022     Reisman, Steven    Attend portion of B. Heppner deposition (1.60); follow up regarding                         9.10
                                  matters related to Standing Motion by Committee (1.10); review and
                                  comment on Committee Standing Motion and opposition to same (.90);
                                  review draft minutes from Investigations Committee meetings (.40);
                                  follow up regarding issues with respect to ongoing work in connection
                                  with investigation and ongoing discovery in connection with same (1.10);
                                  update regarding matters related to mediation order and review revisions
                                  to same (.40); update regarding 2004 discovery and matters related to
                                  ongoing investigation work (.40); review and comment on investigation
                                  presentation regarding SEC disclosures and issues related to same (3.20)
12/16/2022     Chase, Ashley      Implement J. Hall edits to investigation presentation (4.40); email among                   7.20
                                  Katten regarding same (.20); review draft Province presentation in
                                  connection with drafting investigation presentation (2.60)
12/16/2022     Pecoraro, Andrew Attend deposition of B. Heppner and take notes regarding same (7.30)                          7.30
12/16/2022     Giglio, Cindi      Attend portion of B. Heppner deposition (3.50)                                              3.50
12/16/2022     Barnowski, Dan     Prepare for continuation of B. Heppner deposition (1.60); depose B.                         8.90
                                  Heppner (7.30)




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12/16/2022     Thompson, Grace Draft presentation sections on defenses (1.40); draft additional slides for               12.90
                                 analysis sections (.80); perform full copy edit of presentation (1.20);
                                 conference with L. Miranda regarding same (.10); draft executive
                                 summary for presentation (1.80); revise presentation per comments from
                                 M. Roitman (2.00); attend call with M. Roitman and J. Hall to edit
                                 investigation presentation (5.10); revise investigation presentation per
                                 comments from M. Roitman and J. Hall (.50)
12/16/2022     Kitnick, Jesse    Draft slides regarding legal framework for investigation presentation                       1.10
                                 (1.10)
12/16/2022     Hall, Jerry       Attend B. Heppner deposition (portion) (3.50); revise investigation                     11.90
                                 presentation (3.00); email among A. Chase and others regarding
                                 investigation presentation (.30); call with M. Roitman and G. Thompson
                                 regarding investigation presentation (5.10)
12/16/2022     Miranda, Loredana Revise investigation presentation with comments by G. Thompson and M.                       3.90
                                 Roitman (.80); conference with G. Thompson regarding same (.10);
                                 review diligence produced by Ben in response to 2004 notice (2.30);
                                 coordinate sending documents produced by Whitley Penn to relativity for
                                 attorney review (.30); email to Mayer Brown regarding Whitley Penn
                                 production (.30); emails with A. Pecoraro regarding same (.10)
12/16/2022     Roitman, Marc     Video attendance at Day 2 of Heppner deposition (7.30); call with N.                    13.20
                                 Smith (Province) regarding analyses relevant to report to Investigations
                                 Committee on claims and causes of action (.80); call with J. Hall and G.
                                 Thompson regarding report to Investigations Committee on analysis of
                                 certain potential claims and causes of action (5.10)
12/16/2022     Reisman, Steven    Attend to matters regarding Heppner deposition and review materials in                     4.50
                                  connection with same (1.40); update regarding investigation presentation
                                  and review and comment on slide related to same (.70); coordination
                                  regarding edits to investigation presentation and discussions with J. Stein
                                  and T. Horton related to same (1.60); review matters related to Standing
                                  Motion by Committee and follow up (.80)
12/17/2022     Pecoraro, Andrew Review and analyze documents produced by Whitley Penn (1.50); draft                          2.80
                                outline for deposition regarding Whitley Penn (1.30)
12/17/2022     Giglio, Cindi      Attention to edits to investigation presentation (3.30)                                    3.30
12/17/2022     Barnowski, Dan     Emails with G. King concerning B. Heppner deposition (.40);                                0.80
                                  communications with SEC about upcoming meeting (.20); work on
                                  confidentiality issues concerning B. Heppner deposition (.20)
12/17/2022     Hall, Jerry        Email among G. Thompson and others regarding investigation                                 1.20
                                  presentation (.20); revise investigation presentation (1.00)
12/17/2022     Miranda, Loredana Review Board documents regarding resignation of P. Cangany (.20); email                     0.30
                                 with M. Roitman regarding same (.10)
12/17/2022     Roitman, Marc     Further revise draft report to Investigations Committee regarding analysis                  3.90
                                 of certain potential claims and causes of action (3.10); review of select
                                 case law concerning analysis of claims and causes of action (.80)
12/18/2022     King, Geoff        Review draft investigation presentation (2.40)                                             2.40
12/18/2022     Thompson, Grace Revise investigation presentation per commetns from Katten team (1.50)                        1.50
12/18/2022     Hall, Jerry        Email among G. Thompson and others regarding investigation                                 1.60
                                  presentation (.60); revise investigation presentation (1.00)
12/18/2022     Miranda, Loredana Revise investigation presentation deck with comments from C. Giglio                         1.10
                                 (.90); emails with G. Thompson regarding same (.20)
12/18/2022     Roitman, Marc     Further revise draft report to Investigations Committee regarding analysis                  3.50
                                 of certain potential claims and causes of action (2.80); review of select
                                 case law concerning analysis of claims and causes of action (.70)


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12/19/2022     Chase, Ashley      Begin conducting document review regarding SEC documents (1.90)                          1.90
12/19/2022     Pecoraro, Andrew Review and analyze additional documents produced by Whitley Penn                           6.00
                                (1.20); draft outline and prepare exhibits regarding upcoming Whitley
                                Penn deposition (3.80); draft summary of deposition of B. Heppner (1.00)
12/19/2022     Giglio, Cindi      Attend Investigations Committee call (.50)                                               0.50
12/19/2022     Barnowski, Dan     Prepare for call with SEC (.20); teleconference with SEC (.30); revise                   3.60
                                  Investigations Committee meeting materials (.30); teleconference with
                                  Katten regarding Investigations Committee meeting (.30); prepare for
                                  Investigations Committee meeting (.20); revise Investigations Committee
                                  presentation (1.80); attend Investigations Committee meeting (.50)
12/19/2022     King, Geoff        Call with D. Moses regarding investigation issues (.40); attend                          4.20
                                  Investigations Committee pre-call (.30); attend Investigations Committee
                                  call (.50); attend to matters regarding upcoming Investigations Committee
                                  tasks (.40); revise agenda for same (.10); review draft Investigations
                                  Committee meeting materials (.10); review matters in connection with
                                  ongoing discovery (.30); review of second half of investigation
                                  presentation materials (2.10)
12/19/2022     Thompson, Grace Incorporate G. King comments to presentation (.50); incorporate M.                          3.10
                                 Roitman comments to presentation (.50); revise L. Miranda Investigations
                                 Committee materials (.20); further revise presentation per comments from
                                 Katten and Province teams (1.70); related correspondence with J. Hall and
                                 M. Roitman (.20)
12/19/2022     Hall, Jerry       Review rough draft of B. Heppner deposition transcript (1.00); review                     4.90
                                 revised investigation presentation (3.50); email among M. Roitman and G.
                                 Thompson regarding investigation presentation (.40)
12/19/2022     Miranda, Loredana Draft materials for Investigations Committee meeting (.50); draft agenda                  4.20
                                 for Investigations Committee meeting (.20); emails with D. Barnowski
                                 regarding Investigations Committee meeting (.20); draft email to client
                                 regarding approval of Investigations Committee's minutes (.30); email
                                 search terms to relativity vendor for document review (.20); revise
                                 materials for Investigations Committee meeting with comments by D.
                                 Barnowski (.20); attend call with the Investigations Committee (.50); draft
                                 minutes regarding same (.80); review in relativity SEC documents
                                 produced by the Debtor (1.30)
12/19/2022     Roitman, Marc     Further revise draft report to Investigations Committee regarding analysis            10.40
                                 of certain potential claims and causes of action (3.30); draft analysis of
                                 preliminary assessment of potential claims value and analysis of risk-
                                 adjusted settlement value (2.30); research in connection with same (1.50);
                                 call with Investigations Committee (.50); preparation in connection with
                                 same (.40); pre-call with Katten for Investigations Committee call (.30);
                                 review transcript of B Heppner's deposition in connection with further
                                 analysis of potential claims and causes of action and potential defenses or
                                 counterarguments relevant thereto (2.10)
12/19/2022     Rosella, Michael Begin to review new batch of documents from SEC document production                        1.20
                                 in connection with upcoming depositions and investigation presentation
                                 (1.20)
12/19/2022     Reisman, Steven Participate in Katten pre-call in preparation for call with Investigations                  2.40
                                 Committee (.30); review draft of Investigations Committee presentation in
                                 preparation for call (1.10); participate in Investigations Committee update
                                 call (.50); discussions with T. Horton and J. Stein following call regarding
                                 matters related to investigations presentation (.50)
12/20/2022     Chase, Ashley       Katten call regarding investigation work streams (.80)                                  0.80




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12/20/2022     Pecoraro, Andrew Call with Katten regarding investigation workstreams (.80); prepare for                     6.90
                                deposition of Whitley Penn (3.00); review and analyze documents
                                produced by Whitley Penn (1.60); continue preparing for deposition of
                                Whitley Penn (1.50)
12/20/2022     Giglio, Cindi      Katten call regarding work streams (.80); follow up with G. King                          4.20
                                  regarding investigation issues (.60); call with J. Hall regarding
                                  investigation presentation (.40); edits to presentation (1.70)
12/20/2022     Barnowski, Dan     Revise email response to Bondholders Committee (.50); Katten team call                    2.80
                                  to discuss work streams and next steps (.80); review Investigations
                                  Committee presentation report (.70); begin preparation of discovery for
                                  Bondholder Committee (.80)
12/20/2022     King, Geoff        Attend Katten investigation update (.80); review public materials in                      1.70
                                  connection with investigation matters (.30); call with C. Giglio regarding
                                  Investigations Committee issues (.60)
12/20/2022     Thompson, Grace Revise investigation presentation per comments from Katten team (1.00);                      6.80
                                 attend call with Katten investigation team (.80); attend call with S.
                                 Reisman and others regarding presentation (1.20); revise presentation per
                                 comments from S. Reisman (1.50); call with Province regarding
                                 outstanding workstreams on presentation (.40); call with M. Roitman and
                                 J. Hall regarding same (.70); further revise presentation (1.20)
12/20/2022     Hall, Jerry       Call with Katten investigation team regarding workstreams (.80); call                      5.10
                                 among Katten and Province regarding investigation presentation (.40); call
                                 among M. Roitman and G. Thompson regarding investigation presentation
                                 (.70); call with C. Giglio regarding investigation presentation (.40); call
                                 among S. Reisman and others regarding investigation presentation (1.20);
                                 call with M. Roitman regarding investigation presentation (.30); revise
                                 investigation presentation (.80); email among M. Roitman and others
                                 regarding investigation presentation (.20); review updated charts from
                                 Province (investigation presentation) (.30)
12/20/2022     Miranda, Loredana Review in relativity SEC documents produced by the Debtor (2.40); draft                    5.40
                                 summary of hot documents (.20); review case law on fraudulent transfer
                                 claims (.90); revise investigation presentation with findings regarding
                                 same (.30); revise Board section of investigation presentation (.40); attend
                                 call with S. Reisman and others regarding investigation presentation (1.20)
12/20/2022     Comerford,         Participate in Katten team call regarding investigation workstreams (.80)                 0.80
               Michael
12/20/2022     Rosella, Michael   Attend Katten call regarding investigation workstreams (.80)                              0.80
12/20/2022     Roitman, Marc      Further revise draft report to Investigations Committee regarding analysis            10.60
                                  of certain potential claims and causes of action (4.50); review and analysis
                                  of documents produced in connection with Investigation in connection
                                  with same (1.30); review select case law regarding analysis of potential
                                  claims and causes of action and related defenses (.90); call with J. Hall
                                  regarding analysis of claims and causes of action (.30); call with G.
                                  Thompson and J. Hall regarding investigation matters (.80); call with S.
                                  Reisman and Investigation team regarding presentation (1.20); preparation
                                  in connection with same (.40); call with Province regarding investigation
                                  (.40); call with Katten regarding investigation (.80)
12/20/2022     Reisman, Steven    Attend Katten call regarding investigation work streams (.80); attend                     2.60
                                  Katten call regarding investigation presentation (1.20); review
                                  investigation presentation (.60)
12/21/2022     Chase, Ashley      Continue reviewing newly produced SEC documents (1.10)                                    1.10
12/21/2022     Pecoraro, Andrew Prepare for deposition of Whitley Penn (1.50); take deposition of Whitley                   6.00
                                Penn (4.50)


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Date           Timekeeper          Description                                                                          Hours
12/21/2022     Barnowski, Dan      Teleconference with Katten and Province teams to prepare for meeting                      1.50
                                   with Investigations Committee (1.20); attention to results of Whitney Penn
                                   deposition (.30)
12/21/2022     Werlinger, Eric     Prepare for deposition of Whitley Penn (.50); attend deposition of Whitley                5.50
                                   Penn (4.50); correspond with A. Pecoraro regarding the same (.50)
12/21/2022     King, Geoff         Call with D. Barnowski regarding Investigations Committee topics (.30);                   2.00
                                   email with C. Giglio regarding investigation topics (.20); review matters in
                                   connection with upcoming discovery (.30); call with Katten and Province
                                   (1.20)
12/21/2022     Thompson, Grace Call with L. Miranda regarding edits to presentation (1.60); further revise                   4.80
                                 presentation (.90); call with Province to prepare for presentation to
                                 Investigations Committee (1.20); further revise presentation and finalize
                                 for Investigations Committee (1.10)
12/21/2022     Hall, Jerry       Attend deposition of Whitley Penn (portion) (2.00); revise investigation                    6.40
                                 presentation (multiple iterations) (2.50); call among Katten and Province
                                 regarding investigation presentation (1.20); review research regarding
                                 control premium (.70)
12/21/2022     Miranda, Loredana Attend meeting with G. Thompson regarding finalizing investigation                          1.80
                                 presentation (1.60); emails with Mayer Brown regarding deposition of S.
                                 Stein (.20)
12/21/2022     Roitman, Marc     Further revise draft report to Investigations Committee regarding analysis                  4.70
                                 of certain potential claims and causes of action (1.90); call with Katten and
                                 Province in preparation for presentation to Investigations Committee
                                 (1.20); call with N. Smith regarding further edits to presentation (.10);
                                 prepare to give presentation to Investigations Committee regarding
                                 analysis of certain potential claims and causes of action (1.20); email with
                                 D. Barnowski regarding same (.30)
12/21/2022     Rosella, Michael Continue to review new batch of documents from SEC document                                  1.70
                                 production in connection with upcoming depositions and investigation
                                 presentation (1.50); emails with Katten regarding same (.20)
12/21/2022     Reisman, Steven     Review and comment on draft report to Investigations Committee (1.10);                    5.90
                                   confer with Katten team regarding feedback on same (.30); coordinate
                                   with Mayer Brown regarding SEC documentation produced in connection
                                   with upcoming discovery related to investigation work (1.60); participate
                                   in portion of update call with Province related to investigation work
                                   streams and findings (.80); update regarding matters related to deposition
                                   of Whitley Penn (2.10)
12/22/2022     Chase, Ashley       Complete review of newly produced documents regarding SEC (.90);                          1.60
                                   summarize document review (.70)
12/22/2022     Giglio, Cindi       Attend Investigations Committee call (1.30); attend Katten follow up call                 2.30
                                   after Investigations Committee call (1.00)
12/22/2022     Barnowski, Dan      Review results of Whitley Penn deposition and memo concerning same                        3.10
                                   (.30); teleconference with E. Werlinger concerning SEC issues (.30);
                                   teleconference with SEC (.30); teleconference with E. Werlinger
                                   concerning results of SEC call (.20); prepare for Investigations Committee
                                   meeting (.40); Investigations Committee meeting (1.30); attend a portion
                                   of Katten team call to discuss next steps after Investigations Committee
                                   call (.30)
12/22/2022     Werlinger, Eric     Phone call with D. Barnowski regarding SEC issues (.30); follow-up call                   0.50
                                   with D. Barnowski regarding the same (.20)
12/22/2022     Thompson, Grace Attend Investigations Committee meeting (1.30)                                                1.30




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Date           Timekeeper         Description                                                                          Hours
12/22/2022     Hall, Jerry        Review investigation presentation (preparing for meeting with                             3.30
                                  Investigations Committee) (1.00); meeting among Katten and
                                  Investigations Committee (1.30); follow up Katten call regarding
                                  Investigation Committee call (1.00)
12/22/2022     Miranda, Loredana Draft summary of hot documents from SEC document review (.40); emails                      2.20
                                 with A. Chase regarding same (.10); attend meeting of the Investigations
                                 Committee (1.30); draft minutes regarding same (.40)
12/22/2022     Rosella, Michael Review specific sections of investigation presentation to ensure                            0.50
                                 consistency with prior research (.50)
12/22/2022     Roitman, Marc     Further prepare to give presentation to Investigations Committee regarding                 5.70
                                 analysis of certain potential claims and causes of action (3.40); give
                                 presentation to Investigations Committee regarding report on certain
                                 potential claims and causes of action (1.30); follow up call with Katten
                                 regarding investigation matters (1.00)
12/22/2022     Reisman, Steven    Attend call with Investigations Committee regarding investigation                         3.30
                                  presentation (1.30); attend follow-up call with Katten regarding next steps
                                  on investigation (1.00); prepare for meeting with Investigations
                                  Committee by analyzing final report regarding Debtors' potential claims
                                  and causes of actions (1.00)
12/23/2022     Chase, Ashley      Read key takeaways from auditor depositions (.20)                                         0.20
12/23/2022     Pecoraro, Andrew Review and analyze documents produced by Beneficient Company Group                          3.00
                                (2.00); draft memorandum regarding depositions of Whitley Penn and
                                Grant Thornton (1.00)
12/23/2022     Giglio, Cindi      Review hot docs (.20); follow up with J. Hall regarding same (.40)                        0.60
12/23/2022     Barnowski, Dan     Produce depositions to SEC counsel for production to SEC (.20); analyze                   0.70
                                  potential defenses that will be raised (.50)
12/23/2022     King, Geoff        Review materials in connection with upcoming Investigations Committee                     0.10
                                  meetings (.10)
12/23/2022     Hall, Jerry        Call with C. Giglio regarding investigation (.40); review B. Heppner                      2.70
                                  deposition transcript (2.30)
12/23/2022     Miranda, Loredana Draft supplemental investigations presentation (1.20); emails with A.                      1.70
                                 Pecoraro regarding deposition transcript of B. Heppner (.30); review email
                                 for clients regarding same (.20)
12/23/2022     Rosella, Michael Review newly received documents from Beneficient in connection with                         2.50
                                 ongoing investigation (2.20); emails with Katten regarding same (.30)
12/23/2022     Reisman, Steven    Review document production to Securities & Exchange Commission and                        3.30
                                  underlying materials in connection with investigation work streams (1.70);
                                  review documentation received from Beneficient in connection with
                                  ongoing investigation and coordinate with Katten members regarding
                                  review of same (1.60)
12/26/2022     Barnowski, Dan     Revise draft of supplemental investigation presentation (.90)                             0.90
12/26/2022     Thompson, Grace Draft supplemental investigations presentation (1.70); revise per                            3.00
                               comments from Katten team (1.30)
12/26/2022     Hall, Jerry     Revise supplemental investigation presentation (1.40)                                        1.40
12/26/2022     Reisman, Steven    Review and comment on draft supplemental investigations presentation                      1.40
                                  and review comments from others (1.40)
12/27/2022     Chase, Ashley      Conduct review of Ben documents (2.30)                                                    2.30
12/27/2022     Pecoraro, Andrew Review and analyze documents produced by the Beneficient Company                            2.50
                                Group, L.P. (2.50)
12/27/2022     Giglio, Cindi      Comment on supplemental investigation presentation (.40)                                  0.40


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Date           Timekeeper         Description                                                                           Hours
12/27/2022     Barnowski, Dan     Katten team teleconference to discuss work streams and next steps (.40);                   0.90
                                  revise supplemental investigation presentation to Investigations
                                  Committee (.50)
12/27/2022     King, Geoff        Review draft supplemental investigation presentation (.20)                                 0.20
12/27/2022     Thompson, Grace Revise supplemental investigation presentation (1.00); attend Katten call                     1.40
                                 regarding investigation workstreams (.40)
12/27/2022     Hall, Jerry       Katten call regarding investigation (.40); review revised supplemental                      1.10
                                 investigation presentation (.40); email among D. Barnowski and others
                                 regarding supplemental investigation presentation (.30)
12/27/2022     Miranda, Loredana Review documents produced by Ben in response to 2004 notices (1.10);                        1.30
                                 coordinate Investigations Committee meeting (.20)
12/27/2022     Roitman, Marc     Katten call regarding investigation matters (.40); revise draft supplemental                3.30
                                 report regarding further analysis of potential claims and causes of action
                                 (2.90)
12/28/2022     Pecoraro, Andrew Review and analyze documents produced by Beneficient Company Group                           1.50
                                (1.20); compile deposition exhibits to share with counsel for M. Holland
                                (.30)
12/28/2022     Giglio, Cindi      Email regarding supplemental investigation presentation (.10); review                      2.90
                                  supplemental investigation presentation and take notes in preparation for
                                  today's meeting (1.10); attend Katten pre-call for Investigations
                                  Committee meeting (.50); attend meeting of Investigations Committee
                                  (1.20)
12/28/2022     Barnowski, Dan     Katten and Province pre call (.50); meeting with the Investigations                        1.70
                                  Committee (1.20)
12/28/2022     King, Geoff        Review materials in advance of Investigations Committee call (.80); attend                 3.50
                                  Katten pre-call (.50); attend Investigations Committee call (1.20); emails
                                  with C. Giglio regarding Investigation Committee matters (1.00)
12/28/2022     Hall, Jerry         Katten pre-call regarding upcoming call with Investigations Committee                     1.90
                                   (.50); review supplemental investigation presentation (.20); attend
                                   Investigations Committee call (1.20)
12/28/2022     Miranda, Loredana Revise supplemental investigation presentation (various versions) (.60);                    6.60
                                 various emails with Katten regarding Investigations Committee meeting
                                 (.40); attend Katten and Province pre call (.50); attend call with
                                 Investigations Committee (1.20); draft meeting minutes regarding same
                                 (.70); review documents produced by Ben in response to 2004 notices
                                 (2.30); email with C. Herrera (Mayer Brown) regarding Winston
                                 production (.30); review Winston production regarding missing natives
                                 (.30); draft email to client regarding investigations presentation (.30);
                                 revise same with comments from M. Roitman (.20)
12/28/2022     Roitman, Marc     Call with the Investigations Committee regarding follow up and further                      2.50
                                 report on analyses of claims (1.20); Katten and Province pre-call in
                                 preparation for same (.50); review materials in preparation for same (.80)
12/28/2022     Reisman, Steven Review correspondence from counsel for M. Holland regarding request for                       0.60
                                 documents (.20); attend to issues regarding same (.40)
12/29/2022     Chase, Ashley       Complete review of new Ben documents (1.70)                                               1.70
12/29/2022     Zobeideh, Alexis    Research Independent Director compensation sources and examples per L.                    4.80
                                   Miranda's instructions (4.80)
12/29/2022     Miranda, Loredana Coordinate call with Province regarding investigation presentation (.20);                   0.40
                                 emails with Katten team regarding same (.20)
12/30/2022     Giglio, Cindi       Katten and Province call regarding Investigation (.90)                                    0.90




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Date           Timekeeper         Description                                                                         Hours
12/30/2022     King, Geoff        Call with Katten and Province regarding investigation (.90); prepare for                 1.20
                                  same (.40)
12/30/2022     Hall, Jerry        Call among Katten and Province regarding investigation (.90); review                     1.40
                                  documents circulated by L. Miranda (investigation) (.50)
12/30/2022     Miranda, Loredana Email Province team "hot documents" (.20); attend Katten and Province                     1.10
                                 call regarding Investigations (.90)
12/31/2022     Barnowski, Dan    Analyze L Bond Management production (.40)                                                0.40
12/31/2022     Miranda, Loredana Review documents produced by Ben in response to 2004 Notice (1.70)                        1.70
                                                                                           Total Hours :              1066.4




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TIME SUMMARY
United States
Name                                                  Hours                   Rate             Amount
Reisman, Steven                                        71.30             1,585.00             113,010.50
Giglio, Cindi                                          42.40             1,350.00              57,240.00
Hall, Jerry                                           118.20             1,285.00             151,887.00
Comerford, Michael                                      5.70             1,180.00               6,726.00
King, Geoff                                            44.60             1,145.00              51,067.00
Roitman, Marc                                         133.80             1,145.00             153,201.00
Barnowski, Dan                                         98.90             1,125.00             111,262.50
Kirby, Timothy                                          4.50             1,035.00               4,657.50
Werlinger, Eric                                        48.60               955.00              46,413.00
Chase, Ashley                                          81.10               910.00              73,801.00
Thompson, Grace                                       163.30               800.00             130,640.00
Rosella, Michael                                       32.10               800.00              25,680.00
Pecoraro, Andrew                                       97.40               775.00              75,485.00
Kitnick, Jesse                                         14.70               660.00               9,702.00
Miranda, Loredana                                      89.40               580.00              51,852.00
Zobeideh, Alexis                                        5.80               580.00               3,364.00
Brooks-Patton, Janice                                  13.10               410.00               5,371.00
Siena, Marie                                            1.50               380.00                 570.00

                                     Sub Total :     1,066.40   Sub Total :                 1,071,929.50
                                     Total Hours :   1,066.40   Total Fees           1,071,929.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through December 31, 2022



Fees Total.............................................................................................................................................................                   5,381.00
Total Amount Due ..............................................................................................................................................                           5,381.00       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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Matter:             397894.00022
Invoice #:          9020144190                                                                             August 15, 2023
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RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper          Description                                                                          Hours
12/01/2022     Roitman, Marc       Review further revised drafts of Plan and Disclosure Statement (.80);                     1.20
                                   confer with Debtors’ professionals regarding same (.40)
12/02/2022     King, Geoff         Call with Akin following hearing regarding filed plan (.40); review draft                 0.90
                                   plan (.50)
12/02/2022     Reisman, Steven     Follow up regarding plan and review and comment on same (.70)                             0.70
12/06/2022     King, Geoff         Call with L. Chiappetta regarding plan issues (.20)                                       0.20
12/07/2022     Miranda, Loredana Collect samples of press releases regarding filing of plan (.60); emails with               0.80
                                 C. Giglio and G. King regarding same (.20)
12/08/2022     Comerford,        Review emails related to plan issues and next steps (.40)                                   0.40
               Michael
12/09/2022     Miranda, Loredana Incorporate various rounds of comments in press release regarding plan                      0.60
                                 filing (.40); emails with C. Giglio regarding same (.20)
12/09/2022     Comerford,          Review emails regarding plan and plan related issues (.30)                                0.30
               Michael
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Matter:              397894.00022
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TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                         0.70            1,585.00               1,109.50
Comerford, Michael                                      0.70            1,180.00                 826.00
King, Geoff                                             1.10            1,145.00               1,259.50
Roitman, Marc                                           1.20            1,145.00               1,374.00
Miranda, Loredana                                       1.40              580.00                 812.00

                                      Sub Total :       5.10   Sub Total :                     5,381.00
                                      Total Hours :     5.10   Total Fees               5,381.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 15, 2023
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                                                                                                                                                                                              www.katten.com

Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Non-Working Travel

For Professional Services Rendered Through December 31, 2022



Fees Total.............................................................................................................................................................                 17,031.00
Total Amount Due ..............................................................................................................................................                         17,031.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00028
Invoice #:          9020144187                                                             August 15, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Non-Working Travel

TIME DETAILS
Date           Timekeeper         Description                                                           Hours
12/01/2022     Giglio, Cindi      Travel home from Houston (6.00)                                            6.00
12/01/2022     King, Geoff        Travel back to Chicago from Houston (3.80)                                 3.80
12/01/2022     Roitman, Marc      Non-working travel time to New York (4.00)                                 4.00
                                                                               Total Hours :             13.80




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Matter:             397894.00028
Invoice #:          9020144187                                                     August 15, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          6.00            1,350.00               8,100.00
King, Geoff                                            3.80            1,145.00               4,351.00
Roitman, Marc                                          4.00            1,145.00               4,580.00

                                     Sub Total :      13.80   Sub Total :                    17,031.00
                                     Total Hours :    13.80   Total Fees              17,031.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 15, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Expenses

For Professional Services Rendered Through December 31, 2022


Disbursements .....................................................................................................................................................                     22,252.04
Total Amount Due ..............................................................................................................................................                         22,252.04        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice #:            9020144193                                                                    August 15, 2023
Invoice Due Date:     Payable Upon Receipt


RE: Expenses

DISBURSEMENTS
Description                    Cost Description                                                                 Amount

Airfare                        Tzell service charge on a return flight home after a business trip               5,977.48
                               to Houston, TX for a GWG hearing - Date Incurred:
                               11/14/2022. Airfare service charge on a flight to Houston, TX
                               for an emergency GWG hearing - Date Incurred: 11/12/2022.
                               Attend client meetings and hearing in Dallas and Houston-
                               Airfare from NY to Dallas - (Receipt for $557.20 but return
                               flight was canc eled and refund was issued for $238.60)-Date
                               Incurred: 11/21/2022. Attend client meetings and hearing in
                               Dallas and Houston-Airfare to Houston-Date Incurred:
                               11/29/2022. United Airlines charge on roundtrip flights to
                               Houston, TX on a business trip for a GWG hearing - Date
                               Incurred: 11/28/2022. Delta Airlines additional charges for an
                               economy plus seat 29.99 for trip to Houston-Delta Airlines -
                               Date Incurred: 11/30/2022. Attend client meetings and hearing
                               in Dallas and Houston-comfort upgrade-Date Incurred:
                               11/30/2022. Attend client meetings and hearing in Dallas and
                               Houston-Airfare from Houston to NY-Date Incurred:
                               11/29/2022.
Business Meals                 TC Energy charge for a coffee - Date Incurred: 11/14/2022. JW                    1,208.67
                               Marriott Houston Downtown charge on a business dinner with
                               client Jeff Stein of Stein Advisors LLC, his guests, Geoff King
                               and Marc Roitman - Date Incurred: 11/30/2022. JW Marriott
                               Houston Downtown charge on a business breakfast - Date
                               Incurred: 11/30/2022. La Guardia Airport charge for a working
                               dinner. Plus a two dollar cash tip - Date Incurred: 11/29/2022.
                               TC Energy charge on coffee. Plus a two dollar cash tip - Date
                               Incurred: 12/01/2022. Beverage while traveling to Houston for
                               client hearing - Date Incurred: 11/30/2022. Dinner at Blaze
                               Pizza with Marc Roitman and Lucy Kweskin of Mayer Brown
                               while traveling to Houston for client hearing - Date Incurred:
                               11/30/2022. Lunch at JW Marriott Hotel while traveling to
                               Houston for client meeting - Date Incurred: 12/01/2022. Attend
                               client meetings and hearing in Dallas and Houston-Dinner at
                               Dallas Airport-Date Incurred: 11/29/2022. Attend client
                               meetings and hearing in Dallas and Houston-Coffee-Date
                               Incurred: 11/30/2022. Business Meal from Tiga-Tiga charge for
                               dinner after working late on GWG.-Date Incurred: 09/01/2022.
                               Attend client meetings and hearing in Dallas and Houston-
                               breakfast-Date Incurred: 11/30/2022. Attend client meetings
                               and hearing in Dallas and Houston-Dinner-Date Incurred:
                               11/29/2022. Attend client meetings and hearing in Dallas and
                               Houston-Water at airport-Date Incurred: 11/28/2022. Attend
                               client meetings and hearing in Dallas and Houston-breakfast-
                               Date Incurred: 11/29/2022. Attend client meetings and hearing
                               in Dallas and Houston-Dinner at airport-Date Incurred:
                               11/28/2022.
Courier                        FedExCorp.Inv#: 797862326,Trking# 392139012072,on                                  62.12
                               12/13/2022 To: DAN BARNOWSKI. FedExCorp.Inv#:
                               797862326,Trking# 392104278993,on 12/13/2022 To: DAN
                               BARNOWSKI. FedExCorp.Inv#: 797862326,Trking#
                               392045569365,on 12/12/2022 To: DAN BARNOWSKI.
Court Reporter Fees            Digital Evidence Group Invoice No. 23636 (12/15/2022)                            2,896.30


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Description                   Cost Description                                                              Amount
                              Deposition of Rina Pirakh..


Airfare-Lawyers Travel        Airline - C. Giglio 11/29/22 LGA IAH LGA Inv 16414. Airline                   3,072.20
                              - C. Giglio 11/17/22 LGA IAH LGA Inv 16276. Airline - C.
                              Giglio 11/16/22 LGA IAH LGA Inv 16307. Airline - G. King
                              11/16/22 exchange fee. Airline - D. Barnowski 12/14/22 DCA
                              DFW DCA 16632. Airline - A. Pecoraro 12/14/22 DCA DFW
                              DCA 16663.
Court Costs                   Pacer Court Costs 11/01/2022-11/30/2022 NYC.                                    10.60



Telephone Charges             NTT Cloud Communications - Inv. INUS220307466 -                                289.54
                              Conference call for Daniel Barnowski on 11/22/22. Conf No.
                              16094464. NTT Cloud Communications - Inv. INUS220307466
                              - Conference call for Daniel Barnowski on 11/18/22. Conf No.
                              16089847. NTT Cloud Communications - Inv. INUS220307466
                              - Conference call for Daniel Barnowski on 11/11/22. Conf No.
                              16085105. NTT Cloud Communications - Inv. INUS220307466
                              - Conference call for Daniel Barnowski on 11/8/22. Conf No.
                              16082435. NTT Cloud Communications - Inv. INUS220307466
                              - Conference call for Daniel Barnowski on 11/1/22. Conf No.
                              16077274. NTT Cloud Communications - Inv. INUS220307466
                              - Conference call for Daniel Barnowski on 11/15/22. Conf No.
                              16087057. NTT Cloud Communications - Inv. INUS220307466
                              - Conference call for Daniel Barnowski on 11/25/22. Conf No.
                              16094458.
Out of Town Travel            GWG Holdings - Interview (Ben counsel) - transportation from                  7,228.22
                              airport to hotel - Date Incurred: 11/29/2022. Attend client
                              meetings and hearing in Dallas and Houston-2 nights stay plus
                              taxes-Date Incurred: 12/01/2022. Attend client meetings and
                              hearing in Dallas and Houston-in flight WiFi-Date Incurred:
                              11/29/2022. Attend client meetings and hearing in Dallas and
                              Houston-Cab from Airport to hotel in Houston-Date Incurred:
                              11/29/2022. Attend client meetings and hearing in Dallas and
                              Houston-cab from hotel to airport-Date Incurred: 11/29/2022.
                              Attend client meetings and hearing in Dallas and Houston-cab
                              from Hotel to airport in Houston-Date Incurred: 12/01/2022.
                              Attend client meetings and hearing in Dallas and Houston-cab
                              from Airport to home-Date Incurred: 12/01/2022. Attend client
                              meetings and hearing in Dallas and Houston-In flight WiFi-
                              Date Incurred: 11/28/2022. Attend client meetings and hearing
                              in Dallas and Houston-cab to airport in NY-Date Incurred:
                              11/29/2022. Attend client meetings and hearing in Dallas and
                              Houston-cab from Airport to hotel in Dallas-Date Incurred:
                              11/29/2022. Attend client meetings and hearing in Dallas and
                              Houston-1 nights stay plus taxes-Date Incurred: 11/29/2022.
                              Taxi / Car Service Charge on transportation home from the
                              office after working on client related matters / Reservation #
                              2020423-Date Incurred: 10/04/2022. Taxi service charge on
                              transportation to the office for a GWG meeting - Date Incurred:
                              11/17/2022. Travel to Houston for Client hearing--Date
                              Incurred: 12/01/2022. Travel to Houston for Client hearing--
                              Date Incurred: 12/01/2022. Travel to Houston for Client
                              hearing--Date Incurred: 11/29/2022. Travel to Houston for
                              Client hearing--Date Incurred: 11/29/2022. Taxi / Car Service


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Invoice Due Date:   Payable Upon Receipt

Description                  Cost Description                                                                  Amount
                             Charge for transportation home after working on client related
                             matters / Reservation #2020403-Date Incurred: 08/19/2022.
                             Attend hearing in Dallas TX-cab from home to airport-Date
                             Incurred: 11/28/2022. Attend hearing in Dallas TX-in flight
                             WiFi-Date Incurred: 11/28/2022. JW Marriott Hotel stay while
                             traveling to Houston for client meeting - Date Incurred:
                             12/01/2022. Attend hearing in Dallas TX-In flight WiFi-Date
                             Incurred: 11/29/2022. Attend hearing in Dallas TX-cab home
                             from airport-Date Incurred: 11/29/2022. Gogo Traveler WIFI
                             charge while working on client matters - Date Incurred:
                             11/30/2022. Gogo Traveler WIFI charge while working on
                             client matters - Date Incurred: 12/01/2022. Taxi / Uber Car
                             Service Charge for car to airport for Houston Trip - Date
                             Incurred: 11/30/2022. Uber Service Charge for car to airport -
                             had to return home - Date Incurred: 11/29/2022. Cab to meeting
                             with S. Reisman and C. Giglio--Date Incurred: 11/10/2022.
                             GWG Holdings - Interview (Ben counsel) - transportation from
                             airport to home - Date Incurred: 11/29/2022. GWG Holdings -
                             Interview (Ben counsel) - transportation from home to airport -
                             Date Incurred: 11/28/2022. GWG Holdings - Interview (Ben
                             counsel) - hotel expense - lodging-Date Incurred: 11/29/2022.
                             Attend deposition of Brad Heppner in Dallas, TX - Date
                             Incurred: 12/16/2022. Attend deposition of Brad Heppner in
                             Dallas, TX - Date Incurred: 12/16/2022. Attend deposition of
                             Brad Heppner in Dallas, TX - Date Incurred: 12/15/2022.
                             Attend deposition of Brad Heppner in Dallas, TX - Date
                             Incurred: 12/14/2022. GWG Holdings - Depositions -
                             transportation from home to airport - Date Incurred:
                             12/14/2022. GWG Holdings - Depositions - transportation from
                             airport to hotel - Date Incurred: 12/15/2022. GWG Holdings -
                             Depositions - lodging expense-GWG Holdings - Date Incurred:
                             12/14/2022. GWG Holdings - Depositions - hotel expenses-
                             GWG Holdings - Date Incurred: 12/15/2022. JW Marriott
                             Houston Downtown charge on lodging during trip to Houston,
                             TX for an emergency hearing - Date Incurred: 11/14/2022.
                             Uber service charge on transportation to the airport for a
                             business trip to Houston, TX regarding GWG hearing - Date
                             Incurred: 11/29/2022. United Airlines charge on in-flight
                             internet to work on client related matters during return flight
                             home - Date Incurred: 12/01/2022. Car service charge on
                             transportation home from the airport after a business trip to
                             Houston, TX on a GWG hearing / Reservation# 2020437 - Date
                             Incurred: 12/01/2022. JW Marriott Houston Downtown charge
                             on lodging during business trip to Houston, TX for GWG
                             hearing - Date Incurred: 12/01/2022. Uber service charge on
                             transportation from the airport to the hotel for a business trip to
                             Houston, TX - Date Incurred: 11/13/2022. Car service charge
                             for transportation home after a business trip to Houston, TX for
                             a GWG hearing / Reservation# 2020434 - Date Incurred:
                             11/14/2022.
Data/Library Research        Westlaw Legal Research: CHASE,ASHLEY on 12/5/2022.                                1,506.91
Services                     Westlaw Legal Research: KITNICK,JESSE on 12/5/2022.
                             Westlaw Legal Research: KITNICK,JESSE on 12/6/2022.
                             Westlaw Legal Research: KITNICK,JESSE on 12/8/2022.
                             Westlaw Legal Research: KITNICK,JESSE on 12/13/2022.
                             Westlaw Legal Research: KITNICK,JESSE on 12/16/2022.
                             Westlaw Legal Research: KITNICK,JESSE on 12/22/2022.


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Matter:             397894.00032
Invoice #:          9020144193                                                             August 15, 2023
Invoice Due Date:   Payable Upon Receipt

Description                  Cost Description                                                          Amount
                             Westlaw Legal Research: THOMPSON,GRACE on
                             12/20/2022. Westlaw Legal Research: KITNICK,JESSE on
                             12/23/2022. Westlaw Legal Research:
                             MIRANDA,LOREDANA on 12/20/2022. Westlaw Legal
                             Research: THOMPSON,GRACE on 12/16/2022. Westlaw
                             Legal Research: KITNICK,JESSE on 12/29/2022.
                                                                    Total Disbursements:      22,252.04      USD




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L23O1<3-5-.43ÿ,.Jÿ441-<ÿ01,<2-3ÿ2.01<<-Jÿ?1201ÿ1,P-ÿ.44ÿN-4ÿO--.ÿQ434-Jÿ,3ÿ4:ÿ41-ÿ,O4P-ÿJ,4-ÿ?2;;ÿO-ÿO2;;-Jÿ,4ÿ,ÿ;,4-<ÿJ,4-Mÿ
+,44-.ÿ/1012.ÿ343-.5,.ÿ667ÿ23ÿ,.ÿK;;2.423ÿ62524-Jÿ62,O2;24Nÿ7,<4.-<312Qÿ2.0;1J2.2ÿQ<4:-3324.,;ÿ04<Q4<,424.3ÿ41,4ÿ1,3ÿ-;-04-Jÿ44ÿO-ÿ24P-<.-JÿONÿ41-ÿK;;2.423ÿR.2:4<5ÿ7,<4.-<312Qÿ004ÿÿS6DDITMÿ
+,44-.ÿ/1012.ÿ343-.5,.ÿR+ÿ667ÿ23ÿ,ÿ62524-Jÿ62,O2;24Nÿ7,<4.-<312Qÿ4:ÿ34;20244<3ÿ,.Jÿ<-2234-<-Jÿ:4<-22.ÿ;,?N-<3ÿ<-2234-<-Jÿ2.ÿU.2;,.Jÿ,.JÿV,;-3M

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3UCW4.4-34-Jÿ/,44-<38ÿ0JP-<3,<Nÿ7<40--J2.23
G4<ÿ7<4:-3324.,;ÿ[-<P20-3ÿ3-.J-<-JÿB1<4121ÿ\,.1,<Nÿ68ÿ99

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+,44-.ÿ/1012.ÿ343-.5,.ÿ667ÿ23ÿ,.ÿK;;2.423ÿ62524-Jÿ62,O2;24Nÿ7,<4.-<312Qÿ2.0;1J2.2ÿQ<4:-3324.,;ÿ04<Q4<,424.3ÿ41,4ÿ1,3ÿ-;-04-Jÿ44ÿO-ÿ24P-<.-JÿONÿ41-ÿK;;2.423ÿR.2:4<5ÿ7,<4.-<312Qÿ004ÿÿS6DDITMÿ
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               7@8        BINÿ8ÿI9@ÿH5ÿM8ÿ!8&!ÿO9ÿ"9"ÿBÿ"98&!ÿA9ÿC516D
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                               I!ÿ"8@ÿ8&ÿBI!ÿÿI9@ÿ9ÿ!8&!ÿ"8A ÿC506D
6?6P?60     M8$ÿH       Iÿ8&&98ÿ"8@ÿ!8&!ÿ"98&!ÿA9ÿC536D                           6536
6?6P?60     %A B&$ÿ  IÿA89ÿ8998@&ÿ9ÿGÿ"98&!ÿA9ÿÿ9ÿI9@ÿ                506
               7@8          ""ÿ9ÿ"8A ÿC506D
6?6#?60     K8I"G$ÿ8 8""ÿBÿ9ÿ& ÿ !ÿ"8!ÿA89ÿ8&ÿA89"ÿBÿ          5P6
                             "8A ÿC546DEÿ9B ÿI9@ÿ%5ÿF ÿ !ÿ"8!ÿA9ÿC506DEÿ
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               7@8        B&ÿÿGÿ9ÿI9@ÿ"98&!ÿS"9ÿC516DEÿIÿ"8@ÿ
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                             A9ÿC56DEÿ&""""ÿI9@ÿH5ÿL9ÿ8&ÿT5ÿM9ÿ!8&!ÿA899"ÿ
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6?62?60     Q!$ÿ%& 'A8"ÿ!8&!ÿ"8!ÿC5P6D                                                   65P6
6?62?60     K8I"G$ÿ8 TB ÿI9@ÿH5ÿL9ÿ !ÿ"8!ÿ"""ÿC5P6DEÿ                      566
                             AA89"ÿI9@ÿF899ÿ !ÿ"8!ÿ"""ÿC5P6D
6?62?60     F!$ÿQ BB 'A8"ÿI9@ÿF899ÿ!8&!ÿ"8!ÿ& ÿC56DEÿIÿ"8!ÿ& ÿ                     6506
                             C56D
6?62?60     M8$ÿH      'A8ÿ8A!ÿ5ÿK8I"Gÿ8&ÿ9@ "ÿ!8&!ÿ"8!ÿ& ÿC506D                    6506
6?63?60     Q!$ÿ%& 99&ÿF899ÿ8ÿ!8&!ÿ"8!ÿA9ÿC526DEÿ8ÿI9@ÿQ5ÿF!ÿ               5#6
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6?63?60     K8I"G$ÿ8 TB ÿI9@ÿF899ÿ !ÿ"8!ÿA9ÿC526DEÿ                       506
                             9B ÿI9@ÿ%5ÿF ÿ !ÿ"8!ÿA9ÿC546DEÿA8ÿ9ÿ
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                             C56D
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6561560 D!$ÿ<8 <8ÿ@9AÿEÿ!88!ÿ"8!ÿ=546>                                               6546
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656560 B!$ÿD 99  @ÿ6898"ÿÿ9ÿ@9Aÿ"8!ÿ8 ÿ=546>                                6546
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     Case  UVWXÿZZ[\]]^Zÿÿÿ_`abcXdeÿZfZgÿÿÿhijXkÿidÿlmnoÿ̀dÿ]pqfrqZ^ÿÿÿsVtXÿZZÿ̀uÿvg
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                           K "ÿ""ÿ9ÿ"8!ÿ99ÿ>56@
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                          9ÿ<516=>ÿ;9Fÿ9!;9ÿFÿ9ÿ?@ÿ@ÿA9ÿ899 ÿ<546=>ÿ 9 ÿ
                          "999ÿFÿ;I ÿ "ÿ9ÿÿA9ÿ899 ÿ99 "ÿ<56=
67576560 89 F;$ÿ           ;ÿ9ÿ ÿFÿ:9 ÿ9ÿ!9;!ÿ"9"ÿFÿJGJÿ"""ÿ9;ÿKÿ              7526
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67576560 99$ÿ89 :9 ÿ9ÿ!9;!ÿ9"ÿ"9"ÿ9;ÿ"9 !ÿ<7536=>ÿ9ÿ?@ÿ "Dÿ                   4516
                          F""9"ÿ!9;!ÿ"99 ÿ<536=>ÿ9ÿ?@ÿ D"ÿ9;ÿE;@; ÿ
                          899 D"ÿF""9"ÿ<506=>ÿ9ÿ?@ÿA9ÿ899 ÿ<526=>ÿ
                          :9 ÿ H9ÿÿ 99ÿFÿ"99 ÿ<5B6=>ÿ9ÿ?@ÿ:9 ÿ!9;!ÿ
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67576560  "99$ÿA  ;ÿ:9 ÿ99ÿ9ÿ!9;!ÿA9ÿ899 ÿ?I" 99"ÿ<7536=>ÿ                       5#6
                          9 ;ÿA9ÿ899 ÿ9ÿ<526=>ÿ 9 ÿFÿ"99 ÿ<576=
67577560 :!$ÿJ FF  ?ÿ;9Fÿ""ÿ<546=>ÿ9 ;ÿÿ"""ÿ9 ;ÿÿ9"9ÿ                      45B6
                          99 "ÿ<536=>ÿF?Hÿÿ9"ÿ"9"ÿ9;ÿKÿ" "ÿ<75B6=>ÿ99Lÿ
                          """ÿFÿ9 ;9ÿ<75B6=>ÿ9 ;ÿ9ÿ?@ÿ "ÿ<506=
67577560 M@9"$ÿJ9 ;ÿ9ÿ?@ÿ89 ÿE?ÿ<506=                                                  6506
67577560 69$ÿ7        ?ÿ;9Fÿ9 ;9ÿ "9ÿ<"ÿÿ7M=ÿ<7566=>ÿF ÿ?@ÿ85ÿ               7536
                          99ÿ!9;!ÿ9 ;9ÿ99 "ÿ<5B6=>ÿ99ÿ99!ÿJ5ÿ:!ÿ9;ÿ
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67577560 89;9$ÿC ;99 9 ÿ"999ÿFÿ;I ÿ "ÿ9ÿÿA9ÿ899 ÿ99 "ÿ                       756
                          <5#6=>ÿ9 ÿ99 "ÿÿJ5ÿ:!ÿÿ;9Fÿ9 ;9ÿ "9ÿ
                          <5#6=
67577560 99$ÿ89 89ÿ?@ÿ "NÿF""9"ÿ!9;!ÿ9"ÿ"9"ÿ<506=                              6506
67577560  "99$ÿA   ?ÿ9 ;9ÿ "9ÿ 9 ;ÿÿ7Mÿ9;ÿ;"""ÿFÿ"""ÿ               546
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6757560 J!$ÿ8;  ?ÿ9;ÿ99 ÿÿO; ÿ<516=>ÿ9 ;ÿ ";ÿ<546=>ÿ                    B576
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                          9! 9 ÿ<506=>ÿ9 ;ÿ9ÿ ÿFÿ9ÿ?@ÿ:9 ÿ!9;!ÿO; ÿ
                          <5B6=>ÿ9 ;ÿÿ9ÿ<526=>ÿ?ÿ9 ;9ÿ;Iÿ9;ÿ;"""ÿ?@ÿJ5ÿ
                          :!ÿ<7516=>ÿ?ÿ" 9 ÿFF ÿ<56=
6757560 :!$ÿJ FF         ;ÿOÿÿ9ÿ<526=                                               6526
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67570560     7@ ?8$ÿ 79ÿ=Cÿ99 ÿ!98!ÿ89 ÿÿ6H6ÿ"""ÿ:526;                                     6526
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                              ÿ 99ÿ?ÿ"9@ ÿ:56;
67570560      "@9$ÿG  79ÿ=Cÿ99 ÿ9@ÿ!98!ÿ9"ÿ"9"ÿ:526;                                        6526
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6757I560     9!$ÿ6 ?? 79ÿ=CÿE5ÿG ÿ:576;Bÿ@9"ÿ=Cÿ99 ÿ!98!ÿ@"9ÿ                       656
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6757I560     D9$ÿE       J@9ÿ=Cÿ75ÿ9 ÿ98ÿC "ÿ!98!ÿ<ÿK=ÿ9@ÿ:56;                       656
6757#560     6!$ÿ78      8ÿ99 ÿ89 ÿ9ÿ:516;Bÿ=ÿ9 "ÿ"9!ÿ98!"ÿ:536;Bÿ               536
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                               @9"ÿ!98!ÿG9ÿ7@@ ÿ@ !ÿ:506;
6757#560     <9=">$ÿ9 79ÿ=CÿE5ÿD9ÿ!98!ÿ@ 89ÿ:546;Bÿ 9 ÿ@ @ÿÿ99 ÿ                    7546
                               !ÿ 99"ÿ?ÿ@ 89ÿ:576;Bÿ99 ÿ9ÿ !ÿ
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6757#560     8989$ÿF 899 9 ÿ"@@9ÿ?ÿ8> ÿ "ÿ9ÿÿG9ÿ7@@ ÿ@9 "ÿ                        7576
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                                !98!ÿ"9@ ÿ:576;
6757#560     7@ ?8$ÿ 79ÿ=Cÿ99 ÿ!98!ÿ89 ÿÿ6H6ÿ"""ÿ98ÿAÿ" "ÿ:516;                         6516
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6757#560     @9$ÿ89 79ÿ=Cÿ99 ÿ!98!ÿ 99ÿ?ÿ@ 89ÿ:516;                                 6516
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                              7@@ ÿ9ÿ:5I6;Bÿ9 8ÿG9ÿ7@@ ÿ9ÿ:7566;Bÿ?=ÿÿÿ
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67572560     <9=">$ÿ9 7@@9"ÿ=Cÿ<5ÿ"ÿ !ÿÿ664ÿL""ÿ:56;Bÿ                     536
                              Mÿÿ9ÿ:516;Bÿ 9 ÿ?ÿG9ÿ7@@ ÿ9ÿ:506;Bÿ9 8ÿ
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                              9!89ÿB>ÿD5ÿ9!ÿ:56<=ÿ8ÿ>"9ÿ98!"ÿÿE5ÿ ">9ÿ
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                              B""9"ÿ!98!ÿ9"ÿ>9 "ÿ:516<=ÿ> !ÿ@CÿCÿ88ÿ
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                              "98!ÿ> "ÿ:536<=ÿ9ÿ@Cÿ89 ÿ?@ÿ:5;6<
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                              8" ÿ98ÿC9!ÿ:516<
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                              9ÿ@Cÿ89 ÿ?@ÿ!98!ÿ9"ÿ>9 "ÿ:5;6<=ÿ9 8ÿ9ÿ@Cÿ
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                              89 ÿ?@ÿ:546<=ÿ 9 ÿ">>9ÿBÿ8F ÿ "ÿ9ÿÿE9ÿ
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                              9ÿ@Cÿ89 ÿ?@ÿ!98!ÿ9"ÿ>9 "ÿ:5;6<
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                              :506<=ÿB@ÿÿÿ"C8!ÿBÿ9889ÿ> !ÿ:546<
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                          D!ÿ=546>
6750560 J6A$ÿK"  9 ÿ"889ÿ9ÿ6: ÿ "ÿ9ÿÿ;9ÿ<88 ÿ89 "ÿ                      7566
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                          =546>
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                         9ÿ;536<=ÿ9 :ÿ9ÿ89ÿAÿB:ÿ899!6 ÿ;546<=ÿ9 :ÿ9ÿ89ÿ
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                         ;56<
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012134ÿ678ÿ99                                                                                                                                                                  G-J-<,;ÿB,HÿKLC7A9ID789
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3UC[-,<2.23
G4<ÿ7<4:-3324.,;ÿ\-<P20-3ÿ3-.J-<-JÿB1<4121ÿ],.1,<Nÿ68ÿ99

G--3ÿB44,;MMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMMM 6986FM
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+,44-.ÿ/1012.ÿ343-.5,.ÿ667ÿ23ÿ,.ÿK;;2.423ÿ62524-Jÿ62,O2;24Nÿ7,<4.-<312Qÿ2.0;1J2.2ÿQ<4:-3324.,;ÿ04<Q4<,424.3ÿ41,4ÿ1,3ÿ-;-04-Jÿ44ÿO-ÿ24P-<.-JÿONÿ41-ÿK;;2.423ÿR.2:4<5ÿ7,<4.-<312Qÿ004ÿÿS6DDITMÿ
+,44-.ÿ/1012.ÿ343-.5,.ÿR+ÿ667ÿ23ÿ,ÿ62524-Jÿ62,O2;24Nÿ7,<4.-<312Qÿ4:ÿ34;20244<3ÿ,.Jÿ<-2234-<-Jÿ:4<-22.ÿ;,?N-<3ÿ<-2234-<-Jÿ2.ÿU.2;,.Jÿ,.JÿV,;-3M

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67>72>60     D9E"I$ÿ9 ÿÿ"""ÿ9!ÿÿB J"ÿÿKÿG9!ÿÿ"9!ÿAÿ            6506
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67>72>60     %9$ÿL       &A9ÿ9A!ÿ5ÿD9E"Iÿ9?ÿG "ÿ!9?!ÿG9!ÿÿ"9!ÿ             6546
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67>73>60     D9E"I$ÿ9 BAA9"ÿEGÿ89 ÿDEÿ !ÿG9!ÿÿ"9!ÿAÿ          6506
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67>71>60     O!$ÿB? &A9"ÿ!9?!ÿ"9!ÿG9!ÿ 99ÿC506FHÿ 9 ÿ"ÿKÿ             75N6
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67>71>60     89?9$ÿ@ ?99B?9 ÿ"G?!ÿG9!ÿ?9 "ÿC506F                                  6506
67>6>60     O!$ÿB? PIÿÿG9!ÿ""ÿC7536F                                             7536
67>6>60     D9E"I$ÿ9  9 ÿ9I!ÿ"ÿKÿ"ÿÿG9!ÿC546F                              546
67>6>60     %9$ÿL       &A9ÿ9A!ÿ5ÿD9E"Iÿ9?ÿG "ÿ!9?!ÿ"9!ÿAÿG9!ÿ          7506
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B9C"D$ÿ9                                            0546            7$4?566            4$00566
89>9$ÿE >99                                          65#6              276566              4#566
F9$ÿ89                                                6506              476566              70566
                            *:Gÿ%914HÿI ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿJKLM     *:Gÿ%914HÿI                 NOPNLQKMM
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G4<ÿ7<4:-3324.,;ÿ[-<P20-3ÿ3-.J-<-JÿB1<4121ÿ\,.1,<Nÿ68ÿ99

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L23O1<3-5-.43ÿ,.Jÿ441-<ÿ01,<2-3ÿ2.01<<-Jÿ?1201ÿ1,P-ÿ.44ÿN-4ÿO--.ÿQ434-Jÿ,3ÿ4:ÿ41-ÿ,O4P-ÿJ,4-ÿ?2;;ÿO-ÿO2;;-Jÿ,4ÿ,ÿ;,4-<ÿJ,4-Mÿ
+,44-.ÿ/1012.ÿ343-.5,.ÿ667ÿ23ÿ,.ÿK;;2.423ÿ62524-Jÿ62,O2;24Nÿ7,<4.-<312Qÿ2.0;1J2.2ÿQ<4:-3324.,;ÿ04<Q4<,424.3ÿ41,4ÿ1,3ÿ-;-04-Jÿ44ÿO-ÿ24P-<.-JÿONÿ41-ÿK;;2.423ÿR.2:4<5ÿ7,<4.-<312Qÿ004ÿÿS6DDITMÿ
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     Case XYZ[ÿ]]^_``a]ÿÿÿbcdef[ghÿ]i]jÿÿÿklm[nÿlgÿopqrÿcgÿ̀stiut]aÿÿÿvYw[ÿjaÿcxÿyj
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68=60=7670 O$ÿ9  OBÿ9"ÿAÿ"! "ÿIBB ÿB !"ÿAÿPÿE506F                     6506
68=64=7670 ID"$ÿ"D  ?ÿ?ÿCCÿ> ÿCB "ÿE7566F                                       7566
68=64=7670  $ÿC ?  ?ÿCÿQÿCCÿCB ÿCÿABÿDÿ> Aÿ                    85H6
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+,44-.ÿ/1012.ÿ343-.5,.ÿ667ÿ23ÿ,.ÿK;;2.423ÿ62524-Jÿ62,O2;24Nÿ7,<4.-<312Qÿ2.0;1J2.2ÿQ<4:-3324.,;ÿ04<Q4<,424.3ÿ41,4ÿ1,3ÿ-;-04-Jÿ44ÿO-ÿ24P-<.-JÿONÿ41-ÿK;;2.423ÿR.2:4<5ÿ7,<4.-<312Qÿ004ÿÿS6DDITMÿ
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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 17, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through February 28, 2023



Fees Total.............................................................................................................................................................                 24,270.00
Total Amount Due ..............................................................................................................................................                         24,270.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                             Hours
02/04/2023     Giglio, Cindi         Finalize review of December Monthly Fee Statement (1.10)                                     1.10
02/04/2023     Reisman, Steven       Review and comment and sign off on December monthly fee statement                            0.40
                                     and note redaction matters regarding same (.40)
02/13/2023     Siena, Marie          Revise November Monthly Fee Statement (.30)                                                  0.30
02/14/2023     Miranda, Loredana Review November billing statements for compliance with UST guidelines                            4.40
                                 (4.10); conferences with M. Siena regarding same (.30)
02/14/2023     Siena, Marie      Revise materials for November fee statement to incorporate L. Miranda                            2.30
                                 comments (2.00); discussion with L. Miranda regarding same (.30)
02/15/2023     Thompson, Grace Correspondence with M. Siena and L. Miranda regarding fee statements                               0.10
                                 (.10)
02/15/2023     Miranda, Loredana Review November billing statements for compliance with UST guidelines                            1.30
                                 (1.10); email with M. Siena and G. Thompson regarding same (.20)
02/15/2023     Siena, Marie      Revise materials for November fee statement to incorporate L. Miranda                            1.10
                                 comments (1.10)
02/16/2023     Siena, Marie      Revise materials for November fee statement to incorporate L. Miranda                            2.70
                                 comments (2.70)
02/19/2023     Siena, Marie          Continue to revise materials for November fee statement (1.20)                               1.20
02/20/2023     Siena, Marie          Revise materials for November fee statement (.30); emails with G.                            0.50
                                     Thompson and L. Miranda regarding same (.20)
02/21/2023     Siena, Marie      Revise materials for November fee statement (.60); emails with G.                                0.80
                                 Thompson and L. Miranda regarding same (.20)
02/22/2023     Siena, Marie      Revise materials for December fee statement to ensure compliance with                            1.10
                                 UST guidelines (1.10)
02/23/2023     Miranda, Loredana Review November billing statements for privileged and confidential                               1.00
                                 information (1.00)
02/24/2023     Thompson, Grace Review December billing statements to ensure compliance with UST                                   0.90
                                 guidelines (.90)
02/24/2023     Miranda, Loredana Review November billing statements for privileged and confidential                               5.10
                                 information (5.10)
02/26/2023     Siena, Marie      Revise materials for November fee statement to incorporate L. Miranda                            1.30
                                 edits (1.30)
02/27/2023     Thompson, Grace Further revise October billing statements (1.50); review and signoff on                            1.90
                                 October Monthly Fee Statement (.40)
02/27/2023     Miranda, Loredana Review December billing statements to ensure compliance with UST                                 3.30
                                 guidelines (1.40); correspondence with M. Siena regarding November
                                 billing statements (.30); drafted summary of November fee statement for
                                 Independent Directors (1.60)
02/27/2023     Siena, Marie          Revise materials for October fee statement (1.10); revise materials for                      8.40
                                     November fee statement to incorporate L. Miranda comments (3.40);
                                     incorporate G. Thompson comments into materials for October fee
                                     statement (.70); draft exhibits for October fee statement (2.10); revise
                                     October fee statement (.60); emails with G. Thompson and L. Miranda
                                     regarding October fee statement (.30); emails with C. Giglio regarding
                                     October fee statement (.20)
02/28/2023     Miranda, Loredana Finalize email to clients regarding October's Monthly Fee Statement (.30);                       0.40
                                 correspond with C. Giglio regarding same (.10)


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Date           Timekeeper         Description                                                                      Hours
02/28/2023     Siena, Marie       Finalize October fee statement (.20); emails with S. Reisman regarding                0.60
                                  same (.10); emails with G. Thompson regarding materials for November
                                  fee statement (.30)
                                                                                         Total Hours :              40.20




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Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        0.40            1,755.00                 702.00
Giglio, Cindi                                          1.10            1,495.00               1,644.50
Thompson, Grace                                        2.90              895.00               2,595.50
Miranda, Loredana                                     15.50              710.00              11,005.00
Siena, Marie                                          20.30              410.00               8,323.00

                                     Sub Total :      40.20   Sub Total :                    24,270.00
                                     Total Hours :    40.20   Total Fees              24,270.00   USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through February 28, 2023



Fees Total.............................................................................................................................................................                 95,295.00
Total Amount Due ..............................................................................................................................................                         95,295.00        USD




Payment can be remitted directly to our account:




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RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
02/07/2023     Barnowski, Dan     Analyze issues pertinent to standing motion and related briefing schedule                 0.50
                                  (.50)
02/08/2023     Pecoraro, Andrew Review and analyze L Bond Committee Standing Motion (.70); call with                        4.90
                                J. Hall regarding response to standing motion strategy (.50); legal research
                                regarding insurance exclusions and exceptions (1.70); draft outline of
                                response to standing motoin (2.00)
02/08/2023     Barnowski, Dan   Analysis of issues pertinent to standing motion (.70)                                       0.70
02/08/2023     Hall, Jerry        Call with A. Pecoraro regarding response to standing motion (.50); review                 1.60
                                  standing motion and outline of draft response (.90); email among C. Kelly
                                  and others regarding response to standing motion (.20)
02/08/2023     Miranda, Loredana Draft email to clients regarding standing motion (.20); emails with A.                     0.40
                                 Pecoraro regarding standing motion (.20)
02/08/2023     Roitman, Marc     Review research regarding derivative standing and insurance-related                        1.20
                                 matters (.80); emails with Katten regarding same (.40)
02/08/2023     Reisman, Steven    Update regarding response to standing motion (.70)                                        0.70
02/09/2023     Pecoraro, Andrew Draft outline of response to standing motion (1.70); legal research                         3.00
                                regarding same (1.30)
02/09/2023     Hall, Jerry      Email with A. Pecoraro regarding response to standing motion (.20);                         2.30
                                research regarding insurance exclusions (2.10)
02/10/2023     Pecoraro, Andrew Draft response to L Bond Committee Standing Motion (2.00); legal                            3.10
                                research regarding same (.60); review and analyze D&O insurance policies
                                regarding same (.50)
02/10/2023     Barnowski, Dan   Identify discovery issues for standing motion (.50); communications with                    0.70
                                C. Kelley concerning standing motion discovery (.20)
02/10/2023     Kitnick, Jesse   Call with A. Pecoraro regarding Response to L Bond Committee Standing                       1.10
                                Motion (.30); legal research regarding same (.80)
02/10/2023     Hall, Jerry      Email with A. Pecoraro regarding response to standing motion (.20)                          0.20
02/13/2023     Pecoraro, Andrew Draft response to standing motion (3.50); legal research regarding legal                    4.30
                                standards for derivative standing (.80)
02/13/2023     Barnowski, Dan   Revise outline of response to standing motion (.50)                                         0.50
02/13/2023     Kitnick, Jesse     Conduct legal research in connection with Response to L Bond Committee                    2.80
                                  Standing Motion (2.80)
02/13/2023     Hall, Jerry        Email among D. Barnowski and A. Pecoraro regarding response to                            1.70
                                  standing motion (.20); review cases cited in standing motion (1.50)
02/14/2023     Pecoraro, Andrew Draft response to standing motion (2.30); correspond with J. Hall                           3.00
                                regarding same (.20); legal research regarding claims (.50)
02/14/2023     Kitnick, Jesse   Call with A. Pecoraro regarding Response to L Bond Committee Standing                       0.10
                                Motion (.10)
02/14/2023     Hall, Jerry      Revise outline of response to standing motion (.80); review research                        1.80
                                regarding standing (1.00)
02/14/2023     Roitman, Marc    Draft proposal for potential resolution of certain contested matters (.50);                 0.80
                                emails with Katten regarding same (.30)
02/15/2023     Pecoraro, Andrew Draft response to standing motion (2.50); call with L. Miranda regarding                    2.80
                                objection to standing motion (.30)
02/15/2023     Hall, Jerry      Review research regarding standing motion (1.20)                                            1.20


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Invoice #:          9020144532                                                                             August 17, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                           Hours
02/15/2023     Reisman, Steven    Attend to matters regarding standing motion and research related to same                   0.70
                                  (.70)
02/16/2023     Barnowski, Dan     Strategy issues concerning opposition to standing motion (.40);                            0.70
                                  communications with lawyer for D. DeWesse and D. Chavenson
                                  concerning standing motion (.30);
02/16/2023     Hall, Jerry        Call with A. Pecoraro regarding response to standing motion (.10)                          0.10
02/17/2023     Pecoraro, Andrew Draft response to Standing Motion (2.40); legal research regarding claims                    7.00
                                (1.60); continue drafting response to Standing Motion (3.00)
02/17/2023     Hall, Jerry      Revise opposition to standing motion (1.80); review research regarding                       2.50
                                standing motion (.70)
02/18/2023     Barnowski, Dan   Revise draft opposition to standing motion (2.00)                                            2.00
02/18/2023     Hall, Jerry        Email among D. Barnowski and A. Pecoraro regarding opposition to                           0.70
                                  standing motion (.30); review revised opposition to standing motion (.40)
02/19/2023     Barnowski, Dan     Revise opposition to standing motion (.50)                                                 0.50
02/19/2023     Hall, Jerry        Email among D. Barnowski and A. Pecoraro regarding opposition to                           0.40
                                  standing motion (.40)
02/20/2023     Pecoraro, Andrew Review edits to response to standing motion (.40); revise response to                        1.50
                                standing motion (.90); correspond with J. Hall and D. Barnowski
                                regarding same (.20)
02/20/2023     Barnowski, Dan   Revise opposition to standing motion (1.50)                                                  1.50
02/20/2023     Hall, Jerry        Revise opposition to standing motion (multiple iterations) (1.70)                          1.70
02/21/2023     Pecoraro, Andrew Edit and finalize draft response to standing motion (.80); correspond with                   1.00
                                Katten team regarding same (.20)
02/21/2023     Giglio, Cindi      Review objection to standing (.60)                                                         0.60
02/22/2023     Pecoraro, Andrew Review and analyze Ben's filed objection to Bondholder Committee                             2.80
                                standing motion (.50); review and analyze B. Heppner's objection to
                                standing motion (.40); revise draft objection to standing motion (1.60);
                                correspond with J. Hall and D. Barnowski regarding same (.30)
02/22/2023     Giglio, Cindi      Review of standing objection response (.70); review Ben objection to                       1.20
                                  standing (.50)
02/22/2023     Barnowski, Dan     Analyze Ben’s opposition to standing motion (.50)                                          0.50
02/22/2023     Hall, Jerry        Revise response to standing motion (.80)                                                   0.80
02/22/2023     Reisman, Steven    Review and note comments to Beneficient's objection to bondholder                          1.60
                                  committee standing motion (1.20); discussions with T. Horton and J. Stein
                                  related to same (.40)
02/23/2023     Barnowski, Dan     Analysis of Heppner objection to standing motion (.50); revise and                         1.30
                                  circulate opposition to standing motion (.80)
02/23/2023     Hall, Jerry        Review B. Heppner’s objection to standing motion (1.20); email among D.                    1.70
                                  Barnowski and others regarding recent objections to standing motion (.50)
02/24/2023     Giglio, Cindi      Review Brad Hepner standing objection (.90)                                                0.90
02/24/2023     Roitman, Marc    Revise draft objection to Standing Motion (1.70); review research and                        2.60
                                select case law in connection with same (.90)
02/24/2023     Reisman, Steven Update regarding draft objection to standing motion and review of same                        1.30
                                (.70); review B. Heppner objection regarding standing (.60)
02/26/2023     Pecoraro, Andrew Review and analyze Mayer Brown comments on response to standing                              2.10
                                motion (.50); revise response to standing motion (1.00); incorporate team
                                comments regarding same (.60)




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Date           Timekeeper         Description                                                                            Hours
02/26/2023     Barnowski, Dan     Review suggested revisions to draft objection to standing motion (.40);                     1.00
                                  revise standing motion (.60)
02/26/2023     Hall, Jerry        Revise opposition to standing motion (1.30)                                                 1.30
02/26/2023     Miranda, Loredana Correspondence with A. Pecoraro and G. Thompson regarding objection                          0.40
                                 to standing motion (.20); review document tracker regarding same (.20)
02/26/2023     Roitman, Marc     Review revised draft objection to Standing Motion (1.10); emails with                        1.30
                                 Katten regarding same (.20)
02/27/2023     Pecoraro, Andrew Cite check response to standing motion (2.10)                                                 2.10
02/27/2023     Stickel, Carrie    Review bankruptcy case motion on standing (.30)                                             0.30
02/27/2023     Barnowski, Dan     Further revisions to draft opposition to standing motion (.50)                              0.50
02/28/2023     Barnowski, Dan     Final revisions to draft opposition to standing motion (.60)                                0.60
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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        4.30            1,755.00               7,546.50
Giglio, Cindi                                          2.70            1,495.00               4,036.50
Hall, Jerry                                           18.00            1,425.00              25,650.00
Roitman, Marc                                          5.90            1,270.00               7,493.00
Barnowski, Dan                                        11.00            1,245.00              13,695.00
Stickel, Carrie                                        0.30            1,020.00                 306.00
Pecoraro, Andrew                                      37.60              875.00              32,900.00
Kitnick, Jesse                                         4.00              775.00               3,100.00
Miranda, Loredana                                      0.80              710.00                 568.00

                                     Sub Total :      84.60   Sub Total :                    95,295.00
                                     Total Hours :    84.60   Total Fees              95,295.00   USD




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August 17, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through February 28, 2023



Fees Total............................................................................................................................................................. 212,186.00
Total Amount Due .............................................................................................................................................. 212,186.00                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
02/01/2023     Giglio, Cindi      Email regarding comp motion (.30); discuss with S. Reisman (.50)                           0.80
02/01/2023     Kirby, Timothy     Review preferred documentation and registration rights (2.00); review                      2.50
                                  related correspondence regarding structuring issues (.50)
02/01/2023     Roitman, Marc      Draft minutes of January 29 Special Committee meeting (.90); emails with                   1.10
                                  Katten regarding unsealing of docket entry (.20)
02/02/2023     Diskin, Bret       Review of SEC filings regarding transaction matters and structure (2.30)                   2.30
02/02/2023     Giglio, Cindi      Correspondence regarding compensation motion (.30)                                         0.30
02/02/2023     Miranda, Loredana Review docket for updates (.60)                                                             0.60
02/03/2023     Diskin, Bret       Review of S-4 filing and attached limited partnership agreement (3.20)                     3.20
02/03/2023     Giglio, Cindi      Call with Katten to discuss status (1.40); email regarding pending                         2.60
                                  compensation motion (.30); call with Akin (.40); call with S. Reisman
                                  (.30); email with J. Stein (.20)
02/03/2023     Barnowski, Dan     Email memo to J. Stein concerning releases (.40); teleconference with D.                   3.70
                                  Moses concerning settlement status (.30); teleconference with C. Kelley
                                  concerning compensation motion (.90); analysis of underlying materials
                                  pertinent to compensation motion (1.50); analysis of issues pertinent to
                                  compensation motion (.60)
02/03/2023     Hall, Jerry        Call with Katten regarding case status and related matters (partial) (.70)                 0.70
02/03/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     2.30
                                 (.60); attend Katten call regarding case status update (1.40); collect
                                 documents regarding compensation motion (.30)
02/03/2023     Comerford,         Attend Katten call (partial) regarding GWG issues (.60); review follow-up                  0.90
               Michael            issues for same (.30)
02/03/2023     Reisman, Steven    Update regarding matters related to compensation (.30); discussion with                    1.20
                                  Akin Gump regarding same (.30); follow up with J. Stein and Katten team
                                  regarding compensation issues with respect to GWG (.60)
02/06/2023     Giglio, Cindi      Attend Polly call (.40)                                                                    0.40
02/06/2023     Barnowski, Dan     Project Polly call (.40)                                                                   0.40
02/06/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     0.40
                                 (.40)
02/06/2023     Roitman, Marc     Attend call with Debtors' management and professionals (.40)                                0.40
02/07/2023     Giglio, Cindi      Call with L Bond Committee and Mayer Brown (.50); provide comments                         0.90
                                  to 1/29 minutes (.40)
02/07/2023     Barnowski, Dan     Teleconference with Mayer Brown team and J. Stein concerning                               0.80
                                  compensation motion (.30); weekly teleconference with Akin and Mayer
                                  Brown teams (.50)
02/07/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     1.20
                                 (.40); draft contact list for J. Stein (.60); conference with M.Roitman
                                 regarding docket update (.20)
02/07/2023     Roitman, Marc     Call with Debtors’ professionals and L Bond Committee’s professionals                       0.50
                                 regarding case matters (.50)
02/08/2023     Giglio, Cindi      Call with L. Chiappetta (.20); call with Mayer Brown (.90); call with L.                   1.40
                                  Miranda (.10); related follow up (.20)




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Date           Timekeeper         Description                                                                           Hours
02/08/2023     Miranda, Loredana Weekly call with Mayer Brown (.90); draft summary of call regarding                         2.30
                                 same (.30); prepare summary of docket entries relevant to Special
                                 Committee matters (.40); emails with M. Siena regarding scheduling
                                 objection deadline (.10); collect materials regarding compensation
                                 comparables (.20); conference with C. Giglio regarding same (.10); review
                                 D&O policy research for M. Roitman and A. Pecoraro (.30)
02/08/2023     Roitman, Marc     Call with Mayer Brown regarding case matters (.90); draft email to                          1.20
                                 Independent Directors regarding upcoming hearing (.30)
02/09/2023     Giglio, Cindi      Call with Mayer Brown team and other estate professionals for portion                      3.10
                                  (1.10); attend Polly call (.50); discussions with M. Roitman regarding
                                  same (.30); pre-call for L Bond Committee call (.30): call with L Bond
                                  Committee (.20); follow up call with Mayer Brown (.30); review email
                                  from Ad Hoc Group and follow up (.40)
02/09/2023     Barnowski, Dan     Revise open issues matrix (1.30); communications with J. Stein and W.                      4.10
                                  Evarts concerning strategy issues pertinent to matrix and negotiations
                                  (.70); teleconference with Mayer Brown and Katten team concerning
                                  compensation motion (1.10); Project Polly call (.50); Katten team pre-call
                                  to prepare for call with L Bond Committee (.30); weekly call with
                                  Bondholders Committee (.20); weekly call with Mayer Brown regarding
                                  strategy issues (.30)
02/09/2023     Thompson, Grace Attend call with Mayer Brown (.30); draft summary for Katten team (.10)                       0.40
02/09/2023     Hall, Jerry        Call among Katten and Mayer Brown regarding case status (portion) (.70);                   1.70
                                  pre-call regarding upcoming call with L Bond Committee (.30); call
                                  among Katten and Akin regarding case status (.20); call among J. Stein,
                                  Mayer Brown, PJT and Katten regarding case status (portion) (.50)
02/09/2023     Patt, Jeffrey      Participate in calls with J. Stein, Mayer Brown, PJT and Katten (.50)                      0.50
02/09/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     3.90
                                 (.20); attend call with Mayer Brown (1.10); draft summary of call
                                 regarding same (.60); attend Project Polly call (.50); prepare summary of
                                 call regarding same (.40); redact Board presentations (.20); attend weekly
                                 call with the Bondholder Committee (.20); prepare summary of call
                                 regarding same (.30); draft email to T. Horton regarding Project Polly call
                                 (.40)
02/09/2023     Roitman, Marc     Partial attendance at call with Debtors’ professionals regarding case                       0.80
                                 matters (.50); call with C. Giglio regarding same (.30)
02/10/2023     Giglio, Cindi      Weekly Katten status call (.60); attend Special Committee meeting (.70);                   1.50
                                  discuss same with M. Templeton (.20)
02/10/2023     Barnowski, Dan     Katten team meeting to discuss open issues and work streams (.60); attend                  1.80
                                  Special Committee meeting (.70); analysis of issues raised by
                                  compensation materials production (.50)
02/10/2023     Thompson, Grace Attend Katten team call (.60)                                                                 0.60
02/10/2023     Hall, Jerry        Call with Katten regarding case status (.60); call among Special                           2.40
                                  Committee and Katten (.70); email among M. Roitman and others
                                  regarding compensation motion (.50); research regarding director
                                  compensation (.60)
02/10/2023     Miranda, Loredana Attend Katten call regarding case status (.60); review documents produced                   5.50
                                 by Ad Hoc Committee of Broker Dealers (2.20); summarize findings for
                                 Katten team regarding same (.30); facilitate scheduling of Special
                                 Committee meeting (.10); attend meeting with the Special Committee
                                 (.70); draft minutes of Special Committee meeting (.80); revise Special
                                 Committee minutes with comments by C. Giglio (.20); prepare summary
                                 of docket entries relevant to Special Committee matters (.40); draft email
                                 to Mayer Brown regarding compensation presentation (.20)


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Date           Timekeeper         Description                                                                           Hours
02/10/2023     Comerford,         Call with Katten team to discuss status of GWG and related issues (.60);                   0.80
               Michael            email to E. Bacon regarding certain business related issues for GWG and
                                  Beneficent (.20)
02/10/2023     Roitman, Marc      Review proposed redactions for privilege regarding discovery produced in                   0.80
                                  connection with Compensation Motion (.50); emails with Katten regarding
                                  same (.30)
02/10/2023     Reisman, Steven    Attend weekly Katten team status call (.60)                                                0.60
02/13/2023     Diskin, Bret       Review of LPA and S-4 filing (1.30)                                                        1.30
02/13/2023     Giglio, Cindi      Attend Polly call with estate professionals (.40); follow up on discovery                  3.10
                                  for compensation motion (.20); call with J. Rubin (.40); follow up with
                                  Katten team and Mayer Brown teams (.70); review motion to extend
                                  exclusivity (1.00); review exclusivity motion and related emails (.40)
02/13/2023     Barnowski, Dan     Analysis of communication from W. Evarts concerning exit financing                         1.30
                                  (.20); revise draft exclusivity extension (.50); Project Polly call (.40);
                                  correspondence with C. Giglio and M. Roitman concerning Bondholder
                                  Committee (.20)
02/13/2023     Hall, Jerry        Review trust financing term sheet from W. Evarts (.40); call among Katten                  0.40
                                  and Mayer Brown regarding case status (.40)
02/13/2023     Miranda, Loredana Review and provide comments to the motion to extend exclusivity (.80);                      2.70
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (.60); attend call with Debtors' professionals regarding case status (.40);
                                 draft summary of call regarding same (.30); redact Board presentations for
                                 production (various iterations) (.50); emails with Mayer Brown regarding
                                 same (.10)
02/13/2023     Comerford,         Review update from L. Miranda regarding open issues for GWG (.20)                          0.20
               Michael
02/13/2023     Roitman, Marc      Revise draft of Exclusivity Motion (1.90); emails with Katten, Debtors'                    4.10
                                  professionals, and independent directors regarding same (.40); call with
                                  Debtors' management and professionals (.40); attend call with Mayer
                                  Brown regarding case matters (.70); further review of proposed redactions
                                  for privilege regarding discovery produced in connection with
                                  Compensation Motion (.50); emails with Katten regarding same (.20)
02/14/2023     Giglio, Cindi      Correspond on extension of objection deadline (.20); discuss status with S.                4.40
                                  Reisman (.30); attend team call (1.10); comment on information request
                                  chart (.10); review Special Committee agenda (.10); attend L Bond
                                  Committee call (.40); calls with J. Stein and S. Reisman (.40); pre-call for
                                  Special Committee call (.50); attend Special Committee call (.60); attend
                                  Polly call (.70)
02/14/2023     Stickel, Carrie    Call with Katten working group regarding potential claims regarding                        1.90
                                  SPAC (.50); follow up call with E. Bacon regarding potential claims
                                  regarding SPAC (.40); review prospectus for SPAC transaction and
                                  Delaware statute (1.00)
02/14/2023     Barnowski, Dan     Katten team teleconference to discuss next steps and status (1.10);                        4.00
                                  teleconference with Katten concerning SPAC issues (.50); Project Polly
                                  call (.70); teleconference with Mayer Brown team and Bondholders
                                  Committee (.40); Katten team call to prepare for Special Committee
                                  meeting (.50); attend Special Committee meeting (.60); analysis of
                                  Bondholder Committee letter to Ad Hoc Group (.20)
02/14/2023     Thompson, Grace Attend precall with Katten (.50); attend Special Committee meeting (.60);                     1.60
                               draft minutes of same (.50)
02/14/2023     Hall, Jerry     Attend a portion of Katten call regarding case status (.80); call among                       1.20
                               Katten, Akin, Mayer Brown and others regarding case status (.40)



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02/14/2023     Miranda, Loredana Attend Katten call regarding case status (1.10); attend Project Polly call                    4.80
                                 (.70); prepare summary of Project Polly call (.70); coordinate scheduling
                                 of Special Committee meeting (.30); call with A. Horton regarding same
                                 (.10); prepare request to clients regarding compensation matters (.60);
                                 emails with M. Roitman regarding same (.20); revise request with
                                 comments by C. Giglio (.10); draft agenda for Special Committee meeting
                                 (.30); draft email to clients regarding agenda for Special Committee
                                 meeting (.20); attend portion of call with Debtors and L Bond Committee
                                 professionals (.30); review case docket (.10); prepare summary of docket
                                 entries relevant to Special Committee matters (.10)
02/14/2023     Comerford,         Review issues in connection with Ben SPAC transaction and prior FOXO                         1.30
               Michael            research (.60); call with Katten team regarding BEN SPAC and related
                                  issues (.50); review update from L. Miranda regarding GWG issues (.20)
02/14/2023     Roitman, Marc      Call with Katten regarding case matters and strategy (1.10); attend call                     3.60
                                  with Debtors' management and professionals (.70); call with Debtors'
                                  counsel and L Bond Committee counsel (.40); attend Special Committee
                                  meeting (.60); Katten pre-call in preparation for same (.50); review
                                  materials in preparation for same (.30)
02/14/2023     Reisman, Steven    Participate in Project Polly update call (.70); attend to matters related to                 1.40
                                  case strategy (.10); participate in Special Committee meeting (.60)
02/15/2023     Giglio, Cindi      Call with Mayer Brown team (.60); finalize 2/14 minutes (.10)                                0.70
02/15/2023     Stickel, Carrie    Draft email to B. Ndregjoni regarding background and research questions                      0.70
                                  (.70)
02/15/2023     Barnowski, Dan     Communications with L Bond Committee and Ad Hoc Group about                                  1.00
                                  potential meetings (.40); Katten team teleconference with Mayer Brown
                                  team (.60)
02/15/2023     Hall, Jerry        Call among Mayer Brown and Katten regarding case status (.60)                                0.60
02/15/2023     Kirby, Timothy     Correspondence regarding 1145 analysis and de-listing issues (.40);                          1.00
                                  research regarding same (.60)
02/15/2023     Miranda, Loredana Prepare email to clients regarding outstanding meeting minutes (.30);                         2.10
                                 locate samples for Debtors' objection for A. Pecoraro (.20); teleconference
                                 with A. Pecoraro regarding same (.30); attend weekly call with Mayer
                                 Brown and Katten (.60); draft summary of call regarding same for Katten
                                 (.30); prepare summary of docket entries relevant to Special Committee
                                 matters (.30)
02/15/2023     Roitman, Marc     Attend a portion of weekly call with Debtors’ counsel regarding case                          0.50
                                 matters (.50)
02/16/2023     Ndregjoni, Bora   Review select case law regarding potential claims resulting from a SPAC                       5.40
                                 transaction (5.40)
02/16/2023     Giglio, Cindi      Call with J. Rubin and L. Chiapetta (1.00); call regarding securities                        1.70
                                  registration issues (.70)
02/16/2023     Barnowski, Dan     Strategy issues concerning compensation motion and postponement of                           0.40
                                  hearings (.40)
02/16/2023     Kirby, Timothy     Call with Mayer Brown regarding 1145 analysis and de-listing (.80);                          4.50
                                  research regarding same (3.70)
02/16/2023     Miranda, Loredana Review case docket for new entries (.10); prepare summary of docket                           0.20
                                 entries relevant to Special Committee matters (.10)
02/16/2023     Roitman, Marc     Call with Mayer Brown regarding securities law (.80)                                          0.80
02/17/2023     Ndregjoni, Bora    Review select case law regarding potential claims resulting from a SPAC                      8.60
                                  transaction (8.60)




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02/17/2023     Giglio, Cindi      Katten                                group call (.50); correspond regarding                0.60
                                  extension of deadline (.10)
02/17/2023     Barnowski, Dan     Katten team teleconference to discuss status and next steps (.50)                           0.50
02/17/2023     Thompson, Grace Correspondence regarding outstanding minutes (.20)                                             0.20
02/17/2023     Kirby, Timothy     Call with Akin and Mayer Brown regarding securities law, analysis, and                      2.00
                                  de-registration issues (.80); research regarding same (1.20)
02/17/2023     Miranda, Loredana Coordinate execution of minute meetings (.20); attend Katten call                            1.60
                                 regarding status update (.50); prepare summary of docket entries relevant
                                 to Special Committee matters (.90)
02/17/2023     Roitman, Marc     Call with Akin and Mayer Brown regarding securities law matters in                           0.80
                                 connection with the Plan (.80)
02/17/2023     Siena, Marie       Submit minutes of Special Committee meetings for signature through                          0.30
                                  DocuSign (.20); emails with L. Miranda regarding same (.10)
02/17/2023     Reisman, Steven    Call with Akin and Mayer Brown regarding securities laws issues and                         1.70
                                  follow up regarding same (1.70)
02/20/2023     Giglio, Cindi      Call with S. Reisman regarding GWG (.20)                                                    0.20
02/21/2023     Giglio, Cindi      Attend Katten team call (.80); attend Polly call (.90); call with D.                        5.10
                                  Barnowski (.20); call and correspond with S. Reisman (.40); review AHC
                                  production and emails (1.40); call before L Bond Committee call (.30);
                                  attend L Bond Committee call (.60); attend Special Committee meeting
                                  (.50)
02/21/2023     Stickel, Carrie    Review email from B. Ndregjoni summarizing research on potential                            0.40
                                  claims and SPAC transaction (.40)
02/21/2023     Barnowski, Dan     Katten team meeting to discuss status and next steps (.80); attend portion                  2.30
                                  of Project Polly call (.80); teleconference with C. Giglio concerning next
                                  steps (.20); attend Special Committee meeting (.50)
02/21/2023     Thompson, Grace Attend Katten team call (.80); attend call with Mayer Brown and Akin                           2.60
                                 (.60); draft summary of same for Katten team (.20); attend Special
                                 Committee meeting (.50); attend Katten pre-call for same (.30); call with
                                 L. Miranda regarding AHC document production (.20)
02/21/2023     Hall, Jerry       Call with Katten regarding case status (.80); call among J. Stein, T.                        1.70
                                 Horton, Mayer Brown, Katten and others regarding case status (.90)
02/21/2023     Miranda, Loredana Draft agenda for joint Special Committee meeting (.20); attend Katten call                   5.10
                                 regarding case status (.80); attend Project Polly call (.90); draft summary
                                 of Project Polly call (.70); call with G. Thompson regarding AHC
                                 document production (.20); email clients agenda for joint meeting with the
                                 Independent Directors (.20); follow-up call with G. Thompson regarding
                                 AHC document production (.20); review certain documents in AHC
                                 document production (.30); attend Katten pre call for call with Debtor's
                                 and Bondholder Committee professionals (.30); attend call with the
                                 Special Committee (.50); draft meeting minutes of Special Committee
                                 meeting (.60); prepare summary of docket entries relevant to Special
                                 Committee matters (.20)
02/21/2023     Roitman, Marc     Katten call regarding case matters (.80); attend weekly call of Debtors'                     1.70
                                 management and professionals (.90)
02/21/2023     Reisman, Steven    Attend Katten team call (.80); participate in Project Polly update call (.90);              3.00
                                  participate in Special Committee update call (.50); review and comment
                                  on Special Committee meeting minutes (.20); attend call with L Bond
                                  Committee (.60)
02/22/2023     Giglio, Cindi      Call with L. Chiapetta (.50); correspond with Katten team (.30); call with                  1.50
                                  Mayer Brown (.70)


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Matter:             397894.00010
Invoice #:          9020144564                                                                             August 17, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                           Hours
02/22/2023     Barnowski, Dan     Weekly teleconference with Mayer Brown team (.70); review notes from                       0.90
                                  meeting of bondholder committee and debtors (.20)
02/22/2023     Miranda, Loredana Revise meeting minutes with comments by D. Barnowski (.20); coordinate                      2.70
                                 reproducing the document productions of the Ad Hoc Committee of
                                 Broker Dealers and L Bond Management (.30); attend weekly call with
                                 Mayer Brown (.70); prepare summary of call regarding same for Katten
                                 team (.60); prepare summary of docket entries relevant to Special
                                 Committee matters (.90)
02/23/2023     Ndregjoni, Bora   Conference with C. Stickel and E. Bacon regarding SPAC transactions                         0.20
                                 (.20)
02/23/2023     Giglio, Cindi      Weekly call with L Bond Committee (.60); call with Mayer Brown (.50);                      1.40
                                  Katten pre-call (.30)
02/23/2023     Stickel, Carrie    Review research summary from B. Ndregjoni and analyze issues relating                      0.90
                                  to potential claims (.70); call with B. Ndregjoni regarding follow up
                                  questions on research (.20)
02/23/2023     Barnowski, Dan     Weekly call with Bondholders Committee (.70); status update call with                      1.20
                                  Mayer Brown and Katten teams (.50)
02/23/2023     Thompson, Grace Attend pre-call with Katten (.30); attend call with Akin (.60); draft                         1.40
                                 summary of same (.40)
02/23/2023     Hall, Jerry       Call among Mayer Brown and Katten regarding mediation and case status                       0.50
                                 (.50)
02/23/2023     Miranda, Loredana Follow-up on Ad Hoc Committees and L Bond Management's document                             2.20
                                 production (.20); coordinate reproduction of Ad Hoc Committees and L
                                 Bond Management's document production (.30); attend follow-up call with
                                 Mayer Brown (.50); draft summary for Katten team regarding same (.30);
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (.60)
02/24/2023     Ndregjoni, Bora   Review select case law regarding claims for a conflicted transaction (5.20)                 5.20
02/24/2023     Giglio, Cindi      Attend Polly call (.50); call with T. Kiriaokis, L. Chiappetta and S.                      0.90
                                  Reisman (.40)
02/24/2023     Stickel, Carrie    Correspond with B. Nregjoni regarding questions on research (.20)                          0.20
02/24/2023     Barnowski, Dan     Project Polly call (.50); analysis of results of tax call (.20)                            0.70
02/24/2023     Hall, Jerry        Call among Katten, Mayer Brown and others regarding case status (.50)                      0.50
02/24/2023     Miranda, Loredana Attend Project Polly Call (.50); prepare summary of call regarding same                     1.80
                                 for Katten (.40); correspondence with Katten team regarding meeting
                                 minutes (.20); prepare email to clients regarding approval of meeting
                                 minutes (.30); prepare summary of docket entries relevant to Special
                                 Committee matters (.40)
02/24/2023     Reisman, Steven    Participate in Project Polly update call (.50); discussion with Katten and                 0.90
                                  Mayer Brown (.40)
02/26/2023     Ndregjoni, Bora    Review select case law regarding SPAC transaction (2.60)                                   2.60
02/27/2023     Ndregjoni, Bora    Review select case law regarding claims following a merger or acquisition                  6.10
                                  (6.10)
02/27/2023     Stickel, Carrie    Review additional research from B. Ndregjoni regarding SPAC transaction                    0.30
                                  (.30)
02/27/2023     Barnowski, Dan     Analyze select case law from team's research (.60)                                         0.60
02/27/2023     Miranda, Loredana Review select caselaw for M. Roitman (.20); prepare summary of docket                       1.30
                                 entries relevant to Special Committee matters (1.10)
02/28/2023     Stickel, Carrie    Call with E. Bacon to discuss research and analysis (.30)                                  0.30



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Matter:             397894.00010
Invoice #:          9020144564                                                                          August 17, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                        Hours
02/28/2023     Barnowski, Dan     Katten team call concerning mediation update (.50); analyze further                     1.10
                                  revised term sheet (.60)
02/28/2023     Thompson, Grace Attend Katten team call (.50)                                                              0.50
02/28/2023     Hall, Jerry        Call with Katten regarding case status (portion) (.40)                                  0.40
02/28/2023     Miranda, Loredana Attend Katten call regarding case status (.50); prepare summary of docket                1.00
                                 entries relevant to Special Committee matters (.50)
02/28/2023     Roitman, Marc     Katten call regarding case matters and situation update (.50)                            0.50
                                                                                           Total Hours :             193.70




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Matter:              397894.00010
Invoice #:           9020144564                                                     August 17, 2023
Invoice Due Date:    Payable Upon Receipt


TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                         8.80            1,755.00              15,444.00
Giglio, Cindi                                          30.60            1,495.00              45,747.00
Hall, Jerry                                            10.10            1,425.00              14,392.50
Patt, Jeffrey                                           0.50            1,395.00                 697.50
Comerford, Michael                                      3.20            1,310.00               4,192.00
Roitman, Marc                                          16.80            1,270.00              21,336.00
Barnowski, Dan                                         24.80            1,245.00              30,876.00
Kirby, Timothy                                         10.00            1,140.00              11,400.00
Diskin, Bret                                            6.80            1,105.00               7,514.00
Stickel, Carrie                                         4.70            1,020.00               4,794.00
Thompson, Grace                                         7.30              895.00               6,533.50
Miranda, Loredana                                      41.70              710.00              29,607.00
Ndregjoni, Bora                                        28.10              695.00              19,529.50
Siena, Marie                                            0.30              410.00                 123.00

                                      Sub Total :     193.70   Sub Total :                   212,186.00
                                      Total Hours :   193.70   Total Fees             212,186.00   USD




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Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00011
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Summary


RE: Case Administration

For Professional Services Rendered Through February 28, 2023



Fees Total.............................................................................................................................................................                   4,918.50
Total Amount Due ..............................................................................................................................................                           4,918.50       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00011
Invoice #:          9020144533                                                                            August 17, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
02/02/2023     Thompson, Grace Correspondence regarding Katten/Province fee estimates (.20)                                 0.20
02/03/2023     Giglio, Cindi      Begin to review and comment on Province Monthly Fee Statement (1.30)                      1.30
02/03/2023     Thompson, Grace Provide comments on Province December Monthly Fee Statement (1.00)                           1.00
02/07/2023     Giglio, Cindi      Continue to review Province Monthly Fee Statements (.90)                                  0.90
02/07/2023     Thompson, Grace Correspondence regarding Province Monthly Fee Statements (.30)                               0.30
02/10/2023     Siena, Marie       File Province November and December Monthly Fee Statements on the                         0.70
                                  court's docket (.30); email noticing agent regarding service of same (.20);
                                  emails with G. Thompson regarding same (.20)
                                                                                            Total Hours :                   4.40




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Matter:             397894.00011
Invoice #:          9020144533                                                     August 17, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          2.20            1,495.00               3,289.00
Thompson, Grace                                        1.50              895.00               1,342.50
Siena, Marie                                           0.70              410.00                 287.00

                                     Sub Total :       4.40   Sub Total :                     4,918.50
                                     Total Hours :     4.40   Total Fees               4,918.50   USD




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                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00012
                                                                                                                                                    Invoice #:                                   9020144531
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through February 28, 2023



Fees Total.............................................................................................................................................................                   3,849.00
Total Amount Due ..............................................................................................................................................                           3,849.00       USD




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Matter:             397894.00012
Invoice #:          9020144531                                                                      August 17, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                                    Hours
02/15/2023     Giglio, Cindi      Emails regarding PCA claim (.20)                                                    0.20
02/21/2023     Miranda, Loredana Review documents to update memorandum on classification of claims                    1.60
                                 (.90); begin to revise memorandum on classification of claims (.50);
                                 emails with M. Roitman regarding same (.20)
02/22/2023     Miranda, Loredana Review documents to update memorandum on classification of claims                    1.70
                                 (1.30); finish revising memorandum on classification of claims (.40)
02/23/2023     Miranda, Loredana Review documents related to the Exchange Agreement (.60); draft                      1.00
                                 response to M. Roitman regarding same (.40)
02/24/2023     Miranda, Loredana Follow-up review of documents related to the Exchange Agreement (.40);               0.70
                                 respond to J. Hall regarding same (.30)
                                                                                       Total Hours :                  5.20




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Matter:             397894.00012
Invoice #:          9020144531                                                     August 17, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          0.20            1,495.00                 299.00
Miranda, Loredana                                      5.00              710.00               3,550.00

                                     Sub Total :       5.20   Sub Total :                     3,849.00
                                     Total Hours :     5.20   Total Fees               3,849.00   USD




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August 17, 2023
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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through February 28, 2023



Fees Total.............................................................................................................................................................                       399.00
Total Amount Due ..............................................................................................................................................                               399.00     USD




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Matter:             397894.00019
Invoice #:          9020144547                                                                         August 17, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                       Hours
02/03/2023     Miranda, Loredana Emails with M. Siena regarding calendaring hearings (.10)                               0.10
02/03/2023     Siena, Marie       Update case calendar with details of hearing on 2/28/23 (.30)                          0.30
02/07/2023     Siena, Marie       Update case calendar with details for hearing on 3/10/23 (.30)                         0.30
02/21/2023     Siena, Marie       Review notice for 3/10/23 hearing (.20)                                                0.20
                                                                                           Total Hours :                 0.90




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Matter:             397894.00019
Invoice #:          9020144547                                                       August 17, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                   Rate              Amount
Miranda, Loredana                                      0.10                 710.00                   71.00
Siena, Marie                                           0.80                 410.00                  328.00

                                     Sub Total :       0.90   Sub Total :                           399.00
                                     Total Hours :     0.90   Total Fees                   399.00    USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Investigation

For Professional Services Rendered Through February 28, 2023



Fees Total............................................................................................................................................................. 313,913.50
Total Amount Due .............................................................................................................................................. 313,913.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

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RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
02/01/2023     Diskin, Bret       Discussion with Katten team regarding negative covenants in transaction                   5.30
                                  (.50); review S-4 filing for transaction details and background (2.70);
                                  revise draft term sheet (2.10)
02/01/2023     Giglio, Cindi      Call with Katten to discuss negative covenants (.50); review of same and                  5.50
                                  comments thereto (1.20); discussions throughout the day regarding
                                  settlement terms and related issues (3.80)
02/01/2023     Barnowski, Dan     Teleconference with D. Moses, D. Dunn, J. Patt, W. Evarts and B. Diskin                   5.30
                                  concerning draft negative covenants (.50); teleconference with J. Stein and
                                  others concerning draft negative covenants (1.30); teleconference with S.
                                  Reisman concerning negative covenants (.20); preparation of negative
                                  covenants (2.60); teleconference with D. Giller of Akin concerning
                                  mediation and investigation (.20); analysis of revised term sheet and
                                  negative covenants (.50)
02/01/2023     Valenzuela,        Prepare draft of protective provisions (3.20); attention to correspondence                4.00
               Fabiola            regarding same (.80)
02/01/2023     Thompson, Grace Continue review documents produced by Ben (1.90)                                             1.90
02/01/2023     Hall, Jerry        Review revised term sheet and negative covenants (.60)                                    0.60
02/01/2023     Patt, Jeffrey      Discuss terms of proposed negative covenants and transactions with                        4.40
                                  Katten working group (.50); attend a portion of telephone call with client
                                  (.40); prepare term sheet (1.90); review and revise negative covenants and
                                  remedies (1.60)
02/01/2023     Comerford,         Review emails regarding Ben and related issues in connection with                         3.10
               Michael            mediation (.90); attend call with Katten team and Province regarding
                                  counter-proposal (.50); review follow-up emails and related
                                  documentation regarding same issues (1.70)
02/01/2023     Roitman, Marc      Review draft covenants relevant to post-SPAC governance in connection                     1.50
                                  with mediation (1.10); emails with Katten regarding same (.40)
02/01/2023     Reisman, Steven    Follow up regarding mediation term sheet, covenant, efforts to reach                      6.70
                                  resolution with Ben (3.40); discussions throughout the day with T. Horton,
                                  J. Stein and Katten team members regarding same (3.30)
02/01/2023     Hatcher, Todd      Review mediation proposals (.60)                                                          0.60
02/02/2023     Pecoraro, Andrew Review and analyze document productions (2.00); draft summary                               2.50
                                regarding hot documents (.50)
02/02/2023     Diskin, Bret     Discussion with J. Patt regarding term sheet matters (.70); review and                      1.90
                                revise term sheet (.90); discussion with client regarding same (.30)
02/02/2023     Giglio, Cindi      Review revised term sheet and related correspondence (.60); call with D.                  1.80
                                  Barnowski and M. Roitman regarding mediation (.40); teleconference with
                                  J. Stein and Debtors' professionals regarding settlements (.40); partial
                                  attendance in call with Mayer Brown and Katten regarding same (.40)
02/02/2023     Barnowski, Dan     Teleconference with J. Stein concerning status of mediation discussions                   3.20
                                  (.20); analysis of counterproposal (.50); prepare memo analyzing
                                  counterproposal (.40); teleconferences with M. Roitman and C Giglio
                                  concerning next steps in mediation (.40); teleconference with J. Stein, W.
                                  Evab, Province and Katten teams to discuss mediation counter (.40);
                                  teleconference with Mayer Brown and Katten teams about next steps and
                                  status (.50); teleconference with Ben counsel, W. Evab and J. Stein to
                                  mediate claims (.80)



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Date           Timekeeper          Description                                                                            Hours
02/02/2023     Hall, Jerry         Email with Katten regarding mediation (.30); confer with M. Roitman and                     1.00
                                   C. Giglio regarding mediation and related matters (.50); review revised
                                   term sheet (mediation) (.20)
02/02/2023     Patt, Jeffrey       Discuss term sheet issues with B. Diskin (.70); review same (.30); follow                   1.30
                                   up on status of term sheet (.30)
02/02/2023     Miranda, Loredana Review document produced by Ben in response to 2004 notice (1.70);                            2.00
                                 prepare Debtor's document production for attorney review (.30)
02/02/2023     Comerford,          Review term sheet and revisions in connection with mediation (1.10)                         1.10
               Michael
02/02/2023     Roitman, Marc       Call with D. Barnowski and C. Giglio regarding mediation (.40); call with                   1.90
                                   J. Stein and Debtors' professionals regarding settlement counter (.40);
                                   review settlement counter (.60); call with Mayer Brown regarding
                                   mediation and related matters (.50)
02/02/2023     Reisman, Steven     Follow up regarding matters related to GWG mediation (1.90); discussions                    5.70
                                   with various counsel in efforts to reach resolution (.90); review term sheet
                                   and edits to same (2.90)
02/03/2023     Pecoraro, Andrew Review and analyze documents produced by Debtors (1.80)                                        1.80
02/03/2023     Barnowski, Dan      Teleconference with J. Stein concerning mediation next steps (.20); Katten                  1.60
                                   team call to discuss next steps in mediation (1.40)
02/03/2023     Miranda, Loredana Emails with A. Pecoraro regarding document review (.20); prepare search                       4.50
                                 terms for Debtor's document production with relativity vendor (.20);
                                 review documents produced by the Debtors (4.10)
02/03/2023     Roitman, Marc     Call with Katten regarding investigation matters, mediation, and strategy                     2.30
                                 (1.40); call with C. Kelley regarding mediation-related matters (.20);
                                 review materials produced in connection with Investigation (.50); emails
                                 with L. Miranda regarding same (.20)
02/03/2023     Reisman, Steven Participate in call with Katten team members including M. Roitman and                           2.30
                                 others regarding investigation update and strategy (1.40); discussion with
                                 J. Stein regarding release issues (.30); follow up regarding matters related
                                 to next steps in connection with mediation and strategy (.60)
02/04/2023     Giglio, Cindi       Attend portion of call with Katten regarding mediation (.50)                                0.50
02/05/2023     Giglio, Cindi       Review Ben counterproposal and related correspondence (.50)                                 0.50
02/05/2023     Barnowski, Dan      Analysis of revised settlement proposal (.80); teleconference with Ben and                  2.00
                                   GWG teams to go over proposal (.50); teleconference with J. Stein
                                   concerning next steps (.20); communications with Katten and Province
                                   concerning settlement proposal (.50)
02/05/2023     Hall, Jerry         Review term sheet from Beneficient (mediation) (.40)                                        0.40
02/05/2023     Reisman, Steven     Attend to matters regarding GWG / Ben term sheet on settlement for                          0.90
                                   mediation and counter proposal (.70); review emails regarding settlement
                                   proposal from Beneficient (.20)
02/06/2023     Diskin, Bret        Call with Katten regarding term sheet issues (.80); follow up on related                    4.80
                                   matters (.20); review S-4 and underlying contracts regarding open issues
                                   in term sheet (2.20); creation of issues list and positions chart for client
                                   regarding open matters and movement in Ben's latest draft (1.60)
02/06/2023     Giglio, Cindi       Email regarding Investigations Committee meeting (.10); call with M.                        2.30
                                   Roitman and D. Barnowski regarding releases (.80); emails regarding
                                   settlement terms (.40); call with Katten to discuss term sheet (.80); related
                                   follow up (.20)




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02/06/2023     Barnowski, Dan     Prepare short memo responding to revisions to release section of proposed                  3.80
                                  term sheet (.70); analysis of proposed term sheet (.40); teleconference with
                                  C. Giglio and M. Roitman concerning release section of proposed term
                                  sheet (.80); teleconference with D. Moses concerning status (.20);
                                  teleconference with J. Stein and Katten team concerning response to
                                  counter proposal (.70); revise release section of proposal (.40); revise
                                  release counter proposal and cover memo (.60)
02/06/2023     Hall, Jerry        Email among D. Barnowski and others regarding investigation (.30)                          0.30
02/06/2023     Patt, Jeffrey      Telephone call with client and Katten (.70); review and revise term sheet                  1.70
                                  (1.00)
02/06/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); emails with C.                     0.30
                                 Giglio and D. Barnowski regarding same (.10)
02/06/2023     Roitman, Marc     Draft memorandum analyzing potential claims against potential released                      7.10
                                 parties (2.70); research in connection with same (.90); call with D.
                                 Barnowski and C. Giglio regarding potential released parties (.80); call
                                 with J. Stein and Katten regarding mediation and related matters (.70);
                                 draft email regarding mediation update (.50); revise term sheet for
                                 potential settlement (1.50)
02/07/2023     Diskin, Bret      Call with Katten, PJT, and others regarding term sheet (1.10); revise term                  3.00
                                 sheet and issues matrix regarding open items (1.90)
02/07/2023     Giglio, Cindi      Follow up related to settlement (.50); call with J. Stein and Katten                       0.70
                                  regarding releases and settlement (.20)
02/07/2023     Barnowski, Dan     Revise proposed release section of proposal (.50); teleconference with J.                  2.90
                                  Stein and Katten concerning releases and next steps (.20); teleconference
                                  with J. Stein, PJT Team, and Katten team to revise counterproposal (1.10);
                                  analysis of further revised proposal (.40); call with M. Roitman regarding
                                  investigation (.10); analyze SEC subpoena and related documents (.60)
02/07/2023     Hall, Jerry        Email among S. Reisman, M. Roitman and others regarding case status                        1.50
                                  and mediation (including review of multiple iterations of term sheet)
                                  (1.50)
02/07/2023     Patt, Jeffrey      Review and discuss changes to term sheet (1.40)                                            1.40
02/07/2023     Miranda, Loredana Incorporate comments by C. Giglio to Investigations Committee minutes                       3.00
                                 (.40); emails Katten team regarding same (.10): draft email to clients for
                                 approval of minutes (.20); coordinate attorney review of Debtor's
                                 document production (.60); review document production (.30); prepare
                                 email to Katten team regarding same (.30); draft email to client regarding
                                 Debtor's document production (.60); incorporate comments by M. Roitman
                                 to email regarding same (.20); review document referenced in SEC
                                 subpoena (.30)
02/07/2023     Comerford,         Review emails regarding term sheet and release issues (.30); review                        0.80
               Michael            updated term sheet (.50)
02/07/2023     Roitman, Marc      Revise memorandum analyzing potential released releases and potential                      5.50
                                  causes of action (1.70); review documents relating to investigation in
                                  connection with same (.60); call with D. Barnowski regarding same (.10);
                                  call with J. Stein, PJT and Katten regarding mediation term sheet (1.10);
                                  call with C. Giglio and D. Barnowski regarding term sheet (.30); further
                                  revise term sheet (.70); emails with Katten regarding same (.40); review
                                  SEC subpoena (.30); draft email to clients regarding same (.30)
02/07/2023     Reisman, Steven    Call among Katten and PJT regarding term sheet (1.10); discussions with                    1.20
                                  J. Stein and T. Horton related to same (.10)
02/07/2023     Hatcher, Todd      Review term sheet issues list (.30); review further revised term sheet (.30)               0.60




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Date           Timekeeper         Description                                                                            Hours
02/08/2023     Diskin, Bret       Attend conference call regarding term sheet with Ben (.80); revisions to                    2.40
                                  conform with comments (1.40); discussion with J. Stein and D. Barnowski
                                  regarding comments to term sheet (.20)
02/08/2023     Giglio, Cindi      Review term sheets and emails (.40)                                                         0.40
02/08/2023     Barnowski, Dan     Analyze Ben counterproposal (1.10); teleconference with Ben team to go                      3.90
                                  over counterproposal (.60); teleconference with D. Moses concerning
                                  counterproposal (.20); teleconference with J. Stein and B. Diskin
                                  concerning next steps (.20); communications with Katten team concerning
                                  counterproposal, next steps and strategy issues (.60); call with M. Roitman
                                  regarding mediation (.30); analyze revised counter-proposal (.30);
                                  teleconference with Mayer Brown team concerning next steps (.60)
02/08/2023     Roitman, Marc      Call with T. Horton regarding investigation matters and mediation (.30);                    3.20
                                  partial attendance at call with Debtors and Investigations Committee
                                  advisors regarding mediation matters (.30); call with D. Barnowski
                                  regarding mediation matters and term sheet (.30); review Ben term sheet
                                  response (.80); emails with Katten regarding same (.40); follow up
                                  research regarding potential released parties (1.10)
02/08/2023     Reisman, Steven    Review Ben term sheet and follow up regarding mediation matters and                         0.70
                                  matters related to same and discussions with T. Horton and J. Stein
                                  regarding same (.70)
02/09/2023     Diskin, Bret       Creation of issues matrix based on recent term sheet and exhibit drafts                     2.60
                                  (2.00); discussion regarding same with internal team (.60)
02/09/2023     Giglio, Cindi      Emails regarding meeting with Ad Hoc Group representatives (.10)                            0.10
02/09/2023     Barnowski, Dan     Redact Investigations Committee meeting minutes for production (.50)                        0.50
02/09/2023     Hall, Jerry        Email among D. Barnowski and others regarding mediation status (.20)                        0.20
02/09/2023     Patt, Jeffrey      Review and revise issues matrix (.80)                                                       0.80
02/09/2023     Miranda, Loredana Update document tracker with new diligence (.20)                                             0.20
02/09/2023     Roitman, Marc      Attend weekly call with Debtors’ management and professionals (.90)                         0.90
02/09/2023     Hatcher, Todd      Review draft term sheet (.40)                                                               0.40
02/10/2023     Diskin, Bret       Revision of term sheet and email correspondence regarding same (.80)                        0.80
02/10/2023     Barnowski, Dan     Revise issues matrix for mediation (1.10); communications with Ben                          2.10
                                  counsel concerning same (.30); teleconferences with J. Stein concerning
                                  next steps on mediation (.20); revise communications to all parties
                                  concerning mediation (.20); revise Investigations Committee meeting
                                  minutes (.30)
02/10/2023     Patt, Jeffrey      Review and discuss changes to term sheet; revise summary of same (1.70)                     1.70
02/10/2023     Miranda, Loredana Emails with R. Brady regarding Debtor's document production (.20)                            0.20
02/10/2023     Reisman, Steven    Review materials in connection with mediation and issues for discussion                     0.60
                                  (.60)
02/13/2023     Barnowski, Dan     Teleconference with J. Stein concerning mediation (.20); revise Ben’s                       1.90
                                  proposed submission to mediator (.80); teleconference with D. Moses
                                  about settlement negotiations (.40); identify redactions to documents for
                                  production (.50)
02/13/2023     Thompson, Grace Review newly produced documents from Ben (1.20)                                                1.20
02/13/2023     Hall, Jerry        Email among Katten and Mayer Brown regarding mediation (.20)                                0.20




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Date           Timekeeper         Description                                                                           Hours
02/13/2023     Miranda, Loredana Coordinate attorney review of documents produced by the Debtors and                         3.90
                                 Ben (.50); provide search terms for Debtor's document production (.30);
                                 emails with relativity vendor regarding same (.20); update document
                                 tracker with new diligence received (.20); review documents produced by
                                 Debtors (2.70)
02/13/2023     Reisman, Steven    Attend to issues regarding mediation and settlement (.80); review matters                  2.40
                                  related to liquidation trust (1.60)
02/14/2023     Thompson, Grace Review documents produced by Ben (2.50)                                                       2.50
02/14/2023     Miranda, Loredana Review documents produced by Debtors (.90)                                                  0.90
02/14/2023     Reisman, Steven    Follow up regarding mediation and next steps (1.10); coordinate matters                    3.70
                                  regarding scheduling of mediation session (.20); discussions with M.
                                  Stamer at Akin (.40); discussions with J. Stein and follow up (.20); status
                                  update on matters related to mediation (.40); discussions throughout the
                                  day with Independent Directors regarding same (1.40)
02/15/2023     Giglio, Cindi      Correspondence regarding presentation to LBM / Ad Hoc Group (.50);                         1.10
                                  communications with Katten team regarding mediation (.60)
02/15/2023     Barnowski, Dan     Communications with Katten team about mediation issues and strategy                        1.00
                                  (.50); analysis of communications with mediator concerning mediation
                                  (.30); respond to request from SEC for deposition transcripts (.20)
02/15/2023     Miranda, Loredana Review documents produced by Ben in response to 2004 Notice (3.80);                         4.40
                                 prepare presentations to L Bond Management and Ad Hoc Committee of
                                 Broker Dealers (.20); respond to email of vendor Digital Evidence Group
                                 regarding invoices (.20); emails with M. Siena regarding same (.20)
02/15/2023     Roitman, Marc     Draft email to creditor constituents regarding mediation (.80); call with J.                3.60
                                 Stein regarding mediation (.10); prepare for presentations to creditor
                                 constituents concerning mediation and potential causes of action (2.70)
02/15/2023     Reisman, Steven Update regarding document production from Ben with respect to 2004                            2.20
                                 exam (1.20); follow up regarding matters related to mediation (.30);
                                 discussions with Katten team regarding strategy (.70)
02/16/2023     Barnowski, Dan    Prepare for separate meetings with Ad Hoc Group and L Bond Committee                        3.40
                                 (.90); emails to Ad Hoc Group and L Bond Committee counsel concerning
                                 nature of tomorrow’s meetings (.30); several communications with L Bond
                                 Committee and Ad Hoc Group about meetings (.30); review meeting
                                 agenda for same (.20); revise presentation for use in Ad Hoc Group and L
                                 Bond Committee meetings (.60); analysis of strategy issues concerning
                                 meetings with L Bond Committee and Ad Hoc Group (.40); attention to
                                 privilege issues pertinent to L Bond Committee and Ad Hoc Group
                                 meetings (.40); communications with Willkie concerning depositions
                                 produced (.30)
02/16/2023     Hall, Jerry       Email among D. Barnowski and others regarding mediation presentations                       1.90
                                 (.90); review revised mediation presentation (multiple iterations) (1.00)
02/16/2023     Miranda, Loredana Draft agenda for meeting with L Bond Management (.30); draft agenda for                     5.60
                                 meeting with Ad Hoc Committee of Broker/Dealers (.30); update agenda
                                 with comments by M. Roitman (.20); review documents produced by Ben
                                 in response to 2004 Notice (4.20); respond to D. Barnowski regarding
                                 deposition transcripts (.30); email agenda for LBM and Ad Hoc
                                 Committee meeting to Katten team (.20)
02/16/2023     Roitman, Marc     Further preparation for presentations to creditors regarding potential                      1.70
                                 claims and causes of action (1.70)
02/16/2023     Reisman, Steven Review materials in connection with preparing for mediation including                         1.60
                                 mediation presentation and edits to same (1.60)




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02/17/2023     Giglio, Cindi      Attend portion of presentation to AHC on Ben claims (1.00); presentation                  2.50
                                  to L Bond Committee on Ben claims (1.50)
02/17/2023     Barnowski, Dan     Meeting with Ad Hoc Group (1.50); teleconference with M. Roitman                          4.50
                                  concerning L Bond Committee meeting (.20); meeting with L Bond
                                  Committee (1.50); communications with Ben counsel concerning potential
                                  releases (.50); approve draft minutes from Investigations Committee
                                  meeting (.30); teleconferences with J. Stein concerning mediation (.50)
02/17/2023     Miranda, Loredana Review documents produced by Ben in response to 2004 notice (4.40)                         4.40
02/17/2023     Roitman, Marc      Call with counsel to Ad Hoc Group regarding potential claims and causes                   4.10
                                  of action (1.50); follow up call with D. Barnowski regarding same (.20);
                                  call with counsel to L Bond Management regarding potential claims and
                                  causes of action and upcoming plan mediation (1.50); further preparation
                                  in connection with same (.90)
02/17/2023     Reisman, Steven    Update regarding mediation matters (.30); discussions with J. Stein and T.                1.40
                                  Horton regarding update on mediation matters (.30); update regarding
                                  Katten call with creditor constituencies regarding potential claims and
                                  causes of action (.80)
02/21/2023     Giglio, Cindi      Attend Investigations Committee meeting (.30)                                             0.30
02/21/2023     Barnowski, Dan     Analysis of AHG’s document production (1.50); teleconference with S.                      3.50
                                  Reisman concerning mediation (.20); teleconference with D. Giller
                                  concerning discovery issues (.20); Katten pre-call to prep for
                                  Investigations Committee meeting (.30); attend Investigations Committee
                                  meeting (.30); teleconference with B. Rosen to follow up on Friday’s
                                  meeting (.20); report to team concerning document production issues
                                  (.30); begin preparations for T. Kice deposition (.50)
02/21/2023     Thompson, Grace Continue reviewing documents produced by Ben (1.30); reivew AHC                              3.40
                                 documents (1.00); related correspondence with Katten team (.30); calls
                                 with L. Miranda regarding the same (.30); attend Investigations
                                 Committee meeting (.30); correspondence regarding new documents for
                                 review (.20)
02/21/2023     Hall, Jerry       Email among D. Barnowski and others regarding upcoming depositions                         1.30
                                 (.20); Katten pre-call regarding upcoming call with Investigations
                                 Committee (.30); call among Investigations Committee and Katten
                                 regarding case status (.30); email among D. Barnowski and others
                                 regarding mediation (.50)
02/21/2023     Miranda, Loredana Review documents produced by Ben in response to the 2004 notice (1.60);                    3.80
                                 draft summary of hot documents (.40); correspond with D. Barnowski
                                 regarding document review for upcoming deposition (.20); emails Veristar
                                 regarding search parameters for document review (.20); spot check search
                                 results from Veristar (.20); attend call with G. Thompson regarding
                                 document review (.30); attend call with the Investigations Committee
                                 (.30); draft meeting minutes of Investigations Committee meeting (.60)
02/21/2023     Reisman, Steven    Katten pre-call (.30); participate in Investigations Committee update call                1.50
                                  (.30); review of minutes from prior meetings (.20); discussions with D.
                                  Barnowski regarding mediation and mediation prep (.20); follow up
                                  regarding ad hoc committee document production and other matters (.50)
02/22/2023     Diskin, Bret       Review of revisions to term sheet (.60)                                                   0.60
02/22/2023     Giglio, Cindi      Call with internal team (1.30)                                                            1.30




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Date           Timekeeper         Description                                                                          Hours
02/22/2023     Barnowski, Dan     Revise minutes from meetings of the Investigations Committee (.40);                       5.40
                                  analyze documents relating to T. Kice (3.50); communications with
                                  Bondholder Committee concerning production of Ad Hoc Committee and
                                  LBM documents (.20); teleconference with Katten team concerning
                                  mediation (1.30)
02/22/2023     Thompson, Grace Correspondence with Katten team regarding document productions and                           2.80
                                 review (.30); review background materials on T. Kice (.30); review
                                 documents related to T. Kice for deposition (2.20)
02/22/2023     Hall, Jerry       Call with Katten team regarding mediation and case status (1.30); email                    1.80
                                 among Katten and Mayer Brown regarding mediation (.50)
02/22/2023     Miranda, Loredana Coordinate with relativity vendor document searches to prepare for                         4.20
                                 potential depositions (.70); correspond with D. Barnowski regarding same
                                 (.30); finish drafting summary of hot documents from Ben document
                                 production (.70); draft document summary for deposition of T. Kice (.60);
                                 review documents to prepare for deposition of T. Kice (1.90)
02/22/2023     Comerford,         Attend a portion of Katten call regarding next steps for GWG and                          1.00
               Michael            mediation (1.00)
02/22/2023     Roitman, Marc      Call with Katten team regarding case matters and strategy (1.30)                          1.30
02/22/2023     Reisman, Steven    Attend Katten team call regarding mediation and other matters (1.30)                      1.30
02/23/2023     Barnowski, Dan     Teleconference with S. Reisman about mediation strategy (.30)                             0.30
02/23/2023     Thompson, Grace Review documents for T. Kice deposition (2.60); continue reviewing                           5.50
                                 documents for T. Kice deposition (1.70); summarize key documents for
                                 deposition prep (1.20)
02/23/2023     Miranda, Loredana Review documents to prepare for deposition of T. Kice (4.30); continue                     5.60
                                 drafting document summary regarding same (1.10); correspond with G.
                                 Thompson regarding same (.20)
02/23/2023     Reisman, Steven    Coordination of matters regarding mediation and ongoing workstreams                       1.40
                                  (.60); discussion with D. Barnowski regarding mediation matters (.30);
                                  update regarding call with L Bond Committee and issues related to same
                                  (.50)
02/24/2023     Barnowski, Dan     Prepare for T. Kice deposition (4.10)                                                     4.10
02/26/2023     Barnowski, Dan     Communications with Bondholders Committee about T. Kice deposition                        0.20
                                  scheduling (.20)
02/27/2023     Barnowski, Dan     Analysis of proposed term sheet (.60); prepare for T. Kice deposition                     2.50
                                  (1.90)
02/27/2023     Hall, Jerry        Email among C. Giglio and others regarding mediation (.30)                                0.30
02/27/2023     Miranda, Loredana Update document summary for T. Kice to prepare to deposition (.90);                        1.60
                                 review documents related to Ben regarding same (.50); correspondence
                                 with G. Thompson regarding same (.20)
02/28/2023     Barnowski, Dan    Analysis of request for removal of confidentiality designation, and review                 3.40
                                 underlying materials (.80); communications with team concerning
                                 confidentiality issue (.20); review T. Kice documents for deposition
                                 (1.80); analysis of SEC complaint against L Bond broker (.60)
02/28/2023     Miranda, Loredana Coordinate attorney review of Debtor's document productions (.50)                          0.50
02/28/2023     Hatcher, Todd      Review proposed term sheet (.30)                                                          0.30
                                                                                           Total Hours :               260.00




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Invoice Due Date:     Payable Upon Receipt


TIME SUMMARY
United States
Name                                                   Hours                  Rate             Amount
Reisman, Steven                                         33.60            1,755.00              58,968.00
Giglio, Cindi                                           17.00            1,495.00              25,415.00
Hall, Jerry                                              9.50            1,425.00              13,537.50
Patt, Jeffrey                                           11.30            1,395.00              15,763.50
Hatcher, Todd                                            1.90            1,390.00               2,641.00
Comerford, Michael                                       6.00            1,310.00               7,860.00
Roitman, Marc                                           33.10            1,270.00              42,037.00
Barnowski, Dan                                          55.50            1,245.00              69,097.50
Diskin, Bret                                            21.40            1,105.00              23,647.00
Valenzuela, Fabiola                                      4.00              920.00               3,680.00
Thompson, Grace                                         17.30              895.00              15,483.50
Pecoraro, Andrew                                         4.30              875.00               3,762.50
Miranda, Loredana                                       45.10              710.00              32,021.00

                                       Sub Total :     260.00   Sub Total :                   313,913.50
                                       Total Hours :   260.00   Total Fees             313,913.50   USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through February 28, 2023



Fees Total............................................................................................................................................................. 139,429.00
Total Amount Due .............................................................................................................................................. 139,429.00                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
02/01/2023     Hatcher, Todd      Review correspondence related to Board rights and governance in new                        0.40
                                  plan structure (.40)
02/02/2023     Hatcher, Todd      Review summary of key terms of plan (.40)                                                  0.40
02/09/2023     Giglio, Cindi      Review M. Roitman edits and related follow up (.40)                                        0.40
02/09/2023     Barnowski, Dan     Analysis of disclosure statement and plan issues (.80); analysis of revised                1.40
                                  draft plan (.60)
02/09/2023     Hall, Jerry        Review revised plan (.50); review revised disclosure statement (.50)                       1.00
02/09/2023     Miranda, Loredana Update disclosure statement with investigation updates (.80); emails with                   1.20
                                 M.Roitman regarding same (.10); incorporate comments to disclosure
                                 statement (.30)
02/09/2023     Roitman, Marc     Draft revisions to plan of reorganization (2.60); emails with Katten, Mayer                 7.10
                                 Brown, and Independent Directors regarding same (.50); review draft
                                 revisions to Disclosure Statement (1.80); emails with Katten regarding
                                 same (.40); draft analysis of Plan matters identified by Bondholder
                                 Committee in statement filed with Bankruptcy Court (1.50); emails with
                                 Katten regarding same (.30)
02/09/2023     Hatcher, Todd     Review updated plan and disclosure statement (.60)                                          0.60
02/10/2023     Giglio, Cindi      Review and comment on solicitation procedures motion (1.20);                               1.60
                                  correspondence related to plan (.40)
02/10/2023     Barnowski, Dan     Review revised disclosure statement, plan and solicitation (1.20);                         1.80
                                  communications with team concerning revised plan documents (.60)
02/10/2023     Hall, Jerry        Revise disclosure statement (multiple iterations) (1.00); email among M.                   2.40
                                  Roitman and others regarding revised disclosure statement (.50); revise
                                  solicitation motion (.60); email among C. Giglio and others regarding
                                  solicitation motion (.30)
02/10/2023     Miranda, Loredana Review solicitation motion (.80); incorporate comments by C. Giglio and                     1.80
                                 M.Roitman to solicitation motion (various iterations) (.90); emails with
                                 Mayer Brown regarding solicitation motion (.10)
02/10/2023     Comerford,        Review email and related mark-up of plan documents from M. Roitman                          1.10
               Michael           (1.10)
02/10/2023     Roitman, Marc      Further review draft revisions to plan of reorganization (2.50); draft                     7.60
                                  further revisions to Disclosure Statement (2.90); draft revisions to
                                  Solicitation Motion (1.60); emails with Katten, Mayer Brown, and
                                  Independent Directors regarding Plan, Disclosure Statement, and
                                  Solicitation Motion (.60)
02/10/2023     Baker, Taryn       Review updated GWG Disclosure Statement and confirm no tax concerns                        1.10
                                  with respect to latest draft (1.10)
02/10/2023     Hatcher, Todd      review revised plan (.80); review revised disclosure statement (.80)                       1.60
02/11/2023     Hall, Jerry        Email among C. Giglio and others regarding plan and disclosure statement                   0.20
                                  filings (.20)
02/15/2023     Pecoraro, Andrew Review and analyze amended plan and disclosure statement (.40); legal                        0.80
                                research regarding same (.40)
02/15/2023     Roitman, Marc    Call with Mayer Brown regarding tax matters in connection with plan of                       1.10
                                reorganization (.40); call with Akin and Mayer Brown regarding same
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Date           Timekeeper         Description                                                                            Hours
02/15/2023     Reisman, Steven    Update regarding matters related to plan and disclosure statement(.20);                     0.60
                                  call with Katten and Mayer Brown regarding same (.40)
02/15/2023     Baker, Taryn       Call with Mayer Brown regarding tax issues (.40); call with Akin and                        1.80
                                  Mayer Brown regarding same (.70); review notes regarding same (.30);
                                  summarize and circulate call notes related to the same (.40)
02/15/2023     Hatcher, Todd      Discuss tax planning issues with Mayer Brown tax (.40); call with Akin                      1.60
                                  and Mayer Brown tax to discuss plan structure (.70); review plan draft
                                  (.50)
02/16/2023     Giglio, Cindi      Call with Kirkland regarding Paul Capital (.60)                                             0.60
02/16/2023     Roitman, Marc      Call with Kirkland regarding plan of reorganization matters relating to                     0.60
                                  Paul Capital (.60)
02/16/2023     Reisman, Steven    Update regarding matters related to plan, treatment of Paul Capital claim                   0.80
                                  and attend to matters with respect to same (.40); update regarding
                                  securities laws matters relevant to plan (.40)
02/16/2023     Baker, Taryn       Conduct tax research related to tax planning for troubled companies and                     3.40
                                  application of certain private letter rulings (3.40)
02/21/2023     Thompson, Grace Correspondence regarding Seller Trust L Bonds (.20)                                            0.20
02/21/2023     Roitman, Marc      Review of memorandum regarding classification of certain claims in                          0.70
                                  connection with plan of reorganization (.50); emails with L. Miranda
                                  regarding same (.20)
02/22/2023     Giglio, Cindi      Review L. Miranda memo on seller trust classification (.50); follow up on                   1.00
                                  seller trust bonds (.50)
02/22/2023     Barnowski, Dan     Analyze memo concerning treatment of Seller Trust L Bonds (.30)                             0.30
02/22/2023     Thompson, Grace Provide comments on Seller Trust memo (.20)                                                    0.20
02/22/2023     Miranda, Loredana Correspond with V. Bulkin regarding Amended Plan and Disclosure                              0.20
                                 Statement (.20)
02/22/2023     Roitman, Marc     Draft email memorandum regarding potential treatment of Seller Trust L                       3.50
                                 Bonds (2.40); review of indenture and related agreements in connection
                                 with same (1.10)
02/23/2023     Barnowski, Dan    Analysis of Seller Trust memo and follow-up on same (.40)                                    0.40
02/24/2023     Giglio, Cindi      Call with EY and Mayer Brown tax to discuss tax analysis (.80); call with                   2.10
                                  G. Thompson regarding same (.10); review of tax analysis (1.20)
02/24/2023     Thompson, Grace Call with Mayer Brown tax team and E&Y (.80); draft summary of call for                        3.20
                               Katten (1.30); call with C. Giglio regarding same (.10); related
                               correspondence regarding tax matters (.40); review Mayer Brown
                               presentation (.20); related correspondence with Katten (.40)
02/24/2023     Hall, Jerry     Email among L. Miranda and others regarding Seller Trust matters (.40)                         0.40
02/24/2023     Hatcher, Todd      Review tax restructuring analysis from EY (.60); call with Mayer Brown                      2.50
                                  tax to discuss (.50); call with EY and Mayer Brown tax to discuss tax
                                  restructuring analysis (.80); review updated tax analysis slide deck (.60)
02/25/2023     Hatcher, Todd      Review revised tax analysis from EY and correspondence with EY                              1.10
                                  regarding same (1.10)
02/26/2023     Giglio, Cindi      Attend a portion of call to discuss tax issues related to plan and related                  1.60
                                  correspondence (1.60)
02/26/2023     Roitman, Marc      Review and analysis of proposed edits to plan of reorganization received                    0.70
                                  from Bondholder Committee (.70)
02/26/2023     Hatcher, Todd      Call with various advisors to discuss Mayer Brown tax analysis (1.80);                      2.30
                                  review EY summary tax analysis (.50)
02/27/2023     Giglio, Cindi      Attend all day mediation (12.80)                                                        12.80


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Date           Timekeeper         Description                                                                            Hours
02/27/2023     Roitman, Marc      Attend mediation session regarding plan of reorganization (12.90)                       12.90
02/27/2023     Baker, Taryn       Review GWG tax correspondence discussing tax structuring summaries                          2.80
                                  and considerations (2.80)
02/27/2023     Hatcher, Todd      Review Akin plan comments (.50)                                                             0.50
02/28/2023     Giglio, Cindi      Attend day 2 of mediation and related preparation and follow up (8.50)                      8.50
02/28/2023     Comerford,         Update call with Katten team (portion) (.40)                                                0.40
               Michael
02/28/2023     Roitman, Marc      Attend mediation session regarding plan of reorganization (6.90); draft                     7.80
                                  email memorandum regarding Seller Trust L Bonds (.90)
                                                                                           Total Hours :                 109.10




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Invoice Due Date:    Payable Upon Receipt


TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                         1.40            1,755.00               2,457.00
Giglio, Cindi                                          28.60            1,495.00              42,757.00
Hall, Jerry                                             4.00            1,425.00               5,700.00
Hatcher, Todd                                          11.00            1,390.00              15,290.00
Comerford, Michael                                      1.50            1,310.00               1,965.00
Roitman, Marc                                          42.00            1,270.00              53,340.00
Barnowski, Dan                                          3.90            1,245.00               4,855.50
Thompson, Grace                                         3.60              895.00               3,222.00
Pecoraro, Andrew                                        0.80              875.00                 700.00
Baker, Taryn                                            9.10              755.00               6,870.50
Miranda, Loredana                                       3.20              710.00               2,272.00

                                      Sub Total :     109.10   Sub Total :                   139,429.00
                                      Total Hours :   109.10   Total Fees             139,429.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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August 17, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Expenses

For Professional Services Rendered Through February 28, 2023


Disbursements .....................................................................................................................................................                       5,473.03
Total Amount Due ..............................................................................................................................................                           5,473.03       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:              397894.00032
Invoice #:           9020144536                                                                August 17, 2023
Invoice Due Date:    Payable Upon Receipt


RE: Expenses

DISBURSEMENTS
Description                   Cost Description                                                             Amount

Out of Town Travel            GWG Holdings Mediation-lodging-Date Incurred: 01/31/2023.                    1,174.25
                              GWG Holdings Mediation-lodging-Date Incurred: 01/30/2023.
                              GWG Holdings Mediation-transportation from train station
                              (DC) to home-Date Incurred: 01/31/2023. GWG Holdings
                              Mediation-transportation from airport to meeting location-Date
                              Incurred: 01/30/2023. GWG Holdings Mediation-transportation
                              from home to airport-Date Incurred: 01/30/2023. Viasat service
                              charge for in-flight WiFi on two mobile devices to work on
                              client related matters.-Date Incurred: 02/07/2023. Car service
                              charge for Judge Jones' transportation from the airport for a
                              GWG mediation / Reservation # 2020449-Date Incurred:
                              01/29/2023. Taxi service charge on transportation to the GWG
                              Mediation at the PJT Partners office in New York, NY.-Date
                              Incurred: 01/30/2023. Taxi service charge on transportation to
                              the GWG Mediation at the PJT Partners office in New York,
                              NY.-Date Incurred: 01/31/2023.
Airfare-Lawyers Travel        Air - D. Barnowski Fee for exchanged ticket Inv 17243 1/31/23.                  29.00



Data/Library Research         Westlaw Legal Research: KITNICK,JESSE on 2/13/2023.                          4,269.78
Services                      Westlaw Legal Research: MIRANDA,LOREDANA on
                              2/27/2023. Westlaw Legal Research: PECORARO,ANDREW
                              on 2/26/2023. Westlaw Legal Research:
                              PECORARO,ANDREW on 2/22/2023. Westlaw Legal
                              Research: PECORARO,ANDREW on 2/8/2023. Westlaw
                              Legal Research: PECORARO,ANDREW on 2/9/2023.
                              Westlaw Legal Research: PECORARO,ANDREW on
                              2/10/2023. Westlaw Legal Research: PECORARO,ANDREW
                              on 2/13/2023. Westlaw Legal Research:
                              PECORARO,ANDREW on 2/15/2023. Westlaw Legal
                              Research: PECORARO,ANDREW on 2/17/2023. Westlaw
                              Legal Research: NDREGJONI,BORA on 2/27/2023. Westlaw
                              Legal Research: NDREGJONI,BORA on 2/26/2023. Westlaw
                              Legal Research: NDREGJONI,BORA on 2/24/2023. Westlaw
                              Legal Research: NDREGJONI,BORA on 2/17/2023. Westlaw
                              Legal Research: NDREGJONI,BORA on 2/16/2023.
                                                                    Total Disbursements:           5,473.03      USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00002
                                                                                                                                                    Invoice #:                                   9020144708
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through March 31, 2023



Fees Total.............................................................................................................................................................                 38,014.00
Total Amount Due ..............................................................................................................................................                         38,014.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00002
Invoice #:          9020144708                                                                              August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                         Hours
03/01/2023     Thompson, Grace Review and sign off on Second Interim Fee Application (.50); call with M.                      1.70
                                 Siena regarding the same (.10); review November billing statements for
                                 privileged and confidential information (1.10)
03/01/2023     Miranda, Loredana Revise November billing statements with comments by G. Thompson and                          2.00
                                 C. Giglio (1.80); correspond with G. Thompson regarding same (.20)
03/01/2023     Siena, Marie          Revise 2nd Interim Fee Application (1.10); emails with G. Thompson                       2.10
                                     regarding same (.20); file October Monthly Fee Statement on the court's
                                     docket (.20); emails with noticing agent regarding service of same (.30);
                                     call with G. Thompson regarding 2nd Interim Fee Application (.10); revise
                                     2nd Interim Fee Application as per call with G. Thompson (.20)
03/02/2023     Giglio, Cindi         Review fee application (.20)                                                             0.20
03/02/2023     Thompson, Grace Continue reviewing November billing statements for privileged and                              1.70
                               confidential information (1.50); correspondence regarding second interim
                               (.20)
03/02/2023     Siena, Marie          Emails with S. Reisman regarding 2nd Interim Fee Application (.20); file                 0.60
                                     2nd Interim Fee Application on the court's docket (.20); emails with
                                     noticing agent regarding service of same (.20)
03/04/2023     Siena, Marie          Revise materials for November fee statement to incorporate G. Thompson                   2.50
                                     comments (2.50)
03/05/2023     Siena, Marie          Review revised materials for November fee statement (.30); revise                        1.90
                                     materials for November fee statement (1.60)
03/06/2023     Siena, Marie    Revise November billing statements (.60); emails with G. Thompson                              0.80
                               regarding same (.20)
03/07/2023     Siena, Marie    Revise December billing statements to incorporate L. Miranda comments                          0.40
                               (.40)
03/08/2023     Thompson, Grace Revise November billing statements for privilege and confidential                              1.70
                               information (1.70)
03/08/2023     Siena, Marie    Revise December billing statements to ensure that privileged and                               2.00
                               confidential information is not disclosed (1.70); emails with G. Thompson
                               and L. Miranda regarding same (.30)
03/09/2023     Thompson, Grace Continue reviewing billing statements for privilege and confidential                           2.10
                                 information (2.10)
03/09/2023     Miranda, Loredana Draft Certificate of No Objection to Katten's Second Interim Fee                             0.50
                                 Application (.50)
03/10/2023     Thompson, Grace Continue reviewing billing statements for privilege and confidential                           1.60
                                 information (1.60)
03/13/2023     Miranda, Loredana Review November billing statements for privilege and confidential                            4.30
                                 information (4.10); correspondence with G. Thompson and M. Siena
                                 regarding same (.20)
03/13/2023     Siena, Marie          Revise November billing statements to incorporate G. Thompson                            1.80
                                     comments (1.80)
03/15/2023     Siena, Marie          Revise November billing statements to incorporate L. Miranda comments                    3.40
                                     (2.00); revise December billing statements for privileged and confidential
                                     information (1.40)




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Matter:             397894.00002
Invoice #:          9020144708                                                                            August 18, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                          Hours
03/17/2023     Siena, Marie       Review November billing statements for privileged and confidential                        4.50
                                  information (1.60); revise November billing statements to incorporate
                                  comments from G. Thompson and L. Miranda (1.40); revise materials for
                                  December fee statements (1.50)
03/19/2023     Siena, Marie      Revise December billing statements for compliance with UST guidelines                      1.20
                                 (1.20)
03/20/2023     Miranda, Loredana Review December billing statement for privileged and confidential                          1.10
                                 information (1.10)
03/21/2023     Thompson, Grace Correspondence with Katten team regarding fee applications, monthly fee                      1.20
                                 statements, and payment (.30); continue reviewing November billing
                                 statements (.90)
03/21/2023     Miranda, Loredana Review December billing statements for privileged and confidential                         5.30
                                 information (4.40); follow-up email with G. Thompson on CNO for
                                 Second Interim Fee Application (.20); draft sixth monthly fee statement
                                 (.50); correspondence with M. Siena and G. Thompson regarding same
                                 (.20)
03/23/2023     Miranda, Loredana Final review of CNO for Second Interim Fee Application (.30);                              0.70
                                 correspondence with C. Giglio regarding same (.20); emails with S.
                                 Reisman regarding approval of CNO (.20)
03/27/2023     Miranda, Loredana Emails with M. Siena regarding filing of Katten's CNO for Second Interim                   0.30
                                 Fee Application (.30)
03/27/2023     Siena, Marie       File CNO for 2nd Interim Fee Application on the court's docket (.20);                     0.50
                                  emails with noticing agent regarding service of same (.20); emails with L.
                                  Miranda regarding CNO (.10)
03/28/2023     Thompson, Grace Correspondence with Katten regarding outstanding billing statements (.20)                    0.20
03/28/2023     Siena, Marie       Draft allocations for 2nd Interim Fee Application (.30); emails with Katten               2.70
                                  regarding Order and payment of 2nd Interim Fee Application (.20); review
                                  and revise January billing statements (2.20)
03/29/2023     Giglio, Cindi      Review November fee statement for compliance with UST guidelines                          2.10
                                  (2.10)
03/29/2023     Miranda, Loredana Begin reviewing January billing statements (.30)                                           0.30
03/29/2023     Siena, Marie       Revise December billing statements to incorporate L. Miranda comments                     3.30
                                  (3.30)
03/30/2023     Miranda, Loredana Review January billing statements compliance with UST guidelines (2.60)                    2.60
03/30/2023     Siena, Marie       Review and revise materials for December fee statement (1.80); emails                     2.20
                                  with G. Thompson and L. Miranda regarding same (.40)
03/31/2023     Giglio, Cindi      Finish review of November invoices for compliance with UST guidelines                     0.70
                                  (.70)
                                                                                           Total Hours :                60.20




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Matter:             397894.00002
Invoice #:          9020144708                                                     August 18, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          3.00            1,495.00               4,485.00
Thompson, Grace                                       10.20              895.00               9,129.00
Miranda, Loredana                                     17.10              710.00              12,141.00
Siena, Marie                                          29.90              410.00              12,259.00

                                     Sub Total :      60.20   Sub Total :                    38,014.00
                                     Total Hours :    60.20   Total Fees              38,014.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 18, 2023
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00007
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through March 31, 2023



Fees Total.............................................................................................................................................................                   3,161.50
Total Amount Due ..............................................................................................................................................                           3,161.50       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00007
Invoice #:          9020144705                                                                          August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                        Hours
03/01/2023     Giglio, Cindi      Review HCLP Objection to standing (.30)                                                 0.30
03/01/2023     Barnowski, Dan     Analyze HCLP objection (.50); emails with Katten team concerning                        0.80
                                  objections (.30)
03/01/2023     Hall, Jerry        Review HCLP objection to standing motion (.40)                                          0.40
03/01/2023     Miranda, Loredana Prepare email to clients regarding HCLP's objection to the Standing                      0.30
                                 Motion (.30)
03/23/2023     Miranda, Loredana Review B. Heppner's Unsealed Objection to the Standing Motion (.40);                     0.60
                                 draft summary regarding same (.20)
03/23/2023     Roitman, Marc     Review analysis of unsealed objection to standing motion (.40)                           0.40
                                                                                       Total Hours :                      2.80




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Invoice #:          9020144705                                                     August 18, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          0.30            1,495.00                   448.50
Hall, Jerry                                            0.40            1,425.00                   570.00
Roitman, Marc                                          0.40            1,270.00                   508.00
Barnowski, Dan                                         0.80            1,245.00                   996.00
Miranda, Loredana                                      0.90              710.00                   639.00

                                     Sub Total :       2.80   Sub Total :                     3,161.50
                                     Total Hours :     2.80   Total Fees               3,161.50    USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through March 31, 2023



Fees Total............................................................................................................................................................. 134,667.00
Total Amount Due .............................................................................................................................................. 134,667.00                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice Due Date:   Payable Upon Receipt


RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
03/01/2023     Ndregjoni, Bora    Conference call with Katten regarding the impact of the SPAC transaction                   0.50
                                  on potential claims (.50)
03/01/2023     Giglio, Cindi      Weekly call with Mayer Brown (.80)                                                         0.80
03/01/2023     Barnowski, Dan     Weekly call with Mayer Brown team about status and next steps (.80)                        0.80
03/01/2023     Miranda, Loredana Attend weekly call with Mayer Brown regarding case status (.80); prepare                    1.10
                                 summary of call regarding same (.30)
03/01/2023     Roitman, Marc     Call with Mayer Brown regarding case matters (.80); call with Katten                        1.30
                                 regarding potential claims against Ben and impact of Ben SPAC (.50)
03/02/2023     Giglio, Cindi      Attend Project Polly call (.50); emails regarding LBC call (.10)                           0.60
03/02/2023     Barnowski, Dan     Attend Project Polly call (.50)                                                            0.50
03/02/2023     Miranda, Loredana Review article from Kansas Reflector regarding Ben (.30); correspond                        0.80
                                 with Katten team regarding same (.20); prepare summary of docket entries
                                 relevant to Special Committee matters (.30)
03/02/2023     Miranda, Loredana Attend Project Polly call (.50); prepare summary of call for Katten team                    0.90
                                 regarding same (.40)
03/02/2023     Roitman, Marc     Attend Project Polly call (.50); preparation in connection with same (.20)                  0.70
03/03/2023     Giglio, Cindi      Weekly call with Katten team (1.00); Katten pre-call to prepare for                        2.40
                                  Bondholder Committee call (.30); call with Bondholder Committee
                                  regarding status update (.50); call with Mayer Brown (.60)
03/03/2023     Barnowski, Dan     Katten team call to discuss strategy and next steps (1.00); attend weekly                  2.40
                                  teleconference with Bondholder Committee (.50); attend weekly
                                  conference with Mayer Brown (.60); Katten team pre-call to prepare for
                                  meeting with Bondholders Committee (.30)
03/03/2023     Barnowski, Dan     Project Polly meeting (.40)                                                                0.40
03/03/2023     Hall, Jerry        Call with Katten regarding case status (1.00); call with Katten regarding                  2.70
                                  upcoming call with Bondholder Committee (.30); call with Bondholder
                                  Committee regarding case status (.50); call among Katten and Mayer
                                  Brown regarding case status (.60)
03/03/2023     Miranda, Loredana Attend Katten call regarding case status update (1.00); attend Katten pre                   3.90
                                 call to prepare for call with the Bondholders Committee (.30); attend call
                                 with the Bondholders Committee regarding case status (.50); attend call
                                 with Mayer Brown regarding same (.60); prepare summary of Mayer
                                 Brown and Bondholder Committee calls for Katten team (.60); draft
                                 meeting minutes for Special Committee meeting (.50); prepare summary
                                 of docket entries relevant to Special Committee matters (.40)
03/03/2023     Comerford,         Attend a portion of call with Katten team regarding case status update                     0.90
               Michael            (.90)
03/03/2023     Roitman, Marc      Katten call regarding case status update (1.00); call with the Bondholder                  2.80
                                  Committee regarding case matters (.50); Katten pre-call for same (.30);
                                  preparation in connection with same (.40); call with Mayer Brown
                                  regarding case matters (.60)
03/04/2023     Giglio, Cindi      Attend Project Polly call regarding term sheet (.50)                                       0.50
03/04/2023     Barnowski, Dan     Project Polly call concerning term sheet (.50)                                             0.50
03/04/2023     Miranda, Loredana Attend Project Polly call regarding term sheet (.50)                                        0.50




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Date           Timekeeper         Description                                                                           Hours
03/04/2023     Roitman, Marc      Call with Debtors’ management and professionals regarding Plan term                        0.50
                                  sheet (.50)
03/05/2023     Thompson, Grace Review Board resolutions and related documents in response to C. Giglio                       1.00
                               questions (1.00)
03/06/2023     Ndregjoni, Bora Review case law regarding potential claims in connection with certain                         5.60
                               SPAC transaction (2.60); prepare memorandum on the research conducted
                               regarding potential claims and the impact of a SPAC transaction on those
                               claims (3.00)
03/06/2023     Giglio, Cindi      Attend Project Polly call (.60); follow up with T. Horton (.30)                            0.90
03/06/2023     Barnowski, Dan     Attend Project Polly call (.60)                                                            0.60
03/06/2023     Hall, Jerry        Attend Project Polly call regarding case status (.60)                                      0.60
03/06/2023     Miranda, Loredana Attend Project Polly call (.60); prepare summary of call regarding same                     1.00
                                 for Katten team (.40)
03/06/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.60)                                      0.60
03/07/2023     Giglio, Cindi      Call with the Bondholders Committee and Debtors' professionals (.50)                       0.50
03/07/2023     Barnowski, Dan     Katten team call concerning status and next steps (1.00); Katten pre-call to               1.80
                                  prepare for Bondholder Committee call (.30); meeting with Debtor and
                                  Bondholders Committee (.50)
03/07/2023     Thompson, Grace Attend Katten team call (1.00); attend Bondholders Committee and                              1.30
                                 Debtors' professionals pre-call with Katten team (.30)
03/07/2023     Hall, Jerry       Call with Katten team regarding case status (1.00); call with Katten team                   1.80
                                 regarding upcoming call with the Bondholders Committee and Debtors'
                                 professionals (.30); call with the Bondholders Committee and Debtors'
                                 professionals regarding case status (.50)
03/07/2023     Miranda, Loredana Attend GWG case status update with Katten team (1.00); correspondence                       4.40
                                 with M. Roitman regarding meeting minutes (.20); follow-up with T.
                                 Horton regarding meeting minutes (.20); draft agenda for meeting with the
                                 Special Committee (.30); correspondence with Katten team regarding
                                 regarding upcoming Special Committee meeting (.50); revise Special
                                 Committee meeting minutes with comments by M. Roitman (.70); prepare
                                 summary of docket entries relevant to Special Committee matters (.20);
                                 attend Katten pre call (.30); attend call with the Bondholders Committee
                                 and Debtors' professionals (.50); prepare summary of call regarding same
                                 for Katten team (.50)
03/07/2023     Comerford,         Call with Katten team regarding status and next steps (1.00)                               1.00
               Michael
03/07/2023     Roitman, Marc      Katten call regarding status update (1.00); call with Debtors’ and                         2.50
                                  Bondholder Committee’s Professionals (.50); Katten pre-call in connection
                                  with same (.30); revise minutes of February 27 meeting (.70)
03/07/2023     Hatcher, Todd      Call with Mayer Brown tax team to discuss Ben issue (.40); Katten call                     1.40
                                  regarding status update (1.00)
03/08/2023     Giglio, Cindi      Review minutes (.20); attend call with Mayer Brown regarding case status                   0.90
                                  (.70)
03/08/2023     Barnowski, Dan     Teleconference with Mayer Brown concerning status of case (.70)                            0.70
03/08/2023     Miranda, Loredana Correspondence with Katten team regarding meeting minutes (.40);                            2.00
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (.60); attend call with Mayer Brown regarding status update (.70); prepare
                                 summary of call regarding same (.30)
03/08/2023     Roitman, Marc     Call with Mayer Brown regarding case status (.70)                                           0.70
03/09/2023     Giglio, Cindi      Attend Project Polly call (.60); discussions with S. Reisman (.20)                         0.80


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Date           Timekeeper         Description                                                                            Hours
03/09/2023     Barnowski, Dan     Attend Project Polly call (.60)                                                             0.60
03/09/2023     Thompson, Grace Attend Project Polly call (.60); draft summary of same (.30); attend Katten                    1.20
                                 pre-call (.30)
03/09/2023     Hall, Jerry       Attend Project Polly call regarding case status (.60); review of diligence                   1.40
                                 relevant to Special Committee (.80)
03/09/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.50
                                 (.50)
03/09/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.60)                                       0.60
03/10/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.30
                                 (.30)
03/13/2023     Giglio, Cindi      Attend Project Polly call (.40); follow up emails with M. Roitman and S.                    1.30
                                  Reisman (.30); conduct related follow-up from Project Polly call (.60)
03/13/2023     Barnowski, Dan     Attend Project Polly call (.40)                                                             0.40
03/13/2023     Miranda, Loredana Attend Project Polly call (.40); prepare summary of call for Katten team                     1.20
                                 regarding same (.30); prepare summary of docket entries relevant to
                                 Special Committee matters (.50)
03/13/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.40)                                       0.40
03/13/2023     Reisman, Steven    Participate in Project Polly update call (.40); emails with C. Giglio and M.                0.90
                                  Roitman regarding matters related to same (.50)
03/14/2023     Ndregjoni, Bora    Conference with C. Stickel and E. Bacon regarding summary of case law                       0.80
                                  research (.50); revise summary of case law research regarding potential
                                  direct and derivative claims (.30)
03/14/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.60
                                 (.60)
03/15/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.20
                                 (.20)
03/16/2023     Giglio, Cindi      Attend Project Polly call (1.00); call with Bondholders Committee (.80);                    1.90
                                  follow up with M. Roitman (.10)
03/16/2023     Barnowski, Dan     Attend a portion of Project Polly call (.50); attend a portion of weekly call               1.00
                                  with Bondholders Committee (.50)
03/16/2023     Miranda, Loredana Attend Project Polly call (1.00); prepare summary of call regarding same                     3.40
                                 for Katten team (.80); draft summary of docket entries relevant to Special
                                 Committee matters (.40); attend call with the Bondholder Committee's
                                 professionals (.80); prepare summary of Katten team regarding same (.40)
03/16/2023     Roitman, Marc     Attend Project Polly call (1.00)                                                             1.00
03/17/2023     Giglio, Cindi      Call with Project Polly call (.70)                                                          0.70
03/17/2023     Barnowski, Dan     Attend Project Polly call (.70)                                                             0.70
03/17/2023     Barnowski, Dan     Katten team call concerning status (.30)                                                    0.30
03/17/2023     Thompson, Grace Attend Katten team call regarding cases status (.30)                                           0.30
03/17/2023     Hall, Jerry        Call with Katten regarding case status (.30); attend Project Polly call (.70)               1.00
03/17/2023     Miranda, Loredana Attend Project Polly call (.70); prepare summary of call regarding same                      1.40
                                 for Katten team (.70)
03/17/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.20
                                 (.20)
03/17/2023     Roitman, Marc     Project Polly call (.70)                                                                     0.70
03/20/2023     Giglio, Cindi      Attend Polly call (.50)                                                                     0.50




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Date           Timekeeper         Description                                                                           Hours
03/20/2023     Barnowski, Dan     Project Polly call (.50); due diligence on AHG proofs of claims and                        1.20
                                  powers of attorney (.50); teleconference with D. Giller of Akin about
                                  AHG (.20)
03/20/2023     Hall, Jerry        Attend to issues relevant to Special Committee (.30)                                       0.30
03/20/2023     Miranda, Loredana Attend Project Polly Call (.50); draft summary of call for Katten team                      2.10
                                 regarding same (.40); follow-up with T. Horton regarding meeting minutes
                                 (.20); correspondence with M. Siena regarding execution of meeting
                                 minutes (.10); prepare summary of docket entries relevant to Special
                                 Committee matters (.90)
03/20/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.50)                                      0.50
03/20/2023     Siena, Marie       Submit minutes of Special Committee meetings of 2/14, 2/21 and 2/27 for                    0.20
                                  signatures via DocuSign (.20)
03/20/2023     Reisman, Steven    Participate in Project Polly update call regarding status of litigation                    1.40
                                  matters (.50); attend to status of matters regarding Bondholder Committee
                                  and L Bond Management (.90)
03/21/2023     Barnowski, Dan     Katten team call to discuss status and next steps (.10); attend Special                    2.60
                                  Committee meeting (.50); revise statement in support of motion to quash
                                  subpoena (.90); teleconference with C. Kelley concerning motion to quash
                                  (.20); weekly call with Mayer Brown and Akin teams (.40); analyze
                                  proposed settlement terms from AHG (.50)
03/21/2023     Thompson, Grace Katten team call (.10)                                                                        0.10
03/21/2023     Miranda, Loredana Attend Katten call regarding case status (.10); draft agenda for Special                    2.20
                                 Committee meeting (.20); prepare email to clients regarding same (.20);
                                 correspondence with Katten team regarding Special Committee meeting
                                 (.20); collect executed meeting minutes (.20); attend Special Committee
                                 meeting (.50); draft minutes for Special Committee meeting (.30); prepare
                                 summary of docket entries relevant to Special Committee matters (.50)
03/21/2023     Comerford,         Review SPAC email regarding research issues (.60)                                          0.60
               Michael
03/21/2023     Roitman, Marc      Revise statement regarding Bondholder recoveries (1.60); emails with                       2.10
                                  Katten regarding same (.50)
03/22/2023     Barnowski, Dan     Weekly teleconference between Mayer Brown and Katten teams (.30)                           0.30
03/22/2023     Miranda, Loredana Weekly call with Mayer Brown (.30); draft summary of call for Katten                        0.60
                                 team (.10); prepare summary of docket entries relevant to Special
                                 Committee matters (.20)
03/23/2023     Giglio, Cindi      Attend Polly call (.40); call with D. Barnowski (.20)                                      0.60
03/23/2023     Barnowski, Dan     Project Polly call (.40); Katten pre-call to prepare for Bondholder                        1.70
                                  Committee call (.30); weekly meeting with Bondholder Committee
                                  counsel (.10); call with C. Giglio regarding same (.20); weekly call with
                                  Mayer Brown (.30); work on settlement offer to AHG (.40)
03/23/2023     Thompson, Grace Attend pre-call with Katten (.30); call with Bondholder Committee (.10)                       0.40
03/23/2023     Hall, Jerry        Attend Project Polly call regarding case status (.40); attend follow up call               0.70
                                  with Katten and Mayer Brown regarding Bondholders Committee call
                                  (.30)




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Date           Timekeeper         Description                                                                         Hours
03/23/2023     Miranda, Loredana Attend Project Polly call (.40); draft summary for Katten team regarding                  1.70
                                 same (.20); follow-up emails with C. Giglio and D. Barnowski regarding
                                 meeting minutes (.10); correspondence with Katten team regarding
                                 approval of meeting minutes (.10); attend Katten pre-call for call with the
                                 Bondholder’s Committee (.30); prepare email to clients regarding approval
                                 of meeting minutes (.20); attend follow-up call with Mayer Brown (.30);
                                 prepare summary of call regarding same (.10); prepare summary of docket
                                 entries relevant to Special Committee matters (.20)
03/23/2023     Roitman, Marc     Call with Debtors’ professionals and management regarding case matters                    1.00
                                 (.40); Katten pre-call for call with the Bondholder’s Committee (.30);
                                 follow-up call with Mayer Brown (.30)
03/24/2023     Giglio, Cindi      Attend Katten team call (.40)                                                            0.40
03/24/2023     Barnowski, Dan     Attend Katten team meeting to discuss work streams and next steps (.40)                  0.40
03/24/2023     Thompson, Grace Attend Katten team call (.40)                                                               0.40
03/24/2023     Hall, Jerry        Call with Katten team regarding case status (.40)                                        0.40
03/24/2023     Miranda, Loredana Attend portion of Katten call regarding workstreams (.10); prepare                        0.50
                                 summary of docket entries relevant to Special Committee matters (.40)
03/24/2023     Roitman, Marc     Katten call regarding case matters and strategy (.40)                                     0.40
03/26/2023     Hall, Jerry        Review claims analysis regarding Ben SPAC (.30)                                          0.30
03/26/2023     Roitman, Marc      Review research on effect of SPAC on litigation claims (.50)                             0.50
03/27/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   0.30
                                 (.30)
03/28/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   0.50
                                 (.50)
03/29/2023     Giglio, Cindi      Attend Special Committee meeting (.30); review agenda (.20)                              0.50
03/29/2023     Giglio, Cindi      Attend pre-call with Katten and Mayer Brown (.50)                                        0.50
03/29/2023     Barnowski, Dan     Teleconference with Katten concerning preparing a disclosure on Ben                      4.00
                                  claims (.80); analysis of options for disclosing additional information
                                  about Ben claims (.50); pre-call with Katten and Mayer Brown concerning
                                  next steps (.50); attend Project Polly call (.90); Mayer Brown call (1.00);
                                  attend Special Committee call (.30)
03/29/2023     Thompson, Grace Katten team call (.80); attend Special Committee call (.30)                                 1.10
03/29/2023     Miranda, Loredana Attend Katten call regarding next steps (.80); draft agenda for Special                   5.10
                                 Committee call (.30); correspondence with Katten team regarding same
                                 (.20); revise agenda with comments from Katten team (.20); attend Katten
                                 and Mayer Brown pre-call (.50); attend Project Polly call (.90); prepare
                                 summary of call regarding same (.50); prepare email to client regarding
                                 agenda for Special Committee meeting (.20); attend weekly call with
                                 Mayer Brown (1.00); prepare summary regarding same (.20); prepare
                                 summary of docket entries relevant to Special Committee matters (.20)
03/29/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.90); pre-call with Katten              2.30
                                 and Mayer Brown in connection with same (.50); preparation in
                                 connection with same (.30); call with Special Committee (.30); prepare for
                                 Special Committee meeting (.30)
03/30/2023     Giglio, Cindi      Attend Project Polly call (.40)                                                          0.40
03/30/2023     Barnowski, Dan     Project Polly call (.40)                                                                 0.40
03/30/2023     Thompson, Grace Attend Project Polly call (.40); draft summary of same (.20)                                0.60




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Date           Timekeeper         Description                                                                          Hours
03/30/2023     Miranda, Loredana Correspondence with C. Herrera (Mayer Brown) regarding transcripts                         0.30
                                 (.10); prepare summary of docket entries relevant to Special Committee
                                 matters (.20)
03/30/2023     Reisman, Steven    Continued follow up regarding matters related to GWG restructuring,                       0.90
                                  analysis of value of claims, value of assets (.90)
03/31/2023     Barnowski, Dan     Katten team teleconference to discuss strategy and work streams (.80)                     0.80
03/31/2023     Thompson, Grace Draft minutes from Special Committee meeting (.20)                                           0.20
03/31/2023     Miranda, Loredana Attend Katten call regarding case status (.80); follow-up with T. Horton                   1.70
                                 regarding meeting minutes (.20); prepare summary of docket entries
                                 relevant to Special Committee matters (.70)
03/31/2023     Roitman, Marc     Katten call regarding strategy and case matters (.80)                                      0.80
                                                                                          Total Hours :                123.10




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TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                         3.20            1,755.00               5,616.00
Giglio, Cindi                                          14.20            1,495.00              21,229.00
Hall, Jerry                                             9.20            1,425.00              13,110.00
Hatcher, Todd                                           1.40            1,390.00               1,946.00
Comerford, Michael                                      2.50            1,310.00               3,275.00
Roitman, Marc                                          19.40            1,270.00              24,638.00
Barnowski, Dan                                         22.10            1,245.00              27,514.50
Thompson, Grace                                         6.60              895.00               5,907.00
Miranda, Loredana                                      37.40              710.00              26,554.00
Ndregjoni, Bora                                         6.90              695.00               4,795.50
Siena, Marie                                            0.20              410.00                  82.00

                                      Sub Total :     123.10   Sub Total :                   134,667.00
                                      Total Hours :   123.10   Total Fees             134,667.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 18, 2023
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Case Administration

For Professional Services Rendered Through March 31, 2023



Fees Total.............................................................................................................................................................                        82.00
Total Amount Due ..............................................................................................................................................                                82.00     USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00011
Invoice #:          9020144714                                                                        August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                      Hours
03/03/2023     Siena, Marie       Updated case calendar with objection deadline for 2nd Interim Fee                     0.20
                                  Application (.20)
                                                                                         Total Hours :                  0.20




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Matter:             397894.00011
Invoice #:          9020144714                                                       August 18, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                   Rate              Amount
Siena, Marie                                           0.20                 410.00                  82.00

                                     Sub Total :       0.20   Sub Total :                           82.00
                                     Total Hours :     0.20   Total Fees                    82.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00012
                                                                                                                                                    Invoice #:                                   9020144713
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through March 31, 2023



Fees Total.............................................................................................................................................................                       747.50
Total Amount Due ..............................................................................................................................................                               747.50     USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00012
Invoice #:          9020144713                                                      August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                    Hours
03/15/2023     Giglio, Cindi      Emails regarding PCA (.20)                                          0.20
03/16/2023     Giglio, Cindi      Follow-up regarding PCA (.30)                                       0.30
                                                                        Total Hours :                 0.50




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Matter:             397894.00012
Invoice #:          9020144713                                                     August 18, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          0.50            1,495.00                   747.50

                                     Sub Total :       0.50   Sub Total :                         747.50
                                     Total Hours :     0.50   Total Fees                 747.50    USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 18, 2023
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through March 31, 2023



Fees Total.............................................................................................................................................................                 92,540.00
Total Amount Due ..............................................................................................................................................                         92,540.00        USD




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Matter:             397894.00019
Invoice #:          9020144709                                                                               August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                             Hours
03/08/2023     Miranda, Loredana Correspondence with M. Siena regarding hearing scheduling (.30)                               0.30
03/08/2023     Siena, Marie       Updated case calendar regarding upcoming hearings (.20)                                      0.20
03/09/2023     Siena, Marie       Review notice of hearing for 3/20 (.20)                                                      0.20
03/10/2023     Miranda, Loredana Coordinate scheduling of hearings for Katten team (.20)                                       0.20
03/10/2023     Siena, Marie       Update case calendar regarding hearing on 3/23/23 (.20)                                      0.20
03/16/2023     Miranda, Loredana Correspondence with M. Siena regarding March 10 Hearing (.10)                                 0.10
03/17/2023     Siena, Marie       Review amended agenda for hearing on 3/20/23 (.20)                                           0.20
03/19/2023     Giglio, Cindi      Draft script for hearing (.40)                                                               0.40
03/20/2023     Giglio, Cindi      Attend bankruptcy court hearing (.80); prepare for hearing regarding same                    4.00
                                  (1.30); follow up related to status conference with J. Rubin, J. Stein (1.30);
                                  further calls regarding plan (.60)
03/20/2023     Barnowski, Dan     Attend court hearing (.80)                                                                   0.80
03/20/2023     Thompson, Grace Correspondence with Katten regarding hearing (.20)                                              0.20
03/20/2023     Miranda, Loredana Attend Bankruptcy Court hearing regarding case update (.80); draft                            2.20
                                 summary of hearing for Katten team (1.00); submit appearances for Katten
                                 team for Bankruptcy Court hearing (.20); correspondence with S. Reisman
                                 regarding bankruptcy court hearing (.20)
03/20/2023     Roitman, Marc     Attend Bankruptcy Court Hearing regarding Case Status (.80)                                   0.80
03/20/2023     Reisman, Steven    Review materials in preparation for today's status conference on                             2.30
                                  emergency motion related to exclusivity and approval of Disclosure
                                  Statement (1.20); attend and participate in today's hearing on status of
                                  matters related to GWG restructuring including update on disclosure
                                  statement, plan and next steps (.80); discussions with Katten team in
                                  preparation for today's hearing (.30)
03/23/2023     Barnowski, Dan     Attend hearing on discovery issues (1.20)                                                    1.20
03/23/2023     Thompson, Grace Attend hearing on Obra Motion to Quash (1.20); prepare summary of same                          1.80
                                 (.60)
03/23/2023     Miranda, Loredana Coordinate scheduling GWG hearings (.20)                                                      0.20
03/27/2023     Giglio, Cindi      Revisions to Mayer Brown script (.50); draft S. Reisman script (1.20);                       2.30
                                  related emails (.60)
03/27/2023     Barnowski, Dan     Revise S. Reisman statement to court (.50); teleconference with J. Stein                     2.80
                                  concerning tomorrow’s hearing (.30); teleconference with S. Reisman
                                  concerning strategy for tomorrow’s hearing (.40); teleconference with C.
                                  Kelley concerning preparing for tomorrow’s hearing (.50); prepare for
                                  hearing and prep session with J. Stein (1.10)
03/27/2023     Miranda, Loredana Prepare documents for hearing binder (1.40); conference with J. Mesa-                         3.40
                                 Beltre regarding same (.20); correspondence with C. Giglio regarding
                                 same (.20); review new documents for hearing binder (1.20);
                                 correspondence with M. Roitman regarding same (.20); various
                                 conferences with M. Siena regarding hearing binder (.60); correspondence
                                 with M. Brown regarding key pleadings for hearing (.20); final check of
                                 documents in hearing binder (.30); call with M. Siena regarding same (.10)
03/27/2023     Roitman, Marc     Preparation for Disclosure Statement hearing (1.80)                                           1.80




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Matter:             397894.00019
Invoice #:          9020144709                                                                               August 18, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper          Description                                                                            Hours
03/27/2023     Siena, Marie        Update case calendar with hearing for 5/1/23 (.20); prepare hearing binder                  3.80
                                   for hearing on 3/28/23 (2.80); emails with Katten regarding same (.30);
                                   emails with Mayer Brown regarding printing of hearing binders (.40); call
                                   with L. Miranda regarding same (.10)
03/28/2023     Giglio, Cindi       Attend bankruptcy hearing regarding Disclosure Statement (1.40); prepare                    6.40
                                   for hearing regarding same (3.20); review new pleadings in connection
                                   with Disclosure Statement hearing (1.80)
03/28/2023     Barnowski, Dan      Prepare for Disclosure Statement hearing (3.80); attend Disclosure                          5.20
                                   Statement hearing (1.40)
03/28/2023     Thompson, Grace Attend Disclosure Statement hearing (1.40)                                                      1.40
03/28/2023     Miranda, Loredana Call with Akin and Mayer Brown regarding bankruptcy hearing regarding                         4.00
                                 Disclosure Statement (.60); prepare summary of same for Katten team
                                 (.20); attend to issues regarding bankruptcy hearing regarding Disclosure
                                 Statement (.20); attend and take notes on bankruptcy hearing regarding
                                 Disclosure Statement (1.40); prepare summary regarding same for Katten
                                 (.90); review various objections and reservation of rights regarding
                                 bankruptcy hearing (.50); correspondence with T. Horton regarding
                                 bankruptcy hearing (.20)
03/28/2023     Comerford,          Review summary of disclosure statement hearing and next steps (.20)                         0.20
               Michael
03/28/2023     Roitman, Marc       Attend hearing regarding Disclosure Statement (1.40); preparation for                       7.90
                                   Disclosure Statement hearing, including meetings at Mayer Brown’s office
                                   in Houston (6.50)
03/28/2023     Siena, Marie        Update case calendar for Hearing on 3/31/23 (.20)                                           0.20
03/28/2023     Reisman, Steven     Review disclosure statement, plan and solicitation motion as well as                        8.00
                                   review and revise presentation to Bankruptcy Judge Isgur regarding need
                                   for approval of Disclosure Statement (1.70); prepare and review of
                                   objections filed overnight for approval of Disclosure Statement (2.10);
                                   attend Disclosure Statement hearing (1.40); prepare for hearing regarding
                                   same (1.00); discussions with J. Stein regarding matters related to results
                                   of today's Disclosure Statement hearing (1.80)
03/30/2023     Barnowski, Dan      Draft insert language for court order (.60); draft talking points for hearing               1.60
                                   (.40); emails with Akin team concerning proposed order (.30); analysis of
                                   proposed revisions to draft order (.30)
03/30/2023     Miranda, Loredana Incorporate revisions to S. Reisman's script for the hearing (.20)                            0.20
03/30/2023     Reisman, Steven     Prepare for tomorrow's hearing on continued disclosure statement and                        0.80
                                   update on same (.80)
03/31/2023     Giglio, Cindi       Call with S. Reisman (.20); attend hearing (.40); prepare for hearing (.80)                 1.40
03/31/2023     Barnowski, Dan      Revise talking points for hearing (.80); prepare for hearing (1.90);                        3.40
                                   teleconference with plan co-proponents to prepare for hearing (.30); attend
                                   hearing (.40)
03/31/2023     Miranda, Loredana Correspondence with T. Horton and J. Stein regarding Bankruptcy hearing                       1.60
                                 (.30); submit appearances for Katten team for hearing (.20); attend
                                 continued Bankruptcy Court hearing regarding approval of Disclosure
                                 Statement (.40); prepare summary of hearing regarding same (.50);
                                 correspondence with M. Roitman regarding hearing transcripts (.20)
03/31/2023     Roitman, Marc     Attend continued hearing regarding approval of Disclosure Statement                           0.90
                                 (.40); preparation in connection with same (.50)
03/31/2023     Siena, Marie        Update case calendar for hearing on 4/19/23 (.20)                                           0.20




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Matter:             397894.00019
Invoice #:          9020144709                                                                            August 18, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                          Hours
03/31/2023     Reisman, Steven    Review materials in preparation for continued hearing on approval of                      2.40
                                  disclosure statement and matters related to same (1.10); discussion with C.
                                  Giglio regarding hearing prep (.20); attend GWG hearing regarding
                                  approval of disclosure statement (.40); attend to preparation for same (.70)
                                                                                            Total Hours :               75.20




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Matter:              397894.00019
Invoice #:           9020144709                                                     August 18, 2023
Invoice Due Date:    Payable Upon Receipt


TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                        13.50            1,755.00              23,692.50
Giglio, Cindi                                          14.50            1,495.00              21,677.50
Comerford, Michael                                      0.20            1,310.00                 262.00
Roitman, Marc                                          11.40            1,270.00              14,478.00
Barnowski, Dan                                         15.00            1,245.00              18,675.00
Thompson, Grace                                         3.40              895.00               3,043.00
Miranda, Loredana                                      12.20              710.00               8,662.00
Siena, Marie                                            5.00              410.00               2,050.00

                                      Sub Total :      75.20   Sub Total :                    92,540.00
                                      Total Hours :    75.20   Total Fees              92,540.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
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                                                                                                                                                                                              Fax: 212-940-8776
August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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                                                                                                                                                    Invoice #:                                   9020144710
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Summary


RE: Investigation

For Professional Services Rendered Through March 31, 2023



Fees Total............................................................................................................................................................. 101,953.00
Total Amount Due .............................................................................................................................................. 101,953.00                               USD




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Matter:             397894.00021
Invoice #:          9020144710                                                                             August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
03/01/2023     Giglio, Cindi      Review Ben counter offer term sheet and related correspondence (.40)                       0.40
03/01/2023     Barnowski, Dan     Katten team call concerning potential claims (.50)                                         0.50
03/01/2023     Barnowski, Dan     Prepare for T. Kice deposition (.80)                                                       0.80
03/01/2023     Roitman, Marc      Review settlement proposal from Ben (.50); emails with Katten regarding                    1.60
                                  same (.30); review potential claims against subsequent transferees and
                                  third parties (.60); emails with D. Barnowski regarding same (.20)
03/02/2023     Giglio, Cindi      Emails regarding third party releases (.20); attend call with Province (.40)               0.60
03/02/2023     Barnowski, Dan     Analysis of documents pertinent to T. Kice deposition (1.90)                               1.90
03/02/2023     Miranda, Loredana Review Debtor's most recent document production (3.20)                                      3.20
03/02/2023     Roitman, Marc      Call with Province regarding Ben settlement offer (.40); review analyses                   0.90
                                  of potential claims in connection with same (.50)
03/02/2023     Reisman, Steven    Update regarding matters related to releases and other ongoing work in                     0.80
                                  connection with investigation (.80)
03/03/2023     Barnowski, Dan     Prepare for T. Kice deposition (3.10)                                                      3.10
03/03/2023     Miranda, Loredana Review Debtor's document production (.60); review deposition transcripts                    4.30
                                 and interview notes to prepare for deposition of T. Kice (3.10); update T.
                                 Kice document summary with same (.60)
03/03/2023     Roitman, Marc     Review revised mediation term sheet (.60); call with Mayer Brown                            0.90
                                 regarding same (.30)
03/03/2023     Reisman, Steven    Update regarding mediation and case status (.70); follow up regarding                      1.50
                                  matters related to potential settlement of claims between parties and
                                  review of mediators revisions to same (.80)
03/06/2023     Giglio, Cindi      Review agenda for Investigations Committee meeting (.10); attend                           1.30
                                  Investigations Committee meeting (.70); conduct related follow-up and
                                  diligence regarding investigation (.50)
03/06/2023     Barnowski, Dan     Analyze deposition testimony concerning T. Kice (.70); attend                              1.90
                                  Investigations Committee meeting (.70); attend Katten pre-call to prepare
                                  for Investigations Committee meeting (.30); teleconference with C. Kelley
                                  concerning Ben request to remove redactions (.20)
03/06/2023     Thompson, Grace Attend Katten precall (.30); attend Investigations Committee meeting (.70)                    1.00
03/06/2023     Hall, Jerry        Call with Katten regarding upcoming call with Investigations Committee                     1.00
                                  (.30); call among Katten, Province and Investigations Committee
                                  regarding investigation (.70)
03/06/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.30); correspondence                     2.40
                                 with clients regarding same (.20); attend Katten pre call (.30); attend call
                                 with the Investigations Committee (.70); draft meeting minutes regarding
                                 same (.90)
03/06/2023     Roitman, Marc     Call with the Investigations Committee (.70); Katten pre call in connection                 1.40
                                 with same (.30); prepare for presentation to Investigations Committee (.40)
03/07/2023     Barnowski, Dan    Teleconference with D. Giller of Akin concerning T. Kice deposition                         0.40
                                 (.20); prepare report to clients on T. Kice deposition (.20)
03/07/2023     Miranda, Loredana Review documents produced by the Debtors (2.30); draft summary of                           2.80
                                 findings to Katten team (.30); coordinate review of Debtor's GWG056
                                 production (.20)




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Date           Timekeeper         Description                                                                           Hours
03/08/2023     Reisman, Steven    Discussions with Judge Jones related to mediation efforts and follow up                    0.40
                                  (.40)
03/09/2023     Giglio, Cindi      Emails regarding mediation with Ben (.10); review emails regarding Ben                     1.70
                                  proposal (.20); calls and emails regarding privilege issue (1.40)
03/09/2023     Roitman, Marc      Emails with Investigations Committee regarding Ben settlement proposal                     2.40
                                  (.50); confer with Investigations Committee members regarding same
                                  (.60); emails with Mayer Brown regarding Mediation Term Sheet (.30);
                                  revise statement regarding Mediation Settlement (.80); emails with Katten
                                  regarding same (.20)
03/10/2023     Giglio, Cindi      Emails regarding privilege documents (.40)                                                 0.40
03/10/2023     Hall, Jerry        Email among M. Roitman and others regarding settlement proposal from                       0.50
                                  Ben (.50)
03/10/2023     Roitman, Marc      Draft email to Akin regarding Ben settlement proposal (.50); emails with                   0.70
                                  Katten regarding same (.20)
03/11/2023     Giglio, Cindi      Correspond regarding Ben next steps (.20); correspondence regarding                        0.30
                                  agreement on privilege (.10)
03/11/2023     Hall, Jerry        Email among D. Barnowski and others regarding transfer of privilege (.40)                  0.40
03/12/2023     Hall, Jerry        Email among D. Barnowski and others regarding Ben settlement and                           0.30
                                  related third party communications (.30)
03/13/2023     Giglio, Cindi      Review Investigations Committee agenda (.30); call with M. Roitman                         1.00
                                  regarding same (.30); attend Investigations Committee meeting (.40)
03/13/2023     Barnowski, Dan     Katten pre-call to prep for meeting of Investigations Committee (.30);                     1.30
                                  attend meeting of Investigations Committee (.40); revise Investigations
                                  Committee meeting minutes (.30); prepare for Investigations Committee
                                  meeting (.30)
03/13/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.30); follow-up with                     2.10
                                 Veristar (relativity vendor) on invoices (.20); revise Investigations
                                 Committee agenda with comments by D. Barnowski (.20); correspondence
                                 with clients regarding Investigations Committee agenda (.20); attend
                                 Katten pre call (.30); attend call with Investigations Committee (.40);
                                 prepare minutes for Investigations Committee call (.50)
03/13/2023     Roitman, Marc     Call with Investigations Committee (.40); Katten pre call in connection                     1.20
                                 with same (.30); call with C. Giglio regarding same (.30); preparation in
                                 connection with same (.20)
03/13/2023     Reisman, Steven    Participate in call with Investigations Committee (.40); attend to matters                 0.80
                                  regarding ongoing workstreams (.40)
03/14/2023     Miranda, Loredana Follow-up with Veristar (relativity vendor) on invoices (.10); review                       0.60
                                 Veristar (relativity vendor) invoices (.30); correspondence with M. Siena
                                 and G. Thompson regarding same (.20)
03/20/2023     Giglio, Cindi      Call with B. Heppner Counsel regarding investigation (1.80); prepare for                   1.90
                                  same (.10)
03/20/2023     Barnowski, Dan     Prepare for Ben presentation (.60); attend Ben presentation (1.80); attend                 3.20
                                  Investigations Committee call (.50); approve meeting minutes (.30)
03/20/2023     Miranda, Loredana Revise presentation to Quinn Emanuel regarding Ben claims (.20); review                     2.00
                                 invoice of Veristar (relativity vendor) (.10); correspondence with M. Siena
                                 regarding same (.10); draft agenda of Investigations Committee meeting
                                 (.20); incorporate comments of Katten team regarding Investigations
                                 Committee agenda (.20); email clients regarding same (.20); attend
                                 Investigations Committee meeting (.50); draft minutes regarding same
                                 (.50)



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Date           Timekeeper         Description                                                                           Hours
03/20/2023     Roitman, Marc      Call with the Investigations Committee (.50); review materials in                          4.10
                                  preparation for same (.30); call with Quinn Emanuel regarding analysis of
                                  potential estate claims and causes of action (1.80); preparation in
                                  connection with same (1.50)
03/20/2023     Siena, Marie       Submit minutes of Investigations Committee meetings of 2/21 and 3/6 for                    0.20
                                  signatures via DocuSign (.20)
03/20/2023     Reisman, Steven    Attend Investigations Committee meeting (.50); review materials to                         2.50
                                  prepare for Investigations Committee call (.20); participate in discussion
                                  with J. Teecee and D. Newman of Quinn Emanuel related to GWG
                                  analysis related to beneficent (1.80)
03/21/2023     Barnowski, Dan     Teleconference with D. Giller of Akin concerning potential new discovery                   0.20
                                  (.20)
03/21/2023     Reisman, Steven    Update regarding additional discovery and discussions with Katten team in                  0.60
                                  connection with investigation (.60)
03/22/2023     Barnowski, Dan     Prepare for T. Kice deposition (2.80); finalize T. Kice deposition notice                  3.40
                                  joinder (.30); communications with Quinn counsel concerning meeting
                                  with Ben to discuss claims (.30)
03/22/2023     Miranda, Loredana Draft joinder to the Bondholder Committee's deposition of T. Kice (.40);                    1.40
                                 correspondence with D. Barnowkski regarding same (.30); coordinate
                                 filing of joinder to the Bondholder Committee's deposition of T. Kice
                                 (.50); call with J. Brooks-Patton regarding same (.20)
03/23/2023     Barnowski, Dan    Communications with Ben counsel concerning tomorrow’s meeting (.20);                        3.10
                                 multiple communications with Bondholder Committee counsel concerning
                                 tomorrow’s meeting with Ben counsel (.40); approval of meeting minutes
                                 (.20); continue to prepare T. Kice deposition outline (2.30)
03/23/2023     Miranda, Loredana Review T. Kice's document production (.20); correspondence with D.                          0.30
                                 Barnowski regarding same (.10)
03/23/2023     Roitman, Marc     Review documents produced by Company in connection with analyzing                           1.50
                                 potential claims against certain third parties (1.10); emails with D.
                                 Barnowski and C. Giglio regarding same (.40)
03/24/2023     Barnowski, Dan    Prepare for meeting with Ben’s counsel this afternoon (.40); attend                         4.10
                                 meeting with Ben’s counsel and Bondholder Committee counsel to discuss
                                 Ben claims (1.30); status update to independent directors on meeting with
                                 Ben (.30); teleconference with Bondholder Committee counsel concerning
                                 meeting with Ben (.20); prepare notes from meeting with Ben (.30);
                                 review of documents produced by T. Kice in discovery (1.60)
03/24/2023     Roitman, Marc     Call with Quinn and Akin regarding potential claims and causes of action                    2.70
                                 (1.30); prepare for same (.50); further review of documents and analyses
                                 in connection with potential counterarguments to potential estate claims
                                 and causes of action (.90)
03/27/2023     Barnowski, Dan    Prepare for T. Kice deposition (.50)                                                        0.50
03/29/2023     Giglio, Cindi      Pre-call regarding Investigations Committee meeting (.30); attend a                        0.70
                                  portion of Investigations Committee meeting (.40)
03/29/2023     Barnowski, Dan     Attend Investigations Committee call (.50)                                                 0.50
03/29/2023     Thompson, Grace Attend Katten precall (.30); attend Investigations Committee call (.50)                       0.80
03/29/2023     Roitman, Marc      Katten pre-call in connection with Investigations Committee call (.30)                     0.30
03/29/2023     Roitman, Marc      Call with Investigations Committee regarding matters relating to                           0.90
                                  investigation (.50); prepare in connection with same (.40)
03/30/2023     Reisman, Steven    Update on investigation matters arising from Investigations Committee                      2.10
                                  meeting (2.10)



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Date           Timekeeper         Description                                                                 Hours
03/31/2023     Barnowski, Dan     Complete prep for T. Kice deposition (.80)                                       0.80
03/31/2023     Thompson, Grace Draft minutes from Investigations Committee meeting (.30)                           0.30
                                                                                     Total Hours :             84.90




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        8.70            1,755.00              15,268.50
Giglio, Cindi                                          8.30            1,495.00              12,408.50
Hall, Jerry                                            2.20            1,425.00               3,135.00
Roitman, Marc                                         18.60            1,270.00              23,622.00
Barnowski, Dan                                        25.70            1,245.00              31,996.50
Thompson, Grace                                        2.10              895.00               1,879.50
Miranda, Loredana                                     19.10              710.00              13,561.00
Siena, Marie                                           0.20              410.00                  82.00

                                     Sub Total :      84.90   Sub Total :                   101,953.00
                                     Total Hours :    84.90   Total Fees             101,953.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through March 31, 2023



Fees Total............................................................................................................................................................. 477,228.00
Total Amount Due .............................................................................................................................................. 477,228.00                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
03/01/2023     Giglio, Cindi      Call regarding term sheet and related prep (.80); follow up related to terms                2.00
                                  of term sheet (1.20)
03/01/2023     Barnowski, Dan     Project Polly call concerning initial review of term sheet revisions (.80);                 2.60
                                  analysis of further revised term sheet (.50); analysis of revised term sheet
                                  from Bondholders Committee (.50); communications with team about
                                  revisions to term sheet and Ben counter-offer (.30); analysis of proposed
                                  counter-offer from Ben (.50)
03/01/2023     Hall, Jerry        Review revised mediation term sheet (.30); email with L. Miranda                            0.50
                                  regarding mediation term sheet and related matters (.20)
03/01/2023     Miranda, Loredana Attend call with Debtors regarding term sheet and plan (.80); draft                          1.10
                                 summary of call regarding same for Katten team (.30)
03/01/2023     Comerford,         Attend a portion of call with Debtors regarding term sheet and plan (.50)                   0.50
               Michael
03/01/2023     Roitman, Marc      Call to discuss plan term sheet with Debtors' management and                                1.40
                                  professionals (.80); revise Mediation term sheet (.60)
03/01/2023     Reisman, Steven    Attend to review of plan term sheet and note comments and feedback on                       1.10
                                  same (1.10)
03/02/2023     Barnowski, Dan     Teleconference with C. Kelley concerning potential releases (.40);                          1.70
                                  teleconference with Province concerning Ben counter offer (.40); analysis
                                  of third party release issues (.50); email to client with analysis of release
                                  issue (.40)
03/02/2023     Hall, Jerry        Email among M. Roitman and others regarding mediation term sheet (.30)                      0.30
03/02/2023     Hatcher, Todd      Review draft mediation term sheet (.10)                                                     0.10
03/03/2023     Giglio, Cindi      Correspondence with J. Rubin (.30); review of term sheet drafts and                         1.60
                                  related emails (1.00); call with Debtors’ professionals regarding plan term
                                  sheet (.30)
03/03/2023     Barnowski, Dan     Analyze mediator revisions to term sheet (.50); communications with team                    0.90
                                  concerning term sheet (.40)
03/03/2023     Hall, Jerry        Email among Katten and Mayer Brown regarding term sheet (.50)                               0.50
03/03/2023     Miranda, Loredana Attend call with Debtor's professionals regarding plan term sheet (.30)                      0.30
03/03/2023     Roitman, Marc      Call with the Debtors’ professionals regarding plan term sheet (.30);                       3.00
                                  research on voting-related matters (1.40); draft email memorandum in
                                  connection with same (1.30)
03/03/2023     Reisman, Steven    Follow up regarding matters related to plan term sheet (.30); discussions                   0.60
                                  with T. Horton and J. Stein regarding same (.30)
03/03/2023     Hatcher, Todd      Review draft mediation term sheet (.30); correspondence with Mayer                          0.80
                                  Brown tax related to tax disclosure (.50)
03/04/2023     Giglio, Cindi      Attention to various turns of term sheet (1.20); Katten pre-call regarding                  2.50
                                  same (.30); attend call with Mayer Brown and Jackson Walker regarding
                                  Second Amended Plan (.70); emails and correspondence with LBC (.30)
03/04/2023     Barnowski, Dan     Analysis of proposed revisions to term sheet (.40); communications with                     0.90
                                  Katten team concerning proposed changes to term sheet (.50)
03/04/2023     Hall, Jerry        Email among D. Barnowski and others regarding email from Okin (.30);                        1.00
                                  call among D. Barnowski and others regarding case status (.30); review
                                  revised chapter 11 plan (.40)



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Date           Timekeeper         Description                                                                             Hours
03/04/2023     Miranda, Loredana Review draft of Second Amended Plan (.60); correspondence with M.                             1.60
                                 Roitman regarding same (.20); attend call with Mayer Brown and Jackson
                                 Walker regarding Second Amended Plan (.70)
03/04/2023     Roitman, Marc     Call with Mayer Brown and Jackson Walker regarding Second Amended                             8.40
                                 Plan (.70); preparation in connection with same (.40); Katten pre-call
                                 regarding same (.30); further research regarding Plan-related voting
                                 matters (.50); draft Plan mediation issues list (1.80); emails with Katten
                                 regarding same (.50); emails with Akin Gump regarding same (.30); revise
                                 Second Amended Plan (2.80); review Akin Gump comments on Second
                                 Amended Plan (.60); review correspondence from Okin Adams regarding
                                 Chapter 11 Plan (.20); emails with Katten regarding strategy in connection
                                 with Second Amended Plan (.30)
03/05/2023     Giglio, Cindi      Review plan (2.60); correspondence related to privilege and other related                    3.90
                                  issues (1.30)
03/05/2023     Barnowski, Dan     Analysis of privilege language in plan (.60); analysis of engagement                         2.20
                                  materials relating to privilege (.50); research of law pertinent to privilege
                                  issue (.50); communications with team concerning privilege issues (.40);
                                  teleconference with C. Kelley concerning privilege issues (.20)
03/05/2023     Hall, Jerry        Email among Akin, Katten and others regarding mediation term sheet and                       0.60
                                  related matters (.60)
03/05/2023     Roitman, Marc      Further revise Second Amended Plan (2.10); call with Mayer Brown                             3.10
                                  regarding same (1.00)
03/05/2023     Hatcher, Todd      Correspondence with Mayer Brown regarding tax disclosure issues (.60)                        0.60
03/06/2023     Giglio, Cindi      Review term sheet edits from Okin and related discussions (2.80)                             2.80
03/06/2023     Barnowski, Dan     Analysis of several sections of further revised plan and disclosure                          3.20
                                  statement (1.40); analysis of LBM revisions to draft term sheet (.40);
                                  communications with Katten team concerning LBM’s proposed revisions
                                  (.80); analysis of several proposed resolutions to LBM revision issue (.60)
03/06/2023     Hall, Jerry        Email among Katten, Akin, Mayer Brown and others regarding mediation                         0.50
                                  term sheet (.50)
03/06/2023     Miranda, Loredana Correspondence with M. Roitman regarding Disclosure Statement (.30);                          1.80
                                 review revised Disclosure Statement (1.60)
03/06/2023     Comerford,         Review mark-up of disclosure statement (.50) provide comments to M.                          0.60
               Michael            Roitman (.10)
03/06/2023     Roitman, Marc      Revise Disclosure Statement for Second Amended Plan (2.30); revise Plan                      4.90
                                  Term Sheet (.90); negotiations with parties regarding Plan Term Sheet
                                  (.70); confer with Katten regarding same (.50); confer with S. Reisman
                                  regarding same (.30); follow up call with S. Reisman regarding same (.20)
03/06/2023     Baker, Taryn       Update GWG tax disclosure to incorporate Katten tax comments (3.10)                          3.10
03/06/2023     Hatcher, Todd      Review draft chapter 11 plan (.80); review draft tax disclosure (.90);                       2.50
                                  review draft disclosure statement (.70); review revised term sheet (.10)
03/07/2023     Giglio, Cindi      Correspond regarding term sheet (1.20); call with S. Reisman regarding                       2.10
                                  same (.20); correspond regarding Ben Disclosure Statement objections
                                  (.20); correspondence with mediator (.40); call with J. Stein regarding
                                  same (.10)
03/07/2023     Barnowski, Dan     Analysis of Judge Jones proposed revision to term sheet settlement (.40);                    1.70
                                  analysis of Bondholder Committee revision to term sheet (.40);
                                  communications with Katten team concerning suggested revisions to
                                  Bondholder Committee language (.40); analysis of revised proposal from
                                  LBM (.50)




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03/07/2023     Hall, Jerry        Email among M. Roitman and others regarding mediation term sheet and                        0.50
                                  exculpation matters (.50)
03/07/2023     Miranda, Loredana Correspondence with M. Roitman regarding revised Term Sheet (.20)                            0.20
03/07/2023     Comerford,         Review settlement mark-ups for term sheet and related issues (.40)                          0.40
               Michael
03/07/2023     Roitman, Marc      Call with Mayer Brown regarding structure of Wind Down Trust (1.00);                        2.80
                                  review edits to Mediation Term Sheet (.40); emails with Katten and Mayer
                                  Brown regarding same (.30); review revised draft of Disclosure Statement
                                  (.90); emails with Mayer Brown regarding same (.20)
03/07/2023     Reisman, Steven    Review correspondence regarding term sheet for settlement of matters                        2.70
                                  related to plan and follow up regarding matters related to same (.90);
                                  discussion with C. Giglio regarding same (.20); update regarding
                                  disclosure statement objections from Ben (.20); discussions with J. Stein
                                  regarding matters related to plan, term sheet and general status update
                                  regarding same (.40); discussions regarding wind down trust (.40);
                                  discussions regarding edits to mediation term sheet (.30); follow up
                                  correspondence with Katten team related to same (.30)
03/07/2023     Hatcher, Todd      Review draft disclosure statement (.50)                                                     0.50
03/07/2023     Bulkin, Vlad       Call with Mayer Brown and Katten teams regarding Wind Down Trust                            1.00
                                  (1.00)
03/08/2023     Giglio, Cindi      Initial review of LBC comments to plan (.40); emails regarding term sheet                   1.10
                                  (.30); review Mayer Brown comments (.40)
03/08/2023     Barnowski, Dan     Analysis of further proposed revisions to mediation term sheet (.50);                       1.90
                                  analysis of proposed changes to mediation term sheet and communications
                                  concerning same (.50); analysis of Bondholders Committee’s proposed
                                  revisions to draft Plan (.90)
03/08/2023     Hall, Jerry        Email among Katten, Mayer Brown and others regarding disclosure                             1.00
                                  statement (.30); review revised chapter 11 plan (.50); email among M.
                                  Roitman and others regarding plan revisions (.20)
03/08/2023     Reisman, Steven    Review edits to plan, disclosure statement and efforts to finalize same for                 5.60
                                  filing next week (4.30); internal discussions with M. Roitman regarding
                                  matters related to term sheet (1.30)
03/08/2023     Baker, Taryn       Conduct research related to Plan tax implications (2.20)                                    2.20
03/08/2023     Hatcher, Todd      Review revised chapter 11 plan (.80)                                                        0.80
03/09/2023     Giglio, Cindi      Correspond with Katten on privilege (.20); call with Mayer Brown                            3.20
                                  regarding Akin comments (1.00); call with L Bond Committee and Mayer
                                  Brown (1.30); follow up call with Mayer Brown (.30); review Mayer
                                  Brown draft statement (.40)
03/09/2023     Barnowski, Dan     Analysis of Mayer Brown’s proposed revisions to plan (1.30);                                6.20
                                  teleconference with Mayer Brown and Katten teams to finalize draft plan
                                  language (1.00); analysis of further revised draft plan (.80); propose
                                  language for privilege section (.40); Katten pre-call to prepare for meeting
                                  with Bondholders Committee (.20); weekly call with Bondholders
                                  Committee (1.30); teleconference with A. Qureshi about privilege issues
                                  in plan (.20); follow-up analysis of privilege issues in plan (.70); follow-up
                                  call with Mayer Brown concerning amended plan (.30)
03/09/2023     Hall, Jerry        Call with Katten regarding amended plan (.20); call among Katten and                        1.50
                                  Akin regarding amended plan (1.30); review mediation agreement
                                  statement (.30)




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03/09/2023     Miranda, Loredana Review blackline of amended plan (.30); attend Katten pre call (.20);                     4.00
                                 attend call with Debtors’ and Bondholder Committee’s professionals
                                 regarding the amended plan (1.30); draft summary of call for Katten team
                                 regarding same (.30); attend follow-up call with Mayer Brown regarding
                                 amended plan (.30); prepare summary of call regarding same for Katten
                                 team (.10); review debtor's statement of the mediation agreement (.70);
                                 revise statement regarding same with comments by M. Roitman (.50);
                                 provide T. Baker chapter 11 precedents (.30)
03/09/2023     Comerford,         Call with Katten team regarding plan related issues (.50); review updated                1.10
               Michael            plan language in connection with same discussion (.60)
03/09/2023     Roitman, Marc      Katten call with Bondholder Committee’s and Debtors’ Professionals                       3.00
                                  regarding amended plan (1.30); Katten pre call in preparation for same
                                  (.20); revise draft of amended Plan (.90); emails with Katten and Mayer
                                  Brown regarding same (.30); follow-up call with Mayer Brown regarding
                                  amended plan (.30)
03/09/2023     Reisman, Steven    Attend to review, revise and edit plan and disclosure statement based upon               9.90
                                  term sheet (3.40); review plan materials with Mayer Brown and Katten
                                  team (.60); participate in Katten, Debtors, and LBC professionals (1.30);
                                  Katten pre call in preparation for same (.20); follow-up call with Mayer
                                  Brown regarding amended plan (.30); call with Mayer Brown regarding
                                  LBC's comments to the plan (1.00); attend to matters related to term sheet
                                  and efforts to finalize same (1.70); review of mediation agreement
                                  regarding term sheet reached among L Bond Committee, L Bond
                                  Management and Debtors related to plan process, settlement (1.40)
03/09/2023     Baker, Taryn       Update the GWG Chapter 11 plan to incorporate tax comments and review                    3.20
                                  tax sections against existing precedent (3.20)
03/09/2023     Hatcher, Todd      Review revised chapter 11 plan (1.30)                                                    1.30
03/09/2023     Bulkin, Vlad       Attend call with Mayer Brown and Katten teams regarding LBC Plan                         1.00
                                  revisions (1.00)
03/10/2023     Barnowski, Dan     Analysis of privilege and work product issues pertinent to Plan (.90); meet              5.30
                                  and confer with A. Qureshi, Bondholder Committee counsel, concerning
                                  privilege issue and report to team on same (.40); email to Bondholder
                                  Committee and LBM concerning Ben settlement proposal (.40); follow-up
                                  on LBM request for additional settlement information (.20);
                                  communications with C. Kelley concerning privilege issues (.30);
                                  negotiation teleconference with Bondholder Committee counsel and C.
                                  Kelley of Mayer Brown concerning open privilege issues (.30); prepare
                                  email to Bondholder Counsel with terms of privilege resolution (.50);
                                  analysis of further revised Plan and suggested revisions from LBM (1.10);
                                  teleconference with counsel for Bondholders Committee, LBM and
                                  Debtors to negotiate the Plan (.80); analysis of issue concerning released
                                  parties (.40)
03/10/2023     Hall, Jerry        Review revised amended plan (.40); review revised mediation agreement                    1.10
                                  statement (.40); email among Mayer Brown and Katten regarding
                                  mediation agreement statement (.30)
03/10/2023     Miranda, Loredana Correspondence with M. Roitman regarding LBM's comments to term                           2.80
                                 sheet (.20); call with M.Roitman regarding same (.10); collect samples of
                                 litigation and liquidating trust agreements (2.30); correspondence with M.
                                 Roitman and C. Giglio regarding same (.20)




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03/10/2023     Roitman, Marc      Call with securities and tax teams regarding Plan (1.30); review analyses                   6.10
                                  in preparation for same (.70); call with T. Hatcher regarding tax issues
                                  relevant to plan (.40); call with co-proponent group regarding Plan (.90);
                                  further revise Statement regarding Mediation Agreement (.80); review
                                  comments from co-proponents (.50); call with L. Miranda re term sheet
                                  (.10); review of precedent Liquidating Trust Agreements and Litigation
                                  Trust Agreements (.60); emails with Katten regarding same (.20); review
                                  proposed edits to Second Amended Plan from tax team (.40); emails with
                                  T. Hatcher and T. Baker regarding same (.20)
03/10/2023     Reisman, Steven    Discussions with Mayer Brown, Katten and Akin regarding GWG plan                            2.80
                                  structure and follow up regarding matters related to same (.80); review
                                  matters related to liquidating trust agreement and discussion of issues
                                  regarding same (.60); follow up regarding tax analysis (.40); discussions
                                  regarding privilege issues (.60); discussions with bondholder committee
                                  regarding privilege issue and follow up regarding same (.40)
03/10/2023     Baker, Taryn       Telephone conference with Mayer Brown, Katten, and Akin teams to                            1.30
                                  discuss plan structure, Securities, '40 Act, and Tax Issues, and prepare call
                                  notes tax summary related to the same (1.30)
03/10/2023     Hatcher, Todd      Call with M. Roitman regarding tax issues relevant to plan (.40); attend a                  0.90
                                  portion of call with Mayer Brown and other advisors to discuss plan
                                  structure (.50)
03/10/2023     Bulkin, Vlad       Attend call with Mayer Brown, Katten and Akin regarding GWG Plan                            1.30
                                  Structure Discussion - Securities, 40 Act and Tax Issues (1.30)
03/11/2023     Giglio, Cindi      Attend call with debtors' advisors regarding tax matters in plan (.50)                      0.50
03/11/2023     Barnowski, Dan     Prepare revised draft proposal to resolve privilege issue with Bondholder                   1.10
                                  Committee counsel (.40); communications with Bondholder Committee to
                                  finalize agreement on privilege language in draft Plan (.20); prepare
                                  clarification of proposal and transmit to Bondholder Committee’s counsel
                                  (.30); communications with S. Reisman, M. Roitman and others
                                  concerning Bondholder revisions to proposal (.20)
03/11/2023     Roitman, Marc      Call with Debtors’ professionals and management regarding Second                            4.00
                                  Amended Plan (.50); review tax and securities law analysis in connection
                                  with same (.90); review proposed edits to Second Amended Plan (.80);
                                  review of proposed edits to Disclosure Statement (.80); review proposed
                                  agreement regarding transfer of privileges to Litigation Trust in
                                  connection with Plan (.70); emails with Katten regarding same (.30)
03/11/2023     Reisman, Steven    Update regarding matters related to second amended plan and edits to                        0.90
                                  same and follow up (.70); correspondence with Katten team regarding
                                  same (.20)
03/11/2023     Hatcher, Todd      Review tax analysis related to tax matters in plan (.80); call with debtor                  2.10
                                  advisors and J. Stein to discuss tax matters in plan (.50); follow-up
                                  discussion with Mayer Brown tax regarding tax matters in plan (.80)
03/11/2023     Bulkin, Vlad       Attention to questions regarding structuring and 40 Act implications (.20)                  0.20
03/12/2023     Giglio, Cindi      Review Okin and Akin comments and related correspondence (.50)                              0.50
03/12/2023     Barnowski, Dan     Analysis of Bondholder Committee’s revisions to draft plan (.70); analysis                  0.90
                                  of issues related to Bondholder Committee request for negotiation-related
                                  emails with Ben (.20)
03/12/2023     Hall, Jerry        Review revised amended plan (Okin comments) (.40)                                           0.40




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03/13/2023     Giglio, Cindi      Call with Mayer Brown regarding plan comments from Akin and Okin                             3.50
                                  (1.60); teleconference with Mayer Brown and Katten teams concerning
                                  strategy for draft plan (.50); teleconference with Katten and Mayer Brown
                                  teams concerning proposed revisions to draft plan (.80); review plan and
                                  disclosure statement (.60)
03/13/2023     Barnowski, Dan     Analysis of LBM proposed revisions to draft plan (.70); teleconference                       4.00
                                  with Katten and Mayer Brown teams concerning proposed revisions to
                                  draft plan (.80); communications with Bondholders Committee counsel
                                  concerning privilege issues pertinent to proposed Plan (.40); call with
                                  Mayer Brown and Katten teams concerning draft plan (1.60);
                                  teleconference with Mayer Brown and Katten teams concerning strategy
                                  for draft plan (.50)
03/13/2023     Roitman, Marc      Call with Mayer Brown regarding Plan (1.60); call with Kirkland                              7.20
                                  regarding Plan and Disclosure Statement matters; follow up call with
                                  Mayer Brown regarding Plan; additional follow up call with Mayer Brown
                                  regarding Plan; further revise draft Second Amended Plan; review revised
                                  draft of Plan; review revised draft of Disclosure Statement
03/13/2023     Reisman, Steven    Continue to work on matters related to plan including review of comments                     1.10
                                  from Akin, Okin Adams and general update on matters related to plan and
                                  plan issues (1.10)
03/13/2023     Hatcher, Todd      Review draft chapter 11 plan (.40); research related to plan tax issues (.60)                1.00
03/14/2023     Giglio, Cindi      Calls and correspondence with M. Roitman and J. Rubin (1.30); attend                         6.50
                                  pre-call with Mayer Brown (.80); calls with Creditor Co-Proponents on
                                  Plan (3.40); call with Mayer Brown Team on further revised draft (.30);
                                  call with M. Roitman on PC issues (.40); call with S. Reisman regarding
                                  same (.30)
03/14/2023     Barnowski, Dan     Katten and Mayer Brown pre-call to discuss proposed plan language                            6.00
                                  before negotiation session (.80); two negotiating calls with Mayer Brown,
                                  Katten, Okin Adams and Bondholder counsel to go over draft plan
                                  language (3.40); separate call with Mayer Brown and C. Giglio to discuss
                                  latest revisions to draft plan language (.30); analysis of revised plan (.60);
                                  analysis of further revised plan after negotiating session (.70);
                                  communications with C. Kelley and A. Qureshi concerning production of
                                  materials to litigation trustee (.20)
03/14/2023     Miranda, Loredana Collect precedent plans for T. Hatcher (.20); correspondence with M.                          0.30
                                 Roitman regarding same (.10)
03/14/2023     Roitman, Marc     Call with C. Giglio and J. Rubin regarding plan matters (1.30); pre-call                      9.20
                                 with Mayer Brown (.80); call with co-proponents regarding Plan (3.40);
                                 draft email update to team regarding Plan negotiations (.80); emails with
                                 S. Reisman regarding same (.30); call with S. Reisman regarding plan
                                 matters (.30); call with C. Giglio regarding plan matters (.40); review
                                 proposed edits to Disclosure Statement (1.10); review proposed edits to
                                 Second Amended Plan (.80)
03/14/2023     Reisman, Steven    Attend to review of comments to plan from various co-proponents and                          2.40
                                  related correspondence (1.00); call with M. Roitman regarding plan
                                  matters (.30); call with C. Giglio regarding same (.30); participate in call
                                  with Mayer Brown regarding edits to plan and negotiations around same
                                  (.80)
03/14/2023     Baker, Taryn       Conduct research related to tax reporting related to liquidating trusts                      3.20
                                  (2.70); telephone conference with GWG and Katten tax teams to discuss
                                  PTP and Tax Reporting (.50)




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03/14/2023     Hatcher, Todd      Review disclosure statement (.60); call with Mayer Brown tax and Akin                       2.20
                                  tax to discuss plan tax issues (.70); review liquidation trust agreement
                                  samples (.50); review revisions to plan (.40)
03/15/2023     Giglio, Cindi      Comments to disclosure statement (1.30); Plan negotiation call with Mayer                   4.70
                                  Brown, Akin, and Okin Adams professionals (2.40); follow-up call with
                                  Mayer Brown to discuss finalization of plan (.70); call with M. Roitman
                                  regarding same (.30)
03/15/2023     Barnowski, Dan     Plan negotiation call with Mayer Brown, Akin, Okin Adams teams (2.40);                      3.50
                                  analysis of emergency motion to adjourn disclosure statement hearing
                                  (.40); follow-up call with Mayer Brown to discuss finalization of plan
                                  (.70)
03/15/2023     Hall, Jerry        Review Ad Hoc Committee motion to continue Disclosure Statement                             0.30
                                  hearing (.30)
03/15/2023     Miranda, Loredana Incorporate C. Giglio's comments to the disclosure statement (1.00);                         2.20
                                 correspondence with Katten team regarding same (.20); attend call with
                                 Mayer Brown regarding Plan (.70); prepare summary of call regarding
                                 same for Katten team (.30)
03/15/2023     Roitman, Marc     Further revise draft Disclosure Statement (1.60); call with J. Netznik                       8.60
                                 regarding Plan (.40); call with co-proponents regarding Plan negotiations
                                 (2.40); call with Mayer Brown regarding Plan and Disclosure Statement
                                 (.70); call with Katten and Akin regarding Plan (.20); confer with C.
                                 Giglio regarding same (.30); review comments to Plan from co-proponents
                                 (.90); draft revised analysis of open issues relevant to Plan and proposed
                                 compromises (1.80); emails with Katten regarding same (.30)
03/15/2023     Reisman, Steven    Attend to review of edits to plan and review comments from Mayer                            2.60
                                  Brown, Akin and Okin Adams (1.40); review comments to disclosure
                                  statement (.50); attend call with Mayer Brown regarding plan (.70)
03/15/2023     Baker, Taryn       Telephone conference with Katten, Mayer Brown, and Akin tax teams to                        4.10
                                  discuss PTP and Tax Reporting (.50); summarize and circulate tax notes
                                  related to the same (.30); liquidating trust research related to liquidating
                                  trust reporting and application to trusts (3.30)
03/15/2023     Hatcher, Todd      Call with Mayer Brown tax to discuss plan structure and liquidating trust                   1.10
                                  reporting issue (.50); review draft disclosure statement (.60)
03/16/2023     Giglio, Cindi      Call with J. Rubin regarding timing (.10); call with L. Chiapetta regarding                 3.30
                                  same (.10); call with Mayer Brown (.40); pre-call with M. Roitman (.10);
                                  call with all co-proponents on page turn (1.50); call with Mayer Brown
                                  regarding plan (.40); call with LBC regarding Plan (.70)
03/16/2023     Barnowski, Dan     Analysis of LBM proposed edits to Plan (.90); analysis of LBC proposed                      5.50
                                  edits to Plan (.90); teleconference with Mayer Brown team concerning
                                  finalization of Plan (.40); negotiation call with Mayer Brown, LBM and
                                  Bondholders Committee (1.50); call with Mayer Brown regarding plan
                                  (.40); call with LBC regarding Plan (.70)
                                   teleconference with M. Roitman to revise plan language (.70)
03/16/2023     Miranda, Loredana Attend follow-up call with Mayer Brown regarding Plan (.40)                                  0.40
03/16/2023     Roitman, Marc      Call with Mayer Brown regarding plan (.40); pre-call with C. Giglio                         8.90
                                  regarding same (.10); call with LBC regarding Plan (.70); call with co-
                                  proponents regarding Plan negotiations (1.50); call with D. Barnowski
                                  regarding revisions to Plan (.70); correspond with C. Giglio regarding
                                  revisions to Plan (.70); further revise draft Plan of Reorganization,
                                  including proposed revisions to resolve disagreements among co-
                                  proponents (2.80); emails with Mayer Brown regarding specific revisions
                                  to Plan (.90); draft revised analysis of open Plan issues and positions of
                                  co-proponents (.90); emails with Katten regarding same (.20)


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03/16/2023     Reisman, Steven     Update regarding matters related to plan, disclosure statement, revisions to                   2.20
                                   same (1.70); discussions with L. Chiappetta at Mayer Brown regarding
                                   matters regarding plan issues (.10); call with Mayer Brown regarding plan
                                   (.40)
03/16/2023     Baker, Taryn        Review updated drafts circulated of the GWG tax disclosure and prepare                         3.80
                                   Katten tax comments related to the same (3.80)
03/16/2023     Hatcher, Todd       Review draft disclosure statement (.80); review correspondence with                            1.10
                                   Katten team (.30)
03/17/2023     Giglio, Cindi       Emails regarding double recovery and language drafting (.60)                                   0.60
03/17/2023     Barnowski, Dan      Analysis of issues related to various suggested revisions to draft Plan                        1.60
                                   (.70); analysis of suggested revisions to draft Plan (.60); communications
                                   with Ben counsel concerning presentation (.30)
03/17/2023     Miranda, Loredana Call with M. Roitman regarding research on disclosure statement (.10);                           4.00
                                 review Mayer Brown's draft of the disclosure statement against our
                                 markup (.20); conduct legal research on section 1125(b) of the bankruptcy
                                 code (2.90); draft summary of findings regarding same (.60);
                                 correspondence with M. Roitman regarding same (.20)
03/17/2023     Roitman, Marc     Call with Akin regarding securities law issues (.50); further revise analysis                    7.70
                                 of open Plan issues and positions of co-proponents (.70); further revise
                                 draft Disclosure Statement, including proposed revisions to resolve
                                 disagreements among co-proponents (2.40); review proposed edits to Plan
                                 from co-proponents (.60); emails with Katten regarding same (.30); emails
                                 with Mayer Brown regarding same (.50); emails with counsel to Indenture
                                 Trustee regarding Plan (.50); call with counsel to Indenture Trustee
                                 regarding Plan (.40); call with L. Miranda regarding disclosure statement
                                 (.10); further revise Plan in response to comments received (.70); emails
                                 with Mayer Brown and Katten regarding same (.30); review research from
                                 L. Miranda regarding adequacy of disclosure (.60); emails with C. Giglio
                                 regarding same (.10)
03/17/2023     Reisman, Steven     Attend to matters regarding efforts to resolve disputes among various                          0.80
                                   parties with respect to plan and disclosure statement and follow up
                                   discussions and review of emails throughout the day related to same (.80)
03/17/2023     Reisman, Steven     Analyze proposed revisions to plan and outstanding issues (.80);                               1.10
                                   correspondence with Katten team related to same (.30)
03/17/2023     Hatcher, Todd       Review draft disclosure statement (1.00)                                                       1.00
03/18/2023     Giglio, Cindi       Correspondence related to final open issues with LBC (1.20)                                    1.20
03/19/2023     Giglio, Cindi       Call with Akin regarding Plan matters (.60); call with Debtors'                                2.80
                                   professionals and management regarding Plan matters (.70); follow up call
                                   with Mayer Brown regarding same (.60); review revisions to plan (.90)
03/19/2023     Barnowski, Dan      Teleconference with J Stein, T Horton, Mayer Brown team and Katten                             1.20
                                   teams about plan issues (.70); analysis of further revisions to plan (.50)
03/19/2023     Roitman, Marc       Review revised draft of Disclosure Statement (.90); draft further edits to                     6.20
                                   Disclosure Statement (.70); review proposed edits to Plan from co-
                                   proponents (1.40); emails with Mayer Brown and Katten regarding same
                                   (.40); call with Akin regarding Plan matters (.60); call with Debtors’
                                   professionals and management regarding Plan matters (.70); follow up call
                                   with Mayer Brown regarding same (.60); draft email to Special Committee
                                   regarding proposed resolutions on open issues relevant to the Plan (.60);
                                   emails with Mayer Brown regarding same (.30)
03/19/2023     Hatcher, Todd       Review draft plan (.10)                                                                        0.10




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Date           Timekeeper         Description                                                                         Hours
03/20/2023     Barnowski, Dan     Analyze further proposed revisions to Plan language (.50); analyze further               1.40
                                  proposed revisions to Plan and Mayer Brown’s proposed changes to same
                                  (.90)
03/20/2023     Roitman, Marc      Draft revised version of Plan to provide for proposed resolutions of open                4.70
                                  issues (2.50); emails with Mayer Brown regarding Plan matters (.90); draft
                                  analysis of remaining open issues and proposed resolutions thereof (1.30)
03/20/2023     Baker, Taryn       Review updated draft of the GWG Disclosure Statement, and circulate                      3.40
                                  Katten tax comments related to the GWG Tax Disclosure to Mayer Brown
                                  (3.40)
03/20/2023     Hatcher, Todd      Review draft plan (.10); review draft disclosure statement (.30)                         0.40
03/21/2023     Giglio, Cindi      Attention to outstanding plan related issues (.50)                                       0.50
03/21/2023     Barnowski, Dan     Teleconference with Mayer Brown and Katten teams concerning LBM                          1.40
                                  proposed changes to Plan (.50); revise explanatory statement to go along
                                  with Plan (.40); analyze additional proposed changes to Plan (.50)
03/21/2023     Thompson, Grace Provide comments to Debtors' statement to bondholders (.80); related                        1.00
                                 correspondence with Katten (.20)
03/21/2023     Miranda, Loredana Review and provide comments to draft statement regarding bondholder                       3.00
                                 recoveries (2.80); correspondence with Katten team regarding same (.20)
03/21/2023     Roitman, Marc     Confer with Akin regarding Plan (.70); emails with Akin regarding                         5.50
                                 proposed resolutions of certain open issues in connection with Plan (.60);
                                 calls with counsel to Indenture Trustee regarding Plan (.30); call with T.
                                 Kiriakos regarding Plan (.30); call with Mayer Brown and Katten
                                 regarding Plan (.50); follow up call with T. Kiriakos regarding plan (.10);
                                 call with J. Stein and C. Giglio regarding Plan (.20); call with Akin Gump
                                 and Mayer Brown regarding Plan matters (.20); further revise Second
                                 Amended Plan and Disclosure Statement in connection with negotiations
                                 with co-proponents (2.30); emails with Katten regarding same (.40)
03/21/2023     Reisman, Steven    Review and comment on statement regarding bondholder recoveries (.70)                    0.70
03/21/2023     Hatcher, Todd      Review revised plan (.40)                                                                0.40
03/22/2023     Giglio, Cindi      Call with co-proponents regarding further Plan negotiations (.80); follow                3.20
                                  up call with Mayer Brown regarding same (.20); review revised disclosure
                                  statement (.60); follow up with L. Chiapetta and J. Rubin (.40); call with
                                  M. Roitman on outstanding issues (.20); call with W. Everts (.10); related
                                  follow up (.90)
03/22/2023     Barnowski, Dan     Teleconference with C. Giglio, T. Kiriakos and L. Chiapetta concerning B.                1.20
                                  Rosen email (.40); revise response to B. Rosen email (.40); emails with C.
                                  Giglio and M. Roitman concerning B. Rosen offer (.40)
03/22/2023     Barnowski, Dan     Analyze LBM’s revisions to draft Plan (.30); analyze issues concerning                   0.70
                                  Plan requirement to track other Bondholder recoveries (.40)
03/22/2023     Thompson, Grace Calls and correspondence regarding post-Effective Date litigation                           0.40
                               monitoring (.40)
03/22/2023     Roitman, Marc   Call with co-proponents regarding further Plan negotiations (.80); follow                   4.90
                               up call with Mayer Brown regarding same (.20); confer with C. Giglio
                               regarding Plan matters (.20); call with J. Rubin regarding same (.10); co
                               proponent follow up call (.30); call with J. Stein regarding Plan matters
                               (.40); draft email regarding protocol for Wind Down Trust oversight of
                               third-party litigation in connection with Plan (.80); emails with Katten
                               regarding same (.30); emails with FTI and Mayer Brown regarding Wind
                               Down Trust distribution mechanics in connection with Plan (.60); review
                               revised draft of Plan (.80); review revised draft of Disclosure Statement
                               (.40)



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03/22/2023     Baker, Taryn       Telephone conference with D. Goett and T. Hatcher to discuss the GWG                       0.50
                                  Tax Disclosure (.50)
03/22/2023     Hatcher, Todd      Attend a portion of call with D. Goett and T. Baker regarding tax                          0.70
                                  disclosure (.30)
03/23/2023     Giglio, Cindi      Call with Mayer Brown and Akin (.80); call with L. Chiapetta (.10)                         0.90
03/23/2023     Thompson, Grace Call with Katten regarding wind down trust administration (.50); call with                    0.70
                                 L. Miranda regarding same (.20)
03/23/2023     Miranda, Loredana Coordinate scheduling of Katten call regarding Wind down trust                              0.80
                                 administration (.10); strategy call with Katten team regarding Wind down
                                 trust administration (.50); follow-up call with G. Thompson regarding
                                 same (.20)
03/23/2023     Roitman, Marc     Emails with Mayer Brown regarding informal objections to Disclosure                         0.90
                                 Statement (.50); draft proposed revision to Disclosure Statement in
                                 connection with same (.40)
03/24/2023     Giglio, Cindi      Calls with Mayer Brown regarding solicitation (1.10); call with J. Rubin                   2.30
                                  (.20); call with S. Reisman regarding same (.30); related correspondence
                                  (.70)
03/24/2023     Miranda, Loredana Review diligence to update sections of the Disclosure Statement (.20);                      0.40
                                 correspondence with M. Roitman regarding same (.20)
03/24/2023     Roitman, Marc     Call with Mayer Brown regarding Plan and Disclosure Statement matters                       2.90
                                 (1.10); review informal Disclosure Statement objections (.70); emails
                                 regarding same (.40); revise draft statement regarding Bondholder
                                 recoveries (.70)
03/24/2023     Reisman, Steven    Discussions with C. Giglio regarding plan matters (.30); participate in call               1.50
                                  with Mayer Brown regarding plan and disclosure statement issues (1.10);
                                  prepare for same (.10)
03/25/2023     Giglio, Cindi      Emails and correspondence regarding plan issues (.80)                                      0.80
03/26/2023     Giglio, Cindi      Calls regarding bondholder recoveries issues (1.20)                                        1.20
03/26/2023     Barnowski, Dan     Analyze objections to Disclosure Statements (.70); emails with M.                          1.30
                                  Roitman and C. Giglio concerning strategy for responding to objections
                                  (.30); analyze revisions to draft statement to accompany disclosure
                                  statement (.30)
03/26/2023     Hall, Jerry        Review Heppner’s limited objection to Disclosure Statement (.30)                           0.30
03/26/2023     Roitman, Marc      Review as modified Plan and Disclosure Statement (.80); review revised                     1.60
                                  draft of statement regarding Bondholder recoveries (.50); emails with
                                  Katten and Mayer Brown regarding Plan, Disclosure Statement, and
                                  Bondholder Statement (.30)
03/27/2023     Giglio, Cindi      Call with co-proponents regarding Plan and Disclosure Statement matters                    1.50
                                  (1.00); review disclosure statement and plan (.50)
03/27/2023     Barnowski, Dan     Teleconference with Mayer Brown and Katten teams, Bondholder                               2.80
                                  Committee counsel and LBM counsel concerning disclosure statement
                                  (1.00); prepare insert to disclosure statement concerning language offered
                                  by T. Evans and M. Holland (.50); communications with counsel for
                                  Evans and Holland concerning disclosure statement (.40); review
                                  objection to disclosure statement (.90)
03/27/2023     Roitman, Marc      Research regarding adequacy of disclosure in connection with disclosure                    4.90
                                  statement issues (.90); emails with Katten regarding same (.50); call with
                                  co-proponents regarding Plan and Disclosure Statement matters (1.00);
                                  draft proposed edits to Disclosure Statement (1.20); emails with co-
                                  proponents regarding negotiation of revisions to Disclosure Statement
                                  (.80); review informal objections to Disclosure Statement (.50)


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Date           Timekeeper         Description                                                                         Hours
03/28/2023     Barnowski, Dan     Teleconference with Bondholder Committee counsel, Debtor counsel and                     3.10
                                  Katten team to prepare for hearing (.60); several calls with J. Stein
                                  concerning broker-dealer objection to Disclosure Statement (.50); analysis
                                  of broker-dealer objection (.70); several communications with Katten team
                                  concerning responding to broker-dealer objection (.80); two
                                  teleconferences with B. Rosen concerning Disclosure Statement issues
                                  (.50)
03/28/2023     Miranda, Loredana Pull cases from the Ad Hoc Committee's Objection (.30)                                    0.30
03/28/2023     Comerford,         Review emails regarding Disclosure Statement and open issues (.40)                       0.40
               Michael
03/28/2023     Roitman, Marc      Call with Akin and Mayer Brown regarding Disclosure Statement matters                    1.30
                                  (.60); call with B. Rosen regarding objection to Disclosure Statement
                                  (.40); emails with Katten regarding Broker Dealer 2019 statement in
                                  connection with objection to Disclosure Statement (.30)
03/29/2023     Giglio, Cindi      Attend Katten call regarding disclosures (.60)                                           0.60
03/29/2023     Miranda, Loredana Correspondence with M. Roitman regarding revisions to Disclosure                          2.80
                                 Statement (.10); call with M. Roitman regarding revisions to Disclosure
                                 Statement (.30); review documents in order to draft additional inserts to
                                 Disclosure Statement (.80); begin drafting additional inserts to Disclosure
                                 Statement (1.60)
03/29/2023     Roitman, Marc     Call with Katten regarding further disclosure in connection with potential                2.90
                                 estate claims and causes of action (.60); research in connection with same
                                 (1.00); call with L. Miranda regarding same (.30); weekly call with Mayer
                                 Brown (1.00)
03/30/2023     Giglio, Cindi      Call with Akin on litigation disclosure (.50); calls with D. Barnowski and               4.10
                                  S. Reisman (.70); call with J. Rubin (.20); call with L Bond Committee
                                  and Mayer Brown (.70); review draft order (.10); discuss hearing with S.
                                  Reisman (.20); call with Bondholder Committee on disclosure statement
                                  (.50); call regarding hearing (.80); review of order draft and
                                  correspondence (.40)
03/30/2023     Barnowski, Dan     Teleconference with Bondholder Committee counsel concerning further                      2.10
                                  disclosures (.50); teleconference with Bondholder Committee counsel and
                                  Mayer Brown (.70); teleconference with C. Giglio concerning disclosures
                                  (.20); teleconference with LBM, Bondholder Committee counsel, Mayer
                                  Brown and Katten teams (.70)
03/30/2023     Barnowski, Dan     Teleconference with T. Kiriakos concerning results of call with                          0.40
                                  Bondholders Committee counsel (.20); teleconference with M. Roitman
                                  about results of meeting with Bondholder Committee (.20)
03/30/2023     Barnowski, Dan     Prepare short memorandum outlining plan going forward to amend                           0.30
                                  disclosure statement (.30)
03/30/2023     Miranda, Loredana Attend call with Debtors’ and Bondholder Committee’s professionals                        0.90
                                 (.70); prepare summary of call regarding same (.20)
03/30/2023     Miranda, Loredana Attend call with the Bondholder Committee regarding Disclosure                            4.70
                                 Statement (.50); prepare summary of call for M. Roitman (.30); continue
                                 drafting revisions to the Disclosure Statement (3.20); correspondence with
                                 D. Barnowski and M. Roitman (.30); review and comment on proposed
                                 order regarding disclosure statement (.40)




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Date           Timekeeper         Description                                                                         Hours
03/30/2023     Roitman, Marc      Call with co-proponents regarding Disclosure Statement matters (.50); call               4.20
                                  with D. Barnowski following same (.20); revise form of order regarding
                                  further disclosure in connection with amended Disclosure Statement (.50);
                                  emails with Katten and Mayer Brown regarding same (.40); revise draft
                                  insert for Disclosure Statement regarding further disclosure requested by
                                  Judge Isgur concerning potential estate claims and causes of action (1.80);
                                  emails with Mayer Brown regarding report on call with co-proponents
                                  (.30); draft email to Special Committee regarding same (.50)
03/30/2023     Reisman, Steven    Review diligence related to disclosure statement (1.10)                                  1.10
03/31/2023     Barnowski, Dan     Revise proposed order (.40); research of law pertinent to proposed order to              1.40
                                  be submitted today (.80); communications with J. Rubin and T. Kiriakos
                                  concerning draft proposed order (.20)
03/31/2023     Roitman, Marc      Continue to draft insert for Disclosure Statement regarding further                      3.50
                                  disclosure requested by Judge Isgur concerning potential estate claims and
                                  causes of action, including analysis of Retained Causes of Action (3.50)
                                                                                            Total Hours :             374.40




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TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                        37.10            1,755.00              65,110.50
Giglio, Cindi                                          57.90            1,495.00              86,560.50
Hall, Jerry                                             8.50            1,425.00              12,112.50
Hatcher, Todd                                          17.60            1,390.00              24,464.00
Comerford, Michael                                      3.00            1,310.00               3,930.00
Bulkin, Vlad                                            3.50            1,295.00               4,532.50
Roitman, Marc                                         121.80            1,270.00             154,686.00
Barnowski, Dan                                         66.50            1,245.00              82,792.50
Thompson, Grace                                         2.10              895.00               1,879.50
Baker, Taryn                                           24.80              755.00              18,724.00
Miranda, Loredana                                      31.60              710.00              22,436.00

                                      Sub Total :     374.40   Sub Total :                   477,228.00
                                      Total Hours :   374.40   Total Fees             477,228.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Non-Working Travel

For Professional Services Rendered Through March 31, 2023



Fees Total.............................................................................................................................................................                 44,616.00
Total Amount Due ..............................................................................................................................................                         44,616.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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RE: Non-Working Travel

TIME DETAILS
Date           Timekeeper         Description                                                                        Hours
03/27/2023     Roitman, Marc      Non-working travel time to Houston for Disclosure Statement hearing                     3.30
                                  (3.30)
03/28/2023     Giglio, Cindi      Travel to and from Houston (15.00)                                                  15.00
03/28/2023     Roitman, Marc      Non-working travel time returning from Houston for Disclosure Statement                 4.50
                                  hearing (4.50)
03/28/2023     Reisman, Steven    Non working travel returning from Houston following Disclosure                          4.00
                                  Statement Hearing (4.00)
03/28/2023     Reisman, Steven    Travel to GWG Disclosure Statement hearing (3.00)                                       3.00
                                                                                        Total Hours :                 29.80




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        7.00            1,755.00              12,285.00
Giglio, Cindi                                         15.00            1,495.00              22,425.00
Roitman, Marc                                          7.80            1,270.00               9,906.00

                                     Sub Total :      29.80   Sub Total :                    44,616.00
                                     Total Hours :    29.80   Total Fees              44,616.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Expenses

For Professional Services Rendered Through March 31, 2023


Disbursements .....................................................................................................................................................                     21,006.48
Total Amount Due ..............................................................................................................................................                         21,006.48        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00032
Invoice #:          9020144707                                                               August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Expenses

DISBURSEMENTS
Description                  Cost Description                                                            Amount

Service Fees                 Veristar LLC; 03/08/2023; inv. 3686; Date range                           20,151.65
                             2/1/20-2/28/23; Document Review Platform Services 2/1/23
                             through 2/28/23.. Veristar LLC; 12/8/22; inv. #3588; document
                             review platform services 11/1-11/30/22.
Court Costs                  Pacer Court Costs 2/01/2023-2/28/2023 NYC. Pacer Court                          50.50
                             Costs 2/01/2023-2/28/2023 CHI. Court Charges: Secretary of
                             State of Texas Invoice No. 644905402 January 2023 Document
                             Fees for Web Inquiries on 1/29/2023.
Data/Library Research        Westlaw Legal Research: ROITMAN,MARC on 3/3/2023.                              804.33
Services                     Westlaw Legal Research: ROITMAN,MARC on 3/21/2023.
                             Westlaw Legal Research: MIRANDA,LOREDANA on
                             3/17/2023. Westlaw Legal Research: NDREGJONI,BORA on
                             3/2/2023. Westlaw Legal Research: NDREGJONI,BORA on
                             3/6/2023.
                                                                   Total Disbursements:         21,006.48      USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through April 30, 2023



Fees Total.............................................................................................................................................................                 14,096.00
Total Amount Due ..............................................................................................................................................                         14,096.00        USD




Payment can be remitted directly to our account:




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Invoice #:          9020145054                                                                               August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                          Hours
04/01/2023     Siena, Marie          Revise November billing statements to incorporate C. Giglio comments                      1.10
                                     (1.10)
04/10/2023     Thompson, Grace Provide comments on December billing statements (1.50)                                          1.50
04/10/2023     Siena, Marie      Emails with G. Thompson and L. Miranda regarding monthly fee                                  2.50
                                 statements (.30); email with C. Giglio regarding December monthly fee
                                 statement (.30); revise January billing statements to incorporate L.
                                 Miranda edits (1.90)
04/12/2023     Miranda, Loredana Draft email to clients regarding summary of December billing statements                       1.00
                                 (.90); correspondence with G. Thompson regarding same (.10)
04/16/2023     Siena, Marie          Review January prebills for compliance with UST guidelines (1.10)                         1.10
04/17/2023     Thompson, Grace Provide comments on revised Billing Statements (1.20)                                           1.20
04/17/2023     Siena, Marie          Emails with G. Thompson regarding November billing statements (.20);                      2.70
                                     revise November billing statements to incorporate G. Thompson
                                     comments (1.30); draft exhibits for November Monthly Fee Statement
                                     (1.20)
04/18/2023     Giglio, Cindi         Review December fee statement for compliance with UST guidelines                          1.20
                                     (1.20)
04/18/2023     Thompson, Grace Correspondence with Katten and Independent Directors regarding fee                              0.20
                                 statements (.20)
04/18/2023     Miranda, Loredana Review November Monthly Fee Statement (.40); review email to                                  0.70
                                 Independent Directors regarding November Monthly Fee Statement (.30)
04/18/2023     Siena, Marie          Revise exhibits to November Monthly Fee Statement (.90); emails with G.                   1.60
                                     Thompson and L. Miranda regarding same (.20); emails to C. Giglio
                                     regarding finalizing November Monthly Fee Statement (.30); emails with
                                     S. Reisman regarding same (.20)
04/20/2023     Siena, Marie          Email with G. Thompson regarding January billing statements (.20); revise                 1.20
                                     December billing statements to incorporate C. Giglio comments (1.00)
04/21/2023     Siena, Marie          Finalize November fee statement for filing (.20); file same on the court's                0.60
                                     docket (.20); email noticing agent regarding service of filed fee statement
                                     (.20)
04/22/2023     Siena, Marie          Begin to draft exhibits for December Monthly Fee Statement (.70)                          0.70
04/25/2023     Thompson, Grace Review January billing statements for privilege and confidential                                1.50
                                 information (1.50)
04/25/2023     Miranda, Loredana Review January billing statements for privilege and confidential                              2.40
                                 information (2.40)
04/28/2023     Siena, Marie          Revise January billing statements to incorporate L. Miranda and G.                        1.50
                                     Thompson comments (1.50)
04/30/2023     Siena, Marie          Email with C. Giglio regarding January billing statements (.30)                           0.30
                                                                                               Total Hours :               23.00




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          1.20            1,495.00               1,794.00
Thompson, Grace                                        4.40              895.00               3,938.00
Miranda, Loredana                                      4.10              710.00               2,911.00
Siena, Marie                                          13.30              410.00               5,453.00

                                     Sub Total :      23.00   Sub Total :                    14,096.00
                                     Total Hours :    23.00   Total Fees              14,096.00   USD




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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through April 30, 2023



Fees Total............................................................................................................................................................. 250,063.50
Total Amount Due .............................................................................................................................................. 250,063.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice Due Date:   Payable Upon Receipt


RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                              Hours
04/04/2023     Kitnick, Jesse     Attend call with Bondholder Committee (.80)                                                   0.80
04/04/2023     Miranda, Loredana Attend Project Polly call (.60); prepare summary of call for Katten team                       2.10
                                 (.50); draft agenda for Special Committee call (.30); revise agenda with
                                 comments by M. Roitman (.20); prepare email to client regarding same
                                 (.10); review notes from J. Kitnick regarding call with the Bondholder
                                 Committee (.20); prepare summary of docket entries relevant to Special
                                 Committee matters (.20)
04/04/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.60); call with                              1.40
                                 Bondholder Committee regarding case matters (.80)
04/04/2023     Reisman, Steven    Participate in Project Polly update call (.60); attend update call with L                     1.40
                                  Bond Committee regarding various case status (.80)
04/05/2023     Zobeideh, Alexis   Research legal standard and precedent (1.90); email M. Roitman research                       2.10
                                  results (.20)
04/05/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                        0.30
                                 (.30)
04/06/2023     Thompson, Grace Attend pre-call with Katten (.20); review of summary of call with                                0.30
                                 Bondholder Committee (.10)
04/06/2023     Miranda, Loredana Katten pre call (.20); weekly call with the Bondholder Committee (.60);                        1.30
                                 prepare summary of call regarding same for Katten (.30); prepare
                                 summary of docket entries relevant to Special Committee matters (.20)
04/06/2023     Roitman, Marc     Weekly call with the Bondholder Committee’s professionals (.60); Katten                        0.80
                                 pre-call in connection with same (.20)
04/07/2023     Hall, Jerry       Call with Katten regarding case status (.60)                                                   0.60
04/07/2023     Roitman, Marc      Call with Katten regarding case matters and strategy (.60)                                    0.60
04/10/2023     Diskin, Bret       Review materials regarding SPAC consent (1.90); discuss outline of                            2.30
                                  consents with J. Patt (.40)
04/10/2023     Giglio, Cindi      Update with M. Roitman (.20); attend Project Polly call (.70); related                        1.40
                                  follow up (.30); discuss SPAC issues with M. Roitman (.20)
04/10/2023     Barnowski, Dan     Attend Project Polly call (.70)                                                               0.70
04/10/2023     Patt, Jeffrey      Discuss outline of consents for SPAC transaction with B. Diskin (.40)                         0.40
04/10/2023     Miranda, Loredana Attend Project Polly call (.70); prepare summary of call regarding same                        1.20
                                 (.30); review case docket for updates (.10): prepare summary for Katten
                                 team regarding same (.10)
04/10/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.70); update with C.                         1.90
                                 Giglio regarding same (.20); discussion of SPAC issues with C. Giglio
                                 (.20); call with J. Ablan regarding corporate matters in connection with
                                 GWG consent to SPAC transaction (.50); emails with Katten regarding
                                 same (.30)
04/11/2023     Diskin, Bret      Review applicable agreements regarding consent matters (3.10); prepare                         3.50
                                 summary regarding same (.40)
04/11/2023     Giglio, Cindi      Attend call with Katten team regarding workstreams (.60); call with                           1.90
                                  Bondholder Committees' and Debtors' professionals (.80); follow up
                                  related to mediation (.50)




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Date           Timekeeper         Description                                                                           Hours
04/11/2023     Barnowski, Dan     Katten team call to discuss work streams (.60); teleconference with                        1.70
                                  Bondholder Committees’ and Debtors’ professionals (.80); analysis of
                                  revised counter-proposal from Bondholder Committee to Ad Hoc Group
                                  (.30)
04/11/2023     Thompson, Grace Attend Katten team call regarding workstreams (.60)                                           0.60
04/11/2023     Hall, Jerry        Call with Katten team regarding case status (.60)                                          0.60
04/11/2023     Miranda, Loredana Follow-up with T. Horton regarding meeting minutes (.10); revise meeting                    4.60
                                 minutes with comments by D. Barnowski (.20); attend Katten status
                                 update call (.60); prepare email to clients regarding Special Committee
                                 meeting (.30); revise meeting minutes with comments by M. Roitman
                                 (.20); correspondence with Katten team regarding outstanding meeting
                                 minutes (.30); revise summary of calls for J. Stein and T. Horton (.40);
                                 review case docket for updates (.10): prepare summary for Katten team
                                 regarding same (.10); attend to issues related to the mediation (.20);
                                 correspondence with M. Roitman regarding same (.10); attend call with
                                 the Debtors' professionals (.50); attend call with the Debtors' and
                                 Bondholder Committee professionals (.80); prepare summary of calls for
                                 Katten team regarding same (.70)
04/11/2023     Roitman, Marc     Call with Debtors’ professionals regarding case matters (.50); call with the                2.40
                                 Bondholder Committees’ and Debtors’ professionals regarding same (.80);
                                 prepare for upcoming mediation (1.10)
04/11/2023     Reisman, Steven    Call with Katten team regarding ongoing work streams (.60)                                 0.60
04/12/2023     Diskin, Bret       Finalize summary of consent matters (1.80); email correspondence                           3.90
                                  regarding same with Katten team (.40); discuss with J. Pratt regarding
                                  same (.20); review registration rights and lock-up matters (1.50)
04/12/2023     Giglio, Cindi      Follow up regarding Ben SPAC closing issues (.40); call with Mayer                         1.30
                                  Brown team (.90)
04/12/2023     Barnowski, Dan     Teleconference with Mayer Brown (.90); prepare for same (.20)                              1.10
04/12/2023     Patt, Jeffrey      Review and comment on summary of consent issues (.50); discuss same                        1.00
                                  with B. Diskin (.20); review lock-up comments (.30)
04/12/2023     Kirby, Timothy     Review and analyze lock-up disclosure (.60); prepare summary regarding                     2.50
                                  same (1.90)
04/12/2023     Miranda, Loredana Attend weekly call with Mayer Brown (.90); prepare summary regarding                        2.20
                                 same (.40); prepare summary of docket entries relevant to Special
                                 Committee matters (.30); review issues related to the upcoming mediation
                                 with Ben (.30); revise email regarding mediation with M. Roitman
                                 comments (.30)
04/12/2023     Roitman, Marc     Further preparation for upcoming mediation (2.30)                                           2.30
04/13/2023     Diskin, Bret       Research regarding registration, lock up and other securities matters with                 2.20
                                  respect to SPAC transaction (2.20)
04/13/2023     Giglio, Cindi      Attend Project Polly call (.80)                                                            0.80
04/13/2023     Barnowski, Dan     Attend Project Polly call (.80)                                                            0.80
04/13/2023     Miranda, Loredana Attend Project Polly call (.80); prepare summary of call regarding same                     2.60
                                 (.30); prepare summary of docket entries relevant to Special Committee
                                 matters (.30); attend to issues regarding mediation with Ben (1.10); call
                                 with S. Reisman regarding mediation (.10)
04/13/2023     Roitman, Marc     Attend Project Polly call regarding case matters and strategy (.80); prepare                2.80
                                 for same (.30); further preparation for upcoming mediation (1.70)
04/13/2023     Reisman, Steven    General update on matters related to case status and ongoing work of                       0.30
                                  Special Committee (.30)



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Date           Timekeeper         Description                                                                          Hours
04/14/2023     Diskin, Bret       Review materials regarding consent matters (2.50); discussion with                        2.90
                                  financial advisers regarding same (.40)
04/14/2023     Giglio, Cindi      Attend Katten team call (.60); teleconference with D. Barnowski                           0.80
                                  concerning mediation plans (.20)
04/14/2023     Barnowski, Dan     Katten team call to work streams (.60); teleconference with C. Giglio                     0.80
                                  concerning mediation plans (.20)
04/14/2023     Hall, Jerry        Call with Katten team regarding case status (.60)                                         0.60
04/14/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                    2.70
                                 (.50); attend Katten call regarding work streams (.60); follow-up with
                                 Katten team regarding meeting minutes (.10); correspondence with A.
                                 Zobeideh regarding compensation comparables (.10); follow-up with
                                 professionals on mediation preparation (.30); attend to matters regarding
                                 mediation preparation (1.10)
04/14/2023     Roitman, Marc     Call with Katten regarding case matters and strategy (.60); further                        2.10
                                 preparation for upcoming mediation (1.00); call with N. Smith regarding
                                 financial analyses in connection with same (.50)
04/15/2023     Kirby, Timothy    Review GWG S-4 and provide summary of extension process and SEC                            4.00
                                 review (1.50); calls with Mayer Brown regarding consent negotiations
                                 (2.00); correspondence regarding outstanding diligence requests, SEC
                                 comments (.50)
04/15/2023     Miranda, Loredana Call with J. Mesa-Beltre regarding mediation preparation (.10); attend to                  0.30
                                 issues regarding mediation preparation (.20)
04/15/2023     Roitman, Marc     Prepare for mediation (.80)                                                                0.80
04/16/2023     Zobeideh, Alexis   Research CEO and CRO compensation for recent filings (1.20); email L.                     1.30
                                  Miranda regarding same (.10)
04/16/2023     Diskin, Bret       Call with Independent Directors regarding equity voting power (.40);                      4.70
                                  participate in Katten call regarding SPAC matters (1.50); review S-4
                                  filing, business combination agreement and limited partnership agreement
                                  (2.80)
04/16/2023     Barnowski, Dan     Email with M. Roitman about consent right issues (.30); analysis of issues                2.20
                                  and research concerning consent rights (1.90)
04/16/2023     Hall, Jerry        Call with Katten regarding Ben transaction and related matters (1.50)                     1.50
04/16/2023     Patt, Jeffrey      Review S-4 and LPA regarding consent requirements (1.30); call with                       2.80
                                  Katten team regarding same (1.50)
04/16/2023     Miranda, Loredana Attend to issues related to mediation preparation (1.40); emails with S.                   2.20
                                 Reisman regarding mediation preparation (.20); collect materials regarding
                                 compensation motion (.60)
04/16/2023     Roitman, Marc     Call with Co-Proponents regarding SPAC and related matters (1.40);                     12.10
                                 follow up call with Mayer Brown regarding same (.40); calls with Katten
                                 regarding de-SPAC transaction and related matters (1.50); review select
                                 case law and results of research regarding same (2.30); analysis of S-4 and
                                 Business Combination Agreement in connection with same (1.90);
                                 analysis of documents produced by the Debtors regarding equity voting
                                 power (.90); call with N. Smith regarding same (.20); call with Mayer
                                 Brown regarding same (.50); call with S. Reisman regarding same (.30);
                                 follow up call with Independent Directors regarding same (.40); draft
                                 document request and reservation of rights letter in connection with same
                                 (2.30)




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Date           Timekeeper         Description                                                                          Hours
04/16/2023     Reisman, Steven    Review analysis from Katten Corporate team regarding De-SPAC                              4.30
                                  transaction and related matters (1.50); analyze issues regarding equity
                                  voting power (1.40); call with M. Roitman (.30); calls with Independent
                                  Directors T. Horton and J. Stein regarding same (.60); correspondence
                                  with Katten team regarding mediation preparation (.50)
04/17/2023     Diskin, Bret       Email correspondence and review responses regarding GWG voting and                        2.40
                                  control matters (1.10); review public filings regarding same (1.30)
04/17/2023     Giglio, Cindi      Prepare for mediation (1.20); attend portion of mediation (7.20)                          8.40
04/17/2023     Barnowski, Dan     Attend mediation (11.80)                                                              11.80
04/17/2023     Patt, Jeffrey      Review emails on consent analysis (.70)                                                   0.70
04/17/2023     Miranda, Loredana Attend mediation with Bondholder Committee, L Bond Management,                         15.20
                                 bankruptcy Judge Jones, Independent Directors T. Horton and J. Stein and
                                 various other participants (11.80); prepare for mediation regarding same
                                 (2.10); attend to issues for S. Reisman regarding mediation preparation
                                 (1.30)
04/17/2023     Roitman, Marc     Attendance at mediation, including meetings with mediator, Independent                 14.40
                                 Directors, co-proponents, and Beneficient (11.80); draft stipulated
                                 agreement memorializing mediation settlement (2.10); prepare for
                                 mediation (.50)
04/17/2023     Reisman, Steven    Attend mediation with Bondholder Committee, L Bond Management,                        12.30
                                  bankruptcy Judge Jones, independent Directors T. Horton and J. Stein and
                                  various other participants (11.80); review materials in preparation for same
                                  (.50)
04/18/2023     Diskin, Bret       Review materials regarding stock conversion mechanics (2.20); email                       2.60
                                  correspondence regarding same with Katten team and Mayer Brown (.40)
04/18/2023     Giglio, Cindi      Attend Katten update call (.40)                                                           0.40
04/18/2023     Barnowski, Dan     Katten team call concerning status update and next steps (.40);                           0.60
                                  teleconference with J. Stein concerning next steps (.20)
04/18/2023     Thompson, Grace Attend Katten team check in call (.40)                                                       0.40
04/18/2023     Hall, Jerry        Call with Katten team regarding case status (.40)                                         0.40
04/18/2023     Miranda, Loredana Attend Katten call regarding status update (.40); correspondence with                      1.40
                                 Katten team regarding mediation stipulation (.30); prepare summary of
                                 docket entries relevant to Special Committee matters (.60);
                                 correspondence with M. Roitman regarding same (.10)
04/18/2023     Roitman, Marc     Call with Katten regarding case matters (.40)                                              0.40
04/19/2023     Miranda, Loredana Collect and summarize docket entries relevant to Special Committee                         0.40
                                 matters (.40)
04/20/2023     Diskin, Bret      Review publicly filed materials regarding consent and voting matters                       2.90
                                 (2.90)
04/20/2023     Giglio, Cindi      Attend Project Polly call (.30); prepare for same (.10); call regarding AHC               0.70
                                  issues (.30)
04/20/2023     Barnowski, Dan     Attend Project Polly meeting (.30)                                                        0.30
04/20/2023     Thompson, Grace Attend Project Polly call (.30); draft summary of same for Katten (.10)                      0.40
04/20/2023     Roitman, Marc      Attend Project Polly call regarding case matters (.30)                                    0.30
04/21/2023     Diskin, Bret       Review summary regarding conversion mechanics for underlying                              2.40
                                  securities (1.70); draft email summary regarding same (.70)
04/21/2023     Giglio, Cindi      Prepare for and attend a portion of Katten team call (.50)                                0.50
04/21/2023     Barnowski, Dan     Attend a portion of Katten team call to discuss open items and next steps                 0.40
                                  (.40)


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Invoice #:          9020145058                                                                            August 18, 2023
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Date           Timekeeper         Description                                                                          Hours
04/21/2023     Thompson, Grace Attend Katten team meeting (.70)                                                             0.70
04/21/2023     Roitman, Marc      Call with Katten team regarding case matters and strategy (.70)                           0.70
04/21/2023     Reisman, Steven    Attend Katten meeting regarding case status, next steps and strategy (.70)                0.70
04/23/2023     Roitman, Marc      Revise presentation to Independent Directors regarding consent rights in                  2.60
                                  connection with de-SPAC transaction (1.50); emails with Katten regarding
                                  same (.30); review follow-up research and select case law in connection
                                  with same (.80)
04/24/2023     Giglio, Cindi      Attend Project Polly call (.30)                                                           0.30
04/24/2023     Barnowski, Dan     Attend Project Polly call (.30)                                                           0.30
04/24/2023     Miranda, Loredana Attend Project Polly call (.30); prepare summary regarding same (.30);                     0.90
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (.30)
04/24/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.30); further revise                     3.10
                                 presentation to Independent Directors regarding consent rights in
                                 connection with de-SPAC (1.60); further review of underlying agreements
                                 in connection with same (1.20)
04/24/2023     Siena, Marie       Submit Minutes of Meetings for execution via DocuSign (.30)                               0.30
04/24/2023     Reisman, Steven    Review materials and presentation in preparation for call with J. Stein and               3.10
                                  T. Horton (with T. Horton making all decisions) related to matters on
                                  Beneficient and SPAC transaction (1.80); participate in conference call
                                  with T. Horton and J. Stein regarding matters related to SPAC transaction
                                  (.60); following up discussions with T. Horton and advisors regarding
                                  SPAC transaction (.70)
04/25/2023     Giglio, Cindi      Katten pre-call (.20); call with LBC and Debtor professionals (.40); call                 2.00
                                  with Special Committee (.50); prepare for same (.50); review Special
                                  Committee minutes (.40)
04/25/2023     Barnowski, Dan     Meeting with Debtors professionals and Bondholder Committee                               1.70
                                  professionals (.40); attend Special Committee meeting (.50); analyze
                                  Special Committee meeting agenda (.20); teleconference with C. Harvick
                                  concerning wind down issues (.20); analysis of mediation term sheet and
                                  stipulation concerning mediation resolution (.40)
04/25/2023     Miranda, Loredana Attend Katten pre-call (.20); attend call with Debtors’ Professionals and                  2.70
                                 Bondholder Committee’s Professionals (.40); prepare email regarding
                                 summary of call for Katten team (.30); prepare agenda for call with the
                                 Special Committee (.20); attend call with the Special Committee (.50);
                                 draft meeting minutes for Special Committee meeting (.70); revise
                                 meeting minutes with comments by D. Barnowski and C. Giglio (.20);
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (.20)
04/25/2023     Reisman, Steven    Participate in Special Committee update meeting regarding ongoing                         1.40
                                  activities of Special Committee (.50); discussions with T. Horton and J.
                                  Stein regarding ongoing work streams (.20); participate in call with
                                  counsel at Mayer Brown and counsel for L Bond Committee regarding
                                  ongoing matters (.40); review minutes of Special Committee meetings for
                                  sign off (.30)
04/26/2023     Miranda, Loredana Correspondence with Katten team regarding meeting minutes (.20);                           0.70
                                 incorporate D. Barnowski's comments to Special Committee meeting
                                 minutes (.10); prepare email to Independent Directors of meeting minutes
                                 (.20); prepare summary of docket entries relevant to Special Committee
                                 matters (.20)
04/27/2023     Giglio, Cindi      Attend Project Polly call (.20)                                                           0.20



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Date           Timekeeper         Description                                                                         Hours
04/27/2023     Barnowski, Dan     Project Polly call (.20); weekly call between Mayer Brown and Katten                     1.10
                                  teams concerning next steps (.40); emails with M. Roitman concerning
                                  Blue Owl issue (.50)
04/27/2023     Miranda, Loredana Attend Project Polly call (.20); draft summary regarding same (.30); call                 1.40
                                 with the Debtors' professionals (.40); prepare summary of call regarding
                                 same (.20); prepare summary of docket entries relevant to Special
                                 Committee matters (.30)
04/27/2023     Roitman, Marc     Attend Project Polly call regarding case matters (.20); call with Mayer                   0.80
                                 Brown regarding case matters (.40); review materials in preparation for
                                 same (.20)
04/28/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   0.30
                                 (.30)
                                                                                          Total Hours :               210.10




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       24.10            1,755.00              42,295.50
Giglio, Cindi                                         18.70            1,495.00              27,956.50
Hall, Jerry                                            3.70            1,425.00               5,272.50
Patt, Jeffrey                                          4.90            1,395.00               6,835.50
Roitman, Marc                                         49.50            1,270.00              62,865.00
Barnowski, Dan                                        23.50            1,245.00              29,257.50
Kirby, Timothy                                         6.50            1,140.00               7,410.00
Diskin, Bret                                          29.80            1,105.00              32,929.00
Thompson, Grace                                        2.40              895.00               2,148.00
Kitnick, Jesse                                         0.80              775.00                 620.00
Miranda, Loredana                                     42.50              710.00              30,175.00
Zobeideh, Alexis                                       3.40              640.00               2,176.00
Siena, Marie                                           0.30              410.00                 123.00

                                     Sub Total :     210.10   Sub Total :                   250,063.50
                                     Total Hours :   210.10   Total Fees             250,063.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Case Administration

For Professional Services Rendered Through April 30, 2023



Fees Total.............................................................................................................................................................                   2,677.50
Total Amount Due ..............................................................................................................................................                           2,677.50       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                        Hours
04/07/2023     Miranda, Loredana Review Veristar invoices (.30)                                                           0.30
04/10/2023     Thompson, Grace Provide comments on Province February fee statement (.80)                                  0.80
04/13/2023     Giglio, Cindi      Review sixth monthly fee application of Province (1.00)                                 1.00
04/13/2023     Thompson, Grace Correspondence regarding Province fee statement (.10)                                      0.10
04/25/2023     Siena, Marie       File Province February Monthly Fee Statement on the court's docket (.30);               0.40
                                  email noticing agent regarding service of same (.10)
                                                                                            Total Hours :                 2.60




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          1.00            1,495.00               1,495.00
Thompson, Grace                                        0.90              895.00                 805.50
Miranda, Loredana                                      0.30              710.00                 213.00
Siena, Marie                                           0.40              410.00                 164.00

                                     Sub Total :       2.60   Sub Total :                     2,677.50
                                     Total Hours :     2.60   Total Fees               2,677.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through April 30, 2023



Fees Total.............................................................................................................................................................                 18,252.50
Total Amount Due ..............................................................................................................................................                         18,252.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00012
Invoice #:          9020145050                                                                              August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
04/14/2023     Giglio, Cindi      Call with Kirkland regarding Paul Capital (.20); prepare for same (.10)                     0.30
04/14/2023     Roitman, Marc      Call with Kirkland regarding Paul Capital claim (.20)                                       0.20
04/24/2023     Giglio, Cindi      Review claims stipulation regarding PCA (.20)                                               0.20
04/25/2023     Roitman, Marc      Review draft stipulation regarding Ben proofs of claim (.20); emails with                   0.80
                                  Katten and Mayer Brown regarding same (.20); preliminary research
                                  regarding voting stipulation matters (.40)
04/28/2023     Giglio, Cindi      Call with M. Roitman, D. Barnowski and G. Thompson regarding Ben                            1.80
                                  claims (.60); call with Mayer Brown and Katten regarding same (.40);
                                  related follow-up (.80)
04/28/2023     Barnowski, Dan     Analysis of issues concerning Ben claim (.20); teleconference with Mayer                    1.20
                                  Brown and Katten teams to discuss Ben claim strategy (.40);
                                  teleconference with M. Roitman, C. Giglio and G. Thompson concerning
                                  Ben claim strategy (.60)
04/28/2023     Thompson, Grace Call with Mayer Brown regarding Ben claim (.40); call with Katten                              2.40
                               regarding the same (.60); research regarding temporary allowance /
                               disallowance of claims (1.40)
04/28/2023     Roitman, Marc   Research regarding temporary allowance of claims for voting purposes                           3.10
                               (1.50); call with Mayer Brown regarding Ben proofs of claim (.40); call
                               with Katten regarding strategy in connection with same (.60); call with L.
                               Chiappetta regarding same (.20); review proofs of claim and related
                               documents in connection with same (.40)
04/28/2023     Reisman, Steven Update regarding BEN claim matters including voting and motion for                             0.90
                               disallowance (.50); discussions with Mayer Brown regarding same (.40)
04/30/2023     Thompson, Grace Research regarding claim disallowance in the Fifth Circuit (3.90); draft                       4.90
                               detailed email for Katten team regarding same (1.00)
                                                                                           Total Hours :                  15.80




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        0.90            1,755.00               1,579.50
Giglio, Cindi                                          2.30            1,495.00               3,438.50
Roitman, Marc                                          4.10            1,270.00               5,207.00
Barnowski, Dan                                         1.20            1,245.00               1,494.00
Thompson, Grace                                        7.30              895.00               6,533.50

                                     Sub Total :      15.80   Sub Total :                    18,252.50
                                     Total Hours :    15.80   Total Fees              18,252.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through April 30, 2023



Fees Total.............................................................................................................................................................                 82,588.50
Total Amount Due ..............................................................................................................................................                         82,588.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice #:          9020145053                                                                            August 18, 2023
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RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
04/16/2023     Barnowski, Dan     Prepare for disclosure statement hearing (.60)                                            0.60
04/17/2023     Barnowski, Dan     Teleconference with Mayer Brown and PJT teams concerning disclosure                       0.60
                                  statement hearing (.60)
04/18/2023     Giglio, Cindi      Call with Mayer Brown and PJT regarding Disclosure Statement hearing                      1.00
                                  prep (1.00)
04/18/2023     Barnowski, Dan     Teleconference with Debtors’ professionals concerning disclosure                          9.40
                                  statement hearing (1.00); prepare talking points for tomorrow’s hearing
                                  (3.10); prepare for hearing (3.90); analysis of sensitivity analysis for
                                  hearing (.40); analysis of settlement agreement (.30); communications
                                  with Ben counsel concerning same (.20); teleconference with J. Stein and
                                  debtor’s professionals regarding disclosure statement hearing (.50)
04/18/2023     Miranda, Loredana Attend to issues related to preparation of Disclosure Statement hearing,                   2.50
                                 including preparing materials (1.40); correspondence with M. Siena
                                 regarding same (.20); call with J. Stein and the Debtors’ professionals
                                 regarding Disclosure Statement Hearing (.50); prepare summary of call for
                                 Katten team (.20); correspondence with M. Roitman regarding materials
                                 for hearing (.20)
04/18/2023     Roitman, Marc     Prepare for hearing regarding Disclosure Statement (1.30)                                  1.30
04/18/2023     Reisman, Steven    Prepare for Disclosure Statement hearing and review of revisions to plan                  4.00
                                  and disclosure statement (3.30); confer with M. Roitman regarding
                                  preparation for tomorrow's hearing and issues in connection with
                                  settlements (.70)
04/19/2023     Giglio, Cindi      Prepare for Disclosure Statement hearing (3.40); attend Disclosure                        6.70
                                  Statement hearing (1.90); related follow up (1.40)
04/19/2023     Barnowski, Dan     Attend Disclosure Statement Hearing (1.90); prepare for disclosure                    12.60
                                  statement hearing (5.80); analyze results of disclosure statement hearing
                                  and next steps (.80); meeting with Katten and Mayer Brown teams
                                  concerning results of disclosure statement hearing and next steps (2.00);
                                  teleconference with J. Stein concerning results of disclosure statement
                                  hearing and next steps (.30); teleconference with C. Kelley concerning
                                  next steps (.20); review of revised drafts of disclosure statement and
                                  bondholder statement (.80); analysis of issues related to Ad Hoc Group
                                  (.80)
04/19/2023     Miranda, Loredana Attend to matters related to hearing preparation, including preparing                      5.00
                                 materials (1.70); attend and take notes for hearing regarding approval of
                                 disclosure statement (1.90); prepare summary of hearing regarding same
                                 for Katten team (1.40)
04/19/2023     Roitman, Marc     Attend Disclosure Statement hearing (1.90); prepare for hearing regarding              11.50
                                 Disclosure Statement, including drafting script for presentation to the
                                 Bankruptcy Court regarding analysis of litigation claims and overview of
                                 estate assets (2.90); meetings with Katten and Mayer Brown in further
                                 preparation for hearing regarding Disclosure Statement (3.50); call with
                                 Debtors’ professionals, Bondholder Committee, and LBM regarding
                                 hearing preparation (.60); meetings with Katten, Mayer Brown and J. Stein
                                 following hearing regarding further amendments to Disclosure Statement
                                 (2.60)
04/19/2023     Siena, Marie       Review notice of hearing for 5/1/23 (.20); prepare digital hearing binder                 0.80
                                  for M. Roitman (.30); update case calendar for hearings on 4/21 and 6/15
                                  (.30)


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Date           Timekeeper         Description                                                                        Hours
04/19/2023     Reisman, Steven    Review materials and prepare for today's disclosure statement hearing                   6.40
                                  including presentation to court, revised version of disclosure statement,
                                  revised version of order as well as review of objections of B. Hepner,
                                  Beneficient (4.50); attend hearing at U.S. Bankruptcy Court in Texas
                                  before Judge Isgur regarding Disclosure Statement approval (1.90);
                                  discussions with T. Horton regarding today's disclosure statement hearing
                                  and follow up (.50)
04/20/2023     Roitman, Marc      Review audio of disclosure statement hearing in connection with analysis                1.60
                                  of next steps (.50); review results from Disclosure Statement hearing and
                                  next steps (1.10)
                                                                                          Total Hours :               64.00




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Invoice #:          9020145053                                                     August 18, 2023
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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       10.40            1,755.00              18,252.00
Giglio, Cindi                                          7.70            1,495.00              11,511.50
Roitman, Marc                                         14.40            1,270.00              18,288.00
Barnowski, Dan                                        23.20            1,245.00              28,884.00
Miranda, Loredana                                      7.50              710.00               5,325.00
Siena, Marie                                           0.80              410.00                 328.00

                                     Sub Total :      64.00   Sub Total :                    82,588.50
                                     Total Hours :    64.00   Total Fees              82,588.50   USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Investigation

For Professional Services Rendered Through April 30, 2023



Fees Total.............................................................................................................................................................                 93,384.50
Total Amount Due ..............................................................................................................................................                         93,384.50        USD




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RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
04/01/2023     Barnowski, Dan     Analysis of issues pertinent to potential motion to extend stay (.40);                   0.80
                                  teleconference with C. Giglio concerning stay motion (.20); teleconference
                                  with C. Kelley concerning potential stay motion (.20)
04/03/2023     Barnowski, Dan     Communications concerning potential extension of the stay (.20)                          0.20
04/03/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); revise with                      2.20
                                 comments by M. Roitman (.20); prepare email to clients regarding same
                                 (.20); attend Katten and Province pre call (.20); attend call with the
                                 Investigations Committee (.60); draft meeting minutes for the
                                 Investigations Committee (.80)
04/03/2023     Roitman, Marc     Call with Katten and Province in preparation for Investigations Committee                 1.40
                                 meeting (.20); call with the Investigations Committee (.60); preparation in
                                 connection with same (.30); follow up call with S. Reisman and T. Horton
                                 (.30)
04/04/2023     Pecoraro, Andrew Review document request from Quinn Emanuel (.30); review and gather                        1.30
                                potentially responsive documents (1.00)
04/05/2023     Pecoraro, Andrew Call with D. Barnowski regarding response to Quinn Emanuel document                        2.00
                                request (.30); prepare production materials regarding same (1.70)
04/05/2023     Barnowski, Dan   Review materials for production to Heppner counsel (.20); call with A.                     0.50
                                Pecoraro regarding Quinn Emanuel document requests (.30)
04/05/2023     Thompson, Grace Review A. Pecoraro response to Quinn Emanuel request and provide                            0.30
                               comments (.30)
04/06/2023     Pecoraro, Andrew Correspond with M. Roitman and D. Barnowski regarding response to                          0.30
                                 Quinn Emanuel document request (.30)
04/06/2023     Barnowski, Dan    Communications with SEC concerning depositions taken (.30); analysis of                   1.00
                                 materials used by Ben in settlement meeting (.40); analysis of settlement
                                 offer from Ben (.30)
04/06/2023     Miranda, Loredana Attend mediation meeting with Ben (.60); review notes from meeting                        1.20
                                 (.20); correspondence with Katten team regarding same (.10); emails with
                                 D. Barnowski regarding deposition transcripts (.30)
04/06/2023     Roitman, Marc     Mediation Meeting with Ben (.60); further review of settlement proposal                   1.10
                                 and comparison to prior proposals (.50)
04/06/2023     Reisman, Steven Follow up regarding potential settlement with Ben and related mediation                     1.10
                                 meetings (.70); correspondence with Katten regarding same (.40)
04/07/2023     Barnowski, Dan    Review documents for production to Heppner’s attorney (.40); produce                      1.10
                                 documents to Heppner’s attorney (.20); Katten team call to discuss status
                                 and next steps (.50)
04/10/2023     Giglio, Cindi      Attend Investigations Committee call (.80)                                               0.80
04/10/2023     Barnowski, Dan     Katten pre-call to prep for Investigations Committee meeting (.30);                      1.10
                                  Investigations Committee meeting (.80)
04/10/2023     Miranda, Loredana Draft agenda for Investigations Committee (.40); prepare draft email to                   2.40
                                 clients regarding same (.20); correspondence with Katten regarding same
                                 (.10); attend Katten pre call (.30); call with the Investigations Committee
                                 (.80); draft minutes to Investigation Committee meeting (.60)
04/10/2023     Roitman, Marc     Call with Investigations Committee (.80); Katten pre-call in preparation                  1.70
                                 for same (.30); review materials in preparation for same (.40); emails with
                                 Province regarding analysis of settlement offer (.20)



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Date           Timekeeper         Description                                                                             Hours
04/10/2023     Reisman, Steven    Participation in Investigations Committee update call regarding ongoing                      0.80
                                  work by Katten (.80)
04/11/2023     Barnowski, Dan     Revise minutes from Investigations Committee meetings (.40)                                  0.40
04/11/2023     Reisman, Steven    Follow up regarding Investigations Committee meeting minutes and                             0.50
                                  ogoing investigation workstreams (.50)
04/12/2023     Barnowski, Dan     Prepare response to J. Tecce letter (.60)                                                    0.60
04/12/2023     Reisman, Steven    Review letter from J. Tecee at Quinn Emanuel and review draft of                             0.60
                                  response to same (.60)
04/13/2023     Barnowski, Dan     Revise letter to J. Tecce concerning resignation of directors (.50)                          0.50
04/13/2023     Hall, Jerry        Email with Katten regarding letter to J. Tecce (.20)                                         0.20
04/13/2023     Miranda, Loredana Prepare agenda for Investigations Committee meeting (.20); revise agenda                      0.60
                                 with comments by M. Roitman (.10); correspond with Katten team
                                 regarding Investigations Committee meeting (.20); prepare email for
                                 clients regarding agenda (.10)
04/14/2023     Giglio, Cindi      Pre-call with Katten and Province (.30); attend call with Investigations                     1.00
                                  Committee (.70)
04/14/2023     Barnowski, Dan     Attend Katten and Province pre-call to prepare for Investigations                            1.30
                                  Committee meeting (.30); attend Investigations Committee meeting (.70);
                                  revise and transmit letter to Heppner counsel concerning related party
                                  claims (.30)
04/14/2023     Miranda, Loredana Attend Katten Pre Call (.30); attend Investigations Committee meeting                         2.10
                                 (.70); prepare minutes for meeting regarding same (.70); correspondence
                                 with clients regarding meeting minutes (.20); correspondance with M.
                                 Roitman regarding Investigations Committee materials regarding
                                 liquidation analysis (.20)
04/14/2023     Roitman, Marc     Investigations Committee meeting (.70); Katten pre-call in connection                         1.40
                                 with same (.30); prepare to give presentation to Independent Directors in
                                 connection with same (.40)
04/14/2023     Reisman, Steven    Participation in Investigations Committee update call (.70); review                          1.20
                                  materials in preparation for call with Investigations Committee (.20);
                                  discussion with Katten team members regarding matters for Investigations
                                  Committee call (.30)
04/15/2023     Giglio, Cindi      Attend Investigations Committee meeting (1.00); attend Katten pre-call                       1.30
                                  regarding same (.30)
04/15/2023     Barnowski, Dan     Attend a portion of Investigations Committee meeting (.80); prepare letter                   1.20
                                  requesting materials from Ben (.40)
04/15/2023     Miranda, Loredana Draft materials for Investigations Committee regarding liquidation                            5.60
                                 analysis (2.60); draft agenda for Investigations Committee meeting (.20);
                                 incorporate comments from M. Roitman to the agenda (.20); prepare email
                                 for clients regarding same (.20); attend Katten pre call (.30); attend
                                 Investigations Committee meeting (1.00); prepare minutes for
                                 Investigations Committee meeting (.90); correspondence with Independent
                                 Directors regarding Investigations Committee materials (.20)
04/15/2023     Roitman, Marc     Call with Investigations Committee (1.00); pre-call with Katten in                            1.30
                                 connection with same (.30)
04/16/2023     Kitnick, Jesse    Conduct legal research regarding automatic stay and consent right (4.90)                      4.90
04/16/2023     Kirby, Timothy     Review letter from Ben (.60); review and provide comments on SEC                             6.00
                                  comment letter (.90); review Ben requests (2.40); provide comments to
                                  Ben requests (2.10)
04/16/2023     Miranda, Loredana Review of Investigations Committee minutes (.60)                                              0.60



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Date           Timekeeper         Description                                                                           Hours
04/17/2023     Kitnick, Jesse     Continue to conduct legal research regarding automatic stay and consent                10.40
                                  rights (6.60); draft memorandum regarding automatic stay and consent
                                  rights (3.80)
04/17/2023     Roitman, Marc      Research case law regarding potential application of automatic stay (1.60);                2.10
                                  emails with Katten regarding same (.50)
04/18/2023     Kitnick, Jesse     Conduct follow-up research regarding automatic stay (.70)                                  0.70
04/18/2023     Kirby, Timothy     Review analysis by Mayer Brown regarding Ben matters (.50)                                 0.50
04/21/2023     Thompson, Grace Analyze materials in connection with GWG consent rights (1.50); draft                         4.70
                               presentation for Investigations Committee meeting (3.20)
04/21/2023     Kirby, Timothy  Correspondence regarding BEN matters (.50)                                                    0.50
04/24/2023     Diskin, Bret       Participation in pre-call with Katten and Province teams (.20);                            2.80
                                  participation in call with the Investigations Committee regarding corporate
                                  matters (1.40); review publicly filed materials regarding equity matters
                                  (1.20)
04/24/2023     Giglio, Cindi      Review presentation (.60); review minutes (.40); attend Investigations                     2.10
                                  Committee meeting (1.40); Katten and Province pre-call for same (.20)
04/24/2023     Barnowski, Dan     Revise Investigations Committee meeting materials (.70); teleconference                    3.10
                                  with C. Kelley about Investigations Committee meeting (.20); revise
                                  minutes from Investigations Committee meetings (.40); Katten team call to
                                  prep for Investigations Committee meeting (.20); Investigations
                                  Committee meeting (1.40); teleconference with J. Stein concerning next
                                  steps (.20)
04/24/2023     Thompson, Grace Review J. Kitnick memo on consent rights (.30); revise Investigations                         1.70
                                 Committee presentation per comments from Katten team (.80); review Ben
                                 documents for issues relevant to consent rights (.60)
04/24/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); follow-up with                     5.50
                                 J. Stein on meeting minutes (.20); run document searches on relativity
                                 regarding GWG's transactions with Ben (.60); review and analyze
                                 documents from search (.40); correspond with Katten team regarding same
                                 (.20); follow-up with Katten team regarding meeting minutes (.20); draft
                                 email to Independent Directors regarding agenda and materials for
                                 investigations Committee meeting (.30); incorporate comments by D.
                                 Barnowski to Investigations Committee meeting minutes (.50); incorporate
                                 comments from C. Giglio to meeting minutes (.30); attend Katten and
                                 Province pre-call (.20); attend call with the Investigations Committee
                                 (1.40); draft minutes regarding same (1.00)
04/24/2023     Roitman, Marc     Call with Investigations Committee (1.40); Katten and Province pre-call in                  2.10
                                 preparation for same (.20); prepare to give presentation to Investigations
                                 Committee (.50)
04/25/2023     Barnowski, Dan    Revise minutes of Investigations Committee meeting (.50)                                    0.50
04/26/2023     Barnowski, Dan     Revise meeting minutes from Investigations Committee meetings (.50)                        0.50
04/26/2023     Miranda, Loredana Coordinate attorney review of Debtor's document production (.20); spot                      0.70
                                 check Debtor's document production (.30); emails with C. Herrera (Mayer
                                 Brown) regarding same (.20)
04/27/2023     Miranda, Loredana Correspondence with Katten team regarding new Debtor document                               0.30
                                 production (.20); correspondence with Mayer Brown regarding same (.10)
04/28/2023     Barnowski, Dan    Analyze issues pertinent to subpoena served upon VRC (.20)                                  0.20
                                                                                           Total Hours :                 91.00




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        4.20            1,755.00               7,371.00
Giglio, Cindi                                          5.20            1,495.00               7,774.00
Hall, Jerry                                            0.20            1,425.00                 285.00
Roitman, Marc                                         11.10            1,270.00              14,097.00
Barnowski, Dan                                        13.00            1,245.00              16,185.00
Kirby, Timothy                                         7.00            1,140.00               7,980.00
Diskin, Bret                                           2.80            1,105.00               3,094.00
Thompson, Grace                                        6.70              895.00               5,996.50
Pecoraro, Andrew                                       3.60              875.00               3,150.00
Kitnick, Jesse                                        16.00              775.00              12,400.00
Miranda, Loredana                                     21.20              710.00              15,052.00

                                     Sub Total :      91.00   Sub Total :                    93,384.50
                                     Total Hours :    91.00   Total Fees              93,384.50   USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through April 30, 2023



Fees Total............................................................................................................................................................. 275,091.50
Total Amount Due .............................................................................................................................................. 275,091.50                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.


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RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
04/01/2023     Roitman, Marc      Continue to draft insert for Disclosure Statement regarding further                        4.80
                                  disclosure requested by Judge Isgur concerning value of Policy Portfolio
                                  and value of Beneficient, including potential risk factors relevant to same
                                  (4.80)
04/02/2023     Roitman, Marc      Continue to draft insert for Disclosure Statement regarding further                        8.30
                                  disclosure requested by Judge Isgur concerning potential estate claims and
                                  causes of action, including analysis of Retained Causes of Action (4.80);
                                  emails with Katten regarding same (.50); review and analysis of
                                  documents produced in connection with investigation into prepetition
                                  transactions for purposes of drafting revised Disclosure Statement (1.90);
                                  further research regarding analysis of potential damages in connection
                                  with potential estate causes of action for purposes of drafting revised
                                  Disclosure Statement (1.10)
04/02/2023     Reisman, Steven    Review matters regarding disclosure statement, analysis of merits and                      3.20
                                  probability of success on litigation claims (1.10); review materials and
                                  continued follow up regarding matters related to same (2.10)
04/03/2023     Barnowski, Dan     Analysis of revised disclosure statement (1.00); communications with                       1.80
                                  Katten team about disclosure of potential claims, potential damages, and
                                  potential reduction factor (.40); call with M. Roitman regarding same (.40)
04/03/2023     Roitman, Marc      Continue to revise insert for Disclosure Statement regarding further                       4.10
                                  disclosure requested by Judge Isgur concerning potential estate claims and
                                  causes of action, including analysis of Retained Causes of Action and risk
                                  factors relating to value of Beneficient (3.10); call with D. Barnowski
                                  regarding same (.40); call with N. Smith regarding analysis of damages in
                                  connection with same (.60)
04/03/2023     Reisman, Steven    Review matters regarding disclosure statement, and probability of success                  3.10
                                  of potential claims (1.60); discussions with M. Stamer regarding matters
                                  related to value of Ben assets (.30); meeting with T. Horton and J. Stein to
                                  discuss matters related to investigation, Ben litigation claims, disclosure
                                  statement and strategy (1.20)
04/04/2023     Barnowski, Dan     Analysis of revised disclosure statement (.70); communications with                        1.20
                                  Katten team concerning range of potential damages (.50)
04/04/2023     Roitman, Marc      Further research regarding Disclosure Statement and Liquidation Analysis                   3.10
                                  as pertaining to potential estate causes of action (1.10); revise draft
                                  analysis of potential estate causes of action in connection with Disclosure
                                  Statement (1.20); draft email memorandum regarding Liquidation
                                  Analysis as pertaining to potential estate causes of action (.80)
04/04/2023     Reisman, Steven    Review materials in connection with disclosure statement and liquidation                   2.30
                                  analysis related to estate causes of action and follow up regarding edits to
                                  same (2.30)
04/05/2023     Barnowski, Dan     Analysis of revised disclosure statement (.30); communications with M.                     0.90
                                  Roitman and C. Giglio about schedule of potential claims (.40); analysis of
                                  notes from meeting with Debtor professionals concerning disclosure
                                  statement (.20)
04/05/2023     Miranda, Loredana Call with S. Reisman regarding Disclosure Statement (.50); call with                        3.10
                                 Debtors' professionals regarding Disclosure Statement revisions (1.00);
                                 follow-up call with Debtors' professionals regarding same (.70); prepare
                                 summary of calls regarding same (.90)




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Date           Timekeeper         Description                                                                            Hours
04/05/2023     Roitman, Marc      Call with Debtors' professionals regarding revisions to the Disclosure                      5.90
                                  Statement (1.00); follow-up call with Debtors' professionals regarding
                                  Plan/Disclosure Statement (.70); follow-up research regarding Disclosure
                                  Statement and Liquidation Analysis as pertaining to potential estate causes
                                  of action (1.40); continue to revise draft analysis of potential estate causes
                                  of action in connection with Disclosure Statement (2.30); emails with
                                  Katten regarding analyses in connection with same (.50)
04/05/2023     Reisman, Steven    Review of disclosure statement and edits by M. Roitman (1.50); follow-up                    3.30
                                  with Katten regarding analysis of potential estate causes of action (.60);
                                  call with L. Miranda regarding disclosure statement (.50) discussions with
                                  J. Stein regarding Beneficient and related party issues (.70)
04/06/2023     Barnowski, Dan     Teleconference with M. Roitman concerning status of disclosure statement                    0.80
                                  (.40); analysis of materials used by Ben in settlement meeting (.40);
                                  analysis of disclosure statement options (.40); analysis of settlement offer
                                  from Ben (.30)
04/06/2023     Miranda, Loredana Collect precedent disclosure statements (.20)                                                0.20
04/06/2023     Roitman, Marc      Continue to revise draft analysis of potential estate causes of action in                   3.80
                                  connection with Disclosure Statement (1.90); call with D. Barnowski
                                  regarding disclosure statement (.40); emails with Katten regarding same
                                  (.40); review of research regarding same (.80); call with L. Chiappetta
                                  regarding same (.30)
04/06/2023     Reisman, Steven    Update regarding matters related to disclosure statement and edits to same                  2.10
                                  (1.60); follow up with Katten team members (.50)
04/07/2023     Barnowski, Dan     Analyze revised disclosure statement sections (2.20); teleconference with                   3.50
                                  M. Roitman concerning revisions to disclosure statement (.50);
                                  teleconference with M. Roitman and S. Reisman concerning disclosure
                                  statement (.80)
04/07/2023     Roitman, Marc      Further revise Disclosure Statement and Liquidation Analysis as                             3.80
                                  pertaining to potential estate causes of action (1.80); emails with Katten
                                  regarding same (.40); call with D. Barnowski regarding same (.50); follow
                                  up call with D. Barnowski regarding same (.30); meeting with S. Reisman
                                  and D. Barnowski regarding same (.80)
04/07/2023     Reisman, Steven    Review materials in connection with disclosure statement, liquidation                       2.20
                                  analysis and analysis of potential estate causes of action (1.40); Call with
                                  D. Barnowski and M. Roitman regarding same (.80)
04/08/2023     Barnowski, Dan     Communications with Katten team about revised disclosure statement and                      0.60
                                  next steps (.40); attention to initial comments from Akin team concerning
                                  disclosure statement (.20)
04/09/2023     Roitman, Marc      Further revise Disclosure Statement regarding analysis of sources of value,                 1.40
                                  including potential estate causes of action (.70); emails with Co-
                                  Proponents regarding same (.30); call with J. Stein regarding analysis of
                                  sources of value (.40)
04/10/2023     Giglio, Cindi      Call with Akin regarding disclosure statement (.80)                                         0.80
04/10/2023     Barnowski, Dan     Attend portion of call with Bondholder Committee over disclosure                            2.20
                                  statement (.60); calls with Chavenson lawyer about proposed changes to
                                  disclosure statement (.50); follow-up on issues raised by Chavenson
                                  counsel (.30); emails with M. Roitman and C. Giglio concerning next steps
                                  (.40); emails with Chavenson lawyer concerning his requests to modify
                                  disclosure statement and plan (.40)
04/10/2023     Miranda, Loredana Call with the Bondholder Committee regarding Disclosure Statement                            1.30
                                 (.80); prepare summary of call regarding same (.50)




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04/10/2023     Roitman, Marc      Call with Akin regarding Disclosure Statement (.80); further revise                         2.30
                                  Disclosure Statement and Liquidation Analysis as pertaining to potential
                                  estate causes of action (.60); further research in connection with same (.90)
04/10/2023     Reisman, Steven    Update regarding disclosure statement and liquidation analysis (.80); call                  1.60
                                  with Akin Gump regarding same (.80)
04/11/2023     Giglio, Cindi      Attend call with Debtors' professionals regarding disclosure statement                      0.50
                                  (.50)
04/11/2023     Barnowski, Dan     Follow-up on negotiations with Chavenson counsel concerning disclosure                      1.90
                                  statement language (.20); analysis of suggested revisions from Chavenson
                                  counsel (.40); several communications with Chavenson counsel
                                  concerning same (.20); teleconference with Debtor’s Professionals
                                  concerning disclosure statement (.50); revise disclosure statement (.60)
04/11/2023     Roitman, Marc      Further revise Disclosure Statement as pertaining to value of Debtors’                      2.70
                                  assets (1.70); review transcript of first Disclosure Statement hearing
                                  regarding same (.60); emails with Katten regarding same (.40)
04/11/2023     Reisman, Steven    Provide comments to disclosure statement following feedback from Judge                      2.10
                                  Isgur at first disclosure statement hearing (1.60); participate in call with
                                  Debtors professionals regarding feedback on disclosure statement (.50)
04/12/2023     Giglio, Cindi      Review LBC comments to Disclosure statement (.30); attend call with                         3.10
                                  LBM (.70); attend debtors' professionals call regarding disclosure
                                  statement (1.70); related correspondence (.40)
04/12/2023     Barnowski, Dan     Analysis of Chavenson requested revisions to Plan and Disclosure                            5.50
                                  Statement (.40); analysis of Bondholder Committee proposed revisions to
                                  Disclosure Statement (.50); teleconference with LBM concerning
                                  Disclosure Statement (.70); teleconference with M. Roitman concerning
                                  strategy for revising disclosure statement (.20); revise disclosure statement
                                  (.60); teleconference with C. Kelley concerning revised disclosure
                                  statement (.40); teleconference with M Roitman to work on revisions to
                                  disclosure statement (.30); teleconference with Debtors’ professionals to
                                  work through valuation issues (1.70); communications with Chavenson’s
                                  lawyer, LBM and Bondholders Committee about Chavenson’s requested
                                  revision to disclosure statement and plan (.40); call with L. Miranda
                                  regarding plan (.30)
04/12/2023     Miranda, Loredana Call with D. Barnowski regarding Plan (.30); call with Okin Adams                            3.40
                                 regarding Disclosure Statement (.70); prepare summary of call regarding
                                 same for Katten team (.30); call with Debtors’ Professionals regarding
                                 Disclosure Statement (1.70); prepare summary of call regarding same (.40)
04/12/2023     Roitman, Marc     Review Bondholder Committee comments to Disclosure Statement (1.10);                         8.10
                                 draft email to Independent Directors regarding same (.40); call with Okin
                                 Adams regarding Disclosure Statement (.70); call with L. Chiappetta
                                 regarding same (.20); confer with D. Barnowski regarding same (.20); call
                                 with Debtors’ professionals regarding Disclosure Statement and
                                 Liquidation Analysis (1.70); call with Bondholder Committee and Katten
                                 regarding same (.70); further revise Disclosure Statement as pertaining to
                                 Debtors’ assets and potential distributable value (2.60); emails with
                                 Independent Directors regarding same (.50)
04/12/2023     Reisman, Steven    Review Bondholder Committee comments to disclosure statement from                           3.90
                                  Akin Gump and note revisions to same (.70); discussions and feedback
                                  from Okin Adams regarding disclosure statement (.60); feedback from
                                  Mayer Brown regarding disclosure statement and edits to same (.40);
                                  follow up regarding further revisions to disclosure statement regarding
                                  distributable value (1.60); follow up regarding efforts to finalize disclosure
                                  statement differences between Okin Adams, Akin and Mayer Brown (.60)



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04/13/2023     Giglio, Cindi      Attend call with Bondholders' Committee regarding Disclosure Statement                       3.00
                                  edits (.50); follow up regarding litigation discount/liquidation analysis
                                  (1.90); call with Debtors' professional (.60)
04/13/2023     Barnowski, Dan     Prepare for call with Bondholder Committee counsel concerning                                2.80
                                  disclosure statement (.20); teleconference with Bondholders Committee
                                  concerning disclosure statement (.50); call with M. Roitman regarding
                                  analysis of litigation claims in Disclosure Statement (.20); revise
                                  disclosure statement section concerning litigation and value of Ben (1.90)
04/13/2023     Kirby, Timothy     Call with Katten and Bondholder Committee regarding disclosure                               4.20
                                  statement (.50); discussions with Mayer Brown corporate team regarding
                                  same (1.20); call with M. Roitman regarding same (.50); review and
                                  analysis of disclosure statement (2.00)
04/13/2023     Miranda, Loredana Call with the Bondholder Committee regarding Disclosure Statement                             2.20
                                 (.50); prepare summary of same for Katten team (.30); call with Debtors’
                                 Professionals (.60); prepare summary of call regarding same (.20); review
                                 and incorporate Akin's comments to the Disclosure Statement (.60)
04/13/2023     Roitman, Marc     Call with the Bondholder Committee regarding Disclosure Statement                             5.90
                                 (.50); call with T. Kirby regarding analysis of Beneficient value in
                                 Disclosure Statement (.50); call with FTI regarding Liquidation Analysis
                                 (.40); call with T. Horton regarding same (.20); call with D. Barnowski
                                 regarding analysis of litigation claims in Disclosure Statement (.20); call
                                 with Debtors’ Professionals regarding Disclosure Statement (.60); further
                                 revise Disclosure Statement as pertaining to Debtors’ assets and potential
                                 distributable value (2.30); emails with Co-Proponents regarding same
                                 (.50); review Liquidation Analysis (.70)
04/13/2023     Reisman, Steven    Attend to matters regarding preparation for mediation in connection with                     3.10
                                  plan related issues (1.30); discussions with Katten team members
                                  regarding mediation and issues to be mediated (.70); discussions with
                                  Independent Directors regarding same (.40); follow up regarding revisions
                                  to disclosure statement and review liquidation analysis (.70)
04/14/2023     Giglio, Cindi      Attention to Disclosure Statement issues (2.10); attend Debtor                               3.40
                                  Professional call to work on revised disclosure statement (.80); call with
                                  C. Harvick regarding Liquidation Analysis (.20); follow up call with FTI
                                  regarding same (.30)
04/14/2023     Barnowski, Dan     Revise draft disclosure statement (1.40); revise bondholder statement                        4.00
                                  (.70); communications Mayer Brown team concerning bondholder
                                  statement (.20); teleconference with C. Kelley concerning disclosure
                                  statement (.40); analysis of further revised disclosure statement (.50);
                                  attend Debtor Professional call to work on revised disclosure statement
                                  (.80)
04/14/2023     Hall, Jerry        Review revised disclosure statement (.40)                                                    0.40
04/14/2023     Kirby, Timothy     Review disclosure statement and preparing mark-up, related                                   5.50
                                  correspondence (5.50)
04/14/2023     Roitman, Marc      Further revise Disclosure Statement as pertaining to Debtors’ assets and                     3.90
                                  potential distributable value (2.60); call with C. Harvick regarding
                                  Liquidation Analysis (.20); follow up call with FTI regarding same (.30);
                                  call with Debtors' professionals regarding DS, Valuation Analysis and
                                  Liquidation Analysis (.80)
04/14/2023     Reisman, Steven    Update regarding revisions to disclosure statement on distributable value                    1.40
                                  and other revisions requesed by Judge Isgur (.80); update regarding
                                  mediation efforts and other outstanding issues (.60)
04/15/2023     Giglio, Cindi      Call with co-proponents regarding Disclosure Statement and related                           2.10
                                  matters (1.00); review disclosure statement edits (1.10)



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04/15/2023     Barnowski, Dan     Review revised disclosure statement and bondholder statement (.70);                           2.50
                                  teleconference with Debtors, Katten team, LBM and Bondholder
                                  Committee (1.00); teleconference with J. Rubin, of Akin, concerning
                                  bondholder statement (.20); review further revised bondholder statement
                                  and disclosure statement (.60)
04/15/2023     Roitman, Marc      Call with co-proponents regarding Disclosure Statement and related                            5.00
                                  matters (1.00); revise presentation to Independent Directors regarding
                                  liquidation analysis in connection with Disclosure Statement (2.30);
                                  further revise Disclosure Statement and analysis of estate assets (1.10);
                                  emails with Katten corporate team regarding de-SPAC transaction and
                                  related matters (.60)
04/15/2023     Reisman, Steven    Continued work on matters related to disclosure statement and efforts to                      1.80
                                  finalize Bondholder statement (.90); review issues related to liquidation
                                  analysis (.70); emails with Katten team members regarding same (.20)
04/16/2023     Giglio, Cindi      Attention to issues related to Ben consent (2.10); call with Katten team                      6.10
                                  (1.30); calls regarding Ad Hoc Committee settlement (.40); attend call
                                  with J. Stein and T. Horton (.40); calls regarding Disclosure Statement
                                  (1.00); edits to Bondholder Statement (.90)
04/16/2023     Barnowski, Dan     Teleconference with Katten team concerning consent right issues and next                      2.30
                                  steps (1.30); analysis of revised disclosure statement language (.50);
                                  analysis of revised bondholder statement language (.50)
04/16/2023     Hall, Jerry        Revise statement regarding bondholder recoveries (.30); email with C.                         0.50
                                  Giglio and others regarding statement on bondholder recoveries (.20)
04/16/2023     Roitman, Marc      Further revise Disclosure Statement and analysis of estate assets (1.50);                     2.30
                                  revise bondholder summary statement in connection with Disclosure
                                  Statement (.80)
04/17/2023     Giglio, Cindi      Call with Katten and Mayer Brown regarding disclosure statement (.70);                        1.20
                                  related emails with Mayer Brown and Katten (.50)
04/17/2023     Barnowski, Dan     Assist in finalizing disclosure statement and bondholder statement (.70)                      0.70
04/17/2023     Roitman, Marc      Call with co-proponents regarding Disclosure Statement and related                            0.80
                                  matters (.80)
04/17/2023     Reisman, Steven    Review disclosure statement (1.60); calls with Katten, Mayer Brown and                        2.30
                                  others related to same (.70)
04/18/2023     Giglio, Cindi      Call with Independent Directors (.40); review objection to disclosure                         1.50
                                  statement and related correspondence (1.10)
04/18/2023     Barnowski, Dan     Teleconference with Mayer Brown, Bondholder Committee and LBM                                 1.50
                                  counsel concerning tomorrow’s disclosure statement hearing (.40); review
                                  and analyze objections to disclosure statement and proposed inserts to
                                  same (1.10)
04/18/2023     Hall, Jerry        Review disclosure statement objections (.50)                                                  0.50
04/18/2023     Miranda, Loredana Revise Plan with additions from mediation (1.00); attend call with the                         1.70
                                 Debtors, LBM, and the Bondholder Committee regarding case status
                                 update (.40); prepare summary of call regarding same (.30)




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Invoice #:          9020145056                                                                            August 18, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                          Hours
04/18/2023     Roitman, Marc      Call with Debtors’ professionals regarding Disclosure Statement and                       6.60
                                  demonstratives (.40); call with Co-Proponents regarding Disclosure
                                  Statement and related matters (.40); review revised plan of reorganization
                                  regarding settlements and resolutions of objections (1.10); further revise
                                  Disclosure Statement, including analysis of estate assets and relevant
                                  demonstratives (.90); review of objections to Disclosure Statement (1.40);
                                  analyze rights under Ben Limited Partnership Agreements in connection
                                  with de-SPAC transaction as relevant to Plan provision regarding de-
                                  SPAC transaction (1.30); confer with T. Horton regarding same (.20);
                                  further research in connection with same (.90)
04/19/2023     Giglio, Cindi      Call with Katten to finalize disclosure statement (.50); call with L.                     0.60
                                  Miranda regarding disclosure statement (.10)
04/19/2023     Miranda, Loredana Review and revise B. Heppner's proposed insert to Disclosure Statements                    0.90
                                 (.80); call with C. Giglio regarding same (.10)
04/19/2023     Roitman, Marc     Review of objections to Disclosure Statement (.70); confer with Katten                     1.60
                                 regarding further amendments to Disclosure Statement (.50); emails with
                                 Katten regarding same (.40)
04/19/2023     Reisman, Steven    Attend to review of revised disclosure statement and discussions regarding                2.30
                                  language to be added to disclosure statement (1.40); discussions with J.
                                  TeeCee of Quinn Emanuel in an effort to resolve disclosure statement
                                  objection (.40); follow up with Akin regarding matters related to same
                                  (.20); attend to communication and coordination regarding Ad Hoc
                                  Committee of broker-dealer (.30)
04/20/2023     Giglio, Cindi      Correspondence regarding finalizing Disclosure Statement and Plan edits                   1.40
                                  (.70); call with M. Roitman regarding same (.70)
04/20/2023     Barnowski, Dan     Teleconference with Akin concerning letter from B. Heppner (.40);                         3.10
                                  analysis of further revisions to disclosure statement (.50); call with M.
                                  Roitman regarding disclosure statement (.10); teleconference with Katten,
                                  Mayer Brown and Akin teams concerning Ben letter (.40); revise letter
                                  with comments from call (.50); teleconference with J. Rubin of Akin
                                  concerning Ben letter (.20); teleconference with K. Peguero concerning
                                  Ben letter options (.20); review further suggested revisions to Ben letter
                                  (.40); review further revised disclosure statement (.50)
04/20/2023     Thompson, Grace Correspondence regarding revised plan and Disclosure Statement, and Ben                      0.30
                               insert (.30)
04/20/2023     Roitman, Marc   Further review of edits to Disclosure Statement and Plan (1.20); review of                   5.10
                               exhibit to Disclosure Statement attaching letter from Heppner/Ben (1.50);
                               call with C. Giglio regarding same (.70); call with D. Barnowski regarding
                               same (.10); meeting with co-proponents regarding Disclosure Statement
                               and related matters (.30); follow up meeting with co-proponents regarding
                               same (.20); call with S. Reisman regarding exhibit to Disclosure Statement
                               attaching letter from Heppner/Ben (.30); call with Katten and Akin
                               regarding same (.40); call with J. Stein regarding same (.40)
04/20/2023     Reisman, Steven Review and revise disclosure statement with edits from M. Roitman and                        3.30
                               follow up regarding matters related to same (1.30); discussion with M.
                               Roitman regarding attaching letter from B. Heppner and Beneficient to
                               disclosure statement (.30); review proposed exhibit from Ben (.60);
                               discussions with Akin team regarding same (.20); discussions with J. Stein
                               and T. Horton regarding same (.30); follow up regarding finalizing
                               disclosure statement (.60)
04/21/2023     Barnowski, Dan  Communications with Bondholder Committee concerning Heppner letter                           1.80
                               negotiations (.20); analysis of proposed revisions to draft Heppner letter
                               and Heppner’s response to same (.40); analysis of final revised disclosure
                               statement and related documents (1.10)


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Matter:             397894.00022
Invoice #:          9020145056                                                                           August 18, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                         Hours
04/21/2023     Roitman, Marc      Review revised draft of exhibit to Disclosure Statement regarding letter                 1.30
                                  from Ben/Heppner (.60); emails with Katten and Mayer Brown regarding
                                  same (.30); call with L. Chiappetta regarding same (.20); emails with co-
                                  proponents regarding same (.20)
04/21/2023     Reisman, Steven    Review revised exhibits to disclosure statement including proposed letter                1.00
                                  from B. Heppner and Beneficient (.60); review final revised disclosure
                                  statement and related documentation (.40)
                                                                                          Total Hours :               204.80




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Matter:             397894.00022
Invoice #:          9020145056                                                     August 18, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       39.00            1,755.00              68,445.00
Giglio, Cindi                                         23.70            1,495.00              35,431.50
Hall, Jerry                                            1.40            1,425.00               1,995.00
Roitman, Marc                                         80.80            1,270.00             102,616.00
Barnowski, Dan                                        37.10            1,245.00              46,189.50
Kirby, Timothy                                         9.70            1,140.00              11,058.00
Thompson, Grace                                        0.30              895.00                 268.50
Miranda, Loredana                                     12.80              710.00               9,088.00

                                     Sub Total :     204.80   Sub Total :                   275,091.50
                                     Total Hours :   204.80   Total Fees             275,091.50   USD




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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Non-Working Travel

For Professional Services Rendered Through April 30, 2023



Fees Total.............................................................................................................................................................                 16,746.00
Total Amount Due ..............................................................................................................................................                         16,746.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00028
Invoice #:          9020145051                                                                         August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Non-Working Travel

TIME DETAILS
Date           Timekeeper         Description                                                                       Hours
04/19/2023     Roitman, Marc      Non-working travel to Houston (2.00); Non-working travel returning to                  6.00
                                  New York (4.00)
04/19/2023     Reisman, Steven    Non-working travel to/from Houson for disclosure statement hearing                     5.20
                                  (5.20)
                                                                                         Total Hours :               11.20




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Matter:             397894.00028
Invoice #:          9020145051                                                     August 18, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        5.20            1,755.00               9,126.00
Roitman, Marc                                          6.00            1,270.00               7,620.00

                                     Sub Total :      11.20   Sub Total :                    16,746.00
                                     Total Hours :    11.20   Total Fees              16,746.00   USD




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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Expenses

For Professional Services Rendered Through April 30, 2023


Disbursements .....................................................................................................................................................                     14,135.06
Total Amount Due ..............................................................................................................................................                         14,135.06        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice #:           9020145055                                                                    August 18, 2023
Invoice Due Date:    Payable Upon Receipt


RE: Expenses

DISBURSEMENTS
Description                   Cost Description                                                                 Amount

Airfare                       Tzvell service charge ($50.00) and United Airlines flight                        1,746.40
                              ($517.90) for a client hearing in Houston, TX.--Date Incurred:
                              03/26/2023. Tzvell service charge ($50.00) and a return Delta
                              Airlines flight ($488.90) for a client hearing in Houston, TX.--
                              Date Incurred: 03/ 26/2023. Attend Hearing in Houston, TX-
                              Airfare: Houston to New York-Date Incurred: 03/28/2023.
                              Attend Hearing in Houston, TX-Airfare: New York to Houston,
                              TX-Date Incurred: 03/23/2023.
Court Costs                   Pacer Court Costs 3/01/2023-3/31/2023 NYC.                                             4.50



Out of Town Travel            Taxi / Uber service charge to the airport for a flight to Houston,               1,634.38
                              TX for a client hearing trip.--Date Incurred: 03/28/2023. Taxi /
                              Uber service charge to Mayer Brown's office for a client
                              hearing in Houston, TX.--Date Incurred: 03/28/2023. JW
                              Marriott Houston Downtown charge on a night stay for a client
                              hearing in Houston, TX.--Date Incurred: 03/29/2023. Taxi /
                              Uber service charge on transportation home after a business trip
                              to Houston, TX for a client hearing trip.--Date Incurred:
                              03 /28/2023. Attend Hearing in Houston, TX-Cab from Airport
                              in Houston to Hotel-Date Incurred: 03/27/2023. Attend Hearing
                              in Houston, TX-Cab from home to airport-Date Incurred:
                              03/27/2023. Attend Hearing in Houston, TX-1 night stay plus
                              taxes-Date Incurred: 03/27/2023. cab home--Date Incurred:
                              04/13/2023. Uber service charge on transportation home after a
                              business dinner with clients Tony Horton and Jeff Stein of Stein
                              Advisors LLC re: GWG.--Date Incurred: 04/18/2023. Worked
                              with NYC Events team on all day mediation meeting--Date
                              Incurred: 04/17/2023.
Airfare-Lawyers Travel        Air - D. Barnowski 4/18/23 IAH IAD LGA IAH 18414. Airline                           946.46
                              - D. Barnowski 4/16/23 DCA LGA Inv. 18318. Airline - D.
                              Barnowski 4/18/23 LGA IAH DCA 18319.

Service Fees                  Veristar LLC; 04/07/2023; inv. 3713; Document Review                             7,053.88
                              Platform Services 3/1/23 through 3/31/23.. lOOPUP; 3/31/23;
                              INV. #403673; TELECONFERENCING MARCH 2023.

Data/Library Research         Westlaw Legal Research: THOMPSON,GRACE on 4/30/2023.                             2,749.44
Services                      Westlaw Legal Research: THOMPSON,GRACE on 4/28/2023.
                              Westlaw Legal Research: ROITMAN,MARC on 4/17/2023.
                              Westlaw Legal Research: ROITMAN,MARC on 4/13/2023.
                              Westlaw Legal Research: ROITMAN,MARC on 4/5/2023.
                              Westlaw Legal Research: ROITMAN,MARC on 4/3/2023.
                              Westlaw Legal Research: KITNICK,JESSE on 4/18/2023.
                              Westlaw Legal Research: KITNICK,JESSE on 4/17/2023.
                              Westlaw Legal Research: KITNICK,JESSE on 4/16/2023.
                                                                  Total Disbursements:                14,135.06      USD




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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through May 31, 2023



Fees Total.............................................................................................................................................................                   8,597.00
Total Amount Due ..............................................................................................................................................                           8,597.00       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00002
Invoice #:          9020145079                                                                             August 18, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                        Hours
05/01/2023     Miranda, Loredana Draft Third Interim Fee Application (1.90); prepare email to Independent                    3.10
                                 Directors regarding summary of January Fee Statement (1.20)
05/02/2023     Giglio, Cindi         Review January fee statement for compliance with the UST guidelines                     0.50
                                     (.50)
05/08/2023     Thompson, Grace Correspondence regarding outstanding monthly fee statements (.10)                             0.10
05/10/2023     Siena, Marie          Review December and January billing statements (.50); email with S.                     0.70
                                     Reisman and G. Thompson regarding same (.20)
05/12/2023     Siena, Marie          Draft allocations for November fee statement (.60); emails with S.                      0.80
                                     Reisman regarding same (.20)
05/26/2023     Siena, Marie      Revise February billing statements for compliance with UST Guidelines                       1.20
                                 (1.20)
05/30/2023     Siena, Marie      Revise February billing statements for privileged and confidential                          1.80
                                 information (1.80)
05/31/2023     Miranda, Loredana Review February billing statements for proper matter assignment,                            5.00
                                 privilege and compliance with UST guidelines (5.00)
05/31/2023     Siena, Marie      Revise materials for February fee statement to incorporate L. Miranda                       0.40
                                 comments (.40)
                                                                                              Total Hours :              13.60




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Matter:             397894.00002
Invoice #:          9020145079                                                     August 18, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          0.50            1,495.00                 747.50
Thompson, Grace                                        0.10              895.00                  89.50
Miranda, Loredana                                      8.10              710.00               5,751.00
Siena, Marie                                           4.90              410.00               2,009.00

                                     Sub Total :      13.60   Sub Total :                     8,597.00
                                     Total Hours :    13.60   Total Fees               8,597.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00007
                                                                                                                                                    Invoice #:                                   9020145081
                                                                                                                                                    Invoice Due Date:                          Payable Upon
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through May 31, 2023



Fees Total.............................................................................................................................................................                 65,927.50
Total Amount Due ..............................................................................................................................................                         65,927.50        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                              Hours
05/03/2023     Reisman, Steven    Attend to matters regarding litigation over breakup fee in connection with                    0.70
                                  financing transaction related to life insurance portfolio (.70)
05/08/2023     Barnowski, Dan     Attention to issues pertinent to Fifth Seasons complaint (.30); begin                         1.20
                                  revising draft Fifth Seasons complaint (.90)
05/09/2023     Giglio, Cindi      Review Blue Owl complaint (1.20)                                                              1.20
05/09/2023     Barnowski, Dan     Revise draft Fifth Seasons complaint (2.70); teleconference with J. Hall                      2.90
                                  concerning Fifth Seasons complaint (.20)
05/09/2023     Hall, Jerry        Call with D. Barnowski regarding declaratory judgment complaint (.20);                        4.80
                                  revise draft declaratory judgment action (4.60)
05/09/2023     Roitman, Marc      Revise draft Complaint against Fifth Season regarding alternative stalking                    1.70
                                  horse fee (1.70)
05/09/2023     Reisman, Steven    Update regarding matters related to Blue Owl and review complaint and                         1.10
                                  materials regarding same (1.10)
05/10/2023     Barnowski, Dan     Further revisions to draft complaint against Fifth Season (.60); finalize                     1.20
                                  revised draft complaint against Fifth Seasons, and transmit to Mayer
                                  Brown team (.60)
05/10/2023     Hall, Jerry        Revise declaratory judgment complaint (1.30); email with Katten team                          1.60
                                  regarding declaratory judgment complaint (.30)
05/10/2023     Roitman, Marc      Further review of revised draft of Complaint against Fifth Season                             0.90
                                  concerning alternative stalking horse fee (.90)
05/11/2023     Barnowski, Dan     Revisions to draft complaint regarding Blue Owl (.80)                                         0.80
05/12/2023     Barnowski, Dan     Revise draft Fifth Seasons Complaint (.80)                                                    0.80
05/12/2023     Hall, Jerry        Review revised declaratory judgment complaint (1.20)                                          1.20
05/13/2023     Hall, Jerry        Email among S. Reisman and others regarding deposition notices (Fifth                         0.80
                                  Season) (.30); review motion to expedite (declaratory judgment) (.50)
05/13/2023     Reisman, Steven    Update regarding matters related to deposition notice to fifth season and                     0.60
                                  matters regarding declaratory judgment (.30); correspondence with J. Hall
                                  regarding same (.30)
05/15/2023     Barnowski, Dan     Revise motion to expedite (.30)                                                               0.30
05/16/2023     Barnowski, Dan     Teleconference with Bondholder Committee counsel concerning motion to                         4.60
                                  expedite (.40); communications with Jackson Walker concerning motion
                                  to expedite (.20); revise motion to expedite Fifth Seasons complaint
                                  (3.80); teleconference with Ben counsel concerning motion to expedite
                                  (.20)
05/16/2023     Hall, Jerry        Revise motion to expedite (2.20)                                                              2.20
05/16/2023     Roitman, Marc      Revise motion to expedite adversary proceeding (1.10)                                         1.10
05/17/2023     Giglio, Cindi      Call regarding Blue Owl and SPAC (.50)                                                        0.50
05/17/2023     Barnowski, Dan     Work on motion to expedite and complaint (1.50)                                               1.50
05/17/2023     Hall, Jerry        Email among Katten and Mayer Brown regarding motion to expedite                               0.40
                                  (Fifth Season) (.40)
05/18/2023     Giglio, Cindi      Attend call with Mayer Brown regarding Blue Owl (1.00); follow up on                          1.40
                                  Blue Owl complaint and motion (.40)




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Date           Timekeeper         Description                                                                             Hours
05/18/2023     Barnowski, Dan     Revise motion to expedite (.50); revise complaint seeking declaratory                        3.50
                                  relief (.20); communications with Mayer Brown team concerning motion
                                  and complaint (.40); teleconference with Mayer Brown team concerning
                                  motion for expedited relief (1.00); revise draft motion to expedite (.30);
                                  revise draft proposed order (.30); communications with J. Rubin about
                                  draft order (.40); analysis of evidentiary issues concerning motion to
                                  expedite and complaint (.40)
05/18/2023     Hall, Jerry        Call among Mayer Brown and Katten regarding declaratory judgment                             1.20
                                  action (1.00); review revised motion to expedite (.20)
05/18/2023     Roitman, Marc      Revise complaint regarding alternative stalking horse fee (1.20); confer                     1.90
                                  with J. Stein regarding same (.20); emails with Mayer Brown and Katten
                                  regarding same (.50)
05/18/2023     Reisman, Steven    Update regarding matters related to Blue Owl complaint, motion and                           1.40
                                  strategy (.40); call with Katten and Mayer Brown regarding same (1.00)
05/19/2023     Giglio, Cindi      Discuss issues related to Blue Owl orders (.80); related follow up (.40)                     1.20
05/19/2023     Roitman, Marc      Review Order concerning motion to expedite adversary proceeding (.20);                       0.80
                                  emails with Katten regarding same (.20); confer with Katten regarding
                                  Blue Owl adversary proceeding (.40)
05/23/2023     Giglio, Cindi      Further call with Mayer Brown regarding estimation and related emails                        1.10
                                  (.50); call with Mayer Brown (.50); discuss estimation with M. Roitman
                                  (.10)
05/23/2023     Barnowski, Dan     Teleconference with Mayer Brown team concerning Blue Owl matter (.40)                        0.40
05/23/2023     Roitman, Marc      Call with Mayer Brown regarding adversary proceeding with Fifth Season                       0.60
                                  and related matters (.40); confer with J. Stein regarding same (.20)
05/24/2023     Barnowski, Dan     Review draft motion to estimate (.50); teleconference with Mayer Brown                       0.90
                                  concerning estimation motion (.40)
05/27/2023     Giglio, Cindi      Emails regarding Blue Owl and related issues (.40)                                           0.40
05/27/2023     Roitman, Marc      Draft email memorandum analyzing dispute with Fifth Season (.50);                            1.40
                                  review filings from Fifth Season in connection with same (.40); review
                                  estimation motion and adversary proceeding filings in connection with
                                  same (.50)
                                                                                            Total Hours :                  48.30




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        3.80            1,755.00               6,669.00
Giglio, Cindi                                          5.80            1,495.00               8,671.00
Hall, Jerry                                           12.20            1,425.00              17,385.00
Roitman, Marc                                          8.40            1,270.00              10,668.00
Barnowski, Dan                                        18.10            1,245.00              22,534.50

                                     Sub Total :      48.30   Sub Total :                    65,927.50
                                     Total Hours :    48.30   Total Fees              65,927.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through May 31, 2023



Fees Total............................................................................................................................................................. 160,150.50
Total Amount Due .............................................................................................................................................. 160,150.50                               USD




Payment can be remitted directly to our account:




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RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper         Description                                                                             Hours
05/01/2023     Giglio, Cindi      Attend Polly call (.60); follow up with S. Reisman (.20); call with Ad Hoc                   1.90
                                  Committee (1.10)
05/01/2023     Barnowski, Dan     Project Polly call (.60); teleconference with D. Hancock, J. Stein, Katten                   1.10
                                  and Mayer Brown teams (.50)
05/01/2023     Miranda, Loredana Attend Project Polly (.60); prepare summary of call regarding same (.50);                     1.50
                                 prepare summary of docket entries relevant to Special Committee minutes
                                 (.40)
05/01/2023     Roitman, Marc     Attend call of Debtors' management and professionals (.60); preparation in                    0.90
                                 connection with same (.30)
05/01/2023     Siena, Marie       Submit minutes of Special Committee Meetings for signature via                               0.20
                                  DocuSign (.20)
05/01/2023     Reisman, Steven    Attend Project Polly call (.60); follow up call with C. Giglio regarding                     0.80
                                  same (.20)
05/02/2023     Miranda, Loredana Prepare docket update relevant to Special Committee matters (.20)                             0.20
05/03/2023     Barnowski, Dan     Attend call with Bondholder Committee professionals and Debtor’s                             0.50
                                  professionals (.50)
05/03/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       1.10
                                 (.20); follow-up with Katten team regarding meeting minutes (.10);
                                 weekly call with Debtors and Bondholder Committee's professionals (.50);
                                 prepare summary of same (.30)
05/03/2023     Roitman, Marc     Call with counsel to Debtors and L Bond Committee (.50); preparation in                       0.80
                                 connection with same (.30)
05/04/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.20
                                 (.20)
05/04/2023     Roitman, Marc     Revise draft of May 1 meeting minutes (.50)                                                   0.50
05/05/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.80
                                 (.80)
05/08/2023     Giglio, Cindi      Attend Polly call (.40)                                                                      0.40
05/08/2023     Barnowski, Dan     Project Polly call (.40)                                                                     0.40
05/08/2023     Miranda, Loredana Attend Project Polly call (.40); draft summary of call regarding same (.40);                  1.50
                                 review invoices from Veristar and coordinate processing (.40); prepare
                                 summary of docket entries relevant to Special Committee matters (.30)
05/08/2023     Roitman, Marc     Call with Debtors' management and professionals (.40)                                         0.40
05/09/2023     Giglio, Cindi      Review agenda (.10); attend Katten precall (.30); weekly call with L Bond                    1.60
                                  Committee and Debtors' professionals (.60); call with Special Committee
                                  (.60)
05/09/2023     Barnowski, Dan     Katten pre-call to prepare for weekly call with Bondholder Committee                         2.10
                                  (.30); weekly teleconference with Mayer Brown and Bondholder
                                  Committee professionals (.60); revise Special Committee agenda for
                                  today’s meeting (.60); attend Special Committee meeting (.60)




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Date           Timekeeper          Description                                                                                Hours
05/09/2023     Miranda, Loredana Attend Katten pre call (.30); attend call with Debtors' and Bondholder                            3.20
                                 Committee's professionals (.60); call with Special Committee (.60);
                                 prepare summary of docket entries (.10); draft meeting minutes for Special
                                 Committee meeting (.90); draft agenda for Special Committee meeting
                                 (.30); incorporate comments by D. Barnowski regarding same (.10);
                                 prepare email to clients regarding agenda and materials for Special
                                 Committee meeting (.30)
05/09/2023     Roitman, Marc     Weekly call with Debtors’ and Bondholder Committee’s professionals                                1.50
                                 (.60); Katten pre call regarding same (.30); call with the Special
                                 Committee (.60)
05/10/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                           0.30
                                 (.30)
05/11/2023     Giglio, Cindi       Attend Mayer Brown and Katten call (1.10); edits to J. Stein script (.20)                       1.30
05/11/2023     Barnowski, Dan      Weekly teleconference with Mayer Brown and Katten teams (1.10)                                  1.10
05/11/2023     Hall, Jerry         Call among Katten and Mayer Brown regarding case updates (1.10)                                 1.10
05/11/2023     Miranda, Loredana Attend call with Mayer Brown regarding work streams and case updates                              1.70
                                 (1.10); prepare summary of call regarding same (.40); prepare summary of
                                 docket entries relevant to Special Committee matters (.20)
05/11/2023     Roitman, Marc     Call with Mayer Brown regarding case matters and upcoming filings;                                1.10
                                 (1.10)
05/12/2023     Giglio, Cindi       Attend team call (.30)                                                                          0.30
05/12/2023     Barnowski, Dan      Katten team call concerning work streams (.30); teleconference with T.                          0.50
                                   Kiriakos of Mayer Brown concerning agreements and follow up on same
                                   (.20)
05/12/2023     Thompson, Grace Attend GWG team call (.30)                                                                          0.30
05/12/2023     Miranda, Loredana Attend GWG Status call (.30); follow-up with T. Horton regarding                                  0.50
                                 meeting minutes (.20)
05/12/2023     Roitman, Marc     Call with Katten team regarding case matters and strategy (.30)                                   0.30
05/13/2023     Giglio, Cindi       Emails regarding break up fee (.30)                                                             0.30
05/14/2023     Giglio, Cindi       Attend pre-call (.30); attend call with professionals (.60); related follow up                  1.20
                                   (.30)
05/14/2023     Barnowski, Dan      Katten pre-call to prepare for call with all professionals (.30); call with                     0.90
                                   Debtors professionals (.60)
05/14/2023     Miranda, Loredana Attend Katten pre call (.30); attend call with the Debtors' professionals                         1.40
                                 (.60); prepare summary of notes regarding same (.50)
05/14/2023     Roitman, Marc     Call with Debtors' management and professionals (.60); pre-call with                              0.90
                                 Katten regarding same (.30)
05/15/2023     Giglio, Cindi       Attend Polly call (.50); related follow up (.10); call with Mayer Brown                         0.80
                                   (.20)
05/15/2023     Barnowski, Dan      Project Polly call (.50)                                                                        0.50
05/15/2023     Miranda, Loredana Attend Project Polly call (.50); prepare summary of notes for Katten team                         1.10
                                 regarding same (.30); prepare summary of docket entries relevant to the
                                 Special Committee (.30)
05/15/2023     Roitman, Marc     Call with Debtors’ management and professionals regarding case matters                            1.40
                                 (.50); Special Committee meeting (.50); Katten pre-call in connection with
                                 same (.30); prepare to give presentation to Special Committee (.10)




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Date           Timekeeper         Description                                                                            Hours
05/15/2023     Reisman, Steven    Special Committee meeting (.50); Katten pre-call in connection with same                    1.50
                                  (.30); discussions with Mayer Brown and Katten teams regarding request
                                  for lift stay and potential terms for consenting to same (.20); participate in
                                  Project Polly update call (.50)
05/16/2023     Giglio, Cindi      Call with Mayer Brown and Akin (.80)                                                        0.80
05/16/2023     Barnowski, Dan     Katten team call to discuss work streams (.30); Katten pre-call to prep for                 1.40
                                  call with Bondholder counsel (.30); weekly call with Bondholder counsel
                                  and Debtor counsel (.80)
05/16/2023     Thompson, Grace Attend Katten team call (.30)                                                                  0.30
05/16/2023     Hall, Jerry        Call with Katten team regarding case status (.30)                                           0.30
05/16/2023     Kirby, Timothy     Research on securities law and post-closing equity (2.20); correspondence                   4.00
                                  with Akin and Katten regarding securities law and contractual restrictions
                                  regarding post-closing equity (1.80)
05/16/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      2.40
                                 (.60); attend Katten pre call (.30); attend Katten call with Debtors and
                                 Bondholder Committee's professionals (.80); prepare summary of call
                                 regarding same (.70)
05/16/2023     Comerford,         Call with Katten team regarding GWG issues and next steps (.30)                             0.30
               Michael
05/16/2023     Roitman, Marc      Call with J. Stein regarding Beneficient SPAC-related matters (.40); call                   2.10
                                  with Katten (.30); call with Debtors and LBC professionals regarding case
                                  matters and updates (.80); Katten pre-call in connection with same (.30);
                                  preparation in connection with same (.30)
05/16/2023     Reisman, Steven    Call with M. Roitman, J. Stein regarding Beneficient SPAC and related                       1.00
                                  issues (.40); update regarding securities law analysis by Katten team (.60)
05/17/2023     Barnowski, Dan     Attend Project Polly call (.50)                                                             0.50
05/17/2023     Hall, Jerry        Attend a portion of Polly Project call (.40)                                                0.40
05/17/2023     Miranda, Loredana Attend Project Polly call (.50); prepare summary regarding same (.20);                       1.80
                                 follow up on meeting minutes (.10); revise meeting minutes with
                                 comments from Katten (.60); prepare summary of docket updates relevant
                                 to Special Committee matters (.40)
05/17/2023     Reisman, Steven    Participate in Project Polly update call (.50); review minutes from recent                  0.70
                                  Special Committee meetings (.20)
05/18/2023     Giglio, Cindi      Call with LBC professional (.80)                                                            0.80
05/18/2023     Barnowski, Dan     Teleconference with Bondholder Professionals (.80); follow-up call with                     1.50
                                  Debtor Professionals (.70)
05/18/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      2.60
                                 (.60); attend weekly call with the Bondholder Committee (.80); prepare
                                 summary for Katten team regarding same (.30); attend follow-up call with
                                 the Debtor’s professionals (.70); prepare summary regarding same (.20)
05/18/2023     Roitman, Marc     Weekly call with the Bondholder Committee’s professionals (.80); follow-                     1.50
                                 up call with the Debtor’s professionals (.70)
05/19/2023     Barnowski, Dan    Teleconference with LBC and Debtors professionals (.80)                                      0.80
05/19/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.50
                                 (.50)
05/21/2023     Giglio, Cindi      Call with Mayer Brown and Katten teams (.50)                                                0.50
05/21/2023     Barnowski, Dan     Teleconference with Mayer Brown and Katten teams to discuss action                          0.50
                                  items for week (.50)




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Date           Timekeeper          Description                                                                            Hours
05/21/2023     Roitman, Marc       Call with Mayer Brown regarding case matters and strategy (.50); review                     1.40
                                   court filings in connection with same (.60); emails with Katten and Mayer
                                   Brown regarding same (.30)
05/21/2023     Reisman, Steven     Review documentation related to Ben SPAC merger transaction and                             2.30
                                   follow up regarding issues related to same (1.80); participate in update call
                                   with Mayer Brown (.50)
05/22/2023     Giglio, Cindi       Call with Mayer Brown team (portion) (.20)                                                  0.20
05/22/2023     Barnowski, Dan      Review draft letter to Ben and related strategy issues (.30); teleconference                2.30
                                   with Mayer Brown team concerning next steps (1.00); call with M.
                                   Roitman regarding SPAC transaction (.30); attend Project Polly call (.60);
                                   attend Special Committee meeting (.10)
05/22/2023     Miranda, Loredana Follow-up on meeting minutes with T. Horton (.10); follow-up on meeting                       2.00
                                 minutes with Katten team (.10); prepare summary of docket entries
                                 relevant to Special Committee matters (.50); attend Project Polly call (.60);
                                 draft summary of call regarding same (.30); attend call with the Special
                                 Committee (.10); draft minutes to Special Committee meeting (.30)
05/22/2023     Roitman, Marc     Call with MB regarding case matters and updates (1.00); Special                               3.40
                                 Committee meeting (.10); call with Debtors' professionals and
                                 management regarding case matters (.60); call with D. Barnowski
                                 regarding Ben de-SPAC transaction and related matters (.30); call with J.
                                 Ablan regarding same (.30); draft email to counsel to Beneficient and
                                 Heppner regarding information in connection with Ben De-SPAC
                                 transaction (1.10)
05/22/2023     Reisman, Steven     Participate in Project Polly update call with J. Stein and T. Horton (.60);                 0.70
                                   follow up on case matters (.10)
05/23/2023     Giglio, Cindi       Review letter from Quinn (.20); call regarding Ben voting with Mayer                        1.00
                                   Brown (.50); review Wall Street Journal correspondence and related
                                   emails (.30)
05/23/2023     Barnowski, Dan      Teleconferences with Bondholder Committee counsel concerning Ben’s                          1.40
                                   Rule 2004 motion (.50); Katten pre-call to prepare for weekly call with
                                   Bondholder Committee (.30); weekly call with Debtors’ professionals and
                                   Bondholder Committee’s professionals (.60)
05/23/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       1.60
                                 (.60); attend call with Debtor’s and Bondholder Committee’s Professionals
                                 (.60); prepare summary for Katten team regarding same (.40)
05/23/2023     Roitman, Marc     Call with Mayer Brown regarding Ben De-SPAC transaction and related                           1.30
                                 matters (.50); call with L Bond Committee professionals regarding case
                                 matters (.60); pre-call with Katten in preparation for same (.30)
05/24/2023     Giglio, Cindi       Call with Mayer Brown regarding Trust Agreements (.30)                                      0.30
05/24/2023     Barnowski, Dan      Analysis of Okin Adams letter (.20); prepare response to Okin Adams                         1.30
                                   letter (.60); teleconference with C. Kelley concerning privilege issues
                                   (.30); teleconference with M. Roitman concerning privilege issues (.20)
05/24/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                       0.50
                                 (.50)
05/24/2023     Roitman, Marc     Review letter from LBM regarding Beneficient De-SPAC transaction                              0.80
                                 (.30); review draft response letter in connection with same (.50)
05/25/2023     Giglio, Cindi       Review J. Stein video (.10); call with L Bond Committee (.30); follow up                    0.80
                                   call (.40)




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Date           Timekeeper          Description                                                                             Hours
05/25/2023     Barnowski, Dan      Analysis of Debtors filings from last night (.60); call with M. Roitman                      2.80
                                   regarding case matters (.20); teleconference with Mayer Brown (.80);
                                   revise response to Okin Adams letter (.40); follow-up on issues raised by
                                   Okin Adams filing with Court (.50); teleconference with Bondholder
                                   Committee counsel (.30)
05/25/2023     Thompson, Grace Attend a portion of pre-call with Katten team (.20)                                              0.20
05/25/2023     Hall, Jerry         Call among Mayer Brown and Katten regarding case status (.80)                                0.80
05/25/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                        2.60
                                 (.60); collect Board resolutions regarding M. Tucker's appointment (.20);
                                 attend Katten pre call (.30); attend call with the Bondholder Committee
                                 (.30); prepare summary regarding same (.10); attend follow-up call with
                                 Mayer Brown (.80); prepare summary of call regarding same (.30)
05/25/2023     Roitman, Marc     Call with Bondholder Committee professionals (.30); Katten pre call in                         1.80
                                 connection with same (.30); call with Mayer Brown regarding case matters
                                 and strategy (.80); call with D. Barnowski regarding same (.20); emails
                                 with Mayer Brown and Katten regarding corporate governance approvals
                                 in connection with FOXO letter of transmittal (.20)
05/25/2023     Reisman, Steven     Review and comment on responsive letter to Okin Adams (.60)                                  0.60
05/26/2023     Barnowski, Dan      Teleconference with J. Stein concerning Okin Adams letter (.20); revise                      1.10
                                   response to Okin Adams letter based on call with J. Stein (.40); revise
                                   minutes from Special Committee meetings (.50)
05/26/2023     Miranda, Loredana Prepare summary of docket updates relevant to Special Committee matters                        1.40
                                 (.50); emails with Katten team regarding SSA invoice (.20); attend to
                                 issues regarding FTI correspondence (.20); follow up with Katten team on
                                 meeting minutes (.20); incorporate comments by D. Barnowski to meeting
                                 minutes (.20); emails with T. Horton regarding same (.10)
05/27/2023     Barnowski, Dan    Revise emergency motion for approval to abstain (.70); follow-up on                            0.90
                                 issues pertinent to Okin Adams letter (.20)
05/27/2023     Hall, Jerry       Review motion to abstain from voting (Ben de-SPAC) (1.00)                                      1.00
05/27/2023     Miranda, Loredana Review and provide comments to the Motion to Abstain from Ben                                  3.00
                                 Conversion (2.60); revise letter regarding to Ben (.40)
05/27/2023     Reisman, Steven     Update regarding matters related to voting on SPAC transaction and                           1.60
                                   review research on same (.80); review and comment on motion to abstain
                                   (.80)
05/28/2023     Miranda, Loredana Revise Motion to Abstain from Ben Conversion with comments by D.                               0.30
                                 Barnowski (.30)
05/28/2023     Roitman, Marc     Revise draft motion to abstain from vote on De-SPAC transaction (1.70);                        2.60
                                 emails with Katten regarding same (.30); revise draft letter to Beneficient
                                 regarding vote on De-SPAC transaction (.60)
05/29/2023     Barnowski, Dan    Review final draft emergency motion (.50); follow-up on Okin Adams                             1.30
                                 letter (.20); analysis of issues pertinent to voting (.30); communications
                                 with Katten team about next steps and strategy (.30)
05/29/2023     Miranda, Loredana Revise Motion to Abstain from Ben Conversion with comments from M.                             1.20
                                 Roitman (.60); revise letter regarding to Ben with comments from M.
                                 Roitman (.40); email exchange with Mayer Brown regarding Motion to
                                 Abstain and Ben conversion (.20)
05/29/2023     Roitman, Marc     Further revise motion regarding abstention from vote on Ben De-SPAC                            0.80
                                 transaction (.80)
05/30/2023     Giglio, Cindi       Call with Katten team (.70); revisions to abstention motion (.20); Polly                     2.10
                                   call (.70); calls and emails regarding Ben letter (.50)



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Date           Timekeeper         Description                                                                           Hours
05/30/2023     Barnowski, Dan     Katten team call to discuss work streams and status (.70); revise abstention               3.50
                                  motion (1.20); attend Project Polly call (.70); teleconference with M.
                                  Roitman concerning motions (.20); teleconference with Debtors and
                                  Bondholder Committee's professionals (.30); communications with Mayer
                                  Brown team concerning litigation trust agreement negotiations (.40)
05/30/2023     Thompson, Grace Attend Katten team call (.70)                                                                 0.70
05/30/2023     Hall, Jerry        Call Katten team regarding case status (.70); review revised abstention                    1.60
                                  motion (.40); call among Mayer Brown, Katten and others regarding case
                                  status (.50)
05/30/2023     Kirby, Timothy     Review Mayer Brown securities law analysis regarding sale of BEN shares                    2.50
                                  (2.50)
05/30/2023     Miranda, Loredana Attend Katten status update call (.70); draft Special Committee meeting                     4.20
                                 agenda (.10); prepare summary of docket entries relevant to Special
                                 Committee matters (various filings) (.80); coordinate scheduling Special
                                 Committee meeting (.40); email exchange with M. Siena regarding
                                 meeting minutes and hearings (.30); attend project polly call (.70); prepare
                                 summary of call regarding same (.40); call with Debtors’ and Bondholder
                                 Committee’s Professionals (.30); prepare summary of call regarding same
                                 (.20)
05/30/2023     Comerford,         Call with Katten team regarding status of open items and next steps (.70)                  0.70
               Michael
05/30/2023     Roitman, Marc       Call with Mayer Brown regarding case matters and strategy (.50); call with                3.50
                                   Debtors’ professionals and management regarding case matters (.70); call
                                   with T. Horton regarding Ben de-SPAC transaction and related matters
                                   (.20); call with Katten regarding same (.30); call with D. Barnowski
                                   concerning motions (.20); call with S. Reisman regarding same (.20); call
                                   with T. Kiriakos regarding same (.10); review revised draft of motion to
                                   abstain from vote on Ben De-SPAC transaction (.90); emails with Katten
                                   and Mayer Brown regarding same (.30); emails with Jackson Walker
                                   regarding same (.10)
05/30/2023     Reisman, Steven     Update regarding matters related to BEN De-SPAC transaction and review                    1.80
                                   of Katten analysis regarding same (.50); confer with T. Horton and J. Stein
                                   regarding matters related to same (.40); participate in Project Polly call
                                   (.70); call with M. Roitman regarding BEN De-SPAC transaction and
                                   coordination of matters regarding same (.20)
05/31/2023     Barnowski, Dan      Attention to email from Ben counsel concerning protective order (.30);                    3.30
                                   teleconference with J. Tecce concerning protective order (.20); analysis of
                                   deposition transcripts and protective orders to determine signatories
                                   (1.10); analysis of Mayer Brown memo on protective order for same
                                   purpose (.60); email to Ben counsel concerning protective order inquiry
                                   (.30); teleconference with Bondholder Committee counsel concerning
                                   protective order issue (.20); communications with team concerning
                                   strategy issues and next steps (.60)
05/31/2023     Kirby, Timothy      Calls and correspondence regarding BEN share sales analysis (2.00)                        2.00
05/31/2023     Miranda, Loredana Follow-up on meeting minutes with Katten team (.10); revise agenda for                      1.10
                                 Special Committee meeting (various iterations) (.30); email exchanges
                                 with Katten team regarding same (.10); review docket for updates (.10);
                                 prepare summary of docket entries relevant to Special Committee matters
                                 (.30); communications with T. Horton regarding GWG meditations (.20)
05/31/2023     Roitman, Marc     Emails with Mayer Brown regarding corporate governance in connection                        0.70
                                 with authorization to monetize Ben shares (.50); emails with Katten
                                 regarding upcoming Special Committee meeting (.20)
                                                                                            Total Hours :               137.80


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TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                        11.00            1,755.00              19,305.00
Giglio, Cindi                                          14.30            1,495.00              21,378.50
Hall, Jerry                                             5.20            1,425.00               7,410.00
Comerford, Michael                                      1.00            1,310.00               1,310.00
Roitman, Marc                                          27.70            1,270.00              35,179.00
Barnowski, Dan                                         29.70            1,245.00              36,976.50
Kirby, Timothy                                          8.50            1,140.00               9,690.00
Thompson, Grace                                         1.50              895.00               1,342.50
Miranda, Loredana                                      38.70              710.00              27,477.00
Siena, Marie                                            0.20              410.00                  82.00

                                      Sub Total :     137.80   Sub Total :                   160,150.50
                                      Total Hours :   137.80   Total Fees             160,150.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Case Administration

For Professional Services Rendered Through May 31, 2023



Fees Total.............................................................................................................................................................                   4,244.50
Total Amount Due ..............................................................................................................................................                           4,244.50       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice Due Date:   Payable Upon Receipt


RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
05/07/2023     Thompson, Grace Provide comments on Province monthly fee statement (.60)                                       0.60
05/12/2023     Giglio, Cindi      Review Province January monthly fee statement (.70)                                         0.70
05/12/2023     Thompson, Grace Correspondence regarding Province fee statement (.20)                                          0.20
05/15/2023     Thompson, Grace Correspondence regarding Province monthly fee statement (.30)                                  0.30
05/16/2023     Thompson, Grace Provide comments on Province March Monthly Fee Statement (.40)                                 0.40
05/17/2023     Siena, Marie       File Province January Fee Statement on the court's docket (.20); emails                     0.40
                                  with G. Thompson regarding same (.20)
05/19/2023     Giglio, Cindi      Review Province March monthly fee statement (.70)                                           0.70
05/19/2023     Thompson, Grace Revise Province Monthly Fee Statement per comments from C. Giglio                              0.30
                               (.20); related correspondence with Katten (.10)
05/26/2023     Thompson, Grace Attend to issues regarding approval and finalizing Province monthly fee                        0.10
                               statement (.10)
05/26/2023     Siena, Marie       File Province March fee statement on the court's docket (.30); email with                   0.70
                                  noticing agent regarding service of same (.20); emails with G. Thompson
                                  regrading same (.20)
                                                                                           Total Hours :                      4.40




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          1.40            1,495.00               2,093.00
Thompson, Grace                                        1.90              895.00               1,700.50
Siena, Marie                                           1.10              410.00                 451.00

                                     Sub Total :       4.40   Sub Total :                     4,244.50
                                     Total Hours :     4.40   Total Fees               4,244.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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August 19, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through May 31, 2023



Fees Total.............................................................................................................................................................                 65,447.50
Total Amount Due ..............................................................................................................................................                         65,447.50        USD




Payment can be remitted directly to our account:




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RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                                          Hours
05/01/2023     Barnowski, Dan     Research and analysis of case law concerning disallowance issues (1.60)                   1.60
05/01/2023     Thompson, Grace Follow-up regarding SDTX claims disallowance procedures (2.30);                              3.60
                               research regarding temporary allowance (1.20); call with A. Zobeideh
                               regarding motion precedents (.10)
05/01/2023     Roitman, Marc   Further review of research regarding temporary allowance of claims for                       1.10
                               voting purposes and related matters (1.10)
05/02/2023     Thompson, Grace Continued research regarding claim disallowance in SDTX and other                            1.40
                               jurisdictions (1.40)
05/03/2023     Barnowski, Dan  Review email from Mayer Brown concerning Ben claims (.30)                                    0.30
05/03/2023     Thompson, Grace Continue research and review of precedent regarding claim allowance/                         1.20
                               disallowance (1.20)
05/04/2023     Thompson, Grace Continue to research regarding claim allowance/disallowance/estimation                       4.30
                                 (1.10); draft detailed research email memo regarding the same (3.20)
05/04/2023     Miranda, Loredana Conduct legal research of claims under section 1126 (2.10)                                 2.10
05/04/2023     Reisman, Steven    Update regarding possible disallowace motion and objection to claims of                   0.60
                                  Beneficient (.60)
05/05/2023     Giglio, Cindi      Attend portion of call regarding Ben claim (.70)                                          0.70
05/05/2023     Barnowski, Dan     Katten call to discuss issues concerning Ben claim (.80); analysis of                     1.00
                                  research and memo on Ben claim issues (.50)
05/05/2023     Thompson, Grace Review draft pleadings in connection with claim objection (.30); call with                   3.70
                               Katten team regarding claim objection (.80); research claim objection
                               procedures in SDTX (.50); begin outlining claim objection/3018 motion
                               (2.10)
05/05/2023     Roitman, Marc   Call with Katten regarding analysis of motion regarding temporary                            1.20
                               allowance of claim for voting purposes (.80); further review of research in
                               connection with same (.40)
05/08/2023     Thompson, Grace Continue drafting Ben claim objection / 3018 motion (1.60)                                   1.60
05/08/2023     Miranda, Loredana Review precedents on claim objections in SDTX (.90); prepare summary                       3.40
                                 of proof of claims by specific creditors (1.10); revise summary of proofs
                                 of claim with comments by G. Thompson (1.40)
05/08/2023     Roitman, Marc     Call with L. Chiappetta regarding general unsecured claims and voting                      0.80
                                 matters (.40); review materials in connection with same (.40)
05/09/2023     Thompson, Grace Continue drafting Ben motion/claim objection (1.20)                                          1.20
05/10/2023     Thompson, Grace Continue drafting objection/motion (1.70)                                                    1.70
05/11/2023     Thompson, Grace Continue drafting claim objection/motion (2.10); revise same per                             3.10
                                 comments from L. Miranda (.40); draft proposed order and exhibit (.60)
05/11/2023     Miranda, Loredana Review Rule 3018(a) objection (.60)                                                        0.60
05/11/2023     Reisman, Steven    Update regarding possible claim objection motion and status of same (.70)                 0.70
05/12/2023     Barnowski, Dan     Revise motion to disallow and limit claims (1.10)                                         1.10
05/12/2023     Thompson, Grace Review D. Barnowski comments to motion (.20)                                                 0.20
05/14/2023     Roitman, Marc      Revise Rule 3018 motion regarding temporary allowance of Beneficient                      3.50
                                  claims for voting purposes (2.80); research select case law in connection
                                  with same (.70)
05/15/2023     Barnowski, Dan     Revise 3018 motion (.40)                                                                  0.40


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Date           Timekeeper         Description                                                                       Hours
05/15/2023     Thompson, Grace Revise motion per comments from M. Roitman (3.40); perform follow-up                      4.60
                               research in connection with same (.80); review Mayer Brown claim
                               objection (.20); update draft motion per same (.20)
05/15/2023     Hall, Jerry     Review claim objection (Ben) (.60)                                                        0.60
05/15/2023     Roitman, Marc      Further revise Rule 3018 motion regarding temporary allowance of                       2.30
                                  Beneficient claims for voting purposes (2.30)
05/16/2023     Giglio, Cindi      Review 3018 motion and comment on same (60); related emails (.20)                      0.80
05/16/2023     Thompson, Grace Revise Rule 3018 motion per comments from M. Roitman (.90); revise per                    1.30
                               comments from C. Giglio (.40)
05/17/2023     Roitman, Marc   Further revise Rule 3018 motion regarding temporary allowance of                          0.90
                               Beneficient claims for voting purposes (.70); emails with Investigations
                               Committee regarding same (.20)
05/22/2023     Thompson, Grace Review Mayer Brown comments to Ben motion (.20); call with J. Gross                       2.00
                               (Mayer Brown) regarding same (.20); review Mayer Brown omnibus
                               objections (.30); correspondence with Katten regarding revisions (.20);
                               draft declaration in support of motion (.70); call with C. Harvick regarding
                               the same (.20); correspondence regarding the same (.20)
05/22/2023     Hall, Jerry     Review Rule 3018 motion (Ben) (.70)                                                       0.70
05/22/2023     Roitman, Marc   Revise motion pursuant to Rule 3018 regarding temporary allowance of                      0.60
                               claims for voting purposes (.60)
05/23/2023     Thompson, Grace Revise Ben motion per comments from M. Roitman, FTI, Mayer Brown                          1.60
                               (1.40); call with M. Roitman regarding the same (.20)
05/23/2023     Roitman, Marc   Revise motion pursuant to Rule 3018 regarding temporary allowance of                      1.80
                               claims for voting purposes (.90); confer with G. Thompson regarding same
                               (.20); call with C. Harvick regarding same (.30); emails with Co-
                               Proponents and Investigations Committee in connection with same (.40)
05/24/2023     Giglio, Cindi      Attention to issues regarding 3018 motion (1.00)                                       1.00
05/24/2023     Barnowski, Dan     Analysis of draft 3018(a) motion (.40)                                                 0.40
05/24/2023     Thompson, Grace Revise Ben motion (.60); incorporate comments from LBC (.20); related                     2.30
                               correspondence with Katten team, JW, MB, LBC regarding motion (.60);
                               follow-up regarding revisions, signoff, and filing of same (.90)
05/24/2023     Roitman, Marc   Further revise motion pursuant to Rule 3018 regarding temporary                           1.20
                               allowance of claims for voting purposes (.70); confer with G. Thompson
                               regarding same (.20); emails with Jackson Walker and Mayer Brown
                               regarding same (.30)
                                                                                          Total Hours :              63.20




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Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        1.30            1,755.00               2,281.50
Giglio, Cindi                                          2.50            1,495.00               3,737.50
Hall, Jerry                                            1.30            1,425.00               1,852.50
Roitman, Marc                                         13.40            1,270.00              17,018.00
Barnowski, Dan                                         4.80            1,245.00               5,976.00
Thompson, Grace                                       33.80              895.00              30,251.00
Miranda, Loredana                                      6.10              710.00               4,331.00

                                     Sub Total :      63.20   Sub Total :                    65,447.50
                                     Total Hours :    63.20   Total Fees              65,447.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 18, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through May 31, 2023



Fees Total.............................................................................................................................................................                   6,368.50
Total Amount Due ..............................................................................................................................................                           6,368.50       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice Due Date:   Payable Upon Receipt


RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                        Hours
05/01/2023     Barnowski, Dan     Attend GWG hearing (.40)                                                                0.40
05/01/2023     Miranda, Loredana Attend Bankruptcy Court Hearing regarding Jackson Walker's Fee                           1.10
                                 Statement Objection (.40); prepare summary of hearing regarding same
                                 (.70)
05/16/2023     Siena, Marie       Review notice of hearing for 5/18/23 (.30)                                              0.30
05/17/2023     Siena, Marie       Review notice of reset hearing to 5/24/23 (.20)                                         0.20
05/24/2023     Giglio, Cindi      Attend hearing (.70); review L. Miranda summary of same (.10)                           0.80
05/24/2023     Barnowski, Dan     Attend Bankruptcy Court hearing on May 24th (.70)                                       0.70
05/24/2023     Miranda, Loredana Attend and take notes of hearing regarding 2004 motion and motion to lift                2.40
                                 the automatic stay (.70); prepare summary of hearing regarding same
                                 (1.20); draft Notice of Hearing regarding 3018(a) motion (.40); conference
                                 with G. Thompson regarding same (.10)
05/24/2023     Roitman, Marc     Attend Bankruptcy Court hearing regarding motion for relief from the                     0.70
                                 automatic stay (.70)
05/25/2023     Miranda, Loredana Revise notice of hearing of 3018(a) motion (.20)                                         0.20
05/26/2023     Siena, Marie       Review Notice of Hearing for Exit Credit Agreement (.10)                                0.10
05/30/2023     Siena, Marie       Update calendar with upcoming hearing details (.10)                                     0.10
                                                                                          Total Hours :                   7.00




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Giglio, Cindi                                          0.80            1,495.00               1,196.00
Roitman, Marc                                          0.70            1,270.00                 889.00
Barnowski, Dan                                         1.10            1,245.00               1,369.50
Miranda, Loredana                                      3.70              710.00               2,627.00
Siena, Marie                                           0.70              410.00                 287.00

                                     Sub Total :       7.00   Sub Total :                     6,368.50
                                     Total Hours :     7.00   Total Fees               6,368.50   USD




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                                                                                                                                                                               New York NY 10020-1605
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Investigation

For Professional Services Rendered Through May 31, 2023



Fees Total.............................................................................................................................................................                 88,140.50
Total Amount Due ..............................................................................................................................................                         88,140.50        USD




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RE: Investigation

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
05/01/2023     Giglio, Cindi      Review Investigations Committee agenda (.10); attend Investigations                         0.80
                                  Committee meeting (.50); call with T. Horton (.20)
05/01/2023     Barnowski, Dan     Teleconference with L. Freeman concerning GWG business (.20); attend                        0.80
                                  pre-call to prepare for Investigations Committee meeting (.10); attend
                                  Investigations Committee meeting (.50)
05/01/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); correspondence                      1.50
                                 with Katten team regarding same (.20); draft email to the Independent
                                 Directors (.10); attend Katten pre-call (.10); attend weekly call with the
                                 Investigations Committee (.50); draft minutes regarding same (.40)
05/01/2023     Roitman, Marc     Call with the Investigations Committee (.50); preparation in connection                      0.90
                                 with same (.40)
05/01/2023     Siena, Marie       Submit Minutes of Investigations Committee meetings through DocuSign                        0.20
                                  (.20)
05/01/2023     Reisman, Steven    Update regarding matters related to Investigations Committee work (.80);                    1.10
                                  review of minutes from prior meetings (.30)
05/02/2023     Barnowski, Dan     Revise investigation committee meeting minutes (.30)                                        0.30
05/02/2023     Miranda, Loredana Revise Investigations Committee meeting minutes (.30)                                        0.30
05/04/2023     Miranda, Loredana Prepare email to Independent Directors regarding meeting minutes (.20);                      0.40
                                 revise meeting minutes with comments by M. Roitman (.20)
05/09/2023     Giglio, Cindi      Review SEC filing (.10)                                                                     0.10
05/14/2023     Giglio, Cindi      Attention to correspondence regarding Ben lift stay (.40)                                   0.40
05/14/2023     Barnowski, Dan     Analysis of Ben motion for relief from stay (.60); communications with                      0.80
                                  Katten team concerning Ben motion and next steps (.50)
05/14/2023     Roitman, Marc      Review proposed order regarding Beneficient motion to lift stay (.50);                      1.70
                                  emails with Katten regarding same (.30); call with S. Reisman regarding
                                  same (.50); call with D. Barnowski regarding same (.40)
05/14/2023     Reisman, Steven    Review proposed order by Beneficient to lift automatic stay (.30); call                     0.80
                                  with M. Roitman regarding the same (.50)
05/15/2023     Giglio, Cindi      Correspondence regarding Ben request (.20); call with Katten team                           1.70
                                  regarding motion to lift the stay (.80); communications and follow-up with
                                  Katten regarding same (.70)
05/15/2023     Barnowski, Dan     Katten team teleconference to discuss motion to lift stay (.80);                            3.60
                                  teleconference with J. Stein concerning motion to lift stay (.20);
                                  communications with Katten team concerning motion to lift stay (.40);
                                  teleconference with L. Chiapetta concerning litigation trust agreement
                                  (.20); teleconference with Mayer Brown team concerning motion to lift
                                  stay (.20); analyze proposed language for response to motion to lift stay
                                  request (.50); teleconference with Ben counsel concerning motion to lift
                                  stay (.20); analysis of further revised litigation trust agreement (.60);
                                  attend Investigations Committee call (.50)
05/15/2023     Thompson, Grace Attend Katten pre-call for Investigations Committee call (.30)                                 0.30
05/15/2023     Miranda, Loredana Prepare Investigations Committee meeting agenda (.20); revise agenda                         1.90
                                 with comments by M. Roitman (.20); attend Katten pre call (.30); attend
                                 weekly Investigations Committee call (.50); prepare meeting minutes
                                 regarding same (.70)




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Date           Timekeeper         Description                                                                           Hours
05/15/2023     Roitman, Marc      Further review of proposed order regarding Beneficient motion to lift stay                 1.60
                                  (.40); call with Mayer Brown regarding same (.20); call with Katten
                                  regarding matters relating to motion to lift stay in connection with
                                  Beneficient SPAC transaction (.80); call with Province regarding same
                                  (.20)
05/15/2023     Reisman, Steven    Attend Katten pre-call to prepare for Investigations Committee call (.30);                 2.40
                                  participate in Investigations Committee call related to same (.50); follow
                                  up regarding matters related to request to lift to stay in connection with
                                  Beneficient SPAC transaction (.80); call with Katten regarding same (.80)
05/16/2023     Giglio, Cindi      Call with Mayer Brown and PJT regarding motion to lift stay (portion)                      0.90
                                  (.50); review order comments (.40)
05/16/2023     Roitman, Marc      Call with Akin regarding proposed order regarding Beneficient motion to                    1.60
                                  lift stay (.40); call with Mayer Brown and PJT regarding motion to lift stay
                                  SPAC transaction (.70); follow up call with T. Kirby regarding same (.20);
                                  call with S. Reisman regarding same (.20); call with L. Chiappetta
                                  regarding same (.10)
05/17/2023     Giglio, Cindi      Review B. Heppner's joinder to motion to stay (.90); emails regarding                      1.20
                                  order edits (.30)
05/17/2023     Barnowski, Dan     Multiple calls with Ben counsel concerning stay order (.30); multiple calls                3.50
                                  with Bondholder Committee counsel concerning revisions to proposed
                                  stay order (.50); communications with Ben counsel concerning proposed
                                  schedule on stay relief (.30); prepare draft order (1.00); several rounds of
                                  revisions to draft order (.90); analysis of legal issues concerning relief
                                  from stay (.50)
05/17/2023     Roitman, Marc      Review of revised proposed order regarding Beneficient motion to lift stay                 1.40
                                  (.30); emails with Katten and Mayer Brown regarding same (.20); call
                                  with Debtors’ management and professionals regarding case matters (.50);
                                  emails with Mayer Brown and Katten regarding case matters (.40)
05/17/2023     Reisman, Steven    Update regarding matters related to BEN and consent order lifting stay                     0.30
                                  (.30)
05/18/2023     Barnowski, Dan     Analysis of further revised stay order (.30)                                               0.30
05/18/2023     Roitman, Marc      Review of revised proposed order regarding Beneficient motion to lift stay                 0.40
                                  (.20); emails with Katten regarding same (.20)
05/19/2023     Barnowski, Dan     Analysis of issues pertinent to Ben emergency motion (.70); negotiations                   1.90
                                  with LBC and Ben counsel concerning resolution of Ben motion for relief
                                  from stay (.80); communications with Ben counsel concerning
                                  Independent Director’s intentions on Ben vote (.40)
05/19/2023     Miranda, Loredana Review docket for deposition transcripts (.60)                                              0.60
05/19/2023     Roitman, Marc      Review of revised proposed order regarding Beneficient motion to lift stay                 0.60
                                  (.40); emails with Katten and Mayer Brown regarding same (.20)
05/20/2023     Barnowski, Dan     Teleconference with L. Chiapetta concerning Ben motion (.30); analysis of                  0.80
                                  Ben motion to lift stay and correspondence concerning same (.50)
05/21/2023     Giglio, Cindi      Correspondence and review of Ben Motion (1.00); call with Akin team                        2.50
                                  and Mayer Brown team (1.00); related follow up regarding Ben motion
                                  (.50)
05/21/2023     Barnowski, Dan     Teleconference with M. Roitman concerning draft letter to Ben (.20);                       2.80
                                  teleconference with Mayer Brown, Akin Gump and Katten teams
                                  concerning Ben motion, Ben vote and other issues (1.00); analysis of most
                                  recent version of draft proposed order on motion to left stay (.40); analysis
                                  of correspondence with Ben concerning its motion to lift stay (.30);
                                  analysis of Ben emergency motion for discovery (.50); assessment of
                                  options to respond to emergency motion (.40)


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Date           Timekeeper         Description                                                                              Hours
05/21/2023     Hall, Jerry        Review Ben’s 2004 motion (.60); email among D. Barnowski and others                           1.10
                                  regarding Ben’s 2004 motion (.50)
05/21/2023     Miranda, Loredana Email with Katten team regarding Ben's 2004 motion (.20)                                       0.20
05/21/2023     Roitman, Marc      Call with Akin and Mayer Brown regarding Ben's motion to lift the stay to                     1.90
                                  allow consummation of the de-SPAC transaction and related matters
                                  (1.00); draft correspondence to counsel to Beneficient and Heppner
                                  regarding information in connection with Ben De-SPAC transaction (.90)
05/21/2023     Reisman, Steven    Follow up discussions with Akin Gump, Mayer Brown and Katten                                  2.70
                                  regarding motion to lift stay consent to SPAC transaction (1.00); follow up
                                  discussion with M. Stamer related to same (.20); review underlying
                                  documentation and follow up (1.50)
05/22/2023     Giglio, Cindi      Review agenda (.10); Katten pre-call (30); discuss potential deposition of                    1.50
                                  T. Kice with D. Barnowski (.50); attend Investigations Committee call
                                  (.60)
05/22/2023     Barnowski, Dan     Analysis of potential T. Kice deposition (.40); discuss with C. Giglio                        3.60
                                  regarding same (.50); katten pre-call to prepare for Investigations
                                  Committee call (.30); attend Investigations Committee meeting (.60);
                                  analysis of Bondholder Committee’s proposed revisions to proposed order
                                  on motion to lift stay (.30); teleconference with Bondholder Committee’s
                                  counsel concerning Ben motion for emergency relief (.30); follow-up call
                                  with D. Giller of Akin concerning motion for emergency discovery (.30);
                                  analysis of further revised proposed order on motion for relief from stay
                                  (.30); analysis of protective order and documents filed on docket to
                                  determine proper response to motion for emergency relief (.20); revise
                                  draft opposition to motion (.40)
05/22/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.10); revise with                           2.10
                                 comments from M. Roitman (.10); prepare email to clients regarding same
                                 (.20); attend Katten Pre-Call (.30) attend call with the Investigations
                                 Committee (.60); prepare minutes to Investigations Committee meeting
                                 (.80)
05/22/2023     Roitman, Marc     Investigations Committee meeting (.60); pre-call with Katten in                                3.70
                                 connection with same (.30); preparation in connection with same (.40);
                                 revise minutes of Investigations Committee meeting (.50); revise draft
                                 response regarding Ben motion to lift the automatic stay (1.40); review
                                 revised proposed order in connection with same (.50)
05/22/2023     Reisman, Steven    Discussion with J. Stein and T. Horton regarding investigation matters                        2.00
                                  (.40); follow-up related to motion to lift the say (1.00); participate in
                                  Investigations Committee update call with T. Horton and J. Stein and
                                  GWG team regarding matters related to Investigation Committee
                                  continuing investigation efforts (.60)
05/23/2023     Giglio, Cindi      Meet and confer with Ben's and B. Heppner' counsel regarding Rule 2004                        0.60
                                  Motion (.60)
05/23/2023     Barnowski, Dan     Revise minutes of Investigations Committee meeting (.30); work on                             3.40
                                  resolving Ben discovery motion and Ben left stay motion (.80);
                                  teleconference with Mayer Brown team concerning Ben vote (.50); meet
                                  and confer with Ben concerning its Rule 2004 motion (.60); analysis of
                                  final draft order on Ben’s motion for relief from stay (.40); analysis of Ben
                                  filed agenda and stipulation (.30); revise Ben/Heppner’s proposed order
                                  resolving protective order motion (.50)
05/23/2023     Miranda, Loredana Revise meeting minutes with comments by Katten team (.30)                                      0.30




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Date           Timekeeper         Description                                                                           Hours
05/23/2023     Roitman, Marc      Call with counsel to Beneficient and Heppner regarding Motion for Rule                     2.70
                                  2004 discovery (.50); review materials in connection with same (.60);
                                  review of drafts of Litigation Trust Agreement (1.10); draft email to
                                  Special Committee regarding same (.50)
05/24/2023     Barnowski, Dan     Final revisions to draft order on Ben’s motion for expedited discovery                     0.50
                                  (.50)
05/26/2023     Barnowski, Dan     Review revised Ben Rule 2004 proposed order (.40); attention to extension                  0.60
                                  requests from Ben (.20)
05/28/2023     Miranda, Loredana Email exchange with Katten team regarding Investigation Committee                           0.30
                                 meeting (.20); email with M. Templeton-Duffy regarding same (.10)
05/30/2023     Miranda, Loredana Draft Investigations committee meeting agenda (.20); prepare email for                      0.50
                                 Independent Directors regarding same (.30)
05/30/2023     Siena, Marie       Submit minutes of Investigations Committee Meeting for execution (.10)                     0.10
05/31/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20)                                     0.20
                                                                                           Total Hours :                 68.40




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Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        9.30            1,755.00              16,321.50
Giglio, Cindi                                          9.70            1,495.00              14,501.50
Hall, Jerry                                            1.10            1,425.00               1,567.50
Roitman, Marc                                         16.50            1,270.00              20,955.00
Barnowski, Dan                                        22.90            1,245.00              28,510.50
Thompson, Grace                                        0.30              895.00                 268.50
Miranda, Loredana                                      8.30              710.00               5,893.00
Siena, Marie                                           0.30              410.00                 123.00

                                     Sub Total :      68.40   Sub Total :                    88,140.50
                                     Total Hours :    68.40   Total Fees              88,140.50   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 19, 2023
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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                                                                                                                                                    Invoice Due Date:                          Payable Upon
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through May 31, 2023



Fees Total.............................................................................................................................................................                 84,552.00
Total Amount Due ..............................................................................................................................................                         84,552.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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Invoice Due Date:   Payable Upon Receipt


RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper         Description                                                                             Hours
05/03/2023     Giglio, Cindi      Correspond regarding Paul Capital stipulation (.20)                                          0.20
05/03/2023     Reisman, Steven    Attend to matters regarding plan process, voting and strategy related to                     1.80
                                  confirmation (1.80)
05/04/2023     Roitman, Marc      Review of research regarding potential legal objections to confirmation                      0.80
                                  (.80)
05/08/2023     Giglio, Cindi      Call with L. Chiapetta and M. Roitman (.50); call regarding Wind Down                        1.00
                                  trust Agreement with M. Roitman and J. Hall (.50)
05/08/2023     Barnowski, Dan     Review wind down trust agreement (.40)                                                       0.40
05/08/2023     Hall, Jerry        Call with C. Giglio and M. Roitman regarding wind down trust agreement                       2.10
                                  (.50); revise wind down trust agreement (1.60)
05/08/2023     Roitman, Marc      Attend a portion of Katten team regarding Wind Down Trust Agreement                          0.40
                                  and Litigation Trust Agreement (.40)
05/09/2023     Thompson, Grace Review litigation and wind-down trust precedents (.50); related                                 0.60
                               correspondence with J. Hall (.10)
05/09/2023     Hall, Jerry     Revise wind down trust agreement (2.00); email among M. Comerford and                           3.10
                               others regarding wind down trust agreement (.30); review litigation trust
                               agreement (.80)
05/09/2023     Comerford,         Review wind down trust agreement (1.00); review comments from T.                             1.60
               Michael            Hatcher (.20); incorporate revisions to same (.40)
05/09/2023     Roitman, Marc      Review comments from tax team regarding Wind Down Trust Agreement                            0.60
                                  (.40); emails with Katten regarding same (.20)
05/09/2023     Reisman, Steven    Attend to matters regarding trust documentation, wind down agreement,                        1.60
                                  litigation trust and review and comment on draft of same (1.60)
05/10/2023     Barnowski, Dan     Revise privilege language in wind down trust agreement (.50); analysis of                    0.90
                                  additional revisions to wind down trust agreement (.40)
05/10/2023     Hall, Jerry        Revise wind down trust agreement (.50); email among M. Roitman, T.                           0.90
                                  Kiriakos and others regarding wind down trust agreement (.40)
05/10/2023     Comerford,         Review wind down trust agreement as revised (.70); review litigation trust                   1.10
               Michael            document with Mayer Brown revisions (.40)
05/10/2023     Roitman, Marc      Review proposed revisions to Wind Down Trust Agreement (.70); emails                         1.00
                                  with Katten regarding same (.30)
05/10/2023     Reisman, Steven    Continued work on matters regarding wind down trust, litigation trust and                    0.90
                                  review of Mayer Brown comments to same (.90)
05/11/2023     Barnowski, Dan     Analysis of revisions to draft litigation trust agreement (1.10); analysis of                1.70
                                  revisions to wind down trust agreement (.60)
05/11/2023     Hall, Jerry        Review revised litigation trust agreement (.50); review revised wind down                    1.40
                                  trust agreement (.70); email among M. Comerford and others regarding
                                  wind down trust agreement (.20)
05/11/2023     Comerford,         Review litigation trust agreement for GWG (1.60); email J. Hall regarding                    1.90
               Michael            changes and open issues (.30)
05/11/2023     Roitman, Marc      Review Wind Down Trust Agreement (.50); emails with Katten regarding                         0.70
                                  same (.20)
05/11/2023     Reisman, Steven    Follow up regarding matters related to litigation trust agreement, wind                      0.60
                                  down trust agreement and update on comments (.60)




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Date           Timekeeper         Description                                                                           Hours
05/12/2023     Barnowski, Dan     Communications with Katten team concerning litigation trust agreement                      0.40
                                  choice of law issue (.20); attention to research concerning Texas fiduciary
                                  duty law (.20)
05/12/2023     Hall, Jerry        Revise litigation trust agreement (.40); revise wind down trust agreement                  0.90
                                  (.30); email with T. Kiriakos regarding trust agreements (.20)
05/12/2023     Miranda, Loredana Review of case law on trustee's fiduciary duties under Texas law (1.30)                     1.30
05/12/2023     Roitman, Marc      Review of Litigation Trust Agreement (.60)                                                 0.60
05/12/2023     Reisman, Steven    Confer with T. Horton and J. Stein regarding matters related to GWG,                       0.60
                                  trust agreements, wind down, plan and closing (.60)
05/14/2023     Hall, Jerry        Review revised litigation trust agreement (.60)                                            0.60
05/15/2023     Hall, Jerry        Review revised litigation trust agreement (.30)                                            0.30
05/15/2023     Miranda, Loredana Draft schedule of Retained Causes of Action for Plan (2.20)                                 2.20
05/15/2023     Roitman, Marc      Call with Akin and Mayer Brown regarding Litigation Trust Agreement                        1.10
                                  (.60); review proposed edits to Litigation Trust Agreement in connection
                                  with same (.50)
05/16/2023     Miranda, Loredana Review revised draft of Schedule of Retained Causes of Action (.20);                        0.30
                                 emails with Katten team regarding same (.10)
05/16/2023     Roitman, Marc     Revise draft Schedule of Retained Causes of Action in connection with                       1.80
                                 Plan Supplement (1.80)
05/17/2023     Roitman, Marc     Further revise Retained Causes of Action Schedule in connection with                        0.50
                                 Plan Supplement (.30); emails with Investigations Committee regarding
                                 same (.20)
05/18/2023     Roitman, Marc     Call with J. Stein regarding chapter 11 plan and specific provisions therein                0.50
                                 (.30); follow up emails with J. Stein regarding same (.20)
05/18/2023     Reisman, Steven Update regarding matters related to plan and general status of matters                        0.20
                                 related to confirmation (.20)
05/19/2023     Barnowski, Dan    Analysis of litigation trust agreement draft and suggested edits (1.20)                     1.20
05/20/2023     Hall, Jerry        Review revised litigation trust agreement (.30)                                            0.30
05/22/2023     Giglio, Cindi      Call regarding trust with Okin and Akin (.80)                                              0.80
05/22/2023     Barnowski, Dan     Attend a portion of call with counsel for Debtors, Bondholder Committee                    0.70
                                  and LBM concerning litigation trust agreement (.70)
05/22/2023     Roitman, Marc      Revise Retained Causes of Action schedule plan supplement (.50); emails                    1.00
                                  with Co-Proponents in connection with same (.50)
05/22/2023     Reisman, Steven    Participate in discussion with L Bond Management and L Bond                                1.70
                                  Committee regarding litigation trust (.80); follow up regarding matters
                                  related to same as well as review of underlying litigation trust
                                  documentation and note comments (.90)
05/23/2023     Barnowski, Dan     Analysis of further revised wind down trust agreement and issues raised                    0.80
                                  by revisions (.80)
05/23/2023     Miranda, Loredana Revise Schedule of retained causes of action with comments by Akin (.20)                    0.20
05/23/2023     Roitman, Marc       Review Wind Down Trust Agreement (.80); confer with S. Reisman                            1.70
                                   regarding same (.20); further revise Retained Causes of Action schedule
                                   plan supplement (.30); emails with Co-Proponents in connection with
                                   same (.40)
05/23/2023     Reisman, Steven    Coordination of matters regarding retained causes of action plan                           1.20
                                  supplement and filing of same (.30); confer with M. Roitman regarding
                                  wind down trust agreement (.20); review and comment on wind down trust
                                  agreement and litigation trust agreement and follow up regarding same
                                  (.70)


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Date           Timekeeper         Description                                                                           Hours
05/24/2023     Barnowski, Dan     Attend teleconference with Mayer Brown and Akin teams concerning                           2.50
                                  revisions to Wind Down Trust Agreement (.70); analysis of Judge Jones’
                                  proposed revisions to litigation trust agreement (.50); analysis of further
                                  revised litigation trust agreement (.50); attend teleconference with Mayer
                                  Brown team concerning proposed revisions to litigation trust agreement
                                  (.30); analysis of LBM proposed changes to wind down trust agreement
                                  (.50)
05/24/2023     Thompson, Grace Revise letter to L Bond Management (.40)                                                      0.40
05/24/2023     Miranda, Loredana Exchange emails with Mayer Brown and Katten regarding Schedule of                           0.20
                                 Retained Causes of Action (.20)
05/24/2023     Roitman, Marc     Call with Mayer Brown and Akin regarding Litigation Trust and Wind                          4.70
                                 Down Trust Agreements (.70); call with J. Hall regarding trust agreements
                                 (.80); follow up call with J. Rubin regarding same (.20); emails with
                                 Katten regarding same (.40); further revise Retained Causes of Action
                                 schedule plan supplement (.60); emails with Co-Proponents in connection
                                 with same (.30); emails with Co-Proponents regarding potential
                                 modifications to Trust Agreements (.60); review further revised draft of
                                 Litigation Trust Agreement (.50); review further revised draft of Wind
                                 Down Trust Agreement (.60)
05/24/2023     Reisman, Steven Update regarding matters related to plan confirmation and comments to                         0.80
                                 trust documentation (.80)
05/25/2023     Giglio, Cindi      Correspondence regarding trust documents (.30)                                             0.30
05/25/2023     Barnowski, Dan     Communications with Mayer Brown team concerning LBM filing (.30)                           0.30
05/25/2023     Hall, Jerry        Call with M. Roitman regarding trust agreements (.80)                                      0.80
05/26/2023     Giglio, Cindi      Review L Bond Committee motion and related correspondence (.70)                            0.70
05/26/2023     Barnowski, Dan     Analysis of draft emergency motion from LBM (.60); communications                          0.90
                                  with Katten team about responding to LBM motion (.30)
05/26/2023     Roitman, Marc      Review LBM motion regarding Trust Agreements and Voting Deadline                           1.20
                                  (.50); emails with Katten and Mayer Brown regarding same (.30); review
                                  request from Beneficient regarding voting deadline and Plan Supplemental
                                  (.20); emails with Mayer Brown and Katten regarding same (.20)
05/27/2023     Barnowski, Dan     Analysis of LBM emergency motion and next steps (.50)                                      0.50
05/30/2023     Barnowski, Dan     Communications with Bondholder Committee counsel concerning status                         0.90
                                  of litigation trust agreement negotiation (.50); teleconference with Mayer
                                  Brown team concerning LBM motion (.40)
05/30/2023     Roitman, Marc      Call with L. Kweskin of Mayer Brown regarding Plan and related matters                     0.90
                                  (.40); emails with Mayer Brown regarding certain provisions of Plan as
                                  pertains to Independent Directors (.50)
05/31/2023     Giglio, Cindi      Discussions and correspondence regarding plan confirmation (.50)                           0.50
05/31/2023     Reisman, Steven    Update regarding matters related to plan confirmation and litigation trust                 1.10
                                  agreement (1.10)
                                                                                            Total Hours :                62.90




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TIME SUMMARY
United States
Name                                                  Hours                  Rate             Amount
Reisman, Steven                                        10.50            1,755.00              18,427.50
Giglio, Cindi                                           3.50            1,495.00               5,232.50
Hall, Jerry                                            10.40            1,425.00              14,820.00
Comerford, Michael                                      4.60            1,310.00               6,026.00
Roitman, Marc                                          17.50            1,270.00              22,225.00
Barnowski, Dan                                         11.20            1,245.00              13,944.00
Thompson, Grace                                         1.00              895.00                 895.00
Miranda, Loredana                                       4.20              710.00               2,982.00

                                      Sub Total :      62.90   Sub Total :                    84,552.00
                                      Total Hours :    62.90   Total Fees              84,552.00   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 19, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
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Summary


RE: Expenses

For Professional Services Rendered Through May 31, 2023


Disbursements .....................................................................................................................................................                       8,533.04
Total Amount Due ..............................................................................................................................................                           8,533.04       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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RE: Expenses

DISBURSEMENTS
Description                   Cost Description                                                             Amount

Airfare                       Delta Airlines flight home from Houston after client hearing--               3,961.44
                              Date Incurred: 03/28/2023. United Airlines flight to Houston
                              for client hearing--Date Incurred: 03/28/2023. United Airlines
                              flight home from Houston for client hearing--Date Incurred:
                              03/28/2023. Attend Hearing in Houston, TX-Airfare to/from
                              Houston, TX-Date Incurred: 04/12/2023. United Airlines
                              charge for a changed return flight from a GWG business trip in
                              Houston, TX.--Date Incurred: 04/19/2023. Tzvell charge on
                              roundtrip flights for a business trip to Houston, TX.--Date
                              Incurred: 04/12/2023.
Court Costs                   Pacer Court Costs 4/01/2023-4/30/2023 NYC.                                     52.00



Out of Town Travel            Attend Hearing in Houston, TX-Cab from Airport to Home-                      3,458.91
                              Date Incurred: 04/20/2023. Attend Hearing in Houston, TX-
                              Cab from Airport to Hotel in Houston, TX-Date Incurred:
                              04/19/2023. Attend Hearing in Houston, TX-Cab from home to
                              airport-Date Incurred: 04/19/2023. Uber service charge
                              transportation to the airport for a GWG business trip in
                              Houston, TX.--Date Incurred: 04/19/2023. Uber service charge
                              transportation home before a GWG business trip to Houston,
                              TX.--Date Incurred: 04/18/2023. Uber service charge
                              transportation to the airport after a GWG business trip in
                              Houston, TX. Plush an additional $20.00 cash tip.--Da te
                              Incurred: 04/19/2023. American Airline charge on WiFi to
                              work on a client related matters.--Date Incurred: 04/28/2023.
                              Travel from Mediation--Date Incurred: 04/17/2023. Travel to
                              Mediation--Date Incurred: 04/17/2023. GWG Holdings
                              Meetings/Hearings-Lodging-Date Incurred: 04/18/2023. GWG
                              Holdings Meetings/Hearings-Lodging-Date Incurred:
                              04/17/2023. GWG Holdings Meetings/Hearings-Lodging-Date
                              Incurred: 04/16/2023. GWG Holdings Meetings/Hearings-
                              Transportation from Hearing office to airport-Date Incurred:
                              04/18/2023. GWG Holdings Meetings/Hearings-Transportation
                              from airport to hotel (Houston)-Date Incurred: 04/18/2023.
                              GWG Holdings Meetings/Hearings-Transportation from airport
                              to hotel (New York)-Date Incurred: 04/16/2023. Taxi / Uber
                              Car Service Charge for Driver who never came for pick up.--
                              Date Incurred: 03/28/2023. Taxi / Uber Car Service Charge to
                              the airport from home.--Date Incurred: 03/28/2023. Wi-Fi
                              Onboard charge while working on client matters--Date
                              Incurred: 03/28/2023. Wi-Fi Onboard charge while working on
                              client matters--Date Incurred: 03/28/2023. Wi-Fi Onboard
                              charge while working on client matters--Date Incurred:
                              03/28/2023. Taxi / Uber Car Service Charge to the airport from
                              court.--Date Incurred: 03/28/2023. Taxi / Uber Car Service
                              Charge home from the airport--Date Incurred: 03/28/2023. JW
                              Marriott one day hotel charge--Date Incurred: 03/28/2023.
Data/Library Research         Westlaw Legal Research: THOMPSON,GRACE on 5/4/2023.                          1,060.69
Services                      Westlaw Legal Research: THOMPSON,GRACE on 5/13/2023.
                              Westlaw Legal Research: THOMPSON,GRACE on 5/15/2023.


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Description                  Cost Description                                                         Amount
                             Westlaw Legal Research: THOMPSON,GRACE on 5/3/2023.
                             Westlaw Legal Research: THOMPSON,GRACE on 5/1/2023.
                             Westlaw Legal Research: MIRANDA,LOREDANA on
                             5/12/2023. Westlaw Legal Research: ZOBEIDEH,ALEXIS on
                             5/1/2023.
                                                                   Total Disbursements:       8,533.04      USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 20, 2023
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                                                                                                                                                                                              www.katten.com

Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Retention and Fee Applications

For Professional Services Rendered Through June 20, 2023



Fees Total.............................................................................................................................................................                   5,929.00
Total Amount Due ..............................................................................................................................................                           5,929.00       USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Matter:             397894.00002
Invoice #:          9020145103                                                                           August 20, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Retention and Fee Applications

TIME DETAILS
Date           Timekeeper            Description                                                                      Hours
06/01/2023     Siena, Marie          Revise February billing statements to incorporate L. Miranda comments                 2.40
                                     (2.40)
06/02/2023     Siena, Marie          Revise materials for February fee statement to incorporate comments from              2.30
                                     L. Miranda (2.30)
06/04/2023     Siena, Marie          Review and revise materials for February fee statements (1.10)                        1.10
06/05/2023     Siena, Marie      Review February billing statements (.50); email G. Thompson regarding                     0.70
                                 same (.20)
06/12/2023     Miranda, Loredana Review February billing statements for confidentiality and to align with                  0.90
                                 U.S. Trustee's guidelines (.90)
06/14/2023     Thompson, Grace Review February billing statements for privileged and confidential                          1.30
                                 information (1.30)
06/15/2023     Thompson, Grace Draft correspondence to Katten team regarding fee applications (.30)                        0.30
06/16/2023     Thompson, Grace Discussions with L. Miranda regarding final fee application (.20)                           0.20
06/16/2023     Siena, Marie    Revise materials for February fee statement to incorporate G. Thompson                      1.60
                               comments (.90); email with C. Giglio regarding February fee statement
                               materials (.30); review materials for February fee statement for
                               compliance with UST guidelines (.40)
06/19/2023     Thompson, Grace Review Plan treatment of professional fee escrow, wind down cash flow,                      0.40
                               and related correspondence with Katten (.40)
                                                                                             Total Hours :             11.20




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TIME SUMMARY
United States
Name                                                 Hours                   Rate              Amount
Thompson, Grace                                        2.20                 895.00              1,969.00
Miranda, Loredana                                      0.90                 710.00                639.00
Siena, Marie                                           8.10                 410.00              3,321.00

                                     Sub Total :      11.20   Sub Total :                       5,929.00
                                     Total Hours :    11.20   Total Fees                 5,929.00   USD




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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Contested Matters, Adversary Proceedings

For Professional Services Rendered Through June 20, 2023



Fees Total.............................................................................................................................................................                 12,998.50
Total Amount Due ..............................................................................................................................................                         12,998.50        USD




Payment can be remitted directly to our account:




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Invoice Due Date:   Payable Upon Receipt


RE: Contested Matters, Adversary Proceedings

TIME DETAILS
Date           Timekeeper         Description                                                                           Hours
06/01/2023     Barnowski, Dan     Analysis of issues concerning estimation motion (.20)                                      0.20
06/02/2023     Giglio, Cindi      Attend to issues regarding estimation motion (.40)                                         0.40
06/03/2023     Barnowski, Dan     Teleconference with C. Kelley about proposal to be made to Blue Owl                        0.90
                                  counsel (.20); teleconference with Blue Owl counsel and related follow-up
                                  on same (.30); analysis of strategy issues pertinent to Blue Owl issue (.40)
06/04/2023     Barnowski, Dan     Analysis and follow-up on Blue Owl response to proposal (.30);                             1.20
                                  teleconference with C. Kelley about Blue Owl response (.20); analysis of
                                  next steps with respect to Blue Owl situation (.70)
06/05/2023     Giglio, Cindi      Call with team regarding Blue Owl (.70); review edits to proposal and                      1.10
                                  related correspondence (.40)
06/05/2023     Barnowski, Dan     Analysis of issues related to treatment of Blue Owl claim (.60);                           2.10
                                  teleconference with C. Giglio and M. Roitman concerning Blue Owl offer
                                  (.70); prepare and revise response to Blue Owl counsel (.60);
                                  teleconference with C. Kelley concerning response to Blue Owl (.20)
06/05/2023     Roitman, Marc      Review settlement counter to Blue Owl (.30); emails with Katten                            1.20
                                  regarding same (.20); call with Katten team call regarding case matters and
                                  Blue Owl strategy (.70)
06/07/2023     Giglio, Cindi      Call with Mayer Brown regarding Blue Owl (.50)                                             0.50
06/07/2023     Barnowski, Dan     Teleconferences with T. Kiriakos and M. Roitman concerning Fifth                           0.30
                                  Seasons update (.30)
06/07/2023     Roitman, Marc      Call with Mayer Brown regarding Blue Owl dispute and related matters                       0.50
                                  (.50)
06/07/2023     Reisman, Steven    Attend to matters regarding Blue Owl dispute (.30); emails with Katten                     0.50
                                  regarding Mayer Brown update (.20)
06/10/2023     Barnowski, Dan     Teleconference with Mayer Brown and PJT teams and J. Stein concerning                      0.50
                                  Blue Owl negotiations (.50)
06/11/2023     Barnowski, Dan     Analysis of reports on status of Blue Owl negotiations (.20)                               0.20
06/13/2023     Barnowski, Dan     Analysis of Blue Owl settlement (.20)                                                      0.20
                                                                                            Total Hours :                    9.80




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        0.50            1,755.00                 877.50
Giglio, Cindi                                          2.00            1,495.00               2,990.00
Roitman, Marc                                          1.70            1,270.00               2,159.00
Barnowski, Dan                                         5.60            1,245.00               6,972.00

                                     Sub Total :       9.80   Sub Total :                    12,998.50
                                     Total Hours :     9.80   Total Fees              12,998.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Business Operations and Governance

For Professional Services Rendered Through June 20, 2023



Fees Total.............................................................................................................................................................                 78,463.50
Total Amount Due ..............................................................................................................................................                         78,463.50        USD




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RE: Business Operations and Governance

TIME DETAILS
Date           Timekeeper          Description                                                                          Hours
06/01/2023     Giglio, Cindi       Attend Mayer Brown call (.90); review Special Committee agenda (.10);                     2.20
                                   attend call with Special Committee (1.20)
06/01/2023     Barnowski, Dan      Weekly call with Mayer Brown concerning status (.90); analysis of issues                  1.90
                                   concerning plan vote (.20); communications with team concerning next
                                   steps and strategy issues (.50); call with M. Roitman regarding SPAC (.30)
06/01/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     3.50
                                 (.60); attend call with Mayer Brown regarding case status and work
                                 streams (.90); prepare summary of call regarding same (.40); revise agenda
                                 for Special Committee meeting (.10); follow-up with Katten team
                                 regarding same (.10); prepare email to clients with agenda and materials
                                 for meetings (.10); attend Katten pre-call (.10); attend call with the Special
                                 Committee (1.20)
06/01/2023     Roitman, Marc     Call with Mayer Brown regarding case updates and strategy matters (.90);                    3.90
                                 Katten pre-call regarding same (.10); call with the Special Committee
                                 (1.20); prepare in connection with same (.50); revise response letter to
                                 Okin Adams regarding voting on Ben De-SPAC transaction (.60); confer
                                 with S. Reisman regarding same (.30); call with D. Barnowski regarding
                                 same (.30)
06/01/2023     Reisman, Steven     Follow up regarding response to Okin Adams regarding voting on Ben                        2.40
                                   transaction (.50); discussions with M. Roitman regarding same (.30);
                                   discussions with Katten team members regarding same as well as
                                   discussions with T. Horton and J. Stein (.40); participate in Special
                                   Committee update call (1.20)
06/02/2023     Barnowski, Dan      Strategy call with Mayer Brown (.70)                                                      0.70
06/02/2023     Miranda, Loredana Draft minutes to 6/1 Special Committee meeting (1.50); incorporate                          1.80
                                 comments by D. Barnowski to Special Committee 6/1 minutes (.20);
                                 review case docket (.10)
06/02/2023     Roitman, Marc     Call with Mayer Brown regarding 363 motion for authorization to sell                        1.70
                                 shares (.70); preliminary review of draft motion in connection with same
                                 (.30); emails with Katten regarding same (.20); review draft limited
                                 consent in connection with same (.30); emails with Katten regarding same
                                 (.20)
06/02/2023     Reisman, Steven Update regarding matters related to Ben transaction, issues with respect to                   1.10
                                 sale of shares (.70); emails with Katten team members regarding same
                                 (.40)
06/03/2023     Giglio, Cindi       Edits to Ben sale motion and related emails (.80)                                         0.80
06/03/2023     Miranda, Loredana Review and revise Motion to Sell Ben Stock (1.10); incorporate comments                     2.00
                                 by C. Giglio regarding same (.90)
06/03/2023     Roitman, Marc     Further revise draft motion regarding authorization to sell Ben stock (.60);                1.10
                                 emails with Katten and Mayer Brown regarding same (.30); emails with
                                 Katten regarding Obra waiver in connection with same (.20)
06/05/2023     Giglio, Cindi       Attend Polly call (.90)                                                                   0.90
06/05/2023     Barnowski, Dan      Project Polly call (.90)                                                                  0.90
06/05/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                     2.00
                                 (.60); email exchange with Independent Directors regarding Special
                                 Committee meetings (.30); attend to issues regarding same (.20); attend
                                 Project Polly call (.90)



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Date           Timekeeper         Description                                                                            Hours
06/05/2023     Roitman, Marc      Attend Project Polly call (.90); revise letter to LBM regarding matters                     2.00
                                  related to vote on Ben De-SPAC transaction (.80); emails with Katten
                                  regarding same (.30)
06/05/2023     Reisman, Steven    Participate in Project Polly update call (.70) (only participated in portion                0.70
                                  of the call)
06/06/2023     Giglio, Cindi      Attend LBC call (1.00)                                                                      1.00
06/06/2023     Giglio, Cindi      Review correspondence to UST (.10); pre-call for LBC call (.30)                             0.40
06/06/2023     Barnowski, Dan     Weekly call with Mayer Brown and Bondholder Committee counsel (1.00)                        1.00
06/06/2023     Thompson, Grace Attend LBC/Debtors call (1.00); draft notes from same (.80)                                    1.80
06/06/2023     Miranda, Loredana Draft agenda for Special Committee meeting (.20); attend Katten pre-call                     1.20
                                 for call with LBC/Debtors (.30); email exchange with Independent
                                 Directors regarding Special Committee meetings (.40); prepare summary
                                 of docket entries relevant to Special Committee matters (.30)
06/06/2023     Roitman, Marc     Call with Debtors’ and Bondholder Committee’s Professionals (1.00);                          1.50
                                 Katten pre-call regarding same (.30); revise agenda for Special Committee
                                 meeting (.20)
06/07/2023     Giglio, Cindi      Attend Special Committee call (.30)                                                         0.30
06/07/2023     Barnowski, Dan     Attend Special Committee meeting (.30); follow-up report to team on                         1.10
                                  status of 3018 motion (.20); prep for 3018 motion (.60)
06/07/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      1.10
                                 (.20); draft meeting minutes for 6/7 Special Committee meeting (.90)
06/07/2023     Roitman, Marc     Attend meeting of the Special Committee (.30); prepare in connection with                    0.60
                                 same (.30)
06/07/2023     Reisman, Steven    Participate in Special Committee meeting (.30)                                              0.30
06/08/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      0.20
                                 (.20)
06/09/2023     Giglio, Cindi      Attend Katten status call (.50)                                                             0.50
06/09/2023     Barnowski, Dan     Katten team call concerning status and next steps (.50)                                     0.50
06/09/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                      1.20
                                 (.40); attend Katten call regarding status update (.50); prepare email to
                                 clients regarding meeting minutes (.30)
06/09/2023     Roitman, Marc     Katten team call regarding case matters and strategy (.50)                                   0.50
06/12/2023     Giglio, Cindi      Attend Polly call (.70); attention to issues regarding diminution claim (.80)               1.50
06/12/2023     Barnowski, Dan     Attend Project Polly call (.70)                                                             0.70
06/12/2023     Thompson, Grace Attend Project Polly call (.70); draft notes from same (.30)                                   1.00
06/12/2023     Miranda, Loredana Circulate docket entries relevant to Special Committee matters (.40);                        0.60
                                 review of Veristar (relativity vendor) invoices (.20)
06/12/2023     Roitman, Marc     Call with Debtors' management and professionals regarding case matters                       0.70
                                 (.70)
06/13/2023     Giglio, Cindi      Follow up regarding diminution (.90); call with L. Chiapetta (.20); emails                  3.20
                                  with Katten team regarding Ben (.70); attend Katten call regarding status
                                  update (.50); review and email regarding declaration (.90)
06/13/2023     Barnowski, Dan     Katten call regarding status update (.50); teleconference with Bondholder                   1.10
                                  Committee counsel and Mayer Brown about next steps (.60)
06/13/2023     Thompson, Grace Call with Katten team (.50); call with LBC and Debtor professionals (.60);                     1.50
                               draft notes from same (.40)




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Date           Timekeeper         Description                                                                         Hours
06/13/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   1.30
                                 (various iterations) (.80); attend Katten call regarding status update (.50)
06/13/2023     Roitman, Marc     Katten call regarding case matters and strategy (.50); call with the                      1.90
                                 Bondholder Committee’s and Debtors’ professionals regarding same (.60);
                                 emails with Katten and Mayer Brown regarding motion to sell Beneficient
                                 shares (.50); call with T. Hatcher regarding tax matters in connection with
                                 post-confirmation monetization of Ben shares (.30)
06/13/2023     Reisman, Steven Update regarding matters related to discussions with bondholders                            1.00
                                 committee and debtor professionals regarding matters related to
                                 Beneficient and motion to sell Ben shares (.70); review documentation in
                                 connection with motion to sell Beneficient shares and follow up (.30)
06/14/2023     Miranda, Loredana Prepare summary of docket entries relevant to confirmation hearing and                    1.20
                                 Special Committee matters (.90); prepare email to Independent Directors
                                 regarding Ad Hoc Committee's Statement (.30)
06/14/2023     Roitman, Marc     Call with Mayer Brown and counsel to Beneficient regarding securities                     0.60
                                 law matters in connection with sale of shares (.30); follow up call with T.
                                 Kirby regarding same (.30)
06/14/2023     Reisman, Steven Discussion with Mayer Brown regarding securities laws matters related to                    0.60
                                 sale of Beneficient shares (.30); follow up with T. Horton and J. Stein
                                 regarding same (.30)
06/15/2023     Miranda, Loredana Prepare email to clients regarding Reorg Research article (.50)                           0.50
06/16/2023     Barnowski, Dan     Attend a portion of Katten call concerning status and next steps (.40);                  1.40
                                  teleconference with Ben and Debtor counsel concerning Ben shares issue
                                  (.50); teleconference with Bondholder Committee counsel and Mayer
                                  Brown concerning Ben share sale issue (.50)
06/16/2023     Miranda, Loredana Attend GWG Status Call (.50); review docket for updates (.10); prepare                    0.70
                                 summary of relevant docket updates (.10)
06/16/2023     Roitman, Marc     Call with Mayer Brown and Akin regarding securities law matters (.50);                    1.20
                                 review materials in connection with same (.20); call with Katten team
                                 regarding case matters (.50)
06/20/2023     Barnowski, Dan    Call with Debtors' management and professionals (.30); follow-up on                       0.40
                                 issues regarding same (.10)
06/20/2023     Thompson, Grace Attend Project Polly call (.30); draft notes from same (.20)                                0.50
06/20/2023     Miranda, Loredana Prepare summary of docket entries relevant to Special Committee matters                   0.50
                                 (.50)
06/20/2023     Roitman, Marc     Call with Debtors' management and professionals (.30)                                     0.30
06/20/2023     Reisman, Steven    Call with Debtors' management and professionals (.30); correspondence                    1.30
                                  with Mayer Brown and Akin regarding closing mechanics and sale of
                                  stock motion (.70); follow-up with Katten on issues regarding same (.30)
                                                                                           Total Hours :               66.50




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Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        7.40            1,755.00              12,987.00
Giglio, Cindi                                         10.80            1,495.00              16,146.00
Roitman, Marc                                         16.00            1,270.00              20,320.00
Barnowski, Dan                                         9.70            1,245.00              12,076.50
Thompson, Grace                                        4.80              895.00               4,296.00
Miranda, Loredana                                     17.80              710.00              12,638.00

                                     Sub Total :      66.50   Sub Total :                    78,463.50
                                     Total Hours :    66.50   Total Fees              78,463.50   USD




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                                                                                                                                                                                     50 Rockefeller Plaza
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                                                                                                                                                                                              Tel: 212-940-8800
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Case Administration

For Professional Services Rendered Through June 20, 2023



Fees Total.............................................................................................................................................................                       537.00
Total Amount Due ..............................................................................................................................................                               537.00     USD




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Matter:             397894.00011
Invoice #:          9020145101                                                                        August 20, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Case Administration

TIME DETAILS
Date           Timekeeper         Description                                                                      Hours
06/15/2023     Thompson, Grace Review Province April MFS for privilege and confidential information                     0.60
                               (.60)
                                                                                      Total Hours :                     0.60




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TIME SUMMARY
United States
Name                                                 Hours                   Rate              Amount
Thompson, Grace                                        0.60                 895.00                  537.00

                                     Sub Total :       0.60   Sub Total :                           537.00
                                     Total Hours :     0.60   Total Fees                   537.00    USD




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August 20, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Claims Administration and Objections

For Professional Services Rendered Through June 20, 2023



Fees Total.............................................................................................................................................................                 39,113.50
Total Amount Due ..............................................................................................................................................                         39,113.50        USD




Payment can be remitted directly to our account:




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Invoice Due Date:   Payable Upon Receipt


RE: Claims Administration and Objections

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
06/05/2023     Roitman, Marc      Emails with Jackson Walker and Katten regarding 3018 motion (.20)                        0.20
06/06/2023     Giglio, Cindi      Emails regarding preparation for 3018 Motion (.30); Katten call regarding                0.90
                                  3018 argument (.60)
06/06/2023     Barnowski, Dan     Katten team call concerning 3018 motion (.60)                                            0.60
06/06/2023     Thompson, Grace Call with Katten team regarding 3018 motion (.60)                                           0.60
06/06/2023     Miranda, Loredana Attend Katten call regarding 3018(a) Motion (.60)                                         0.60
06/06/2023     Roitman, Marc      Call with Katten regarding preparation on 3018 motion (.60)                              0.60
06/08/2023     Barnowski, Dan     Analysis of motion seeking approval to sell Ben shares (.80)                             0.80
06/08/2023     Barnowski, Dan     Several teleconferences with Ben counsel concerning 3018 motion (.80)                    0.80
06/08/2023     Thompson, Grace Discussions and correspondence regarding hearing on 3018 motion, and                        0.30
                               preparation for same (.30)
06/09/2023     Giglio, Cindi      Follow up on 3018 motion (.20); emails regarding same and follow up on                   2.70
                                  witness/exhibits list (.40); attention to issues regarding 3018 resolution
                                  stipulation (2.10)
06/09/2023     Barnowski, Dan     Communications with Ben and Heppner counsel, S. Leavitt and J. Tecci,                    4.50
                                  concerning Ben position on plan and 3018 motion and negotiations
                                  concerning same (2.20); propose revisions to 3018 order (.60);
                                  teleconference with D. Moses concerning 3018 filing (.20); several
                                  communications with LBC counsel concerning revisions to draft order
                                  (.50); emails to J. Stein and T. Horton describing proposed resolution to
                                  3018 motion (.50); communications with Katten team about potential
                                  resolutions of 3018 motion (.50)
06/09/2023     Reisman, Steven    Participate in calls with T. Horton and J. Stein regarding 3018 motion                   1.30
                                  (.50); review proposed 3018 order and provide comments to same (.40);
                                  emails with Katten regarding same (.40)
06/10/2023     Giglio, Cindi      Review of 3018 draft order and related comments (.70)                                    0.70
06/10/2023     Barnowski, Dan     Several communications with Ben counsel to negotiate resolution of 3018                  1.50
                                  motion (.70); communications with Katten team concerning 3018
                                  negotiations (.30); assist in preparation of proposed order on 3018 motion
                                  (.30); confer with S. Reisman regarding same (.20)
06/10/2023     Miranda, Loredana Draft stipulation and order regarding 3018(a) motion (1.70); call with M.                 2.10
                                 Roitman regarding same (.10); email exchange with Katten regarding
                                 same (.20); revise stipulation and order regarding 3018(a) with comments
                                 from S. Reisman (.10)
06/10/2023     Roitman, Marc     Revise stipulation regarding resolution of 3018 motion and related matters                2.20
                                 (.80): call with L. Miranda regarding same (.20); emails with Katten
                                 regarding same (.40); draft email to Special Committee regarding same
                                 (.50); emails with Mayer Brown regarding same (.30)
06/10/2023     Reisman, Steven    Confer with D. Barnowski regarding 3018 motion (.20); continue work on                   0.80
                                  draft stipulation and discussions with M. Roitman regarding Ben
                                  stipulation (.60)
06/11/2023     Giglio, Cindi      Correspond on Ben comments to stipulation (.60)                                          0.60
06/11/2023     Barnowski, Dan     Several communications with Ben counsel about potential resolution of                    1.70
                                  3018 motion and objection (.70); revise draft stipulation and order on Ben
                                  objection (.50); teleconference with M. Roitman about revisions to
                                  stipulation and order on Ben objection (.50)


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Date           Timekeeper         Description                                                                         Hours
06/11/2023     Roitman, Marc      Further revise stipulation regarding 3018 motion (.60); call with D.                     1.40
                                  Barnowski regarding same (.50); emails with Katten and Mayer Brown
                                  regarding same (.30)
06/12/2023     Giglio, Cindi      Review of Ben stipulation (.40); correspondence related to same (.20); call              1.40
                                  with D. Barnowski regarding 3018 stipulation (.40); call with Bondholder
                                  Committee regarding 3018 stipulation (.40)
06/12/2023     Barnowski, Dan     Negotiations with Ben concerning 3018 motion (1.50); revisions to 3018                   3.50
                                  stipulation and order (.50); communications with Katten team about 3018
                                  stipulation and related issues (.70); call with C. Giglio regarding 3018
                                  stipulation (.40); teleconference with Bondholders Committee counsel
                                  concerning 3018 stipulation and order (.40)
06/12/2023     Roitman, Marc      Call with C. Giglio and D. Barnowski regarding resolution of 3018 motion                 0.80
                                  (.40); call with Katten and Akin regarding plan confirmation matters (.40)
                                                                                           Total Hours :               30.60




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Matter:             397894.00012
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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        2.10            1,755.00               3,685.50
Giglio, Cindi                                          6.30            1,495.00               9,418.50
Roitman, Marc                                          5.20            1,270.00               6,604.00
Barnowski, Dan                                        13.40            1,245.00              16,683.00
Thompson, Grace                                        0.90              895.00                 805.50
Miranda, Loredana                                      2.70              710.00               1,917.00

                                     Sub Total :      30.60   Sub Total :                    39,113.50
                                     Total Hours :    30.60   Total Fees              39,113.50   USD




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David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Hearings

For Professional Services Rendered Through June 20, 2023



Fees Total............................................................................................................................................................. 108,033.00
Total Amount Due .............................................................................................................................................. 108,033.00                               USD




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Invoice Due Date:   Payable Upon Receipt


RE: Hearings

TIME DETAILS
Date           Timekeeper         Description                                                                             Hours
06/01/2023     Siena, Marie       Update case calendar with details of hearing on 6/21 (.10); email with L.                    0.20
                                  Miranda regarding same (.10)
06/02/2023     Miranda, Loredana Correspondence with C. Giglio and M. Roitman regarding upcoming                               0.40
                                 hearings (.30); conference with G. Thompson regarding same (.10)
06/05/2023     Miranda, Loredana Update notice of hearing for 3018(a) motion (.10); correspondence with                        0.20
                                 Jackson Walker regarding same (.10)
06/05/2023     Siena, Marie       Update case calendar with details for hearing on 6/13/23 (.10)                               0.10
06/06/2023     Barnowski, Dan     Preparation for hearing on 3018 motion (.80)                                                 0.80
06/06/2023     Murphy, John       Prepare materials for hearing on June 13 (2.40); distribute same to team                     2.60
                                  (.20)
06/06/2023     Miranda, Loredana Revise Notice of Hearing for 3018(a) motion (.20); email exchange with                        0.40
                                 Katten regarding same (.10); email exchange with Jackson Walker
                                 regarding same (.10)
06/06/2023     Siena, Marie       File the Notice of Hearing for 3018(a) Motion on on the court's docket                       0.40
                                  (.20); email noticing agent regarding service of same (.10); emails with
                                  Katten regarding same (.10)
06/07/2023     Barnowski, Dan     Teleconference with J. Tecce concerning hearing next week (.20)                              0.20
06/07/2023     Miranda, Loredana Attend Special Committee meeting (.30); call with M. Templeton                                0.40
                                 regarding same (.10)
06/08/2023     Barnowski, Dan    Prep for Tuesday hearing on 3018 motion (1.20)                                                1.20
06/09/2023     Barnowski, Dan     Preparations for hearing on 3018 Motion (.50)                                                0.50
06/09/2023     Miranda, Loredana Draft Witness and Exhibit List for June 13 hearing (.50); revise with                         1.20
                                 comments from M. Roitman (.20); emails exchange with Katten team
                                 regarding same (.20); email exchange with Jackson Walker regarding
                                 same (.30)
06/09/2023     Roitman, Marc     Prepare for hearing on Rule 3018 motion (.90); call with Province in                          1.70
                                 connection with same (.30); revise exhibit list in connection with same
                                 (.30); emails with Katten regarding same (.20)
06/10/2023     Miranda, Loredana Attend to issues related to preparation for Confirmation Hearing, including                   1.20
                                 coordinating creation of binders and documents (1.20)
06/10/2023     Roitman, Marc     Emails with S. Reisman regarding confirmation hearing (.40)                                   0.40
06/12/2023     Barnowski, Dan     Preparation for potential hearing on 3018 motion (.60)                                       0.60
06/12/2023     Murphy, John       Prepare confirmation hearing materials (1.80)                                                1.80
06/12/2023     Miranda, Loredana Attend to matters for preparation of confirmation hearing, including                          0.80
                                 review of preparation materials and documents (.80)
06/13/2023     Barnowski, Dan    Attend court hearing and present argument (.30); prepare for court hearing                    2.90
                                 (1.20); prepare for bankruptcy hearing (.60); teleconference with Mayer
                                 Brown team concerning confirmation hearing prep (.80)
06/13/2023     Thompson, Grace Call with Mayer Brown regarding confirmation hearing prep (.80); draft                          2.10
                               notes from same (.40); draft script for confirmation hearing (.90)
06/13/2023     Murphy, John    Prepare confirmation hearing materials for S. Reisman (1.20)                                    1.20




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Matter:             397894.00019
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Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                            Hours
06/13/2023     Miranda, Loredana Attend to issues regarding Confirmation Hearing including review of                          1.90
                                 documents and binders, coordinate with Mayer Brown (1.00); attend
                                 Bankruptcy Court Hearing regarding 3018(a) Motion and Motion to Sell
                                 Ben Shares (.30); prepare summary for Katten regarding same (.60)
06/13/2023     Roitman, Marc     Call with Mayer Brown regarding preparation for Confirmation Hearing                         2.30
                                 (.80); further preparation for Confirmation Hearing (1.50)
06/13/2023     Roitman, Marc     Bankruptcy Court Hearing regarding 3018(a) Motion and Motion to Sell                         1.10
                                 Ben Shares (.30); prepare in connection with same (.60); confer with D.
                                 Barnowski in preparation for same (.20)
06/14/2023     Giglio, Cindi      Prepare for confirmation hearing (2.10); revise script for confirmation                     2.50
                                  hearing (.40)
06/14/2023     Barnowski, Dan     Revise declarations (1.80); analysis of substantial contribution claim and                  9.50
                                  related issues (1.10); negotiate settlement with Ben over Class 10 claims
                                  (.80); prepare T. Hunter proffer (.70); teleconference with T. Hunter
                                  concerning hearing and testimony (.20); teleconference with L. Freeman
                                  concerning hearing strategy (.20); prepare for tomorrow’s confirmation
                                  hearing (4.20); prepare witnesses for confirmation hearing (.50)
06/14/2023     Thompson, Grace Confirmation hearing prep call with Katten (.50)                                               0.50
06/14/2023     Miranda, Loredana Prepare materials regarding compensation for confirmation hearing and                        3.80
                                 incorporate comments from M. Roitman (2.40); call with Katten team
                                 regarding work streams for confirmation hearing (.50); attend to issues
                                 regarding preparation for Confirmation hearing including review of
                                 documents and binders (.90)
06/14/2023     Roitman, Marc     Call with Mayer Brown and Akin regarding confirmation hearing (1.20):                        9.50
                                 call with S. Reisman regarding preparation for confirmation hearing (.30);
                                 call with Katten team regarding same (.50); meeting with Debtors’
                                 professionals in preparation for Confirmation Hearing (7.50)
06/14/2023     Reisman, Steven    Discussion with M. Stamer regarding planning for confirmation hearing                       0.40
                                  and next steps (.40)
06/15/2023     Giglio, Cindi      Prepare for and attend confirmation hearing (2.00)                                          2.00
06/15/2023     Barnowski, Dan     Revise talking points for S. Reisman statement in court (1.00); meeting                     8.40
                                  with C. Kelley and J. Stein concerning Stein testimony (.50); revise
                                  examination questions concerning substantial contribution claims (.40);
                                  revise examination questions for compensation claims (.50); preparation
                                  for hearing (3.80); attend court hearing (1.60); attention to results of
                                  hearing and next steps (.60)
06/15/2023     Thompson, Grace Attend to issues regarding confirmation hearing prep, including revising                       2.60
                                 script and related discussions and call with S. Reisman (1.00); attend
                                 (virtually) confirmation hearing (1.60)
06/15/2023     Miranda, Loredana Attend Confirmation Hearing (1.60); attend to issues and prepare for                         5.90
                                 confirmation hearing (1.60); attend meeting with Debtors' professionals
                                 regarding preparation for Confirmation hearing (2.70)
06/15/2023     Roitman, Marc     Attend Confirmation Hearing (1.60)                                                           1.60
06/15/2023     Roitman, Marc      Further preparation for Confirmation Hearing (2.20); meeting with                           5.10
                                  Debtors’ professionals regarding preparation for Confirmation hearing
                                  (2.90)
06/15/2023     Reisman, Steven    Prepare for confirmation hearing, including review of confirmation order,               10.70
                                  confirmation brief and various pleadings related to confirmation while
                                  traveling in connection with confirmation of chapter 11 plan (6.80); attend
                                  confirmation hearing (1.60); prepare for confirmation hearing with Katten
                                  team, Mayer Brown and J. Stein (2.10); discussions with D. Barnowski
                                  and J. Stein re witness preparation for confirmation hearing (.20)


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Invoice #:          9020145107                                                                            August 20, 2023
Invoice Due Date:   Payable Upon Receipt

Date           Timekeeper         Description                                                                          Hours
06/16/2023     Miranda, Loredana Review docket for updates (.10); prepare summary of relevant docket                        0.20
                                 updates (.10)
06/16/2023     Siena, Marie       Update case calendar with upcoming hearing details (.20)                                  0.20
06/19/2023     Reisman, Steven    Attend to post-confirmation matters, including analysis of remaining                      2.70
                                  Special Committee work streams (2.10); calls and correspondence with
                                  Katten team as well as Independent Directors regarding the same (.60)
                                                                                         Total Hours :                  92.20




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Matter:             397894.00019
Invoice #:          9020145107                                                     August 20, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       13.80            1,755.00              24,219.00
Giglio, Cindi                                          4.50            1,495.00               6,727.50
Roitman, Marc                                         21.70            1,270.00              27,559.00
Barnowski, Dan                                        24.10            1,245.00              30,004.50
Thompson, Grace                                        5.20              895.00               4,654.00
Miranda, Loredana                                     16.40              710.00              11,644.00
Murphy, John                                           5.60              510.00               2,856.00
Siena, Marie                                           0.90              410.00                 369.00

                                     Sub Total :      92.20   Sub Total :                   108,033.00
                                     Total Hours :    92.20   Total Fees             108,033.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
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August 20, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Investigation

For Professional Services Rendered Through June 20, 2023



Fees Total.............................................................................................................................................................                 46,839.00
Total Amount Due ..............................................................................................................................................                         46,839.00        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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Invoice Due Date:   Payable Upon Receipt


RE: Investigation

TIME DETAILS
Date           Timekeeper          Description                                                                           Hours
06/01/2023     Giglio, Cindi       Call with Investigations Committee (.20)                                                   0.20
06/01/2023     Barnowski, Dan      Prepare common interest agreement (1.50)                                                   1.50
06/01/2023     Kirby, Timothy      Correspondence regarding sale of BEN shares with Mayer Brown (.40);                        1.00
                                   review of documents related to sale of Ben shares (.60)
06/01/2023     Miranda, Loredana Attend call with the Investigations Committee (.20)                                          0.20
06/01/2023     Roitman, Marc       Call with the Investigations Committee (.20); prepare in connection with                   0.90
                                   same (.20); review common interest agreement (.50)
06/02/2023     Barnowski, Dan      Review Ben’s proposed confidentiality re-designations for depositions and                  1.90
                                   exhibits of S. Stein and B. Zimmerman (1.90)
06/02/2023     Kirby, Timothy      Reviewing Mayer Brown opinion and legend removal documentation                             3.00
                                   (2.40); correspondence with Mayer Brown regarding same (.60)
06/02/2023     Miranda, Loredana Draft minutes to 6/1 Investigations Committee meeting (.40)                                  0.40
06/05/2023     Barnowski, Dan      Multiple teleconferences with Bondholder Committee counsel concerning                      2.90
                                   Ben Plaintiff Mediation (.50); teleconference with Ben counsel concerning
                                   Ben Plaintiff Mediation (.40); teleconference with J. Stein concerning
                                   proposed plan for Ben Plaintiff Mediation (.20); prepare and transmit
                                   objection to mediation (.30); analysis of communications from mediator
                                   and other parties concerning Ben Plaintiff Mediation (.30); analysis of
                                   Ben’s confidentiality designation request (.60); communications with
                                   Katten concerning Ben Plaintiff Mediation issues (.60)
06/05/2023     Reisman, Steven     Review of draft objection to mediation in connection with Plaintiff's                      0.90
                                   litigation and impact on property of the estate (.60); discussions with D.
                                   Barnowski regarding feedback on mediation and edits to proposed
                                   correspondence (.20); discussions with T. Horton regarding same (.10)
06/06/2023     Giglio, Cindi       Correspond regarding common interest agreement (.20)                                       0.20
06/06/2023     Barnowski, Dan      Analysis of further communications with mediator concerning Ben                            0.30
                                   mediation (.30)
06/06/2023     Miranda, Loredana Draft agenda for Investigations Committee meeting (.20); revise agenda                       0.40
                                 with comments by M. Roitman (.20)
06/06/2023     Roitman, Marc     Prepare for meeting with Wind Down Trustee regarding investigation                           1.80
                                 matters (1.50); emails with Katten regarding same (.30)
06/06/2023     Siena, Marie        Draft binder index for Investigations Committee presentations (.40);                       0.60
                                   emails with Katten regarding preparing binders regarding same (.20)
06/07/2023     Giglio, Cindi       Attend Investigations Committee call (.30); attend meeting with L.                         2.80
                                   Freeman (2.50)
06/07/2023     Barnowski, Dan      Attend Investigations Committee meeting (.30); prep for meeting with L.                    3.00
                                   Freeman (.20); meeting with L. Freeman concerning Ben background
                                   (2.50)
06/07/2023     Thompson, Grace Attend meeting with L. Freeman regarding investigation (2.50)                                  2.50
06/07/2023     Miranda, Loredana Attend Investigations Committee meeting (.30); email exchanges with                          3.60
                                 client regarding same (.10); attend meeting with L. Freeman and Katten
                                 regarding pre petition claims and causes of action (2.50); attend to matters
                                 regarding common interest agreement (.30); draft meeting minutes for 6/7
                                 Investigations Committee meeting (.50)




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Date           Timekeeper         Description                                                                             Hours
06/07/2023     Roitman, Marc     Attend meeting of the Investigations Committee (.30); meeting with Wind                       3.70
                                 Down Trustee regarding Investigation matters (2.50); further preparation
                                 in connection with same (.90)
06/08/2023     Miranda, Loredana Email exchange with Independent directors regarding common interest                           0.50
                                 agreement (.20); email exchange with L. Freeman regarding common
                                 interest agreement (.20); coordinate execution regarding same through
                                 DocuSign (.10)
06/09/2023     Siena, Marie       Submit Common Interest Agreement via DocuSign for execution by the                           0.10
                                  parties (.10)
06/14/2023     Kirby, Timothy     Call with Mayer Brown and counsel to Beneficient regarding securities                        1.50
                                  law matters in connection with sale of shares (.30); follow up call with M.
                                  Roitman regarding same (.30); review documents related to emergency
                                  motion to sell Ben shares (.90)
06/16/2023     Kirby, Timothy     Calls with Mayer Brown, Akin, Haynes Boone regarding sale of BEN                             5.00
                                  shares, affiliate and control status issues (2.70); review diligence related to
                                  same (2.30)
06/20/2023     Kirby, Timothy     Attend teleconference with Ben counsel and Mayer Brown concerning sale                       2.00
                                  of Ben stock (.40); analysis of documents regarding same (1.60)
                                                                                              Total Hours :                40.90




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Matter:             397894.00021
Invoice #:          9020145105                                                     August 20, 2023
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                        0.90            1,755.00               1,579.50
Giglio, Cindi                                          3.20            1,495.00               4,784.00
Roitman, Marc                                          6.40            1,270.00               8,128.00
Barnowski, Dan                                         9.60            1,245.00              11,952.00
Kirby, Timothy                                        12.50            1,140.00              14,250.00
Thompson, Grace                                        2.50              895.00               2,237.50
Miranda, Loredana                                      5.10              710.00               3,621.00
Siena, Marie                                           0.70              410.00                 287.00

                                     Sub Total :      40.90   Sub Total :                    46,839.00
                                     Total Hours :    40.90   Total Fees              46,839.00   USD




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                                                                                                                                                                                              Tel: 212-940-8800
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August 20, 2023
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
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Summary


RE: Plan/Disclosure Statement/Confirmation

For Professional Services Rendered Through June 20, 2023



Fees Total............................................................................................................................................................. 112,189.00
Total Amount Due .............................................................................................................................................. 112,189.00                               USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

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RE: Plan/Disclosure Statement/Confirmation

TIME DETAILS
Date           Timekeeper         Description                                                                            Hours
06/01/2023     Roitman, Marc      Review U.S. Trustee’s informal objection to Plan (.50); revise exculpation                  1.30
                                  provisions in connection with same (.50); emails with Katten and Mayer
                                  Brown regarding same (.30)
06/02/2023     Barnowski, Dan     Attention to issues concerning litigation trust agreement (.50)                             0.50
06/04/2023     Reisman, Steven    Review motion to sell Ben stock and note comments regarding same (1.10)                     1.10
06/05/2023     Giglio, Cindi      Emails regarding Ben plan objection extension (.10); follow up on                           0.30
                                  scheduling of mediation (.20)
06/05/2023     Barnowski, Dan     Teleconference with L. Chiapetta concerning litigation trust agreement                      0.20
                                  issues (.20)
06/05/2023     Miranda, Loredana Attend to issues regarding coordination for mediation (.60)                                  0.60
06/05/2023     Reisman, Steven    Follow up regarding matters related to plan voting, objection deadline                      0.70
                                  confirmation and other matters (.40); exchange of emails with J. Stein and
                                  Katten team members regarding same (.30)
06/06/2023     Giglio, Cindi      Attention to follow up regarding mediation (.20)                                            0.20
06/06/2023     Miranda, Loredana Call with S. Reisman regarding mediation (.10); attend to matters                            1.70
                                 regarding mediation with LBM, LBC, and the Debtors (1.10); various calls
                                 with J. Mesa-Beltre regarding same (.20); attend to issues regarding June 8
                                 mediation (.30)
06/06/2023     Roitman, Marc     Call with J. Netznik regarding Plan and declarations in support thereof                      1.00
                                 (.30); emails with Katten regarding same (.20); review mediation
                                 stipulation (.30); emails with Katten and Mayer Brown regarding same
                                 (.20)
06/06/2023     Reisman, Steven    Update regarding matters related to mediation (.20); discussions with L.                    1.30
                                  Miranda regarding same (.10); follow up regarding mediation stipulation
                                  (.40); update regarding discussions with bondholders committee and
                                  ongoing matters in connection with mediation (.60)
06/07/2023     Giglio, Cindi      Review LBM edits to mediation issues list (.40)                                             0.40
06/07/2023     Barnowski, Dan     Analysis of revised issues list pertinent to tomorrow’s mediation (.50)                     0.50
06/07/2023     Miranda, Loredana Attend meeting with Y. Weng and M. Roitman regarding 1129(a) (.50);                          1.90
                                 email exchange regarding same (.10); attend to issues regarding mediation
                                 (1.40)
06/07/2023     Roitman, Marc     Meeting with Katten regarding research in preparation for confirmation                       2.30
                                 hearing (.50); review Ben objection to confirmation (.30); prepare for
                                 mediation regarding Trust Agreements and Plan matters (1.50)
06/08/2023     Giglio, Cindi      Attend mediation regarding trust agreements and related confirmation                        8.30
                                  issues (8.30)
06/08/2023     Barnowski, Dan     Teleconference with C. Kelley concerning mediation (.20); analysis of                       1.00
                                  revised litigation trust agreement (.80)
06/08/2023     Miranda, Loredana Attend to issues regarding preparation for mediation in front of Judge                   11.20
                                 Jones (2.10); attend mediation in front of Judge Jones regarding Trust
                                 Agreements (9.10)
06/08/2023     Roitman, Marc     Attend mediation regarding Trust Agreements and Plan matters (9.10);                     10.60
                                 further preparation in connection with same (1.40)
06/08/2023     Reisman, Steven Participate in portion of plan confirmation related mediation with L Bond                      3.20
                                 Committee, L Bond Management and Bankruptcy Judge Jones (all time
                                 not billed as courtesy to client) (3.20)


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Matter:             397894.00022
Invoice #:          9020145120                                                                             August 20, 2023
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Date           Timekeeper         Description                                                                           Hours
06/09/2023     Barnowski, Dan     Teleconference with D. Curry concerning Ben current position on plan                       0.20
                                  (.20)
06/09/2023     Miranda, Loredana Review case law and research findings regarding section 1129(a) of the                      1.60
                                 Bankruptcy Code (1.60)
06/09/2023     Roitman, Marc     Review draft declaration of Jeff Stein in support of confirmation (.60);                    1.90
                                 review research regarding 1129(a) factors, including feasibility of plan,
                                 with particular attention to matters of relevance to Special Committee
                                 (1.30)
06/10/2023     Reisman, Steven Follow up regarding matters related to proposed settlement stipulation and                    3.00
                                 agreed order regarding Ben (1.10); continued follow up on matters related
                                 to revised trust agreement (.30); attend to review of emails and follow up
                                 regarding matters related to settlement discussions with L Bond
                                 Management, L Bond Committee and Debtors related to liquidating trust
                                 agreement and revisions to same (1.60)
06/11/2023     Giglio, Cindi      Comments on J. Stein declaration (.70)                                                     0.70
06/11/2023     Barnowski, Dan     Revise draft Stein declaration (.60)                                                       0.60
06/11/2023     Thompson, Grace Revise J. Stein declaration per comments from C. Giglio (.20); related                        0.30
                               correspondence with Katten team (.10)
06/11/2023     Roitman, Marc   Draft inserts for Stein Declaration in support of confirmation in connection                  2.50
                               with Special Committee and Investigation Committee matters (2.50)
06/11/2023     Reisman, Steven    Attend to review of confirmation order and follow up regarding matters                     1.80
                                  related to same (1.10); review J. Stein declaration and note comments
                                  regarding same in connection with confirmation (.70)
06/12/2023     Thompson, Grace Review Plan and DS provisions regarding executory contracts (.30);                            0.40
                                 related correspondence with L. Miranda (.10)
06/12/2023     Miranda, Loredana Review and incorporate comments to the declarations in support of                           0.80
                                 confirmation from M.Roitman (.80)
06/12/2023     Roitman, Marc     Follow up research regarding feasibility in connection with non-cash                        3.00
                                 assets and asserted administrative claims (1.30); emails with Katten and
                                 Mayer Brown regarding same (.30); revise Laurinaitis declaration in
                                 support of confirmation (.70); revise Tucker declaration in support of
                                 confirmation (.70)
06/13/2023     Giglio, Cindi      Attend to issues regarding confirmation (.80)                                              0.80
06/13/2023     Barnowski, Dan     Analysis and revisions of declarations for confirmation hearing (3.60)                     3.60
06/13/2023     Thompson, Grace Correspondence regarding Stein/Laurinaitis declarations (.20); review                         2.60
                                 Venn declaration (.40); review and provide comments on proposed
                                 confirmation order (1.80); related correspondence with Katten regarding
                                 the foregoing (.20)
06/13/2023     Miranda, Loredana Incorporate comments to Venn declaration from M. Roitman (various                           0.70
                                 iterations) (.70)
06/13/2023     Roitman, Marc     Call with S. Reisman regarding potential resolution of Fifth Season plan                    2.10
                                 objection (.20); revise Venn Declaration in support of confirmation (.80);
                                 review Confirmation Order (1.10)
06/13/2023     Reisman, Steven Review declarations and proposed confirmation order and provide                               2.20
                                 comments to same (1.10); call with M. Roitman regarding Fifth Season
                                 plan objection (.20); follow up with Katten team regarding confirmation
                                 prep (.90)




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Matter:             397894.00022
Invoice #:          9020145120                                                                        August 20, 2023
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Date           Timekeeper         Description                                                                      Hours
06/14/2023     Thompson, Grace Revise declarations (.40); review revised confirmation order in support of               4.40
                               confirmation (.40); call with Debtors and Bondholder Committee
                               professionals regarding confirmation order and declarations (1.30); review
                               confirmation-related pleadings from interested parties and summarize for
                               Katten team (.60); review precedent confirmation orders against proposed
                               order (1.30); related correspondence with Katten regarding the foregoing
                               (.40)
06/14/2023     Roitman, Marc   Further review of declarations in support of confirmation (2.10); further                3.10
                               review of Confirmation Order (.80); call with T. Horton regarding matters
                               relevant to confirmation (.20)
06/14/2023     Reisman, Steven Prepare for and review materials in connection with confirmation hearing                 5.30
                               including proposed order and declarations (4.30); discussions with M.
                               Roitman, C. Giglio and D. Barnowski of Katten regarding potential need
                               for testimony, affidavit and next steps (.30); continued work on matters
                               related to GWG and discussions with J. Stein related to confirmation
                               hearing (.70)
                                                                                        Total Hours :               89.90




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TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Reisman, Steven                                       18.60            1,755.00              32,643.00
Giglio, Cindi                                         10.70            1,495.00              15,996.50
Roitman, Marc                                         27.80            1,270.00              35,306.00
Barnowski, Dan                                         6.60            1,245.00               8,217.00
Thompson, Grace                                        7.70              895.00               6,891.50
Miranda, Loredana                                     18.50              710.00              13,135.00

                                     Sub Total :      89.90   Sub Total :                   112,189.00
                                     Total Hours :    89.90   Total Fees             112,189.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 20, 2023
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
                                                                                                                                                                                              www.katten.com

Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00028
                                                                                                                                                    Invoice #:                                   9020145104
                                                                                                                                                    Invoice Due Date:                          Payable Upon
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Summary


RE: Non-Working Travel

For Professional Services Rendered Through June 30, 2023



Fees Total.............................................................................................................................................................                 14,700.00
Total Amount Due ..............................................................................................................................................                         14,700.00        USD




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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Invoice #:          9020145104                                                                        August 20, 2023
Invoice Due Date:   Payable Upon Receipt


RE: Non-Working Travel

TIME DETAILS
Date           Timekeeper         Description                                                                      Hours
06/13/2023     Roitman, Marc      Non-working travel time to Houston (3.50)                                             3.50
06/14/2023     Miranda, Loredana Travel to Houston for Confirmation Hearing (2.00)                                      2.00
06/15/2023     Miranda, Loredana Travel to back to New York from Confirmation Hearing (3.50)                            3.50
06/15/2023     Roitman, Marc      Non-working travel time returning from Houston (5.00)                                 5.00
                                                                                          Total Hours :             14.00




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Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                  Rate             Amount
Roitman, Marc                                          8.50            1,270.00              10,795.00
Miranda, Loredana                                      5.50              710.00               3,905.00

                                     Sub Total :      14.00   Sub Total :                    14,700.00
                                     Total Hours :    14.00   Total Fees              14,700.00   USD




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                                                                                                                                                                            Katten Muchin Rosenman LLP
                                                                                                                                                                                     50 Rockefeller Plaza
                                                                                                                                                                               New York NY 10020-1605
                                                                                                                                                                                              Tel: 212-940-8800
                                                                                                                                                                                              Fax: 212-940-8776
August 20, 2023
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
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Jeffrey S. Stein, Anthony R. Horton, and
David F. Chavenson, the Independent
Directors of GWG Holdings, Inc.                                                                                                                     Client:                                      0000397894
                                                                                                                                                    Payer:                                       0000397894
                                                                                                                                                    Matter:                                    397894.00032
                                                                                                                                                    Invoice #:                                   9020145121
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Summary


RE: Expenses

For Professional Services Rendered Through June 20, 2023


Disbursements .....................................................................................................................................................                     16,379.64
Total Amount Due ..............................................................................................................................................                         16,379.64        USD




Payment can be remitted directly to our account:




Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.



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RE: Expenses

DISBURSEMENTS
Description                   Cost Description                                                                Amount

Airfare-Lawyers Travel        Air - L. Miranda 6/15/23 IAH LGA 19217-19243. Air - L.                          1,972.87
                              Miranda 6/14/23 ORD IAH 19208. Air - D. Barnowski
                              6/12-6/13 DC IAH DC 19095/19186/19190. Air - D. Barnowski
                              6/13/23 DC IAH DC 19051. Air - D. Barnowski 6/16/23 IAH
                              DCA 19052.
Courier                       FedExCorp.Inv#: 816672504,Trking# 399592749042,on                                102.03
                              6/13/2023 To: CHARLES KELLY ESQ.. FedExCorp.Inv#:
                              815910908,Trking# 399382617909,on 6/8/2023 To: Charles
                              Kelley.
Court Costs                   Pacer Court Costs 5/01/2023-5/31/2023 NYC.                                        19.30



Service Fees                  Veristar LLC; 06/09/2023; inv. 3827; Document Review                            6,952.39
                              Platform Services 5/1/23 through 5/31/23.. lOOPUP; 5/31/23;
                              INV. #416301; TELECONFERENCING MAY 2023.

Airfare                       Attend Hearing in Houston, TX-Airfare to/from Houston, TX-                      1,833.80
                              Date Incurred: 06/10/2023.


Miscellaneous                 Attend Hearing in Houston, TX-Travel agency services-Date                        100.00
                              Incurred: 05/31/2023. Attend Hearing in Houston, TX-Travel
                              agency services-Date Incurred: 06/05/2023.

Data/Library Research         Westlaw Legal Research: ROITMAN,MARC on 6/12/2023.                               268.12
Services                      Westlaw Legal Research: ROITMAN,MARC on 6/14/2023.
                              Westlaw Legal Research: THOMPSON,GRACE on 6/6/2023.
                              Westlaw Legal Research: ROSELLA,MICHAEL on 6/14/2023.
Out of Town Travel            GWG Holdings hearing-GWG Holdings hearing - lodging-Date                        5,131.13
                              Incurred: 06/15/2023. GWG Holdings hearing-GWG Holdings
                              hearing - lodging-Date Incurred: 06/14/2023. GWG Holdings
                              hearing-GWG Holdings hearing - lodging-Date Incurred:
                              06/13/2023. Attend Hearing in Houston, TX-Cab from home to
                              Airport-Date Incurred: 06/13/2023. Attend Hearing in Houston,
                              TX-1 night stay at hotel plus taxes-Date Incurred: 06/13/2023.
                              Attend Hearing in Houston, TX-Cab from Airport in NY to
                              home-Date Incurred: 06/15/2023. Attend Hearing in Houston,
                              TX-1 night stay plus taxes-Date Incurred: 06/14/2023. Attend
                              Hearing in Houston, TX-Cab from hotel to local counsel office-
                              Date Incurred: 06/15/2023. Attend Hearing in Houston, TX-
                              Cab from Hotel to Local Counsel office-Date Incurred:
                              06/14/2023. Attend Hearing in Houston, TX-Cab from Airport
                              to Hotel in Houston, TX-Date Incurred: 06/13/2023. Attend
                              Hearing in Houston, TX-Cancellation Fee-Date Incurred:
                              06/13/2023. Car service charge on transportation home after
                              working on client related matters / Reservation # 2020484--
                              Date Incurred: 06/14/2023. Car service charge on transportation
                              while working on client related matters / Reservation #
                              2020485--Date Incurred: 06/14/2023. Car service charge on
                              transportation home from the office after handling client related
                              matters / Reservation #: 2020477--Date Incur red: 05/26/2023.


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Description                  Cost Description                                                                Amount
                             GWG Holdings hearing-GWG Holdings hearing -
                             transportation from airport to hotel-Date Incurred: 06/13/2023.
                             GWG Holdings hearing-GWG Holdings hearing -
                             transportation from hearing to airport-Date Incurred:
                             06/15/2023. GWG Holdings hearing-GWG Holdings hearing -
                             transportation from hotel to hearing-Date Incurred: 06/14/2023.
                             Four Seasons hotel charge during the GWG Confirmation
                             Hearing--Date Incurred: 06/15/2023. Taxi / Uber Car Service
                             Charge to home from the airport after the GWG Confirmation
                             Hearing--Date Incurred: 06/15/2023. Taxi / Uber Car Service
                             Charge to the airport from the hotel after the GWG
                             Confirmation Hearing--Date Incurred: 06/15/2023. Taxi / Uber
                             Car Service Charge home after GWG Mediation--Date
                             Incurred: 06/08/2023. Taxi / Uber Car Service Charge to Mayer
                             Brown from the hotel for the GWG Confirmation Hearing--
                             Date Incurred: 06/15/2023. Taxi / Uber Car Service Charge to
                             Mayer Brown from the hotel for the GWG Confirmation
                             Hearing--Date Incurred: 06/14/2023. Taxi / Uber Car Service
                             Charge to the hotel from the airport for the GWG Confirmation
                             Hearing--Date Incurred: 06/14/2023. Taxi / Uber Car Service
                             Charge to the office for the GWG Mediation--Date Incurred:
                             06/08/2023.
                                                                          Total Disbursements:      16,379.64      USD




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                                 Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
                                    1
    GWG Holdings, Inc., et al.,                                       )   Case No. 22-90032 (MI)
                                                                      )
                              Debtors.                                )   (Jointly Administered)
                                                                      )   Re: Docket No. _______

     ORDER GRANTING THE FIFTH INTERIM AND FINAL FEE APPLICATION OF
    KATTEN MUCHIN ROSENMAN LLP FOR ALLOWANCE AND PAYMENT OF FEES
       AND EXPENSES AS ATTORNEYS TO DEBTOR GWG HOLDINGS, INC., ON
         BEHALF OF AND AT THE SOLE DIRECTION OF THE INDEPENDENT
      DIRECTORS, FOR THE (I) FIFTH FEE INTERIM PERIOD FROM MAY 1, 2023
    THROUGH AND INCLUDING JUNE 20, 2023, AND (II) TOTAL FEE PERIOD FROM
             JUNE 20, 2022 THROUGH AND INCLUDING JUNE 20, 2023

             Upon the Fifth Interim and Final Fee Application of Katten Muchin Rosenman LLP for

Allowance and Payment of Fees and Expenses as Attorneys to Debtor GWG Holdings, Inc., on

Behalf of and At the Sole Direction of the Independent Directors for the (I) Fifth Interim Fee

Period from May 1, 2023 Through and Including June 20, 2023, and (II) Total Fee Period from

June 20, 2022 Through and Including June 20, 2023 [Docket No. [ ]] (the “Fee Application”),2

filed by Katten Muchin Rosenman LLP (“Katten”); and the Court having reviewed the Fee

Application, the matters contained therein and exhibits thereto and finding that the attorneys’ fees

and expenses incurred should be allowed and paid by the Debtors, the Court orders as follows:




1
      The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538); GWG DLP
      Funding IC, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
      is 325 N. St. Paul Street, Suite 2650 Dallas, Texas 75201. Further information regarding the Debtors and these
      Chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.
2
      Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Fee Application.




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       1.      Compensation to Katten for professional services rendered to GWG, on behalf of

and at the sole direction of the Independent Directors, for the period of June 20, 2022 through and

including June 20, 2023 (the “Total Fee Period”), is allowed on a final basis in the amount of

$17,012,982.50.

       2.      Reimbursement to Katten for expenses incurred during the Total Fee Period is

allowed on a final basis in the amount of $202,188.96.

       3.      The Debtors are authorized and directed to pay Katten all unpaid fees and expenses

allowed pursuant to this Order.

 Dated: __________, 2023
        Houston, Texas                              MARVIN ISGUR
                                                    UNITED STATES BANKRUPTCY JUDGE




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Case 22-30500-swe7   Doc 261-8
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                           Exhibit I




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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                            )
    In re:                                                                  ) Chapter 11
                                                                            )
    GWG Holdings, Inc., et al., 1                                           ) Case No. 22-90032 (MI)
                                                                            )
                     Debtors.                                               ) (Jointly Administered)
                                                                            )

  THIRD INTERIM AND FINAL FEE APPLICATION OF PAUL HASTINGS LLP,
 COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC, FOR ALLOWANCE AND
  PAYMENT OF FEES AND EXPENSES FOR THE PERIOD FROM MAY 1, 2023
                      THROUGH JUNE 19, 2023


    Name of Applicant:                                              Paul Hastings LLP
    Applicant’s Role in Case:                                       Attorneys to Sean Clements and the
                                                                    Conflicts Committee of the board of
                                                                    directors of GWG DLP Funding IV, LLC
                                                                    (“DLP IV”)
    Docket No. of Employment Order(s):                              Docket No. 1325
    Interim Application (X) No. 3                                   Interim and Final
    Final Application (X)
                                                                    Prior interim applications filed at Docket
                                                                    Nos. 1616 and 2033.
                                                                      Beginning Date                  End Date
    Time period covered by this Application for
    which interim compensation has not previously                          05/01/23                    06/19/23
    been awarded:
    Were the services provided necessary to the administration of or beneficial at the time
    rendered toward the completion of the case? Yes
    Were the services performed in a reasonable amount of time commensurate with the
    complexity, importance and nature of the issues addressed? Yes

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
      is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these
      chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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 Is the requested compensation reasonable based on the customary compensation charged by
 comparably skilled practitioners in other non-bankruptcy cases? Yes
 Do expense reimbursements represent actual and necessary expenses incurred? Yes
           Compensation Breakdown for Time Period Covered by this Application
    Total professional fees requested in this Application:                             $139,366.00
    Total professional hours covered by this Application:                                    100.30
    Average hourly rate for professionals:                                                   $1,389
    Total paraprofessional fees requested in this Application:                           $8,100.00
    Total paraprofessional hours covered by this Application:                                 15.00
    Average hourly rate for paraprofessionals:                                                $540
 Total fees requested in this Application:                                             $147,466.00
 Total expense reimbursements requested in this Application:                             $3,577.20
 Total fees and expenses requested in this Application:                                $151,043.20
 Total fees and expenses awarded in all prior Applications:                            $820,594.70
 Plan Status: On June 20, 2023, the Court entered the Order (I) Confirming the Debtors’ Further
 Modified Second Amended Joint Chapter 11 Plan, Submitted By the Debtors, the Bondholder
 Committee, and L Bond Management, LLC as Co-Proponents, and (II) Granting Related Relief
 [Docket No. 1952]. The Effective Date of the Plan was on August 1, 2023 [Docket No. 2079].

 Primary Benefits: During the Interim Period, Paul Hastings diligently and effectively represented
 the Conflicts Committee of DLP IV and Sean Clements in his capacity as a member of the
 Conflicts Committee, with respect to their fiduciary duties in connection with the chapter 11 cases
 and investigating certain prepetition transactions.

 Specifically, Paul Hastings negotiated with the Debtors and other case parties, and advised the
 Conflicts Committee with respect to the Plan and related Disclosure Statement, and issues related
 to the releases and exculpation provisions contained therein.


       Pursuant to sections 330 and 331 of Title 11 of the United States Code, Rule 2016 of the

Federal Rules of Bankruptcy Procedure, Rule 2016-1 of the Bankruptcy Local Rules of the United

States Bankruptcy Court for the Southern District of Texas, the Procedures for Complex Cases in

the Southern District of Texas, and the Court’s Corrected Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 378], Paul



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Hastings LLP (“Paul Hastings”), counsel to the Conflicts Committee of the DLP IV Board and

Sean Clements as a member of the Conflicts Committee in the above-captioned chapter 11 cases,

hereby requests (a) allowance and payment of $147,466.00 for reimbursement of actual and

necessary expenses and for legal services rendered during the period from May 1, 2023 through

and including June 19, 2023 (the “Interim Period”), which amounts have not been the subject of a

previous fee application, and (b) final allowance and payment of the sums of $962,435.50 as

compensation and $9,202.40 for reimbursement of actual and necessary expenses, for a total of

$971,637.90 for legal services rendered during the period from October 31, 2022 through and

including June 19, 2023 (the “Final Period”). In support of its request, Paul Hastings submits the

following attached exhibits:

       •    Exhibit A contains the monthly statements for the Interim Period, which include an
            itemized list of expenses incurred during the Interim Period;

       •    Exhibit B contains the monthly statements for the Final Period, which include an
            itemized list of expenses incurred during the Final Period; and

       •    Exhibit C contains the Proposed Order.

                                RESERVATION OF RIGHTS

       1.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Interim Period, but were not processed before the preparation

of this Application, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future application. Paul Hastings does not waive, and expressly reserves, its right

to respond to any objections regarding this Application and the amounts sought for Paul Hastings’

work in the chapter 11 cases.




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Dated: August 21, 2023             Respectfully submitted,
       Houston, Texas
                                    /s/ James T. Grogan III
                                   PAUL HASTINGS LLP
                                   James T. Grogan III (TX Bar No. 24027354)
                                   600 Travis Street, 58th Floor
                                   Houston, Texas 77002
                                   Telephone: (713) 860-7300
                                   Facsimile: (713) 353-3100
                                   Email: jamesgrogan@paulhastings.com
                                   -and-
                                   Jayme T. Goldstein (admitted pro hac vice)
                                   Daniel A. Fliman (admitted pro hac vice)
                                   Allison Miller (admitted pro hac vice)
                                   Jeremy D. Evans (admitted pro hac vice)
                                   John F. Iaffaldano (admitted pro hac vice)
                                   200 Park Avenue
                                   New York, NY 10166
                                   Telephone: (212) 318-6000
                                   Email: jaymegoldstein@paulhastings.com
                                   Email: danfliman@paulhastings.com
                                   Email: allisonmiller@paulhastings.com
                                   Email: jeremyevans@paulhastings.com
                                   Email: jackiaffaldano@paulhastings.com

                                   Counsel to the Conflicts Committee of the DLP IV Board
                                   and Sean Clements, Independent Director of the DLP IV
                                   Board




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                                   EXHIBIT A

                MONTHLY STATEMENTS FOR INTERIM PERIOD




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al.,1                                                  ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

    NOTICE OF SEVENTH MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
    COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
     BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
                  FROM MAY 1, 2023 THROUGH MAY 31, 2023

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  05/01/2023            05/31/2023
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $57,089.60 (80% of $71,362.00)
    Total expenses requested in this Statement:                             $1,614.84
    Total fees and expenses requested in this Statement                     $72,976.84
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $58,704.44
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $65,746.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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    Total actual attorney hours covered by this Statement:                44.00
    Average hourly rate for attorneys:                                    $1,494
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $5,616.00
    Total actual paraprofessional hours covered by this Statement:        10.40
    Average hourly rate for paraprofessionals:                            $540

          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”),2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this seventh monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from May 1, 2023 through and including May 31, 2023

(the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.

          4.       Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



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                          NOTICE AND OBJECTION PROCEDURES

         1.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         2.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         3.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,


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pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       4.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.

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Dated: August 16, 2023              Respectfully submitted,
Houston, Texas
                                     /s/ James T. Grogan III
                                    PAUL HASTINGS LLP
                                    James T. Grogan III (TX Bar No. 24027354)
                                    600 Travis Street, 58th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 860-7300
                                    Facsimile: (713) 353-3100
                                    Email: jamesgrogan@paulhastings.com

                                    -and-

                                    Jayme T. Goldstein (admitted pro hac vice)
                                    Daniel A Fliman (admitted pro hac vice)
                                    Allison Miller (admitted pro hac vice)
                                    Jeremy D. Evans (admitted pro hac vice)
                                    John F. Iaffaldano (admitted pro hac vice)
                                    200 Park Avenue
                                    New York, New York 10166
                                    Telephone: (212) 318-6000
                                    Facsimile: (212) 319-4090
                                    Email: jaymegoldstein@paulhastings.com

                                    Counsel to Sean Clements and the Conflicts Committee of
                                    the board of directors of DLP IV




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                                         Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                      Total for Fee Period
          Name       Department or      Date of     Hourly Rate    Hours         Amount
                        Group            First                     Billed
                                      Admission
 Fliman, Dan           Corporate         2003          $1,725.00      2.70            $4,657.50
 Goldstein, Jayme      Corporate         2003          $1,875.00      4.60            $8,625.00
 Grogan, James         Corporate         2000          $1,700.00     16.30           $27,710.00
 Miller, Allison       Corporate         2004          $1,725.00      1.70            $2,932.50
                                  Total Partner:                     25.30           $43,925.00
 Evans, Jeremy         Corporate         2013          $1,600.00      2.90            $4,640.00
                                  Total Counsel:                      2.90            $4,640.00
 Iaffaldano, Jack      Corporate         2020          $1,125.00     13.60           $15,300.00
 Thomas, Schlea        Corporate         2022           $855.00       2.20            $1,881.00
                                 Total Associate:                    15.80           $17,181.00
 Laskowski, Mat        Paralegal                         $540.00      9.30            $5,022.00
 Magzamen, Michel      Paralegal                         $540.00      1.10             $594.00
                         Total Paraprofessional:                     10.40            $5,616.00
                                          Total:                     54.40           $71,362.00




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                                                  Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                     Total for Fee Period

                 U.S. Trustee Task Code and Project Category      Total Hours    Total Fees
          B110    Case Administration                                    5.80      $9,026.00
          B113    Pleadings Review                                      18.70     $22,159.00
          B155    Court Hearings                                         4.10      $5,618.50
          B160    Employment / Fee Applications (Paul Hastings)          8.90     $10,941.00
          B260    Board of Directors Matters                             3.20      $4,755.00
          B320    Plan and Disclosure Statement                         13.70     $18,862.50
          TOTAL                                                         54.40     $71,362.00




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                                           Exhibit C

                       EXPENSE SUMMARY FOR FEE PERIOD

                                Category               Total for Fee Period
           Airfare                                                   $577.80
           Lodging                                                   $589.94
           Taxi/Ground Transportation                                $407.10
           Meals                                                      $40.00
           TOTAL                                                   $1,614.84




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                                     Exhibit D

                      FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          July 28, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2366570

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending May 31, 2023                                                                             $71,362.00
                            Costs incurred and advanced                                                           1,614.84
                            Current Fees and Costs Due                                                         $72,976.84
                            Total Balance Due - Due Upon Receipt                                               $72,976.84




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          July 28, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2366570

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending May 31, 2023                                                                             $71,362.00
                            Costs incurred and advanced                                                           1,614.84
                            Current Fees and Costs Due                                                         $72,976.84
                            Total Balance Due - Due Upon Receipt                                               $72,976.84




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
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213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
                                                  t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                   July 28, 2023
Suite 1200
220 South Sixth Street                                           Please Refer to
Minneapolis, MN 55402                                            Invoice Number: 2366570

Attn: Sean Clements                                              PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending May 31, 2023


Bankruptcy Case                                                                                      $71,362.00




Date         Initials   Description                                          Hours           Rate        Amount

B110   Case Administration
05/01/2023   ML30       Update case calendars (.2); update                       0.50     540.00           270.00
                        distribution lists for case notice and
                        pleadings (.2); correspond with J. Iaffaldano
                        re hearing needs (.1).
05/01/2023   MM57       Correspond with J. Iaffaldano re: case                   0.20     540.00           108.00
                        calendar
05/03/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/04/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/04/2023   ML30       Update case calendars                                    0.10     540.00            54.00
05/05/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/08/2023   JTG4       Emails with M. Laskowski re case updates                 0.10   1,700.00           170.00
05/09/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/11/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/12/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/15/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/16/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/17/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00




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Date         Initials   Description                                   Hours      Rate    Amount
05/17/2023   ML30       Correspond with J. Iaffaldano re 5.18.23       0.10    540.00      54.00
                        hearing needs
05/18/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/18/2023   JG32       Review and prepare notes re case updates       1.20   1,875.00   2,250.00
                        and going forward plan (.6); telephone
                        conference with client to discuss same (.6)
05/19/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/22/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/23/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/24/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/25/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/26/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/30/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/31/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
             Subtotal: B110 Case Administration                        5.80              9,026.00




B113   Pleadings Review
05/01/2023   AM50       Review recent court filings regarding          0.50   1,725.00    862.50
                        exclusivity (.3); review updates from J.
                        Evans regarding same (.2)
05/01/2023   JTG4       Review ECF notices                             0.30   1,700.00    510.00
05/01/2023   ML30       Review recent filings and update working       0.40    540.00     216.00
                        group re same
05/02/2023   JTG4       Review ECF notices                             0.30   1,700.00    510.00
05/02/2023   ML30       Review recent filings and update working       0.40    540.00     216.00
                        group re same
05/03/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/03/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/04/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/04/2023   ML30       Review recent filings and update working       0.40    540.00     216.00
                        group re same




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Date         Initials   Description                                   Hours      Rate    Amount
05/05/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/05/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/08/2023   JTG4       Review recent filings                          0.20   1,700.00    340.00
05/08/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/09/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/09/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/10/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/11/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/11/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/12/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/12/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/15/2023   JTG4       Review ECF notices                             0.40   1,700.00    680.00
05/15/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/16/2023   JTG4       Review ECF notices (.2); review Beneficient    0.50   1,700.00    850.00
                        motion (.3)
05/16/2023   ML30       Review recent filings and update case          0.60    540.00     324.00
                        calendars and working group re same
05/17/2023   JTG4       Review ECF notices and related pleadings       0.40   1,700.00    680.00
05/17/2023   ML30       Review recent filings and update working       0.50    540.00     270.00
                        group re same
05/18/2023   JTG4       Review ECF notices (.2); review complaint      0.60   1,700.00   1,020.00
                        against Fifth Season (.4)
05/18/2023   JG32       Review recently filed pleadings                0.70   1,875.00   1,312.50
05/18/2023   ML30       Review recent filings and update case          0.40    540.00     216.00
                        calendars and working group re same
05/19/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/19/2023   ML30       Review recent filings and update working       0.30    540.00     162.00
                        group re same




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Date         Initials   Description                                   Hours      Rate     Amount
05/22/2023   JTG4       Review ECF notices (.2); review Heppner /      0.60   1,700.00    1,020.00
                        Ben Rule 2004 motion (.4)
05/22/2023   ML30       Review recent filings and update working       0.50    540.00      270.00
                        group re same
05/23/2023   JTG4       Review ECF notices (.2); review new docket     0.50   1,700.00     850.00
                        entries and related documents (.3)
05/23/2023   ML30       Review recent filings and update working       0.60    540.00      324.00
                        group re same
05/24/2023   JTG4       Review ECF notices (.2); review exit credit    0.80   1,700.00    1,360.00
                        agreement pleadings (.6)
05/24/2023   ML30       Review recent filings and update case          0.60    540.00      324.00
                        calendars and working group re same
05/25/2023   JTG4       Review ECF notices and related pleadings       0.50   1,700.00     850.00
05/25/2023   ML30       Review recent filings and update case          1.00    540.00      540.00
                        calendars and working group re same
05/26/2023   JTG4       Review ECF notices (.2); review L Bond         0.50   1,700.00     850.00
                        Management emergency motion (.3)
05/26/2023   ML30       Review recent filings and update working       0.40    540.00      216.00
                        group re same
05/30/2023   JTG4       Review ECF notices (.2); review Fifth          0.50   1,700.00     850.00
                        Season motion (.3)
05/30/2023   ML30       Review recent filings and update working       0.40    540.00      216.00
                        group re same
05/31/2023   JTG4       Review ECF notices                             0.20   1,700.00     340.00
05/31/2023   JG32       Review recently filed pleadings regarding      1.20   1,875.00    2,250.00
                        open case issues and next steps
05/31/2023   ML30       Review recent filings and update working       0.50    540.00      270.00
                        group and case calendars re same
             Subtotal: B113 Pleadings Review                          18.70              22,159.00




B155   Court Hearings
05/01/2023   JI2        Monitor hearing on Benz objections to fee      0.50   1,125.00     562.50
                        applications




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Date         Initials   Description                                      Hours      Rate    Amount
05/01/2023   JTG4       Attend hearing on Benz objections to fee          0.80   1,700.00   1,360.00
                        applications (.5); emails with J. Evans and J.
                        Iaffaldano re outcome of hearing (.3)
05/01/2023   JDE        Attend fee application hearing.                   0.50   1,600.00    800.00
05/01/2023   SMT1       Prepare outline for hearing regarding             0.90    855.00     769.50
                        compensation application (.4); attend
                        hearing regarding same (.5)
05/23/2023   JTG4       Prepare outline for upcoming hearing              0.40   1,700.00    680.00
05/24/2023   JTG4       Attend hearing on Beneficient lift stay           0.70   1,700.00   1,190.00
                        motion and protective order issues
05/24/2023   SMT1       Attend portion of hearing regarding               0.30    855.00     256.50
                        Beneficient lift stay motion
             Subtotal: B155 Court Hearings                                4.10              5,618.50




B160   Fee/Employment Applications
05/01/2023   JI2        Emails with M. Magzamen re fee statements         0.90   1,125.00   1,012.50
                        and CNO re same (.3); review interim
                        compensation order (.2); revise fee
                        statement (.4)
05/01/2023   JTG4       Emails with M. Magzamen re CNO on PH              0.50   1,700.00    850.00
                        fee statement (.3); review CNO (.2)
05/01/2023   MM57       Correspond with J. Grogan re: order on fee        0.40    540.00     216.00
                        application (.2); revise and e-file related
                        CNO (.2)
05/01/2023   SMT1       Draft certificate of no objection regarding       1.00    855.00     855.00
                        first interim fee application
05/02/2023   JTG4       Email with M. Laskowski re fee order (.1);        0.20   1,700.00    340.00
                        review same (.1)
05/04/2023   JTG4       Emails with J. Iaffaldano about monthly fee       0.80   1,700.00   1,360.00
                        application (.5); review same (.3)
05/04/2023   MM57       Correspond with J. Iaffaldano re: fee             0.10    540.00      54.00
                        statements
05/09/2023   JI2        Revise fee statements (.8); correspond with       0.90   1,125.00   1,012.50
                        J. Grogan re same (.1)
05/09/2023   JTG4       Review and revise monthly fee statements          0.70   1,700.00   1,190.00




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Date         Initials   Description                                      Hours      Rate    Amount
05/11/2023   JI2        Revise February fee statement (.5); revise        1.10   1,125.00    1,237.50
                        March fee statement (.4); emails with J.
                        Grogan re same (.2)
05/11/2023   JTG4       Correspond with J. Iaffaldano regarding           0.50   1,700.00     850.00
                        updated fee statements (.2); review and
                        comment on same (.3)
05/16/2023   JTG4       Emails with M. Magzamen about monthly             0.30   1,700.00     510.00
                        fee statements
05/16/2023   MM57       Review fee statements and e-file same             0.40    540.00      216.00
05/31/2023   JI2        Revise April fee statement (.4); draft interim    1.10   1,125.00    1,237.50
                        fee application (.7).
             Subtotal: B160 Fee/Employment Applications                   8.90              10,941.00




B260   Board of Directors Matters
05/01/2023   JI2        Prepare invoice for S. Clements                   0.40   1,125.00     450.00
05/03/2023   JI2        Attend board call re plan issues                  0.50   1,125.00     562.50
05/16/2023   JDE        Correspond and conference with S.                 0.50   1,600.00     800.00
                        Clements regarding tail coverage
05/17/2023   JDE        Prepare for and attend bi-weekly board            0.50   1,600.00     800.00
                        meeting.
05/24/2023   JDE        Prepare for and attend board call.                0.30   1,600.00     480.00
05/31/2023   AM50       Review updates from DLP IV board                  0.50   1,725.00     862.50
                        meeting.
05/31/2023   JDE        Prepare for and attend board call.                0.50   1,600.00     800.00
             Subtotal: B260 Board of Directors Matters                    3.20              4,755.00




B320   Plan and Disclosure Statement (including Business Plan)
05/03/2023   DF9        Correspond with J. Iaffaldano re plan             1.10   1,725.00    1,897.50
                        exculpation provisions (.4); analysis re same
                        (.7)




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Date           Initials   Description                                      Hours      Rate     Amount
05/03/2023     JI2        Correspond with S. Clements re plan issues        3.40   1,125.00    3,825.00
                          (.2); analyze plan issues and related case law
                          and statutory authority (2.8); correspond
                          with D. Fliman regarding exculpation
                          provisions (.4)
05/04/2023     AM50       Correspond with D. Fliman and J. Evans            0.70   1,725.00    1,207.50
                          on recent developments
05/04/2023     DF9        Call with J. Evans and client re plan             1.10   1,725.00    1,897.50
                          exculpation provisions (.3); review caselaw
                          re same (.8)
05/04/2023     JI2        Analyze exculpation issues and related            1.20   1,125.00    1,350.00
                          authority (.8); call with S. Clements re same
                          (.4).
05/04/2023     JDE        Call with client and D. Fliman regarding          0.30   1,600.00     480.00
                          plan exculpation provisions
05/16/2023     JI2        Emails with J. Evans re plan exculpation          0.70   1,125.00     787.50
                          issues.
05/27/2023     DF9        Correspond with J. Evans re plan revisions        0.50   1,725.00     862.50
                          (.2); review same (.3)
05/29/2023     JI2        Emails with J. Evans and D. Fliman re             0.80   1,125.00     900.00
                          exculpation issues (.2); analyze same and
                          related precedent (.6).
05/30/2023     JI2        Review case law re exculpation issues (1.6);      2.10   1,125.00    2,362.50
                          call with J. Evans and Mintz & Gold re
                          same (.3); emails with J. Evans re same (.2).
05/30/2023     JDE        Call with Mintz & Gold and J. Iaffaldano to       0.30   1,600.00     480.00
                          discuss exculpations.
05/31/2023     JG32       Review case updates from J. Evans                 1.50   1,875.00    2,812.50
                          regarding exculpation (1.1); correspond with
                          client regarding same (.4)
               Subtotal: B320 Plan and Disclosure Statement                13.70              18,862.50
                         (including Business Plan)



       Total                                                               54.40              71,362.00

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ID      Timekeeper Name         Title                   Hours           Rate            Fee
JG32    Jayme Goldstein         Partner                   4.60       1,875.00       8,625.00
AM50    Allison Miller          Partner                   1.70       1,725.00       2,932.50
DF9     Dan Fliman              Partner                   2.70       1,725.00       4,657.50
JTG4    James T. Grogan         Partner                  16.30       1,700.00      27,710.00
JDE     Jeremy D. Evans         Of Counsel                2.90       1,600.00       4,640.00
JI2     Jack Iaffaldano         Associate                13.60       1,125.00      15,300.00
SMT1    Schlea M. Thomas        Associate                 2.20        855.00        1,881.00
ML30    Mat Laskowski           Paralegal                 9.30        540.00        5,022.00
MM57    Michael Magzamen        Paralegal                 1.10        540.00         594.00

Costs incurred and advanced

Date         Description                                         Quantity   Rate    Amount
05/03/2023 Airfare - Jeremy Evans; 04/18/2023; From/To:                              577.80
           LGA/IAH; Airfare Class: Economy; Trip to
           Houston for client matter
05/03/2023 Travel Expense - Meals - Jeremy Evans;                                     40.00
           04/18/2023; Restaurant: Pizza Hut; City: Houston;
           Dinner; Number of people: 1; Trip to Houston for
           client matter
05/03/2023 Lodging - Jeremy Evans; 04/19/2023; Hotel:                                589.94
           Marriott; Check-in date: 04/18/2023; Check-out
           date: 04/19/2023; Trip to Houston for client matter
05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                                106.93
           04/18/2023; From/To: Airport/Hotel; Service
           Type: Uber; Time: 22:03; Trip to Houston for client
           matter
05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                                110.88
           04/19/2023; From/To: Hotel/Airport ; Service
           Type: Uber; Time: 15:56; Trip to Houston for client
           matter
05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                                114.90
           04/18/2023; From/To: Home/Airport ; Service
           Type: Uber; Time: 17:03; Trip to Houston for client
           matter




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05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                            74.39
           04/19/2023; From/To: Airport/Home; Service
           Type: Uber; Time: 12:02; Trip to Houston for client
           matter
Total Costs incurred and advanced                                             $1,614.84

            Current Fees and Costs                                         $72,976.84
            Total Balance Due - Due Upon Receipt                           $72,976.84




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al.,1                                                  ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

     NOTICE OF EIGHTH MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
     COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
      BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
                  FROM JUNE 1, 2023 THROUGH JUNE 19, 2023

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  06/01/2023            06/19/2023
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $60,883.20 (80% of $76,104.00)
    Total expenses requested in this Statement:                             $1,962.36
    Total fees and expenses requested in this Statement                     $78,066.36
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $62,845.56
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $73,620.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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    Total actual attorney hours covered by this Statement:                56.30
    Average hourly rate for attorneys:                                    $1,308
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $2,484.00
    Total actual paraprofessional hours covered by this Statement:        4.60
    Average hourly rate for paraprofessionals:                            $540



          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”),2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this eighth monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from June 1, 2023 through and including June 19, 2023

(the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.




2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



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         4.   Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.

                          NOTICE AND OBJECTION PROCEDURES

         1.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         2.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         3.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly


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Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,

pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       4.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.

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Dated: August 16, 2023              Respectfully submitted,
Houston, Texas
                                     /s/ James T. Grogan III
                                    PAUL HASTINGS LLP
                                    James T. Grogan III (TX Bar No. 24027354)
                                    600 Travis Street, 58th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 860-7300
                                    Facsimile: (713) 353-3100
                                    Email: jamesgrogan@paulhastings.com

                                    -and-

                                    Jayme T. Goldstein (admitted pro hac vice)
                                    Daniel A Fliman (admitted pro hac vice)
                                    Allison Miller (admitted pro hac vice)
                                    Jeremy D. Evans (admitted pro hac vice)
                                    John F. Iaffaldano (admitted pro hac vice)
                                    200 Park Avenue
                                    New York, New York 10166
                                    Telephone: (212) 318-6000
                                    Facsimile: (212) 319-4090
                                    Email: jaymegoldstein@paulhastings.com

                                    Counsel to Sean Clements and the Conflicts Committee of
                                    the board of directors of DLP IV




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                                              Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                             Total for Fee Period
          Name            Department or      Date of     Hourly Rate      Hours         Amount
                             Group            First                       Billed
                                           Admission
 Fliman, Dan                Corporate         2003           $1,725.00       0.50             $862.50
 Goldstein, Jayme           Corporate         2003           $1,875.00       5.50           $10,312.50
 Grogan, James              Corporate         2000           $1,700.00      16.00           $27,200.00
 Miller, Allison            Corporate         2004           $1,725.00       0.80            $1,380.00
                                        Total Partner:                      22.80           $39,755.00
 Evans, Jeremy              Corporate         2013           $1,600.00       6.80           $10,880.00
 Evans, Jeremy (Travel)     Corporate         2013        $800.00 (Bill     16.30           $13,040.00
                                                             at ½ rate)
                                       Total Counsel:                       23.10           $23,920.00
 Iaffaldano, Jack           Corporate         2020           $1,125.00       3.90            $4,387.50
 Thomas, Schlea             Corporate         2022            $855.00        6.50            $5,557.50
                                      Total Associate:                      10.40            $9,945.00
 Laskowski, Mat             Paralegal                          $540.00       4.00            $2,160.00
 Magzamen, Michel           Paralegal                          $540.00       0.60             $324.00
                              Total Paraprofessional:                        4.60            $2,484.00
                                                Total:                      60.90           $76,104.00




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                                                  Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                     Total for Fee Period

                 U.S. Trustee Task Code and Project Category      Total Hours    Total Fees
          B110    Case Administration                                    0.90      $1,547.50
          B113    Pleadings Review                                       7.40      $8,520.00
          B155    Court Hearings                                        17.90     $24,235.00
          B160    Employment / Fee Applications (Paul Hastings)          0.90      $1,012.50
          B195    Non-Working Travel                                    16.30     $13,040.00
          B260    Board of Directors Matters                             2.10      $2,995.00
          B320    Plan and Disclosure Statement                         15.40     $24,754.00
          TOTAL                                                         60.90     $76,104.00




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                                           Exhibit C

                       EXPENSE SUMMARY FOR FEE PERIOD

                                Category               Total for Fee Period
           Airfare                                                   $567.80
           Lodging                                                   $903.22
           Taxi/Ground Transportation                                $451.34
           Meals                                                      $40.00
           TOTAL                                                   $1,962.36




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                                     Exhibit D

                      FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          August 8, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2367578

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending June 19, 2023                                                                            $76,104.00
                            Costs incurred and advanced                                                           1,962.36
                            Current Fees and Costs Due                                                         $78,066.36
                            Total Balance Due - Due Upon Receipt                                               $78,066.36




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          August 8, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2367578

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending June 19, 2023                                                                            $76,104.00
                            Costs incurred and advanced                                                           1,962.36
                            Current Fees and Costs Due                                                         $78,066.36
                            Total Balance Due - Due Upon Receipt                                               $78,066.36




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payment to the remittance address below:

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213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                 PAUL HASTINGS LLP
                                                 200 Park Avenue, New York, NY 10166-3205
                                                 t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                  August 8, 2023
Suite 1200
220 South Sixth Street                                          Please Refer to
Minneapolis, MN 55402                                           Invoice Number: 2367578

Attn: Sean Clements                                             PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending June 19, 2023


Bankruptcy Case                                                                                     $76,104.00




Date         Initials   Description                                         Hours           Rate        Amount

B110   Case Administration
06/05/2023   JTG4       Email with M. Laskowski re case update                 0.20    1,700.00           340.00
06/07/2023   JTG4       Email with M. Laskowski re case update                 0.20    1,700.00           340.00
06/08/2023   JTG4       Review and update case calendar (.2); emails           0.40    1,700.00           680.00
                        with M. Laskowski about same and new
                        pleadings (.2)
06/14/2023   JG32       Review case updates                                    0.10    1,875.00           187.50
             Subtotal: B110 Case Administration                               0.90                      1,547.50




B113   Pleadings Review
06/01/2023   JTG4       Review recent pleadings and docket update              0.40    1,700.00           680.00
06/01/2023   ML30       Review recent filings and update case                  0.60      540.00           324.00
                        calendars and working group re same
06/02/2023   JTG4       Review recent pleadings and docket update              0.40    1,700.00           680.00
06/02/2023   ML30       Review recent filings and update working               0.30      540.00           162.00
                        group re same
06/03/2023   JTG4       Review ECF notices                                     0.20    1,700.00           340.00




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Date         Initials   Description                                  Hours      Rate    Amount
06/05/2023   JTG4       Review ECF notices                            0.40   1,700.00    680.00
06/05/2023   ML30       Review recent filings and update case         0.40    540.00     216.00
                        calendars and working group re same
06/06/2023   JTG4       Review recent pleadings, ECF notices,         0.60   1,700.00   1,020.00
                        mediation stipulation, and related docket
                        update
06/06/2023   ML30       Review recent filings and update working      0.40    540.00     216.00
                        group re same
06/07/2023   JTG4       Review Beneficient objection                  0.30   1,700.00    510.00
06/07/2023   ML30       Review recent filings and update working      0.40    540.00     216.00
                        group re same
06/08/2023   JTG4       Review ECF notices and motion to sell         0.50   1,700.00    850.00
                        Beneficient shares
06/08/2023   ML30       Review recent filings and update case         0.60    540.00     324.00
                        calendars and working group re same
06/09/2023   JTG4       Review docket update from M. Laskowski        0.20   1,700.00    340.00
06/09/2023   ML30       Review recent filings and update working      0.40    540.00     216.00
                        group re same
06/12/2023   JTG4       Review docket update from M. Magzamen         0.20   1,700.00    340.00
06/12/2023   MM57       Review recent docket/ECF filings and          0.10    540.00      54.00
                        update calendars and working group re:
                        same
06/13/2023   JTG4       Review docket update from M. Magzamen         0.70   1,700.00   1,190.00
                        (.2); review ECF notices (.5)
06/13/2023   MM57       Review recent docket/ECF filings and          0.10    540.00      54.00
                        update calendars and working group re:
                        same
06/14/2023   MM57       Review recent docket/ECF filings and          0.10    540.00      54.00
                        update calendars and working group re:
                        same
06/15/2023   MM57       Review recent filings and update calendars    0.10    540.00      54.00
                        and working group re: same
             Subtotal: B113 Pleadings Review                          7.40              8,520.00




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Date         Initials   Description                                    Hours      Rate    Amount

B155   Court Hearings
06/02/2023   JTG4       Call with S. Thomas regarding upcoming          0.20   1,700.00    340.00
                        hearing
06/02/2023   SMT1       Telephone conference with J. Grogan             0.20    855.00     171.00
                        regarding hearing on 6/5/23
06/12/2023   JTG4       Review agenda for June 13 hearing and           0.60   1,700.00   1,020.00
                        prepare notes for same
06/13/2023   JI2        Attend hearing on motion to allow claims        0.40   1,125.00    450.00
                        for voting purposes and motion to sell
                        Beneficient shares
06/13/2023   JTG4       Correspond with S. Thomas and J. Evans          1.60   1,700.00   2,720.00
                        regarding June 15, 2023 hearing (.3); review
                        submissions in preparation for same (.9);
                        attend hearing on motion to allow claims
                        for voting purposes and motion to sell
                        Beneficient shares (.4)
06/13/2023   SMT1       Correspond with J. Grogan and J. Evans          0.60    855.00     513.00
                        regarding confirmation hearing (.2); attend
                        hearing regarding motion to allow claims
                        for voting purposes and motion to sell
                        Beneficient shares following de-SPAC
                        transactions (.4)
06/15/2023   JI2        Attend plan confirmation hearing                1.60   1,125.00   1,800.00
06/15/2023   JTG4       Review additional confirmation pleadings        5.30   1,700.00   9,010.00
                        and proposed order to prepare for
                        confirmation hearing (3.1); attend
                        confirmation hearing (1.6); correspond with
                        J. Evans and S. Thomas regarding hearing
                        prep and case updates (.6)
06/15/2023   JDE        Review submissions and supplement               2.50   1,600.00   4,000.00
                        hearing notes for plan confirmation hearing
                        (.9); attend plan confirmation hearing (1.6)
06/15/2023   MM57       Submit electronic appearances for hearing       0.20    540.00     108.00
06/15/2023   SMT1       Review submissions and cases in                 4.60    855.00    3,933.00
                        preparation for confirmation hearing (1.7);
                        prepare reference documents for
                        confirmation hearing (1.3); attend plan
                        confirmation hearing (1.6)




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Date         Initials   Description                                     Hours      Rate     Amount
06/19/2023   JTG4       Review W&E list from Beneficent                  0.10   1,700.00     170.00
             Subtotal: B155 Court Hearings                              17.90              24,235.00




B160   Fee/Employment Applications
06/09/2023   JI2        Draft April fee statement (.2); draft interim    0.90   1,125.00    1,012.50
                        fee application (.7)
             Subtotal: B160 Fee/Employment Applications                  0.90               1,012.50




B195   Non-Working Travel
06/14/2023   JDE        Travel from New York, NY to Houston,            10.50    800.00     8,400.00
                        TX for confirmation hearing. (Bill at 1/2
                        rate)
06/16/2023   JDE        Travel from Houston, TX to New York,             5.80    800.00     4,640.00
                        NY from confirmation hearing. (Bill at 1/2
                        rate)
             Subtotal: B195 Non-Working Travel                          16.30              13,040.00




B260   Board of Directors Matters
06/03/2023   JI2        Prepare director invoice (.3); emails with S.    0.50   1,125.00     562.50
                        Clements re same (.1); emails with L.
                        Chiappetta (Mayer Brown) re same (.1)
06/14/2023   JI2        Attend board meeting with J. Evans (.4);         0.50   1,125.00     562.50
                        emails with D. Fliman and J. Evans re same
                        (.1)
06/14/2023   JG32       Correspond with J. Evans and client              0.40   1,875.00     750.00
                        regarding case plan and next steps
06/14/2023   JDE        Review plan issues and prepare outline for       0.70   1,600.00    1,120.00
                        board meeting (.3); attend board meeting
                        with J. Iaffaldano (.4)
             Subtotal: B260 Board of Directors Matters                   2.10               2,995.00




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Date         Initials   Description                                    Hours      Rate    Amount



B320   Plan and Disclosure Statement (including Business Plan)
06/05/2023   JTG4       Review and analyze plan objections              0.70   1,700.00   1,190.00
06/05/2023   JDE        Review and analyze plan, disclosure             1.50   1,600.00   2,400.00
                        statement, and supporting documents
06/05/2023   ML30       Correspond with J. Iaffaldano re plan           0.90    540.00     486.00
                        objections and responses (.2); research
                        regarding same (.6); follow up
                        correspondence with J. Iaffaldano regarding
                        same (.1)
06/08/2023   DF9        Correspond with J. Evans re plan                0.50   1,725.00    862.50
                        provisions and exculpations.
06/09/2023   JTG4       Review updated plan documents and new           0.80   1,700.00   1,360.00
                        plan objections
06/09/2023   JDE        Review and analyze plan modifications.          0.80   1,600.00   1,280.00
06/12/2023   AM50       Review recent case updates regarding Plan       0.30   1,725.00    517.50
                        releases for independent directors
06/13/2023   JDE        Review recent docket filings in anticipation    0.50   1,600.00    800.00
                        of confirmation hearing.
06/14/2023   AM50       Follow up correspondence with J. Evans          0.50   1,725.00    862.50
                        regarding certain plan provisions
06/14/2023   JTG4       Emails with S. Thomas and J. Evans re June      2.00   1,700.00   3,400.00
                        15 confirmation hearing (.6); prepare for
                        same by reviewing amended plan and
                        related confirmation documents (1.4)
06/14/2023   JG32       Analyze submissions and issues regarding        1.70   1,875.00   3,187.50
                        plan confirmation and hearing
06/14/2023   JG32       Review certain recently filed pleadings         0.70   1,875.00   1,312.50
                        regarding confirmation
06/14/2023   JDE        Analyze plan comments                           0.80   1,600.00   1,280.00
06/14/2023   SMT1       Review submissions in preparation for           1.10    855.00     940.50
                        confirmation hearing on 6/15/23




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Date           Initials   Description                                       Hours           Rate    Amount
06/15/2023     JG32       Analyze and comment on plan confirmation            2.60     1,875.00     4,875.00
                          matters (1.4); telephone conference with
                          client regarding same (.4); review
                          submissions related to plan confirmation
                          and hearing (.8)
               Subtotal: B320 Plan and Disclosure Statement                  15.40                 24,754.00
                         (including Business Plan)



       Total                                                                60.90                  76,104.00

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                   Hours                Rate                Fee
JG32    Jayme Goldstein                 Partner                      5.50       1,875.00           10,312.50
AM50    Allison Miller                  Partner                      0.80       1,725.00            1,380.00
DF9     Dan Fliman                      Partner                      0.50       1,725.00              862.50
JTG4    James T. Grogan                 Partner                  16.00          1,700.00           27,200.00
JDE     Jeremy D. Evans                 Of Counsel                   6.80       1,600.00           10,880.00
JDE     Jeremy D. Evans                 Of Counsel               16.30           800.00            13,040.00
JI2     Jack Iaffaldano                 Associate                    3.90       1,125.00            4,387.50
SMT1    Schlea M. Thomas                Associate                    6.50        855.00             5,557.50
ML30    Mat Laskowski                   Paralegal                    4.00        540.00             2,160.00
MM57    Michael Magzamen                Paralegal                    0.60        540.00               324.00

Costs incurred and advanced

Date           Description                                                  Quantity     Rate       Amount
06/28/2023 Airfare - Jeremy Evans; 06/14/2023; From/To:                                              567.80
           LGA/IAH; Airfare Class: Economy; trip to
           Houston, Texas regarding attending Confirmation
           hearing




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06/28/2023 Travel Expense - Meals - Jeremy Evans;                                40.00
           06/15/2023; Restaurant: Morton's ; City: Houston ;
           Dinner; Number of people: 1; trip to Houston,
           Texas regarding attending Confirmation hearing
06/28/2023 Lodging - Jeremy Evans; 06/16/2023; Hotel:                           903.22
           Marriott; Check-in date: City: Houston;
           06/14/2023; Check-out date: 06/16/2023; trip to
           Houston, Texas regarding attending Confirmation
           hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                           102.74
           06/16/2023; From/To: Airport/Home ; Service
           Type: Uber; Time: 11:30; trip to Houston, Texas
           regarding attending Confirmation hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                           117.57
           06/16/2023; From/To: Hotel/Airport ; Service
           Type: Uber; Time: 05:28; trip to Houston, Texas
           regarding attending Confirmation hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                           145.73
           06/15/2023; From/To: Airport/Hotel ; Service
           Type: Uber; Time: 01:24; trip to Houston, Texas
           regarding attending Confirmation hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                            85.30
           06/14/2023; From/To: Home/Airport ; Service
           Type: Uber; Time: 17:15; trip to Houston, Texas
           regarding attending Confirmation hearing
Total Costs incurred and advanced                                             $1,962.36

            Current Fees and Costs                                         $78,066.36
            Total Balance Due - Due Upon Receipt                           $78,066.36




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                                   EXHIBIT B

                 MONTHLY STATEMENTS FOR FINAL PERIOD




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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al.,1                                                  ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

      NOTICE OF FIRST MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
     COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
      BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
            FROM OCTOBER 31, 2022 THROUGH NOVEMBER 30, 2022

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  10/31/2022            11/30/2022
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $318,068.00 (80% of $397,585.00)
    Total expenses requested in this Statement:                             $3,260.16
    Total fees and expenses requested in this Statement                     $400,845.16
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $321,328.16
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $386,592.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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    Total actual attorney hours covered by this Statement:                281.40
    Average hourly rate for attorneys:                                    $1,374
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $10,993.00
    Total actual paraprofessional hours covered by this Statement:        21.20
    Average hourly rate for paraprofessionals:                            $519

          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”),2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this first monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from October 31, 2022 through and including

November 30, 2022 (the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.

          4.       Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



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                          NOTICE AND OBJECTION PROCEDURES

         5.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         6.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         7.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,


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pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       8.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.



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Dated: January 13, 2023             Respectfully submitted,
       Houston, Texas
                                     /s/ James T. Grogan III
                                    PAUL HASTINGS LLP
                                    James T. Grogan III (TX Bar No. 24027354)
                                    600 Travis Street, 58th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 860-7300
                                    Facsimile: (713) 353-3100
                                    Email: jamesgrogan@paulhastings.com

                                    -and-

                                    Jayme T. Goldstein (admitted pro hac vice)
                                    Daniel A Fliman (admitted pro hac vice)
                                    Allison Miller (admitted pro hac vice)
                                    Jeremy D. Evans (admitted pro hac vice)
                                    John F. Iaffaldano (admitted pro hac vice)
                                    200 Park Avenue
                                    New York, New York 10166
                                    Telephone: (212) 318-6000
                                    Facsimile: (212) 319-4090
                                    Email: jaymegoldstein@paulhastings.com

                                    Counsel to Sean Clements and the Conflicts Committee of
                                    the board of directors of DLP IV




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                                          Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                     Total for Fee Period
          Name        Department or      Date of      Hourly      Hours           Amount
                         Group            First        Rate       Billed
                                       Admission
 Fliman, Dan            Corporate         2003         1,610.00      56.80           $91,448.00
 Goldstein, Jayme       Corporate         2003         1,735.00      27.90           $48,406.50
 Grogan, James          Corporate         2000         1,585.00       4.80            $7,608.00
 Miller, Allison        Corporate         2004         1,610.00      57.20           $92,092.00
                                   Total Partner:                   146.70          $239,554.50
 Begun, Marina          Corporate         2009         1,410.00       6.50            $9,165.00
 Evans, Jeremy          Corporate         2013         1,485.00      38.50           $57,172.50
 Traxler, Katherine     Corporate         1990           920.00       3.10            $2,852.00
                                   Total Counsel:                    48.10           $69,189.50
 Grabis, Maria          Corporate         2016         1,200.00       3.00            $3,600.00
 Iaffaldano, Jack       Corporate         2020           930.00      63.60           $59,148.00
 Miliotes, Lanie        Corporate        Not yet
                                        admitted        755.00       20.00           $15,100.00
                                  Total Associate:                   86.60           $77,848.00
 Laskowski, Mat         Paralegal                       515.00       17.90            $9,218.50
 Lee, Sandy             Paralegal                       565.00        1.50              $847.50
 Magzamen, Michel       Paralegal                       515.00        1.80              $927.00
                          Total Paraprofessional:                    21.20           $10,993.00
                                           Total:                   302.60          $397,585.00




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                                                  Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                     Total for Fee Period

                 U.S. Trustee Task Code and Project Category      Total Hours    Total Fees
          B110    Case Administration                                    6.10      $7,092.50
          B113    Pleadings Review                                      13.20     $10,824.00
          B155    Court Hearings                                        35.20     $49,544.00
          B160    Employment / Fee Applications (Paul Hastings)         48.00     $49,580.50
          B230    Financing / Cash Collections                          11.90     $16,784.50
          B260    Board of Directors Matters                            22.30     $33,506.50
          B261    Investigations                                       133.30    $178,567.00
          B310    Claims Administration and Objections                  28.30     $45,063.00
          B320    Plan and Disclosure Statement                          4.30      $6,623.00
          TOTAL                                                        302.60    $397,585.00




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                                             Exhibit C

                       EXPENSE SUMMARY FOR FEE PERIOD

                                  Category               Total for Fee Period
                            Computer Search                             $31.16
           CSC/LexisNexis Document Solutions                         $2,774.80
           Meals                                                       $132.64
           Taxi/Ground Transportation                                  $142.68
           Reproduction Charges                                        $178.88
           TOTAL                                                     $3,260.16




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                                     Exhibit D

                      FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          January 12, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2344665

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Dan Fliman

Legal fees for professional services
for the period ending November 30, 2022                                                                      $397,585.00
                            Costs incurred and advanced                                                           3,260.16
                            Current Fees and Costs Due                                                       $400,845.16
                            Total Balance Due - Due Upon Receipt                                             $400,845.16




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          January 12, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2344665

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Dan Fliman

Legal fees for professional services
for the period ending November 30, 2022                                                                      $397,585.00
                            Costs incurred and advanced                                                           3,260.16
                            Current Fees and Costs Due                                                       $400,845.16
                            Total Balance Due - Due Upon Receipt                                             $400,845.16




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
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confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
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Please refer all questions to billing@paulhastings.com



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                                                PAUL HASTINGS LLP
                                                200 Park Avenue, New York, NY 10166-3205
                                                t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                  January 12, 2023
Suite 1200
220 South Sixth Street                                          Please Refer to
Minneapolis, MN 55402                                           Invoice Number: 2344665

Attn: Sean Clements                                             PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending November 30, 2022


Bankruptcy Case                                                                                   $397,585.00




Date         Initials   Description                                        Hours           Rate        Amount

B110   Case Administration
11/01/2022   ML30       Correspond with J. Iaffaldano re precedent            1.30      515.00           669.50
                        needed (.1); research regarding same (.8);
                        correspond with J. Iaffaldano regarding
                        same (.1); prepare case calendars (.3)
11/01/2022   MM57       Correspond with M. Laskowski regarding                0.20      515.00           103.00
                        ECF (.1); correspond with M. Laskowski
                        regarding initial case matters (.1)
11/02/2022   ML30       Update case calendars                                 0.10      515.00            51.50
11/02/2022   MM57       Correspond with Donlin re: service of                 0.10      515.00            51.50
                        process
11/03/2022   ML30       Update case calendars                                 0.20      515.00           103.00
11/04/2022   JG32       Review case status, filed orders (.7);                1.20    1,735.00         2,082.00
                        correspond with client regarding same and
                        next steps (.5)
11/04/2022   ML30       Update case calendars                                 0.20      515.00           103.00
11/07/2022   ML30       Update case calendars                                 0.10      515.00            51.50
11/08/2022   ML30       Update case calendars                                 0.10      515.00            51.50
11/10/2022   JG32       Main case monitoring                                  1.10    1,735.00         1,908.50




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Date         Initials   Description                                   Hours      Rate    Amount
11/14/2022   JG32       Review main case issues                        0.40   1,735.00    694.00
11/17/2022   ML30       Update PH team calendars                       0.10    515.00      51.50
11/18/2022   ML30       Update PH team calendars                       0.10    515.00      51.50
11/21/2022   AM50       Review recent case developments and court      0.60   1,610.00    966.00
                        filings
11/21/2022   ML30       Update PH team calendars                       0.10    515.00      51.50
11/22/2022   ML30       Update team calendars                          0.10    515.00      51.50
11/23/2022   ML30       Update team calendars                          0.10    515.00      51.50
             Subtotal: B110 Case Administration                        6.10              7,092.50




B113   Pleadings Review
11/01/2022   ML30       Monitor the docket (.1); prepare end of day    0.90    515.00     463.50
                        update for working group re: same (.3);
                        review first day pleadings for DLP debtors
                        and update working group re: same (.5)
11/02/2022   ML30       Monitor the docket (.4); prepare end of day    1.30    515.00     669.50
                        update for working group re: same (.9)
11/03/2022   JG32       Review and comment on case filings             0.60   1,735.00   1,041.00
11/03/2022   ML30       Monitor the docket (.1); prepare end of day    0.50    515.00     257.50
                        update for working group re: same (.4)
11/04/2022   ML30       Monitor the docket (.1); prepare end of day    0.40    515.00     206.00
                        update for working group re: same (.3)
11/07/2022   ML30       Monitor the docket (.1); prepare end of day    0.60    515.00     309.00
                        update for working group re: same (.5)
11/08/2022   ML30       Monitor the docket (.1); prepare end of day    0.50    515.00     257.50
                        update for working group re: same (.4)
11/09/2022   JG32       Review main case pleadings                     0.80   1,735.00   1,388.00
11/09/2022   ML30       Monitor the docket (.1); prepare end of day    0.20    515.00     103.00
                        update for working group re: same (.1)
11/10/2022   ML30       Monitor the docket (.1); prepare end of day    0.30    515.00     154.50
                        update for working group re: same (.2)
11/11/2022   JG32       Review Chapter 11 filings and monitor case     0.50   1,735.00    867.50




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Date         Initials   Description                                   Hours      Rate     Amount
11/11/2022   ML30       Monitor the docket (.1); prepare end of day    0.20    515.00      103.00
                        update for working group re: same (.1)
11/14/2022   ML30       Monitor the docket (.2); prepare end of day    0.40    515.00      206.00
                        update for working group re: same (.2)
11/15/2022   ML30       Monitor the docket (.2); prepare end of day    0.50    515.00      257.50
                        update for working group re: same (.3)
11/16/2022   ML30       Monitor the docket; (.2) prepare end of day    0.40    515.00      206.00
                        update for working group re: same (.2)
11/17/2022   ML30       Monitor the docket (.1); prepare end of day    0.30    515.00      154.50
                        update for working group re: same (.2)
11/18/2022   ML30       Monitor the docket (.1); prepare update for    0.20    515.00      103.00
                        working group re: same (.1)
11/21/2022   JG32       Chapter 11 pleadings review and analysis       0.80   1,735.00    1,388.00
11/21/2022   ML30       Prepare end of day update for working          0.10    515.00       51.50
                        group re: docket
11/22/2022   JG32       Review GWG proceeding matters and              0.60   1,735.00    1,041.00
                        pleadings/filings
11/22/2022   ML30       Monitor the docket (.1); prepare end of day    0.40    515.00      206.00
                        update for working group re: same (.3)
11/23/2022   ML30       Prepare end of day update for working          0.10    515.00       51.50
                        group re: docket
11/28/2022   ML30       Monitor the docket (.1); review recent         1.60    515.00      824.00
                        filings and update calendars and working
                        group re: same (.3); correspond with team
                        re dataroom to be downloaded (.1); review
                        voluminous dataroom (.9); correspond with
                        PH team re: same (.2)
11/29/2022   ML30       Monitor the docket (.1); review recent         0.20    515.00      103.00
                        filings and update calendars and working
                        group re: same (.1)
11/30/2022   ML30       Monitor the docket (.1); review recent         0.80    515.00      412.00
                        filings and update calendars and work group
                        re: same (.7)
             Subtotal: B113 Pleadings Review                          13.20              10,824.00




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Conflicts Committee of GWG DLP Funding IV, LLC                                              Page 4
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Date         Initials   Description                                     Hours      Rate    Amount

B155   Court Hearings
11/01/2022   AM50       Participate on calls with S. Clements and D.     1.20   1,610.00   1,932.00
                        Fliman related to first day hearing for DLP
                        IV (1.0); follow up review of same (0.2)
11/01/2022   DF9        Call with case parties re cash collateral        3.50   1,610.00   5,635.00
                        hearing (1.1); review submissions to prepare
                        for same (.6); correspond with client re
                        same (.6); call with MB team re anticipated
                        Akin objection (.4); outline response to
                        same (.8)
11/01/2022   JI2        Review first days for Nov. 2 hearing             0.30    930.00     279.00
11/01/2022   JTG4       Call with D. Fliman and L. Chiappetta to         0.70   1,585.00   1,109.50
                        discuss first day hearing prep.
11/01/2022   JDE        Review first day submissions in preparation      2.50   1,485.00   3,712.50
                        for hearing (1.4); calls and conferences with
                        PH team regarding same (1.1)
11/02/2022   AM50       Participate in first day hearing                 2.00   1,610.00   3,220.00
11/02/2022   DF9        Participate in court hearings re cash            5.30   1,610.00   8,533.00
                        collateral (2.0); review issues and notes to
                        prepare for same (2.3); correspond with
                        client re same (.4); correspond with PH
                        team re same (.6)
11/02/2022   JI2        Review issues and notes to prepare for first     4.00    930.00    3,720.00
                        day hearing (1.6); attend DLP IV first day
                        hearing (2.0); discussion with PH team re
                        same (.4)
11/02/2022   JG32       Attend DLP IV first day hearing                  2.10   1,735.00   3,643.50
11/02/2022   JDE        Attend first day hearing (2.1); prepare for      4.20   1,485.00   6,237.00
                        same (2.1)
11/02/2022   ML30       Monitor the first day hearing                    1.90    515.00     978.50
11/14/2022   AM50       Review matters related to emergency              1.00   1,610.00   1,610.00
                        conference with Bankruptcy Court (.3);
                        listen to conference (.4); review order on
                        same (.3)
11/14/2022   DF9        Participate in hearing re governance issues      1.70   1,610.00   2,737.00
                        (.6); correspond with PH team and clients
                        re same (1.1)




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Date         Initials   Description                                     Hours      Rate     Amount
11/14/2022   JI2        Attend status conference (.9); review related    1.20    930.00     1,116.00
                        order (.1); emails with PH team re same (.2)
11/14/2022   JG32       Attend status conference                         0.80   1,735.00    1,388.00
11/14/2022   JDE        Prepare for (1.0) and attend emergency           2.10   1,485.00    3,118.50
                        status conference (0.8); correspond and
                        conference with Paul Hastings team and S.
                        Clements regarding same (0.3)
11/14/2022   MM57       Observe hearing (.4); calendar subsequent        0.50    515.00      257.50
                        hearing (.1)
11/30/2022   JTG4       Review court calendar for upcoming               0.20   1,585.00     317.00
                        hearings
             Subtotal: B155 Court Hearings                              35.20              49,544.00




B160   Fee/Employment Applications
11/01/2022   JI2        Draft Paul Hastings retention application        3.80    930.00     3,534.00
                        (3.4); review disclosures for supporting
                        declaration (.4)
11/03/2022   DF9        Review and comment on PH retention               0.80   1,610.00    1,288.00
                        matters
11/03/2022   JI2        Draft retention application (4.6); draft         7.40    930.00     6,882.00
                        engagement letter (1.3); draft firm-wide
                        email re retention disclosures (.9); emails
                        with D. Hein re same (.3); analysis re same
                        (.3)
11/03/2022   KAT2       Review and mark up draft retention papers        2.20    920.00     2,024.00
                        (2.1); correspond with J. Iaffaldano
                        regarding same (.1)
11/07/2022   JI2        Review research related to with retention        3.40    930.00     3,162.00
                        application
11/07/2022   ML30       Correspond with J. Iaffaldano re retention       0.20    515.00      103.00
                        matter
11/08/2022   ML30       Correspond with J. Iaffaldano re retention       3.00    515.00     1,545.00
                        matter (.2); review additional information
                        regarding same (2.6); correspond with J.
                        Iaffaldano regarding same (.2)




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Date         Initials   Description                                     Hours      Rate    Amount
11/09/2022   JI2        Correspond with committee members                1.10    930.00    1,023.00
                        regarding engagement letter
11/10/2022   JI2        Revise retention application                     0.80    930.00     744.00
11/11/2022   JI2        Review and analyze conflicts research            1.60    930.00    1,488.00
                        results in connection with retention
                        application
11/11/2022   KAT2       Correspond with D. Hein regarding                0.40    920.00     368.00
                        engagement (.1); correspond with J.
                        Iaffaldano and C. Edge regarding
                        professional compensation (.1); review
                        issues regarding same (.2)
11/14/2022   JI2        Email client re engagement letter (.2); email    0.30    930.00     279.00
                        J. Evans re retention application (.1)
11/15/2022   JI2        Review conflicts research results in             1.10    930.00    1,023.00
                        connection with retention application.
11/15/2022   JDE        Review and revise Paul Hastings retention        2.20   1,485.00   3,267.00
                        application.
11/15/2022   KAT2       Correspond with J. Iaffaldano regarding          0.20    920.00     184.00
                        disclosures for retention application
11/18/2022   JI2        Prepare schedules regarding interested           0.90    930.00     837.00
                        parties for PH retention application
11/21/2022   JI2        Draft parts of retention application.            2.10    930.00    1,953.00
11/22/2022   JI2        Prepare retention application.                   3.70    930.00    3,441.00
11/23/2022   JTG4       Analyze issues related to retention              1.20   1,585.00   1,902.00
                        application (.8); emails with J. Goldstein
                        about same (.4)
11/27/2022   JI2        Review professional fee matters                  0.70    930.00     651.00
11/28/2022   AM50       Review and comment on engagement letter          0.30   1,610.00    483.00
11/28/2022   JI2        Review and revise PH retention application,      3.10    930.00    2,883.00
                        supporting declarations, and proposed
                        order
11/29/2022   JI2        Prepare parts of retention application           0.60    930.00     558.00
11/29/2022   JTG4       Review and revise PH retention application       1.80   1,585.00   2,853.00
                        (1.4); emails with J. Iaffaldano about same
                        (.4)
11/30/2022   AM50       Review and comment on retention matters          1.00   1,610.00   1,610.00




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Date         Initials   Description                                     Hours      Rate     Amount
11/30/2022   DF9        Revise PH retention application (1.7);           2.10   1,610.00    3,381.00
                        review and comment on filing of same (.4)
11/30/2022   JTG4       Emails with J. Iaffaldano and D. Fliman          0.90   1,585.00    1,426.50
                        about PH retention application
11/30/2022   KAT2       Call with J. Iaffaldano regarding retention      0.30    920.00      276.00
                        questions (.2); review local rules and
                        complex case procedures related to same
                        (.1)
11/30/2022   MM57       Correspond with J. Iaffaldano re: PH             0.80    515.00      412.00
                        retention application (.1); review same (.5);
                        correspond with working group re: same
                        (.1); e-file same (.1)
             Subtotal: B160 Fee/Employment Applications                 48.00              49,580.50




B230   Financing/Cash Collections
11/02/2022   DF9        Review proposed language re use of cash          0.80   1,610.00    1,288.00
                        collateral and correspond with case parties
                        re same
11/02/2022   JI2        Review objection to cash collateral order        1.40    930.00     1,302.00
11/02/2022   JG32       Revise cash collateral order (.6); telephone     1.10   1,735.00    1,908.50
                        conference with S. Clements regarding same
                        (.5)
11/02/2022   JDE        Review and revise cash collateral order          2.80   1,485.00    4,158.00
                        (1.6); correspond with PH team regarding
                        same (.5); conference with PH team
                        regarding same (.7)
11/03/2022   DF9        Call with W&C re cash collateral.                0.50   1,610.00     805.00
11/03/2022   JG32       Finalize cash collateral order                   0.80   1,735.00    1,388.00
11/19/2022   DF9        Call with W&C team re case developments,         1.00   1,610.00    1,610.00
                        DIP (.6); correspond with PH team re same
                        and outline related analysis (.4)
11/19/2022   JI2        Call with S. Clements regarding DIP issues       2.00    930.00     1,860.00
                        (1.2); emails with PH team regarding same
                        (.6); email S. Clements re same (.2)




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Date         Initials   Description                                    Hours       Rate     Amount
11/21/2022   DF9        Correspond with W&C team re DIP                 1.10    1,610.00    1,771.00
                        matters (.3); analyze same (.6); correspond
                        with PH team re related issues/tasks (.2)
11/22/2022   JG32       Correspond with W&C regarding DIP               0.40    1,735.00     694.00
                        matters
             Subtotal: B230 Financing/Cash Collections                  11.90              16,784.50




B260   Board of Directors Matters
11/01/2022   AM50       Research and analysis regarding board           2.60    1,610.00    4,186.00
                        matters (2.2); telephone call with S.
                        Clements on same (0.4)
11/02/2022   AM50       Update calls with Mintz & Gold and PH           1.20    1,610.00    1,932.00
                        team regarding board matters (.5); review
                        and comment on cash collateral order
                        language related to fiduciary duties for DLP
                        IV Board (.7)
11/02/2022   JI2        Review board resolutions of GWG Life and        0.40     930.00      372.00
                        GWG Holdings (.3); email D. Fliman re
                        same (.1)
11/08/2022   JG32       Review deck for S. Clements in preparation      2.10    1,735.00    3,643.50
                        for conflicts committee meeting
11/09/2022   AM50       Attend conflicts committee meeting (.5);        1.00    1,610.00    1,610.00
                        follow up analysis regarding same (.5)
11/09/2022   DF9        Attend conflicts committee meeting              0.50    1,610.00     805.00
11/09/2022   JI2        Attend conflicts committee meeting (.5);        3.40     930.00     3,162.00
                        prepare minutes for same (2.2); follow up
                        analysis re same (.7)
11/09/2022   JG32       Conflicts committee meeting attendance          0.60    1,735.00    1,041.00
11/11/2022   JG32       Participate in conflicts committee telephone    0.40    1,735.00     694.00
                        conference
11/16/2022   DF9        Attend Board update call (.5); follow up        1.00    1,610.00    1,610.00
                        review of related matters (.5)
11/18/2022   AM50       Participate on update call with conflicts       0.50    1,610.00     805.00
                        committee members and Mayer Brown




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Date         Initials   Description                                    Hours      Rate     Amount
11/18/2022   JDE        Attend DLP IV Board call (1.0); correspond      1.20   1,485.00    1,782.00
                        with Paul Hastings with respect to same
                        (0.2)
11/19/2022   JDE        Call with S. Clements and Paul Hastings         0.70   1,485.00    1,039.50
                        team regarding DLP IV board meeting.
11/23/2022   AM50       Participate on conflicts committee call         0.50   1,610.00     805.00
11/23/2022   DF9        Meeting with DLP IV board re updates (.5);      2.00   1,610.00    3,220.00
                        meeting with DLP IV conflicts committee
                        re same (.5); correspond with A. Miller and
                        J. Evans re board meeting (.4); assess board
                        tasks, approvals (.6)
11/23/2022   JG32       Review and comment on GWG case and              0.70   1,735.00    1,214.50
                        board issues
11/23/2022   JDE        Prepare for (.2) and attend board call (.5);    1.20   1,485.00    1,782.00
                        attend call with conflicts committee (.5)
11/29/2022   JG32       Review case status (.6); correspond with S.     1.30   1,735.00    2,255.50
                        Clements regarding same (.7 )
11/30/2022   DF9        Participate in DLP IV board meeting.            0.50   1,610.00     805.00
11/30/2022   JDE        Prepare for and attend board call               0.50   1,485.00     742.50
             Subtotal: B260 Board of Directors Matters                 22.30              33,506.50




B261   Investigations
11/01/2022   DF9        Outline investigation tasks, timing.            0.80   1,610.00    1,288.00
11/02/2022   AM50       Follow up correspondence with PH team           1.00   1,610.00    1,610.00
                        on work plan & next steps
11/02/2022   DF9        Outline tasks re investigation with PH team.    0.90   1,610.00    1,449.00
11/03/2022   AM50       Review and comment on conflicts                 3.50   1,610.00    5,635.00
                        committee engagement letter and work plan
                        (1.5); participate on calls with W&C
                        regarding conflicts committee (.7);
                        correspond with PH team on work plan and
                        analysis of case issues (1.3)
11/03/2022   DF9        Outline investigation issues/tasks (.9);        1.70   1,610.00    2,737.00
                        conference with PH team re investigation
                        (.8)




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Date         Initials   Description                                      Hours      Rate    Amount
11/03/2022   JDE        Review and comment on diligence list (1.1);       2.00   1,485.00   2,970.00
                        meetings with PH team regarding same,
                        next steps (.9)
11/03/2022   MG21       Discussion with D. Fliman regarding Beal          2.50   1,200.00   3,000.00
                        investigation (.7); review lender presentation
                        regarding same (1.3); correspond with PH
                        team regarding document request in
                        connection with review (.3); correspond
                        with M. Begun regarding review (.2)
11/03/2022   MIZ        Review DLP IV credit agreement, first day         3.50   1,410.00   4,935.00
                        filings and additional information (2.8);
                        correspond with M. Grabis and J.
                        Iaffaldano regarding same (0.7)
11/03/2022   SL32       Review and revise lien and IP search chart        0.50    565.00     282.50
                        for GWG DLP Funding IV, LLC
11/04/2022   AM50       Participate on introductory call with Katten      1.80   1,610.00   2,898.00
                        (.6); review work plan and case issue
                        analysis (1.0); correspond with PH team
                        regarding same (.2)
11/04/2022   DF9        Call with Katten team re investigation (.5);      2.40   1,610.00   3,864.00
                        outline issues/tasks and strategy for same
                        (.6); correspond with PH team re same (.4);
                        review and comment on related issues (.5);
                        review draft diligence list (.4)
11/04/2022   JI2        Draft committee priority document                 8.00    930.00    7,440.00
                        requests (5.3); correspond with J. Evans re
                        same (.8); correspond with M. Grabis and
                        M. Begun re document requests related to
                        finance issues (.7); revise document requests
                        in connection with same (1.1); email
                        Debtors' counsel re document requests (.1)
11/04/2022   JDE        Review and comment on diligence list (1.2);       2.50   1,485.00   3,712.50
                        prepare for and attend W&C call regarding
                        diligence and investigation (1.3)
11/04/2022   MG21       Correspond with PH team regarding                 0.50   1,200.00    600.00
                        document request (.2); review related list of
                        diligence requests (.3)




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Date         Initials   Description                                      Hours      Rate    Amount
11/04/2022   MIZ        Review data room and revise priority              3.00   1,410.00   4,230.00
                        request list (2.0); review and comment on
                        letter regarding document request list (0.5);
                        related correspondence with J. Iaffaldano
                        and J. Evans (0.5)
11/04/2022   SL32       Review and revise lien summary chart              0.50    565.00     282.50
11/05/2022   JI2        Prepare action plan re conflicts committee        3.70    930.00    3,441.00
                        investigation.
11/06/2022   JDE        Review and revise investigation work plan         1.00   1,485.00   1,485.00
                        (.7); correspond with J. Iaffaldano regarding
                        same (.3)
11/07/2022   AM50       Participate on call with S. Clements              2.20   1,610.00   3,542.00
                        regarding conflicts committee update (.5);
                        up review of issues (.2); conduct analysis
                        regarding Beal prepetition transactions (1.5)
11/07/2022   DF9        Correspond with PH team re issues/task list       0.80   1,610.00   1,288.00
                        for investigation.
11/07/2022   SL32       Review lien searches for GWG DLP                  0.50    565.00     282.50
                        Funding IV, LLC
11/08/2022   AM50       Review work plan for investigation (1.0);         3.60   1,610.00   5,796.00
                        provide comments on same (.6); review
                        issues and notes to prepare for meeting
                        with S. Clements (1.2); review and comment
                        on diligence requests (.8)
11/08/2022   DF9        Evaluate investigation issues and related         0.50   1,610.00    805.00
                        tasks.
11/09/2022   AM50       Review submissions and notes to prepare           4.20   1,610.00   6,762.00
                        for S. Clements meeting (1.0); participate in
                        meeting with S. Clements regarding
                        conflicts committee investigation (2.7);
                        discussions with Mintz & Gold regarding
                        diligence requests (.5)
11/09/2022   DF9        Conference with S. Clements re                    2.60   1,610.00   4,186.00
                        investigation issues/tasks (1.0); outline same
                        (.8); correspond with PH team re same (.8)
11/09/2022   JI2        Correspond with Mayer Brown regarding             0.40    930.00     372.00
                        document requests




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Date         Initials   Description                                        Hours      Rate    Amount
11/10/2022   DF9        Review and comment on documents                     0.90   1,610.00   1,449.00
                        needed and related tasks for investigation.
11/10/2022   JI2        Emails with C. Herrera (Mayer Brown) re             1.30    930.00    1,209.00
                        document requests and production (.7);
                        follow up call with C. Herrera re same (.3);
                        emails with PH team re same (.3)
11/10/2022   ML30       Correspond with J. Iaffaldano re dataroom           0.20    515.00     103.00
                        preparation (.1); monitor same for
                        documents to be populated (.1)
11/11/2022   AM50       Follow up conflicts committee investigation         3.20   1,610.00   5,152.00
                        and analysis (2.0); participate on calls with S.
                        Clements and D. Fliman regarding same
                        (1.2)
11/11/2022   DF9        Call with Akin team re investigation (.5); call     2.70   1,610.00   4,347.00
                        with PH team re investigation issues/tasks,
                        next steps (1.1); review and comment on
                        interview and document needs (1.1)
11/11/2022   JG32       Review and comment on discovery issues              0.40   1,735.00    694.00
11/11/2022   JDE        Attend telephone conference with Akin               2.10   1,485.00   3,118.50
                        regarding investigation (.5); attend
                        telephone conference with Paul Hastings
                        team regarding next steps in investigation
                        (1.1); review and analyze bondholder
                        committee discovery requests (0.5)
11/14/2022   AM50       Participate on call with W&C regarding              1.50   1,610.00   2,415.00
                        DLP IV investigation (.5); analysis on same
                        (1.0)
11/14/2022   DF9        Call with W&C team re investigation of              0.50   1,610.00    805.00
                        Beal.
11/14/2022   JI2        Call with L. Miliotes and J. Evans re               1.40    930.00    1,302.00
                        investigation issues (.5); follow up call with
                        L. Miliotes re same (.2); review notes re
                        investigation issues in preparation for same
                        (.2); correspond with J. Evans re same (.4)
11/14/2022   JG32       Correspond with client regarding                    0.40   1,735.00    694.00
                        case/investigation update




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Date         Initials   Description                                     Hours      Rate    Amount
11/14/2022   JDE        Meetings with Paul Hastings team regarding       1.00   1,485.00   1,485.00
                        investigation and next steps (0.5); telephone
                        conference with Paul Hastings and White &
                        Case teams regarding investigation (0.5)
11/14/2022   LM20       Analyze investigation matters (.8); follow up    1.50    755.00    1,132.50
                        call with J. Iaffaldano regarding same (.2);
                        call with J. Iaffaldano and J. Evans re
                        investigation issues (.5)
11/15/2022   AM50       Review protective order as it relates to DLP     2.20   1,610.00   3,542.00
                        IV conflicts committee (.7); discuss same
                        with D. Fliman (.3); review issues and notes
                        to prepare for meeting with Beal Bank (1.2)
11/15/2022   DF9        Review and comment on Beal interview             1.00   1,610.00   1,610.00
                        matters (.4); outline related issues and
                        preparatory tasks (.6)
11/15/2022   JG32       Correspond with Conflicts Committee              1.10   1,735.00   1,908.50
                        regarding investigation (.4); review and
                        comment on discovery issues (.3); review
                        related documents (.4)
11/15/2022   LM20       Meet with J. Evans and J. Iaffaldano             5.30    755.00    4,001.50
                        regarding investigation matters(.3); draft
                        memorandum regarding same (1.8);
                        research and analysis regarding investigation
                        matters (3.2)
11/16/2022   AM50       Prepare outline for Beal Bank interview          2.60   1,610.00   4,186.00
                        (1.3); review and comment on protective
                        order (1.0); respond to emails from J. Evans
                        on same (.3)
11/16/2022   DF9        Review document needs and related tasks          1.20   1,610.00   1,932.00
                        for investigation (.6); review and comment
                        on confidentiality terms (.6)
11/16/2022   JI2        Review sealed exhibits filed by UCC (5.3);       5.50    930.00    5,115.00
                        correspond with A. Miller regarding same
                        (.2)
11/16/2022   JG32       Review status of court adjournment (.3);         1.10   1,735.00   1,908.50
                        correspond with S. Clements regarding
                        same (.4); review status of Committee and
                        investigation (.4)




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Date         Initials   Description                                       Hours      Rate     Amount
11/16/2022   LM20       Research and analysis regarding                    4.20    755.00     3,171.00
                        investigation matters (2.8); draft
                        memorandum regarding same (1.4)
11/17/2022   AM50       Review issues and supplement outline for           6.60   1,610.00   10,626.00
                        Beal Bank questions/interview (3.2);
                        prepare internal documentation with respect
                        to the same (2.8); research and analysis
                        regarding investigation matters (.6)
11/17/2022   DF9        Evaluate documents with respect to Beal            4.30   1,610.00    6,923.00
                        interview (2.1); revise outline for same (1.4);
                        correspond with PH team re same (.8)
11/17/2022   JG32       Review and comment on discovery, DIP               1.30   1,735.00    2,255.50
                        and main case issues (1.3)
11/17/2022   LM20       Research and analysis regarding                    5.80    755.00     4,379.00
                        investigation matters (3.0); draft
                        memorandum regarding same (2.8)
11/18/2022   AM50       Review issues and outline to prepare for           5.10   1,610.00    8,211.00
                        Beal Bank interview (2.2); participate in
                        interview with Beal Bank (1.1); review and
                        handle follow up matters related to Beal
                        Bank interview (1.8)
11/18/2022   DF9        Prepare for and conduct interview of Beal          2.70   1,610.00    4,347.00
                        representative (1.4); discuss same with PH
                        team and S. Clements (.8); outline follow up
                        investigation issues/tasks (.5)
11/18/2022   JG32       Discovery and case matter analysis (.7);           1.20   1,735.00    2,082.00
                        telephone conference with S. Clements
                        regarding updates on same (.5)
11/18/2022   JDE        Attend Beal Bank interview (0.8); attend           1.40   1,485.00    2,079.00
                        Paul Hastings internal call post-Beal
                        interview (0.6)
11/18/2022   LM20       Draft memorandum regarding certain                 3.20    755.00     2,416.00
                        investigation matters (1.9); call with J.
                        Iaffaldano and J. Evans re same (1.3)
11/18/2022   ML30       Review notice re dataroom updates (.1);            0.20    515.00      103.00
                        organize; correspond with J. Iaffaldano re:
                        same (.1)




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Date         Initials   Description                                      Hours       Rate      Amount
11/19/2022   AM50       Follow up correspondence with S. Clements          1.00   1,610.00     1,610.00
                        and D. Fliman regarding Beal Bank
                        interview and related matters.
11/21/2022   AM50       Follow up correspondence with PH team              0.40   1,610.00      644.00
                        on outstanding diligence requests
11/21/2022   JG32       Review and comment on discovery matters            0.30   1,735.00      520.50
11/22/2022   AM50       Review and comment on ongoing                      1.00   1,610.00     1,610.00
                        diligence/discovery items
11/22/2022   DF9        Outline issues and related tasks with respect      0.50   1,610.00      805.00
                        to investigation.
11/22/2022   JG32       Review and comment on investigation                0.70   1,735.00     1,214.50
                        matters issues list (.3); correspond with PH
                        team and S. Clements regarding same (.4)
11/22/2022   JDE        Correspond with PH and MB teams                    0.30   1,485.00      445.50
                        regarding document production.
11/23/2022   DF9        Review and comment on investigation                0.50   1,610.00      805.00
                        issues and related tasks.
11/23/2022   JG32       Review and comment on discovery and                0.70   1,735.00     1,214.50
                        settlement matters
11/28/2022   MM57       Correspond with vendor re: discovery (.1);         0.20    515.00       103.00
                        correspond w/ J. Iaffaldano and M.
                        Laskowski re: same (.1)
             Subtotal: B261 Investigations                               133.30              178,567.00




B310   Claims Administration and Objections
11/22/2022   AM50       Review and comment on recent                       1.30   1,610.00     2,093.00
                        developments related to potential
                        settlement of Beal claims (1.0); discussions
                        with D. Fliman on same (.3)
11/22/2022   DF9        Call with L. Chiappetta and G. King re             4.00   1,610.00     6,440.00
                        potential resolution of Beal claims (.4); call
                        with Beal counsel re same (.4); correspond
                        with PH team re same (1.2); correspond
                        with client re same (.5); correspond with
                        Mintz re same (.4); outline related issues,
                        tasks, consideration (1.1)




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Date         Initials   Description                                    Hours      Rate    Amount
11/23/2022   AM50       Analyze matters related to proposed             0.90   1,610.00   1,449.00
                        settlement
11/23/2022   DF9        Review issues re settlement of Beal claims      1.80   1,610.00   2,898.00
                        (.6); correspond with case parties re same
                        (.8); correspond with PH team re same (.4)
11/26/2022   DF9        Review and comment on pleadings re Beal         0.60   1,610.00    966.00
                        settlement.
11/26/2022   JG32       Review and comment on Beal settlement           2.20   1,735.00   3,817.00
                        matters (.8 ); correspond with client
                        regarding same (.9); review and comment
                        on Rule 9019 motion and term sheet (.5)
11/27/2022   DF9        Review comments re Beal settlement              0.40   1,610.00    644.00
                        pleadings.
11/28/2022   AM50       Review and comment on Beal settlement           0.40   1,610.00    644.00
                        discussions
11/28/2022   DF9        Review draft motion re resolution of Beal       2.60   1,610.00   4,186.00
                        claims (.8); outline revisions to same (.5);
                        correspond with case parties re same (.5);
                        correspond with PH team re revisions to
                        draft settlement motion (.8)
11/28/2022   JDE        Review and revise rule 9019 settlement          4.80   1,485.00   7,128.00
                        motion (4.3); correspond and conference
                        with PH team regarding same (0.5)
11/29/2022   AM50       Review and revise Rule 9019 motion              1.40   1,610.00   2,254.00
                        regarding comprehensive settlement
11/29/2022   DF9        Review and revise Beal claims settlement        1.70   1,610.00   2,737.00
                        (.9); correspond with PH team re same (.8)
11/29/2022   JG32       Review and comment on settlement                0.50   1,735.00    867.50
                        documents and discovery issues (.5)
11/29/2022   JDE        Review and comment on rule 9019 motion          2.10   1,485.00   3,118.50
                        (1.6); correspond with PH team, other case
                        professionals regarding same (0.5)
11/30/2022   DF9        Review and comment on Beal claim                0.40   1,610.00    644.00
                        settlement documents
11/30/2022   JG32       Review and comment on Rule 9019 issues          1.70   1,735.00   2,949.50
                        (.9); review and analyze settlement matters
                        (.8)




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Date           Initials   Description                                          Hours           Rate     Amount
11/30/2022     JDE        Review modifications to Rule 9019 motion               1.50    1,485.00       2,227.50
                          (0.3); correspond and conference with PH
                          team, other case professionals regarding
                          same (1.2)
               Subtotal: B310 Claims Administration and                         28.30                  45,063.00
                         Objections




B320   Plan and Disclosure Statement (including Business Plan)
11/30/2022     AM50       Review draft plan (.7); discussions with J.            1.40    1,610.00       2,254.00
                          Evans on same (.7)
11/30/2022     DF9        Review and comment on plan revisions                   0.50    1,610.00        805.00
                          with PH team.
11/30/2022     JDE        Review and comment on plan                             2.40    1,485.00       3,564.00
               Subtotal: B320 Plan and Disclosure Statement                      4.30                   6,623.00
                         (including Business Plan)



       Total                                                                   302.60                 397,585.00

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                      Hours                Rate                 Fee
JG32    Jayme Goldstein                 Partner                     27.90          1,735.00            48,406.50
AM50    Allison Miller                  Partner                     57.20          1,610.00            92,092.00
DF9     Dan Fliman                      Partner                     56.80          1,610.00            91,448.00
JTG4    James T. Grogan                 Partner                         4.80       1,585.00             7,608.00
JDE     Jeremy D. Evans                 Of Counsel                  38.50          1,485.00            57,172.50
MIZ     Marina I. Begun                 Of Counsel                      6.50       1,410.00             9,165.00
KAT2    Katherine A. Traxler            Of Counsel                      3.10        920.00              2,852.00
MG21    Maria Grabis                    Associate                       3.00       1,200.00             3,600.00
JI2     Jack Iaffaldano                 Associate                   63.60           930.00             59,148.00
LM20    Lanie Miliotes                  Associate                   20.00           755.00             15,100.00
SL32    Sandy Lee                       Paralegal                       1.50        565.00                847.50




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ML30    Mat Laskowski          Paralegal              17.90        515.00       9,218.50
MM57    Michael Magzamen       Paralegal               1.80        515.00        927.00

Costs incurred and advanced

Date        Description                                       Quantity   Rate   Amount
11/09/2022 Photocopy Charges                                   376.00    0.08     30.08
11/16/2022 Photocopy Charges                                  1,860.00   0.08   148.80
11/02/2022 Computer Search (Other)                                                 6.30
11/03/2022 Local - Meals - Grubhub Holdings Inc. f/k/a                            36.58
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           54 dated 11/6/2022; Jack laffaldano; Restaurant:
           House of Lasagna; Dinner; Number of people: 1;
           Location: Washington, D.C.; Work meal expense.;
           Order # 572020594888867 dated 11/03/2022
11/07/2022 CSC/LexisNexis Document Solutions - Requested                        127.20
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Service Fee - Litigation Search
11/07/2022 CSC/LexisNexis Document Solutions - Requested                        127.20
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           Service Fee - Litigation Search
11/07/2022 CSC/LexisNexis Document Solutions - Requested                        127.20
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           Service Fee - Judgment Search
11/07/2022 CSC/LexisNexis Document Solutions - Requested                        169.60
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Service Fee - Judgment Search




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           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           Disbursement/cost
11/07/2022 CSC/LexisNexis Document Solutions - Requested                     325.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113427601 dated
           2022-11-07; Gwg Dlp Funding IV, Llc US Service
           Fee-Copyright Portfolio Name Srch-2da
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      42.40
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Service Fee - Ucc Search State Level
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      42.40
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Service Fee - Ucc Search - County Level
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      42.40
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Service Fee - Bankruptcy Search
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      42.40
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           Service Fee - Bankruptcy Search
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      42.40
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           Service Fee - Ucc Search - County Level
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      42.40
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Service Fee - Tax Search




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           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
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           Service Fee - Ucc Search State Level
11/07/2022 CSC/LexisNexis Document Solutions - Requested                     440.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113427585 dated
           2022-11-07; Gwg Dlp Funding IV, Llc US Service
           Fee-Trademark Ownership Search-2 Day
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      50.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           Special Handling Fee - Expedited Lien/litigat
11/07/2022 CSC/LexisNexis Document Solutions - Requested                     535.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113427620 dated
           2022-11-07; Gwg Dlp Funding IV, Llc US Service
           Fee-Patent Ownership Search-2 Day Ser
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      75.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Special Handling Fee - Expedited Lien/litigat
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      76.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           Disbursement/cost
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      84.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           County/court Disbursement/cost
11/07/2022 CSC/LexisNexis Document Solutions - Requested                      84.00
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search TX
           County/court Disbursement/cost




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Conflicts Committee of GWG DLP Funding IV, LLC                              Page 21
51132-00002
Invoice No. 2344665



11/07/2022 CSC/LexisNexis Document Solutions - Requested                      84.80
           by Sandy Lee; Corporation Service Company
           (USD)(JPMSUA); Invoice # 86113426763 dated
           2022-11-07; Gwg Dlp Funding IV, Llc Search DE
           Service Fee - Tax Search
11/08/2022 Local - Meals - Grubhub Holdings Inc. f/k/a                        63.76
           Seamlessweb (USD) (JPMSUA); Invoice # SL-190-
           55 dated 11/20/2022; NY Reception; Location:
           Washington, D.C.; Ordered by C. Pickens on behalf
           of T. Garcia. NY 6 person snack (Sherwood) for
           Conflicts Meeting in 26-150 Verrazano. C/M:
           51132-00002 meeting date 11/9/22.; Order #
           905920646350250 dated 11/08/2022
11/11/2022 Local - Meals - Jayme Goldstein; 10/30/2022;                       32.30
           Restaurant: Heartland; City: New York; Lunch;
           Number of people: 1; work meal expense; Jayme
           Goldstein
11/15/2022 Local - Taxi - Jayme Goldstein; 11/02/2022;                        52.87
           From/To: office/home; Service Type: Uber; taxi
           expense for car ride home from late-night work
11/15/2022 Local - Taxi - Jayme Goldstein; 11/01/2022;                        89.81
           From/To: office/home; Service Type: Uber; taxi
           expense for car ride home from late-night work
11/18/2022 Westlaw                                                            24.86
Total Costs incurred and advanced                                          $3,260.16

            Current Fees and Costs                                      $400,845.16
            Total Balance Due - Due Upon Receipt                        $400,845.16




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CaseCase
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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al.,1                                                  ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

     NOTICE OF SECOND MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
     COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
      BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
            FROM DECEMBER 1, 2022 THROUGH DECEMBER 31, 2022

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  12/1/2022             12/31/2022
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $65,204.40 (80% of $81,505.50)
    Total expenses requested in this Statement:                             $198.68
    Total fees and expenses requested in this Statement                     $81,704.18
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $65,403.08
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $75,892.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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    Total actual attorney hours covered by this Statement:                51.60
    Average hourly rate for attorneys:                                    $1,471
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $5,613.50
    Total actual paraprofessional hours covered by this Statement:        10.90
    Average hourly rate for paraprofessionals:                            $515

          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”),2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this second monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from December 1, 2022 through and including

December 31, 2022 (the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.

          4.       Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



                                                          2

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                          NOTICE AND OBJECTION PROCEDURES

         5.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         6.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         7.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,


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pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       8.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.



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Dated: January 13, 2023             Respectfully submitted,
       Houston, Texas
                                     /s/ James T. Grogan III
                                    PAUL HASTINGS LLP
                                    James T. Grogan III (TX Bar No. 24027354)
                                    600 Travis Street, 58th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 860-7300
                                    Facsimile: (713) 353-3100
                                    Email: jamesgrogan@paulhastings.com

                                    -and-

                                    Jayme T. Goldstein (admitted pro hac vice)
                                    Daniel A Fliman (admitted pro hac vice)
                                    Allison Miller (admitted pro hac vice)
                                    Jeremy D. Evans (admitted pro hac vice)
                                    John F. Iaffaldano (admitted pro hac vice)
                                    200 Park Avenue
                                    New York, New York 10166
                                    Telephone: (212) 318-6000
                                    Facsimile: (212) 319-4090
                                    Email: jaymegoldstein@paulhastings.com

                                    Counsel to Sean Clements and the Conflicts Committee of
                                    the board of directors of DLP IV




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                                          Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                     Total for Fee Period
          Name        Department or      Date of      Hourly      Hours           Amount
                         Group            First        Rate       Billed
                                       Admission
 Fliman, Dan            Corporate         2003         1,610.00       9.40           $15,134.00
 Goldstein, Jayme       Corporate         2003         1,735.00      13.80           $23,943.00
 Grogan, James          Corporate         2000         1,585.00      10.60           $16,801.00
 Miller, Allison        Corporate         2004         1,610.00       1.70            $2,737.00
                                   Total Partner:                    35.50           $58,615.00
 Evans, Jeremy          Corporate         2013         1,485.00       4.20            $6,237.00
 Traxler, Katherine     Corporate         1990           920.00       2.70            $2,484.00
                                   Total Counsel:                     6.90            $8,721.00
 Iaffaldano, Jack       Corporate         2020          930.00        9.20            $8,556.00
                                  Total Associate:                    9.20            $8,556.00
 Laskowski, Mat         Paralegal                       515.00        9.90            $5,098.50
 Magzamen, Michel       Paralegal                       515.00        1.00              $515.00
                          Total Paraprofessional:                    10.90            $5,613.50
                                           Total:                    62.50           $81,505.50




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                                                 Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                     Total for Fee Period

                 U.S. Trustee Task Code and Project Category      Total Hours    Total Fees
          B113    Pleadings Review                                      14.80     $17,007.00
          B155    Court Hearings                                        18.60     $24,711.00
          B160    Employment / Fee Applications (Paul Hastings)         15.90     $18,679.50
          B260    Board of Directors Matters                             6.10      $8,949.50
          B261    Investigations                                         7.10     $12,158.50
          TOTAL                                                         62.50     $81,505.50




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                                           Exhibit C

                       EXPENSE SUMMARY FOR FEE PERIOD

                                Category               Total for Fee Period
           Computer Search                                            $25.67
           Meals                                                     $149.75
           Taxi/Ground Transportation                                 $23.26
           TOTAL                                                     $198.68




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                                     Exhibit D

                      FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          January 12, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2344666

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending December 31, 2022                                                                        $81,505.50
                            Costs incurred and advanced                                                             198.68
                            Current Fees and Costs Due                                                         $81,704.18
                            Total Balance Due - Due Upon Receipt                                               $81,704.18




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          January 12, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2344666

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending December 31, 2022                                                                        $81,505.50
                            Costs incurred and advanced                                                             198.68
                            Current Fees and Costs Due                                                         $81,704.18
                            Total Balance Due - Due Upon Receipt                                               $81,704.18




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
                                                  t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                  January 12, 2023
Suite 1200
220 South Sixth Street                                          Please Refer to
Minneapolis, MN 55402                                           Invoice Number: 2344666

Attn: Sean Clements                                             PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending December 31, 2022


Bankruptcy Case                                                                                      $81,505.50




Date         Initials   Description                                          Hours           Rate        Amount

B113   Pleadings Review
12/01/2022   JG32       Pleading review                                         0.30    1,735.00           520.50
12/01/2022   ML30       Monitor the docket (.4); review recent                  1.30      515.00           669.50
                        filings and update calendars and working
                        group re: same (.9)
12/02/2022   JTG4       Review recent pleadings                                 0.20    1,585.00           317.00
12/02/2022   ML30       Monitor the docket (.2); review recent                  0.50      515.00           257.50
                        filings and update calendars and working
                        group re: same (.3)
12/04/2022   JG32       Chapter 11 pleading review and analysis                 0.40    1,735.00           694.00
12/05/2022   JTG4       Review recent pleadings                                 0.20    1,585.00           317.00
12/05/2022   ML30       Monitor the docket (.1); review recent                  0.20      515.00           103.00
                        filings and update calendars and working
                        group re: same (.1)
12/06/2022   JG32       Review recent pleadings                                 0.20    1,735.00           347.00
12/06/2022   ML30       Monitor the docket (.2); review recent                  0.30      515.00           154.50
                        filings and update working group re: same
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Date         Initials   Description                                  Hours      Rate    Amount
12/07/2022   ML30       Monitor the docket (.1); review recent        0.20    515.00     103.00
                        filings and update working group re: same
                        (.1)
12/08/2022   ML30       Monitor the docket (.1); review recent        0.20    515.00     103.00
                        filings and update working group re: same
                        (.1)
12/09/2022   JTG4       Review recent pleadings                       0.20   1,585.00    317.00
12/09/2022   ML30       Monitor the docket (.1); review recent        0.20    515.00     103.00
                        filings and update working group re: same
                        (.1)
12/12/2022   JTG4       Review recent pleadings                       0.20   1,585.00    317.00
12/12/2022   ML30       Monitor the docket (.1); review recent        0.20    515.00     103.00
                        filings and update working group re: same
                        (.1)
12/13/2022   ML30       Monitor the docket (.1); review recent        0.20    515.00     103.00
                        filings and update working group re: same
                        (.1)
12/14/2022   JTG4       Review recent pleadings                       0.40   1,585.00    634.00
12/14/2022   JG32       Review chapter 11 filings; (.7) correspond    1.10   1,735.00   1,908.50
                        with internal team regarding same and case
                        and matter update (.4)
12/14/2022   ML30       Monitor the docket (.1); review recent        0.30    515.00     154.50
                        filings and update calendars and working
                        group re: same (.2)
12/15/2022   JTG4       Review recent pleadings and standing          0.50   1,585.00    792.50
                        motion
12/15/2022   ML30       Monitor the docket (.5); review recent        0.80    515.00     412.00
                        filings and update calendars and working
                        group re: same (.3)
12/16/2022   JG32       Review and comment on chapter 11 case         1.30   1,735.00   2,255.50
                        (GWG) pleadings
12/16/2022   ML30       Monitor the docket (.1); review recent        0.30    515.00     154.50
                        filings and update working group re: same
                        (.2)
12/19/2022   ML30       Monitor the docket (.1); review recent        0.20    515.00     103.00
                        filings and update working group re: same
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Date         Initials   Description                                   Hours      Rate     Amount
12/20/2022   JG32       Review case matters (.6)                       0.60   1,735.00    1,041.00
12/20/2022   ML30       Monitor the docket (.2); review recent         0.30    515.00      154.50
                        filings and update working group re: same
                        (.1)
12/21/2022   JTG4       Review recent pleadings                        0.30   1,585.00     475.50
12/21/2022   ML30       Monitor the docket (.1); review recent         0.20    515.00      103.00
                        filings and update working group re: same
                        (.1)
12/22/2022   JTG4       Review recently filed pleadings                0.30   1,585.00     475.50
12/22/2022   JG32       Review recent pleadings                        0.80   1,735.00    1,388.00
12/22/2022   ML30       Monitor the docket (.2); review recent         0.40    515.00      206.00
                        filings and update working group re: same
                        (.2)
12/23/2022   JG32       Review recent pleadings                        0.80   1,735.00    1,388.00
12/23/2022   ML30       Monitor the docket (.1); review recent         0.20    515.00      103.00
                        filings and update calendars and working
                        group re: same (.1)
12/27/2022   ML30       Monitor the docket (.1); review recent         0.20    515.00      103.00
                        filings and update working group re: same
                        (.1)
12/28/2022   JTG4       Review recent pleadings                        0.20   1,585.00     317.00
12/28/2022   ML30       Monitor the docket (.1); prepare end of day    0.20    515.00      103.00
                        update for working group re: recent filings
                        (.1)
12/29/2022   ML30       Monitor the docket (.1); review recent         0.20    515.00      103.00
                        filings and prepare end of day update for
                        working group re: same (.1)
12/30/2022   ML30       Monitor the docket (.1); review recent         0.20    515.00      103.00
                        filings and prepare end of day update for
                        working group re: same (.1)
             Subtotal: B113 Pleadings Review                          14.80              17,007.00




B155   Court Hearings
12/01/2022   AM50       Participate in hearing on settlement (.5);     1.20   1,610.00    1,932.00
                        review documents related to same (.7)




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Date         Initials   Description                                      Hours      Rate    Amount
12/01/2022   DF9        Prepare for (.9) and participate in hearing re    4.60   1,610.00   7,406.00
                        governance, resolution with Beal (2.9);
                        discussion with internal team re same (.4);
                        correspond with client re same (.4)
12/01/2022   JI2        Attend hearing (2.8); correspond with client      3.30    930.00    3,069.00
                        re same (.3); discussion with internal team
                        re same (.2)
12/01/2022   JTG4       Correspond with J. Evans about hearing on         4.20   1,585.00   6,657.00
                        DIP financing and lender settlements (.4);
                        prepare for (.9) and attend hearing on DIP
                        financing and lender settlements (2.9)
12/01/2022   JG32       Prepare Rule 9019 hearing summary and             0.70   1,735.00   1,214.50
                        analysis (.3); correspond with client
                        regarding same (.4)
12/01/2022   JDE        Review submissions and notes to prepare           1.40   1,485.00   2,079.00
                        for Rule 9019/DIP hearing (.9); attend Rule
                        9019/DIP hearing (.5)
12/01/2022   ML30       Monitor the omnibus hearing (1.5)                 1.50    515.00      772.50
12/16/2022   JI2        Attend hearing on Debtors' mediation              1.70    930.00    1,581.00
                        motion (1.5); correspond with PH team re
                        same (.2).
             Subtotal: B155 Court Hearings                               18.60              24,711.00




B160   Fee/Employment Applications
12/07/2022   JTG4       Correspond with J. Evans regarding                0.50   1,585.00     792.50
                        monthly fee applications and retention (.2);
                        review related interim compensation order
                        (.3)
12/07/2022   JDE        Review interim compensation procedures            0.70   1,485.00   1,039.50
                        (.5); correspond with PH team regarding
                        same (.2)
12/14/2022   KAT2       Correspond with J. Iaffaldano regarding           0.30    920.00      276.00
                        notice of rate change (.1); review inquiries
                        from J. Iaffaldano regarding fee matters (.1);
                        consider and respond to same (.1)
12/16/2022   KAT2       Prepare first monthly fee request                 0.70    920.00      644.00




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Date         Initials   Description                                     Hours      Rate    Amount
12/17/2022   KAT2       Prepare first monthly fee request (.4);          0.50    920.00     460.00
                        correspond with J. Iaffaldano and C. Edge
                        regarding same (.1)
12/20/2022   JI2        Draft supplemental declaration regarding         2.90    930.00    2,697.00
                        retention (1.8); emails with M. Laskowski re
                        notice of rate increase (.2); emails with J.
                        Grogan re U.S. Trustee comments to
                        retention order (.4); prepare revised
                        retention order (.5)
12/20/2022   JTG4       Emails with H. Duran, K. Traxler and J.          0.80   1,585.00   1,268.00
                        Iaffaldano regarding U.S. Trustee
                        comments to retention application and
                        proposed order
12/20/2022   KAT2       Review U.S. Trustee's comments on                1.20    920.00    1,104.00
                        retention order (.1); correspond with J.
                        Iaffaldano regarding same (.1); correspond
                        with J. Grogan regarding same (.1); review
                        and comment on draft supplemental
                        declaration regarding retention (.4);
                        correspond with J. Iaffaldano regarding
                        same (.2); review revised first monthly fee
                        request (.2); correspond with C. Edge
                        regarding same (.1)
12/20/2022   ML30       Correspond with J. Iaffaldano regarding          0.10    515.00      51.50
                        notice of rate change
12/20/2022   MM57       Correspond with J. Iaffaldano re: notice of      0.10    515.00      51.50
                        change in rates
12/21/2022   DF9        Review supplemental declaration (.3);            0.60   1,610.00    966.00
                        correspond with PH team re filing of same
                        (.3)
12/21/2022   JTG4       Emails with D. Fliman and J. Iaffaldano          0.30   1,585.00    475.50
                        regarding supplemental retention
                        declaration
12/21/2022   MM57       Correspond with D. Fliman and J.                 0.30    515.00     154.50
                        Iaffaldano re: supplemental declaration (.1);
                        e-file same (.2)
12/22/2022   JTG4       Correspond with J. Iaffaldano and D.             0.30   1,585.00    475.50
                        Fliman regarding notice of rate increase




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Date         Initials   Description                                         Hours      Rate     Amount
12/22/2022   MM57       Draft notice of rates increase (.3); follow up       0.60    515.00      309.00
                        correspondence with J. Iaffaldano re: same
                        (.1); follow-up email to J. Grogan and D.
                        Fliman re: retention order (.2)
12/23/2022   JG32       Review and comment on retention                      0.60   1,735.00    1,041.00
                        application issues
12/23/2022   ML30       Review and revise invoice entries for                0.10    515.00       51.50
                        compliance with bankruptcy guidelines
12/27/2022   DF9        Correspond with PH team re revised                   1.20   1,610.00    1,932.00
                        retention application order
12/27/2022   JTG4       Emails with D. Fliman and J. Evans                   1.60   1,585.00    2,536.00
                        regarding retention application (.7); review
                        revised order (.3); review and revise
                        Certification of Counsel (.6)
12/27/2022   JDE        Prepare form of Certificate of Counsel               1.10   1,485.00    1,633.50
                        (0.6); correspond with PH team regarding
                        same (0.5)
12/27/2022   ML30       Correspond with PH team regarding revised            1.40    515.00      721.00
                        retention order (.3); review and revise
                        retention order (.7); prepare same for e-
                        filing (.2); e-file revised retention order (.1);
                        update PH team regarding same (.1)
             Subtotal: B160 Fee/Employment Applications                     15.90              18,679.50




B260   Board of Directors Matters
12/02/2022   JI2        Prepare invoice for DLP IV director (.6);            0.70    930.00      651.00
                        email Mayer Brown regarding same (.1)
12/07/2022   DF9        Review and comment on board issues and               0.40   1,610.00     644.00
                        tasks
12/13/2022   DF9        Correspond with client re board matters              1.40   1,610.00    2,254.00
                        (.5); correspond with PH team re same (.9)
12/13/2022   JDE        Review and summarize board resolution                0.40   1,485.00     594.00
12/14/2022   AM50       Review draft board resolutions regarding             0.50   1,610.00     805.00
                        Vida DIP approval
12/14/2022   DF9        Correspond with PH team re board matters             0.40   1,610.00     644.00




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Date           Initials   Description                                         Hours          Rate    Amount
12/14/2022     JI2        Attend board meeting                                 0.60      930.00       558.00
12/14/2022     JDE        Attend board calls                                   0.60    1,485.00       891.00
12/20/2022     JG32       Review board documents                               0.50    1,735.00       867.50
12/22/2022     JG32       Client correspondence regarding                      0.60    1,735.00      1,041.00
                          situation/case updates (.6)
               Subtotal: B260 Board of Directors Matters                       6.10                 8,949.50




B261   Investigations
12/01/2022     JTG4       Review updates on resignation of CEO and             0.40    1,585.00       634.00
                          mediation motion
12/01/2022     JG32       Review and comment on settlement matters             1.20    1,735.00      2,082.00
12/02/2022     DF9        Review and comment on follow up tasks                0.80    1,610.00      1,288.00
                          following Beal settlement approval (.5);
                          correspond with PH team regarding same
                          (.3)
12/04/2022     JG32       Review and analyze settlement and Beal               1.90    1,735.00      3,296.50
                          matters
12/06/2022     JG32       Situation analysis (.6); review related issues       1.00    1,735.00      1,735.00
                          (.4)
12/07/2022     JG32       Review settlement documents and related              1.80    1,735.00      3,123.00
                          case matters
               Subtotal: B261 Investigations                                   7.10                 12,158.50



       Total                                                                  62.50                 81,505.50

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                        Hours            Rate                Fee
JG32    Jayme Goldstein                 Partner                       13.80      1,735.00           23,943.00
AM50    Allison Miller                  Partner                        1.70      1,610.00            2,737.00
DF9     Dan Fliman                      Partner                        9.40      1,610.00           15,134.00
JTG4    James T. Grogan                 Partner                       10.60      1,585.00           16,801.00




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JDE     Jeremy D. Evans         Of Counsel               4.20       1,485.00         6,237.00
KAT2    Katherine A. Traxler    Of Counsel               2.70        920.00          2,484.00
JI2     Jack Iaffaldano         Associate                9.20        930.00          8,556.00
ML30    Mat Laskowski           Paralegal                9.90        515.00          5,098.50
MM57    Michael Magzamen        Paralegal                1.00        515.00            515.00

Costs incurred and advanced

Date         Description                                        Quantity   Rate      Amount
12/02/2022 Westlaw                                                                     24.86
12/21/2022 Local - Meals - Jayme Goldstein; 12/01/2022;                               149.75
           Restaurant: The Perfect Pint; City: New York;
           Working Dinner; Number of people: 3; Dinner
           expense with Sean Clements, Partner at Opportune
           LLP and D. Fliman
12/21/2022 Computer Search (Other)                                                      0.81
12/29/2022 Local - Taxi - Jack Iaffaldano; 11/04/2022;                                 23.26
           From/To: Office/Home ; Service Type: Uber;
           Time: 12:13; taxi expense for car ride home from
           late-night work
Total Costs incurred and advanced                                                    $198.68

            Current Fees and Costs                                                $81,704.18
            Total Balance Due - Due Upon Receipt                                  $81,704.18




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al.,1                                                  ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

      NOTICE OF THIRD MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
     COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
      BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
              FROM JANUARY 1, 2023 THROUGH JANUARY 31, 2023

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  1/1/2023              1/31/2023
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $69,286.50
    Total expenses requested in this Statement:                             $0.00
    Total fees and expenses requested in this Statement                     $55,429.20
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $69,286.50
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $66,660.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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     Case22-90032
          22-90032 Document
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                              8 Page
                                  I Page1521 98ofof1651
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    Total actual attorney hours covered by this Statement:                43.40
    Average hourly rate for attorneys:                                    $1,536
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $2,626.50
    Total actual paraprofessional hours covered by this Statement:        5.10
    Average hourly rate for paraprofessionals:                            $515.00

          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”),2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this third monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from January 1, 2023 through and including January

31, 2023 (the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.

          4.       Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



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                          NOTICE AND OBJECTION PROCEDURES

         5.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         6.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         7.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,


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pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       8.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.



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Dated: February 23, 2023             Respectfully submitted,
       Houston, Texas
                                     /s/ James T. Grogan III
                                     PAUL HASTINGS LLP
                                     James T. Grogan III (TX Bar No. 24027354)
                                     600 Travis Street, 58th Floor
                                     Houston, Texas 77002
                                     Telephone: (713) 860-7300
                                     Facsimile: (713) 353-3100
                                     Email: jamesgrogan@paulhastings.com

                                     -and-

                                     Jayme T. Goldstein (admitted pro hac vice)
                                     Daniel A Fliman (admitted pro hac vice)
                                     Allison Miller (admitted pro hac vice)
                                     Jeremy D. Evans (admitted pro hac vice)
                                     John F. Iaffaldano (admitted pro hac vice)
                                     200 Park Avenue
                                     New York, New York 10166
                                     Telephone: (212) 318-6000
                                     Facsimile: (212) 319-4090
                                     Email: jaymegoldstein@paulhastings.com

                                     Counsel to Sean Clements and the Conflicts Committee of
                                     the board of directors of DLP IV




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                                          Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                     Total for Fee Period
          Name        Department or      Date of      Hourly      Hours           Amount
                         Group            First        Rate       Billed
                                       Admission
 Fliman, Dan            Corporate         2003         1,610.00      14.10           $22,701.00
 Goldstein, Jayme       Corporate         2003         1,735.00      10.40           $18,044.00
 Grogan, James          Corporate         2000         1,585.00      10.30           $16,325.50
                                   Total Partner:                    34.80           $57,070.50
 Evans, Jeremy          Corporate         2013         1,485.00       2.90            $4,306.50
 Traxler, Katherine     Corporate         1990           920.00       1.80            $1,656.00
                                   Total Counsel:                     4.70            $5,962.50
 Iaffaldano, Jack       Corporate         2020          930.00        3.90            $3,627.00
                                  Total Associate:                    3.90            $3,627.00
 Laskowski, Mat         Paralegal                       515.00        3.60            $1,854.00
 Magzamen, Michel       Paralegal                       515.00        1.50              $772.50
                          Total Paraprofessional:                     5.10            $2,626.50
                                           Total:                    48.50           $69,286.50




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                                                  Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                         Total for Fee Period

                 U.S. Trustee Task Code and Project Category          Total Hours    Total Fees
          B110    Case Administration                                        8.20     $12,841.00
          B113    Pleadings Review                                           8.50      $9,381.50
          B160    Employment / Fee Applications (Paul Hastings)             17.40     $23,705.00
          B260    Board of Directors Matters                                 2.60      $3,883.50
          B261    Investigations                                             1.10      $1,633.50
          B320    Plan and Disclosure Statement (including business
                  plan)                                                     10.70     $17,842.00
          TOTAL                                                             48.50     $69,286.50




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                                        Exhibit C

                      EXPENSE SUMMARY FOR FEE PERIOD

                             Category                   Total for Fee Period
            TOTAL                                                       $0.00




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                                      Exhibit D

                       FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          February 22, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2348411

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending January 31, 2023                                                                         $69,286.50
                            Current Fees and Costs Due                                                         $69,286.50
                            Total Balance Due - Due Upon Receipt                                               $69,286.50




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          February 22, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2348411

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending January 31, 2023                                                                         $69,286.50
                            Current Fees and Costs Due                                                         $69,286.50
                            Total Balance Due - Due Upon Receipt                                               $69,286.50




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
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213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
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Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                PAUL HASTINGS LLP
                                                200 Park Avenue, New York, NY 10166-3205
                                                t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                February 22, 2023
Suite 1200
220 South Sixth Street                                        Please Refer to
Minneapolis, MN 55402                                         Invoice Number: 2348411

Attn: Sean Clements                                           PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending January 31, 2023


Bankruptcy Case                                                                                    $69,286.50




Date         Initials   Description                                        Hours           Rate        Amount

B110   Case Administration
01/03/2023   JTG4       Email with M. Laskowski regarding case                0.20    1,585.00           317.00
                        update
01/04/2023   JTG4       Email with M. Laskowski regarding case                0.40    1,585.00           634.00
                        update (.2); review ECF notices (.2)
01/05/2023   JTG4       Review ECF notices                                    0.20    1,585.00           317.00
01/06/2023   JTG4       Email with M. Laskowski regarding case                0.60    1,585.00           951.00
                        update (.3); review ECF notices (.3)
01/07/2023   JG32       Review case updates (.7); correspond with             1.10    1,735.00         1,908.50
                        client regarding same (.4)
01/09/2023   JTG4       Email with M. Laskowski regarding case                0.20    1,585.00           317.00
                        update
01/10/2023   JTG4       Email with M. Laskowski regarding case                0.20    1,585.00           317.00
                        update
01/11/2023   JTG4       Email with M. Laskowski regarding case                0.20    1,585.00           317.00
                        update
01/12/2023   JTG4       Review ECF notices (.3); email with M.                0.50    1,585.00           792.50
                        Laskowski regarding case update (.2)




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Conflicts Committee of GWG DLP Funding IV, LLC                                               Page 2
51132-00002
Invoice No. 2348411




Date         Initials   Description                                     Hours      Rate    Amount
01/13/2023   JTG4       Email with M. Laskowski regarding case           0.40   1,585.00     634.00
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01/17/2023   JTG4       Email with M. Laskowski regarding case           0.40   1,585.00     634.00
                        update (.2); review ECF notices (.2)
01/18/2023   JTG4       Email with M. Laskowski regarding case           0.40   1,585.00     634.00
                        update (.2); review ECF notices (.2)
01/19/2023   JTG4       Email with M. Laskowski regarding case           0.40   1,585.00     634.00
                        update (.2); review ECF notices (.2)
01/20/2023   JTG4       Email with M. Laskowski regarding case           0.40   1,585.00     634.00
                        update (.2); review ECF notices (.2)
01/23/2023   JTG4       Email with M. Magzamen regarding case            0.40   1,585.00     634.00
                        update (.2); review ECF notices (.2)
01/24/2023   JTG4       Email with M. Magzamen regarding case            0.60   1,585.00     951.00
                        update (.3); review ECF notices (.3)
01/24/2023   MM57       Calendar critical dates (.1); correspond with    0.20    515.00      103.00
                        J. Iaffaldano re: hearing (.1)
01/25/2023   JTG4       Email with M. Magzamen regarding case            0.30   1,585.00     475.50
                        update
01/25/2023   MM57       Calendar critical dates                          0.10    515.00       51.50
01/26/2023   JTG4       Email with M. Magzamen regarding case            0.20   1,585.00     317.00
                        update
01/27/2023   JTG4       Email with M. Magzamen about case                0.10   1,585.00     158.50
                        updates
01/30/2023   JTG4       Email with M. Laskowski regarding case           0.40   1,585.00     634.00
                        update (.2); review ECF notices (.2)
01/31/2023   JTG4       Email with M. Laskowski regarding case           0.30   1,585.00     475.50
                        update (.2); review ECF notices (.1)
             Subtotal: B110 Case Administration                          8.20              12,841.00




B113   Pleadings Review
01/03/2023   ML30       Review recent filings and update working         0.20    515.00      103.00
                        group re: same
01/04/2023   ML30       Review recent filings and update working         0.20    515.00      103.00
                        group re: same




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Date         Initials   Description                                     Hours      Rate    Amount
01/05/2023   JG32       Pleading review                                  1.30   1,735.00   2,255.50
01/05/2023   ML30       Review recent filings and update working         0.20    515.00     103.00
                        group re: same
01/06/2023   ML30       Review recent filings and update working         0.20    515.00     103.00
                        group re: same
01/07/2023   JG32       General pleading review                          0.40   1,735.00    694.00
01/09/2023   JG32       Pleading review                                  0.80   1,735.00   1,388.00
01/09/2023   ML30       Review recent filings and update working         0.20    515.00     103.00
                        group re: same
01/10/2023   ML30       Review recent filings and update working         0.20    515.00     103.00
                        group re: same
01/11/2023   ML30       Review recent filings and update working         0.20    515.00     103.00
                        group re: same
01/12/2023   ML30       Monitor the docket and review recent             0.20    515.00     103.00
                        pleadings (.1); prepare end of day update for
                        working group re same (.1)
01/13/2023   JG32       Pleadings review                                 0.90   1,735.00   1,561.50
01/13/2023   ML30       Monitor the docket and review recent             0.40    515.00     206.00
                        filings (.2); prepare end of day update for
                        working group re same (.1); update case
                        calendars re same (.1)
01/15/2023   JTG4       Review ECF notices and related pleadings         0.80   1,585.00   1,268.00
01/17/2023   ML30       Monitor the docket and review recent             0.40    515.00     206.00
                        filings (.2); prepare end of day update for
                        working group re same (.1); update case
                        calendars re same (.1)
01/18/2023   ML30       Monitor the docket and review recent             0.40    515.00     206.00
                        filings (.2); prepare end of day update for
                        working group re same (.1); update case
                        calendars re same (.1)
01/19/2023   ML30       Monitor the docket and prepare end of day        0.20    515.00     103.00
                        update and case calendar update for
                        working group
01/20/2023   ML30       Monitor the docket and prepare end of day        0.20    515.00     103.00
                        update and case calendar update for
                        working group




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Date         Initials   Description                                    Hours      Rate    Amount
01/23/2023   MM57       Review recent filings in GWG case dockets       0.20    515.00     103.00
                        and update working group re: same
01/24/2023   MM57       Review recent filings and update working        0.10    515.00      51.50
                        group re: same.
01/25/2023   MM57       Review recent filings and update working        0.20    515.00     103.00
                        group re: same.
01/26/2023   MM57       Review recent case filings and update           0.10    515.00      51.50
                        working group re: same
01/27/2023   MM57       Review recent case filings and update           0.10    515.00      51.50
                        working group re: same
01/30/2023   ML30       Review recent case filings and update           0.20    515.00     103.00
                        working group and case calendars re same
01/31/2023   ML30       Review recent case filings and update           0.20    515.00     103.00
                        working group and case calendars re same
             Subtotal: B113 Pleadings Review                            8.50              9,381.50




B160   Fee/Employment Applications
01/02/2023   KAT2       Correspond with J. Iaffaldano regarding         0.20    920.00     184.00
                        professional fee matters (.1); correspond
                        with C. Edge regarding same (.1)
01/04/2023   KAT2       Review inquiries from J. Iaffaldano             0.20    920.00     184.00
                        regarding fee matters (.1); consider and
                        respond to same (.1)
01/05/2023   JTG4       Correspond with D. Fliman regarding             0.60   1,585.00    951.00
                        retention order (.4); emails with J. Evans
                        about same (.2)
01/05/2023   JDE        Correspond with D. Fliman, J. Grogan            0.60   1,485.00    891.00
                        regarding bar date and retention application
01/05/2023   KAT2       Correspond with J. Iaffaldano and C. Edge       0.20    920.00     184.00
                        regarding fee matters
01/06/2023   DF9        Review and comment on fee applications          1.20   1,610.00   1,932.00
                        for November and December 2022
                        services.




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Date         Initials   Description                                     Hours      Rate    Amount
01/06/2023   JI2        Review and revise fee statement and              0.40    930.00     372.00
                        director invoice (.3); email Mayer Brown re
                        same (.1)
01/06/2023   JTG4       Email Chambers regarding CNO on                  0.60   1,585.00    951.00
                        retention order and related matters (.3);
                        correspond with D. Fliman about same (.3)
01/07/2023   JG32       Review and comment on retention issues           0.60   1,735.00   1,041.00
01/09/2023   DF9        Review and comment on fee applications           0.60   1,610.00    966.00
                        for November and December services.
01/10/2023   DF9        Review and comment on fee applications           0.60   1,610.00    966.00
                        for November and December services.
01/10/2023   JTG4       Correspond with D. Fliman regarding fee          0.30   1,585.00    475.50
                        application process
01/11/2023   DF9        Review and comment on fee applications           0.60   1,610.00    966.00
                        for November and December services.
01/11/2023   JI2        Prepare fee requests for November and            1.80    930.00    1,674.00
                        December services
01/11/2023   JTG4       Correspond with J. Iaffaldano regarding          0.40   1,585.00    634.00
                        rate change notice
01/11/2023   KAT2       Review fee inquiries from J. Iaffaldano (.1);    0.80    920.00     736.00
                        consider and respond to same (.1);
                        correspond with J. Iaffaldano regarding
                        notice of rate change and fee matters (.3);
                        prepare insert to first monthly fee request
                        (.2); review retention order approving PH's
                        retention (.1)
01/12/2023   DF9        Review and comment on fee applications           0.50   1,610.00    805.00
                        for November and December services.
01/12/2023   JI2        Prepare fee request for November services        1.20    930.00    1,116.00
                        (.6); prepare fee request for December
                        services (.6)
01/12/2023   MM57       Review and e-file notice of rate change          0.20    515.00     103.00
01/13/2023   DF9        Review and revise fee statements (1.8);          2.30   1,610.00   3,703.00
                        review and comment on fee application
                        filing (.5)
01/13/2023   JTG4       Emails with D. Fliman and J. Iaffaldano          0.40   1,585.00    634.00
                        regarding fee application




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Date         Initials   Description                                    Hours       Rate     Amount
01/13/2023   KAT2       Review interim compensation order (.1);         0.40     920.00      368.00
                        review first and second monthly fee
                        requests (.2); review notice of rate change
                        (.1)
01/13/2023   MM57       Correspond with D. Fliman re: filing of fee     0.30     515.00      154.50
                        statements (.1); e-file fee statements (.2)
01/24/2023   DF9        Correspond with J. Iaffaldano re fee            1.20    1,610.00    1,932.00
                        statement (.5); analyze related court
                        documents (.4); correspond with PH team
                        re same (.3)
01/24/2023   JDE        Correspond with Company advisors                1.20    1,485.00    1,782.00
                        regarding monthly fee statement (.3); review
                        DIP order regarding same (.6); correspond
                        with PH team regarding same (.3)
             Subtotal: B160 Fee/Employment Applications                17.40               23,705.00




B260   Board of Directors Matters
01/11/2023   DF9        Participate in DLP IV board update call         0.50    1,610.00     805.00
01/11/2023   JI2        Attend DLP IV board meeting                     0.50     930.00      465.00
01/13/2023   JG32       Correspond with client regarding case           0.30    1,735.00     520.50
                        update
01/25/2023   DF9        Participate in board meeting re mediation       1.30    1,610.00    2,093.00
                        updates (.5); analysis re same and related
                        considerations (.8)
             Subtotal: B260 Board of Directors Matters                  2.60                3,883.50




B261   Investigations
01/23/2023   JDE        Review pleadings re motion to seal.             1.10    1,485.00    1,633.50
             Subtotal: B261 Investigations                               1.10               1,633.50




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Date           Initials   Description                                   Hours      Rate     Amount

B320   Plan and Disclosure Statement (including Business Plan)
01/05/2023     DF9        Correspond with J. Evans re plan mediation     0.60   1,610.00     966.00
                          (.2); review related issues / tasks (.4)
01/05/2023     JG32       Review and comment on mediation matters        1.40   1,735.00    2,429.00
                          (.8); correspond with client regarding same
                          and case issues (.6)
01/06/2023     DF9        Review documents re plan mediation (1.3);      3.50   1,610.00    5,635.00
                          correspond with Debtors' counsel re same
                          (.4); correspond with client re same (.5);
                          correspond with PH team re same (1.3)
01/07/2023     JG32       Mediation documentation and analysis           0.80   1,735.00    1,388.00
01/09/2023     JG32       Mediation analysis                             0.40   1,735.00     694.00
01/11/2023     DF9        Correspond with PH team re mediation (.4);     0.80   1,610.00    1,288.00
                          correspond with Mintz re same (.4)
01/13/2023     JG32       Review and comment on mediation matters        1.20   1,735.00    2,082.00
01/14/2023     DF9        Correspond with J. Evans re plan mediation     0.40   1,610.00     644.00
                          issues / tasks.
01/14/2023     JTG4       Email with A. Alonzo about upcoming            0.10   1,585.00     158.50
                          mediation
01/20/2023     JTG4       Email with A. Alonzo about mediation           0.10   1,585.00     158.50
01/23/2023     JTG4       Email with J. Tecce about mediation            0.10   1,585.00     158.50
01/28/2023     JTG4       Email with T. Kirkendall about mediation       0.10   1,585.00     158.50
01/30/2023     JG32       Correspond with D. Fliman and J.               1.20   1,735.00    2,082.00
                          Goldstein regarding mediation update, case
                          and investigation matters (.9); update
                          telephone conference with S. Clements (.3)
               Subtotal: B320 Plan and Disclosure Statement             10.70              17,842.00
                         (including Business Plan)



       Total                                                            48.50              69,286.50




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                                       Timekeeper Summary

ID      Timekeeper Name        Title                   Hours          Rate           Fee
JG32    Jayme Goldstein        Partner                  10.40      1,735.00     18,044.00
DF9     Dan Fliman             Partner                  14.10      1,610.00     22,701.00
JTG4    James T. Grogan        Partner                  10.30      1,585.00     16,325.50
JDE     Jeremy D. Evans        Of Counsel                   2.90   1,485.00      4,306.50
KAT2    Katherine A. Traxler   Of Counsel                   1.80    920.00       1,656.00
JI2     Jack Iaffaldano        Associate                    3.90    930.00       3,627.00
ML30    Mat Laskowski          Paralegal                    3.60    515.00       1,854.00
MM57    Michael Magzamen       Paralegal                    1.50    515.00         772.50

            Current Fees and Costs                                            $69,286.50
            Total Balance Due - Due Upon Receipt                              $69,286.50




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                          NOTICE AND OBJECTION PROCEDURES

         1.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         2.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         3.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,


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pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       4.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.

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Dated: May 16, 2023                  Respectfully submitted,
Houston, Texas
                                     /s/ James T. Grogan III
                                     PAUL HASTINGS LLP
                                     James T. Grogan III (TX Bar No. 24027354)
                                     600 Travis Street, 58th Floor
                                     Houston, Texas 77002
                                     Telephone: (713) 860-7300
                                     Facsimile: (713) 353-3100
                                     Email: jamesgrogan@paulhastings.com

                                     -and-

                                     Jayme T. Goldstein (admitted pro hac vice)
                                     Daniel A Fliman (admitted pro hac vice)
                                     Allison Miller (admitted pro hac vice)
                                     Jeremy D. Evans (admitted pro hac vice)
                                     John F. Iaffaldano (admitted pro hac vice)
                                     200 Park Avenue
                                     New York, New York 10166
                                     Telephone: (212) 318-6000
                                     Facsimile: (212) 319-4090
                                     Email: jaymegoldstein@paulhastings.com

                                     Counsel to Sean Clements and the Conflicts Committee of
                                     the board of directors of DLP IV




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                                      Exhibit D

                       FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                         May 3, 2023
Suite 1200
220 South Sixth Street                                                 Please Refer to
Minneapolis, MN 55402                                                  Invoice Number: 2356362

Attn: Sean Clements                                                    PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending February 28, 2023                                                                       $51,698.50
                            Costs incurred and advanced                                                                  2.70
                            Current Fees and Costs Due                                                        $51,701.20
                            Total Balance Due - Due Upon Receipt                                              $51,701.20




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.




For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings com This is a no-reply
mailbox
Please refer all questions to billing@paulhastings com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                         May 3, 2023
Suite 1200
220 South Sixth Street                                                 Please Refer to
Minneapolis, MN 55402                                                  Invoice Number: 2356362

Attn: Sean Clements                                                    PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending February 28, 2023                                                                       $51,698.50
                            Costs incurred and advanced                                                                  2.70
                            Current Fees and Costs Due                                                        $51,701.20
                            Total Balance Due - Due Upon Receipt                                              $51,701.20




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confirmation.




For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings com This is a no-reply
mailbox
Please refer all questions to billing@paulhastings com



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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
                                                  t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                  May 3, 2023
Suite 1200
220 South Sixth Street                                          Please Refer to
Minneapolis, MN 55402                                           Invoice Number: 2356362

Attn: Sean Clements                                             PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending February 28, 2023


Bankruptcy Case                                                                                      $51,698.50




Date         Initials   Description                                          Hours           Rate        Amount

B110   Case Administration
02/01/2023   JTG4       Email with M. Laskowski regarding case                  0.30    1,700.00           510.00
                        update (.2); review ECF notices (.1).
02/03/2023   JTG4       Email with M. Laskowski regarding case                  0.30    1,700.00           510.00
                        update (.2); review ECF notices (.1).
02/06/2023   JTG4       Email with M. Laskowski regarding case                  0.30    1,700.00           510.00
                        update (.2); review ECF notices (.1).
02/09/2023   JTG4       Email with M. Laskowski regarding case                  0.30    1,700.00           510.00
                        update (.2); review ECF notices (.1).
02/10/2023   JTG4       Email with M. Laskowski regarding case                  0.80    1,700.00         1,360.00
                        update (.3); review ECF notices (.5).
02/12/2023   JTG4       Emails with M. Laskowski regarding case                 0.30    1,700.00           510.00
                        update and recent filings.
02/12/2023   ML30       Review notices of filing of pleadings (.1);             0.70      540.00           378.00
                        obtain new documents (.2); organize (.1);
                        circulate (.1); update case calendars (.2).
02/13/2023   JTG4       Email with M. Laskowski regarding case                  0.40    1,700.00           680.00
                        update (.2); review ECF notices (.2).
02/14/2023   JTG4       Email with M. Laskowski regarding case                  0.30    1,700.00           510.00
                        update (.2); review ECF notices (.1).




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Date         Initials   Description                                   Hours      Rate     Amount
02/15/2023   JTG4       Email with M. Laskowski regarding case         0.50   1,700.00     850.00
                        update (.3); review ECF notices (.2).
02/16/2023   JTG4       Email with M. Laskowski regarding case         0.30   1,700.00     510.00
                        update (.1); review ECF notices (.2).
02/17/2023   JTG4       Email with M. Laskowski regarding case         0.30   1,700.00     510.00
                        update (.1); review ECF notices (.2).
02/21/2023   JTG4       Email with M. Laskowski regarding case         0.80   1,700.00    1,360.00
                        update (.2); review ECF notices and related
                        pleadings (.6).
02/22/2023   JTG4       Email with M. Laskowski regarding case         0.90   1,700.00    1,530.00
                        update (.2); review ECF notices and related
                        pleadings (.7).
02/24/2023   JTG4       Email with M. Laskowski regarding case         0.50   1,700.00     850.00
                        update (.2); review ECF notices and related
                        pleadings (.3).
02/27/2023   JTG4       Email with M. Laskowski regarding case         0.50   1,700.00     850.00
                        update (.2); review ECF notices and related
                        pleadings (.3).
02/28/2023   JTG4       Email with M. Laskowski regarding case         0.50   1,700.00     850.00
                        update (.2); review ECF notices and related
                        pleadings (.3).
             Subtotal: B110 Case Administration                        8.00              12,788.00




B113   Pleadings Review
02/01/2023   ML30       Monitor the docket (.1); prepare end of day    0.60    540.00      324.00
                        update and calendar update for working
                        group re: same (.2); correspond with D.
                        Fliman re certain case documents needed
                        (.1); briefly review and follow up with D.
                        Fliman re same (.2).
02/02/2023   ML30       Monitor the docket (.1); prepare end of day    0.20    540.00      108.00
                        update and calendar update for working
                        group re same (.1).
02/03/2023   ML30       Monitor the docket (.1); prepare end of day    0.20    540.00      108.00
                        update and calendar update for working
                        group re same (.1).




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Date         Initials   Description                                   Hours    Rate    Amount
02/06/2023   ML30       Monitor the docket (.1); prepare end of day    0.20   540.00    108.00
                        update and calendar update for working
                        group re same (.1).
02/07/2023   ML30       Monitor the docket (.1); prepare end of day    0.20   540.00    108.00
                        update and calendar update for working
                        group re same (.1).
02/08/2023   ML30       Monitor the docket (.1); prepare end of day    0.20   540.00    108.00
                        update for working group re same (.1).
02/09/2023   ML30       Monitor the docket (.1); prepare end of day    0.20   540.00    108.00
                        update for working group re same (.1).
02/10/2023   ML30       Monitor the docket (.1); prepare end of day    0.20   540.00    108.00
                        update for working group re same (.1).
02/13/2023   ML30       Review recent case filings and update          0.50   540.00    270.00
                        working group and case calendars re same.
02/14/2023   ML30       Review recent case filings and update          0.30   540.00    162.00
                        working group re same.
02/15/2023   ML30       Review recent case filings and update          0.20   540.00    108.00
                        working group re same.
02/16/2023   ML30       Review recent case filings and update          0.20   540.00    108.00
                        working group re same.
02/17/2023   ML30       Review recent case filings and update          0.20   540.00    108.00
                        working group re same.
02/21/2023   ML30       Review recent case filings and update          0.10   540.00     54.00
                        working group re same.
02/22/2023   ML30       Review recent case filings and update          0.60   540.00    324.00
                        working group re same.
02/23/2023   ML30       Review recent case filings and update          0.50   540.00    270.00
                        working group and case calendars re same.
02/24/2023   ML30       Review recent case filings and update          0.20   540.00    108.00
                        working group re same.
02/27/2023   ML30       Monitor the docket and prepare end of day      0.20   540.00    108.00
                        update for working group.
02/28/2023   ML30       Monitor the docket and prepare end of day      0.20   540.00    108.00
                        update for working group.
             Subtotal: B113 Pleadings Review                           5.20            2,808.00




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Date         Initials   Description                                     Hours      Rate    Amount

B160   Fee/Employment Applications
02/07/2023   JI2        Prepare invoice for S. Clements (.4); emails     0.60   1,125.00    675.00
                        with L. Chiappetta re same (.2).
02/10/2023   JTG4       Emails with K. Traxler and C. Edge about         0.40   1,700.00    680.00
                        interim fee application.
02/10/2023   KAT2       Review inquiries from J. Iaffaldano              0.70   1,025.00    717.50
                        regarding fee matters (.1); review interim
                        compensation order and precedent interim
                        fee applications (.3); review correspondence
                        from C. Edge regarding January services
                        (.1); prepare response to J. Iaffaldano
                        regarding interim fees and interim fee
                        application (.2).
02/11/2023   KAT2       Review inquiries from J. Iaffaldano              0.20   1,025.00    205.00
                        regarding interim fee application and related
                        fee matters (.1); consider and respond to
                        same (.1).
02/13/2023   JI2        Revise January fee statement.                    0.80   1,125.00    900.00
02/15/2023   KAT2       Prepare UST Appendix B information for           0.30   1,025.00    307.50
                        fee application (.2); review monthly fee
                        request and correspond with J. Iaffaldano
                        regarding same (.1).
02/16/2023   JDE        Revise monthly fee statement.                    0.50   1,600.00    800.00
02/21/2023   JI2        Prepare fee statement.                           1.00   1,125.00   1,125.00
02/22/2023   KAT2       Review monthly fee request and related           0.20   1,025.00    205.00
                        correspondence from J. Iaffaldano and C.
                        Edge.
02/23/2023   JTG4       Emails with J. Iaffaldano about January fee      0.80   1,700.00   1,360.00
                        applications (.3); review and revise same
                        (.3); emails with M. Magzamen about filing
                        same (.2).
02/23/2023   MM57       Finalize fee statement and circulate to          0.50    540.00     270.00
                        working group (.4); e-file same (.1).
             Subtotal: B160 Fee/Employment Applications                  6.00              7,245.00




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Date         Initials   Description                                     Hours      Rate    Amount

B190   Other Contested Matters(excl. assumption/rejections motions)
02/09/2023   JTG4       Review letter from B. Rosen to Judge Jones       0.70   1,700.00   1,190.00
                        (.2); emails with Rosen, Reisman, and
                        Barnowski about same (.5).
02/16/2023   JTG4       Review motion to quash filed by Obra.            0.30   1,700.00    510.00
02/28/2023   JTG4       Review long email and attachments from J.        0.50   1,700.00    850.00
                        Tecce regarding Heppner opposition to
                        standing motion (.5).
             Subtotal: B190 Other Contested Matters(excl.                1.50              2,550.00
                       assumption/rejections motions)




B260   Board of Directors Matters
02/22/2023   JDE        Prepare for and attend board meeting (.3);       0.50   1,600.00    800.00
                        correspond and conference with D. Fliman
                        and J. Goldstein regarding same (.2).
             Subtotal: B260 Board of Directors Matters                   0.50               800.00




B261   Investigations
02/08/2023   JDE        Prepare for and attend bi-weekly board call.     0.50   1,600.00    800.00
02/23/2023   JTG4       Review letters to court from investors.          0.40   1,700.00    680.00
             Subtotal: B261 Investigations                               0.90              1,480.00




B320   Plan and Disclosure Statement (including Business Plan)
02/05/2023   JG32       Liquidating trustee analysis (.7); review and    1.10   1,875.00   2,062.50
                        comment on plan issues (.2); discussion
                        with S. Clements re same (.2).
02/07/2023   DF9        Review mediation updates.                        0.50   1,725.00    862.50




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Conflicts Committee of GWG DLP Funding IV, LLC                                                 Page 6
51132-00002
Invoice No. 2356362




Date           Initials   Description                                    Hours      Rate     Amount
02/07/2023     JG32       Mediation update telephone conference           2.10   1,875.00    3,937.50
                          with Company counsel (.9); review updates
                          regarding plan and plan documents (.4);
                          review and respond to release questions
                          from S. Clements (.4); review
                          correspondence from mediation parties (.4).
02/10/2023     DF9        Correspond with PH team re plan                 0.60   1,725.00    1,035.00
                          amendments.
02/10/2023     JI2        Review revised plan (.7); correspond with J.    0.90   1,125.00    1,012.50
                          Evans re same (.2).
02/10/2023     JG32       Review and revise plan documents and            1.10   1,875.00    2,062.50
                          related correspondence (.8); correspond
                          with S. Clements regarding same (.3).
02/10/2023     JDE        Review and summarize amended plan.              1.10   1,600.00    1,760.00
02/13/2023     JTG4       Review recently filed plan documents            1.50   1,700.00    2,550.00
                          (amended plan, disclosure statement, and
                          solicitation motion).
02/14/2023     JTG4       Review exclusivity motion.                      0.40   1,700.00     680.00
02/14/2023     JG32       Mediation discussion with Province (.9);        1.80   1,875.00    3,375.00
                          telephone conference with S. Clements
                          regarding same (.4); review pleadings
                          regarding same (.5).
02/15/2023     DF9        Review and consider mediation update.           0.50   1,725.00     862.50
02/15/2023     JTG4       Emails with A. Alonzo and B Rosen about         0.40   1,700.00     680.00
                          mediation scheduling.
02/17/2023     JG32       Review and consider mediation update.           0.70   1,875.00    1,312.50
02/23/2023     DF9        Correspond with PH team re plan                 0.60   1,725.00    1,035.00
                          amendments, analysis.
02/23/2023     JDE        Review and analyze comments to plan and         0.50   1,600.00     800.00
                          disclosure statement (.3); correspond with
                          PH team regarding same (.2).
               Subtotal: B320 Plan and Disclosure Statement              13.80              24,027.50
                         (including Business Plan)



       Total                                                             35.90              51,698.50




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Conflicts Committee of GWG DLP Funding IV, LLC                                            Page 7
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Invoice No. 2356362



                                        Timekeeper Summary

ID      Timekeeper Name         Title                   Hours              Rate              Fee
JG32    Jayme Goldstein         Partner                      6.80       1,875.00        12,750.00
DF9     Dan Fliman              Partner                      2.20       1,725.00         3,795.00
JTG4    James T. Grogan         Partner                  12.70          1,700.00        21,590.00
JDE     Jeremy D. Evans         Of Counsel                   3.10       1,600.00         4,960.00
KAT2    Katherine A. Traxler    Of Counsel                   1.40       1,025.00         1,435.00
JI2     Jack Iaffaldano         Associate                    3.30       1,125.00         3,712.50
ML30    Mat Laskowski           Paralegal                    5.90        540.00          3,186.00
MM57    Michael Magzamen        Paralegal                    0.50        540.00            270.00

Costs incurred and advanced

Date         Description                                            Quantity   Rate      Amount
01/25/2023 Computer Search (Other)                                                          2.70
Total Costs incurred and advanced                                                          $2.70

            Current Fees and Costs                                                    $51,701.20
            Total Balance Due - Due Upon Receipt                                      $51,701.20




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                          NOTICE AND OBJECTION PROCEDURES

         1.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         2.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         3.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,


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pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       4.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.

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Dated: May 16, 2023                  Respectfully submitted,
Houston, Texas
                                     /s/ James T. Grogan III
                                     PAUL HASTINGS LLP
                                     James T. Grogan III (TX Bar No. 24027354)
                                     600 Travis Street, 58th Floor
                                     Houston, Texas 77002
                                     Telephone: (713) 860-7300
                                     Facsimile: (713) 353-3100
                                     Email: jamesgrogan@paulhastings.com

                                     -and-

                                     Jayme T. Goldstein (admitted pro hac vice)
                                     Daniel A Fliman (admitted pro hac vice)
                                     Allison Miller (admitted pro hac vice)
                                     Jeremy D. Evans (admitted pro hac vice)
                                     John F. Iaffaldano (admitted pro hac vice)
                                     200 Park Avenue
                                     New York, New York 10166
                                     Telephone: (212) 318-6000
                                     Facsimile: (212) 319-4090
                                     Email: jaymegoldstein@paulhastings.com

                                     Counsel to Sean Clements and the Conflicts Committee of
                                     the board of directors of DLP IV




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                                      Exhibit D

                       FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                         May 3, 2023
Suite 1200
220 South Sixth Street                                                 Please Refer to
Minneapolis, MN 55402                                                  Invoice Number: 2356717

Attn: Sean Clements                                                    PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending March 31, 2023                                                                         $138,752.00
                            Costs incurred and advanced                                                              56.07
                            Current Fees and Costs Due                                                      $138,808.07
                            Total Balance Due - Due Upon Receipt                                            $138,808.07




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.




For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings com This is a no-reply
mailbox
Please refer all questions to billing@paulhastings com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                         May 3, 2023
Suite 1200
220 South Sixth Street                                                 Please Refer to
Minneapolis, MN 55402                                                  Invoice Number: 2356717

Attn: Sean Clements                                                    PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending March 31, 2023                                                                         $138,752.00
                            Costs incurred and advanced                                                              56.07
                            Current Fees and Costs Due                                                      $138,808.07
                            Total Balance Due - Due Upon Receipt                                            $138,808.07




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
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For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings com This is a no-reply
mailbox
Please refer all questions to billing@paulhastings com



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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
                                                  t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                   May 3, 2023
Suite 1200
220 South Sixth Street                                           Please Refer to
Minneapolis, MN 55402                                            Invoice Number: 2356717

Attn: Sean Clements                                              PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending March 31, 2023


Bankruptcy Case                                                                                     $138,752.00




Date         Initials   Description                                          Hours           Rate        Amount

B110   Case Administration
03/08/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
03/09/2023   JTG4       Email with M. Laskowski re case update                  0.30    1,700.00           510.00
03/10/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
03/11/2023   JG32       Review case status and updates                          0.50    1,875.00           937.50
03/13/2023   JTG4       Email with M. Laskowski re case update                  0.10    1,700.00           170.00
03/15/2023   JTG4       Email with M. Laskowski about case update               0.20    1,700.00           340.00
03/16/2023   JTG4       Email with M. Laskowski about case update               0.20    1,700.00           340.00
03/17/2023   JTG4       Review case update from M. Laskowski                    0.20    1,700.00           340.00
03/20/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
03/21/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
03/22/2023   JTG4       Email with M. Laskowski re case update                  0.30    1,700.00           510.00
03/23/2023   JTG4       Email with M. Laskowski re case update                  0.10    1,700.00           170.00
03/24/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
03/25/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
03/25/2023   ML30       Review filing notices (.1); obtain new                  0.40      540.00           216.00
                        pleadings (.2); circulate (.1)




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Invoice No. 2356717




Date         Initials   Description                                    Hours      Rate    Amount
03/27/2023   ML30       Update case calendars (.2); correspond with     0.40    540.00     216.00
                        J. Iaffaldano re 3.28.23 hearing needs (.2)
03/29/2023   JTG4       Email with M. Laskowski re case update          0.20   1,700.00    340.00
03/30/2023   JTG4       Email with M. Laskowski re case update          0.20   1,700.00    340.00
03/31/2023   JTG4       Email with M. Laskowski re case update          0.10   1,700.00    170.00
             Subtotal: B110 Case Administration                         4.40              6,639.50




B113   Pleadings Review
03/01/2023   JTG4       Email with M. Laskowski re docket update        0.40   1,700.00    680.00
                        (.1); review recent pleadings (.3)
03/01/2023   ML30       Review recent docket filings and update         0.20    540.00     108.00
                        working group re same
03/02/2023   JTG4       Email with M. Laskowski re docket update        0.30   1,700.00    510.00
                        (.1); review recent pleadings (.2)
03/02/2023   ML30       Review recent docket filings and update         0.20    540.00     108.00
                        working group re same
03/03/2023   JTG4       Email with M. Laskowski re docket update        0.40   1,700.00    680.00
                        (.1); review recent pleadings (.3)
03/03/2023   ML30       Review recent docket filings and update         0.20    540.00     108.00
                        working group re same
03/06/2023   JTG4       Email with M. Laskowski re docket update        0.50   1,700.00    850.00
                        (.1); review ECF notices (.2); review recent
                        pleadings (.2)
03/06/2023   ML30       Review recent docket filings and update         0.20    540.00     108.00
                        working group re same
03/07/2023   JTG4       Email with M. Laskowski re docket update        0.20   1,700.00    340.00
03/07/2023   ML30       Review recent docket filings and update         0.20    540.00     108.00
                        working group re same
03/08/2023   JTG4       Review ECF notices and recent pleadings         0.40   1,700.00    680.00
03/08/2023   ML30       Review recent docket filings and update         0.30    540.00     162.00
                        working group and case calendars re same
03/09/2023   JTG4       Review ECF notices                              0.30   1,700.00    510.00




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Date         Initials   Description                                  Hours      Rate    Amount
03/09/2023   ML30       Review recent docket filings and update       0.20    540.00     108.00
                        working group re same
03/10/2023   JTG4       Review ECF notices and recent pleadings       0.20   1,700.00    340.00
03/10/2023   ML30       Review recent docket filings and update       0.20    540.00     108.00
                        working group re same
03/13/2023   JTG4       Review ECF notices and recent pleadings       0.20   1,700.00    340.00
03/13/2023   ML30       Monitor the docket and prepare end of day     0.20    540.00     108.00
                        update re recent filings for working group
03/14/2023   ML30       Monitor the docket and prepare end of day     0.20    540.00     108.00
                        update re recent filings for working group
03/15/2023   JTG4       Review ECF notices                            0.30   1,700.00    510.00
03/15/2023   ML30       Monitor the docket and prepare end of day     0.20    540.00     108.00
                        update re recent filings for working group
03/16/2023   ML30       Monitor the docket and prepare end of day     0.30    540.00     162.00
                        update re recent filings for working group
03/17/2023   ML30       Monitor the docket and prepare end of day     0.30    540.00     162.00
                        update re recent filings for working group
03/20/2023   JTG4       Review ECF notices                            0.30   1,700.00    510.00
03/20/2023   ML30       Monitor the docket and prepare end of day     0.30    540.00     162.00
                        update for working group re same
03/21/2023   JTG4       Review ECF notices and recent pleadings       0.40   1,700.00    680.00
03/21/2023   JDE        Review chapter 11 docket                      0.20   1,600.00    320.00
03/21/2023   ML30       Monitor the docket and prepare end of day     0.20    540.00     108.00
                        update for working group re same
03/22/2023   ML30       Review recent filings (.2); monitor the       0.40    540.00     216.00
                        docket and prepare end of day update for
                        working group re same (.2)
03/23/2023   ML30       Monitor the docket and prepare end of day     0.20    540.00     108.00
                        update for working group re same
03/24/2023   JTG4       Review ECF notices and recent pleadings       0.30   1,700.00    510.00
03/24/2023   ML30       Monitor the docket and prepare end of day     0.50    540.00     270.00
                        update for working group re same (.2);
                        review new filings (.3).
03/27/2023   JTG4       Review ECF notices                            0.70   1,700.00   1,190.00




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Date         Initials   Description                                   Hours       Rate     Amount
03/27/2023   ML30       Review recent filings and prepare end of       0.40     540.00      216.00
                        day update for working group
03/28/2023   ML30       Review recent filings and prepare end of       0.40     540.00      216.00
                        day update for working group
03/29/2023   ML30       Review recent filings and update working       0.30     540.00      162.00
                        group and case calendars re same
03/30/2023   ML30       Review recent filings and update working       0.20     540.00      108.00
                        group re same
03/31/2023   JTG4       Review ECF notices and recent pleadings        0.20    1,700.00     340.00
03/31/2023   ML30       Review recent filings and update working       0.30     540.00      162.00
                        group re same
             Subtotal: B113 Pleadings Review                           11.40              12,284.00




B155   Court Hearings
03/17/2023   JTG4       Review hearing agenda                          0.10    1,700.00     170.00
03/17/2023   ML30       Correspond with J. Iaffaldano re 3.20.23       0.20     540.00      108.00
                        hearing needs
03/20/2023   JI2        Monitor hearing                                0.80    1,125.00     900.00
03/20/2023   JTG4       Attend status conference on plan settlement    0.90    1,700.00    1,530.00
                        and disclosure statement scheduling (.8);
                        prepare follow up notes regarding same (.1)
03/20/2023   JDE        Attend status conference on plan settlement    1.20    1,600.00    1,920.00
                        and disclosure statement (0.8); correspond
                        with J. Goldstein and S. Clements regarding
                        same (0.4).
03/20/2023   ML30       Correspond with J. Iaffaldano re 3.20.23       0.20     540.00      108.00
                        hearing needs
03/21/2023   ML30       Correspond with J. Iaffaldano re 3.23.23       0.20     540.00      108.00
                        hearing needs
03/23/2023   JTG4       Attend hearing on discovery dispute with       1.40    1,700.00    2,380.00
                        Fifth Season
03/23/2023   JDE        Attend hearing on discovery dispute with       1.50    1,600.00    2,400.00
                        Fifth Season(1.4); follow up review of
                        related issues (.1)




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Date         Initials   Description                                     Hours      Rate     Amount
03/28/2023   JI2        Monitor part of disclosure statement             1.50   1,125.00    1,687.50
                        hearing
03/28/2023   JTG4       Review pleadings in advance of disclosure        5.00   1,700.00    8,500.00
                        statement hearing (2.8); attend disclosure
                        statement hearing (2.2)
03/28/2023   JTG4       Post-hearing meeting with S. Clements and        1.30   1,700.00    2,210.00
                        J. Evans regarding case updates and strategy
03/28/2023   JDE        Attend disclosure statement hearing (2.2);       3.70   1,600.00    5,920.00
                        post-hearing meeting with S. Clements, J.
                        Grogan regarding strategy and next steps
                        (1.3); prepare notes regarding same (.2)
03/31/2023   JI2        Monitor disclosure statement hearing.            1.00   1,125.00    1,125.00
03/31/2023   JTG4       Attend status conference on disclosure           1.00   1,700.00    1,700.00
                        statement schedule and related issues
03/31/2023   JDE        Attend continued disclosure statement            1.00   1,600.00    1,600.00
                        hearing.
             Subtotal: B155 Court Hearings                              21.00              32,366.50




B160   Fee/Employment Applications
03/03/2023   MM57       Confer w/ J. Iaffaldano re: first interim fee    0.60    540.00      324.00
                        app (.1); draft interim fee app (.5)
03/06/2023   MM57       Draft interim fee application; confer w/ C.      1.00    540.00      540.00
                        Edge re: same
03/07/2023   MM57       Follow-up w/ C. Edge (Finance) re: first         0.40    540.00      216.00
                        interim fee app and confirm numbers
03/08/2023   MM57       Review and revise first interim fee              0.50    540.00      270.00
                        application (.4); email to J. Iaffaldano re:
                        same (.1)
03/13/2023   DF9        Review and comment on PH fee matters             0.50   1,725.00     862.50
03/14/2023   DF9        Further review and comment on PH fee             0.50   1,725.00     862.50
                        matters
03/29/2023   JDE        Begin review of PH fee application.              0.30   1,600.00     480.00
03/31/2023   JI2        Draft interim fee application (1.4); emails      1.60   1,125.00    1,800.00
                        with D. Fliman and J. Grogan re same (.2)




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Date         Initials   Description                                      Hours      Rate    Amount
03/31/2023   JTG4       Emails with D. Fliman and J. Iaffaldano re        0.50   1,700.00    850.00
                        interim fee application (.2); review same (.3)
03/31/2023   MM57       Confer w/ J. Iaffaldano, J. Grogan and D.         0.30    540.00     162.00
                        Fliman re: first interim fee application (.1);
                        e-file same (.2)
             Subtotal: B160 Fee/Employment Applications                   6.20              6,367.00




B191   General Litigation
03/22/2023   JTG4       Review statement regarding Fifth Season           0.40   1,700.00    680.00
                        subpoena
             Subtotal: B191 General Litigation                            0.40               680.00




B195   Non-Working Travel
03/27/2023   JDE        Travel from New York to Houston for               4.00    800.00    3,200.00
                        disclosure statement hearing (Bill at 1/2
                        rate)
03/29/2023   JDE        Travel from Houston to New York after             5.30    800.00    4,240.00
                        disclosure statement hearing (Bill at 1/2
                        rate)
             Subtotal: B195 Non-Working Travel                            9.30              7,440.00




B210   Business Operations
03/25/2023   JTG4       Review hearing notice on insurance defense        0.20   1,700.00    340.00
                        costs
             Subtotal: B210 Business Operations                           0.20               340.00




B260   Board of Directors Matters
03/01/2023   JI2        Prepare director monthly invoice (.3); email      0.50   1,125.00    562.50
                        Mayer Brown re same (.2).




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Date         Initials   Description                                    Hours      Rate    Amount
03/08/2023   JDE        Prepare notes for and attend board meeting      0.50   1,600.00    800.00
03/22/2023   JI2        Attend DLP IV board meeting with J.             0.60   1,125.00    675.00
                        Evans re plan and disclosure statement
                        updates (.3); emails with J. Evans re same
                        (.3).
03/22/2023   JDE        Prepare for and attend weekly board             2.10   1,600.00   3,360.00
                        meeting with J. Iaffaldano (1.0); review
                        amended plan and disclosure statement
                        regarding same (1.0); call with client
                        regarding same (0.1).
             Subtotal: B260 Board of Directors Matters                  3.70              5,397.50




B320   Plan and Disclosure Statement (including Business Plan)
03/08/2023   AM50       Attention to various updates re plan (.9);      1.30   1,725.00   2,242.50
                        liaise with D. Fliman on same (.3); respond
                        to emails with internal team re same (.3).
03/08/2023   DF9        Correspond with J. Evans re mediation           2.50   1,725.00   4,312.50
                        terms (1.2); calls with case parties re same
                        (.5); correspond with Mayer Brown re plan
                        terms (.8).
03/08/2023   JTG4       Correspond with J. Evans regarding              0.20   1,700.00    340.00
                        disclosure statement hearing rescheduling
03/08/2023   JG32       Review and comment on settlement                1.30   1,875.00   2,437.50
                        documents and release issues
03/08/2023   JDE        Review and analyze draft mediation              2.30   1,600.00   3,680.00
                        agreement (1.7); correspond with D. Fliman
                        regarding same (.6).
03/11/2023   JTG4       Review mediation statement                      0.20   1,700.00    340.00
03/11/2023   JG32       Review and comment on documents                 0.60   1,875.00   1,125.00
                        regarding releases and related issues
03/13/2023   JDE        Review and summarize mediation statement        0.60   1,600.00    960.00
03/14/2023   AM50       Review summary of plan changes by J.            1.20   1,725.00   2,070.00
                        Evans (.6); discussions internally on same
                        (.2); review amended Plan re: releases (.4).
03/14/2023   JTG4       Review bondholder letters to Court              0.50   1,700.00    850.00




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Date         Initials   Description                                      Hours      Rate    Amount
03/14/2023   JDE        Review and analyze draft amended plan             2.50   1,600.00   4,000.00
                        (1.1); correspond with J. Goldstein,
                        company counsel regarding same (1.4)
03/15/2023   AM50       Participate on update call with D. Fliman         1.00   1,725.00   1,725.00
                        and J. Evans regarding plan releases.
03/15/2023   DF9        Correspond with J. Evans, J. Grogan re            1.30   1,725.00   2,242.50
                        disclosure statement hearing (.8); assess
                        disclosure statement and plan issues/tasks
                        (.5).
03/15/2023   JI2        Call with J. Evans re plan and disclosure         0.70   1,125.00    787.50
                        statement issues (.5); emails with J. Evans re
                        same (.2)
03/15/2023   JTG4       Emails with J. Evans regarding disclosure         0.40   1,700.00    680.00
                        statement hearing
03/15/2023   JDE        Review and analyze amended plan (1.2);            3.60   1,600.00   5,760.00
                        prepare for and attend call with company
                        advisors regarding same (1.2); summarize
                        company advisor call for J. Goldstein, J.
                        Iaffaldano (0.7); call with J. Iaffaldano
                        regarding same (0.5).
03/16/2023   AM50       Follow up with J. Evans regarding Plan and        1.20   1,725.00   2,070.00
                        associated releases for DLP IV directors
                        (.5); review proposed provisions (.7).
03/16/2023   DF9        Assess plan provisions (1.1); correspond          2.20   1,725.00   3,795.00
                        with PH team re same (0.5); correspond
                        with Akin re plan provisions (.6).
03/16/2023   JTG4       Review scheduling update for disclosure           0.30   1,700.00    510.00
                        statement hearing
03/16/2023   JDE        Review and analyze draft amended plan             2.50   1,600.00   4,000.00
                        (1.1); correspond with D. Fliman, J.
                        Goldstein regarding same (1.4).
03/17/2023   AM50       Follow up regarding Plan releases and             0.50   1,725.00    862.50
                        update.
03/17/2023   DF9        Assess plan provisions (.5); correspond with      0.80   1,725.00   1,380.00
                        J. Evans, J. Goldstein re same (.3).
03/17/2023   JTG4       Correspond with J. Evans regarding                0.20   1,700.00    340.00
                        disclosure statement hearing rescheduling




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Date           Initials   Description                                     Hours      Rate      Amount
03/17/2023     JG32       Analyze release matters (.4); correspond         1.30   1,875.00     2,437.50
                          with D. Fliman and J. Evans related to same
                          (.3); review related documents (.6)
03/17/2023     JDE        Review and comment on amended plan.              0.50   1,600.00      800.00
03/20/2023     JG32       Correspond with J. Evans and S. Clements         1.60   1,875.00     3,000.00
                          regarding disclosure statement hearing (.8);
                          review and comment on disclosure
                          statement and release issues (.4); client
                          discussions regarding same (.4)
03/22/2023     JTG4       Review amended plan and disclosure               1.80   1,700.00     3,060.00
                          statement
03/23/2023     JG32       Review and comment on plan, release              1.60   1,875.00     3,000.00
                          matters, and related plan documents (.7);
                          review disclosure statement hearing updates
                          (.5); telephone conference with client to
                          discuss same (.4)
03/25/2023     JTG4       Review and calendar disclosure statement         0.20   1,700.00      340.00
                          hearing notice
03/27/2023     JTG4       Review Hepner objection to disclosure            1.30   1,700.00     2,210.00
                          statement (.3); review modified plan (.7);
                          review summary of bondholder treatment
                          (.3)
03/28/2023     AM50       Attention to disclosure statement hearing        1.20   1,725.00     2,070.00
                          (.8); attention to J. Evans emails on same
                          (.6).
03/28/2023     DF9        Review updates re disclosure statement           0.50   1,725.00      862.50
                          hearing.
03/28/2023     JG32       Review and analyze disclosure statement          1.30   1,875.00     2,437.50
                          and related plan issues (.9); discussion with
                          client regarding same (.4)
03/31/2023     JTG4       Review disclosure statement scheduling           0.30   1,700.00      510.00
                          order and calendar same
               Subtotal: B320 Plan and Disclosure Statement               39.50              67,237.50
                         (including Business Plan)



       Total                                                              96.10              138,752.00




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                                        Timekeeper Summary

ID      Timekeeper Name         Title                   Hours              Rate               Fee
JG32    Jayme Goldstein         Partner                      8.20       1,875.00         15,375.00
AM50    Allison Miller          Partner                      6.40       1,725.00         11,040.00
DF9     Dan Fliman              Partner                      8.30       1,725.00         14,317.50
JTG4    James T. Grogan         Partner                  24.40          1,700.00         41,480.00
JDE     Jeremy D. Evans         Of Counsel               22.50          1,600.00         36,000.00
JDE     Jeremy D. Evans         Of Counsel                   9.30        800.00           7,440.00
JI2     Jack Iaffaldano         Associate                    6.70       1,125.00          7,537.50
ML30    Mat Laskowski           Paralegal                    7.50        540.00           4,050.00
MM57    Michael Magzamen        Paralegal                    2.80        540.00           1,512.00

Costs incurred and advanced

Date         Description                                            Quantity   Rate       Amount
03/06/2023 UPS/Courier Service - UPS (USD)(JPMPCARD);                                       35.10
           Invoice # 00000930543103; 03/06/2023; K.
           Traxler; 1Z9305430193126507 (MAN)
03/06/2023 Computer Search (Other)                                                          20.97
Total Costs incurred and advanced                                                          $56.07

            Current Fees and Costs                                                    $138,808.07
            Total Balance Due - Due Upon Receipt                                      $138,808.07




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al., 1                                                 ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

      NOTICE OF SIXTH MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
     COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
      BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
                  FROM APRIL 1, 2023 THROUGH APRIL 30, 2023

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  04/01/2023            04/30/2023
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $60,913.60 (80% of 76,142.00)
    Total expenses requested in this Statement:                             $2,107.59
    Total fees and expenses requested in this Statement                     $78,249.59
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $63,021.19
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $72,200.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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    Total actual attorney hours covered by this Statement:                48.90
    Average hourly rate for attorneys:                                    $1,476
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $3,942.00
    Total actual paraprofessional hours covered by this Statement:        7.30
    Average hourly rate for paraprofessionals:                            $540



          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”), 2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this fifth monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from April 1, 2023 through and including April 30,

2023 (the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.




2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



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         4.   Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.

                          NOTICE AND OBJECTION PROCEDURES

         1.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         2.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         3.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly


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Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,

pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       4.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.

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Dated: July 7, 2023                  Respectfully submitted,
Houston, Texas
                                      /s/ James T. Grogan III
                                     PAUL HASTINGS LLP
                                     James T. Grogan III (TX Bar No. 24027354)
                                     600 Travis Street, 58th Floor
                                     Houston, Texas 77002
                                     Telephone: (713) 860-7300
                                     Facsimile: (713) 353-3100
                                     Email: jamesgrogan@paulhastings.com

                                     -and-

                                     Jayme T. Goldstein (admitted pro hac vice)
                                     Daniel A Fliman (admitted pro hac vice)
                                     Allison Miller (admitted pro hac vice)
                                     Jeremy D. Evans (admitted pro hac vice)
                                     John F. Iaffaldano (admitted pro hac vice)
                                     200 Park Avenue
                                     New York, New York 10166
                                     Telephone: (212) 318-6000
                                     Facsimile: (212) 319-4090
                                     Email: jaymegoldstein@paulhastings.com

                                     Counsel to Sean Clements and the Conflicts Committee of
                                     the board of directors of DLP IV




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                                                Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                               Total for Fee Period
          Name            Department or       Date of      Hourly Rate      Hours         Amount
                             Group             First                        Billed
                                            Admission
 Goldstein, Jayme           Corporate          2003            $1,875.00       8.70           $16,312.50
 Grogan, James              Corporate          2000            $1,700.00      21.40           $36,380.00
 Miller, Allison            Corporate          2004            $1,725.00       1.10            $1,897.50
                                         Total Partner:                       31.20          $54,590.00
 Evans, Jeremy              Corporate          2013            $1,600.00       2.90            $4,640.00
 Evans, Jeremy (Travel)     Corporate          2013         $800.00 (Bill
                                                               at ½ rate)      8.00            $6,400.00
                                         Total Counsel:                       10.90           $11,040.00
 Iaffaldano, Jack           Corporate           2020           $1,125.00       2.80            $3,150.00
 Thomas, Schlea             Corporate           2022            $855.00        4.00            $3,420.00
                                        Total Associate:                       6.80            $6,570.00
 Laskowski, Mat             Paralegal                            $540.00       6.30            $3,402.00
 Magzamen, Michel           Paralegal                            $540.00       1.00             $540.00
                              Total Paraprofessional:                          7.30            $3,942.00
                                                 Total:                       56.20           $76,142.00




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                                                  Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                     Total for Fee Period

                 U.S. Trustee Task Code and Project Category      Total Hours    Total Fees
          B110    Case Administration                                    4.30      $7,078.00
          B113    Pleadings Review                                      13.80     $16,667.50
          B155    Court Hearings                                        12.10     $17,127.00
          B160    Employment / Fee Applications (Paul Hastings)          5.90      $7,729.50
          B195    Non-Working Travel                                     8.00      $6,400.00
          B211    Financial Reports (Monthly Operating Reports)          0.50        $850.00
          B260    Board of Directors Matters                             0.50        $562.50
          B320    Plan and Disclosure Statement                         11.10     $19,727.50
          TOTAL                                                         56.20     $76,142.00




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                                            Exhibit C

                        EXPENSE SUMMARY FOR FEE PERIOD

                                 Category               Total for Fee Period
            Computer Search                                             $2.25
            Airfare                                                   $467.80
            Lodging                                                 $1,162.30
            Taxi/Ground Transportation                                $366.01
            Meals                                                     $109.23
            TOTAL                                                   $2,107.59




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                                      Exhibit D

                       FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          June 12, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2361261

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending April 30, 2023                                                                           $76,142.00
                            Costs incurred and advanced                                                           2,107.59
                            Current Fees and Costs Due                                                         $78,249.59
                            Total Balance Due - Due Upon Receipt                                               $78,249.59




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          June 12, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2361261

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending April 30, 2023                                                                           $76,142.00
                            Costs incurred and advanced                                                           2,107.59
                            Current Fees and Costs Due                                                         $78,249.59
                            Total Balance Due - Due Upon Receipt                                               $78,249.59




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
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213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
                                                  t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                  June 12, 2023
Suite 1200
220 South Sixth Street                                          Please Refer to
Minneapolis, MN 55402                                           Invoice Number: 2361261

Attn: Sean Clements                                             PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending April 30, 2023


Bankruptcy Case                                                                                      $76,142.00




Date         Initials   Description                                          Hours           Rate        Amount

B110   Case Administration
04/03/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/04/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/05/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/06/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/07/2023   JTG4       Email with M. Laskowski re case update                  0.40    1,700.00           680.00
                        (.2); review case calendar (.2)
04/10/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/11/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/12/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/13/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/14/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/17/2023   JTG4       Email with M. Laskowski re case update                  0.50    1,700.00           850.00
                        (.2); emails with J. Evans re case update (.3)
04/18/2023   JTG4       Email with M. Laskowski re case update                  0.20    1,700.00           340.00
04/20/2023   JTG4       Email with M. Laskowski re case update                  0.40    1,700.00           680.00
04/21/2023   JTG4       Emails with M. Laskowski re case update                 0.20    1,700.00           340.00




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Conflicts Committee of GWG DLP Funding IV, LLC                                           Page 2
51132-00002
Invoice No. 2361261




Date         Initials   Description                                 Hours      Rate    Amount
04/24/2023   JTG4       Email with M. Laskowski re case update       0.40   1,700.00    680.00
04/25/2023   ML30       Update case calendars                        0.20    540.00     108.00
04/27/2023   JTG4       Email with M. Magzamen re case update        0.20   1,700.00    340.00
             Subtotal: B110 Case Administration                      4.30              7,078.00




B113   Pleadings Review
04/03/2023   JTG4       Review ECF notices and related pleadings     0.40   1,700.00    680.00
04/03/2023   ML30       Review recent filings and update working     0.40    540.00     216.00
                        group re same (.3); update case calendars
                        (.1).
04/04/2023   JTG4       Review ECF notices and related pleadings     0.20   1,700.00    340.00
04/04/2023   ML30       Review recent filings and update working     0.20    540.00     108.00
                        group re same
04/05/2023   AM50       Review recent court filings.                 0.60   1,725.00   1,035.00
04/05/2023   ML30       Review recent filings and update working     0.20    540.00     108.00
                        group re same
04/06/2023   JTG4       Review ECF notices and related pleadings     0.40   1,700.00    680.00
04/06/2023   ML30       Review recent filings and update working     0.20    540.00     108.00
                        group re same
04/07/2023   JTG4       Review ECF notices and related pleadings     0.20   1,700.00    340.00
04/07/2023   ML30       Review recent filings and update working     0.20    540.00     108.00
                        group re same
04/10/2023   ML30       Review recent filings and update working     0.20    540.00     108.00
                        group re same
04/11/2023   JTG4       Review ECF notices and related pleadings     0.30   1,700.00    510.00
04/11/2023   ML30       Review recent filings and update working     0.20    540.00     108.00
                        group re same
04/12/2023   AM50       Review recent court filings.                 0.50   1,725.00    862.50
04/12/2023   ML30       Review recent filings and update working     0.40    540.00     216.00
                        group re same
04/13/2023   JTG4       Review ECF notices and related pleadings     0.30   1,700.00    510.00
04/13/2023   ML30       Review recent filings and update working     0.20    540.00     108.00
                        group re same




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Date         Initials   Description                                  Hours      Rate     Amount
04/14/2023   ML30       Review recent filings and update working      0.20    540.00      108.00
                        group re same
04/17/2023   JTG4       Review ECF notices, related pleadings, and    1.50   1,700.00    2,550.00
                        disclosure statement
04/17/2023   ML30       Review recent filings and update working      0.50    540.00      270.00
                        group re same
04/18/2023   JTG4       Review ECF notices, related pleadings, and    0.80   1,700.00    1,360.00
                        objections from parties in interest
04/18/2023   ML30       Review recent filings and update working      0.20    540.00      108.00
                        group re same
04/19/2023   ML30       Review recent filings and update working      0.50    540.00      270.00
                        group re same (.2); update case calendars
                        (.3)
04/20/2023   JTG4       Review ECF notices and related pleadings      0.30   1,700.00     510.00
04/20/2023   ML30       Review recent filings and update working      0.50    540.00      270.00
                        group re same
04/21/2023   ML30       Review recent filings and update working      0.50    540.00      270.00
                        group re same
04/23/2023   JG32       Pleading review                               0.80   1,875.00    1,500.00
04/24/2023   JTG4       Review ECF notices and related pleadings      0.30   1,700.00     510.00
04/24/2023   ML30       Monitor the docket and update working         0.60    540.00      324.00
                        group re recent filings
04/25/2023   ML30       Review recent filings and prepare end of      0.40    540.00      216.00
                        day update for working group
04/26/2023   JTG4       Review ECF notices and related pleadings      0.40   1,700.00     680.00
04/26/2023   ML30       Review recent filings and prepare end of      0.20    540.00      108.00
                        day update for working group
04/27/2023   JTG4       Review ECF notices and related pleadings      0.30   1,700.00     510.00
04/27/2023   MM57       Review recent filings and update calendars    0.20    540.00      108.00
                        and working group re same
04/28/2023   JTG4       Review ECF notices and related pleadings      0.30   1,700.00     510.00
04/30/2023   JTG4       Review notice of reset hearing                0.20   1,700.00     340.00
             Subtotal: B113 Pleadings Review                         13.80              16,667.50




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Date         Initials   Description                                    Hours       Rate    Amount

B155   Court Hearings
04/07/2023   JG32       Correspond with client regarding continued      0.30    1,875.00     562.50
                        disclosure statement hearing
04/17/2023   JG32       Review submissions and notes to prepare         0.80    1,875.00   1,500.00
                        for disclosure statement hearing (.4);
                        correspond with S. Clements regarding
                        same (.4)
04/18/2023   JTG4       Conferences with S. Thomas about                0.40    1,700.00     680.00
                        preparation for disclosure statement hearing
04/18/2023   ML30       Correspond with S. Thomas re disclosure         0.10     540.00       54.00
                        statement hearing needs
04/18/2023   SMT1       Review certain submissions and issues to        0.90     855.00      769.50
                        prepare for court hearing regarding
                        disclosure statement (.5); calls with J.
                        Grogan regarding same (.4)
04/19/2023   JTG4       Attend disclosure statement hearing             1.40    1,700.00   2,380.00
04/19/2023   JTG4       Emails with S. Thomas and J. Evans              0.60    1,700.00   1,020.00
                        regarding disclosure statement hearing prep
04/19/2023   JG32       Attend disclosure statement hearing (1.4);      1.90    1,875.00   3,562.50
                        discussions with client regarding same (.5)
04/19/2023   JDE        Prepare notes for disclosure statement          2.40    1,600.00   3,840.00
                        hearing (1.0); attend disclosure statement
                        hearing (1.4)
04/19/2023   ML30       Review attorney needs for disclosure            0.10     540.00       54.00
                        statement hearing
04/19/2023   SMT1       Review submissions and issues to prepare        3.10     855.00    2,650.50
                        for hearing on disclosure statement order
                        (1.7); attend hearing (1.4)
04/21/2023   ML30       Correspond with S. Thomas re adjourned          0.10     540.00       54.00
                        disclosure statement hearing
             Subtotal: B155 Court Hearings                              12.10              17,127.00




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Date         Initials   Description                                    Hours      Rate    Amount

B160   Fee/Employment Applications
04/24/2023   JI2        Prepare CNO re interim fee application (.5);    2.30   1,125.00   2,587.50
                        review and revise February and March fee
                        statements (1.7); emails with J. Evans re
                        same (.1).
04/24/2023   MM57       Draft CNO for PH first interim fee              0.50    540.00     270.00
                        application (.3); correspond with J.
                        Iaffaldano re: same (.1); correspond with J.
                        Grogan re: same (.1)
04/25/2023   JTG4       Review docket in connection with fee            1.10   1,700.00   1,870.00
                        application (.3); emails with K. Peguero
                        regarding Benz objection (.4); correspond
                        with J. Evans, J. Iaffaldano and M.
                        Magzamen about same (.4)
04/25/2023   JDE        Review and comment on fee application           0.50   1,600.00    800.00
                        objection.
04/26/2023   JTG4       Email with M. Magzamen re compensation          0.90   1,700.00   1,530.00
                        procedures (.2); review same (.3); emails
                        with S. Thomas, J. Evans regarding fee
                        hearing (.4)
04/27/2023   MM57       Review compensation procedures (.2);            0.30    540.00     162.00
                        correspond with J. Grogan and J. Iaffaldano
                        re same (.1)
04/28/2023   JTG4       Emails with K. Peguero about fee hearing        0.30   1,700.00    510.00
                        and related issues
             Subtotal: B160 Fee/Employment Applications                 5.90              7,729.50




B195   Non-Working Travel
04/18/2023   JDE        Travel from New York, New York to               4.00    800.00    3,200.00
                        Houston, Texas for disclosure statement
                        hearing. (Bill at 1/2 rate)
04/19/2023   JDE        Travel from Houston, Texas to New York,         4.00    800.00    3,200.00
                        New York after disclosure statement
                        hearing (Bill at 1/2 rate)
             Subtotal: B195 Non-Working Travel                          8.00              6,400.00




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Date         Initials   Description                                     Hours      Rate    Amount




B211   Financial Reports (Monthly Operating Reports)
04/21/2023   JTG4       Review MORs                                      0.50   1,700.00    850.00
             Subtotal: B211 Financial Reports (Monthly                   0.50               850.00
                       Operating Reports)




B260   Board of Directors Matters
04/03/2023   JI2        Prepare director invoice.                        0.50   1,125.00    562.50
             Subtotal: B260 Board of Directors Matters                   0.50               562.50




B320   Plan and Disclosure Statement (including Business Plan)
04/07/2023   JG32       Review disclosure statement updates              1.10   1,875.00   2,062.50
04/12/2023   JG32       Review disclosure statement updates (1.1);       1.70   1,875.00   3,187.50
                        correspond with client regarding same (.6)
04/17/2023   JG32       Review and comment on disclosure                 0.80   1,875.00   1,500.00
                        statement approval issues
04/18/2023   JTG4       Analyze updated plan documents                   0.70   1,700.00   1,190.00
04/19/2023   JTG4       Review updated disclosure statement and          1.70   1,700.00   2,890.00
                        plan
04/20/2023   JTG4       Review updated plan and disclosure               1.10   1,700.00   1,870.00
                        statement documents
04/20/2023   JTG4       Review proposed disclosure statement             0.50   1,700.00    850.00
                        order
04/21/2023   JTG4       Review order approving disclosure                1.00   1,700.00   1,700.00
                        statement, conditionally approved
                        disclosure statement, and bondholder
                        summary
04/23/2023   JG32       Review and comment on litigation trust           1.30   1,875.00   2,437.50
                        issues (.6); telephone conference with client
                        on disclosure statement (.7)




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Date           Initials   Description                                       Hours           Rate    Amount
04/24/2023     JTG4       Review updated plan, disclosure statement,         1.20      1,700.00     2,040.00
                          and bondholder treatment summary
               Subtotal: B320 Plan and Disclosure Statement                  11.10                 19,727.50
                         (including Business Plan)



       Total                                                                56.20                  76,142.00

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                   Hours                Rate                Fee
JG32    Jayme Goldstein                 Partner                      8.70      1,875.00            16,312.50
AM50    Allison Miller                  Partner                      1.10      1,725.00             1,897.50
JTG4    James T. Grogan                 Partner                  21.40         1,700.00            36,380.00
JDE     Jeremy D. Evans                 Of Counsel                   2.90      1,600.00             4,640.00
JDE     Jeremy D. Evans                 Of Counsel                   8.00        800.00             6,400.00
JI2     Jack Iaffaldano                 Associate                    2.80      1,125.00             3,150.00
SMT1    Schlea M. Thomas                Associate                    4.00        855.00             3,420.00
ML30    Mat Laskowski                   Paralegal                    6.30        540.00             3,402.00
MM57    Michael Magzamen                Paralegal                    1.00        540.00               540.00

Costs incurred and advanced

Date           Description                                                  Quantity     Rate       Amount
04/03/2023 Computer Search (Other)                                                                     2.16
04/07/2023 Airfare - Jeremy Evans; 03/23/2023; From/To:                                              467.80
           LGA/IAH/IAH/LGA; Airfare Class: Economy;
           Travel to Houston, Texas for the purpose of
           preparing for and attending Disclosure Statement
           hearing
04/07/2023 Travel Expense - Meals - Jeremy Evans;                                                     29.23
           03/27/2023; Restaurant: Marriott; City: Houston ;
           Dinner; Number of people: 1; Travel to Houston,
           Texas for the purpose of preparing for and
           attending Disclosure Statement hearing




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04/07/2023 Travel Expense - Meals - Jeremy Evans;                                40.00
           03/29/2023; Restaurant: JW Marriott; City:
           Houston; Dinner; Number of people: 1; Travel to
           Houston, Texas for the purpose of preparing for
           and attending Disclosure Statement hearing
04/07/2023 Travel Expense - Meals - Jeremy Evans;                                40.00
           03/28/2023; Restaurant: JW Marriott; City:
           Houston; Dinner; Number of people: 1; Travel to
           Houston, Texas for the purpose of preparing for
           and attending Disclosure Statement hearing
04/07/2023 Lodging - Jeremy Evans; 03/29/2023; Hotel:                          1,162.30
           Marriott; Check-in date: 03/27/2023; Check-out
           date: 03/29/2023; Travel to Houston, Texas for the
           purpose of preparing for and attending Disclosure
           Statement hearing
04/07/2023 Taxi/Ground Transportation - Jeremy Evans;                           113.09
           03/27/2023; From/To: hotel/airport; Service Type:
           Uber; Time: 12:32; Travel to Houston, Texas for the
           purpose of preparing for and attending Disclosure
           Statement hearing
04/07/2023 Taxi/Ground Transportation - Jeremy Evans;                            60.24
           03/29/2023; From/To: airport/home; Service
           Type: Taxi; Time: 12:12; Travel to Houston, Texas
           for the purpose of preparing for and attending
           Disclosure Statement hearing
04/07/2023 Taxi/Ground Transportation - Jeremy Evans;                            93.95
           03/27/2023; From/To: airport/home; Service
           Type: Uber; Time: 12:32; Travel to Houston, Texas
           for the purpose of preparing for and attending
           Disclosure Statement hearing
04/07/2023 Taxi/Ground Transportation - Jeremy Evans;                            98.73
           03/27/2023; From/To: home/airport; Service
           Type: Taxi; Time: 12:32; Travel to Houston, Texas
           for the purpose of preparing for and attending
           Disclosure Statement hearing
04/25/2023 Computer Search (Other)                                                0.09
Total Costs incurred and advanced                                             $2,107.59




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           Current Fees and Costs                                           $78,249.59
           Total Balance Due - Due Upon Receipt                             $78,249.59




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al.,1                                                  ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

    NOTICE OF SEVENTH MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
    COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
     BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
                  FROM MAY 1, 2023 THROUGH MAY 31, 2023

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  05/01/2023            05/31/2023
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $57,089.60 (80% of $71,362.00)
    Total expenses requested in this Statement:                             $1,614.84
    Total fees and expenses requested in this Statement                     $72,976.84
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $58,704.44
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $65,746.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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    Total actual attorney hours covered by this Statement:                44.00
    Average hourly rate for attorneys:                                    $1,494
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $5,616.00
    Total actual paraprofessional hours covered by this Statement:        10.40
    Average hourly rate for paraprofessionals:                            $540

          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”),2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this seventh monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from May 1, 2023 through and including May 31, 2023

(the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.

          4.       Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



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                          NOTICE AND OBJECTION PROCEDURES

         1.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         2.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         3.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,


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pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       4.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.

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Dated: August 16, 2023               Respectfully submitted,
Houston, Texas
                                      /s/ James T. Grogan III
                                     PAUL HASTINGS LLP
                                     James T. Grogan III (TX Bar No. 24027354)
                                     600 Travis Street, 58th Floor
                                     Houston, Texas 77002
                                     Telephone: (713) 860-7300
                                     Facsimile: (713) 353-3100
                                     Email: jamesgrogan@paulhastings.com

                                     -and-

                                     Jayme T. Goldstein (admitted pro hac vice)
                                     Daniel A Fliman (admitted pro hac vice)
                                     Allison Miller (admitted pro hac vice)
                                     Jeremy D. Evans (admitted pro hac vice)
                                     John F. Iaffaldano (admitted pro hac vice)
                                     200 Park Avenue
                                     New York, New York 10166
                                     Telephone: (212) 318-6000
                                     Facsimile: (212) 319-4090
                                     Email: jaymegoldstein@paulhastings.com

                                     Counsel to Sean Clements and the Conflicts Committee of
                                     the board of directors of DLP IV




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                                          Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                       Total for Fee Period
          Name        Department or      Date of     Hourly Rate    Hours         Amount
                         Group            First                     Billed
                                       Admission
 Fliman, Dan            Corporate         2003          $1,725.00      2.70            $4,657.50
 Goldstein, Jayme       Corporate         2003          $1,875.00      4.60            $8,625.00
 Grogan, James          Corporate         2000          $1,700.00     16.30           $27,710.00
 Miller, Allison        Corporate         2004          $1,725.00      1.70            $2,932.50
                                   Total Partner:                     25.30           $43,925.00
 Evans, Jeremy          Corporate         2013          $1,600.00      2.90            $4,640.00
                                   Total Counsel:                      2.90            $4,640.00
 Iaffaldano, Jack       Corporate         2020          $1,125.00     13.60           $15,300.00
 Thomas, Schlea         Corporate         2022           $855.00       2.20            $1,881.00
                                  Total Associate:                    15.80           $17,181.00
 Laskowski, Mat         Paralegal                         $540.00      9.30            $5,022.00
 Magzamen, Michel       Paralegal                         $540.00      1.10             $594.00
                          Total Paraprofessional:                     10.40            $5,616.00
                                           Total:                     54.40           $71,362.00




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                                                  Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                     Total for Fee Period

                 U.S. Trustee Task Code and Project Category      Total Hours    Total Fees
          B110    Case Administration                                    5.80      $9,026.00
          B113    Pleadings Review                                      18.70     $22,159.00
          B155    Court Hearings                                         4.10      $5,618.50
          B160    Employment / Fee Applications (Paul Hastings)          8.90     $10,941.00
          B260    Board of Directors Matters                             3.20      $4,755.00
          B320    Plan and Disclosure Statement                         13.70     $18,862.50
          TOTAL                                                         54.40     $71,362.00




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                                            Exhibit C

                        EXPENSE SUMMARY FOR FEE PERIOD

                                 Category               Total for Fee Period
            Airfare                                                   $577.80
            Lodging                                                   $589.94
            Taxi/Ground Transportation                                $407.10
            Meals                                                      $40.00
            TOTAL                                                   $1,614.84




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                                      Exhibit D

                       FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          July 28, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2366570

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending May 31, 2023                                                                             $71,362.00
                            Costs incurred and advanced                                                           1,614.84
                            Current Fees and Costs Due                                                         $72,976.84
                            Total Balance Due - Due Upon Receipt                                               $72,976.84




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          July 28, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2366570

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending May 31, 2023                                                                             $71,362.00
                            Costs incurred and advanced                                                           1,614.84
                            Current Fees and Costs Due                                                         $72,976.84
                            Total Balance Due - Due Upon Receipt                                               $72,976.84




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confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
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Please refer all questions to billing@paulhastings.com



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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
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Conflicts Committee of GWG DLP Funding IV, LLC                   July 28, 2023
Suite 1200
220 South Sixth Street                                           Please Refer to
Minneapolis, MN 55402                                            Invoice Number: 2366570

Attn: Sean Clements                                              PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending May 31, 2023


Bankruptcy Case                                                                                      $71,362.00




Date         Initials   Description                                          Hours           Rate        Amount

B110   Case Administration
05/01/2023   ML30       Update case calendars (.2); update                       0.50     540.00           270.00
                        distribution lists for case notice and
                        pleadings (.2); correspond with J. Iaffaldano
                        re hearing needs (.1).
05/01/2023   MM57       Correspond with J. Iaffaldano re: case                   0.20     540.00           108.00
                        calendar
05/03/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/04/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/04/2023   ML30       Update case calendars                                    0.10     540.00            54.00
05/05/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/08/2023   JTG4       Emails with M. Laskowski re case updates                 0.10   1,700.00           170.00
05/09/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/11/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/12/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/15/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/16/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00
05/17/2023   JTG4       Emails with M. Laskowski re case updates                 0.20   1,700.00           340.00




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Conflicts Committee of GWG DLP Funding IV, LLC                                             Page 2
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Invoice No. 2366570




Date         Initials   Description                                   Hours      Rate    Amount
05/17/2023   ML30       Correspond with J. Iaffaldano re 5.18.23       0.10    540.00      54.00
                        hearing needs
05/18/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/18/2023   JG32       Review and prepare notes re case updates       1.20   1,875.00   2,250.00
                        and going forward plan (.6); telephone
                        conference with client to discuss same (.6)
05/19/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/22/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/23/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/24/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/25/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/26/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/30/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
05/31/2023   JTG4       Emails with M. Laskowski re case updates       0.20   1,700.00    340.00
             Subtotal: B110 Case Administration                        5.80              9,026.00




B113   Pleadings Review
05/01/2023   AM50       Review recent court filings regarding          0.50   1,725.00    862.50
                        exclusivity (.3); review updates from J.
                        Evans regarding same (.2)
05/01/2023   JTG4       Review ECF notices                             0.30   1,700.00    510.00
05/01/2023   ML30       Review recent filings and update working       0.40    540.00     216.00
                        group re same
05/02/2023   JTG4       Review ECF notices                             0.30   1,700.00    510.00
05/02/2023   ML30       Review recent filings and update working       0.40    540.00     216.00
                        group re same
05/03/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/03/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/04/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/04/2023   ML30       Review recent filings and update working       0.40    540.00     216.00
                        group re same




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Conflicts Committee of GWG DLP Funding IV, LLC                                            Page 3
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Date         Initials   Description                                   Hours      Rate    Amount
05/05/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/05/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/08/2023   JTG4       Review recent filings                          0.20   1,700.00    340.00
05/08/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/09/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/09/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/10/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/11/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/11/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/12/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/12/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/15/2023   JTG4       Review ECF notices                             0.40   1,700.00    680.00
05/15/2023   ML30       Review recent filings and update working       0.20    540.00     108.00
                        group re same
05/16/2023   JTG4       Review ECF notices (.2); review Beneficient    0.50   1,700.00    850.00
                        motion (.3)
05/16/2023   ML30       Review recent filings and update case          0.60    540.00     324.00
                        calendars and working group re same
05/17/2023   JTG4       Review ECF notices and related pleadings       0.40   1,700.00    680.00
05/17/2023   ML30       Review recent filings and update working       0.50    540.00     270.00
                        group re same
05/18/2023   JTG4       Review ECF notices (.2); review complaint      0.60   1,700.00   1,020.00
                        against Fifth Season (.4)
05/18/2023   JG32       Review recently filed pleadings                0.70   1,875.00   1,312.50
05/18/2023   ML30       Review recent filings and update case          0.40    540.00     216.00
                        calendars and working group re same
05/19/2023   JTG4       Review ECF notices                             0.20   1,700.00    340.00
05/19/2023   ML30       Review recent filings and update working       0.30    540.00     162.00
                        group re same




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Date         Initials   Description                                   Hours      Rate     Amount
05/22/2023   JTG4       Review ECF notices (.2); review Heppner /      0.60   1,700.00    1,020.00
                        Ben Rule 2004 motion (.4)
05/22/2023   ML30       Review recent filings and update working       0.50    540.00      270.00
                        group re same
05/23/2023   JTG4       Review ECF notices (.2); review new docket     0.50   1,700.00     850.00
                        entries and related documents (.3)
05/23/2023   ML30       Review recent filings and update working       0.60    540.00      324.00
                        group re same
05/24/2023   JTG4       Review ECF notices (.2); review exit credit    0.80   1,700.00    1,360.00
                        agreement pleadings (.6)
05/24/2023   ML30       Review recent filings and update case          0.60    540.00      324.00
                        calendars and working group re same
05/25/2023   JTG4       Review ECF notices and related pleadings       0.50   1,700.00     850.00
05/25/2023   ML30       Review recent filings and update case          1.00    540.00      540.00
                        calendars and working group re same
05/26/2023   JTG4       Review ECF notices (.2); review L Bond         0.50   1,700.00     850.00
                        Management emergency motion (.3)
05/26/2023   ML30       Review recent filings and update working       0.40    540.00      216.00
                        group re same
05/30/2023   JTG4       Review ECF notices (.2); review Fifth          0.50   1,700.00     850.00
                        Season motion (.3)
05/30/2023   ML30       Review recent filings and update working       0.40    540.00      216.00
                        group re same
05/31/2023   JTG4       Review ECF notices                             0.20   1,700.00     340.00
05/31/2023   JG32       Review recently filed pleadings regarding      1.20   1,875.00    2,250.00
                        open case issues and next steps
05/31/2023   ML30       Review recent filings and update working       0.50    540.00      270.00
                        group and case calendars re same
             Subtotal: B113 Pleadings Review                          18.70              22,159.00




B155   Court Hearings
05/01/2023   JI2        Monitor hearing on Benz objections to fee      0.50   1,125.00     562.50
                        applications




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     22-30500-swe7
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Date         Initials   Description                                      Hours      Rate    Amount
05/01/2023   JTG4       Attend hearing on Benz objections to fee          0.80   1,700.00   1,360.00
                        applications (.5); emails with J. Evans and J.
                        Iaffaldano re outcome of hearing (.3)
05/01/2023   JDE        Attend fee application hearing.                   0.50   1,600.00    800.00
05/01/2023   SMT1       Prepare outline for hearing regarding             0.90    855.00     769.50
                        compensation application (.4); attend
                        hearing regarding same (.5)
05/23/2023   JTG4       Prepare outline for upcoming hearing              0.40   1,700.00    680.00
05/24/2023   JTG4       Attend hearing on Beneficient lift stay           0.70   1,700.00   1,190.00
                        motion and protective order issues
05/24/2023   SMT1       Attend portion of hearing regarding               0.30    855.00     256.50
                        Beneficient lift stay motion
             Subtotal: B155 Court Hearings                                4.10              5,618.50




B160   Fee/Employment Applications
05/01/2023   JI2        Emails with M. Magzamen re fee statements         0.90   1,125.00   1,012.50
                        and CNO re same (.3); review interim
                        compensation order (.2); revise fee
                        statement (.4)
05/01/2023   JTG4       Emails with M. Magzamen re CNO on PH              0.50   1,700.00    850.00
                        fee statement (.3); review CNO (.2)
05/01/2023   MM57       Correspond with J. Grogan re: order on fee        0.40    540.00     216.00
                        application (.2); revise and e-file related
                        CNO (.2)
05/01/2023   SMT1       Draft certificate of no objection regarding       1.00    855.00     855.00
                        first interim fee application
05/02/2023   JTG4       Email with M. Laskowski re fee order (.1);        0.20   1,700.00    340.00
                        review same (.1)
05/04/2023   JTG4       Emails with J. Iaffaldano about monthly fee       0.80   1,700.00   1,360.00
                        application (.5); review same (.3)
05/04/2023   MM57       Correspond with J. Iaffaldano re: fee             0.10    540.00      54.00
                        statements
05/09/2023   JI2        Revise fee statements (.8); correspond with       0.90   1,125.00   1,012.50
                        J. Grogan re same (.1)
05/09/2023   JTG4       Review and revise monthly fee statements          0.70   1,700.00   1,190.00




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Date         Initials   Description                                      Hours      Rate    Amount
05/11/2023   JI2        Revise February fee statement (.5); revise        1.10   1,125.00    1,237.50
                        March fee statement (.4); emails with J.
                        Grogan re same (.2)
05/11/2023   JTG4       Correspond with J. Iaffaldano regarding           0.50   1,700.00     850.00
                        updated fee statements (.2); review and
                        comment on same (.3)
05/16/2023   JTG4       Emails with M. Magzamen about monthly             0.30   1,700.00     510.00
                        fee statements
05/16/2023   MM57       Review fee statements and e-file same             0.40    540.00      216.00
05/31/2023   JI2        Revise April fee statement (.4); draft interim    1.10   1,125.00    1,237.50
                        fee application (.7).
             Subtotal: B160 Fee/Employment Applications                   8.90              10,941.00




B260   Board of Directors Matters
05/01/2023   JI2        Prepare invoice for S. Clements                   0.40   1,125.00     450.00
05/03/2023   JI2        Attend board call re plan issues                  0.50   1,125.00     562.50
05/16/2023   JDE        Correspond and conference with S.                 0.50   1,600.00     800.00
                        Clements regarding tail coverage
05/17/2023   JDE        Prepare for and attend bi-weekly board            0.50   1,600.00     800.00
                        meeting.
05/24/2023   JDE        Prepare for and attend board call.                0.30   1,600.00     480.00
05/31/2023   AM50       Review updates from DLP IV board                  0.50   1,725.00     862.50
                        meeting.
05/31/2023   JDE        Prepare for and attend board call.                0.50   1,600.00     800.00
             Subtotal: B260 Board of Directors Matters                    3.20              4,755.00




B320   Plan and Disclosure Statement (including Business Plan)
05/03/2023   DF9        Correspond with J. Iaffaldano re plan             1.10   1,725.00    1,897.50
                        exculpation provisions (.4); analysis re same
                        (.7)




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Date           Initials   Description                                      Hours      Rate     Amount
05/03/2023     JI2        Correspond with S. Clements re plan issues        3.40   1,125.00    3,825.00
                          (.2); analyze plan issues and related case law
                          and statutory authority (2.8); correspond
                          with D. Fliman regarding exculpation
                          provisions (.4)
05/04/2023     AM50       Correspond with D. Fliman and J. Evans            0.70   1,725.00    1,207.50
                          on recent developments
05/04/2023     DF9        Call with J. Evans and client re plan             1.10   1,725.00    1,897.50
                          exculpation provisions (.3); review caselaw
                          re same (.8)
05/04/2023     JI2        Analyze exculpation issues and related            1.20   1,125.00    1,350.00
                          authority (.8); call with S. Clements re same
                          (.4).
05/04/2023     JDE        Call with client and D. Fliman regarding          0.30   1,600.00     480.00
                          plan exculpation provisions
05/16/2023     JI2        Emails with J. Evans re plan exculpation          0.70   1,125.00     787.50
                          issues.
05/27/2023     DF9        Correspond with J. Evans re plan revisions        0.50   1,725.00     862.50
                          (.2); review same (.3)
05/29/2023     JI2        Emails with J. Evans and D. Fliman re             0.80   1,125.00     900.00
                          exculpation issues (.2); analyze same and
                          related precedent (.6).
05/30/2023     JI2        Review case law re exculpation issues (1.6);      2.10   1,125.00    2,362.50
                          call with J. Evans and Mintz & Gold re
                          same (.3); emails with J. Evans re same (.2).
05/30/2023     JDE        Call with Mintz & Gold and J. Iaffaldano to       0.30   1,600.00     480.00
                          discuss exculpations.
05/31/2023     JG32       Review case updates from J. Evans                 1.50   1,875.00    2,812.50
                          regarding exculpation (1.1); correspond with
                          client regarding same (.4)
               Subtotal: B320 Plan and Disclosure Statement                13.70              18,862.50
                         (including Business Plan)



       Total                                                               54.40              71,362.00

                                            Timekeeper Summary




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ID      Timekeeper Name         Title                   Hours           Rate            Fee
JG32    Jayme Goldstein         Partner                   4.60       1,875.00       8,625.00
AM50    Allison Miller          Partner                   1.70       1,725.00       2,932.50
DF9     Dan Fliman              Partner                   2.70       1,725.00       4,657.50
JTG4    James T. Grogan         Partner                  16.30       1,700.00      27,710.00
JDE     Jeremy D. Evans         Of Counsel                2.90       1,600.00       4,640.00
JI2     Jack Iaffaldano         Associate                13.60       1,125.00      15,300.00
SMT1    Schlea M. Thomas        Associate                 2.20        855.00        1,881.00
ML30    Mat Laskowski           Paralegal                 9.30        540.00        5,022.00
MM57    Michael Magzamen        Paralegal                 1.10        540.00         594.00

Costs incurred and advanced

Date         Description                                         Quantity   Rate    Amount
05/03/2023 Airfare - Jeremy Evans; 04/18/2023; From/To:                              577.80
           LGA/IAH; Airfare Class: Economy; Trip to
           Houston for client matter
05/03/2023 Travel Expense - Meals - Jeremy Evans;                                     40.00
           04/18/2023; Restaurant: Pizza Hut; City: Houston;
           Dinner; Number of people: 1; Trip to Houston for
           client matter
05/03/2023 Lodging - Jeremy Evans; 04/19/2023; Hotel:                                589.94
           Marriott; Check-in date: 04/18/2023; Check-out
           date: 04/19/2023; Trip to Houston for client matter
05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                                106.93
           04/18/2023; From/To: Airport/Hotel; Service
           Type: Uber; Time: 22:03; Trip to Houston for client
           matter
05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                                110.88
           04/19/2023; From/To: Hotel/Airport ; Service
           Type: Uber; Time: 15:56; Trip to Houston for client
           matter
05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                                114.90
           04/18/2023; From/To: Home/Airport ; Service
           Type: Uber; Time: 17:03; Trip to Houston for client
           matter




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05/03/2023 Taxi/Ground Transportation - Jeremy Evans;                             74.39
           04/19/2023; From/To: Airport/Home; Service
           Type: Uber; Time: 12:02; Trip to Houston for client
           matter
Total Costs incurred and advanced                                              $1,614.84

            Current Fees and Costs                                          $72,976.84
            Total Balance Due - Due Upon Receipt                            $72,976.84




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                              )
In re:                                                                        ) Chapter 11
                                                                              )
GWG Holdings, Inc., et al.,1                                                  ) Case No. 22-90032 (MI)
                                                                              )
                   Debtors.                                                   ) (Jointly Administered)
                                                                              )

     NOTICE OF EIGHTH MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
     COUNSEL TO SEAN CLEMENTS AND THE CONFLICTS COMMITTEE OF THE
      BOARD OF DIRECTORS OF GWG DLP FUNDING IV, LLC FOR THE PERIOD
                  FROM JUNE 1, 2023 THROUGH JUNE 19, 2023

    Name of applicant:                                                      Paul Hastings LLP
    Applicant’s Role in the Case:                                           Attorneys to Sean Clements and the
                                                                            Conflicts Committee of the board of
                                                                            directors of GWG DLP Funding IV,
                                                                            LLC (“DLP IV”)
    Date Order of Employment Signed and Docket No.:                         January 6, 2023 (effective as of
                                                                            October 31, 2022) [Docket
                                                                            No. 1325]
                                                                            Beginning Date        End Date
    Time period covered by this Statement:                                  06/01/2023            06/19/2023
                                 Summary of Total Fees and Expenses Requested
    Total fees requested in this Statement:                                 $60,883.20 (80% of $76,104.00)
    Total expenses requested in this Statement:                             $1,962.36
    Total fees and expenses requested in this Statement                     $78,066.36
    (excluding 20% holdback):
    Total fees and expenses requested in this Statement                     $62,845.56
    (including 20% holdback):
                                       Summary of Attorney Fees Requested
    Total attorney fees requested in this Statement:                        $73,620.00


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service
      address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and
      these chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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    Total actual attorney hours covered by this Statement:                56.30
    Average hourly rate for attorneys:                                    $1,308
                                  Summary of Paraprofessional Fees Requested
    Total paraprofessional fees requested in this Statement:              $2,484.00
    Total actual paraprofessional hours covered by this Statement:        4.60
    Average hourly rate for paraprofessionals:                            $540



          In accordance with the Corrected Order (I) Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals and (II) Granting Related

Relief [Docket No. 378] (the “Interim Compensation Order”),2 Paul Hastings LLP (“Paul

Hastings”) respectfully submits this eighth monthly statement (the “Monthly Statement”) and

requests payment for services rendered and reimbursement of expenses incurred as counsel to

Sean Clements and the Conflicts Committee of the board of directors of DLP IV in the above-

captioned chapter 11 cases for the period from June 1, 2023 through and including June 19, 2023

(the “Fee Period”) in the amounts set forth above.

                       SERVICES RENDERED AND EXPENSES INCURRED

          1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name,

title, department, bar admission, hourly billing rate, aggregate hours, and amount of fees earned

for each Paul Hastings individual who provided services during the Fee Period.

          2.       Attached hereto as Exhibit B is a summary of Paul Hastings’ services rendered

and compensation sought, by project category, for the Fee Period.

          3.       Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Fee Period.




2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
      Compensation Order.



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         4.   Attached hereto as Exhibit D are the fee statements of Paul Hastings for services

provided during the Fee Period.

                          NOTICE AND OBJECTION PROCEDURES

         1.   Notice of this Monthly Statement will be given to the following parties

(collectively, the “Application Recipients”): (i) the Debtors c/o GWG Holdings, Inc., 325 N. St.

Paul St., Suite 2650, Dallas, TX 75201, Attn: Timothy Evans; (ii) counsel to the Debtors, Mayer

Brown LLP, 71 S. Wacker Drive, Chicago, IL 60606, Attn: Thomas S. Kiriakos; (iii) co-counsel

to the Debtors, Jackson Walker LLP, 1401 McKinney Street, Suite 1900, Houston, TX 77010,

Attn: Kristhy M. Peguero and Matthew D. Cavenaugh; (iv) counsel to the DIP Lender, Sidley

Austin LLP, One South Dearborn, Chicago, IL 60603, Attn: Matthew A. Clemente; (v) counsel

to Bank of Utah in its capacity as indenture trustee for the Bonds, Akin Gump Strauss Hauer &

Feld LLP, 2001 K Street NW, Washington, D.C., 20006-1037, Attn: Scott Alberino; (vi) counsel

to any statutory committee appointed in these cases; and (vii) the Office of the U.S. Trustee for

the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, TX 77002, Attn: Hector

Duran.

         2.   Objections to this Monthly Statement, if any, must be served upon the Application

Recipients and the undersigned counsel by or before 4:00 p.m. (CT) on the fourteenth day after

service of this Monthly Statement (the “Objection Deadline”), setting forth with specificity the

objectionable fees or expenses, the amount of the disputed fees or expenses, and the basis for

such objection. If no objections are received by the Objection Deadline, the Debtors shall

promptly pay Paul Hastings 80 percent of the fees and 100 percent of the expenses identified in

this Monthly Statement.

         3.   To the extent that an objection to this Monthly Statement is received on or before

the Objection Deadline, the Debtors shall withhold payment of that portion of this Monthly


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Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such objection is not resolved,

pursuant to the procedures set forth in the Interim Compensation Order, the objecting party shall

file its objection with the Court and serve the objection on the Application Recipients and the

undersigned counsel. Thereafter, Paul Hastings may either (a) file with the Court a response to

the objection together with a request for payment of the appropriate portion of the disputed

amount or (b) preserve and schedule the disputed amount for consideration at the next interim or

final fee application hearing.

       4.      To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Fee Period, but were not processed before the preparation of

this Monthly Statement, or Paul Hastings has for any other reason not sought compensation or

reimbursement with respect to such services or expenses, Paul Hastings reserves the right to

request additional compensation for such services, and reimbursement of such expenses, in a

supplemental or future statement.

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Dated: August 16, 2023               Respectfully submitted,
Houston, Texas
                                      /s/ James T. Grogan III
                                     PAUL HASTINGS LLP
                                     James T. Grogan III (TX Bar No. 24027354)
                                     600 Travis Street, 58th Floor
                                     Houston, Texas 77002
                                     Telephone: (713) 860-7300
                                     Facsimile: (713) 353-3100
                                     Email: jamesgrogan@paulhastings.com

                                     -and-

                                     Jayme T. Goldstein (admitted pro hac vice)
                                     Daniel A Fliman (admitted pro hac vice)
                                     Allison Miller (admitted pro hac vice)
                                     Jeremy D. Evans (admitted pro hac vice)
                                     John F. Iaffaldano (admitted pro hac vice)
                                     200 Park Avenue
                                     New York, New York 10166
                                     Telephone: (212) 318-6000
                                     Facsimile: (212) 319-4090
                                     Email: jaymegoldstein@paulhastings.com

                                     Counsel to Sean Clements and the Conflicts Committee of
                                     the board of directors of DLP IV




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                                              Exhibit A

COMPENSATION BY PROFESSIONAL AND PARAPROFESSIONAL FOR FEE PERIOD

                                                                             Total for Fee Period
          Name            Department or      Date of     Hourly Rate      Hours         Amount
                             Group            First                       Billed
                                           Admission
 Fliman, Dan                Corporate         2003           $1,725.00       0.50             $862.50
 Goldstein, Jayme           Corporate         2003           $1,875.00       5.50           $10,312.50
 Grogan, James              Corporate         2000           $1,700.00      16.00           $27,200.00
 Miller, Allison            Corporate         2004           $1,725.00       0.80            $1,380.00
                                        Total Partner:                      22.80           $39,755.00
 Evans, Jeremy              Corporate         2013           $1,600.00       6.80           $10,880.00
 Evans, Jeremy (Travel)     Corporate         2013        $800.00 (Bill     16.30           $13,040.00
                                                             at ½ rate)
                                       Total Counsel:                       23.10           $23,920.00
 Iaffaldano, Jack           Corporate         2020           $1,125.00       3.90            $4,387.50
 Thomas, Schlea             Corporate         2022            $855.00        6.50            $5,557.50
                                      Total Associate:                      10.40            $9,945.00
 Laskowski, Mat             Paralegal                          $540.00       4.00            $2,160.00
 Magzamen, Michel           Paralegal                          $540.00       0.60             $324.00
                              Total Paraprofessional:                        4.60            $2,484.00
                                                Total:                      60.90           $76,104.00




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                                                  Exhibit B

            COMPENSATION BY PROJECT CATEGORY FOR FEE PERIOD

                                                                     Total for Fee Period

                 U.S. Trustee Task Code and Project Category      Total Hours    Total Fees
          B110    Case Administration                                    0.90      $1,547.50
          B113    Pleadings Review                                       7.40      $8,520.00
          B155    Court Hearings                                        17.90     $24,235.00
          B160    Employment / Fee Applications (Paul Hastings)          0.90      $1,012.50
          B195    Non-Working Travel                                    16.30     $13,040.00
          B260    Board of Directors Matters                             2.10      $2,995.00
          B320    Plan and Disclosure Statement                         15.40     $24,754.00
          TOTAL                                                         60.90     $76,104.00




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                                            Exhibit C

                        EXPENSE SUMMARY FOR FEE PERIOD

                                 Category               Total for Fee Period
            Airfare                                                   $567.80
            Lodging                                                   $903.22
            Taxi/Ground Transportation                                $451.34
            Meals                                                      $40.00
            TOTAL                                                   $1,962.36




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                                      Exhibit D

                       FEE STATEMENTS FOR FEE PERIOD




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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          August 8, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2367578

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                                SUMMARY SHEET

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending June 19, 2023                                                                            $76,104.00
                            Costs incurred and advanced                                                           1,962.36
                            Current Fees and Costs Due                                                         $78,066.36
                            Total Balance Due - Due Upon Receipt                                               $78,066.36




We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
confirmation.

Wiring and ACH Instructions:                                        Remittance Address:
  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                         PAUL HASTINGS LLP
                                                         200 Park Avenue, New York, NY 10166-3205
                                                         t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




Conflicts Committee of GWG DLP Funding IV, LLC                          August 8, 2023
Suite 1200
220 South Sixth Street                                                  Please Refer to
Minneapolis, MN 55402                                                   Invoice Number: 2367578

Attn: Sean Clements                                                     PH LLP Tax ID No. XX-XXXXXXX


                                              REMITTANCE COPY

Bankruptcy Case
PH LLP Client/Matter # 51132-00002
Jayme Goldstein

Legal fees for professional services
for the period ending June 19, 2023                                                                            $76,104.00
                            Costs incurred and advanced                                                           1,962.36
                            Current Fees and Costs Due                                                         $78,066.36
                            Total Balance Due - Due Upon Receipt                                               $78,066.36




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payment to the remittance address below:

TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
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  Citibank                                                             Paul Hastings LLP
  ABA # 322271724                                                      Lockbox 4803
  SWIFT Address: CITIUS33                                              PO Box 894803
  787 W. 5th Street                                                    Los Angeles, CA 90189-4803
  Los Angeles, CA 90071
  Account Number: 206628380
  Account Name: Paul Hastings LLP

For wires, please reference the invoice, client and matter number(s) being paid
For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
mailbox
Please refer all questions to billing@paulhastings.com



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                                                 PAUL HASTINGS LLP
                                                 200 Park Avenue, New York, NY 10166-3205
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Conflicts Committee of GWG DLP Funding IV, LLC                  August 8, 2023
Suite 1200
220 South Sixth Street                                          Please Refer to
Minneapolis, MN 55402                                           Invoice Number: 2367578

Attn: Sean Clements                                             PH LLP Tax ID No. XX-XXXXXXX


FOR PROFESSIONAL SERVICES RENDERED
for the period ending June 19, 2023


Bankruptcy Case                                                                                     $76,104.00




Date         Initials   Description                                         Hours           Rate        Amount

B110   Case Administration
06/05/2023   JTG4       Email with M. Laskowski re case update                 0.20    1,700.00           340.00
06/07/2023   JTG4       Email with M. Laskowski re case update                 0.20    1,700.00           340.00
06/08/2023   JTG4       Review and update case calendar (.2); emails           0.40    1,700.00           680.00
                        with M. Laskowski about same and new
                        pleadings (.2)
06/14/2023   JG32       Review case updates                                    0.10    1,875.00           187.50
             Subtotal: B110 Case Administration                               0.90                      1,547.50




B113   Pleadings Review
06/01/2023   JTG4       Review recent pleadings and docket update              0.40    1,700.00           680.00
06/01/2023   ML30       Review recent filings and update case                  0.60      540.00           324.00
                        calendars and working group re same
06/02/2023   JTG4       Review recent pleadings and docket update              0.40    1,700.00           680.00
06/02/2023   ML30       Review recent filings and update working               0.30      540.00           162.00
                        group re same
06/03/2023   JTG4       Review ECF notices                                     0.20    1,700.00           340.00




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Date         Initials   Description                                  Hours      Rate    Amount
06/05/2023   JTG4       Review ECF notices                            0.40   1,700.00    680.00
06/05/2023   ML30       Review recent filings and update case         0.40    540.00     216.00
                        calendars and working group re same
06/06/2023   JTG4       Review recent pleadings, ECF notices,         0.60   1,700.00   1,020.00
                        mediation stipulation, and related docket
                        update
06/06/2023   ML30       Review recent filings and update working      0.40    540.00     216.00
                        group re same
06/07/2023   JTG4       Review Beneficient objection                  0.30   1,700.00    510.00
06/07/2023   ML30       Review recent filings and update working      0.40    540.00     216.00
                        group re same
06/08/2023   JTG4       Review ECF notices and motion to sell         0.50   1,700.00    850.00
                        Beneficient shares
06/08/2023   ML30       Review recent filings and update case         0.60    540.00     324.00
                        calendars and working group re same
06/09/2023   JTG4       Review docket update from M. Laskowski        0.20   1,700.00    340.00
06/09/2023   ML30       Review recent filings and update working      0.40    540.00     216.00
                        group re same
06/12/2023   JTG4       Review docket update from M. Magzamen         0.20   1,700.00    340.00
06/12/2023   MM57       Review recent docket/ECF filings and          0.10    540.00      54.00
                        update calendars and working group re:
                        same
06/13/2023   JTG4       Review docket update from M. Magzamen         0.70   1,700.00   1,190.00
                        (.2); review ECF notices (.5)
06/13/2023   MM57       Review recent docket/ECF filings and          0.10    540.00      54.00
                        update calendars and working group re:
                        same
06/14/2023   MM57       Review recent docket/ECF filings and          0.10    540.00      54.00
                        update calendars and working group re:
                        same
06/15/2023   MM57       Review recent filings and update calendars    0.10    540.00      54.00
                        and working group re: same
             Subtotal: B113 Pleadings Review                          7.40              8,520.00




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Date         Initials   Description                                    Hours      Rate    Amount

B155   Court Hearings
06/02/2023   JTG4       Call with S. Thomas regarding upcoming          0.20   1,700.00    340.00
                        hearing
06/02/2023   SMT1       Telephone conference with J. Grogan             0.20    855.00     171.00
                        regarding hearing on 6/5/23
06/12/2023   JTG4       Review agenda for June 13 hearing and           0.60   1,700.00   1,020.00
                        prepare notes for same
06/13/2023   JI2        Attend hearing on motion to allow claims        0.40   1,125.00    450.00
                        for voting purposes and motion to sell
                        Beneficient shares
06/13/2023   JTG4       Correspond with S. Thomas and J. Evans          1.60   1,700.00   2,720.00
                        regarding June 15, 2023 hearing (.3); review
                        submissions in preparation for same (.9);
                        attend hearing on motion to allow claims
                        for voting purposes and motion to sell
                        Beneficient shares (.4)
06/13/2023   SMT1       Correspond with J. Grogan and J. Evans          0.60    855.00     513.00
                        regarding confirmation hearing (.2); attend
                        hearing regarding motion to allow claims
                        for voting purposes and motion to sell
                        Beneficient shares following de-SPAC
                        transactions (.4)
06/15/2023   JI2        Attend plan confirmation hearing                1.60   1,125.00   1,800.00
06/15/2023   JTG4       Review additional confirmation pleadings        5.30   1,700.00   9,010.00
                        and proposed order to prepare for
                        confirmation hearing (3.1); attend
                        confirmation hearing (1.6); correspond with
                        J. Evans and S. Thomas regarding hearing
                        prep and case updates (.6)
06/15/2023   JDE        Review submissions and supplement               2.50   1,600.00   4,000.00
                        hearing notes for plan confirmation hearing
                        (.9); attend plan confirmation hearing (1.6)
06/15/2023   MM57       Submit electronic appearances for hearing       0.20    540.00     108.00
06/15/2023   SMT1       Review submissions and cases in                 4.60    855.00    3,933.00
                        preparation for confirmation hearing (1.7);
                        prepare reference documents for
                        confirmation hearing (1.3); attend plan
                        confirmation hearing (1.6)




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Conflicts Committee of GWG DLP Funding IV, LLC                                                Page 4
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Date         Initials   Description                                     Hours      Rate     Amount
06/19/2023   JTG4       Review W&E list from Beneficent                  0.10   1,700.00     170.00
             Subtotal: B155 Court Hearings                              17.90              24,235.00




B160   Fee/Employment Applications
06/09/2023   JI2        Draft April fee statement (.2); draft interim    0.90   1,125.00    1,012.50
                        fee application (.7)
             Subtotal: B160 Fee/Employment Applications                  0.90               1,012.50




B195   Non-Working Travel
06/14/2023   JDE        Travel from New York, NY to Houston,            10.50    800.00     8,400.00
                        TX for confirmation hearing. (Bill at 1/2
                        rate)
06/16/2023   JDE        Travel from Houston, TX to New York,             5.80    800.00     4,640.00
                        NY from confirmation hearing. (Bill at 1/2
                        rate)
             Subtotal: B195 Non-Working Travel                          16.30              13,040.00




B260   Board of Directors Matters
06/03/2023   JI2        Prepare director invoice (.3); emails with S.    0.50   1,125.00     562.50
                        Clements re same (.1); emails with L.
                        Chiappetta (Mayer Brown) re same (.1)
06/14/2023   JI2        Attend board meeting with J. Evans (.4);         0.50   1,125.00     562.50
                        emails with D. Fliman and J. Evans re same
                        (.1)
06/14/2023   JG32       Correspond with J. Evans and client              0.40   1,875.00     750.00
                        regarding case plan and next steps
06/14/2023   JDE        Review plan issues and prepare outline for       0.70   1,600.00    1,120.00
                        board meeting (.3); attend board meeting
                        with J. Iaffaldano (.4)
             Subtotal: B260 Board of Directors Matters                   2.10               2,995.00




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Conflicts Committee of GWG DLP Funding IV, LLC                                             Page 5
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Invoice No. 2367578




Date         Initials   Description                                    Hours      Rate    Amount



B320   Plan and Disclosure Statement (including Business Plan)
06/05/2023   JTG4       Review and analyze plan objections              0.70   1,700.00   1,190.00
06/05/2023   JDE        Review and analyze plan, disclosure             1.50   1,600.00   2,400.00
                        statement, and supporting documents
06/05/2023   ML30       Correspond with J. Iaffaldano re plan           0.90    540.00     486.00
                        objections and responses (.2); research
                        regarding same (.6); follow up
                        correspondence with J. Iaffaldano regarding
                        same (.1)
06/08/2023   DF9        Correspond with J. Evans re plan                0.50   1,725.00    862.50
                        provisions and exculpations.
06/09/2023   JTG4       Review updated plan documents and new           0.80   1,700.00   1,360.00
                        plan objections
06/09/2023   JDE        Review and analyze plan modifications.          0.80   1,600.00   1,280.00
06/12/2023   AM50       Review recent case updates regarding Plan       0.30   1,725.00    517.50
                        releases for independent directors
06/13/2023   JDE        Review recent docket filings in anticipation    0.50   1,600.00    800.00
                        of confirmation hearing.
06/14/2023   AM50       Follow up correspondence with J. Evans          0.50   1,725.00    862.50
                        regarding certain plan provisions
06/14/2023   JTG4       Emails with S. Thomas and J. Evans re June      2.00   1,700.00   3,400.00
                        15 confirmation hearing (.6); prepare for
                        same by reviewing amended plan and
                        related confirmation documents (1.4)
06/14/2023   JG32       Analyze submissions and issues regarding        1.70   1,875.00   3,187.50
                        plan confirmation and hearing
06/14/2023   JG32       Review certain recently filed pleadings         0.70   1,875.00   1,312.50
                        regarding confirmation
06/14/2023   JDE        Analyze plan comments                           0.80   1,600.00   1,280.00
06/14/2023   SMT1       Review submissions in preparation for           1.10    855.00     940.50
                        confirmation hearing on 6/15/23




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Conflicts Committee of GWG DLP Funding IV, LLC                                                        Page 6
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Date           Initials   Description                                       Hours           Rate    Amount
06/15/2023     JG32       Analyze and comment on plan confirmation            2.60     1,875.00     4,875.00
                          matters (1.4); telephone conference with
                          client regarding same (.4); review
                          submissions related to plan confirmation
                          and hearing (.8)
               Subtotal: B320 Plan and Disclosure Statement                  15.40                 24,754.00
                         (including Business Plan)



       Total                                                                60.90                  76,104.00

                                                Timekeeper Summary

ID      Timekeeper Name                 Title                   Hours                Rate                Fee
JG32    Jayme Goldstein                 Partner                      5.50       1,875.00           10,312.50
AM50    Allison Miller                  Partner                      0.80       1,725.00            1,380.00
DF9     Dan Fliman                      Partner                      0.50       1,725.00              862.50
JTG4    James T. Grogan                 Partner                  16.00          1,700.00           27,200.00
JDE     Jeremy D. Evans                 Of Counsel                   6.80       1,600.00           10,880.00
JDE     Jeremy D. Evans                 Of Counsel               16.30           800.00            13,040.00
JI2     Jack Iaffaldano                 Associate                    3.90       1,125.00            4,387.50
SMT1    Schlea M. Thomas                Associate                    6.50        855.00             5,557.50
ML30    Mat Laskowski                   Paralegal                    4.00        540.00             2,160.00
MM57    Michael Magzamen                Paralegal                    0.60        540.00               324.00

Costs incurred and advanced

Date           Description                                                  Quantity     Rate       Amount
06/28/2023 Airfare - Jeremy Evans; 06/14/2023; From/To:                                              567.80
           LGA/IAH; Airfare Class: Economy; trip to
           Houston, Texas regarding attending Confirmation
           hearing




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Conflicts Committee of GWG DLP Funding IV, LLC                                   Page 7
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06/28/2023 Travel Expense - Meals - Jeremy Evans;                                40.00
           06/15/2023; Restaurant: Morton's ; City: Houston ;
           Dinner; Number of people: 1; trip to Houston,
           Texas regarding attending Confirmation hearing
06/28/2023 Lodging - Jeremy Evans; 06/16/2023; Hotel:                           903.22
           Marriott; Check-in date: City: Houston;
           06/14/2023; Check-out date: 06/16/2023; trip to
           Houston, Texas regarding attending Confirmation
           hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                           102.74
           06/16/2023; From/To: Airport/Home ; Service
           Type: Uber; Time: 11:30; trip to Houston, Texas
           regarding attending Confirmation hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                           117.57
           06/16/2023; From/To: Hotel/Airport ; Service
           Type: Uber; Time: 05:28; trip to Houston, Texas
           regarding attending Confirmation hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                           145.73
           06/15/2023; From/To: Airport/Hotel ; Service
           Type: Uber; Time: 01:24; trip to Houston, Texas
           regarding attending Confirmation hearing
06/28/2023 Taxi/Ground Transportation - Jeremy Evans;                            85.30
           06/14/2023; From/To: Home/Airport ; Service
           Type: Uber; Time: 17:15; trip to Houston, Texas
           regarding attending Confirmation hearing
Total Costs incurred and advanced                                             $1,962.36

            Current Fees and Costs                                          $78,066.36
            Total Balance Due - Due Upon Receipt                            $78,066.36




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                                   EXHIBIT C

                               PROPOSED ORDER




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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                            )
    In re:                                                                  ) Chapter 11
                                                                            )
    GWG Holdings, Inc., et al., 1                                           ) Case No. 22-90032 (MI)
                                                                            )
                     Debtors.                                               ) (Jointly Administered)
                                                                            )

                            FINAL ORDER ALLOWING COMPENSATION
                               AND REIMBURSEMENT OF EXPENSES
                                       (Docket No. _____)


             The Court has considered the Third Interim and Final Fee Application of Paul Hastings

LLP, Counsel to Sean Clements and the Conflicts Committee of the Board of Directors of GWG

DLP Funding IV, LLC, for Allowance and Payment of Fees and Expenses for the Period from May

1, 2023 Through June 19, 2023 (the “Application”) filed by Paul Hastings LLP (the “Applicant”).

The Court orders:

             1.     Applicant is allowed compensation and reimbursement of expenses in the amount

of $151,043.20 for the interim period set forth in the Application.

             2.     The compensation and reimbursement of expenses allowed in this Order and all

previous interim allowances of compensation and reimbursement of expenses are approved on a

final basis.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538), GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
      is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these
      chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.




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       3.      The Debtors are authorized to disburse any unpaid amounts allowed by paragraphs

1 or 2 of this Order.

 Dated: _____________, 2023
        Houston, Texas
                                                  THE HONORABLE MARVIN ISGUR
                                                  UNITED STATES BANKRUPTCY JUDGE




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                           Exhibit J




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                               Filed09/20/24
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                       261-8 Filed
                               Filed09/20/24
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                       261-8 Filed
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                                Filed09/20/24
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